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                               EXHIBIT B
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                                  INTRODUCTION

       1.     Plaintiffs here assert claims against J.P. Morgan Chase & Co. (“J.P.

 Morgan”), Wells Fargo Bank National Association (“Wells Fargo”), and Stifel,

 Nicolaus & Company, Incorporated (“Stifel”) (Defendants are sometimes

 collectively referred to herein as “Defendants” or “Defendant Underwriters.”)

 Plaintiffs’ claims against Defendants, like other aspects of the Flint water

 litigation, arise from the poisoning of Plaintiffs, who were all minors,1 residents

 and water users of the City of Flint, during the period when Flint utilized the Flint

 River as a primary water source without implementing proper corrosion controls.

       2.     Generally speaking, the Flint water litigation has proceeded against

 two groups of defendants: various government officials involved in the decision to

 switch Flint’s drinking water source (“Government Defendants”) and certain

 environmental engineering companies (“Engineering Defendants”). Further

 investigation and discovery have revealed new defendants in a category of their

 own: J.P. Morgan Chase, Wells Fargo, and Stifel, institutions that underwrote a

 2014 municipal bond sale, which aided and abetted the perpetration of the violation

 of Plaintiffs’ firmly established constitutional right to bodily integrity.



       1
              Each of the Plaintiffs named herein were minors at the time of the
 underlying conduct made the basis of this complaint and their claims are not
 currently time-barred under Michigan law.


                                             1
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       3.     In the spring of 2014, J.P. Morgan Chase, Wells Fargo, and Stifel

 underwrote the bond sale that financed and enabled Flint’s participation in the

 Karegnondi Water Authority (“KWA”). The City of Flint badly needed the funds:

 it had a significant obligation and zero ability to meet it. Without the 2014 bond

 financing, Flint would not have been able to bear its portion of the cost of

 constructing the KWA pipeline, and the other KWA entities would not have been

 able to bear the cost for Flint. In short, without the bond financing, Flint would not

 have been able to join the KWA, and the KWA would not have been able to

 commence construction.

       4.     Against the backdrop of the need to secure financing for Flint’s

 participation in the KWA, the Government Defendants used an Administrative

 Consent Order regarding remediation of a lime sludge lagoon, which in theory

 could be used by the Flint Water Treatment Plant (“WTP”),2 as a pretext for Flint’s

 larger participating in the KWA bond sale financing: Remediating the lime sludge

 lagoon might have cost between $1 million to $8 million; the bonds issued for

 Flint’s contribution to the KWA, the real reason, was for approximately $85

 million.


       2
               The lagoon had in-fact not been used for decades for its intended
 purpose, but instead had been used during that period as a garbage dump. Flint had
 received at least two notices to clean the lagoon over the previous 15 years and had
 never taken action to do so because it had no real need to and did not have the
 money to do so.

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       5.     J.P. Morgan Chase, Wells Fargo, and Stifel knew about the farce that

 was the Administrative Consent Order, in addition to other facts, such as that the

 Flint River would be used as an interim source of drinking water for Flint for the

 foreseeable future, as well as the hazards to human health presented by the Flint

 River’s highly corrosive water and Flint’s aging network of lead service lines,

 Flint’s inability to pay for necessary upgrades to the Flint WTP, the lack of even a

 plan to upgrade the Flint WTP, the lack of any intention on the part of the

 Government Defendants to implement corrosion control, and the fact that Flint’s

 residents and water users would begin consuming raw, untreated, and deleterious

 water shortly after the switch in April 2014.

       6.     Yet, J.P. Morgan Chase, Wells Fargo, and Stifel agreed to underwrite

 the bond financing that enabled the switch anyway. They agreed to and facilitated

 a plan for Flint to leave the Detroit Water and Sewerage Department (“DWSD”)

 and enter the KWA, and they knew that a necessary element of the plan was the

 use of raw, untreated Flint River water as an interim drinking water source, which

 would expose Flint’s residents and water users to lead-poisoning and legionella

 bacteria. J.P. Morgan Chase, Wells Fargo, and Stifel each engaged in conscience-

 shocking behavior by underwriting Flint’s participation in the KWA—and thus the

 poisoning of Flint’s children, residents, and other users—knowing full well there

 would be drastic and dire health consequences to the children of Flint.



                                           3
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       7.    Without the underwriting from J.P. Morgan Chase, Wells Fargo, and

 Stifel, the City of Flint would have had no choice but to continue purchasing water

 from DWSD, from whom it had been purchasing water for decades. If Flint had

 continued purchasing water from DWSD, no children would have been lead-

 poisoned and no lives would have been ruined, lost, and otherwise forever

 changed.

       8.    The additional claims and facts set forth as part of Plaintiffs’ short

 form complaint are intended to supplement the facts set forth in the Amended

 Master Long Form Complaint (ECF Dkt. 186) (“Amended Master Complaint”).

 Additionally, Plaintiffs incorporate those facts set forth in the Amended Master

 Complaint by reference. However, for the ease of the Court and the parties, some

 of the most relevant facts from the Amended Master Complaint are repeated here.

                                 JURISDICTION

       9.    J.P. Morgan Chase is a Delaware Corporation with its principal

 executive offices located at 383 Madison Ave., New York, New York 10017.

       10.   This Court may exercise specific personal jurisdiction over J.P.

 Morgan Chase because the acts that form the basis of Plaintiffs’ complaint against

 J.P. Morgan Chase occurred, in substantial part, in the State of Michigan, and

 Plaintiffs’ claims against J.P. Morgan Chase arise out of relate to J.P. Morgan’s




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 substantial contacts in Michigan and purposeful availment of the benefits and

 protections of Michigan’s laws.

         11.   J.P. Morgan Chase is subject to personal jurisdiction under

 Michigan’s long-arm statute because the acts and omissions that form the basis of

 Plaintiffs’ claims against J.P. Morgan Chase constitute the transaction of business

 in Michigan, the doing or causing an act to be done, and consequences to occur, in

 Michigan resulting in tortious harm to Plaintiffs, and entering into a contract for

 services to be performed or materials to be furnished in Michigan by J.P. Morgan

 Chase.

         12.   Wells Fargo is a nationally chartered bank with principal executive

 offices at 101 North Phillips Avenue, Sioux Falls, South Dakota.

         13.   This Court may exercise specific personal jurisdiction over Wells

 Fargo because the acts that form the basis of Plaintiffs’ complaint against Wells

 Fargo occurred, in substantial part, in the State of Michigan, and Plaintiffs’ claims

 against Wells Fargo arise out of relate to Wells Fargo’s substantial contacts in

 Michigan and purposeful availment of the benefits and protections of Michigan’s

 laws.

         14.   Wells Fargo is subject to personal jurisdiction under Michigan’s long-

 arm statute because the acts and omissions that form the basis of Plaintiffs’ claims

 against Wells Fargo constitute the transaction of business in Michigan, the doing or



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 causing an act to be done, and consequences to occur, in Michigan resulting in

 tortious harm to Plaintiffs, and entering into a contract for services to be performed

 or materials to be furnished in Michigan by Wells Fargo.

       15.    Stifel is a Delaware corporation with its principal executive office

 located at 501 North Broadway, St. Louis, Missouri 63102.

       16.    This Court may exercise specific personal jurisdiction over Stifel

 because the acts that form the basis of Plaintiffs’ complaint against Stifel occurred,

 in substantial part, in the State of Michigan, and Plaintiffs’ claims against Stifel

 arise out of relate to Stifel’s substantial contacts in Michigan and purposeful

 availment of the benefits and protections of Michigan’s laws.

       17.    Stifel is subject to personal jurisdiction under Michigan’s long-arm

 statute because the acts and omissions that form the basis of Plaintiffs’ claims

 against Stifel constitute the transaction of business in Michigan, the doing or

 causing an act to be done, and consequences to occur, in Michigan resulting in

 tortious harm to Plaintiffs, and entering into a contract for services to be performed

 or materials to be furnished in Michigan by Stifel.

       18.    This Court has subject matter jurisdiction of Plaintiffs’ claims against

 J.P. Morgan Chase, Wells Fargo, and Stifel under 28 U.S.C. §§ 1331 and 1343.

       19.    Additionally, the Court may exercise supplemental jurisdiction over

 Plaintiffs’ non-federal claim under 28 U.S.C. § 1367(a).



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        20.    Venue is appropriate under 28 U.S.C. § 1391(b)(2) because a

 substantial part of the events and omissions giving rise to Plaintiffs’ claims

 occurred in this judicial district.

                               STATEMENT OF FACTS

        21.    From approximately 1964 to 2014, the City of Flint purchased water

 from the DWSD.3 During this 50-year span, flint water users enjoyed safe, clean,

 fresh water in their homes, businesses, schools, hospitals and other places of public

 services.

        22.    Motivated principally by the actions, political pressure and efforts of

 Genesee County Drain Commissioner Jeffrey Wright, in 2009, the communities of

 Flint, Genesee County, Sanilac County, Lapeer County and the City of Lapeer,

 formed the KWA to explore the development of a water delivery system that

 would draw water from Lake Huron and serve as an alternative to water delivered

 by the DWSD.

        23.    All parties to the KWA knew that the cost and amount of construction

 would be significant.




        3
             The DWSD is presently known as the Great Lakes Water Authority,
 and common abbreviated as “GLWA.” However, throughout the litigation of the
 Flint Water Cases, the entity has gone by its old name and the abbreviation
 DWSD. This Complaint will likewise use the abbreviation DWSD.

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       24.    To supply Lake Huron water to its contracting members, the KWA

 would be required to construct a lake water intake,4 sixty-three miles of pipe from

 the intake plant to Flint, and two pump stations.

       25.    The projected construction cost of building the KWA water system

 was approximately $300 million.

       26.    By the spring of 2013, Wright had secured 30-year commitments from

 KWA member communities—except for Flint—to purchase millions of gallons of

 water. These commitments were necessary in order to sell $280 million worth of

 bonds to finance the project.

       27.    In the spring of 2013, Officials from the State of Michigan, Genesee

 County, Lapeer County, Sanilac County, and the City of Flint (collectively, the

 “Issuers”) reached out to J.P. Morgan Chase, Wells Fargo, and Stifel to secure

 financing through a bond sale for the KWA’s construction and a meeting was

 scheduled to discuss the viability of the project and Defendant Underwriters’

 participation in bonding to help fund it.

       28.    The State of Michigan and Flint officials that attended the meeting

 expressed the goal of Flint joining the KWA.

       29.    Without the financing from J.P. Morgan Chase, Wells Fargo, and

 Stifel, the City of Flint would not have been able to pay its portion to join the

       4
              Ultimately, the intake facility was financed from a $35 million bond
 sale in October 2013.

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 KWA and therefore would have had no choice but to continue purchasing water

 from the DWSD.

         30.   J.P. Morgan Chase was made aware of this fact during the meeting.

         31.   Wells Fargo was made aware of this fact during the meeting.

         32.   Stifel was made aware of this fact during the meeting.

         33.   J.P. Morgan Chase, Wells Fargo, and Stifel agreed to underwrite the

 bond sale.5

         34.   The underwriting ultimately became the “Series 2014A” bond sale.

         35.   When a municipality issues bonds, one method of conducting the

 bond sale is through a negotiated dealer agreement.

         36.   This is called a “negotiated sale” because the issuer and the

 underwriter work closely together and privately negotiate the terms of the bond

 sale.

         37.   A negotiated bond sale fosters confidentiality between the issuer and

 the underwriter.




         5
               The terms of the agreement are set forth in a 2014 Official Statement
 of the Karegnondi Water Authority, Counties of Genesee, Lapeer, Sanilac, and
 State of Michigan, for $220,500,000 Water System Supply Bonds (Karegnondi
 Water Pipeline), Series 2014A, dated April 4, 2014, attached hereto as Exhibit 1,
 as well as in the Supplement to the Official Statement, dated May 1, 2014, attached
 hereto as Exhibit 2. The identities of the underwriters are noted on page 1 of both
 Exhibits 1 and 2.

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       38.     In a negotiated sale, the issuer sells all of the bonds to one or more

 underwriters, and the underwriter or underwriters in turn resell them to investor

 clients or on an open securities market.

       39.    The underwriter in a negotiated sale works closely with the issuer’s

 financing team to determine the financing parameters, with the goal of attracting

 investors to meet the issuer’s requirements.

       40.    Part of what the underwriter does in working with the issuer is to

 tailor the bond sale’s terms to the interests of the underwriter’s institutional

 investor clients.

       41.    One reason for using a negotiated sale instead of other sales methods,

 such as a competitive sale, is because of the poor credit and limited financial

 solvency of the issuer of the bonds.

       42.    Under the circumstances that existed at all material times, Flint had

 poor credit and limited (if any) financial solvency.

       43.    However, because there is an absence of competitive bidding by

 potential underwriters, the bond issuer in a negotiated sale typically has less

 negotiating power.

       44.    An underwriter in a negotiated sale typically purchases the bonds on a

 discount and becomes an interested party to the transaction.

       45.    Pursuant to MSRB Rule G-17, underwriters of municipal bonds have



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 a duty to deal fairly with all persons and not engage in deceptive, dishonest, or

 unfair practices.

       46.    An underwriter implicitly represents that there is a reasonable basis

 for the opinions the underwriter offers, and implicitly represents that the

 underwritten project will be completed, including all subsidiary actions necessary

 for the completion of the larger project.

       47.    Dealing fairly with all persons requires conducting a reasonable

 investigation and determining reasonably ascertainable facts about the municipal

 bond sale.

       48.    In the United States, approximately $400,000,000,000 in municipal

 bonds are issued annually.

       49.    A sizeable portion of these municipal bonds go to infrastructure

 projects, including water utilities.

       50.    In 2016 alone, nearly $38,000,000,000 in municipal bonds were

 issued for water infrastructure projects.6

       51.    Any reasonable underwriter dealing in water infrastructure projects is

 aware that America has an aging public water infrastructure, which often means a

 significant amount of lead pipes and water service lines.


       6
             See NACWA, Tax Exempt Municipal Bonds, available at:
 https://www.nacwa.org/advocacy-analysis/campaigns/tax-exempt-municipal-bond-
 resource-hub.

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       52.    This was also the case at all times dating back to before 2013.

       53.    Additionally, any reasonable underwriter would be familiar with the

 centralized water distribution that is common to public water utilities.

       54.    This was also the case at all times dating back before 2013.

       55.    Part and parcel of centralized water distribution is a centralized water

 treatment facility that ensures the water distributed to customers and water users is

 safe to drink.

       56.    Any reasonable underwriter either employs an internal public water

 expert or else retains a consultant with significant public water expertise. The

 expert has an intimate knowledge of regional water hydrology, public water

 systems, engineering, water treatment, and water chemistry, among other things.

       57.    This was also the case at all times dating back before 2013.

       58.    J.P. Morgan Chase employs such an internal public water expert or

 retains such an external public water consultant who provides guidance and subject

 matter expertise on municipal water infrastructure as a part of municipal bond

 underwriting.

       59.    Wells Fargo employs such an internal public water expert or retains

 such an external public water consultant who provides guidance and subject matter

 expertise on municipal water infrastructure as a part of municipal bond

 underwriting.



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       60.    Stifel employs such an internal public water expert or retains such an

 external public water consultant who provides guidance and subject matter

 expertise on municipal water infrastructure as a part of municipal bond

 underwriting.

       61.    One risk than an underwriter considers is potential litigation.

       62.    The Series 2014A bond sale was a negotiated bond sale.

       63.    Defendant Underwriters purchased the bonds at a substantial discount.

       64.    Defendant Underwriters purchased all of the bonds.

       65.    During the same time the Issuers were negotiating the bond sale with

 J.P. Morgan Chase, Wells Fargo, and Stifel, Flint executed a financing contract

 with the KWA on August 1, 2013.7 Flint would be required to pay its pro rata

 portion of the $300,000,000 contract.

       66.    Flint’s share was about $85 million.

       67.    Flint was to be responsible for approximately 34.2% of the debt

 service on the KWA’s construction.

       68.    J.P. Morgan Chase, Wells Fargo, and Stifel were made aware of the

 terms of the August 1, 2013 KWA financing contract.

       69.    J.P. Morgan Chase, Wells Fargo, and Stifel were themselves provided

 key information about the KWA system and then shared advice with the Issuers

       7
              See December 2017 Three Party Agreement, attached hereto as
 Exhibit 3.

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 about the KWA system, its components, and how the system and its components

 would be financed.

       70.    Flint had little if any financial ability to meet its potential

 commitments under the KWA.

       71.    Beginning in 2011, Flint was placed under the authority of an

 emergency manager. It would remain under emergency management until 2015.

       72.    This was not the first time Flint had been placed under State economic

 control: Flint was placed under State economic management for two years between

 2002 and 2004.

       73.    Indeed, Flint was a notable example of the economic hardship that

 follows deindustrialization.

       74.    In short, it was well known that Flint was a financially distressed city.

       75.    It was clear that Flint would not be able to bear its portion—$85

 million—of the KWA construction cost.

       76.    Indeed, upon information and belief, throughout the underwriting

 process, J.P. Morgan Chase, Wells Fargo, and Stifel each had unfettered access to

 Flint’s financial records.

       77.    Without Flint’s participation in the KWA project, everyone involved

 on the underwriting side, including executives, agents and employees of J.P.

 Morgan Chase knew that it was doubtful that the project could be financed.



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       78.    Without Flint’s participation in the KWA project, everyone involved

 on the underwriting side, including executives, agents and employees of Wells

 Fargo knew that it was doubtful that the project could be financed.

       79.    Without Flint’s participation in the KWA project, everyone involved

 on the underwriting side, including executives, agents and employees of Stifel

 knew that it was doubtful that the project could be financed.

       80.    It was anticipated that if the financing for the KWA project was

 secured by April of 2014, the project could be completed by the end of 2016.

       81.    Ultimately, the KWA pipeline was completed in November 2017.8

       82.    The construction timeline would prove crucial for Flint.

       83.    At all material times, J.P. Morgan Chase was aware that the Flint

 River would be utilized as an interim water source beginning in April 2014 through

 completion of the KWA.

       84.    At all material times, Wells Fargo was aware that the Flint River

 would be utilized as an interim water source beginning in April 2014 through

 completion of the KWA.

       85.    At all material times, Stifel was aware that the Flint River would be

 utilized as an interim water source beginning in April 2014 through completion of

 the KWA

       8
               By that time, Flint was no longer part of the KWA. However, Flint is
 still contractually required to pay its portion of the debt service.

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       86.    Unlike the finished water from DWSD, the water to be delivered to

 Flint from the Flint River would be raw, requiring considerable treatment at the

 Flint WTP.

       87.    At all material times this information was known by J.P. Morgan

 Chase.

       88.    At all material times this information was known by Wells Fargo.

       89.    At all material times this information was known by Stifel.

       90.    All individuals involved in the decision-making process regarding

 participation in the bond sale for J.P. Morgan Chase knew that if Flint stayed with

 the DWSD as its water source, the Flint WTP would not have to be upgraded.

       91.    On the other hand, they all knew that if Flint went with KWA, the

 Flint WTP would have to be upgraded to treat the raw water coming from Lake

 Huron.

       92.    All individuals involved in the decision-making process regarding

 participation in the bond sale for Wells Fargo knew that if Flint stayed with the

 DWSD as its water source, the Flint WTP would not have to be upgraded.

       93.    On the other hand, they all knew that if Flint went with KWA, the

 Flint WTP would have to be upgraded to treat the raw water coming from Lake

 Huron.




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         94.   All individuals involved in the decision-making process regarding

 participation in the bond sale for Stifel knew that if Flint stayed with the DWSD as

 its water source, the Flint WTP would not have to be upgraded.

         95.   On the other hand, they all knew that if Flint went with KWA, the

 Flint WTP would have to be upgraded to treat the raw water coming from Lake

 Huron

         96.   Likewise, when it became apparent that the Flint River would be used

 as an interim water source, it was well known that the water would have to be

 treated by the Flint WTP.

         97.   At all material times it was well known that the Flint WTP could not

 handle the raw Flint River water without substantial upgrades.

         98.   At all material times this information was known by J.P. Morgan

 Chase.

         99.   At all material times this information was known by Wells Fargo.

         100. At all material times this information was known by Stifel.

         101. The Flint WTP, which had originally been constructed in 1917, had

 been “mothballed” in 1965 when Flint changed water sources from the Flint River

 to pre-treated water provided by DWSD. Flint had opted for DWSD water in 1965

 after a 1964 U.S. Geological Survey report noted high levels of chloride in the




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 Flint River, which raised concerns about the capacity of the Flint River to provide

 safe drinking water under the then-current arrangement.

       102. At all material times this information was known by J.P. Morgan

 Chase.

       103. At all material times this information was known by Wells Fargo.

       104. At all material times this information was known by Stifel.

       105. At all material times Flint’s water was thus seriously corrosive.

       106. At all material times this information was known by J.P. Morgan

 Chase.

       107. At all material times this information was known by Wells Fargo.

       108. At all material times this information was known by Stifel.

       109. In 2013 and 2014, Flint had an aging network of predominately lead

 piping and service lines.

       110. At all material times this information was known by J.P. Morgan

 Chase.

       111. At all material times this information was known by Wells Fargo.

       112. At all material times this information was known by Stifel.

       113. In 2013 and 2014, Flint had a centralized water distribution network

 that flowed through the then-supplementary Flint WTP.




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       114. Any reasonable water expert would inquire into what upgrades had

 been made to the Flint WTP or what concrete plans were in the works to upgrade

 the Flint WTP in anticipation of utilizing the Flint River as a water source.

       115. There were in-fact no significant upgrades to the FWTP between 1965

 and 2014.

       116. At all material times J.P. Morgan Chase was aware that necessary

 upgrades to the Flint WTP had not been made and could not be made in time for

 the City’s utilization of the Flint River as a water source.

       117. At all material times Wells Fargo was aware that necessary upgrades

 to the Flint WTP had not been made and could not be made in time for the City’s

 utilization of the Flint River as a water source.

       118. At all material times Stifel was aware that necessary upgrades to the

 Flint WTP had not been made and could not be made in time for the City’s

 utilization of the Flint River as a water source

       119. Any reasonable expert would inquire into what Flint’s plan to

 implement corrosion control would be in anticipation of utilizing the Flint River as

 a water source.

       120. Upon information and belief, J.P. Morgan Chase was made aware,

 through its internal public water expert or its external public water consultant, that

 there was no practical way to implement proper corrosion controls to treat water



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 from the Flint River, in the short time before the Flint WTP was to become fully

 operational utilizing the Flint River as the primary water source for the citizens of

 Flint.

          121. Upon information and belief, Wells Fargo was made aware, through

 its internal public water expert or its external public water consultant, that there

 was no practical way to implement proper corrosion controls to treat water from

 the Flint River, in the short time before the Flint WTP was to become fully

 operational utilizing the Flint River as the primary water source for the citizens of

 Flint.

          122. Upon information and belief, Stifel was made aware, through its

 internal public water expert or its external public water consultant, that there was

 no practical way to implement proper corrosion controls to treat water from the

 Flint River, in the short time before the Flint WTP was to become fully operational

 utilizing the Flint River as the primary water source for the citizens of Flint.

          123. Flint and State officials did not intend to and could not properly

 implement corrosion control as part of the switch to Flint River water in the short

 time before the Flint WTP was to become fully operational utilizing the Flint River

 as the primary water source for the citizens of Flint.9


          9
              These officials would later represent (misleadingly) to the EPA that
 corrosion control was unnecessary because the Flint WTP was a “new source,” not
 a reactivated source.

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          124. Any reasonable water expert would understand that, without

 appropriate corrosion control technology or methods, highly corrosive water would

 strip away protective biofilm in lead pipes and cause lead to leach into the drinking

 water.

          125. At all material times this information was known by J.P. Morgan

 Chase.

          126. At all material times this information was known by Wells Fargo.

          127. At all material times this information was known by Stifel.

          128. In 2011, Flint officials commissioned a study to determine if the Flint

 River could be safely used by the city as the primary source of drinking water.

          129. The “Analysis of the Flint River as a Permanent Supply for the City of

 Flint, July 2011” (“2011 Report”), prepared by two private engineering firms

 cautioned against the use of the Flint River water and the dormant Flint WTP,

 which would cost millions of dollars to upgrade.

          130. At all material times this information was known by J.P. Morgan

 Chase, and J.P. Morgan Chase was provided access to the 2011 Report prior to its

 participation in the bonding process made the basis of this lawsuit.

          131. At all material times this information was known by Wells Fargo, and

 Wells Fargo was provided access to the 2011 Report prior to its participation in the

 bonding process made the basis of this lawsuit.



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         132. At all material times this information was known by Stifel, and Stifel

 was provided access to the 2011 Report prior to its participation in the bonding

 process made the basis of this lawsuit.

         133. Use of the Flint River as a primary drinking source was rejected in

 2011.

         134. At all material times this information was known by J.P. Morgan

 Chase.

         135. At all material times this information was known by Wells Fargo.

         136. At all material times this information was known by Stifel.

         137. Throughout 2012, DWSD presented to Kurtz, Wright, Dillon, Walling

 and the Governor compelling arguments, based on numerous studies,

 demonstrating that from a cost and water reliability standpoint, Flint needed to

 continue to receive water from DWSD.

         138. At all material times this information was known by J.P. Morgan

 Chase.

         139. At all material times this information was known by Wells Fargo.

         140. At all material times this information was known by Stifel.

         141. In late 2012, the independent engineering firm of Tucker, Young,

 Jackson and Tull (“TYJT”) was hired to assess whether it would be cost-effective




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 for Flint to switch from water supplied by DWSD and join the KWA water

 delivery system.

       142. In February 2013, TYJT concluded that it would be more cost-

 effective for Flint on both a short term and long-term basis to continue to be

 supplied with water from DWSD.

       143. At all material times this information was known by J.P. Morgan

 Chase, and J.P. Morgan Chase was provided access to the 2013 TYJT Report prior

 to its participation in the bonding process made the basis of this lawsuit.

       144. At all material times this information was known by Wells Fargo, and

 Wells Fargo was provided access to the 2013 TYJT Report prior to its participation

 in the bonding process made the basis of this lawsuit.

       145. At all material times this information was known by Stifel, and Stifel

 was provided access to the 2013 TYJT Report prior to its participation in the

 bonding process made the basis of this lawsuit.

       146. On March 27, 2013, MDEQ officials, sensing that Flint was on the

 verge of joining the KWA, acknowledged that the decision to switch the water

 source for Flint was not based on a scientific assessment of the suitability of the

 Flint River water.

       147. At all material times this information was known by J.P. Morgan

 Chase.



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          148. At all material times this information was known by Wells Fargo.

          149. At all material times this information was known by Stifel.

          150. During the negotiation and investigation of the Series 2014A bond

 issuance, J.P. Morgan Chase became aware that Flint had little ability to finance its

 bonding obligations, let alone any other substantial obligations which were not

 being financed through the bond sale.

          151. During the negotiation and investigation of the Series 2014A bond

 issuance, Wells Fargo became aware that Flint had little ability to finance its

 bonding obligations, let alone any other substantial obligations which were not

 being financed through the bond sale.

          152. During the negotiation and investigation of the Series 2014A bond

 issuance, Stifel became aware that Flint had little ability to finance its bonding

 obligations, let alone any other substantial obligations which were not being

 financed through the bond sale.

          153. During the negotiation and investigation of the Series 2014A bond

 issuance, J.P. Morgan Chase became aware that the Flint River water was seriously

 corrosive due in part to pollution from industrial discharges and runoff from Flint’s

 roads.

          154. During the negotiation and investigation of the Series 2014A bond

 issuance, Wells Fargo became aware that the Flint River water was seriously



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 corrosive due in part to pollution from industrial discharges and runoff from Flint’s

 roads.

          155. During the negotiation and investigation of the Series 2014A bond

 issuance, J.P. Morgan Chase became aware that the Flint River water was seriously

 corrosive due in part to pollution from industrial discharges and runoff from Flint’s

 roads.

          156. During the negotiation and investigation of the Series 2014A bond

 issuance, J.P. Morgan Chase became aware that Flint had originally started

 purchasing water from DWSD because of the corrosivity of the Flint River.

          157. During the negotiation and investigation of the Series 2014A bond

 issuance, Wells Fargo became aware that Flint had originally started purchasing

 water from DWSD because of the corrosivity of the Flint River.

          158. During the negotiation and investigation of the Series 2014A bond

 issuance, Stifel became aware that Flint had originally started purchasing water

 from DWSD because of the corrosivity of the Flint River.

          159. During the negotiation and investigation of the Series 2014A bond

 issuance, J.P. Morgan Chase became aware that that Flint had an aging water

 infrastructure of predominately lead service lines.




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          160. During the negotiation and investigation of the Series 2014A bond

 issuance, Wells Fargo became aware that that Flint had an aging water

 infrastructure of predominately lead service lines.

          161. During the negotiation and investigation of the Series 2014A bond

 issuance, Stifel became aware that that Flint had an aging water infrastructure of

 predominately lead service lines.

          162. During the negotiation and investigation of the Series 2014A bond

 issuance, J.P. Morgan Chase became aware that the Flint WTP had been

 mothballed in 1965 and that no meaningful upgrades had been made in the last 50

 years.

          163. During the negotiation and investigation of the Series 2014A bond

 issuance, Wells Fargo became aware that the Flint WTP had been mothballed in

 1965 and that no meaningful upgrades had been made in the last 50 years.

          164. During the negotiation and investigation of the Series 2014A bond

 issuance, Stifel became aware that the Flint WTP had been mothballed in 1965 and

 that no meaningful upgrades had been made in the last 50 years.

          165. During the negotiation and investigation of the Series 2014A bond

 issuance, J.P. Morgan Chase became aware that it was actually in Flint’s financial

 best interest to remain with DWSD and not participate in the KWA or the

 municipal bond sale that would finance the KWA’s construction.



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       166. During the negotiation and investigation of the Series 2014A bond

 issuance, Wells Fargo became aware that it was actually in Flint’s financial best

 interest to remain with DWSD and not participate in the KWA or the municipal

 bond sale that would finance the KWA’s construction.

       167. During the negotiation and investigation of the Series 2014A bond

 issuance, Stifel became aware that it was actually in Flint’s financial best interest

 to remain with DWSD and not participate in the KWA or the municipal bond sale

 that would finance the KWA’s construction.

       168. Furthermore, the terms of the dubious March 20, 2014 Administrative

 Consent Order were made known to J.P. Morgan Chase, Wells Fargo, and Stifel.

       169. Like many other water treatment plants, the Flint WTP softened the

 water it treated.

       170. One method of softening water is with lime.

       171. A byproduct of softening water with lime is lime sludge, which

 requires long-term disposal options.

       172. The City of Flint maintained an “open dump” for disposing lime

 sludge at 5200 Bray Road, Genesee Township, Genesee County, Michigan, despite

 the fact that little to no sludge was being dumped there at any point relative in time

 to the underlying facts made the basis of this lawsuit.




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       173. The March 20, 2014 Administrative Consent Order was used as a

 pretext for the issuance of bonds.

       174. At all material times this information was known by J.P. Morgan

 Chase.

       175. At all material times this information was known by Wells Fargo.

       176. At all material times this information was known by Stifel.

       177. The Administrative Consent Order was signed by Peter Bade, Chief

 Legal Officer of the City of Flint, and Bryan Feighner, Chief of the Michigan

 Department of Environmental Quality’s Office of Waste Management and

 Radiological Protection on or about March 20, 2014.

       178. The Administrative Consent Order purported to require Flint to use

 raw water from the Flint River and to undertake an $8,000,000 upgrade to the Flint

 WTP to safely handle the Flint River water.

       179. At all material times this information was known by J.P. Morgan

 Chase.

       180. At all material times this information was known by Wells Fargo.

       181. At all material times this information was known by Stifel.

       182. Indeed, the April 2014 Official Statement notes that $8,000,000 of

 upgrades and renovations were necessary for the Flint WTP to function properly

 and safely: “Flint will be required to make an estimated $8,000,000 in



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 improvements to convert the plant from stand-by to fully operational and to

 accommodate the flow of water from the System.” Exhibit 1, at 11.

         183. However, the $8,000,000 worth of required upgrades to the Flint WTP

 were not being financed through the Series 2014A municipal bond sale, nor was

 there enough time to begin, let alone complete and implement, the upgrades before

 the end of April 2014, nor could Flint afford the upgrades without taking on more

 debt.

         184. At all material times this information was known by J.P. Morgan

 Chase and it was known that without taking on a substantial amount of debt Flint

 could not afford these upgrades.

         185. At all material times this information was known by Wells Fargo and

 it was known that without taking on a substantial amount of debt Flint could not

 afford these upgrades.

         186. At all material times this information was known by Stifel and it was

 known that without taking on a substantial amount of debt Flint could not afford

 these upgrades.

         187. According to a permit issued by the MDEQ, the City of Flint’s

 application proposed various “[i]mprovements to the City of Flint Lime Sludge

 Lagoons . . . to allow lime sludge from the Flint WTP to be stored during the

 interim period when the plant [would] be treating Flint River water.”



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       188. At all material times this information was known by J.P. Morgan

 Chase.

       189. At all material times this information was known by Wells Fargo.

       190. At all material times this information was known by Stifel.

       191. The anticipated cost of making necessary improvements to the lime

 sludge lagoon was actually a mere $3 million (though Flint could not afford that

 amount either).10

       192. The portion of the bond financing for Flint was for more than $85

 million dollars—approximately the cost of Flint’s anticipated share of construction

 of the KWA pipeline.

       193. Upon information and belief, proceeds from the Series 2014A bond

 sale also did not pay for the $3 million lime sludge lagoon.

       194. J.P. Morgan Chase, Wells Fargo, and Stifel all understood that the

 Administrative Consent Order was a pretext to permit Flint to be a part of the

 KWA Series 2014A bond sale.

       195. J.P. Morgan Chase, Wells Fargo, and Stifel all understood at the time

 they underwrote the bonds that if Flint entered the KWA, it would necessarily

 cease receiving water from the DWSD.


       10
              Estimates of the cost of remediating the lime sludge lagoon varied
 within a range of $1 million to $8 million, but $3 million was the most common
 estimate. Flint could not afford to remediate the lime sludge lagoon at any price.

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          196. J.P. Morgan Chase, Wells Fargo, and Stifel all understood at the time

 of the bond financing that if Flint left the DWSD, the Flint River would serve as an

 interim water source and that the Flint WTP would be required to treat the water,

 since raw Flint River water contains excessive chloride, which can strip a

 protective film from pipes and cause lead from aging pipes to leach into drinking

 water.

          197. J.P. Morgan Chase, Wells Fargo, and Stifel all understood at the time

 each approved the bond financing that the Flint River had previously been

 considered and rejected as unsafe in 2011.

          198. J.P. Morgan Chase, Wells Fargo, and Stifel all understood at the time

 each approved the bond financing that the Flint WTP was not capable of treating

 the raw Flint River water without significant upgrades.

          199. At all material times, J.P. Morgan Chase, Wells Fargo, and Stifel were

 aware that no later than April 30, 2014, the FWTP was going to become fully

 operational for the purpose of utilizing the Flint River as a primary water source,

 without the necessary upgrades to do so safely and without the proper corrosion

 controls.

          200. Since J.P. Morgan Chase, Wells Fargo, and Stifel were underwriting

 the KWA’s bond financing, they had access to detailed information about Flint’s




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 finances and general fund, and each knew that Flint did not have access to funding

 to pay for $8,000,000 of upgrades.

       201. When J.P. Morgan Chase, Wells Fargo, and Stifel were determining

 whether to underwrite the KWA Series 2014A bond sale, no credible information

 was received to suggest that Flint had any intention of expeditiously upgrading the

 Flint WTP.

       202. In point of fact, the Flint WTP was never upgraded.

       203. Moreover, J.P. Morgan Chase, Wells Fargo, and Stifel understood at

 the time they approved financing that there were no plans to adequately upgrade

 the Flint WTP prior to the switch, and that consumption of water by end users, and

 in particular children, including Plaintiffs, would result in serious, irreversible

 bodily harm.11

       204. When J.P. Morgan Chase, Wells Fargo, and Stifel approved the Series

 2014A bond sale on April 4, 2014, the Administrative Consent Order was 14 days

 old, neither Flint, nor Emergency Manager Darnell Earley, nor any official from

 the State of Michigan expressed any intention to construct the necessary upgrades

 for the Flint WTP to function safely.


       11
               It was also contemplated that Genesee County would construct its
 own water treatment plant, which would function alongside Flint’s WTP and also
 treat Flint’s water. See Exhibit 2, at 12. However, there was not any concrete plan
 to construct the plan at that time. Ultimately, Genesee County’s water treatment
 plant was completed and became operational in November 2017.

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       205. Indeed, no reasonable underwriter employing or retaining a public

 water infrastructure expert would have believed that the Flint WTP could be

 comprehensively upgraded in the short time period—less than a month—before the

 switch to the Flint River as a primary drinking source.

       206. J.P. Morgan Chase, Wells Fargo, and Stifel understood that the State

 of Michigan, Darnell Earley, Jeffrey Wright, and the City of Flint intended to use

 raw and untreated water (with no corrosion control) from the Flint River as an

 interim source of drinking water in Flint until construction on the KWA pipeline

 could be completed.

       207. J.P. Morgan Chase, Wells Fargo, and Stifel therefore understood that

 if the negotiated bond sale financing the KWA (including Flint’s participation in

 the KWA) was approved, Flint would begin receiving raw, untreated water from

 the Flint River and would continue to receive that raw and untreated water for

 years before the Flint WTP was completed—all at a cost of $8,000,000 that J.P.

 Morgan Chase, Wells Fargo, and Stifel knew Flint could not afford.

       208. Any minimal (let alone reasonable or thorough) investigation would

 have shown the health hazards inherent in the raw Flint River water, which was at

 that time not treatable by the Flint WTP.




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         209. J.P. Morgan Chase, Wells Fargo, and Stifel certainly knew of the

 health hazards and decided that the money they stood to make on the deal was well

 worth the impact on the residents of Flint.

         210. J.P. Morgan Chase, Wells Fargo, and Stifel did not turn a “blind eye”

 to the risks, their eyes were wide open. They simply did not care. There was

 simply too much money to be made to be concerned with the health and welfare of

 an impoverished community.

         211. Any minimal (let alone reasonable or thorough) investigation would

 have shown that lead leaching into drinking water and causing widespread and

 permanent lead poisoning was within the scope of risks created by the reckless

 plan to leave DWSD and use the Flint River as an interim water source.

         212. During their investigation into the bonding project, J.P. Morgan

 Chase, Wells Fargo, and Stifel were intimately aware of the above facts.

         213. Consequently, it was foreseeable that approving the bond financing,

 which included financing Flint’s portion of the KWA’s construction costs, would

 result in Flint leaving the DWSD in a manner that necessarily entailed the use of

 raw and untreated Flint River water, exposing Flint’s residents and water users to

 lead.

         214. Yet, J.P. Morgan Chase, Wells Fargo, and Stifel all agreed to

 underwrite the Series 2014A bonds as part of a negotiated bond sale anyway.



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       215. J.P. Morgan Chase, Wells Fargo, and Stifel all therefore agreed and

 supported the general objective of the Series 2014A bond financing, which was the

 construction of the KWA pipeline and Flint’s full participation in the KWA and

 ultimately use of the KWA water.

       216. However, a necessary component of the plan to complete construction

 of the KWA pipeline and ensure Flint’s full participation in the KWA included as a

 necessary component the use of raw and untreated water from the Flint River

 without corrosion control for an extended period of time.

       217. J.P. Morgan Chase, Wells Fargo, and Stifel all therefore agreed to and

 were part of a plan that included, as a necessary component, exposing Flint’s

 residents and water users to dangerously corrosive water that was passing through

 lead pipes.

       218. The plan, of which J.P. Morgan Chase, Wells Fargo, and Stifel were

 all a part, was certain to deprive the residents, children, and water users of their

 clearly established right to bodily integrity.

       219. J.P. Morgan Chase, Wells Fargo, and Stifel all agreed to a plan they

 knew would result in the deprivation of Flint residents’ and water users’ clearly

 established right to bodily integrity.

       220. By purchasing all of the Series 2014A bonds (at a discount) and then

 reselling them, J.P. Morgan Chase, Wells Fargo, and Stifel stood to make a



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 substantial profit and were therefore interested in the Series 2014A bond sale’s

 approval.

       221. By approving the Series 2014A bond financing that would finance

 Flint’s portion of the construction of the KWA, and thus its entry into the KWA,

 J.P. Morgan Chase, Wells Fargo, and Stifel ensured that Flint’s residents and water

 users would begin receiving dangerous and unpotable water.

       222. J.P. Morgan Chase, Wells Fargo, and Stifel were necessarily major

 components of the switch from DWSD water to Flint River water, if not the most

 major components (they had the money to make it happen and stood to make the

 most money when it happened).

       223. J.P. Morgan Chase, Wells Fargo, and Stifel’s underwriting of such a

 large bond sale enabled the Government Defendants to carry out the plan that led

 to thousands of Flint’s residents, children, and other water users to be tragically

 lead-poisoned and exposed to legionella bacteria.




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                                       COUNTS

                         COUNT XIII:
   CONSPIRACY TO VIOLATE PLAINTIFFS’ CLEARLY ESTABLISHED
      RIGHT TO BODILY INTEGRITY UNDER THE FOURTEENTH
   AMENDMENT’S DUE PROCESS CLAUSE, THROUGH 42 U.S.C. § 1983
     AGAINST J.P. MORGAN CHASE, WELLS FARGO, AND STIFEL

       224. Plaintiffs re-allege and incorporate by reference all allegations

 previously alleged in the Amended Master Long Form Complaint and in this Short

 Form Complaint as if fully alleged herein.

       225. Plaintiffs have a clearly established fundamental right under the sub-

 stantive due process clause of the Fourteenth Amendment to the United States

 Constitution to bodily integrity.

       226. There was a single plan, of which J.P. Morgan Chase, Wells Fargo,

 and Stifel were conspirators, to finance Flint’s participation in the KWA even

 though it was apparent that raw and untreatable water from the Flint River would

 be used as an interim water source.

       227. J.P. Morgan Chase, Wells Fargo, and Stifel took an overt action in

 agreeing to finance the City of Flint’s participation in the KWA through the Series

 2014A bond sale.

       228. Likewise, several Government Defendants carried out overt acts as a

 part of the plan. Namely, they engineered and carried out the switch from DWSD

 water to raw Flint River water.



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       229. Because the switch of water sources to the Flint River would have

 been impossible without J.P. Morgan Chase, Wells Fargo, and Stifel’s financing of

 the City of Flint’s entry into the KWA, J.P. Morgan Chase, Wells Fargo, and

 Stifel’s financing of the KWA was a but-for cause and a proximate cause of the

 switch to the Flint River and of the injuries that directly resulted therefrom.

       230. The conduct of J.P. Morgan Chase, Wells Fargo, and Stifel, acting

 under color of law, endangered and/or threatened Plaintiffs’ fundamental liberty

 interest to bodily integrity as guaranteed by the Due Process Clause of the

 Fourteenth Amendment to the United States Constitution.

       231. J.P. Morgan Chase, Wells Fargo, and Stifel were all aware that their

 conduct in underwriting a bond sale to construct a pipeline, which necessarily

 would entail using raw and untreated Flint River water as an interim water source

 for Flint, could result in the deprivation of Plaintiffs’ fundamental due process

 rights to bodily integrity.

       232. J.P. Morgan Chase, Wells Fargo, and Stifel deliberately and

 knowingly breached the constitutionally protected bodily integrity of Plaintiffs by

 providing funding for the transition to the KWA, which necessarily entailed using

 the corrosive water from the Flint River without an updated and upgraded Flint

 Water Treatment Plant, with deliberate indifference to the known risks of harm that

 result from the ongoing exposure to contaminated water to Plaintiffs.



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        233. J.P. Morgan Chase, Wells Fargo, and Stifel had the opportunity to

  reflect and deliberate before they acted and/or failed to act.

        234. As a direct and proximate result of the unconstitutional acts of J.P.

  Morgan Chase, Wells Fargo, Stifel, and other Defendants, as alleged in the

  Amended Master Complaint, and this Short Form Complaint, Plaintiffs have

  suffered violations of their fundamental rights to bodily integrity, property and

  liberty interest, including but not limited to:

        a.     Serious and in some cases life-threatening and irreversible bodily
               injury;

        b.     Substantial economic losses from medical expenses, lost wages, lost
               income, lost business profits, reduced property values, among others;

        c.     Pain and suffering;

        d.     Embarrassment, outrage, mental anguish, fear and mortification, and
               stress-related physical symptoms.

        235. J.P. Morgan Chase’s conduct was both reckless and outrageous,

  entitling Plaintiffs to an award of punitive damages, as well as costs and reasonable

  attorney fees, pursuant to 42 U.S.C. § 1988.




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                            COUNT XIV:
                     PROFESSIONAL NEGLIGENCE
       AGAINST J.P. MORGAN CHASE, WELLS FARGO, AND STIFEL

        236. Plaintiffs re-allege and incorporate by reference all allegations

  previously alleged in the Amended Master Long Form Complaint and in this Short

  Form Complaint as if fully alleged herein.

        237. Pursuant to MSRB Rule G-17, Defendants J.P. Morgan Chase, Wells

  Fargo, and Stifel had a duty to deal fairly with all persons and not engage in

  deceptive, dishonest, or unfair practices.

        238. Under the common law, all persons have a duty to avoid causing

  foreseeable harm to third persons.

        239. An underwriter implicitly represents that there is a reasonable basis

  for the opinions the underwriter offers, and implicitly represents that the

  underwritten project will be completed, including all subsidiary actions necessary

  for the completion of the larger project.

        240. Dealing fairly with all persons requires conducting a reasonable

  investigation and determining reasonably ascertainable facts.

        241. J.P. Morgan Chase, Wells Fargo, and Stifel all involved themselves in

  the KWA construction plan in a manner that greatly exceeded the ordinary bond

  underwriter relationship.

        242. Defendants knew or should have known that the Flint River would be



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  used as an interim water source in Flint while the transition to the KWA took

  place.

           243. Defendants knew or should have known that the Flint River was

  corrosive and presented a serious health hazard to the citizens and water users of

  Flint.

           244. Defendants knew or should have known that, as an older city, Flint

  used a significant amount of lead service lines for water.

           245. Defendants knew or should have known that the Flint WTP required

  millions of dollars of upgrades to be able to function safely.

           246. Defendants knew or should have known that there was no agreed-

  upon plan in place to upgrade the Flint WTP before corrosive water from the Flint

  River began to pass through it, which meant that the corrosive Flint River water

  would be effectively untreated as it passed through lead pipes on its way to Flint’s

  citizens and water users.

           247. Defendants breached their duty by failing to require that the bond

  issuers—the State of Michigan, Genesee, Lapeer, and Sanilac Counties, and the

  City of Flint—agree to immediately upgrade the Flint WTP so that it could

  function safely.

           248. Defendants breached that duty by failing to require that the bond

  issuers—the State of Michigan, Genesee, Lapeer, and Sanilac Counties, and the



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  City of Flint—set forth a concrete plan to begin and complete the necessary

  upgrades to the Flint WTP before corrosive water from the Flint River began to

  pass through the Flint WTP.

        249. Defendants breached their duty by failing to disclose that there was no

  funding mechanism in place to pay for the upgrades necessary for the Flint WTP to

  function safely.

        250. Defendants breached that duty by failing to disclose that there was in

  fact no plan to begin or complete the necessary upgrades to the Flint WTP before

  corrosive water from the Flint River began to pass through the Flint WTP.

        251. It was readily foreseeable that severe injuries and other harm would

  result from financing a significant municipal project that would expose Flint’s

  citizens and water users to untreated corrosive water, which would pass through

  lead service lines, for multiple years.

        252. J.P. Morgan Chase, Wells Fargo, and Stifel therefore breached their

  duty to avoid causing foreseeable harm to third persons.

        253. As a direct and proximate result of the negligence of J.P. Morgan

  Chase, Wells Fargo, and Stifel, as alleged in the Amended Master Complaint, and

  this Short Form Complaint, Plaintiffs have suffered serious injuries, including but

  not limited to:

        a.     Serious and in some cases life-threatening and irreversible bodily
               injury;

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        b.     Substantial economic losses from medical expenses, lost wages, lost
               income, lost business profits, reduced property values, among others;

        c.     Pain and suffering;

        d.     Embarrassment, outrage, mental anguish, fear and mortification, and
               stress-related physical symptoms.

        254. Plaintiffs are therefore entitled to damages.

        255. J.P. Morgan Chase, Wells Fargo, and Stifel were reckless and grossly

  negligent, entitling Plaintiffs to award of exemplary damages.

                               RELIEF REQUESTED

        256. Plaintiffs demand judgment against J.P. Morgan Chase, Wells Fargo,

  and Stifel for:

        a.     Compensatory damages;
        b.     Punitive Damages;
        c.     Exemplary Damages;
        d.     Equitable relief;
        e.     Declaratory judgment;
        f.     Pre-judgment and post-judgment interest;
        g.     Attorneys’ fees and litigation expenses; and
        h.     Any other relief the Court deems appropriate.

  Dated: October 7, 2020

                                               Respectfully submitted,

                                               LEVY KONIGSBERG LLP

                                               /s/ Corey M. Stern
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                      Exhibit 1 to Exhibit B
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NEW ISSUE                                                                                    Rating: See “RATING” herein
Book-Entry-Only
     In the opinion of Miller, Canfield, Paddock and Stone, P.L.C., Bond Counsel, under existing law, assuming
compliance with certain covenants by the Issuer, the interest on the Bonds is excludable from gross income for federal
income tax purposes and the Bonds and the interest thereon are exempt from all taxation by the State of Michigan or by
any taxing authority within the State of Michigan, except inheritance and estate taxes and taxes on gains realized from
the sale, payment or other disposition thereof. See” TAX MATTERS” and “FORM OF APPROVING OPINION” herein for
a description of certain provisions of the Internal Revenue Code of 1986, as amended (the “Code”), which may affect the
tax treatment of interest on the Bonds for certain Bondholders.
                                       KAREGNONDI WATER AUTHORITY
                                  COUNTIES OF GENESEE, LAPEER AND SANILAC
                                             STATE OF MICHIGAN
                                                $220,500,000
                                        WATER SUPPLY SYSTEM BONDS
                                  (KAREGNONDI WATER PIPELINE), SERIES 2014A
Dated: Date of Delivery                                  Principal Due: November 1, as shown on Inside Cover Page
     The Water Supply System Bonds (Karegnondi Water Pipeline), Series 2014A (the “Bonds”) are issued under the provisions
of Act 233, Public Acts of Michigan, 1955, as amended, and a resolution adopted by the Board of Trustees of the Karegnondi
Water Authority, Counties of Genesee, Lapeer and Sanilac, State of Michigan (the “Issuer”) on November 20, 2013. The
Bonds are being issued for the purpose of paying a portion of the cost of acquiring and constructing the Issuer’s Water
Supply System (the “System”) to serve initially the City of Flint and the County of Genesee (individually a “Local Unit” and
collectively, the “Local Units”), funding a debt service reserve account, paying capitalized interest and paying the costs
of issuing the Bonds. The Bonds are to be issued in anticipation of, and are payable primarily as to principal and interest
from, payments (the “Contractual Payments”) to be made by the Local Units to the Issuer pursuant to a Contract among
the Issuer and the Local Units dated as of August 1, 2013 (the “Contract”). The Contractual Payments will be in installments
that will equal the principal and interest payments on the Bonds. Further, each Local Unit has pledged its limited tax full
faith and credit for the payment of its Contractual Payments and is obligated, to the extent necessary, as a first budget
obligation to levy ad valorem taxes on all taxable property within its boundaries for such purpose, subject to applicable
constitutional, statutory and charter tax limitations. Each Local Unit is expected to make its Contractual Payments from
revenues collected from charges imposed on the customers of its respective water supply system. The County of Genesee
in the Contract has pledged to make all payments that the City of Flint fails to make to the Issuer under the Contract. The
Issuer has irrevocably pledged the Contractual Payments for the payment of the principal of and interest on the Bonds.
     The Bonds are issuable only as fully registered Bonds without coupons, and when issued, will be registered in the name
of Cede & Co., as Bondholder and nominee for The Depository Trust Company (“DTC”), New York, New York. DTC will act
as securities depository for the Bonds. Purchases of beneficial interests in the Bonds will be made in book-entry only form,
in the denominations of $5,000 or any integral multiple thereof. Purchasers will not receive certificates representing their
beneficial interest in Bonds purchased. So long as Cede & Co. is the Bondholder, as nominee of DTC, references herein to
the Bondholders or registered owners shall mean Cede & Co., as aforesaid, and shall not mean the Beneficial Owners of the
Bonds. See BOOK-ENTRY ONLY SYSTEM herein.
     Interest on the Bonds will be payable semiannually on May 1 and November 1 of each year commencing on
November 1, 2014. The Bonds will be registered Bonds, of the denomination of $5,000 or multiples thereof not exceeding
for each maturity the principal amount of such maturity. The principal and interest shall be payable at the corporate trust
office of The Huntington National Bank, Grand Rapids, Michigan or such other transfer agent as the Issuer may hereafter
designate by notice mailed to the registered owner not less than sixty (60) days prior to any change in interest payment
date (the “Transfer Agent”). Interest shall be paid when due by check mailed to the registered owner as shown by the
registration books as of the fifteenth day of the month preceding the payment date for each interest payment. Payment of
principal and interest to Beneficial Owners shall be made as described in BOOK-ENTRY ONLY SYSTEM herein.
     The Bonds are subject to redemption at par, as described herein.
    The Bonds are offered when, as and if issued by the Issuer and subject to receipt of the approving opinion of Miller,
Canfield, Paddock and Stone, P.L.C., Detroit, Michigan, Bond Counsel. Certain legal matters will be passed upon for the
Underwriters by their counsel, Dickinson Wright PLLC, Troy and Lansing, Michigan. It is expected that delivery of the
Bonds through DTC will be made in New York, New York on or about April 16, 2014.
    THIS COVER PAGE CONTAINS CERTAIN INFORMATION FOR QUICK REFERENCE ONLY. IT IS NOT A SUMMARY
OF THIS ISSUE. INVESTORS MUST READ THE ENTIRE OFFICIAL STATEMENT TO OBTAIN INFORMATION ESSENTIAL
TO THE MAKING OF AN INFORMED INVESTMENT.

                                                      J.P. Morgan
                       Wells Fargo Securities                       Stifel, Nicolaus & Company, Incorporated
Dated: April 1, 2014
Case 4:20-cv-12726-MFL-DRG ECF No. 1-2 filed 10/07/20                                                          PageID.108               Page 48 of 726



                                                                   MATURITY SCHEDULE


                                WATER SUPPLY SYSTEM BONDS (KAREGNONDI WATER PIPELINE), SERIES 2014A


                                                                        SERIAL BONDS
                                                                     (Base CUSIP§: 48563U)


                                     Interest                                                                         Interest
          Year         Amount         Rate              Yield      CUSIP§                Year         Amount           Rate             Yield        CUSIP§
          2017        $2,000,000     3.000%            1.460%       AA9                  2024        $5,595,000       5.000%          3.660%*         AY7
          2017        $2,105,000     5.000%            1.460%       AR2                  2025        $5,875,000       5.000%          3.820%*         AZ4
          2018        $1,300,000     4.000%            1.870%       AB7                  2026        $6,165,000       5.000%          3.940%*         BA8
          2018        $2,975,000     5.000%            1.870%       AS0                  2027        $6,475,000       5.250%          4.050%*         AF8
          2019        $2,000,000     3.000%            2.320%       AC5                  2028        $6,815,000       5.250%          4.110%*         AG6
          2019        $2,475,000     5.000%            2.320%       AT8                  2029        $7,175,000       5.250%          4.200%*         AH4
          2020        $2,000,000     4.000%            2.780%       AD3                  2030        $7,550,000       5.250%          4.290%*         AJ0
          2020        $2,655,000     5.000%            2.780%       AU5                  2031        $7,945,000       5.250%          4.380%*         AK7
          2021        $2,000,000     3.000%            3.050%       AE1                  2032        $8,365,000       5.250%          4.450%*         AL5
          2021        $2,870,000     5.000%            3.050%       AV3                  2033        $8,800,000       4.500%           4.670%         AM3
          2022        $5,075,000     5.000%            3.310%       AW1                  2034        $9,200,000       5.250%          4.570%*         AN1
          2023        $5,325,000     5.000%            3.490%       AX9                  2035        $9,680,000       5.250%          4.620%*         AP6




                                                                         TERM BONDS

                                                                                     Interest
                                                Year               Amount             Rate            Yield          CUSIP§
                                                2040              $56,590,000        5.250%         4.740%*           BB6
                                                2043              $41,490,000        5.000%         4.890%*           AQ4




  *Yield to the November 1, 2023 first call date




  §
       Registered trademark of American Bankers Association. CUSIP numbers are provided by Standard & Poor’s, CUSIP Service Bureau, a division of The
      McGraw-Hill Companies, Inc. The CUSIP numbers listed above are being provided solely for the convenience of Bondholders only at the time of
      issuance of the Bonds and the Issuer does not make any representation with respect to such number or undertake any responsibility for its accuracy now or
      at any time in the future. The CUSIP number for a specific maturity is subject to being changed after the issuance of the Bonds as a result of various
      subsequent actions including, but not limited to, a refunding in whole or in part of such maturity.


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                          KAREGNONDI WATER AUTHORITY
                                                   G-4610 Beecher Road
                                                Flint, Michigan 48532-2617
                                                       (810) 732-7870
                                                    Fax: (810) 732-9773



                                                  BOARD OF TRUSTEES
                                                 Dayne Walling, Chairperson
                                               Greg Alexander, Vice Chairperson
                                                         Jamie Curtis
                                                       Joshua Freeman
                                                         Larry Green
                                                     Richard E. Hammel
                                                          Ted Henry
                                                       Marilyn Hoffman
                                                        Dale Kerbyson
                                                        Steve Landaal
                                                        Sheldon Neely
                                                         Joseph Suma
                                                        Thomas Svrcek
                                                        Tracey Tucker
                                                        Paula Zelenko


                                              CHIEF EXECUTIVE OFFICER
                                                     Jeffrey Wright


                                                     PROFESSIONAL SERVICES
  TRANSFER AGENT ........................................................................................................... The Huntington National Bank

  BOND COUNSEL ............................................................................................ Miller, Canfield, Paddock and Stone, P.L.C.

  FINANCIAL ADVISOR ..........................................................................................Stauder, BARCH & ASSOCIATES, Inc.




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           No dealer, broker, salesman or other person has been authorized by the Issuer to give any information
  or to make any representations, other than those contained in this Official Statement, and, if given or made,
  such other information or representations must not be relied upon as having been authorized by any of the
  foregoing. This Official Statement does not constitute an offer to sell or the solicitation of an offer to buy, nor
  shall there be any sale of the Bonds by any person in any jurisdiction in which it is unlawful for such person to
  make such offer, solicitation or sale. The information set forth in this Official Statement has been obtained
  from the Issuer, the County of Genesee, the City of Flint and other sources which are believed to be reliable,
  including The Depository Trust Company with respect to the information contained under the heading BOOK-
  ENTRY ONLY SYSTEM, but is not guaranteed as to accuracy or completeness by, and is not to be construed
  as a representation by, the Issuer. The information and expressions of opinion in this Official Statement are
  subject to change without notice, and neither the delivery of this Official Statement nor any sale made under
  this Official Statement shall, under any circumstances, create any implication that there has been no change in
  the affairs of the parties referred to above or that the other information or opinions are correct as of any time
  subsequent to the date of this Official Statement. The Transfer Agent has not participated in the preparation of
  this Official Statement and assumes no responsibility for it.

           The Underwriters have provided the following sentence for inclusion in this Official Statement. The
  Underwriters have reviewed the information in this Official Statement in accordance with, and as part of, their
  respective responsibilities to investors under the federal securities laws as applied to the facts and
  circumstances of this transaction, but the Underwriters do not guarantee the accuracy or completeness of such
  information.

       IN MAKING AN INVESTMENT DECISION INVESTORS MUST RELY ON THEIR OWN
  EXAMINATION OF THE ISSUER AND THE TERMS OF THE OFFERING, INCLUDING THE
  MERITS AND RISKS INVOLVED. THESE SECURITIES HAVE NOT BEEN RECOMMENDED BY
  ANY FEDERAL OR STATE SECURITIES COMMISSION OR REGULATORY ISSUER.
  FURTHERMORE, THE FOREGOING AUTHORITIES HAVE NOT CONFIRMED THE
  ACCURACY OR DETERMINED THE ADEQUACY OF THIS DOCUMENT. ANY
  REPRESENTATION TO THE CONTRARY IS A CRIMINAL OFFENSE.

        IN CONNECTION WITH THIS OFFERING, THE UNDERWRITERS MAY OVER-ALLOT
  OR EFFECT TRANSACTIONS WHICH STABILIZE OR MAINTAIN THE MARKET PRICE OF
  THE BONDS AT A LEVEL ABOVE THOSE WHICH MIGHT OTHERWISE PREVAIL IN THE
  OPEN MARKET. SUCH STABILIZING, IF COMMENCED, MAY BE DISCONTINUED AT ANY
  TIME.
                                _________________

           This Official Statement contains forward-looking statements, which can be identified by the use of the
  future tense or other forward-looking terms such as “may,” “intend,” “will,” “expect,” “anticipate,” “plan,”
  “management believes,” “estimate,” “continue,” “should,” “strategy,” or “position” or the negatives of those
  terms or other variations of them or by comparable terminology. In particular, any statements express or
  implied, concerning future receipts of federal grants or the ability to generate cash flow to service indebtedness
  are forward-looking statements. Investors are cautioned that reliance on any of those forward-looking
  statements involves risks and uncertainties and that, although the Issuer’s management believes that the
  assumptions on which those forward-looking statements are based are reasonable, any of those assumptions
  could prove to be inaccurate. As a result, the forward-looking statements based on those assumptions also
  could be incorrect, and actual results may differ materially from any results indicated or suggested by those
  assumptions. In light of these and other uncertainties, the inclusion of a forward-looking statement in this
  Official Statement should not be regarded as a representation by the Issuer or that its plans and objectives will
  be achieved. All forward-looking statements are expressly qualified by the cautionary statements contained in
  this paragraph. The Issuer undertakes no duty to update any forward-looking statements.




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                                    OFFICIAL STATEMENT

                         KAREGNONDI WATER AUTHORITY
                     COUNTIES OF GENESEE, LAPEER AND SANILAC
                               STATE OF MICHIGAN
                                    $220,500,000
                           WATER SUPPLY SYSTEM BONDS
                          (KAREGNONDI WATER PIPELINE)
                                   SERIES 2014A

         The purpose of this Official Statement, which includes the cover page and Appendices, is
  to furnish information in connection with the issuance and sale by the Karegnondi Water
  Authority, Counties of Genesee, Lapeer and Sanilac, State of Michigan (the “Issuer”) of its
  Water Supply System Bonds (Karegnondi Water Pipeline), Series 2014A (the “Bonds”) in the
  aggregate principal amount of $220,500,000.


                                             PURPOSE

          The Bonds are issued under the provisions of Act 233, Public Acts of Michigan, 1955, as
  amended (“Act 233”), and a resolution authorizing the issuance of the Bonds (the “Resolution”)
  adopted by the Board of Trustees of the Issuer on November 20, 2013. The Bonds are being
  issued for the purpose of paying a portion of the cost of acquiring and constructing the Issuer’s
  Water Supply System (the “System”) that is being established for the purpose of supplying raw
  water to its member communities, funding the Debt Service Reserve Account as hereinafter
  described, paying capitalized interest on the Bonds and paying the costs of issuing the Bonds.
  The Issuer was incorporated in October, 2010 pursuant to Act 233 by the County of Genesee
  (“Genesee”), the County of Lapeer, the County of Sanilac, the City of Flint (“Flint”) and the City
  of Lapeer for the purpose of providing its member communities with a new source of water.
  Although the Issuer was incorporated in 2010, planning and design for the System in its present
  configuration began in 2001.

          The System is expected ultimately to supply raw water for the three county area
  consisting of over 2,232 square miles and a population of over one half million residents, but the
  System will initially provide raw water to Genesee and Flint (individually a “Local Unit” and
  collectively, the “Local Units”). Currently, Genesee and Flint receive finished water from the
  City of Detroit, through its Detroit Water and Sewerage Department (“DWSD”), but Flint
  expects that it will no longer receive water from DWSD after April 17, 2014 and as a result,
  Genesee is pursuing a separate contract for an interim water supply from DWSD. Genesee and
  Flint participated in the establishment of the Issuer in order to have a more reliable supply of
  water at rates that they expect ultimately to be less than what would otherwise be payable to
  DWSD. For a description of the proposed System and the interim arrangements for water supply
  for Genesee and Flint until the System is completed and operational, see the heading
  KAREGNONDI WATER AUTHORITY SYSTEM herein.




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                                             SECURITY
  Contractual Payments

          The Bonds are being issued in anticipation of, and are payable primarily as to principal
  and interest from, payments (the “Contractual Payments”) to be made by the Local Units to the
  Issuer pursuant to the Karegnondi Water Authority Financing Contract among the Issuer and the
  Local Units dated as of August 1, 2013 (the “Contract”). The Contractual Payments will be in
  installments that will equal the principal and interest payments on the Bonds. Further, each
  Local Unit has pledged its limited tax full faith and credit for the payment of its Contractual
  Payments and is obligated, to the extent necessary, as a first budget obligation to levy ad valorem
  taxes on all taxable property within its boundaries for such purpose, subject to applicable
  constitutional, statutory and charter tax limitations as to rate and amount. After credit is given to
  Genesee for payment of the principal of and interest on the Genesee Bonds (as described under
  the heading KAREGNONDI WATER AUTHORITY – The System below), Genesee is
  responsible for paying approximately 66% of the principal of and interest due on the Bonds, and
  Flint is responsible for paying approximately 34% of the principal of and interest on the Bonds.
  In addition, pursuant to the Contract, if Flint fails to make any of its Contractual Payments when
  due, Genesee is obligated under the Contract to make such Contractual Payments within one day
  of being notified of Flint’s failure to pay. Further, the Issuer is obligated under the Contract to
  undertake all legal action and make use of all remedies available under the Contract to enforce
  the payment obligations of Flint under the Contract.

         Each Local Unit expects to make its Contractual Payments from revenues collected from
  charges imposed on the customers of its respective water supply system. The water supply
  system of Genesee is hereinafter referred to as the “Genesee System” and the water supply
  system of Flint in hereinafter referred to as the “Flint System.” The Issuer has irrevocably
  pledged the Contractual Payments for the payment of the principal of and interest on the Bonds.
  See The Report of the Engineering Consultant in APPENDIX I for a description of the Genesee
  System and the Flint System.

          The rights or remedies of bondholders may be affected by bankruptcy, insolvency,
  fraudulent conveyance or other laws affecting creditors’ rights generally, now existing or
  hereafter enacted, and by the application of general principles of equity, including those relating
  to equitable subordination.

        A copy of the Contract is included as APPENDIX H. For additional information on
  Genesee, see APPENDIX A and APPENDIX B hereto, and for additional information on Flint,
  see APPENDIX C and APPENDIX D hereto.

  Debt Service Reserve Account

          Pursuant to the Resolution, the Issuer has established a Debt Retirement Fund, and within
  the Debt Retirement Fund has established a Debt Service Reserve Account. All Contractual
  Payments as received are required to be deposited in the Debt Retirement Fund and used to pay
  the principal of and interest on the Bonds. The Debt Service Reserve Account will be funded
  from the proceeds of the Bonds in an amount equal to $15,237,437.50, which is equal to the
  lesser of (1) maximum annual principal and interest requirements during any calendar year on the
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  Bonds then outstanding, (2) ten percent (10%) of the original principal amount of the Bonds, and
  (3) one hundred twenty-five percent (125%) of the average annual principal and interest
  requirements during any calendar year on the Bonds then outstanding (the “Reserve Account
  Requirement”). Moneys in the Debt Service Reserve Account shall be used solely for the
  payment of the principal of and interest on the Bonds when due whenever and to the extent that
  the Contractual Payments being held by the Issuer shall be insufficient for such purposes.

          There shall be credited to the Debt Service Reserve Account beginning on the first day of
  the month following any month in which the amount in the Debt Service Reserve Account shall
  be less than an amount equal to the Reserve Account Requirement as a result of the failure of a
  Local Unit to pay its Contractual Payments, and continuing on the first day of each month
  thereafter, an amount equal to one-thirty-sixth (1/36) of any deficit therein, until the amount on
  deposit is equal to the Reserve Account Requirement; however, if the amount on deposit in the
  Debt Service Reserve Account is less than 100% of the Reserve Account Requirement as a result
  of investment losses with respect to the Debt Service Reserve Account, commencing on the first
  day of the month following such evaluation, and continuing on the first day of each month
  thereafter, an amount equal to one-fourth (1/4) of the amount necessary to restore the Debt
  Service Reserve Account to 100% of the Reserve Account Requirement, unless and until the
  amount on deposit in the Debt Service Reserve Account shall equal 100% of the Reserve
  Account Requirement. Further, if a Local Unit fails to pay its Contractual Payment causing a
  shortfall and the Debt Service Reserve Account is drawn upon to pay the Bonds, the
  replenishment of such Debt Service Reserve Account shall be an obligation of the Local Unit
  that failed to pay such Contractual Payment, in the manner described in the preceding sentence;
  provided, however, if Flint fails to fulfill its obligation to replenish the Debt Service Reserve
  Account, as with the failure to make Contractual Payments under the Contract, Genesee has
  agreed in the Contract to make such payments.

                        ESTIMATED SOURCES AND USES OF FUNDS

                 Sources of Funds

                    Par amount of Bonds                              $220,500,000.00
                    Net Original Issue Premium                         11,815,544.05
                              Total Sources                          $232,315,544.05

                 Use of Funds

                    Deposit to Construction Fund                     $187,137,367.59
                    Capitalized Interest                               28,282,364.06
                    Deposit to Debt Service Reserve Account            15,237,437.50
                    Costs of Issuance                                     712,000.00
                    Underwriters’ Discount                                946,374.90
                                Total Uses                           $232,315,544.05




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                                            THE BONDS

         The Bonds will be dated the date of delivery thereof, will bear interest from the date of
  delivery at the rates and will mature in the amounts and on the dates set forth on the inside cover
  page of this Official Statement and will be subject to redemption prior to maturity as described
  below. Interest on the Bonds will be payable semiannually on May 1 and November 1 of each
  year commencing on November 1, 2014. Interest on the Bonds shall be computed using a 360-
  day year and twelve 30-day months.

          The Bonds will be issued as fully registered Bonds as described in APPENDIX G,
  BOOK-ENTRY-ONLY SYSTEM. Subject to the provisions for the book-entry system, the
  principal of and any redemption premium on the Bonds will be payable upon surrender thereof at
  the designated office of the Transfer Agent, and interest will be payable by check or draft mailed
  by the Transfer Agent to the registered owners of the Bonds as shown on the registration books
  of the Issuer maintained by the Transfer Agent as of the close of business on the fifteenth day of
  the calendar month preceding the month in which the interest payment is due. The Transfer
  Agent also may pay interest on Bonds by wire transfer or such other method as is acceptable to
  the Transfer Agent and the Bondholder to whom payment is being made.



                               PRIOR REDEMPTION OF BONDS
  Optional Redemption
          Bonds maturing in the years 2017 to 2023, inclusive, shall not be subject to redemption
  prior to maturity. Bonds or portions of Bonds in multiples of $5,000 maturing in the year 2024
  and thereafter shall be subject to redemption prior to maturity, at the option of the Issuer, in any
  order of maturity and by lot within any maturity, on any date on or after November 1, 2023, at
  par and accrued interest to the date fixed for redemption.

  Mandatory Redemption of Term Bonds
         The Bonds maturing in the years 2040 and 2043 (the “Term Bonds”) shall be subject to
  annual mandatory redemption on November 1 of the following years and in the following
  amounts, at par, plus accrued interest to the date of mandatory redemption.

                                 Term Bonds due November 1, 2040

                         Redemption Dates            Principal Amounts
                         November 1, 2036                 $10,190,000
                         November 1, 2037                 $10,725,000
                         November 1, 2038                 $11,290,000
                         November 1, 2039                 $11,880,000
                         November 1, 2040 (Maturity)      $12,505,000
                         TOTAL                            $56,590,000




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                                 Term Bonds due November 1, 2043

                         Redemption Dates            Principal Amounts
                         November 1, 2041                 $13,160,000
                         November 1, 2042                 $13,820,000
                         November 1, 2043 (Maturity)      $14,510,000
                         TOTAL                            $41,490,000

         When Term Bonds are purchased by the Issuer and delivered to the Transfer Agent for
  cancellation or are redeemed in a manner other than by mandatory redemption, the principal
  amount of Term Bonds affected shall be reduced by the principal amount of the Term Bonds so
  purchased or redeemed in the order determined by the Issuer.

          In case less than the full amount of an outstanding Bond is called for redemption, the
  Transfer Agent, upon presentation of the Bond called for redemption, shall register, authenticate
  and deliver to the registered owner of record a new Bond in the principal amount of the portion
  of the original Bond not called for redemption.

          Notice of redemption shall be given to the registered owner of any Bond or portion
  thereof called for redemption by mailing of such notice not less than thirty (30) days prior to the
  date fixed for redemption to the registered address of the registered owner of record. A Bond or
  portion thereof so called for redemption shall not bear interest after the date fixed for redemption,
  whether presented for redemption or not, provided funds are on hand with the Transfer Agent to
  redeem said Bond or portion thereof.




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                                    DEBT SERVICE SCHEDULE

           The following schedule sets forth the principal and interest payable with respect to the
  Bonds.

   Fiscal Year Ended 12/31           Principal                 Interest              Total P&I
             2014                                           $6,027,389*              $6,027,389
             2015                                           11,127,488*              11,127,488
             2016                                           11,127,488*              11,127,488
             2017                  $4,105,000                11,127,488              15,232,488
             2018                   4,275,000                10,962,238              15,237,238
             2019                   4,475,000                10,761,488              15,236,488
             2020                   4,655,000                10,577,738              15,232,738
             2021                   4,870,000                10,364,988              15,234,988
             2022                   5,075,000                10,161,488              15,236,488
             2023                   5,325,000                 9,907,738              15,232,738
             2024                   5,595,000                 9,641,488              15,236,488
             2025                   5,875,000                 9,361,738              15,236,738
             2026                   6,165,000                 9,067,988              15,232,988
             2027                   6,475,000                 8,759,738              15,234,738
             2028                   6,815,000                 8,419,800              15,234,800
             2029                   7,175,000                 8,062,013              15,237,013
             2030                   7,550,000                 7,685,325              15,235,325
             2031                   7,945,000                 7,288,950              15,233,950
             2032                   8,365,000                 6,871,838              15,236,838
             2033                   8,800,000                 6,432,675              15,232,675
             2034                   9,200,000                 6,036,675              15,236,675
             2035                   9,680,000                 5,553,675              15,233,675
             2036                  10,190,000                 5,045,475              15,235,475
             2037                  10,725,000                 4,510,500              15,235,500
             2038                  11,290,000                 3,947,438              15,237,438
             2039                  11,880,000                 3,354,713              15,234,713
             2040                  12,505,000                 2,731,013              15,236,013
             2041                  13,160,000                 2,074,500              15,234,500
             2042                  13,820,000                 1,416,500              15,236,500
             2043                  14,510,000                   725,500              15,235,500
           TOTAL                 $220,500,000              $219,133,064            $439,633,064

  *Capitalized interest; paid from Bond proceeds.


                         KAREGNONDI WATER AUTHORITY SYSTEM

         The Issuer is expected ultimately to supply raw water for the three county area (Genesee,
  Lapeer and Sanilac) consisting of over 2,232 square miles and a population of over one half
  million residents. The Issuer will supply metered, untreated water to each contracting member.
  The actual cost for appurtenances and maintenance of the System will be allocated based on
  water sold and each contracting member will be responsible for its proportional share of the cost.
  Each contracting member will be responsible for treating and distributing treated water to its
  individual customers.
                                                    6
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         The Issuer currently has entered into two water purchase contracts (the “Water Purchase
  Contracts”), effective October 1, 2013: one with Flint to supply up to 18 mgd and one with the
  Genesee County Drain Commissioner, as County Agency of Genesee under Act 342, Public Acts
  of Michigan, 1939, as amended (the “County Agency”), on behalf of Genesee, to supply 42 mgd.
  The charges to be paid by Flint and the County Agency in the Water Purchase Contracts are
  broken down into two distinct portions: an annual fixed or capital fee and an annual commodity
  or operations and maintenance fee. Flint and the County Agency expect to pay such charges
  from the revenues of their respective water supply systems as an operation and maintenance
  expense in the same manner that each presently pays for water furnished by DWSD.

          The size of the System is based on the volume identified in the Water Purchase Contracts
  and any additional water purchase contracts entered into with additional parties, up to a
  maximum of 85 mgd, the Issuer’s permit limit. Each contracting party will be responsible for the
  annual fixed fee regardless of the amount of water taken. The other members of the Issuer had
  until October 16, 2013 to enter into a water purchase contract with the Issuer at the same rates set
  forth in the Water Purchase Contracts. No additional water purchase contracts were entered into
  on or before such date and as a result, members entering into water purchase contracts with the
  Issuer subsequent to such date will pay any incremental costs associated with accommodating
  their water purchase contracts.
  The System

          To supply water to its contracting members, the Issuer will be required to construct a lake
  intake on Lake Huron, approximately 63 miles of pipe from the intake plant to the City of Flint
  and 2 pump stations, one of which will be located near the intake facility. Such facilities
  collectively constitute the System. The engineering design of the System is to withdraw water
  from Lake Huron and pump it to a standpipe in Lynn Township in St. Clair County, and from
  there the water will be pumped to a site in Oregon Township in Lapeer County, approximately
  14 miles east of Flint, which site will contain a 150 million gallon earthen reservoir and
  Genesee’s new water treatment plant (discussed below). The reservoir and new treatment plant
  will be owned by Genesee. Raw water flowing to the site in Oregon Township will be directed
  to Flint’s water treatment plant and to Genesee’s water treatment plant and reservoir. Figure 1
  shows the location of the System facilities, the Flint water treatment plant and the proposed
  Genesee treatment plant and reservoir.



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                                                                  Figure 1




                               Source: www.karegnondi.com




                        Tuscola County

                                                                                        Sanilac County                Lake
                                                                                                                      Huron

                  City of                                                     Intermediate Pump Station
                   Flint                 Reservoir/Pump Station                & Stabilization Reservoir
                  Water                    GCDC Water Plant
                  Plant

                                                         Intermediate Pump Station                                         INTAKE
                                                          & Stabilization
                                                        Lapeer County   Reservoir                                        Lake Station

                                                                                                    Lake Huron
                                          Henderson Rd Storage                                     Pump Station
                  Genesee                  & Pumping Facility
                  County                                                            St. Clair County




                                              Oakland County                Macomb County

              Source: Water and Waste Advisory Board Meeting Slide Show – April 10, 2013; Genesee County




         The intake facility and the site therefor (the “Genesee Project”) were financed through the
  issuance of bonds by Genesee in the principal amount of $35,000,000 in October, 2013 (the
  “Genesee Bonds”), with the understanding that Genesee would make the Genesee Project
  available to the Issuer for use by the Issuer as part of the System. Genesee is solely responsible
  for paying the principal of and interest on the Genesee Bonds from the net revenues derived from
  the users of the Genesee System and Genesee has pledged its limited tax full faith and credit as
  additional security for the Genesee Bonds. The lake intake is currently under construction, the
  County Agency having supervised the design of the facility and the receipt and award of
  construction bids for the facility. The lake intake is expected to be completed in October, 2014.

         The Issuer has retained the services of the County Agency to administer the design and
  construction of the System. In addition, it is expected that the Issuer will also contract with the
  County Agency for operation and maintenance of the System after the System is completed and
  fully operational. The County Agency has significant experience in planning, operating and
  managing wastewater systems, having been responsible for planning, operating and managing
  the Genesee System since 1972. The County Agency currently employs approximately 128
  people in connection with the operation and management of the Genesee System, and it is
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  expected that from this group, 5 full time equivalent employees will be involved in the operation
  and maintenance of the System. The Issuer is not expected to have any full time employees.

         On behalf of the Issuer, the County Agency has acquired 40 acres of land with 100 feet of
  frontage on Lake Huron in Sanilac County for the intake plant and pump station and 40 acres of
  land on the northwest corner of Martin Road and Hull Road in Lynn Township in St. Clair
  County for the standpipe and second pump station. The County Agency has also acquired
  approximately 76 acres of land on the northeast corner of Marathon Road and Stanley Road in
  Oregon Township in Lapeer County to serve as the site for Genesee’s new water treatment plant
  and reservoir.

          In anticipation of the construction of the System, the County Agency has obtained a
  permit from the Michigan Department of Environmental Quality (“MDEQ”) authorizing the
  withdrawal of up to 85 million gallons per day (“mgd”) from Lake Huron. Such permit will not
  need to be renewed at any time while the Bonds are outstanding. In addition, the County Agency
  has hired project managers which have to date secured the route of the pipe line, identified all
  environmental issues and prepared preliminary permits for the entire 63-mile route, and also has
  retained consulting firms to complete the design of the remaining System facilities.

          The County Agency has commissioned the design of the two pump stations and 63 miles
  of pipeline (36” to 66” in size). The design and construction is broken up into seven individual
  projects. They are as follows:

         Lake Huron Pump Station
         12 miles of 66-inch transmission main
         12 miles of 66-inch transmission main
         Intermediate Pump Station and Standpipe
         12 miles of 60-inch transmission main
         13 miles of 60-inch transmission main
         14 miles of 36-inch transmission main

          Since the contractor needs 15 months of good weather to complete each pipeline project,
  the pipeline projects were broken down into projects for a construction period of 15 months each.
  The design of the pipelines is 60 percent complete. The pipelines will be bid in a staggered
  format beginning in April, 2014 through September, 2014. Each contract will be awarded within
  two months of bid opening. Final pipeline contracts will be awarded no later than November,
  2014, and with a 15-month construction period, the final pipeline is expected to be completed on
  or before March, 2016.

         The System facilities call for 63 miles of large diameter piping, and the Issuer recognized
  that with limited capacity in the United States to produce the needed materials within the
  necessary time frame for construction, alternative methods of procurement would be required. In
  2013, the Issuer Authority requested proposals for large diameter piping and valves, and in
  October, 2013, the Issuer entered into a contract with American Cast Iron Pipe Company
  (ACIPCO) for the delivery of all 66-inch diameter, 60-inch diameter, and 36-inch diameter pipe.
  In addition, ACIPCO will provide all large diameter valves for the pipeline and pump station
  yard piping and valves.
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         The Issuer has acquired all lands and easements necessary for construction of the System.
  In January 2014, MDEQ held four public hearings with regard to the Issuer’s wetland crossing
  permit. MDEQ has participated in the 30 percent, 60 percent and 90 percent reviews of the
  design, and its comments have been incorporated. Upon 100% design completion of each
  pipeline project, the Issuer will submit an application to MDEQ for its construction permit for
  such project. In addition, the Issuer will submit for its local permits from the local road
  commissions and soil erosion enforcement agencies. The Issuer expects to receive all such
  permits for the construction of the System in time to complete the System as anticipated.

         The design of the two pump stations is 90 percent complete. Final site plans have been
  submitted to the local municipalities, and bids for the pump stations are expected to be received
  in April, 2014, with the contracts to be awarded no later than June, 2014. There is a 22-month
  construction schedule for the pump stations, and they are expected to be completed and in
  operation on or before May, 2016.

          Based upon the foregoing, the System is expected to be available for service no later than
  May 1, 2016. Each contract for construction has a completion date of at least 30-days prior to
  May 1, 2016 and a liquidated damage clause for failure to complete on a timely basis. Each
  contract identifies substantial completion (operation of the pipeline) and final completion
  (pipeline, clean-up, and paperwork). The County Agency can begin operation of the pipeline on
  behalf of the Issuer after substantial completion but prior to final completion.

          The estimated construction costs for the System, including the lake intake and site
  financed by Genesee, are $268,844,053 based on water purchase contracts of 60 mgd. The Issuer
  and the Local Units have entered into the Contract, whereby the Issuer has agreed to issue the
  Bonds and other bonds of the Issuer, in an aggregate amount not to exceed $300,000,000
  (collectively, the “System Bonds”), to finance the remaining facilities for the System in
  anticipation of the Contractual Payments to be made by the Local Units as provided therein. The
  estimated construction costs of the remaining facilities for the System is $233,725,381, and the
  amount of System Bonds to be issued to finance the costs of the remaining System facilities,
  including capitalized interest, amounts to fund the Debt Service Reserve Account, and issuance
  costs, is estimated to be $300,000,000. The Contract is contemplated in the Water Purchase
  Contracts and sets forth the manner in which the capital costs of the System facilities will be
  allocated. Under the Contract, Flint and Genesee are responsible for paying 34.2% and 65.8%,
  respectively, of the debt service on the System Bonds. This allocation takes into account and
  credits Genesee for financing and being responsible for the payment of 100% of the costs of the
  Genesee Project. In addition, in the event and to the extent that Flint fails to pay its share of the
  debt service on the System Bonds, Genesee will be responsible for making up the shortfall. Flint
  and Genesee each expects to make such payments from the revenues to be derived from the
  customers of the Genesee System and the Flint System, respectively, but each has pledged its
  limited tax full faith and credit to the making of such payments.
  Interim Water Supply Arrangements for Genesee and Flint

         Flint has purchased treated water from DWSD for approximately 30 years. The County
  Agency has a contract with Flint that requires Flint to purchase water from DWSD and provide
  that water to the County Agency. Historically, the County Agency has not had a contract directly
  with DWSD.
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          On April 17, 2013, DWSD notified Flint that it was terminating its contract with Flint for
  the supply of water in one (1) year as required by the contract. As a result, no later than April 17,
  2014, Flint intends to begin withdrawing water from the Flint River, treat the water in its water
  treatment plant and then make such treated water available to the customers of the Flint System
  until the System is completed and operational. After the notification from DWSD, Flint sought
  another source of water and determined to use its water treatment plant to provide water to its
  customers. In order to do so it negotiated an administrative consent order with MDEQ that
  permitted the temporary use of the Flint River (the “ACO”). The ACO requires Flint to either
  undertake a public improvement project to connect to the System or undertake other public
  improvements to continue to use the Flint River. In order to comply with the ACO, Flint has
  determined that connecting to the System is the most cost effective means to obtain untreated
  water and to comply with the ACO.

         However, the Flint River will not be able to supply the volume of water needed to
  provide water to the customers of the Genesee System. Inasmuch as the County Agency has a
  valid contract with Flint for the supply of water via DWSD, Flint is contractually obligated to
  continue to purchase water from DWSD in order to supply water to the County Agency. This
  may be accomplished, notwithstanding Flint utilizing the Flint River for a water source, by Flint
  continuing to purchase water from DWSD and directing the water to be transmitted directly to
  the County Agency by isolation valves currently installed in the Flint System.

          In January, 2014, the County Agency entered into contract negotiations with DWSD to
  secure a water supply directly from DWSD for the customers of the Genesee System without
  using Flint as a pass through, until the System has been completed and is operational. DWSD
  representatives have indicated that in the event that an agreement cannot be reached with the
  County Agency during these negotiations, DWSD will continue to supply water to the County
  Agency via Flint without a contract in place. The County Agency and DWSD are negotiating
  two separate contracts, the first to satisfy Genesee’s need for a short-term (3 year) contract for
  the supply of water during the time in which the System is being constructed, and the second that
  would require DWSD to provide a long-term emergency stand-by service to ensure the delivery
  of water to customers of the Genesee System if the System fails at any time in the future.
  Although no assurances can be made as to the eventual outcome of contract negotiations, both
  parties are negotiating in good faith.

          In the event that the County Agency and DWSD are unable reach agreement on a
  proposed short-term contract for the supply of water during the construction period for the
  System, the County Agency has the ability to adjust Genesee’s rates to the extent necessary, but
  cannot predict with certainty the price to be paid by customers of the Genesee System for water
  from DWSD until the System is completed and operational. See BONDHOLDERS’ RISKS
  herein.
  Related Facilities

          In order to provide finished water to its customers, Flint expects to utilize its existing
  water treatment plant, which is currently operating in a back-up role with a capacity of 36 mgd
  and will be permitted to treat water drawn from the Flint River until the System is operational.
  Flint will be required to make an estimated $8,000,000 in improvements to convert the plant
  from stand-by to fully operational and to accommodate the flow of water from the System.
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  Additional improvements to Flint’s water treatment plant may be made in the future. In order to
  provide finished water to Genesee’s customers, the County Agency will be required to build a
  new water treatment plant, reservoir, pump station and approximately 5 miles of watermain
  running from the new treatment plant to Genesee’s main distribution facility at Henderson Road,
  at an estimated cost of $60,000,000. The County Agency has acquired 76 acres approximately
  14 miles east of the City of Flint in Oregon Township in Lapeer County, which is expected to
  serve as the site of Genesee’s new water treatment plant, reservoir and pump station. In addition,
  on or before April 17, 2014, the County Agency expects to acquire 9 miles of 72-inch watermain
  from Flint, which will be used to support Genesee’s distribution system to its customers. The
  new water treatment plant, reservoir, pump station and watermain are expected to be constructed
  and fully operational on or before May 1, 2016, the date on which the System is expected to be
  fully operational.

         The completion date for the System is projected for May 1, 2016, at which time Flint
  expects to cease pumping water from the Flint River and the County Agency expects to
  discontinue purchasing water from DWSD, and Flint and the County Agency expect to begin
  purchasing water from the Issuer and producing their own water.

                      REPORT OF THE ENGINEERING CONSULTANT

         Jones & Henry Engineers, Ltd., Toledo, Ohio, has prepared the Report of the Engineering
  Consultant, dated as of March 17, 2014, a copy of which is attached hereto as Appendix I. The
  Report of the Engineering Consultant describes key factors that will affect water rates to be
  charged by Flint and the County Agency to customers of the Flint System and the Genesee
  System, respectively, from 2014 through 2018, and sets forth the assumptions on which the
  conclusions in the Report are based.

          As set forth in the Report of the Engineering Consultant, the long term projections
  comparing the rates to be charged by KWA to Flint and the County Agency for use of the System
  plus other expenses related to operating, maintaining and improving their current treatment
  systems compared with rates historically charged to Flint and the County Agency by DWSD for
  comparable service show more stable rates from KWA for customers of both the Flint System
  and the Genesee System. Most of the future expenses for the Flint System and the Genesee
  System are expected to be capital which will not increase annually and operating costs which
  will increase annually due to inflation. DWSD charges to Flint and the County Agency, which
  historically have constituted a significant portion of both Flint’s and the County Agency’s total
  water expenses, have increased annually at a rate greater than the rate of inflation. Rates are not
  expected to increase under KWA as they have under DWSD, and with appropriate rate increases
  Flint and the County Agency will be able to pay their respective share of the debt service on the
  System Bonds and the operation and maintenance expenses of the System plus other expenses
  related to operating, maintaining and improving, respectively, the Flint System and the Genesee
  System.

         The Report of the Engineering Consultant should be read in its entirety for a complete
  understanding of the assumptions and conclusions contained therein. As noted in the Report of
  the Engineering Consultant, any conclusions are subject to uncertainties, and some assumptions
  used to develop the conclusions will not be realized, and unanticipated events and circumstances
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  may occur. Therefore, there could be differences between the conclusions and the actual results
  and those differences could be material.


                                     BONDHOLDERS’ RISKS

           The following discussion of some of the risk factors associated with the Bonds is not, and
  is not intended to be, exhaustive, and such risks are not necessarily presented in the order of their
  magnitude.

         This Official Statement does not describe all of the risks of an investment in the Bonds
  and the Underwriters disclaim any responsibility to advise prospective investors of such risks as
  they exist at the date of this Official Statement or as they change from time to time. Prospective
  investors should consult their own legal and tax advisors as to the risks associated with an
  investment in the Bonds and the suitability of investing in the Bonds in light of their particular
  circumstances. Prospective investors should be able to bear the risks relating to an investment in
  the Bonds and should carefully consider, among other factors, the matters described below.
  Assumptions With Regard to Local Unit Revenues

          Certain assumptions have been made with regard to the ability of Genesee and Flint to
  charge and collect revenues from the customers of the Genesee System and the Flint System,
  respectively, in amounts sufficient to pay their respective Contractual Payments. These
  assumptions are believed to be reasonable, but to the extent that such revenues are not sufficient
  to enable Genesee and/or Flint to pay their Contractual Payments, the Contractual Payments
  would nevertheless be required to be paid from the general fund of Genesee and/or Flint, which
  could strain such general fund. The assumptions are based on factors beyond Genesee’s and
  Flint’s control and there is no assurance that these projections will be achieved. Many factors
  may prevent the projections from being achieved. These include yearly changes in water
  consumption, population, population growth, household income, competitive facilities,
  accessibility, absorption, occupancy, vacancy and market penetration.

       NO GUARANTEE CAN BE MADE THAT THE PROJECTIONS CONTAINED
  HEREIN WILL CORRESPOND WITH THE RESULTS ACTUALLY ACHIEVED IN THE
  FUTURE BECAUSE THERE IS NO ASSURANCE THAT ACTUAL EVENTS WILL
  CORRESPOND WITH THE ASSUMPTIONS MADE IN FORMULATING THE
  PROJECTIONS. ACTUAL OPERATING RESULTS MAY BE AFFECTED BY MANY
  FACTORS, INCLUDING, BUT NOT LIMITED TO, INCREASED COSTS, LOWER THAN
  ANTICIPATED REVENUES, CHANGES IN EMPLOYEE RELATIONS, APPLICABLE
  GOVERNMENTAL REGULATION, ECONOMIC AND DEMOGRAPHIC TRENDS, AND
  COMPETITION.
  Inability to Finance the System; System Completion Risk

          As described under the heading KAREGNONDI WATER AUTHORITY SYSTEM, the
  System is intended initially to supply raw water for customers of the Genesee System and the
  Flint System. If for any reason the Issuer is unable to acquire, construct, complete or place the
  System in service, the System facilities to be financed with the proceeds of the Bonds will not be

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  useful to the Genesee System or the Flint System unless Genesee and/or Flint constructs its own
  pipeline. At this time, it is unclear whether Genesee and/or Flint would undertake constructing
  its own pipeline.

          The rates and charges currently established by Genesee and Flint are projected to be
  sufficient to pay the Contractual Payments and their share of the principal of and interest on the
  Bonds. However, if the System is not placed in service, the additional costs associated with
  paying for the debt service on the Bonds without a tangible benefit to be derived from the System
  could ultimately have an adverse effect on the ability of Genesee and Flint to generate sufficient
  revenues from the customers of their respective water supply systems and their ability to pay
  their share of debt service on the Bonds.

          In order to provide customers for the System, the County Agency and Flint have entered
  into the Water Purchase Contracts. Genesee and Flint have also entered into the Contract, under
  which they are responsible for paying their respective share of the Bonds and the second series of
  the System Bonds to be issued to finance the costs of the remaining System facilities
  (approximately $80,000,000). Genesee’s share of the Bonds and the approximately $80,000,000
  of the second series of the System Bonds will be the entire amount if Flint fails to fulfill its
  obligation to pay its Contractual Payments under the Contract for any reason.

           Genesee and Flint each faces potential exposure to its general fund and to the rates and
  charges to be paid by its water customers served by the Genesee System and Flint System,
  respectively, for the debt service associated with the Genesee Bonds (only in the case of
  Genesee) and up to an estimated $300,000,000 for the System Bonds if for any reason the
  remaining System facilities are not completed. The remaining System facilities could fail to be
  completed because of an inability to gain market access for the financing for all or part of such
  facilities, cost overruns in construction, or acts of God.

         Genesee intends for its obligations with respect to the Genesee Bonds and the System to
  be paid for by rates and charges from the users of the Genesee System. If Flint fails to pay its
  share of the System Bonds, either from rates and charges to users of the Flint System or from its
  general fund, Genesee would be responsible for making up the shortfall. If Genesee’s general
  fund is needed to pay a significant portion of the System Bonds, it could cause significant
  financial strain on Genesee.

          As noted under the heading KAREGNONDI WATER AUTHORITY SYSTEM, in order
  for Flint to provide finished water to its customers, it needs to undertake approximately
  $8,000,000 in improvements to its existing water treatment plant. If Flint is unable to timely
  complete such improvements for any reason (including without limitation, a referendum on the
  financing, an inability to gain market access for the financing for the improvements, cost
  overruns in construction, or acts of God), Flint may be unable to generate sufficient rates and
  charges from its customers to cover its share of the debt service on the System Bonds as provided
  in the Contract. Without sufficient rates and charges, it is unclear whether Flint’s general fund
  will have sufficient funds to fulfill its obligations under the Contract, which in turn could strain
  Genesee’s general fund or the amount of rates and charges to be charged to Genesee’s customers.



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          Finally, similar to Flint, Genesee needs to construct a water treatment plant, reservoir,
  pump station and 5 miles of watermain at an estimated cost of $60,000,000 as described under
  the heading KAREGNONDI WATER AUTHORITY SYSTEM in order to provide finished
  water to its customers. If Genesee is unable to timely complete the new treatment plant,
  reservoir, pump station and watermain for any reason (including without limitation, an inability
  to gain market access for the financing, cost overruns in construction, or acts of God), Genesee
  may be unable to generate sufficient rates and charges from its customers to cover its share of the
  debt service on the System Bonds as provided in the Contract, which could strain Genesee’s
  general fund.
  Financial Condition of the City of Flint and Genesee for future Obligations to Issuer

           Flint is currently operating under a State-appointed Emergency Manager under the Local
  Financial Stability and Choice Act, Act No. 436, Public Acts of Michigan, 2012 (“Act 436”).
  Flint’s options to improve its fiscal health are limited. The United States Bankruptcy Code, 11
  U.S.C. Section 101, et. seq. (the “Bankruptcy Code”) does not authorize municipalities to be
  subject to involuntary bankruptcy cases. Flint must be specifically authorized to be a debtor
  under chapter 9 of the Bankruptcy Code by State law or by a governmental officer or
  organization empowered by State law to authorize Flint to be a debtor under chapter 9 of the
  Bankruptcy Code. Act 436 provides such authorization after Flint first complies with certain
  requirements set forth therein. The effect of a Flint bankruptcy on its obligations to the Issuer is
  unknown at this time, including without limitation its obligations to continue to make payments
  to the Issuer under its Water Purchase Contract with the Issuer and under the Contract. If Flint
  fails to fulfill its payment obligations under the Contract for any reason, including a bankruptcy
  filing by Flint, Genesee will be required to pay Flint’s share of the debt service on the System
  Bonds. While this provides protection for the Issuer, such payments could cause significant
  financial strain on the general fund of Genesee and the net revenues of the Genesee System,
  potentially limiting the extent of this protection. Similarly, if Flint fails to fulfill its payment
  obligation under its Water Purchase Contract, the Issuer could be obligated to continue supplying
  raw water to Flint without payment for a period of 60 days, or longer in the event of a Flint
  bankruptcy case.

          For a discussion of litigation that could affect Flint’s financial condition and the rates that
  are charged to customers of the Flint System, see the heading LITIGATION – Other Litigation
  herein, and for a discussion of the financial condition of Flint see the information under the
  heading “Update on City of Flint Financial Position” in APPENDIX C.

         Although no Act 436 proceedings have ever occurred with respect to Genesee, nor has
  the Michigan Department of Treasury ever indicated the intent to begin such proceedings, if
  Genesee were to experience severe financial difficulties, the same analysis that applies to Flint
  applies with respect to the County Agency’s and Genesee’s respective obligations under the
  Water Purchase Contract and the Contract.




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                                            LITIGATION
  Pending Litigation

         The Issuer has no litigation pending or, to its knowledge, threatened, wherein an
  unfavorable decision, ruling or finding would adversely affect the issuance of the Bonds or
  materially affect the Issuer’s ability to pay the principal of and interest on the Bonds.


  Other Litigation

         Flint Health Care Retirement Benefits

          Flint’s Emergency Manager has issued several orders under Act 436 which modified
  existing contracts and collective bargaining agreements with respect to health care benefits of
  municipal retirees. While the modifications stand to save Flint $5 million per year and potentially
  more in future years, the changes also shift some out-of-pocket medical expenses to retirees.

          As a result of such orders, a class action lawsuit has been filed by individual retired
  municipal workers, their eligible spouses, dependents, and the United Retired Governmental
  Employees (“URGE”), an organization that represents the interests of municipal retirees
  (collectively, the “Plaintiffs”) seeking injunctive relief and damages under 42 U.S.C. § 1983,
  against Flint, its current and former Emergency Managers, its Retirement Officer Manager, and
  its Finance Director (collectively, “Defendants”). (Welch et al v. Brown, et al. Case No.12-
  13808, Judge Arthur Tarnow, ED Michigan). According to Plaintiffs, Defendants violated the
  Contract and Bankruptcy Clauses of the United States Constitution and deprived them of a
  property interest without due process or just compensation. The class has not yet been certified
  by the federal district court.

          Plaintiffs requested a preliminary injunction to enjoin Defendants from modifying the
  contracts and ordinances governing their health-care benefits and to restore any already modified
  agreements to the status quo ante. Defendants maintain that reducing retiree benefits is a
  necessary change to avoid bankruptcy. The federal district court was not persuaded by
  Defendants’ position based on the evidence and argument presented and granted preliminary
  injunctive relief to the Plaintiffs. Defendants appealed to the United States Court of Appeals for
  the Sixth Circuit. The Sixth Circuit reviewed the matter and affirmed the district court’s order
  granting preliminary injunctive relief. (COA Case # 13-1476 decided 1/3/14).

          The Sixth Circuit made clear the door remains open for Flint to prove its case, stating that
  “additional fact finding may illuminate whether the orders were indeed appropriate under the
  circumstances of this case.” The Welch case comes down to whether Flint’s modifications of
  retiree healthcare benefits were reasonable and necessary to remedy the economic problems
  facing Flint. In order to prove that, Flint must show that the modifications were virtually the
  only choice it had to avoid significant social harm, including:

                 1.      That bankruptcy was/is imminent if the changes were not made;
                 2.      That Flint was/is contemplating bankruptcy if it cannot modify
                         the retiree healthcare benefits;
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                 3.      That alternative strategies to addressing the economic problems
                         have been considered and will not work to address the economic
                         problems; and
                 4.      That the alternatives proposed by the Plaintiffs to address the
                         economic problems will not work.

           Flint intends to vigorously contest this litigation and pursue all available remedies to have
  the orders of the Emergency Manager sustained. If the Plaintiffs ultimately prevail in this
  litigation, Flint projects that it will incur an additional $5 million annually for retiree health care
  costs and that it will be in an extremely precarious financial position, with insufficient resources
  to meet basic functions. This projection of $5 million in additional costs could increase
  significantly based on future increases in premium costs that the City’s modifications require be
  borne by retirees. The health care changes as well as all of the other changes made by the
  Emergency Manager were deemed to be necessary for Flint to avoid insolvency. Flint is unable
  to predict the outcome of this litigation at this time. See the information under the heading
  “Update on City of Flint Financial Position” in APPENDIX C.

         Flint Water Rates

          On August 15, 2011, the Mayor of Flint directed a rate increase for Flint’s water and
  sewer rates because the City was spending more to provide water and sewer services than it was
  receiving in user funds. Flint increased rates for 2012 by approximately 35 percent. The
  President of the Flint Council, William Kincaid, and others filed an original action in the
  Michigan Court of Appeals, Kincaid v City of Flint, alleging that the fee increases were
  unconstitutional taxes levied without the approval of the electors of Flint that violated the
  Headlee Amendment to the Michigan Constitution. Flint filed a motion for summary disposition,
  arguing that there was no issue of fact that the fees charged were proportionate to the costs of
  providing water and sewer service, and as such were valid user fees, not taxes. Flint introduced
  evidence that the fee increases were required to pay the projected costs of the water and sewer
  systems for Fiscal Year 2012. The Michigan Court of Appeals agreed that the water and sewer
  fees charged by the City were valid user fees, not disguised taxes, as they were proportionate to
  the costs of providing service. As such, the Headlee Amendment did not apply. The plaintiffs
  filed an application for leave to appeal the decision to the Michigan Supreme Court, and for
  peremptory reversal of the Court of Appeals’ decision. The Supreme Court denied the
  application for leave to appeal.

          The plaintiffs then filed an action in Genesee County Circuit Court alleging that water
  rate increases which were accomplished by a directive dated August 15, 2011 were implemented
  in a manner that was in violation of a Flint ordinance which required that action to modify water
  rates be done on or before April 15 of the year in which it was to take effect. Additionally, the
  plaintiffs alleged that the City failed to create a first lien in favor of bondholders for water and
  sewer funds, as required by the Revenue Bond Act (Act 94, Public Acts of Michigan, 1933, as
  amended). The Court granted Flint’s motion for summary disposition, finding that the powers of
  the Emergency Manager pursuant to Act 4, Public Acts of Michigan, 2011 rendered the alleged
  violation of the Flint ordinance moot and dismissed the claim with respect to the Revenue Bond
  Act. The plaintiffs have since filed an appeal with the Court of Appeals, which is currently
  pending. Flint is unable to predict the outcome of this litigation at this time.
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                                         TAX MATTERS

          In the opinion of Miller, Canfield, Paddock and Stone, P.L.C., Bond Counsel, under
  existing law, the interest on the Bonds is excludable from gross income for federal income tax
  purposes and is not an item of tax preference for purposes of the federal alternative minimum tax
  imposed on individuals and corporations. It should be noted, however, that with respect to
  corporations (as defined for federal income tax purposes) such interest is taken into account in
  determining adjusted current earnings for the purpose of computing the alternative minimum tax
  imposed on such corporations. Bond Counsel is also of the opinion that, under existing law, the
  Bonds and the interest thereon are exempt from all taxation by the State of Michigan or by any
  taxing authority within the State of Michigan, except inheritance and estate taxes and taxes on
  gains realized from the sale, payment or other disposition thereof. Bond Counsel will express no
  opinion regarding any other federal or state tax consequences arising with respect to the Bonds
  and the interest thereon.

          The opinion on federal and State of Michigan tax matters is based on the accuracy of
  certain representations and certifications, and continuing compliance with certain covenants, of
  the Issuer contained in the transcript of proceedings and which are intended to evidence and
  assure the foregoing, including that the Bonds are and will remain obligations the interest on
  which is excludable from gross income for federal and State of Michigan income tax purposes.
  The Issuer has covenanted to take the actions required of it for the interest on the Bonds to be
  and to remain excludable from gross income for federal income tax purposes, and not to take any
  actions that would adversely affect that exclusion. Bond Counsel’s opinion assumes the
  accuracy of the Issuer’s certifications and representations and the continuing compliance with the
  Issuer’s covenants. Noncompliance with these covenants by the Issuer may cause the interest on
  the Bonds to be included in gross income for federal income tax purposes retroactively to the
  date of issuance of the Bonds. After the date of issuance of the Bonds, Bond Counsel will not
  undertake to determine (or to so inform any person) whether any actions taken or not taken, or
  any events occurring or not occurring, or any other matters coming to Bond Counsel’s attention,
  may adversely affect the exclusion from gross income for federal and State of Michigan income
  tax purposes of interest on the Bonds or the market prices of the Bonds.

          The opinion of Bond Counsel is based on current legal authority and covers certain
  matters not directly addressed by such authority. It represents Bond Counsel’s legal judgment as
  to the excludability of interest on the Bonds from gross income for federal and State of Michigan
  income tax purposes but is not a guarantee of that conclusion. The opinion is not binding on the
  Internal Revenue Service (“IRS”) or any court. Bond Counsel cannot give and has not given any
  opinion or assurance about the effect of future changes in the Internal Revenue Code of 1986, as
  amended (the “Code”), the applicable regulations, the interpretations thereof or the enforcement
  thereof by the IRS.

          Ownership of the Bonds may result in collateral federal income tax consequences to
  certain taxpayers, including, without limitation, corporations subject to the branch profits tax,
  financial institutions, certain insurance companies, certain S corporations, individual recipients
  of Social Security or Railroad Retirement benefits and taxpayers who may be deemed to have
  incurred (or continued) indebtedness to purchase or carry the Bonds. Bond Counsel will express
  no opinion regarding any such consequences.
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  Tax Treatment of Accruals on Original Issue Discount Bonds

         Under existing law, if the initial public offering price to the public (excluding bond
  houses and brokers) of a Bond is less than the stated redemption price of such Bonds at maturity,
  then such Bond is considered to have “original issue discount” equal to the difference between
  such initial offering price and the amount payable at maturity (such Bonds are referred to as
  “OID Bonds”). Such discount is treated as interest excludable from federal gross income to the
  extent properly allocable to each registered owner thereof. The original issue discount accrues
  over the term to maturity of each such OID Bond on the basis of a constant interest rate
  compounded at the end of each six-month period (or shorter period) from the date of original
  issue with straight-line interpolations between compounding dates. The amount of original issue
  discount accruing during each period is added to the adjusted basis of such OID Bonds to
  determine taxable gain upon disposition (including sale, redemption or payment on maturity) of
  such OID Bonds.

          The Code contains certain provisions relating to the accrual of original issue discount in
  the case of purchasers of OID Bonds who purchase such OID Bonds after the initial offering of a
  substantial amount thereof. Owners who do not purchase such OID Bonds in the initial offering
  at the initial offering prices should consult their own tax advisors with respect to the tax
  consequences of ownership of such OID Bonds.

         All holders of the OID Bonds should consult their own tax advisors with respect to the
  allowance of a deduction for any loss on a sale or other disposition of an OID Bond to the extent
  such loss is attributable to accrued original issue discount.
  Amortizable Bond Premium

          For federal income tax purposes, the excess of the initial offering price to the public
  (excluding bond houses and brokers) at which a Bond is sold over the amount payable at
  maturity thereof constitutes for the original purchasers of such Bonds (collectively, the “Original
  Premium Bonds”) an amortizable bond premium. Bonds other than Original Premium Bonds
  may also be subject to an amortizable bond premium determined generally with regard to the
  taxpayer’s basis (for purposes of determining loss on a sale or exchange) and the amount payable
  on maturity or, in certain cases, on an earlier call date (such bonds being referred to herein
  collectively with the Original Premium Bonds as the “Premium Bonds”). Such amortizable bond
  premium is not deductible from gross income. The amount of amortizable bond premium
  allocable to each taxable year is generally determined on the basis of the taxpayer’s yield to
  maturity determined by using the taxpayer’s basis (for purposes of determining loss on sale or
  exchange) of such Premium Bonds and compounding at the close of each six-month accrual
  period. The amount of amortizable bond premium allocable to each taxable year is deducted
  from the taxpayer’s adjusted basis of such Premium Bonds to determine taxable gain upon
  disposition (including sale, redemption or payment at maturity) of such Premium Bonds.

         All holders of the Premium Bonds should consult with their own tax advisors as to the
  amount and effect of the amortizable bond premium.




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  Market Discount

          The “market discount rules” of the Code apply to the Bonds. Accordingly, holders
  acquiring their Bonds subsequent to the initial issuance of the Bonds will generally be required to
  treat market discount recognized under the provisions of the Code as ordinary taxable income (as
  opposed to capital gain income). Holders should consult their own tax advisors regarding the
  application of the market discount provisions of the Code and the advisability of making any of
  the elections relating to market discount allowed by the Code.
  Information Reporting and Backup Withholding

          Information reporting requirements apply to interest paid after March 31, 2007 on tax-
  exempt obligations, including the Bonds. In general, such requirements are satisfied if the
  interest recipient completes, and provides the payor with, a Form W-9, “Request for Taxpayer
  Identification Number and Certification,” or unless the recipient is one of a limited class of
  exempt recipients, including corporations. A recipient not otherwise exempt from information
  reporting who fails to satisfy the information reporting requirements will be subject to “backup
  withholding,” which means that the payor is required to deduct and withhold a tax from the
  interest payment, calculated in the manner set forth in the Code. For the foregoing purpose, a
  “payor” generally refers to the person or entity from whom a recipient receives its payments of
  interest or who collects such payments on behalf of the recipient.

          If an owner purchasing the Bonds through a brokerage account has executed a Form W-9
  in connection with the establishment of such account no backup withholding should occur. In
  any event, backup withholding does not affect the excludability of the interest on the Bonds from
  gross income for federal income tax purposes. Any amounts withheld pursuant to backup
  withholding would be allowed as a refund or a credit against the owner’s federal income tax once
  the required information is furnished to the IRS.
  Future Developments

           Bond Counsel’s engagement with respect to the Bonds ends with the issuance of the
  Bonds and, unless separately engaged, bond counsel is not obligated to defend the Issuer in the
  event of an audit examination by the IRS. The IRS has a program to audit tax-exempt
  obligations to determine whether the interest thereon is includible in gross income for federal
  income tax purposes. If the IRS does audit the Bonds, under current IRS procedures, the IRS
  will treat the Issuer as the taxpayer and the beneficial owners of the Bonds will have only limited
  rights, if any, to obtain and participate in judicial review of such audit.

       NO ASSURANCE CAN BE GIVEN THAT ANY FUTURE LEGISLATION OR
  CLARIFICATIONS OR AMENDMENTS TO THE CODE, IF ENACTED INTO LAW, WILL
  NOT CONTAIN PROPOSALS WHICH COULD CAUSE THE INTEREST ON THE BONDS
  TO BE SUBJECT DIRECTLY OR INDIRECTLY TO FEDERAL OR STATE OF MICHIGAN
  INCOME TAXATION, ADVERSELY AFFECT THE MARKET PRICE OR
  MARKETABILITY OF THE BONDS, OR OTHERWISE PREVENT THE HOLDERS FROM
  REALIZING THE FULL CURRENT BENEFIT OF THE STATUS OF THE INTEREST
  THEREON. BOND COUNSEL EXPRESSES NO OPINION REGARDING ANY PENDING
  OR PROPOSED FEDERAL OR STATE OF MICHIGAN TAX LEGISLATION.

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       FURTHER, NO ASSURANCE CAN BE GIVEN THAT ANY ACTIONS OF THE
  INTERNAL REVENUE SERVICE, INCLUDING, BUT NOT LIMITED TO, SELECTION OF
  THE BONDS FOR AUDIT EXAMINATION, OR THE COURSE OR RESULT OF ANY
  EXAMINATION OF THE BONDS, OR OTHER BONDS WHICH PRESENT SIMILAR TAX
  ISSUES, WILL NOT AFFECT THE MARKET PRICE OF THE BONDS.

       INVESTORS SHOULD CONSULT WITH THEIR TAX ADVISORS AS TO THE TAX
  CONSEQUENCES OF THEIR ACQUISITION, HOLDING OR DISPOSITION OF THE
  BONDS, INCLUDING THE IMPACT OF ANY PENDING OR PROPOSED FEDERAL OR
  STATE OF MICHIGAN TAX LEGISLATION.


             APPROVAL BY THE MICHIGAN DEPARTMENT OF TREASURY

         The Issuer has received a letter from the Department of Treasury of the State of
  Michigan, dated February 28, 2014, approving the issuance of the Bonds as provided in the
  Revised Municipal Finance Act, Act No. 34, Public Acts of Michigan, 2001, as amended.

                            BOND COUNSEL’S RESPONSIBILITY

          The fees of Miller, Canfield, Paddock and Stone, P.L.C. (“Bond Counsel”) for services
  rendered in connection with its approving opinion are expected to be paid from Bond proceeds.
  Except to the extent necessary to issue its approving opinion as to the validity of the Bonds and
  tax matters relating to the Bonds and the interest thereon, and except as stated below, Bond
  Counsel has not been retained to examine or review, and has not examined or reviewed, any
  financial documents, statements or materials that have been or may be furnished in connection
  with the authorization, issuance or marketing of the Bonds and accordingly will not express any
  opinion with respect to the accuracy or completeness of any such financial documents,
  statements or materials.
          Bond Counsel has reviewed the statements in this Official Statement under the headings
  entitled “PURPOSE,” “SECURITY,” “THE BONDS,” “PRIOR REDEMPTION OF BONDS,”
  “TRANSFER OUTSIDE BOOK-ENTRY-ONLY SYSTEM,” “TAX MATTERS,”
  “APPROVAL          BY THE MICHIGAN DEPARTMENT OF TREASURY,” “BOND
  COUNSEL’S RESPONSIBILITY,” and “CONTINUING DISCLOSURE” (first two paragraphs
  only). Bond Counsel has not been retained to review and has not reviewed any other portions of
  the Official Statement for accuracy or completeness, and has not made inquiry of any official or
  employee of the Issuer or any other person and has made no independent verification of such
  other portions hereof, and further has not expressed and will not express an opinion or belief as
  to any such other portions hereof.

                                 CONTINUING DISCLOSURE

         Prior to the delivery of the Bonds, the Issuer and each Local Unit will execute a
  Continuing Disclosure Undertaking (individually an “Undertaking” and collectively, the
  “Undertakings”) for the benefit of the holders of the Bonds or Beneficial Owners to send certain
  information annually and to provide notice of certain events to certain information repositories
  pursuant to the requirements of Rule 15c2-12(b)(5) (the “Rule”) adopted by the Securities and
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  Exchange Commission under the Securities Exchange Act of 1934. The information to be
  provided on an annual basis, the events which will be noticed on an occurrence basis, and the
  other terms of the Undertaking are set forth in APPENDIX E-FORM OF CONTINUING
  DISCLOSURE UNDERTAKINGS to this Official Statement.

         A failure by the Issuer or a Local Unit to comply with its Undertaking will not constitute
  an event or default under the Resolution authorizing the issuance of the Bonds and holders of the
  Bonds or Beneficial Owners are limited to the remedies described in the Undertakings.

          Genesee discovered in the summer of 2013 it had failed to comply with certain of its
  continuing disclosure obligations under previous undertakings entered into pursuant to the Rule
  with respect to annual information filings required for fiscal years 2008-2010. Genesee was
  required to file this information within a period of time specified in each previous undertaking
  after the end of the fiscal year which ends on September 30. The filings were subsequently made
  for fiscal year 2008 in December 2010, for fiscal year 2009 in June 2010 and for fiscal year 2010
  in December 2011 for the Genesee’s sewer, water supply, capital improvement and general
  obligation bonds. The filings for fiscal years 2008-2010 were subsequently made for the Issuer’s
  building authority bonds on July 23, 2013. Genesee has filed its annual audited financial
  statements for fiscal years 2011 and 2012 on a timely basis.

          In addition, Genesee failed to provide notice of certain underlying rating changes that
  occurred in 2010 affecting its sewer, water supply, building authority, capital improvement and
  general obligation bonds. Genesee subsequently filed notice of these rating changes and the
  current ratings on those bonds with a filing dated July 16, 2013. Furthermore, Genesee failed to
  provide notice of certain insured rating downgrades affecting its sewer, water supply and
  building authority bonds, of which Genesee was not separately notified by the relevant rating
  agencies, and which resulted from a series of widely reported downgrades of the applicable
  municipal bond insurer for those bonds. Genesee subsequently filed notice of these rating
  changes and the current ratings on those bonds with a filing dated July 16, 2013. Genesee has
  taken steps to assure that it will comply with its Undertaking and its previous undertakings,
  including the annual filing requirements, in the future. Genesee entered into an agreement in
  October, 2011 with Stauder, Barch & Associates, Inc. to serve as disclosure agent and assist
  Genesee in completing all required filings on a timely basis.

         Flint has not entered into any previous continuing disclosure undertakings under the Rule.

          A failure by the Issuer or either Local Unit to comply with its Undertaking must be
  reported by the Issuer or such Local Unit in accordance with the Rule and must be considered by
  any broker, dealer or municipal securities dealer before recommending the purchase or sale of
  the Bonds in the secondary market. Consequently, such failure may adversely affect the
  transferability and liquidity of the Bonds and their market price.

                                        LEGAL OPINION

         Legal matters incident to the authorization, issuance and sale of the Bonds are subject to
  the approval of Miller, Canfield, Paddock and Stone, P.L.C., attorneys of Detroit, Michigan,

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  Bond Counsel. A copy of the opinion of Bond Counsel will be furnished with the Bonds, which
  opinion will be substantially in the form set forth in APPENDIX F.

                                      FINANCIAL ADVISOR

          Stauder, Barch & Associates, Inc., Ann Arbor, Michigan, (the “Financial Advisor”) has
  been retained by the Issuer to provide certain financial advisory services including, among other
  things, preparation of portions of the deemed “final” Preliminary Official Statement and the final
  Official Statement (the “Official Statements”). The information contained in the Official
  Statements was prepared in part by the Financial Advisor and is based on information supplied
  by various officials from records, statements and reports required by various local county or state
  agencies of the State of Michigan in accordance with constitutional or statutory requirements.

          To the best of the Financial Advisor’s knowledge, all of the information contained in the
  Official Statements, which it assisted in preparing, while it may be summarized is (i) complete
  and accurate; (ii) does not contain any untrue statement of material fact; and (iii) does not omit
  any material fact, or make any statement which would be misleading in light of the
  circumstances under which these statements are being made. However, the Financial Advisor
  has not and will not independently verify the completeness and accuracy of the information
  contained in the Official Statements.

         The Financial Advisor’s duties, responsibilities and fees arise solely from that as financial
  advisor to the Issuer and they have no secondary obligations or other responsibility. The
  Financial Advisor’s fees are expected to be paid from Bond proceeds.

                                         UNDERWRITING

          The Bonds are being purchased by the Underwriters listed on the cover page of this
  Official Statement. The Underwriters have agreed, subject to certain conditions, to purchase all
  of the Bonds from the Issuer at an underwriters’ discount of $946,374.90 from the initial offering
  prices set forth in this Official Statement. The Underwriters are obligated to purchase all of the
  Bonds, if any are purchased, the obligation to make such purchase being subject to certain terms
  and conditions set forth in the Bond Purchase Agreement with respect to the Bonds, the approval
  of certain legal matters by counsel and certain other conditions. The initial public offering prices
  of the Bonds may be changed from time to time by the Underwriters. The Bonds may be offered
  and sold by the Underwriters to certain dealers (including dealers depositing the Bonds in unit
  investment trusts, some of which may be managed by the Underwriters) and certain dealer banks
  and banks acting as agents at prices lower than the public offering prices set forth in this Official
  Statement.

         J.P. Morgan Securities LLC (“JPMS”), one of the Underwriters of the Bonds, has entered
  into a negotiated dealer agreement (“Dealer Agreement”) with Charles Schwab & Co., Inc.
  (“CS&Co.”) for the retail distribution of certain securities offerings, at the original issue prices.
  Pursuant to the Dealer Agreement (if applicable to this transaction), CS&Co. will purchase
  Bonds from JPMS at the original issue price less a negotiated portion of the selling concession
  applicable to any Bonds that CS&Co. sells.

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          Wells Fargo Securities is the trade name for certain securities-related capital markets and
  investment banking services of Wells Fargo & Company and its subsidiaries, including Wells
  Fargo Bank, National Association (“WFBNA”). WFBNA, one of the underwriters of the Bonds,
  has entered into an agreement (the “Distribution Agreement”) with its affiliate, Wells Fargo
  Advisors, LLC (“WFA”), for the distribution of certain municipal securities offerings, including
  the Bonds.     Pursuant to the Distribution Agreement, WFBNA will share a portion of its
  underwriting or remarketing agent compensation, as applicable, with respect to the Bonds with
  WFA. WFBNA also utilizes the distribution capabilities of its affiliates, Wells Fargo Securities,
  LLC (“WFSLLC”) and Wells Fargo Institutional Securities, LLC (“WFIS”), for the distribution
  of municipal securities offerings, including the Bonds. In connection with utilizing the
  distribution capabilities of WFSLLC, WFBNA pays a portion of WFSLLC’s expenses based on
  its municipal securities transactions. WFBNA, WFSLLC, WFIS, and WFA are each wholly-
  owned subsidiaries of Wells Fargo & Company.

         The Underwriters and their respective affiliates are full service financial institutions
  engaged in various activities, which may include securities trading, commercial and investment
  banking, financial advisory, investment management, principal investment, hedging, financing
  and brokerage activities. The Underwriters have, from time to time, and may in the future
  perform, various investment banking services for the Issuer for which it received or will receive
  customary fees and expenses.

          In the ordinary course of its various business activities, the Underwriters and their
  respective affiliates may make or hold a broad array of investments and actively trade debt and
  equity securities (or related derivative securities) and financial instruments (which may include
  bank loans and/or credit default swaps) for their own account and for the accounts of their
  customers and may at any time hold long and short positions in such securities and instruments.
  Such investment and securities may involve securities and instruments of the Issuer.

                                              RATING

           Moody’s Investors Service has assigned the Bonds a rating of “A2,” and Standard &
  Poor’s Ratings Service, a division of The McGraw-Hill Companies, Inc., has assigned the Bonds
  a rating of “A+.” No application was made to any other rating agency for the purpose of
  obtaining an additional rating on the Bonds. Any explanation of the significance of each such
  rating may only be obtained from the rating agency. Generally, a rating agency bases its rating
  on such information and materials and on investigations, studies and assumptions by the rating
  agency. There is no assurance that such rating will continue for any given period of time or that
  it will not be revised downward or withdrawn entirely by such rating agency, if in the judgment
  of the rating agency circumstances so warrant. Any such downward revision or withdrawal of
  such rating may have an adverse effect on the market price of the Bonds.




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                                        OTHER MATTERS

          All information contained in this Official Statement is subject, in all respects, to the
  complete body of information contained in the original sources thereof. In particular, no opinion
  or representation is rendered as to whether any projection will approximate actual results, and all
  opinions, estimates and assumptions, whether or not expressly identified as such, should not be
  considered statements of fact.


                                           KAREGNONDI WATER AUTHORITY



                                            By: /s/ Jeffrey Wright___________________________
                                                Jeffrey Wright, Chief Executive Officer




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                                  APPENDIX A

                         COUNTY OF GENESEE
      GENERAL FINANCIAL, ECONOMIC AND STATISTICAL INFORMATION
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  APPENDIX A

                                          COUNTY OF GENESEE

                           GENERAL FINANCIAL INFORMATION

  AREA
           The County of Genesee covers an area of approximately 643 square miles.
  POPULATION
           The population of the County is as follows:
                                        2010 U.S. Census                       425,790
                                        2000 U.S. Census                       436,141
                                        1990 U.S. Census                       430,459

  PROPERTY VALUATIONS
           Article IX, Section 3, of the Michigan Constitution, limits the proportion of true cash value at which property
  can be assessed to a percentage not to exceed 50% of true cash value. The Michigan Legislature by statute has provided
  that property shall be assessed at 50% of its true cash value, except as described in the paragraphs below. The Michigan
  Legislature or the electorate may at some future time reduce the percentage below 50% of true cash value.

            On March 15, 1994, the electors of the State approved an amendment to the Michigan Constitution permitting
  the Legislature to authorize ad valorem taxes on a non-uniform basis. The legislation implementing this constitution
  amendment added a new measure of property value known as “taxable value.” Since 1995, taxable property has had two
  valuations -- State equalized valuation (“SEV”) and taxable value. Property taxes are levied on taxable value. Generally,
  the taxable value of property is the lesser of (a) the taxable value of property in the immediately preceding year, adjusted
  for losses, multiplied by the lesser of the inflation rate or 1.05, plus additions, or (b) the property’s current SEV. Under
  certain circumstances, therefore, the taxable value of property may be different from the same property’s SEV. When
  property is sold or transferred, taxable value is adjusted to the SEV, which under existing law is 50% of the current true
  cash value. The taxable value and SEV of new construction is equal to current SEV. The taxable value and SEV of
  existing property are also adjusted annually for additions and losses.

          Responsibility for assessing taxable property rests with the local assessing officer of each township and city.
  Any property owner may appeal the assessment to the local assessor, the local Board of Review and ultimately to the
  Michigan Tax Tribunal.
           In addition to limiting the annual increase in taxable value, the Michigan Constitution mandates a system of
  equalization for assessments. Although the assessors for each local unit of government within a county are responsible
  for actually assessing at 50% of true cash value, adjusted for taxable value purposes, the final SEV and taxable value
  are arrived at through several steps. Assessments are established initially by the municipal assessor. Municipal
  assessments are then equalized to the 50% levels as determined by the County Department of Equalization. Thereafter,
  the State equalizes the various counties in relation to each other. SEV is important, aside from its use in determining
  taxable value for the purpose of levying ad valorem property taxes, because of its role in the spreading of taxes between
  overlapping jurisdictions, the distribution of various State aid programs, State revenue sharing and in the calculation of
  debt limits.

           Property that is exempt from property taxes (e.g., churches, governmental property, public schools) is not
  included in the SEV or taxable value data in this Official Statement. Property granted tax abatements under Act 198,
  Public Acts of Michigan, 1974, as amended, is recorded on a separate tax roll which is subject to tax abatement. The
  valuation of tax abated property is based upon SEV but is not included in either the SEV or taxable value data in this
  Official Statement except as noted.



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  Historical Valuation
                State Equalized               Taxable
    Year           Valuation                 Valuation
    2013       $8,996,549,108            $8,591,144,574
    2012        9,183,568,010             8,805,229,871
    2011        9,950,805,569             9,450,208,638
    2010       10,798,912,285            10,135,718,671
    2009       12,466,321,796            11,386,079,390
    2008       13,698,999,172            11,829,074,332
    2007       14,156,934,349            11,849,655,646
    2006       13,695,827,367            11,320,948,189
    2013 Taxable Valuation                              $8,591,144,574
    Plus: 2013 IFT Valuation                                62,645,572*
    2013 Total Taxable Valuation                        $8,653,790,146
  * Millage is levied at half rate against the IFT Taxable Valuation. See “Tax Abatements” below
  Source: Genesee County Equalization Dept

  Per Capita Valuation
                             2013 Per Capita Taxable Valuation                                      $20,176.95
                             2013 Per Capita State Equalized Valuation                              $21,129.08
                             2013 Per Capita Estimated True Cash Valuation                          $42,258.15
  Tax Abatements
            Under the provisions of Act 198 of the Public Acts of Michigan, 1978 (“Act 198"), plant rehabilitation districts
  and/or industrial development districts may be established. Businesses in these districts are offered certain property tax
  incentives to encourage restoration or replacement of obsolete facilities and to attract new facilities in the area. The
  industrial facilities tax (“IFT”) is paid, at a lesser effective rate and in lieu of ad valorem property taxes, in such facilities
  for a period of up to 12 years. Qualifying facilities are issued abatement certificates for this period.
            After expiration of the abatement certificate, the then-current SEV of the facility is returned to the ad valorem
  tax roll. The owner of such facility may obtain a new certificate, provided it has complied with the provisions of Act
  198.
            The 2013 Taxable Value for all IFT abated property within the County is $62,645,572. The total for new IFT
  Taxable Valuation is $57,658,772 and $4,986,800 is new Renaissance Zone IFT Taxable Valuation; millage is levied
  at half the rate on the new amount. The total for rehab IFT Taxable Valuation is $3,100,000; millage is levied at full rate
  on this amount.
  Tax Increment Authorities
            Act 450 of the Public Acts of Michigan, 1980, as amended, (the “TIFA Act”), Act 197 of the Public Acts of
  Michigan, 1975, as amended, (the “DDA Act”), Act 281 of the Public Acts of Michigan, 1986, as amended, (the “LDFA
  Act”) and Act 381 of the Public Acts of Michigan, 1996, as amended (the “BRDA Act”) (together the “TIF Acts”)
  authorize the designation of specific districts known as Tax Increment Finance Authority (“TIFA”) Districts, Downtown
  Development Authority (“DDA”) Districts, Local Development Finance Authority (“LDFA”) Districts or Brownfield
  Redevelopment Authority (“BRDA”) Districts. Such districts are authorized to formulate tax increment financing plans
  for public improvements, economic development, neighborhood revitalization and historic preservation within the
  district.

            Tax increment financing permits the TIFA, DDA, LDFA, or BRDA to capture tax revenues attributable to
  increases in value (“TIF Captured Value”) of real and personal property located within an approved development area
  while any tax increment financing plans by an established district are in place. These captured revenues are used by the
  districts and are not passed on to the local taxing jurisdictions.




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  Tax Base Composition

            A breakdown of the County’s 2013 Taxable Valuation by class and use is as follows:

                      By Class                       Valuation                        Total
                      Real Property                $7,922,862,283                    92.22%
                      Personal Property               668,282,291                     7.78

                      TOTAL                        $8,591,144,574                   100.00%
                      By Use
                      Agricultural                   $122,092,317                     1.42%
                      Commercial                    1,712,997,352                    19.94
                      Industrial                      250,527,317                     2.92
                      Residential                   5,837,245,297                    67.94
                      Personal Commercial             299,882,029                     3.49
                      Personal Industrial             140,761,800                     1.64
                      Personal/Utility                227,638,462                     2.65

                      TOTAL                        $8,591,144,574                   100.00%

  Source: Genesee County Equalization Dept

  Property Tax Reform Proposals

            On December 20, 2012, Governor Snyder signed into law a package of bills reforming personal property tax
  in Michigan. The legislation exempts commercial and industrial personal property of each owner with a combined
  taxable value in a local taxing unit of less than $40,000 from ad valorem taxes beginning in 2014. All eligible
  manufacturing personal property purchased or put into service beginning in 2013 and used more than 50% of the time
  in industrial processing or direct integrated support becomes exempt beginning in 2016. The legislation extends certain
  personal property tax exemptions and tax abatements for technology parks, industrial facilities and enterprise zones that
  were to expire after 2012, until the newly enacted personal property tax exemptions take effect. The legislation
  authorizes local units to specially assess commercial and industrial real property to replace revenue lost due to the
  personal property tax exemptions for police, fire, ambulance and jail operations. The legislation also includes a formula
  to reimburse certain local governments for a portion of lost personal property tax revenue from use tax moneys to the
  extent the local unit has a reduction in taxable value of more than 2.3% as a result of the personal property tax
  exemption. For such reimbursement provisions to become effective, however voters would need to approve a change
  in the state distribution of use tax in the August 2014 primary election. If voters approve the redistribution, a portion
  of the use tax would be directed to a newly created statewide Metropolitan Areas Metropolitan Authority which would
  redistribute that revenue to qualifying local units. If voters fail to approve the use tax redistribution, the above personal
  property tax reform acts will be repealed and the local reimbursement act and the special assessment act will not go into
  effect. The final impact of this legislation cannot be determined at this time.

           The ultimate nature, extent and impact of any other future amendments to Michigan's property tax laws on the
  County’s finances cannot be predicted. Purchasers of the Bonds should consult with their legal counsel and financial
  advisors as to the consequences of any such legislation on the market price or marketability of the Bonds, the security
  therefor and the operations of the County.




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  MAJOR TAXPAYERS
            The ten major taxpayers in the County and their 2013 Taxable Valuation and Industrial Facilities Tax valuations
  are as follows:
                                                               Taxable                                           Total
    Taxpayer                         Product/Service           Valuation    + IFT Valuation         =          Valuation
  Consumers Energy                   Utility                $221,742,449                    $0             $221,742,449
  General Motors Corp.               Automotive               96,569,800             9,386,600              105,956,400
  Genesee Valley Partners LP         Investments              49,129,300                      0               49,129,300
  Wal-Mart/Sam's Club                Retail/grocery           41,076,788                      0               41,076,788
  Edward Rose Assoc. ETAL            Construction             25,660,242                      0               25,660,242
  Meijer Inc./Goodwill Co., Inc. Retail/grocery               25,407,943                      0               25,407,943
  Comcast                            Retail cable             19,356,902                      0               19,356,902
  Magna                              Automotive                6,770,800            11,123,600                17,894,400
  Michigan Electric Trans. Co.       Utility                  15,979,400                      0               15,979,400
  Kroger                             Grocery                  14,617,238                      0               14,617,238
    TOTAL                                                   $516,310,862          $20,510,200              $536,821,062
          The 2013 Taxable Valuations of the above taxpayers excluding IFT valuation represent 6.01% of the County’s
  2013 Taxable Valuation of $8,591,144,574. The Total Valuations including IFT valuation represent 6.20% of the 2013
  Total Taxable Valuation of $8,653,790,146.

  TAX RATES (Per $1,000 of Valuation)
            Each school district, county, township, special authority and city has a geographical definition which constitutes
  a tax district. Since local school districts and the county overlap either a township or a city, and intermediate school
  districts overlap local school districts and county boundaries, the result is many different tax rate districts.
  Genesee County                     2013           2012          2011          2010           2009          2008       2007
  County Operating                  5.5072         5.5072        5.5072        5.5072         5.5072        5.5072     5.5072
  County Parks & Recreation         0.4847         0.4847        0.4847        0.4847         0.4847        0.4847     0.4847
  County Paramedics                 0.4847         0.4847        0.4847        0.4847         0.4847        0.4847     0.4847
  Senior Services                   0.7000         0.7000        0.7000        0.7000         0.7000        0.7000     0.7000
  Uninsured Health Care             1.0000         1.0000        1.0000        1.0000         1.0000        1.0000     1.0000
  Veterans                          0.1000         0.1000        0.0000        0.0000         0.0000        0.0000     0.0000
     COUNTY'S TOTAL                 8.2766         8.2766        8.1766        8.1766         8.1766        8.1766     8.1766
  Other Tax Rates:                   2013           2012          2011          2010           2009          2008       2007
  Airport Authority                 0.4847         0.4847        0.4847        0.4847         0.4847        0.4847     0.4847
  District Library                  0.9981         0.9981        0.9981        0.7481         0.7481        0.7481     0.7481
  Genesee ISD                       3.5341         3.5341        3.5341        3.5341         3.5341        3.5341     3.5341
  Mott Community College            2.8596         2.8596        2.8596        2.6796         2.6796        2.6796     2.6796
  TAX RATE LIMITATION
           Article IX, Section 6, of the Michigan Constitution of 1963 provides in part:
  “Except as otherwise provided in this Constitution, the total amount of general ad valorem taxes imposed upon real and
  tangible personal property for all purposes in any one year shall not exceed 15 mills on each dollar of the assessed
  valuation of property as finally equalized.”
           Section 6 further provides that, by a majority vote of the qualified electors of a county, the 15 mill limitation may
  be increased to a total not to exceed 18 mills, and that the millages of the local units involved shall then be permanently
  fixed within that greater millage rate limitation.

             Act 62, Public Acts of Michigan, 1933, as amended, defines “local units” as “counties, townships, villages, cities,
  a first class school district (only Detroit schools), community college districts, intermediate school district, and all other
  divisions, districts, and organizations of government that are or may be established by law and that have the power to levy
  taxes against property located within their respective areas, except villages and cities for which there are provisions in
  their charters or general law fixing maximum limits on the power to levy taxes against property.”


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         The amount of mills allocated to the County, townships in the County and the intermediate school districts have
been fixed by vote as follows:
                             Units of Government                             Rates
                             County of Genesse                              5.6800
                             Townships                                      1.0000
                             Intermediate School District                   0.2000
                             TOTAL                                          6.8800
          In addition, Article IX, Section 6, permits the levy of millage in excess of the above for operating purposes
for a specified period of time provided that said increase is approved by a majority of the qualified electors of the
local unit.
          The County is authorized to levy the following tax rates:
                                                                                     2013
                                                     Millage                Maximum Allowable          Expiration
                                                    Authorized              Millage after Rollback*   Date of Levy
Operating                                            5.6800                         5.5072                n/a
County Parks                                         0.4847                         0.4847            12/31/2016
County Paramedics                                    0.4847                         0.4847            12/31/2016
Senior Services                                      0.7000                         0.7000            12/31/2015
Uninsured Health Care                                1.0000                         1.0000            12/31/2019
Veterans                                             0.1000                         0.1000            12/31/2021
* See “CONSTITUTIONAL ROLLBACK AND ASSESSMENT CAPS” herein.
Source: Genesee County

CONSTITUTIONAL ROLLBACK AND ASSESSMENT CAPS

         Article IX, Section 31 of the Michigan Constitution requires that if the total value of existing taxable property
(State Equalized Valuation) in a local taxing unit, exclusive of new construction and improvements, increases faster than
the U.S. Consumer Price Index from one year to the next, the maximum authorized tax rate for that local taxing unit must
be reduced through a Millage Reduction Fraction unless new millage is authorized by a vote of the electorate of the local
taxing unit.

TAX LEVIES AND COLLECTIONS
          The County’s fiscal year begins October 1 and ends September 30. Its property taxes are due July 1 and
December 1 of each fiscal year and are payable without penalty or interest on or before the following September 14 and
February 14, respectively. All real property taxes remaining unpaid on March 1st of the year following the levy are turned
over to the County Treasurer for collection. Genesee County annually pays from its 100% Tax Payment Fund delinquent
taxes on real property to all taxing units in the County, including the County’s, shortly after the date delinquent taxes are
returned to the County Treasurer for collection.
         A history of tax levies and collections for the County are as follows:
    Fiscal                    Total                   Collections to              Collections Plus Funding to
    Year                    Tax Levy          March 1, of Following Year        September 30, of Following Year
    2012                $77,487,325           $72,746,879           93.88%      $77,487,325           100.00%
    2011                  83,767,765           78,101,948           93.24        83,767,765           100.00
    2010                  93,767,535           86,508,053           92.26        93,767,535           100.00
    2009                  97,004,331           90,979,934           93.79        97,004,331           100.00
    2008                  96,962,513           91,098,930           93.95        96,962,513           100.00
          The 100% Tax Payment Fund is financed through the issuance of General Obligation Limited Tax Notes (GOLTNs)
by the County. The ability of the County to issue such GOLTNs is subject to market conditions at the time of offering. In
addition, Act 206 of 1893, as amended, provides in part that: “The primary obligation to pay to the county the amount of taxes
and interest thereon shall rest with the local taxing units, and if the delinquent taxes which are due and payable to the county
are not received by the county for any reason, the county has full right of recourse against the taxing unit to recover the amount
thereof and interest thereon...” Each year, a tax sale is held by the County at which lands delinquent for taxes assessed in the
third year preceding the sale, or in a prior year, are sold for the total of the unpaid taxes of those years.
Source: Comprehensive Annual Financial Report and County of Genesee

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REVENUES FROM THE STATE OF MICHIGAN
         The County receives revenue sharing payments from the State of Michigan under the State Revenue Sharing Act of
1971, as amended (the "Revenue Sharing Act"), on a per capita basis. The County's revenue sharing distribution is subject to
annual legislative appropriation and may be reduced or delayed by Executive Order during any State fiscal year in which the
Governor, with the approval of the State Legislature's appropriation committees, determines that actual revenues will be less than
the revenue estimates on which appropriations were based.

          The State's ability to make revenue sharing payments to the County in the amounts and at the times specified in the
Revenue Sharing Act is subject to the State's overall financial condition and its ability to finance any temporary cash flow
deficiencies. Act 357, Public Acts of Michigan, 2004 ("Act 357") amended the General Property Tax Act to temporarily
eliminate statutory revenue sharing payments to counties by creating a reserve fund, against which counties could draw in lieu
of annual revenue sharing payments, paid for by the permanent advancement of the counties' property tax levy from December
to July each year, beginning in 2005. ("Revenue Sharing Reserve Fund") Under Act 357, a county would resume receiving state
revenue sharing payments in the first year in which the county's property tax revenue reserve was less than the amount the county
would have otherwise received in state revenue sharing payments. The County resumed receiving revenue sharing payments
during its fiscal year ended September 30, 2012.

          Under the fiscal year 2014 budget, signed into law on June 13, 2013 by Governor Snyder, 80% of county revenue
sharing payment distributions are made pursuant to the Revenue Sharing Act and 20% are distributed through an incentive-based
program similar to the Economic Vitality Incentive Program established in fiscal year 2012 for cities, villages and townships.
The county program is known as the County Incentive Program ("CIP"), under which eligible counties may receive distributions
for complying with "best practices" such as increasing transparency and consolidating services. Eligible counties are those that
would be eligible to resume receiving state revenue sharing payments under Act 357. Under the fiscal year 2014 CIP, an eligible
county can receive (i) one-third of the money it is eligible for if it meets requirements for accountability and transparency,
including making a citizen's guide to its finances, a performance dashboard and a debt service report available for public viewing;
(ii) another one-third if it develops plans to increase its existing level of collaboration and consolidation, both internally and with
neighboring jurisdictions; and (iii) a final third if it develops and certifies an unfunded accrued liability plan. The unfunded
accrued liability plan, which replaced the requirement in fiscal year 2013 to modify employee compensation plans, must be
certified by June 1, 2014 for the County to receive all of the money that it is eligible for from the final component in clause (iii)
above. Any portion of the CIP that the County would be eligible to receive would be subject to certain benchmarks that the
County would need to meet, and there can be no assurance of what amount, if any, the County would receive under the CIP
program. The County anticipates meeting the requirements for clauses i, ii, and iii to receive fiscal year 2014 payments.

General Fund Revenues From the State
         Prior to 2013 the County exhausted its Revenue Sharing Reserve Fund during the 2011/2012 fiscal year. The County
received $7,541,499 in State Revenue Sharing payments during FY 2012/2013 and will rely on the State of Michigan for future
Revenue Sharing payments for 2014 year estimates.

                                   Fiscal Year                                              Revenue Sharing
                               Ended September 30                                             Payments**
                                    2014 Estimate ¹                                          $7,901,562
                                     2013                                                     7,541,499
                                    2012                                                      7,487,510
                                    2011                                                      9,847,817
                                    2010²                                                    10,548,185
** Amounts do not include state gas and weight tax distributions.
¹ Estimate from the State of Michigan
² The County's fiscal year revenues include draws from the revenue generated from the State-created reserve fund. See "County Reserve Fund" above.
Source: Web site http://treasury.state.mi.us

         Purchasers of the Bonds should be alert to further modifications to revenue sharing payments to Michigan
local governmental units, to the potential consequent impact upon the County’s general fund condition, and to the
potential impact upon the market price or marketability of the Bonds resulting from changes in revenues received by
the County from the State.


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LABOR FORCE
           A breakdown of the number of employees of the County and their affiliation with organized groups is as follows:
                                                                                                            Contract
Bargaining Unit                                                                      Number                 Expiration
AFSCME
    496-00 Clerical                                                                    239                   09/30/2015
    496-01 Technical                                                                   143                   09/30/2015
    496-02 GVRC Workers                                                                 20                   04/01/2015
    496-03 Drain Service                                                                 5                   12/31/2015
    496-10 Mobile Meals                                                                 17                   09/30/2010*
    916-05 & 916-06 Sheriff Supervisory                                                 28                   12/31/2014
    916-01, 02, 03, 04, 08, 09, 10 Supervisors                                          38                   06/30/2015
P.O.A.M.
    (Police Officers & Jail Security)                                                  208                   06/30/2014
Judicial Secretaries Association                                                         9                   12/31/2014
Teamsters
    Local 214 (Park Maintenance)                                                          7                  06/30/2015
    Local 214 (Friend of the Court)                                                       6                  12/31/2013*
Professional Court Officers Association                                                  34                  12/31/2015
Non Union
    Full-Time Employees                                                                102                   n/a
    Seasonal Employees                                                                 206                   n/a
    Elected Officials                                                                   31                   n/a
TOTAL                                                                                1,093
*In negotiations.

RETIREMENT PLANS
          The County maintains two distinct retirement plans for its employees. A defined benefit plan is available in accordance
with the Genesee County Employees Retirement System Ordinance (the “GCERS Plan”). A defined contribution plan is
available in accordance with the Genesee County Defined Contribution Pension Plan (the “DC Plan”). All County employees,
except members of AFSCME Mobile Meals Drivers and AFSCME Seasonal Parks Employees, are participants in either the
GCERS Plan or the DC Plan. Employees hired prior to the effective date of the DC plan to their respective employee group,
which for most employees was July 1, 1996, were permitted to elect between the GCERS Plan and the DC Plan. Most employees
hired between 1996 and 2006 had the option of selecting the GCERS Plan or the DC Plan. All employees hired after 2006 must
select the DC Plan for retirement. For information regarding retirement plans, see APPENDIX B.
          GCERS Plan - This is a contributory multi-employer defined benefit pension plan. County employees represented by
the various bargaining units are required to contribute from 0.5% to 9.0% of all compensation, including overtime. The County
provides contributions at actuarially determined rates. During 2013, employer contribution rates ranged from 16.87% to 53.48%
of covered payroll. For the year ending December 31, 2012, contributions from the multi-employers totaled $14,398,417 and
affected employees contributed $2,321,841 for an aggregate multi-employer/employee total of $16,720,258.
          DC Plan - This is a contributory, single employer defined contribution plan with assets of $104,345,310 as of September
30, 2012. County employees are required to contribute between 3.0% and 7.0% of covered payroll. The County offers a defined
contribution pension plan as an alternative to the defined benefit pension plan. The International City Managers Association
(ICMA) Retirement Corporation administers the plan, and the County Board of Commissioners has authority over plan provisions
and contribution requirements. All employees are eligible to participate in this plan, if not participating in the Defined Benefit
Plan. The County is required to contribute 8 to 10% of eligible employees' annual covered payroll, and employees are required
to contribute between 3% and 7% of covered payroll. Employees are vested after 5 years of service. During the year ended
September 30, 2013, employer and employee contributions to the plan were $2,705,916 and $1,617,428, respectively.

           Other Post-Retirement Benefits - The County performed an actuarial valuation of the other post-retirement benefits
liability for the year ended September 30, 2012. At that time the actuarial accrued liability was determined to be $308,208,023
and the funding value assets was $43,313,587, resulting in an unfunded actuarial accrued liability of $264,894,436. The annual
required contribution (ARC) as a percentage of payroll (based on 30-year amortization of the unfunded liability) was 50.15%
or $18,549,049.

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           The County has been working to systematically increase contributions into the VEBA to eventually equal the ARC.
Beginning in fiscal year 2002/2003, the County began contributing 3% of gross payroll into a fund designated for retiree health
care. This was increased to 5% in the 2003/2004 fiscal year, to 10% in the 2006/2007 fiscal year, 20% in the 2007/2008 fiscal
year, 22.5% in the 2008/2009 fiscal year, 20% in the 2009/2010 fiscal year, 24% in the 2010/2011 fiscal year and 24% in the
2011/2012 fiscal year. In 2004, the County created a VEBA trust to specifically designate the funds that had been contributed
for retiree health care. Also, all collective bargaining agreements as well as the non-union personnel policies include a provision
that requires all employees to make a contribution of 1% to 3% of pre-tax gross wages, which is paid to the VEBA as employer
contributions for the funding of retiree health care benefits (OPEB). These contributions resulted in an OPEB obligation for the
period ending September 30, 2013 in an amount of $29,409,706. The OPEB obligation is the cumulative difference between the
ARC and the actual amount contributed.

DEBT STATEMENT(as of April 2, 2014 and including the Bonds described herein)
          Each series of bonds marked “LT” is payable in the first instance from a specified source and is payable from the
general funds of the County in the event of insufficiency of the specified source. The County is not authorized to levy taxes
beyond constitutional and statutory tax rate limitations with respect to the bonds marked “LT”.
DIRECT DEBT
                                                              Dated           Outstanding        Unit Share        County’s
General Obligation Bonds                                       Date          Gross Amount          Amount           Share
Sewer, Fenton Twp.-Rolston/Ripley, LT                        11/01/96          $400,000           $400,000               0
Drain, Atlas Twp. Project A#1610, LT                         12/01/00           150,000            150,000               0
Capital Improvement, LT                                      11/01/04         1,765,000                  0      $1,765,000
Sewer Fenton Twp. Ser A&B, LT                                12/01/04           550,000            550,000               0
Sewer Refunding, LT                                          02/01/05         4,000,000          4,000,000               0
Sewer Refunding, Lt. Morris, LT                              12/22/05         1,695,000          1,695,000               0
Drain, Meyers, LT                                            08/01/06           375,000            248,400         126,600
Sewer, Western Trunk No. 1, LT                               09/01/06         2,775,000          2,775,000               0
Sewer Refunding No. 3, LT                                    11/16/07         4,305,000          4,305,000               0
Qual. Energy Conservation Bonds, LT                          12/01/10         7,175,784                  0       7,175,784
Gilkey Creek and Branch Drain Drainage District, LT          12/01/11         2,395,000          2,343,268          51,732
Water, Fenton Rd. Watermain Project, LT                      04/08/11           859,000            859,000               0

SUB-TOTAL GENERAL OBLIGATION BONDS                                          $26,444,784       $17,325,668       $9,119,116
Building Authority Bonds
Refunding, Series 1998, LT                                   07/01/98       $   155,000                   0     $  155,000
Building Authority, Refunding, LT                            06/23/05         8,415,000                   0      8,415,000
Brownfield Redev. Ref. LT                                    11/20/07        12,110,000                   0     12,110,000
Refunding, LT                                                04/12/12         4,430,000                   0      4,430,000

SUB-TOTAL BUILDING AUTHORITY BONDS                                          $25,110,000                  $0    $25,110,000

Revenue Bonds with GO Pledge
Sewer, Western Trunk Relief, LT                              08/01/03        $2,585,000                  $0     $2,585,000
Water, LT                                                    08/01/03         3,585,000                   0      3,585,000
Water, LT                                                    10/01/03        15,730,000                   0     15,730,000
Water, LT                                                    09/01/04        13,260,000                   0     13,260,000
NE Sewer, Series 2005A - SRF, LT                             06/23/05        15,210,000                   0     15,210,000
NE Sewer, Series 2005B - SRF, LT                             09/22/05        10,640,000                   0     10,640,000
NE Sewer, Series 2006A - SRF, LT                             09/21/06         2,065,000                   0      2,065,000
NE Sewer, Series 2006B - SRF, LT                             12/14/06         5,650,000                   0      5,650,000
NE Sewer, Series 2006C - SRF, LT                             12/14/06         3,175,000                   0      3,175,000
Water, Series 2007, LT                                       01/01/07         5,100,000                   0      5,100,000
Sewer, Northeast Ext., Series B, LT                          09/01/07         6,665,000                   0      6,665,000
Sewer, Northeast Ext., 2007A, LT                             09/20/07         8,180,000                   0      8,180,000
Sewer District No. 3, LT                                     12/01/07         4,920,000                   0      4,920,000
Sewer, Sewage Disposal, LT                                   02/12/09        13,075,000                   0     13,075,000
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NE Sewer, LT                                              01/22/10       12,790,000                  0      12,790,000
Sewer No. 3 Revenue Bonds, LT                             01/22/10          955,000                  0         955,000
Sewer, Interceptors and Treatment Facilities LT (Ser A)   04/08/11        1,330,000                  0       1,330,000
Sewer, Interceptors and Treatment Facilities LT (Ser B)   07/28/11        4,825,000                  0       4,825,000
Sewage Disp. Series C, Refunding, LT                      09/14/11        4,965,000                  0       4,965,000
Water Supply System Revenue Bonds, LT                     10/03/13       35,000,000                  0      35,000,000

TOTAL REVENUE BONDS                                                  $169,705,000               $0 $169,705,000
Michigan Transportation Fund Bonds
MTF Notes, NO COUNTY CREDIT                               11/01/06         $580,000               0           $580,000
MTF Notes, NO COUNTY CREDIT                               10/01/07        1,970,000               0          1,970,000
MTF Notes, NO COUNTY CREDIT                               08/01/08        2,305,000               0          2,305,000
MTF Notes, NO COUNTY CREDIT                               09/01/09        2,085,000               0          2,085,000

TOTAL MICHIGAN TRANSPORTATION FUND BONDS                                 $6,940,000             $0          $6,940,000
Share of Authority Issued Bonds:
Water Supply System Bonds, Series 2014 A, LT              04/16/14    220,500,000                    0      220,500,000
Share of County Issued Bonds:
  Utilities Drainage                                      12/01/11          46,656                   0           46,656
TOTAL DIRECT DEBT                                                    $448,746,440      $17,325,668         $431,420,772

LESS: Self Supporting Authority Contract Bonds                                                            (220,500,000)
      Revenue Bonds                                                                                       (169,705,000)
      Michigan Transportation Fund Bonds/Notes                                                              (6,940,000)
                                                                                                         ($397,145,000)

TOTAL NET DIRECT DEBT                                                                                      $34,275,772
OVERLAPPING DEBT
                                                             County’s
                    Municipality                              Share
                    Cities                                 $42,414,877
                    Townships                               43,954,796
                    Villages                                 1,089,013
                    School Districts                       365,853,767
                    Intermediate School Districts               17,060
                    Community College                       42,960,045
                    Bishop Airport Authority                10,430,000

NET OVERLAPPING DEBT                                                                                     $506,719,558
NET DIRECT & OVERLAPPING DEBT                                                                            $540,995,330
Source: Municipal Advisory Council of Michigan


DEBT RATIOS
Per Capita (425,790)
    Net Direct Debt                                                                                                 $80.50
    Net Direct and Overlapping Debt                                                                              $1,270.57

Ratio to 2013 Taxable Valuation ($8,591,144,574)
    Net Direct Debt                                                                                                 0.40%
    Net Direct and Overlapping Debt                                                                                 6.30%


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Ratio to 2013 State Equalized Valuation ($8,996,549,108)
    Net Direct Debt                                                                                                      0.38%
    Net Direct and Overlapping Debt                                                                                      6.01%
Ratio to 2013 Estimated True Cash Value ($17,993,098,216)
    Net Direct Debt                                                                                                      0.19%
    Net Direct and Overlapping Debt                                                                                      3.01%


DEBT HISTORY
         The County has no record of default.
FUTURE FINANCING
         The County has entered into a contract with the Karegnondi Water Authority and the City of Flint pursuant to which
the Authority will issue an additional $80,000,000 of bonds over the next 3 to 15 months in anticipation of payments to be
made by the County and the City of Flint to finance a raw water supply project to serve the County, the City of Flint and
several other municipalities. The County will make a limited tax general obligation pledge of the County on 100% of these
bonds. The County also anticipates issuance of approximately $60,000,000 of water revenue bonds with a limited tax general
obligation pledge of the County to finance construction of a new water treatment plant and related facilities to treat water from
the new raw water supply within the next 6 to 12 months. The County may issue an estimated $18,000,000 to $31,000,000
of water revenue refunding bonds with a limited tax general obligation pledge in the next 6 to 12 months to refund certain
outstanding water revenue bond issues for debt service savings.
COMPENSATED ABSENCES
         As of September 30, 2013, the County’s governmental activities statement of net position included a liability for
vacation and other employee compensated absences of $4,217,266.

SHORT TERM BORROWING
         The County has in the years 1974 through 2013 issued short-term notes in order to establish the 100% Tax Payment
Fund. Notes issued in each of the above years have been in a face amount which has been less than the actual real property
tax delinquency. The primary security for these notes is the collection of the delinquent taxes pledged to the payment of
principal of and interest on the notes issued. The County has pledged its full faith and credit and limited taxing power to the
payment of the principal and interest on notes issued since 1975. Notes in the amount of $39.9 million were issued by the
County during the fiscal year ended September 30, 2013.
          The County Landbank Authority has entered into a $3,000,000 line of credit with a bank and the County has pledged
its limited tax full faith and credit on the line.
LEASE OBLIGATIONS
         The County is party to numerous operating leases and aggregate rental expenses which were approximately $74,535
during the year ended September 30, 2013, exclusive of the amount paid to a related organization.

LEGAL DEBT MARGIN* (as of April 2, 2014 and including the Bonds described herein)

         2013 State Equalized Valuation - excluding IFT values                                               $8,996,549,108
         Debt Limit - 10% of State Equalized Valuation                                                          899,654,911
Amount of Direct Debt Outstanding                                               $448,746,440
         Less:     No County Credit Pledged Bonds/Notes                           (6,940,000)
Total Subject to Debt Limit                                                                                     441,806,440
Additional Debt Which Could Be Legally Incurred                                                                $457,848,471




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                            GENERAL ECONOMIC INFORMATION
LOCATION AND AREA
        Genesee County is located in the central-eastern portion of Michigan’s lower peninsula, and covers an area of 643
square miles. The City of Flint is the county seat.
         The County is located the following distances from these commercial and industrial areas:
                                                  36      miles south of Bay City
                                                  50      miles north of Ann Arbor
                                                  67      miles west of Port Huron
                                                 104      miles east of Grand Rapids

FORM OF GOVERNMENT
          The County is governed by a legislative body consisting of nine members forming the County Board of Commissioners,
each of whom is elected for terms of two years from districts of approximately equal population. County officials include the
County Treasurer, County Clerk/Register, Prosecuting Attorney, Drain Commissioner, and Sheriff. These officials are elected
at large for four-year terms.
           Administration of the County is divided by the State of Michigan Constitution (the “State Constitution”) among various
officials all elected at large according to purpose and by various appointed officials. The County Treasurer is the chief custodian
of the County moneys, collector of County taxes, Treasurer for the County Drainage Districts, disbursing agent for certain tax
funds to local communities and school districts. The duties of the County Clerk/Register are primarily record keeping in nature
and include such duties as clerk of the Circuit Court and Board of Commissioners and keeping and maintaining records of births,
deaths, marriages, discharges of military personnel, records of deeds, mortgages, surveys, recording of plats, notices of liens and
bills of sales. The Prosecuting Attorney prosecutes violations of state criminal law within the County. The County Drain
Commissioner administers the location, construction and maintenance of drains in the County. The Sheriff's duties involve the
charge and custody of the County jail, the serving of processes, and law enforcement in unincorporated areas. The Board of
Commissioners has created the office of County Controller. The County Controller is appointed by the Board of Commissioners
and the responsibilities of the office include, but are not limited to: budget preparation and control; all accounting and auditing.

POPULATION BY AGE
         The 2010 U.S. Census estimate of population by age for Genesee County is as follows:
                                                                    Number                  Percent
                        Total Population                            425,790                 100.00%
                        0 through 19 years                          118,966                  27.94
                        20 through 64 years                         248,630                  58.39
                        65 years and over                            58,194                  13.67
                        Median Age                                38.5 years
INCOME
         The 2010 U.S. Census estimate of household income for Genesee County is as follows:
                                                                   Number                   Percent
                        HOUSEHOLDS BY INCOME                       166,539                   100.00%
                        Less than $10,000                           20,651                    12.40
                        $10,000 to $14,999                          11,491                     6.90
                        $15,000 to $24,999                          22,982                    13.80
                        $25,000 to $34,999                          21,150                    12.70
                        $35,000 to $49,999                          26,313                    15.80
                        $50,000 to $74,999                          30,810                    18.50
                        $75,000 to $99,999                          14,989                     9.00
                        $100,000 to $149,999                        13,823                     8.30
                        $150,000 to $199,999                         2,665                     1.60
                        $200,000 or more                             1,665                     1.00
                        Median Income                             $41,951
                        Mean Income                               $49,079
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EMPLOYMENT CHARACTERISTICS*
          The following companies located in the County offer employment opportunities for residents.
                                                                                                                            No. of
Company                                                               Product/Service                                      Employed ¹
Within Genesee County (500 or more employees)
Genesys Health Care System                                            Health care                                            3,265
McLaren Health Care Corporation                                       Hospital & other health care                           3,014
General Motors Corp. Assembly                                         Automotive parts & bodies                              2,821
Hurley Medical Center                                                 Medical center                                         2,811
Baker College                                                         Higher Education                                       2,800
Square D                                                              Computer programming services                          2,500
Flint Metal Center, Vehicle Mfg. Operating Div.                       Metal fabrication                                      2,180
A I Flint LLC                                                         Car Parts and accessories                              1,500
General Motors Corp. (Stamping facility)                              Stamping plant                                         1,415
United States Postal Service                                          US Postal Service                                      1,200
Genesee County (full time employees)                                  Government                                             1,093
Delphi Corp.                                                          Spark plugs & odometers                                1,000
Meijer Inc.                                                           Retail                                                 1,000
General Motors Corp., Powertrain Div.                                 Engines & gears & transmissions                          961
Genesee Intermediate Schools                                          Education                                                950
Mott Community College                                                Higher education                                         949
Flint Community Schools                                               Educational services                                     820
JPMorgan Chase Bank                                                   Finance                                                  800
FirstMerit Bank                                                       Banking                                                  780
Nu Vision Inc.                                                        Optical goods retail                                     766
Carman-Ainsworth Community Schools                                    Education                                                706
Peregrine                                                             Manufacturing                                            684
E L Hollingsworth & CO                                                Freight and logistics                                    646
Sears, Roebuck & Co.                                                  Retail sales                                             600
United Retired Govt. Employees                                        Labor Organizations                                      600
Creative Foam Corp.                                                   Plastic products                                         600
Flint, City of                                                        Municipality                                             596
Genova Products (HQ)                                                  Plastic pipes                                            570
Vemco, Inc.                                                           Automobile parts & accessories                           500
TRW Automotive                                                        Brake systems                                            500
Flint Specialty Services                                              Freight and logistics                                    500

¹ The approximate number of employees listed are as reported in these sources: 2013 Michigan Manufacturers Directory, Manta Company Intelligence
website, the Michigan Economic Development Council ("MEDC"), and individual employers.

 *Due to reporting time lags and other factors inherent in collecting and reporting such information, the numbers may not reflect recent changes in
employment levels, if any.

EMPLOYMENT BREAKDOWN

         The 2010 U. S. Census reports the occupational breakdown of persons 16 years and over for Genesee County is
as follows:
                                                                           Number        Percent
          PERSONS BY OCCUPATION                                           151,813        100.00%
          Professional Specialty Occupations                               45,895         30.23
          Service Occupations                                              31,444         20.71
          Sales & Office Occupations                                       40,133         26.44
          Natural Resources, Construction, and Maintenance Occupations     10,498          6.92
          Transportation & Material Moving Occupations                     23,843         15.71



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          The breakdown by industry for persons 16 years and over for Genesee County is as follows:
                                                                                          Number     Percent
           PERSONS BY INDUSTRY                                                           151,813     100.00%
           Agriculture, Forestry, Fishing, Hunting & Mining                                  607       0.40
           Construction                                                                    6,528       4.30
           Manufacturing                                                                  20,950      13.80
           Wholesale Trade                                                                 4,099       2.70
           Retail Trade                                                                   21,861      14.40
           Transportation                                                                  7,591       5.00
           Information                                                                     1,366       0.90
           Finance, Insurance, & Real Estate                                               7,894       5.20
           Professional & Management Services                                             12,145       8.00
           Educational, Health & Social Services                                          39,320      25.90
           Arts, Entertainment, Recreation and Food Services                              15,333      10.10
           Other Professional and Related Services                                         8,350       5.50
           Public Administration                                                           5,769       3.80

UNEMPLOYMENT
        The Michigan Employment Security Commission, Research and Statistical Division, reports unemployment
averages for the County of Genesee (not seasonally adjusted) as compared to the State of Michigan as follows:
                                                              County of              State of
                                                              Genesee                Michigan
                  2014 Year to Date (January)                    9.5%                   8.1%
                  2013 Annual Average                            9.7                    8.8
                  2012 Annual Average                            9.5                    9.1
                  2011 Annual Average                           11.5                  10.4
                  2010 Annual Average                           14.0                  12.5
TRANSPORTATION
         The Genesee County region provides maximum accessibility by freeway, rail and air. Four multi-lane expressways
converge in the City of Flint. Interstate 75 is a direct route between northern Michigan and Florida, while I-69 provides direct
connections to Canada and Chicago. I-475 provides a north-south link between Mount Morris and Grand Blanc. US-23
provides a direct route to Ann Arbor and the Ohio State line as well as the Upper Peninsula. The ease of travel provided by
these major highways has resulted in 24 of the 35 major motor freight carriers who serve Genesee County establishing local
terminals.
         Rail passenger service is provided daily by Amtrak, freight service is provided by CSX Transportation Line for
north-south service, and the CN North America/Grand Trunk for east-west service. Truck freight service is furnished by 36
commercial trucking companies. Greyhound and Indian Trails Bus Lines offer nationwide passenger service to areas outside
of the Mass Transportation Authorities service area.
          Bishop International Airport provides regularly scheduled jet service by various airlines.
Source: Flint Area Chamber of Commerce and Bishop International Airport Authority.

HIGHER EDUCATION
          Several colleges offer a wide range of educational opportunities to area residents.
          C. S. Mott Community College, established in 1923, was named after Flint’s greatest philanthropist, automotive pioneer
Charles Stewart Mott. It is the largest higher education institution in Genesee County. Through Mott, students may select from
100 career and transfer programs. Advanced degrees from Wayne State, Ferris State, Central Michigan and Eastern Michigan
universities are available on the Mott Campus. The main campus is in Flint. Fenton is the site of Southern Lakes Campus.

         Baker College of Flint is the largest of seven schools in the statewide Baker College system, offering both two-and
four-year degrees in accounting, business management, drafting, electronic engineering, fashion merchandising and interior
design among many others.

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         Detroit College of Business-Flint is part of the Davenport/Detroit College Education System, comprising the largest
independent college system in the State of Michigan. Both bachelor and associate degrees are offered, with many students
obtaining professional work experience in their chosen field while qualifying for a degree.

          Kettering University is a technical university offering bachelor’s and master’s degrees in engineering and management.

          Spring Arbor College-Flint, a private Christian liberal arts institution, offers bachelor degrees in management of human
resources, health services and gerontology. Its programs are set up around the students’ family and work hours and grants
credits for work experience, thus attracting many older students and business people.

          The University of Michigan-Flint is a satellite campus of the University of Michigan. The University offers a traditional
college setting with nearly 60 baccalaureate programs and masters degrees in art and business. One of the nation’s most modern
urban campuses, UM-Flint has expanded its facilities through the addition of a $20 million, state-of-the art Frances Wilson
Thompson Library which opened in 1994.

         Michigan State University-College of Human Medicine, Flint Campus, blends the academic resources of a major land-
grant university medical school with the educational and clinical resources of four major community based teaching hospitals,
Hurley Medical Center, McLaren Regional Medical Center, Genesys Regional Medical Center and St. Joseph Campus.

          Flint serves as the home of Hurley Medical Center School of Nursing and the Michigan School for the Deaf.
Source: City of Flint, Genesee Economic Area Revitalization, Inc., and the Flint Area Chamber of Commerce.

CULTURAL/RECREATIONAL
           The area has numerous recreational facilities for its residents, including golf courses, a soap-box derby facility,
artificial ice rinks, stadiums, soccer fields, ball fields, tennis courts, basketball courts, horseshoe courts, shuffleboard courts,
a lawn bowling green, football fields, playgrounds, and a rugby field. Parks of various sizes provide picnic areas as well as play
fields.

          The Cultural Center, located just two blocks east of downtown Flint, consists of a group of eight buildings which
          bring together the area’s cultural, educational, performance, and literary heritage. Most of the buildings were built
          in the 1950’s with donations from area residents. Included in the Center are the following:

          DeWaters Art Center houses the Flint Institute of Arts with paintings, sculpture, Renaissance tapestries and antique
          French paper weights among the many items displayed.

          Robert T. Longway Planetarium has astronomy exhibits, ultraviolet and fluorescent murals, and provides stargazing
          under the dome in its Star Theater.

          Sloan Museum has a variety of permanent and changing exhibits. One section portrays the settlement of Genesee
          County with dioramas of historical scenes. Another section is devoted to the automotive history of Flint and features
          more than 60 cars and carriages. The health section explains functions of the human body through audiovisual
          presentations. Also featured is a doll gallery with over 200 dolls displayed.
         The 2001-seat Whiting Auditorium hosts the Flint Symphony Orchestra and stage presentations from abroad, as well
         as from this country.
         A variety of theater, music, special exhibits and attractions are provided through the University of Michigan, the
Flint Community Players, Center Stage Productions and other community groups. Of special interest is the Children’s
Museum, a hands-on learning center that offers 50 career related exhibits and the Labor Museum and Learning Center of
Michigan. The Labor Museum presents an interpretation of the story of labor from its nineteenth century roots to the present
with special emphasis on Flint’s role in Michigan’s labor history.
          Other major attractions located within the County include the Antique World Mall, a special gallery of antiques and
collectibles, Riverbank Park, a project which has transformed 4-1/2 blocks of downtown (Flint) river frontage into a
landscaped community park featuring a 750-seat amphitheater, grand fountain, fish ladder, Archimedes’ screw, flowing water
walls, islands, flower gardens, picnic sites, and walking and biking paths. Windmill Place houses ethnic foods from around
the world in addition to craft and retail shops.


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         Carriage Town is a 35 square block area whose streets and buildings span the incredible careers of a group of men.
The area is a step back into history with a lesson for tomorrow.
          Located throughout the County are lakes, picnic, and play areas, local museums and shops of interest to area
travelers including Crossroads Village and Huckleberry Railroad, which features daily demonstrations of blacksmithing,
wood-carving, yarn spinning and other activities performed by artisans, craftsmen and townspeople, as our ancestors did more
than 100 years ago. The Genesee Belle, a paddlewheel boat is in service on Mott Lake, at Crossroads Village. Pennywhistle
Place, a fascinating children’s creative play center is adjacent to Crossroads Village as is the Mott Children’s Farm. Operated
by the Genesee County Parks and Recreation Commission from May through September, this park has become a favorite of
local residents and travelers alike.
UTILITIES
        Telephone service is provided by AT&T, Century and Verizon. Water and sewer service is provided through
municipal systems in the cities and individual systems in the rural areas.
BANKING
         The following banks have branches located within the County according to the Accuity American Financial
Directory, July - December 2013.

                                                                                                 Total State-Wide
    Bank                                                       Main Office                           Deposits
    Bank of America                                            Charlotte, NC                               N/A
    Fifth Third Bank                                           Cincinnati, OH                              N/A
    First Merit Bank                                           Akron, OH                                   N/A
    BestBank, A Division of Guaranty Bank                      Milwaukee, WI                               N/A
    Comerica Bank                                              Dallas, TX                                  N/A
    Flagstar Bank, FSB                                         Troy, MI                         $8,771,046,000
    First Michigan Bank                                        Troy, MI                          1,755,761,000
    Chemical Bank                                              Midland, MI                       4,921,683,000
    The State Bank                                             Fenton, MI                          278,800,000
    Community State Bank                                       St. Charles, MI                     180,284,000
    Hantz Bank                                                 Southfield, MI                      108,093,000
    JPMorgan Chase Bank, National Association                  Columbus, OH                               N/A
    PNC Bank                                                   Pittsburgh, PA                             N/A
    Independent Bank                                           Ionia, MI                         2,193,408,000
    Oxford Bank                                                Oxford, MI                          243,627,000




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                                    Genesee County, Michigan
                Summaries of General Fund Adopted Revenue and Expenditure Budget
                               Fiscal Year 2012/2013 and 2013/2014

                                                                       2012/13              2013/14
              REVENUE                                                 Amended               Adopted
                                                                       Budget               Budget
               Taxes                                                   $44,470,857          $43,314,532
               Licenses and Permits                                      1,027,414            1,027,000
               Intergovernmental Revenue (Note A)                        8,873,830           17,243,913
               Charges for Services                                      8,760,228            8,618,079
               Fines & Forfeitures                                       1,723,439            1,775,250
               Miscellaneous Revenue (Note A)                           14,792,146            7,582,457

                          TOTAL REVENUE                                $79,647,914          $79,561,231

              EXPENDITURES

               Management & Planning                                   $10,866,324           $9,826,592
               Administration of Justice                                24,185,011           26,050,375
               Law Enforcement & Community Protection                   18,517,307           18,505,960
               Human Services                                           15,965,900           16,034,421
               General Support                                          10,113,372            9,143,883

                          TOTAL EXPENDITURES                           $79,647,914          $79,561,231

              REVENUE OVER (UNDER) EXPENDITURES                                 $0                   $0
              FUND BALANCE BEGINNING OF YEAR                           $11,809,385          $11,746,279

              FUND BALANCE END OF YEAR                                 $11,809,385 *        $11,746,279 *

              Note A - State revenue sharing of $7,620,146 was included in miscellaneous revenue in
              the 2012/13 amended budget.

     *There is an obligation due to the general fund as reported by the Controller in an amount of $7,830,989 as shown in
the County's most recent annual financial statements. The County Treasurer will make a determination on an annual basis
of the surplus funds held in the Delinquent Tax Fund. Based on historical determinations of surplus, the County Controller
has determined that there should be sufficient surplus to repay the general fund in four years.




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                                          APPENDIX B


                       GENESEE COUNTY DRAIN COMMISSIONER
                       DIVISION OF WATER AND WASTE SERVICES
                          AUDITED FINANCIAL STATEMENTS


                                 COUNTY OF GENESEE
                            AUDITED FINANCIAL STATEMENTS


          Attached are the audited financial statements for the Genesee County Drain
  Commissioner, Division of Water and Waste Services (the “Division”) for the fiscal year ended
  December 31, 2012, and the audited financial statements for the County of Genesee (the
  “County”) for the fiscal year ended September 30, 2013. The auditors for the Division and the
  County have not been asked to consent to the use of information from such financial statements
  in either the Preliminary Official Statement or the Official Statement and have not conducted any
  subsequent review of such financial statements.
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                                                                                                                      To the Board of Directors
                                                                                                                      Genesee County Drain Commissioner
                                                                                                                         Division of Water and Waste Services

                                             Independent Auditor's Report                                             Other Matters
                                                                                                                      Required Supplemental Information
      To the Board of Directors                                                                                       Accounting principles generally accepted in the United States of America require that the management's
      Genesee County Drain Commissioner                                                                               discussion and analysis on pages 3-11 be presented to supplement the basic financial statements. Such
         Division of Water and Waste Services                                                                         information, although not a part of the basic financial statements, is required by the Governmental
                                                                                                                      Accounting Standards Board, which considers it to be an essential part of financial reporting for placing
      Report on the Financial Statements                                                                              the basic financial statements in an appropriate operational, economic, or historical context. We have
      We have audited the accompanying financial statements of the Enterprise Fund, Internal Service Funds,           applied certain limited procedures to the required supplemental information in accordance with auditing
      and business-type activities of the Genesee County Drain Commissioner Division of Water and Waste               standards generally accepted in the United States of America, which consisted of inquiries of
      Services (the "Division") as of and for the year ended December 31, 2012 and the related notes to the           management about the methods of preparing the information and comparing the information for
      financial statements, which collectively comprise the Genesee County Drain Commissioner Division of             consistency with management's responses to our inquiries, the basic financial statements, and other
      Water and Waste Services' basic financial statements as listed in the table of contents.                        knowledge we obtained during our audit of the basic financial statements. We do not express an opinion
                                                                                                                      or provide any assurance on the information because the limited procedures do not provide us with
      Management’s Responsibility for the Financial Statements                                                        sufficient evidence to express an opinion or provide any assurance.

      Management is responsible for the preparation and fair presentation of these financial statements in            Supplemental Information
      accordance with accounting principles generally accepted in the United States of America; this includes
      the design, implementation, and maintenance of internal control relevant to the preparation and fair            Our audit was conducted for the purpose of forming opinions on the financial statements that collectively
      presentation of financial statements that are free from material misstatement, whether due to fraud or          comprise the Genesee County Drain Commissioner Division of Water and Waste Services' basic financial
      error.                                                                                                          statements. The supplemental information, as identified in the table of contents, is presented for the
                                                                                                                      purpose of additional analysis and is not a required part of the basic financial statements.
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      Auditor’s Responsibility
                                                                                                                      The supplemental information is the responsibility of management and was derived from and relates
      Our responsibility is to express an opinion on these financial statements based on our audit. We                directly to the underlying accounting and other records used to prepare the basic financial statements.
      conducted our audit in accordance with auditing standards generally accepted in the United States of            Such information has been subjected to the auditing procedures applied in the audit of the basic financial
      America. Those standards require that we plan and perform the audit to obtain reasonable assurance              statements and certain additional procedures, including comparing and reconciling such information
      about whether the financial statements are free from material misstatement.                                     directly to the underlying accounting and other records used to prepare the basic financial statements or
                                                                                                                      to the basic financial statements themselves, and other additional procedures in accordance with auditing
      An audit involves performing procedures to obtain audit evidence about the amounts and disclosures in           standards generally accepted in the United States of America. In our opinion, the other supplemental
      the financial statements. The procedures selected depend on the auditor’s judgment, including the               information is fairly stated in all material respects in relation to the basic financial statements taken as a
      assessment of the risks of material misstatement of the financial statements, whether due to fraud or           whole.
      error. In making those risk assessments, the auditor considers internal control relevant to the entity’s
      preparation and fair presentation of the financial statements in order to design audit procedures that are      Report on Summarized Comparative Information
      appropriate in the circumstances, but not for the purpose of expressing an opinion on the effectiveness
      of the entity’s internal control. Accordingly, we express no such opinion. An audit also includes evaluating    We have previously audited the Genesee County Drain Commissioner Division of Water and Waste
      the appropriateness of accounting policies used and the reasonableness of significant accounting                Services' December 31, 2011 financial statements, and we expressed an unmodified audit opinion on
      estimates made by management, as well as evaluating the overall presentation of the financial statements.       those audited financial statements in our report dated June 25, 2012. In our opinion, the summarized
                                                                                                                      comparative information presented herein as of and for the year ended December 31, 2011 is
      We believe that the audit evidence we have obtained is sufficient and appropriate to provide a basis for        consistent, in all material respects, with the audited financial statements from which it has been derived.
      our audit opinion.
      Opinion
      In our opinion, the financial statements referred to above present fairly, in all material respects, the
      respective financial position of the Enterprise Fund, Internal Service Funds, and business-type activities of
      the Genesee County Drain Commissioner Division of Water and Waste Services as of December 31,                   May 14, 2013
      2012 and the respective changes in its financial position and, where applicable, cash flows for the year
      then ended, in accordance with accounting principles generally accepted in the United States of America.



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                                                                                                          Genesee County Drain Commissioner
      Genesee County Drain Commissioner
                                                                                                          Division of Water and Waste Services
      Division of Water and Waste Services
                                                                                                                                   Management’s Discussion and Analysis (Continued)
                                                Management’s Discussion and Analysis

      The County established a County Agency through the County Improvement Act (Public Act               Sewage Treatment Facilities - The core function of all treatment facilities is to effectively and
      342). The County designated the Drain Commissioner as the County Agency. The County                 efficiently treat sewage in compliance with regulations established by their NPDES (National
      Agency created the Division of Water and Waste Services (the “Division”) as its vehicle to          Pollutant Discharge Elimination System) permit. The facilities maintain good working
      perform required duties. The Division provides public utility services of water and wastewater      relationships with customers and elected officials of the districts to achieve the goals of
      treatment in parts of Genesee, Saginaw, Shiawassee, Oakland, Lapeer, and Livingston counties.       accountability, transparency, and credibility. These activities include the following:
      The Division’s mission is to distribute water and collect and treat wastewater in such a manner
      that is in compliance with all state and federal regulations and to maintain the lowest cost to     x   Facility operation and maintenance
      customers. Additionally, the Genesee County Board of Commissioners designated the Division          x   Analytical support to ensure compliance with discharge limits and industrial pretreatment
      as the county enforcing agency for soil erosion in Genesee County.                                  x   Providing training in plant operation, maintenance, safety, and regulatory compliance
                                                                                                          x   Residuals management
      The Division is responsible for the administration, operation, maintenance, and construction of     x   Addition of various treatment chemicals and/or use of other treatment alternatives
      infrastructure and treatment facilities for the communities located in Genesee County for the       x   Planning for plant improvements, equipment replacement, and upgrades
      sanitary system and water supply. The Division is divided into four distinct cost centers. These    x   Emergency response planning
      cost centers, which include Interceptor and Treatment, Water, District No. 3, and District
                                                                                                          x   Storage lagoon operation and maintenance
      No. 7, have been developed based upon revenue, responsibility, and definable core functions. In
                                                                                                          x   Discharge limitations and monitoring
      addition, the Division offers construction management and system operation and maintenance
                                                                                                          x   Pollutant minimization
      services to local communities.
                                                                                                          x   Operation of an Industrial Pretreatment Program (IPP)
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      Some of the key administrative and engineering duties of both the sanitary sewer operation and
      the water department operation include comprehensive system planning, interaction and               The sanitary sewer treatment operations are responsible for the collection and transmission of
      regulation of development, implementing capital improvement projects, and system budget             effluent through the sewer interceptor lines to the three disposal plants under the Division’s
      management. The administration team is responsible for the overall operation of the utility’s       jurisdiction. These plants are the Linden Facility (District No. 3), the Bird Road Lagoons (District
      services, engineering, and soil erosion in Genesee County. It is this department’s responsibility   No. 7), and the Anthony Ragnone Treatment Plant (ARTP) (Districts No. 1, 2, 5, and 6). In
      to secure, allocate, and monitor funding, personnel, and equipment resources for the Division to    addition to serving large portions of Genesee County, the Division has contracts for sewer
      ensure safe, reliable, and efficient operation of the utility.                                      treatment outside of its jurisdiction with Shiawassee, Lapeer, Saginaw, Oakland, and Livingston
                                                                                                          counties.
      The primary functions of the support services area are to efficiently and uniformly provide
      support to the various operations departments. These services are grouped into categories as
                                                                                                          ARTP provides sewage treatment for the majority of the Division’s service area, with Districts
      follows: safety, human resources, finance, permits, soil erosion, construction, inspection, and
                                                                                                          No. 3 and No. 7 providing service for several outlying areas. And while the District No. 3 and
      information technology.
                                                                                                          No. 7 facilities are two distinctly separate operations, they are combined administratively due to
      The Operation and Maintenance Department - The Operation and Maintenance (O&M)                      their proximity to one another.
      department has two primary functions: sanitary sewer interception and transportation and water
      transmission. It also performs contracted O&M for the local communities. To ensure that these       The Division also manages two programs that impact its treatment facilities:
      primary functions are met, O&M performs the following tasks:
                                                                                                          x   Biosolids Disposal - Each treatment plant is responsible for disposing wastewater
      x   Preventive maintenance of the water and sewer infrastructure and appurtenances                      treatment plant biosolids in a manner that is considered beneficial reuse, in particular,
      x   Staking of water and sewer infrastructure (Miss Dig)                                                biosolids application on farmland. The ARTP accomplished this goal in 2012 by applying
      x   Jetting/Televising of sanitary sewers                                                               6,473 dry tons of stabilized biosolids on approximately 2,500 acres of approved fields. In
      x   Inspection of water and sewer infrastructure                                                        2012, District No. 3 applied 1,145 dry tons of stabilized biosolids on approximately 900
      x   Responds to customer complaints (i.e., plugged sewers, high bills, etc.)                            acres of approved fields.
      x   Installs, reads, and repairs water meters, repairs broken water mains, and coordinates the
          repair of sanitary sewers, sewer main taps, and cut and cap water and sewer services
      x   Provides after-hours emergency response as needed

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      Genesee County Drain Commissioner
                                                                                                            Genesee County Drain Commissioner
      Division of Water and Waste Services
                                                                                                            Division of Water and Waste Services
                               Management’s Discussion and Analysis (Continued)
                                                                                                                                     Management’s Discussion and Analysis (Continued)

      x   Industrial Pretreatment Program - The Division regulates and monitors industrial and
          nondomestic dischargers to the wastewater system. The Division reviews applications, issues       Due to concern over reliability and this rising cost of water from DWSD, the Division has been
          discharge permits, verifies compliance, calculates fees and surcharge bills for the customers,    coordinating an interjurisdictional initiative for developing an alternative water supply system
          as well as enforces regulations through discharge permits, which protect the wastewater           from Lake Huron. Communities currently supplied by DWSD that are participating in this
          treatment facilities and the environment. An arsenic program for drinking water systems was       initiative include the City of Flint, Genesee County, Sanilac County, and the Greater Lapeer
          implemented to ensure compliance with MDEQ regulations. The ordinance also allows for             County Utilities Authority (GLCUA).
          best management practices (BMP) in regulating silver and mercury from over 750 physician
          and dental offices and grease and oil from approximately 1,400 restaurants. Inter-                As such, a new governmental entity, the Karegnondi Water Authority (KWA), was incorporated
          jurisdictional agreements and the sewer use ordinance have been distributed to the                on October 1, 2010, with the purpose of developing this new water supply. At formation, it was
          municipalities, and the local unit of government approval process is ongoing. At this time,       comprised of the following five governmental units: Genesee County Drain Commissioner,
          there are approximately 15 significant industrial facilities and one categorical user that pay    Lapeer County, the City of Lapeer, Sanilac County, and the City of Flint. After construction of a
          surcharges for the cost of treating various substances they discharge to the Division.            new pipeline, it will then be KWA’s responsibility to provide a supply of untreated Lake Huron
                                                                                                            water to all contracting municipalities.
      Water Supply - The water supply department is responsible for acquisition of water from the
      Detroit Water and Sewerage Department via the City of Flint. The Division transmits potable           As of December 31, 2012, KWA has not incurred any transactions that would have a financial
      water to local communities, which in turn supply their residential, commercial, and industrial        impact on the Division. At the time of this report, both the City of Flint and the Advisory Board
      customers. The Division also contracts with certain local municipalities to operate and maintain      of the Genesee County Drain Commissioner Division of Water and Waste Services have voted
      their water systems, as well as provide billing services.                                             to sign capacity contracts with KWA.
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      The Division maintains a distribution system consisting of over 600 miles of water mains. It also     Rate Structure
      installs water connections and performs turn-ons/offs at the request of its communities, services
      and changes water meters, and oversees the backflow prevention program. In order to provide           During 2012, the Division continued a review of its rate structure, with the goal of adjusting
      an uninterruptible supply of safe drinking water, this department provides forward thought to:        rates beginning in 2013. A Division goal is to review and set water and sewer rates on a five-year
                                                                                                            basis in order to maintain stable and fiscally responsible utility rates. The Division has been able
      x   Identify and evaluate water supply alternatives to meet normal and emergency needs                to keep its portion of water and sewer rates constant since its last rate increases in 2008 and
      x   Prepare cost estimates to construct, operate, and maintain selected alternatives                  2009. Part of the rate structure requires automatic adjustments based upon DWSD’s rate
      x   Determine water treatment and pumping requirements                                                increases to the City of Flint, which are typically passed on to the Division’s customers in
                                                                                                            September of each year.
      Objectives and Achievements
                                                                                                            Grant Acquisitions
      The main objectives of the Division are to maintain high quality services along with residential      x   The Division was allocated funds of $863,500 for the Vortex Grit Tank No. 2 Project at
      and commercial water and sewer rates that are fair and cost effective to all concerned.                   District No. 3 in September 2011. The funds were allocated from the Department of the
      Although not required by law, the Division maintains a yearly budget of income and expenses for           Army under Section 219 of the Water Resources Development Act of 1992. Public Law 102-
      all cost centers. The budget is reviewed and approved by an advisory board. Each community                580, as amended, specifies the cost-sharing requirements applicable. During 2012, the
      that is a customer of the Division has a seat on the advisory board, which meets monthly to               Division received $289,991 of contributed capital toward the project.
      provide guidance to the Division.

      The rising cost of water from the Detroit Water and Sewerage Department (DWSD) to the City
      of Flint, and there in turn to the Division and its community customers, continues to be of great
      concern. From 2002 to 2013, the average yearly DWSD cost of water increased 9.06 percent.
      This cost from Detroit is passed through to the Division with no markup from the City of Flint.
      Instead, a monthly flat rate of $114,000 is paid to the City of Flint which also provides for up to
      5.2 million gallons per day in emergency backup water supply.

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      Genesee County Drain Commissioner                                                                     Genesee County Drain Commissioner
      Division of Water and Waste Services                                                                  Division of Water and Waste Services
                               Management’s Discussion and Analysis (Continued)                                                               Management’s Discussion and Analysis (Continued)

      x   The Division was allocated funds as part of the Kearsley Creek Interceptor Project in 2006        Condensed Financial Information
          and in 2008. The Department of the Army and the Division entered into a project
          cooperation agreement for the design of approximately 22 miles of interceptor sanitary            The following tables present condensed information about the Division’s financial position
          sewer lines, associated to pump stations and associated appurtenances pursuant to Section         compared to the prior year:
          219(f)(59) of the Water Resources Development Act of 1992, Public Law 102-580 as
          amended, which authorized the Secretary of the Army to provide design and construction                                                                               December 31
          assistance for environmental infrastructure improvements to Genesee County, Michigan.                                                                                                               Increase
          During 2012, the Division made the decision not to move forward with the construction of                                                                        2012               2011            (Decrease)      Percent Change
          this project, expensed the project to date, and made a final recording of $218,434 for            Assets
          contributed capital.                                                                                Current assets                                        $    26,350,746   $    24,633,437    $      1,717,309          7.0 %
                                                                                                              Restricted assets                                             543,333         5,459,054          (4,915,721)       (90.0)
      x   State of Michigan Revolving Fund Program loans were approved in prior years for                     Noncurrent lease receivable                                25,759,265        28,668,516          (2,909,251)       (10.1)
                                                                                                              Capital assets                                            322,899,623       321,952,707             946,916          0.3
          $1,445,000 to fund the ARTP Switchgear project, $14,544,000 to fund the Pump Station #1
                                                                                                              Other noncurrent assets                                       835,548         2,169,783          (1,334,235)       (61.5)
          and ARTP Blowers and Clarifiers projects, and $933,515 to fund the Fenton Road Water
                                                                                                                      Total assets                                      376,388,515       382,883,497          (6,494,982)        (1.7)
          Main Project. A total of $345,440, $2,382,209, and $29,111 was collected, respectively, for
          these projects during 2012.                                                                       Liabilities
                                                                                                              Current liabilities                                        16,269,157        15,420,478             848,679          5.5
                                                                                                              Liabilities payable from restricted assets                    243,008         3,509,475          (3,266,467)       (93.1)
      Using this Annual Report
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                                                                                                              Other noncurrent liabilities                                5,832,566         7,276,880          (1,444,314)       (19.8)
                                                                                                              Long-term debt                                            159,837,896       167,452,099          (7,614,203)        (4.5)
      This annual report consists of a series of financial statements. The statement of net position, the
                                                                                                                      Total liabilities                                 182,182,627       193,658,932         (11,476,305)        (5.9)
      statement of revenue, expenses, and changes in net position, and the statement of cash flows
      provide information about the activities of the Division as a whole and assist in presenting a        Net Position
                                                                                                             Net investment in capital assets                           181,595,040       178,661,325          2,933,715           1.6
      longer-term view of its finances.
                                                                                                             Restricted                                                   3,098,940         3,098,052                888             -
                                                                                                              Unrestricted                                                9,511,908          7,465,188         2,046,720          27.4
                                                                                                                      Total net position                            $ 194,205,888 $ 189,224,565          $     4,981,323           2.6


                                                                                                                                                                               December 31
                                                                                                                                                                                                              Increase
                                                                                                                                                                          2012               2011            (Decrease)      Percent Change
                                                                                                            Revenue from operations                                 $    52,560,768   $    50,021,535    $     2,539,233           5.1    %
                                                                                                            Interest on operating cash and receivables                       43,217            35,427              7,790          22.0
                                                                                                                      Total revenue                                      52,603,985        50,056,962          2,547,023           5.1
                                                                                                            Sludge disposal charges                                       1,228,262         1,098,897             129,365         11.8
                                                                                                            Cost of water                                                11,779,406        12,947,738          (1,168,332)        (9.0)
                                                                                                            Operating and maintenance                                    21,825,607        18,853,461           2,972,146         15.8
                                                                                                            Administrative and depreciation                              12,208,067        12,283,110             (75,043)        (0.6)
                                                                                                                      Total operating expenses                           47,041,342        45,183,206          1,858,136           4.1
                                                                                                            Other nonoperating expense                                    2,201,438          2,432,996           (231,558)        (9.5)
                                                                                                            Change in net position - Before capital contributions         3,361,205          2,440,760           920,445          37.7
                                                                                                            Capital contributions                                         1,620,118           268,228          1,351,890         504.0
                                                                                                            Change in net position                                  $     4,981,323 $        2,708,988   $     2,272,335          83.9


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                                                                                                            Genesee County Drain Commissioner
      Genesee County Drain Commissioner                                                                     Division of Water and Waste Services
      Division of Water and Waste Services                                                                                            Management’s Discussion and Analysis (Continued)
                               Management’s Discussion and Analysis (Continued)
                                                                                                            Statement of Revenue, Expenses, and Changes in Net Assets
      Major Capital Assets and Debt Activity                                                                x   Operating revenue increased by 5.1 percent during 2012, with water sales accounting for the
                                                                                                                majority of this increase. The increase in water sales is largely due to the increase in the pass-
      Construction projects completed by the Division totaled $36,835,568 during 2012. This resulted            through rate from DWSD, while a warm and dry summer did produce an increase in water
      in a reclassification of the construction costs of this amount from a nondepreciable to                   demand. Operating expenses increased slightly less, at a 4.1 percent rate.
      depreciable asset. The ARTP Clarifiers Project was the largest completed during 2012, valued at
      $11,924,394.                                                                                          x   Two of the Division’s largest expenses, water costs and utilities, were reduced on a fiscal
                                                                                                                basis in 2012. However, this calendar year reduction in costs does not fully represent the
      The Division also increased its capital assets by $1,111,693 due to the completion of the Fenton          true yearly ongoing cost of these two expenses. As noted in last year’s audit report letter
      Road Water Main project, which was funded by two local community customers.                               dated June 25, 2012, the Division made a change to accounts payable invoice timing which
                                                                                                                resulted in an overstatement of expenses for 2011. After review by the Division’s new
      Use of restricted County Capital Improvement Fees (CCIF) to pay debt service and the                      finance officer, the Division concurred with the auditors and moved to correct the situation
      reduction of restricted receivables from other governmental entities has been the past practice           in 2012. To do so required a subsequent understatement in expenses for both the cost of
      of the Division. Underfunding has occurred and was considered in the initial planning of the              water and for utilities in 2012. Going forward, a policy has been put in place which will
      CCIF program. CCIF will continue to be collected after retirement of the bond to restitute the            ensure that 12 months of expenses are properly incurred in each calendar year.
      fund in full.
                                                                                                            x   Contractual services increased by approximately $4.0 million in 2012, primarily due to
      Financial Review                                                                                          increased engineering and legal work performed for the interceptor and treatment, and
                                                                                                                water supply divisions. In particular, the Division decided not to move forward with a
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      In analyzing the Genesee County Drain Commissioner Division of Water and Waste Services’                  construction project for interceptor and treatment which resulted in a reclassification of CIP
      financial position, it is important to recognize the mission of the agency, which has been                to contractual services, accounting for $2.5 million of the overall increase.
      previously stated. A discussion of the significant financial activity during the current year is as
      follows:                                                                                              x   Depreciation increased by approximately $770,000 due to project completion in 2012 and
                                                                                                                the associated CIP having been converted to depreciable assets.
      Statement of Net Position
                                                                                                            The following table shows the trend in interceptor and treatment sewage disposal revenue
      x   Current assets increased by $1.7 million in the current year due to an increase in cash and       compared to total flow volumes for the Division’s main ARTP treatment facility:
          equivalents, current accounts receivable, and prepaid expenses.
                                                                                                                                                                     Year Ended December 31
      x   Current liabilities increased by approximately $850,000 from the prior year. The main                                                         2009           2010         2011                2012
          portion of this increase is due to a rise in the current portion of long-term debt, while a
          smaller amount is due to the timing of accounts payable transactions.                             I&T sewage disposal revenue            $ 22,579,898 $ 22,596,773 $ 22,014,199 $ 22,785,153
                                                                                                            Total flow (thousands of gallons)        11,979,000    9,518,000   11,726,740    9,540,064
      x   Liabilities payable from restricted assets decreased significantly again in 2012, from $3.5       Average revenue per thousands of
          million in 2011 to $243,000 at the end of 2012. This continued decrease once again is due to        gallons trated                       $        1.88 $           2.37 $          1.88 $          2.39
          several projects being completed during the year.

      x   Other noncurrent liabilities decreased by approximately $9.0 million. This was primarily due
          to a reduction in long-term debt of approximately $7.6 million.

      x   Combined unrestricted net position increased by approximately $2.0 million, with increases
          occurring in each of the four divisions. Of significant note, District No. 3 moved from an
          unrestricted deficit position in 2011 of ($252,524) to a positive ending 2012 position of
          $130,124.



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      Genesee County Drain Commissioner
      Division of Water and Waste Services                                                              Genesee County Drain Commissioner
                              Management’s Discussion and Analysis (Continued)                          Division of Water and Waste Services
                                                                                                                                          Statement of Net Position - Proprietary Fund Types
      The following table shows the trend in water sales compared to volume of water purchased and
      volume of water sold, with the resulting water efficiency rate:                                                                                                                                                          December 31,
                                                                                                                                                                                         December 31, 2012                         2011
                                                          Year Ended December 31                                                                                           Enterprise         Internal
                                                                                                                                                                             Fund           Service Fund           Total             Total
                                              2009          2010         2011              2012
                                                                                                        Assets
      Water sales revenue (wholesale                                                                      Current assets:
        and retail)                       $ 19,809,718 $ 21,202,820 $ 21,697,903 $ 23,012,087                Cash and cash equivalents (Note 2)                        $    12,796,815    $    1,139,582     $    13,936,397   $    13,380,794
                                                                                                             Accounts receivable                                             8,812,458                -            8,812,458         8,255,907
      Volume of water purchased (cu. ft.) 616,325,400 616,632,200 621,182,300 630,152,800                    Current portion of leases receivable                            2,940,000                -            2,940,000         2,825,000
      Volume of water sold (cu. ft.)       594,736,958 585,092,058 581,675,986 551,198,996                   Due from other governmental units                                      -                 -                   -              2,000
                                                                                                             Inventory                                                          75,625                -               75,625            52,658
      Water efficiency rate                       96%          95%          94%          87%                 Prepaid expenses and other assets                                 493,266                -              493,266            87,078
                                                                                                             Other assets                                                       93,000                -               93,000            30,000
      Contacting the Division’s Management                                                                                Total current assets                              25,211,164         1,139,582          26,350,746        24,633,437

                                                                                                           Noncurrent assets:
      This financial report is intended to provide our constituents, sewer/water users, and                  Restricted cash and cash equivalents                                   -                -                    -          4,592,588
      bondholders with a general overview of the Genesee County Drain Commissioner Division of               Restricted accounts receivable                                    243,008               -               243,008           532,653
                                                                                                             Restricted - Due from other governmental units                    300,325               -               300,325           333,813
      Water and Waste Services’ accountability for the money it receives. These financial statements         Leases receivable - Net of current portion                     25,759,265               -            25,759,265        28,668,516
      are included as a component unit of Genesee County and should be viewed as part of the                 Local unit construction in progress                               156,500               -               156,500         1,413,161
                                                                                                             Capital assets (Note 3):
      government-wide financial statements. If there are questions about this report or if additional           Assets not subject to depreciation                          55,779,523                -           55,779,523        86,934,064
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      information is needed, we welcome anyone to contact the Drain Commissioner or the director                Assets subject to depreciation - Net of depreciation       264,520,174         2,599,926         267,120,100       235,018,643
                                                                                                             Unamortized bond issuance costs                                   679,048                -              679,048           756,622
      of the Division.
                                                                                                                          Total noncurrent assets                          347,437,843         2,599,926         350,037,769       358,250,060

                                                                                                                          Total assets                                     372,649,007         3,739,508         376,388,515       382,883,497

                                                                                                        Liabilities
                                                                                                           Current liabilities:
                                                                                                               Accounts payable and accrued expenses                         5,031,387             1,472           5,032,859         4,823,168
                                                                                                               Due to other governmental units                                 241,300                -              241,300           237,310
                                                                                                               Due to State of Michigan                                        149,998                -              149,998                -
                                                                                                               Current portion of long-term debt (Note 4)                   10,845,000                -           10,845,000        10,360,000

                                                                                                                          Total current liabilities                         16,267,685             1,472          16,269,157        15,420,478

                                                                                                           Noncurrent liabilities:
                                                                                                             Liabilities related to restricted assets                          243,008               -               243,008         3,509,475
                                                                                                             Unearned leases                                                   156,500               -               156,500         1,524,185
                                                                                                             Other postemployment benefit obligation (Note 6)                5,676,066               -             5,676,066         5,752,695
                                                                                                             Long-term debt - Net of current portion (Note 4)              159,837,896               -           159,837,896       167,452,099

                                                                                                                          Total noncurrent liabilities                     165,913,470               -           165,913,470       178,238,454

                                                                                                                          Total liabilities                                182,181,155             1,472         182,182,627       193,658,932

                                                                                                        Equity - Net position
                                                                                                          Net investment in capital assets                                 178,995,114         2,599,926         181,595,040       178,661,325
                                                                                                          Restricted                                                         3,098,052                -            3,098,052         3,098,052
                                                                                                          Unrestricted                                                       8,374,686         1,138,110           9,512,796         7,465,188

                                                                                                                          Total net position                           $ 190,467,852      $   3,738,036      $ 194,205,888     $ 189,224,565




                                                                                                        The Notes to Financial Statements are an
                                                     11                                                   Integral Part of this Statement.                             12
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      Genesee County Drain Commissioner                                                                                                         Genesee County Drain Commissioner
      Division of Water and Waste Services                                                                                                      Division of Water and Waste Services
                 Statement of Revenue, Expenses, and Changes in Net Position                                                                                                        Statement of Cash Flows - Proprietary Fund Types
                                                     Proprietary Fund Types
                                                                                                                                                                                                                                                                             December 31,
                                                                                                                             December 31,                                                                                             December 31, 2012                          2011
                                                                                      December 31, 2012                          2011                                                                                  Enterprise          Internal
                                                                       Enterprise          Internal                                                                                                                      Fund            Service Fund          Total              Total
                                                                         Fund            Service Fund           Total              Total         Cash Flows from Operating Activities
                                                                                                                                                   Receipts from customers                                         $    52,079,220 $           28,183 $        52,107,403 $       56,647,903
      Operating Revenue                                                                                                                            Payments to suppliers and others for goods and services             (25,544,057)          (295,873)        (25,839,930)       (32,126,627)
        Charges for sales and service:                                                                                                             Payments for salaries and employee benefits                         (14,771,454)                -          (14,771,454)        (9,449,173)
           Sale of water                                           $    23,104,124     $          -       $    23,104,124    $    21,697,903
           Sewage disposal charges                                      26,708,222                -            26,708,222         26,028,846                 Net cash provided by (used in) operating activities        11,763,709           (267,690)        11,496,019         15,072,103
           Billing services                                                146,171                -               146,171                 -      Cash Flows from Capital and Related Financing Activities
           Water meter sales                                                46,694                -                46,694             64,662       Purchases of capital assets                                          (8,722,477)          (476,857)         (9,199,334)       (17,995,616)
        Sewer and pumping station - Operation and maintenance            1,197,219                -             1,197,219          1,197,219       Contribution from local units for construction                               -                  -                   -           1,219,720
        Other operating revenue                                          1,358,338                -             1,358,338          1,032,905       County capital improvements fee                                         968,219                 -              968,219            630,783
                                                                                                                                                   Collections of leases receivable from municipalities                  4,030,844                 -            4,030,844          4,014,604
                  Total operating revenue                               52,560,768                -            52,560,768         50,021,535       Proceeds from issuance of bonded debt                                 3,418,569                 -            3,418,569         24,872,946
      Operating Expenses                                                                                                                           Principal paid on bond maturities                                   (10,534,250)                -          (10,534,250)       (17,708,000)
        Cost of water                                                   11,779,406                -            11,779,406         12,947,738       Interest paid on bonds and other long-term liabilities               (4,371,165)                -           (4,371,165)        (4,277,392)
        Sludge disposal service                                          1,228,262                -             1,228,262          1,098,897       Operating transfer                                                      113,822           (113,822)                 -                  -
        Cost of insurance claims and expenses                              277,414                -               277,414            388,005
        Repairs and maintenance                                          2,314,611            65,905            2,380,516          1,584,188                 Net cash used in capital and related financing
                                                                                                                                                               activities                                              (15,096,438)          (590,679)        (15,687,117)        (9,242,955)
        Personnel services                                              15,207,816                -            15,207,816         16,672,169
        Other supplies and expenses                                        995,794                -               995,794          1,044,117     Cash Flows from Investing Activities - Investment income                  154,113                -              154,113             56,557
        Contractual services                                             4,620,263                -             4,620,263            622,620
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        Utilities                                                        3,241,481                -             3,241,481          4,288,957     Net (Decrease) Increase in Cash and Cash Equivalents                   (3,178,616)          (858,369)         (4,036,985)        5,885,705
        Depreciation                                                     6,849,102           461,288            7,310,390          6,536,515
                                                                                                                                                 Cash and Cash Equivalents - Beginning of year                          15,975,431          1,997,951         17,973,382         12,087,677
                  Total operating expenses                              46,514,149           527,193           47,041,342         45,183,206                                                                       $ 12,796,815        $   1,139,582      $ 13,936,397       $ 17,973,382
                                                                                                                                                 Cash and Cash Equivalents - End of year
      Operating Income (Loss)                                            6,046,619           (527,193)          5,519,426          4,838,329
                                                                                                                                                 Balance Sheet Classification of Cash and Cash Equivalents
      Nonoperating Revenue (Expenses)                                                                                                               Cash and cash equivalents                                      $    12,796,815     $    1,139,582     $   13,936,397     $   13,380,794
        Community bond interest income                                   1,263,136                 -            1,263,136          1,356,456        Restricted cash and cash equivalents                                        -                  -                  -           4,592,588
        Community bond interest expense                                 (1,263,136)                -           (1,263,136)        (1,356,456)
        Miscellaneous income                                               930,054                 -              930,054            635,689                 Total cash and cash equivalents                       $ 12,796,815        $   1,139,582      $ 13,936,397       $ 17,973,382
        Miscellaneous expense                                              (45,582)            (1,756)            (47,338)          (158,115)
        Capital interest and fee expense                                (3,103,857)                -           (3,103,857)        (2,910,570)    Reconciliation of Operating Income (Loss) to Net Cash
        Investment income                                                   43,217                 -               43,217             35,427       from Operating Activities
        Gain on sale of assets                                                  -              19,703              19,703                 -           Operating income (loss)                                      $     6,046,619     $     (527,193) $       5,519,426     $    4,838,329
                                                                                                                                                      Depreciation                                                       6,849,102            461,288          7,310,390          6,536,515
                  Total nonoperating (expense) revenue                  (2,176,168)            17,947          (2,158,221)        (2,397,569)         Write-off of construction in progress                              2,369,806                 -           2,369,806                 -
                                                                                                                                                      Changes in assets and liabilities:
      Income (Loss) - Before capital contributions and operating                                                                                          Receivables                                                     (457,645)             1,998            (455,647)        2,154,890
         transfers                                                       3,870,451           (509,246)          3,361,205          2,440,760              Other                                                                 -              (1,756)             (1,756)               -
                                                                                                                                                          Inventories                                                      (22,967)                -              (22,967)           (9,359)
      Capital Contributions                                              1,620,118                -             1,620,118           268,228               Prepaid and other assets                                        (550,877)            81,689            (469,188)          106,151
                                                                                                                                                          Accounts payable                                              (2,874,252)          (309,901)         (3,184,153)        1,374,259
      Transfers In                                                      45,632,133                -            45,632,133         37,662,791
                                                                                                                                                          Internal balances                                                (26,185)            26,185                  -                 -
      Transfers Out                                                    (45,518,311)          (113,822)        (45,632,133)       (37,662,791)             Due from other governmental units - Net                          (30,292)                -              (30,292)           71,318
                                                                                                                                                          Accrued and other liabilities                                    460,400                 -              460,400                -
      Increase (Decrease) in Net Position                                5,604,391           (623,068)          4,981,323          2,708,988
                                                                                                                                                             Net cash provided by (used in) operating activities   $ 11,763,709        $    (267,690) $ 11,496,019           $ 15,072,103
      Net Position - Beginning of year                                 184,863,461          4,361,104         189,224,565        186,515,577

      Net Position - End of year                                   $ 190,467,852       $   3,738,036      $ 194,205,888      $ 189,224,565      Noncash Investing, Capital, and Financing Activities - During the year ended December 31, 2012, the Enterprise Fund had $1,111,693
                                                                                                                                                and $508,425 contributed to the water and sewer systems by local communities and a grant, respectively.




      The Notes to Financial Statements are an
        Integral Part of this Statement.                           13                                                                                                                                              14
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      Genesee County Drain Commissioner                                                                  Genesee County Drain Commissioner
      Division of Water and Waste Services                                                               Division of Water and Waste Services
                                                          Notes to Financial Statements                                                                       Notes to Financial Statements
                                                                    December 31, 2012                                                                                   December 31, 2012

      Note 1 - Summary of Significant Accounting Policies                                                Note 1 - Summary of Significant Accounting Policies (Continued)
            The Genesee County Drain Commissioner Division of Water and Waste Services (the                    In evaluating how to define the Division for financial reporting purposes, management
            “Division”) was organized in September 1965 under Public Act No. 342 of 1939 of the                has considered all potential component units. The decision to include a potential
            State of Michigan (amended in 1967). The Division’s major operations are the                       component unit in the reporting entity was made by applying the criteria set forth in
            construction and operation of water and waste systems in Genesee County, Michigan                  GAAP. The basic, but not the only, criterion for including a potential component unit
            (the “County”) and certain areas in surrounding counties. Construction is financed with            within the reporting entity is the governmental body’s ability to exercise oversight
            proceeds from the sale of bonds and federal and state grants. The operating activities             responsibility. The most significant manifestation of this ability is financial
            are financed primarily through user charges to municipalities in the systems.                      interdependency. Other manifestations of the ability to exercise oversight responsibility
                                                                                                               include, but are not limited to, the selection of governing authority, the designation of
            The financial statements of the Division have been prepared in conformity with
                                                                                                               management, the ability to significantly influence operations, and accountability for fiscal
            accounting principles generally accepted in the United States of America (GAAP) as
                                                                                                               matters. The other criterion used to evaluate potential component units for inclusion or
            applied to governmental units. The Governmental Accounting Standards Board (GASB)
                                                                                                               exclusion from the reporting entity is the existence of special financing relationships,
            is the accepted standard-setting body for establishing governmental accounting and
                                                                                                               regardless of whether the Division is able to exercise oversight responsibilities. Based on
            financial reporting principles. The more significant of the Division’s accounting policies
                                                                                                               the application of these criteria, there are no component units to be included in these
            are described below:
                                                                                                               basic financial statements.
            Reporting Entity - Included within the reporting entity are the following:
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                                                                                                               Measurement Focus, Basis of Accounting, and Financial Statement
            !   Genesee County Sewage Disposal Systems Nos. 1, 2, 5, and 6 (interceptors and                   Presentation - The basic financial statements are reported using the economic
                treatment facilities)                                                                          resources measurement focus and the accrual basis of accounting. Revenue is recorded
                                                                                                               when earned and expenses are recorded when a liability is incurred, regardless of the
            !   Genesee County Sanitary Sewage Disposal Systems Nos. 3 and 7                                   timing of related cash flows. Grants and similar items are recognized as revenue as soon
            !   Genesee County water supply systems                                                            as all eligibility requirements imposed by the provider have been met.

            !   Genesee County Division of Water and Waste Services - Vehicle and Equipment                    The Division reports the following major proprietary fund:
                Fund (Internal Service Fund)                                                                   !   The Enterprise Fund is used to account for operations that are financed and
            !   Genesee County Division of Water and Waste Services - Insurance Fund (Internal                     operated in a manner similar to private business enterprises, where the costs
                Service Fund)                                                                                      (expenses, including depreciation) of providing water and sewer services to the
                                                                                                                   general public on a continuing basis are financed through user charges.
                                                                                                               Additionally, the Division reports the following Internal Service Fund:
                                                                                                               !   The Internal Service Fund accounts for financing of goods and services provided by
                                                                                                                   one department to other departments of the Division on a cost-plus basis as well as
                                                                                                                   risk management services provided to other departments on a cost-reimbursement
                                                                                                                   basis.
                                                                                                               As a general rule, the effect of interfund activity has been eliminated from the basic
                                                                                                               financial statements. Exceptions to this general rule are charges between the Division’s
                                                                                                               water and sewer function and various other functions of the Division. Eliminations of
                                                                                                               these charges would distort the direct costs and program revenue reported for the
                                                                                                               various functions concerned.


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      Genesee County Drain Commissioner                                                                    Genesee County Drain Commissioner
      Division of Water and Waste Services                                                                 Division of Water and Waste Services
                                                           Notes to Financial Statements                                                                       Notes to Financial Statements
                                                                     December 31, 2012                                                                                   December 31, 2012

      Note 1 - Summary of Significant Accounting Policies (Continued)                                      Note 1 - Summary of Significant Accounting Policies (Continued)
            Proprietary funds distinguish operating revenue and expenses from nonoperating items.                Restricted Assets - Certain assets are restricted by the Division’s bond ordinances for
            Operating revenue and expenses generally result from providing services and producing                capital outlay. In addition, unspent bond proceeds and County capital improvement fees
            and delivering goods in connection with a proprietary fund’s principal ongoing                       are restricted for the construction of water collection and sewage disposal systems
            operations. The principal operating revenue of the Division’s proprietary fund relates to            projects. When an expense is incurred that allows the use of restricted assets (such as
            charges to customers for sales and services. Operating expenses for proprietary funds                bond debt principal and interest), those assets are applied before utilizing any
            include the cost of sales and services, administrative expenses, and depreciation on                 unrestricted assets.
            capital assets. All revenue and expenses not meeting this definition are reported as
                                                                                                                 In 2011, of the total restricted cash and cash equivalents of $4,592,588, $3,384,138 was
            nonoperating revenue and expenses.
                                                                                                                 restricted for construction and $1,208,450 was restricted for debt service. Of the total
            Bank Deposits and Investments - Cash and cash equivalents are considered to be                       restricted accounts receivable of $532,653, $264,688 was county capital improvement
            cash on hand, demand deposits, and short-term investments with a maturity of three                   fees restricted for construction and $267,965 was interest receivable from communities
            months or less when acquired. Investments are stated at fair value, based on quoted                  restricted for debt service. The total amount restricted due from other governmental
            market prices.                                                                                       units of $333,813 was restricted for construction.
            Short-term Financial Instruments - The fair value of short-term financial                            In 2012, there are no restrictions on cash.
            instruments, including cash and cash equivalents, trade accounts receivable and payable,
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                                                                                                                 Postemployment Benefits - In addition to the pension benefits described in Note 5,
            accrued receivables, and accrued liabilities, is equal to the carrying amounts in the
                                                                                                                 the Division provides postemployment health care, dental, and life insurance benefits
            accompanying basic financial statements due to the short maturity of such instruments.
                                                                                                                 after retirement through a contractual agreement. The Division is responsible for 100
            Receivables and Payables - Outstanding balances between funds are reported in the                    percent of the cost of postemployment benefits and funds these costs as they are
            basic financial statements as “internal balances.” All trade receivables are shown as net            incurred. Postemployment benefits for retired employees were $1,514,865 and
            of an allowance for uncollectible amounts.                                                           $1,426,481 for the years ended December 31, 2012 and 2011, respectively. The total
                                                                                                                 number of eligible retirees amounted to 82 and 83 individuals during December 31,
            Inventories - Inventories consist primarily of water meters and grinder pumps, valued
                                                                                                                 2012 and 2011, respectively.
            at cost, using the first-in, first-out method. The cost of supply inventory is recorded as
            an expense when consumed rather than when purchased.                                                 Compensated Absences - The Division’s employees are granted vacation leave bi-
                                                                                                                 annually based on length of service and 80 hours of personal leave each January 1. Upon
            Leases Receivable - Leases receivable consist of amounts due to the Division from
                                                                                                                 termination or resignation, employees are paid accumulated vacation at current salary
            various municipalities for construction activity. The Division constructs assets for various
                                                                                                                 rates. Upon retirement, employees are paid accumulated vacation and up to 112 hours
            municipalities under Act 342. Under this act, the County issues bonds and constructs
                                                                                                                 of personal leave at current salary rates. At December 31, 2012 and 2011, the Division
            assets on behalf of municipalities. These assets are then leased by the municipalities over
                                                                                                                 has recorded a liability of approximately $431,000 and $426,000, respectively, for
            the life of the bonds. Lease payments approximate the debt service requirements of the
                                                                                                                 accumulated vacation leave.
            associated bonds.
                                                                                                                 Unearned Leases - Unearned leases represent cash and investments and construction
            Local Unit Construction in Progress - Local unit construction in progress represents
                                                                                                                 in progress recorded on the Division’s books belonging to the municipalities
            construction of water and sewer distribution and collection systems performed by the
                                                                                                                 participating in the water collection and sewage disposal system.
            Division for local communities. The projects are recorded as an asset during the
            construction phase and are offset by an unearned lease. When the projects are                        Use of Estimates - The preparation of financial statements in conformity with
            substantially complete, the asset and unearned lease are removed from the basic                      accounting principles generally accepted in the United States of America requires
            financial statements and an asset is recorded by the local community.                                management to make estimates and assumptions that affect certain reported amounts
                                                                                                                 and disclosures. Accordingly, actual results could differ from those estimates.



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       Genesee County Drain Commissioner                                                                  Genesee County Drain Commissioner
       Division of Water and Waste Services                                                               Division of Water and Waste Services
                                                           Notes to Financial Statements                                                                     Notes to Financial Statements
                                                                     December 31, 2012                                                                                 December 31, 2012

       Note 1 - Summary of Significant Accounting Policies (Continued)                                    Note 2 - Deposits and Investments (Continued)
             Property, Plant, and Equipment - Additions to property, plant, and equipment are                  The Division has designated one bank for the deposit of its funds. The investment policy
             recorded at cost or, if donated, at their estimated fair value at the time of donation.           adopted by the board in accordance with Public Act 196 of 1997 has authorized
             Repairs and maintenance are recorded as expenses; renewals and betterments are                    investment in bonds and securities of the United States government and bank accounts
             capitalized. The sale or disposal of fixed assets is recorded by removing cost and                and CDs, but not the remainder of state statutory authority as listed above. The
             accumulated depreciation from the accounts and charging the resulting gain or loss to             Division's deposits and investment policies are in accordance with statutory authority.
             income. Depreciation has been calculated on each class of property using the straight-
                                                                                                               The Division's cash and investments are subject to custodial credit risk, which are
             line method based on the estimated useful lives of the assets, as follows:
                                                                                                               examined in more detail below:
             Land improvements and underground networks                                  25-100 years
                                                                                                               Custodial Credit Risk of Bank Deposits - Custodial credit risk is the risk that in the
             Buildings                                                                    10-50 years
                                                                                                               event of a bank failure, the Division's deposits may not be returned to it. The Division
             Machinery and equipment                                                       3-25 years
                                                                                                               does not have a deposit policy for custodial credit risk. At year end, the Division had
                                                                                                               $1,092,031 of bank deposits (certificates of deposit, checking, and savings accounts) that
             Comparative Data/Reclassifications - Comparative total data for the prior year has
                                                                                                               were uninsured and uncollateralized. The Division believes that due to the dollar
             been presented in the financial statements in order to provide an understanding of the
                                                                                                               amounts of cash deposits and the limits of FDIC insurance, it is impractical to insure all
             changes in the financial position and operations. Certain amounts presented in the prior
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                                                                                                               deposits. As a result, the Division evaluates each financial institution with which it
             year data have been reclassified in order to be consistent with the current year’s
                                                                                                               deposits funds and assesses the level of risk of each institution; only those institutions
             presentation.
                                                                                                               with an acceptable estimated risk level are used as depositories.
             Reporting Change - During the year, the Division adopted GASB Statement No. 63,
                                                                                                               The unlimited FDIC insurance program expired on December 31, 2012. Starting
             Financial Reporting of Deferred Outflows of Resources, Deferred Inflows of Resources, and
                                                                                                               January 1, 2013, the Division’s uninsured deposits increased significantly.
             Net Position. The statement incorporates deferred outflows of resources and deferred
             inflows of resources, as defined by GASB Concepts Statement No. 4, into the definitions
             of the required components of the residual measure of net position, formerly net assets.
             The statement also provides a new statement of net position format to report all assets,
             deferred outflows of resources, liabilities, deferred inflows of resources, and net
             position. The statement impacts the format and reporting of the balance sheet.
       Note 2 - Deposits and Investments
             Michigan Compiled Laws Section 129.91 (Public Act 20 of 1943, as amended) authorizes
             local governmental units to make deposits and invest in the accounts of federally insured
             banks, credit unions, and savings and loan associations that have offices in Michigan. The
             law also allows investments outside the state of Michigan when fully insured. The local
             unit is allowed to invest in bonds, securities, and other direct obligations of the United
             States or any agency or instrumentality of the United States; repurchase agreements;
             bankers’ acceptances of United States banks; commercial paper rated within the two
             highest classifications, which mature not more than 270 days after the date of purchase;
             obligations of the State of Michigan or its political subdivisions, which are rated as
             investment grade; and mutual funds composed of investment vehicles that are legal for
             direct investment by local units of government in Michigan.



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       Genesee County Drain Commissioner                                                                                                                    Genesee County Drain Commissioner
       Division of Water and Waste Services                                                                                                                 Division of Water and Waste Services
                                                                                  Notes to Financial Statements                                                                                                                                          Notes to Financial Statements
                                                                                            December 31, 2012                                                                                                                                                      December 31, 2012

       Note 3 - Capital Assets                                                                                                                              Note 3 - Capital Assets (Continued)
             Capital asset activity of the Division's proprietary fund type at December 31, 2012 was                                                              Construction Commitments - The Division has active construction projects at year
             as follows:                                                                                                                                          end. The projects include improvements and extensions to the water and sewage
                                                                                                                                             Balance              disposal systems. At year end, the Division's commitments with contractors are as
                                                            Balance                                                                        December 31,           follows:
                                                        January 1, 2012    Reclassifications*       Additions          Disposals               2012
              Enterprise Fund:                                                                                                                                                                                                                                                                                Remaining
                Capital assets not being depreciated:
                  Land                                  $       871,021    $            -   $                -     $            -   $           871,021
                                                                                                                                                                                                                                                                              Spent to Date                  Commitment
                  Construction in progress                   86,046,793        (36,835,568)           8,097,276         (2,399,999)          54,908,502
                                                                                                                                                                   Interceptor and treatment facilities                                                                       $ 35,147,898 $                         544,915
                           Subtotal                          86,917,814        (36,835,568)           8,097,276         (2,399,999)          55,779,523            Sewage disposal system - District No. 3                                                                       1,835,728                            10,541
                Capital assets being depreciated:                                                                                                                  Sewage disposal system - District No. 7                                                                          24,394                            20,075
                 Distribution and collections system        278,985,859         29,806,472            1,895,257                    -        310,687,588
                 Buildings and equipment                      5,419,064          7,045,346              435,029                    -         12,899,439            Water supply system                                                                                           4,001,252                         2,193,395
                 Vehicles                                       382,261                 -                    -                     -            382,261
                                                                                                                                                                                                            Total                                                             $ 41,009,272 $                       2,768,926
                           Subtotal                         284,787,184         36,851,818            2,330,286                    -        323,969,288

                Accumulated depreciation:                                                                                                                   Note 4 - Long-term Debt
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                  Distribution and collections system       (48,921,258)                    -        (6,327,670)                   -         (55,248,928)
                  Buildings and equipment                    (3,423,902)                    -          (406,918)                   -          (3,830,820)
                  Vehicles                                     (254,852)                    -          (114,514)                   -            (369,366)
                                                                                                                                                                  The Division issues bonds to provide for the construction of water and waste systems in
                                                                                                                                                                  Genesee County and certain areas in surrounding counties. General obligation bonds
                           Subtotal                         (52,600,012)                    -        (6,849,102)                   -         (59,449,114)
                                                                                                                                                                  are direct obligations and pledge the full faith and credit of the Division. Revenue bonds
              Net capital assets being depreciated          232,187,172         36,851,818           (4,518,816)                   -        264,520,174           involve a pledge of specific income derived from the acquired or constructed assets to
              Net capital assets                        $ 319,104,986      $         16,250     $     3,578,460    $    (2,399,999) $ 320,299,697                 pay debt service and require certain financial covenants to be met.
                                                                                                                                                                  Long-term debt activity for the year ended December 31, 2012 can be summarized as
                                                                                                                                         Balance
                                                            Balance                                                                    December 31,               follows:
                                                        January 1, 2012    Reclassifications        Additions          Disposals           2012                                                                                              Principal
              Internal Service Funds:                                                                                                                                                                        Number of    Interest Rate      Maturity       Beginning                                          Ending           Due Within
                                                                                                                                                                                                               Issues        Ranges           Ranges        Balance *         Additions      Reductions       Balance *          One Year
                Capital assets not being depreciated -
                    Construction in progress           $         16,250    $       (16,250) $               -      $           -       $            -
                Capital assets being depreciated -                                                                                                                 Genesee County Drain Commissioner
                                                                                                                                                                     bonds payable:
                   Buildings and equipment                    8,628,852                 -              229,743           (352,730)            8,505,865                 Interceptor and treatment
                                                                                                                                                                           facilities                           13       1.625%-5.00%          2031      $ 99,311,556     $    3,388,570   $ (6,180,000)    $ 96,520,126    $     6,310,000
                Accumulated depreciation - Buildings                                                                                                                  District No. 3                            2          2.50%-4.50%         2030         6,430,000                -         (270,000)       6,160,000            285,000
                  and improvements                           (5,797,381)                -             (461,288)           352,730            (5,905,939)              Water supply system                       4         2.50%-5.125%         2033        40,245,000                -       (1,260,000)      38,985,000          1,310,000


              Net capital assets being depreciated            2,831,471                 -             (231,545)                -              2,599,926                          Subtotal                                                                  145,986,556         3,388,570      (7,710,000)    141,665,126          7,905,000

              Net capital assets                              2,847,721            (16,250)           (231,545)                -              2,599,926            Community-related bonds payable:
                                                                                                                                                                     Interceptor and treatment facilities       2        4.00%-4.35%           2026          5,235,000               -          (375,000)      4,860,000            390,000
                                                                                                                                                                     District No. 3                             6        2.50%-7.375%          2024         25,355,000               -        (2,415,000)     22,940,000          2,510,000
              Total proprietary funds capital assets    $ 321,952,707      $            -       $    3,346,915     $   (2,399,999) $ 322,899,623                     Water supply system                        1             2.50             2031            903,516            29,999         (34,250)        899,265             40,000

                                                                                                                                                                                 Subtotal                                                                   31,493,516            29,999      (2,824,250)     28,699,265          2,940,000
             * $16,250 in renovations on an office building were originally recorded as construction in progress in the Internal Service Fund.
                                                                                                                                                                                                                                                         $ 177,480,072    $    3,418,569   $ (10,534,250)   $ 170,364,391   $ 10,845,000
               Subsequent to completion, the amount was reclassed from the Internal Service Fund to the Enterprise Fund.                                                         Total bonds payable



                                                                                                                                                                  * Long-term debt balance excludes bond discount/premium of $318,505 and $332,027 at December 31, 2012 and 2011, respectively.




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       Genesee County Drain Commissioner                                                                          Genesee County Drain Commissioner
       Division of Water and Waste Services                                                                       Division of Water and Waste Services
                                                              Notes to Financial Statements                                                                                  Notes to Financial Statements
                                                                        December 31, 2012                                                                                              December 31, 2012

       Note 4 - Long-term Debt (Continued)                                                                        Note 5 - Defined Benefit Pension Plan (Continued)
             Total interest expense for the year was approximately $5.8 million, of which                               Funding Policy - The County’s funding policy provides for periodic employer
             approximately $1.5 million was capitalized as part of construction in progress. Annual                     contributions at actuarially determined rates that, expressed as percentages of annual
             debt service requirements to maturity for the above obligations are as follows:                            covered payroll, are designed to accumulate sufficient assets to pay benefits when due.
                                                                                                                        The normal cost is determined using an attained age actuarial funding method.
                                                                          Business-type Activities
               Years Ending                                                                                             Annual Pension Cost - For the years ended December 31, 2012 and 2011, the
               December 31                                    Principal           Interest            Total             Division's annual pension cost of $1,531,645 and $1,763,782, respectively, was equal to
                   2013                                   $   10,845,000 $         5,654,333 $       16,499,333         the Division's required and actual contribution. The annual required contributions were
                   2014                                       11,180,000           5,317,264         16,497,264         determined as part of the actuarial valuations at December 31, 2010 and December 31,
                   2015                                       11,540,000           4,966,431         16,506,431         2009 using the individual entry age actuarial cost method.
                   2016                                       11,645,000           4,604,434         16,249,434
                                                                                                                        Actuarial Methods and Assumptions - In the December 31, 2011 actuarial valuation,
                   2017                                       10,830,000           4,250,159         15,080,159
                 2018-2022                                    48,350,000          16,663,484         65,013,484
                                                                                                                        the individual entry age actuarial cost method was used. Significant actuarial assumptions
                 2023-2027                                    46,570,000           8,859,989         55,429,989         used include (a) a rate of return on the investment of present and future assets of 8.00
                 2028-2032                                    17,869,391           2,250,274         20,119,665         percent per year compounded annually and (b) projected salary increases of 3.00
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                   2033                                        1,535,000              75,406          1,610,406         percent to 7.03 percent per year compounded annually. Both (a) and (b) included an
                                                                                                                        inflation component of 3.00 percent. The actuarial value of the Division’s assets was
                         Total                            $ 170,364,391 $         52,641,774 $ 223,006,165              determined using techniques that smooth the effects of short-term volatility in the
                                                                                                                        market value of investments over a four-year period. The Division’s unfunded actuarial
             Future Revenue Pledged for Debt Payment                                                                    accrued liability is being amortized as a level percentage of projected payroll on an open
             Revenue Bond - The Division has pledged substantially all revenue, net of operating                        basis, with the remaining amortization period of 25 years at December 31, 2011.
             expenses, to repay the above Genesee County Drain Commissioner water and sewer                             Schedule of Funding Progress
             revenue bonds. Proceeds from the bonds provided financing for the construction of the
                                                                                                                                      Actuarial       Actuarial                     Funded                  UAAL as a
             water and waste systems described above. The bonds are payable solely from the net
                                                                                                                        Actuarial     Value of        Accrued         Unfunded       Ratio     Covered     Percentage of
             revenue of the water and sewer system. The remaining principal and interest to be paid
                                                                                                                        Valuation      Assets      Liability (AAL)   AAL (UAAL)    (Percent)    Payroll      Covered
             on the bonds total $115,370,449. During the current year, net revenue of the system                          Date           (a)              (b)           (b-a)        (a/b)        (c)         Payroll
             was $12,895,721 compared to the annual debt requirements of $7,623,037.
                                                                                                                        12/31/06    $ 37,578,528   $ 42,770,145      $ 5,191,617      87.9 % $ 8,245,848        63.0 %
       Note 5 - Defined Benefit Pension Plan                                                                            12/31/07      38,979,791     44,748,462        5,768,671      87.1     7,823,724        73.7
                                                                                                                        12/31/08      37,329,643     46,855,482        9,525,839      79.7     8,420,060       113.1
             Plan Description - The Division participates in the Genesee County Employees'                              12/31/09      36,627,952     49,055,966       12,428,014      74.7     8,130,143       152.9
             Retirement System (GCERS), which is a contributory agent multiple-employer defined                         12/31/10      35,600,950     50,285,901       14,684,951      70.8     7,610,890       192.9
             benefit plan for pension and disability benefits that covers substantially all employees of                12/31/11      32,632,128     48,896,200       16,264,072      66.7     7,312,770       222.4
             Genesee County. Each employer has the ability to negotiate and/or establish benefits
             through personal policies. The authority to establish and amend the benefit provisions of
             the plan is governed by Act No. 156, Public Acts of 1851, as amended by the State of
             Michigan. GCERS issues a publicly available financial report that includes financial
             statements and required supplemental information for the Division. That report may be
             obtained by writing to Genesee County Employees’ Retirement System, 1101 Beach,
             Flint, MI 48502 or by calling 1-800-949-2627.


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       Genesee County Drain Commissioner                                                                           Genesee County Drain Commissioner
       Division of Water and Waste Services                                                                        Division of Water and Waste Services
                                                               Notes to Financial Statements                                                                           Notes to Financial Statements
                                                                         December 31, 2012                                                                                       December 31, 2012

       Note 5 - Defined Benefit Pension Plan (Continued)                                                           Note 6 - Other Postemployment Benefits (Continued)
             Schedule of Employer Contributions                                                                         Funding Progress - For the year ended December 31, 2012, the Division has
                                               Contribution
                                                                                                                        estimated the cost of providing retiree healthcare benefits through an actuarial valuation
                                                  Rate as                                                               as of December 31, 2010. The valuation computes an annual required contribution,
                                   Actuarial   Percentage of                          Actual       Percentage of        which represents a level of funding that, if paid on an ongoing basis, is projected to cover
                                   Valuation     Valuation     Annual Pension        Reported          ARC              normal cost each year and amortize any unfunded actuarial liabilities over a period not
              Fiscal Year Ended      Date         Payroll       Cost (APC)          Contribution    Contributed         to exceed 30 years. This valuation’s computed contribution and actual funding are
                                                                                                                        summarized as follows:
                  12/31/10         12/31/08         17.76 % $      1,744,861    $      1,744,861          100 %
                  12/31/11         12/31/09         18.81          1,763,782           1,763,782          100                                                                            2012             2011
                  12/31/12         12/31/10         16.62          1,531,645           1,531,645          100
                                                                                                                         Annual required contribution (recommended)                $    3,818,480 $      3,933,831
       Note 6 - Other Postemployment Benefits                                                                            Interest on the prior year's net OPEB obligation                 230,108          127,528
                                                                                                                         Less adjustment to the annual required contribution             (101,338)         (78,511)
             Plan Description - The Division provides retiree health care, dental, life, and vision
             benefits to eligible employees and their spouses and dependents through the Municipal                                Annual OPEB cost                                      3,947,250        3,982,848
             Employees' Retirement System. This is an agent multiple-employer defined benefit plan
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                                                                                                                         Amounts contributed:
             administered by the Division. The benefits are provided under collective bargaining                           Payments of current premiums                                (1,523,879)      (1,337,004)
             agreements.
                                                                                                                           Advance funding                                             (2,500,000)         (81,360)
             Funding Policy - The collective bargaining agreements do not require employee
                                                                                                                                  Total contributions                                  (4,023,879)      (1,418,364)
             contributions. The Division has no obligation to make contributions in advance of when
             the insurance premiums are due for payment (in other words, this may be financed on a                                (Decrease) increase in net OPEB obligation              (77,629)       2,564,484
             “pay-as-you-go” basis). However, as shown below, the Division has made contributions
                                                                                                                         OPEB obligation - Beginning of year                            5,752,695        3,188,211
             to advance-fund these benefits, as determined by the Division.
                                                                                                                         OPEB obligation - End of year                             $    5,675,066 $      5,752,695

                                                                                                                        The net OPEB obligation is recorded in the basic financial statements as part of
                                                                                                                        noncurrent liabilities.
                                                                                                                        The annual OPEB costs, the percentage contributed to the plan, and the net OPEB
                                                                                                                        obligation for the current and preceding year were as follows:
                                                                                                                                                                       Annual OPEB     Percentage      Net OPEB
                                                                                                                        Fiscal Year Ended                                 Costs        Contributed     Obligation
                                                                                                                            12/31/10                                   $   2,641,753       55.87 % $     3,188,211
                                                                                                                            12/31/11                                       3,982,848       35.61         5,752,695
                                                                                                                            12/31/12                                       3,947,250      101.94         5,676,066

                                                                                                                        The Division approved a prefunding plan in 2012 and remitted $2.5 million to the trust
                                                                                                                        during the year. Going forward, $1.2 million will be remitted to the trust per year until
                                                                                                                        the liability is funded.


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       Genesee County Drain Commissioner                                                                                    Genesee County Drain Commissioner
       Division of Water and Waste Services                                                                                 Division of Water and Waste Services
                                                                         Notes to Financial Statements                                                                         Notes to Financial Statements
                                                                                   December 31, 2012                                                                                     December 31, 2012

       Note 6 - Other Postemployment Benefits (Continued)                                                                   Note 7 - Risk Management
            The funding progress of the plan is as follows:                                                                      The Division is exposed to various risks of loss related to property loss, torts, errors
                             Actuarial         Actuarial                                                     UAAL as a
                                                                                                                                 and omissions, and employee injuries (workers' compensation), as well as medical
             Actuarial       Value of          Accrued         Unfunded        Funded Ratio    Covered      Percentage of        benefits provided to employees. The Division is partially self-insured for medical benefits
             Valuation        Assets        Liability (AAL)   AAL (UAAL)         (Percent)      Payroll       Covered            and has purchased commercial insurance for the remaining medical benefits and other
               Date             (a)                (b)           (b-a)             (a/b)          (c)          Payroll           risks of loss. Settled claims relating to the commercial insurance have not exceeded the
                                                                                                                                 amount of insurance coverage in any of the past three fiscal years.
             12/31/08    $          -       $ 35,394,879      $ 35,394,879              -  $ 8,420,060          420.36 %
             12/31/10               -         51,474,408        51,474,408              -    7,610,890          676.33           The Division estimates the liability for medical claims that have been incurred through
              9/30/12        2,333,369        37,819,976        35,486,607          6.17 %   7,312,770          485.27           the end of the fiscal year, including claims that have been reported as well as those that
                                                                                                                                 have not yet been reported. The liability is included with accounts payable and other
            The schedule of employer contributions is as follows:                                                                accrued expenses in the statement of net position. Changes in the estimated liability for
                                                                                                          Contribution           the past two fiscal years were as follows:
                                                                           Annual                            Rate as
                                                                                                                                                                                                2012             2011
                                                                          Required       Percentage of    Percentage of
                                                                         Contribution        ARC            Valuation             Unpaid claims - Beginning of year                        $      290,676 $       261,162
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              Fiscal Year Ended          Actuarial Valuation Date          (ARC)          Contributed        Payroll
                                                                                                                                  Incurred claims, including claims incurred but not
                  12/31/10                      12/31/08             $       2,641,753         55.87 %         32.43 %               reported                                                   2,208,189        2,559,231
                  12/31/11                      12/31/10                     3,982,848         35.61           50.59                                                                           (2,038,825)      (2,529,717)
                  12/31/12                      12/31/10                     3,947,250        101.94           50.59
                                                                                                                                  Claim payments
                                                                                                                                  Unpaid claims - End of year                              $      460,040 $       290,676
            Actuarial Methods and Assumptions - Actuarial valuations of an ongoing plan involve
            estimates of the value of reported amounts and assumptions about the probability of                             Note 8 - Upcoming Accounting Pronouncements
            occurrence of events far into the future. Examples include assumptions about future
            employment, mortality, and the healthcare cost trend. Amounts determined regarding                                   In March 2012, the GASB issued Statement No. 65, Items Previously Reported as Assets
            the funded status of the plan and the annual required contributions of the employer are                              and Liabilities, which is required to be implemented for financial statements for periods
            subject to continual revision as actual results are compared with past expectations and                              beginning after December 15, 2012. Statement No. 65 establishes accounting and
            new estimates are made about the future.                                                                             financial reporting standards that reclassify, as deferred outflows and inflows of
                                                                                                                                 resources, certain items that were previously reported as assets and liabilities. This
            Projections of benefits for financial reporting purposes are based on the substantive plan                           statement also provides other financial reporting guidance related to the impact of the
            (the plan as understood by the employer and the plan members) and include the types                                  financial statement elements deferred outflows of resources and deferred inflows of
            of benefits provided at the time of each valuation and the historical pattern of sharing of                          resources. Statement No. 65 will be implemented for the Division as of December 31,
            benefit costs between the employer and plan members to that point. The actuarial                                     2013.
            methods and assumptions used include techniques that are designed to reduce the
            effects of short-term volatility in actuarial accrued liabilities and the actuarial value of
            assets, consistent with the long-term perspective of the calculations.
            In the December 31, 2010 actuarial valuation, the individual entry age actuarial cost
            method was used. The actuarial assumptions included a 4.0 percent investment rate of
            return (net of administrative expenses) and an annual healthcare cost trend rate of 5.0
            percent. The UAAL is being amortized as a level percentage of projected payroll over
            30 years.

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       Genesee County Drain Commissioner
       Division of Water and Waste Services
                                                          Notes to Financial Statements
                                                                    December 31, 2012

       Note 8 - Upcoming Accounting Pronouncements (Continued)
            In June 2012, the GASB issued two new pension standards, GASB Statement No. 67,
            Financial Reporting for Pension Plans, and No. 68, Accounting and Financial Reporting for
            Pensions. These new standards significantly revise the current accounting and reporting
            for pensions, both from an employer perspective as well as from a plan perspective.
            Employers providing defined benefit pensions to its employees must now, under these
            new standards, recognize their unfunded pension benefit obligation as a liability for the
            first time, and to more comprehensively and comparably measure the annual costs of
            pension benefits. This net pension liability that will be recorded on the government-
            wide, proprietary, and discretely presented component units statements will be
            computed differently than the current unfunded actuarial accrued liability, using specific
            parameters set forth by the GASB. The statement also enhances accountability and                 Supplemental Information
            transparency through revised and expanded note disclosures and required supplemental
            information (RSI). Statement No. 67 is required to be adopted for December 31, 2013
            and Statement No. 68 one year later.
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       Genesee County Drain Commissioner                                                                                                                                         Genesee County Drain Commissioner
       Division of Water and Waste Services                                                                                                                                      Division of Water and Waste Services
                                                 Statement of Net Position - Proprietary Fund Types                                                                                             Statement of Revenue, Expenses, and Changes in Net Position
                                                                                                                                                                                                                        (Divisional Detail) - Enterprise Fund
                                                                                                                                                               December 31,
                                                                                                   December 31, 2012                                                 2011
                                                                                                                                                                                                                                                                                                                                       December 31,
                                                                                     Sewage Disposal Systems                                                                                                                                                             December 31, 2012                                                   2011
                                                            Interceptor and
                                                                                                                                                                                                                                                          Sewage Disposal Systems
                                                                Treatment                                                    Water Supply
                                                                                                                                                                                                                                Interceptor and
                                                                Facilities        District No. 3        District No. 7         Systems            Total             Total
                                                                                                                                                                                                                                    Treatment                                                      Water Supply
                                                                                                                                                                                                                                    Facilities         District No. 3         District No. 7         Systems             Total              Total
       Assets
          Current assets:
              Cash and cash equivalents                     $     3,364,946   $         269,995     $          80,105    $      9,081,769    $    12,796,815   $    11,382,843   Operating Revenue
              Accounts receivable                                 5,062,899             314,269               154,197           3,281,093          8,812,458         8,253,909     Charges for sales and service:
              Current portion of leases receivable                  390,000           2,510,000                   -                40,000          2,940,000         2,825,000         Sale of water                            $           -      $             -        $             -      $     23,104,124     $    23,104,124    $    21,697,903
              Due from other governmental units                         -                   -                     -                   -                  -               2,000         Sewage disposal charges                       22,785,153            3,201,467                721,602                 -            26,708,222         26,028,846
              Inventory                                                 -                   -                     -                75,625             75,625            52,658         Billing services                                 146,171                  -                      -                   -               146,171                -
              Prepaid expenses                                      236,811              39,375                 5,419             211,661            493,266             5,389         Water meter sales                                    -                    -                      -                46,694              46,694             64,662
              Other assets                                              -                   -                     -                93,000             93,000            30,000     Sewer and pumping station - Operation and
                                                                                                                                                                                       maintenance                                    1,197,219                  -                      -                   -             1,197,219          1,197,219
                                                                                                                                                                                   Other operating revenue                              484,869              162,795                  1,447             709,227           1,358,338            880,452
                             Total current assets                 9,054,656           3,133,639               239,721          12,783,148         25,211,164        22,551,799

          Noncurrent assets:                                                                                                                                                                    Total operating revenue              24,613,412            3,364,262                723,049          23,860,045          52,560,768         49,869,082
            Restricted cash and cash equivalents                        -                   -                      -                  -                 -            4,592,588
            Restricted accounts receivable                           33,615             203,770                    -                5,623           243,008            532,653   Operating Expenses
            Restricted - Due from other                                                                                                                                            Cost of water                                            -                    -                      -            11,779,406          11,779,406         12,947,738
                governmental units                                       -              300,325                    -                     -          300,325           333,813      Sludge disposal service                              986,087              242,175                    -                   -             1,228,262          1,098,897
            Leases receivable - Net of current                                                                                                                                     Cost of insurance claims and expenses                125,273               29,052                  4,608             118,481             277,414            237,060
                portion                                           4,470,000          20,430,000                    -              859,265         25,759,265        28,668,516     Repairs and maintenance                            1,383,070              299,042                172,738             459,761           2,314,611          2,367,433
            Local unit construction in progress                         -                   -                      -              156,500            156,500         1,413,161     Personnel services                                 8,915,314            1,590,428                227,729           4,474,345          15,207,816         16,672,169
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            Capital assets:                                                                                                                                                        Other supplies and expenses                          665,619               44,321                 30,610             255,244             995,794          1,033,489
                Assets not subject to depreciation               52,813,000             604,823                  1,415          2,360,285         55,779,523        86,917,814     Contractual services                               3,437,616              129,178                 26,770           1,026,699           4,620,263            622,620
                Assets subject to depreciation - Net                                                                                                                               Utilities                                          2,196,573              389,106                145,146             510,656           3,241,481          4,288,957
                    of depreciation                             172,348,963          28,322,095               414,484          63,434,632        264,520,174       232,187,172     Depreciation                                       4,258,784              717,785                 22,722           1,849,811           6,849,102          6,142,303
            Unamortized bond issuance costs                         657,879              21,169                   -                   -              679,048           756,622
                                                                                                                                                                                                Total operating expenses             21,968,336            3,441,087                630,323          20,474,403          46,514,149         45,410,666
                             Total noncurrent assets            230,323,457          49,882,182               415,899          66,816,305        347,437,843       355,402,339
                                                                                                                                                                                 Operating Income (Loss)                              2,645,076              (76,825)                92,726           3,385,642           6,046,619          4,458,416
                             Total assets                       239,378,113          53,015,821               655,620          79,599,453        372,649,007       377,954,138
                                                                                                                                                                                 Nonoperating Revenue (Expenses)
                                                                                                                                                                                   Community bond interest income                       207,194            1,031,715                    -                 24,227          1,263,136          1,356,456
       Liabilities                                                                                                                                                                 Community bond interest expense                     (207,194)          (1,031,715)                   -                (24,227)        (1,263,136)        (1,356,456)
          Current liabilities:                                                                                                                                                     Miscellaneous income                                 250,899                  -                      -                679,155            930,054            635,689
               Accounts payable and accrued expenses              2,017,833             240,188                22,066           2,751,300          5,031,387         4,228,728     Miscellaneous expense                                (45,582)                 -                      -                    -              (45,582)          (158,115)
               Due to other governmental units                      241,300                 -                     -                   -              241,300           237,310     Capital interest and fee expense                  (1,060,572)            (222,242)                   -             (1,821,043)        (3,103,857)        (2,910,570)
               Internal balances                                        -                   -                     -                   -                  -              26,185     Investment income                                     13,622                1,102                    145               28,348             43,217             33,575
               Due to State of Michigan                             149,998                 -                     -                   -              149,998               -
               Current portion of long-term debt                  6,700,000           2,795,000                   -             1,350,000         10,845,000        10,360,000
                                                                                                                                                                                                Total nonoperating (expense)
                                                                                                                                                                                                   revenue                             (841,633)            (221,140)                   145           (1,113,540)        (2,176,168)        (2,399,421)
                             Total current liabilities            9,109,131           3,035,188                22,066           4,101,300         16,267,685        14,852,223
                                                                                                                                                                                 Income (Loss) - Before capital contributions
          Noncurrent liabilities:                                                                                                                                                   and operating transfers                           1,803,443             (297,965)                92,871           2,272,102           3,870,451          2,058,995
            Liabilities related to restricted assets                 33,615             203,770                    -                5,623           243,008          3,509,475
            Unearned leases                                             -                   -                      -              156,500           156,500          1,524,185                                                          218,434              289,991                     -            1,111,693           1,620,118           268,228
                                                                                                                                                                                 Capital Contributions
            Other postemployment benefit
                obligation                                        3,483,846             553,652                94,518           1,544,050          5,676,066         5,752,695   Transfers In                                        41,889,990            1,759,884                  1,138           1,981,121          45,632,133         37,559,040
            Long-term debt - Net of current portion              94,808,826          26,328,956                   -            38,700,114        159,837,896       167,452,099
                                                                                                                                                                                 Transfers Out                                      (41,835,356)          (1,751,915)                    -            (1,931,040)       (45,518,311)       (37,662,791)
                             Total noncurrent liabilities        98,326,287          27,086,378                94,518          40,406,287        165,913,470       178,238,454
                                                                                                                                                                                 Increase (Decrease) in Net Position                  2,076,511                    (5)               94,009           3,433,876           5,604,391          2,223,472
                             Total liabilities                  107,435,418          30,121,566               116,584          44,507,587        182,181,155       193,090,677                                                      129,866,184           22,894,260                445,027          31,657,990         184,863,461        182,639,989
                                                                                                                                                                                 Net Position - Beginning of year
       Equity - Net position                                                                                                                                                     Net Position - End of year                     $ 131,942,695      $ 22,894,255           $        539,036     $ 35,091,866         $ 190,467,852      $ 184,863,461
          Invested in capital assets - Net of related
              debt                                              129,171,016          22,764,131               415,899          26,644,068        178,995,114       175,813,604
          Restricted                                                    -                   -                     -             3,098,052          3,098,052         3,098,052
          Unrestricted                                            2,771,679             130,124               123,137           5,349,746          8,374,686         5,951,805

                             Total net position             $ 131,942,695     $ 22,894,255          $        539,036     $ 35,091,866        $ 190,467,852     $ 184,863,461




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       Genesee County Drain Commissioner                                                                                                                                           Genesee County Drain Commissioner
       Division of Water and Waste Services                                                                                                                                        Division of Water and Waste Services
                      Statement of Cash Flows (Divisional Detail) - Enterprise Fund                                                                                                                                       Statement of Net Position - Internal Service Funds

                                                                                                                                                                December 31,                                                                                                                     December 31,
                                                                                                 December 31, 2012                                                   2011                                                                                    December 31, 2012                       2011
                                                                                   Sewage Disposal Systems                                                                                                                                     Equipment Fund Insurance Fund         Total          Total
                                                         Interceptor and
                                                             Treatment                                                      Water Supply                                           Assets
                                                             Facilities         District No. 3        District No. 7          Systems             Total              Total           Current assets:
        Cash Flows from Operating Activities                                                                                                                                            Cash and cash equivalents                              $    1,138,432   $      1,150     $   1,139,582   $   1,997,951
           Receipts from customers                       $    24,357,589    $       3,349,295     $         689,402     $     23,682,934     $   52,079,220     $   52,060,797          Accounts receivable                                                -              -                 -            1,998
           Payments to suppliers and others for goods                                                                                                                                   Prepaid expenses                                                   -              -                 -           81,689
              and services                                    (9,209,198)          (1,281,626)             (393,676)          (14,659,557)       (25,544,057)       (28,444,732)
           Payments for salaries and employee benefits        (8,551,259)          (1,590,520)             (251,767)           (4,377,908)       (14,771,454)        (9,449,173)                      Total current assets                          1,138,432          1,150         1,139,582       2,081,638

                      Net cash provided by operating                                                                                                                                  Noncurrent assets - Capital assets - Assets subject to
                         activities                            6,597,132              477,149                43,959            4,645,469         11,763,709         14,166,892          depreciation - Net of depreciation                          2,599,926            -           2,599,926       2,847,721
        Cash Flows from Capital and Related                                                                                                                                                           Total assets                                  3,738,358          1,150         3,739,508       4,929,359
           Financing Activities
              Purchases of capital assets                     (5,813,739)            (132,755)                (5,660)          (2,770,323)        (8,722,477)       (17,461,991)   Liabilities - Current liabilities
              Contribution from local units for
                                                                                                                                                                                      Accounts payable and accrued expenses                               322          1,150             1,472         594,440
                  construction                                       -                     -                     -                   -                  -            1,219,720
              County capital improvement fees                    250,899                   -                     -               717,320            968,219            630,783        Internal balances                                                    -              -                 -          (26,185)
              Collections of leases receivable from
                  municipalities                                 581,769            3,444,824                   -                   4,251          4,030,844          4,014,604                       Total liabilities                                  322           1,150             1,472         568,255
              Proceeds from issuance of bonded debt            3,388,570                  -                     -                  29,999          3,418,569         24,872,946
              Principal paid on bond maturities               (6,555,000)          (2,685,000)                  -              (1,294,250)       (10,534,250)       (17,708,000)   Equity - Net position
              Interest paid on bonds                          (1,282,408)          (1,254,377)                  -              (1,834,380)        (4,371,165)        (4,277,392)     Invested in capital assets - Net of related debt               2,599,926            -           2,599,926       2,847,721
              Operating transfer                                  54,634                7,969                 1,138                50,081            113,822           (103,751)
B-17




                                                                                                                                                                                     Unrestricted                                                   1,138,110            -           1,138,110       1,513,383
                      Net cash used in capital and                                                                                                                                                                                             $    3,738,036   $        -       $   3,738,036   $   4,361,104
                         related financing activities         (9,375,275)            (619,339)                (4,522)          (5,097,302)       (15,096,438)        (8,813,081)                      Total net position

        Cash Flows from Investing Activities -
           Investment income                                      16,161                1,102                   145              136,705            154,113             54,705

        Net (Decrease) Increase in Cash and Cash
          Equivalents                                         (2,761,982)            (141,088)               39,582             (315,128)         (3,178,616)        5,408,516

        Cash and Cash Equivalents - Beginning of
           year                                                6,126,928              411,083                40,523            9,396,897         15,975,431         10,566,915

        Cash and Cash Equivalents - End of year          $    3,364,946     $        269,995      $         80,105      $     9,081,769      $ 12,796,815       $ 15,975,431

        Balance Sheet Classification of Cash and
           Cash Equivalents
              Cash and investments                       $     3,364,946    $         269,995     $          80,105     $      9,081,769     $   12,796,815     $   11,382,843
              Restricted cash and cash equivalents                   -                    -                     -                    -                  -            4,592,588


                      Total cash and cash equivalents    $    3,364,946     $        269,995      $         80,105      $     9,081,769      $ 12,796,815       $ 15,975,431

        Reconciliation of Operating Income (Loss)
           to Net Cash from Operating Activities
              Operating income (loss)                    $     2,645,076    $         (76,825)    $          92,726     $      3,385,642     $    6,046,619     $    4,458,416
              Depreciation                                     4,258,784              717,785                22,722            1,849,811          6,849,102          6,142,303
              Write-off of construction in progress            2,369,806                  -                     -                    -            2,369,806                -
              Changes in assets and liabilities:
                  Receivables                                   (398,295)             289,034               (33,269)            (315,115)           (457,645)        2,122,207
                  Inventories                                        -                    -                     -                (22,967)            (22,967)           (9,359)
                  Prepaid and other assets                      (235,536)             (39,200)               (5,268)            (270,873)           (550,877)          (34,320)
                  Accounts payable                            (2,549,230)            (109,552)                  -               (215,470)         (2,874,252)        1,418,138
                  Due to (from) other governmental
                      units - Units                              155,998              (41,794)              (32,574)            (111,922)           (30,292)            71,318
                  Accrued and other liabilities                  364,055                  (92)                  -                 96,437            460,400                -
                  Internal balances                              (13,526)            (262,207)                 (378)             249,926            (26,185)            (1,811)

                      Net cash provided by operating
                         activities                      $    6,597,132     $        477,149      $         43,959      $     4,645,469      $ 11,763,709       $ 14,166,892


       Noncash Investing, Capital, and Financing Activities - During the year ended December 31, 2012, the Enterprise Fund had $1,111,693 and $508,425
       contributed to the water and sewer systems by local communities and a grant, respectively.



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       Genesee County Drain Commissioner                                                                                   Genesee County Drain Commissioner
       Division of Water and Waste Services                                                                                Division of Water and Waste Services
                  Statement of Revenue, Expenses, and Changes in Net Position                                                                                    Statement of Cash Flows - Internal Service Funds
                                                       Internal Service Funds
                                                                                                                                                                                                                                                  December 31,
                                                                                                           December 31,                                                                                      December 31, 2012                        2011
                                                                      December 31, 2012                        2011                                                                            Equipment Fund Insurance Fund         Total           Total
                                                    Equipment Fund      Insurance Fund                                     Cash Flows from Operating Activities
                                                                                                                             Receipts from customers                                           $       26,185 $         1,998 $         28,183 $       4,587,106
                                                      Combined            Combined            Total            Total         Payments to suppliers and others for goods and services                  (67,339)       (228,534)        (295,873)       (3,681,895)
       Operating Revenue                                                                                                                 Net cash (used in) provided by operating activities          (41,154)       (226,536)        (267,690)         905,211
         Other operating revenue                    $          -       $          -       $           -    $     152,453
         Billing to Enterprise Fund                            -                  -                   -        4,400,159   Cash Flows from Capital and Related Financing Activities
                                                                                                                             Purchase of capital assets                                              (476,857)             -          (476,857)        (533,625)
                    Total operating revenue                    -                  -                   -        4,552,612     Operating transfer                                                       (16,250)        (97,572)        (113,822)         103,751
       Operating Expenses                                                                                                                Net cash used in capital and related financing
         Cost of insurance claims and expenses                  -                 -                  -         3,767,859                   activities                                                (493,107)        (97,572)        (590,679)        (429,874)
         Repairs and maintenance                            65,905                -              65,905               -
         Other supplies and expenses                            -                 -                  -            10,628   Cash Flows from Investing Activities - Investment income                       -               -                  -            1,852
         Depreciation                                      461,288                -             461,288          394,212
                                                                                                                           Net (Decrease) Increase in Cash and Cash Equivalents                      (534,261)       (324,108)        (858,369)         477,189
                    Total operating expenses               527,193                -             527,193        4,172,699
                                                                                                                           Cash and Cash Equivalents - Beginning of year                            1,672,693         325,258        1,997,951        1,520,762
       Operating (Loss) Income                            (527,193)               -            (527,193)         379,913                                                                       $    1,138,432    $     1,150     $   1,139,582    $   1,997,951
                                                                                                                           Cash and Cash Equivalents - End of year
       Nonoperating Revenue                                                                                                                                                                    $    1,138,432    $     1,150     $   1,139,582    $          -
                                                                                                                           Balance Sheet Classification of Cash and Cash Equivalents
         Miscellaneous expense                              (1,756)               -              (1,756)              -
         Investment income                                      -                 -                  -             1,852
B-18




                                                                                                                           Reconciliation of Operating (Loss) Income to Net Cash
         Gain on sale of assets                             19,703                -              19,703               -      from Operating Activities
                                                                                                                                Operating (loss) income                                        $     (527,193) $          -      $    (527,193) $       379,913
                    Total nonoperating revenue              17,947                -              17,947            1,852
                                                                                                                                Depreciation                                                          461,288             -            461,288          394,212
                                                                                                                                Changes in assets and liabilities:
       (Loss) Income - Before operating transfers         (509,246)               -            (509,246)         381,765
                                                                                                                                    Receivables                                                            -            1,998            1,998           32,683
       Transfers In                                            -                  -                   -          103,751            Other                                                              (1,756)             -            (1,756)              -
                                                                                                                                    Prepaid and other assets                                               -           81,689           81,689          140,471
       Transfers Out                                       (16,250)           (97,572)         (113,822)               -            Accounts payable, accrued expenses, and deferred
                                                                                                                                        revenue                                                           322        (310,223)        (309,901)         (43,879)
       (Decrease) Increase in Net Position                (525,496)           (97,572)         (623,068)         485,516            Internal balances                                                  26,185              -            26,185            1,811
       Net Position - Beginning of year                  4,263,532             97,572         4,361,104        3,875,588                                                                       $      (41,154) $     (226,536) $     (267,690) $       905,211
                                                                                                                                         Net cash (used in) provided by operating activities
       Net Position - End of year                   $    3,738,036     $          -       $   3,738,036    $   4,361,104




                                                    35                                                                                                                                         36
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       Genesee County Drain Commissioner
       Division of Water and Waste Services
                                                                                                                                                                                                                                                                                                                                                                                                Summary of Bonds Payable
                                                                                                                                                                                                                                                                                                                                                                                            Year Ended December 31, 2012

                                                                             Principal                                                     Principal
                                                                           Outstanding       Issued During the   Retired During the       Outstanding
                            Description of Issue                          January 1, 2012          Year                Year            December 31, 2012                   2013                                   2014                                   2015                                   2016                                   2017                                   Later                                  Total


                                                                                                                                                               Principal           Interest           Principal           Interest           Principal           Interest           Principal           Interest           Principal           Interest           Principal           Interest           Principal           Interest

       Interceptor and Treatment Facilities



       Genesee County Drain Commissioner Bonds Payable:




       Series 2003 $9,000,000 Revenue Bonds backed by the full faith
       and credit of the County of Genesee. Bond proceeds used for
       Division Western Trunk Relief project. Due serially in various
       amounts ranging from $350,000 to $2,350,000 through 2018
       with interest rates from 2.00% to 4.50%                        $          3,485,000   $            -      $        (440,000) $          3,045,000   $         460,000   $        132,288   $         480,000   $        113,888   $         495,000   $         93,488   $         515,000   $         72,450   $         535,000   $         49,275   $         560,000   $         25,200   $      3,045,000   $        486,589




       Series 2005A $22,180,000 State Revolving Fund Program
       Revenue Bonds backed by the full faith and credit of the County
       of Genesee. Bond proceeds used for Northeast Extension Sewer
       project. Fully drawn May 2007. Due in amounts ranging from
       $950,000 to $1,285,000 through 2026 with interest rate of
       1.625%                                                                   17,280,000                -              (1,025,000)          16,255,000           1,045,000            264,144           1,060,000            247,163           1,080,000            229,938           1,095,000            212,388           1,115,000            194,594         10,860,000             901,145         16,255,000          2,049,372
B-19




       Series 2005B $15,505,000 State Revolving Fund Program
       Revenue Bonds backed by the full faith and credit of the County
       of Genesee for Division project. Fully drawn May 2007. Due in
       amounts ranging from $660,000 to $900,000 through 2026 with
       interest rate of 1.625%                                                  12,090,000                -               (720,000)           11,370,000             730,000            178,831             740,000            166,888             755,000            154,741             765,000            142,391             780,000            129,838           7,600,000            569,075         11,370,000          1,341,764




       Series 2006A $2,815,000 State Revolving Fund Program
       Revenue Bonds backed by the full faith and credit of the County
       of Genesee. Bond proceeds used for Division Northeast
       Extension Sewer project. Fully drawn October 2007. Due in
       amounts ranging from $120,000 to $165,000 through 2027 with
       interest rate of 1.625%                                                   2,325,000                -               (130,000)            2,195,000             130,000             35,669             130,000             33,556             135,000             31,444             135,000             29,250             140,000             27,056           1,525,000            139,749          2,195,000            296,724




       Series 2006B $7,705,000 State Revolving Fund Program
       Revenue Bonds backed by the full faith and credit of the County
       of Genesee. Bond proceeds used for Division Northeast
       Extension Sewer project. Fully drawn July 2008. Due in
       amounts ranging from $330,000 to $445,000 through 2027 with
       interest rate of 1.625%                                                   6,355,000                -               (350,000)            6,005,000             355,000             97,581             365,000             91,813             370,000             85,881             375,000             79,869             380,000             73,775           4,160,000            380,737          6,005,000            809,656




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       Genesee County Drain Commissioner
       Division of Water and Waste Services
                                                                                                                                                                                                                                                                                                                                                                               Summary of Bonds Payable (Continued)
                                                                                                                                                                                                                                                                                                                                                                                     Year Ended December 31, 2012

                                                                              Principal                                                     Principal
                                                                            Outstanding       Issued During the   Retired During the       Outstanding
                             Description of Issue                          January 1, 2012          Year                Year            December 31, 2012                       2013                                      2014                                      2015                                  2016                                   2017                                       Later                                  Total


                                                                                                                                                                Principal              Interest           Principal              Interest           Principal              Interest           Principal           Interest           Principal           Interest           Principal               Interest           Principal           Interest




       Series 2006C $4,335,000 State Revolving Fund Program
       Revenue Bonds backed by the full faith and credit of the County
       of Genesee. Bond proceeds used for Division Northeast
       Extension Sewer project. Fully drawn January 2008. Due in
       amounts ranging from $185,000 to $250,000 through 2027 with
       interest rate of 1.625%                                         $          3,575,000   $            -      $        (200,000) $          3,375,000   $         200,000     $          54,844   $         205,000     $          51,594   $         205,000     $          48,263   $         210,000   $         44,931   $         215,000   $         41,519   $       2,340,000      $         214,500   $      3,375,000   $        455,651




       Series 2007 $10,500,000 State Revolving Fund Program
       Revenue Bonds backed by the full faith and credit of the County
       of Genesee. Bond proceeds used for Division Northeast
       Extension Sewer project. Fully drawn in December 2010. Due
       in amounts ranging from $450,000 to $610,000 through 2028
       with interest rate of 1.625%                                               9,130,000                -               (470,000)            8,660,000             480,000               136,825             485,000               128,984             495,000               121,022             500,000            112,938             510,000            104,731           6,190,000                569,482          8,660,000          1,173,982




       Series 2007B $8,000,000 Revenue Bonds backed by the full
       faith and credit of the County of Genesee. Bond proceeds used
       for Division Northeast Extension Sewer project. Due serially and
       term in amounts ranging from $240,000 to $605,000 through
       2028 with interest rates from 4.00% to 4.40%                               7,240,000                -               (280,000)            6,960,000             295,000               289,578             310,000               277,778             325,000               265,378             340,000            252,378             360,000            238,778           5,330,000              1,479,235          6,960,000          2,803,125
B-20




       Series 2009A $15,000,000 Revenue Bonds backed by the full
       faith and credit of the County of Genesee. Bond proceeds used
       for Division Northeast Extension Sewer project. Due serially and
       term in amounts ranging from $475,000 to $1,150,000 through
       2029 with interest rates from 2.75% to 5.00%                              14,050,000                -               (475,000)           13,575,000             500,000               607,188             525,000               593,438             525,000               577,688             600,000            561,281             625,000            541,031         10,800,000               3,768,282         13,575,000          6,648,908




       Series 2010A $14,544,000 State Revolving Fund Program
       Revenue Bonds backed by the full faith and credit of the County
       of Genesee. Bond proceeds used for Pump Station #1, ARTP
       Blower Revamp, and ARTP Clarifiers. $794,876 remaining to be
       drawn. Due in amounts ranging from $569,000 to $910,000
       through 2030 with interest rate of 2.50%                                  10,508,950          2,521,176             (585,000)           12,445,126             600,000               316,223             615,000               299,878             630,000               284,503             645,000            268,753             660,000            252,628           9,295,126              1,618,911         12,445,126          3,040,896




       Series 2011A $1,445,000 State Revolving Fund Program
       Revenue Bonds backed by the full faith and credit of the County
       of Genesee. Bond proceeds used for ARTP Switchgears. Fully
       drawn in October 2012. Due in amounts ranging from $55,000
       to $90,000 through 2031 with interest rate of 2.50%                          577,606           867,394                (55,000)           1,390,000              60,000                34,685              60,000                33,250              60,000                31,750              60,000             30,250              65,000             28,750           1,085,000                214,500          1,390,000            373,185




       Series 2011B $4,825,000 Revenue Bonds backed by the full
       faith and credit of the County of Genesee. Bond proceeds used
       for NEES 3E. Due serially and term in amounts ranging from
       $180,000 to $405,000 through 2031 with interest rates from
       3.00% to 5.00%                                                             4,825,000                -                     -              4,825,000                   -               201,500                   -               201,500                   -               201,500             180,000            198,800             185,000            193,325           4,460,000              1,550,820          4,825,000          2,547,445




       Refunding Series 2011C $7,870,000 Revenue Bonds backed
       by the full faith and credit of the County of Genesee. Refunded
       Series 2000, $6,000,000 ARTP Grit Removal bond and Series
       2002A, $11,000,000 ARTP Enhancement bond. Due in amounts
       ranging from $1,000,000 to $1,500,000 through 2017 with
       interest rates from 2.00% to 2.25%                                         7,870,000                -              (1,450,000)           6,420,000           1,455,000               116,350           1,465,000                87,150           1,500,000                57,500           1,000,000             32,500           1,000,000             11,250                   -                      -          6,420,000            304,750

                Total Genesee County Drain Commission bonds
                payable                                                          99,311,556          3,388,570            (6,180,000)          96,520,126           6,310,000             2,465,706           6,440,000             2,326,880           6,575,000             2,183,096           6,420,000          2,038,179           6,570,000          1,886,550         64,205,126              11,431,636         96,520,126         22,332,047




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       Genesee County Drain Commissioner
       Division of Water and Waste Services
                                                                                                                                                                                                                                                                                                                                                       Summary of Bonds Payable (Continued)
                                                                                                                                                                                                                                                                                                                                                             Year Ended December 31, 2012

                                                                                  Principal                                                     Principal
                                                                                Outstanding       Issued During the   Retired During the       Outstanding
                             Description of Issue                              January 1, 2012          Year                Year            December 31, 2012                   2013                                   2014                                   2015                                   2016                                   2017                                   Later                                  Total


                                                                                                                                                                    Principal           Interest           Principal           Interest           Principal           Interest           Principal           Interest           Principal           Interest           Principal           Interest           Principal           Interest


       Interceptor and Treatment Facilities

       Community-related Bonds Payable:


       Refunding Series 2005 $2,900,000 County of Genesee
       Limited Tax General Obligation Bonds. Refunded Series 1999,
       $3,800,000 Bonds for Mt. Morris Township Sanitary Sewer
       System project. Due serially in amounts ranging from $15,000 to
       $315,000 through 2019 with interest rates from 4.00% to 4.25% $                2,175,000   $            -      $        (235,000) $          1,940,000   $         245,000   $         75,433   $         255,000   $         65,183   $         265,000   $         54,523   $         275,000   $         43,453   $         285,000   $         31,901   $         615,000   $         26,382   $      1,940,000   $        296,875


       Series 2006 $3,665,000 County of Genesee Limited Tax
       General Obligation Bonds for Community Western Trunk
       Extension Sewer Phase II project. Due serially in amounts
       ranging from $110,000 to $285,000 through 2026 with interest
       rates from 4.00% to 4.35%                                                      3,060,000                -               (140,000)            2,920,000             145,000            118,335             155,000            112,335             165,000            105,935             170,000             99,235             180,000             92,235           2,105,000            435,276          2,920,000            963,351

                Total community-related bonds payable                                 5,235,000                -               (375,000)            4,860,000             390,000            193,768             410,000            177,518             430,000            160,458             445,000            142,688             465,000            124,136           2,720,000            461,658          4,860,000          1,260,226


                Total interceptor and treatment facilities bonds payable
                                                                           $      104,546,556     $     3,388,570     $      (6,555,000) $       101,380,126    $      6,700,000    $     2,659,474    $      6,850,000    $     2,504,398    $      7,005,000    $     2,343,554    $      6,865,000    $     2,180,867    $      7,035,000    $     2,010,686    $    66,925,126     $    11,893,294    $   101,380,126    $     23,592,273


       District No. 3

       Genesee County Drain Commissioner Bonds Payable:
B-21




       Series 2007 $6,000,000 Revenue Bonds backed by the full faith
       and credit of the County of Genesee. Bond proceeds used for
       Treatment Plant Improvement project. Due serially in various
       amounts ranging from $195,000 to $470,000 through 2027 with
       interest rates from 4.00% to 4.50%                            $                5,385,000   $            -      $        (225,000) $          5,160,000   $         240,000   $        214,538   $         250,000   $        204,738   $         265,000   $        194,438   $         275,000   $        183,638   $         290,000   $        172,338   $       3,840,000   $        918,095   $      5,160,000   $      1,887,785


       Series 2010A $1,089,000 State Revolving Fund Program
       Revenue Bonds backed by the full faith and credit of the County
       of Genesee. Bond proceeds used for District #3 Digester Phase
       I. Fully drawn in September 2011. Due in amounts ranging from
       $44,000 to $70,000 through 2030 with interest rate of 2.50%                    1,045,000                -                 (45,000)           1,000,000              45,000             25,000              45,000             23,875              45,000             22,750              50,000             21,625              50,000             20,375             765,000            140,875          1,000,000            254,500

                Total Genesee County Drain Commission bonds
                payable                                                               6,430,000                -               (270,000)            6,160,000             285,000            239,538             295,000            228,613             310,000            217,188             325,000            205,263             340,000            192,713           4,605,000          1,058,970          6,160,000          2,142,285




                                                                                                                             41                                                                                                                                                                                                                      42
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       Genesee County Drain Commissioner
       Division of Water and Waste Services
                                                                                                                                                                                                                                                                                                                                                            Summary of Bonds Payable (Continued)
                                                                                                                                                                                                                                                                                                                                                                  Year Ended December 31, 2012

                                                                                Principal                                                     Principal
                                                                              Outstanding       Issued During the   Retired During the       Outstanding
                             Description of Issue                            January 1, 2012          Year                Year            December 31, 2012                   2013                                   2014                                   2015                                   2016                                           2017                                      Later                                      Total


                                                                                                                                                                  Principal           Interest           Principal           Interest           Principal           Interest           Principal           Interest               Principal              Interest           Principal               Interest               Principal           Interest
       District No. 3
       Community-related Bonds Payable:



       Series 1996 $1,240,000 County of Genesee Limited Tax
       General Obligation Bonds for Fenton Township Rolston and
       Ripley Road Arms project. Due serially in amounts ranging from
       $25,000 to $100,000 through 2017 with interest rates from
       5.00% to 7.375%                                                $               575,000   $            -      $          (75,000) $           500,000   $         100,000   $         24,750   $         100,000   $         19,250   $         100,000   $         13,750   $         100,000   $              8,250   $               -     $               -   $         100,000      $               2,750   $        500,000   $         68,750


       Refunding Series 1996A $12,940,000 Revenue Bonds backed
       by the full faith and credit of the County of Genesee. Refunded
       Series 2005, $6,000,000 District No. 3 Treatment Plant
       Improvement bond. Due serially in various amounts ranging
       from $75,000 to $1,355,000 through 2016 with interest rates
       from 2.50% to 5.00%                                                          6,705,000                -              (1,350,000)           5,355,000           1,355,000            228,819           1,345,000            164,694           1,330,000             99,500           1,325,000             33,125                       -                     -                   -                        -            5,355,000            526,138


       Series 2003 $4,000,000 County of Genesee Limited Tax
       General Obligation Bonds for Fenton Township Sewage Disposal
       System project. Due serially in amounts ranging from $125,000
       to $250,000 through 2024 with interest rates from 2.50% to
       4.50%                                                                        2,925,000                -               (200,000)            2,725,000             200,000            109,775             200,000            102,775             200,000             95,775             225,000             88,525                 225,000                80,088           1,675,000                297,425              2,725,000            774,363


       Series 2004A $8,000,000 County of Genesee Limited Tax
       General Obligation Bonds for Fenton Township Sewage Disposal
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       System project. Due serially in amounts ranging from $250,000
       to $700,000 through 2024 with interest rates from 4.00% to
       5.00%                                                                        6,250,000                -               (350,000)            5,900,000             350,000            244,500             400,000            225,750             400,000            207,750             400,000            191,750                 450,000               174,750           3,900,000                650,125              5,900,000          1,694,625


       Series 2004B $4,600,000 County of Genesee Limited Tax
       General Obligation Bonds for Fenton Township Sewage Disposal
       System project. Due serially in amounts ranging from $100,000
       to $400,000 through 2024 with interest rates from 4.00% to
       5.00%                                                                        3,950,000                -               (150,000)            3,800,000             150,000            157,250             150,000            149,750             200,000            142,000             300,000            132,000                 300,000               120,000           2,700,000                421,000              3,800,000          1,122,000


       Refunding Series 2007 $5,615,000 County of Genesee
       Limited Tax General Obligation Bonds. Partially refunded Series
       1998, $7,140,000 Bonds for City of Fenton, Fenton Township,
       and City of Linden Sewage Disposal System project. Due serially
       in amounts ranging from $20,000 to $915,000 through 2019 with
       interest rate of 4.00%                                                       4,950,000                -               (290,000)            4,660,000             355,000            179,300             440,000            163,400             540,000            143,800             595,000            121,100                 910,000                91,000           1,820,000                 72,600              4,660,000            771,200


                Total community-related bonds payable                              25,355,000                -              (2,415,000)          22,940,000           2,510,000            944,394           2,635,000            825,619           2,770,000            702,575           2,945,000            574,750               1,885,000               465,838         10,195,000               1,443,900             22,940,000          4,957,076

                Total District No. 3 bonds payable                       $        31,785,000    $            -      $      (2,685,000) $        29,100,000    $      2,795,000    $     1,183,932    $      2,930,000    $     1,054,232    $      3,080,000    $       919,763    $      3,270,000    $       780,013        $      2,225,000       $       658,551    $    14,800,000        $      2,502,870        $     29,100,000   $      7,099,361




                                                                                                                            43                                                                                                                                                                                                                            44
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       Genesee County Drain Commissioner
       Division of Water and Waste Services
                                                                                                                                                                                                                                                                                                                                                     Summary of Bonds Payable (Continued)
                                                                                                                                                                                                                                                                                                                                                           Year Ended December 31, 2012

                                                                                Principal                                                     Principal
                                                                              Outstanding       Issued During the   Retired During the       Outstanding
                             Description of Issue                            January 1, 2012          Year                Year            December 31, 2012                   2013                                   2014                                   2015                                   2016                                   2017                                   Later                                  Total


                                                                                                                                                                  Principal           Interest           Principal           Interest           Principal           Interest           Principal           Interest           Principal           Interest           Principal           Interest           Principal           Interest

       Water Supply Systems


       Genesee County Drain Commissioner Bonds Payable:


       Series 2003 $9,000,000 Revenue Bonds backed by the full faith
       and credit of the County of Genesee. Bond proceeds used for
       Water Tower project. Due serially in various amounts ranging
       from $455,000 to $775,000 through 2018 with interest rates
       from 2.50% to 4.375%                                          $              4,835,000   $            -      $        (615,000) $          4,220,000   $         635,000   $        163,361   $         660,000   $        137,461   $         690,000   $        110,116   $         715,000   $         80,956   $         745,000   $         49,924   $         775,000   $         16,953   $      4,220,000   $        558,771


       Series 2003B $18,000,000 Revenue Bonds backed by the full
       faith and credit of the County of Genesee. Bond proceeds used
       for North Water Loop III project. Due serially and term in
       various amounts ranging from $175,000 to $10,085,000 through
       2033 with interest rates from 4.00% to 5.125%                               16,290,000                -               (270,000)           16,020,000             290,000            783,763             310,000            772,163             325,000            759,763             345,000            746,763             365,000            732,963         14,385,000           6,964,662         16,020,000         10,760,077


       Series 2004 $14,960,000 Revenue Bonds backed by the full
       faith and credit of the County of Genesee. Bond proceeds used
       for North Water Loop III project. Due serially in various
       amounts ranging from $200,000 to $1,000,000 through 2030
       with interest rates from 3.00% to 5.00%                                     13,720,000                -               (225,000)           13,495,000             235,000            614,338             240,000            606,700             240,000            598,300             250,000            588,700             260,000            578,700         12,270,000           4,348,300         13,495,000          7,335,038


       Series 2007 $6,000,000 Revenue Bonds backed by the full faith
       and credit of the County of Genesee. Bond proceeds used for
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       North Water Loop III project. Due serially and term in various
       amounts ranging from $150,000 to $450,000 through 2033 with
       interest rates from 4.00% to 4.40%                                           5,400,000                -               (150,000)            5,250,000             150,000            227,478             150,000            221,328             160,000            214,953             160,000            208,153             160,000            201,353           4,470,000          1,994,696          5,250,000          3,067,961


                Total Genesee County Drain Commission bonds
                payable                                                            40,245,000                -              (1,260,000)          38,985,000           1,310,000          1,788,940           1,360,000          1,737,652           1,415,000          1,683,132           1,470,000          1,624,572           1,530,000          1,562,940         31,900,000          13,324,611         38,985,000         21,721,847

       Community-related Bonds Payable:


       Series 2011 $933,515 Drinking Water Revolving Fund Program
       Revenue Bonds backed by the full faith and credit of the County
       of Genesee. Bond proceeds used for Fenton Road Watermain -
       Bristol to Maple. Fully drawn in July 2012. Due in amounts
       ranging from $34,250 to $59,265 through 2031 with interest rate
       of 2.50%                                                                       903,516             29,999               (34,250)             899,265              40,000             21,987              40,000             20,982              40,000             19,982              40,000             18,982              40,000             17,982             699,265            128,378            899,265            228,293

                Total water supply systems bonds payable                 $        41,148,516    $        29,999     $      (1,294,250) $        39,884,265    $      1,350,000    $     1,810,927    $      1,400,000    $     1,758,634    $      1,455,000    $     1,703,114    $      1,510,000    $     1,643,554    $      1,570,000    $     1,580,922    $    32,599,265     $    13,452,989    $     39,884,265   $     21,950,140

                Total Genesee County Drain Commission bonds
                payable                                                  $       145,986,556    $      3,388,570    $       (7,710,000) $       141,665,126   $       7,905,000   $      4,494,184   $       8,095,000   $      4,293,145   $       8,300,000   $      4,083,416   $       8,215,000   $      3,868,014   $       8,440,000   $      3,642,203   $    100,710,126    $     25,815,217   $   141,665,126    $     46,196,179

                Total community-related bonds payable                              31,493,516             29,999            (2,824,250)          28,699,265           2,940,000          1,160,149           3,085,000          1,024,119           3,240,000            883,015           3,430,000            736,420           2,390,000            607,956         13,614,265           2,033,936         28,699,265          6,445,594

                Total - All bonds payable                                $      177,480,072     $     3,418,569     $    (10,534,250) $        170,364,391    $    10,845,000     $     5,654,333    $    11,180,000     $     5,317,264    $    11,540,000     $     4,966,431    $    11,645,000     $     4,604,434    $    10,830,000     $     4,250,159    $   114,324,391     $    27,849,153    $   170,364,391    $     52,641,773




                                                                                                                           45                                                                                                                                                                                                                      46
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                                                                                                              Mr. Jeff Wright                                                                      May 14, 2013
                                                                                                              Genesee County Drain Commissioner
                                                                                                                Division of Water and Waste Services
                                                            May 14, 2013
                                                                                                              Planned Scope and Timing of the Audit
       Mr. Jeff Wright                                                                                        We performed the audit according to the planned scope and timing previously communicated to
       Genesee County Drain Commissioner                                                                      you in our meeting about planning matters on December 12, 2012.
           Division of Water and Waste Services
       G-4608 Beecher Road                                                                                    Significant Audit Findings
       Flint, Michigan 48532
                                                                                                              Qualitative Aspects of Accounting Practices
       We have audited the financial statements of the Enterprise Fund and Internal Service Fund of the
       Genesee County Drain Commissioner Division of Water and Waste Services (a component unit               Management is responsible for the selection and use of appropriate accounting policies. In
       of Genesee County, Michigan) (the “Division”) as of and for the year ended December 31, 2012           accordance with the terms of our engagement letter, we will advise management about the
       and have issued our report thereon dated May 14, 2013. We have also audited the federal                appropriateness of accounting policies and their application. The significant accounting policies
       awards of the Division for the year ended December 31, 2011 and issued our report dated                used by the Division are described in Note 1 to the financial statements. No new accounting
       May 14, 2013. Professional standards require that we provide you with the following information        policies were adopted and the application of existing policies was not changed during 2012 other
       related to our audit.                                                                                  than that the Division adopted GASB Statement No. 63, Financial Reporting of Deferred Outflows
                                                                                                              of Resources, Deferred Inflows of Resources, and Net Position. As a result, there were very minor
       Our Responsibility Under U.S. Generally Accepted Auditing Standards                                    revisions to the terminology and reporting of the statement of net position.
       As stated in our engagement letter dated November 12, 2012, our responsibility, as described           We noted no transactions entered into by the Division during the year for which there is a lack
       by professional standards, is to express an opinion about whether the financial statements             of authoritative guidance or consensus.
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       prepared by management with your oversight are fairly presented, in all material respects, in
       conformity with U.S. generally accepted accounting principles. Our audit of the financial              There are no significant transactions that have been recognized in the financial statements in a
       statements does not relieve you or management of your responsibilities. Our responsibility is to       different period than when the transaction occurred.
       plan and perform the audit to obtain reasonable, but not absolute, assurance that the financial
       statements are free of material misstatement.                                                          Accounting estimates are an integral part of the financial statements prepared by management
                                                                                                              and are based on management’s knowledge and experience about past and current events and
       As part of our audit, we considered the internal control of Genesee County Drain                       assumptions about future events. Certain accounting estimates are particularly sensitive because
       Commissioner Division of Water and Waste Services (the “Division”). Such considerations were           of their significance to the financial statements and because of the possibility that future events
       solely for the purpose of determining our audit procedures and not to provide any assurance            affecting them may differ significantly from those expected. The most sensitive estimates
       concerning such internal control.                                                                      affecting the financial statements were the recording of unbilled revenue, the postemployment
       We are responsible for communicating significant matters related to the audit that are, in our         benefit liability calculation, the pension disclosures, and the calculation of the self-insurance
       professional judgment, relevant to your responsibilities in overseeing the financial reporting         (IBNR) liability.
       process. However, we are not required to design procedures specifically to identify such
                                                                                                              Management’s estimate of the unbilled revenue is based on amounts billed subsequent to year
       matters.
                                                                                                              end. We evaluated the key factors and assumptions used to develop the unbilled revenue in
       Our audit of the Division’s 2011 financial statements has been conducted in accordance with            determining that it is reasonable in relation to the financial statements taken as a whole.
       Government Auditing Standards, issued by the Comptroller General of the United States. Under
       Government Auditing Standards, we are obligated to communicate certain matters that come to            Management’s estimate of the postemployment benefit liability and defined benefit pension costs
       our attention related to our audit to those responsible for the governance of the Division,            is based on certain assumptions made by the actuary. We evaluated the key factors and
       including compliance with certain provisions of laws, regulations, contracts, grant agreements,        assumptions used to calculate the liability in determining that it is reasonable in relation to the
       certain instances of error or fraud, illegal acts applicable to government agencies, and significant   financial statements taken as a whole.
       deficiencies in internal control that we identify during our audit. Toward this end, we issued a
                                                                                                              Management’s estimate of the self-insurance liability is based on the quarterly billings received
       separate letter dated June 25, 2012 regarding our consideration of Division’s internal control
                                                                                                              from BCBS. We evaluated the key factors and assumptions used to calculate the receivable in
       over financial reporting and separate letter dated May 14, 2013 regarding our consideration on
                                                                                                              determining that it is reasonable in relation to the financial statements taken as a whole.
       our tests of its compliance with certain provisions of laws, regulations, contracts, and grant
       agreements.
                                                          1                                                                                                   2
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       Mr. Jeff Wright                                                                      May 14, 2013     Mr. Jeff Wright                                                                     May 14, 2013
       Genesee County Drain Commissioner                                                                     Genesee County Drain Commissioner
         Division of Water and Waste Services                                                                  Division of Water and Waste Services

       The disclosures in the financial statements are neutral, consistent, and clear.                       This information is intended solely for the use of Mr. Jeff Wright, Genesee County Drain
                                                                                                             Commissioner, and management of Genesee County Drain Commissioner Division of Water
       Difficulties Encountered in Performing the Audit                                                      and Waste Services and is not intended to be and should not be used by anyone other than these
                                                                                                             specified parties.
       We encountered no significant difficulties in dealing with management in performing and
       completing our audit.                                                                                 Other Information - Per Bulletin 6 issued by the State Department of Treasury, the State
                                                                                                             made some revisions to the Michigan qualifying statement as well as changes to the filing
       Disagreements with Management                                                                         process. It is our understanding that the Division is considering issuing debt in the coming year,
                                                                                                             and would need to file a qualifying statement in order to initiate the process.
       For the purpose of this letter, professional standards define a disagreement with management as
       a financial accounting, reporting, or auditing matter, whether or not resolved to our satisfaction,   The bulletin details the revisions made to the form, changes in the electronic filing process, and
       that could be significant to the financial statements or the auditor’s report                         provides information on the new process to submit a reconsideration request.
       We are pleased to report that no such disagreements arose during the course of our audit.             The qualifying statement is now Form 5047. The new form and link to the online filing are
                                                                                                             available at www.michigan.gov/municipalfinance. You can also find Bulletin 6 by following this
       Corrected and Uncorrected Misstatements
                                                                                                             same link.
       Professional standards require us to accumulate all known and likely misstatements identified
       during the audit, other than those that are trivial, and communicate them to the appropriate                                                              Very truly yours,
       level of management.
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                                                                                                                                                                 Plante & Moran, PLLC
       We did not detect any misstatements as a result of audit procedures.

       Significant Findings or Issues

       We generally discuss a variety of matters, including the application of accounting principles and
                                                                                                                                                                 Leslie J. Pulver
       auditing standards, business conditions affecting the Division, and business plans and strategies
       that may affect the risks of material misstatement with management each year prior to retention
       as the Division’s auditors. However, these discussions occurred in the normal course of our
       professional relationship and our responses were not a condition of our retention.

       Management Representations

       We have requested certain representations from management that are included in the
       management representation letter dated May 14, 2013.

       Management Consultations with Other Independent Accountants

       In some cases, management may decide to consult with other accountants about auditing and
       accounting matters, similar to obtaining a “second opinion” on certain situations. If a
       consultation involves application of an accounting principle to the Division’s financial statements
       or a determination of the type of auditor’s opinion that may be expressed on those statements,
       our professional standards require the consulting accountant to check with us to determine that
       the consultant has all the relevant facts. To our knowledge, there were no such consultations
       with other accountants.


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                                                                                                                     To the Board of Commissioners
                                                                                                                     Genesee County

                                                                                                                     An audit involves performing procedures to obtain audit evidence about the amounts and disclosures in
                                                                                                                     the financial statements. The procedures selected depend on the auditor’s judgment, including the
                                             Independent Auditor's Report                                            assessment of the risks of material misstatement of the financial statements, whether due to fraud or
                                                                                                                     error. In making those risk assessments, the auditor considers internal control relevant to the entity’s
       To the Board of Commissioners                                                                                 preparation and fair presentation of the financial statements in order to design audit procedures that are
       Genesee County                                                                                                appropriate in the circumstances, but not for the purpose of expressing an opinion on the effectiveness of
       Flint, Michigan                                                                                               the entity’s internal control. Accordingly, we express no such opinion. An audit also includes evaluating the
                                                                                                                     appropriateness of accounting policies used and the reasonableness of significant accounting estimates
       Report on the Financial Statements                                                                            made by management, as well as evaluating the overall presentation of the financial statements.
                                                                                                                     We believe that the audit evidence we have obtained is sufficient and appropriate to provide a basis for
       We have audited the accompanying financial statements of the governmental activities, the business-type
                                                                                                                     our audit opinions.
       activities, the aggregate discretely presented component units, each major fund, and the aggregate
       remaining fund information of Genesee County, Michigan (the "County") as of and for the year ended            Opinions
       September 30, 2013, and the related notes to the financial statements, which collectively comprise            In our opinion, based on our audit and the report of other auditors, the financial statements referred to
       Genesee County's basic financial statements as listed in the table of contents.                               above present fairly, in all material respects, the respective financial position of the governmental activities,
       Management’s Responsibility for the Financial Statements                                                      the business-type activities, the aggregate discretely presented component units, each major fund, and the
                                                                                                                     aggregate remaining fund information of Genesee County as of September 30, 2013 and the respective
       Management is responsible for the preparation and fair presentation of these financial statements in          changes in its financial position and, where applicable, cash flows for the year then ended, in accordance
       accordance with accounting principles generally accepted in the United States of America; this includes the   with accounting principles generally accepted in the United States of America.
       design, implementation, and maintenance of internal control relevant to the preparation and fair              Emphasis of Matter
       presentation of financial statements that are free from material misstatement, whether due to fraud or
       error.                                                                                                        As explained in Note C, the financial statements include investments valued at $191,881,667 (41 percent
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                                                                                                                     of total investments for the aggregate remaining funds) at September 30, 2013 and at $156,308,416 (34
       Auditor’s Responsibility                                                                                      percent of total investments for the aggregate remaining funds) at September 30, 2012, whose fair values
                                                                                                                     have been estimated by management in the absence of readily determinable market values. Management’s
       Our responsibility is to express an opinion on these financial statements based on our audit. We              estimates are based on information provided by fund managers and the partnership general partners. Our
       conducted our audit in accordance with auditing standards generally accepted in the United States of          opinion has not been modified with respect to this matter.
       America and in accordance with the standards applicable to financial audits contained in Goverment Auditing
       Standards issued by the Comptroller General of the United States. Those standards require that we plan        Other Matters
       and perform the audit to obtain reasonable assurance about whether the financial statements are free          Required Supplemental Information
       from material misstatement. The financial statements of the following entities were not audited in
                                                                                                                     Accounting principles generally accepted in the United States of America require that the management's
       accordance with Government Auditing Standards: Economic Development Corporation of the County of
                                                                                                                     discussion and analysis and the major fund budgetary comparison schedules, as identified in the table of
       Genesee and Genesee County Storm Water Management System.
                                                                                                                     contents, be presented to supplement the basic financial statements. Such information, although not a part
       Our responsibility is to express opinions on these financial statements based on our audit. We did not        of the basic financial statements, is required by the Governmental Accounting Standards Board, which
       audit the financial statements of Genesee County Community Mental Health Services, a major                    considers it to be an essential part of financial reporting for placing the basic financial statements in an
       governmental fund of the County, which represents 37.6 and 15.1 percent of the assets and revenue,            appropriate operational, economic, or historical context. We have applied certain limited procedures to
       respectively, of the governmental funds. We also did not audit the financial statements of Genesee County     the required supplemental information in accordance with auditing standards generally accepted in the
       Planning Commission, a non-major governmental fund of the County, which represents less than 1 percent        United States of America, which consisted of inquiries of management about the methods of preparing the
       of both the assets and revenues of the governmental funds. We also did not audit the financial statements     information and comparing the information for consistency with management's responses to our inquiries,
       of Genesee County Road Commission, a discretely presented component unit of the County, which                 the basic financial statements, and other knowledge we obtained during our audit of the basic financial
       represents 30.5 percent and 19.6 percent, respectively, of the assets and revenues of the component           statements. We do not express an opinion or provide any assurance on the information because the
       units. We also did not audit the financial statements of the Economic Development Corporation, a              limited procedures do not provide us with sufficient evidence to express an opinion or provide any
       discretely presented component unit of the County, which represents less than 1 percent of both the           assurance.
       assets and revenues of the component units. We also did not audit the financial statements of Genesee
       Health Systems Authority, a discretely presented component unit of the County, which represents 9.6 and
       62.5 percent of the assets and revenue, respectively, of the component units. Those financial statements
       were audited by other auditors, whose report has been furnished to us, and our opinion, insofar as it
       relates to the amounts included for Genesee County Community Mental Health Services, Genesee County
       Planning Commission, Genesee County Road Commission, the Economic Development Corporation, and
       the Genesee Health Systems Authority, is based solely on the report of the other auditors.
                                                           11                                                                                                               12
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                                                                                                                        MANAGEMENT’S DISCUSSION AND ANALYSIS
       To the Board of Commissioners
       Genesee County                                                                                                   GENESEE COUNTY
                                                                                                                        As management of Genesee County, we offer readers of the Genesee County’s financial statements this narrative overview and analysis of the
       Other Information                                                                                                financial activities of Genesee County for the fiscal year ended September 30, 2013. We encourage readers to consider the information presented
                                                                                                                        here in conjunction with additional information that we have furnished in our letter of transmittal, which can be found at the beginning of this report.
       Our audit was conducted for the purpose of forming opinions on the financial statements that collectively
                                                                                                                        Financial Highlights
       comprise Genesee County's basic financial statements. The combining statements, as identified in the
       table of contents as other supplemental information, are presented for the purpose of additional analysis             x    The assets of Genesee County exceeded its liabilities at the close of the most recent fiscal year by $119,467,297 (net position). Of this
       and are not a required part of the basic financial statements.                                                             amount, $13,493,362 (unrestricted net position) may be used to meet the government’s ongoing obligations to citizens and creditors.
                                                                                                                             x    The government’s total net position decreased by $25,645,496. Governmental activities decreased by $28,366,573 while Business-type
                                                                                                                                  activities increased by $2,721,077; the overall decrease is attributed to a decrease in Primary Government revenues, resulting primarily
       The combining statements, identified in the table of contents as other supplementary information, are the                  from the transfer of Mental Health operations to Genesee Health Services, a newly established Mental Health Authority.
       responsibility of management and were derived from and relate directly to the underlying accounting and               x    As of the close of the current fiscal year, Genesee County’s governmental funds reported combined ending fund balances of $29,977,381
       other records used to prepare the basic financial statements. Such information has been subjected to the                   a decrease of $15,853,798 in comparison with the prior year. Approximately 21% of this total amount, $6,300,649, is available for
                                                                                                                                  spending at the government’s discretion (unassigned fund balance).
       auditing procedures applied in the audit of the basic financial statements and certain additional procedures,         x    At the end of the current fiscal year, unassigned fund balance for the General Fund was $9,455,182, 16% of total General Fund
       including comparing and reconciling such information directly to the underlying accounting and other                       expenditures.
                                                                                                                             x    Genesee County’s total debt was increased by the issuance of delinquent tax notes in the amount of $39,900,000 during the current fiscal
       records used to prepare the basic financial statements or to the basic financial statements themselves, and                year for various projects and refunding issues which was offset by total payments of $54,381,571.
       other additional procedures in accordance with auditing standards generally accepted in the United States
       of America. In our opinion, the information is fairly stated in all material respects in relation to the basic   Overview of the Financial Statements

       financial statements as a whole.                                                                                 This discussion and analysis is intended to serve as an introduction to Genesee County’s basic financial statements. Genesee County’s basic
                                                                                                                        financial statements included three components: 1) government-wide financial statements, 2) fund financial statements, and 3) notes to the financial
       The introductory section and statistical section, as identified in the table of contents, have not been          statements. This report also contains other supplementary information in addition to the basic financial statements.
       subjected to the auditing procedures applied in the audit of the basic financial statements, and accordingly,    Government-wide Financial Statements. The government-wide financial statements are designed to provide readers with a broad overview of
       we do not express an opinion or provide any assurance on them.                                                   Genesee County’s finances, in a manner similar to a private-sector business.

       Other Reporting Required by Government Auditing Standards                                                        The statement of net position presents information on all Genesee County’s assets and liabilities, with the difference between the two reported as
                                                                                                                        net position. Over time, increases or decreases in net position may serve as a useful indicator of whether the financial position of Genesee County
                                                                                                                        is improving or deteriorating.
       In accordance with Government Auditing Standards, we have also issued our report dated March 18,
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       2014 on our consideration of Genesee County's internal control over financial reporting and on our tests         The statement of activities presents information showing how the government’s net position changed during the most recent fiscal year. All changes
                                                                                                                        in net position are reported as soon as the underlying event giving rise to the change occurs, regardless of the timing of related cash flows. Thus,
       of its compliance with certain provisions of laws, regulations, contracts, grant agreements, and other           revenues and expenses are reported in this statement for some items that will only result in cash flows in future fiscal periods (e.g., uncollected
       matters. The purpose of that report is to describe the scope of our testing of internal control over financial   taxes and earned but unused vacation leave).
       reporting and compliance and the results of that testing, and not to provide an opinion on the internal          Both of the government-wide financial statements distinguish functions of Genesee County that are principally supported by taxes and
       control over financial reporting or on compliance. That report is an integral part of an audit performed in      intergovernmental revenues (government activities) from other functions that are intended to recover all or a significant portion of their costs through
       accordance with Government Auditing Standards in considering Genesee County's internal control over              user fees and charges (business-type activities). The governmental activities of Genesee County include legislative, management and planning,
                                                                                                                        administration of justice, law enforcement, human services, community enrichment, general support, and other. The business-type activities of
       financial reporting and compliance.                                                                              Genesee County include Parks and Recreation System, Jail Commissary, Parking Meter and Delinquent Tax Revolving Fund.

                                                                                                                        The government-wide financial statements include not only Genesee County itself (known as the primary government), but also eight legally
                                                                                                                        separated component units for which Genesee County is financially accountable. Financial information for these component units is reported
                                                                                                                        separately from the financial information presented for the primary government itself.

                                                                                                                        The government-wide financial statements can be found as Exhibit A-1 and A-2 of this report.

                                                                                                                        Fund Financial Statements. A fund is a grouping of related accounts that is used to maintain control over resources that have been segregated for
                                                                                                                        specific activities or objectives. Genesee County, like other state and local governments, uses fund accounting to ensure and demonstrate
       March 18, 2014                                                                                                   compliance with finance-related legal requirements. All of the funds of Genesee County can be divided into three categories: governmental funds,
                                                                                                                        proprietary funds, and fiduciary funds.

                                                                                                                        Governmental Funds. Governmental funds are used to account for essentially the same functions reported as governmental activities in the
                                                                                                                        government-wide financial statements. However, unlike the government-wide financial statements, governmental fund financial statements focus on
                                                                                                                        near-term inflows and outflows of spendable resources, as well as on balances of spendable resources available at the end of the fiscal year. Such
                                                                                                                        information may be useful in evaluating a government’s near-term financing requirements.

                                                                                                                        Because the focus of governmental funds is narrower than that of the government-wide financial statements, it is useful to compare the information
                                                                                                                        presented for governmental funds with similar information presented for governmental activities in the government-wide financial statements. By
                                                                                                                        doing so, readers may better understand the long-term impact of the government’s near-term financing decisions. Both the governmental fund
                                                                                                                        balance sheet and the governmental fund statement of revenues, expenditures, and changes in fund balances provide a reconciliation to facilitate
                                                                                                                        this comparison between governmental funds and governmental activities.

                                                                                                                        Genesee County maintains individual governmental funds. Information is presented separately in the governmental fund balance sheet and in the
                                                                                                                        governmental fund statement of revenues, expenditures, and changes in fund balances for the General Fund and four special revenue funds, all of
                                                                                                                        which are considered to be major funds. Data from the other governmental funds are combined into a single, aggregated presentation. Individual
                                                                                                                        fund data for each of these non-major governmental funds is provided in the form of combining statements elsewhere in this report.



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       MANAGEMENT’S DISCUSSION AND ANALYSIS

       GENESEE COUNTY
       Genesee County adopts an annual appropriated budget for its General Fund. A budgetary comparison statement has been provided for the General
       Fund to demonstrate compliance with this budget.
                                                                                                                                                                                                             ___Governmental Activities       Business-type Activities                     Total_________
                                                                                                                                                                                                                 2013         2012              2013         2012                 2013            2012___
       The basic governmental fund financial statements can be found as Exhibit A-3 and A-4 of this report.
                                                                                                                                                                        Net position:
                                                                                                                                                                        Net investment in capital assets     $ 71,579,693 $ 69,930,626 $ 3,313,080           $ 3,815,056    $ 74,892,773 $ 73,745,682
       Proprietary Funds. Genesee County maintains two different types of proprietary funds. Enterprise funds are used to report the same functions
                                                                                                                                                                        Restricted                             19,786,947   23,334,199 11,294,215             10,816,391       31,081,162   34,150,590
       presented as business-type activities in the government-wide financial statements. Genesee County uses enterprise funds to account for its Parks
                                                                                                                                                                        Unrestricted                            6,226,971   32,695,359   7,266,391             4,521,162       13,493,362   37,216,521
       and Recreation System, Jail Commissary, Parking Meter and Delinquent Tax Revolving Fund. Internal service funds are an accounting device used
                                                                                                                                                                        Total net position                   $ 97,593,611 $125,960,184 $21,873,686           $19,152,609     $119,467,297 $145,112,793
       to accumulate and allocate costs internally among Genesee County’s various functions. Genesee County uses internal service funds to account for
       its fleet of vehicles, building and grounds maintenance, Self Insured Medicals, Property and Casualty and other Administrative Services. Because
                                                                                                                                                              An additional portion of Genesee County’s net position (26%) represents resources that are subject to external restrictions on how they may be
       all of these services predominantly benefit governmental rather than business-type functions, they have been included within governmental activities
                                                                                                                                                              used. The remaining balance of unrestricted net position ($13,493,362) may be used to meet the government’s ongoing obligations to citizens and
       in the government-wide financial statements.
                                                                                                                                                              creditors.
       Proprietary funds provide the same type of information as the government-wide financial statements, only in more detail. The proprietary fund
                                                                                                                                                              At the end of the current fiscal year, Genesee County is able to report positive balances in all three categories of net position, both for the
       financial statements provide separate information for the Parks and Recreation System, Jail Commissary, Parking Meter and Delinquent Tax
                                                                                                                                                              government as a whole, as well as for its separate governmental and business-type activities. The same situation held true for the prior fiscal year.
       Revolving Fund. Conversely, all internal service funds are combined into a single, aggregated presentation in the proprietary fund financial
       statements. Individual fund data for the internal service funds is provided in the form of combining statements elsewhere in this report.
                                                                                                                                                              The government’s total net position decreased by $25,645,496. This decrease represents Governmental activities which is attributed primarily to the
                                                                                                                                                              transfer of Mental Health operations to Genesee Health Services, a newly established Mental Health Authority.
       The basic proprietary fund financial statements can be found as Exhibit A-6, A-7, and A-8 of this report.
                                                                                                                                                              Governmental Activities. Governmental activities decreased Genesee County’s net position by $28,366,573, key elements affecting this change
       Fiduciary Funds. Fiduciary funds are used to account for resources held for the benefit of parties outside the government. Fiduciary funds are not
                                                                                                                                                              are as follows:
       reflected in the government-wide financial statement because the resources of those funds are not available to support Genesee County’s own
       programs. The accounting used for fiduciary funds is much like that used for proprietary funds.
                                                                                                                                                                                                                 Genesee County’s Change in Net position
       The basic fiduciary fund financial statements can be found as Exhibit A-9 and A-10 of this report.
                                                                                                                                                                                                             _Governmental Activities         Business-type Activities                     Total_________
       Component Units Presented. The government-wide financial statements include not only Genesee County itself (known as the primary
                                                                                                                                                                                                                  2013       2012                 2013           2012               2013          2012___
       government), but also eight legally separated component units for which Genesee County is financially accountable. Financial information for these
       component units is reported separately from the financial information presented for the primary government itself.
                                                                                                                                                              Revenues:
                                                                                                                                                              Program revenues:
       The basic component unit financial statements can be found as Exhibit A-11 and A-12 of this report.
                                                                                                                                                                 Charges for services (A)                     $43,056,628     $127,332,255 $ 13,937,979      $14,179,074      $56,994,607 $141,511,329
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                                                                                                                                                                 Operating grants and contributions (A)        81,285,904      113,688,537            -                -       81,285,904 113,688,537
       Notes to the Financial Statements. The notes provide additional information that is essential to a full understanding of the data provided in the
                                                                                                                                                                 Capital grants and contributions                       -                -            -                -                -            -
       government-wide and fund financial statements. The notes to the financial statements can be found as Exhibit A-13 of this report.
                                                                                                                                                              General revenues:
       Other Information. In addition to the basic financial statements and accompanying notes, this report also presents certain required supplementary
                                                                                                                                                                Taxes                                          72,790,031      81,473,016              -              -        72,790,031   81,473,016
       information concerning Genesee County’s progress in funding its obligation to provide pension benefits to its employees. Required supplementary
                                                                                                                                                                Use of money and investments                      504,347          988,717        71,437        117,882           575,784    1,106,599
       information can be found in Exhibit A-13 of this report.
                                                                                                                                                                Other intergovernmental revenues               16,031,090        3,915,651             -              -        16,031,090    3,915,651
                                                                                                                                                                Other unrestricted revenues                  __ 8,173,635     __ 8,398,465             -     ____ _ -           8,173,635 _ _8,398,465
       The combining statements referred to earlier in connection with non-major governmental funds and internal service funds are presented immediately
                                                                                                                                                                        Total revenues                        221,841,635     335,796,641     14,009,416     14,296,956       235,851,051 350,093,597
       following the required supplementary information on pensions. Combining and individual fund statements and schedules can be found as Exhibit C
       of this report.
                                                                                                                                                              Expenses:
                                                                                                                                                                 Legislative                                      981,519         1,023,886            -               -          981,519         1,023,886
       Government-wide Financial Analysis
                                                                                                                                                                 Management and planning                       12,901,085         5,302,148            -               -       12,901,085         5,302,148
                                                                                                                                                                 Administration of justice                     38,949,070       40,587,961             -               -       38,949,070       40,587,961
       As noted earlier, net position may serve overtime as a useful indicator of a government’s financial position. In the case of Genesee County, assets
                                                                                                                                                                 Law enforcement/commun. protec.               36,508,812       32,423,243             -               -       36,508,812       32,423,243
       exceeded liabilities by $119,467,297 at the close of the most recent fiscal year.
                                                                                                                                                                 Human services (A)                           130,931,244      242,432,706             -               -      130,931,244      242,432,706
                                                                                                                                                                 Community enrichment/develop                  16,255,901       17,005,313             -               -       16,255,901       17,005,313
       A significant portion of Genesee County’s net position (63%) reflects its investment in capital assets (e.g., land, buildings, machinery, and
                                                                                                                                                                 General support services                               -                 -            -               -                -                 -
       equipment), less any related debt used to acquire those assets that is still outstanding. Genesee County uses these capital assets to provide
                                                                                                                                                                 Other                                                  -                 -            -               -                -                 -
       services to citizens; consequently, these assets are not available for future spending. Although Genesee County’s investments in its capital assets
                                                                                                                                                                 Interest on long-term debt                     1,101,895         1,361,032            -               -        1,101,895         1,361,032
       are reported net of related debt, it should be noted that the resources needed to repay this debt must be provided from other sources, since the
                                                                                                                                                                 Commissary                                             -                 -      340,779         323,556          340,779           323,556
       capital assets themselves cannot be used to liquidate these liabilities.
                                                                                                                                                                 Delinquent Tax                                         -                 -    4,757,339       5,113,306        4,757,339         5,113,306
                                                                                                                                                                 Parks & Recreation Enterprise                          -                 -      951,103         888,622          951,103           888,622
                                                                                                                                                                 Parking Meter                                          -      _ ________-       349,854     __ 65,795            349,854       _    65,795
                                                              GENESEE COUNTY’S NET POSITION
                                                                                                                                                              Total Expenses                                  237,629,526      340,136,289     6,399,075     __6,391,279      244,028,601      346,527,568
                                                                                                                                                              Increase (decrease) in net position
                                                         Governmental Activities         Business-type Activities                 Total___    __
                                                                                                                                                                before transfers                               (14,608,480)     (4,339,648)     7,610,341      7,905,677         (6,998,139)     3,566,029
                                                          2013          2012               2013         2012              2013          2012_ __
                                                                                                                                                              Transfers                                          4,889,264    _ _5,687,129     (4,889,264)   _(5,687,129)    _
                                                                                                                                                              Special item – transfer of operations
                 Current and other assets               $76,130,833    $134,990,452 $55,608,797        $59,154,978   $131,739,630 $194,145,430
                                                                                                                                                                             to Genesee Health Systems        (17,467,946)                                                    (17,467,946) 20,349,315
                                                                                                                                                              Change in net position                          (28,366,573    1,347,481    2,721,077            2,218,548      (25,645,496)   3,566,029
                 Capital assets                          95,124,850       95,495,274     3,359,580       3,887,056     98,484,430     99,382,330
                                                                                                                                                              Beginning of year net position (as restated)    125,960,184 _124,612,703 19,152,609            _16,934,061      145,112,793 _141,546,764
                           Total assets                 171,255,683      230,485,726    58,968,377      63,042,034    230,224,060    293,527,760
                                                                                                                                                              End of year net position                       $ 97,593,611 $125,960,184 $ 21,873,686          $19,152,609     $119,467,297 $145,112,793`
                 Long-term liabilities outstanding       61,161,047      55,397,578     36,161,184      42,569,174     97,322,231     97,966,752
                                                                                                                                                                   (A) Decrease due primarily to reporting Genesee Health Services as a discretely presented component unit effective January 1, 2013.
                 Other liabilities                       12,501,025      49,127,964        933,507       1,320,251     13,434,532     50,448,215
                            Total liabilities            73,662,072     104,525,542     37,094,691      43,889,425    110,756,763    148,414,967
                                                                                                                                                                   x    Implementation of GASB 34 requirements has changed the presentation of this report and is reflected in the net asset balances.
                                                                                                                                                                   x    Reductions in tax revenue collections and program grants has forced cutbacks in many areas.



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       MANAGEMENT’S DISCUSSION AND ANALYSIS

       GENESEE COUNTY

            x    Due to careful budgeting and a transfer from the Delinquent Tax Fund, Genesee County’s General Fund has seen a $570,402 increase in
                 fund balance.
                                                                                                                                                               Overall during the year, actual General Fund revenues were more than the amended budgetary estimates and expenditures exceeded the amended
            x    Taxes decreased by $8,682,985 during the year. Most of this decrease is property taxes due to weak residential growth and a weak              budget, resulting in a small increase in fund balance that was less than the final amended budget amount.
                 housing market.
            x    Operating grants for governmental activities remain a large part of the overall budget. These grants support a variety of community           Capital Asset and Debt Administration
                 services in the county.
                                                                                                                                                               Capital assets. Genesee County’s investment in capital assets for its governmental and business type activities as of September 30, 2013,
       Business-type activities. The net position for business-type activities increased by $2,721,077. Key elements of this increase are as follows.          amounts to $98,484,430 (net of accumulated depreciation). This investment in capital assets included land, buildings and system, improvements,
                                                                                                                                                               machinery and equipment, and park facilities.
            x    The decrease in transfer of funds to Governmental activities for support of general operating expenditures and debt service requirements
                 are reflected in this increase.                                                                                                               Additional information on Genesee County’s capital assets can be found in Note D in Exhibit A-13 of this report.

       Financial Analysis of the Government’s Funds                                                                                                            Debt. At the end of the current fiscal year, Genesee County had total bonded debt outstanding of $260,287,117. Of this amount, $116,886,416
                                                                                                                                                               comprises debt backed by the full faith and credit of the government, $318,505 is special assessment debt for which the government is liable in the
       As noted earlier, Genesee County uses fund accounting to ensure and demonstrate compliance with finance-related legal requirements.                     event of default by the property owners subject to the assessment and $7,210,000 is Michigan Transportation bonds for which are payable with Act
                                                                                                                                                               51 money.
       Governmental funds. The focus of Genesee County’s governmental funds is to provide information on near-term inflows, outflows, and balances of
       available resources. Such information is useful in assessing Genesee County’s financing requirements. In particular, unassigned fund balance may        Genesee County’s total debt, including component units, decreased by $12,564,144 during the current fiscal year. The key factor in this decrease
       serve as a useful measure of a government’s net resources available for spending at the end of the fiscal year.                                         was due to normal debt retirement in the fiscal years budget. Genesee County maintains an “A+” rating from Standard & Poor’s and an “A2” rating
                                                                                                                                                               from Moody’s for general obligation debt.
       As of the end of the current fiscal year, Genesee County’s governmental funds reported combined ending fund balances of $29,977,381, an
       decrease of $15,853,798 in comparison with the prior year. Approximately 21% of this total amount, ($6,300,649) constitutes unassigned fund             State statutes limit the amount of general obligation debt a governmental entity may issue to 10 percent of its total assessed valuation. The current
       balance, which is available for spending at the government’s discretion.                                                                                debt limitation for Genesee County is $899,354,911, which is significantly in excess of Genesee County’s outstanding general obligation debt.

       The General Fund unassigned fund balance totaled $9,455,182, while total fund balance increased to $12,316,681. As a measure of the General             Additional information on Genesee County’s long-term debt can be found in Note E of Exhibit A-13 of this report.
       Fund’s liquidity, it may be useful to compare both unassigned fund balance and total fund balance to total fund expenditures. Unassigned fund
       balance represents 16% of total General Fund expenditures, while total fund balance represents 21% of that same amount.                                 Economic Factors and Next Year’s Budgets and Rates
                                                                                                                                                                   x   The unemployment rate for Genesee County is currently 8.4 percent, which is an decrease from a rate of 11.2 percent a year ago. This
       At the end of the current fiscal year, the total fund balance of county health was increased to $2,539,048. The fund balance represents 19% of total            decrease is attributed to local conditions and is reflective of state and national trends.
       county health expenditures.                                                                                                                                 x   The government expects to see reduced funding from State agencies due to a reduction in tax collections as seen in a nation-wide trend
                                                                                                                                                                       of state and local revenues.
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       The increase in the fund balances of Genesee County’s governmental funds were as the result of the following:
                                                                                                                                                                   x   Inflationary trends in the region compare favorably to national indices.
            x    General Fund - The Genesee County Board of Commissioner passed a 2012/2013 General Fund budget anticipating the use of $0 of fund
                                                                                                                                                                   x   Goals to achieve concessions in current union negotiations continue (decreases in longevity wages and changes to co-pays for health
                 balance. During 2012/2013 General Fund revenues were more than budgeted revenues by $712,096 while expenditures exceeded the
                                                                                                                                                                       care).
                 budget by $313,364.
                                                                                                                                                                   x   Continuation of the instituted hiring freeze.
            x    County Health - In the 2012/2013 fiscal year, the County Health Department anticipated expenditures of $15,432,755. The actual amount
                 of expenditures was $13,566,386. This variance, combined with other variances in revenue items resulted in the Health Department fund
                                                                                                                                                               All of these factors were considered in preparing Genesee County’s budget for the 2013 fiscal year.
                 balance increasing by $1,278,936.
            x    Community Action Resource Department – The fund balance of the Community Action Resource Department decreased during the                      Request for Information
                 2012/2013 fiscal year by a total of $544,196. This decrease was attributable to numerous changes in the funding levels from the Federal
                 and State governments throughout the fiscal year.                                                                                             The financial report is designed to provide a general overview of Genesee County’s finances for all those with an interest in the government’s
                                                                                                                                                               finances. Questions concerning any of the information provided in this report or requests for additional financial information should be addressed to
       Proprietary funds. Genesee County’s proprietary funds provide the same type of information found in the government-wide financial statements,           the Office of the Controller, County of Genesee, 1101 Beach Street, Flint, MI 48502.
       but in more detail.

       Unrestricted net position at the end of the year amounted to $7,266,391. The total increase in net position for all proprietary funds was $2,721,077.
       Other factors concerning the finances of these funds have already been addressed in the discussion of Genesee County’s business-type activities.

       General Fund Budgetary Highlights

       During the year, the County board amended the budget to take into account events during the year. General Fund’s expenditures and
       appropriations budget was increased in total by $1,292,729. The major budgetary increases/decreases are summarized as follows:

            x    A negative variance of $197,065 in various General Fund revenues occurred due to the anticipated revenue received for fines and
                 forfeitures and uses of money.

            x    A $213,240 increase was allocated to the Board of Commissioners department to cover costs of attorney fees related to discussions of
                 union contract changes and usage of delinquent tax funds.

            x    A total increase of 3,531,270 was allocated to Other expenses to cover furlough days savings being less than anticipated due to delays in
                 union contract settlements.

            x    A $261,459 increase was allocated to various departments to cover Capital Outlay which is allocated during the year on an as needed
                 basis.

            x    A $193,701 increase was appropriated to the various Internal Service departments to cover additional costs of overtime which is budgeted
                 in the General Fund and allocated on a monthly basis based on departmental need.




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                BASIC
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       FINANCIAL STATEMENTS




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       STATEMENT OF NET POSITION

       SEPTEMBER 30, 2013

       GENESEE COUNTY                                                                                                                         Exhibit A-1


                                                                       Governmental                 Business-type                                 Component
                                                                         Activities                   Activities            Total                    Units

       ASSETS
       Cash and cash equivalents………………………………                       $            5,258,652       $         1,906,853     $      7,165,505      $        70,731,664
       Investments…………………………………………………                                          15,354,194                 7,359,519           22,713,713               32,777,451
       Current and delinquent taxes receivable
            (net allowance $1,116,143)…………………………                               13,998,293                43,643,971           57,642,264
       Special assesments receivable…………………………                                                                                                         43,744,763
       Interest and accounts receivable
              (net allowance $2,994,243)………………………                              14,736,768                 4,579,064           19,315,832               12,177,670
       Due from other governmental units………………………                              14,931,026                 4,260,328           19,191,354                9,395,089
       Due from component unit……………………………….                                       520,076                   466,518              986,594                 225,000
       Due from primary government……………………………                                                                                                             26,359
       Internal balances……………………………………….                                         6,665,352              (6,665,352)
       Inventory……………………………………………………                                             1,305,644                   34,448            1,340,092                2,498,017
       Prepayments………………………………………………                                             1,148,212                   23,448            1,171,660                1,548,042
       Unamortized cost of issuance……………………………                                                                                                            679,048
       Other assets…………………………………………………                                                114,307                                       114,307             2,581,801
       Restricted assets:
           Cash……………………………………………………                                                                                                                     4,850,094
       Deposits and employee advances…………………….                                        333,309                                       333,309             1,604,423
       Net OPEB asset……………………………………………                                                                                                                    658,197
       Long term advances to component unit…………………                               1,765,000                                     1,765,000
       Local unit construction in progress………………………                                                                                                       156,500
       Investment in joint venture…………………………………                                                                                                         3,893,843
       Intangible assets - Net……………………………………                                                                                                               12,188
       Capital assets not being depreciated……………………                            11,398,753                 3,145,718           14,544,471               57,804,898
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       Capital assets (net of accumulated depreciation)……………                   83,726,097                   213,862           83,939,959              480,248,309            [THIS PAGE INTENTIONALLY LEFT BLANK]
                                                   Total assets               171,255,683                58,968,377          230,224,060              725,613,356

       LIABILITIES
       Accounts payable…………………………………………                                          4,291,505                 398,736             4,690,241               23,104,542
       Accrued payroll……………………………………………                                          3,439,970                  13,980             3,453,950                  106,485
       Other accrued liabilities and deposits……………………                              440,281                 520,786               961,067                3,183,974
       Accrued interest payable…………………………………                                       287,815                                       287,815                  277,286
       Due to other governmental units…………………………                                 3,805,586                          5          3,805,591               21,376,428
       Due to primary government………………………………                                                                                                              986,594
       Due to component unit……………………………………                                             26,359                                        26,359               225,000
       Long-term advances from primary government…………                                                                                                   1,765,000
       Unearned revenue…………………………………………                                               209,509                                       209,509            11,126,145
       Liabilities payable from restricted assets:
           Accounts payable………………………………………                                                                                                               759,195
       Noncurrent liabilities:
          Net OPEB obligation……………………………………                                    29,095,022                   314,684           29,409,706                5,676,066
          Current portion debt……………………………………                                    7,635,759                 8,928,500           16,564,259               14,587,242
          Long term debt…………………………………………                                       24,430,266                26,918,000           51,348,266              187,781,313
                                               Total liabilities               73,662,072                37,094,691          110,756,763              270,955,270

       NET POSITION
       Net investment in capital assets…………………………                              71,579,693                 3,313,080           74,892,773              378,952,538
       Restricted:
        Special Revenue:
          Community development……………………………                                     14,305,564                                     14,305,564
          Community enrichment and development…………                                356,692                                        356,692
          Drug forfeiture…………………………………………                                          43,759                                         43,759
          Emergency medical services…………………………                                    720,963                                        720,963
          Health care services…………………………………                                       571,809                                        571,809
          Planning-solid waste activities………………………                                296,065                                        296,065
          Senior services…………………………………………                                       2,904,020                                      2,904,020
          Social services………………………………………..                                        116,299                                        116,299
          Veterans millage………………………………………                                         471,776                                        471,776
        Retirement of delinquent tax notes payable…………                                                   10,345,404           10,345,404
        Parks & recreation non expendable……………………                                                           948,811              948,811
        Programs…………………………………………………                                                                                                                    10,649,495
        Debt service………………………………………………                                                                                                                  3,158,668
       Unrestricted …………………………………………………                                         6,226,971                 7,266,391           13,493,362              61,897,385
                                         Total net position        $           97,593,611       $        21,873,686     $    119,467,297      $       454,658,086

       The notes to the financial statements are an integral part of this statement     21
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         STATEMENT OF ACTIVITIES - GOVERNMENTAL, BUSINESS-TYPE,
         AND COMPONENT UNITS
         FOR THE YEAR ENDED SEPTEMBER 30, 2013

         GENESEE COUNTY                                                                                                                                           Exhibit A-2



                                                                                                                                                                                                                                                                      Net (Expense) Revenue and
                                                                                                                                          Program Revenues                                                                                                             Changes in Net Position
                                                                                                                                                                                                                                                                         Primary Government

                                                                                                                                                                Operating                                           Capital Grants
                                                                                                                               Charges for                      Grants and                                               and                           Governmental           Business-type                               Component
       Functions/Programs                                                                     Expenses                          Services                       Contributions                                        Contributions                        Activities             Activities               Total              Units

       Primary government:
         Governmental activities:
          Legislative………………………………………………………………………………                                      $          981,519                             51,762                                                                                                     $         (929,757)                          $       (929,757)
          Management and planning……………………………………………………………                                         12,901,085                          4,993,877                         1,247,126                                                                           (6,660,082)                                (6,660,082)
           Administration of justice………………………………………………………………                                     38,949,070                          4,853,624                         9,505,889                                                                          (24,589,557)                               (24,589,557)
           Law enforcement and community protection………………………………………                               36,508,812                          1,775,139                         2,470,462                                                                          (32,263,211)                               (32,263,211)
           Human services………………………………………………………………………                                            130,931,244                         26,945,416                        64,863,400                                                                          (39,122,428)                               (39,122,428)
          Community enrichment and development…………………………………………                                   16,255,901                          4,436,810                         3,199,027                                                                           (8,620,064)                                (8,620,064)
         Interest on long-term debt……………………………………………………………                                        1,101,895                                                                                                                                                (1,101,895)                                (1,101,895)
                                                    Total governmental activities               237,629,526                         43,056,628                        81,285,904                                $                        0               (113,286,994)    $                0        (113,286,994)     $               0

        Business-type Activities:
         Commissary……………………………………………………………………………                                                     340,779                           534,689                                                                                                                                       193,910               193,910
         Delinquent Tax…………………………………………………………………………                                                4,757,339                        12,727,040                                                                                                                                     7,969,701             7,969,701
         Parks and Recreation Enterprise……………………………………………………                                         951,103                           353,734                                                                                                                                      (597,369)             (597,369)
         Parking Meter…………………………………………………………………………                                                   349,854                           322,516                                                                                                                                       (27,338)              (27,338)
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                                              Total business-type activities                       6,399,075                        13,937,979                                       0                                                   0                          0              7,538,904             7,538,904                    0

       Total primary government                                                          $      244,028,601                $        56,994,607                $       81,285,904                                  $                      0               (113,286,994)             7,538,904        (105,748,090)                     0

       Component units:
          Road Commission……………………………………………………………………                                              38,229,602                          8,067,639                        28,955,789                                                                                                                                            (1,206,174)
          Water and Waste Services…………………………………………………………                                         51,455,673                         52,560,768                                                                  $           1,620,118                                                                                        2,725,213
          Economic Development Corporation………………………………………………                                         22,087                                                                                                                                                                                                                    (22,087)
          Drains…………………………………………………………………………………                                                   4,267,568                             646,792                                                                             1,650,770                                                                                       (1,970,006)
          Land Bank Authority…………………………………………………………………                                            8,778,607                           5,796,756                         4,136,740                                              26,892                                                                                        1,181,781
          Brownfield Authority…………………………………………………………………                                             577,222                             270,004                                                                                                                                                                               (307,218)
          Storm Water Management System…………………………………………………                                          407,292                                                             290,269                                                                                                                                               (117,023)
          Genesee Health System Authority…………………………………………………                                    106,718,421                          4,143,468                       97,587,625                                             2,775,000                                                                                       (2,212,328)
       Total Component Units                                                             $      172,226,870                $        63,417,788                $     102,014,634                                   $         6,072,780                                                                                       (1,927,842)

                                                                                        General Revenues:
                                                                                           Current property taxes......................................................................               .........................................           69,503,562                                 69,503,562
                                                                                           State liquor tax..................................................................................        ..........................................            3,263,945                                  3,263,945
                                                                                           State cigarette tax.............................................................................          ..........................................               22,524                                     22,524
                                                                                           Use of money and investments.........................................................                     ..........................................              504,347                 71,437             575,784              1,757,481
                                                                                           Other unrestricted intergovernmental revenues................................                             ..........................................           16,031,090                                 16,031,090              1,808,843
                                                                                           Other unrestricted revenues..............................................................                  ..........................................           8,173,635                                  8,173,635
                                                                                           Unrestricted contributions.................................................................                .........................................                                                                              4,797,438
                                                                                        Transfers................................................................................................    ..........................................            4,889,264              (4,889,264)
                                                                                           Total general revenues and transfers…………………………………                                                        …………………………………                                        102,388,367              (4,817,827)        97,570,540              8,363,762
                                                                                           Special item - transfer of operations to Genesee Health Services…                                        ………………………………                                         (17,467,946)                               (17,467,946)            20,349,315
                                                                                           Change in net position……………………………………………………                                                                ………………………………                                        (28,366,573)              2,721,077        (25,645,496)             6,435,920
                                                                                        Net position - beginning………………………………………………………                                                                 ………………………………                                       125,960,184              19,152,609        145,112,793            427,872,851
                                                                                        Net position - ending…………………………………………………………                                                                 ………………………………                                   $      97,593,611      $       21,873,686    $   119,467,297       $    454,658,086




        The notes to the financial statements are an integral part of this statement.

                                                                                  22                                                                                                                                                                                                                23
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       BALANCE SHEET - ASSETS
       GOVERNMENTAL FUNDS


       GENESEE COUNTY                                                                                                                        Exhibit A-3-1




                                                                                                                                                                     September 30, 2013


                                                                                                                                                                                          Community
                                                                                                                                                   Mental                                   Action                                   Other                 Total
                                                                                                                                                   Health              County              Resource           Community           Governmental       Governmental
                                                                                                                               General            12/31/12             Health             Department         Development             Funds                Funds

       Cash and cash equivalents - Note C................................................................                  $                  $                  $                    $                  $         347,110    $          4,199,477   $     4,546,587
       Current and delinquent taxes receivable……………………………………………                                                                 13,998,293                                                                                                                13,998,293
       Investments - Note C....................................................................................…                                                                                                                         6,252,595         6,252,595
       Interest and accounts receivable......................................................................                      585,722                                 230,823                               13,674,560                167,401        14,658,506
       Due from other governmental units..................................................................                       2,195,233                                 141,407           3,362,789              418,437              8,544,324        14,662,190
       Due from other county funds -- Note L.............................................................                       15,473,922                               3,294,333             134,334                                   7,291,712        26,194,301
       Due from component unit -- Note L..................................................................                         500,000                                  19,040                                     311                     725           520,076
       Inventory.............................................................................................…………                                                                              485,062             638,400                 137,018         1,260,480
       Prepayments.....................................................................................................             20,690                                 22,020                                                            4,173            46,883
       Other assets.....................................................................................................                                                                       109,080                                       5,227           114,307
       Deposits and employee advances…………………………………………………                                                                          333,309                                                                                                                    333,309
       Long term advance to component unit……………………………………………                                                                                                                                                                              1,765,000         1,765,000
       Long-term advances.........................................................................................               1,840,809                                                                                                                 1,840,809

                                                                                            TOTAL ASSETS                   $    34,947,978    $              0   $       3,707,623    $      4,091,265   $      15,078,818    $         28,367,652   $    86,193,336
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       The notes to the financial statements are an integral part of this statement.


                                                                                                            24                                                                                                                     25
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       BALANCE SHEET - LIABILITIES AND FUND EQUITIES
       GOVERNMENTAL FUNDS


       GENESEE COUNTY                                                                                                              Exhibit A-3-2




                                                                                                                                                          September 30, 2013


                                                                                                                                                                                   Community
                                                                                                                                        Mental                                       Action                                   Other                 Total
                                                                                                                                        Health               County                 Resource            Community          Governmental       Governmental
                                                                                                                     General           12/31/12              Health                Department          Development            Funds                Funds

       Accounts payable................................................................................………… $            588,249   $                  $          153,228       $        863,019    $        255,556    $          1,876,403   $     3,736,455
       Accrued payroll..........................................................................................……       966,327                                 424,675                111,270                                     555,007         2,057,279
       Other accrued liabilities and deposits....................................................………                       5,245                                                                                                    256,261           261,506
       Due to other governmental units............................................................………                          0                                 211,665                                     358,714              2,470,429         3,040,808
       Due to other county funds -- Note L......................................................…………                  16,222,684                                 297,525              3,412,680              132,625              5,271,713        25,337,227
       Due to component unit -- Note L......................................................……………                                                                                                             26,359                                   26,359
       Deferred revenue.............................................................................……………              4,848,792                                  81,482                147,962           13,667,164              3,010,921        21,756,321

                                                                               TOTAL LIABILITIES                      22,631,297                  0            1,168,575              4,534,931           14,440,418          13,440,734           56,215,955
       Fund equities:
        Fund balances - Notes F, G and S:
          Nonspendable……………………………………………………………………                                                                       1,861,499                                  22,020                485,062             638,400            1,906,041            4,913,022
          Restricted…………………………………………………………………………                                                                                                                                                                               5,481,383            5,481,383
          Committed…………………………………………………………………………                                                                                                                                                                                   74,994               74,994
          Assigned…………………………………………………………………………                                                                         1,000,000                               2,517,028                                                       9,690,305           13,207,333
B-35




          Unassigned………………………………………………………………………                                                                        9,455,182                                                       (928,728)                              (2,225,805)           6,300,649
                                          TOTAL FUND EQUITIES                                                         12,316,681                  0            2,539,048               (443,666)            638,400           14,926,918           29,977,381


                                                 TOTAL LIABILITIES AND FUND EQUITIES                            $     34,947,978   $              0   $        3,707,623       $      4,091,265    $      15,078,818   $      28,367,652      $    86,193,336




       The notes to the financial statements are an integral part of this statement.




                                                                                                   26                                                                                                                        27
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       RECONCILIATION OF THE BALANCE SHEET OF GOVERNMENTAL FUNDS
       TO THE STATEMENT OF NET POSITON


       GENESEE COUNTY                                                                                             Exhibit A-3-3




                                                                                                                 September 30, 2013


       Fund balances of governmental funds                                                                         $     29,977,381

       Amounts reported for governmental activities in the statement of net position are different because:

            Capital assets used in governmental activities are not financial resources and, therefore are
            not reported in the funds                                                                                    95,124,850
                                                                                                                                             This Page was Intentionally Left Blank
            Other long-term assets are not available to pay for current-period expenditures and, therefore,
            are deferred in the funds:

              Property taxes                                                                                              4,763,452
              Grant receivable                                                                                           15,018,360
              Rental income from component units                                                                          1,765,000

            Net position held in internal service funds are classified as held for governmental activities but
            are not reported in the funds. This amount is the net position exclusive of capital assets and
            long-term debt which are reported elsewhere in this reconciliation                                            8,815,004

            Net OPEB asset                                                                                                        0
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            Net OPEB liability                                                                                          (29,095,022)

            Long-term liabilities, including long-term notes, bonds payable and accrued interest payable
            are not due in the current period, and therefore, are not reported in the funds                             (28,775,414)

       Net position of governmental activities                                                                    $      97,593,611




            The notes to the financial statements are an integral part of this statement.

                                                                          28                                                                                      29
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       STATEMENT OF REVENUES, EXPENDITURES AND
       CHANGES IN FUND BALANCES
       GOVERNMENTAL FUNDS

       GENESEE COUNTY                                                                                                                                 Exhibit A-4

                                                                                                                                                                        Fiscal Year Ended September 30, 2013
                                                                                                                                                                                               Community
                                                                                                                                                         Mental                                  Action                                      Other                  Total
                                                                                                                                                         Health              County             Resource             Community            Governmental        Governmental
                                                                                                                                   General              12/31/12              Health           Department           Development              Funds                 Funds

       Revenues:
        Taxes--Note H.................................................................................................         $    45,261,951    $                     $                    $                  $                     $         24,439,051    $    69,701,002
        Licenses and permits......................................................................................                     909,814                                 1,031,767                                                             6,740          1,948,321
        Fines and forfeitures.......................................................................................                 1,564,789                                                                                                     104,845          1,669,634
        Use of money and property............................................................................                           58,600                                                                                                     445,747            504,347
        Federal grants--Note G...................................................................................                      223,108            1,231,478            5,262,724          22,841,798            3,366,735               25,517,422         58,443,265
        State grants--Note G.......................................................................................                                       4,477,801            2,770,726           1,403,379                                    10,890,711         19,542,617
        Other intergovernmental revenues.................................................................                           14,276,577                                   527,339                                                         5,391,666         20,195,582
        Charges for services.......................................................................................                 10,721,032           27,841,645              355,765                                                         7,096,472         46,014,914
        Other...............................................................................................................           813,083              785,018            1,817,978           4,039,962              109,446                1,143,816          8,709,303
                                                                                           TOTAL REVENUES                           73,828,954           34,335,942           11,766,299          28,285,139            3,476,181               75,036,470        226,728,985
       Expenditures:
        Current operations:
         Legislative.....................................................................................................              922,513                                                                                                                        922,513
         Management and planning...........................................................................                          7,693,035                                                                                                                      7,693,035
         Administration of justice................................................................................                  22,747,986                                                                                                  12,428,509         35,176,495
         Law enforcement and community protection................................................                                   21,577,256                                                                                                  11,871,620         33,448,876
         Human services............................................................................................                  1,234,017           35,247,757           13,566,386          28,857,356                                    40,103,507        119,009,023
         Community enrichment and development....................................................                                                                                                                       4,362,381               14,687,753         19,050,134
         General support services..............................................................................                                                                                                                                                             0
         Other.............................................................................................................          2,696,188                                                                                                     638,458          3,334,646
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        Capital outlay..................................................................................................               235,905               81,028                                  250,810                                     2,981,819          3,549,562
        Contribution to Component Units-Mental Health Services.............................                                          2,775,000                                                                                                                      2,775,000
        Debt service:
         Principal payments.......................................................................................                                                                                                                             2,365,000            2,365,000
         Interest..........................................................................................................                                                                                                                    1,249,358            1,249,358
                                                                                   TOTAL EXPENDITURES                               59,881,900           35,328,785           13,566,386          29,108,166            4,362,381             86,326,024          228,573,642
                                               REVENUES OVER (UNDER) EXPENDITURES                                                   13,947,054             (992,843)          (1,800,087)           (823,027)            (886,200)           (11,289,554)          (1,844,657)


       Other financing sources (uses):
         Transfers-In...................................................................................................             6,723,572              925,000            3,079,023             640,742                                    17,591,779         28,960,116
         Transfers-Out................................................................................................             (20,100,224)                                                     (361,911)                                   (5,039,176)       (25,501,311)
                                         TOTAL OTHER FINANCING SOURCES (USES)                                                      (13,376,652)             925,000            3,079,023             278,831                      0             12,552,603          3,458,805

       Special item - transfer of operations to Genesee Health Services………………                                                                            (17,467,946)                                                                                             (17,467,946)

                                               NET CHANGE IN FUND BALANCES                                                             570,402           (17,535,789)          1,278,936            (544,196)            (886,200)               1,263,049        (15,853,798)
       Fund balance at beginning of year...................................................................                         11,746,279            17,535,789           1,260,112             100,530            1,524,600               13,663,869         45,831,179
                                                FUND BALANCE AT END OF YEAR                                                    $    12,316,681    $                0    $      2,539,048     $      (443,666)   $         638,400     $         14,926,918    $    29,977,381




       The notes to the financial statements are an integral part of this statement.



                                                                                                                  30                                                                                                                       31
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       RECONCILIATION OF THE STATEMENT OF REVENUES, EXPENDITURES,
       AND CHANGES IN FUND BALANCES OF GOVERNMENTAL FUNDS
       TO THE STATEMENT OF ACTIVITIES

       GENESEE COUNTY                                                                                                   Exhibit A-5




                                                                                                     Fiscal Year Ended September 30, 2013


       Net change in fund balances--total governmental funds                                                             $   (15,853,798)

       Amounts reported for governmental activities in the statement of activities are different because:

            Governmental funds report capital outlay as expenditures, however, in the statement of
            activities the cost of assets is allocated over their useful lives and reported as depreciation
            expense. Details of the difference are:                                                                                               This Page was Intentionally Left Blank
               -Capital outlay                                                                                                  3,706,103

               -Loss on Disposals                                                                                               (198,029)

               -Depreciation expense                                                                                          (4,138,670)

            Decrease in net OPEB asset                                                                                        (1,604,133)

            Increase in net OPEB liability                                                                                    (9,100,225)

            Revenues in the statement of activities that do not provide current financial resources are not
                                                                                                                              (3,672,558)
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            reported as revenues in the funds


            Change in accrued interest                                                                                           153,399



            The payment of principal on long-term debt consumes current financial resources of the
            governmental funds. However, on the statement of net position, repayment of principal is
            recorded as a reduction to long-term debt payable and does not have any effect on net position
                                                                                                                                2,339,500

            The activities of the internal service funds are considered part of governmental activities on the
            statement of changes in net position but are not reported in the funds                                                 1,838


       Change in net position of governmental activities                                                                $    (28,366,573)




       The notes to the financial statements are an integral part of this statement.


                                                                          32                                                                                            33
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       BALANCE SHEET--PROPRIETARY FUNDS



       GENESEE COUNTY                                                                                                                         Exhibit A-6




                                                                                                                                                                                    September 30, 2013           Governmental
                                                                                                                                   Business Type Activities -   Enterprise Funds                                  Activities-
                                                                                                                                                                    Non-Major                                      Internal
                                                                                                                                       Delinquent                   Enterprise                                     Service
                                                                                                                                         Taxes                        Funds                       Total             Funds

       ASSETS
       CURRENT ASSETS
        Cash and cash equivalents.............................................................................                 $                509,189         $       1,397,664        $       1,906,853   $        712,065
        Investments....................................................................................................                       6,410,708                   948,811                7,359,519          9,101,599
        Current and delinquent property taxes receivable,
          less allowance for uncollectibles of $1,050,316 ..........................................                                        43,643,971                                          43,643,971
        Interest and accounts receivable, less allowance $2,338,560.......................                                                   4,579,064                                           4,579,064             78,262
        Due from other governmental units................................................................                                    4,186,972                     73,356                4,260,328            268,836
        Due from other county funds..........................................................................                                1,215,270                                           1,215,270          7,073,878
        Due from component unit...............................................................................                                 466,518                                             466,518
        Supplies inventory..........................................................................................                                                       34,448                   34,448             45,164
        Prepayments...................................................................................................                                                     23,448                   23,448          1,101,329
                                                                         TOTAL CURRENT ASSETS                                               61,011,692                  2,477,727               63,489,419         18,381,133

       CAPITAL ASSETS
        Construction in progress……………………………………………………………                                                                                                                                                                40,938
        Land................................................................................................................                  2,439,608                   706,110                3,145,718            193,496
        Land improvements........................................................................................                                                       3,086,571                3,086,571
        Buildings and improvements...........................................................................                                                           1,181,214                1,181,214          2,481,824
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        Equipment.......................................................................................................                       507,486                  3,920,856                4,428,342         10,293,291
                                                                                TOTAL CAPITAL ASSETS                                         2,947,094                  8,894,751               11,841,845         13,009,549
        Less allowances for depreciation....................................................................                                   444,960                  8,037,305                8,482,265         10,225,664
                                                                       TOTAL CAPITAL ASSETS, NET                                             2,502,134                    857,446                3,359,580          2,783,885
                                                                                                TOTAL ASSETS                   $            63,513,826          $       3,335,173        $      66,848,999   $     21,165,018


       LIABILITIES
       CURRENT LIABILITIES
         Accounts payable...........................................................................................           $               346,562          $          52,174        $         398,736   $        555,050
         Accrued payroll...............................................................................................                                                    13,980                   13,980          1,382,691
         Other accrued liabilities and deposits.............................................................                                    464,663                    56,123                  520,786            178,775
         Due to other governmental units.....................................................................                                         5                         0                        5            764,778
         Due to other County funds..............................................................................                              7,862,897                    17,725                7,880,622          1,265,600
         Compensated absences…………………………………………………………..                                                                                                                                                               3,578,426
         Current portion of notes/bonds payable.........................................................                                     8,900,000                     28,500                8,928,500          1,567,058
                                                                   TOTAL CURRENT LIABILITIES                                                17,574,127                    168,502               17,742,629          9,292,378
       LONG-TERM DEBT
         Net OPEB obligation………………………………………………………………                                                                                           100,934                    213,750                  314,684
         General and workers' compensation claim/Liability........................................                                                                                                                  2,561,998
         Long-term advance…………………………………………………………………                                                                                                                                                                 1,840,809
         Notes/bonds payable exclusive of current portion..........................................                                         26,900,000                     18,000               26,918,000            650,483
                                                                          TOTAL LONG-TERM DEBT                                              27,000,934                    231,750               27,232,684          5,053,290
                                                                                      TOTAL LIABILITIES                                     44,575,061                    400,252               44,975,313         14,345,668

       NET POSITION:
         Restricted for:
          Retirement of delinquent tax notes payable...............................................                                         10,345,404                                          10,345,404
          Parks & recreation non-expendable……………………………………………                                                                                                              948,811                  948,811
          Capital improvement……………………………………………………………                                                                                                                                                                   89,786
         Net investment in capital assets…………………………………………………                                                                                 2,502,134                    810,946                3,313,080          2,768,013
         Unrestricted..................................................................................................                      6,091,227                  1,175,164                7,266,391          3,961,551
                                                                                       TOTAL Net Position                      $            18,938,765          $       2,934,921        $      21,873,686   $      6,819,350


       The notes to the financial statements are an integral part of this statement.




                                                                                                                       34                                                                                                       35
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       STATEMENT OF REVENUES, EXPENSES AND CHANGES IN
       FUND NET POSITION--PROPRIETARY FUNDS


       GENESEE COUNTY                                                                                                                Exhibit A-7




                                                                                                                                            Fiscal   Year Ended September 30, 2013                        Governmental
                                                                                                                                        Business     Type Activities - Enterprise Funds                    Activities-
                                                                                                                                                         Non-Major                                          Internal
                                                                                                                                Delinquent               Enterprise                                         Service
                                                                                                                                  Taxes                    Funds                      Total                  Funds

       Operating revenues:
          Charges for sales and services………………………………………………… $                                                                       12,727,040       $                       $         12,727,040     $        25,099,514
          Ticket, permit & concession sales.............................................................                                                       1,210,939                1,210,939
                                                 TOTAL OPERATING REVENUES                                                           12,727,040                 1,210,939               13,937,979              25,099,514

       Operating expenses:
         Salaries and fringe benefits..........................................................................                        437,897                   612,655                1,050,552               5,182,498
         Supplies and other operating expenses.......................................................                                3,955,036                   922,706                4,877,742              20,340,732
         Depreciation..................................................................................................                101,497                   102,775                  204,272               1,085,240
                                                                TOTAL OPERATING EXPENSES                                             4,494,430                 1,638,136                6,132,566              26,608,470
                                                                    OPERATING INCOME (LOSS)                                          8,232,610                  (427,197)               7,805,413              (1,508,956)

       Non-operating revenues (expenses):
         Investment earnings.....................................................................................                        4,050                    67,387                    71,437               199,343
         Interest expense...........................................................................................                  (262,909)                   (3,600)                 (266,509)               (1,099)
         Gain (loss) on sale of property and equipment.............................................                                                                                                              552,091
         Contribution to Component Units-Land Bank Authority & Brownfield...........                                                  (670,000)                                          (670,000)
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                             TOTAL NON-OPERATING REVENUES (EXPENSES)                                                                  (928,859)                   63,787                 (865,072)                750,335
                                                 INCOME (LOSS) BEFORE TRANSFERS                                                      7,303,751                  (363,410)               6,940,341                (758,621)

          Transfers-in...................................................................................................                                        545,000                   545,000               760,459
          Transfers-out.................................................................................................            (4,735,164)                  (29,100)               (4,764,264)
                                                                                      TOTAL TRANSFERS                               (4,735,164)                  515,900                (4,219,264)              760,459
                                                                         CHANGE IN NET POSITION                                      2,568,587                   152,490                 2,721,077                 1,838

       Net position at beginning of year......................................................................                      16,370,178                 2,782,431               19,152,609               6,817,512
                                                    NET POSITION AT END OF YEAR                                             $       18,938,765       $         2,934,921     $         21,873,686     $         6,819,350




       The notes to the financial statements are an integral part of this statement.




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       STATEMENT OF CASH FLOWS-
       PROPRIETARY FUNDS


       GENESEE COUNTY                                                                                                                                  Exhibit A-8


                                                                                                                                                                              Fiscal Year Ended September 30, 2013           Governmental
                                                                                                                                                           Business Type      Activities - Enterprise Funds                   Activities-
                                                                                                                                                                                      Non-Major                                Internal
                                                                                                                                                             Delinquent               Enterprise                               Service
                                                                                                                                                               Taxes                    Funds               Total               Funds

       CASH FLOWS FROM OPERATING ACTIVITIES:
        Cash received from customers....................................................................................................               $        39,151,903       $      1,211,388    $     40,363,291    $      24,974,703
        Cash payment for delinquent taxes……………………………………………………………………                                                                                            (24,818,278)                               (24,818,278)
        Cash payments to suppliers for goods and services...................................................................                                    (4,709,998)              (902,189)         (5,612,187)          (21,088,027)
        Cash payments to employees for services..................................................................................                                                        (530,590)           (530,590)           (4,701,583)
        Other operating revenues............................................................................................................                    1,108,676                                   1,108,676
                                    NET CASH PROVIDED (USED) FOR OPERATING ACTIVITIES                                                                          10,732,303                (221,391)         10,510,912             (814,907)

       CASH FLOWS FROM NONCAPITAL FINANCING ACTIVITIES:
        Borrowing under delinquent tax notes payable............................................................................                                39,900,000                                 39,900,000
        Repayments under delinquent tax notes payable........................................................................                                  (46,400,000)                               (46,400,000)
        Interest paid on delinquent tax notes payable.............................................................................                                (273,278)                                  (273,278)
        Advances (repayments) to other governmental units, County units and funds……………………                                                                        2,670,798                                  2,670,798            1,544,909
        Transfer to component unit………………………………………………………………………………                                                                                                  (670,000)                                  (670,000)
        Transfers-in from other funds.......................................................................................................                                             545,000              545,000              760,459
        Transfers-out to other funds.........................................................................................................                   (4,735,164)              (29,100)          (4,764,264)
                                 NET CASH PROVIDED BY NONCAPITAL FINANCING ACTIVITIES                                                                           (9,507,644)              515,900           (8,991,744)           2,305,368

       CASH FLOWS FROM CAPITAL AND RELATED FINANCING ACTIVITIES:
         Acquisition and construction of capital assets.............................................................................                              344,220                                     344,220            (1,169,857)
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         Principal paid on long-term debt..................................................................................................                                               (25,500)            (25,500)             (501,929)
         Interest paid on long-term debt....................................................................................................                                                                                         (1,099)
         Proceeds from sale of long-term debt..........................................................................................                                                                                              46,935
        NET CASH PROVIDED BY (USED FOR) CAPITAL AND RELATED FINANCING ACTIVITIES                                                                                  344,220                 (25,500)            318,720            (1,625,950)

       CASH FLOWS FROM INVESTING ACTIVITIES:
        Purchase of investment securities...............................................................................................                       (59,401,349)                               (59,401,349)           (5,536,260)
        Proceeds from sale and maturities of investment securities........................................................                                      56,500,000                                 56,500,000             5,784,484
        Interest and dividends on investments earnings (loss)................................................................                                        4,050                 (4,761)               (711)              199,681
                                  NET CASH PROVIDED BY (USED FOR) INVESTING ACTIVITIES                                                                          (2,897,299)                (4,761)         (2,902,060)              447,905
                                              NET DECREASE IN CASH AND CASH EQUIVALENTS                                                                         (1,328,420)               264,248          (1,064,172)              312,416
       Cash and cash equivalents at beginning of year............................................................................                                1,837,609              1,133,416           2,971,025               399,649
                                                CASH AND CASH EQUIVALENTS AT END OF YEAR                                                               $           509,189       $      1,397,664    $      1,906,853    $          712,065

       RECONCILIATION OF OPERATING INCOME (LOSS) TO NET CASH PROVIDED
        BY (USED FOR) OPERATING ACTIVITIES:
        Operating income (loss)...............................................................................................................         $        8,232,610        $       (427,196)   $      7,805,414    $       (1,508,958)
        Adjustments to reconcile operating income (loss) to net cash provided by
        (used for) operating activities:
          Depreciation..............................................................................................................................              101,497                102,775              204,272            1,085,239
          Provision for uncollectible accounts..........................................................................................                          (63,456)                                    (63,456)
          Change in assets and liabilities:
           (Increase) decrease in current and delinquent property taxes receivable..............................                                                2,700,320                                   2,700,320             (180,234)
           (Increase) decrease in interest and accounts receivable........................................................                                         78,397                                      78,397              327,931
           (Increase) decrease in supplies inventory..............................................................................                                                         (1,649)             (1,649)              (7,449)
           Increase in net OPEB liability………………………………………………………………………                                                                                               34,745                  82,765             117,510
           (Increase) decrease in prepayment and other current assets................................................                                                                                                               16,533
           Increase (decrease) in accounts payable and related items...................................................                                          (351,810)                (31,616)           (383,426)            (249,978)
           Increase (decrease) in accrued payroll...................................................................................                                                      (22,335)            (22,335)             480,379
           Increase (decrease) in other accrued liabilities and deposits.................................................                                                                  75,865              75,865             (778,370)
        Net cash provided by (used for) operating activities....................................................................                       $       10,732,303        $       (221,391)   $     10,510,912    $        (814,907)

         Noncash investing activities - increase in fair value of investments…………………………………                                                                                              72,148                 72,148

       The notes to the financial statements are an integral part of this statement.



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       GENESEE COUNTY EMPLOYEES' FIDUCIARY FUNDS                                                                                                                                     GENESEE COUNTY
       STATEMENT OF FIDUCIARY NET POSITION                                                                                                                                           STATEMENT OF CHANGES IN FIDUCIARY NET POSITION
       FIDUCIARY FUNDS

       GENESEE COUNTY                                                                                                                                                Exhibit A-9     GENESEE COUNTY                                                                                                                                          Exhibit A-10



                                                                                                                                                                                                                                                                                                                                                Fiscal
                                                                                                                                                       September 30, 2013                                                                                                                                                                    Year Ended
                                                                                                                                         Total Pension and                                                                                                                                                                                September 30, 2013
                                                                                                                                         Employee Fringe                                                                                                                                                                                    Total Pension
                                                                                                                                          Benefit (VEBA)                                                                                                                                                                                    and Employee
                                                                                                                                            Trust Fund              Agency Funds                                                                                                                                                                Benefit
       ASSETS                                                                                                                                                                                                                                                                                                                                 Trust Fund
        Cash and short-term cash investments...........................................................................                  $    31,225,499         $      22,028,939   ADDITIONS
        Cash and investments held as collateral for securities lending.......................................                                  3,211,330                              Contributions:
                                                                 TOTAL CASH AND CASH EQUIVALENTS                                              34,436,829                22,028,939      Employer...................................................................................................................................   $            23,922,670
        Receivables:                                                                                                                                                                    Plan members...........................................................................................................................                     3,463,274
          Prepaid expenses……………………………………………………………………………                                                                                          176,214                                  Total contributions                                                                                                                                      27,385,944
          Other receivables.........................................................................................................             565,862                    3,655      Investment earnings:
          Accrued interest and dividends....................................................................................                   2,392,777                               Net increase
                                                                                                TOTAL RECEIVABLES                              3,134,853                    3,655         in fair value of investments...................................................................................................                          44,560,920
         Investments at fair value:                                                                                                                                                    Interest……………………………………………………………………………………………………                                                                                                               5,273,920
            U.S. government securities......................................................................................                  72,917,991                               Dividends…………………………………………………………………………………………………                                                                                                               3,145,251
            Foreign govts. and agencies....................................................................................                   99,630,175                                 Total investment earnings……………………………………………………………………………                                                                                                    52,980,091
            Corporate bonds......................................................................................................             48,582,942                               Less investment expense………………………………………………………………………………                                                                                                        2,254,321
            Common stocks.......................................................................................................              73,783,276                                    Net investment earnings…………………………………………………………………………                                                                                                    50,725,770
            Preferred stocks.......................................................................................................              112,496                                    Total additions……………………………………………………………………………………                                                                                                        78,111,714
            Money market………………………………………………………………………………                                                                                           570,065
            Mutual funds.............................................................................................................         97,357,238                                 Securities lending income:
            Real estate...............................................................................................................        23,839,634                                     Interest and fees……………………………………………………………………………………                                                                                                         27,341
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            Hedge fund of funds.................................................................................................              40,017,051                                     Borrower rebates and bank fees…………………………………………………………………                                                                                                   27,159
                                                                                               TOTAL INVESTMENTS                             456,810,868                                     Net securities lending income……………………………………………………………………                                                                                                   54,500
                                                                                                          TOTAL ASSETS                       494,382,550                22,032,594           Total additions ……………………………………………………………………………………                                                                                                      78,166,214

       LIABILITIES                                                                                                                                                                   DEDUCTIONS
         Accounts payable………………………………………………………………………………                                                                                       28,759,578                22,032,594    Benefits...........................................................................................................................…………                      53,979,220
         IBNR liability………………………………………………………………………………………                                                                                         501,818                              Refunds of contributions…………………………………………………………………………………                                                                                                         270,198
         Amounts due broker under securities lending agreement...............................................                                  3,231,440                              Administrative expenses…………………………………………………………………………………                                                                                                          314,672
                                                                           TOTAL LIABILITIES                                                  32,492,836                22,032,594    Transfer to other pensions plans………………………………………………………………………                                                                                                   3,090,929
                                                                                                                                                                                               Total deductions…………………………………………………………………………………                                                                                                     57,655,019
       NET POSITION                                                                                                                                                                               Change in net position………………………………………………………………………                                                                                                20,511,195
       Held in trust for pension benefits                                                                                                                                            Net position - Held in trust for pension benefits and other purposes - beginning of the year………                                                              441,378,519
        and other purposes………………………………………………………………………………                                                                                 $   461,889,714         $                   Net position - Held in trust for pension benefits and other purposes - end of the year……………… $                                                               461,889,714




       The notes to the financial statements are an integral part of this statement.                                                                                                 The notes to the financial statements are an integral part of this statement.


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       STATEMENT OF NET POSITION
       COMPONENT UNITS


       GENESEE COUNTY                                                                                                                                       Exhibit A-11




                                                                                                                                              Water and             Economic                                                                      Storm Water       Genesee Health
                                                                                                                              Road              Waste              Development                           Land Bank           Brownfield           Management           System
                                                                                                                           Commission          Services            Corporation        Drains              Authority           Authority             System            Authority
                                                                                                                             9/30/13          12/31/12               09/30/13         9/30/13              9/30/13            09/30/13              09/30/13           09/30/13            Total

       ASSETS
        Cash and cash equivalents........................................................................              $      8,490,782   $    13,936,397      $        648,407   $     4,238,997    $       1,656,186   $          18,155    $           473,477   $    41,269,263   $    70,731,664
        Investments………………………………………………………………………                                                                               15,190,537                                                   201,629                                  970,000                100,000        16,315,285        32,777,451
        Special Assessments and Lease Receivable.............................................                                 4,667,139        28,699,265                               4,846,447            5,531,912                                                                     43,744,763
        Interest and accounts receivable................................................................                         81,465         8,812,458               107,233                                697,274                                                    2,479,240        12,177,670
        Due from other governmental units............................................................                         6,781,036           300,325                                                      418,866                                       929          1,893,933         9,395,089
        Current portion of land contract…………………………………………………                                                                                                                                                                        225,000                                                    225,000
        Due from primary government....................................................................                                                                                                         26,359                                                                         26,359
        Advances to other funds…………………………………………………………                                                                                                                                                        1,604,423                                                                      1,604,423
        Inventory.....................................................................................................        1,284,832           75,625                                  60,812             1,076,748                                                                      2,498,017
        Prepayments..............................................................................................               322,098          493,266                                                           740                                                     731,938          1,548,042
        Unamortized cost of issuance…………………………………………………                                                                                          679,048                                                                                                                                      679,048
        Other assets...............................................................................................                               93,000                                                       13,801            2,475,000                                                  2,581,801
        Restricted Assets:
        Cash and cash equivalents........................................................................                     4,546,470          243,008                                                       60,616                                                                       4,850,094
        Local unit construction in progress……………………………………………                                                                                     156,500                                                                                                                                      156,500
        Net OPEB asset…………………………………………………………………                                                                                  56,123                                                                                                                                    602,074            658,197
        Investment in joint venture………………………………………………………                                                                                                                                                     3,893,843                                                                      3,893,843
        Intangible assets - Net…………………………………………………………                                                                                                                                                           12,188                                                                         12,188
        Capital assets not being depreciated…………………………………………                                                                    959,211        55,779,523                                                       84,308                                                      981,856        57,804,898
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        Capital assets net of depreciation………………………………………………                                                                180,023,271       267,120,100                             22,778,909             7,347,345                                                    2,978,684       480,248,309
                                                                                          TOTAL ASSETS                      222,402,964       376,388,515               755,640       32,126,794            22,424,609           3,688,155                574,406        67,252,273       725,613,356



       LIABILITIES
         Accounts payable.......................................................................................              1,673,037         5,032,859                 1,798           83,544              351,826                                      66,881        15,894,597        23,104,542
         Accrued payroll...........................................................................................                                                                       11,125               95,360                                                                         106,485
         Other accrued liabilities and deposits.........................................................                        680,744                                                  582,970               46,785                                                      642,190          1,952,689
         Accrued interest payable............................................................................                                                                             29,453                                   247,833                                                    277,286
         Due to other governmental units................................................................                                         391,298                                                                                                                 20,985,130        21,376,428
         Due to Primary Government……………………………………………………                                                                                                                                   500,000              467,554                                                        19,040           986,594
         Funds held in escrow……………………………………………………………                                                                                                                                                                               225,000                                                    225,000
         Advances from other funds……………………………………………………                                                                                                                                                       1,231,285                                                                      1,231,285
         Unamortized note premium……………………………………………………                                                                                                                                                                              389,289                                                    389,289
         Unearned revenue......................................................................................               2,244,190          156,500                                                       61,660                                                     8,663,795        11,126,145
         Payable from restricted assets:
          Accounts payable....................................................................................                  509,507          243,008                                    6,680                                                                                             759,195
         Long-term advance from primary government...........................................                                                                                                                1,765,000                                                                      1,765,000
         Net OPEB obligation……………………………………………………………                                                                                             5,676,066                                                                                                                                   5,676,066
         Current portion debt………………………………………………………………                                                                         2,180,798        10,845,000                                                      443,296             255,000                                  863,148        14,587,242
         Long-term debt...........................................................................................           10,412,741       159,837,896                               3,165,437            1,498,267          12,110,000                                  367,683       187,392,024
                                                                                 TOTAL LIABILITIES                           17,701,017       182,182,627                 1,798         4,379,209            5,961,033          13,227,122                 66,881        47,435,583       270,955,270

       NET POSITION
         Net investment in capital assets………………………………………………                                                                 169,457,482       181,595,040                             19,613,472             4,326,004                                                   3,960,540        378,952,538
         Restricted for:
           Programs……………………………………………………………………                                                                                                                           736,680           60,812               229,750                                 507,525           9,114,728         10,649,495
           Debt service.........................................................................................                                3,098,052                                                       60,616                                                                      3,158,668
         Unrestricted (deficit).................................................................................             35,244,465         9,512,796                17,162        8,073,301           11,847,206           (9,538,967)                              6,741,422         61,897,385
                                                        TOTAL NET POSITION (DEFICIT)                                  $     204,701,947   $   194,205,888      $        753,842   $   27,747,585     $      16,463,576   $      (9,538,967)   $        507,525      $   19,816,690    $   454,658,086



       The notes to the financial statements are an integral part of this statement.




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       STATEMENT OF ACTIVITIES
       COMPONENT UNITS


       GENESEE COUNTY                                                                                                                                                             Exhibit A-12



                                                                                                                                                                                                                   Net (Expense) Revenue and
                                                                                                              Program Revenues                                                                                       Changes in Net Position
                                                                                                                                                                                                                           Component Units
                                                                                                                                                                                                                 Water and         Economic                                                                                          Storm Water         Genesee Health
                                                                                                                    Operating                        Capital                            Road                      Waste           Development                                      Land Bank              Brownfield                 Management             System
                                                                                      Charges for                   Grants and                     Grants and                        Commission                  Services         Corporation               Drains                  Authority              Authority                   System              Authority
                                                        Expenses                       Services                    Contributions                  Contributions                        9/30/13                   12/31/12            9/30/13               09/30/13                  9/30/13               09/30/13                    09/30/13             09/30/13                Total

       Component units:
          Road Commission……………………… $                       38,229,602             $       8,067,639            $      28,955,789            $                                 $            (1,206,174)   $                      $                  $                       $                      $                          $                       $                     $        (1,206,174)
          Water and Waste Services……………                    51,455,673                    52,560,768                                                     1,620,118                                                   2,725,213                                                                                                                                                        2,725,213
          Economic Development Corporation…                    22,087                                                                                                                                                                   (22,087)                                                                                                                                       (22,087)
          Drains……………………………………                              4,267,568                        646,792                                                    1,650,770                                                                                            (1,970,006)                                                                                                            (1,970,006)
          Land Bank Authority……………………                       8,778,607                      5,796,756                    4,136,740                          26,892                                                                                                                     1,181,781                                                                                      1,181,781
          Brownfield Authority……………………                        577,222                        270,004                                                                                                                                                                                                            (307,218)                                                             (307,218)
          Storm Water Management System……                     407,292                                                    290,269                                                                                                                                                                                                         (117,023)                                    (117,023)
          Genesee Health System Authority……               106,718,421                     4,143,468                   97,587,625                        2,775,000                                                                                                                                                                                            (2,212,328)            (2,212,328)
       Total Component Units                $             172,226,870             $      63,417,788            $     102,014,634            $           6,072,780                          (1,206,174)              2,725,213           (22,087)             (1,970,006)              1,181,781                 (307,218)                (117,023)           (2,212,328)            (1,927,842)

                                                   Revenues:
                                                    Taxes..................................................................................................................
                                                    Use of money and investments..........................................................................                                   383,791                1,326,056             4,301                  1,054                      717                    2,620                    1,114                37,828              1,757,481
                                                    Other intergovernmental revenues.....................................................................                                                                                                                             1,808,843                                                                                      1,808,843
                                                    Unrestricted contributions……………………………………………………………                                                                                      1,215,798                  930,054                                                         1,009,711                                                               1,641,875              4,797,438
                                                   Total general revenues and transfers…………………………………………………                                                                                 1,599,589                2,256,110             4,301                  1,054                2,819,271                    2,620                    1,114             1,679,703              8,363,762
                                                   Special item - transfer of operations to Genesee Health Services…………………                                                                                                                                                                                                                                   20,349,315             20,349,315
                                                    Change in net position…………………………………………………………………                                                                                          393,415                4,981,323           (17,786)            (1,968,952)               4,001,052                  (304,598)               (115,909)             (532,625)             6,435,920
                                                   Net position - beginning of the year (deficit) as restated……………………………                                                                 204,308,532              189,224,565           771,628             29,716,537               12,462,524                (9,234,369)                623,434                                  427,872,851
                                                   Net position - end of year (deficit)………………………………………………………                                                                  $          204,701,947         $    194,205,888       $   753,842        $    27,747,585         $     16,463,576       $        (9,538,967)       $        507,525        $   19,816,690        $   454,658,086
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       The notes to the financial statements are an integral part of this statement.




                                                                                                                        44                                                                                                                                                                                45
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       NOTES TO FINANCIAL STATEMENTS

       GENESEE COUNTY                                                                                                                  EXHIBIT A-13

       NOTE A – DESCRIPTION OF COUNTY OPERATIONS, REPORTING ENTITY, AND FUND TYPES                                                                                 NOTE B – SUMMARY OF SIGNIFICANT ACCOUNTING POLICIES

                  The County of Genesee, Michigan was incorporated on March 18, 1835 and covers an area of approximately 642 square miles with the                           Government-wide and fund financial statements: The County is following GASB Statement No. 34, Basic Financial Statements-and
       county seat located in the City of Flint. The County operates under an elected Board of Commissioners (9 members) and provides services to its              Management’s Discussion and Analysis – for State and Local Governments. The standard requires government-wide and fund financial statements.
       more than 425,000 residents in many areas including law enforcement, administration of justice, community enrichment and development, and                   The government-wide financial statements (i.e., the statement of net position and the statement of changes in net position) report information on all
       human services. Education services are provided to citizens through more than 198 schools in 21 local school districts, 5 colleges, and a district          of the non-fiduciary activities of the primary government and its component units. For the most part, the effect of inter fund activity has been
       library; such districts, colleges, and library are separate governmental entities whose financial statements are not included herein, in accordance         removed from these statements. Governmental activities, which normally are supported by taxes and intergovernmental revenues, are reported
       with The Governmental Accounting Standards Board Codification Section 2100.                                                                                 separately from business-type activities, which rely to a significant extent on fees and charges for support. Likewise, the primary government is
                                                                                                                                                                   reported separately from certain legally separate component units for which the primary government is financially accountable.
                 As required by generally accepted accounting principles, these financial statements represent Genesee County (the primary government)
       and its component units. The component units discussed below are included in the County’s reporting entity because of the significance of their             The statement of activities demonstrates the degree to which the direct expenses of a given function or segment are offset by program revenues.
       operational or financial relationships with the County.                                                                                                     Direct expenses are those that are clearly identifiable with a specific function or segment. Program revenues include 1) charges to customers or
                                                                                                                                                                   applicants who purchase, use, or directly benefit from goods, services, or privileges provided by a given function or segment and 2) grants and
       Blended Component Units:                                                                                                                                    contributions that are restricted to meeting the operational or capital requirements of a particular function or segment. Taxes and other items not
                                                                                                                                                                   properly included among program revenues are reported instead as general revenues.
                 Genesee County Building Authority - Legally separate entity established for the sole purpose of issuing bonded debt to finance
                 construction of County buildings. The entire Building Authority is appointed by the County Board of Commissioners.                                Separate financial statements are provided for governmental funds, proprietary funds, fiduciary funds, and the component units even though the
                                                                                                                                                                   fiduciary fund statements are excluded from the government-wide financial statements. Major individual governmental funds and major individual
                 Genesee County Employees Retirement System - Legally separate entity established to account for employee and employer                             enterprise funds are reported as separate columns in the fund financial statements.
                 contributions, investment income, accumulated assets and payments to beneficiaries. The Pension board has five ex-official
                 Commissioners due to their positions held in the county and four elected employee Commissioners, with services provided almost                               Measurement focus, basis of accounting and financial statement presentation: The government-wide financial statements are
                 exclusively for the County and its employees. The Retirement System has a calendar fiscal year end. It was determined by the County               reported using the economic resources measurement focus and the accrual basis of accounting, as are the proprietary fund and fiduciary fund
                 that it would be extremely impractical for the Retirement System to change to a September 30th fiscal year end.                                   financial statements. Revenue is recorded when earned and expenses are recorded when a liability is incurred, regardless of the timing of related
                                                                                                                                                                   cash flows. Property taxes are recognized as revenue in the year for which they are levied. Grants and similar items are recognized as revenue as
       Discretely Presented Component Units:                                                                                                                       soon as all eligibility requirements imposed by the provider have been met.

                 Genesee County Road Commission - An entity responsible for constructing and maintaining the primary and local road system within the                         Revenue recognition policies: Governmental fund financial statements are reported using the current financial resources measurement
                 County. Its three-member board is appointed by the County Board. The County Board can significantly influence the operations of the               focus and the modified accrual basis of accounting. Revenue is recognized as soon as it is both measurable and available. Revenue is considered
                 Road Commission Board.                                                                                                                            to be available if it is collected within the current period or soon enough thereafter to pay liabilities of the current period. For this purpose, the
                                                                                                                                                                   County considers revenues to be available if they are collected within sixty (60) days of the end of the current fiscal period with the exception of the
                 Water and Waste Services - An entity established by the County pursuant to State law to provide for water and waste management                    Special Revenue funds Genesee County Community Action Resources Department (GCCARD), Health Department and Community Development
                 services. The County appoints the lone board member/member-director and has the ability to remove the manager-director if they so                 which are ninety (90) days. Expenditures generally are recorded when a liability is incurred, as under accrual accounting. However, debt service
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                 choose. The County approves and would be secondarily liable for any debt issuances. Water and Waste Services has a calendar year.                 expenditures, as well as expenditures related to compensated absences and claims and judgments, are recorded only when payment is due.
                                                                                                                                th
                 The County has determined that it would be impractical for Water and Waste Services to change to a September 30 fiscal year end.                  Revenues, which are considered measurable, but not available, are recorded as a receivable and deferred revenue. Revenues for 2013 include
                                                                                                                                                                   property taxes levied principally on December 1, 2012 and substantially collected in early 2013. The “2012 property taxes” assessed on December
                 Economic Development Corporation - An entity responsible for the administration of the Revolving Loan Program. This loan program                  31, 2012, become a lien on December 1, 2012, and are to be collected principally by February 28, 2013. Also, for the year ended September 30,
                 makes low interest loans available to businesses located within Genesee County. The Board of the Economic Development Corporation                 2007 the state legislative eliminated state-shared revenues to Counties. As a compromise, the legislature allowed counties to move the property tax
                 (EDC) is appointed by the Board of Commissioners. The Board of Commissioners can remove Board members of the EDC if they so                       levy to a July 1 date. As a result, the July 1, 2013 levy is also recognized as revenue for the year ended September 30, 2013 to the extent that it is
                                                                           th
                 choose. The Corporation has converted to a September 30 fiscal year end from a calendar year end.                                                 available. Other significant revenue susceptible to accrual include expenditure reimbursement type grants, certain inter-governmental revenues and
                                                                                                                                                                   operating transfers.
                 Drains - These separate legal entities represent drainage districts established pursuant to Act 40, P.A. 1956, as amended, the Michigan
                 Drain Code. The oversight of these districts is the responsibility of the Genesee County Drain Commissioner, an elected position that is          The government reports the following major governmental funds:
                 funded by Genesee County. The County lends its full faith and credit towards payment of the Special Assessment bonds issued for the
                 projects. The County can significantly influence the operations of the Drain Commission since the County Board of Commissioners                             The General Fund is the government’s primary operating fund. It accounts for all financial resources of the general government, except
                 approves the Drains budgets.                                                                                                                                those required to be accounted for in another fund.

                 Genesee County Land Bank Authority – An entity which accounts for the activities of the Authority consisting of acquisition of properties                   The Mental Health Fund accounts for the operations of the County’s Mental Health services, the main revenue sources are State grants
                 via the delinquent tax state statute sales of property to individuals, commercial entities and nonprofit organizations, rental of properties to             and charges for services. On August 29, 2012, the Board of Commissioners of Genesee County, Michigan approved a resolution to
                 individuals, rehabilitation and demolition of properties in preparation for sale or future development. The entity is comprised of seven                    establish a community mental authority (a separate entity) to assume the activities of the Agency, effective January 1, 2013. The Agency
                 members appointed by the County Board. The County Board can significantly influence the operations of the Land Bank Authority Board.                        is reported as a major fund for 3 months ending December 31, 2012 then as a discretely presented component unit effective January 1-
                                                                                                                                                                             September 30, 2013.
                 Brownfield Authority – An entity governed by a nine-member Board. The Board is appointed by each member of the County Board. The
                 Brownfield Authority was created to provide a means for financing remediation of Brownfield (environmentally contaminated) sites within                     The County Health Fund accounts for the operations of providing health protection and health services, the main revenue sources are
                 the County. The County issued bonds to provide capital for the revitalization of environmentally distressed, blighted, and functionally                     Federal and State grants.
                 obsolete properties within the County. The County approves and would be secondarily liable for any debt issuances.
                                                                                                                                                                             The Community Action Resource Department Fund accounts for the programs designed to provide health and human services to low
                 Storm Water Management System – An entity established by the County pursuant to Act 342, Public Acts of Michigan, 1939. Genesee                             income individuals, the main revenue source is federal grants.
                 County Storm Water Management System is responsible for administration services necessary to enable the County and the cities,
                 villages, townships, and charter townships located within the County to comply with the Phase II Regulations established by the United                      The Community Development Fund accounts for Housing and Urban Development grant awards that are allocated to all local units of
                 States Environmental Protection Agency (EPA) in the Federal Register on December 8, 1999. The Drain Commissioner’s Office was                               government (excluding City of Flint) for projects benefiting low and moderate income persons or projects defined as having an urgent
                 designated and appointed as the “County Agency” for the System to manage and operate the System.                                                            need.

                 Genesee Health Services (Agency), formerly known as Genesee County Community Mental Health Authority - On August 29, 2012, the                    The government reports the following major enterprise funds:
                 Board of Commissioners of Genesee County, Michigan approved a resolution to establish a community mental health authority (a
                 separate entity) to assume the activities of the Agency, effective January 1, 2013. The Agency is reported as a discretely presented                        The Delinquent Tax Revolving Enterprise Fund accounts for the activities of the delinquent real property tax purchase program whereby
                 component unit effective January 1, 2013.                                                                                                                   the County purchases the outstanding taxes from each local taxing unit. The County, in turn collects those delinquent taxes along with
                                                                                                                                                                             penalties and interest.
       Complete financial statements of the individual component units (excluding Drains, Brownfield Authority and Building Authority which are included in
       this financial report) can be obtained from their respective administrative offices.                                                                        The government reports the following fiduciary funds:




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       GENESEE COUNTY                                                                                                               EXHIBIT A-13

                 The Pension Trust Fund accounts for employee and employer pension contributions, investment income, accumulated assets, and                                                                                                                                        Total
                 payments to beneficiaries.                                                                                                                                                                                                                                      Total Revenue   Expenditures
                                                                                                                                                                            General Fund
                 The Trust and Agency Funds account for assets held by the County as an agent for individuals, private organizations, other governments,                             Amounts per operating statement                                                               $73,828,952   $59,881,900
                 and other funds.                                                                                                                                                    Animal Shelter Fund budgeted separately from the
                                                                                                                                                                                              General Fund                                                                             (2,747)     (967,582)
                 The Employees’ Fringe Benefits (VEBA) Fund accounts for employee and employer contributions, investment income, accumulated                                         Medical Examiner Fund budgeted separately from the
                 assets, set aside with the intent to accumulate adequate funds to defray part of the cost of retiree medical benefits in future years.                                       General Fund                                                                           (189,769)    (1,181,652)
                                                                                                                                                                                     Amounts per budget statements                                                                 $73,636,438   $57,732,666
       Additionally, the government reports the following fund types:

                 Internal service funds account for various services such as data processing, purchasing, and other administrative services, fleet                       Cash and Cash Equivalents: The County considers cash equivalents as short-term highly liquid investments that are both readily
                 management, buildings and grounds maintenance, the self funded property/casualty program and the self funded prescription drug and            convertible to cash and have maturities of 90 days or less when purchased to minimize the risk of changes in value due to interest rate changes.
                 medical program. These services are provided to other County departments on a cost reimbursement basis.
                                                                                                                                                                         Investments: Investments are stated at fair values. Fair value is determined based on quoted market prices except for money market
       Agency Funds account for assets held by the County in an agency capacity.                                                                               funds, which are valued at amortized cost. Unrealized appreciation or depreciation on investments due to changes in market value are recognized
                                                                                                                                                               in fund operations each year.
       As a general rule, the effect of inter fund activity has been eliminated from the government-wide financial statements.
                                                                                                                                                                          Inventories/Prepaids: Inventories are stated at cost on a first-in, first-out basis for governmental funds and the lower of cost on a first-in,
       Proprietary funds distinguish operating revenue and expenses from non-operating items. Operating revenue and expenses generally result from             first-out basis or market for proprietary funds. The cost of inventory items in governmental funds is recorded as an expenditure at the time of
       providing services and producing and delivering goods in connection with a proprietary fund’s principal ongoing operations. The principal operating     purchase, except for certain Special Revenue Funds, and the Water and Waste Services component unit where inventories are expensed when
       revenue of the proprietary funds relates to charges to customers for sales and services. Operating expenses for proprietary funds include the cost      used. Inventory in the Land Bank Authority represents land inventory held for resale.
       of sales and services, administrative expenses, and depreciation on capital assets. All revenue and expenses not meeting this definition are
       reported as non-operating revenue and expenses.                                                                                                                   Encumbrances: Encumbrance accounting, under which purchase orders, contracts, and other commitments for the expenditure of
                                                                                                                                                               monies are recorded in order to reserve that portion of the applicable appropriation, is employed as an extension of formal budgetary integration in
       Fiduciary funds are used to account for resources held for the benefit of parties outside the government. Fiduciary funds are not reflected in the      the governmental funds. There were no encumbrances at the end of the year since there were no outstanding amounts due on contracts or other
       government-wide financial statements because the resources of those funds are not available to support Genesee County’s own programs. The               commitments for the current year and the small number of purchase orders that were outstanding at the end of the year were canceled and reissued
       accounting used for fiduciary funds is much like that used for proprietary funds.                                                                       in the subsequent year.

                  Employee Vacation: County employees are granted vacation in varying amounts based on length of service. Vacation pay is accrued                       Restricted Assets: When both restricted and unrestricted resources are available for use, it is the County’s policy to use restricted
       and fully vested when earned; upon termination, with a few bargaining unit exceptions, employees are paid accumulated vacation at full rates to a       resources first, then unrestricted resources as they are needed.
       limit of 150% of their current annual earned vacation.
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                                                                                                                                                                          Capital Assets: Capital assets, which include property, plant, equipment, infrastructure assets (e.g., roads, bridges, sidewalks, and
                    Long-term Advances: Long-term advances from the General Fund to other funds are commonly made to finance new activities during             similar items), are reported in the applicable governmental or business-type activities column in the government-wide financial statements. Capital
       their initial operations. General Fund fund balance is reserved for such advances to reflect the amount of fund balance not currently available for     assets are defined by the government as assets with an initial individual cost of more than $1,000 and an estimated useful life in excess of one year.
       expenditure.                                                                                                                                            Such assets are recorded at historical cost or estimated historical cost if purchased or constructed. Donated capital assets are recorded at
       .                                                                                                                                                       estimated fair market value at the date of donation.
                    Budgets and Budgetary Accounting: Budgets shown in the financial statements were prepared on the same modified accrual basis
       used to reflect actual results. The County employs the following procedures in establishing the budgetary data reflected in the financial statements:   Interest incurred during the construction of capital assets of business type activities is included as part of the capitalized value of the assets
                                                                                                                                                               constructed. During the current year, no interest expense was capitalized as part of the cost of assets under construction.
            x    Prior to July 1, County departments, in conjunction with the Controller’s Office, prepare and submit their proposed operating budgets for
                 the fiscal year commencing October 1. The operating budget includes proposed expenditures and resources to finance them.                                   Capital assets are depreciated using the straight-line method over the estimated useful lives of the related assets. The estimated useful
                                                                                                                                                               lives are:
            x    A public hearing is conducted to obtain taxpayers comments.                                                                                                                    Land Improvements................................................ 10 years
                                                                                                                                                                                                Buildings and Improvements .................................. 25-50 years
            x    Prior to September 30, the budget is legally enacted through passage of a resolution.                                                                                          Equipment .............................................................. 3-20 years
                                                                                                                                                                                                Infrastructure ......................................................... 20-50 years
            x    After the budget is adopted, the Finance Committee of the Board of Commissioners is authorized to transfer budgeted amounts between
                 accounts within a department. However, any revisions that alter the total expenditures of a department or fund must be approved by the                  Long-term Obligations: In the government-wide financial statements and proprietary fund types in the fund financial statements, long-
                 Board of Commissioners.                                                                                                                       term debt and other long-term obligations are reported as liabilities in the applicable governmental activities, business type activities or proprietary
                                                                                                                                                               fund type statement of net position. Bond premiums and discounts, as well as issuance costs, are deferred and amortized over the life of the bonds
            x    Formal budgetary integration is employed as a management control device during the year for the General Fund and the Special Revenue          using the effective interest method. Bonds payable are reported net of the applicable bond premium or discount. Bond issuance costs are reported
                 Funds. Formal budgetary integration is not employed for other governmental type funds as effective management control is achieved             as deferred charges and amortized over the term of the related debt. In the fund financial statements, governmental fund types recognize bond
                 through alternative procedures.                                                                                                               premiums and discounts, as well as bond issuance costs, during the current period. The face amount of debt issued is reported as other financing
                                                                                                                                                               sources. Premiums received on debt issuances are reported as other financing sources while discounts are reported as other financing uses.
            x    Budgets for the General and Special Revenue Funds are adopted on a basis consistent with generally accepted accounting principles             Issuance costs are reported as debt service expenditures.
                 (GAAP). Budgeted amounts are as originally adopted, or as amended by the Board of Commissioners during the year. Individual
                 amendments were not material in relation to the original appropriations, which were amended. Appropriations unused at September 30            In the fund financial statements, governmental funds report the following components of fund balance:
                 are not carried forward to the following year. The budgets for the General and Special Revenue Funds are adopted at the departmental
                 level, and total fund level, respectively. For the Special Revenue Fund budget presentations in Exhibits B3-B4 and D3-D4 more detail is            x       Nonspendable – Amounts that are not in spendable form or are legally or contractually required to be maintained intact.
                 presented than required by the adopted budget.
                                                                                                                                                                    x       Restricted – Reservations of fund balance for amounts that are not available for appropriation or are legally restricted by outside parties,
                                                                                                                                                                            constitutional provisions, or enabling legislation for use for a specific purpose.

                                                                                                                                                                    x       Committed – Amounts that have been formally set aside by the Board of Commissioners for use for specific purposes. Commitments are
                                                                                                                                                                            made and can be rescinded only via resolution of the Board.

                                                                                                                                                                    x       Assigned – Intent to spend resources on specific purposes expressed by the Board of Commissioners.

                                                                                                                                                                    x       Unassigned – Amounts not otherwise categorized above and available to be spent for any purpose.


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       GENESEE COUNTY                                                                                                                   EXHIBIT A-13

       When an expense is incurred for purposes for which both restricted and unrestricted net position or fund balance are available, the County’s policy is                                                                                         Less than                                 Over Ten
       to first apply restricted resources. When an expense is incurred for purposes for which amounts in any of the unrestricted fund balance                      Type of Investment                                         Fair Value             One Year           1-10 Years             Years
       classifications could be used, it is the County’s policy to spend funds in this order: committed, assigned and unassigned.                                   U.S. gov or agency bond or notes (pension)                  1,996,146                                  1,804,434             191,712
                                                                                                                                                                    U.S. gov mortgage backed (pension)                          1,751,441                                                       1752,441
                                                                                                                                                                    U.S. gov tips                                               1,700,730                                  1,700,730
       NOTE C – DEPOSITS AND INVESTMENTS                                                                                                                            Corporate bonds (pension)                                  30,113,931               309,640           21,170,016            8,634,276
                                                                                                                                                                    Foreign corporate (pension)                                 8,890,792               948,795            7,083,737              858,264
       Michigan Compiled Laws Section 129.91 (Public Act 20 of 1943, as amended), authorizes local governmental units to make deposits and invest in                Foreign gov (pension)                                       3,605,883                                  2,823,433              782,450
       the accounts of federally insured banks, credit unions, and savings and loan associations that have offices in Michigan. The local unit is allowed to        Private placement (pension)                                 8,597,210                66,831            7,452,964            1,077,414
       invest in bonds, securities, and other direct obligations of the United States or any agency or instrumentality of the United States; repurchase
       agreements; bankers’ acceptances of United States banks; commercial paper rated within the two highest classifications, which mature not more                           Credit risk – Credit risk is the risk that the government will not be able to recover the value of its securities. The County follows state law
       that 270 days after the date of purchase; obligations of the State of Michigan or its political subdivisions, which are rated as investment grade; and       which limits investments in commercial paper to the top two ratings issued by nationally recognized statistical rating organizations. The County has
       mutual funds composed of investment vehicles that are legal for direct investment by local units of government in Michigan.                                  no investment policy that would further limit its investment choices for general County funds. The pension funds are allowed to invest in longer
                                                                                                                                                                    maturity corporate bonds in accordance with state law. As of year end, the credit quality ratings of debt securities not explicitly guaranteed by the
       The Pension Trust Fund is also authorized by Michigan Public Act 314 of 1965, as amended, to invest in certain reverse repurchase agreements,                U.S. Government are as follows:
       stocks, diversified investment companies, annuity investment contracts, real estate leased to public entities, mortgages, real estate, debt or equity of                                                                                                                                                   Rating
       certain small businesses, certain state and local government obligations and certain other specified investment vehicles. The Employees’ Fringe                                                    Investment                                              Fair Value              Rating            Organization
       Benefit (VEBA) Fund is authorized by Michigan Public Act 149 of 1999 to invest in similar types of investments as the pension fund.                                                          U.S. gov agency securities (self insurance)                    $1,439,473               AA+                         S&P
                                                                                                                                                                                                    Money Market (self insurance)                                    743,923               Not Rated                    N/A
       State statutes as they relate to group Self-Insurance Pools (Public Act 218 of 1956, as amended) authorizes the Pool to invest in obligations of the                                         Corporate bonds (self insurance)                                   356,733              A-                          S&P
       U.S. Treasury and U.S. agencies, deposit agreements with federally insured financial institutions within the State of Michigan, commercial paper,                                            Corporate bonds (self insurance)                                   578,058              BBB+                        S&P
       common stocks, real estate, repurchase obligations of the U.S. Government and U.S. agencies, banker’s acceptances of U.S. banks, common                                                      Corporate bonds (self insurance)                                   413,244              BBB                         S&P
       stocks, and mutual funds comprised of the above authorized investments. The Pool has adopted the above as its investment policy and has                                                      Corporate bonds (self insurance)                                   341,328              BBB-                        S&P
       authorized the following depositories: FirstMerit Bank and Beacon Investment Company.                                                                                                        Corporate bonds (VEBA)                                             489,995              AA                          S&P
                                                                                                                                                                                                    Corporate bonds (VEBA)                                           1,900,217              A                           S&P
       The County has designated three banks for the deposit of its funds. The investment policy adopted by the Board in accordance with Public Act 196                                             Corporate bonds (VEBA)                                           2,899,011              BBB                         S&P
       of 1997 has authorized investments as allowed under State statutory authority as listed above. The County’s cash and investments are subject to                                              Corporate bonds (VEBA)                                            843,125               BB                          S&P
       several types of risk which are examined in more detail as follows:                                                                                                                          Private Placement (VEBA)                                           250,000              A                           S&P
                                                                                                                                                                                                    Foreign government bonds (VEBA)                                    227,250              BB                          S&P
                 Custodial credit risk of bank deposits – Custodial credit risk is the risk that in the event of a bank failure, the government’s deposits                                          Foreign government bonds (VEBA)                                    295,800              Not Rated                   N/A
       may not be returned to it. The government does not have a deposit policy for custodial credit risk. At year end, the County had $10,013,070 of bank                                          U.S. gov agency securities (VEBA)                                 801,329              AA                           S&P
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       deposits (certificates of deposit, checking and savings accounts) that were uninsured and uncollateralized. The County believes that due to the                                              U.S. gov agency securities (VEBA)                               1,049,099              Not Rated                    N/A
       dollar amounts of cash deposits and the limits of FDIC insurance, it is impractical to insure all deposits. Insuring or collateralizing all cash deposits                                    Asset backed (pension)                                             186,298              AAA                         S&P
       would also result in a significant decrease in the investment returns for the County. Consistent with the investment policy that is prepared by the                                          Asset backed (pension)                                             231,038              AA                          S&P
       County Treasurer’s Office and approved by the County Board of Commissioners, the County evaluates each financial institution it deposits funds                                               Asset backed (pension)                                             342,822              A                           S&P
       with and assesses the level of risk of each institution; only those institutions with an acceptable estimated risk level are used as depositories.                                           Asset backed (pension)                                               82,007              BB                         S&P
                                                                                                                                                                                                    Asset backed (pension)                                               86,460              B                          S&P
                  Custodial credit risk of investments – Custodial credit risk is the risk that, in the event of the failure of the counterparty, the County will                                   Asset backed (pension)                                             842,441              CCC and Below               S&P
       not be able to recover the value of its investments or collateral securities that are in the possession of an outside party. The County does not have a                                      Corporate bonds (pension)                                        1,791,871              AA                          S&P
       policy for custodial credit risk. At year end, the following investment securities were uninsured and unregistered, with securities held by the                                              Corporate bonds (pension)                                        9,678,165              A                           S&P
       counterparty or by its trust department or agent but not in the County’s name:                                                                                                               Corporate bonds (pension)                                      13,079,008                BBB                        S&P
                                                                                                                                                                                                    Corporate bonds (pension)                                        4,269,674               BB                         S&P
                 Investment Type                                      Carrying Value                       How Held                                                                                 Corporate bonds (pension)                                        1,040,498               B                          S&P
                 U.S. gov or agency bond or note (self insurance)     $ 1,439,473                     Counterparty’s trust dept                                                                     Corporate bonds (pension)                                          250,425              CCC and Below               S&P
                 Corporate bonds (self insurance)                        1,690,364                    Counterparty’s trust dept                                                                     Corporate bonds (pension)                                             4,291              Not Rated                  N/A
                 Corporate stocks (self insurance)                       3,560,920                    Counterparty’s trust dept                                                                     Corporate CMO (pension)                                          1,280,414               AAA                        S&P
                 Mutual funds (self insurance)                             483,104                    Counterparty’s trust dept                                                                     Corporate CMO (pension)                                          1,751,643               BBB                        S&P
                 U.S. gov or agency bond or note (VEBA)                  6,239,499                    Counterparty’s trust dept                                                                     Corporate CMO (pension)                                             150,916              BB                         S&P
                 Corporate bonds (VEBA)                                  8,100,735                    Counterparty’s trust dept                                                                     Corporate CMO (pension)                                             158,811              B                          S&P
                 Corporate stock (VEBA)                                  7,091,313                    Counterparty’s trust dept                                                                     Corporate CMO (pension)                                            950,462              CCC and Below               S&P
                 Foreign gov and agency (VEBA)                          24,191,655                    Counterparty’s trust dept                                                                     Corporate CMO (pension)                                          2,532,038              Not Rated                   N/A
                 U.S. gov or agency bond or note (pension)              66,678,492                    Counterparty’s trust dept                                                                     Private placements (pension)                                       507,860               AAA                        S&P
                 Foreign gov and agency (pension)                       75,438,520                    Counterparty’s trust dept                                                                     Private placements (pension)                                       422,908               AA                         S&P
                 Corporate bonds (pension)                              40,482,207                    Counterparty’s trust dept                                                                     Private placements (pension)                                     1,814,891               A                          S&P
                 Corporate stocks (pension)                             66,751,963                    Counterparty’s trust dept                                                                     Private placements (pension)                                     1,946,055              BBB                         S&P
                                                                                                                                                                                                    Private placements (pension)                                     1,192,037               BB                         S&P
                 Interest rate risk – Interest rate risk is the risk that the value of investments will decrease as a result of a rise in interest rates. The                                       Private placements (pension)                                       634,089               B                          S&P
       County’s investment policy does not restrict investment maturities, other than commercial paper which can only be purchased with a 270-day                                                   Private placements (pension)                                     2,079,370               Not Rated                  N/A
       maturity. At year end, the average maturities of investments are as follows:                                                                                                                 Foreign corporate bonds (pension)                                  382,740                 AAA                      S&P
                                                                                                                                                                                                    Foreign corporate bonds (pension)                                  382,454                 AA                       S&P
                                                                                         Less than                                 Over Ten                                                         Foreign corporate bonds (pension)                               1,737,429                  A                        S&P
       Type of Investment                                         Fair Value             One Year           1-10 Years             Years                                                            Foreign corporate bonds (pension)                               3,166,474                  BBB                      S&P
       U.S. gov or agency bond or notes (self insurance)          $1,439,473               $589,104           $850,369                                                                              Foreign corporate bonds (pension)                                  421,724                 BB                       S&P
       Corporate bonds (self insurance)                            1,690,364                156,164          1,534,200                                                                              Foreign corporate bonds (pension)                                  252,787                 B                        S&P
       Money market funds (self insurance)                           384,652                384,652                                                                                                 Foreign corporate bonds (pension)                               2,547,184                  Not Rated                N/A
       U.S. gov or agency bond or notes (VEBA)                     1,850,428              1,352,963             497,465                                                                             Foreign government bonds (pension)                                 651,345                 A                        S&P
       Corporate bonds (VEBA)                                      6,132,648                                  6,132,648                                                                             Foreign government bonds (pension)                               1,257,176                 BBB                      S&P
       Foreign gov (VEBA)                                            523,050                                    523,050                                                                             Foreign government bonds (pension)                               1,697,362                 Not Rated                N/A
       Asset backed (pension)                                      1,771,067                                                       1,771,067


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       GENESEE COUNTY                                                                                                                                 EXHIBIT A-13

                                                                                                                                                               Rating                                                                        Balance                                                                            Reclassifications   Balance
                                                           Investment                                               Fair Value            Rating            Organization            Governmental activities:                                Oct. 1, 2012                        Additions                 Disposals            and Adjustments Sept. 30, 2013
                                              U.S. government agency (pension)                                       1,872,855              AA                    S&P      Less accumulated depreciation for:
                                              U.S. government agency (pension)                                          52,528              BBB                   S&P         Land improvements ...................................               36,702                           3,022                                                                                39,724
                                              U.S. government agency (pension)                                          70,764              Not Rated             N/A         Buildings .................................................... 52,787,550                        3,435,939                                                                            56,223,489
                                              U.S. government mortgage backed (pension)                              1,752,441              Not Rated             N/A         Machinery and equipment ......................... 20,151,794                                  __ 1,784,949                          627,878                     (154,076)             21,154,789
                                              U.S. government other (pension)                                        1,213,547              Not Rated             N/A             Subtotal ............................................... 72,976,046                          5,223,910                          627,878                     (154,076)             77,418,002
                                              U.S. government TIPS (pension)                                         1,700,730              Not Rated             N/A      Governmental activities
                                              U.S. government treasuries, notes and bonds (pension)                 53,191,344              Not Rated             N/A             Capital assets, net of depreciation ...... $ 95,495,274                                   $     (331,911)               $        38,513               $                         $ 95,124,850

                 Foreign currency risk – Foreign currency risk is the risk that an investment denominated in the currency of a foreign country could
       reduce its U.S. dollar value, as a result of changes in foreign currency exchange rates. The pension system does not restrict the amount of                                                                                              Balance                                                                                                 Balance
       investments in foreign currency. The following securities are subject to foreign currency risk:                                                                              Business type activities:                                  Oct. 1, 2012                  Additions                  Disposals               Reclassifications Sept. 30, 2013
                                                                                                                                                                           Capital assets not being depreciated:
                                                                                         Fair Value (in $)                                                                    Land........................................................... $ 3,502,006                   $                              $      344,210               $      (12,078)            $ 3,145,718
                                              Euro                                       $ 35,453                                                                          Capital assets being depreciated:
                                              Canadian Dollar                               192,117                                                                           Buildings ....................................................    1,181,215                                                                                                            1,181,215
                                              Great British Pounds                       10,493,792                                                                           Land improvements ...................................             3,074,493                                                                                       12,078               3,086,571
                                              Mexican Peso                                    61,930                                                                          Machinery and equipment .........................                 4,274,265                                                                                      154,076               4,428,341
                                              Norwegian Krones                                     2                                                                               Subtotal ...............................................     8,529,973                                                                                      166,154               8,696,127
                                              Hong Kong Dollar                            3,360,395                                                                        Less accumulated depreciation for:
                                              Philippine Peso                               164,323                                                                           Buildings ....................................................    1,107,483                            23,013                                                                          1,130,496
                                              South African Rand                                  18                                                                          Land improvements ...................................             3,074,493                                                                                       12,078               3,086,571
                                              Swedish Krona                                 150,810                                                                           Machinery and equipment .........................                 3,962,947                          148,175                                                     154,076               4,265,198
                                              Taiwan Dollar                                 234,117                                                                                Subtotal ...............................................     8,144,923                          171,188                                                     166,154               8,482,265
                                              Turkish Lira                                  200,332                                                                                Business type activities
                                                                                                                                                                                   Capital assets, net of depreciation ...... $ 3,887,056                                   $     (171,188)               $       344,210                   $ (120,078)            $ 3,359,580
       All of the System’s investment subject to foreign currency risk relate to a single comingled fund which held many different foreign currency securities.
       The system owns a portion of the comingled fund.                                                                                                                    Depreciation expense was charged to programs of the primary government as follows:

                  Securities lending – As permitted by state statutes and under the provisions of a securities lending authorization agreement, the System                 Governmental activities:
       lends securities to broker-dealers and banks for collateral that will be returned for the same securities in the future. The System’s custodial bank                   Administration of Justice.............................................................................................................................. $ 1,153,244
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       manages the securities lending program and receives cash as collateral. Borrowers are required to deliver collateral for each loan equal to not less                   Law Enforcement and Community Protection .............................................................................................                              923,508
       than 100 percent of the market value of the loaned securities. During the year ended December 31, 2012, only United States currency was received                       Human Services ..........................................................................................................................................           556,295
       as collateral.                                                                                                                                                         Community Enrichment and Development ..................................................................................................                             373,845
                                                                                                                                                                              General Support Services............................................................................................................................                127,328
       The System did not impose any restrictions during the fiscal year on the amount of loans made on its behalf by the custodial bank. The System                          Other............................................................................................................................................................ 1,004,450
       presently owns $246,496 of Sigma Finance Medium Term Note which is a defaulted investment. The System elected to repay the liability over a                            Internal service fund depreciation is charged to the various functions based on their usage of the assets                                                         1,085,240
       five-year period. There were no other failures by any borrowers to return loaned securities or pay distributions thereon during the fiscal year.                           Total governmental activities................................................................................................................. $ 5,223,910

       The Genesee County Employees’ Retirement System and the borrower maintain the right to terminate all securities lending transactions on demand.                     Business type activities:
       The cash collateral received on each loan was invested, together with the cash collateral of other lenders, in an investment pool. The average                         Delinquent tax revolving ..............................................................................................................................       $ 101,497
       duration of the investments in the cash collateral pool are deemed to mature on the cash collateral pool’s next business day as per the                                Parks and Recreation ..................................................................................................................................          69,691
       Reinvestment Guidelines, with the exception of the Sigma Medium Term Note (Impaired). Because the loans are terminable on demand, their                                    Total business type activities ................................................................................................................           $ 171,188
       duration did not generally match the duration of the investments made with cash collateral. On December 31, 2012, the System had no credit risk
       exposure to borrowers with the exception of Sigma Finance. The collateral based on cost and the fair market value of the underlying securities on                   In addition, land with an approximate value of $5,000,000 used by Parks and Recreation is leased at nominal costs from the Nature Conservatory
       loan for the System as of December 31, 2012 was $3,211,330 and $3,194,952 respectively, which consisted of short-term money market mutual                           and the City of Flint under long-term arrangements.
       funds and U.S. corporate commercial paper.

                                                                                                                                                                           NOTE E – DEBT (including current portions)
       NOTE D-CAPITAL ASSETS
                                                                                                                                                                                Long-term debt of the County is as follows:
       Capital asset activity at September 30, 2013 is summarized as follows:                                                                                                                                                                                                         Balance                                                              Balance    Due within
                                                                                                                                                                                                                                                                                     Oct. 1, 2012          Additions               Reductions            Sept 30, 2013 One Year
                                                                      Balance                                                     Reclassifications   Balance              Government Activities:
                 Governmental activities:                            Oct. 1, 2012                   Additions   Disposals        and Adjustments Sept. 30, 2013               Internal Service Fund Equipment Notes .....................................                             $       19,491          $                    $           (3,618)      $    15,873   $      4,189
       Capital assets not being depreciated
          Land........................................................... $ 11,349,565          $               $                     $                 $ 11,349,565            Capital Improvement Bonds 2011, Proceeds were used to
          Construction in progress............................                  15,572                 49,188         15,572                                  49,188               Renovate various County Buildings.......................................                                 845,000                                         (240,000)           605,000        65,000
               Subtotal ............................................... 11,365,137                     49,188         15,572                              11,398,753            2.9% Genesee County Refunding Bonds, Bonds maturing on or
       Capital assets being depreciated:                                                                                                                                           prior to May 1, 2022 shall not be subject to redemption prior
          Land improvements ...................................              8,806,199              110,473                                               8,916,672                to maturity. Bonds maturing on or after May 1, 2022 may be
          Buildings and improvements...................... 120,714,083                            1,806,847                                             122,520,930                subject to prior redemption.....................................................                       4,830,000                                         (400,000)       4,430,000         440,000
          Machinery and equipment ......................... 27,585,901                          _ 2,925,491          650,819              (154,076)      29,706,497             JCI Energy Bonds 2010, Debt was issued to perform numerous
               Subtotal ............................................... 157,106,183             _ 4,842,811          650,819              (154,076)     161,144,099                Energy efficiency improvements on most County Buildings ...                                            7,815,784                                         (300,000)       7,515,784      340,000
                                                                                                                                                                                3.7% to 5.0% Genesee County Building Authority Bonds,
                                                                                                                                                                                    Series 2000, Callable after May 1, 2008, .............................                                  168,000                                         (59,500)            108,500        66,500
                                                                                                                                                                                4.75% to 5.7% Genesee County Bonds Series 2004-B
                                                                                                                                                                                    Capital Improvement Bonds, Bonds maturing before
                                                                                                                                                                                    April 1, 2014 not subject to redemption prior to maturity......                                       1,810,000                                         (45,000)        1,765,000          45,000


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       GENESEE COUNTY                                                                                                                                  EXHIBIT A-13

            Long-term debt of the County is as follows continues:                                                                                                             continuing education program. There were no reductions in reinsurance coverage or settlements in excess of insurance coverage over the past
                                                                                                       Balance                                        Balance    Due within   three years.
                                                                                                      Oct. 1, 2012    Additions      Reductions     Sept 30, 2013 One Year
          3.00% to 5.00% Genesee County Refunding Bonds                                                                                                                                 A reconciliation of the claims liability for the years ended September 30, 2013 and 2012 is as follows:
              Bonds maturing on or prior to May 1, 2015 shall not be
              subject to redemption prior to maturity. Bonds maturing                                                                                                                                                                                                           Year Ended     Year Ended
              on or after May1, 2016 may be subject to prior redemption..                                9,595,000                   (1,180,000)      8,415,000   1,240,000                                                                                                       9/30/13        9/30/12_ _
          6.34% Capital Improvement Bonds, Series 2008 maturing
              on or prior to November 1, 2018 not be subject to                                                                                                                         Claims Liability (beginning of year) ...................................                 $4,549,999     $3,682,890
              Redemption prior to maturity……………………………….....                                                805,000                     (115,000)        690,000     115,000             Claims incurred during the period .....................................                   1,851,619      2,212,643
                  Total Bonds and Notes ..................................................              25,888,275                   (2,343,118)     23,545,157   2,315,689             Changes in estimate for claims of prior periods................                            (323,705)        11,646
          Self-Insurance Claim Liability .....................................................           4,549,999     1,527,914     (1,953,046)      4,124,867   1,562,869             Payments on claims..........................................................             (1,953,046)    (1,357,180)
          Self-Insured Medicals .................................................................          248,971        11,285        (81,481)        178,775     178,775
          Compensated absences .............................................................             4,715,536     3,080,116     (3,578,426)      4,217,226   3,578,426             Claims liability (end of year)..............................................            $ 4,124,867     $4,549,999
              Total Governmental Activities ..............................................              35,402,781     4,619,315     (7,956,071)     32,066,025   7,635,759
       Business Type Activities                                                                                                                                                         Several complaints for alleged discriminatory employment practices have also been filed against the County.
          Parks and Recreation Fund:
              3.7% to 5.0% Genesee County Building Authority                                                                                                                           A portion of the fund balance of the General Fund has been assigned to provide for a possible loss resulting from the unfavorable
                 Bonds, Series 1998, Callable after May 1, 2008,                                                                                                              outcome of any claims and litigation. See Note G, which follows.
                 at par plus accrued interest to date..................................                     72,000                       (25,500)        46,500      28,500
          Delinquent Tax Fund:                                                                                                                                                            The County provides a funding mechanism for the payment of the costs of pharmaceuticals and medical insurance for employees. The
              5.0% to 9.7% Delinquent tax notes ......................................                  42,300,000 39,900,000       (46,400,000)     35,800,000   8,900,000   County contracts with a third party administrator to provide claims processing with the cost of the claims reimbursed from these funds. Net position
       Total Business-type Activities ..........................................................        42,372,000 39,900,000       (46,425,500)     35,846,500   8,928,500   for this fund as of September 30, 2013 was $2,378,404 with $178,775 accrued as a liability for incurred losses and expenses.
       Total Long-term Debt .......................................................................   $ 77,774,781 $44,519,315     $(54,381,571)    $67,912,525 $16,564,269
                                                                                                                                                                                         A reconciliation of the claims liability (workers compensation, property & liability, and auto claims) for the years ended September 30, 2013
                 Genesee County lends its full faith and credit for bond issues that are repaid through special assessments. The County is not obligated in                   is as follows:
       any manner for special assessment debt. The amount of special assessment debt is detailed within the notes for the Component Unit under which                                                                                                                                                             Total
       the projects originated.                                                                                                                                                                                                                                       Pharmaceuticals         Medical          Insurance
                                                                                                                                                                                         Claims Liability (beginning of year) ...................................        $ 18,915            $ 230,056         $ 248,971
                     Delinquent property taxes receivable are pledged as collateral for the repayment of the outstanding delinquent tax notes – (See Note H).                            Claims incurred during the period .....................................             37,657              (26,372)         11,285
                                                                                                                                                                                         Changes in estimate for claims of prior periods................
                     Typically, the General Fund and all Special Revenue Funds liquidate liability for compensated absences.                                                             Payments on claims..........................................................       (27,936)             (53,545)         (81,481)
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       The annual requirements to pay principal and interest on the obligations outstanding at September 30, 2013 are as follows:                                                       Claims liability (end of year)..............................................              $ 28,636       $ 150,139    $ 178,775

                                                                                       Governmental Activities                Business-Type Activities_
                                                                                       Principal      Interest                Principal       Interest                        NOTE G – GENERAL FUND FUND BALANCE CLASSIFICATIONS AND DEFICITS

       2014     ................................................................       $2,315,689       $ 1,129,243                $28,500          $ 2,325                             The County receives funds from various federal and state units to finance specific grants. The final determination of revenue amounts is
       2015     ................................................................        2,406,457         1,018,522                 18,000              900                   subject to audit by the responsible agencies. Grant fund balance deficits, to the extent not liquidated by future operations, will be absorbed by the
       2016     ................................................................        2,494,742           903,097                                                           General Fund. Additionally, the County is a defendant in numerous legal actions of which Corporation Counsel is not able to provide information as
       2017     ................................................................        2,617,485           783,381                                                           to the probable outcome and extent of potential liability, if any. As a result of these and other matters discussed in Note F, above, the County has
       2018     ................................................................        2,745,000           657,725                                                           established an assignment of fund balance in the General Fund in the amount of $1,000,000 to provide for any audit adjustments of grant revenues,
       2019/2023 ...............................................................        7,470,000         1,651,633                                                           grant fund balance deficits and possible losses resulting from other contingencies, claims, and litigation.
       2024/2028…………………………………………… ..                                                    2,765,784           485,091
       2029/2033…………………………………………… ..                                                      590,000           144,501                                                                   The fund balance of the General Fund has also been classified as nonspendable for a long-term receivable due from the Vehicles and
       2034/2038 ...............................................................          140,000             7,980                                 ______                    Equipment Internal Service Fund in the amount of $1,840,809 and prepaids in the amount of $20,690.
                TOTALS ..................................................             $23,545,157      $ 6,781,173                 $46,500          $ 3,225
                                                                                                                                                                                        The following funds were in a deficit at year end:
                By statute, the County general obligation debt is restricted to 10% of the equalized value of all property in the County. Certain obligations,                                    Component Unit:
       such as special assessment notes, are not subject to this limitation. At September 30, 2013, the County’s debt limit amounted to $899,354,911 and                                                    Brownfield Authority                             $9,538,967
       indebtedness subject to the limitation aggregated $117,204,921.                                                                                                                            Major Special Revenue:
                                                                                                                                                                                                            Community Action Resource
                                                                                                                                                                                                                       Department                                443,666
       NOTE F – CONTINGENCIES, CLAIMS, RISK MANAGEMENT, AND LITIGATION                                                                                                                            Nonmajor Special Revenue:
                                                                                                                                                                                                            Administration of Justice                            583,117
                There are various legal actions pending against the County. Management has evaluated the likely outcome of various actions and has                                                Internal Service Funds:
       concluded that it is not appropriate to record any amount as a liability at September 30, 2013.                                                                                                      Administrative Services                           1,954,981
                                                                                                                                                                                                            Vehicles and Equipment                             804,008
                   The County is totally self-insured for workers’ compensation for all losses, up to $500,000 each occurrence, and self-insured for property
       and liability insurance claims up to $50,000 and $350,000, respectively, for specific losses. The County is insured for the amount of claims in
       excess of such limitation to a maximum of replacement cost for property and $20,000,000 for liability claims. The County is self-insured for claims in                 NOTE H – PROPERTY TAXES
       excess of these insurance coverages. The County is also self-insured for the first $50,000 of catastrophic coverage for auto physical damage per
       location. The County is exposed to various risks of loss related to property loss, torts, errors and omissions, and employee injuries (workers’                                   The County property tax is levied each July 1 on the assessed valuation of property located in the County as of the preceding December
       compensation), as well as medical benefits provided to employees.                                                                                                      31. On December 1, the property tax attachment is an enforceable lien on property and is payable by the last day of the next February following.
                                                                                                                                                                              Assessed values are established annually by the County and are equalized by the State at an estimated 50% of current market value. Real property
                  The County paid losses within its self-insured retention through an Internal Service Fund. Net position for this fund as of September 30,                   in Genesee County for the 2012 levy was assessed at $8,996,549,108 and equalized at $8,996,549,108 representing 50% of estimated current
       2013 was $10,015,263 with $4,124,867 accrued as a liability for incurred losses and expenses. An actuarial study projected a required reserve of                       market value. The County operating tax rate is currently 5.5072 mills with an additional 0.4847 mills voted each for parks and paramedics 0.7 mills
       $0.0 million for 2013. The County’s Risk Manager provides employee accident prevention training and various risk control techniques through a                          for senior services 1 mill for health services and 0.1 mills for veterans.




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       GENESEE COUNTY                                                                                                                EXHIBIT A-13

                 By agreement with various taxing authorities, the County purchases at face value the real property taxes receivable returned delinquent        DEFINED CONTRIBUTION PLAN - -
       each March 1. These receivables ($46,643,971 at September 30, 2013) are pledged to a bank for payment of notes payable, the proceeds of which
       were used to liquidate the amounts due the General Fund and various other funds and governmental agencies for purchase of the receivables and                      The County offers a defined contribution pension plan as an alternative to the defined benefit pension plan. The International City
       to provide funds for current operations. Subsequent collections on delinquent taxes receivable, plus interest and collection fees thereon and            Managers Association (ICMA) Retirement Corporation administers the plan, and the County Board of Commissioners has authority over plan
       investment earnings, are used to extinguish the debt.                                                                                                    provisions and contribution requirements. All benefit employees are eligible to participate in this plan, if not participating in the Defined Benefit Plan.
                                                                                                                                                                The County is required to contribute 8% to 10% of eligible employees’ annual covered payroll, and employees are required to contribute between
                 Collections of delinquent taxes, which include interest, penalties, fees and investment earnings, amounting to $39,151,903 in 2013, are        3% and 7% of covered payroll. Employees are fully vested after 5 years of service. During the year ended September 30, 2013, employer and
       used to service the notes payable. Principal and interest paid on the notes payable in 2013 amounted to $46,673,278.                                     employee contributions to the plan were $2,705,916 and $1,617,428, respectively.

                                                                                                                                                                HEALTH BENEFITS PLAN AND TRUST - -
       NOTE I – RETIREMENT PLANS
                                                                                                                                                                PLAN DESCRIPTION AND PROVISIONS – Genesee County OPEB
       DEFINED BENEFIT PLAN - -
                                                                                                                                                                             Genesee County provides other post-employment benefits (medical, optical, dental and life insurance) to County retirees who meet
       PLAN DESCRIPTION AND PROVISIONS                                                                                                                          eligibility requirements. This is a single employer defined benefit plan administered by the County. The benefits are provided under collective
                                                                                                                                                                bargaining agreements to union employees and by resolution of the County Board of Commissioners for employees not covered under collective
                 The County administers a contributory agent multi-employer defined benefit pension plan known as the Genesee County Employees                  bargaining agreements. The valuation for this benefit plan has been conducted in accordance with generally accepted actuarial principles and
       Retirement System (GCERS). The plan is included as a pension trust fund in the County’s Comprehensive Annual Financial Report. GCERS                     practices. Data concerning active members, retirees and beneficiaries was provided by Genesee County. This plan does not issue separate stand
       issues a publicly available annual financial report that includes financial statements and required supplementary information for the system as a        alone financial statements.
       whole. This report can be obtained from the Retirement Coordinator at the County’s administrative offices, located at 1101 Beach Street, Flint, MI
       48502.                                                                                                                                                   FUNDING POLICY

                 GCERS was organized pursuant to Section 12a of Act 156, State of Michigan Public Acts of 1851 (MSA 5.33(1); MCLA 46.12a) as                               The County performed an actuarial valuation of the other post-retirement benefits liability for the year ended September 30, 2012. At that
       amended. GCERS was established by ordinance in 1946, beginning with general County employees and the County Road Commission. Genesee                     time the liability was determined to be $308,208,023 with the computed contribution as a percentage of payroll (based on 30-year amortization of the
       County Water and Waste Services joined the system in 1956, Genesee County Community Mental Health joined in 1966, the City of Mt. Morris in              unfunded liability) to be 34.32% or $18,549,049.
       1969, and the Genesee District Library in 1980. The GCERS is regulated under the Genesee County Employees’ Retirement System Ordinance,
       the sections of which have been approved by the State of Michigan Pension Commission. All new-hire general County and Community Mental                              The County has been working to systematically increase contributions into the VEBA to eventually equal the ARC (annual required
       Health employees may only join the defined contribution plan.                                                                                            contribution). Beginning in fiscal year 2002/2003, the County began contributing 3% of gross payroll into a fund designated for retiree health care.
                                                                                                                                                                This was increased to 5% in the 2003/2004 fiscal year, to 10% in the 2006/2007 fiscal year, 20% in the 2007/2008 fiscal year, 22.5% in the
                  The plan provides for vesting of benefits after 8 years of service. Generally, participants may elect normal retirement with 20 to 25 years   2008/2009 fiscal year, 20% in the 2009/2010 fiscal year, 24% in the 2010/2011, 2011/2012 and 2012/2013 fiscal years. In 2004 the County created
       of credited service, regardless of age, or at age 60 with 8 or more years of credited service. Retirement benefits vary by employer group, and are       a VEBA trust to specifically designate the funds that had been contributed for retiree health care. Also, in 2005 and 2006, all collective bargaining
       payable monthly. Generally, the retirement benefit is equal to the employee’s final average compensation times the sum of 2.5% for each year of          agreements as well as the non-union personnel policies included a provision that requires all employees to make a contribution of 1%-3% of pre-tax
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       credited service. All employers allow members to elect a deferred annuity providing a lifetime benefit. The length of service required to elect the      gross wages, which is paid to the VEBA as employer contributions for the funding of retiree health care benefits (OPEB). These contributions
       deferred annuity is either 8 or 15 years, depending on the date of employment and employer group.                                                        resulted in an OPEB obligation for the period ending September 30, 2013 in an amount of $29,409,706.

                  Membership in the plan at December 31, 2012, the date of the latest actuarial valuation, was comprised of 840 active plan members, 82         FUNDING PROGRESS
       inactive vested members and 1,638 retirees and beneficiaries.                                                                                                                                                                                             Fiscal Year Ended September 30
                                                                                                                                                                                                                                                       2011                 2012              2013
       ANNUAL PENSION COST                                                                                                                                           Annual required contribution (recommended)                                    $ 18,708,000          $18,549,049      $18,549,049
                                                                                                                                                                     Interest on the prior year’s net OPEB obligation                                    317,634             797,853        1,211,518
                 The annual pension cost (APC), percentage of APC contributed, and net pension obligation (NPO), for the fiscal years ended September                Adjustment to the annual required contribution                                 _                       (443,250)   _(1,018,580)
       30, 2013, 2012, and 2011, are summarized as follows:                                                                                                                Annual OPEB cost                                                          19,025,634          18,903,652        18,741,987
                                                                                                                                                                     Amount contributed                                                              9,698,547          12,009,195        9,524,252
                           Fiscal                 Annual             % of                Net Pension                                                                       (Increase) in net OPEB Liability                                            (9,327,087)         (6,894,457)     (9,217,735)
                           Year                   Pension            APC                  Obligation                                                                 OPEB Liability – beginning of year                                               (3,970,427)        (13,297,514)    (20,191,971)
                           End                    Costs (APC)       Contributed            (Asset)                                                                         OPEB Asset (obligation) – end of year                                   $ (13,297,514)        $(20,191,971)  $(29,409,706)
                           09/30/11              $12,390,596        100.0%                    0
                           09/30/12               12,232,054        100.0%                    0                                                                                                                                                                 Fiscal Year Ended September 30
                           09/30/13               14,736,420         86.4%                    0                                                                                                                                                        2011                  2012          2013
                                                                                                                                                                     Annual OPEB Costs                                                                $19,025,634         $18,903,652   $18,741,987
       ACTUARIAL METHODS AND ASSUMPTIONS                                                                                                                             Percentage contributed                                                                    51%                  64%           51%
                                                                                                                                                                     Net OPEB obligation                                                              (13,297,514)         (20,191,971)  (29,409,706)
                  In the December 31, 2012 actuarial valuation (the most recent actuarial valuation) the individual entry age cost method was used.
       Significant actuarial assumptions used include an (1) 8.0% investment rate of return, (2) projected salary increases of 3.0% - 7.03% that includes                                                                                                       Plan Year Ended September 30
       inflation at 3.0%, and (3) postretirement benefit increases depending on benefit group. The actuarial value of assets was determined using                    Valuation Date September 30                                                       2007                2010                2012
       techniques that smooth the effects of short-term volatility over a four-year period. The amortization method being used is a level percentage-of-                 Value of Assets at September 30                                              $ 30,427,079       $ 41,579,396      $43,313,587
       payroll on an open basis. The remaining amortization period for unfunded actuarial accrued liability is 25 years.                                                 Actuarial Accrued Liability                                                  179,150,908         286,696,396      308,208,023
                                                                                                                                                                         Unfunded AAL                                                                  148,723,829        245,117,000      264,894,436
       FUNDING PROGRESS                                                                                                                                                  Funded Ratio                                                                        17%                   15%              19%
                                                                                                                                                                         Annual Covered Payroll                                                       $ 58,387,145         58,028,000       36,987,137
       Actuarial Valuation as of                  12/31/2010        12/31/2011           12/31/2012                                                                      Ratio of UAAL to Covered Payroll                                                     2.55%            422.41%          716.18%
       Actuarial Value of Assets                  $401,700,454      $365,262,318         $387,979,375
       Actuarial Accrued Liability (Entry Age)     564,033,044       549,929,631          559,390,939                                                           ACTUARIAL METHODS AND ASSUMPTIONS
       Unfunded AAL                                162,332,590       184,667,313          171,411,564
       Funded Ratio                                      71.2%             66.4%                69.4%                                                                      Actuarial valuations of an ongoing plan involve estimates of the value of reported amounts and assumptions about the probability of
       Covered Payroll                              57,794,546        52,236,539           49,736,813                                                           occurrence of events far into the future. Examples include assumptions about future employments, mortality, and healthcare cost trends. Amounts
       UAAL as a % of Covered Payroll                  280.9%           353.5%                344.6%                                                            determined regarding the funded status of the plan and the annual required contributions of the employer are subject to continual revision as actual
                                                                                                                                                                results are compared with past expectations and new estimates are made about the future.




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       GENESEE COUNTY                                                                                                                      EXHIBIT A-13

                 Projections of benefits for financial reporting purposes are based on the substantive plan (the plan as understood by the employer and the            NOTE K – RECEIVABLES
       plan member) which is formally detailed in the collective bargaining agreements and County Board resolutions. These collective bargaining
       agreements and resolutions include the types of benefits provided at the time of each valuation and the historical pattern of sharing of benefit costs                      Governmental funds report deferred revenue in connection with receivables for revenues that are not considered to be available to
       between the employer and plan members to that point. The actuarial methods and assumptions used include techniques that are designed to                         liquidate liabilities of the current period. Governmental funds also defer revenue recognition in connection with resources that have been received,
       reduce the effects of short-term volatility in actuarial accrued liabilities and the actuarial value of assets, consistent with the long-term perspectives of   but not yet earned. At the end of the current fiscal year, the various components of deferred revenue and unearned revenue reported in the
       the calculations.                                                                                                                                               governmental funds were as follows:

                 In the September 30, 2012 actuarial valuation, the individual entry age actuarial cost method was used. The actuarial assumptions                                   Primary Government                                       Unavailable                  Unearned
       included a 6% investment rate of return (net of expenses), which is the expected long-term investment return on plan assets, and an annual                                    Property taxes                                           $4,763,452
       healthcare cost trend rate of 8% in year one, decreasing by 0.5% annually until year 7 and then remaining at 5%. The UAAL is being amortized as a                             Grant revenue                                            15,018,360                  $209,509
       level percentage of projected payroll on an open basis. The remaining amortization period at September 30, 2013 was 30 years.                                                 Long-term receivable                                      1,765,000

       PLAN DESCRIPTION AND PROVISIONS – Genesee County Community Mental Health                                                                                                      Component units                                                                       Unearned
                                                                                                                                                                                     Road projects                                                                         $2,244,190
                  The Genesee County Community Mental Health Retiree Health Care Plan (the “Plan”) is a single-employer defined benefit healthcare plan                              Unearned leases                                                                          156,500
       administered by Mental Health (the “Agency”) a major fund included Genesee County’s financial report. The Plan provides health insurance                                      Grant revenue                                                                          8,725,455
       benefits, including medical, prescription, dental, and optical coverage to certain retirees and their beneficiaries, which are advance-funded on a
       discretionary basis. The Plan was closed to new hires as of May 2008. The valuation for this benefit plan has been conducted in accordance with
       generally accepted actuarial principles and practices. Data concerning active members, retirees and beneficiaries was provided by Genesee County                NOTE L – INDIVIDUAL FUND INTERFUND RECEIVABLE AND PAYABLE BALANCES AND TRANSFERS
       Community Mental Health. This plan does not issue separate stand alone financial statements.
                                                                                                                                                                       Interfund Receivable and Payables:
       FUNDING POLICY                                                                                                                                                                                                                                                                        Interfund         Interfund
                                                                                                                                                                                                                                                                                            Receivable          Payable
                 The contribution requirements of Plan members and the Agency are established and may be amended by the Agency Board of Directors.                     Government Funds:
       The required contribution is based on actuarially determined finance rates, with an additional amount to prefund benefits as determined annually by                  General Fund:
       the Agency. For the three month period ended December 31, 2012, the Agency contributed $1,316,026 to the Plan, $483,524 of which was to fund                              County Health ......................................................................................                    $ 2,453,920
       current year benefits. Plan members receiving benefits contributed $0.                                                                                                    Genesee County Community Action Resource Department ...............                                         3,217,961
                                                                                                                                                                                 Enterprise ............................................................................................     7,830,989        1,003,685
       ACTUARIAL METHODS AND ASSUMPTIONS                                                                                                                                         Non-major Special Revenue................................................................                   3,203,774        7,042,704
                                                                                                                                                                                 Debt Service ........................................................................................          18,019
                  Actuarial valuations of an ongoing plan involve estimates of the value of reported amounts and assumptions about the probability of                            Capital Projects....................................................................................           84,355
       occurrence of events far into the future. Examples include assumptions about future employment, mortality, and the healthcare cost trend.                                 Internal Service....................................................................................        1,118,824     5,722,375
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       Actuarially determined amounts are subject to continual revision as actual results are compared with past expectations and new estimates are made                                                                                      Total General Fund ..........                 15,473,922    16,222,684
       about the future.
                                                                                                                                                                               County Health:
                  Projections of benefits for financial reporting purposes are based on the substantive plan (the Plan as understood by the employer and                            General Fund.......................................................................................      2,453,920
       Plan members) and include the types of benefits provided at the time of each valuation and the historical pattern of sharing of benefit costs between                        Genesee County Community Action Resource Department ...............                                                           7,751
       the employer and Plan members to that point. The actuarial methods and assumptions used to include techniques that are designed to reduce the                                Non-major Special Revenue................................................................                 840,413
       effects of short-term volatility in actuarial accrued liabilities and the actuarial value of assets, consistent with the long-term perspective of the                        Internal Service....................................................................................                       289,774
       calculations.                                                                                                                                                                                                                           Total County Health .........                 3,294,333         297,525

                 In the December 31, 2012 actuarial valuation, the projected unit credit actuarial cost method was used. The actuarial assumptions                              Genesee County Community Action Resource Department:
       include: (a) a rate of return on investments of 8.0%: (b) projected salary increases of 5.0% attributable to inflation: (c) additional projected salary                      General Fund.......................................................................................                       3,217,961
       increases ranging form 0.0% to 4.03%, depending on age, attributable to seniority/merit; and (d) projected healthcare benefit increases of 4.5% to                           County Health ......................................................................................        7,751
       9.0%. The actuarial value of assets was determined based on market value. The unfunded actuarial accrued liability is being amortized as a level                             Non-major Special Revenue………………………………………………                                                               126,583
       dollar amount over 30 years on a closed basis. The remaining amortization period at December 31, 2012, the date of the latest actuarial valuation,                           Internal Service....................................................................................                        194,719
       was 10 years.                                                                                                                                                                   Total Genesee County Community Action Resource Department ..                                           134,334         3,412,680

                  On August 29, 2012, the Board of Commissioners of Genesee County, Michigan approved a resolution to establish a community mental                             Community Development:
       authority (a separate entity) to assume the activities of the Agency, effective January 1, 2013. The Agency is reported as a discretely presented                           General Fund.......................................................................................
       component unit effective January 1, 2013.                                                                                                                                   Non-major Special Revenue................................................................                                   132,296
                                                                                                                                                                                   Internal Service....................................................................................                            329
                                                                                                                                                                                            Total Community Development ..............................................                                         132,625
       NOTE J – LEASES
                                                                                                                                                                       Non-major Special Revenue Funds:
                  The County is party to numerous operating leases, aggregate rental expenses which were approximately $74,535 for the year ended                                 General Fund.......................................................................................        7,042,704        3,203,774
       September 30, 2013 exclusive of the amount paid to a related organization described below. Minimum future rental payments under existing leases                            County Health ......................................................................................                          840,413
       are not significant.                                                                                                                                                       Genesee County Community Action Resource Department ...............                                                           126,583
                                                                                                                                                                                  Community Development ....................................................................                  132,296
                The Genesee County Community Mental Health Services is committed under various leases for building and office space and vehicles.                                 Non-major Special Revenue................................................................                   103,310           103,310
       These leases are considered for accounting purposes to be operating leases and contain renewal options of two to three years. Rental                                       Enterprise ............................................................................................                       211,585
       expenditures for the three month period ended December 31, 2012 are $93,127.                                                                                               Internal Service....................................................................................                          509,087
                                                                                                                                                                                           Total Non-major Special Revenue Funds...............................                              7,278,310        4,994,752
                                                                                                                                                                       Non-major Debt Service:
                                                                                                                                                                                  General Fund………………………………… ........................................                                                             18,019
                                                                                                                                                                                  Debt Service…………………………….................................................                                      1,605             1,605
                                                                                                                                                                                  Capital Project………………………….. ...............................................                                   9,283
                                                                                                                                                                                  General Fund………………………………….. ......................................                                            2,514    __           0
                                                                                                                                                                                                                         Total Non-major Debt Service Funds .....                              13,402    _       19,624




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       GENESEE COUNTY                                                                                                                                            EXHIBIT A-13

       Interfund Receivable and Payables continued:                                                                                                                             Interfund Transfers In and Out                                                                                            Transfers              Transfers
                                                                                                                                    Interfund              Interfund                                                                                                                                      _ In                     Out__
                                                                                                                                   Receivable               Payable                                                         Genesee County Community Action Resource Department (GCCARD)
       Capital Projects:                                                                                                                                                                                                    County Health......... ............... ............... ...............
                   General Fund…………………………... ...............................................                                                               84,355                                                           GCCARD ............... ............... ............... ...............
                   Debt Service……………………………. ...............................................                                                                 9,283                                                           Non-major Special Revenue... ............... ...............                    640,742
                   Internal Service………………………………….. ...................................                                                                    163,699                                                           Debt ........................................................................                         361,911
                                  Total Non-major Debt Service Funds ............................                                                         257,337                                                                        Total GCCARD .......................................               640,742               361,911
                                             Total Governmental Funds .........................                                    26,194,301          25,337,227
                                                                                                                                                                                Non-major Special Revenue:
       Enterprise:                                                                                                                                                                                 General ...................................................................................                13,623,786         1,956,569
             Delinquent Tax:                                                                                                                                                                       County Health ......... ...............................................................                                         420,865
                   General Fund.......................................................................................                 1,003,685           7,830,989                               GCCARD ................ ...............................................................                                         640,742
                   Non-major Special Revenue................................................................                             211,585                                                   Enterprise ............... ...............................................................                                      545,000
                   Internal Service....................................................................................                                    49,633                                  Debt ........................................................................................                                    17,460
                                                                              Total Delinquent Tax… ....                               1,215,270        7,880,622                                  Capital..................... ...............................................................                  197,412
                                               Total Business Type Activity...........................                                 1,215,270        7,880,622                                  Non-major Special Revenue...................................................                                  610,894           610,894
                                                                                                                                                                                                   Internal....................................................................................              __________            454,257
       Internal Service Funds:                                                                                                                                                                                  Total Non-major Governmental Funds ...................                                        14,432,092         4,645,787
                   General Fund.......................................................................................                 5,722,375        1,118,824
                   County Health ......................................................................................                  289,774                                Debt:
                   Genesee Community Action Resource Department............................                                              194,719                                                             General .. ................................................................................         2,751,216             18
                   Community Development ....................................................................                                329                                                             County Health .........................................................................
                   Non-major Special Revenue................................................................                             509,087                                                             GCCARD ................................................................................              361,911
                   Debt Service ........................................................................................                                      2,514                                          Debt ....... ................................................................................
                   Capital Projects....................................................................................               163,699                                                                Capital.... ................................................................................
                   Enterprise ............................................................................................             49,633                                                                Non-major Special Revenue...................................................                           17,460
                   Internal Service....................................................................................               144,262             144,262                                            Enterprise ...............................................................................      _      29,100
                                                                          Total Internal Service Funds ..                           7,073,878           1,265,600                                                         Total Debt Service Funds . .....................................                       3,159,687   _         18
                            Total Interfund Receivables/Payables ....................................                             $34,483,449         $34,483,449
                                                                                                                                                                                Capital Project:
       Due to/from primary government and component units:                                                                                                                                                   General .. ................................................................................                          32,260
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             Component unit Land Bank Authority............................................................                            $    26,359      $ 466,518                                            Non-major Special Revenue...................................................                                        197,412
             Primary government Non-major Special Revenue Community Development                                                                            26,359                                            Debt ....... ................................................................................   _________           163,699
             Primary government Delinquent Taxes .........................................................                            466,518                   0                                                         Total Capital Projects Funds ..................................                                        393,371
             Total Primary Government and Component Unit Interfund Receivables/Payables                                             $ 492,877          $ 492,877                                                                                          Total Governmental Funds                            28,960,116     _25,501,311

             Note —The inter fund receivables/payables exist due to the fact that the County uses a pooled cash management account for substantially all                        Enterprise:
       funds.                                                                                                                                                                                                General .. ................................................................................                         4,734,725
                                                                                                                                                                                                             Debt ....... ................................................................................                          29,100
       Long-term Advances:                                                                                                                                                                                   Non-major Special Revenue...................................................                         545,000
             Primary Government - Hughes & Hatcher Debt Service Fund......................                                         $1,765,000          $                                                     Enterprise ...............................................................................
             Component unit – Land Bank Authority.........................................................                                                 1,765,000                                         Internal ... ................................................................................   _________                 439
             Primary Government – General Fund ...........................................................                             1,804,809                                                                          Total Enterprise Funds ...........................................                    545,000          4,764,264
             Primary Government – Vehicles and Equipment ..........................................                                                     1,804,809
             Total Primary Government and Component Unit Long-term Advances ........                                               $3,569,809          $3,569,809               Internal Services:
                                                                                                                                                                                                    General ...................................................................................                  142,064
                                                                                                                                                                                                    Enterprise ...............................................................................                       439
       Interfund Transfers In and Out                                                                                                  Transfers       Transfers                                    Non-major Special Revenue...................................................                                 454,258
                                                                                                                                       _ In              Out__                                      Capital Projects.......................................................................                      163,699
       Major Funds:                                                                                                                                                                                                 Total Internal Service Funds...................................                              760,459
                                   General:                                                                                                                                     Total Transfers In/Out ............ ................................................................................         $30,265,575     $30,265,575
                                                  Mental Health .........................................................          $                   $ 925,000
                                                  County Health.........................................................                                2,658,158               Transfers between funds were primarily for operating purposes. Other transfers were made to close funds.
                                                  Enterprise ...............................................................           4,734,725
                                                  Non-major Special Revenue...................................                         1,956,569       13,623,786
                                                  Debt ........ ...............................................................               18        2,751,216
                                                  Capital .... ...............................................................            32,260
                                                  Internal....................................................................                            142,064
                                                               Total General Fund ................................                     6,723,572       20,100,224

                                   Mental Health:
                                            General...................................................................            __       925,000             _
                                                      Total Mental Health ................................                                 925,000   _______ ___

                                   County Health:
                                            General... ...............................................................               2,658,158
                                            Non-major Special Revenue...................................                          ____420,865
                                                       Total County Health...............................                            3,079,023                    0




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       GENESEE COUNTY                                                                                                                EXHIBIT A-13

       NOTE M - EXCESSES OF EXPENDITURES OVER APPROPRIATIONS                                                                                                             Interest rate risk - Interest rate risk is the risk that the value of investments will decrease as a result of a rise in interest rates. The
                                                                                                                                                               Commission’s investment policy does not restrict investment maturities, other than commercial paper which can only be purchased with a 270-day
               Excesses of expenditures over appropriations in individual funds are presented below:                                                           maturity. At year end, the average maturities of investments are as follows:
                                                                                                                                Excess
            Fund                                                                                                             Expenditures                                   Road Commission
       General Fund                                                                                                                                                                 Investment                                                                Fair Value                               Less than one year
                  Board of Commissioners .....................................................................                  $ 4,170                                             Mutual funds                                                              $19,430,602                                 $19,430,602
                  Treasurer .............................................................................................        20,979
                  Drain Commission ...............................................................................                2,777                                     Land Bank Authority:
                  Equalization .........................................................................................          4,465                                             Investment                                                                  Fair Value                             Less than one year
                  Circuit Court.........................................................................................         62,639                                             Governmental security pooled fund                                          $1,531,245                                  $1,531,245
                  District Court ........................................................................................        87,939
                  Probate Court ......................................................................................           11,245                                     Genesee Health System:
                  Prosecutor ...........................................................................................         19,597                                             Investment                                                                  Fair Value                             Less than one year
                  Sheriff Administration...........................................................................              22,903                                             Governmental security pooled fund                                          $8,564,000                                  $8,564,000
                  Sheriff Marine Division.........................................................................                  858                                             Mutual funds                                                                7,751,285                                   7,751,285
                  Detective Division ................................................................................             7,177
                  Other:                                                                                                                                                 Credit risk – State law limits investments in commercial paper to the top two ratings issued by nationally recognized statistical rating
                     Other................................................................................................      416,700                        organizations. The Commission has no investment policy that would further limit its investment choices. As of year end, the credit quality ratings of
                  Appropriations:                                                                                                                              debt securities (other than the U.S. government) are as follows:
                     Administration of Justice Funds.......................................................                      11,473
                     Law Enforcement Funds..................................................................                     60,000                        Road Commission:                                                                                                                                                Rating
                  Debt Service ........................................................................................          61,879                                                   Investment                                                          Fair Value                             Rating                   Organization
       Community Action Resource Department..........................................................                           537,565                                                   MERS total Market Fund                                              $19,430,602                             N/A                      N/A
       Other Non-major Governmental Funds
            Accommodation Ordinance Tax ....................................................................                     290,905                                    Land Bank Authority:                                                                                                                               Rating
            Community Enrichment and Development ....................................................                          2,454,239                                             Investment                                                               Fair Value                             Rating                   Organization
            Drug Forfeitures.............................................................................................         53,744                                             Governmental security pool                                               $1,531,245                              N/A                        N/A
            Health Care Services.....................................................................................          1,781,687
            Law Enforcement...........................................................................................         1,067,263                                                                                                                                                                                       Rating
            Parks and Recreation ....................................................................................            930,818                                     Genesee Health System:                                                           Fair Value                            Rating                    Organization
                                                                                                                                                                                     Governmental security pooled fund                                       $8,564,000                              N/A                         N/A
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                                                                                                                                                                                     Mutual funds                                                            7,751,285                               N/A                         N/A
       NOTE N - COMPONENT UNIT DISCLOSURES

       Deposits and investments:                                                                                                                               ROAD COMMISSION:
                                                                                                                                                               Long-term Debt: The long-term debt for the Genesee County Road Commission is presented below:
       All of the County’s component unit deposits and investments are governed by the following:
                                                                                                                                                                                                                      Balance                                                                                              Balance
       Michigan Compiled Laws Section 129.91 (Public Act 20 of 1943, as amended) authorizes local governmental units to make deposits and invest in                                                               October 1, 2012                                 Additions              Reductions                   September 30, 2013
       the accounts of federally insured banks, credit unions, and savings and loan associations that have offices in Michigan. The County’s component                      MTF notes                              $ 8,710,000                                $                          $(1,500,000)                   $ 7,210,000
       units are allowed to invest in bonds, securities, and other direct obligations of the United States or any agency or instrumentality of the United                   SIB Loan                                    249,092                                                            ( 249,092)
       States; repurchase agreements; bankers’ acceptances of United States banks; commercial paper rated within the two highest classifications, which                     Recovery Zone Bond                        4,880,000                                                            ( 565,000)                       4,615,000
       mature not more that 270 days after the date of purchase; obligations of the State of Michigan or its political subdivisions, which are rated as                       Total notes and leases                13,839,902                                                            (2,314,092)                      11,525,000
       investment grade; and mutual funds composed of investment vehicles that are legal for direct investment by local units of government in Michigan.                    Compensated absences                     1,074,030                                                           (      5,491)                      1,068,539
                                                                                                                                                                              Total long-term debt                 $14,913,122                                $                          $(2,319,583)                     $12,593,539
       The Road Commission has designated two banks for the deposit of its funds. The investment policy adopted by the Board of each component unit
       is in accordance with Public Act 196 of 1997. All component unit deposits and investment policies are in accordance with statutory authority. The             The outstanding bonds and notes payable at September 30, 2013, and matured interest thereon, are payable to the State of Michigan from the
       cash and investments of component units are subject to the same types of risks as detailed in Note C. These risks are examined in more detail           proceeds of state-collected taxes returned to the Road Commission as Act 51 monies. In the case of default, the state treasurer is authorized to
       below:                                                                                                                                                  withhold future disbursements of Act 51 monies due the Road Commission until the defaulted payments are recovered by the State.

                 Custodial credit risk of bank deposits - None of the component units have a deposit policy for custodial credit risk. At year end, the Road                For certain outstanding notes, special assessments have also been levied on specific properties abutting certain road improvements.
       Commission had $28,728,590 of bank deposits (checking and high balance savings accounts) that were uninsured and uncollateralized. At year              The collection of the assessments has been pledged as additional security for the payment of the bonds. The detail of general obligation bonds and
       end, the Economic Development Corporation had $91,932 of bank deposits (checking and high balance savings accounts) that were uninsured and             loans payable is shown below:
       uncollateralized. At year end, the Water and Waste Services Division had $1,092,031 of bank deposits (checking and high balance savings
       accounts) that were fully insured. At year end, the Drain Commission had $393,059 of bank deposits (checking and high balance savings accounts)                                                                                                                                     Annual
       that were uninsured and uncollateralized. At year end, the Land Bank Authority had $1,531,245 of bank deposits (checking and savings accounts)                                                                                                                                      Principal                  Outstanding
       that were uninsured and uncollateralized. At year end, the Brownfield Authority did not have any bank deposits (checking and savings accounts)                       Obligation                                           Final                            Interest Rate            Payment                      Balance              Due Within
       that were uninsured and uncollateralized. At year end, the Storm Water Management System had $223,477 of bank deposits (checking and                                 Payables                                          Payment Due                           or Range               or Range                   Sept. 30, 2013          One Year
       savings accounts) that were uninsured and uncollateralized. At year end, the Genesee Health System had $41,283,786 of bank deposits (checking
       and savings accounts) that were uninsured and uncollateralized.                                                                                         Michigan Transportation Fund notes:
                                                                                                                                                                     2006A Issue...................................        August 1, 2016                                  4.00%                   $270,000-295,000   $    850,000            $270,000
                                                                                                                                                                     2007 Issue .....................................      September 30, 2017                          3.70-4.00                465,000-525,000          1,970,000              465,000
                                                                                                                                                                     2008 Issue .....................................      August 1, 2018                              3.00-4.00                410,000-515,000          2,305,000              410,000
                                                                                                                                                                     2009 Issue .....................................      August 1, 2019                              2.00-3.30                320,000-380,000        __2,085,000              320,000
                                                                                                                                                                           Total Notes ...........................................................................................................                       7,210,000            1,465,000
                                                                                                                                                               Recovery Zone Bond 2010 Issue............                  August 1, 2020                                   4.34                575,000-665,000           4,315,000              575,000
                                                                                                                                                               Compensated absences ..........................................................................................................                           1,068,539           __140,798
                                                                                                                                                                                                                                                                                                                       $12,593,539           $2,180,798




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       GENESEE COUNTY                                                                                                                               EXHIBIT A-13

       Annual requirements to pay principal and interest on the outstanding obligations at September 30, 2013, are as follows:                                       FUND POLICY

                                                                                                            Long-term debt                                                 The collective bargaining agreements require the Road Commission to pay the insurance premium/claim costs of the retiree and spouse until
             Year Ended 9-30-2014 ..................................................                           $2,487,493                                            death. The Commission obtains health care coverage for retirees through private insurers. Upon eligibility for Medicare, the Road Commission will
             9-30-2015 ......................................................................                   2,486,748                                            pay the difference between the plan costs and the amount covered by Medicare. The Road Commission has no obligation to make contributions in
             9-30-2016 ......................................................................                   2,486,197                                            advance of when the insurance premiums or claims are due for payment (in other words, this may be financed on a “pay-as-you-go” basis).
             9-30-2017 ......................................................................                   2,181,607
             09-30-2018 ....................................................................                    1,639,016                                            FUNDING PROGRESS
             09-30-2019 – 09-30-2020..............................................                              1,788,255
             Amount representing interest ........................................                             (1,544,316)                                                 For the year ended September 30, 2012, the Road Commission has estimated the cost of providing retiree health-care benefits through an
                                                                                                              $11,525,000                                            actuarial valuation as of September 30, 2012. The valuation computes an annual required contribution, which represents a level of funding that, if
                                                                                                                                                                     paid on an ongoing basis, is projected to cover normal cost each year and amortize any unfunded actuarial liabilities over a period not to exceed 30
       Act 143, Public Acts of State 1943, provides that total bonds and notes outstanding under this Act cannot exceed 40% of the sum of the revenues               years. This valuation’s computed contribution and actual funding are summarized as follows:
       derived from state collected taxes returned to the county for county road purposes for the last preceding five calendar years and not specifically
       allocated for other purposes. As of September 30, 2012, the Road Commission is within the statutory limit of Act 143.                                                                                                              Fiscal Year Ended September 30
                                                                                                                                                                                                                                      2011                 2012           2013
       Future Revenues Pledged for Debt Payment: The Road Commission Board has irrevocably appropriated and pledged the money received and to                              Annual required contribution (recommended)              $4,494,838          $4,536,548     $4,501,630
       be received by the County from the Michigan Transportation Fund (the “Transportation Fund”) for highway and road purposes pursuant to Act 51,                       Interest on the prior year’s net OPEB obligation           131,733             102,137         88,459
       Public Acts of Michigan, 1951, as amended (“Act 51”) to the extent necessary to pay the above principal of and interest on the Michigan                             Less adjustment to the annual required contribution    _ (218,502)            (165,462)      (141,299)
       Transportation Notes. Proceeds from the bonds provided financing for the construction of the road projects. During the current year, Act 51                               Annual OPEB cost                                  $4,408,069         $4,473,223     $4,448,790
       revenues were $20,688,883 compared to the annual debt requirements of $2,881,580.                                                                                   Amount contributed:
                                                                                                                                                                                 Payments of current premiums                      (2,611,228)          (2,708,943)    (2,684,373)
       Property and Equipment: The following table summarizes the changes in the components of the Road Commission’s capital assets:                                             Advance funding                                   (2,191,456)          (2,000,000)    (3,000,000)
                                                                                                                                                                                      Decrease in net OPEB obligation                (394,615)            (235,720)     (1,235,583)
                                                                                           Balance                                                     Balance             OPEB obligation – beginning of year                      1,756,446            1,361,831       1,179,459
                                                                                          Oct. 1, 2012               Additions          Deletions   Sept. 30, 2013               OPEB obligation (asset) – end of year        $    1,361,831           $1,126,111      $ (56,124)
             Capital assets not being depreciated:
                   Land and improvements ...............                                   $ 478,816                  $             $                  $ 478,816                                                                Fiscal Year Ended September 30
                   Construction in progress...............                                   152,523                      479,185         152,523        479,185                                                          2011                 2012              2013
                   Depletable assets .........................                                 1,210                                                       1,210          Annual OPEB Costs                            $4,408,069         $4,473,223         $4,448,790
                        Subtotal ..................................                          632,549                      479,185         152,523        959,211          Percentage contributed                              107%               104%               128%
             Capital assets being depreciated:                                                                                                                            Net OPEB obligation                          $1,361,831          $1,126,111         $ (56,124)
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                   Land improvements ......................                                     2,150,742                 105,340                       2,256,082
                   Buildings and improvements.........                                          9,633,661                 118,443                       9,752,104    The funding progress of the plan as of the most recent valuation date is as follows:
                   Equipment:
                        Road.......................................                        26,327,112                1,900,296          1,644,128      26,583,280                                                                                 Fiscal Year Ended September 30
                        Shop .......................................                          497,410                   77,603                            575,013                                                                      2011                   2012            2013
                        Engineering ............................                               92,577                   34,077                            126,654                Unfunded AAL                                     $44,716,286            $42,584,913       $56,659,252
                        Yard and Storage ...................                                  557,311                   47,727                            605,038                Actuarial value of plan assets                     7,998,488             14,074,339        14,074,339
                        Office ......................................                       1,322,627                  165,904             48,602       1,439,929                Actuarial accrued liability                       52,714,774             56,659,252        42,584,913
                             Total .................................                       40,581,440                2,449,390          1,692,730      41,338,100                Funded                                                     15%                    25%              25%
             Capital assets not being depreciated continued:                                                                                                                     Annual covered payroll – December 31,             $9,023,093             $8,713,876        $8,713,876
                        Infrastructure-Roads...............                              352,102,236                16,215,462                       368,317,698                 Ratio of UAAL to covered payroll                         496%                   489%              489%
                        Infrastructure-Bridges.............                               29,504,795                   762,207                        30,267,002
                        Subtotal ..................................                      422,188,471                19,427,059          1,692,730    439,922,800     ACTUARIAL METHODS AND ASSUMPTIONS
             Less accumulated depreciation for:
                   Land improvements ......................                                   (544,911)               (106,703)                          (651,614)          Actuarial valuations of an ongoing plan involve estimates of the value of reported amounts and assumptions about the probability of
                   Buildings and improvements.........                                      (6,346,475)               (312,254)                        (6,658,729)   occurrence of events far into the future. Examples include assumptions about future employment, mortality, and the healthcare cost trend. Amounts
                   Equipment:                                                                                                                                        determined regarding the funded status of the plan and the annual required contributions of the employer are subject to continual revision as actual
                        Road.......................................                      (20,566,710)                (2,154,796)    (1,448,470)       (21,273,036)   results are compared with past expectations and new estimates are made about the future. The schedule of funding progress, presented as
                        Shop .......................................                        (363,780)                   (20,398)                         (384,178)   required supplementary information following the notes to the financial statements, presents multiyear trend information about whether the actuarial
                        Engineering ............................                             (81,242)                    (5,027)                          (86,269)   value of plan assets is increasing or decreasing over time relative to the actuarial accrued liabilities for benefits.
                        Yard and storage....................                                (501,266)                    (6,481)                         (507,747)
                        Office ......................................                       (894,645)                  (129,762)       (48,602)          (975,805)          Projections of benefits for financial reporting purposes are based on the substantive plan (the plan as understood by the employer and the
                             Subtotal............................                        (29,299,029)                (2,735,421)    (1,497,072)       (30,537,378)   plan members) and include the types of benefits provided at the time of each valuation and the historical pattern of sharing of benefit costs between
                   Infrastructure-Bridges ...................                             (7,639,854)                  (753,228)                       (8,393,082)   the employer and plan members to that point. The actuarial methods and assumptions used include techniques that are designed to reduce the
                   Infrastructure-Roads .....................                           (208,646,967)               (12,322,102)                     (220,969,069)   effects of short-term volatility in actuarial accrued liabilities and the actuarial value of assets, consistent with the long-term perspective of the
                             Subtotal............................                       (245,585,850)               (15,810,751)    (1,497,072)      (259,899,529)   calculations.

             Total net capital assets...........................                        $177,235,170                $ 4,095,493     $     348,181   $180,982,482             In the September 30, 2012, actuarial valuation, the projected unit credit actuarial cost method was used. The actuarial assumptions included
                                                                                                                                                                     a 7.5 percent investment rate of return (net of administrative expenses), which is a blended rate of the expected long-term investment returns on
                                                                                                                                                                     plan assets and on the employer’s own investments calculated based on the funded level of the plan at the valuation date, and an annual healthcare
       POST-EMPLOYMENT BENEFITS—                                                                                                                                     cost trend rate of 8.5 percent initially, reduced by decrements to an ultimate rate of 4.5 percent after four years. Both rates included a 4.0 percent
                                                                                                                                                                     inflation assumption. At the point in time that the Road Commission begins funding the plan, the actuarial value of assets will be determined using
       PLAN DESCRIPTION                                                                                                                                              techniques that spread the effects of short-term volatility in the market value of investments over a multiple year period. The UAAL is being
                                                                                                                                                                     amortized as a level percentage of projected payroll on a closed 30-year basis. The remaining amortization period at September 30, 2012 was 26
             The Road Commission provides retiree health-care benefits to eligible employees and their spouses. This is a single employer defined benefit            years.
       plan administered by the Road Commission. The benefits are provided under collective bargaining agreements.




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       NOTES TO FINANCIAL STATEMENTS

       GENESEE COUNTY                                                                                                                                              EXHIBIT A-13

       WATER AND WASTE SERVICES:                                                                                                                                                                                                                           Balance                                                            Balance
                                                                                                                                                                                                                                                         Jan. 1, 2012              Additions           Reclassifications   Dec. 31, 2012
       Long-term Debt: The summary of long-term debt transactions for the Water and Waste Services for the year ended December 31, 2012 is                                                       Internal Service Funds:
       presented below:                                                                                                                                                                                Capital assets not being depreciated-
                                                                                                                                                                                                           Construction in progress ........                  16,250                                      (16,250)
                                                                                                                       Balance             Additions             Balance      Due In                   Capital assets being depreciated –
                                                                                                                     Jan. 1, 2012         (Reductions)        Dec. 31, 2012 One Year                       Buildings and equipment ........                8,628,852                (122,987)                                  8,505,865
                                                                                                                                                                                                       Less accumulated depreciation –
                     1.625% to 6.0% Interceptor and treatment facilities ......................... $ 104,546,556                           $ 3,388,570                                                     Buildings and equipment ........               (5,797,381)               (108,558)                                (5,905,939)
                             .............................................................................................                  (6,555,000)       $101,380,126    $6,700,000               Net capital assets being depreciated                2,831,471                (231,545)             (16,250)            2,599,926
                     2.5% to 7.375% District No. 3........................................................... 32,688,516                        29,999                                                 Total proprietary fund capital assets            $321,952,707           $     946,916      $             0          $322,899,623
                             .............................................................................................                  (2,719,250)         29,999,265     2,835,000
                     2.50% to 5.00% Water supply system ...........................................                          40,245,000     (1,260,000)         38,985,000     1,310,000
                             Subtotal................................................................................ 177,480,072           (7,115,681)        170,364,391    10,845,000   POST-EMPLOYMENT BENEFITS—
                     Unamortized note premium ...........................................................                       408,948      ( 90,443)             318,505        22,584
                                                                                                                           $177,889,020   $ 7,206,124         $170,682,896   $10,867,584   PLAN DESCRIPTION

                                                                                                                                                                                                 The Water and Waste Services Division provides retiree healthcare, dental, life, and vision benefits to eligible employees and their spouses
       The annual requirements to pay principal and interest on the outstanding obligations for Water and Waste Services at December 31, 2012 are as                                       through the Municipal Employees’ Retirement System. This is an agent multiple employer defined benefit plan administered by the Division. The
       follows:                                                                                                                                                                            benefits are provided under collective bargaining agreements.
                                                                                                                         Principal     Interest    Total__
                  2013 ............................................................................................. $ 10,845,000   $5,654,333   $16,499,333                               FUND POLICY
                  2014 ............................................................................................. 11,180,000      5,317,264    16,497,264
                  2015 ............................................................................................. 11,540,000      4,966,431    16,506,431                                     The collective bargaining agreements do not require employee contributions. The Division has no obligation to make contributions in advance
                  2016 ............................................................................................. 11,645,000      4,604,434    16,249,434                               of when the insurance premiums are due for payment (in other words, this may be financed on a “pay-as-you-go” basis). However, as shown below,
                  2017 ............................................................................................. 10,830,000      4,250,159    15,080,159                               the Division has made contributions to advance-fund these benefits, as determined by the Division.
                  2018-2022......................................................................................... 48,350,000     16,663,484    65,013,484
                  2023-2027......................................................................................... 46,570,000      8,859,989    55,429,989                               FUNDING PROGRESS
                  2028-2032......................................................................................... 17,869,391      2,250,274    20,119,665
                  2033 .............................................................................................     1,535,000       75,406    1,610,406                                     For the year ended December 31, 2012, the Division has estimated the cost of providing retiree healthcare benefits through an actuarial
                  Total ............................................................................................. $170,364,391 $52,641,774  $223,006,165                               valuation as of December 31, 2010. The valuation computes an annual required contribution, which represents a level of funding that, if paid on an
                                                                                                                                                                                           ongoing basis, is projected to cover normal cost each year and amortize any unfunded actuarial liabilities over a period not to exceed 30 years. This
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       Future Revenues Pledged for Debt Payment: The Water and Waste Services Division has pledged substantially all revenue of the Water and                                              valuation’s computed contribution and actual funding are summarized as follows:
       Sewer Fund, net of operating expenses, to repay the above Genesee County Drain Commissioner water and sewer revenue bonds. Proceeds from
       the bonds provided financing for the construction of the water and waste systems described above. The bonds are payable solely from the net                                                                                                                      Fiscal Year Ended December 31
       revenues of the water and sewer system. The remaining principal and interest to be paid on the bonds total $115,370,449. For the year ended                                                                                                              2010                 2011               2012
       December 31, 2012, net revenues of the system were $12,895,721 compared to the annual debt requirements of $7,623,037.                                                                    Annual required contribution (recommended)               $2,587,823           $3,933,831        $3,818,480
                                                                                                                                                                                                 Interest on the prior year’s net OPEB obligation            121,341              127,528            230,108
       In the next 6 to 12 months the County may issue an estimated $18,000,000 to $31,000,000 of water revenue refunding bonds with a limited tax                                               Less adjustment to the annual required contribution         (67,411)             (78,511)          (101,338)
       general obligation pledge to refund certain outstanding water revenue bond issues for debt service savings.                                                                                     Annual OPEB cost                                    2,641,753            3,982,848          3,947,250

       Karegnondi Water Authority – See Note Q                                                                                                                                                                                                                         Fiscal Year Ended December 31
                                                                                                                                                                                                                                                               2010                   2011                2012
       Capital Assets - The summary of capital assets for Water and Waste Services at December 31, 2012 is displayed on the following page:                                                      Amount contributed:
                                                                                                                                                                                                      Payments of current premiums                        (1,395,270)           (1,337,004)       (1,523,879)
                                                                                       Balance                                                                         Balance                        Advance funding                                        (80,595)              (81,360)        (2,500,000)
                                                                                     Jan. 1, 2012                    Additions                 Reclassifications    Dec. 31, 2012                    (Increase) Decrease in net OPEB obligation           (1,165,888)           (2,564,484)            76,629
       Proprietary fund capital assets                                                                                                                                                                OPEB obligation – Beginning of year                 (2,022,323)           (3,188,211)        (5,752,695)
             Enterprise Funds:                                                                                                                                                                            OPEB obligation – end of year                  $(3,188,211)          $(5,752,695)       $(5,676,066)
                    Capital assets not being depreciated:
                        Land .......................................                $      871,021               $                            $                       $ 871,021                                                                                      Fiscal Year Ended December 31
                        Construction in progress ........                               86,046,793                   5,697,277                 (36,835,568)            54,908,502                                                                               2010                2011                 2012
                            Subtotal............................                        86,917,814                   5,697,277                 (36,835,568)            55,779,523                Annual OPEB Costs                                        $2,641,753          $3,982,848           $3,947,250
                    Capital assets being depreciated:                                                                                                                                            Percentage contributed                                        55.87%              35.61%             101.94%
                        Distribution & collections systems                           278,985,859                     1,895,257                 29,806,472             310,687,588                Net OPEB obligation                                      $3,188,211          $5,752,695           $5,676,066
                        Vehicles..................................                       382,261                                                                          382,261
                        Buildings and equipment ........                               5,419,064                       435,029                  7,045,346              12,899,439          The funding progress of the plan as of the most recent valuation date is as follows:
                            Subtotal............................                     284,787,187                     8,027,563                 36,851,818             323,969,288
       Proprietary fund capital assets                                                                                                                                                                                                                               Fiscal Year Ended December 31
                    Less accumulated depreciation for:                                                                                                                                                                                                          2010               2011                  2012
                        Distribution & collections systems                           (48,921,258)                    (6,327,670)                                      (55,248,928)               Unfunded AAL                                            $35,394,879        $51,474,408          $35,486,607
                        Vehicles..................................                      (254,852)                      (114,514)                                         (369,366)               Actuarial value of assets.........................                0                  0             2,333,369
                        Buildings and equipment ........                              (3,423,902)                      (406,918)                                       (3,830,820)               Actuarial accrued liability ........................     25,394,879         51,474,408            37,819,976
                            Subtotal............................                     (52,600,012)                    (6,849,102)                                      (59,449,114)               Funded                                                            0%                 0%                 6.17%
                    Net capital assets being depreciated                             232,187,172                     (4,518,816)               36,851,818             264,520,174                Annual covered payroll – December 31                     $8,420,060         $7,610,890            $7,312,770
                    Total capital assets – Net of depreciation                       319,104,986                      1,178,461                    16,250             320,299,697                Ratio of UAAL to covered payroll                            420.36%            676.33%              485.27%




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       NOTES TO FINANCIAL STATEMENTS

       GENESEE COUNTY                                                                                                                                    EXHIBIT A-13

       ACTURIAL METHOD AND ASSUMPTIONS                                                                                                                                           LAND BANK AUTHORITY:

              Actuarial valuations of an ongoing plan involve estimates of the value of reported amounts and assumptions about the probability of                                The summary of long-term debt transactions for the Genesee County Land Bank Authority for                                        the year ended September 30, 2013, is presented
       occurrence of events far into the future. Examples include assumptions about future employment, mortality, and the healthcare cost trend. Amounts                         below:
       determined regarding the funded status of the plan and the annual required contributions of the employer are subject to continual revision as actual                                                                                                             Balance                                                           Balance            Due In
       results are compared with past expectations and new estimates are made about the future.                                                                                                                                                                       Oct.1, 2012  Additions                        (Reductions)      Sept. 30, 2013     One Year
                                                                                                                                                                                             Promissory Note – Genesee County ...................                    $ 510,742    $                               $   (102,149)        $ 408,593          $ 102,149
              Projections of benefits for financial reporting purposes are based on the substantive plan (the plan as understood by the employer and the                                     Berridge Place Project .........................................            540,000                                      (260,000)            280,000          280,000
       plan members) and include the types of benefits provided at the time of each valuation and the historical pattern of sharing of benefit costs between                                 Land Bank Center................................................          1,810,000                                       (45,000)          1,765,000           45,000
       the employer and plan members to that point. The actuarial methods and assumptions used include techniques that are designed to reduce the                                            GCLB-Berridge Planc, LLC LISC note payable ...                            1,360,475                                      (138,709)          1,221,766           16,147
       effects of short-term volatility in actuarial accrued liabilities and the actuarial value of assets, consistent with the long-term perspective of the                                 Line of credit ........................................................     200,000  __                               _ (200,000)                    0      _        _
       calculations.                                                                                                                                                                         Total note leases .................................................       4,421,217                                      (745,858)          3,675,359          443,296
                                                                                                                                                                                             Compensated absences ......................................                  36,338                                        (5,134)              31,204       _ _____
             In the December 31, 2010 actuarial valuation, the individual entry age actuarial cost method was used. The actuarial assumptions included an                             Total long-term ..............................................................  $4,457,555  $                               $ (750,992)          $ 3,706,563       $ 443,296
       4.0 percent investment rate of return (net of administrative expenses) and an annual healthcare cost trend rate of 5.0 percent. The UAAL is being
       amortized as a level percentage of projected payroll over 30 years.
                                                                                                                                                                                 The annual requirements to pay principal and interest on the outstanding obligations at September 30, 2013, are as follows:
             In 2012, the Division approved a prefunding plan and per the plan $2,500,000 was remitted to the trust in 2012 and $1,200,000 per year will
       be remitted starting in 2013.                                                                                                                                                                                                  2014 .................................................        $ 662,959
                                                                                                                                                                                                                                      2015 .................................................         1,549,682
                                                                                                                                                                                                                                      2016 .................................................           249,022
       DRAIN COMMISSION:                                                                                                                                                                                                              2017 .................................................           249,950
                                                                                                                                                                                                                                      2018 .................................................           143,598
       The summary of long-term debt transactions for the Drain funds for the year ended September 30, 2013, is presented below:                                                                                                      2019-2023 ........................................               723,805
                                                                                                                                                                                                                                      2024-2028 ........................................               737,830
                                                                                                                              Balance      Additions      Balance      Due in                                                         2029-2033 ........................................               734,055
                                                                                                                            Oct. 1, 2012 (Reductions) Sept. 30, 2013 One Year                                                         2034 .................................................           147,977
                  Citizens Bank....................................................................................... $ 200,000            $(50,000)   $ 150,000    $ 50,000                                                                                                                        5,198,878
                  3.69% to 6.85% Genesee County Special Assessment                                                                                                                                        Amount representing interest............................................                  (1,523,519)
                          debt with governmental commitment ......................................                              292,926      335,097                                                                                                                                                $3,675,359
                           ................................................................................................                 (147,586)      480,437     146,546
                          4.0 to 4.25% Genesee County Drainage District
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                          #408 Series 2006 Bonds ........................................................                       500,000     (125,000)      375,000     125,000   The following is a summary of capital assets for the Genesee County Land Bank Authority at September 30, 2013:
                  2.0% to 3.15% Genesee County Drainage District
                          Bonds #0017 Series 2011 Bonds ........................................... 2,395,000                               (235,000)    2,160,000     235,000                                                                                  Balance                                                                        Balance
                                                                                                                             $3,387,926   $ (222,489)  $ 3,165,437   $ 556,546                                                                                 Oct. 1, 2012                        Additions           Disposals            Sept. 30, 2013
       The annual requirements to pay principal and interest on the outstanding obligations for the Drain funds at September 30, 2013, are as follows:                                 Capital assets not being depreciated:
                                                                                                                                                                                             Land .........................................                       $      84,308                $                        $                        $     84,308
                                                         2013/2014 ........................................          $641,679                                                                Construction in progress-Bldgs.....
                                                         2014/2015 ........................................           593,601                                                                Subtotal.........................................                           84,308                                                                        84,308
                                                         2015/2016 ........................................           557,656
                                                         2016/2017 ........................................           347,453                                                          Capital assets being depreciated:
                                                         2017/2018 ........................................           340,395                                                                Buildings and improvements.........                                    8,946,972                           4,792               (149,835)                8,801,929
                                                         2019-2022 ........................................         1,024,411                                                                Machinery and equipment ............                                     166,024                                                                          166,024
                                                                                                                    3,505,195                                                                Office equipment...........................                              197,239                                                                          197,239
                                Amount representing interest............................................             (339,758)                                                               Vehicles ........................................                        150,524                         10,523                                           161,047
                                                                                                                  $ 3,165,437                                                                     Subtotal ..................................                       9,460,759                         15,315                (149,835)                9,326,239
                                                                                                                                                                                        Less Accumulated depreciation:
       The following is a summary of capital assets for the Drain fund at September 30, 2013:                                                                                                Buildings and improvements.........                                 (1,340,153)                         (312,199)               83,251              (1,569,101)
                                                                                                                                                                                             Maintenance and equipment ........                                     (96,812)                          (72,938)                                     (169,750)
                                                                                   Balance                                                                   Balance                         Office equipment...........................                            (95,632)                           (4,160)                                      (99,792)
                                                                                  Oct. 1, 2012                    Additions          Deletions             Sept. 30, 2013                    Vehicles ........................................                     (103,346)                          (36,905)                                     (140,251)
              Capital assets being depreciated:                                                                                                                                                   Subtotal ..................................                    (1,635,943)                         (426,202)              83,251               (1,978,894)
                    Equipment.....................................                 $1,540,647                 $      55,791      $                         $ 1,596,438                 Net capital assets being depreciated .....                                 7,824,816                          (410,887)              66,584                7,437,345
                    Infrastructure.................................                24,848,689                        58,327                                 24,907,016                 Total capital assets – Net of depreciation                               $ 7,909,124                    $     (410,887)           $ (66,584)             $ 7,431,653
                    Drain System Retrospective .........                           29,376,026                                                               29,376,026
              Capital assets not being depreciated:                                                                                                                              The Authority’s 1 percent ownership interest in 607 East Second Avenue, LLC (LLC) is accounted for in the statement of net assets as an equity
                    Construction in Progress ..............                           750,989                       826,564             (42,273)               1,535,280         investment. 607 East Second Avenue, LLC was created to account for the redevelopment of the old Durant Hotel. The total projected cost of the
                         Subtotal ..................................               56,516,351                       940,682             (42,271)              57,414,760         development was approximately $35,590,000, with a total contribution of $18,380,819 from the Authority. The Authority’s capital contributions
                    Less Allowance for Depreciation ..                                                                                                                           sources were from grants, Brownfield TIF bonds, and sale of state historic and state Brownfield tax credits. The Authority has recorded a loss on
                    Equipment.....................................                 (1,440,040)                      (102,501)                                 (1,542,541)        impairment of the fair value of its investment below cost in the amount of $16,441,819 to bring the investment balance to $1,939,000.
                    Infrastructure.................................               (10,781,114)                    (2,180,308)                                (12,961,422)
                    Drain System Retrospective .........                          (20,131,888)                                                               (20,131,888)        Subsequent to September 30, 2013, the Authority entered into a $3,000,000 line of credit with a bank and the County has pledged its limited tax full
                         Subtotal ..................................              (32,353,402)                    (2,282,809)                                (34,635,851)        faith and credit on the line.
                    Net capital assets being depreciated                           23,411,960                     (2,168,391)                                 21,243,629
                    Total Capital Assets
                    Net of depreciation........................                  $24,163,309              $       (1,342,127)    $      (42,273)           $ 22,778,909

       During 2006, the Drain Commission complied with the provisions of GASB Statement 34 relative to the retroactive adjustment to capitalize
       infrastructure back to 1980.


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       NOTES TO FINANCIAL STATEMENTS

       GENESEE COUNTY                                                                                                                                                    EXHIBIT A-13

       BROWNFIELD AUTHORITY:                                                                                                                                                                            FUNDING PROGRESS

       The summary of long-term debt transactions for the Genesee County Brownfield Authority for the year ended September 30, 2013 is presented                                                              The Authority’s annual other postemployment benefit (OPEB) cost (expense) is calculated based on the annual required contribution of the
       below:                                                                                                                                                                                           employer (ARC). The ARC was calculated using the projected unit credit actuarial cost method. The ARC represents a level of finding that, if paid
                                                                                                                                                                                                        on an ongoing basis, is projected to cover normal cost each year and amortize any unfunded actuarial liabilities (or funding excess) over a period not
                                                                                                                             Balance                                  Balance     Due In                to exceed thirty years.
                                                                                                                            Oct. 1, 2012 Additions (Reductions) Sept. 30, 2013 One Year
                        Unamortized note premium ........................................                                   $    406,984             ($ 17,695)   $ 389,289      $17,695                      The following table shows the components of the Authority’s annual OPEB cost for the nine month period, the amount actually contributed to
                        3.0% to 5.0% Genesee County Brownfield Authority .                                                                                                                              the Plan, and changes in the Authority’s net OPEB asset:
                        Series 2005 Tax Increment Bonds, Subject to
                        redemption prior to maturity........................................                                  12,610,000       _______      (245,000)    12,265,000   255,000                               Annual required contribution                                   $ 7,437,503
                        Total.... .......................................................................                   $ 13,016,984       $          ($ 262,695)   $12,754,289 $272,695                                Interest on net OPEB asset                                         (96,248)
                                                                                                                                                                                                                            Adjustment to annual required contribution                         247,286
       The annual requirements to pay principal and interest on the outstanding obligations at September 30, 2013, are as follows:                                                                                                Net OPEB cost (expense)                                  $ 7,588,541
                                                                                                                                                                                                                            Amount contributed:
                                                                   2014 .................................................      $  843,500                                                                                         Payment of current premiums                               7,729,092
                                                                   2015 .................................................         852,900                                                                                                Change in net OPEB obligation                        140,551
                                                                   2016 .................................................         861,500                                                                                   Net OPEB asset, beginning of the year                             461,523
                                                                   2017 .................................................         874,200                                                                                            Net OPEB asset, end of the year                       $ 602,074
                                                                   2018 .................................................         880,575
                                                                   2019-2023 ........................................           4,523,500                                                                                                                                                                 Fiscal Year Ended September 30
                                                                   2024-2028 ........................................           4,747,125                                                                                                                                                      2011                 2012*         2012**           2013***
                                                                   2029-2033 ........................................           4,980,500                                                                                   Annual OPEB costs                                               $5,308,643           $8,772,109      $1,740,748       $7,377,734
                                                                   2034-2035 ........................................           2,059,500                                                                                   Percentage contributed                                              151.5%                 73.4%          75.6%          104.8%
                                                                                                                               20,623,300                                                                                   Net OPEB asset                                                  $1,179,411           $1,604,133     $1,179,411        $ 602,074
                                    Amount representing interest............................................                   (8,258,300)
                                                                                                                              $12,365,000                                                                                   *During the year ended September 30, 2012, the Authority switched from a 30 year amortization period to a 10 year amortization period.
                                                                                                                                                                                                                            **This represents the three month period ended December 31, 2012.
                                                                                                                                                                                                                            *** This represents the nine month period ended September 30, 2013.

       GENESEE HEALTH SYSTEM:                                                                                                                                                                                 The funding progress of the plan as of the most recent valuation date is as follows:
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       Property and Equipment: The following table summarizes the changes in the components of the Genesee Health Systems capital assets:                                                                                   Unfunded AAL                                                  $56,477,931
                                                                                                                                                                                                                            Actuarial value of plan assets                                 14,599,442
                                                                                                                              Transfer of                                                                                   Actuarial accrued liability                                    41,878,489
                                                                                                                               Beginning                                                    Ending                          Funded                                                              25.8%
                                                                                                                                Balance              Additions            Deletions         Balance                         Annual covered payroll                                        $17,335,736
       Capital assets not being depreciated:                                                                                                                                                                                Ratio of UAAL to covered payroll                                      242%
             Construction in progress..........................................................................                $     34,888         $ 946,968             $              $ 981,856
       Capital assets being depreciated:                                                                                                                                                                ACTUARIAL METHODS AND ASSUMPTIONS
             Building improvements ............................................................................                    2,225,580             677,627                          2,903,207
             Vehicles and equipment ..........................................................................                     2,046,565             147,830              (24,680)    2,169,715           Actuarial valuations of an ongoing plan involve estimates of the value of reported amounts and assumptions about the probability of
                    Subtotal..........................................................................................             4,226,005             825,457              (24,680)    5,072,922     occurrence of events far into the future. Examples include assumptions about future employment, mortality, and the healthcare cost trend.
       Less accumulated depreciation for:                                                                                                                                                               Actuarially determined amounts are subject to continual revision as actual results are compared with past expectations and new estimates are made
             Building improvements ............................................................................                   (474,137)            (137,416)                            (611,553)   about the future.
             Vehicles and equipment ..........................................................................                  (1,413,050)             (94,315)              24,680      (1,482,685)
                    Subtotal..........................................................................................          (1,817,430)            (231,731)              24,680      (2,094,238)          Projections of benefits for financial reporting purposes are based on the substantive plan (the Plan as understood by the employer and Plan
       Net capital assets being depreciated ................................................................                     2,384,958              593,726                            2,978,684    members) and include the types of benefits provided at the time of each valuation and the historical pattern of sharing of benefit costs between the
       Total capital assets, net of depreciation............................................................                   $ 2,419,846          $ 1,540,694           $              $ 3,960,540    employer and Plan members to the point. The actuarial methods and assumptions used to include techniques that are designed to reduce the
                                                                                                                                                                                                        effects of short-term volatility in actuarial accrued liabilities and the actuarial value of assets, consistent with the long-term perspective of the
       During the nine month period ended September 30, 2013, all the assets of Genesee County Community Mental Health Agency were transferred to                                                       calculations.
       the authority. This transfer is reflected above as a transfer of beginning balances.
                                                                                                                                                                                                               In the December 31, 2011 actuarial valuation, the projected unit credit actuarial cost method was used. The actuarial assumptions includes:
       POST-EMPLOYMENT BENEFITS-                                                                                                                                                                        (a) a rate of return on investments of 8.0%: (b) projected salary increases of 5.0% attributable to inflation: (c) additional projected salary increases
                                                                                                                                                                                                        ranging from 0.0% to 4.03%, depending on age, attributable to seniority/merit; and (d) projected healthcare benefit increases of 4.5% to 9.0%. The
       PLAN DESCRIPTION                                                                                                                                                                                 actuarial value of assets was determined based on market value. The unfunded actuarial accrued liability is being amortized on a level dollar basis
                                                                                                                                                                                                        over 25 years on a closed basis. The remaining amortization period at December 31, 2011, the date of the latest actuarial valuation, was 10 years.
             The Genesee Health System retiree healthcare plan (the “Plan”) is a single-employer defined benefit healthcare plan provides health
       insurance benefits, including medical, prescriptions, dental, and optical coverage to certain retirees and their beneficiaries, which are advance-
       funded on a discretionary basis. It is a single-employer defined benefit healthcare plan administered by the Authority, which was closed to new hires
       as of May 2008. Plan assets are held in trust by a third party administrator.

       FUND POLICY

             The contribution requirements of Plan members and the Authority are established and may be amended by the Authority Board of Directors.
       The required contribution is based on actuarially determined financed rates, with an additional amount to prefund benefits as determined annually by
       the Agency. For the nine month period ended September 30, 2013, the Authority contributed $7,729,092 to the Plan, while plan members receiving
       benefits contributed $0.




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       NOTES TO FINANCIAL STATEMENTS

       GENESEE COUNTY                                                                                                                  EXHIBIT A-13

       NOTE O - RESTATEMENT OF NET POSITION                                                                                                                        Note R - PENSION, EMPLOYEES’ FRINGE BENEFIT (VEBA) AND QUALIFIED EXCESS BENEFIT ARRANGEMENT (QEBA) TRUST FUNDS

             Restatement: Net position and fund balances at September 30, 2012, were restated to correct beginning balances. Net position and fund                                                                                  Employees’
       balances were restated for the following reasons:                                                                                                                                                           General           Qualified        Employees’
                                                                                                                                                                                                                  Employees            Excess           Fringe
             1)     To properly account for the year end change from December to September.                                                                                                                       Retirement        Arrangement         Benefit
             2)     To properly account for refund of payments for special assessments, overpayment received from the State, and an adjustment to the                                                              System             (QEBA)           (VEBA)                 Total
                    net OPEB obligation to reflect the balance in the actuarial valuation.                                                                         Statement of Net Position:
                                                                                                                                                                        Cash and investments                      $ 444,425,721       $              $ 46,821,976        $ 491,247,697
                                                                       As Previously                                     Restated                                       Other assets                                  2,854,857                           279,996            3,134,853
                                                                       __Reported__           Adjustments                Amounts                                        Liabilities                                 (28,328,589)                       (4,164,247)         (32,492,836)
                      Component units:                                                                                                                                          Net Position                        418,951,989                        42,937,725          461,889,714
                         Net Position
                                                                                                              (1)
                         Economic Development                          $      813,204          $   (41,576)          $      771,628                                Statement of Changes in Net Position:
                                                                                                                                                                        Investment Income                            47,787,800                        2,992,469             50,780,269
                                                                                                              (2)
                           Road Commission                             $ 204,416,884           $ (108,352)           $ 204,308,532                                      Contributions                                16,720,259                       10,665,685             27,385,944
                                                                                                                                                                        Benefit payments                            (40,062,306)                     (13,916,914)           (53,979,220)
                                                                                                                                                                        Other decreases                              (3,632,436)          (983)          (42,379)            (3,675,798)
       NOTE P - GASB UPCOMING ACCOUNTING PRONOUNCEMENTS DISCLOSURE                                                                                                            Change in Net Position              $ 20,813,317        $   (983)      $ (301,139)          $ (20,511,195)

                In March 2012, the GASB issued GASB Statement No. 65, Items Previously Reported as Assets and Liabilities, which is required to be
       implemented for financial statements for periods beginning after December 15, 2012. Statement No. 65 establishes accounting and financial
       reporting standards that reclassify, as deferred outflows and inflows of resources, certain items that were previously reported as assets and
       liabilities. This statement also provides other financial reporting guidance related to the impact of the financial statement elements deferred outflows
       of resources and deferred inflows of resources. Statement No. 65 will be implemented for the County’s 2014 fiscal year.

             In June 2012, GASB Statement No. 67, Financial Reporting for Pension Plans, was issued by the Governmental Accounting Standards Board.
       This new standard, which replaces the requirements of GASB Statements No. 25, Financial Reporting for Defined Benefit Pension Plans and Note
       Disclosures for Defined Contribution Plans and No. 50, Pension Disclosures, establishes standards for financial reporting that outline the basic
       framework for separately-issued pension plan financial reports and specifies the required approach to measuring the liability of employers and
       certain non-employer contributing entities, about which information is required to be disclosed. GASB Statement No. 67 is required to be adopted
       for years beginning after June 15, 2013. For the County, this standard will be adopted for the year ended September 30, 2014.
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               In June 2012, the GASB issued GASB Statement No. 68, Accounting and Financial Reporting for Pensions. Statement No. 68 requires
       governments providing defined benefit pensions to recognize their unfunded pension benefit obligation as a liability for the first time, and to more
       comprehensively and comparably measure the annual costs of pension benefits. This net pension liability that will be recorded on the government-
       wide, proprietary and discretely presented component units statements will be computed differently than the current unfunded actuarial accrued
       liability, using specific parameters set forth by the GASB. The statement also enhances accountability and transparency through revised note
       disclosures and required supplementary information (RSI). The County is currently evaluating the impact this standard will have on the financial
       statements when adopted. The provisions of the statement are effective for financial statements for the year ended September 30, 2015.

       NOTE Q – KAREGNONDI WATER AUTHORITY

       Effective August 1, 2013, the County entered into an agreement with the Karegnondi Water Authority (KWA) and the City of Flint to issue debt to
       acquire, construct, and operate a water supply system (System). The debt will not exceed $300,000,000. The County’s share of the debt is 65.8
       percent or an amount not to exceed $197,400,000. As of the date of the audit report, the debt has not been issued.

       The intake facility and the site for the System were financed through the issuance of bonds by the County in the principal amount of $35,000,000 in
       October, 2013, with the understanding that the County would make the intake facility available to KWA for use by KWA as part of the System. The
       County has pledged its limited tax full faith and credit as additional security for the bonds. The intake facility is currently under construction and is
       expected to be completed in October, 2014.

       In order to provide finished water to the County’s customers, the County will be required to build a new water treatment plant, reservoir, pump station
       and approximately 5 miles of water main. To finance the construction cost, the County anticipates issuance of approximately $60,000,000 of water
       revenue bonds with a limited tax general obligation pledge of the County. The new water treatment plant, reservoir, pump station and water main
       are expected to be constructed and fully operational on or before May 1, 2016, the date on which the System is expected to be fully operational.

       Effective October 1, 2013 the County entered into a contract with KWA to supply up to 42 million gallons per day of untreated water. The charges to
       be paid by the County consist of an annual fixed or capital fee and an annual commodity or operations and maintenance fee. The County expects to
       pay such charges from the revenues of its water supply system as an operation and maintenance expense in the same manner that it presently pays
       for water furnished by the Detroit Water and Sewerage Department (DWSD).

       The County is also a voting member of KWA. The County joined KWA in 2013 based on the expectation that the purchase of water for the County
       will be more economical in the future than continuing to purchase water from the DWSD.




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       NOTES TO FINANCIAL STATEMENTS

       GENESEE COUNTY                                                                                                          EXHIBIT A-13

       NOTE S - FUND BALANCE CONSTRAINTS

       The detail of the various components of fund balance is as follows:

                                                                                         Community
                                                                                           Action                      Other
                                                          General            County       Resource        Community Governmental
                                                           Fund              Health      Department      Development   Funds             Total
       Fund Balances:
       Nonspendable:
        Long-term advance to Internal Service Fund     $ 1,840,809                                                                   $   1,840,809
        Long-term advance to Component Unit                                                                            $ 1,765,000       1,765,000
        Prepayments:                                          20,690    $      22,020                                        4,023          46,733
        Inventory:                                                                       $   485,062     $   638,400       137,018       1,260,480
       Restricted for:
         Non-Major Special Revenue:
         Community Enrichment and Development
         Drug Forfeiture
                                                                                                                           356,692
                                                                                                                            43,759
                                                                                                                                           356,692
                                                                                                                                            43,759
                                                                                                                                                                  REQUIRED
         Emergency Medical Services                                                                                        720,963         720,963
         Health Care Services
         Solid Waste Planning Activities
                                                                                                                           571,809
                                                                                                                           296,065
                                                                                                                                           571,809
                                                                                                                                           296,065           SUPPLEMENTARY
         Senior Services                                                                                                 2,904,020       2,904,020
         Social Services
         Veterans Millage
                                                                                                                           116,299
                                                                                                                           471,776
                                                                                                                                           116,299
                                                                                                                                           471,776
                                                                                                                                                              INFORMATION
       Committed to:

                                                                                                                                                      GENERAL AND MAJOR FUNDS
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         Non-Major Special Revenue:
         Planning Commission:
           Contractual disallowances                                                                                        59,994         59,994
           Local match on grant                                                                                             15,000         15,000
       Assigned to:
        Costs and settlements of contractual
        disallowances, claims and litigation               1,000,000                                                                     1,000,000
        Programs:
         Mental Health                                                                                                                           -
         County Health                                                       2,517,028                                                   2,517,028
         Non-Major Special Revenue:
         Child Care                                                                                                      3,873,041       3,873,041
         Community Enrichment and Development                                                                                  588             588
         Law Enforcement                                                                                                   205,835         205,835
         Parks and Recreation                                                                                            4,816,894       4,816,894
         Planning Commission
               -Compensated absences                                                                                        65,346         65,346
         Capital Projects:
         Capital Improvement                                                                                               721,280        721,280
        Jail Site Remediation                                                                                                7,321         7,321
       Unassigned:                                     $ 9,455,182                       $   (928,728)                                 8,526,454
        Administration of Justice                                                                                          (583,117)    (583,117)
        Law Enforcement                                                                                                     (29,900)     (29,900)
        Planning                                                                                                             97,322       97,322
        Hughes & Hatcher Center Debt Service                                                                             (1,710,110)  (1,710,110)
       Total fund balances                             $ 12,316,681     $ 2,539,048      $   (443,666) $     638,400   $ 14,926,918 $ 29,977,381




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                                                        SCHEDULE OF REVENUES AND TRANSFERS IN
                                                        BUDGET AND ACTUAL -- GENERAL FUND
                                                        REQUIRED SUPPLEMENTARY INFORMATION

                                                        GENESEE COUNTY                                                                                                                              Exhibit B-1




                                                                                                                                                             Fiscal Year Ended September 30, 2013
                                                                                                                                                                                                         Variance with
                                                                                                                                                 Original         Final                                  Final Budget
                                                                                                                                                Budgeted         Budgeted                                  Positive
                                                                                                                                                Amounts          Amounts              Actual              (Negative)
                                                        OPERATING REVENUE
                                                        TAXES
                                                         Current property taxes................................................             $   43,459,630   $    44,652,148    $     45,261,951     $         609,803

                                                        LICENSES AND PERMITS
       This Page was Intentionally Left Blank            Dog licenses ..............................................................               710,000           617,448             666,466                 49,018
                                                         Other...........................................................................          158,050           248,676             243,348                 (5,328)
                                                                                                                          TOTALS                   868,050           866,124             909,814                 43,690
                                                        FINES AND FORFEITURES
                                                         Ordinance fines and costs..........................................                     1,980,993         1,738,676           1,538,459               (200,217)
                                                         Bond forfeitures .........................................................                 39,500            23,090              26,330                  3,240
                                                                                                                          TOTALS                 2,020,493         1,761,766           1,564,789               (196,977)
                                                        USE OF MONEY AND PROPERTY
                                                         Interest earned ...........................................................               245,000            58,688              58,600                    (88)


                                                        OTHER INTERGOVERNMENTAL REVENUES
                                                         Federal revenue…………………………………………                                                           235,000           216,615             223,108                  6,493
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                                                         Probate judges salaries .............................................                     285,010           188,390             206,271                 17,881
                                                         Revenue sharing…………………………………………                                                         7,620,146         7,541,499           7,541,499
                                                         State liquor tax............................................................            2,943,273         3,125,820           3,263,945               138,125
                                                         State cigarette tax.......................................................                  2,640            22,524              22,524
                                                         Other...........................................................................        3,530,264         3,241,981           3,239,591                (2,390)
                                                                                                                           TOTALS               14,616,333        14,336,829          14,496,938               160,109
                                                        CHARGES FOR SERVICES
                                                         Animal Shelter ...........................................................                 81,400            52,311              55,193                  2,882
                                                         District Court...............................................................           3,486,279         2,630,706           2,693,118                 62,412
                                                         Friend of the Court......................................................                 679,971           679,971             679,971
                                                         Probate Court ............................................................                145,200           148,806             148,529                  (277)
                                                         Probation fees ............................................................                33,000            33,698              33,490                  (208)
                                                         County Treasurer........................................................                  584,500           903,327             899,203                (4,124)
                                                         County Clerk ..............................................................             1,212,470         1,266,056           1,282,100                16,044
                                                         Register of Deeds ......................................................                1,550,700         1,724,931           1,683,310               (41,621)
                                                         Sheriff ........................................................................        1,665,062         1,857,664           1,902,480                44,816
                                                         Other services ............................................................             2,019,461         1,297,544           1,311,818                14,274
                                                                                                                           TOTALS               11,458,043        10,595,014          10,689,212                94,198
                                                        OTHER REVENUE.......................................................                       593,249           572,483             655,134                82,651
                                                                                    TOTAL OPERATING REVENUE                                     73,260,798        72,843,052          73,636,438               793,386
                                                        TRANSFERS IN
                                                         Enterprise Funds .......................................................                3,622,642         4,868,642           4,734,725               (133,917)
                                                         Special Revenue Funds..............................................                     1,719,604         1,936,203           1,956,570                 20,367
                                                         Capital Projects Funds…………………………………                                                                                              32,259                 32,259
                                                         Debt Service Funds………………………………………                                                                                17                  18                      1
                                                                                                  TOTAL TRANSFERS IN                             5,342,246         6,804,862           6,723,572                (81,290)

                                                                                                                                            $   78,603,044   $    79,647,914    $     80,360,010     $         712,096




                                                        NOTE - The budgetary basis is the same as reported by generally accepted accounting principles.




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       SCHEDULE OF EXPENDITURES AND APPROPRIATIONS
       BUDGET AND ACTUAL -- GENERAL FUND
       REQUIRED SUPPLEMENTARY INFORMATION

       GENESEE COUNTY                                                                                                                             Exhibit B-2




                                                                                                                     Fiscal Year Ended September 30, 2013                                                                                                                                  Fiscal Year Ended September 30, 2013
                                                                                                                                                     Variance with                                                                                                                                                      Variance with
                                                                                               Original         Final                                 Final Budget                                                                                                 Original               Final                         Final Budget
                                                                                              Budgeted         Budgeted                                 Positive                                                                                                  Budgeted              Budgeted                           Positive
                                                                                              Amounts          Amounts              Actual             (Negative)                                                                                                 Amounts               Amounts           Actual          (Negative)

       LEGISLATIVE                                                                                                                                                     OTHER
        Board of Commissioners..............................................              $      705,103   $       918,343    $        922,513     $         (4,170)    Other..............................................................................   $   (1,251,782)       $    2,279,488   $    2,696,188    $     (416,700)
                                                                                                                                                                        Contribution to Component Unit - Mental Health Servic                                      2,775,000             2,775,000        2,775,000
       MANAGEMENT AND PLANNING                                                                                                                                                                                                              TOTALS                 1,523,218             5,054,488        5,471,188          (416,700)
        Board Coordinator........................................................                247,778           244,208             241,514                2,694
        Boundary Commission.................................................                         200                                                               CAPITAL OUTLAY
        County Clerk.................................................................          2,749,011         2,435,402           2,345,564               89,838     Circuit Court…………………………………………………                                                                                   200,609          200,605                4
        County Treasurer.........................................................              1,489,518         1,442,774           1,463,753              (20,979)    County Sheriff………………………………………………                                                                                     9,450            6,172            3,278
        Drain Commission........................................................               1,246,486         1,210,390           1,213,167               (2,777)    District Court..................................................................                                    22,600                            22,600
        Elections Clerk.............................................................             672,516           740,468             724,161               16,307     Prosecutors…………………………………………………                                                                                      28,800           27,903              897
        Equalization..................................................................         1,069,270           913,157             917,622               (4,465)    All others........................................................................                                                    1,225           (1,225)
        GIS…………………………………………………………                                                                187,473           174,192             170,580                3,612                                                                        TOTALS                                          261,459          235,905           25,554
        Register of Deeds.........................................................               564,609           635,418             616,674               18,744
                                                                       TOTALS                  8,226,861         7,796,009           7,693,035              102,974                                                TOTAL EXPENDITURES                             56,219,246            57,487,339       57,732,666          (245,327)

       ADMINISTRATION OF JUSTICE                                                                                                                                       APPROPRIATIONS
        Adult Probation.............................................................             339,656           330,006             329,855                  151     Special Revenue:
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        Circuit Court.................................................................        10,625,168         9,924,755           9,987,394              (62,639)     Administration of Justice Funds...................................                        3,435,597             3,465,203        3,476,676           (11,473)
        District Court.................................................................        6,188,268         5,385,439           5,473,378              (87,939)     Child Care....................................................................            9,627,151             9,550,470        9,550,470
        Jury Board....................................................................           278,581           259,093             258,148                  945      Community Enrichment and Development Funds.......                                           104,966                36,385           22,710           13,675
        Probate Court...............................................................           2,137,938         2,046,618           2,057,863              (11,245)     County Health..............................................................               2,680,597             2,658,158        2,658,158
        Prosecutor....................................................................         4,437,370         4,436,214           4,455,811              (19,597)     Law Enforcement Funds..............................................                          98,375               103,850          103,847                 3
        Court Services..............................................................             200,384           185,620             185,537                   83      Mental Health...............................................................                925,000               865,000          925,000           (60,000)
                                                                        TOTALS                24,207,365        22,567,745          22,747,986             (180,241)     Parks and Recreation..................................................                       61,011                61,011           61,011
                                                                                                                                                                         Planning Commission..................................................                       408,572               393,572          393,572
       LAW ENFORCE/ COMMUNITY PROTECTION                                                                                                                                 Social Services............................................................                  15,500                15,500           15,500
        Office of Emergency Preparedness.............................                            166,373           154,685             154,330                  355                                                                     TOTALS                    17,356,769            17,149,149       17,206,944           (57,795)
        Sheriff Administration...................................................              2,882,042         2,892,873           2,915,776              (22,903)
        Sheriff Marine Division.................................................                  45,675            24,228              25,086                 (858)    Debt Service and Capital Projects:
        Detective Division.........................................................              524,011           879,553             886,730               (7,177)     Debt Service Funds.....................................................                   2,650,782             2,689,337        2,751,216           (61,879)
        Sheriff Security.............................................................         17,763,165        16,885,505          16,627,752              257,753                                                                                                2,650,782             2,689,337        2,751,216           (61,879)
                                                                      TOTALS                  21,381,266        20,836,844          20,609,674              227,170
                                                                                                                                                                        Internal Service:
       HUMAN SERVICES                                                                                                                                                     Administrative Services...............................................                                            85,513           67,133           18,380
        Veterans Burial.............................................................              46,276            15,716              15,716                           Vehicles and Equipment..............................................                                                5,410            4,489              921
        Veterans Information Center........................................                      129,157            36,735              36,649                   86      Building and Grounds..................................................                                            102,778           70,442           32,336
                                                                     TOTALS                      175,433            52,451              52,365                   86                                                               TOTALS                                                   193,701          142,064           51,637

                                                                                                                                                                                                               TOTAL APPROPRIATIONS                               20,007,551            20,032,187       20,100,224           (68,037)

       NOTE - The budgetary basis is the same as the basis required by generally accepted accounting principles.
                                                                                                                                                                            TOTAL EXPENDITURES AND APPROPRIATIONS                                             $   76,226,797        $   77,519,526   $   77,832,890    $     (313,364)


                                                                                                                                                                       NOTE - The County implemented GASB No. 54 in the current year, refer to Note B. As a result, the Animal Shelter and Medical Examiner Funds
                                                                                                                                                                       merged with the General Fund for reporting purposes but are budgeted as separate funds.




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       SCHEDULE OF REVENUES AND OTHER SOURCES--BUDGET AND ACTUAL--                                                                                                                                               SCHEDULE OF EXPENDITURES AND OTHER USES--BUDGET AND ACTUAL--
       MAJOR SPECIAL REVENUE FUNDS                                                                                                                                                                               MAJOR SPECIAL REVENUE FUNDS
       REQUIRED SUPPLEMENTARY INFORMATION                                                                                                                                                                        REQUIRED SUPPLEMENTARY INFORMATION

       GENESEE COUNTY                                                                                                                                                                      Exhibit B-3           GENESEE COUNTY                                                                                                                                                                  Exhibit B-4




                                                                                                                                                    Fiscal Year Ended September 30, 2013                                                                                                                                                                  Fiscal Year Ended September 30, 2013
                                                                                                                                                                                               Variance with                                                                                                                                                                                         Variance with
                                                                                                                                   Original               Final                                Final Budget                                                                                                                              Original               Final                                Final Budget
                                                                                                                                  Budgeted              Budgeted                                 Positive                                                                                                                               Budgeted              Budgeted                                 Positive
                                                                                                                                  Amounts               Amounts              Actual             (Negative)                                                                                                                              Amounts               Amounts              Actual             (Negative)

       GENESEE HEALTH SERVICES 12/31/12                                                                                                                                                                          GENESEE HEALTH SERVICES 12/31/12
        General Fund appropriation..........................................................................                 $          3,700,000   $     3,700,000    $        925,000    $       (2,775,000)    Board administration.....................................................................................      $           11,165,232   $    11,616,649    $      2,891,772    $       8,724,877
        Federal grants...............................................................................................                   6,214,695         6,253,628           1,231,478            (5,022,150)    Managed care...............................................................................................                23,299,672        22,142,242           2,088,620           20,053,622
        State grants...................................................................................................                21,277,601        21,277,601           4,477,801           (16,799,800)    Residential services......................................................................................                 30,398,585        30,398,585           7,442,990           22,955,595
        Charges for services.....................................................................................                     119,886,149       120,891,957          27,841,645           (93,050,312)    Adult services………………………………………………………………………                                                                                  29,025,515        29,240,791           7,337,280           21,903,511
        Other.............................................................................................................              1,382,000         1,364,000             785,018              (578,982)    Clinical services…………………………………………………………………                                                                                  7,436,792         7,479,885           1,315,059            6,164,826
                                                                                                           TOTALS            $        152,460,445   $   153,487,186    $     35,260,942    $     (118,226,244)    State hospitals………………………………………………………………………                                                                                  8,079,896         8,079,896           1,883,559            6,196,337
                                                                                                                                                                                                                  Developmental disabilities…………………………………………………………                                                                           25,040,498        25,407,114           5,341,139           20,065,975
       COUNTY HEALTH                                                                                                                                                                                              Inpatient services..........................................................................................                9,160,857         9,160,857           3,493,016            5,667,841
        General Fund appropriation..........................................................................                 $          3,147,478   $     3,125,039    $      3,079,023    $          (46,016)    Substance abuse services............................................................................                        9,872,388        10,043,218           2,380,671            7,662,547
        Licenses and permits....................................................................................                          992,630           992,630           1,031,768                39,138     Employee benefits........................................................................................                                     1,073,561           1,073,651
        Federal grants...............................................................................................                   1,009,430         5,304,849           5,262,724               (42,125)    Capital outlay................................................................................................                                   81,028              81,028
        State grants...................................................................................................                 8,477,053         4,265,613           2,770,726            (1,494,887)                                                                                                    TOTALS         $          153,479,435   $   154,723,826    $     35,328,785    $     119,395,131
        Charges for services...............................................................................……                             160,313           217,313             355,765               138,452
        Other.............................................................................................................                945,111         1,359,838           2,345,317               985,479    COUNTY HEALTH
                                                                                                           TOTALS            $         14,732,015   $    15,265,282    $     14,845,323    $         (419,959)    Personnel services........................................................................................       $          5,877,507   $     5,857,075    $      5,308,506    $          548,569
                                                                                                                                                                                                                  Fringe benefits..............................................................................................               4,105,071         4,081,949           3,375,957               705,992
       COMMUNITY ACTION RESOURCE DEPARTMENT                                                                                                                                                                       Supplies and services...................................................................................                    4,858,859         5,478,409           4,881,923               596,486
        Federal grants...............................................................................................        $         24,477,400   $    24,477,400    $     22,841,798            (1,635,602)    Capital outlay................................................................................................                 14,322            15,322                                    15,322
        State grants...................................................................................................                   654,697           654,697           1,403,379               748,682                                                                                                     TOTALS           $         14,855,759   $    15,432,755    $     13,566,386    $        1,866,369
        Other.............................................................................................................              3,131,758         3,131,758           4,039,962               908,204
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        Transfers in…………………………………………………………………………                                                                                                                                640,742               640,742    COMMUNITY ACTION RESOURCE DEPARTMENT
                                                                                                           TOTALS            $         28,263,855   $    28,263,855    $     28,925,881    $          662,026     Personnel services........................................................................................       $         12,168,622   $    12,168,622    $      6,819,016    $        5,349,606
                                                                                                                                                                                                                  Fringe benefits..............................................................................................               6,394,700         6,394,700           3,971,261             2,423,439
       COMMUNITY DEVELOPMENT                                                                                                                                                                                      Supplies and services...................................................................................                   10,314,488        10,314,488          18,067,079            (7,752,591)
        Federal grants...............................................................................................        $          3,366,735   $     3,366,735    $      3,366,735                           Capital outlay................................................................................................                 55,437            55,437             250,810              (195,373)
        Other…………………………………………………………………………………                                                                                              109,446           109,446             109,446                           Transfers out.................................................................................................                                                      361,911              (361,911)
                                                                                                      TOTALS                 $          3,476,181   $     3,476,181    $      3,476,181    $                                                                                                                      TOTALS           $         28,933,247   $    28,933,247    $     29,470,077    $         (536,830)

                                                                                                                                                                                                                 COMMUNITY DEVELOPMENT
                                                                                                                                                                                                                  Supplies and services...................................................................................         $            891,494   $       891,494    $        891,494    $
                                                                                                                                                                                                                  Program grants.............................................................................................                 3,470,886         3,470,886           3,470,886
                                                                                                                                                                                                                                                                                                               TOTALS              $          4,362,380   $     4,362,380    $      4,362,380    $


       NOTE - The budgetary basis is the same as the basis required by generally accepted accounting principles.




                                                                                                                                                                                                                 NOTE - The budgetary basis is the same as the basis required by generally accepted accounting principles.




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       PENSION AND OPEB SYSTEM SCHEDULE OF FUNDING PROGRESS
       REQUIRED SUPPLEMENTARY INFORMATION

       GENESEE COUNTY                                                                                                           Exhibit B-5
       The schedule of funding progress for the Pension System as of December 31st is as follows:
                                                                                                                                  UAAL as a
                                   Actuarial       Actuarial                                                                     Percentage of
          Actuarial                Value of        Accrued                   Unfunded         Funded Ratio         Covered         Covered
       Valuation Date               Assets      Liability (AAL)           AAL (UAAL)            (Percent)          Payroll          Payroll
             2007              $ 461,349,321    $ 514,859,339            $   53,510,018               89.6%      $ 68,341,150             78.3%
             2008              $ 439,812,757    $ 527,639,697            $   87,826,940               83.4%      $ 67,720,817           129.69%
             2009              $ 424,482,866    $ 543,307,372            $ 118,824,506                78.1%      $ 65,511,481           181.38%
             2010              $ 401,700,454    $ 564,033,044            $ 162,332,590                71.2%      $ 57,794,546           280.88%
             2011              $ 365,262,318    $ 549,929,631            $ 184,667,313                66.4%      $ 52,236,539           353.52%
             2012              $ 387,979,375    $ 559,390,939            $ 171,411,564                69.4%      $ 49,736,813           344.64%




       The schedule of employer contributions for the Pension System as of December 31st is as follows:
                                                                                                     Annual Required              Percentage
                Fiscal Year Ended                    Actuarial Valuation Date                          Contribution               Contributed
                        2007                                      2005                                  $12,996,937                           100%
                        2008                                      2006                                  $11,949,881                           100%
                        2009                                      2007                                  $12,096,241                           100%
                        2010                                      2008                                  $12,727,882                           100%
                        2011                                      2009                                  $11,942,380                           100%
                        2012                                      2010                                  $14,354,446                           100%




       The information presented above was determined as part of the actuarial valuations at the dates indicated. Additional information as
       of December 31, 2012, the latest actuarial valuation, follows:
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       Amortization method                                                     Level percent-of-payroll, Open
       Amortization period                                                                          25 years
                                                                                                                                                              [THIS PAGE INTENTIONALLY LEFT BLANK]
       Asset valuation method                                                       4-year smoothed market
       Actuarial assumptions:
          Investment rate of return                                                                   8.00%
          Projected salary increases                                                         3.00% to 7.03%
          Includes inflation at                                                                          3%
          Cost of living adjustments                                                                   None


       The schedule of funding progress for the OPEB System as of September 30th is as follows:
                                                                                                                                  UAAL as a
                                   Actuarial       Actuarial                                                                     Percentage of
          Actuarial                Value of        Accrued                   Unfunded         Funded Ratio         Covered         Covered
       Valuation Date               Assets      Liability (AAL)           AAL (UAAL)            (Percent)          Payroll          Payroll
             2007              $   30,427,079   $ 179,150,908            $ 148,723,829                17.0%      $ 58,387,145             2.55%
             2010              $   41,579,396   $ 286,696,396            $ 245,117,000                15.0%      $ 58,028,000           422.41%
             2012              $   43,313,587   $ 308,208,023            $ 264,894,436                 9.0%      $ 36,987,137           716.18%


       The schedule of employer contributions for the OPEB System as of September 30th is as follows:
                                                                                                     Annual Required              Percentage
                Fiscal Year Ended                    Actuarial Valuation Date                          Contribution               Contributed
                        2011                                      2010                                  $18,708,000                           52%
                        2012                                      2012                                  $18,549,049                           65%
                        2013                                      2012                                  $18,549,049                           51%


       The information presented above was determined as part of the actuarial valuations at the dates indicated. Additional information as
       of September 30, 2012, the latest actuarial valuation, follows:
       Amortization method                                                           Level percent-of-payroll
       Amortization period                                                                          30 years
       Actuarial assumptions:
          Investment rate of return                                                                   8.00%
          Projected salary increases                                                                     3%
          Medical inflation rate                8%, Graded down to 5% in 0.5% increments over 7 years
          Cost of living adjustments                                                         None           82
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                                  APPENDIX C

                             CITY OF FLINT
       GENERAL FINANCIAL, ECONOMIC AND STATISTICAL INFORMATION
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 APPENDIX C

                                                  CITY OF FLINT

                            GENERAL FINANCIAL INFORMATION
 UPDATE ON CITY OF FLINT FINANCIAL POSITION
           On December 1, 2011, five months into fiscal year 2012, Michigan's Governor placed the City of Flint (the “City”)
 under the operation of an emergency manager (the "Emergency Manager") pursuant to former Act 72, Public Acts of
 Michigan, 1990, as amended ("Act 72"). This decision was based on the recommendation of a state appointed review team,
 whose recommendation was made in part because of a consistent deficit in the General Fund, the decline in pooled cash,
 unrealistic budgeting, and unfunded liabilities for postemployment benefits.

           In 2012, the Legislature enacted Act 436, Public Acts of Michigan, 2012 ("Act 436"), which repealed Act 72 and
 provides that an emergency manager appointed under Act 72, or any other former Act authorizing the state appointment of
 emergency managers, and serving immediately prior to the effective date of Act 436 shall continue to fulfill his or her powers
 and duties under Act 436. Despite changes in the laws providing for the appointment of an emergency manager since
 December 2011, and the appointment of three different emergency managers since then, the City remains under the control
 of a state appointed manager.

           Emergency managers exercise direct control over the City's financial and operational matters and are authorized to
 "act for and in the place and stead of the governing body and the office of chief administrative officer" of the City of Flint.
 This status is expected to continue for at least the next twelve months, or until the Governor, acting on the recommendation
 of the Emergency Manager, determines that the financial emergency is over. In that event, governance and management of
 the City would be returned to the locally elected officials. However, governance and management of the City by the locally
 elected officials will be overseen by a Transition Advisory Board, who will be charged with assuring that the plans and
 operations put into place by the Emergency Manager to restore financial solvency - including a two year budget - are
 followed. An emergency manager who has served for at least 18 months under Act 436 may also be removed by a two-thirds
 vote of the City Council and approval of the Mayor. A local government whose emergency manager is removed by City
 Council action and which remains in a state of financial emergency will be placed in a mediation process with creditors and
 other interested parties pursuant to Act 436.

          Fiscal year 2012 financial statements showed a General Fund deficit of $19.2 million, and the goal of the Emergency
 Manager has been to formulate plans and implement actions that eliminate the deficit and restructure the City's cost base to
 allow for future financial solvency.

          Preparation of the fiscal year 2013 budget began with an initial projected gap of more than $25 million and
 acknowledgment of a $19.2 million General Fund deficit. The FY13 budget was ultimately balanced through a mixture of
 significant revenue increases, significant expenditure decreases, and steps taken to reduce legacy costs. Revenue increase
 included a 25 percent increase in water and sewer rates, passage of a 6 mill property tax increase for police and fire,
 establishment of a special assessment district for street lighting, and implementation of a fee sufficient to cover the cost of
 waste collection. Expenditure reductions included elimination of 20 percent of the City's workforce, compensation decreases
 equivalent to a 20 percent wage reduction for remaining employees, and the restructuring of health and retirement benefits
 for current employees and retirees necessary to develop a credibly balanced spending plan.

           The goal of the Emergency Manager was more than achieved, as the financial statements as of June 30, 2013 show
 that revenues exceeded expenses in the General Fund by $6.3 million. This resulted in the City's accumulated $19.2 million
 deficit as of June 30, 2012 being reduced to less than $12.9 million as of June 30, 2013.

           In addition, the actions taken to restructure healthcare benefits for current employees and retirees had a significant
 impact on reducing both current costs and long-term liabilities. The 20 percent reduction in the workforce required significant
 reorganizational activities focused on reducing current costs. Long term liabilities were reduced by eliminating traditional
 defined benefit pension programs for new employees in favor of hybrid plans; by moving the City's retirement system into
 a state wide retirement system; by restructuring health insurance benefits for current employees and placing retirees into those
 same plans; and by eliminating the promise of retiree health care for new employees in favor of providing retiree medical
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 savings accounts. Much of the positive financial result in FY13 came from these actions. The restructuring, which was
 implemented during the course of FY12, reduced the City's OPEB liabilities alone from nearly $900 million to less than $325
 million.

          The City's cash flow also improved significantly. Cash flow in December 2011 was projected at approximately $13
 million in comparison to current cash on hand on as of June 30, 2013 in excess of $43 million.

          The FY14 budget was designed and implemented with the same goals in mind - operating within the constraints of
 available revenues; restructuring operations and cost factors to enhance future financial stability and continuing to reduce
 the remaining $12.9 million deficit. The FY14 budget was constructed with the specific intent of further reducing the deficit
 by a minimum of $1 million, by budgeting expenses at $1 million less than projected revenues. As of January 31, 2014, seven
 months into the FY14 year, revenues and expenses are on target.

          Efforts are ongoing to reduce the deficit by more than $1 million in the current year and to finalize a plan to
 eliminate the remaining deficit within the next five years. A draft deficit elimination plan to accomplish this is currently under
 review by the Michigan Department of Treasury.

          The efforts of the City to regain financial solvency have been aided by support from the State of Michigan. State
 police troopers have been placed in the City to support local law enforcement efforts, and funds have been allocated to
 enhance prosecution activities and to operate the City's lock up. The Governor's recently released proposed budget continues
 this support.

           The work of the emergency managers has not been without conflict. A significant legal challenge has been made
 to the decision to move retirees from their historical health insurance plans into the same plans offered current employees.
 This action resulted in an initial cost reduction of $3.5 million to the City and imposed deductibles and co-pays on retirees.
 This challenge is currently pending in federal court. If the challenge is ultimately upheld, it will pose a significant challenge
 to the City in its efforts to regain and maintain financial solvency. See “Litigation” in the Official Statement.

          The future financial solvency of the City may also be challenged by a continuing structural deficit. An independent
 assessment by independent financial consultants in draft form, concluded that the City faced significant legacy and other
 structural challenges. As part of the planning for future financial solvency, five year projections and a strategic plan were
 developed. This exercise indicated a significant financial challenge forthcoming in FY15, due primarily to the possible ending
 of a major grant supporting fire fighting resources. Years after FY16 continue to show a continuing gap between revenues
 and projections. Should those projections come to pass, there will be a significant challenge. However, should the major grant
 be continued in 2015, should the impact of the structural changes made continue to have impact, and should the economy
 improve more than projected (in terms of property values, income tax, and state shared revenues), the gap will be more
 manageable.

           The most important challenge to be addressed will be instituting structural changes in the organization of the City
 to foster financial solvency as a core value and to assure that future governance and management of the City is conducted
 in a financially responsible manner. To this end, the current Emergency Manager has created a Governance Task Force,
 charged with developing recommended changes to current ordinances, procedures, and the Charter. The recommendations
 of the Task Force are anticipated within six months.

           If the City’s financial status were to deteriorate further, the City’s options to improve its fiscal health may be limited.
 The United States Bankruptcy Code, 11 U.S.C. Section 101, et. seq. (the "Bankruptcy Code") does not authorize
 municipalities to be subject to involuntary bankruptcy. The City must be specifically authorized to be a debtor under chapter
 9 of the Bankruptcy Code by state law or by a governmental officer or organization empowered by state law to authorize the
 City to be a debtor under chapter 9 of the Bankruptcy Code.

            Act 436 provides such authorization after the City first complies with certain requirements set forth therein, and only
 with the approval of the Emergency Manager (if one is currently serving) and the Governor. Specifically, Act 436 provides
 that if, "in the judgment of the emergency manager, no reasonable alternative to rectifying the financial emergency of the
 local government which is in receivership exists, then the emergency manager may recommend to the governor and the state
 treasurer that the local government be authorized to proceed under chapter 9. If the governor approves of the
 recommendation, the governor shall inform the state treasurer and the emergency manager in writing of the decision…. The
 governor may place contingencies on a local government in order to proceed under chapter 9. Upon receipt of the written
 approval, the emergency manager is authorized to proceed under chapter 9."
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 AREA

          The City covers an area of approximately 32.8 square miles.

 POPULATION

          The population for the City of Flint is as follows:

                             2010 U.S. Census                                                   102,434
                             2000 U.S. Census                                                   124,943
                             1990 U.S. Census                                                   140,761

 PROPERTY VALUATIONS

          Article IX, Section 3, of the Michigan Constitution, limits the proportion of true cash value at which property can
 be assessed to a percentage not to exceed 50% of true cash value. The Michigan Legislature by statute has provided that
 property shall be assessed at 50% of its true cash value, except as described in the paragraphs below. The Michigan
 Legislature or the electorate may at some future time reduce the percentage below 50% of true cash value.

           On March 15, 1994, the electors of the State approved an amendment to the Michigan Constitution permitting the
 Legislature to authorize ad valorem taxes on a non-uniform basis. The legislation implementing this constitution amendment
 added a new measure of property value known as “taxable value.” Since 1995, taxable property has had two valuations --
 State equalized valuation (“SEV”) and taxable value. Property taxes are levied on taxable value. Generally, the taxable value
 of property is the lesser of (a) the taxable value of property in the immediately preceding year, adjusted for losses, multiplied
 by the lesser of the inflation rate or 1.05, plus additions, or (b) the property’s current SEV. Under certain circumstances,
 therefore, the taxable value of property may be different from the same property’s SEV. When property is sold or transferred,
 taxable value is adjusted to the SEV, which under existing law is 50% of the current true cash value. The taxable value and
 SEV of new construction is equal to current SEV. The taxable value and SEV of existing property are also adjusted annually
 for additions and losses.

          Responsibility for assessing taxable property rests with the local assessing officer of each township and city. Any
 property owner may appeal the assessment to the local assessor, the local Board of Review and ultimately to the Michigan
 Tax Tribunal.
           In addition to limiting the annual increase in taxable value, the Michigan Constitution mandates a system of
 equalization for assessments. Although the assessors for each local unit of government within a county are responsible for
 actually assessing at 50% of true cash value, adjusted for taxable value purposes, the final SEV and taxable value are arrived
 at through several steps. Assessments are established initially by the municipal assessor. Municipal assessments are then
 equalized to the 50% levels as determined by the Genesee County Department of Equalization. Thereafter, the State equalizes
 the various counties in relation to each other. SEV is important, aside from its use in determining taxable value for the
 purpose of levying ad valorem property taxes, because of its role in the spreading of taxes between overlapping jurisdictions,
 the distribution of various State aid programs, State revenue sharing and in the calculation of debt limits.

          Property that is exempt from property taxes (e.g., churches, governmental property, public schools) is not included
 in the SEV or taxable value data in this Official Statement. Property granted tax abatements under Act 198, Public Acts of
 Michigan, 1974, as amended, is recorded on a separate tax roll which is subject to tax abatement. The valuation of tax abated
 property is based upon SEV but is not included in either the SEV or taxable value data in this Official Statement except as
 noted.




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 Historical Valuation

                         State Equalized             Taxable
            Year            Valuation                 Value
            2013          $795,172,400             $776,654,903
            2012           969,129,800              917,513,440
            2011         1,191,515,300            1,112,393,943
            2010         1,393,042,600            1,274,306,976
            2009         1,648,408,800            1,452,387,463

                                    2013 Taxable Value                             $776,654,903
                              Plus: 2013 IFT                                         33,149,000
                              Total Estimated Equivalent Value                     $809,803,903
                              Less: 2013 DDA Captured Value                             (579,595)
                              Net Estimated 2013 Valuation                         $808,065,118
 Source: City of Flint

 Per Capita Valuation
                         2013 Per Capita Taxable Value                                      $7,582.00
                         2013 Per Capita State Equalized Valuation                          $7,762.78
                         2013 Per Capita Estimated True Cash Value                         $15,525.56
 Tax Abatements
            Under the provisions of Act 198 of the Public Acts of Michigan, 1974 (“Act 198"), plant rehabilitation districts
 and/or industrial development districts may be established. Businesses in these districts are offered certain property tax
 incentives to encourage restoration or replacement of obsolete facilities and to attract new facilities to the area. An industrial
 facilities tax (“IFT”) is paid, at a lesser effective rate and in lieu of ad valorem property taxes, on such facilities for a period
 of up to 12 years. Qualifying facilities are issued abatement certificates for specific periods.

           After expiration of the abatement certificate, the then-current SEV of the facility is returned to the ad valorem tax
 roll. The owner of such facility may obtain a new certificate, provided it has complied with the provisions of Act 198.

         The 2013 Taxable Value for the properties which have been granted IFT abatements within the School District’s
 boundaries is $33,149,000 which is subsequently taxed at half rate. For further information see "PROPERTY
 VALUATIONS - Historical Valuations" herein.

 Tax Increment Authorities
          Act 450 of the Public Acts of Michigan, 1980 (the “TIFA Act”), Act 197 of the Public Acts of Michigan, 1975 (the
 “DDA Act”), Act 281 of the Public Acts of Michigan, 1986 (the “LDFA Act”) and Act 381, of the Public Acts of Michigan,
 1996 (the “Brownfield Act”) (together the “TIF Acts”) authorize the designation of specific districts known as Tax Increment
 Finance Authority (“TIFA”) Districts, Downtown Development Authority (“DDA”) Districts, Local Development Finance
 Authority (“LDFA”) Districts or Brownfield Redevelopment Authority (“BRDA”) Districts, authorized to formulate tax
 increment financing plans for public improvements, economic development, neighborhood revitalization, historic preservation
 and environmental cleanup with the district.
           Tax increment financing permits the TIFA, DDA, LDFA, or BRDA to capture tax revenues attributable to increases
 in value (“TIF Captured Value”) of real and personal property located within an approved development area while any tax
 increment financing plans by an established district are in place. These captured revenues are used by the District and are
 not passed on to the local taxing jurisdictions.
            The City of Flint has one DDA district that captures operating millage. The 2013 captured taxable value is $579,595.




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 Tax Base Composition

            A breakdown of the City's 2013 Taxable Value by class and use is as follows:

                             Taxable           Percent of
 By Class                     Value              Total
 Real Property              $622,052,503         80.09%
 Personal Property           154,602,400         19.91

 TOTAL                      $776,654,903        100.00%

 By Use
 Commercial                 $181,351,218          23.35%
 Industrial                   77,833,577          10.02
 Residential                 362,867,708          46.72
 Personal Commercial          54,273,600           6.99
 Personal Industrial          52,558,400           6.77
 Personal Utility             47,770,400           6.15

 TOTAL                      $776,654,903        100.00%

 Source: City of Flint

 Property Tax Reform Proposals

           On December 20, 2012, Governor Snyder signed into law a package of bills reforming personal property tax in
 Michigan. The legislation exempts commercial and industrial personal property of each owner with a combined taxable value
 in a local taxing unit of less than $40,000 from ad valorem taxes beginning in 2014. All eligible manufacturing personal
 property purchased or put into service beginning in 2013 and used more than 50% of the time in industrial processing or direct
 integrated support becomes exempt beginning in 2016. The legislation extends certain personal property tax exemptions and
 tax abatements for technology parks, industrial facilities and enterprise zones that were to expire after 2012, until the newly
 enacted personal property tax exemptions take effect. The legislation authorizes local units to specially assess commercial
 and industrial real property to replace revenue lost due to the personal property tax exemptions for police, fire, ambulance
 and jail operations. The legislation also includes a formula to reimburse certain local governments for a portion of lost
 personal property tax revenue from use tax moneys to the extent the local unit has a reduction in taxable value of more than
 2.3% as a result of the personal property tax exemption. For such reimbursement provisions to become effective, however
 voters would need to approve a change in the state distribution of use tax in the August 2014 primary election. If voters
 approve the redistribution, a portion of the use tax would be directed to a newly created statewide Metropolitan Areas
 Metropolitan Authority which would redistribute that revenue to qualifying local units. If voters fail to approve the use tax
 redistribution, the above personal property tax reform acts will be repealed and the local reimbursement act and the special
 assessment act will not go into effect. The final impact of this legislation cannot be determined at this time.
          The ultimate nature, extent and impact of any other future amendments to Michigan's property tax laws on the City’s
 finances cannot be predicted. Purchasers of the Bonds should consult with their legal counsel and financial advisors as to
 the consequences of any such legislation on the market price or marketability of the Bonds, the security therefor and the
 operations of the City.




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 MAJOR TAXPAYERS

         The ten largest taxpayers in the City of Flint and their 2013 Taxable Value totals and Industrial Facilities Tax
 Valuation totals are as follows:
                                                                             Taxable                       IFT                     Total
   Taxpayer                                  Product/Service                  Value               +      Valuation        =      Valuation
   Consumers*                                Utility                      $51,454,247                         $0              $51,454,247
   General Motors                            Automotive                    47,820,558                  9,386,600               57,207,158
   Delphi                                    Automotive                    12,067,500                           0              12,067,500
   Barrette                                  Outdoor living                10,102,700                           0              10,102,700
   4405 Continental                          Distribution center            6,418,860                           0               6,418,860
   IINN                                      Office space                   5,251,400                           0               5,251,400
   Comcast                                   Cable operator                 5,106,000                           0               5,106,000
   Saginaw & Court                           Office/Finance                 4,160,735                           0               4,160,735
   Citizens Bank                             Finance                        3,363,904                           0               3,363,904
   PPG                                       Manufacturing                  3,201,900                           0               3,201,900
   TOTAL                                                                 $148,947,804                 $9,386,600              $158,334,404
 * Consumers Energy is contesting the multipliers used for assessing their personal property taxes with the State Tax Tribunal. The City has determined
   that the outcome will have little effect on City revenue. See “PERSONAL PROPERTY TAX ASSESSMENTS AND APPEALS” below.

         The 2013 Taxable Valuations of the above taxpayers excluding IFT valuation represent 19.18% of the City's 2013
 Taxable Valuation of $776,654,903. The Total Valuations including IFT valuation represent 6.20% of the 2013 Total Taxable
 Valuation of $809,803,903.

 Source: City of Flint

 PERSONAL PROPERTY TAX ASSESSMENTS AND APPEALS

           Since the 1960's, Michigan personal property tax assessments have been based on the use of one or more of several
 different multiplier tables formulated by the State Tax Commission against taxpayer reported original cost, depending on the
 assessor's view of the average life of the personal property. The Michigan State Tax Commission has approved revisions to
 the State's personal property tax tables which are effective for the year 2000 and which may reduce overall personal property
 tax revenues in some jurisdictions. The State Tax Tribunal has informally indicated that it may allow the new multipliers to
 be applied retroactively in pending personal property tax appeals. In anticipation of the new multipliers, many personal
 property taxpayers filed appeals of their existing tax assessments. In an unpublished, non-precedential opinion, the Michigan
 Court of Appeals, in Valassis Communications v. City of Livonia, recently affirmed a decision of the Michigan Tax Tribunal
 that the personal property multipliers, which became effective in 2000, could be used to determine the true cash value of the
 subject property for the 1999 tax year. In its unpublished opinion, the Michigan Court of Appeals held that the controlling
 factor is whether the method used most accurately reflects the property's true cash value. The Court of Appeals determined
 that based on the facts of the case, the old multipliers (in effect for the 1999 tax year) did not accurately reflect the property's
 true cash value and that the 2000 multipliers more accurately reflected the property's true cash value.

 CONSTITUTIONAL ROLLBACK AND ASSESSMENT CAPS

          Article IX, Section 31 of the Michigan Constitution requires that if the total value of existing taxable property (State
 Equalized Valuation) in a local taxing unit, exclusive of new construction and improvements, increases faster than the U.S.
 Consumer Price Index from one year to the next, the maximum authorized tax rate for that local taxing unit must be reduced
 through a Millage Reduction Fraction unless new millage is authorized by a vote of the electorate of the local taxing unit.

 TAX RATES (Per $1,000 of Valuation)

           Under Michigan statutes, the property tax base used for levies authorized for the City is the same as that used for
 school district, county, township, special authority, and city levies. Each school district, county, township, special authority
 and city has a geographical definition which constitutes a tax district. Since local school districts and the county overlap either
 a township or a city, and intermediate school districts overlap local school districts and county boundaries, the result is many
 different tax rate districts.

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 City of Flint                                    2013                  2012                    2011                    2010**                2009
  Operating                                     7.5000                 7.5000                  7.5000                 7.5000                 7.5000
  Neighborhood Police                           2.0000                 2.0000                  2.0000                 2.0000                 2.0000
  Paramedic Service                             0.5000                 0.5000                  0.5000                 0.5000                 0.5000
  Refuse***                                     0.0000                 3.0000                  3.0000                 3.0000                 3.0000
  Public Improvements                           2.5000                 2.5000                  2.5000                 2.5000                 2.5000
  Parks & Recreation                            0.5000                 0.5000                  0.5000                 0.5000                 0.5000
  Police and Fire                               6.0000                 0.0000                  0.0000                 0.0000                 0.0000

 City of Flint Total Millage                   19.0000*               16.0000                16.0000                16.0000                16.0000
 Note: The City’s property tax rates may be increased only by a majority vote of the City’s electors voting in a City election.
 * Under Charter & Applicable State Law - Under the Michigan Home Rule Cities Act, a Home Rule City is allowed to extend the operating millage not to
 exceed two percent (2% or 20 mills) of assessed value of all real and personal property in the City.
 ** An additional 6.7100 mills was placed on the 2010-11 winter roll as a one-time Court -Ordered Levy to pay the Genesee Towers judgment.
 *** The Direct City Taxes increased by 6.0 mills with the addition of the Public Safety Millage and decreased by 3.000 mills with the elimination of the Waste
 Collection Millage.


 Source: City Audit Dept. / City Assessor

 TAX RATE LIMITATION

            The City is authorized to levy the following tax rates:

                                                             Millage                 Maximum Allowable                       Expiration
                                                            Authorized               Millage after Rollback                 Date of Levy
     Operating                                                7.5000                        7.5000                            Indefinite
     Police                                                   2.0000                        2.0000                           06/30/2017
     Public Improvements                                      2.5000                        2.5000                            Indefinite
     Paramedic Service                                        0.5000                        0.5000                           06/30/2016
     Parks & Recreation                                       0.5000                        0.5000                           12/31/2016
     Police & Fire                                            6.0000                        6.0000                           07/02/2016

 TAX LEVIES AND COLLECTIONS

           The City's fiscal year begins July 1 and ends June 30. City property taxes are due in three equal installments on July
 1, October 1 and February 1. The installments bear a penalty and begin to accrue interest if not paid by August 1, November
 1 and March 1 respectively. All real property taxes remaining unpaid on March 1st of the year following the levy are turned
 over to the County Treasurer for collection. Genesee County annually pays from its Tax Revolving Fund delinquent taxes
 on real property to all taxing units in the County, including the City's, shortly after the date delinquent taxes are returned to
 the County Treasurer for collection. The payments from this fund have resulted in collections of taxes approaching 100% for
 all taxing units.
            A history of tax levies and collections for the City for the last five completed years is as follows:

     Year                   Total                              Collections to                                  Collections to
    Ending                 Tax Levy                     March 1, of Following Year                       June 30, of Following Year
     2013                $28,192,664                  $19,113,565          67.80%*                       $24,134,164         85.60%
     2012                 18,022,915                   14,245,037          79.04                          15,866,017         88.03
     2011                 21,029,361                   16,565,947          78.78                          19,431,043         92.40
     2010                 22,864,857                   18,580,520          81.26                          21,950,721         96.00
     2009                 25,297,684                   20,838,394          82.37                          24,075,213         95.17

 *partial year as of March 1.


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          The Tax Revolving Fund is financed through the issuance of Delinquent Tax Anticipation Notes (DTANs). Although
 the County anticipates the continuance of this program, the ability to issue such DTANs is subject to Michigan Department
 of Treasury approval and market conditions at the time of offering. In addition, Act 206 of 1893, as amended, provides in part
 that: "The primary obligation to pay to the County the amount of taxes and interest thereon shall rest with the local taxing
 units, and if the delinquent taxes which are due and payable to the County are not received by the County for any reason, the
 County has full right of recourse against the taxing unit to recover the amount thereof and interest thereon..." On the first
 Tuesday in May in each year, a tax sale is held by the County at which lands delinquent for taxes assessed in the third year,
 preceding the sale, or in a prior year are sold for the total of the unpaid taxes of those years.

          The General Property Tax Act was amended by Act 123, Public Acts of Michigan of 1999 (“Act 123") which made
 extensive revision to the procedures for collection of delinquent real property taxes. In general, for real property taxes levied
 after December 31, 1998, all County Treasurers hold a tax lien sale on the second Monday in May (26 months after taxes were
 returned as delinquent). Act 123 has the effect of shortening the process for collection of delinquent real property taxes from
 approximately six years (including statutory redemption periods) to approximately two years from the date taxes are returned
 to the County Treasurer as delinquent.

 FEES AND CHARGES

        In fiscal year 2013, the City of Flint implemented a special assessment for street lighting and an annual fee for garbage
 collection. The street light assessment is projected to generate $2.85 million and is expected to continue into the future. The
 $2.85 million pays for the cost of the City’s street lighting program and frees up revenue for use for public safety expenses
 of the City. The City also eliminated its 3 mill rubbish collection millage and replaced the property tax with an annual fee of
 $143. This fee based system is designed to cover the costs of rubbish collection whereas the 3 mill property tax required
 unplanned transfers from the general fund by as much as $1.5 million a year. This new fee, coupled with the outsourcing of
 the City’s rubbish collection, is projected to eliminate the general fund subsidy of rubbish collection.

 REVENUES FROM THE STATE OF MICHIGAN
           The City receives revenue sharing payments from the State of Michigan under the State Constitution and the State
 Revenue Sharing Act of 1971, as amended. The revenue sharing payments are composed of two components - a constitutional
 distribution and a statutory distribution. The constitutional distribution is mandated by the State Constitution and distributed
 on a per capita basis to townships, cities and villages. The amount of the constitutionally mandated revenue sharing
 component distributed to the City can vary depending on the population of the City and the receipt of sales tax revenues by
 the State.
           The statutory distribution is authorized by legislative action and distribution is subject to annual State appropriation
 by the State Legislature. Statutory distributions may be reduced or delayed by Executive Order during any State fiscal year
 in which the Governor, with the approval of the State Legislature's appropriations committees, determines that actual revenues
 will be less than the revenue estimates on which appropriations were based.
           On June 13, 2013, Governor Snyder signed into law the budget for fiscal year 2014. Similar to fiscal year 2013, the
 budget replaces the statutory distribution for cities, villages and townships with an incentive-based revenue sharing program
 known as the Economic Vitality Incentive Program ("EVIP"), that will be distributed to municipalities that comply with "best
 practices" such as increasing transparency and consolidating services. The fiscal year 2014 budget does not alter the
 constitutional component, and includes an increased constitutional revenue sharing distribution to cities, villages and townships
 of approximately $737,000,000 from the fiscal year 2013 distribution of $722,000,000. Under the EVIP program, an eligible
 municipality such as the City can receive (i) one-third of the money it is eligible for if it meets requirements for accountability
 and transparency, including making a citizen's guide to its finances, a performance dashboard and a debt service report
 available for public viewing; (ii) another third if it develops plans to increase its existing level of cooperation, collaboration
 and consolidation, both internally and with neighboring jurisdictions; and (iii) a final third if it develops and certifies an
 unfunded accrued liability plan. The unfunded accrued liability plan, which replaced the requirement in fiscal year 2013 to
 modify employee compensation plans, must be certified by June 1, 2014 for the City to receive all of the money that it is
 eligible for from the final component described in clause (iii) above. Any portion of the EVIP that the City would be eligible
 to receive would be subject to certain benchmarks that the City would need to meet, and there can be no assurance of what
 amount, if any, the City would receive under the proposed EVIP program. The City received EVIP payments totaling
 $6,182,769 for fiscal year 2013, and is anticipating it will receive $6,182,769 for fiscal year 2014 payments.




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         Purchasers of the Bonds should be alerted to further modifications to revenue sharing payments to Michigan local
 governmental units, to potential consequent impact on the City's general fund condition, and to the potential impact upon the
 market price or marketability of the Bonds resulting from changes in revenues received by the City from the State.

           The following table sets forth the annual revenue sharing payments and other moneys received by the City for the
 fiscal years ended June 30, 2010 through June 30, 2013, and the estimated revenue sharing payments to be received in the
 fiscal year ending June 30, 2014.

                                                 Constitutional
           Fiscal Year                          Revenue Sharing   Statutory Revenue
          Ended June 30                            Payments     Sharing/EVIP Payments                   Total
          2014 (estimate)                         $7,640,908          $6,480,642                  $14,121,550
          2013                                     7,484,413           6,182,769                   13,667,182
          2012                                     7,332,602           5,770,584                   13,103,186
          2011                                     6,888,992           9,535,096                   16,424,088
          2010                                     7,917,588           8,506,500                   16,424,088
 Source: Web site http://treasury.state.mi.us

 CITY INCOME TAX
          On January 1, 1965, a local income tax at a rate of 1% on all income of residents and corporations and 1/2% on
 income earned in the City by nonresident became effective through the enactment of the Uniform City Income Tax Ordinance,
 as prescribed by Act 248, Public Acts of Michigan, 1964. The income tax is imposed for general revenue purposes and may
 be used for general governmental functions or capital improvement expenditures.
            The following is the amount of City income tax collected annually for the last five years.
                                            Fiscal Year                  Net Income
                                          Ended June 30                      Tax
                                                2013                    $14,674,274
                                                2012                    $14,839,999
                                                2011                    $14,396,346
                                                2010                    $13,551,247
                                                2009                    $14,277,939

 LABOR FORCE
          The City of Flint has a history of contract settlement without strikes. A breakdown of the number of employees of
 the City of Flint and their affiliation with organized groups is as follows:

                                           Full Time   Part Time                                             Contract
 Employees                                  Number      Number                   Affiliation                Expiration
 Clerical/Labor                               224         18                AFSCME Local 1600              06/30/2014
 Supervisory/Professional                       47        0                 AFSCME Local 1799              06/30/2014
 Police Patrol                                  84        0              Flint Police Officers Assn.       06/30/2014*
 Police Sergeants                               36        0                 Teamsters Local 129            06/30/2014
 Police Captains & Lieutenants                   8        0          Flint Police Cap'ts & L'ts. Assn.     06/30/2014
 Firefighters                                 114         6         Int'l. Assn. of Firefighters No. 352   06/30/2014
 Exempt Employees                               38        5                    Non-Affiliated
 Appointees/Elect                               16        0                    Non-Affiliated
 TOTAL                                        567        29

 * Contract terms imposed per PA4

 PENSION FUND
           The Flint Employees' Retirement System (FERS) is a defined benefit pension plan that provides retirement benefits
 to certain City retirees. The FERS was established and is governed by City ordinance, with the board of trustees comprised
 of City officials and retirees. The FERS is reported as a Pension Trust Fiduciary Fund. During the year ended June 30, 2013,
 the board was disbanded and the investments in FERS were transferred out to Municipal Employees' Retirement Systems
 (MERS). The FERS fund was closed and MERS will now take on the fiduciary responsibility of the plan.
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            Contributions to the plans for the last five years are as follows:
          Year Ended                   General, Police and                     Year Ended                       Hurley Medical Center
           June 30                     Fire Benefit Groups                      June 30                            Benefit Group*
             2013                         $11,641,714                             2013                            $3,268,075
             2012                            8,058,450                            2012                             6,503,942
             2011                            5,505,305                            2011                             5,505,003
             2010                            3,889,397                            2010                             8,896,382
             2009                            6,803,233                            2009                             7,694,335

               Funding status and funding progress:
                                             Actuarial
                                             Accrued
                       Actuarial             Liability              Unfunded                                                           UAAL as % of
  Actuarial            Value of             Individual            (Overfunded)                                             Covered       Covered
Valuation Year          Assets              Entry Age             AAL (UAAL)                    Funded Ratio               Payroll        Payroll
    Ended                (a)                (AAL) (b)                 (b-a)                        (a/b)                     (c)         ((b-a)/c)
  6/30/2006            782,098              1,023,599                241,501                        76.4                   146,634         164.7
  6/30/2007            801,533              1,071,781                270,248                        75.2                   157,012         172.1
  6/30/2008            670,366               841,266                 170,900                        79.7                   89,636          190.7
  6/30/2009            623,292               873,088                 249,796                        71.4                   89,636          278.7
  6/30/2010            567,215               835,052                 267,837                        67.9                   68,968          388.3
  6/30/2011            506,504               829,380                 322,876                        61.1                   63,063          512.0

 See Appendix D - See City of Flint Comprehensive Annual Financial Report for the Fiscal Year Ended June 30, 2013, Note
 11 - Retirement Plans

 Other Post Employment Benefits (OPEB)

          The City provides retiree healthcare benefits to eligible employees and their spouses through the Retiree Health Care
 Trust Fund. Benefits are provided to public safety and general employees. Currently, the plan has 2,339 members, including
 506 employees in active service, 0 terminated employees not yet receiving benefits, and 1,833 retired employees and
 beneficiaries currently receiving benefits.

            The funding progress of the plan as of the most recent valuation data is as follows:

                       Actuarial             Actuarial                                                                                  UAAL as a
   Actuarial            Value of             Accrued                 Unfunded                   Funded Ratio               Covered     Percentage of
   Valuation             Assets              Liability             AAL (UAAL)                     (Percent)                 Payroll      Covered
     Date                 (a)               (AAL) (b)                  (b-a)                        (a/b)                    (c)*         Payroll
   7/1/2012            $ 166,903          $320,180,757             $320,013,854                      0.1                 $    -              -
   7/1/2011                -               366,832,597              366,832,597                       -                   37,339,842        982.0
   7/1/2010                -               862,302,934              862,302,934                       -                   36,252,274      2,379.0
   7/1/2009                -               774,606,738              774,606,738                       -                   41,166,662      1,882.0

 * For actuarial valuation date 7/1/12, the annual required contribution calculation is based on a flat dollar amount.

 See Appendix D - City of Flint Comprehensive Annual Financial Report for the Fiscal Year Ended June 30, 2013, Note 12
 - Other Postemployment Benefits




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 DEBT STATEMENT (as of April 2, 2014 and including the Bonds described herein)
           Each series of bonds marked “LT” is payable in the first instance from a specified source and is payable from the
 general funds of the City in the event of insufficiency of the specified source. The City is not authorized to levy taxes beyond
 constitutional and statutory tax rate limitations with respect to the bonds marked “LT”.
 DIRECT DEBT
                                                                      Dated               Amount
                                                                      Date               Outstanding
 General Obligation Bonds
    Fiscal Stabilization Bonds, LT                                   04/13/11            $7,620,000
    Capital Improvement, Public Garage/Parking, LT                   12/28/07             8,955,000         $16,575,000
 Authority Revenue Bonds - No City Pledge
    Hurley Medical Center, Refunding, SSAuth                         06/11/03              5,150,000
    Hurley Medical Center, Series 2010, SSAuth                       03/25/10             33,215,000
    Health Care Faciliites, Equipment                                09/30/11              3,716,906
    Hurley Medical Center, Series 2013A, SSAuth                      04/02/13             21,940,000
    Hurley Medical Center, Series 2013B, SSAuth                      04/02/13             36,035,000        100,056,906
 City Revenue Bonds
    MI Bond Bank - Water DWRF Series 1999                            09/30/99              2,928,994
    MI Bond Bank - Water DWRF Series 2000                            09/28/00              3,700,000
    MI Bond Bank - Water DWRF Series 2001                            09/28/01              4,731,408
    MI Bond Bank - Water DWRF Series 2003                            09/25/03             11,599,934          22,960,336
 Share of Authority Issued Bonds
          Water Supply System Bonds, Series 2014 A, LT               04/16/14             75,411,000        $75,411,000
 TOTAL DIRECT DEBT                                                                                         $215,003,242
       Less:       Revenue Bonds                                                       (123,017,242)
                   Revenue Supported Authority Bonds                                     (75,411,000)      (198,428,242)
 NET DIRECT DEBT                                                                                            $16,575,000
 OVERLAPPING DEBT
                                                              Amount                    City's
 Percent             Municipality                            Outstanding                Share
   7.68%             Carman Ainsworth S/D                    $40,208,000             $3,087,974
 100.00              Flint S/D                                 12,760,000            12,760,000
   1.33              Swartz Creek S/D                          12,615,000               167,780
   8.81              Genesee County                           74,170,696              6,534,438
   8.32              Genesee ISD                              46,050,000              3,831,360
   8.81              Mott Community College                    10,430,000               918,883
 NET OVERLAPPING DEBT                                                                                        27,300,435
 NET DIRECT AND OVERLAPPING DEBT                                                                            $43,875,435
 Source: Municipal Advisory Council of Michigan
 DEBT RATIOS

 Per Capita (102,434)
     Net Direct Debt                                                                                              $161.81
     Net Direct and Overlapping Debt                                                                              $428.33

 Ratio to 2013 Taxable Value ($776,654,903)
     Net Direct Debt                                                                                                2.13%
     Net Direct and Overlapping Debt                                                                                5.65%




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 Ratio to 2013 State Equalized Valuation ($795,172,400)
     Net Direct Debt                                                                                               2.08%
     Net Direct and Overlapping Debt                                                                               5.52%

 Ratio to 2013 Estimated True Cash Value ($1,590,344,800)
     Net Direct Debt                                                                                               1.04%
     Net Direct and Overlapping Debt                                                                               2.76%

 * Preliminary, subject to change.

 DEBT HISTORY

            The City has no record of default.

 FUTURE FINANCING

         The City has entered into a contract with the Karegnondi Water Authority and the County of Genesee pursuant to
 which the Authority will issue an additional $80,000,000 of bonds over the next 3 to 15 months in anticipation of payments
 to be made by the County and the City to finance a raw water supply project to serve the County, the City and several other
 municipalities. The City will make a limited tax general obligation pledge of the City on approximately 30% of these bonds.


 LEGAL DEBT MARGIN

           Section 7-302 of the City Charter, adopted November 4, 1975, limits “net” debt to 7% of the assessed value of all
 real and personal property in the City, but does not define “net” debt. The following computation is based on previous practice
 and is consistent with the requirements of State of Michigan Public Act 279 of 1909.

 2013 State Equalized Valuation - excluding IFT values                                                           $795,172,400
 Debt Limit - 10 % of State Equalized Valuation                                                                   $79,517,240

 Amount of Direct Debt Outstanding                                                       $215,003,242

            Less:       Revenue Bonds and Exempt Authority Bonds                        (198,428,242)

 Total Subject to Debt Limit                                                                                       16,575,000

 Additional Debt Which Could Be Legally Incurred                                                                 $62,942,240




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                           GENERAL ECONOMIC INFORMATION

 LOCATION AND AREA


          The City of Flint, county seat of Genesee County, has a land area of approximately 32.8 square miles and is located
 in the southeastern portion of Michigan's Lower Peninsula, 70 miles northwest of the City of Detroit. Lake Huron lies
 approximately 65 miles to the east of the City, while the Saginaw Bay is about 40 miles to the north.

          As an important durable goods producer, the City is located the following distances from these commercial and
 industrial areas of Michigan:

                                                35     miles northwest of Pontiac
                                                36     miles south of Saginaw
                                                50     miles northeast of Lansing
                                                54     miles north of Ann Arbor
                                                70     miles northwest of Detroit
                                                99     miles east of Grand Rapids




 EMPLOYMENT CHARACTERISTICS*

           The following companies located in the City and surrounding communities offer employment opportunities for
 residents.
                                                                                                          No. of
 Company                                               Product/Service                                 Employed
 Within City of Flint
 McLaren Health Care Corporation                       Hospital & other health care                         3,014
 Hurley Medical Center                                 Medical center                                       2,811
 Baker College                                         Higher education                                     2,800
 General Motors Corp. /Assembly                        Truck & bus assembly                                 2,100
 A I Flint LLC                                         Car parts and accessories                            1,500
 Genesys Health Care System                            Health care                                          1,000
 General Motors Corp., Powertrain Div.                 Engines & gears & transmissions                        961
 Genesee Intermediate Schools                          Education                                              950
 Mott Community College                                Higher education                                       949
 Flint Community Schools                               Educational services                                   820
 Meijer Inc. (2 stores)                                Department store                                       800
 First Merit Bank                                      Banking                                                780
 Carman Ainsworth                                      Education                                              706
 General Motors Corp./ South Flint                     Automotive engines                                     663
 E L Hollingsworth & CO                                Freight and logistics                                  646
 Creative Foam Corp.                                   Plastic products                                       600
 City of Flint                                         Municipality                                           596
 Genova Products (HQ)                                  Plastic pipes                                          570
 General Motors Corporation                            Customer care center                                   500
 Flint Special Services, Inc.                          Freight and logistics                                  500
 Kettering University                                  Higher education                                       425
 Sears, Roebuck & Co.                                  Retail sales                                           400
 Home Depot (3 stores)                                 Home center                                            350
 Kroger (3 stores)                                     Supermarket                                            350
 Coca Cola Bottling                                    Bottling facility                                      300
 Lowe's (2 stores)                                     Home center                                            300
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 Oakley Industries Sub Assembly (HQ)                                Auto parts                                                                 300
 Cable TV-Flint                                                     Cable service                                                              250
 Goodwill Industries Of Mid-Michigan (HQ)                           Job training/ vocational                                                   250
 Bill Thomas' Halo Burger, Inc. (HQ)                                Restaurant                                                                 230
 United States Postal Service                                       US Postal Service                                                          210
 Target (2 Stores)                                                  Department store                                                           200
 The Flint Journal                                                  Newpaper                                                                   180
 Corsair Engineering                                                Shipping containers                                                        150
 Allied Waste Service                                               Waste management                                                           150
 Mott Children's Health Center                                      Healthcare                                                                 150
 Beecher Community Schools                                          Education                                                                  135
 Barrette Outdoor Living, Inc.                                      Lattice panels                                                             125
 Koegel Meats, Inc.                                                 Meat processing                                                            100
 Monroe Truck Equipment                                             Truck equipment                                                            100
 Genesee Packaging, Inc.                                            Light assembly                                                             100
 H-Care                                                             Durable medical equipment                                                  100
 Comcast Cable                                                      Cable service                                                              100

 The approximate number of employees listed are as reported in these sources: 2013 Michigan Manufacturers Directory, Manta Company Intelligence
 website, the Michigan Economic Development Council ("MEDC"), and individual employers.

  *Due to reporting time lags and other factors inherent in collecting and reporting such information, the numbers may not reflect recent changes in
 employment levels, if any.



 POPULATION BY AGE
            The 2010 U.S. Census estimate of population by age for the City of Flint is as follows:
                                                                                Number                       Percent
                             Total Population                                   102,434                      100.00%
                             0 through 19 years                                  31,750                       31.00
                             20 through 64 years                                 59,685                       58.26
                             65 years and over                                   10,999                       10.74
                             Median age                                       33.6 years
 INCOME
            The 2010 U.S. Census estimate of household income for the City of Flint is as follows:
                                                                                Number                       Percent
                             HOUSEHOLDS BY INCOME                                41,175                      100.00%
                             Less than $10,000                                    8,864                       21.53
                             $10,000 to $14,999                                   3,797                        9.22
                             $15,000 to $24,999                                   7,060                       17.15
                             $25,000 to $34,999                                   5,452                       13.24
                             $35,000 to $49,999                                   5,988                       14.54
                             $50,000 to $74,999                                   5,260                       12.77
                             $75,000 to $99,999                                   2,751                        6.68
                             $100,000 to $149,999                                 1,597                        3.88
                             $150,000 to $199,999                                   299                        0.73
                             $200,000 or more                                       107                        0.26
                             Median Income                                      $26,621
                             Mean Income                                        $35,631




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 EMPLOYMENT BREAKDOWN
            The 2010 U. S. Census reports the occupational breakdown of persons 16 years and over for the City of Flint as
 follows:
                                                                                 Number       Percent
                     PERSONS BY OCCUPATION                                        30,196      100.00%
                     Professional Specialty Occupations                            6,801       20.97
                     Service Occupations                                           8,819       23.70
                     Sales & Office Occupations                                    7,334       22.44
                     Construction & Maintenance Occupations                        1,815         8.18
                     Transportation & Material Moving Occupations                  5,427       24.57
            The breakdown by industry for persons 16 years and over for the City of Flint is as follows:
                                                                                 Number       Percent
                     PERSONS BY INDUSTRY                                          30,196      100.00%
                     Agriculture, Forestry, Fishing, Hunting & Mining                160         0.53
                     Construction                                                  1,155         3.83
                     Manufacturing                                                 4,354       14.42
                     Wholesale Trade                                                 613         2.03
                     Retail Trade                                                  3,852       12.76
                     Transportation                                                1,318         4.36
                     Information                                                     550         1.82
                     Finance, Insurance, & Real Estate                             1,323         4.38
                     Professional & Management Services                            2,168         7.18
                     Educational, Health & Social Services                         8,853       29.32
                     Arts, Entertainment, Recreation & Food Services               3,079       10.20
                     Other Professional and Related Services                       1,409         4.67
                     Public Administration                                         1,362         4.51

 UNEMPLOYMENT
          The Michigan Employment Security Commission, Research and Statistical Division, reports unemployment averages
 for the City of Flint as follows:

                                                              City of
                                                               Flint
                         2014 YTD (January)                    16.7%
                         2013 Annual Average                   17.0
                         2012 Annual Average                   16.6
                         2011 Annual Average                   19.0
                         2010 Annual Average                   23.5

 BANKING
          The following banks have branches located within the City according to the Accuity American Financial Directory,
 July - December 2013.

                                                                                                    Total State-Wide
            Bank                                             Main Office                                Deposits
            First Place Bank                                 Warren, OH                                   N/A
            The Huntington National Bank                     Columbus, OH                                 N/A
            Bank of America                                  Charlotte, NC                                N/A
            Fifth Third Bank                                 Cincinnati, OH                               N/A
            First Merit Bank                                 Akron, OH                                    N/A
            Flagstar Bank, FSB                               Troy, MI                                $8,771,046,000
            Chemical Bank                                    Midland, MI                              4,921,683,000
            JPMorgan Chase Bank, National Association        Columbus, OH                                 N/A


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                                                  City of Flint
                        Summary of General Fund Adopted Revenue and Expenditure Budget
                                        Fiscal Year Ending June 30, 2014

                                                                 FY14            FY14
                      Revenue                                  Amended          Amended
                                                                11/1/2013       2/17/2014
                      Property Tax                               $4,619,941      $4,719,941
                      Income Tax                                 14,210,000      14,210,000
                      Federal Revenue                                    -              -
                      State Revenue                              15,375,985      14,986,814
                      Licensing and Permits                       1,303,626       1,303,626
                      Fines and Forfeitures                       1,677,550       2,041,635
                      Charges for Services                        9,090,867      10,434,516
                      Other Revenue                               6,676,498       6,851,584
                                 Total Revenue                  $52,954,467     $54,548,116

                      Expenditures

                      General Government                           $8,295,108    $8,229,910
                      District Court                                5,194,307     5,194,307
                      Public Safety                                35,035,993    36,694,840
                      Infrastructure                                2,889,889     2,889,889
                      Governance                                      539,170       539,170
                      Other Expenditures                                  -             -
                                  Total Expenditures              $51,954,467   $53,548,116


                      Revenue Over (Under) Expenditures            $1,000,000    $1,000,000

                      Fund Balance Beginning of Year           ($12,895,642)    ($12,895,642)

                      Fund Balance End of Year                 ($11,895,642)    ($11,895,642)




 Note: Flint reduced its expected expenditures by $1,000,000 as a budget control mechanism to help ensure that the City
 reduces its structural deficit.




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                                          APPENDIX D

                                    CITY OF FLINT
                            AUDITED FINANCIAL STATEMENTS

          Attached are the audited financial statements for the City of Flint for the fiscal year
  ended June 30, 2013. The auditors for the City have not been asked to consent to the use of
  information from such financial statements in either the Preliminary Official Statement or the
  Official Statement and have not conducted any subsequent review of such financial statements.
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                                                                                                                     To the Emergency Manager, Honorable Mayor,
                                                                                                                         and Members of the City Council
                                                                                                                     City of Flint
                                                                                                                     Flint, Michigan


                                            Independent Auditor's Report                                             Opinions
                                                                                                                     In our opinion, the financial statements referred to above present fairly, in all material respects, the
                                                                                                                     respective financial position of the governmental activities, the business-type activities, the aggregate
      To the Emergency Manager, Honorable Mayor,
                                                                                                                     discretely presented component units, each major fund, and the aggregate remaining fund information of
          and Members of the City Council
                                                                                                                     the City as of June 30, 2013 and the respective changes in its financial position and cash flows for the year
      City of Flint
                                                                                                                     then ended, in accordance with accounting principles generally accepted in the United States of America.
      Flint, Michigan
                                                                                                                     Emphasis of Matter
      Report on the Financial Statements
                                                                                                                     As discussed in Note 20 to the basic financial statements, the beginning net position/fund balance has
      We have audited the accompanying financial statements of the governmental activities, the business-type        been restated to correct a misstatement. Our opinion is not modified with respect to this matter.
      activities, the aggregate discretely presented component units, each major fund, and the aggregate
      remaining fund information of the City of Flint (the "City") as of and for the year ended June 30, 2013 and    Other Matters
      the related notes to the financial statements, which collectively comprise the City's basic financial
                                                                                                                     Required Supplemental Information
      statements as listed in the table of contents.
                                                                                                                     Accounting principles generally accepted in the United States of America require that the management's
      Management’s Responsibility for the Financial Statements
                                                                                                                     discussion and analysis, pension system schedules of funding progress and employer contributions, and
      Management is responsible for the preparation and fair presentation of these financial statements in           the major fund budgetary comparison schedules, as identified in the table of contents, be presented to
      accordance with accounting principles generally accepted in the United States of America; this includes        supplement the basic financial statements. Such information, although not a part of the basic financial
      the design, implementation, and maintenance of internal control relevant to the preparation and fair           statements, is required by the Governmental Accounting Standards Board, which considers it to be an
      presentation of financial statements that are free from material misstatement, whether due to fraud or         essential part of financial reporting for placing the basic financial statements in an appropriate operational,
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      error.                                                                                                         economic, or historical context. We have applied certain limited procedures to the required
                                                                                                                     supplemental information in accordance with auditing standards generally accepted in the United States
      Auditor’s Responsibility                                                                                       of America, which consisted of inquiries of management about the methods of preparing the information
                                                                                                                     and comparing the information for consistency with management's responses to our inquiries, the basic
      Our responsibility is to express opinions on these financial statements based on our audit. We conducted
                                                                                                                     financial statements, and other knowledge we obtained during our audit of the basic financial statements.
      our audit in accordance with auditing standards generally accepted in the United States of America and
                                                                                                                     We do not express an opinion or provide any assurance on the information because the limited
      the standards applicable to financial audits contained in Government Auditing Standards, issued by the
                                                                                                                     procedures do not provide us with sufficient evidence to express an opinion or provide any assurance.
      Comptroller General of the United States. Those standards require that we plan and perform the audit
      to obtain reasonable assurance about whether the financial statements are free from material                   Other Supplemental Information
      misstatement. The financial statements of Hurley Medical Center, the Downtown Development
      Authority, the Economic Development Corporation, and the Flint Area Enterprise Community were not              Our audit was conducted for the purpose of forming opinions on the financial statements that collectively
      audited under Government Auditing Standards.                                                                   comprise the City's basic financial statements. The other supplemental information, introductory section,
                                                                                                                     and statistical section, as identified in the table of contents, are presented for the purpose of additional
      An audit involves performing procedures to obtain audit evidence about the amounts and disclosures in          analysis and are not a required part of the basic financial statements.
      the financial statements. The procedures selected depend on the auditor’s judgment, including the
      assessment of the risks of material misstatement of the financial statements, whether due to fraud or          The other supplemental information is the responsibility of management and was derived from and
      error. In making those risk assessments, the auditor considers internal control relevant to the entity’s       relates directly to the underlying accounting and other records used to prepare the basic financial
      preparation and fair presentation of the financial statements in order to design audit procedures that are     statements. Such information has been subjected to the auditing procedures applied in the audit of the
      appropriate in the circumstances, but not for the purpose of expressing an opinion on the effectiveness        basic financial statements and certain additional procedures, including comparing and reconciling such
      of the entity’s internal control. Accordingly, we express no such opinion. An audit also includes evaluating   information directly to the underlying accounting and other records used to prepare the basic financial
      the appropriateness of accounting policies used and the reasonableness of significant accounting               statements or to the basic financial statements themselves, and other additional procedures in
      estimates made by management, as well as evaluating the overall presentation of the financial statements.      accordance with auditing standards generally accepted in the United States of America. In our opinion,
                                                                                                                     the other supplemental information is fairly stated in all material respects in relation to the basic financial
      We believe that the audit evidence we have obtained is sufficient and appropriate to provide a basis for       statements as a whole.
      our audit opinions.
                                                                                                                     The introductory and statistical sections have not been subjected to the auditing procedures applied in
                                                                                                                     the audit of the basic financial statements and, accordingly, we do not express an opinion or provide any
                                                                                                                     assurance on it.
                                                           1                                                                                                               2
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      To the Emergency Manager, Honorable Mayor,
          and Members of the City Council
      City of Flint
      Flint, Michigan

      Other Reporting Required by Government Auditing Standards
      In accordance with Government Auditing Standards, we have also issued our report dated December 17,
      2013 on our consideration of the City of Flint, Michigan's internal control over financial reporting and on
      our tests of its compliance with certain provisions of laws, regulations, contracts, grant agreements, and
      other matters. The purpose of that report is to describe the scope of our testing of internal control over
      financial reporting and compliance and the results of that testing, and not to provide an opinion on the
      internal control over financial reporting or on compliance. That report is an integral part of an audit
      performed in accordance with Government Auditing Standards in considering the City's internal control
      over financial reporting and compliance.




      December 17, 2013



                                                                                                                    Management’s Discussion and Analysis
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                                                          3
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      City of Flint, Michigan                                                                                City of Flint, Michigan
                                                  Management’s Discussion and Analysis                                                Management’s Discussion and Analysis (Continued)

      Following is a brief overview and analysis of the financial statements for the City of Flint,          With the fiscal year 2012 half complete at the time the emergency manager was appointed, it
      Michigan (the “City”) for the 2013 fiscal year, which began on July 1, 2012 and ended on June 30,      was clear that significant long-term solutions to the City’s financial condition could not be
      2013. The reader is encouraged to not only consider the comments made here but to review               achieved in the remainder of that fiscal year. Addressing any significant reductions at that time
      the statements in their entirety.                                                                      would have required unthinkable reductions in the level of public safety and other essential City
                                                                                                             services, and would have been done in an atmosphere of crisis. As a result, it was determined to
      The City provides a full range of municipal services, including police and fire protection,            contain spending as much as possible for the balance of fiscal year 2012, while building a credible
      construction and maintenance of streets, sidewalks, and other infrastructure, maintenance and          spending plan for fiscal year 2013 and laying the necessary groundwork for substantially reducing
      operation of water and sewer systems, maintenance of parks, and waste collection. These                the City’s cost base for fiscal year 2013 and beyond. Consequently, the fiscal year 2012 financial
      activities comprise the majority of the City’s governmental and business-type activities.              statements showed a $19.2 million General Fund deficit, an increase of $11.9 million.
      In addition to governmental and business-type activities, the financial statements include the
      activities of Hurley Medical Center, Flint Downtown Development Authority, Flint Economic              Faced with an initial projected gap of more than $25 million, the fiscal year 2013 budget was
      Development Corporation, and Flint Area Enterprise Community. While part of the City                   balanced through a mixture of significant revenue increases, significant expenditure decreases,
      government, these entities are presented as “discrete component units” because of their                and steps taken to reduce legacy costs. Reports submitted to the state treasurer detailed the
      independent management authority. In previous years, Hurley Medical Center has been included           25 percent increase in water and sewer rates, passage of a 6 mill property tax increase for police
      as a business-type activity of the City government, but a review of its status has concluded that it   and fire, which is recorded in a separate public safety special revenue fund and the monies are
      can be more appropriately presented as a discrete component unit.                                      restricted as such on the government-wide statement of net position, establishment of a special
                                                                                                             assessment district for street lighting, elimination of 20 percent of the City’s workforce,
      Financial Highlights                                                                                   compensation decreases equivalent to a 20 percent wage reduction for remaining employees,
                                                                                                             and the restructuring of health and retirement benefits for current employees and retirees
      In fiscal year 2013, the City billed $187.7 million in taxes, fees, and grants for governmental and    necessary to develop a credibly balanced spending plan.
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      business-type activities, and spent $170.0 million to provide the services. During the course of
      the year, the City acquired capital assets totaling $5.1 million in governmental activities and $1.7   The efforts of the emergency managers and City staff were focused on assuring that, at the end
      million in building improvements and equipment in business-type activities. At the end of the          of fiscal year 2013, expenses would not exceed revenues. This goal was more than achieved, as
      year, the assets of the City governmental and business-type activities totaled $356.4 million and      the financial statements as of June 30, 2013 show that revenues exceeded expenses in the
      liabilities totaled $238.6 million, for net position totaling $117.8 million. However, net             General Fund by $6.3 million. This will result in the City’s accumulated $19.2 million deficit as of
      unrestricted net position totaled a negative $150.1 million. The majority of the negative              June 30, 2012 being reduced to less than $13 million as of June 30, 2013.
      unrestricted net position reflects the $158.9 million liability for unfunded retiree healthcare
      liabilities; the business-type activities reflected $8.3 million in unrestricted net position.         Additionally, the City’s cash flow improved significantly. Cash flow in December 2011 was
                                                                                                             projected at approximately $13 million in comparison to current cash on hand on as of June 30,
      On December 1, 2011, five months into fiscal year 2012, the governor of the state of Michigan
                                                                                                             2013 in excess of $43 million.
      placed the City of Flint into state receivership and appointed an emergency manager. This
      decision was based on the recommendation of a state appointed review team, whose
                                                                                                             Finally, the actions taken to restructure healthcare benefits for current employees and retirees
      recommendation was made in part because of a consistent deficit in the General Fund, the
                                                                                                             have had a significant impact on current costs and long-term liabilities. Much of the positive
      decline in pooled cash, unrealistic budgeting, and unfunded liabilities for postemployment
                                                                                                             financial result in FY13 came from these actions. The restructuring, which was implemented
      benefits.
                                                                                                             during the course of FY12, had the additional benefit of reducing the City’s OPEB liabilities by
      Although there have been several changes since December 2011, in the laws providing for the            more than $500 million, as reflected in 2012 financial statements.
      appointment of an emergency manager, and there have been three different emergency
      managers since then, the City has remained under the control of a state appointed manager.             As spending patterns have been revised to be in accord with available revenues, it has also
      These managers exercise direct control of the City’s financial and operational matters and have        become possible to focus on additional efforts to reduce and quickly eliminate the accumulated
      been authorized to “act for and in the place and stead of the governing body and the office of         deficit. A formal plan to eliminate the remaining deficit within the next few years will be
      chief administrative officer of the City of Flint.”                                                    submitted shortly to the Department of Treasury for consideration.




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      City of Flint, Michigan                                                                                  City of Flint, Michigan
                               Management’s Discussion and Analysis (Continued)                                                                Management’s Discussion and Analysis (Continued)

      Overview of the Financial Statements                                                                                    Table 1 - Major Features of the City of Flint, Michigan’s Government-wide
                                                                                                                                                   and Fund Financial Statements
      This discussion and analysis is intended to serve as an introduction to the City’s basic financial
      statements. The City’s basic financial statements comprise three components: (1) government-             Type of                                                                              Proprietary
      wide financial statements, (2) fund financial statements, and (3) notes to the financial statements.   Statements            Government-wide               Governmental Funds                   Funds               Fiduciary Funds
      This report also contains other supplemental information in addition to the basic financial
      statements themselves.                                                                                 Scope             Entire City government        The activities of the City that    Activities the City      Instances in which
                                                                                                                               (except fiduciary funds)      are not proprietary or             operates similar to      the City is the
      Table 1 summarizes the major features of the City’s financial statements, including the portion of                       and the City’s                fiduciary, such as police, fire,   private businesses:      trustee or agent for
      the City government they cover and the types of information they contain. The remainder of                               component units               and parks                          the water and            someone else’s
      this overview section of management’s discussion and analysis explains the structure and                                                                                                  sewer system             resources, such as
      contents of each of the statements.                                                                                                                                                                                the retirement plan
                                                                                                                                                                                                                         for City employees

                                                                                                             Required          •    Statement of net         •    Balance sheet                 •   Statement of net • Statement of
                                                                                                             financial              position                                                        position           fiduciary net
                                                                                                             statements                                      •    Statement of revenues,
                                                                                                                                                                                                                       position
                                                                                                                               •    Statement of                  expenditures, and        •        Statement of
                                                                                                                                    activities                    changes in fund balances          revenues,        • Statement of
                                                                                                                                                                                                    expenses, and      changes in
                                                                                                                                                                                                    changes in fund    fiduciary net
                                                                                                                                                                                                    net position       position
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                                                                                                                                                                                                •   Statement of
                                                                                                                                                                                                    cash flows

                                                                                                             Accounting        Accrual accounting and        Modified accrual accounting        Accrual accounting       Accrual accounting
                                                                                                             basis and         economic resources            and current financial              and economic             and economic
                                                                                                             measurement       focus                         resources focus                    resources focus          resources focus
                                                                                                             focus

                                                                                                             Type of asset/    All assets and liabilities,   Only assets expected to be         All assets and           All assets and
                                                                                                             liability         both financial and            used up and liabilities that       liabilities, both        liabilities, both short
                                                                                                             information       capital, short term and       come due during the year or        financial and capital,   term and long term;
                                                                                                                               long term                     soon thereafter, no capital        and short term and       the City’s funds do
                                                                                                                                                             assets included                    long term                not currently
                                                                                                                                                                                                                         contain capital
                                                                                                                                                                                                                         assets, although they
                                                                                                                                                                                                                         can

                                                                                                             Type of inflow/ All revenues and                Revenues for which cash is         All revenues and         All revenues and
                                                                                                             outflow         expenses during year,           received during or soon after      expenses during          expenses during
                                                                                                             information     regardless of when cash         the end of the year,               year, regardless of      year, regardless of
                                                                                                                             is received or paid             expenditures when goods or         when cash is             when cash is
                                                                                                                                                             services have been received        received or paid         received or paid
                                                                                                                                                             and payment is due during
                                                                                                                                                             the year or soon thereafter



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      City of Flint, Michigan                                                                                City of Flint, Michigan
                               Management’s Discussion and Analysis (Continued)                                                       Management’s Discussion and Analysis (Continued)

      Government-wide Financial Statements                                                                   Governmental Funds - Governmental funds are used to account for essentially the same
                                                                                                             functions reported as governmental activities in the government-wide financial statements.
      The government-wide financial statements are designed to provide readers with a broad                  However, unlike the government-wide financial statements, governmental fund financial
      overview of the City’s finances, in a manner similar to a private sector business.                     statements focus on near-term inflows and outflows of spendable resources, as well as on
      The statement of net position presents information on all of the City’s assets and liabilities, with   balances of spendable resources available at the end of the fiscal year. Such information may be
      the difference between the two reported as net position. Over time, increases or decreases in          useful in evaluating a government’s near-term financing requirements. Because the focus of
      net position may serve as a useful indicator of whether the financial position of the City is          governmental funds is narrower than that of the government-wide financial statements, it is
      improving or deteriorating.                                                                            useful to compare the information presented for governmental funds with similar information
                                                                                                             presented for governmental activities in the government-wide financial statements. By doing so,
      The statement of activities presents information showing how the City’s net position changed           readers may better understand the long-term impact of the government’s near-term financing
      during the most recent fiscal year. All changes in net position are reported as soon as the            decisions. Both the governmental fund balance sheet and the governmental fund statement of
      underlying event giving rise to the change occurs, regardless of the timing of related cash flows.     revenues, expenditures, and changes in fund balances provide a reconciliation to facilitate this
      Thus, revenues and expenses are reported in this statement for some items that will only result        comparison between governmental funds and governmental activities.
      in cash flows in future fiscal periods (e.g., uncollected taxes and earned but unused vacation
      leave).                                                                                                The City maintains 20 individual governmental funds. Information is presented separately in the
                                                                                                             governmental fund balance sheet and in the governmental fund statement of revenues,
      Both of the government-wide financial statements distinguish functions of the City that are            expenditures, and changes in fund balances for the General Fund, Federal Grants Fund, and the
      principally supported by taxes and intergovernmental revenues (governmental activities) from           Public Improvement Fund. Data from the other 17 governmental funds are combined into a
      other functions that are intended to recover all or a significant portion of their costs through       single, aggregated presentation. Individual fund data for each of these nonmajor governmental
      user fees and charges (business-type activities). The governmental activities of the City include      funds is provided in the form of combining statements elsewhere in this report.
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      general government, police, fire, transportation, public works, parks and recreation, and
      community enrichment and development. The business-type activities of the City include the             The City adopts an annual appropriated budget for its General Fund. A budgetary comparison
      water system and sewer system.                                                                         statement has been provided for the General Fund to demonstrate compliance with this budget.

      The government-wide financial statements include not only the City itself (known as the primary        The basic governmental fund financial statements can be found on pages 24-27 of this report.
      government), but also the legally separate component units of Hurley Medical Center,
                                                                                                             Proprietary Funds - The City maintains two different types of proprietary funds. Enterprise
      Downtown Development Authority, Economic Development Corporation, Atwood Stadium
                                                                                                             funds are used to report the same functions presented as business-type activities in the
      Building Authority, and the Flint Area Enterprise Community, for which the City is financially
                                                                                                             government-wide financial statements. The City uses enterprise funds to account for its water
      accountable. Financial information for these component units is reported separately from the
                                                                                                             and sewer activities. Internal service funds are an accounting device used to accumulate and
      financial information presented for the primary government itself. The government-wide
                                                                                                             allocate costs internally among the City’s funds. The City uses internal service funds to account
      financial statements can be found on pages 20-23 of this report.
                                                                                                             for its data processing, central maintenance garage, fringe benefits, and self-insurance activities.
      Fund Financial Statements - A fund is a grouping of related accounts that is used to maintain          Because these services predominantly benefit governmental rather than business-type activities,
      control over resources that have been segregated for specific activities or objectives. The City       they have been included within governmental activities in the government-wide financial
      of Flint, like other state and local governments, uses fund accounting to ensure and demonstrate       statements.
      compliance with finance-related legal requirements. All of the funds of the City can be divided
                                                                                                             Proprietary funds provide the same type of information as the government-wide financial
      into three categories: governmental funds, proprietary funds, and fiduciary funds.
                                                                                                             statements, only in more detail. The proprietary fund financial statements provide separate
                                                                                                             information for the Water and the Sewer Funds, both of which are considered to be major funds
                                                                                                             of the City. Conversely, the internal service funds are combined into a single, aggregated
                                                                                                             presentation in the proprietary fund financial statements. Individual fund data for the internal
                                                                                                             service funds is provided in the form of combining statements elsewhere in this report. The
                                                                                                             basic proprietary fund financial statements can be found on pages 28-31 of this report.



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      City of Flint, Michigan                                                                               City of Flint, Michigan
                               Management’s Discussion and Analysis (Continued)                                                                            Management’s Discussion and Analysis (Continued)

                                                                                                                                                                                                            Table 2-City of Flint's Net Position
      Fiduciary Funds - Fiduciary funds are used to account for resources held for the benefit of                                                                                                                         (in Millions)

      parties outside the government. Fiduciary funds are not reflected in the government-wide                                                             Governmental Activities                          Business-type Activities                            Total Primary Government

      financial statements because the resources of those funds are not available to support the City’s     Current and other assets                 $
                                                                                                                                                          2012
                                                                                                                                                                   32.1    $
                                                                                                                                                                                2013
                                                                                                                                                                                         48.6    $
                                                                                                                                                                                                     2012
                                                                                                                                                                                                               32.5   $
                                                                                                                                                                                                                                     2013
                                                                                                                                                                                                                                                    49.9   $
                                                                                                                                                                                                                                                               2012
                                                                                                                                                                                                                                                                           64.6    $
                                                                                                                                                                                                                                                                                           2013
                                                                                                                                                                                                                                                                                                    98.5
      own programs. The accounting used for fiduciary funds is much like that used for proprietary          Capital assets                                        166.7                 155.5                110.1                                 102.4                  276.8                    257.9
                                                                                                                                       Total assets $             198.8    $            204.1    $           142.6    $                            152.3 $                341.4 $                  356.4
      funds. The basic fiduciary fund financial statements can be found on pages 32 and 33 of this
                                                                                                            Long-term liabilities outstanding        $            160.9    $            160.5    $             52.7   $                             50.9 $                213.6 $                  211.4
      report.                                                                                               Other liabilities                                      19.1                  17.1                   8.6                                 10.1                   27.7                     27.2
                                                                                                                                    Total liabilities $           180.0    $            177.6    $             61.3   $                             61.0 $                241.3 $                  238.6

      Notes to the Financial Statements - The notes provide additional information that is                  Net position:

                                                                                                                                                     $            164.5    $            153.3    $             84.2   $                             78.6 $                248.7 $                  231.9
      essential to a full understanding of the data provided in the government-wide and fund financial      Net investment in capital assets

                                                                                                            Restricted                                             24.4                  31.6                   5.6                                  4.4                   30.0                     36.0
      statements. The notes to the financial statements can be found on pages 37-88 of this report.         Unrestricted                                         (170.1)               (158.4)                (8.5)                                  8.3                 (178.6)                  (150.1)
                                                                                                                                 Total net position $              18.8    $             26.5    $             81.3   $                             91.3 $                100.1 $                  117.8

      Other Information - In addition to the basic financial statements and accompanying notes, this
      report also presents certain required supplemental information concerning the City’s progress in      Business-type activities have $91.3 million of total net position. Business-type activities do not
      funding its obligation to provide pension benefits to its employees. Required supplemental            encumber at year end and normally do not appropriate net position as part of the budget
      information can be found on pages 89-95 of this report.                                               process.
      The combining statements referred to earlier in connection with nonmajor governmental funds
                                                                                                            Governmental Activities - Changes in net position (see Table 3) provide some insight into
      and internal service funds are presented immediately following the required supplemental
                                                                                                            current year activities as compared to those of the prior year. Total net position for
      information on pensions. Combining and individual fund statements and schedules can be found
                                                                                                            governmental activities increased by $7.7 million. Revenues in 2013 were $12.7 million higher
      on pages 97-122 of this report.
                                                                                                            than in 2012. This increase in revenue is mainly due to a public safety millage passed by the
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      Government-wide Financial Analysis                                                                    voters and increase in state grant revenues in 2013. The 2013 expenses were $8.6 million lower
                                                                                                            than in 2012. The decrease in expenses was largely in part due to reduction in the cost of
      Net position may serve, over time, as a useful indicator of a government’s financial position (see    healthcare expenses.
      Table 2). Total assets of the City are $356.4 million. Total net position (total assets less total
      liabilities) is $117.8 million, of which the largest portion of $231.9 million reflects its net       Business-type Activities - Total net position increased by $10.0 million in business-type
      investment in capital assets (e.g., land, buildings, streets, sidewalks, machinery, and equipment),   activities. The main reason for the increase was due to the City increasing the water and sewer
      less depreciation and any related debt used to acquire those assets that is still outstanding. The    user rates in the latter part of fiscal year 2012. The increased rates, along with a delay in making
      City uses these capital assets to provide services to citizens; consequently, these assets are not    budgeted capital improvements, have played a vital role in sustaining the fiscal year’s budget.
      available for future spending. Although the City’s net investment in its capital assets is reported
      net of related debt, it should be noted that the resources needed to repay this debt must be
      provided from other sources, since the capital assets themselves cannot be used to liquidate
      these liabilities.

      Of the remaining portion of the City’s total net position, $36.0 million represents resources
      which are subject to external restrictions on how they may be used. The unrestricted deficit at
      year end was $150.1 million, which is down from 2012 deficit of $178.6 million. There is no
      remaining balance of unrestricted net position that may be used to meet the government’s
      ongoing obligations to citizens and creditors. Net position is divided between governmental
      activities and business-type activities. Governmental activities show a $158.4 million deficit in
      unrestricted net position. The $158.4 million deficit results from the increase in the short-term
      and long-term liabilities, mainly $129.6 million in postemployment healthcare liability, which
      increased by $1.9 million in total from 2012.




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      City of Flint, Michigan                                                                                                                           City of Flint, Michigan
                                         Management’s Discussion and Analysis (Continued)                                                                                         Management’s Discussion and Analysis (Continued)

                                                         Table 3-City of Flint's Changes in Net Position                                                The City’s governmental funds show an operating surplus (or fund balance) of $7.2 million as of
                                                                                  (in Millions)
                                                                                                                                                        June 30, 2013. This is a significant turnaround from the deficit of $7.3 million. During the year,
                                                  Governmental Activities           Business-type Activities         Total Primary Government           the City residents voted and approved a public safety millage that generated $5.6 million to
                                                      2012               2013          2012             2013              2012             2013         stabilize staffing for the police and fire departments. In addition, the energy company conducted
      Revenues                                                                                                                                          a three-year audit of the City’s streetlights bill; the results of the audit were a $1 million credit
       Program Revenues:                                                                                                                                back to the City. In 2012, the emergency manager ratified new changes to employee and
         Charges for services                     $      16.5        $     17.6    $       68.0     $      80.1       $      84.5      $      97.7      retiree benefits that took full effect in fiscal year 2013. These changes resulted in a significant
         Operating grants and contributions              20.9              14.2               0.0              0.0           20.9             14.2      decrease in healthcare costs. The reduction in costs was credited back across all funds to
         Capital grants and contributions                13.3              21.9               0.0              0.0           13.3             21.9      departmental budgets.
       General revenues:
         Income taxes                                    14.8              14.7               0.0              0.0           14.8             14.7      The reduction of the $19.2 million deficit for the General Fund in fiscal year 2012 to $12.9
         Property taxes                                  14.3              21.7               0.0              0.0           14.3             21.7      million in 2013 was a result of projecting a realistic budget and managing it. Managing the
         State shared revenues                           13.1              13.7               0.0              0.0           13.1             13.7      General Fund has been difficult due to significant reductions in property tax revenues, income
         Other                                               1.9            3.7               0.3              0.1               2.2              3.8   tax revenues, and state-shared revenues. However, the emergency manager and his team took
             Total revenues                              94.8             107.5            68.3            80.2             163.1            187.7      the necessary and difficult steps needed to reduce costs.
      Expenses
       Legislative                                           1.2            0.3               0.0              0.0               1.2              0.3   The remaining governmental funds have a fund balance of $20.1 million, of which virtually all is
       Judicial                                              3.7            5.1               0.0              0.0               3.7              5.1   invested in infrastructure and equipment or restricted for specific purposes. The largest fund
       General government                                10.8               7.5               0.0              0.0           10.8                 7.5   balances among the governmental funds are the public safety, $5.1 million, and local and major
       Public safety                                     49.1              43.0               0.0              0.0           49.1             43.0      streets, $4.5 million. Other special revenue funds are maintained primarily to demonstrate
       Public works                                      26.0              23.0               0.0              0.0           26.0             23.0
                                                                                                                                                        accountability. Federal and state laws place restrictions on how these funds can be spent.
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       Parks and recreation                                  4.5            2.9               0.0              0.0               4.5              2.9
       Community development                             14.7              20.0               0.0              0.0           14.7             20.0      State law requires the preparation of a deficit elimination plan for all fund deficits, unless current
       Interest on long-term debt                            1.4            1.0               0.0              0.0               1.4              1.0
                                                                                                                                                        assets of the fund exceed current liabilities. While the past two deficit elimination plans have
       Water                                                 0.0            0.0            42.5            42.0              42.5             42.0
                                                                                                                                                        addressed deficits in the General Fund, Water Supply Fund, Downtown Development Authority,
       Sewer                                                 0.0            0.0            25.3            25.2              25.3             25.2
                                                                                                                                                        and Economic Development Authority, it will only be necessary for the City to address in the
             Total Expenses                             111.4             102.8            67.8            67.2             179.2            170.0
                                                                                                                                                        2013 plan, the remaining $12.9 million deficit in the General Fund. A plan is being prepared and
      Transfers                                              3.0            3.0            (3.0)           (3.0)                 0.0              0.0
      Changes in net position                           (13.6)              7.7            (2.5)           10.0             (16.1)            17.7
                                                                                                                                                        will be submitted to the Department of Treasury when this report is filed. However, the
      Net position - Beginning - as restated             32.4              18.8            83.8            81.3             263.0            246.9
                                                                                                                                                        Economic Development Corporation will be filing its own deficit elimination plan to address the
      Net position - End                          $      18.8        $     26.5    $       81.3     $      91.3       $     246.9      $     264.6
                                                                                                                                                        $148,895 deficit.

                                                                                                                                                        Proprietary Funds - The City’s proprietary funds provide the same type of information found
      Analysis of Fund Financial Statements
                                                                                                                                                        in the government-wide financial statements, but in more detail.
      As noted earlier, the City uses fund accounting to ensure and demonstrate compliance with
                                                                                                                                                        Total net position in the Water Fund is $26.4 million, an increase of $6.8 million from the
      finance-related legal requirements.
                                                                                                                                                        previous year. Unrestricted net position is no longer negative. Net operating income is also
      Governmental Funds - The focus of the City’s governmental funds is to provide information                                                         improved from $2.3 million to $8.6 million. The positive change is attributable mostly to
      on near-term inflows, outflows, and balances of expendable resources. Such information is                                                         increases in rates. The Water Fund has a bond reserve account of $2.4 million and an equipment
      useful in assessing the City’s financing requirements. In particular, unreserved fund balance may                                                 reserve account of $2.0 million.
      serve as a useful measure of a government’s net resources available for spending at the end of
                                                                                                                                                        Net position in the Sewer Fund is $64.8 million, an increase of $3.1 million from 2012. Net
      the fiscal year.
                                                                                                                                                        operating income was a positive $6.8 million.

                                                                                                                                                        Additional rate increases averaging 25 percent were implemented as part of the fiscal year 2013
                                                                                                                                                        budget in order to improve the financial solvency of the water and sewer systems.


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      City of Flint, Michigan                                                                                                                       City of Flint, Michigan
                                     Management’s Discussion and Analysis (Continued)                                                                                             Management’s Discussion and Analysis (Continued)

      Capital Assets and Debt Administration                                                                                                        General Obligation Bonds - The City issued $10 million in General Obligation Bonds in fiscal
                                                                                                                                                    year 2008 on behalf of the Flint Downtown Development Authority for construction of the new
      Capital Assets - The City’s net investment in capital assets for its governmental and business-                                               Rutherford parking structure. The City has pledged a portion of state-shared revenue as
      type activities as of June 30, 2013 amounts to $257.9 million (net of accumulated depreciation), a                                            security for the bond. The DDA has pledged net revenue from the parking operations for the
      net decrease of $18.8 million. This net investment in capital assets includes land, buildings and                                             repayment of the bond. However, in the City’s approved deficit elimination plan, it was
      system improvements, machinery and equipment, park facilities, roads, highways, and bridges                                                   determined by the City that the DDA’s commitment to funding its portion of the debt service
      (see Table 4). Additional information on the City’s capital assets can be found in Note 6.                                                    for the parking ramp was unrealistic given the decline in property values and revenues expected
                                                       Table 4-City of Flint's Capital Assets - net of depreciation                                 to be received through operations were not realized. The City as the guarantor is making the
                                                                               (in Millions)                                                        debt service payments.

                                            Governmental Activities                Business-type Activities       Total Primary Government          Long-term Debt - At year end, the City had $34.8 million in bonds and notes and compensated
                                                                                                                                                    absences outstanding for governmental activities and $24.4 million in bonds and notes and
                                                2012              2013              2012             2013             2012             2013
                                                                                                                                                    compensated absences outstanding for business-type activities. Additional information on the
      Land                                  $      14.3       $       14.3     $           0.8   $          0.8   $      15.1      $      15.1      City’s long-term debt can be found in Note 9.
      Construction in progress                           -               0.1               1.3              1.3              1.3              1.4
                                                                                                                                                                                                     Table 5-City of Flint's Long-term Debt
      Building and system                              5.8               5.4            33.7            31.4             39.5             36.8
                                                                                                                                                                                                                   (in millions)
      Improvements other than buildings                4.2               3.8               3.9              3.6              8.1              7.4
                                                                                                                                                                                    Governmental Activities                      Business-type Activities          Total Primary Government
      Machinery and equipment                          5.8               4.6            70.4            65.3             76.2             69.9
                                                                                                                                                                                        2012               2013                    2012               2013             2012             2013
      Roads and sidewalks                         136.5             127.3                    -                -         136.5            127.3
                                                                                                                                                    General Obligation Bonds        $          9.5     $          9.2        $               -    $           -    $          9.5   $          9.2
      Total                                 $     166.6       $     155.5      $       110.1     $     102.4      $     276.7      $     257.9
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                                                                                                                                                    Revenue Bonds and Notes                      -                  -                     25.9           23.8             25.9             23.8
                                                                                                                                                    Other Notes                            21.4               20.8                           -                 -          21.4             20.8
      The City governmental activities made major capital improvements during 2013:                                                                 Capital Leases                             0.7                0.4                        -                 -              0.7              0.4


               •   Streets and enhancement                                             $ 2.9 million                                                Accrued Annual and Sick Pay                5.3                4.4                      0.6               0.6              5.9              5.0

               •   Trails                                                                0.1 million                                                Total                           $      36.9        $      34.8           $            26.5   $       24.4      $      63.4      $      59.2

               •   Signs and signals                                                     0.7 million
                                                                                                                                                    Limitations on Debt - The State limits the amount of general obligation debt the City can issue
      Total capital improvements, as a result of governmental activities, were $5.1 million.                                                        to 7 percent of the assessed value of all taxable property within the City’s corporate limits. The
      Depreciation was $15.6 million.                                                                                                               City’s legal debt limit is $115.4 million. The amount of debt available to the City (unused portion
                                                                                                                                                    of the debt limitation) is $102.6 million. The City can issue bonds through the Michigan
      The City’s business-type activities also made very little capital improvements during 2013. This                                              Municipal Bonding Authority’s state-shared revenue program. The program pledges the City’s
      was due to reduced available funds.                                                                                                           future state-shared revenues.
      Debt Administration - Debt is administered through three debt service funds and the Public                                                    Bond Ratings - There are no current ratings for the City. Prior ratings were withdrawn as the
      Improvement Fund. In addition, the Water Fund services debt for bonds issued for plant                                                        City’s financial position led to consideration of the City being placed into receivership. Moody's
      improvements (see Table 5).                                                                                                                   Investors Service last rated the City’s general obligation unlimited bonds at Ba1, with a stable
                                                                                                                                                    outlook in February 2006.




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      City of Flint, Michigan                                                                             City of Flint, Michigan
                              Management’s Discussion and Analysis (Continued)                                                     Management’s Discussion and Analysis (Continued)

      Economic Factors and Next Year’s Budget and Rates                                                   “Steady Job Growth Will Continue for Genesee, Lapeer, Livingston, Macomb, Oakland, St. Clair, and
                                                                                                          Shiawassee Counties” according to the February 2013 economic forecast by the University of
      Flint and Genesee County are moving aggressively to restore our region’s position as a center of    Michigan Institute for Research on Labor, Employment and the Economy. The report forecasted
      innovation and entrepreneurship in the public and private sectors. Our new leadership is            job growth of approximately 78,000 from 2013-2015 and highlighted the creation of 75,000 new
      partnering to engage our strong anchor assets in higher education, life sciences/health care, and   jobs in the past three years. The study predicts new jobs in professional services and trade/
      advanced manufacturing to make our region a superior place for business investment, policy          transportation/utilities, as well as private education and health. Many of these positions will be
      experimentation, and multi-sector partnerships. We are starting to be recognized for our            within commute distance from Flint and Genesee County. The report also predicted 0.9 percent
      growth and reinvention. Kiplinger referred to Flint in April 2011 “For some particularly hard-hit   job growth per year for Flint and Genesee County.
      metro areas, 2011 will bring a dramatic turnaround -- new investment by businesses, growth in the
      number of jobs, and a reblooming of hope.”                                                          Jobs and business opportunities are increasing because of the continued collaboration among our
                                                                                                          key economic sectors, governments, and non-profits. Despite the ongoing recession, last year
      Our overall objective is to create a sustainable region with new jobs, strong neighborhoods, and    the region created and retained 569 jobs through the direct efforts of the Flint and Genesee
      great schools. This will be achieved through private and public collaboration and harnessing of     Chamber of Commerce, our lead economic development agency. In fact, public and private joint
      the community’s capacity for diversification, innovation, and entrepreneurship.                     efforts have supported:

      Flint and Genesee County aim to be one of Michigan’s major success stories by moving from           •   More than $1 billion in General Motors investment in the past three years
      prolonged recession to rapid recovery and growth. Our region intends to lead the way with
      measurable achievements over the next three to five years as follows:                               •   Over $500 million in new non-GM investment in the past three years

      •   Doubling export activity and generating new jobs                                                •   Continuing investment in downtown Flint with announcements of more than $200 million
          o As GM truck and engine sales increase, a portion is destined for international markets            from 2011-2013, including over $100 million in new higher education assets
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          o Area manufacturers have increased exporting in 2012-2013 with funding support from            Further, City suppliers have increased their federal contracting wins over 1,300 percent in the
              the Michigan State Trade Export Program (STEP)                                              last five years. Finally, federal investment is also growing. Recent awards include $20 million for
      •   Increasing enrollments across our higher education institutions                                 blight elimination from the U.S. Troubled Asset Relief Program, $550,000 from EPA for Chevy in
          o The University of Michigan - Flint has achieved record enrollment in 2012 and 2013 with       the Hole site clean-up and environmental remediation training at Mott Community College, and
              dramatic increases in international students                                                $140,000 for a four-county regional CEDS plan. These combine with $33 million from the EPA
          o Kettering University, Mott Community College, and Baker College - Flint have received         to clean up the Buick City Brownfield, a HUD challenge planning grant, a SAFER grant, and
              national recognition                                                                        several research and development grants.
      •   Attracting and retaining mobile talent and young families
                                                                                                          At the core of our region, the City has restored some of its manufacturing strength while
          o Downtown Flint is reported as the fastest growing neighborhood in Genesee County
                                                                                                          expanding its institutions of higher education and health care. Recently, a milestone was reached
      •   Stabilizing property values and local tax revenues                                              by the area’s colleges and universities. Total enrollment is now nearly 34,000 students in
      •   Reducing unemployment and poverty                                                               undergraduate through doctoral programs. Many new businesses, housing options, and
          o Flint and Genesee County saw some of the fastest decline in unemployment in the state         restaurants have been created as part of the downtown Flint investments. The formerly all-
              of Michigan in 2013                                                                         commuter downtown has been transformed into a vibrant scene where 3,600 college students
      •   Improving health outcomes, quality of life, and environmental sustainability                    are living in newly developed multi-institution residence halls and lofts. Notably, two landmark
          o Commit to Fit is a growing Flint-based initiative that promotes “healthy habits.”             hotels that had been closed for business (the Hyatt Regency and Durant) are fully renovated and
                                                                                                          now house college students, faculty, and professionals.

                                                                                                          Flint and Genesee County have attracted strong new businesses such as Rassini Brakes, Senderra
                                                                                                          RX, Environmental Wood Solutions, and most recently, American Cast Iron Pipe, the last two of
                                                                                                          which are locating in the City. American has announced plans to build a facility on the northern
                                                                                                          portion of the former Buick City complex and create 60 new jobs.



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       City of Flint, Michigan                                                                                 City of Flint, Michigan
                                Management’s Discussion and Analysis (Continued)                                                         Management’s Discussion and Analysis (Continued)

       City of Flint staff have collaborated with the economic development team at the Flint and               The challenges are many, including:
       Genesee Chamber to support the growth of area businesses including: Powers Catholic High
       School (private), CFI Medical, Sustainable Environmental Technologies, McLaren Flint Proton             •   Continuing decline in property values, made more dire by the phase-out of personal
       Beam, McLaren Flint Laboratory, and Barrette Outdoor Living, as well as General Motors Truck                property tax
       Assembly and General Motors Flint Engine South.                                                         •   Minimal increases in income tax revenues as unemployment and poverty remain high
                                                                                                               •   An aging and reduced workforce, resulting in an increase in the ratio of retirees to active
       Diplomat Specialty Pharmacy, the fastest growing firm of its type in the United States, continues           employees, affecting pension and health care costs
       to grow ahead of plans at their new corporate headquarters in Flint. Plans include the creation of      •   Aging sewer, water, street, and sidewalk infrastructure
       1,100 new jobs by 2016. The company produces, packages, and distributes pharmaceutical                  •   Continuing high levels of crime
       products to chronically ill patients across the country. Diplomat and the Insight Institute for         •   Reduced population
       Neurosurgery and Neuroscience acquired the entirety of the former GM Great Lakes
       Technology Center, a 1,000,000 square foot complex in Flint.                                            There are, however, many positive steps being taken which give strong hope that the City will
                                                                                                               regain its financial solvency and be a key part of restoring the community of Flint, including:
       In health care, Genesys Health System recently established a new $3 million clinic in downtown
       Flint with 10 new jobs and 60 transferred from a neighboring municipality. The main campus of           •   Strong partnership with entities such as the Greater Regional Flint Chamber of Commerce,
       Genesys continues to be a significant medical asset in Grand Blanc. Hurley Hospital established a           Prima Civitas, and the State of Michigan to promote economic development
       new children’s hospital and completed a $30 million new emergency and trauma care facility.             •   Strong support - financial and otherwise - from the Mott Foundation to support many
       McLaren Health System expanded its destimation medicine offerings by investing over $78                     activities helping to restore Flint
       million in a new proton beam cancer treatment facility and patient residence. All three hospitals       •   Diversification of Flint’s economic base, especially in higher education and health care
       are actively engaged in medical education and research activities at their facilities.                  •   Support of city residents to financially support city initiatives, as evidenced by recent passage
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                                                                                                                   of a 6 mill public safety stabilization millage
       The Flint and Genesee Chamber of Commerce, formerly the Genesee Regional Chamber of                     •   Support from the State of Michigan to assist the City, including increases in state trooper
       Commerce, was tapped to lead tourism efforts in Flint and Genesee County in 2012. In order to               presence and assisting financially in reopening the City’s lockup
       expand community marketing to appeal to both investors and visitors, the Chamber led a                  •   Willingness by those managing the City to make the necessary decisions to restore financial
       market research project and developed a new campaign to shape the image of the area. The                    solvency, as evidenced by the implementation of a fiscal year 2013 budget which raised
       conclusion: Flint and Genesee need a partner brand that highlights the strengths of both. March             revenues and cut expenses sufficiently to assure that expenses will not exceed revenues
       2013 marked the culmination of the Chamber's efforts to build a brand partnership between               •   Taking steps to improve and maintain long-term financial solvency, including reducing the
       Flint and Genesee. They have created a campaign to market the region as a desirable destination             workforce by nearly 20 percent; restructuring health benefits in a manner which reduced
       for events, vacation, or business. “See what's possible” is a rallying cry that invites travelers and       OPEB liabilities by nearly 2/3; reduced pension benefits; significantly raised water and sewer
       investors to see what the County has to offer. The campaign plays off the word “see” and                    rates while implementing new fees for trash pick-up and street lights; and restructuring the
       features iconic destinations and human moments through compelling imagery.                                  way in which City services are provided
                                                                                                               •   Working collaboratively with other municipalities to consider sharing of services, as
       Budgets - The placement of the City into state receivership emphasizes the City’s precarious                evidenced by five recent applications to the State for financial support in implementing
       financial position. Flint is an urban center which has been faced with a very significant loss in           shared services
       employment base in addition to the well-known problems of all mature urban centers. The City            •   Completed a five-year strategic plan and budget in conjunction with the City’s fiscal year
       will be challenged for several more years to determine how it can restore its financial solvency            2015 budget.
       and provide at least a basic level of City services while at the same time participating in the
       activities which will result in Flint being an attractive place for residents, students, businesses,    Requests for Information - This financial report is designed to provide a general overview of
       and visitors.                                                                                           the City of Flint, Michigan’s finances for all those with an interest in the government’s finances.
                                                                                                               Questions concerning any of the information provided in this report or requests for additional
                                                                                                               financial information should be addressed to the Office of the Finance Director, City of Flint,
                                                                                                               1101 South Saginaw Street, Room #203, Flint, Michigan 48502.




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       City of Flint, Michigan                                                                                            City of Flint, Michigan
                                                                            Statement of Net Position                                                                  Statement of Net Position (Continued)
                                                                                       June 30, 2013                                                                                           June 30, 2013

                                                                 Primary Government
                                                  Governmental       Business-type                          Component                                                               Primary Government
                                                    Activities         Activities           Total             Units                                                  Governmental       Business-type                          Component
                                                                                                                                                                       Activities         Activities          Total              Units
       Assets
         Pooled cash and investments (Note 3)    $    25,610,907    $    10,408,305   $    36,019,212   $            -
         Cash and cash equivalents (Note 4)            1,305,461            858,151         2,163,612        11,648,142   Liabilities
         Investments (Note 4)                            937,543                 -            937,543        49,444,802      Accounts payable                        $   4,569,703    $    5,613,046   $    10,182,749     $    19,583,965
         Receivables (net of allowance, where                                                                                Due to other governmental units               454,952                -            454,952             100,000
            applicable) (Note 5):                                                                                            Due to primary government (Note 7)                 -                 -                 -            9,866,795
              Property taxes receivable                1,461,019                -           1,461,019               -        Deposits and advances                         559,723           580,684         1,140,407              32,600
              Receivables from sales to                                                                                      Accrued liabilities and other               4,071,015         1,188,571         5,259,586          33,393,514
                  customers on account                        -          22,940,950        22,940,950        70,201,583      Unearned revenue (Note 5)                     920,414                -            920,414               3,500
              Accrued interest receivable                 11,195                 -             11,195           261,587      Other current liabilities                   1,111,183                -          1,111,183                  -
              Accounts (net of allowance of                                                                                  Noncurrent liabilities:
                  $85,376)                                    -                 -                  -           694,337         Due within one year:
              Other receivables                        3,619,197               387          3,619,584          704,500             Payable from restricted assets               -                -                    -           446,578
              Due from other governmental                                                                                          Claims payable - Current
                  units                                8,798,817            109,866         8,908,683                -                (Note 16)                            854,776               -             854,776           3,779,561
              Loan receivable                         10,560,338                 -         10,560,338           288,912            Current portion of long-term debt
         Due from component units (Note 7)             5,600,346                 -          5,600,346                -                (Note 9)                           4,498,378         2,703,175          7,201,553          5,608,530
         Internal balances (Note 7)                   (9,948,800)         9,948,800                -                 -         Due in more than one year:
                                                                                                                                   Claims payable (Note 16)                641,000                -            641,000          38,268,025
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         Inventory                                       169,903          1,136,255         1,306,158         5,223,959
         Prepaid costs                                    84,152                 -             84,152         2,757,869            Net pension obligation                       -                 -                 -            3,268,705
         Restricted assets (Note 10)                     380,675          4,385,534         4,766,209        44,722,843            Net OPEB obligation (Note 12)       129,627,657        29,274,057       158,901,714           3,432,051
         Investment in joint ventures                         -                  -                 -          7,029,993            Long-term debt (Note 9)              30,319,787        21,675,336        51,995,123         102,540,405
         Other assets                                         -              70,654            70,654         3,619,977
                                                                                                                                         Total liabilities            177,628,588         61,034,869       238,663,457         220,324,229
         Capital assets (Note 6):
            Assets not subject to depreciation        14,446,152          2,045,361        16,491,513        22,226,500   Net Position
            Assets subject to depreciation           141,078,393        100,399,785       241,478,178       107,823,304     Net investment in capital assets          153,329,640         78,604,810       231,934,450          37,165,197
         Cash held with agent                                 -                  -                 -            550,000     Restricted for:
                                                                                                                              Roads                                     4,515,164                 -           4,515,164                 -
                     Total assets                    204,115,298        152,304,048       356,419,346       327,198,308
                                                                                                                              Capital projects                          7,683,362                 -           7,683,362                 -
                                                                                                                              Street lighting                             213,421                 -             213,421                 -
                                                                                                                              Revolving loan program                           -                  -                  -           1,960,671
                                                                                                                              Police                                    1,299,438                 -           1,299,438                 -
                                                                                                                              Public safety                             5,118,343                 -           5,118,343                 -
                                                                                                                              Community development                    11,619,405                 -          11,619,405             96,691
                                                                                                                              Parks and recreation                        136,003                 -             136,003                 -
                                                                                                                              Economic development                        555,643                 -             555,643                 -
                                                                                                                              Building inspection                         400,968                 -             400,968                 -
                                                                                                                              Debt service                                  7,163          2,384,034          2,391,197                 -
                                                                                                                              Capital replacement                              -           2,001,500          2,001,500                 -
                                                                                                                              Donor restricted and other                       -                  -                  -           5,618,014
                                                                                                                            Unrestricted                             (158,391,840)         8,278,835       (150,113,005)        62,033,506

                                                                                                                                         Total net position        $ 26,486,710       $ 91,269,179     $ 117,755,889       $ 106,874,079




       The Notes to Financial Statements are an                                                                           The Notes to Financial Statements are an
         Integral Part of this Statement.                   20                                                              Integral Part of this Statement.                  21
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       City of Flint, Michigan
                                                                                                                                                                                                                                      Statement of Activities
                                                                                                                                                                                                                                    Year Ended June 30, 2013

                                                                                                                                                               Net (Expense) Revenue and Changes in Net Position
                                                                                                      Program Revenues                                             Primary Government
                                                                                    Charges for       Operating Grants    Capital Grants and       Governmental        Business-type
                                                               Expenses              Services         and Contributions     Contributions            Activities          Activities           Total           Component Units

       Functions/Programs

       Primary government:
          Governmental activities:
             General government                           $       7,533,423     $        10,652,009   $        776,454    $           3,818    $        3,898,858 $               -      $      3,898,858 $                  -
             Judicial                                             5,095,682               1,696,157            228,170                   -             (3,171,355)                -            (3,171,355)                   -
             Public safety:
                 Police                                          25,078,577               1,724,215             916,145          4,672,971            (17,765,246)                -           (17,765,246)                   -
                 Fire                                            10,713,612                 154,096                  -                  -             (10,559,516)                -           (10,559,516)                   -
                 Building inspection                              4,017,923               2,062,378             134,287          1,733,108                (88,150)                -               (88,150)                   -
                 Emergency dispatch                               3,230,298               1,301,826              13,763                 -              (1,914,709)                -            (1,914,709)                   -
             Public works                                         5,543,366                     940                  -                  -              (5,542,426)                -            (5,542,426)                   -
             Legislative                                            347,098                      -                   -                  -                (347,098)                -              (347,098)                   -
             Community development                               19,981,427                   1,659           3,206,127         15,187,633             (1,586,008)                -            (1,586,008)                   -
             Parks and recreation                                 2,864,223                  10,075             233,743                 -              (2,620,405)                -            (2,620,405)                   -
             Transportation                                      17,434,875                  64,085           8,704,549            274,530             (8,391,711)                -            (8,391,711)                   -
             Interest on long-term debt                           1,021,815                      -                   -                  -              (1,021,815)                -            (1,021,815)                   -

                         Total governmental activities          102,862,319              17,667,440         14,213,238          21,872,060            (49,109,581)                -           (49,109,581)                   -

          Business-type activities:
             Water                                               42,089,874             49,903,868                   -               99,240                   -             7,913,234           7,913,234                    -
                                                                 25,185,405             30,169,235                   -                   -                    -             4,983,830           4,983,830                    -
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             Sewage Disposal Division

                         Total business-type activities          67,275,279             80,073,103                   -               99,240                   -           12,897,064          12,897,064                     -

                         Total primary government         $    170,137,598      $       97,740,543    $    14,213,238     $    21,971,300             (49,109,581)        12,897,064          (36,212,517)                   -

       Component units:
         Downtown Development Authority                   $       2,336,347     $        1,226,697    $              -    $              -                    -                   -                   -               (1,109,650)
         Atwood Stadium Building Authority                               -                      -                    -                   -                    -                   -                   -                       -
         Economic Development Corporation                           244,042                108,343               43,749              47,436                   -                   -                   -                  (44,514)
         Flint Area Enterprise Community                            334,967                     -                12,876                  -                    -                   -                   -                 (322,091)
         Hurley Medical Center                                  374,396,459            372,503,295                   -                   -                    -                   -                   -               (1,893,164)

                         Total component units            $    377,311,815      $      373,838,335    $         56,625    $         47,436                    -                   -                   -               (3,369,419)

                                                          General revenues:
                                                            Property taxes                                                                             21,722,352                 -           21,722,352                 412,068
                                                            Income taxes                                                                               14,674,274                 -           14,674,274                      -
                                                            State-shared revenue (unrestricted)                                                        13,667,182                 -           13,667,182                      -
                                                            Interest (unrestricted)                                                                       445,325                945             446,270              (1,052,987)
                                                            Cable franchise fees (unrestricted)                                                         1,084,668                 -            1,084,668                      -
                                                            Other miscellaneous income (unrestricted)                                                   1,203,070             52,537           1,255,607                 968,221
                                                            Gain on sale of fixed assets                                                                1,046,990                 -            1,046,990                      -

                                                                             Total general revenues                                                    53,843,861             53,482          53,897,343                327,302

                                                          Transfers                                                                                     2,990,000          (2,990,000)                -                      -

                                                          Change in Net Position                                                                        7,724,280           9,960,546         17,684,826              (3,042,117)

                                                          Net Position - As restated - Beginning of year (Note 20)                                     18,762,430         81,308,633         100,071,063          109,916,196

                                                          Net Position - End of year                                                           $      26,486,710     $   91,269,179      $   117,755,889     $    106,874,079




       The Notes to Financial Statements are an
         Integral Part of this Statement.                               22                                                                                                                                       23
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       City of Flint, Michigan                                                                                                                    City of Flint, Michigan
                                                                                                            Governmental Funds                                                                          Governmental Funds
                                                                                                                  Balance Sheet                                         Reconciliation of the Balance Sheet to the Statement
                                                                                                                  June 30, 2013                                                                               of Net Position
                                                                                                                                                                                                                June 30, 2013
                                                                                                  Public
                                                                          Federal Grants       Improvement
                                                     General Fund             Fund                Fund        Nonmajor Funds        Total         Fund Balance Reported in Governmental Funds                                  $      7,164,974
                       Assets
                                                                                                                                                     Amounts reported for governmental activities in the statement
       Cash and cash equivalents (Note 4)        $        441,848     $         214,420    $            -     $      258,559   $      914,827
       Investments (Note 4)                                    -                937,543                 -                 -           937,543          of net position are different because:
       Receivables (Note 5):
          Property taxes receivable                        868,389                    -             184,192          408,438        1,461,019               Capital assets used in governmental activities are not financial
          Accrued interest receivable                           -                     -                  -            11,195           11,195
          Other receivables                              3,585,149                 7,400                 -            24,372        3,616,921
                                                                                                                                                              resources and are not reported in the funds                          154,143,889
          Due from other governmental units              3,304,348             3,963,428                 -         1,531,041        8,798,817
          Notes and leases receivable                           -             10,074,000                 -           486,338       10,560,338               Other long-term assets are not available to pay for current
       Due from component units net of                                                                                                                        period expenditures and therefore are deferred in the funds           12,782,344
          allowance (Note 7)                              148,895               550,000           4,901,451               -         5,600,346
       Due from other funds (Note 7)                           -                     -                   -         1,812,097        1,812,097
       Restricted assets (Note 10)                             -                380,675                  -                -           380,675
                                                                                                                                                            Bonds payable and capital lease obligations are not due and
       Pooled cash and investments (Note 3)               642,400                    -            2,767,994       11,328,814       14,739,208                 payable in the current period and are not reported in the
                                                 $      8,991,029     $     16,127,466     $      7,853,637   $   15,860,854   $   48,832,986
                                                                                                                                                              funds                                                                 (30,007,667)
                        Total assets

       Liabilities and Fund Balances (Deficit)                                                                                                              Accrued interest related to governmental activities debt is not
                                                                                                                                                              reported in the funds                                                    (289,615)
       Liabilities
          Accounts payable                       $       1,873,197    $         951,137    $          3,517   $      877,964   $    3,705,815
                                                                                                                                                            Employee compensated absences are payable over a long
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          Due to other governmental units                  454,952                   -                   -                -           454,952
          Due to other funds (Note 7)                    6,312,097            2,492,039                  -            26,556        8,830,692                 period of years and do not represent a claim on current
          Advances from other funds (Note 7)            10,800,000                   -                   -                -        10,800,000
          Deposits and advances                                 -                    -                   -           559,723          559,723
                                                                                                                                                              financial resources; therefore, they are not reported as fund
          Accrued liabilities and other                  1,346,253               86,521             166,641        1,938,929        3,538,344                 liabilities                                                            (4,435,256)
          Deferred revenue (Note 5)                      1,100,172           11,695,414             184,192          722,980       13,702,758
          Other current liabilities                             -                75,611                 117               -            75,728               Net postemployment benefit obligation is not due and payable
                        Total liabilities               21,886,671            15,300,722            354,467        4,126,152       41,668,012                 in the current period and is not reported in the funds               (129,627,657)
       Fund Balances (Deficit)                                                                                                                              Internal service funds are included as part of governmental
         Nonspendable - Long-term receivable                   -                     -            4,901,451              -          4,901,451
         Restricted:                                                                                                                                           activities                                                           16,755,698
            Roads                                               -                    -                   -         4,515,164         4,515,164
            Police                                              -                    -                   -         1,171,547         1,171,547    Net Position of Governmental Activities                                      $   26,486,710
            Debt service                                        -                    -                   -             7,163             7,163
            Community development                               -               826,744                  -                -            826,744
            Capital projects                                    -                    -            2,597,719               -          2,597,719
            Economic development                                -                    -                   -           258,854           258,854
            Parks and recreation                                -                    -                   -           104,110           104,110
            Building inspections                                -                    -                   -           400,968           400,968
            Public safety                                       -                    -                   -         5,063,475         5,063,475
            Street lighting                                     -                    -                   -           213,421           213,421
         Unassigned (deficit)                          (12,895,642)                  -                   -                -        (12,895,642)

                        Total fund balances
                           (deficit)                   (12,895,642)             826,744           7,499,170       11,734,702        7,164,974

                        Total liabilities and
                           fund balances
                           (deficit)             $      8,991,029     $     16,127,466     $      7,853,637   $   15,860,854   $   48,832,986




       The Notes to Financial Statements are an                                                                                                   The Notes to Financial Statements are an
         Integral Part of this Statement.                                    24                                                                     Integral Part of this Statement.               25
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       City of Flint, Michigan                                                                                                                          City of Flint, Michigan
                                                                    Governmental Funds                                                                                                                    Governmental Funds
                                      Statement of Revenue, Expenditures, and Changes in                                                                           Reconciliation of the Statement of Revenue, Expenditures,
                                                                 Fund Balances (Deficit)                                                                        and Changes in Fund Balances (Deficit) of Governmental Funds
                                                               Year Ended June 30, 2013                                                                                                        to the Statement of Activities
                                                                                                                                                                                                    Year Ended June 30, 2013
                                                                                                   Public            Nonmajor
                                                                           Federal Grants       Improvement         Governmental
                                                      General Fund             Fund                Fund                Funds              Total
       Revenue                                                                                                                                          Net Change in Fund Balances - Total Governmental Funds                       $   14,432,073
         Property taxes                           $       6,011,342    $              -     $      2,055,994    $      11,145,728 $       19,213,064
         Income taxes                                    14,674,274                   -                   -                    -          14,674,274       Amounts reported for governmental activities in the statement
         Licenses and permits                             1,557,320                   -                   -             1,853,188          3,410,508
         Federal grants                                   2,753,854           18,400,485                  -             2,667,702         23,822,041
                                                                                                                                                             of activities are different because:
         State revenue                                   16,003,433               33,703                  -             8,224,888         24,262,024
         Charges for services                            11,406,946                1,209                  -               186,379         11,594,534              Governmental funds report capital outlays as expenditures;
         Fines and forfeitures                            2,291,325                   -                   -               124,323          2,415,648                however, in the statement of activities, these costs are
         Investment income (loss)                           261,004              247,830             719,450              (13,366)         1,214,918
         Other revenue                                    2,770,960               58,028                  -             3,098,994          5,927,982                allocated over their estimated useful lives as depreciation:
                                                                                                                                                                        Capital outlay                                                     5,063,828
                         Total revenue                   57,730,458            18,741,255          2,775,444           27,287,836        106,534,993
                                                                                                                                                                        Depreciation expense                                             (15,579,051)
       Expenditures
         Current:                                                                                                                                                       Net book value of assets disposed of                                (614,042)
            General government                            7,999,801                   -                  -                    -            7,999,801
            Judicial - 68th District Court                4,955,003                   -                  -                    -            4,955,003              Revenues are recorded in the statement of activities when
            Public safety:                                                                                                                                          earned; they are not reported in the funds until collected or
                Police department                        23,404,501                51,727                -              1,592,621         25,048,849
                Combined public safety                                                                                                                              collectible within 90 days of year end                                  462,816
                    department                                   -                     -                  -                52,296             52,296
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                Fire                                     10,682,234             5,270,130                 -                    -          15,952,364              Increase in net postemployment benefit obligation                       (1,511,402)
                Building inspection                          94,170                    -                  -             4,076,364          4,170,534
                Emergency dispatch                        3,141,130                    -                  -                    -           3,141,130              Repayment of bond principal is an expenditure in the
            Public works                                         -                     -                  -             5,515,322          5,515,322
            Legislative                                     344,227                    -                  -                    -             344,227                governmental funds, but not in the statement of activities
            Community development                         1,946,636             7,425,188                 -                 7,693          9,379,517                (where it reduces long-term debt)                                       896,977
            Parks and recreation                          1,853,475             5,318,080            481,121              675,417          8,328,093
            Transportation                                      861                    -                  -             9,769,670          9,770,531
         Debt service:
                                                                                                                                                                  Change in accrued interest is not reported in the funds                     7,269
            Principal                                           -                343,000             185,000             368,977             896,977
            Interest on long-term debt                          -                146,639             415,141             476,596           1,038,376              Decrease in accumulated employee sick and vacation pay and
                                                                                                                                                                    other similar expenses reported in the statement of activities
                         Total expenditures              54,422,038           18,554,764           1,081,262           22,534,956         96,593,020
                                                                                                                                                                    do not require the use of current resources, and therefore
       Excess of Revenue Over Expenditures                3,308,420              186,491           1,694,182            4,752,880          9,941,973                are not reported in the fund statements until they come due
       Other Financing Sources (Uses)                                                                                                                               for payment                                                             908,705
         Proceeds from sale of capital assets                   100                   -                   -                    -                 100
         Transfers in (Note 7)                            2,990,000                   -                   -             2,528,457          5,518,457              Internal service funds are included as part of governmental
         Transfers out (Note 7)                              (9,312)                  -             (726,953)            (292,192)        (1,028,457)
                                                                                                                                                                     activities                                                           3,657,107
                         Total other financing
                            sources (uses)                2,980,788                   -             (726,953)           2,236,265          4,490,100
                                                                                                                                                        Change in Net Position of Governmental Activities                            $    7,724,280
       Net Change in Fund Balances                        6,289,208              186,491             967,229            6,989,145         14,432,073

       Fund Balances (Deficit) - As restated -
         Beginning of year (Note 20)                    (19,184,850)             640,253           6,531,941            4,745,557         (7,267,099)

       Fund Balances (Deficit) - End of year      $ (12,895,642) $               826,744    $      7,499,170    $     11,734,702     $    7,164,974




       The Notes to Financial Statements are an                                                                                                         The Notes to Financial Statements are an
         Integral Part of this Statement.                                     26                                                                          Integral Part of this Statement.              27
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       City of Flint, Michigan                                                                                                              City of Flint, Michigan
                                                                                               Proprietary Funds                                                                                 Proprietary Funds
                                                                                        Statement of Net Position                                       Statement of Revenue, Expenses, and Changes in Net Position
                                                                                                   June 30, 2013                                                                          Year Ended June 30, 2013
                                                                                                                          Governmental                                                                                                                             Governmental
                                                                                    Enterprise Funds                        Activities                                                                                      Enterprise Funds                         Activities
                                                                                                                           Proprietary                                                                                                                              Proprietary
                                                                    Water Supply    Sewage Disposal                      Internal Service                                                                  Water Supply     Sewage Disposal                       Internal Service
                                                                     Division          Division             Total             Fund                                                                          Division           Division             Total              Fund
       Assets
         Current assets:                                                                                                                    Operating Revenue
            Cash and cash equivalents (Note 4)                  $        858,151    $           -      $      858,151    $      390,634       Charges for services                                     $      49,880,827    $   32,025,929     $   81,906,756     $   40,051,431
            Receivables:                                                                                                                                                                                          23,041                -              23,041                 -
                                                                                                                                              Other miscellaneous revenue
               Receivables from sales to customers on account          13,118,422         9,822,528         22,940,950               -
               Other receivables                                              232               155                387            2,276                        Total operating revenue                        49,903,868        32,025,929         81,929,797         40,051,431
               Due from other governmental units                               -            109,866            109,866               -
            Due from other funds (Note 7)                                      -                 -                  -         7,869,795     Operating Expenses
            Inventory                                                     506,621           629,634          1,136,255          169,903       Salaries, wages, and fringe benefits                            10,599,599         13,958,050        24,557,649          3,258,387
            Prepaid costs                                                      -                 -                  -            84,152       Utilities                                                          691,373          2,341,204         3,032,577             38,373
            Pooled cash and investments (Note 3)                        3,452,162         6,956,143         10,408,305       10,871,699       Equipment operation                                                628,541            699,565         1,328,106                496
                                                                                                                                              Claims and settlements                                                  -                  -                 -             998,036
                         Total current assets                          17,935,588        17,518,326         35,453,914       19,388,459       Repair and maintenance                                             220,696            530,681           751,377            295,887
                                                                                                                                              Supplies                                                           934,097            986,642         1,920,739          1,516,507
          Noncurrent assets:                                                                                                                  Insurance                                                               -                  -                 -             389,879
            Restricted assets (Note 10)                                 4,385,534                -           4,385,534                -       Professional services                                              605,606          1,408,472         2,014,078          2,779,794
            Advances to other funds (Note 7)                            1,000,000         9,800,000         10,800,000                -       Miscellaneous                                                      749,641          1,278,943         2,028,584             16,848
            Accrued interest receivable                                        -             70,654             70,654                -       Costs of materials or services rendered                         23,308,800                 -         23,308,800         25,731,269
            Capital assets (Note 6):                                                                                                                                                                           3,563,937          3,974,076         7,538,013            832,674
                                                                                                                                              Depreciation and amortization
               Assets not subject to depreciation                       1,479,998           565,363          2,045,361          132,616
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               Assets subject to depreciation                          43,845,546        56,554,239        100,399,785        1,248,040                        Total operating expenses                       41,302,290        25,177,633         66,479,923         35,858,150

                         Total noncurrent assets                       50,711,078        66,990,256        117,701,334        1,380,656     Operating Income                                                   8,601,578          6,848,296        15,449,874          4,193,281

                         Total assets                                  68,646,666        84,508,582        153,155,248       20,769,115     Nonoperating Revenue (Expenses)
                                                                                                                                              Investment (loss) income                                            (7,689)             8,634                945            (28,855)
       Liabilities                                                                                                                            Interest expense                                                  (787,584)                -            (787,584)           (54,309)
          Current liabilities:                                                                                                                Miscellaneous expenses                                                  -              (7,772)            (7,772)                -
              Accounts payable                                          4,295,654         1,317,392          5,613,046          863,888       (Loss) gain on disposal of capital assets                               -          (1,856,694)        (1,856,694)         1,046,990
              Due to other funds (Note 7)                                      -            851,200            851,200               -        Miscellaneous revenue                                               52,537                 -              52,537                 -
              Deposits and advances                                       580,684                -             580,684               -
              Accrued liabilities and other                               676,926           511,645          1,188,571          243,056                        Total nonoperating (expenses) revenue            (742,736)        (1,855,832)        (2,598,568)          963,826
              Other payables                                                   -                 -                  -         1,035,455
              Claims payable - Current (Note 16)                               -                 -                  -           854,776     Income - Before contributions                                      7,858,842          4,992,464        12,851,306          5,157,107
              Current portion of long-term debt (Note 9)                2,428,178           274,997          2,703,175          179,854
                                                                                                                                            Capital Contributions                                                  99,240               -              99,240                  -
                         Total current liabilities                      7,981,442         2,955,234         10,936,676        3,177,029
                                                                                                                                            Transfers Out (Note 7)                                            (1,130,000)        (1,860,000)        (2,990,000)        (1,500,000)
          Noncurrent liabilities:
            Claims payable (Note 16)                                           -                 -                  -           641,000     Change in Net Position                                             6,828,082          3,132,464         9,960,546          3,657,107
            Net OPEB obligation (Note 12)                              12,547,877        16,726,180         29,274,057               -
                                                                                                                                            Net Position - Beginning of year                                  19,613,929        61,694,704         81,308,633         13,098,591
            Long-term debt (Note 9)                                    21,675,336                -          21,675,336          195,388

                                                                       34,223,213        16,726,180         50,949,393          836,388     Net Position - End of year                                 $     26,442,011     $   64,827,168     $   91,269,179     $   16,755,698
                         Total noncurrent liabilities

                         Total liabilities                             42,204,655        19,681,414         61,886,069        4,013,417

       Net Position
         Net investment in capital assets                              21,222,030        56,844,605         78,066,635        1,005,414
         Restricted:
            Debt service                                                2,384,034                -           2,384,034               -
            Capital replacement                                         2,001,500                -           2,001,500               -
         Unrestricted                                                     834,447         7,982,563          8,817,010       15,750,284

                         Total net position                     $     26,442,011    $   64,827,168          91,269,179   $   16,755,698

       Net Position of Business-type Activities                                                        $   91,269,179

       The Notes to Financial Statements are an                                                                                             The Notes to Financial Statements are an
         Integral Part of this Statement.                              28                                                                     Integral Part of this Statement.                                29
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       City of Flint, Michigan                                                                                                                           City of Flint, Michigan
                                                                                                     Proprietary Funds                                                                                                                  Proprietary Funds
                                                                                               Statement of Cash Flows                                                                                                Statement of Cash Flows (Continued)
                                                                                              Year Ended June 30, 2013                                                                                                          Year Ended June 30, 2013

                                                                                                                                      Governmental                                                                                                                                  Governmental
                                                                                                Enterprise Funds                        Activities                                                                                              Enterprise Funds                      Activities
                                                                                                    Sewage                                                                                                                                          Sewage
                                                                               Water Supply         Disposal                          Internal Service                                                                          Water Supply        Disposal                        Internal Service
                                                                                Division            Division            Total              Funds                                                                                 Division           Division           Total             Fund
                                                                                                                                                         Reconciliation of Operating Income to Net Cash from
       Cash Flows from Operating Activities
                                                                                                                                                           Operating Activities
         Receipts from customers and users                                     $ 47,620,772 $ 29,290,360 $ 76,911,132 $ 40,052,458
                                                                                                                                                              Operating income                                              $      8,601,578    $    6,848,296     $ 15,449,874     $   4,193,281
         Payments to vendors                                                     (26,829,143)  (5,023,121) (31,852,264) (30,654,128)
                                                                                                                                                              Adjustments to reconcile operating income to net cash from
         Payments to employees                                                    (9,790,742) (13,485,958) (23,276,700)   2,370,631
                                                                                                                                                                  operating activities:
         Internal activity - Payments to other funds                                (910,000)  (1,218,300)  (2,128,300)          -
                                                                                                                                                                     Depreciation and amortization                                 3,563,937         3,974,076        7,538,013           832,674
         Claims paid                                                                      -            -            -    (3,470,460)
                                                                                                                                                                     Changes in assets and liabilities:
                                                                                                                                                                        Receivables                                               (2,283,096)       (2,735,569)       (5,018,665)              827
                   Net cash provided by operating activities                     10,090,887          9,562,981         19,653,868          8,298,501
                                                                                                                                                                        Due from others                                                   -                 -                 -          5,264,428
       Cash Flows from Noncapital Financing Activities                                                                                                                  Inventories                                                 (124,767)               -           (124,767)           27,216
         Loans related to pooled cash received from other funds                  (3,589,658)                -          (3,589,658)                -                     Accounts payable                                            (538,158)        1,004,086           465,928            87,709
         Repayments of loans related to pooled cash made to other funds                  -             714,681            714,681                 -                     Estimated claims liability                                        -                 -                 -         (2,472,224)
         Transfers to other funds                                                (1,130,000)        (1,860,000)        (2,990,000)        (1,500,000)                   Accrued and other liabilities                                481,712           384,141           865,853           364,590
         Repayments of loans from other funds                                            -                  -                  -             871,679                    Customer deposits                                             62,536                -             62,536                -
         Payments received on long-term note receivable                                  -                  -                  -             130,000                    Net postemployment benefit obligation                        327,145            87,951           415,096                -
         Pooled cash receipts to other funds                                             -                  -                  -           1,940,634
                                                                                                                                                                          Net cash provided by operating activities         $ 10,090,887        $ 9,562,981        $ 19,653,868     $ 8,298,501
                   Net cash (used in) provided by noncapital financing
                     activities                                                  (4,719,658)        (1,145,319)        (5,864,977)         1,442,313
D-16




       Cash Flows from Capital and Related Financing Activities
         Receipt of capital grants                                                   99,240                 -              99,240                 -
         Proceeds from sales of capital assets                                       52,538                 -              52,538          1,500,000
         Purchase of capital assets                                                (147,462)        (1,552,815)        (1,700,277)          (132,615)
         Principal paid on capital debt                                          (2,115,000)                -          (2,115,000)          (267,795)
         Interest payments                                                         (787,584)                -            (787,584)           (54,309)

                   Net cash (used in) provided by capital and related
                     financing activities                                         (2,898,268)       (1,552,815)        (4,451,083)         1,045,281

       Cash Flows from Investing Activities - Investment (loss) income                (7,689)            8,634                  945          (28,855)

       Net Increase in Cash and Cash Equivalents                                  2,465,272          6,873,481          9,338,753         10,757,240

       Cash and Cash Equivalents - Beginning of year                              6,230,575             82,662          6,313,237           505,093

       Cash and Cash Equivalents - End of year                             $ 8,695,847          $ 6,956,143        $ 15,651,990       $ 11,262,333

       Balance Sheet Classification of Cash and Cash Equivalents
          Cash and investments                                             $        858,151     $           -      $      858,151     $      390,634
          Restricted cash                                                         4,385,534                 -           4,385,534                 -
          Pooled cash                                                             3,452,162          6,956,143         10,408,305         10,871,699

                         Total cash and cash equivalents                   $ 8,695,847          $ 6,956,143        $ 15,651,990       $ 11,262,333




       The Notes to Financial Statements are an                                                                                                          The Notes to Financial Statements are an
         Integral Part of this Statement.                                 30                                                                               Integral Part of this Statement.                                31
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       City of Flint, Michigan                                                                   City of Flint, Michigan
                                                                      Fiduciary Funds                                                                            Fiduciary Funds
                                                  Statement of Fiduciary Net Position                                             Statement of Changes in Fiduciary Net Position
                                                                        June 30, 2013                                                                 Year Ended June 30, 2013

                                                                 Pension and                                                                                                Pension and
                                                                 Benefit Trust                                                                                              Benefit Trust
                                                                    Funds         Agency Funds                                                                                 Funds
       Assets                                                                                    Additions
         Cash and cash equivalents                               $    1,124,296 $    1,277,180    Investment income (loss):
         Investments:                                                                                Interest and dividends                                             $       3,173,659
            U.S. government obligations                                 902,130            -         Net increase in fair value of investments                                 23,543,255
            Agency securities                                        10,481,869            -         Investment-related expenses                                                 (709,589)
            Corporate stocks                                         14,002,249            -
            Corporate bonds                                          11,720,330            -                   Net investment income                                           26,007,325
         Receivables:                                                                               Contributions:
            Property taxes receivable                                        -       3,118,765        Employer                                                                 25,682,439
            Accrued interest receivable                                 186,887             -         Employee                                                                  2,592,912
            Other receivables                                            77,020             30
         Pooled cash and investments                                  1,828,785      1,404,766                 Total contributions                                             28,275,351

                     Total assets                                    40,323,566 $ 5,800,741                    Total additions                                                 54,282,676

       Liabilities                                                                               Deductions
         Accounts payable                                              675,057 $       639,685    Benefit payments                                                             37,825,250
D-17




         Due to other governmental units                                    -        4,207,304    Refunds of contributions                                                        413,842
         Deposits and advances                                              -          953,752    Administrative expenses                                                         810,119
         Deferred revenue                                               86,756              -     Transfer to MERS                                                            476,709,526

                                                                       761,813 $ 5,800,741                     Total deductions                                               515,758,737
                     Total liabilities
       Net Position Held in Trust for Pension and Other                                          Net Decrease in Net Position Held in Trust                                  (461,476,061)
         Employee Benefits                                       $39,561,753                     Net Position Held in Trust for Pension and Other Employee Benefits -
                                                                                                   Beginning of year                                                          501,037,814
                                                                                                 Net Position Held in Trust for Pension and Other Employee Benefits -
                                                                                                   End of year                                                          $     39,561,753




       The Notes to Financial Statements are an                                                  The Notes to Financial Statements are an
         Integral Part of this Statement.          32                                              Integral Part of this Statement.              33
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       City of Flint, Michigan
                                                                                                       Component Units
                                                                                                Statement of Net Position
                                                                                                           June 30, 2013
                                                                   Atwood
                                              Downtown             Stadium       Economic             Flint Area
                                             Development           Building     Development          Enterprise    Hurley Medical
                                               Authority          Authority     Corporation          Community        Center              Total

       Assets
         Cash and cash equivalents
            (Note 4)                         $     223,416    $        9,252    $    138,117     $       992,318   $ 10,285,039     $    11,648,142
         Investments                                    -                 -               -                   -      49,444,802          49,444,802
         Receivables:
            Receivables from sales to
                customers on account                    -                 -               -                   -       70,201,583         70,201,583
            Accrued interest receivable                 -                 -               -                   -          261,587            261,587
            Accounts (net of allowance
                of $85,376)                         68,804                -          625,533                  -               -             694,337
            Other receivables                           -                 -               -                   -          704,500            704,500
            Notes and leases receivable                 -                 -               -              288,912              -             288,912
         Inventory                                      -                 -               -                   -        5,223,959          5,223,959
         Prepaid costs                              24,979                -           10,788                  -        2,722,102          2,757,869
         Restricted assets (Note 10)               246,288                -          446,578                  -       44,029,977         44,722,843
         Investment in joint ventures                   -                 -               -                   -        7,029,993          7,029,993
         Land held for resale                           -                 -               -               19,800       3,600,177          3,619,977
         Capital assets (net of
            depreciation) (Note 6)               14,364,097               -          873,379               1,100    114,811,228         130,049,804
         Cash held with agent                            -                -          550,000                  -              -              550,000
                         Total assets            14,927,584            9,252        2,644,395          1,302,130    308,314,947         327,198,308
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       Liabilities                                                                                                                                          [THIS PAGE INTENTIONALLY LEFT BLANK]
          Accounts payable                          43,439                -            5,285               1,738      19,533,503         19,583,965
          Due to other governmental
              units                                 100,000               -               -                   -               -             100,000
          Due to primary government               9,167,900               -          698,895                  -               -           9,866,795
          Deposits and advances                      30,095               -            2,505                  -               -              32,600
          Accrued liabilities and other               9,229               -               -                   -       33,384,285         33,393,514
          Deferred revenue                            3,500               -               -                   -               -               3,500
          Noncurrent liabilities:
              Due within one year:
                 Payable from restricted
                    assets                              -                 -          446,578                  -              -             446,578
                 Claims payable - Current
                    (Note 16)                           -                 -               -                   -        3,779,561          3,779,561
                 Current portion of long-
                    term debt (Note 9)                  -                 -               -                   -        5,608,530          5,608,530
              Due in more than one year:
                 Claims payable (Note 16)               -                 -               -                   -       38,268,025         38,268,025
                 Other noncurrent
                    liabilities                         -                 -               -                   -       3,268,705           3,268,705
                 Net OPEB obligation                    -                 -               -                   -       3,432,051           3,432,051
                 Long-term debt (Note 9)                -                 -               -                   -     102,540,405         102,540,405

                         Total liabilities        9,354,163               -         1,153,263              1,738    209,815,065         220,324,229

       Net Position
         Net investment in capital assets         5,449,874               -          873,379               1,100      30,840,844         37,165,197
         Restricted:
            Community development                       -                 -               -               96,691              -              96,691
            Revolving loan program                      -                 -          759,105           1,201,566              -           1,960,671
            Donor restricted and other                  -                 -               -                   -        5,618,014          5,618,014
            Restricted for grants                   37,837                -               -                   -               -              37,837
         Unrestricted                               85,710             9,252        (141,352)              1,035      62,041,024         61,995,669
                         Total net
                            position         $ 5,573,421      $        9,252    $ 1,491,132      $ 1,300,392       $ 98,499,882     $ 106,874,079

       The Notes to Financial Statements are an
         Integral Part of this Statement.                                      34
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       City of Flint, Michigan
                                                                                                                                                                                                      Component Units
                                                                                                                                                                                                 Statement of Activities
                                                                                                                                                                                               Year Ended June 30, 2013


                                                                                     Program Revenues                                                  Net (Expense) Revenue and Changes in Net Assets
                                                                                         Operating    Capital Grants        Downtown        Atwood Stadium       Economic         Flint Area
                                                                       Charges for      Grants and         and             Development          Building       Development        Enterprise     Hurley Medical
                                                  Expenses              Services       Contributions  Contributions          Authority         Authority        Corporation      Community           Center               Total
       Functions/Programs
       Downtown Development Authority:
         Governmental activities -
           Development administration         $       306,725      $            -     $          -    $          -     $       (306,725) $              -    $           -      $          -      $           -      $      (306,725)
         Business-type activities - Parking         2,029,622            1,226,697               -               -             (802,925)                -                -                 -                  -             (802,925)
       Atwood Stadium Building Authority                     -                  -                -               -                   -                  -                -                 -                  -                   -
       Economic Development Corporation              244,042               152,092               -           47,436                  -                  -            (44,514)              -                  -              (44,514)
       Flint Area Enterprise Community               334,967                    -            12,876              -                   -                  -                -            (322,091)               -             (322,091)
       Hurley Medical Center                      374,396,459          372,503,295               -               -                   -                  -                -                 -           (1,893,164)        (1,893,164)

                      Total component units   $ 377,311,815        $ 373,882,084      $      12,876   $      47,436           (1,109,650)               -            (44,514)         (322,091)        (1,893,164)        (3,369,419)
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                                              General revenues:
                                                Property taxes                                                                  412,068                 -                -                  -                  -             412,068
                                                Unrestricted investment earnings                                                    300                 -            39,756             70,432         (1,163,475)        (1,052,987)
                                                Unrestricted other revenues                                                      25,027                 -             2,165              1,882            939,147            968,221

                                                                 Total general revenues                                         437,395                 -            41,921             72,314           (224,328)          327,302

                                              Change in Net Position                                                           (672,255)                -             (2,593)         (249,777)        (2,117,492)        (3,042,117)
                                              Net Position - Beginning of year                                                6,245,676              9,252         1,493,725         1,550,169        100,617,374        109,916,196

                                              Net Position - End of year                                               $     5,573,421      $        9,252   $    1,491,132     $    1,300,392    $   98,499,882     $ 106,874,079




       The Notes to Financial Statements are an
         Integral Part of this Statement.                35                                                                                                                     36
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       City of Flint, Michigan                                                                            City of Flint, Michigan
                                                           Notes to Financial Statements                                                                      Notes to Financial Statements
                                                                           June 30, 2013                                                                                      June 30, 2013

       Note 1 - Nature of Business and Significant Accounting Policies                                    Note 1 - Nature of Business and Significant Accounting Policies
                                                                                                                   (Continued)
             The accounting policies of the City of Flint (the "City") conform to accounting principles
             generally accepted in the United States of America (GAAP) as applicable to                         The Flint Downtown Development Authority (the "DDA") was created under state law
             governmental units. The following is a summary of the significant accounting policies              to promote and rehabilitate the downtown area. The DDA sponsors downtown events
             used by the City of Flint.                                                                         and manages parking facilities. State law provides for a specific tax levy for the
                                                                                                                operations of the DDA. The City appoints the board and has to approve the annual
             Reporting Entity
                                                                                                                budget and the issuance of any debt. Any surplus funds remaining at the termination of
             The City of Flint is a municipal corporation currently governed and administered by an             the DDA vest to the City. The DDA has both governmental and business-type activities.
             emergency manager (EM) appointed pursuant to state statute by the governor of the
                                                                                                                The City of Flint Economic Development Corporation (the "Corporation") was created
             state of Michigan. The accompanying financial statements present the government and
                                                                                                                under state law to provide financing and development opportunities for businesses
             its component units, entities for which the government is considered to be financially
                                                                                                                located within the City. The City appoints the board. The Corporation provides loans
             accountable. Although blended component units are legally separate entities, in
                                                                                                                to start-up or expanding businesses and manages rental property that leases space to
             substance they are part of the government's operations. The aggregate discretely
                                                                                                                commercial and light industrial manufacturing companies. Surplus funds existing at the
             presented component units are reported in a separate column in the government-wide
                                                                                                                termination of the Corporation vest to the City. The Corporation has both
             financial statements (see note below for description) to emphasize that they are legally
                                                                                                                governmental and business-type activities.
             separate from the government.
                                                                                                                The Flint Area Enterprise Community (FAEC) is a non-profit organization, established
             Blended Component Units
                                                                                                                under state law. FAEC is responsible for coordinating and implementing a strategic plan
D-20




             The Flint Employees' Retirement System (FERS) is a defined benefit pension plan that               to advocate and develop business and community development in a federally designated
             provides retirement benefits to certain City retirees. The FERS was established and is             zone that includes portions of Mt. Morris Township and the City of Flint. The City
             governed by City ordinance, with the board of trustees comprised of City officials and             appoints a majority of the board of directors, provides the majority of its funding for
             retirees. The FERS is reported as a Pension Trust Fiduciary Fund. During the year                  operations, and any assets remaining at the cessation of its operating activities would be
             ended June 30, 2013, the board was disbanded and the investments in FERS were                      returned to the City of Flint. The FAEC is presented as a governmental activity. The
             transferred out to Municipal Employees' Retirement Systems (MERS). The FERS fund                   FAEC plans to cease operations during the fiscal year ending 2014. They are currently
             was closed and MERS will not take on the fiduciary responsibility of the plan.                     working with the State to determine which organization will take over the loans.
             The City of Flint Retirees Health Care Plan and Trust is a defined benefit plan that               Hurley Medical Center (HMC or the "Medical Center") provides inpatient, outpatient,
             provides retiree healthcare benefits to certain City retirees. The Health Care Plan and            and emergency care services in Genesee and surrounding counties. The financial
             Trust was established and is governed by City ordinance, with the board of trustees                statements present HMC and its wholly owned subsidiary, Hurley Health Services, Inc.,
             comprised of City officials and two members from each participating collective                     on a consolidated basis. HMC is the sole member of Hurley Health Services, Inc. (HHS),
             bargaining unit. The plan is reported as a Benefit Trust Fiduciary Fund.                           a municipal support organization organized on a non-profit, non-stock membership
                                                                                                                basis. HHS, on a consolidated basis, is comprised of two non-profit entities (HHS and
             Discretely Presented Component Units                                                               The Hurley Clinics, THC) and one “for-profit” corporation (Hurley Practice
             The Atwood Stadium Building Authority (the "Stadium Authority") serves all citizens and            Management Services). HHS began operations January 1, 1998. The City appoints the
             is responsible for major capital improvements to Atwood Stadium, a recreational facility           board of directors and there is an ongoing financial benefit/burden relationship between
             serving the citizens of the City. The City appoints a majority of the governing board and          the City and Hurley Medical Center. HMC is presented as a governmental activity.
             all surplus funds existing at the termination of the Stadium Authority vest to the City.
             The Stadium Authority is presented as a governmental activity.




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       City of Flint, Michigan                                                                           City of Flint, Michigan
                                                          Notes to Financial Statements                                                                      Notes to Financial Statements
                                                                          June 30, 2013                                                                                      June 30, 2013

       Note 1 - Nature of Business and Significant Accounting Policies                                   Note 1 - Nature of Business and Significant Accounting Policies
                (Continued)                                                                                       (Continued)
             Complete financial statements for the following individual component units may be                 Measurement Focus, Basis of Accounting, and Financial Statement
             obtained at the entity's administrative offices. Complete financial statements for                Presentation
             Atwood Stadium Building Authority are not available. Due to the nature of the
                                                                                                               The government-wide financial statements are reported using the economic resources
             operations of Atwood Stadium Building Authority, there is no difference in the assets
                                                                                                               measurement focus and the accrual basis of accounting, as are the proprietary fund,
             and liabilities, and equity reported between the fund and government-wide statements.
                                                                                                               pension trust fund, and component unit statement of net position and statement of
             Therefore, fund financial statements are not presented.
                                                                                                               activities. Revenue is recorded when earned and expenses are recorded when a liability
             Flint Downtown                Flint Economic               Flint Area                             is incurred, regardless of the timing of related cash flows. Property taxes are recognized
             Development Authority         Development Corporation      Enterprise Community                   as revenue in the year for which they are levied. Grants and similar items are recognized
             Suite 206                     1101 S. Saginaw Street       805 Welch Boulevard                    as revenue as soon as all eligibility requirements imposed by the provider have been
             412 S. Saginaw Street         Flint, Michigan 48502        Flint, Michigan 48504                  met.
             Flint, Michigan 48502
                                                                                                               Governmental fund financial statements are reported using the current financial
             Hurley Medical Center                                                                             resources measurement focus and the modified accrual basis of accounting. Revenue is
             One Hurley Plaza                                                                                  recognized as soon as it is both measurable and available. Revenue is considered to be
             Flint, MI 48503                                                                                   available when it is collectible within the current period. For this purpose, the
                                                                                                               government considers revenues to be available if they are collected within 60 days for
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             Government-wide and Fund Financial Statements
                                                                                                               property taxes and 90 days of the end of the current fiscal period for all other revenues.
             The government-wide financial statements (i.e., the statement of net position and the
             statement of activities) report information on all of the nonfiduciary activities of the          Expenditures generally are recorded when a liability is incurred, as under accrual
             primary government and its component units. For the most part, the effect of interfund            accounting. However, debt service expenditures, expenditures relating to compensated
             activity has been removed from these statements. Governmental activities, normally                absences, and claims and judgments are recorded only when payment is due.
             supported by taxes and intergovernmental revenues, are reported separately from                   Property taxes, income taxes, licenses, and charges for services associated with the
             business-type activities, which rely to a significant extent on fees and charges for              current fiscal period are all considered to be susceptible to accrual and so have been
             support. Likewise, the primary government is reported separately from certain legally             recognized as revenues of the current fiscal period. Only the portion of special
             separate component units for which the primary government is financially accountable.             assessments receivable due within the current fiscal period is considered to be
             The statement of activities demonstrates the degree to which the direct expenses of a             susceptible to accrual as revenue of the current period. All other revenue items are
             given function or segment are offset by program revenues. Direct expenses are those               considered to be measurable and available only when cash is received by the
             that are clearly identifiable with a specific function or segment. Program revenues               government.
             include (1) charges to customers or applicants who purchase, use, or directly benefit             The government reports the following major governmental funds:
             from goods, services, or privileges provided by a given function or segment and (2)
             grants and contributions that are restricted to meeting the operational or capital                ! The General Fund is the government’s primary operating fund. It accounts for all
             requirements of a particular function or segment. Taxes and other items not properly                financial resources of the general government, except those required to be
             included among program revenues are reported instead as general revenue.                            accounted for in another fund.
             Separate financial statements are provided for governmental funds, proprietary funds,             ! The Federal Grants Fund accounts for entitlement and specific purpose grants
             and fiduciary funds, even though the latter are excluded from the government-wide                   received from the U.S. Department of Housing and Urban Development and other
             financial statements. Major individual governmental funds and major individual enterprise           grantors.
             funds are reported as separate columns in the fund financial statements.
                                                                                                               ! The Public Improvement Fund was established to account for the annual 2 1/2 mill
                                                                                                                 tax levy reserved by Section 7 201 of the City Charter for capital improvements and
                                                                                                                 servicing of general obligation debt.
                                                    39                                                                                                 40
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       City of Flint, Michigan                                                                            City of Flint, Michigan
                                                           Notes to Financial Statements                                                                      Notes to Financial Statements
                                                                           June 30, 2013                                                                                      June 30, 2013

       Note 1 - Nature of Business and Significant Accounting Policies                                    Note 1 - Nature of Business and Significant Accounting Policies
                (Continued)                                                                                        (Continued)
             The government reports the following major proprietary fund:                                       Property Tax Revenue
             ! The Water Supply and Sewer Disposal System are divisions of the City’s Department                Property taxes are levied on each July 1 on the taxable valuation of property as of the
               of Public Works. Separate funds are maintained for the operations of the water                   preceding December 31. Taxes are considered delinquent on March 1 of the following
               distribution system and sewage pumping and collection systems and the sewer                      year, at which time penalties and interest are assessed.
               treatment plant.                                                                                 Taxes on the operating, public improvement, parks, public safety, and neighborhood
             Additionally, the government reports the following internal service and fiduciary                  police levies are billed July 1 and may be paid in three equal installments due by July 31,
             activities:                                                                                        October 31, and February 28, following the levy date. Taxes on the paramedic service
                                                                                                                levy are billed on December 1 and due in one installment by February 28. Property tax
             ! Internal service funds account for data processing, self insurance, fleet, and fringe            receivables are recorded as a receivable and offsetting deferred revenue when levied
               benefits services provided to other departments or agencies of the government, or                and due. Property taxes are recognized as revenues when collected or when
               to other governments, on a current cost reimbursement basis.                                     considered measurable and available. The City considers property taxes as available if
             ! Pension trust and benefit trust funds account for the activities of the five different           they are collected within 60 days after year end.
               funds utilized to pay retirement, death, and healthcare benefits for the City of Flint           The 2013 taxable valuation of the City totaled $968 million. Taxes were levied as
               and Hurley Medical Center retirees. These funds accumulate resources for pension                 follows:
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               and healthcare benefits financed by both employer and employee contributions.
                                                                                                                                        Purpose                            Millage Rate       Revenue
             ! Agency funds are custodial in nature (assets equal liabilities) and do not involve the
                                                                                                                General operating                                                     7.5 $    6,000,349
               measurement of results of operations.                                                            Public improvement                                                    2.5      2,055,994
             Pension and benefit trust funds and agency funds are reported as fiduciary funds and are           Parks and recreation                                                   .5        406,560
             not included in the government-wide statement of net position and statement of                     Public safety                                                         6.0      5,130,137
             activities.                                                                                        Neighborhood police                                                   2.0      1,644,638
             As a general rule, the effect of interfund activity has been eliminated from the                              Total                                                    18.5 $ 15,237,678
             government-wide financial statements. Exceptions to this general rule are charges
             between the City’s water and sewer function and various other functions of the City.               Cash and Cash Equivalents
             Elimination of these charges would distort the direct costs and program revenues
                                                                                                                The City's cash and cash equivalents include cash on hand, demand deposits, and short-
             reported for the various functions concerned.
                                                                                                                term investments with original maturities of three months or less from the date of
             When an expense is incurred for purposes for which both restricted and unrestricted                acquisition.
             net position or fund balance are available, the City's policy is to first apply restricted
                                                                                                                Pooled Cash and Investments
             resources. When an expense is incurred for purposes for which amounts in any of the
             unrestricted fund balance classifications could be used, it is the City's policy to spend          Cash resources of certain individual funds are combined to form a pool of cash and
             funds in this order: restricted, committed, assigned, and unassigned.                              investments which is managed by the city treasurer. Investments in the pooled cash and
                                                                                                                investments account consist primarily of certificates of deposit with a maturity date
             Proprietary funds distinguish operating revenue and expenses from nonoperating items.
                                                                                                                greater than three months from the date acquired by the City, top grade commercial
             Operating revenue and expenses generally result from providing services in connection
                                                                                                                paper and government securities, and money market funds, and are carried at fair value.
             with a proprietary fund's principal ongoing operations. Operating expenses for
             proprietary funds include the cost of sales and services, administrative expenses, and
             depreciation on capital assets. All revenue and expenses not meeting this definition are
             reported as nonoperating revenue and expenses.

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       City of Flint, Michigan                                                                            City of Flint, Michigan
                                                           Notes to Financial Statements                                                                      Notes to Financial Statements
                                                                           June 30, 2013                                                                                      June 30, 2013

       Note 1 - Nature of Business and Significant Accounting Policies                                    Note 1 - Nature of Business and Significant Accounting Policies
                (Continued)                                                                                        (Continued)
             At June 30, 2013, some funds have overdrawn their share of the pooled cash and                     Inventories and Prepaid Items
             investments. Fund overdrafts of pooled cash and investments are reported as an
                                                                                                                Inventories in the enterprise and internal service funds consist of supplies held for use
             interfund liability of that fund. Management has selected the Water Supply Division,
                                                                                                                and are valued at the lower of cost or market using the first-in/first-out (FIFO) method.
             Sewage Disposal Division, Major Streets Fund, Local Streets Fund, Neighborhood
                                                                                                                Inventories of governmental funds are valued at cost and are recorded as expenditures
             Policing Fund, Building Department Fund, Data Processing Fund, Fringe Benefits Fund,
                                                                                                                when consumed rather than when purchased.
             Central Maintenance Garage Fund, and Self-insurance Fund to report the interfund
             receivable. Accordingly, the above-mentioned funds' pooled cash and investment                     Certain payments to vendors reflect costs applicable to future accounting periods and
             balance, as reported on the financial statement, have been decreased by the amounts                are recorded as prepaid items in both government-wide and fund financial statements.
             receivable from the other City funds with an overdraft.
                                                                                                                Deferred Revenue
             Interest income earned as a result of pooling cash and investments is distributed to the
                                                                                                                Deferred revenue represents monies that do not yet meet the criteria for revenue
             participating funds monthly utilizing a formula based on the average daily balance of each
                                                                                                                recognition. Unearned amounts are always reported as deferred revenue. In
             fund's share of the total pooled cash and investments. Funds that have overdrawn their
                                                                                                                governmental funds, earned amounts are also reported as deferred revenue until they
             share of pooled cash and investments are charged interest costs.
                                                                                                                are available to liquidate liabilities of the current period.
             For the purpose of the statement of cash flows, pooled cash and investments have been
                                                                                                                Restricted Assets
             considered as cash and cash equivalents.
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                                                                                                                These assets are restricted through bond or grant agreements or represent donated
             Investments
                                                                                                                assets whose disposition is specified by the donor. Restricted assets recorded in the
             Investments for the City, as well as for its component units, are stated at fair market            Federal Grants Fund are restricted through grant agreements.
             value (national or international exchange rates). Investments that do not have an
                                                                                                                Restricted assets recorded in the Hurley Medical Center discretely presented
             established market are reported at estimated fair market value. Gains or losses on
                                                                                                                component unit consist of:
             investments sold or exchanged are recognized when the transactions are completed
             (settlement date). Certificates of deposit with a maturity date of greater than three              ! Proceeds of debt issues and funds of HMC deposited with a trustee and limited to
             months at time of purchase are recorded as investments on the financial statements.                  use in accordance with the requirements of an indenture
             Receivables and Payables                                                                           ! Assets restricted by outside donors
             In general, outstanding balances between funds are reported as “due to/from other                  Restricted assets recorded in the Water Supply Enterprise Fund consist of amounts set
             funds.” Activity between funds that are representative of lending/borrowing                        aside for equipment replacement and debt service as required by the Drinking Water
             arrangements outstanding at the end of the fiscal year is referred to as “advances                 Revolving Fund Revenue Bonds.
             to/from other funds.” Any residual balances outstanding between the governmental
             activities and business-type activities are reported in the government-wide financial              Capital Assets
             statements as “internal balances.”                                                                 Capital assets, which include property, plant, equipment, and infrastructure assets (e.g.,
             All trade, notes, contracts, and property tax receivables are shown net of an allowance            roads, bridges, sidewalks, and similar items), are reported in the applicable
             for uncollectibles.                                                                                governmental or business-type activities columns in the government-wide financial
                                                                                                                statements. Capital assets are defined by the government as assets with an initial,
                                                                                                                individual cost of more than $5,000 (amount not rounded) and an estimated useful life in
                                                                                                                excess of one year. Such assets are recorded at historical cost or estimated historical
                                                                                                                cost if purchased or constructed. Donated capital assets are recorded at estimated fair
                                                                                                                market value at the date of donation.


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       City of Flint, Michigan                                                                            City of Flint, Michigan
                                                           Notes to Financial Statements                                                                         Notes to Financial Statements
                                                                           June 30, 2013                                                                                         June 30, 2013

       Note 1 - Nature of Business and Significant Accounting Policies                                    Note 1 - Nature of Business and Significant Accounting Policies
                (Continued)                                                                                        (Continued)
             Interest incurred during the construction of capital assets of business-type activities is         Long-term Obligations and Interest Payments
             included as part of the capitalized value of the assets constructed. Hurley Medical
                                                                                                                In the government-wide financial statements and the proprietary fund types in the fund
             Center reported one construction project in progress during the current year, the
                                                                                                                financial statements, long-term debt and other long-term obligations are reported as
             installation of a new clinical information system.
                                                                                                                liabilities in the applicable governmental activities, business-type activities, or proprietary
             The costs of normal maintenance and repairs that do not add to the value of the asset or           fund-type statement of net position. Bond premiums and discounts, as well as issuance
             materially extend assets lives are not capitalized.                                                costs, are deferred and amortized over the life of the bonds using the effective interest
                                                                                                                method. Bonds payable are reported net of the applicable bond premium or discount.
             Buildings                                                                       50 years
                                                                                                                Bond issuance costs are reported as deferred charges and amortized over the term of
             Building improvements                                                     40 to 50 years
                                                                                                                the related debt.
             Improvements other than buildings                                          5 to 50 years
             Land improvements                                                          5 to 50 years           In the fund financial statements, governmental fund types recognize bond premiums and
             Public domain infrastructure                                              10 to 50 years           discounts, as well as bond issuance costs, during the current period. The face amount of
             Water and sewer infrastructure                                            10 to 75 years           debt issued is reported as other financing sources. Premiums received on debt issuances
             Machinery and equipment                                                    3 to 20 years           are reported as other financing sources. Issuance costs are reported as debt service
             Other furnishings                                                           5 to 7 years           expenditures.
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                                                                                                                Pension and Retiree Healthcare Benefits
             Compensated Absences
                                                                                                                The City offers both pension and retiree healthcare benefits to retirees. The City
             It is the government's policy to permit employees to accumulate earned but unused
                                                                                                                receives an actuarial valuation to compute the annual required contribution (ARC)
             vacation and sick pay benefits. Employees accumulate sick leave credit bi-weekly based
                                                                                                                necessary to fund the obligations over the remaining amortization period. In the
             on the various bargaining unit agreements. Sick leave may accumulate indefinitely. Upon
                                                                                                                governmental funds, pension and OPEB costs are recognized as contributions are made.
             retirement or death, the first 480 hours of accrued sick leave are paid in full at the
                                                                                                                For the government-wide statements and proprietary funds, the City reports the full
             employee's current pay rate. The next 480 hours are forfeited by the employee, except
                                                                                                                accrual cost equal to the current year required contribution, adjusted for interest and
             for certain police employees who are paid for these hours at half the employee's current
                                                                                                                “adjustment to the ARC” on the beginning of year underpaid amount, if any.
             rate. All accrued hours in excess of 960 are paid at half the employee's current rate.
             Employees earn annual vacation leave bi-weekly at various rates based on bargaining unit           Fund Equity
             and seniority. Each bargaining unit and seniority level determines the cap on the number
                                                                                                                In the fund financial statements, governmental funds report the following components of
             of hours that can be accrued for annual vacation leave. Vacation leave is paid at the
                                                                                                                fund balance:
             employee's current pay rate when used or upon retirement. All vacation pay is accrued
             when incurred in the government-wide, proprietary, and fiduciary fund financial                    ! Nonspendable: Amounts that are not in spendable form or are legally or contractually
             statements. A liability for these amounts is reported in governmental funds only if they             required to be maintained intact
             have matured, for example, as a result of employee resignations and retirements.
                                                                                                                ! Restricted: Amounts that are legally restricted by outside parties, constitutional
                                                                                                                  provisions, or enabling legislation for use for a specific purpose
                                                                                                                ! Committed: Amounts that have been formally set aside by the City for use for
                                                                                                                  specific purposes. Commitments are made and can be rescinded only by the
                                                                                                                  emergency manager.
                                                                                                                ! Assigned: Intent to spend resources on specific purposes expressed by the
                                                                                                                  emergency manager

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       City of Flint, Michigan                                                                             City of Flint, Michigan
                                                           Notes to Financial Statements                                                                       Notes to Financial Statements
                                                                           June 30, 2013                                                                                       June 30, 2013

       Note 1 - Nature of Business and Significant Accounting Policies                                     Note 1 - Nature of Business and Significant Accounting Policies
                (Continued)                                                                                         (Continued)
             ! Unassigned: Amounts that do not fall into any other category above. This is the                   Estimated self-insured malpractice costs:
               residual classification for amounts in the General Fund and represents fund balance               The provision for estimated self-insured medical malpractice claims includes estimates of
               that has not been assigned to other funds and has not been restricted, committed, or              the ultimate costs for both reported claims and claims incurred but not reported. The
               assigned to specific purposes in the General Fund. In other governmental funds, only              estimate for claims incurred but not reported is based on an actuarial determination.
               negative unassigned amounts are reported, if any, and represent expenditures
               incurred for specific purposes exceeding the amounts previously restricted,                 Note 2 - Stewardship, Compliance, and Accountability
               committed, or assigned to those purposes.                                                         Budgetary Information
             Use of Estimates                                                                                    The City followed these procedures in establishing the budgetary data reflected in the
             The preparation of financial statements in conformity with accounting principles                    financial statements:
             generally accepted in the United States of America requires management to make                      ! On April 24, 2012, the emergency manager signed Order No. 17, adopting the
             estimates and assumptions that affect the reported amounts of assets and liabilities and              operating budget for the fiscal year commencing the following July 1. The legally
             disclosure of contingent assets and liabilities at the date of the financial statements and           adopted operating budgets included expenditures and the means of financing them
             the reported amounts of revenue and expenses during the period. Actual results could                  for the General and Special Revenue Funds (these funds are required to have budgets
             differ from those estimates.
                                                                                                                   per Michigan law). Informational summaries of projected revenue and expenditures/
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             Hurley Medical Center - Cost-based Reimbursement                                                      expenses were provided for all City funds, as well as estimated total costs and
                                                                                                                   proposed methods of financing all capital construction projects.
             Patient accounts receivable at June 30, 2013 and revenues for the year then ended
             include estimated amounts due from various third-party payors which are computed in                    Department heads are authorized to transfer budgeted amounts with departmental
             accordance with their respective reimbursement formulas.                                               appropriation accounts, except those that affect salaries and wages accounts, and
                                                                                                                    revisions that alter the total expenditures of any budgetary level (as indicated above)
             In addition, the Medical Center has established an estimated allowance for uncollectible
                                                                                                                    were to be approved by the emergency manager and the State of Michigan
             accounts of approximately $41,300,000 for 2013.
                                                                                                                    Department of Treasury.
             Hurley Medical Center - Revenues and Expenses Accounting Policy
                                                                                                                    Formal budgetary integration was employed as a management control device during
             Net patient service revenue:                                                                           the year for all budgetary funds. Also, all budgets, except for the Federal Grants
                                                                                                                    Fund, were adopted on a basis consistent with generally accepted accounting
             Net patient service revenue is reported at the estimated net realized amounts from
                                                                                                                    principles. The budget for the Federal Grants Fund includes grant revenue and
             patients and third-party payors for services rendered, including estimated retroactive
                                                                                                                    expenditures which were passed through to other City funds and recorded as
             adjustments under reimbursement agreements with third-party payors. Retroactive
                                                                                                                    revenue and expenditures in the grant receiving fund. For the fund financial
             adjustments are accrued on an estimated basis in the period the related services are
                                                                                                                    statements, the Federal Grants Fund includes only those revenue and expenditures
             rendered and adjusted in future periods as final settlements are determined.
                                                                                                                    incurred directly by that fund.
             Approximately 79 percent of the Medical Center's revenues are based on participation
             in the Blue Cross/Blue Shield, Medicare, and Medicaid programs for the year ended                   ! Budget appropriations lapse at year end, except for certain projects which are
             June 30, 2013.                                                                                        appropriated on a project length basis.
             Charity care:                                                                                       Encumbrance accounting is employed in governmental funds. Encumbrances (e.g.,
             The Medical Center provides care without charge to patients who meet certain criteria               purchase orders, contracts) outstanding at year end do not constitute expenditures or
             under its charity care policy. Because the Medical Center does not pursue collection of             liabilities because the goods or services have not been received as of year end; the
             amounts determined to qualify as charity care, they are not reported as revenue. The                commitments will be reappropriated and honored during the subsequent year.
             eligibility criteria are based on levels of income.
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       City of Flint, Michigan                                                                           City of Flint, Michigan
                                                          Notes to Financial Statements                                                                            Notes to Financial Statements
                                                                          June 30, 2013                                                                                            June 30, 2013

       Note 2 - Stewardship, Compliance, and Accountability (Continued)                                  Note 3 - Pooled Cash and Investments (Continued)
            Noncompliance with Rules and Regulations                                                          The pooled cash and investments account at June 30, 2013 is comprised of the
                                                                                                              following:
            In order to maintain operations at the City, various funds have needed to borrow from
            funds that have restricted sources. Over time, these amounts have accumulated with no              Cash deposits and restricted cash                                   $       25,455,778
            plan for repayment.                                                                                Investments                                                                 18,182,519
            Excess of Expenditures Over Appropriations                                                              Total                                                          $       43,638,297
            The following funds incurred significant expenditures in excess of appropriations at the
                                                                                                              A summary of the amount of equity in the pooled cash and investments account or the
            department level during the year (defined as greater than 10 percent over budget):
                                                                                                              amount due to the other funds at June 30, 2013 is as follows:
                                                                                        Actual Over                                                                                    Pooled Cash and
                                                                                         Amended                                                                                         Investments
                                                      Final Budget       Actual           Budget
                                                                                                              General Fund                                                             $       642,400
             Public Improvement Fund - Parks and                                                              Special Revenue Funds:
               recreation                        $        230,000 $        481,121 $        251,121              Major Streets Fund                                                           1,553,341
                                                                                                                 Local Streets Fund                                                             175,753
            The variances over budget in these departments were caused by expenditures in excess                 Federal Grants Fund                                                                 -
            of budget in which the budget was not amended.                                                       Public Safety Fund                                                           5,314,276
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                                                                                                                 Neighborhood Policing Fund                                                     277,207
            Fund Deficits                                                                                        Street Light Fund                                                              674,949
                                                                                                                 EDA Revolving Loan Fund                                                            405
            The City has accumulated over several years an unassigned fund balance in the following              Atwood Stadium Fund                                                              6,788
            funds:                                                                                               Parks and Recreation                                                           178,910
                                                                                    Unassigned                   Senior Citizen Center                                                               -
                                                                                   Fund Balance                  City Park Fund                                                                   8,399
                                                                                                                 Longway Fund                                                                     9,371
                                                                                       Deficit                   Building Department Fund                                                       452,019
                                                                                                                 Garbage Fund                                                                 1,161,642
             Primary government - General Fund                                      $     12,895,642
                                                                                                                 Public Improvement                                                           2,767,994
             Component unit - Downtown Development Authority                                 361,674             State Act 251 Forfeitures                                                    1,508,591
                                                                                                              Debt Service Funds:
            The deficit in these funds was caused by expenditures in excess of revenue.                          Windmill Place Debt Service Fund                                                 6,520
                                                                                                                 Buick City Debt Service Fund                                                       643
            The following special revenue funds did not adopt a budget: Atwood Stadium Fund, City             Enterprise Funds:
            Park Fund, and Longway Park Fund.                                                                    Water Supply Division Fund                                                   7,837,696
                                                                                                                 Sewer Fund                                                                   6,956,143
       Note 3 - Pooled Cash and Investments                                                                   Internal Service Funds:
                                                                                                                 Fringe Benefit Fund                                                          5,931,959
            The City maintains a cash and investment pool that is available for use by all funds. Each
                                                                                                                 Central maintenance garage                                                   1,302,047
            fund types’ portion of this pool is displayed on the combined balance sheet as "pooled               Self-insurance                                                               1,835,382
            cash and investments."                                                                               Data processing                                                              1,802,311
                                                                                                              Pension Trust Fund - Retiree Health Care Fund                                   1,828,785
                                                                                                              Agency funds:
                                                                                                                 County EDA                                                                          -
                                                                                                                 Miscellaneous agency funds                                                   1,404,766

                                                                                                                   Total                                                               $     43,638,297


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       City of Flint, Michigan                                                                           City of Flint, Michigan
                                                          Notes to Financial Statements                                                                       Notes to Financial Statements
                                                                          June 30, 2013                                                                                       June 30, 2013

       Note 4 - Deposits and Investments                                                                 Note 4 - Deposits and Investments (Continued)
            Michigan Compiled Laws Section 129.91 (Public Act 20 of 1943, as amended) authorizes              ! Commercial paper holdings of any one corporation cannot exceed 10 percent of
            local governmental units to make deposits and invest in the accounts of federally insured           investment holdings.
            banks, credit unions, and savings and loan associations that have offices in Michigan. The
            law also allows investments outside the state of Michigan when fully insured. The local           The City was in compliance with all aspects of its investment policy at June 30, 2013.
            unit is allowed to invest in bonds, securities, and other direct obligations of the United        Hurley Medical Center’s chief financial officer controls the Medical Center Enterprise
            States or any agency or instrumentality of the United States; repurchase agreements;              Fund’s investing. HMC limits any single investment to 10 percent (except cash or U.S.
            bankers’ acceptances of United States banks; commercial paper rated within the two                treasuries) and combined mortgage-backed securities to less than 50 percent of
            highest classifications, which matures not more than 270 days after the date of purchase;         holdings. HMC also must adhere to donor restrictions on the investing of any restricted
            obligations of the State of Michigan or its political subdivisions, which are rated as            funds received.
            investment grade; and mutual funds composed of investment vehicles that are legal for
            direct investment by local units of government in Michigan.                                       The City deals only with qualified banks and primary investment firms that adhere to the
                                                                                                              specific guidelines established by industry practice for repurchase agreements. The
            The Pension Trust Fund, whose funds are now with MERS as of June 30, 2013, and the                City’s cash and investments are subject to several types of risk, which are examined in
            Retiree Health Care Fund are also authorized by Michigan Public Act 314 of 1965, as               more detail below.
            amended, to invest in certain reverse repurchase agreements, stocks, diversified
            investment companies, annuity investment contracts, real estate leased to public                  No single investment of the City exceeded 5 percent of the investment portfolio at
            entities, mortgages, real estate (if the trust fund's assets exceed $250 million), debt or        June 30, 2013.
D-27




            equity of certain small businesses, certain state and local government obligations, and           Custodial Credit Risk of Bank Deposits
            certain other specified investment vehicles.
                                                                                                              Custodial credit risk is the risk that in the event of a bank failure, the government’s
            The investment policy adopted by the City Council, in accordance with Public Act 196              deposits may not be returned to it. The City does not have a deposit policy for
            of 1997, is in accordance with statutory authority.                                               custodial credit risk. At year end, the City’s bank deposits (certificates of deposit,
            The City’s investment policy authorizes the City and its component units to invest in             checking, and savings) in the name of the City totaling $34,584,584 were uninsured and
            obligations of the U.S. Treasury and obligations of U.S. agencies, whereby the principal          uncollateralized. The City believes that due to the dollar amounts of cash deposits and
            and interest are fully guaranteed by the United States, deposit agreements with federally         the limits of FDIC insurance, it is impractical to insure all deposits. As a result, the City
            insured financial institutions within the state of Michigan, high grade commercial paper,         evaluates each financial institution with which it deposits its funds and assesses the level
            repurchase agreements secured by obligations of the U.S. government and U.S.                      of risk of each institution; only those institutions with an acceptable estimated risk level
            agencies, bankers' acceptances of U.S. banks, and mutual funds comprised of the above             are used as depositories.
            authorized investments.
            The City’s investment policy further requires that investments held in the Pooled
            Investment Fund be limited by the investment type and financial institution. These
            investment limitations do not affect the investments of the Pension Benefit Trust of the
            City’s component units. The City’s pooled cash investments are limited as follows:
            !   Negotiable certificates of deposit cannot exceed 25 percent of investment holdings.
            !   Commercial paper cannot exceed 50 percent of investment holdings.
            !   Bankers' acceptances cannot exceed 10 percent of investment holdings.
            !   Mutual funds cannot exceed 15 percent of investment holdings.
            !   Bankers' acceptances cannot exceed a maturity of 270 days.
            !   Bankers' acceptances in one financial institution cannot exceed 10 percent of
                investment holdings.

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       City of Flint, Michigan                                                                             City of Flint, Michigan
                                                           Notes to Financial Statements                                                                      Notes to Financial Statements
                                                                           June 30, 2013                                                                                      June 30, 2013

       Note 4 - Deposits and Investments (Continued)                                                       Note 4 - Deposits and Investments (Continued)
            Custodial Credit Risk of Investments                                                                Interest Rate Risk
            Custodial credit risk is the risk that, in the event of the failure of the counterparty, the        Interest rate risk is the risk that the value of investments will decrease as a result of a
            City will not able to recover the value of its investments or collateral securities that are        rise in interest rates. The City’s investment policy for investment of general City monies
            in the possession of an outside party. The City does not have a policy for custodial                limits investments in securities with maturities greater than five years to 15 percent of
            credit risk. The City's investments are not subject or exposed to custodial credit risk.            the balance available to invest. Hurley Medical Center’s investment policy indicates that
            HMC does have a deposit policy for custodial credit risk that requires the investments              each investment account should approximate the duration of its specific benchmark
            be held by a nationally chartered custodian bank. The chief investment officer shall                within a range of 80 to 120 percent. As of June 30, 2013, the following securities were
            select the custodian bank based on various factors including bank stability. HMC's                  subject to interest rate risk:
            balance of investment securities that were uninsured and unregistered held by the                                                                                                 Weighted
            counterparty or by its trust department is as follows:                                                                                                                             Average
                          Investment Type                  Carrying Value            How Held                                                                                                  Maturity
                                                                                                                                         Investment                            Fair Value       (Years)
             Primary government:                                                                                 Primary Government
               U.S. government or agency bonds             $    3,753,392 Counterparty trust dept.
               Corporate bonds                                  6,190,632 Counterparty trust dept.               U.S. government or agency bonds                          $    3,753,392       2.24
               Mutual funds                                        13,512 Counterparty                           Corporate bonds                                               6,190,632       0.06
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                                                                                                                 Money market funds                                            4,025,594      < 1 year
             Fiduciary fund - Corporate stocks                   558,778 Counterparty trust dept.
                                                                                                                   Total                                                  $ 13,969,618
             Component unit:
              U.S. government or agency bonds                  55,025,765   Counterparty trust dept.             Component Units
              Corporate stocks                                 13,443,471   Counterparty trust dept.             U.S. government agency securities                        $ 55,025,765          3.72
              Corporate bonds                                  11,783,330   Counterparty trust dept.             GNMA pool                                                      34,796         7.90
              Repurchase agreements                                14,135   Counterparty                         U.S. government CMOs                                       21,664,881         23.18
              Mutual funds                                        342,349   Counterparty                         Corporate bonds                                            11,783,330          3.84
                                                                                                                 Money market funds                                         30,146,068        < 1 year
                                                                                                                 Repurchase agreement                                           14,135        < 1 year
                                                                                                                   Total                                                  $ 118,668,975

                                                                                                                Credit Risk
                                                                                                                Credit risk is the risk that the government will not be able to recover the value of its
                                                                                                                securities. The City follows State law, which limits investments in commercial paper to
                                                                                                                the top two ratings issued by nationally recognized statistical rating organizations. The
                                                                                                                City has no investment policy that would further limit its investment choices for general
                                                                                                                City funds. The Pension Fund is allowed to invest in longer maturity corporate bonds in
                                                                                                                accordance with State law.




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       City of Flint, Michigan                                                                            City of Flint, Michigan
                                                             Notes to Financial Statements                                                                     Notes to Financial Statements
                                                                             June 30, 2013                                                                                     June 30, 2013

       Note 4 - Deposits and Investments (Continued)                                                      Note 4 - Deposits and Investments (Continued)
            As of June 30, 2013, the following are credit quality ratings of the City’s debt securities         The City of Flint Economic Development Corporation’s cash is subject to one type of
            obtained from the Standard & Poor's rating system:                                                  risk, which is examined in more detail below:
                                                                                            Rating              Custodial credit risk is the risk that in the event of a bank failure, EDC’s deposits may
                            Investment                       Fair Value      Rating       Organization          not be returned to it. The government does not have a deposit policy for custodial
                                                                                                                credit risk. At year end, EDC had no bank deposits (certificates of deposit, checking,
             Primary Government
                                                                                                                and savings accounts) that were uninsured and uncollateralized. As a result, the City
             U.S. government bonds                       $       883,623      AAA             S&P               evaluates each financial institution with which it deposits funds and assesses the level of
             U.S. government bonds                             2,869,769     AA+              S&P               risk of each institution; only those institutions with an acceptable estimated risk level
             Corporate bonds                                   6,190,632       A1             S&P               are used as depositories.
             Mutual funds                                         13,512    AAA/AA            S&P
             Fixed income                                         73,947    AAA/AA            S&P               The Flint Area Enterprise Community’s cash is subject to one type of risk, which is
             Money market                                        524,359     A1/A2            S&P               examined in more detail below:
             Money market                                         60,396      AAA             S&P
             Money market                                      3,366,893    AAA/AA            S&P
                                                                                                                Custodial credit risk of bank deposits:

               Total                                     $    13,983,131                                        Custodial credit risk is the risk that in the event of a bank failure, FAEC’s deposits may
                                                                                                                not be returned to it. FAEC has a deposit policy for custodial credit risk. At year end,
             Component Units                                                                                    FAEC had $493,243 of bank deposits (checking and savings accounts) that were
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             U.S. agency bonds                           $     5,677,688      AAA            Fitch              uninsured and uncollateralized. FAEC believes that due to the dollar amounts of cash
             U.S. government CMOs                             21,664,881    Not Rated      Not Rated            deposits and the limits of FDIC insurance, it is impractical to insure all deposits. As a
             Corporate bonds                                     586,593      AAA            S&P                result, FAEC evaluates each financial institution with which it deposits funds and
             Corporate bonds                                   4,181,609     AA+/A-          S&P                assesses the level of risk of each institution; only those institutions with an acceptable
             Corporate bonds                                   5,473,295    BBB+/B-          S&P                estimated risk level are used as depositories.
             Corporate bonds                                     297,104   CCC+/CCC          S&P
             Corporate bonds                                   1,244,729    Not Rated      Not Rated            The Flint Downtown Development Authority’s cash and investments are subject to
             Money market funds                               30,146,068    Not Rated      Not Rated            various types of risk, which are examined in more detail below:
             Repurchase agreement                                 14,135    Not Rated      Not Rated
                                                                                                                Custodial credit risk of bank deposits:
               Total                                     $    69,286,102
                                                                                                                Custodial credit risk is the risk that in the event of a bank failure, DDA's deposits may
            Securities Lending Agreement                                                                        not be returned to it. DDA does not have a deposit policy for custodial credit risk. At
                                                                                                                year end, DDA had no bank deposits (certificates of deposit, checking, and savings
            As permitted by State statutes and under the provisions of a securities lending                     accounts) that were uninsured and uncollateralized.
            authorization agreement, the City’s Pension System (the "System”) lends securities to
            broker dealers and banks for collateral that will be returned for the same securities in            Credit risk:
            the future. The System’s custodial bank manages the securities lending program and                  State law limits investments in commercial paper to the top two ratings issued by
            receives cash as collateral. The custodial bank does not have the ability to pledge or sell         nationally recognized statistical rating organizations. DDA has no investment policy that
            collateral securities unless the borrower defaults. Borrowers are required to deliver               would further limit its investment choices. As of year end, the credit quality ratings of
            collateral for each loan equal to not less than 102 percent of the market value of the              debt securities (other than the U.S. government) are as follows:
            loaned securities. During fiscal year 2013, prior to the System's assets being transferred
            to MERS, the System was participating in the securities lending program. As of June 30,                                                                      Fair Value           Rating
            2013, the System is using MERS as the custodian and therefore no longer participates in             Investment - Money market                            $       238,354      Not Available
            the securities lending program.


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       City of Flint, Michigan                                                                                                                                                                  City of Flint, Michigan
                                                                                                     Notes to Financial Statements                                                                                                                                          Notes to Financial Statements
                                                                                                                     June 30, 2013                                                                                                                                                          June 30, 2013

       Note 5 - Receivables and Deferred Revenue                                                                                                                                                Note 6 - Capital Assets
                   Receivables as of year end for the City’s individual major funds and nonmajor, internal                                                                                            Capital asset activity of the City's governmental and business-type activities for the year
                   service, and fiduciary funds in the aggregate, including the applicable allowances for                                                                                             was as follows:
                   uncollectible accounts, are as follows:                                                                                                                                                                                         Balance                                                       Balance
                                                                                                                                                                                                      Governmental Activities                    July 1, 2012        Additions            Disposals           June 30, 2013
                                                                                         Nonmajor,
                                                                                          Internal                                                                                                    Capital assets not being depreciated:
                                                                                          Service,                                                                             Component                  Land                              $      14,313,536 $                -  $                   -   $      14,313,536
                                                                           Public         Fiduciary                                                                            Unit - Hurley              Construction in progress                         -              132,616                     -             132,616
                                                          Federal     Improvement        Funds, and                                          Sewage                                Medical
                                     General Fund    Grants Fund           Fund         Agency Funds      Total        Water Supply          Disposal              Total           Center                          Subtotal                        14,313,536             132,616                     -          14,446,152
       Receivables:
         Property taxes receivable   $ 2,767,533     $          -     $     184,192     $ 3,527,203    $ 6,478,928     $          -      $            -      $             -   $         -            Capital assets being depreciated:
         Receivables from sales to                                                                                                                                                                        Roads and sidewalks                     369,668,151           3,900,775            (161,026)          373,407,900
            customers on account             -                  -                 -              -                -        14,054,422        10,597,528          24,651,950        70,201,583             Buildings and improvements               22,958,138              46,750                  -             23,004,888
         Accrued interest                                                                                                                                                                                 Machinery and equipment                  32,643,402             983,687          (3,330,492)           30,296,597
            receivable                       -                  -                 -          198,082       198,082                -                   -                    -         261,587                                                       14,605,010                  -                   -             14,605,010
                                                                                                                                                                                                          Land improvements
         Gross receivables -
            Other receivables          4,114,790              7,400               -          103,698      4,225,888              232                 155               387           704,500
                                                                                                                                                                                                                   Subtotal                       439,874,701           4,931,212          (3,491,518)          441,314,395
         Due from other
            governmental units         3,304,348          3,963,428       9,167,900       1,531,041     17,966,717                -              109,866           109,866               -
                                                                                                                                                                                                      Accumulated depreciation:
         Notes and leases                    -           10,074,000             -           486,338     10,560,338                -                  -                 -                 -
       Less allowance for                                                                                                                                                                                 Roads and sidewalks                     233,169,408          13,113,510            (161,025)          246,121,893
         uncollectibles                (2,428,785)              -         (4,266,449)            -       (6,695,234)         (936,000)           (775,000)       (1,711,000)             -                Buildings and improvements               17,146,379             446,904                  -             17,593,283
                                                                                                                                                                                                          Machinery and equipment                  26,817,971           1,558,925          (2,716,451)           25,660,445
                                                                                                                                                                                                                                                   10,400,669             459,712                  -             10,860,381
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       Net receivables               $ 7,757,886     $ 14,044,828     $ 5,085,643       $ 5,846,362    $ 32,734,719    $ 13,118,654      $ 9,932,549         $ 23,051,203      $ 71,167,670
                                                                                                                                                                                                          Land improvements

                                                                                                                                                                                                                   Subtotal                       287,534,427          15,579,051          (2,877,476)          300,236,002

                   Governmental funds report deferred revenue in connection with receivables for                                                                                                      Net capital assets being depreciated        152,340,274         (10,647,839)           (614,042)          141,078,393
                   revenues that are not considered to be available to liquidate liabilities of the current
                                                                                                                                                                                                      Net capital assets                     $    166,653,810 $       (10,515,223) $         (614,042) $        155,524,545
                   period. Governmental funds also defer revenue recognition in connection with
                   resources that have been received, but not yet earned. At the end of the current fiscal                                                                                                                                         Balance                                                                             Balance
                   year, the various components of deferred revenue and unearned revenue reported in                                                                                                  Business-type Activities                   July 1, 2012      Reclassification       Additions             Disposals           June 30, 2013

                   the governmental funds were as follows:                                                                                                                                            Capital assets not being depreciated:
                                                                                                                                                                                                          Land                              $          762,394 $                -   $                 -   $                 -   $         762,394
                                                                                                          Governmental Funds                                                                              Construction in progress                   1,336,668             (53,701)                   -                     -           1,282,967

                                                                                              Unavailable     Unearned                                           Total                                             Subtotal                          2,099,062             (53,701)                   -                     -           2,045,361

                     Delinquent property taxes receivable                                                                                                                                             Capital assets being depreciated:
                                                                                                                                                                                                          Buildings and improvements               58,270,369               53,701             22,061               (55,979)           58,290,152
                       (General Fund)                                                     $       870,717 $                                  -       $          870,717                                   Machinery and equipment                 236,967,195                   -           1,678,217           (10,129,805)          228,515,607
                     Delinquent property taxes receivable                                         592,721                                    -                  592,721                                   Land improvements                         5,406,197                   -                  -                     -              5,406,197
                     Long-term notes receivable                                                10,370,789                                    -               10,370,789                                            Subtotal                       300,643,761               53,701          1,700,278           (10,185,784)          292,211,956
                     Grant receivable                                                             948,117                                    -                  948,117
                                                                                                                                                                                                      Accumulated depreciation:
                     Grant receipts prior to meeting all                                                                                                                                                  Buildings and improvements               24,608,545                    -          2,284,687               (17,284)           26,875,948
                       eligibility requirements                                                              -                  920,414                           920,414                                 Machinery and equipment                 166,468,474                    -          5,052,420            (8,311,804)          163,209,090
                                                                                                                                                                                                          Land improvements                         1,528,505                    -            198,628                    -              1,727,133
                                     Total                                                $ 12,782,344 $                        920,414 $ 13,702,758
                                                                                                                                                                                                                   Subtotal                       192,605,524                    -          7,535,735            (8,329,088)          191,812,171

                                                                                                                                                                                                      Net capital assets being depreciated        108,038,237               53,701         (5,835,457)           (1,856,696)          100,399,785

                                                                                                                                                                                                      Net capital assets                     $    110,137,299 $                  -    $    (5,835,457) $         (1,856,696) $        102,445,146




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       City of Flint, Michigan                                                                                                            City of Flint, Michigan
                                                                         Notes to Financial Statements                                                                                         Notes to Financial Statements
                                                                                         June 30, 2013                                                                                                         June 30, 2013

       Note 6 - Capital Assets (Continued)                                                                                                Note 6 - Capital Assets (Continued)
                                                                         Balance                       Disposals and         Balance            Business-type activities:
             Component Units                                           July 1, 2012     Additions        Transfers        June 30, 2013
                                                                                                                                                  Sewer                                                                      $     3,971,796
             Capital assets not being depreciated:                                                                                                Water                                                                            3,563,939
                 Land                                              $     10,423,314 $       20,000 $        (803,734) $      9,639,580
                 Construction in progress                                 7,614,005     16,885,070       (11,912,155)       12,586,920                                                                                       $     7,535,735
                                                                                                                                                                    Total business-type activities
                          Subtotal                                       18,037,319     16,905,070       (12,715,889)       22,226,500

             Capital assets being depreciated:                                                                                                  Component unit activities:
                 Buildings and improvements                            175,900,564        3,166,411       (5,182,663)      173,884,312            Downtown Development Authority                                             $       358,474
                 Machinery and equipment                               104,605,413        8,809,611       (7,103,721)      106,311,303
                 Vehicles                                                  354,355               -           (18,304)          336,051            Hurley Medical Center                                                           16,109,516
                 Office furnishings                                      1,085,861           42,108           (3,499)        1,124,470            Flint Area Enterprise Community                                                      3,954
                 Land improvements                                      13,153,256          206,602         (552,109)       12,807,749
                 Leasehold improvements                                  6,957,930           54,187         (219,992)        6,792,125            Economic Development Corporation                                                    39,253
                          Subtotal                                     302,057,379      12,278,919       (13,080,288)      301,256,010                              Total component unit activities                          $ 16,511,197
             Accumulated depreciation:
                 Buildings and improvements                            117,622,455       4,972,961        (5,049,963)      117,545,453    Note 7 - Interfund Receivables, Payables, and Transfers
                 Machinery and equipment                                61,459,816      10,995,528        (6,790,713)       65,664,631
                 Vehicles                                                  262,273          34,988           (18,304)          278,957          The composition of interfund balances as of June 30, 2013 is as follows:
                 Office furnishings                                        440,836          80,041            (3,441)          517,436
                 Land improvements                                       3,393,980         370,190          (552,109)        3,212,061
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                 Leasehold improvements                                  6,385,440          57,489          (228,761)        6,214,168                    Receivable Fund                       Payable Fund                     Amount
                          Subtotal                                     189,564,800      16,511,197       (12,643,291)      193,432,706
                                                                                                                                                Due to/from Other Funds
             Net capital assets being depreciated                      112,492,579       (4,232,278)        (436,997)      107,823,304
                                                                                                                                                Nonmajor governmental funds           General Fund                       $        1,812,097
             Net capital assets                                    $ 130,529,898 $      12,672,792 $     (13,152,886) $ 130,049,804
                                                                                                                                                Internal service funds                General Fund                                4,500,000
             Depreciation expense was charged to programs of the primary government as follows:                                                                                       Federal Grant Fund                          2,492,039
                                                                                                                                                                                      Nonmajor governmental funds                    26,556
             Governmental activities:                                                                                                                                                 Sewage Disposal Division Fund                 851,200
               General government                                                                              $          953,072
               Police                                                                                                     677,967                                                               Total internal service
               Judicial                                                                                                    35,763                                                                 funds                           7,869,795
               Fire                                                                                                        60,160                                                               Total                    $        9,681,892
               Transportation                                                                                          13,130,326
               Emergency dispatch                                                                                          77,289
               Parks and recreation                                                                                       572,517                         Receivable Fund                       Payable Fund                     Amount
               Public works                                                                                                 5,313
                                                                                                                                                Advances from/to Other Funds
               Community enrichment and development                                                                        66,644
                                                                                                                                                Sewage Disposal Division Fund         General Fund                       $        9,800,000
                                          Total governmental activities                                        $ 15,579,051
                                                                                                                                                Water Supply Division Fund            General Fund                                1,000,000
                                                                                                                                                                                                Total                    $       10,800,000




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       City of Flint, Michigan                                                                        City of Flint, Michigan
                                                         Notes to Financial Statements                                                                    Notes to Financial Statements
                                                                         June 30, 2013                                                                                    June 30, 2013

       Note 7 - Interfund Receivables, Payables, and Transfers (Continued)                            Note 7 - Interfund Receivables, Payables, and Transfers (Continued)

                      Receivable Fund                    Payable Entity               Amount                (2) The transfers from the Sewer and Water Funds to the General Fund represent
                                                                                                                return on equity.
             Due to/from Primary Government and Component Units                                             (3) Transfers between funds were primarily for operating purposes or to cover
             Public Improvement Fund             Component unit - DDA (1)       $      9,167,900                operating deficits.
                                                                                                            (4) The transfer from the Public Improvement Fund to the Central Garage Internal
             General Fund                        Component unit - EDC (1)                148,895                Service Fund was to provide funds for the payment of debt related to capital
                                                                                                                assets.
             Federal Grants Fund                 Component unit - EDC                    550,000
                                                                                                            (5) The transfer from the Central Maintenance Garage Fund to the Garbage Collection
                                                         Total                  $      9,866,795                Fund was to transfer the proceeds received to the Garbage Collection Fund, which
                                                                                                                was related to the sale of City garbage trucks.
             The interfund receivables were created through negative pooled cash in other funds and         (6) Transfers between funds were primarily for operating purposes. The transfer from
             monies loaned for operating purposes.                                                              the Major Streets Fund to the Local Streets Fund is allowable per Act 51.
             The advances were created through negative pooled cash in other funds.                   Note 8 - Leases
             (1) The borrowings between primary government and component units are due to
                                                                                                            The City has entered into agreements for the lease of automobiles, water treatment
             parking debt funding (DDA) and ineligible grant costs (EDC). At June 30, 2013, there
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                                                                                                            equipment, office equipment, construction equipment, fire equipment, computers, and
             was an allowance related to the due from DDA of $4,266,449, which reduces the total
                                                                                                            a fire station. The terms of each agreement provide options to purchase the fixed assets
             due from DDA to a net amount of $4,901,451.
                                                                                                            at any time during the lease terms, which range from three to five years. All of the leases
             Interfund transfers reported in the fund financial statements are comprised of the             meet the criteria of a capital lease as defined by Statement of Financial Accounting
             following:                                                                                     Standards No. 13, Accounting for Leases, which defines a capital lease generally as one
                                                                                                            which transfers the benefits and risks of ownership to the lessee. As such, $2,374,857
                   Fund Transferred to             Fund Transferred from              Amount                has been capitalized as equipment, and related accumulated depreciation was
                                                                                                            $1,108,489.
             General Fund                    Sewage Disposal Division Fund (2) $       1,860,000
                                             Water Supply Division Fund (2)            1,130,000            The following is a schedule of the future minimum lease payments under the capitalized
                                                                                                            leases together with the present value of the net minimum lease payments as of June 30,
                                                         Total General Fund            2,990,000            2013:

             Nonmajor governmental funds General Fund (3)                                  9,312                            Years Ending
                                         Public Improvement Fund (4)                     726,953                              June 30                                       Amount
                                         Internal Service Funds (5)                    1,500,000                                 2014                                   $     194,011
                                         Nonmajor governmental funds (6)                 292,192                                 2015                                         151,834
                                                         Total nonmajor                                                          2016                                          52,061
                                                           governmental                                                           Total future minimum lease
                                                           funds                       2,528,457
                                                                                                                                    payments                                  397,906
                                                         Total                  $      5,518,457                                  Less amount representing interest            (22,662)
                                                                                                                                  Long-term obligation under capital
                                                                                                                                    leases                              $     375,244

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       City of Flint, Michigan                                                                          City of Flint, Michigan
                                                         Notes to Financial Statements                                                                                        Notes to Financial Statements
                                                                         June 30, 2013                                                                                                        June 30, 2013

       Note 8 - Leases (Continued)                                                                      Note 9 - Long-term Debt (Continued)
             Also, Hurley Medical Center and HHS lease office space under various operating leases.          Long-term debt activity for the year ended June 30, 2013 can be summarized as follows:
             Certain operating leases contain rental escalation clauses that are based on the prime                                                   Beginning                                                               Due Within
             rate at a future date and purchase options at fair market value. The following is a                                                       Balance           Additions         Reductions    Ending Balance        One Year
                                                                                                              Governmental Activities
             schedule of future minimum lease payments under operating leases that have initial or
             remaining lease terms in excess of one year:                                                     Section 108 loan                    $       754,000   $            -     $       150,000   $      604,000   $       150,000
                                                                                                              Section 108 loan - 500 Block              3,840,000                -                  -         3,840,000           295,000
                                                                                                              Section 108 loan - Ok Industries            106,000                -              21,000           85,000            21,000
                              Years Ending                                                                    Section 108 loan - Guaranteed
                                June 30                          Amount                                         Funds                                   5,105,000                -              75,000        5,030,000            75,000
                                                                                                              Section 108 loan - W. Carpenter Rd.       1,681,000                -              97,000        1,584,000            98,000
                                 2014                        $     1,784,585                                  General Obligation Capital
                                                                                                                Improvement Bonds                       9,490,000                -             260,000        9,230,000           275,000
                                 2015                              1,714,104                                  Local Government Loan Program             8,000,000                -             185,000        7,815,000           195,000
                                 2016                              1,687,311                                  Total governmental activities
                                                                                                              SIB 3rd Avenue Reconstruction loan        1,928,642                -             108,977        1,819,665           109,523
                                 2017                              1,621,160
                                 2018                              1,200,735                                             Total bonds payable          30,904,642                 -             896,977       30,007,665         1,218,523

                               Thereafter                          2,205,193                                  Accumulated compensated
                                                                                                                absences                                5,343,961          2,241,542         3,150,247        4,435,256         3,100,000
                                     Total minimum                                                            Capital lease - Telephone
                                                                                                                equipment                                140,226                 -             104,131          36,095             36,092
                                       payments required $        10,213,088                                  Capital lease - Equipment                   27,212                 -              21,622           5,590              5,592
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                                                                                                              Capital lease - Dell equipment             475,601                 -             142,042         333,559            138,171

             Rental expense for all operating leases for the year ended June 30, 2013 was                                Total governmental
                                                                                                                           activities            $    36,891,642    $      2,241,542   $     4,315,019   $   34,818,165   $     4,498,378
             $2,086,648.
       Note 9 - Long-term Debt                                                                               Compensated absences attributable to the governmental activities will be liquidated
                                                                                                             primarily by the General and Neighborhood Policing Funds. The claims and judgments
            The City issues bonds to provide for the acquisition and construction of major capital
                                                                                                             liability will generally be liquidated through the City’s Self-Insurance Internal Service
            facilities. General obligation bonds are direct obligations and pledge the full faith and
                                                                                                             Fund. That fund will finance the payment of those claims by charging the other funds
            credit of the City. County contractual agreements and installment purchase agreements
                                                                                                             based on management’s assessment of the relative insurance risk that should be
            are also general obligations of the government. Special assessment bonds provide for
                                                                                                             assumed by individual funds. The net pension obligation and the net OPEB obligation will
            capital improvements that benefit specific properties, and will be repaid from amounts
                                                                                                             be liquidated from the funds that the individual employee’s salaries are paid from,
            levied against those properties benefited from the construction. In the event that a
                                                                                                             generally the General Fund and Neighborhood Policing Fund.
            deficiency exists because of unpaid or delinquent special assessments at the time a debt
            service payment is due, the City is obligated to provide resources to cover the
            deficiency until other resources (such as tax sale proceeds or a reassessment of the
            City) are received. All Michigan Municipal Bond Authority debt is secured by future State
            of Michigan revenue-sharing payments that the City is entitled to receive under State
            law. Revenue bonds involve a pledge of specific income derived from the acquired or
            constructed assets to pay debt service.




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       City of Flint, Michigan                                                                                                                                                                       City of Flint, Michigan
                                                                                                           Notes to Financial Statements                                                                                                               Notes to Financial Statements
                                                                                                                           June 30, 2013                                                                                                                               June 30, 2013

       Note 9 - Long-term Debt (Continued)                                                                                                                                                           Note 9 - Long-term Debt (Continued)
                                                                        Beginning                                                                                                  Due Within             Future Revenues Pledged for Debt Payments
                                                                         Balance                Additions                    Reductions             Ending Balance                  One Year
             Business-type Activities
                                                                                                                                                                                                          Revenue Bond - The City has pledged substantially all revenue of the Water and Sewer
             Enterprise funds:                                                                                                                                                                            Fund, net of operating expenses, to repay the Drinking Water Revolving Fund Revenue
               2001 MMBA Drinking Water
                 Revolving Fund Revenue Bonds                     $        3,303,994        $                  -         $          375,000        $       2,928,994           $       385,000            Bonds (DWRF). Financial recovery bonds issued by the State of Michigan and the DWRF
               2002 MMBA Drinking Water                                                                                                                                                                   Revenue Bonds have been secured with future State revenue-sharing payments to be
                 Revolving Fund Revenue Bonds                              4,110,000                           -                    410,000                3,700,000                   425,000
               2003 MMBA Drinking Water                                                                                                                                                                   received by the City's General Fund. The remaining principal and interest to be paid on
                 Revolving Fund Revenue Bonds                              5,196,408                           -                    465,000                4,731,408                   475,000            the bonds are $23,840,336 and $3,347,872, respectively. During the current year, net
               2004 MMBA Drinking Water
                 Revolving Fund Revenue Bonds                            13,344,934                            -                    865,000              12,479,934                    880,000            revenues of the system were $12,165,515 and State revenue-sharing revenues were
                            Total business-type
                                                                                                                                                                                                          $13,667,182, as compared to the annual debt requirements of $2,165,000 of principal
                              activities                                 25,955,336                            -                  2,115,000              23,840,336                  2,165,000            and $585,008 of interest.
             Accumulated compensated
               absences                                                      625,603                    602,670                     690,098                     538,175                538,175            Revenues Pledged in Connection with Component Unit Debt - The City has
                                                                                                                                                                                                          pledged, as security for bonds issued by the City on behalf of the Flint Downtown
                            Total business-type
                              activities                          $      26,580,939        $            602,670          $        2,805,098        $     24,378,511            $     2,703,175            Development Authority, a portion of the City’s state-shared revenues. The bonds issued
                                                                                                                                                                                                          during 2008 in the amount of $10,000,000 were used to provide funding for the James
                                                                        Beginning                                                                                                  Due Within             Rutherford Parking Deck capital project and upgrade of the Riverfront Parking Deck.
                                                                         Balance                Additions                    Reductions             Ending Balance                  One Year
                                                                                                                                                                                                          The bonds are payable through 2033. The Flint Downtown Development Authority has
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             Component Unit Activities
                                                                                                                                                                                                          pledged tax increment revenues and net operating revenues of the parking system to
             Bonds payable:
               Series 1998A                                       $       9,705,000        $                 -           $        7,825,000        $      1,880,000            $       915,000            repay the obligations. Based upon the amount drawn through June 30, 2013, principal
               Series 1998B                                              15,235,000                          -                   13,330,000               1,905,000                    600,000            and interest to be paid on the bonds total $14,513,756. During the current year, the net
               Series 2003                                               25,590,000                          -                   18,080,000               7,510,000                  2,360,000
               Series 2010                                               34,715,000                          -                      500,000              34,215,000                    500,000            loss from the parking operations was $16. Cash flow projections indicate that the DDA’s
               Series 2011                                                4,706,476                          -                      597,541               4,108,935                    678,530            annual debt service to the City for repayment of the bonds will not coincide with the
               Series 2013A                                                      -                   21,940,000                          -               21,940,000                         -
               Series 2013B                                                      -                   36,590,000                          -               36,590,000                    555,000            City’s annual debt service obligation. During the current year, the City has forgiven
                                                                                                                                                                                                          payment made by the City on behalf of the DDA.
                            Total                                        89,951,476                  58,530,000                  40,332,541            108,148,935                   5,608,530

             Unamortized bond discount                                    (1,852,720)                 1,642,640                            -                   (210,080)                       -          Section 108 Loans - The Section 108 loans were obtained through an economic
                                                                                                                                                                                                          development loan program administered by the U.S. Department of Housing and Urban
                            Total component unit
                              activities                          $      88,098,756        $         60,172,640          $       40,332,541        $ 107,938,855               $     5,608,530            Development (HUD). The proceeds of the loans were then loaned to private entities
                                                                                                                                                                                                          for economic development proposes. Loans under the programs are owed to HUD and
            Annual debt service requirements to maturity for the above bonds and note obligations                                                                                                         are secured by future federal grant allocations to the City through the Community
            are as follows:                                                                                                                                                                               Development Block Grant Program. During the current year, net revenues from the
                                              Governmental Activities                                 Business-type Activities                                 Component Unit Activities                  Community Development Block Grant Programs were $3,660,688 as compared to the
             Years Ending
               June 30            Principal           Interest           Total           Principal            Interest             Total           Principal            Interest           Total          annual debt requirements of $328,507.
                2014
                2015
                              $     1,398,378
                                    1,383,769
                                                  $   1,210,607
                                                      1,169,308
                                                                   $     2,608,985
                                                                         2,553,077
                                                                                     $    2,165,000
                                                                                          2,220,000
                                                                                                          $     585,008
                                                                                                                530,571
                                                                                                                             $    2,750,008
                                                                                                                                  2,750,571
                                                                                                                                               $    5,608,530
                                                                                                                                                    5,307,431
                                                                                                                                                                    $    5,684,695
                                                                                                                                                                         5,391,722
                                                                                                                                                                                     $ 11,293,225
                                                                                                                                                                                       10,699,153
                                                                                                                                                                                                          Hurley Medical Center Revenue Refunding Bonds - The net revenues of the
                2016
                2017
                                    1,332,096
                                    1,345,175
                                                      1,125,420
                                                      1,082,110
                                                                         2,457,516
                                                                         2,427,285
                                                                                          2,275,000
                                                                                          2,335,000
                                                                                                                474,821
                                                                                                                417,633
                                                                                                                                  2,749,821
                                                                                                                                  2,752,633
                                                                                                                                                    5,792,648
                                                                                                                                                    6,079,156
                                                                                                                                                                         5,075,542
                                                                                                                                                                         4,846,484
                                                                                                                                                                                       10,868,190
                                                                                                                                                                                       10,925,640
                                                                                                                                                                                                          Medical Center are pledged for payment of principal and interest on the variable rate
                2018
              2019-2023
                                    1,234,731
                                    6,658,093
                                                      1,041,391
                                                      4,572,001
                                                                         2,276,122
                                                                        11,230,094
                                                                                          2,395,000
                                                                                          9,825,402
                                                                                                                358,946
                                                                                                                910,457
                                                                                                                                  2,753,946
                                                                                                                                 10,735,859
                                                                                                                                                    6,282,010
                                                                                                                                                   24,519,160
                                                                                                                                                                         4,610,130
                                                                                                                                                                        19,158,696
                                                                                                                                                                                       10,892,140
                                                                                                                                                                                       43,677,856
                                                                                                                                                                                                          demand revenue rental and revenue refunding bonds. Accordingly, the financial
              2024-2028
              2029-2033
                                    9,774,412
                                    5,613,032
                                                      3,128,164
                                                      1,249,053
                                                                        12,902,576
                                                                         6,862,085
                                                                                          2,624,934
                                                                                                -
                                                                                                                 70,435
                                                                                                                    -
                                                                                                                                  2,695,369
                                                                                                                                        -
                                                                                                                                                   15,020,000
                                                                                                                                                   13,680,000
                                                                                                                                                                        15,017,750
                                                                                                                                                                        10,808,344
                                                                                                                                                                                       30,037,750
                                                                                                                                                                                       24,488,344
                                                                                                                                                                                                          statements of the Medical Center include the facilities as if owned by the Medical Center
              2034-2038
              2039-2041
                                    1,643,223
                                          -
                                                        152,850
                                                            -
                                                                         1,796,073
                                                                               -
                                                                                                -
                                                                                                -
                                                                                                                    -
                                                                                                                    -
                                                                                                                                        -
                                                                                                                                        -
                                                                                                                                                   17,185,000
                                                                                                                                                    8,675,000
                                                                                                                                                                         5,610,282
                                                                                                                                                                           315,450
                                                                                                                                                                                       22,795,282
                                                                                                                                                                                        8,990,450
                                                                                                                                                                                                          and the bonds as if issued by the Medical Center.
                Total         $ 30,382,909        $ 14,730,904     $ 45,113,813      $ 23,840,336         $   3,347,871      $ 27,188,207      $ 108,148,935        $ 76,519,095     $ 184,668,030




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       City of Flint, Michigan                                                                            City of Flint, Michigan
                                                           Notes to Financial Statements                                                                     Notes to Financial Statements
                                                                           June 30, 2013                                                                                     June 30, 2013

       Note 9 - Long-term Debt (Continued)                                                                Note 11 - Retirement Plans
             Section 7-302 of the City Charter, adopted November 4, 1975, limits "net" debt to                 Significant details regarding the City's various retirement plans and other post-
             7 percent of the assessed value of all real and personal property in the City, but does           employment benefits are presented below:
             not define "net" debt. The following computation is based on previous practice and is
                                                                                                               Flint Employees' Retirement System
             consistent with the requirements of the State of Michigan Public Act 279 of 1909.
                                                                                                               During the first three months of the fiscal year, the City of Flint Employees' Retirement
             Assessed valuation at November 16, 2012                                    $ 918,943,232
                                                                                                               System (FERS), a single-employer public employee retirement system, covers
             Legal debt limit (7 percent of assessed valuation)                            64,326,026
                                                                                                               substantially all employees of the City hired prior to October 1, 2003, including certain
             Total bonded debt at June 30, 2013                       $ 140,194,271
                                                                                                               employees of Hurley Medical Center. The plan does not cover certain firemen and
             Less debt not subject to limitation under City charter
                                                                                                               policemen covered by the Charter Retirement Plan, Hurley Medical Center employees
                and state statute:
                                                                                                               participating in MERS, and those employees that elect to participate in the Employees’
                   Revenue bonds and notes                                130,964,271
                                                                                                               Defined Contribution - 401A Plan. The retirement system is a blended component unit
                   Debt subject to limitation                                                 9,230,000
                                                                                                               of the City of Flint. The plan was established by City ordinance and applicable State law,
                       Unused debt limitation                         $           -     $ 55,096,026           and is administered by a board of trustees. A separate financial statement for the FERS
                                                                                                               is not available. The City Council has the authority to amend the benefits offered.
       Note 10 - Restricted Assets                                                                             Investments of the plan are made through Chase Trust Department and Northern
                                                                                                               Trust. Employees who retire at or after age 55 (age 60 for certain Hurley Medical
             The balances of the restricted assets accounts in the governmental, business-type                 Center employees) with 10 years of credited service (eight years for appointed officials),
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             activities, and component units are as follows:                                                   or those members with 25 years of credited service (23 years for police and fire),
                                                      Governmental Business-type            Component          regardless of their age, are entitled to a retirement benefit. Certain police members can
                                                        Activities   Activities               Units            voluntarily retire at age 50 with 25 years of service. The retirement benefit can range
                                                                                                               from 1.7 percent to 2.6 percent of the participant's final average compensation based on
             Section 108 business loan proceeds      $      380,675 $             -     $           -          the last three years (five years for certain Hurley Medical Center employees) of credited
             Equipment replacement and                                                                         service multiplied by the years of credit service depending on date of hire, and is payable
              improvement                                        -                -             875,092        monthly for life. Benefits fully vest on reaching 10 years of service with the benefit
             Self insurance                                      -                -          16,338,354        payable at age 55. The plan also provides death and disability benefits.
             Revenue bond indenture held by
                                                                                                               Beginning in October 2012, the City closed out the single-employer plan and transferred
              trustee                                            -                -          26,816,531
                                                                                                               approximately $270 million of assets to the Michigan Municipal Employees' Retirement
             Unspent bond proceeds                               -                -             692,866
                                                                                                               System (MERS or the "System"), an agent multiple-employer defined benefit pension
             Revenue bond equipment
                                                                                                               plan that covers substantially all employees of the City. The new System provides
              replacement account - Pooled cash                  -         2,001,500                -
                                                                                                               retirement, disability, and death benefits to plan members and their beneficiaries. The
             Debt service reserve - Pooled cash                  -         2,384,034                -
                                                                                                               Michigan Municipal Employees' Retirement System issues a publicly available financial
                Total restricted assets              $      380,675 $      4,385,534 $ 44,722,843              report that includes financial statements and required supplemental information for the
                                                                                                               System. That report may be obtained by writing to the System at 1134 Municipal Way,
                                                                                                               Lansing, Michigan 48917.
                                                                                                               Member contributions are recognized when due. Employer contributions to the plan
                                                                                                               are recognized when due and the employer has made a formal commitment to provide
                                                                                                               the contributions. Benefits and refunds are recognized when due and payable in
                                                                                                               accordance with the terms of the plan.



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       City of Flint, Michigan                                                                         City of Flint, Michigan
                                                         Notes to Financial Statements                                                                               Notes to Financial Statements
                                                                         June 30, 2013                                                                                               June 30, 2013

       Note 11 - Retirement Plans (Continued)                                                          Note 11 - Retirement Plans (Continued)
            The investments are recorded on the balance sheet at fair value as determined by the            Annual Pension Cost
            custodian. The custodian utilizes electronic feeds from external pricing vendors for the
                                                                                                            Six-year trend information regarding the annual pension cost (ARC), percentage of ARC
            majority of investments (95 percent). The remaining assets are valued through a variety
                                                                                                            contributed, and net pension obligation (NPO) are summarized as follows:
            of external sources. Gains and losses on the exchanges, or "swaps" of securities, are
            accounted for under the completed transactions method.                                                                                                    Annual
            During the current year, all assets from FERS were transferred to the Municipal                    Fiscal Year             Actuarial Valuation           Required     Percentage                Net Pension
            Employees' Retirement System (MERS), which at June 30, 2013 is the sole administrator                Ended                       Date                  Contribution * Contributed                Obligation
            of the plan. MERS is a multiple-employer retirement agent. MERS issues a publicly                    6/30/08                       6/30/06             $ 14,376,558             72.0            $10,805,978
            available financial report that includes financial statements and required supplemental              6/30/09                       6/30/07               14,497,568             175.0                    -
            information for the system. That report may be obtained by writing to MERS at 1134                   6/30/10                       6/30/08               13,394,739             100.0                    -
            Municipal Way, Lansing, Michigan 48917.                                                              6/30/11                       6/30/09               10,835,308             100.0                    -
            Membership in the plan at June 30, 2011, the latest date this data was tested in an                  6/30/12                       6/30/10               14,562,392             100.0                    -
            actuarial valuation, was comprised of 1,276 active plan members, 223 inactive vested                 6/30/13                       6/30/11               14,909,789             100.0                    -
            members, and 2,894 retirees and beneficiaries receiving payments.
                                                                                                            * The required contribution is expressed to the City as a percentage of payroll.
            The plan provides that the City and employees contribute amounts necessary to fund
                                                                                                            Funding status and funding progress:
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            the actuarially determined benefits. Employees become members of FERS and are
            required to deposit amounts into the system based on rates determined by bargaining                                                  Actuarial
            unit contracts of all compensation, including overtime. The employee contribution rates                                               Accrued
                                                                                                                                   Actuarial      Liability     Unfunded                                     UAAL as % of
            ranged from 0 percent to 9 percent. Deposits are accumulated in individual accounts
                                                                                                                 Actuarial         Value of      Individual   (Overfunded)                      Covered        Covered
            for each member remaining in service. Upon termination, a member may withdraw the                 Valuation Year        Assets       Entry Age     AAL (UAAL)    Funded Ratio        Payroll        Payroll
            accumulated employee contributions plus any interest credited to his or her account.                  Ended               (a)        (AAL) (b)        (b-a)         (a/b)              (c)         ((b-a)/c)

            Administrative costs of the plan are financed through investment earnings.                           6/30/06       $     782,098   $ 1,023,599    $    241,501          76.4    $     146,634           164.7
                                                                                                                 6/30/07             801,533     1,071,781         270,248          75.2          157,012           172.1
            The City forwarded $3,018,836 of pension contributions withheld from employees                       6/30/08             670,366       841,266         170,900          79.7           89,636           190.7
            during the year ended June 30, 2013. During 2013, employer contributions rates ranged                6/30/09             623,292       873,088         249,796          71.4           89,636           278.7
                                                                                                                 6/30/10             567,215       835,052         267,837          67.9           68,968           388.3
            from 12.23 percent to 59.98 percent of covered payroll. Employer contributions are                   6/30/11             506,504       829,380         322,876          61.1           63,063           512.0
            based on an actuarial valuation performed as of June 30, 2011. The employer
            contribution for the year was $14,909,789, which agreed to the annual required                  The schedule of funding progress, presented as required supplemental information
            contribution. The employer contributions funded retirement benefits, life insurance             following the notes to the financial statements, presents multiyear trend information
            benefits, and the administration of the retirement system.                                      about whether the actuarial value of plan assets is increasing or decreasing over time
                                                                                                            relative to the actuarial accrued liability for benefits.
                                                                                                            The actuarial methods used to determine the actuarial accrued liability was the individual
                                                                                                            entry age actuarial funding methods. Unfunded actuarial accrued liabilities are being
                                                                                                            amortized as a level percent of projected payroll over 30 years for general, police, and
                                                                                                            fire. Significant actuarial assumptions used in the computation of the accrued actuarial
                                                                                                            liability include: (1) a rate of return on the investment or present and future assets of 8.0
                                                                                                            percent per year compounded annually, (2) projected salary increases of 3.75 percent to
                                                                                                            7.55 percent per year compounded annually, and (3) 3.75 percent inflation.


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       City of Flint, Michigan                                                                        City of Flint, Michigan
                                                         Notes to Financial Statements                                                                   Notes to Financial Statements
                                                                         June 30, 2013                                                                                   June 30, 2013

       Note 11 - Retirement Plans (Continued)                                                         Note 11 - Retirement Plans (Continued)
            The actuarial value of assets was computed on fair values “smoothed” over a four-year          Annual Pension Cost
            period.
                                                                                                           Trend information regarding the annual pension cost (ARC), percentage of ARC
            Hurley Medical Center:                                                                         contributed, and net pension obligation (NPO) for the years for which HMC approved
                                                                                                           MERS are summarized as follows:
            During the fiscal year ended June 30, 2004, seven of nine employee unions plus the
            exempt employees of Hurley Medical Center voted to change participation from the                                                                     Fiscal Year Ended June 30
            City of Flint FERS to the Michigan Municipal Public Employees' Retirement System                                                              2013              2012           2011
            (MERS). Benefits under both plans are comparable and approximately half of the
            employees at the Medical Center are represented in each system. The annual                      Annual pension costs                     $ 12,682,496 $ 11,808,875 $           6,059,456
            contribution rate for MERS payroll used by the Medical Center in 2012 was 12.23                 Percentage of pension costs
            percent, which is based on the same rate it contributes to FERS.                                  contributed                                   82.1 %           91.5 %          156.0 %
            As of June 30, 2013, $3,268,705 of the net pension obligation represents pension cost           Net pension obligation                   $   3,268,705 $      6,503,942 $      5,505,003
            from the years 2011, 2012, and 2013 that has not yet been remitted to MERS.
                                                                                                           Charter Retirement Plan
            During the current year, all assets from FERS were transferred to MERS, which at
                                                                                                           The Charter Retirement Plan, a single employer defined benefit pension plan, covers
            June 30, 2013 is the sole administrator of the plan.
                                                                                                           firemen and policemen employed by the City prior to July 1, 1947. The plan was
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            The net pension obligation at June 30, 2013 consists solely of amounts owed by Hurley          adopted under City code. All employees covered by this plan have retired. Benefits are
            Medical Center.                                                                                provided under a special City ordinance with retirees receiving a monthly benefit. The
                                                                                                           current membership of the plan at June 30, 2013 is four members. The City intends to
            Annual pension cost and net pension obligation:
                                                                                                           pay retirement benefits as they become due from future years' General Fund revenue.
            Annual required contribution/annual pension cost                       $ 12,682,496            The City's contribution to the plan for the year ended June 30, 2013 was $64,149 and
            Contributions made                                                       (10,412,640)          was calculated based on the actual current pension benefits due to be paid. The present
            **Write-off of excess liability                                           (5,505,093)          value of vested benefits has not been determined. The City has not requested an
                                                                                                           actuarial valuation of the plan since 1985 because of the decreasing nature and the
            Decrease in net pension obligation                                         (3,235,237)         immateriality of the plan's potential unfunded pension benefit obligation and the fact that
            Net pension obligation - Beginning of year                                  6,503,942          the City is paying benefits as they become due. Net position available for pension
                                                                                                           benefits at June 30, 2013 was $0.
            Net pension obligation - End of year                                   $    3,268,705
                                                                                                           I.C.M.A. 401A Plan
            ** During the transition from FERS to MERS, the liability was determined by the actuary        The City made available to appointed and elected officials hired through December 31,
               not to be needed and written off.                                                           2001 an alternative retirement plan to the general retirement pension plan. The plan
                                                                                                           was a non-contributory defined contribution plan adopted under City ordinance. The
                                                                                                           City contributes an amount equal to the lesser of 25 percent of the employee's
                                                                                                           compensation, or $30,000. No employee contributions are required, and employees
                                                                                                           vest 100 percent immediately. Total contributions required and made by the City
                                                                                                           during the year ended June 30, 2013 were $63,429, which represented 25 percent of
                                                                                                           current year covered payroll. The plan trustee is the International City Management
                                                                                                           Association. Investments are stated at market, which approximates cost. Total payroll
                                                                                                           and covered payroll for the year ended June 30, 2013 were $33,473,833 and $253,714,
                                                                                                           respectively.


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       City of Flint, Michigan                                                                           City of Flint, Michigan
                                                          Notes to Financial Statements                                                                      Notes to Financial Statements
                                                                          June 30, 2013                                                                                      June 30, 2013

       Note 11 - Retirement Plans (Continued)                                                            Note 11 - Retirement Plans (Continued)
            On January 1, 2002, a new plan was adopted for appointed and elected officials. The               Profit Sharing and 403(b) Plan
            City contributes 11 percent of employees’ gross earnings and employees have a
                                                                                                              Hurley Health Services (HHS), a component unit of Hurley Medical Center, has a
            mandatory 4 percent contribution. Employee accounts are fully vested after five years
                                                                                                              qualified 401(k) profit-sharing plan for HPMS employees. Eligible employees, those that
            of service. The current year contribution was calculated based on covered payroll of
                                                                                                              have attained the age of 21 and completed 90 days of service, may defer up to 15
            $89, resulting in an employer contribution of $8 and employee contribution of $6.
                                                                                                              percent of their salary. HHS may make a discretionary contribution. HHS’ contribution
            Defined Contribution Retirement Plans                                                             to the 401(k) plan was $32,837. HHS also maintains two tax-deferred annuity plans
                                                                                                              under Section 403(b) of the Internal Revenue Code. Under the plans, HHS and THC
            On December 3, 2003, a resolution was passed by City Council to establish a defined
                                                                                                              employees may elect to defer up to a specified percentage of their salary, subject to the
            contribution 401 pension plan for members of AFSCME Local 1600 and Local 1799.
                                                                                                              Internal Revenue Service limits. HHS may make a discretionary contribution. HHS’
            Employees hired on or after October 1, 2003 are not eligible to participate in the Flint
                                                                                                              contribution to the 403(b) plan amounted to $273,651.
            Employees' Retirement System defined benefit pension plan. Employees hired prior to
            October 1, 2003 had the option of transferring assets from the defined benefit pension            Excess Benefits Pension Plan
            plan upon implementation of the defined contribution plan. The City contributes 10
                                                                                                              The City established the City of Flint Excess Benefits Plan and Trust (the "Plan") for the
            percent of employees’ gross earnings and employees have a mandatory 5 percent
                                                                                                              purpose of providing certain retiring employees with pension benefits in addition to
            contribution. Employee accounts are fully vested after five years of service. The City’s
                                                                                                              those provided by the Flint Employees' Retirement System (FERS). Certain FERS, now
            total payroll during the current year was $33,473,833. The current year contribution
                                                                                                              MERS, participants receive an annual pension benefit that exceeds limits included in
            was calculated based on covered payroll of $2,684,880, resulting in an employer
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                                                                                                              Section 415 of the Internal Revenue Code of 1986, as amended. Since the contractually
            contribution of $160,112 and employee contributions of $252,918.
                                                                                                              required annual benefit exceeds Section 415 limitations, the benefits cannot be funded
            The City provides pension benefits to full-time employees except those participating in           through the FERS plan. The Excess Benefits Plan and Trust was established as a
            the defined benefit plan, members of AFSCME Local 1600 and Local 1799, and                        separate pension trust to accumulate resources to pay these "excess" benefits on an
            individuals participating in the I.C.M.A. plan through a defined contribution plan. In a          annual basis.
            defined contribution plan, benefits depend solely on amounts contributed to the plan
                                                                                                              Participation in the Plan is limited to FERS retirees whose benefit under the FERS
            plus investment earnings. Employees are eligible to participate from the date of
                                                                                                              defined benefit plan is limited by Section 415 of the Code and who retire at any time
            employment (or other date). As established by City ordinance (authority under which
                                                                                                              based on employment as a member of a bargaining unit represented by Local 1600 or
            the pension obligation is established), the City contributes 11 percent to 14.5 percent of
                                                                                                              Local 1799 of American Federation of State, County, and Municipal Employees. All
            employees’ gross earnings and employee mandatory contributions of 4 percent to 5.5
                                                                                                              employees covered by this plan have retired.
            percent for each employee plus interest allocated to the employee’s account are fully
            vested after five years of service.                                                               The annual benefit provided under the Plan shall be the excess, if any, of each individual
                                                                                                              participant's benefit over the Section 415 limits in effect that calendar year. All benefits
            The City’s total payroll during the current year was $33,473,833. The current year
                                                                                                              payable under this Plan shall be paid in the same manner and form (using the same
            contribution was calculated based on covered payroll of $1,302,083, resulting in an
                                                                                                              actuarial assumptions) as pension benefits paid under the FERS. Benefits shall be paid
            employer contribution of $141,805 and employee contributions of $70,796.
                                                                                                              from the Plan once the member has received the maximum amount permitted within
            The Medical Center has a defined contribution plan for employees who meet certain                 the limits of Code Section 415 during a plan year.
            requirements as to date of hire. Contributions to the plan are 4.5 percent of the
                                                                                                              The Plan is intended to be funded on an annual basis via City contributions. There are
            employee’s annual compensation. Each employee’s interest is vested as specified in the
                                                                                                              no employee contributions to the Plan. The annual contribution will be determined by
            plan. Pension expense included in the statements was $1,179,735.
                                                                                                              estimating the amount of "excess" benefits that will be paid out that calendar year.
                                                                                                              During the year ended June 30, 2013, employer contributions of $0 were made to the
                                                                                                              Plan and benefits of $0 were paid out.



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       City of Flint, Michigan                                                                            City of Flint, Michigan
                                                          Notes to Financial Statements                                                                     Notes to Financial Statements
                                                                          June 30, 2013                                                                                     June 30, 2013

       Note 11 - Retirement Plans (Continued)                                                             Note 11 - Retirement Plans (Continued)
            The City has not requested an actuarial valuation of the Plan because of the                       The collective bargaining agreements require a contribution of 1.5 percent of pre-tax
            immateriality of the Plan's potential unfunded pension benefit obligation and the fact that        compensation from employees belonging to AFSCME Local 1600 and Local 1799. The
            the City is paying benefits as they become due. Net position available for pension                 Plan does not currently require an employer contribution. The employee contributions
            benefits at June 30, 2013 was $0.                                                                  and accumulated investment earnings are to be used to provide healthcare benefits
                                                                                                               above the capped level provided by the City’s defined benefit retiree healthcare benefit
            Retiree Death Benefits Plan
                                                                                                               plan.
            The City provides postretirement death benefits to certain retirees who retired after
                                                                                                               During the year ended June 30, 2013, plan members contributed $147,311. Net
            July 1, 1978, under the terms of collective bargaining agreements with two employee
                                                                                                               position available for benefits was $14,237 at June 30, 2013. A total of $300,000 benefit
            unions. If the retiree was a member of one of the bargaining units at the time of
                                                                                                               payments were made during 2013.
            retirement, his or her designated beneficiary will receive a death benefit at the time of
            the retiree's death. The death benefit ranges from $2,500 to $10,000 depending on the         Note 12 - Other Postemployment Benefits
            retirement date.
                                                                                                               Plan Description - The City provides retiree healthcare benefits to eligible employees
            As of February 9, 2011, the retiree death benefits were changed effective immediately              and their spouses through the Retiree Health Care Trust Fund. Benefits are provided to
            to all 1,600 union employees who were eligible under the previous agreement. The                   public safety and general employees. Currently, the plan has 2,339 members, including
            new agreement states that the designated beneficiary will receive $1,000 for everyone              506 employees in active service, 0 terminated employees not yet receiving benefits, and
            who retired since July 1, 1978 (the inception of the death benefit).                               1,833 retired employees and beneficiaries currently receiving benefits.
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            The benefits are funded in advance by employee withholdings and a matching employer                This is a single employer defined benefit plan administered by the City. The benefits are
            contribution. The employee contributions are calculated at a set amount for each hour              provided under collective bargaining agreements of Local 1799, Local 1600, and Fire
            worked by union members during the bi-weekly pay period. The employee                              Local 352. The plan does not issue a separate stand-alone financial statement.
            withholdings and matching employer contributions are deposited into a separate                     Administrative costs are paid by the plan through employer contributions. The plan does
            account for investment purposes. As of June 30, 2012, this benefit is no longer offered            not cover Hurley Medical Center employees.
            to active employees. The investments are administered by a seven-member board
                                                                                                               Funding Policy - The collective bargaining agreements require a contribution of $50,
            appointed by the two unions and the mayor.
                                                                                                               $75, or $100 monthly depending on their union contracts toward retiree health plan
            As of year end, there were 676 retirees who were eligible for this benefit. Employee               insurance. Contributions will stop once the retirees have 30 years of service or reach
            contributions for the year ended June 30, 2013 were $0. Net position available for                 the age of 65. The City has no obligation to make contributions in advance of when the
            benefits, reported at fair value, was $503,076 at year end. No actuarial valuation has             insurance premiums are due for payment. The City recognizes the expenses in the funds
            been performed to determine the present value of vested benefits. During 2013, death               on a “pay-as-you-go” basis. The costs of administering the plan are borne by the City’s
            benefits of $71,000 were paid.                                                                     General Fund.
            Health Benefits Plan and Trust
            The City established the City of Flint Retiree Health Care Plan and Trust (the "Trust")
            for the purpose of providing health insurance benefits adopted by the City or approved
            by collective bargaining agreements to eligible retirees and their spouses. This is a
            defined contribution plan administered by the Trust. The benefits are provided to Local
            1600 and Local 1799 retirees who retired on or after October 1, 2003 as provided for in
            collective bargaining agreements. The plan is constituted as a “voluntary employees
            beneficiary association” (VEBA) under Section 501(c)(9) of the Internal Revenue Code of
            1986.



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                                                                         Notes to Financial Statements                                                                              Notes to Financial Statements
                                                                                         June 30, 2013                                                                                              June 30, 2013

       Note 12 - Other Postemployment Benefits (Continued)                                                                     Note 12 - Other Postemployment Benefits (Continued)
               Funding Progress - For the year ended June 30, 2013, the City has estimated the cost                                 Actuarial Methods and Assumptions - Actuarial valuations of an ongoing plan involve
               of providing retiree healthcare benefits through an actuarial valuation as of July 1, 2012.                          estimates of the value of reported amounts and assumptions about the probability of
               The valuation computes an annual required contribution, which represents a level of                                  occurrence of events far into the future. Examples include assumptions about future
               funding that, if paid on an ongoing basis, is projected to cover normal cost each year and                           employment, mortality, and the healthcare cost trend. Amounts determined regarding
               amortize any unfunded actuarial liabilities over a period not to exceed 29 years. This                               the funded status of the plan and the annual required contributions of the employer are
               valuation’s computed contribution and actual funding are summarized as follows:                                      subject to continual revision as actual results are compared with past expectations and
                                                                                                                                    new estimates are made about the future. The schedule of funding progress, presented
               Annual required contribution (recommended)                                                   $ 21,789,244
                                                                                                                                    as required supplemental information following the notes to the financial statements,
               Interest on the prior year's net OPEB obligation                                                6,671,460
                                                                                                                                    presents multiyear trend information about whether the actuarial value of plan assets is
               Less adjustment to the annual required contribution                                            (9,518,192)           increasing or decreasing over time relative to the actuarial accrued liabilities for benefits.
                          Annual OPEB cost                                                                     18,942,512
                                                                                                                                    Projections of benefits for financial reporting purposes are based on the substantive plan
               Amounts contributed - Payments of current premiums                                             (17,016,014)          (the plan as understood by the employer and the plan members) and include the types
                          Increase in net OPEB obligation                                                       1,926,498           of benefits provided at the time of each valuation and the historical pattern of sharing of
                                                                                                                                    benefit costs between the employer and plan members to that point. The actuarial
               OPEB obligation - Beginning of year                                                            156,975,216           methods and assumptions used include techniques that are designed to reduce the
               OPEB obligation - End of year                                                                $ 158,901,714           effects of short-term volatility in actuarial accrued liabilities and the actuarial value of
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                                                                                                                                    assets, consistent with the long-term perspective of the calculations.
               The annual OPEB costs, the percentage contributed to the plan, and the net OPEB                                      In the July 1, 2012 actuarial valuation, the entry age actuarial cost method was used. The
               obligation for the current year are as follows:                                                                      actuarial assumptions included a 4.25 percent investment rate of return (net of
                                                                                         Percentage                                 administrative expenses), which is a blended rate of the expected long-term investment
                                                                        Annual OPEB      OPEB Costs           Net OPEB              returns on plan assets and on the employer's own investments calculated based on the
                      Fiscal Year Ended                                    Costs         Contributed          Obligation            funded level of the plan at the valuation date, an annual healthcare cost trend rate of
                                                                                                                                    9 percent initially, reduced by decrements to an ultimate rate of 5 percent after nine
                            6/30/08                                 $     60,188,371             32.0       $ 40,925,931            years, and an inflation rate of 3 percent. The actuarial value of assets was determined
                            6/30/09                                       55,252,592             35.0         76,645,627
                                                                                                                                    using techniques that spread the effects of short-term volatility in the market value of
                            6/30/10                                       55,252,592             37.0        113,615,741
                                                                                                                                    investments over a five-year period. The UAAL is being amortized as a level percentage
                            6/30/11                                       61,351,938             32.1        155,284,670
                            6/30/12                                       22,105,830             92.4        156,975,216            dollar on a closed basis. The remaining amortization period at July 1, 2012 was 29 years.
                            6/30/13                                       18,942,499             89.8        158,901,714

               The funding progress of the plan as of the most recent valuation data is as follows:
                          Actuarial       Actuarial                                                             UAAL as a
         Actuarial        Value of        Accrued        Unfunded AAL       Funded Ratio         Covered       Percentage of
         Valuation         Assets      Liability (AAL)      (UAAL)            (Percent)           Payroll        Covered
           Date              (a)              (b)            (b-a)              (a/b)              (c)*           Payroll
          7/1/12      $     166,903    $ 320,180,757     $ 320,013,854                 0.1   $           -              -
          7/1/11                 -       366,832,597       366,832,597                 -         37,339,842           982.0
          7/1/10                 -       862,302,934       862,302,934                 -         36,252,274         2,379.0
          7/1/09                 -       774,606,738       774,606,738                 -         41,166,662         1,882.0

               * For actuarial valuation date 7/1/12, the annual required contribution calculation is based on a flat dollar
                 amount.

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       City of Flint, Michigan                                                                                                         City of Flint, Michigan
                                                                          Notes to Financial Statements                                                                                     Notes to Financial Statements
                                                                                          June 30, 2013                                                                                                     June 30, 2013

       Note 13 - Pension and Other Employee Benefit Trust Funds                                                                        Note 14 - Hurley Medical Center Other Postemployment Benefits
                                                                                                                                               (Continued)
            The following are condensed financial statements for the individual pension plans and
            postemployment healthcare plans:                                                                                                Funding Policy - The Medical Center expenses the cost of the Plan in its proprietary
                                                                                                                      Hurley Medical        fund. The cost of providing retiree healthcare benefits is estimated through an actuarial
                                                   Flint Employees'                                                   Center Retiree        valuation issued on April 8, 2013 based on participant data as of June 30, 2011. The
                                                      Retirement                      Retiree Health                   Benefit Trust        valuation computes the annual required contribution, which represents a level of funding
                                                        System        Death Benefit        Care            VEBA           Fund
                                                                                                                                            that, if paid on an ongoing basis, is projected to cover the normal cost each year and
            Statement of Net Position
            Investments                            $           -      $    558,778    $           -    $        -     $   37,342,561        amortize any unfunded actuarial liabilities over a period not to exceed 30 years. The
            Other assets                                       -            15,298         1,905,805       314,237           186,887        Medical Center has no obligation to make contributions in advance of when the
            Liabilities                                        -            71,000           390,813            -                 -
                                                                                                                                            insurance premiums are due for payment (in other words, this may be financed on a
                                                   $           -      $    503,076    $    1,514,992   $   314,237    $   37,529,448
               Net position                                                                                                                 pay-as-you-go basis). However, as shown below, the Medical Center has made
            Statement of Changes in Net Position                                                                                            contributions to advance fund certain of these benefits. This valuation's computed
            Investment income                      $    23,116,572    $     80,273    $           -    $         23   $    2,810,457
            Contributions                                6,028,559              -         18,356,884       147,311         5,898,301
                                                                                                                                            contribution and actual funding are summarized as follows for the year ended June 30,
            Benefit payments                            16,695,639          71,000        17,016,014       300,000         5,898,301        2013:
            Other deductions                           477,123,368             108           810,011            -                 -
                                                   $ (464,673,876) $         9,615    $     530,859    $ (152,666) $       2,810,457
                                                                                                                                            Annual Pension Cost and Net Pension Obligation
               Net change in net position
                                                                                                                                                                                                     Percentage
       Note 14 - Hurley Medical Center Other Postemployment Benefits                                                                           Fiscal Year                            Annual OPEB    OPEB Costs          Net OPEB
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            Effective for retirements on or after July 1, 1983, Hurley Medical Center (the "Medical                                              Ended                                   Costs       Contributed         Obligation
            Center") provides a portion of health insurance premiums for retired employees. The                                                  6/30/09                          $      7,737,798          100      $              -
            Medical Center has set aside assets in an irrevocable trust account to be used for                                                   6/30/10                                 7,417,585          100                     -
            payment of its portion of health insurance premiums for retired employees. The activity                                              6/30/11                                 7,417,585          100                     -
            is reported in the fiduciary fund statements.                                                                                        6/30/12                                 7,071,235          100                     -
            Plan Description - The Medical Center provides retiree health insurance premiums to                                                  6/30/13                                 7,011,793           51              3,432,051
            eligible retirees and their spouses through the Retiree Health Benefit Plan (the "Plan").
                                                                                                                                            The funding progress of the plan as of the most recent valuation dates is as follows:
            Retirees receive full or partial health insurance coverage depending on the employee’s
            date of employment and union affiliation. During 2007, the Plan was frozen to new                                                                                                                      June 30
            participants. During the year ended June 30, 2010, the Plan was amended to eliminate                                                                                                           2011               2009
            the full coverage benefits to those eligible employees. Eligible retirees prior to
            December 31, 2009 were grandfathered into the Plan with full health insurance benefits.                                         Actuarial value of assets                                $ 28,182,766 $ 17,143,602
            The number of participants was 508 and 514 in June 30, 2013 and 2012, respectively.                                             Actuarial accrued liability (AAL) (entry age)            $ 90,042,892 $ 88,341,116
                                                                                                                                            Unfunded AAL (UAAL)                                      $ 61,860,126 $ 71,197,514
            The Plan’s activity is accounted for in an irrevocable trust and the activity is reported in                                    Funded ratio                                                    31.3 %        19.4 %
            the fiduciary fund financial statements. The Plan is a single employer defined benefit plan                                     Covered payroll                                          $ 119,888,970 $ 119,888,970
            administered by the Medical Center. The Plan does not issue a separate stand-alone                                              UAAL as a percentage of covered payroll                         51.6 %        59.4 %
            financial statement.




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       City of Flint, Michigan                                                                              City of Flint, Michigan
                                                            Notes to Financial Statements                                                                      Notes to Financial Statements
                                                                            June 30, 2013                                                                                      June 30, 2013

       Note 14 - Hurley Medical Center Other Postemployment Benefits                                        Note 15 - Significant Contingent Liabilities (Continued)
               (Continued)
                                                                                                                  Laws and regulations governing the Medicare and Medicaid programs are complex and
             Actuarial Methods and Assumptions - Actuarial valuations of an ongoing plan involve                  subject to interpretation. Hurley Medical Center’s management believes that it is in
             estimates of the value of reported amounts and assumptions about the probability of                  compliance with all applicable laws and regulations. Compliance with such laws and
             occurrence of events far into the future. Examples include assumptions about future                  regulations can be subject to future government review and interpretation as well as
             employment, mortality, and the healthcare cost trend. Amounts determined regarding                   significant regulatory action including fines, penalties, and exclusion from the Medicare
             the funded status of the plan and the annual required contributions of the employer are              and Medicaid programs.
             subject to continual revision as actual results are compared with past expectations and
                                                                                                            Note 16 - Risk Management
             new estimates are made about the future.
                                                                                                                  Risk management - Primary government:
             Projections of benefits for financial reporting purposes are based on the substantive plan
             (the plan as understood by the employer and the plan members) and include the types                  The City is exposed to various risks of loss related to property loss, torts, errors and
             of benefits provided at the time of each valuation and the historical pattern of sharing of          omissions, employee injuries, unemployment benefits, as well as medical and workers'
             benefit costs between the employer and plan members to that point. The actuarial                     compensation benefits provided to employees. The City has purchased commercial
             methods and assumptions used include techniques that are designed to reduce the                      insurance for fleet equipment and tort claims, boiler and machinery, certain property
             effects of short-term volatility in actuarial accrued liabilities and the actuarial value of         and equipment damage and theft, employee theft, and limited tort claims for specific
             assets consistent with the long-term perspective of the calculations.                                City facilities or events. See separate disclosures below for Hurley Medical Center
                                                                                                                  Component Unit.
             In the June 30, 2011 actuarial valuation, the individual entry age actuarial cost method
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             was used. The actuarial assumptions included an 8 percent investment rate of return                  Settled claims for the commercial insurance have not exceeded the amount of coverage
             (net of administrative expenses), which is a blended rate of the expected long-term                  in any of the past three years. There was no reduction in coverages obtained through
             investment returns on plan assets and on the Medical Center's own investments                        commercial insurance during the past year.
             calculated based on the funded level of the plan at the valuation date, and an annual
                                                                                                                  The City is self-insured for workers' compensation on a pay-as-you-go basis for claims
             healthcare cost trend rate of 9 percent initially, reduced by decrements to an ultimate
                                                                                                                  up to $500,000, with reinsurance coverage provided once claims exceed $1,000,000 in
             rate of 3.75 percent after 10 years. Both rates included a 3.75 percent inflation
                                                                                                                  the aggregate. The self-insurance program is administered by a third-party
             assumption. The unfunded actuarial accrued liability (UAAL) is being amortized as a
                                                                                                                  administrator. All workers' compensation benefits are paid out of the Fringe Benefits
             level percentage of projected payroll on an open basis. The remaining amortization
                                                                                                                  Internal Service Fund. The amount of estimated claims payable at June 30, 2013 was not
             period at June 30, 2011 was 24 years.
                                                                                                                  material.
       Note 15 - Significant Contingent Liabilities
                                                                                                                  The City is self-insured for active employee dental and eye care benefits on a pay-as-
             Federal, state, and local grants:                                                                    you-go basis. The self-insurance program is administered by a third-party administrator.
                                                                                                                  All claims and benefits are paid out of the Fringe Benefits Internal Service Fund. The
             The City participates in a number of federal, state, and locally assisted grant programs,
                                                                                                                  amount of estimated claims payable at June 30, 2013 was not material.
             principally of which is the federally funded Community Development Block Grant. The
             programs are subject to compliance audits. In accordance with the Single Audit Act of                The City pays unemployment claims on a reimbursement basis. The amount of
             1984, compliance audits of federal grants were made during the current year and have                 estimated claims payable at June 30, 2013 was not material.
             been reported under a separate cover. However, specific grantors have yet to make
             final approval of the compliance audits. The amount of ineligible grant expenses
             refunded to the grantor by the City during the year ended June 30, 2013 was $91,246,
             which includes no amounts still owed.




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       Note 16 - Risk Management (Continued)                                                               Note 16 - Risk Management (Continued)
            The City is self-insured for medical benefits provided to active employees and retirees.            Risk management - Component units:
            The benefits are funded on a pay-as-you-go basis. Claims are being paid out of the
                                                                                                                The Flint Economic Development Corporation (the "Corporation") is exposed to
            Fringe Benefits Internal Service Fund for active employee claims and out of the Retiree
                                                                                                                various risks of loss related to property loss, torts, and error and omissions. The
            Health Care Trust Fund for retirees. The plans are administered by Blue Cross/Blue
                                                                                                                Corporation has purchased commercial insurance for those risks associated with a small
            Shield and HealthPlus of Michigan. Once the individual contract or aggregate stop-loss
                                                                                                                business incubator facility which leases commercial and light industrial space to new
            amount is reached, reinsurance provides the remaining benefits. The City has two health
                                                                                                                businesses. Since the Corporation occupies premises located in the City of Flint
            insurance plans that are self-insured, Blue Cross/Blue Shield of Michigan (BCBSM) and
                                                                                                                Municipal Center and all Corporation personnel are employees of the City, any losses
            HealthPlus. For the year ended June 30, 2013, the City paid out $4,376,750 in claims
                                                                                                                related to general liability, employee injuries, workers' compensation, and employee
            and administration fees to HealthPlus. The City is protected from catastrophic claims by
                                                                                                                medical benefits are covered by City self-insurance risk management programs. No
            an excess insurance policy which provides $2,000,000 in coverage per specific contract
                                                                                                                claims related to Corporation activities have been presented to the City as of June 30,
            with a $150,000 self-insured retention (SIR). The City did not have any claims in excess
                                                                                                                2013.
            of the stop-loss deductible during the year. The City paid BCBSM $16,482,044 during
            the year for claims funding and administration. The self-insured coverages provided                 The Downtown Development Authority (DDA) is exposed to various risks of loss
            through BCBSM were protected by specific stop-loss coverage, which provided an                      related to property loss, torts, errors and omissions, and employee injuries (workers’
            unlimited excess with a $100,000 deductible. No claims payable exist at June 30, 2013               compensation) as well as medical benefits provided to employees. The DDA has
            due to escrowed reserves maintained by the third-party administrators. The City also                purchased insurance for these risks.
            provides fully insured HMO health insurance coverage to a limited number of
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                                                                                                                The Flint Area Enterprise Community (FAEC) is exposed to various risks of loss related
            employees. At June 30, 2013, there were 676 retirees that were receiving medical
                                                                                                                to property loss, torts, and errors and omissions. The FAEC has purchased commercial
            benefits.
                                                                                                                insurance coverage through various policies for general liability on all FAEC-owned
            The City has a commercial insurance policy that covers certain general tort liability. The          property and workers' compensation. Settled claims for the commercial insurance have
            per-claim limit is $1,000,000 with a $500,000 deductible per occurrence and a                       not exceeded the amount of coverage in any of the past three years. There were no
            $3,000,000 aggregate claim annually. The commercial policy covers public officials,                 reductions in coverage during the current year.
            employment practices, employee benefits, law enforcement, and commercial auto.
                                                                                                                Hurley Medical Center is exposed to various risks of loss, including hospital professional
            The City is self-insured for other potential claims not covered by the commercial                   and patient general liability claims. The Medical Center has established a trust to assist in
            policies. The Hurley Medical Center Component Unit is also self-insured for a number                accumulating resources to fund excess insurance premiums and to pay claims.
            of risks. The amounts below include all general liability claims against the City except for
                                                                                                                The Medical Center's self-insured retention is $6 million per occurrence annually with
            those related to Hurley Medical Center. Details regarding Hurley Medical Center's self-
                                                                                                                excess claims-made coverage up to $15 million annually. Claims in excess of $15 million
            insurance practices are presented separately. The City has estimated the claims that
                                                                                                                are to be covered by the Medical Center. The Medical Center employs the use of an
            have been incurred through the end of the year, including both those claims that have
                                                                                                                actuary to provide an analysis of the existing claims and to estimate the liability for
            been reported as well as those that have not yet been reported to the City. The
                                                                                                                incurred but not reported (IBNR) claims.
            estimate is based on legal counsel’s recommendation and past settlement history. The
            estimated liability does not include any incremental costs. The amounts below include               Professional liability for claims is reported in accrued expenses, both current and long
            all general liability claims against the City except for those related to Hurley Medical            term, on the statement of net position. The carrying amount of the insurance trust
            Center. Hurley Medical Center administers its own risk management program and                       assets (at market) amounted to $16,338,470 at June 30, 2013.
            details regarding Hurley Medical Center's self-insurance practices are presented
            separately.




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       City of Flint, Michigan                                                                               City of Flint, Michigan
                                                            Notes to Financial Statements                                                                        Notes to Financial Statements
                                                                            June 30, 2013                                                                                        June 30, 2013

       Note 16 - Risk Management (Continued)                                                                 Note 17 - Related Party Transactions
            Conditional Asset Retirement Obligation                                                               The Medical Center pays subsidies and management fees for services rendered by HHS
                                                                                                                  to the Medical Center. Management fees and contributions from the Medical Center to
            The Medical Center has an obligation related to the removal of asbestos within various
                                                                                                                  HHS for the year ended June 30, 2013 amounted to $17,539,750, all of which relates to
            buildings on campus upon reconstruction, demolition, or abandonment of the buildings.
                                                                                                                  staff and service contracts. Amounts paid by HHS to the Medical Center for rent and
            The Medical Center has not recorded a liability related to the potential costs associated
                                                                                                                  other miscellaneous expenses for the year ended June 30, 2013 totaled $445,644.
            with the asbestos abatement, as the amount of the liability cannot currently be
            reasonably estimated. In addition, the range of time over which the Medical Center may                As of June 30, 2013, the Medical Center had accounts receivable from HHS of
            settle the obligation is unknown and cannot be estimated. The Medical Center currently                $1,025,291 and accounts payable to HHS of $295,985.
            has no plans or expectation of plans to undertake a major renovation that would require
                                                                                                                  Included in other operating revenues of HHS are management fees and marketing fees
            the removal of the asbestos or demolition of the buildings. The Medical Center will
                                                                                                                  for services rendered paid by Hurley/Binson’s Medical Equipment, Inc., a related party
            recognize a liability in the period sufficient information is available to reasonably estimate
                                                                                                                  to HPMS. Management fee and marketing income from Hurley/Binson’s Medical
            the amount of the liability.
                                                                                                                  Equipment, Inc. for the year ended June 30, 2013 amounted to $0. There were no
            These claim estimates are recorded as accounts payable in the Self Insurance Internal                 accounts receivable from Hurley/Binson’s Medical Equipment at June 30, 2013. HPMS
            Service Fund. Changes in the estimated liability as well as the total estimated costs                 and HHS purchase courier services from Hurley/Binson’s Medical Equipment, Inc. in the
            (based on prior history and claims presented) of claims for the past fiscal year for the              amount of $300,000 annually.
            City and Hurley Medical Center Component Unit were as follows:
                                                                                                             Note 18 - Upcoming Accounting Pronouncements
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                                              General Liability              Hurley Medical Center
                                                                                                                  In March 2012, the GASB issued Statement No. 65, Items Previously Reported as Assets
                                            2013            2012             2013            2012
                                                                                                                  and Liabilities, which is required to be implemented for financial statements for periods
            Unpaid claims -                                                                                       beginning after December 15, 2012. Statement No. 65 establishes accounting and
              Beginning of year       $    3,968,000 $      5,768,000 $ 36,699,882 $ 34,883,169                   financial reporting standards that reclassify, as deferred outflows and inflows of
            Estimated claims                                                                                      resources, certain items that were previously reported as assets and liabilities. This
               incurred, including                                                                                statement also provides other financial reporting guidance related to the impact of the
               changes in estimates       (1,493,470)         (738,075)              -                 -          financial statement elements deferred outflows of resources and deferred inflows of
            Increase in claims                                                                                    resources. Statement No. 65 will be implemented for the City as of June 30, 2014.
               liability                           -                 -      11,204,087         6,949,535          In June 2012, the GASB issued Statement No. 68, Accounting and Financial Reporting for
            Defense costs and other                                                                               Pensions. Statement No. 68 requires governments providing defined benefit pensions to
               fund expenses                       -                -        (2,070,833)      (1,884,655)         recognize their unfunded pension benefit obligation as a liability for the first time and to
            Excess insurance                                                                                      more comprehensively and comparably measure the annual costs of pension benefits.
               premium payments                   -                 -       (1,088,550)       (1,205,667)         This net pension liability that will be recorded on the government-wide, proprietary,
            Claim payments                  (978,754)       (1,061,925)     (2,697,000)       (2,042,500)         and discretely presented component units statements will be computed differently than
            Estimated liability -                                                                                 the current unfunded actuarial accrued liability, using specific parameters set forth by
               End of year            $    1,495,776 $      3,968,000 $ 42,047,586 $ 36,699,882                   the GASB. The statement also enhances accountability and transparency through revised
                                                                                                                  note disclosures and required supplemental information (RSI). The City is currently
                                                                                                                  evaluating the impact this standard will have on the financial statements when adopted.
                                                                                                                  The provisions of this statement are effective for financial statements for the year ending
                                                                                                                  June 30, 2015.




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       City of Flint, Michigan                                                                           City of Flint, Michigan
                                                          Notes to Financial Statements                                                                      Notes to Financial Statements
                                                                          June 30, 2013                                                                                      June 30, 2013

       Note 19 - Subsequent Events                                                                       Note 20 - Prior Period Adjustment (Continued)
            Effective October 1, 2013, the City entered into a contract with the Karegnondi Water              The effect on the change in net position/fund balance of the prior year is as follows:
            Authority (KWA) to provide water treatment services to the authority. As part of this
                                                                                                                                                                                              Public
            agreement and in order to handle the capacity that this new system will bring, the City
                                                                                                                                                                        Governmental       Improvement
            will need to make approximately $7 million worth of upgrades to their current water
                                                                                                                                                                          Activities          Fund
            plant and treatment facility.
                                                                                                               Change in net position/fund balance - June 30,
            Effective August 1, 2013, the City entered into an agreement with the KWA and                        2012 - As previously reported                  $         (13,607,341) $      (1,198,804)
            Genesee County to issue debt to acquire, construct, and operate a water supply system.             Adjustment to record receivable net of allowance
            The debt will not exceed $300,000,000. The City's share of the debt is 34.2 percent or               for the due from component unit (DDA)                            -           4,901,451
            an amount not to exceed $102,600,000. As of the date of the audit report, the debt has             Adjustment to record allowance for the due from
            not been issued.                                                                                     component unit (DDA)                                      (4,266,449)                  -
            The City is also a voting member of the KWA. The City joined the KWA in 2013 based                 Change in net position/fund balance - June 30,
            on the expectation that the purchase of water for the City will be more economical in                2012 - As restated                                 $     (17,873,790) $      3,702,647
            the future than continuing to purchase water from its current supplier, the Detroit
            Water and Sewer Department.
       Note 20 - Prior Period Adjustment
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            The governmental activities net position and public improvement fund fund balance at
            June 30, 2012 have been restated in order to record a receivable and corresponding
            allowance for the due from component unit from the DDA and reverse the previously
            reported expense related to the payment of related proceeds to the DDA, which
            decreased the expense recognized in the Public Improvement Fund, and had a net
            decrease on the net position for governmental activities. The effect of this correction is
            noted below as follows:
                                                                                      Public
                                                                      Governmental Improvement
                                                                        Activities    Fund
            Net position/fund balance - June 30, 2012 - As
              previously reported                                    $ 23,028,879 $        1,630,490
            Adjustment to record receivable net of allowance for
              the due from component unit (DDA)                                   -        4,901,451
            Adjustment to record allowance for the due from
              component unit (DDA)                                       (4,266,449)              -

            Net position/fund balance - June 30, 2012 - As restated $ 18,762,430 $         6,531,941




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                                                              City of Flint, Michigan
                                                                                                              Required Supplemental Information
                                                                                                    Budgetary Comparison Schedule - General Fund
                                                                                                                       Year Ended June 30, 2013
                                                                                                                                                                         Variance with
                                                                                                              Original Budget     Amended Budget          Actual        Amended Budget
                                                              Revenue
                                                                Property taxes                                $     5,725,000     $     5,725,000    $     6,011,342    $      286,342
                                                                Income taxes                                       14,950,000          15,300,000         14,674,274          (625,726)
                                                                Licenses and permits                                1,287,931           1,711,931          1,557,320          (154,611)
                                                                Federal grants                                        594,324           3,446,602          2,753,854          (692,748)
                                                                State revenue                                      13,497,585          15,125,175         16,003,433           878,258
                                                                Charges for services                               11,944,463          11,577,463         11,406,946          (170,517)
                                                                Fines and forfeitures                               1,394,611           1,537,814          2,291,325           753,511
                                                                Interest                                              133,400             133,400            261,004           127,604
                                                                Other revenue                                       3,512,942             622,396          2,770,960         2,148,564

                                                                              Total revenue                        53,040,256          55,179,781         57,730,458         2,550,677
                                                              Expenditures
                                                                Current:
       Required Supplemental Information                          General government:
                                                                     Mayor's office                                   185,579             206,579            212,219           (5,640)
                                                                     Finance                                        4,900,717           5,009,152          4,595,171          413,981
                                                                     Human relations                                   40,103              40,103             22,613           17,490
                                                                     City clerk                                       847,899             977,906            947,225           30,681
                                                                     Law office                                     1,053,359           1,053,359          1,061,401           (8,042)
                                                                     Human resources                                  736,929             770,463            687,863           82,600
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                                                                     Office of the ombudsman                               -               28,577             27,837              740
                                                                     City administrator                               711,982             614,482            445,472          169,010

                                                                              Total general government              8,476,568           8,700,621          7,999,801          700,820
                                                                   Judicial - 68th District Court                   5,358,477           5,358,479          4,955,003          403,476
                                                                   Public safety:
                                                                     Police department                             20,771,119          24,300,987         23,404,501           896,486
                                                                     Fire                                          11,913,248          11,962,638         10,682,234         1,280,404
                                                                     Building inspection                               99,120             100,120             94,170             5,950
                                                                     Emergency dispatch                             3,314,413           3,314,413          3,141,130           173,283

                                                                              Total public safety                  36,097,900          39,678,158         37,322,035         2,356,123
                                                                   Legislative - City council                         352,899             352,899            344,227            8,672
                                                                   Community development                            1,890,694           2,062,972          1,946,636          116,336
                                                                   Parks and recreation                             1,994,216           1,966,574          1,853,475          113,099
                                                                   Transportation                                   2,850,000               1,474                861              613

                                                                              Total expenditures                   57,020,754          58,121,177         54,422,038         3,699,139

                                                              Excess of Revenue (Under) Over
                                                                Expenditures                                        (3,980,498)        (2,941,396)         3,308,420         6,249,816
                                                              Other Financing Sources (Uses)
                                                                Proceeds from sale of capital assets                    2,500               2,500                100            (2,400)
                                                                Transfers in                                        4,077,998           4,077,998          2,990,000        (1,087,998)
                                                                Transfers out                                              -              (40,000)            (9,312)           30,688

                                                                              Total other financing sources         4,080,498           4,040,498          2,980,788        (1,059,710)

                                                              Net Change in Fund Balance                              100,000           1,099,102          6,289,208         5,190,106

                                                              Fund Balance (Deficit) - Beginning of year           (19,184,850)       (19,184,850)       (19,184,850)              -

                                                              Fund Balance (Deficit) - End of year            $   (19,084,850) $      (18,085,748) $     (12,895,642) $     5,190,106

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       City of Flint, Michigan                                                                                 City of Flint, Michigan
                                      Required Supplemental Information                                                                        Required Supplemental Information
              Budgetary Comparison Schedule - Major Special Revenue Fund                                                Budgetary Comparison Schedule - Major Capital Project Fund
                                                     Federal Grants Fund                                                                                      Public Improvement
                                               Year Ended June 30, 2013                                                                                  Year Ended June 30, 2013
                                                                                              Variance with
                                                                Amended                        Amended                                                                                                 Variance with
                                          Original Budget        Budget          Actual          Budget                                                                 Amended                         Amended
       Revenue                                                                                                                                    Original Budget        Budget           Actual          Budget
         Federal grants                   $   28,483,591    $   17,215,927   $   18,400,485   $   1,184,558    Revenue
         State revenue                           300,000           687,233           33,703        (653,530)     Property taxes                   $    1,930,400    $    1,930,400    $   2,055,994    $    125,594
         Charges for services                     14,625            14,625            1,209         (13,416)     Interest                                389,480           389,480          719,450         329,970
         Interest                                370,541           370,541          247,830        (122,711)
         Other revenue - Local revenue            22,463            64,096           58,028          (6,068)                 Total revenue             2,319,880         2,319,880        2,775,444         455,564

                     Total revenue            29,191,220        18,352,422       18,741,255        388,833     Expenditures
                                                                                                                 Current - Parks and recreation          230,000           230,000          481,121        (251,121)
       Expenditures                                                                                              Debt service                          1,147,953         1,147,953          600,141         547,812
         Current:
           Public safety                       4,455,926         5,387,004        5,321,857          65,147                  Total expenditures        1,377,953         1,377,953        1,081,262         296,691
           Community development              15,154,977         6,977,213        7,425,188        (447,975)
                                                                                                               Transfers Out                            (726,953)         (726,953)        (726,953)             -
           Parks and recreation                7,887,396         5,302,715        5,318,080         (15,365)
         Debt service                            494,957           494,957          489,639           5,318    Net Change in Fund Balance                214,974          214,974           967,229         752,255

                     Total expenditures       27,993,256        18,161,889       18,554,764        (392,875)   Fund Balance - Beginning of year
                                                                                                                 (as adjusted)                         6,531,941         6,531,941        6,531,941              -
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       Net Change in Fund Balance              1,197,964          190,533          186,491           (4,042)
                                                                                                               Fund Balance - End of year         $    6,746,915    $   6,746,915     $   7,499,170    $    752,255
       Fund Balance - Beginning of year         640,253           640,253          640,253              -

       Fund Balance - End of year         $   1,838,217     $     830,786    $     826,744    $     (4,042)




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       City of Flint, Michigan                                                                                               City of Flint, Michigan
                                                                 Required Supplemental Information                                                                Required Supplemental Information
                                                                        Analysis of Funding Progress                                                         Analysis of Funding Progress (Continued)
                                                                          Year Ended June 30, 2013                                                                          Year Ended June 30, 2013

                                                                                                                                                      MERS Pension Plan - Hurley
                                 General, Police, Fire, and Hurley Pension Plans
                                                                                                                                                   Schedule of Employer Contributions
                                         Schedule of Funding Progress
                                           ($ Amounts in Thousands)                                                                                                                                         Net Pension
                                                                                                                                                                               Annual                        Obligation
                              Actuarial       Actuarial                                                       UAAL as a                                                       Required        Percentage     (Asset) at
            Actuarial         Value of        Accrued         Unfunded       Funded Ratio       Covered      Percentage of      Fiscal Year End   Actuarial Valuation Date   Contribution     Contributed     June 30
         Valuation Year        Assets      Liability (AAL)   AAL (UAAL)        (Percent)         Payroll       Covered
                                                                                                                                   6/30/08                6/30/06            $    6,690,590      45.0       $   5,711,003
             Ended               (a)              (b)           (b-a)            (a/b)             (c)          Payroll
                                                                                                                                   6/30/09                6/30/07                 8,037,604      75.0           7,694,335
            6/30/06       $     782,098    $ 1,023,599       $     241,501       76.4       $     146,634        164.7             6/30/10                6/30/07                 9,160,796      87.0           8,896,382
            6/30/07             801,533      1,071,781             270,248       74.8             157,012        172.1             6/30/11                6/30/09                 9,173,538      75.8           5,505,003
            6/30/08             670,366        841,266             170,900       79.7              89,636        190.7             6/30/12                6/30/10                11,734,785      92.1           6,503,942
            6/30/09             623,292        873,088             249,796       71.4              89,636        278.7             6/30/13                6/30/10                12,682,496      82.1           3,268,705
            6/30/10             567,215        835,052             267,837       67.9              68,968        388.3
            6/30/11             506,504        829,380             322,876       61.1              63,063        512.0

       The actuarial methods used to determine the actuarial accrued liability were the individual entry
       age actuarial funding methods. Unfunded actuarial accrued liabilities are being amortized as a
       level percent of projected payroll over 30 years for general, police, fire, and Hurley. Significant
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       actuarial assumptions used in the computation of the accrued actuarial liability include: (1) a rate
       of return on the investment or present and future assets of 8.0 percent per year compounded
       annually, (2) projected salary increases of 3.75 percent to 7.55 percent per year compounded
       annually, and (3) 3.75 percent inflation.
       The actuarial value of assets was computed on fair values “smoothed” over a four-year period.
                                 General, Police, Fire, and Hurley Pension Plans
                                     Schedule of Employer Contributions
                                                                                                             Net Pension
                                                                          Annual                              Obligation
                                                                         Required        Percentage           (Asset) at
           Fiscal Year Ended         Actuarial Valuation Date          Contribution **   Contributed          June 30 *
                6/30/08                       6/30/06                  $   14,376,558        72.0           $ 10,805,978
                6/30/09                       6/30/07                      14,497,568       175.0                     -
                6/30/10                       6/30/08                      13,394,739       100.0                     -
                6/30/11                       6/30/09                      10,835,308       100.0                     -
                6/30/12                       6/30/10                      14,562,392       100.0                     -
                6/30/13                       6/30/11                      14,909,789       100.0                     -

       * All net pension obligation is owed by Hurley Medical Center.
       ** The required contribution is expressed to the City as a percentage of payroll.




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       City of Flint, Michigan
                                      Note to Required Supplemental Information
                                                       Year Ended June 30, 2013

       Budgetary Information - Annual budgets are adopted on a basis consistent with generally
       accepted accounting principles for the General Fund and special revenue funds. All annual
       appropriations lapse at fiscal year end.
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                                           APPENDIX E

                 FORM OF CONTINUING DISCLOSURE UNDERTAKINGS

                             KAREGNONDI WATER AUTHORITY

          This Continuing Disclosure Undertaking (the “Undertaking”) is executed and delivered
  by the Karegnondi Water Authority, Counties of Genesee, Lapeer and Sanilac, State of Michigan
  (the “Authority”), in connection with the issuance of the Authority’s Water Supply System
  Bonds (Karegnondi Water Pipeline), Series 2014A (the “Bonds”). The Authority covenants and
  agrees for the benefit of the Bondholders, as hereinafter defined, as follows:

         (a) Definitions. The following terms used herein shall have the following meanings:

                        “Audited Financial Statements” means the annual audited financial
                 statement pertaining to the Authority prepared by an individual or firm of
                 independent certified public accountants as required by Act 2, Public Acts of
                 Michigan, 1968, as amended, which presently requires preparation in accordance
                 with generally accepted accounting principles.

                         “Bondholders” shall mean the registered owner of any Bond or any person
                 (a) with the power, directly or indirectly, to vote or consent with respect to, or to
                 dispose of ownership of, any Bond (including any person holding a Bond through
                 a nominee, depository or other intermediary) or (b) treated as the owner of any
                 Bond for federal income tax purposes.

                        “EMMA” shall mean the MSRB’s Electronic Municipal Market Access
                 System or such other system, Internet Web Site, or repository hereafter prescribed
                 by the MSRB for the submission of electronic filings pursuant to the Rule.

                        “MSRB” means the Municipal Securities Rulemaking Board.

                         “Rule” means Rule 15c2-12 promulgated by the SEC pursuant to the
                 Securities Exchange Act of 1934, as amended.

                        “SEC” means the United States Securities and Exchange Commission.

          (b)    Continuing Disclosure. The Authority hereby agrees, in accordance with the
  provisions of the Rule, to provide or cause to be provided to the MSRB through EMMA, on or
  before the last day of the sixth month after the end of its fiscal year, the Audited Financial
  Statements, or in the event audited financial statements are not available, the Authority agrees to
  provide unaudited financial statements and to provide audited financial statements immediately
  after they become available.

         Such annual financial information described above is expected to be provided directly by
  the Authority by specific reference to documents available to the public through EMMA or filed
  with the SEC.


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          If the fiscal year of the Authority is changed, the Authority shall send a notice of such
  change to the MSRB through EMMA, prior to the earlier of the ending date of the fiscal year
  prior to such change or the ending date of the fiscal year as changed.

          (c)     Notice of Failure to Disclose. The Authority agrees to provide or cause to be
  provided, in a timely manner, to the MSRB through EMMA, in an electronic format as
  prescribed by the MSRB, notice of a failure by the Authority to provide the annual financial
  information with respect to the Authority described in subsection (b) above on or prior to the
  dates set forth in subsection (b) above.

         (d)    Occurrence of Events. The Authority agrees to provide or cause to be provided to
  the MSRB through EMMA, in an electronic format as prescribed by the MSRB, in a timely
  manner not in excess of ten business days after the occurrence of the event, notice of the
  occurrence of any of the following events listed in (b)(5)(i)(C) of the Rule with respect to the
  Bonds:

                        (1)    principal and interest payment delinquencies;
                        (2)    non-payment related defaults, if material;
                        (3)    unscheduled draws on debt service reserves reflecting financial
                               difficulties;
                        (4)    unscheduled draws on credit enhancements reflecting financial
                               difficulties;
                        (5)    substitution of credit or liquidity providers, or their failure to
                               perform;
                        (6)    adverse tax opinions, the issuance by the Internal Revenue Service
                               of proposed or final determinations of taxability, Notices of
                               Proposed Issue (IRS Form 5701-TEB) or other material notices or
                               determinations with respect to the tax status of the Bonds, or other
                               material events affecting the tax status of the Bonds;
                        (7)    modifications to rights of holders of the Bonds, if material;
                        (8)    bond calls, if material, and tender offers;
                        (9)    defeasances;
                        (10)   release, substitution, or sale of property securing repayment of the
                               Bonds, if material;
                        (11)   rating changes;
                        (12)   bankruptcy, insolvency, receivership or similar event of the
                               Authority, which is considered to occur when any of the following
                               occur: the appointment of a receiver, fiscal agent or similar officer
                               for the Authority in a proceeding under the U.S. Bankruptcy Code
                               or in any other proceeding under state or federal law in which a
                               court or governmental authority has assumed jurisdiction over
                               substantially all of the assets or business of the Authority, or if
                               such jurisdiction has been assumed by leaving the existing
                               governing body and officials or officers in possession but subject
                               to the supervision and orders of a court or governmental authority,
                               or the entry of an order confirming a plan of reorganization,
                               arrangement or liquidation by a court or governmental authority

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                                having supervision or jurisdiction over substantially all of the
                                assets or business of the Authority;
                        (13)    the consummation of a merger, consolidation, or acquisition
                                involving the Authority or the sale of all or substantially all of the
                                assets of the Authority, other than in the ordinary course of
                                business, the entry into a definitive agreement to undertake such an
                                action or the termination of a definitive agreement relating to any
                                such actions, other than pursuant to its terms, if material; or
                        (14)    appointment of a successor or additional trustee or the change of
                                name of a trustee, if material.

           (e)   Materiality Determined Under Federal Securities Laws. The Authority agrees
  that its determination of whether any event listed in subsection (c) is material shall be made in
  accordance with federal securities laws.

          (f)    Termination of Reporting Obligation. The Authority reserves the right to
  terminate its obligation to provide annual financial information and notices of material events, as
  set forth above, if and when the Authority is no longer an “obligated person” with respect to the
  Bonds within the meaning of the Rule, including upon legal defeasance of all Bonds.

          (g)   Identifying Information. All documents provided to the MSRB through EMMA
  shall be accompanied by the identifying information prescribed by the MSRB.

          (h)    Benefit of Bondholders. The Authority agrees that its undertaking pursuant to the
  Rule set forth in this Undertaking is intended to be for the benefit of the Bondholders and shall
  be enforceable by any Bondholder; provided that, the right to enforce the provisions of this
  Undertaking shall be limited to a right to obtain specific enforcement of the Authority’s
  obligations hereunder and any failure by the Authority to comply with the provisions of this
  Undertaking shall not constitute a default or an event of default with respect to the Bonds.

          (i)     Municipal Advisory Council of the State of Michigan. The Authority shall also
  file by electronic or other means any information or notice required to be filed with the MSRB
  through EMMA pursuant to this Undertaking in a timely manner with the Municipal Advisory
  Council of the State of Michigan.

          IN WITNESS WHEREOF, the Authority has caused this Undertaking to be executed by
  its authorized officer.

                                               KAREGNONDI WATER AUTHORITY
                                               Counties of Genesee, Lapeer and Sanilac
                                               State of Michigan


                                               By:
                                                        Its: _______________________________

  Dated: April 16, 2014

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                                    COUNTY OF GENESEE


          This Continuing Disclosure Undertaking (the “Undertaking”) is executed and delivered
  by the County of Genesee, State of Michigan (the “County”) in connection with the issuance by
  the Karegnondi Water Authority (the “Authority”) of its Water Supply System Bonds
  (Karegnondi Water Pipeline), Series 2014A (the “Bonds”) issued on behalf of the County and the
  City of Flint, County of Genesee, State of Michigan. The County covenants and agrees for the
  benefit of the Bondholders, as hereinafter defined, as follows:

         (a)    Definitions. The following terms used herein shall have the following meanings:

                       “Audited Financial Statements” means the annual audited financial
                statement pertaining to the County prepared by an individual or firm of
                independent certified public accountants as required by Act 2, Public Acts of
                Michigan, 1968, as amended, which presently requires preparation in accordance
                with generally accepted accounting principles.

                        “Bondholders” shall mean the registered owner of any Bond or any person
                (a) with the power, directly or indirectly, to vote or consent with respect to, or to
                dispose of ownership of, any Bond (including any person holding a Bond through
                a nominee, depository or other intermediary) or (b) treated as the owner of any
                Bond for federal income tax purposes.

                       “EMMA” shall mean the MSRB’s Electronic Municipal Market Access
                System or such other system, Internet Web Site, or repository hereafter prescribed
                by the MSRB for the submission of electronic filings pursuant to the Rule.

                       “MSRB” means the Municipal Securities Rulemaking Board.

                        “Rule” means Rule 15c2-12 promulgated by the SEC pursuant to the
                Securities Exchange Act of 1934, as amended.

                       “SEC” means the United States Securities and Exchange Commission.

          (b)    Continuing Disclosure. The County hereby agrees, in accordance with the
  provisions of the Rule, to provide or cause to be provided to the MSRB through EMMA on or
  before the last day of the sixth month after the end of its fiscal year the following annual
  financial information and operating data, commencing with the fiscal year ended September 30,
  2014 in an electronic format as prescribed by the MSRB:

                       (1)     Updates of the numerical financial information and operating data
                included in the official statement of the County relating to the Bonds (the
                “Official Statement”) appearing in the Tables or under the headings in the Official
                Statement as described below:

                       a.      Property Valuations;
                       b.      Major Taxpayers;

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                        c.     Tax Rates;
                        d.     Tax Rate Limitation;
                        e.     Tax Levies and Collections;
                        f.     Revenues from the State of Michigan;
                        g.     Labor Force;
                        h.     Retirement Plans;
                        i.     Debt Statement – Direct Debt; and
                        j.     Legal Debt Margin.

                       (2)    Audited Financial Statements, or in the event audited financial
                statements are not available, the County agrees to provide unaudited financial
                statements and to provide audited financial statements immediately after they
                become available.

                       (3)     Such additional financial information or operating data as may be
                determined by the County and its advisors as desirable or necessary to comply
                with the Rule.

         Such annual financial information and operating data described above are expected to be
  provided directly by the County by specific reference to documents available to the public
  through EMMA or filed with the SEC.

         If the fiscal year of the County is changed, the County shall send a notice of such change
  to the MSRB through EMMA, prior to the earlier of the ending date of the fiscal year prior to
  such change or the ending date of the fiscal year as changed.

          (c)     Notice of Failure to Disclose. The County agrees to provide or cause to be
  provided, in a timely manner, to the MSRB through EMMA, in an electronic format as
  prescribed by the MSRB, notice of a failure by the County to provide the annual financial
  information with respect to the County described in subsection (b) above on or prior to the dates
  set forth in subsection (b) above.

         (d)    Occurrence of Events. The County agrees to provide or cause to be provided to
  the MSRB through EMMA, in an electronic format as prescribed by the MSRB, in a timely
  manner not in excess of ten business days after the occurrence of the event, notice of the
  occurrence of any of the following events listed in (b)(5)(i)(C) of the Rule with respect to the
  Bonds:

                        (1)    principal and interest payment delinquencies;
                        (2)    non-payment related defaults, if material;
                        (3)    unscheduled draws on debt service reserves reflecting financial
                               difficulties;
                        (4)    unscheduled draws on credit enhancements reflecting financial
                               difficulties;
                        (5)    substitution of credit or liquidity providers, or their failure to
                               perform;
                        (6)    adverse tax opinions, the issuance by the Internal Revenue Service
                               of proposed or final determinations of taxability, Notices of
                                                E-5
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                                Proposed Issue (IRS Form 5701-TEB) or other material notices or
                                determinations with respect to the tax status of the Bonds, or other
                                material events affecting the tax status of the Bonds;
                        (7)     modifications to rights of holders of the Bonds, if material;
                        (8)     bond calls, if material, and tender offers;
                        (9)     defeasances;
                        (10)    release, substitution, or sale of property securing repayment of the
                                Bonds, if material;
                        (11)    rating changes;
                        (12)    bankruptcy, insolvency, receivership or similar event of the
                                County, which is considered to occur when any of the following
                                occur: the appointment of a receiver, fiscal agent or similar officer
                                for the County in a proceeding under the U.S. Bankruptcy Code or
                                in any other proceeding under state or federal law in which a court
                                or governmental authority has assumed jurisdiction over
                                substantially all of the assets or business of the County, or if such
                                jurisdiction has been assumed by leaving the existing governing
                                body and officials or officers in possession but subject to the
                                supervision and orders of a court or governmental authority, or the
                                entry of an order confirming a plan of reorganization, arrangement
                                or liquidation by a court or governmental authority having
                                supervision or jurisdiction over substantially all of the assets or
                                business of the County;
                        (13)    the consummation of a merger, consolidation, or acquisition
                                involving the County or the sale of all or substantially all of the
                                assets of the County, other than in the ordinary course of business,
                                the entry into a definitive agreement to undertake such an action or
                                the termination of a definitive agreement relating to any such
                                actions, other than pursuant to its terms, if material; or
                        (14)    appointment of a successor or additional trustee or the change of
                                name of a trustee, if material.

          (e)    Materiality Determined Under Federal Securities Laws. The County agrees that
  its determination of whether any event listed in subsection (d) is material shall be made in
  accordance with federal securities laws.

          (f)     Termination of Reporting Obligation. The County reserves the right to terminate
  its obligation to provide annual financial information and notices of material events, as set forth
  above, if and when the County is no longer an “obligated person” with respect to the Bonds
  within the meaning of the Rule, including upon legal defeasance of all Bonds.

          (g)   Identifying Information. All documents provided to the MSRB through EMMA
  shall be accompanied by the identifying information prescribed by the MSRB.

         (h)     Benefit of Bondholders. The County agrees that its undertaking pursuant to the
  Rule set forth in this Section is intended to be for the benefit of the Bondholders and shall be
  enforceable by any Bondholder; provided that, the right to enforce the provisions of this
  undertaking shall be limited to a right to obtain specific enforcement of the County’s obligations
                                                  E-6
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  hereunder and any failure by the County to comply with the provisions of this undertaking shall
  not constitute a default or an event of default with respect to the Bonds.

          (i)     Amendments to the Undertaking. Amendments may be made in the specific types
  of information provided or the format of the presentation of such information to the extent
  deemed necessary or appropriate in the judgment of the County, provided that the County agrees
  that any such amendment will be adopted procedurally and substantively in a manner consistent
  with the Rule, including any interpretations thereof by the SEC, which, to the extent applicable,
  are incorporated herein by reference. Such interpretations currently include the requirements that
  (a) the amendment may only be made in connection with a change in circumstances that arises
  from a change in legal requirements, change in law, or change in the identity, nature, or status of
  the County or the type of activities conducted thereby, (b) the undertaking, as amended, would
  have complied with the requirements of the Rule at the time of the primary offering of the Bonds,
  after taking into account any amendments or interpretations of the Rule, as well as any change in
  circumstances, and (c) the amendment does not materially impair the interests of Bondholders, as
  determined by parties unaffiliated with the County (such as independent legal counsel), but such
  interpretations may be changed in the future. If the accounting principles to be followed by the
  County in the preparing of the Audited Financial Statements are modified, the annual financial
  information for the year in which the change is made shall present a comparison between the
  financial statements as prepared on the prior basis and the statements as prepared on the new
  basis, and otherwise shall comply with the requirements of the Rule, in order to provide
  information to investors to enable them to evaluate the ability of the County to meet its
  obligations. A notice of the change in accounting principles shall be sent to the MSRB through
  EMMA.

         (j)     Municipal Advisory Council of the State of Michigan. The County shall also file
  by electronic or other means any information or notice required to be filed with the MSRB
  through EMMA pursuant to this Undertaking in a timely manner with the Municipal Advisory
  Council of the State of Michigan.

                                        COUNTY OF GENESEE
                                        State of Michigan


                                        By:    __________________________________________
                                                     Its:  _____________________________


  Dated: April 16, 2014




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                                         CITY OF FLINT


         This Continuing Disclosure Undertaking (the “Undertaking”) is executed and delivered
  by the City of Flint, County of Genesee, State of Michigan (the “City”) in connection with the
  issuance by the Karegnondi Water Authority (the “Authority”) of its Water Supply System
  Bonds (Karegnondi Water Pipeline), Series 2014A (the “Bonds”) issued on behalf of the City
  and the County of Genesee, State of Michigan. The City covenants and agrees for the benefit of
  the Bondholders, as hereinafter defined, as follows:

         (a)    Definitions. The following terms used herein shall have the following meanings:

                        “Audited Financial Statements” means the annual audited financial
                statement pertaining to the City prepared by an individual or firm of independent
                certified public accountants as required by Act 2, Public Acts of Michigan, 1968,
                as amended, which presently requires preparation in accordance with generally
                accepted accounting principles.

                        “Bondholders” shall mean the registered owner of any Bond or any person
                (a) with the power, directly or indirectly, to vote or consent with respect to, or to
                dispose of ownership of, any Bond (including any person holding a Bond through
                a nominee, depository or other intermediary) or (b) treated as the owner of any
                Bond for federal income tax purposes.

                       “EMMA” shall mean the MSRB’s Electronic Municipal Market Access
                System or such other system, Internet Web Site, or repository hereafter prescribed
                by the MSRB for the submission of electronic filings pursuant to the Rule.

                       “MSRB” means the Municipal Securities Rulemaking Board.

                        “Rule” means Rule 15c2-12 promulgated by the SEC pursuant to the
                Securities Exchange Act of 1934, as amended.

                       “SEC” means the United States Securities and Exchange Commission.

           (b)    Continuing Disclosure. The City hereby agrees, in accordance with the
  provisions of the Rule, to provide or cause to be provided to the MSRB through EMMA on or
  before the last day of the sixth month after the end of its fiscal year the following annual
  financial information and operating data, commencing with the fiscal year ending June 30, 2014
  in an electronic format as prescribed by the MSRB:

                       (1)     Updates of the numerical financial information and operating data
                included in the official statement of the City relating to the Bonds (the “Official
                Statement”) appearing in the Tables or under the headings in the Official
                Statement as described below:

                       a.      Property Valuations;
                       b.      Major Taxpayers;

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                         c.     Tax Rates (Per $1,000 of Valuation);
                         d.     Tax Rate Limitation;
                         e.     Tax Levies and Collections;
                         f.     Revenues from the State of Michigan;
                         g.     City Income Tax;
                         g.     Labor Force;
                         h.     Pension Fund;
                         i.     Debt Statement – Direct Debt; and
                         j.     Legal Debt Margin.

                        (2)    Audited Financial Statements, or in the event audited financial
                 statements are not available, the City agrees to provide unaudited financial
                 statements and to provide audited financial statements immediately after they
                 become available.

                        (3)    Such additional financial information or operating data as may be
                 determined by the City and its advisors as desirable or necessary to comply with
                 the Rule.

         Such annual financial information and operating data described above are expected to be
  provided directly by the City by specific reference to documents available to the public through
  EMMA or filed with the SEC.

         If the fiscal year of the City is changed, the City shall send a notice of such change to the
  MSRB through EMMA, prior to the earlier of the ending date of the fiscal year prior to such
  change or the ending date of the fiscal year as changed.

          (c)    Notice of Failure to Disclose. The City agrees to provide or cause to be provided,
  in a timely manner, to the MSRB through EMMA, in an electronic format as prescribed by the
  MSRB, notice of a failure by the City to provide the annual financial information with respect to
  the City described in subsection (b) above on or prior to the dates set forth in subsection (b)
  above.

          (d)     Occurrence of Events. The City agrees to provide or cause to be provided to the
  MSRB through EMMA, in an electronic format as prescribed by the MSRB, in a timely manner
  not in excess of ten business days after the occurrence of the event, notice of the occurrence of
  any of the following events listed in (b)(5)(i)(C) of the Rule with respect to the Bonds:

                         (1)    principal and interest payment delinquencies;
                         (2)    non-payment related defaults, if material;
                         (3)    unscheduled draws on debt service reserves reflecting financial
                                difficulties;
                         (4)    unscheduled draws on credit enhancements reflecting financial
                                difficulties;
                         (5)    substitution of credit or liquidity providers, or their failure to
                                perform;
                         (6)    adverse tax opinions, the issuance by the Internal Revenue Service
                                of proposed or final determinations of taxability, Notices of
                                                  E-9
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                               Proposed Issue (IRS Form 5701-TEB) or other material notices or
                               determinations with respect to the tax status of the Bonds, or other
                               material events affecting the tax status of the Bonds;
                        (7)    modifications to rights of holders of the Bonds, if material;
                        (8)    bond calls, if material, and tender offers;
                        (9)    defeasances;
                        (10)   release, substitution, or sale of property securing repayment of the
                               Bonds, if material;
                        (11)   rating changes;
                        (12)   bankruptcy, insolvency, receivership or similar event of the City,
                               which is considered to occur when any of the following occur: the
                               appointment of a receiver, fiscal agent or similar officer for the
                               City in a proceeding under the U.S. Bankruptcy Code or in any
                               other proceeding under state or federal law in which a court or
                               governmental authority has assumed jurisdiction over substantially
                               all of the assets or business of the City, or if such jurisdiction has
                               been assumed by leaving the existing governing body and officials
                               or officers in possession but subject to the supervision and orders
                               of a court or governmental authority, or the entry of an order
                               confirming a plan of reorganization, arrangement or liquidation by
                               a court or governmental authority having supervision or
                               jurisdiction over substantially all of the assets or business of the
                               City;
                        (13)   the consummation of a merger, consolidation, or acquisition
                               involving the City or the sale of all or substantially all of the assets
                               of the City, other than in the ordinary course of business, the entry
                               into a definitive agreement to undertake such an action or the
                               termination of a definitive agreement relating to any such actions,
                               other than pursuant to its terms, if material; or
                        (14)   appointment of a successor or additional trustee or the change of
                               name of a trustee, if material.

         (e)    Materiality Determined Under Federal Securities Laws. The City agrees that its
  determination of whether any event listed in subsection (d) is material shall be made in
  accordance with federal securities laws.

          (f)    Termination of Reporting Obligation. The City reserves the right to terminate its
  obligation to provide annual financial information and notices of material events, as set forth
  above, if and when the City is no longer an “obligated person” with respect to the Bonds within
  the meaning of the Rule, including upon legal defeasance of all Bonds.

          (g)   Identifying Information. All documents provided to the MSRB through EMMA
  shall be accompanied by the identifying information prescribed by the MSRB.

          (h)    Benefit of Bondholders. The City agrees that its undertaking pursuant to the Rule
  set forth in this Section is intended to be for the benefit of the Bondholders and shall be
  enforceable by any Bondholder; provided that, the right to enforce the provisions of this
  undertaking shall be limited to a right to obtain specific enforcement of the City’s obligations
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  hereunder and any failure by the City to comply with the provisions of this undertaking shall not
  constitute a default or an event of default with respect to the Bonds.

          (i)     Amendments to the Undertaking. Amendments may be made in the specific types
  of information provided or the format of the presentation of such information to the extent
  deemed necessary or appropriate in the judgment of the City, provided that the City agrees that
  any such amendment will be adopted procedurally and substantively in a manner consistent with
  the Rule, including any interpretations thereof by the SEC, which, to the extent applicable, are
  incorporated herein by reference. Such interpretations currently include the requirements that (a)
  the amendment may only be made in connection with a change in circumstances that arises from
  a change in legal requirements, change in law, or change in the identity, nature, or status of the
  City or the type of activities conducted thereby, (b) the undertaking, as amended, would have
  complied with the requirements of the Rule at the time of the primary offering of the Bonds, after
  taking into account any amendments or interpretations of the Rule, as well as any change in
  circumstances, and (c) the amendment does not materially impair the interests of Bondholders, as
  determined by parties unaffiliated with the City (such as independent legal counsel), but such
  interpretations may be changed in the future. If the accounting principles to be followed by the
  City in the preparing of the Audited Financial Statements are modified, the annual financial
  information for the year in which the change is made shall present a comparison between the
  financial statements as prepared on the prior basis and the statements as prepared on the new
  basis, and otherwise shall comply with the requirements of the Rule, in order to provide
  information to investors to enable them to evaluate the ability of the City to meet its obligations.
  A notice of the change in accounting principles shall be sent to the MSRB through EMMA.

          (j)    Municipal Advisory Council of the State of Michigan. The City shall also file by
  electronic or other means any information or notice required to be filed with the MSRB through
  EMMA pursuant to this Undertaking in a timely manner with the Municipal Advisory Council of
  the State of Michigan.

                                        CITY OF FLINT
                                        County of Genesee
                                        State of Michigan


                                        By:     __________________________________________
                                                      Its:  _____________________________


  Dated: April 16, 2014




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                                              APPENDIX F

                                 FORM OF APPROVING OPINION


  Karegnondi Water Authority
  Counties of Genesee, Lapeer and Sanilac
  State of Michigan


         We have acted as bond counsel to the Karegnondi Water Authority, Counties of Genesee,
  Lapeer and Sanilac, State of Michigan (the “Issuer”) in connection with the issuance by the Issuer of
  bonds in the aggregate principal sum of $220,500,000 designated Water Supply System Bonds
  (Karegnondi Water Pipeline), Series 2014A (the “Bonds”). In such capacity, we have examined such
  law and the transcript of proceedings relating to the issuance of the Bonds and such other
  proceedings, certifications and documents as we have deemed necessary to render this opinion.

           The Bonds are in fully-registered form in the denomination of $5,000 each or multiples
  thereof, numbered in order of registration, bearing original issue date of April 16, 2014, payable as to
  principal and interest as provided in the Bonds, subject to redemption prior to maturity in the manner,
  at the times and at the prices specified in the Bonds.

          The Bonds are issued under the provisions of Act 233, Public Acts of Michigan, 1955, as
  amended, in anticipation of and are payable as to both principal and interest solely from the proceeds
  of certain specified contractual payments to be made to the Issuer by the County of Genesee
  (“Genesee”) and the City of Flint, County of Genesee (“Flint,” and together with Genesee, the “Local
  Units”), pursuant to a certain contract referred to in the Bonds (the “Contract”). The Issuer has
  pledged all of such contractual payments for the payment of the principal of and interest on the
  Bonds.

         As to questions of fact material to our opinion, we have relied on the certified proceedings
  and other certifications of public officials and others furnished to us.

          Based upon the foregoing, we are of the opinion that, under existing law:

         1.      The Bonds have been duly authorized and executed by the Issuer and are valid and
  binding obligations of the Issuer, payable as to both principal and interest solely from moneys to be
  paid under the Contract.

           2.      The Contract is a valid and binding obligation of the Issuer and the Local Units. The
  Local Units have each pledged their full faith and credit for the payment of such moneys to the Issuer
  as set out in the Contract. Genesee’s obligations under the Contract to which Genesee has pledged its
  full faith and credit include the requirement to make all payments that Flint fails to make to the Issuer
  under the Contract as described in Exhibit B of the Contract. The full faith and credit pledges of the
  Local Units are limited tax general obligations of the Local Units, and the Local Units are required to
  pay their commitments with respect to the Bonds as a first budget obligation from their general funds,
  including the collection of any ad valorem taxes which they are authorized to levy. However, the
  ability of the Local Units to levy such taxes is subject to applicable constitutional, statutory, and
  charter tax rate limitations.

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          3.      The interest on the Bonds (a) is excludable from gross income for federal income tax
  purposes and (b) is not an item of tax preference for purposes of the federal alternative minimum tax
  imposed on individuals and corporations. It should be noted, however, that with respect to
  corporations (as defined for federal income tax purposes), the interest is taken into account in
  determining adjusted current earnings for the purpose of computing the alternative minimum tax
  imposed on such corporations. Further, the Bonds and the interest thereon are exempt from all
  taxation by the State of Michigan or by any taxing authority within the State of Michigan except
  inheritance and estate taxes and taxes on gains realized from the sale, payment or other disposition
  thereof. The opinions set forth in this paragraph are subject to the condition that the Issuer and the
  Local Units comply with all requirements of the Internal Revenue Code of 1986, as amended, that
  must be satisfied subsequent to the issuance of the Bonds in order that interest thereon be (or
  continue to be) excludable from gross income for federal and Michigan income tax purposes. The
  Issuer and the Local Units have covenanted to comply with all such requirements. Failure to comply
  with certain of such requirements could cause the interest on the Bonds to be included in gross
  income retroactively to the date of issuance of the Bonds.

          Except as stated in paragraph 3 above, we express no opinion regarding other federal or state
  tax consequences arising with respect to the Bonds and the interest thereon.

          The rights or remedies of bondholders may be affected by bankruptcy, insolvency, fraudulent
  conveyance or other laws affecting creditors’ rights generally, now existing or hereafter enacted, and
  by the application of general principles of equity, including those relating to equitable subordination.

          This opinion is given as of the date hereof, and we assume no obligation to revise or
  supplement this opinion to reflect any facts or circumstances that may hereafter come to our
  attention, or any changes in law that may hereafter occur.


                                         Very truly yours,

                                           MILLER, CANFIELD, PADDOCK AND STONE, P.L.C.




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                                            APPENDIX G

                                 BOOK-ENTRY ONLY SYSTEM

  General

          The information under “General” in this Appendix G has been furnished by The
  Depository Trust Company, New York, New York (“DTC”). No representation is made by the
  Issuer or the Transfer Agent as to the completeness or accuracy of such information or as to the
  absence of material adverse changes in such information subsequent to the date hereof. No
  attempt has been made by the Issuer or the Transfer Agent to determine whether DTC is or will
  be financially or otherwise capable of fulfilling its obligations. Neither the Issuer nor the
  Transfer Agent will have any responsibility or obligation to Direct Participants, Indirect
  Participants (both as defined below) or the persons for which they act as nominees with respect
  to the Bonds, or for any principal, premium, if any, or interest payment thereof.

          DTC will act as securities depository for the Bonds. The Bonds will be issued as fully-
  registered securities registered in the name of Cede & Co. (DTC’s partnership nominee) or such
  other name as may be requested by an authorized representative of DTC. One fully-registered
  Bond certificate will be issued for each maturity of the Bonds, each in the aggregate principal
  amount of such maturity and will be deposited with DTC.

          DTC, the world’s largest depository, is a limited-purpose trust company organized under
  the New York Banking Law, a “banking organization” within the meaning of the New York
  Banking Law, a member of the Federal Reserve System, a “clearing corporation” within the
  meaning of the New York Uniform Commercial Code and a “clearing agency” registered
  pursuant to the provisions of Section 17A of the Securities Exchange Act of 1934. DTC holds
  and provides asset servicing for over 3.5 million issues of U.S. and non-U.S. equity, corporate
  and municipal debt issues and money market instruments (from over 100 countries) that DTC’s
  participants (“Direct Participants”) deposit with DTC. DTC also facilitates the post-trade
  settlement among Direct Participants of sales and other securities transactions in deposited
  securities through electronic computerized book-entry transfers and pledges between Direct
  Participants’ accounts. This eliminates the need for physical movement of securities certificates.
  Direct Participants include both U.S. and non-U.S. securities brokers and dealers, banks, trust
  companies, clearing corporations and certain other organizations. DTC is a wholly-owned
  subsidiary of The Depository Trust & Clearing Corporation (“DTCC”). DTCC is the holding
  company for DTC, National Securities Clearing Corporation and Fixed Income Clearing
  Corporation, all of which are registered clearing agencies. DTCC is owned by the users of its
  regulated subsidiaries. Access to the DTC system is also available to others such as both U.S.
  and non-U.S. securities brokers and dealers, banks, trust companies and clearing corporations
  that clear through or maintain a custodial relationship with a Direct Participant, either directly or
  indirectly (“Indirect Participants”). DTC has a Standard & Poor’s rating of AA+. The DTC Rules
  applicable to its Participants are on file with the Securities and Exchange Commission. More
  information about DTC can be found at www.dtcc.com.

          Purchases of Bonds under the DTC system must be made by or through Direct
  Participants, which will receive a credit for the Bonds on DTC’s records. The ownership interest
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  of each actual purchaser of each Bond (“Beneficial Owner”) is in turn to be recorded on the
  Direct and Indirect Participants’ records. Beneficial Owners will not receive written confirmation
  from DTC of their purchase. Beneficial Owners are, however, expected to receive written
  confirmations providing details of the transaction, as well as periodic statements of their
  holdings, from the Direct or Indirect Participant through which the Beneficial Owner entered into
  the transaction. Transfers of ownership interests in the Bonds are to be accomplished by entries
  made on the books of Direct and Indirect Participants acting on behalf of Beneficial Owners.
  Beneficial Owners will not receive certificates representing their ownership interests in the
  Bonds, except in the event that use of the book-entry system for the Bonds is discontinued.

          To facilitate subsequent transfers, all Bonds deposited by Direct Participants with DTC
  are registered in the name of DTC’s partnership nominee, Cede & Co. or such other name as may
  be requested by an authorized representative of DTC. The deposit of Bonds with DTC and their
  registration in the name of Cede & Co. or such other nominee do not affect any change in
  beneficial ownership. DTC has no knowledge of the actual Beneficial Owners of the Bonds;
  DTC’s records reflect only the identity of the Direct Participants to whose accounts such Bonds
  are credited, which may or may not be the Beneficial Owners. The Direct and Indirect
  Participants will remain responsible for keeping account of their holdings on behalf of their
  customers.

          Conveyance of notices and other communications by DTC to Direct Participants, by
  Direct Participants to Indirect Participants and by Direct Participants and Indirect Participants to
  Beneficial Owners will be governed by arrangements among them, subject to any statutory or
  regulatory requirements as may be in effect from time to time. Beneficial Owners of Bonds may
  wish to take certain steps to augment the transmission to them of notices of significant events
  with respect to the Bonds, such as redemptions, tenders, defaults and proposed amendments to
  the Bond documents. For example, Beneficial Owners of Bonds may wish to ascertain that the
  nominee holding the Bonds for their benefit has agreed to obtain and transmit notices to
  Beneficial Owners. In the alternative, Beneficial Owners may wish to provide their names and
  addresses to the registrar and request that copies of the notices be provided directly to them.

          Redemption notices shall be sent to DTC. If less than all of the Bonds within a maturity
  are being redeemed, DTC’s practice is to determine by lot the amount of the interest of each
  Direct Participant in such maturity to be redeemed.

          Neither DTC nor Cede & Co. (nor such other DTC nominee) will consent or vote with
  respect to the Bonds unless authorized by a Direct Participant in accordance with DTC’s MMI
  Procedures. Under its usual procedures, DTC mails an Omnibus Proxy to the Issuer as soon as
  possible after the record date. The Omnibus Proxy assigns Cede & Co.’s consenting or voting
  rights to those Direct Participants to whose accounts the Bonds are credited on the record date
  (identified in a listing attached to the Omnibus Proxy).

         Payments of principal, interest and redemption amounts, if any, on the Bonds will be
  made to Cede & Co., or such other nominee as may be requested by an authorized representative
  of DTC. DTC’s practice is to credit Direct Participants’ accounts, upon DTC’s receipt of funds
  and corresponding detail information from the Issuer or Transfer Agent on payable date in
  accordance with their respective holdings shown on DTC’s records. Payments by Participants to
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  Beneficial Owners will be governed by standing instructions and customary practices, as is the
  case with securities held for the accounts of customers in bearer form or registered in “street
  name,” and will be the responsibility of such Participant and not of DTC (nor its nominee),
  Transfer Agent, or Issuer, subject to any statutory or regulatory requirements as may be in effect
  from time to time. Payments of principal, interest and redemption amounts, if any, to Cede &
  Co. (or such other nominee as may be requested by an authorized representative of DTC) are the
  responsibility of the Issuer or Transfer Agent, disbursement of such payments to Direct
  Participants will be the responsibility of DTC and disbursement of such payments to the
  Beneficial Owners will be the responsibility of Direct and Indirect Participants.

          DTC may discontinue providing its services as securities depository with respect to the
  Bonds at any time by giving reasonable notice to the Issuer or Transfer Agent. Under such
  circumstances, in the event that a successor securities depository is not obtained, Bond
  certificates are required to be printed and delivered.

          The Issuer may decide to discontinue use of the system of book-entry-only transfers
  through DTC (or a successor securities depository). In that event, Bond certificates will be
  printed and delivered to DTC.

         The information in this section concerning DTC and DTC’s book-entry-only system has
  been obtained from sources that the Issuer believes to be reliable, but the Issuer takes no
  responsibility for the accuracy thereof.

       THE ISSUER AND THE TRANSFER AGENT CANNOT AND DO NOT GIVE ANY
  ASSURANCES THAT DTC, THE DIRECT PARTICIPANTS OR THE INDIRECT
  PARTICIPANTS WILL DISTRIBUTE TO THE BENEFICIAL OWNERS OF THE BONDS (i)
  PAYMENTS OF PRINCIPAL OF OR INTEREST AND PREMIUM, IF ANY, ON THE
  BONDS, (ii) ANY DOCUMENT REPRESENTING OR CONFIRMING BENEFICIAL
  OWNERSHIP INTERESTS IN BONDS, OR (iii) REDEMPTION OR OTHER NOTICES
  SENT TO DTC OR CEDE & CO., ITS NOMINEE, AS THE REGISTERED OWNER OF THE
  BONDS, OR THAT THEY WILL DO SO ON A TIMELY BASIS OR THAT DTC, DIRECT
  PARTICIPANTS OR INDIRECT PARTICIPANTS WILL SERVE AND ACT IN THE
  MANNER DESCRIBED IN THIS OFFICIAL STATEMENT. THE CURRENT “RULES”
  APPLICABLE TO DTC ARE ON FILE WITH THE SECURITIES AND EXCHANGE
  COMMISSION, AND THE CURRENT “PROCEDURES” OF DTC TO BE FOLLOWED IN
  DEALING WITH THE PARTICIPANTS ARE ON FILE WITH DTC.

       NEITHER THE ISSUER NOR THE TRANSFER AGENT WILL HAVE ANY
  RESPONSIBILITY OR OBLIGATION TO ANY DIRECT PARTICIPANT, INDIRECT
  PARTICIPANT OR ANY BENEFICIAL OWNER OR ANY OTHER PERSON WITH
  RESPECT TO: (1) THE BONDS; (2) THE ACCURACY OF ANY RECORDS MAINTAINED
  BY DTC OR ANY DIRECT PARTICIPANT OR INDIRECT PARTICIPANT; (3) THE
  PAYMENT BY DTC TO ANY PARTICIPANT, OR BY ANY DIRECT PARTICIPANT OR
  INDIRECT PARTICIPANT TO ANY BENEFICIAL OWNER OF ANY AMOUNT DUE
  WITH RESPECT TO THE PRINCIPAL OF, PREMIUM, IF ANY, OR INTEREST ON THE
  BONDS; (4) THE DELIVERY BY DTC TO ANY PARTICIPANT, OR BY ANY DIRECT
  PARTICIPANT OR INDIRECT PARTICIPANT TO ANY BENEFICIAL OWNER OF ANY
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  NOTICE WHICH IS REQUIRED OR PERMITTED UNDER THE TERMS OF THE
  RESOLUTION TO BE GIVEN TO BONDHOLDERS; (5) THE SELECTION OF THE
  BENEFICIAL OWNERS TO RECEIVE PAYMENT IN THE EVENT OF ANY PARTIAL
  REDEMPTION OF THE BONDS; OR (6) ANY CONSENT GIVEN OR OTHER ACTION
  TAKEN BY DTC AS BONDHOLDER.

  Transfer Agent and Bond Registration

          Principal and interest shall be payable and the Bonds shall be registered and transferred
  as described under the heading “General” in this Appendix G until the book-entry only system is
  discontinued. The Issuer has appointed the Transfer Agent shown on the cover. In the event the
  book-entry only system is discontinued, the Transfer Agent will also act as bond registrar and
  transfer agent.

  Transfer Outside Book-Entry-Only System

          In the event that the book-entry-only system is discontinued, the following provisions
  would apply to the Bonds. The Transfer Agent shall keep the registration books for the Bonds
  (the “Bond Register”) at its corporate trust office. Subject to the further conditions contained in
  the Resolution, the Bonds may be transferred or exchanged for one or more Bonds in different
  authorized denominations upon surrender thereof at the corporate trust office of the Transfer
  Agent by the registered owners or their duly authorized attorneys; upon surrender of any Bonds
  to be transferred or exchanged, the Transfer Agent shall record the transfer or exchange in the
  Bond Register and shall authenticate replacement bonds in authorized denominations; during the
  15 days immediately preceding the date of mailing of any notice of redemption or any time
  following the mailing of any notice of redemption, the Transfer Agent shall not be required to
  effect or register the transfer or exchange of any Bond which has been selected for such
  redemption, except the Bonds properly surrendered for partial redemption may be exchanged for
  new Bonds in authorized denominations equal in the aggregate to the unredeemed portion; the
  Issuer and Transfer Agent shall be entitled to treat the registered owners of the Bonds, as their
  names appear in the Bond Register as of the appropriate dates, as the owners of such Bonds for
  all purposes under the Resolution. No transfer or exchange made other than as described above
  in the Resolution shall be valid or effective for any purposes under the Resolution.




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                                  APPENDIX H

                                 THE CONTRACT
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                 KAREGNONDI WATER AUTHORITY FINANCING CONTRACT



         THIS CONTRACT, dated as of August 1,2013 , by and among the Karegnondi Water Authority,
  a municipal authority and public body corporate of the State of Michigan (hereinafter referred to as the
  "Authority"), the City of Flint in the County of Genesee and the County of Genesee (collectively, the
  "Local Units" and each a "Local Unit").

                                              WITNESSETH:

         WHEREAS, the Authority has been incorporated under the provisions of Act No. 233, Public
  Acts of Michigan, 1955, as amended (hereinafter referred to as "Act 233"), for the purposes set forth in
  Act 233; and

         WHEREAS , the Authority will acquire, construct and operate a water supply system to be
  known as the Karegnondi Water Supply System that provides untreated water to the Local Units, each of
  which is a constituent municipality of the Authority; and

          WHEREAS, it is immediately necessary and imperative for the public health and welfare of the
  present and future residents of each of the Local Units that a certain water supply system, as more fully
  described on Exhibit A hereto, together with all necessary interests in land, appurtenances and
  attachments thereto (the "System") be acquired, installed and constructed; and

          WHEREAS, plans and an estimate of cost of the System have been prepared by the Authority's
  consulting engineers, Wade Trim (the "Consulting Engineers"), which said estimate of aggregate cost
  totals an amount not to exceed $300,000,000; and

          WHEREAS, each of the Local Units is desirous of having the Authority acquire and own the
  System in order to continue to operate the System in order to furnish the Local Units with untreated raw
  water; and

          WHEREAS , the parties hereto have determined that the System is essential to the general health,
  safety and welfare of each of the Local Units; and

          WHEREAS, the Authority and each of the Local Units are each agreeable to the execution of
  this Contract by and among themselves which provides, among other things, for the financing of all or a
  portion of the cost of the System; and

         WHEREAS, this Contract contemplates the issuance of bonds in one or more series by the
  Authority to pay all or part of the costs of the System; and

         WHEREAS, each of the Local Units has or will approve and authorize the execution of this
  Contract by resolution of its governing body; and




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         WHEREAS , each of the Local Units has published or will publish, individually or jointly, a
  notice of intention to enter into this Contract in a newspaper of general circulation in the territory
  encompassed by each Local Unit; and

          WHEREAS, this Contract will become effective for each Local Unit upon expiration of a period
  of forty-five (45) days following publication by each Local Unit of its notice of intention without filing
  of a petition for referendum on the question of its entering into this Contract, or if such referendum
  election be required, then upon approval by the qualified electors of the Local Unit.

      NOW, THEREFORE, IN CONSIDERATION OF THE PREMISES AND THE COVENANTS
  MADE HEREIN, THE PARTIES HERETO AGREE AS FOLLOWS:

          SECTION 1. The Authority and the Local Units hereby approve the acquisition, construction
  and operation of System, together with all necessary interests in land, appurtenances and attachments
  thereto.

          SECTION 2. Each of the Local Units hereby consents to the use by the Authority and any
  parties contracting with the Authority of the public streets, alleys, lands and rights-of-way in each Local
  Unit for the purpose of constructing, operating and maintaining the System including any improvements,
  enlargements and extensions thereto.

         SECTION 3. The System is designed to provide and transport untreated raw water to each of
  the Local Units and the System is immediately necessary to protect and preserve the public health.

          SECTION 4. The Authority and each of the Local Units hereby approve and confirm the plans
  for the System prepared by the Consulting Engineers and the total estimated cost thereof in the sum of
  not to exceed $300,000,000. Said cost estimate includes all surveys, plans, specifications, acquisition of
  property for rights-of-way, physical construction necessary to acquire and construct the System, the
  acquisition of all materials, machinery and necessary equipment, and all engineering, engineering
  supervision, administrative, legal and financing expenses necessary in connection with the acquisition
  and construction of the System and the financing thereof.

           SECTION 5. The Authority shall not enter into any final contract or contracts for the acquisition
  and construction of the System if such contract price or prices will be such as to cause the actual cost
  thereof to exceed the estimated cost as approved in Section 4 of this Contract unless the Authority has
  sufficient funds to cover such excess, or, each of the Local Units, by resolution of its respective
  legislative body, (a) approves said increased total cost, and (b) agrees to pay such excess over the
  estimated cost, either in cash or by specifically authorizing the maximum principal amount of bonds to
  be issued, as provided in Sections 9 and 14 of this Contract, to be increased to an amount which will
  provide sufficient funds to meet said increased cost, and approves a similar increase in the installment
  obligations of each Local Unit, if any, pledged under the terms of this Contract to the payment of such
  bonds.

         SECTION 6. The System shall be acquired and constructed by the Authority substantially in
  accordance with the plans and specifications therefor approved by this Contract. All matters relating to
  engineering plans and specifications, together with the making and letting of final construction
  contracts, the approval of work and materials thereunder, and construction supervision, shall be in the




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   control of the Authority. All acqUlSll10n of sites and rights-of-way, if any, shall be done by the
   Authority. Each Local Unit's share of the costs of such acquisition in each Local Unit, if any, shall be
   paid from the Local Unit's share of bond proceeds and, in addition, any costs incurred by any Local Unit
   in connection with the acquisition or construction of the System, including, but not limited to,
   engineering expenses, shall be promptly reimbursed to the Local Unit by the Authority from the
   proceeds of the Authority's Bonds with the approval of the Authority board.

          SECTION 7. The Authority shall operate, maintain and administer the System for and on behalf
  of the Local Units. The System shall be maintained in good condition and repair. The Authority shall
  provide insurance as part of its obligation to operate the System. The Authority will furnish reports to
  the Local Units at periodic intervals corresponding with the reporting periods of the Local Units in detail
  sufficient to inform the Local Units of the operations of the System and to permit the Local Units to
  meet their financing requirements hereunder.

          SECTION 8. To provide for the construction and financing of the System in accordance with the
  provisions of Act 233, the Authority shall take the following steps:

                  (a)     The Authority will take steps to adopt a resolution or resolutions providing for the
          issuance of its bonds in one or more series in the principal amount of not to exceed $300,000,000
          (except as otherwise authorized pursuant to Section 5 of this Contract) to finance all or part of
          the costs of the System. Said bonds shall mature serially or be subject to mandatory sinking fund
          redemption as authorized by law, and shall be secured by the contractual obl igations of each
          Local Unit in this Contract. After due adoption of the resolution or resolutions, the Authority
          will take all necessary legal procedures and steps necessary to effectuate the sale or sales and
          delivery or deliveries of said bonds.

                  (b)     The Authority shall take all steps necessary to take bids for and enter into and
          execute final acquisition and construction contracts for the acquisition and construction of the
          System as specified and approved hereinbefore in this Contract, in accordance with the plans and
          specifications therefor based on the plans as approved by this Contract.

                 (c)     The Authority will require and procure from the contractor or contractors
          undertaking the actual construction and acquisition of the System necessary and proper bonds to
          guarantee the performance of the contract or contracts and such labor and material bonds as may
          be required by law.

                 (d)     The Authority, upon receipt of the proceeds of sale of each series of bonds, will
          comply with all provisions and requirements provided for in the resolution authorizing the
          issuance of such series of bonds and this Contract relative to the disposition and use of the
          proceeds of sale of such series of bonds.

                 (e)     The Authority may temporarily invest any bond proceeds or other funds held by it
         for the benefit of each Local Unit as permitted by law and investment income shall accrue to and
         follow the fund producing such income. The Authority shall not, however, invest, reinvest or
         accumulate any moneys deemed to be proceeds of the bonds pursuant to § 148 of the Internal
         Revenue Code of 1986, as amended, and the applicable regulations thereunder (the "Code"), in
         such a manner as to cause the bonds to be "arbitrage bonds" within the meaning of Code §




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          103(b)(2) and §148, or otherwise as may jeopardize the tax status of the bonds.

          SECTION 9. Each Local Unit irrevocably covenants and agrees to pay to the Authority its
   Local Unit share of each series of bonds to be issued by the Authority pursuant to this Contract. The
   share of each Local Unit shall be determined as set forth on Exhibit B hereto.

          The cost of the System to be financed with the issuance of bonds of the Authority in the
  aggregate principal amount of not to exceed $300,000,000 shall be paid in annual instal lments on the
  dates and in the amounts as established in the Authority's bond authorizing resolution.

         Each Local Unit covenants that it will make or cause to be made its payments as required by this
  Contract not less than 30 days prior to the dates on which the Authority is required to make payments on
  the bonds described herein to the transfer agent for the bonds.

          It is understood and agreed that the bonds of the Authority hereinbefore referred to will be issued
  in anticipation of the above contractual obligation, with principal maturities on the dates established by
  the Authority corresponding to the principal amount of the installments then coming due, and there shall
  also be paid in addition to said principal installments, on such dates as shall be determined by the
  Authority, commencing on such date as determined by the Authority, as accrued interest on the principal
  amount remaining unpaid, an amount sufficient to pay all interest at an interest rate not to exceed ten
  percent (10%) per annum, due on the next succeeding interest payment date on the bonds from time to
  time outstanding.

          It is further understood and agreed that the bonds of the Authority may be secured by a debt
  service reserve fund or funds to provide additional security for the timely payment thereof if the
  Authority determines, in consultation with its financial advisor, that the provision of such debt service
  reserve fund or funds is advisable. If the bonds of the Authority are secured by a debt service reserve
  fund or funds, each Local Unit covenants and agrees to provide for the replenishment of such debt
  service reserve funds as described in Exhibit B.

          From time to time as the Authority is billed by the transfer agent for its services for the bonds,
  and as other costs and expenses accrue to the Authority from handling of the payments made by the
  Local Units, or from other actions taken in connection with the System, the Authority shall promptly
  notify the Local Units of the amount of such paying agent fee s and other costs and expenses, and the
  Local Units shall promptly remit to the Authority sufficient fund s to meet such fees and other costs and
  expenses in the proportions hereinabove provided to the extent sufficient funds are not available to the
  Authority. Each Local Unit warrants and represents that the amount of its obligations under this
  Contract, when taken together with other indebtedness of such Local Unit, will not cause its obligations
  under thi s Contract to exceed any constitutional, statutory or charter debt limitation applicable to such
  Local Unit.

          The Authority shall, within thirty (30) days after the delivery of each series of the bonds of the
  Authority hereinbefore referred to, furnish each Local Unit with a complete schedule of installments of
  principal and interest thereon, and the Authority shall also at least sixty (60) days prior to each principal
  and/or interest install ment due date, advise the Local Units, in writing, of the exact amount of principal
  and interest installments due on each series of bonds on the next succeeding bond principal and/or
  interest due date, and payable on the first day of the month immediately preceding, as hereinbefore




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  provided. Failure of the Authority to notify the Local Units of any such payment shall not relieve the
  Local Units of the obligation to make such payment.

          If any principal installment or interest installment is not paid when due, the amount not so paid
  shall be subject to a penalty, in addition to interest, of one percent (I %) thereof for each month or
  fraction thereof that the same remains unpaid after the due date.

           SECTION 10. Each Local Unit states its intention to pay its obligations under this Contract from
  sources of moneys as are provided by Act 233 and applicable law, including the levy and collection of
  rates and charges to users of its respective water supply system for operating and maintaining its system
  provided by each Local Unit to customers in the Local Unit. Nevertheless, pursuant to the authorization
  contained in Act 233, each Local Unit hereby irrevocably pledges its full faith and credit for the prompt
  and timely payment of its obligations pledged for bond payments as expressed in this Contract, and,
  subject to the provisions of the last sentence of this paragraph, shall each year, commencing with the
  first tax levy after issuance of the bonds by the Authority, levy an ad valorem tax on all the taxable
  property in the Local Unit in an amount which, taking into consideration estimated delinquencies in tax
  collections, will be sufficient to pay such obligations under this Contract becoming due before the time
  of the following year's tax collections. Such annual tax levies shall be subject to applicable
  constitutional, statutory, and charter tax limitations. Nothing herein contained shall be construed to
  prevent a Local Unit from using any, or any combination of, the means and methods provided in Section
  7 of Act 233, as now or hereafter amended, for the purpose of providing funds to meet its obligations
  under this Contract, and, if at the time of making the annual tax levy there shall be either other funds on
  hand earmarked and set aside, or funds provided in the annual budget of the water supply system of the
  Local Unit, for the payment of the contractual obligations due prior to the next tax collection period,
  then such annual tax levy may be reduced by such amount.

           In the event a Local Unit shall fail for any reason to pay to the Authority at the times specified
  the amounts required to be paid by the provisions of this Contract, the Authority shall immediately give
  notice of such default and the amount thereof, to the Treasurer of each Local Unit, the Treasurer of the
  State of Michigan, and such other officials charged with the disbursement to such Local Unit of funds
  returned by the State and now or hereafter under Act 233 available for pledge as provided in this Section
  and in Section l2a of Act 233, and if such default is not corrected within ten (10) days after such
  notification, the State Treasurer, or other appropriate official charged with disbursement to such Local
  Unit of the aforesaid funds , is, by these presents, specifically authorized by the Local Unit, to the extent
  permitted by law, to withhold from the aforesaid funds the maximum amount necessary to cure said
  deficit and to pay said sums so withheld to the Authority, to apply on the obligations of the Local Unit
  as herein set forth . Any such moneys so withheld and paid shall be considered to have been paid to the
  Local Unit within the meaning of the Michigan Constitution and statutes, the purpose of this provision
  being voluntarily to pledge and authorize the use of said funds owing to the Local Unit to meet any past-
  due obligations of such Local Unit due under the provisions of this Contract. In addition to the
  foregoing, the Authority shall have all other rights and remedies provided by law to enforce the
  obligations of the Local Unit to make its payments in the manner and at the times required by this
  Contract, including the right of the Authority to direct the Local Unit to make a tax levy to reimburse the
  Authority for any funds advanced.

         SECTION 11 . Each Local Unit may pay in advance any of the payments required to be made by
  this Contract, in which event the Authority shall credit the respective Local Unit with such advance




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  payment on future due payments to the extent of such advance payment, or use such advances to call
  bonds without credit to the extent provided in relevant series of bonds.

          SECTION 12. Each Local Unit may pay additional moneys over and above any of the payments
  specified in this Contract, with the written request that such additional funds be used to prepay
  installments, in which event the Authority shall be obligated to apply and use said moneys for such
  purpose to the fullest extent possible. Such moneys shall not then be credited as advance payments
  under the provisions of Section II of this Contract.

          SECTION 13. It is specifically recognized by each Local Unit that the debt service payments
  required to be made by each pursuant to the terms of Section 9 of this Contract are to be pledged for and
  used to pay the principal installments of and interest on with respect to the bonds to be issued by the
  Authority as provided by this Contract and authorized by law, and each Local Unit covenants and agrees
  that it will make all required payments to the Authority promptly and at the times herein specified
  without regard to whether the System is actually completed or placed in operation.

          SECTION 14. If the proceeds of the sale of the bonds in one or more series in aggregate amount
  not to exceed $300,000,000 to be issued by the Authority are for any reason insufficient to complete
  each Local Unit's share of the cost of the System, subject to each Local Unit's approval required by
  Section 5 hereof, the Authority shall automatically be authorized to issue additional bonds in an
  aggregate principal amount sufficient to pay the cost of completing the System and to increase the
  annual payments required to be made by each Local Unit in an amount so that the total payments
  required to be made as increased will be sufficient to meet the annual principal and interest requirements
  on the bonds herein authorized plus the additional bonds to be issued. It is expressly agreed between the
  parties hereto that the Authority shall issue bonds pursuant to this Contract and each Local Unit shall be
  committed to retire such amount of bonds as may be necessary to pay each Local Unit' s share of the
  costs of the System whether or not in excess of those presently estimated herein. Any such additional
  bonds shall comply with the requirements of Act 233 and any increase in the annual payments shall be
  made in the manner and at the times specified in this Contract. In lieu of such additional bonds, each
  Local Unit may pay over to the Authority, in cash, sufficient moneys to complete each Local Unit's
  share of the cost of the System.

         SECTION 15 . After completion of the System and payment of all costs thereof, any surplus
  remaining [rom the proceeds of sale of bonds shall be used by the Authority for either of the following
  purposes: (a) for improvements or enhancements to the System or for other projects of the Authority
  undertaken on behalf of the Local Units, subject to approval of the Authority; or (b) credited by the
  Authority toward the next payments due the Authority by said Local Units hereunder.

          SECTION 16. The obligations and undertakings of each of the parties to this Contract shall be
  conditioned on the successful issuance and sale of the first series of bonds pursuant to Act 233, and iffor
  any reason whatsoever the first series of bonds are not issued and sold within three (3) years from the
  date of this Contract, this Contract, except for payment of preliminary expenses and ownership of
  engineering data, shall be considered void and of no force and effect.

          SECTION 17. The Authority and each Local Unit each recognize that the owners from time to
  time of each series of bonds issued by the Authority under the provisions of Act 233 to finance the cost
  of the System will have contractual rights in this Contract, and it is, therefore, covenanted and agreed by




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  the Authority and each Local Unit that so long as any of series of bonds shall remain outstanding and
  unpaid, the provisions of this Contract shall not be subject to any alteration or revision which would in
  any manner materially affect either the security of such series of bonds or the prompt payment of
  principal or interest thereon. Each Local Unit and the Authority each further covenant and agree that
  each will comply with its respective duties and obligations under the terms of this Contract promptly at
  the times and in the manner herein set forth , and will not suffer to be done any act which would in any
  way impair the said bonds, the security therefor, or the prompt payment of principal and interest thereon .
  It is hereby declared that the tenns of this Contract insofar as they pertain to the security of any such
  bonds shall be deemed to be for the benefit of the owners of said bonds.

          SECTION 18. This Contract shall remain in full force and effect from the effective date hereof
  (as provided in Section 21) until each series bonds issued by the Authority are paid in full, but in any
  event not to exceed a period of thirty (30) years for each series of bonds. At such time within said 30-
  year term as any of the series of said bonds are paid, this Contract shall be terminated. In any event, the
  obligation of each Local Unit to make payments required by this Contract shall be terminated at such
  time as all of said bonds are paid in full, together with any deficiency or penalty thereon.

          SECTION 19. This Contract shall inure to the benefit of and be binding upon the respective
  parties hereto, their successors and assigns.

          SECTION 20. Thi s Contract shall become effective upon (i) approval by the legislative body of
  each Local Unit, (ii) approval by the Board of the Authority and (iii) due execution by authorized
  officers of each Local Unit and by the Chairman and Secretary of the Authority.

         SECTION 21. This Contract may be executed in several counterparts.




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                SECTION 21. This Contract may he executed in several counterparts.


              IN WITNESS WHEREOF, the parties hereto have caused this instrument to be executed as of
       the day and year first above written.


                                                         KAREGNONDI WATER AUTHORITY
                                                                                                /1
                                                         By:



                                                         By:



       In the presence of:                               CIT



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                                                         By:
                                                                       Mayor


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,j
                                                         COUNTY OF GENESEE


                                                         By:
                                                                       Chairperson   of     Board    of



                                                         BY d,c~       Cler




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                                                   EXHIBIT A

                                                    SYSTEM



             The Karegnondi Water System is a raw water supply system. It wilI deliver untreated Lake
     Huron water 65 miles inland to the population centers of Lapeer and Genesee Counties, including the
     Cities of Lapeer and Flint, and the County Agency of Genesee County with 17 local municipal systems.
     The system wilI also be capable of delivering water along the route to customers in Sanilac and Lapeer
     County, as welI as future customers in Saint Clair County.

            The system wilI consist of a lake intake, two pumping stations, and over 65 miles of large
     diameter transmission watermain. The system wilI include fire hydrants, metering stations, reservoirs,
     and the appurtenances necessary to operate the system efficiently. The lake intake portion of the project
     and the land where the two pumping stations are located will be acquired, constructed, designed and
     financed by the County of Genesee and made available for use by the Karegnondi Water System.

~    AlI land and required right-of-ways and easements have been acquired.
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                                                         EXHIBIT B

                               LOCAL UNIT ESTIMATED SHARE OF IMPROVEMENT COST

           The following is a breakdown of the percent each Local Unit is required to pay of the aggregate
   debt service, including the obligation to replenish a debt service reserve fund(s), if any, on the
   Authority's bonds authorized by this Contract:

                                     Local Unit                  Bond Issue
                                     County of Genesee                65.8%
                                     City of Flint                    34.2%




          In the event the City of Flint fails to fulfill its payment obligations under this Contract, the
  County of Genesee irrevocably covenants and agrees to make such missed payment within 15 days of
  being notified of the missed payment. Further, the Authority covenants and agrees to undertake all
  legal action and make use of all remedies available under this Contract to enforce the payment
  obligations of the City of Flint under this Contract. The Authority also covenants and agrees to
  undertake all legal action and make use of all remedies available to it under the Raw Water Supply
  Contract between the Authority and the City of Flint dated as of June 28, 2013 ("Raw Water Supply
  Contract"), as amended, specifically sections 7.08 and 7.09 of such contract. If the County of Genesee
  is required to make a payment for the City of Flint under this Contract and the Authority recovers any
  funds from the pursuit of such remedies described above, the Authority shall reimburse the County of
  Genesee from such funds for any payments made. To the extent permitted by law, the capacity that the
  City of Flint acquired in the System pursuant to the Raw Water Supply Contract shall be transferred to
  the County of Genesee until the City of Flint has repaid the County of Genesee for any additional
  payments made hereunder. The City of Flint shall also pay a penalty of one percent (1 %) thereof for
  each month or fraction thereof that the same remains unpaid after the due date of the amount paid by the
  County of Genesee as a result of the failure of the City of Flint to fulfill its payment obligations
  hereunder. Further, if a Local Unit fails to pay its contractual obligation causing a shortfall and the debt
  service reserve fund(s) is drawn upon to pay the Authority'S bonds, the replenishment of such debt
  service reserve fund shall be an obligation of the Local Unit that failed to pay, as provided in the
  resolution authori zing the bonds. Provided, however, if the City of Flint fails to fulfill its debt service
  reserve fund replenishment obligation, as with other payment obligations under the Contract, the County
  of Genesee agrees to make such payments.

  Additionally, if the Authority sells raw untreated water capacity to other parties, to the extent funds are
  available from payments received from those parties, each Local Unit shall be credited on each day
  payment is due hereunder as agreed to by the Authority and the Local Units towards each Local Unit's
  payment obligations hereunder.

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                                   APPENDIX I

                  REPORT OF THE ENGINEERING CONSULTANT
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       Karegnondi Water Supply System Bonds

                  Karegnondi Water Pipeline
                      Series 2014 A & B


          Report of the Engineering Consultant




                                March 17, 2014



                            Jones & Henry Engineers, Ltd.
                          3103 Executive Parkway, Suite 300
                                 Toledo, Ohio 43606
                                    419.473.9611
                                  www.jheng.com
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  List of Abbreviations


  ccf             —     hundred cubic feet


  CCIF            —     County Capital Improvement Fee


  CIP                   Capital Improvement Plan


  DWSD            —     Detroit Water and Sewerage Department


  FY              —     Fiscal Year


  GCDC-WWS        —     Genesee County Drain Commissioner – Water and Waste Services


  KWA             —     Karegnondi Water Authority


  mcf             —     thousand cubic feet


  MDEQ            —     Michigan Department of Environmental Quality


  mg              —     million gallons


  mgd             —     million gallons per day


  O&M             —     Operation and Maintenance


  RTS             —     Readiness To Serve


  WTP             —     Water Treatment Plant


  ERU             —     Equivalent Residential Units




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  Executive Summary
  Jones & Henry Engineers, Ltd. has been retained by the Karegnondi Water
  Authority (KWA) to review the financial aspects of the KWA water project
  relative to the water rates for the two initial KWA customers, the City of Flint
  (Flint) and the Genesee County Drain Commissioner – Water and Wastewater
  Services (GCDC-WWS) from 2014 through 2018 for the sufficiency of such
  rates to cover the debt service on the System Bonds and operation and
  maintenance expenses of the KWA system plus their own systems.

  The first step in the review was to project the untreated water volume required
  for these two initial customers of KWA. Initially, Flint is anticipated to require
  on average 10.4 million gallons per day and GCDC-WWS is anticipated to
  require an average 13.5 million gallons per day.

  Flint raised its water rates on July 1, 2012, and based on its audit for FY 2013,
  revenues from Flint customers for such fiscal year totaled approximately
  $34,600,000. While this level of revenue is sufficient to continue to fund O&M
  expenses plus fund much of the immediate improvements, additional revenue is
  projected to be required to reinvest in the systems’ infrastructure and establish a
  sustainable financial condition. Flint is expected to realize a significant near-term
  financial benefit from its decision to temporarily use (approximately 2 years) the
  Flint River as a source of raw water which will be treated at Flint’s WTP, instead
  of purchasing significantly higher cost treated water from the Detroit Water and
  Sewerage Department (DWSD). Once the KWA system is operational, KWA
  raw water will be used as the raw water source for the Flint WTP. Flint has not
  recently performed a detailed rate study, but a cost of service study is now being
  prepared to not only determine rates required to meet immediate and future
  needs, but establish rates that result in a reinvestment in their infrastructure and
  establish a more sustainable financial condition in the future. Currently, a Flint
  residential customer using 1,000 cubic feet per month has a monthly water cost
  of $96.96. Flint recognizes that using KWA as a raw water source and treating
  the water at their own water treatment plant is the best long-term option. The
  City expects to increase rates in the coming years to meet the obligation to KWA
  and meet the needs for operation and maintenance of the system and make
  necessary investment in their infrastructure.

  GCDC-WWS recently completed a detailed water rate analysis. This analysis
  was used as the base for projecting the effect of the KWA project on rates and
  customers. Until the KWA system becomes operational, GCDC-WWS will
  purchase water directly from DWSD. Additional future expenses for GCDC-
  WWS were identified to include new capital, operation & maintenance costs for
  the KWA operation, and GCDC-WWS’s new WTP and related facilities which
  will be necessary to treat the raw water and distribute it. GCDC-WWS’s current
  expense of purchasing water from DWSD was excluded from the projected
  expenses after the date the KWA pipeline is expected to be operational. Through
  at least May 1, 2016, with all changes taken into account, including expected


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  inflationary increases, initial KWA charges, and the increase in DWSD charges
  for water purchased directly from DWSD, the GCDC-WWS wholesale water
  charge for a residential customer using 1,000 cubic feet per month is projected to
  increase from $53.99 to $67.72 per month. Once the KWA project and the
  GCDC-WWS’s WTP and related facilities are operational, the cost is projected to
  increase to $72.27 per month by 2018. GCDC-WWS community customers also
  add local charges ranging from 0 percent to 53 percent of GCDC-WWS RTS
  charges, and from 0 to 14 percent of GCDC-WWS’s commodity charges to their
  end users. The need to satisfy ordinance imposed additional bonds tests could
  also lead to higher rates.

  Long-term rate projections which compare obtaining untreated water from KWA
  and treating it themselves vs. obtaining treated water from DWSD, show more
  stable rates for both Flint and GCDC-WWS’s water customers. In the past,
  DWSD’s charges to Flint and GCDC-WWS, which historically have constituted
  a significant portion of both Flint’s and GCDC-WWS’s total water expenses,
  have increased more than typical inflationary increases. Much of Flint’s and
  GCDC-WWS’s future expenses will be capital which will not increase annually,
  with inflationary increases expected for operating costs. Therefore, rates are not
  expected to increase under KWA as they have under DWSD, and with
  appropriate rate increases, Flint and GCDC-WWS will be able to pay their
  respective share of the debt service on the System Bonds, the operation &
  maintenance expenses of the KWA project, plus the expenses of their own
  systems.

  A more comprehensive presentation of the analysis is included in this report. The
  document includes additional supporting data and assumptions made in the
  analysis to reach the conclusions presented above.

  Background
  Flint is supplied treated water from the DWSD, and GCDC-WWS purchases
  treated water from Flint. Flint’s water is distributed using DWSD line pressure,
  including the supply of GCDC-WWS’s Henderson Road facility, from where it is
  then re-pumped to GCDC-WWS customers.

  Flint and GCDC-WWS began to look at alternatives for a new water supply over
  ten years ago, and have more recently chosen to move ahead with the
  development of a new regional water authority to provide untreated Lake Huron
  water for both entities and possibly others.

  KWA consists of Genesee County, Lapeer County, Lapeer City, Sanilac County,
  and the City of Flint. KWA is a municipal authority incorporated under PA 233
  of 1955. KWA was established in October 2010 in order to have a more reliable
  supply of untreated water at rates that will be determined exclusively by the local
  communities. 1




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  KWA will construct a 63 mile long raw water pipeline, the majority being
  located under or parallel to existing roads or within road rights-of-way.
  Beginning at Lake Huron, the principal roads along the pipeline are Fisher, Clear
  Lake, Kings Mill, Norway Lake, Klam, Stanley, Coldwater, Elba, and Millville.
  The proposed pipeline size changes over the length of the project starting at Lake
  Huron as a 66 inch diameter pipe and reducing as it continues west, to a 60-inch
  and then 36-inch diameter pipe. 7 The GCDC-WWS’s WTP will be supplied
  untreated water off of the 60-inch line, and the 36-inch diameter pipe will supply
  Flint’s system. A pump station and intake on Lake Huron in Sanilac County and
  an intermediate pump station in the northwest corner of St. Clair County are also
  part of the project.

  Flint has a contract with DWSD until April 17, 2014. Starting April 1, 2014, they
  will start using their own treatment plant and begin treating Flint River water on
  a temporary basis. Flint will treat KWA water once the KWA system is
  operational. GCDC-WWS will be required to build a new water treatment plant,
  with a 150 million gallon earthen reservoir, pump station, and five miles of water
  main running from the new treatment plant to the Henderson Road facility, at an
  estimated cost of $60,000,000 to provide treated water to Genesee County’s
  customers. GCDC-WWS has acquired 76 acres approximately 14 miles east of
  the City of Flint in Oregon Township in Lapeer County, which is expected to
  serve as the site of the County’s new WTP, reservoir and pump station. The new
  WTP and related facilities are expected to be constructed, and then fully
  operational between May 1, 2016 and July 1, 2016, with the KWA System
  expected to be fully operational by the same time. Until then, GCDC-WWS will
  continue to obtain its water from Flint through April 17, 2014 and then obtain
  water directly from DWSD.

  The purpose of this review is to determine the impact on water rates for Flint and
  GCDC-WWS customers associated with the financing and operation of the KWA
  project along with maintaining their current and proposed treatment and
  distribution systems. To do this, background information on the Flint and GCDC-
  WWS systems were obtained to determine needed improvements for
  implementing the KWA project and maintaining Flint and GCDC’s current
  systems. Existing technical reports were reviewed and various financial reports
  were analyzed, to determine the impact on rates. Before determining the impact
  on the rates of the two entities, the charges from KWA to Flint and GCDC-WWS
  were determined. GCDC-WWS recently completed a review of their water rates
  and, therefore, data is available to make projections on the actual rate
  components. Flint has not had a recent rate study, so the analysis examined the
  current revenue and the amount of change in revenue needed to fund the KWA
  project, in addition to maintaining Flint’s current system.




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  Description of the Systems
  Karegnondi Water Authority (KWA)

  The Project

  GCDC-WWS is constructing a lake intake on Lake Huron in Sanilac County, for
  which it supervised the design of the facility and awarded a construction contract
  in 2013. The intake will be operated by KWA. KWA is constructing the pipeline
  from Lake Huron to the Flint area and two pump stations, one of which will be
  located near the intake facility. These facilities collectively constitute the KWA
  System. The intake facility was financed with the proceeds of the Series 2013
  Bonds sold by Genesee County (the “Intake Bonds”). 1

  KWA contracted with the GCDC-WWS to administer the design and
  construction of the KWA System. On behalf of KWA, the GCDC-WWS has
  acquired 40 acres on Lake Huron for the intake and pump station and 40 acres in
  Lynn Township on the borders of Sanilac, St. Clair, and Lapeer Counties for the
  second pump station. In anticipation of the construction of the KWA System, the
  County has obtained a water withdrawal permit of up to 85 million gallons per
  day (mgd) from Lake Huron. GCDC-WWS hired project managers which have
  identified the route of the pipe line, identified environmental issues, prepared
  preliminary permits for the entire 63-mile route, and hired consulting firms to
  prepare detailed design of the remaining KWA System facilities. 1

  Maps of the KWA project are included in Appendix A-2. The three maps show
  the Lake Huron Pump Station, Lake Huron Raw Water Transmission Line,
  Intermediate Pump Station, and the Flint Transmission Line. In addition to the
  KWA projects, the maps show the Genesee County WTP (Stanley & Marathon)
  and Genesee County Finished Water Transmission Line, all being constructed by
  GCDC-WWS. The Lapeer Raw Water Transmission is shown but is not being
  designed at this time. Also shown on the map, is DWSD 120-inch, 96-inch, and
  72-inch water mains that now serve Flint and GCDC-WWS. A portion of the 72-
  inch line is owned by Flint. The Genesee County Henderson Road Pump Station
  is an existing facility and will continue to be used by GCDC-WWS.

  KWA currently has entered into two water purchase contracts, effective October
  1, 2013: one with Flint to supply up to 18 mgd and one with the GCDC-WWS to
  supply up to 42 mgd. The charges to be paid by Flint and GCDC-WWS in the
  Water Purchase Contracts are broken down into two distinct portions: an annual
  fixed or capital fee, and an annual commodity or operations and maintenance fee.
  1



  The estimated construction costs for the KWA system, excluding the intake, are
  $240,000,000 based on water contracts of 60 mgd capacity. KWA, GCDC-WWS
  and Flint have entered into a contract, under which KWA will issue bonds to
  finance the remaining facilities for the KWA System, presently estimated to be in


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  an amount not to exceed $300,000,000, in anticipation of payments to be made
  by Flint and Genesee County. 8 The bond amount includes the construction cost,
  capitalized interest, and bond reserves.

  Flint is working on the update of its WTP and expects to begin to use Flint River
  water as a temporary source by April 17, 2014 and is expected to start using
  KWA water for supply no later than July 1, 2016. Genesee County is expected to
  begin to purchase water directly from DWSD on April 17, 2014 and will
  continue with DWSD as a source until July 1, 2016 when they will begin using
  KWA water.

  Schedule

  A schedule of key activities and dates is presented below:

          October 2010 – KWA established

          Summer 2013 – Construction of water intake began

          October 1, 2013 – KWA entered into water purchase contracts with Flint
          and GCDC-WWS

          April 1, 2014 – Flint to begin treating Flint River water rather than
          purchasing water from DWSD

          April 17, 2014 – GCDC-WWS will begin purchasing water directly from
          DWSD

          Summer 2014 – Begin construction of the KWA water pipeline and
          pump stations

          May 1, 2016 – KWA system in operation (for this review, the KWA
          operation date is assumed to be July 1, 2016 which is a more
          conservative financial assumption)

          May 1, 2017 – First debt service payment of KWA bonds

  Customers

  KWA will initially have two customers, GCDC-WWS and Flint. Water
  purchased by Flint from DWSD has averaged 12,219,382 ccf per year between
  2010 and 2013. However, the usage trend has been slightly downward. Water
  sold to Genesee County by Flint increased between 2010 and 2012, but was 6.8
  percent lower in 2013 than 2012. It is estimated that Genesee County will deliver
  12 mgd to its customers, but due to non-revenue water (8 percent) in the
  distribution system and at the WTP (3 percent), they will initially need 13.44
  mgd of water from KWA. Water usage by City customers has been decreasing,
  but this trend appears to be subsiding, with estimated usage expected to stabilize


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  (Appendix C-2) (3,345,000 ccf). Due to non-revenue water loss in the
  distribution system (32 percent) and at the WTP (3 percent), the City will need
  10.4 mgd to supply its customers. (Non-revenue water is the difference between
  water purchased and water billed.) Therefore, Genesee County would account for
  56.4 percent of the initial need from KWA (13.44 mgd) and Flint would be 43.6
  percent (10.39 mgd). Table 1 and Figure 1 in the Work Notes – Report of the
  Engineering Consultant that is in Appendix A-1 provide a more detailed
  breakdown of the water needs discussed above.

  Expenses

  Operation and maintenance expenses for KWA’s two pump stations and the
  transmission main include labor, chemicals, power, administration, residuals
  handling and other maintenance cost, and are estimated to average $2,412,063
  annually for 2016 to 2018. Based on the 23.83 mgd needed, the average cost per
  million gallons is $277, or $2.07 per mcf. Operation and maintenance costs will
  be allocated to Genesee County and Flint based on their proportion of the initial
  raw water required (56.4 percent vs. 43.6 percent). More detail on the estimated
  operation expenses can be found in Appendix A-1 in Tables 2 and 3 of the Work
  Notes – Report of the Engineering Consultant. These cost projections are
  somewhat sensitive to the actual volume of water purchased. Power and
  chemicals are 60 percent of the total and are directly related to volume of water
  pumped. Maintenance is partially related to volume while the other costs are not
  related to volume of water. Therefore, these other costs will not change due to
  typical fluctuations in volume.

  Nearly $300 million of bonds will be issued for the KWA project. It is
  anticipated two series of bonds will be issued. The debt service payment from
  KWA system revenue is expected to begin on May 1, 2017. The annual bond
  payments, including the Intake Bonds, total an estimated $23 million. This
  assumes an interest rate of 5 percent on the first series of bonds and 5.25 percent
  on the second series of bonds issued, with the term for both being 30 years. The
  first series of bonds is projected to be in the amount of $220 million dollars, and
  the second series of bonds comprising the remaining $80 million. Based on 60
  units, the estimated annual capital cost per unit would be $383,333. A unit is
  equal to 1 mgd of peak month capacity. A breakdown of the debt service charges
  between Genesee County and Flint can be found in Table 5 of the Work Notes –
  Report of the Engineering Consultant in Appendix A-1. Additional entities may
  be contracted to purchase water from KWA in the future which would lower
  proportional costs, primarily for GCDC-WWS.




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  Genesee County Drain Commissioner -
  Water & Waste Services (GCDC-WWS)

  Water System

  The GCDC-WWS provides water and sewer service to nearly forty communities,
  totaling over 200,000 individual residents in parts of Genesee, Lapeer, Saginaw,
  Shiawassee, Oakland and Livingston counties. GCDC-WWS operates over 135
  miles of underground pipeline, twenty major water and wastewater pump
  stations, and over eighty minor stations are maintained on behalf of local
  communities, and eleven water storage tanks with over 43,000,000 gallons of
  storage capacity.4

  The GCDC-WWS water system includes the Henderson Road facility and Center
  Road complex which includes 31 mg of storage and over a 50 mgd high service
  pump station for the majority of the water delivered to GCDC-WWS customers.
  The distribution (including local municipalities) system includes 1,000 miles of
  pipeline ranging in size from 6-inch diameter to 48-inch diameter. The system
  also includes 8 elevated towers for a total volume of 7.5 mg and 4 additional
  booster pump stations. The system provides services in 18 political entities.
  GCDC-WWS provides the service as either a master meter customer (water is
  sold bulk and individual communities provide the distribution system and
  services) or retail customer basis, whereby GCDC directly provides service to
  those communities’ customers. Eight political entities are served as master
  metered. While GCDC-WWS serves the individual accounts including billing,
  the political entities are responsible for overall payment. The individual entities
  collect the revenues and reimburse GCDC-WWS for its services.

  The County will be required to build a new WTP at an estimated cost of
  $60,000,000 to provide finished water to Genesee County’s customers. GCDC-
  WWS has acquired 76 acres approximately 14 miles east of the City of Flint in
  Oregon Township in Lapeer County, which is expected to serve as the site of the
  County’s new WTP and related facilities described above. The new WTP and
  related facilities are expected to be constructed and fully operational by July 1,
  2016, the date on which the KWA System is expected to be fully operational
  (Note: startup could be as early as May 1, 2016, but July 1, 2016 is used as a
  more conservative financial review). A five mile pipeline will be needed to
  convey treated water to the existing Henderson Road facility.

  System Deficiencies

  System deficiencies have been identified in GCDC’s Sanitary Survey prepared
  by MDEQ as found in Appendix B-7. Deficiencies are predominately related to
  the local distribution systems and not the transmission system. The KWA project
  will address one of the comments by providing more reliability.




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  Customers

  GCDC-WWS currently purchases water from Flint, which purchases the treated
  water from DWSD. Genesee County’s payment to Flint is a flat rate surcharge,
  Detroit Readiness to Serve (RTS) based on peak consumption, plus a commodity
  charge equal to the charge from Detroit to Flint for the water. Through the
  second half of 2013 and through at least April 1, 2014, the DWSD commodity
  charge was, and still is $1.301 per metered hundred cubic feet. These charges
  were set on July 1, 2013 and typically increase annually. 11

  GCDC-WWS purchased 587,285,100 cubic feet of water from Flint in 2013.
  Purchased water and billed water from 2007 through 2013 can be found in
  Appendix B-1. The difference in water purchased and water billed is called non-
  revenue water.

  GCDC-WWS’s water charges are based on either community master meter
  readings or the summation of individual water meter readings within each
  community. Billable metered water volumes by community for 2011 and 2012
  for the water supply district are given in Appendix B-2.

  No growth in usage was assumed in the last rate study. Limited growth was
  assumed for the number of equivalent meters in the last rate study, but no growth
  is assumed in this analysis. 6

  Revenues and Expenses

  GCDC-WWS had $22,997,000 in water revenue in 2013 and $20,524,301 10 in
  expenses. In general, according to the last water rate study completed for GCDC-
  WWS, salaries and wages are expected to increase by 3 percent annually over the
  next few years, but fringe benefits are expected to increase from 2 percent to 8
  percent annually. In general, office supplies, dues and memberships, printing and
  publishing, professional and contractual services, repair and maintenance, and
  other operational expenses are projected to increase 2 percent annually. Utilities
  are expected to increase at 9 percent annually. 6

  GCDC-WWS currently pays a commodity charge, a Flint surcharge and a DWSD
  Readiness-to-Serve (RTS) charge to Flint for water. Flint passes on the revenue
  collected from the commodity charge and RTS to DWSD, and retains the
  surcharge. Starting April 17, 2014, the County will purchase water directly from
  DWSD until no later than July 1, 2016 when the KWA project and GCDC-WWS
  WTP project are expected to be finished. The cost of water from DWSD between
  2009 and 2013 increased an average of 11.4 percent annually. DWSD rates are
  expected to increase 10.3 percent starting April 1, 2014, an additional 9 percent
  starting July 1, 2014, and 10 percent starting July 1, 2015 (discussion by GCDC-
  WWS with DWSD). Changes in the cost of water from DWSD beyond these
  levels may further impact water rates to system customers.




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  The GCDC-WWS WTP is expected to commence operation no later than July 1,
  2016. Expenses for the water system have to be adjusted because of the KWA
  project.

  The KWA O&M costs were discussed previously, and the County will be
  responsible for 56.4 percent of such costs: $630,469 in 2016 (for a half year);
  $1,365,707 in 2017; and, $1,454,566 in 2018.

  GCDC-WWS will have additional O&M expenses due to a new WTP, expected
  to begin operation no later than July 1, 2016. Additional O&M costs are
  anticipated to be: $1,249,395 in 2016 (half year); $2,574,943 in 2017; and,
  $2,651,097 in 2018. Calculations for future O&M costs are in Appendix B-3.
  Annual debt service for the new WTP is estimated as follow:

          2015            $3,978,516
          2016            $4,027,813
          2017            $4,028,450
          2018            $4,026,725

  Capital Reinvestment/Depreciation on the new WTP is anticipated at $1,500,000
  per year starting in 2017.

  GCDC-WWS is funding the construction of the new water intake for KWA. The
  annual debt service will be approximately $2,529,000, beginning in 2014.
  However, GCDC-WWS will receive a credit equal to Flint’s share (30 percent)
  of the Intake Bonds payments starting in 2016 which will be credited to GCDC-
  WWS through their KWA capital payment.

  GCDC-WWS will also be responsible for 42 of 60 units, or 70 percent, of the
  annual debt service payments on the bonds. The KWA’s total annual debt service
  payment is estimated to be $23,000,000 which includes KWA projects including
  the Intake Bonds. GCDC’s annual payment will be reduced by the Intake Bonds
  payments and the annual payment by Flint for their share of the Intake Bonds.
  Payment will start in 2014 with payments approximately 10 percent of the
  projected amount. The GCDC-WWS’s net annual payment is estimated to be:

          2014            $1,356,600
          2015            $1,356,600
          2016            $7,465,800
          2017            $13,575,000
          2018            $13,575,000

  More detail on the expenses and payment can be found in Appendix B-3.

  The intake credit will result in GCDC-WWS’s share of the KWA bonds being
  approximately 66 percent, for an allocation of 70 percent of the KWA capacity.
  GCDC-WWS will pay 100 percent of the Intake Bonds payments.



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  A more detailed breakdown of the revenues and expenses for 2009 through 2012
  can be found in Appendix B-4, along with the budget for 2013 and projections
  for 2014 through 2018.

  Rates

  Water for the GCDC-WWS water system is billed for each customer based on
  water meter size plus metered consumption, and customers are charged for
  service on monthly, bi-monthly, or quarterly billings. Water bills are based on a
  Readiness to Serve (RTS) charge based on meter size and a commodity charge
  based on volume usage. In addition, each of the individual communities imposes
  their own rates and charges to recover the cost of local water utility services that
  they provide. As a result, each community on the system has different rates and
  charges in place which impact individual customers differently. 1

  Currently, RTS charges start at $14.59 per month for one equivalent meter which
  is equal to a 5/8-inch meter. Commodity charges are currently $3.94 per 100
  cubic feet, or $5.27 per 1,000 gallons of water consumed. These rates went into
  effect January 2, 2014. 12

  Where community bulk water readings are available, the readings are used as the
  basis for charges. The rates charged are based on a calculated equivalent meter
  size calculated on past peak usage for a community plus the actual water
  consumption measured at the community master meters. More information on
  rates can be found in Appendix B-6.

  The County charges a County Capital Improvement Fee (CCIF) for new
  connections to the water system of $1,000 per equivalent residential unit (ERU).

  The KWA O&M costs and the O&M costs for the new Genesee County WTP
  will be allocated to the customer’s commodity charge. The Capital Reinvestment/
  Depreciation expense will be allocated to volume. The annual expense for the
  KWA purchase, the credit for financing the construction of the water intake, and
  the GCDC-WWS WTP debt will be allocated 85 percent to the commodity
  charge and 15 percent the RTS component.

  Flint

  Water System

  The Flint Water Department is responsible for its WTP, four pump stations, and
  water testing laboratory, in addition to the dams, reservoirs, and underground
  infrastructure associated with those facilities. The total pumping capacity of Flint
  is 106.8 mgd with a firm capacity of 62.8 mgd. The WTP was put into service in
  1954. A service agreement with DWSD was entered into in the mid-1960s to
  supply water to the City for a 30-year period. The WTP currently provides
  treated water from the Flint River as a backup to the water provided by DWSD.
  The plant has historically operated approximately 20 days per year with average

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  production of 11 mgd, with a capacity of up to 36 mgd. The total source capacity
  from DWSD is over 70 mgd which includes water going to GCDC-WWS. A
  significant upgrade ($48 million) to the Flint WTP was completed in 2006 to
  meet state regulatory requirements. A recent contract agreement with KWA will
  require additional redundancy and treatment upgrades. In addition, other
  components of the WTP are in poor condition and in need of maintenance and/or
  replacement, including various mechanical and electrical equipment; security
  improvements; building additions and renovations; Heating, Ventilating, and
  Cooling (HVAC) systems; concrete and asphalt; and roofs. 2

  System Deficiencies

  The City of Flint has been studying its system and determining future needs. A
  survey of some of the evaluation is included in Appendix C-5. The system does
  have a higher than normal, non-revenue water amount. The City has developed a
  Capital Improvement Plan (CIP) which has resulted in identifying the following
  annual capital needs: $8,500,000 in FY 2014; $10,500,000 in FY 2015;
  $9,500,000 in 2016; $6,000,000 in 2017; and $6,500,000 in 2018 13. These funds
  will be generated through rates (see Appendix C-4). The CIP will help in
  addressing the aging system and high non-revenue water amount plus address the
  City’s WTP needs.

  Customers

  In 2013, Flint billed 32,702 customers and total consumption was 9,470,315
  hundred cubic feet of water. The City’s population was 101,515 in 2013. 9 Water
  usage by City customers has been decreasing in recent years, but this trend is
  expected to end and hold at 6.85 mgd (3,345,000 ccf). Due to non-revenue water
  in the distribution system (32 percent) and at the WTP (3 percent), the City
  would need 10.4 mgd to supply its customers.

  Historical information on the City’s customers and water supply system
  components can be found in Appendix C-2.

  Expenses and Revenues

  In Fiscal Year (FY) 2013 (July 1, 2012-June 30, 2013), Flint’s water system
  receipts from customers and users totaled $47,620,772. This included
  $12,957,337 from Genesee County for their commodity, surcharge and DWSD
  RTS. 9 Revenue from City customers is estimated at $34,640,394. Revenues the
  City receives from Genesee County are expected to cease starting April 17, 2014,
  when Genesee County begins purchasing water directly from DWSD until the
  KWA and GCDC WTP projects are finished.

  Water purchases from DWSD in FY 2013 totaled $23,308,800, and revenues
  received from GCDC-WWS paid for a portion of this expense. The average cost
  rate of water from DWSD between 2009 and 2013 increased an average of 11.4
  percent annually.

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  The City has a high delinquency rate on its customers’ water bill payments and
  this is expected to remain the same. The City is assuming non-revenue water will
  be reduced by 10 percent annually through improvements in the distribution
  system and enhanced management program.

  Salaries, wages and benefits identified in the Flint annual audits are expected to
  increase 3 percent annually. Utilities are expected to increase 9 percent annually,
  and other operation and maintenance expenses are expected to increase by 2
  percent annually.

  It is estimated that the operating expense for the Flint WTP, once it is fully
  operational, will be $1,762,580 in FY 2014 (one quarter of the year); $7,050,319
  in FYs 2015 and 2016; $7,584,319 in FY 2017; and $7,808,582 in FY 2018. 13

  Flint will be responsible for 18 of 60 units (30 percent) of the KWA bond
  payment. A portion of the payment will go to GCDC-WWS for Flint’s share of
  the Intake Bonds, resulting in Flint’s payment being approximately 34 percent of
  the KWA Bonds and GCDC paying 100 percent of the Intake Bonds. The City
  will begin paying $6,900,000 annually starting in 2017, but started paying 10
  percent of the full annual capital payment, or $690,000 in October 2013 and will
  continue with $690,000 in 2014, 2015, and 2016.

  The City will be responsible for 43.6 percent of the operation and maintenance
  costs of the KWA system. This will amount to $1,055,760 in FY 2017 and
  $1,124,451 in FY 2018.

  Debt service payments on the City’s outstanding water system bonds are
  estimated at $2,747,946 in FY 2014; $2,742,821 in FY 2015; $2,746,423 in FY
  2016; $2,748,446 in FY 2017; and $2,744,008 in FY 2018. A transfer to the
  General Fund of $1,130,000 was added for FYs 2014 through 2018 13, as it has
  been in the past for Return on Equity to the City.

  All of the figures and projections can be found in Appendix C-4.

  Rates

  Current water rates became effective July 1, 2012. Appendix C-4 provides the
  projections for revenue and expenses for the water supply system based on
  current operating procedures and anticipated future projects and timing.
  Appendix C-4 shows a negative net revenue for the water system, at least through
  2018 with existing rates. The projected capital expenditures include in the next 5
  years, approximately $20,000,000 to upgrade the WTP and approximately
  $17,000,000 to upgrade the distribution system. Much of the WTP capital
  improvements are required to enable the City to treat Flint River raw water and
  KWA raw water on a continuous basis. The remainder of the capital expenditures
  signifies a reinvestment in the City’s water infrastructure. The Capital
  expenditures also include setting aside funds for future equipment replacement



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  and other CIP reserves. These reinvestment expenditures would be required
  regardless of the water supply.

  Conclusion
  The current water supplier to Flint and GCDC-WWS has averaged over an 11
  percent annual increase. For the purposes of this review, similar increases are
  anticipated for the future. KWA only projects a 4 percent to 5 percent annual
  increase in the operation and maintenance portion of its expenses. GCDC-WWS
  rates are expected to be competitive compared to the current water supplier’s
  charges and should be more stable in the future as capital costs will remain
  constant. The City of Flint’s total cost in producing water is expected to be less
  than current costs immediately upon startup, and Flint should see lower increases
  in the future than what it has been experiencing recently. Future rate increases are
  forecast for both GCDC-WWS and Flint. However, the increases are projected to
  be less than if they both continued to purchase treated water from DWSD. Flint
  has developed a CIP and is working with a consultant to develop a financial plan
  which will start reinvesting in their water system infrastructure and develop a
  more sustainable financial condition for the utility.

  Future Rates
  The above review focused on the impact of the KWA project in the next five
  years. Rates beyond the next five years for each entity are discussed below. For
  all entities, the customer demand is expected to follow historical trends and
  remain stable.

  KWA has no additional capital forecast beyond 2018 at this time. Therefore,
  future rates will only need to be adjusted for inflationary increases for the O&M
  expenses. Any new KWA customers will be required to purchase capacity from
  an existing customer and/or construct new capacity at no cost to existing
  customers.

  GCDC-WWS establishes its rate structure on a five-year cycle. Rates set in 2013
  were the beginning of a new cycle. With over 59 percent of the rate related to
  new or existing debt (fixed costs) less than 41 percent of the expenses are subject
  to inflationary costs. The 2009 feasibility study assumed an average 5 percent
  rate increase on that portion of the expenses. GCDC-WWS has no new capital
  expenditures forecast past 2018.

  The City of Flint will need to address its system deficiencies. The analysis done
  on Flint’s rates includes additional funds to start addressing these deficiencies. A
  significant investment in the WTP is included in the near term analysis, so future
  needs will be less. The distribution system investment is projected to continue
  well beyond the near term analysis. Future rates will see inflationary increases,
  but the capital needs will stabilize.

  The above discussion does not include changes in regulatory requirements which
  could impact rates. No significant changes are anticipated at this time.


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  Sources/Footnotes
  1
        County of Genesee, State of Michigan, $35,000,000 Water Supply
        System Revenue Bonds (Limited Tax General Obligation) Series 2013
        Official Statement.
  2
        Existing Infrastructure Condition Report, City of Flint Master Plan, July
        2013, DLZ and Houseal Lavigne.
  3
        Master Plan For a Sustainable Flint – Infrastructure and Community
        Facilities Plan, adopted October 28, 2013.
  4
        Genesee County Drain Commissioner’s Office, Division of Water and
        Waste Services, 2014 Budget.
  5
        Wade Trim Report, Preliminary Engineering Report, Lake Huron Water
        Supply, Karegnondi Water Authority, September 2009.
  6
        GCDC-WWS Water Rate Review, Scenario 2, dated April 5, 2013 by
        Jones & Henry Engineers. Historical information provided by GCDC-
        WWS.
  7
        MDEQ Public Notice, December 5, 2013.
  8
        Stauder, Barch & Associates debt service estimate 11/20/13.
  9
        City of Flint, Michigan; Comprehensive Annual Financial Reports
        (Audits), Fiscal Years 2011, 2012, and 2013.
  10
        Genesee County Drain Commissioner – Water and Waste Services
        Financial Reports, Year-End 2013.
  11
        Genesee County Drain Commissioner – Water and Waste Services
        Personnel.
  12
        Genesee County Water Supply System, Rates for Service for Water Bills
        Rendered on or After January 2, 2014 (see Appendix B-8).
  13
        City of Flint (March 6, 2014)




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                 WORK NOTES
                  Report of the
              Engineering Consultant

                Karegnondi Water Authority




                               March 17, 2014



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     KWA Water Volume
     Table 1 summarizes the recent water purchases from DWSD and water sold by
     Flint to Genesee County. The Flint allocation represents the water billed and their
     non-revenue volume. The trend has been less usage by Flint, but it is anticipated
     the decline will stop, so an estimated annual usage of 3,345,000 ccf (6.85 mgd)
     has been used for future projections. Due to the age of the Flint distribution
     system, an estimated 32 percent of the water produced is currently lost, which is
     also termed non-revenue water (Source: City of Flint Existing Infrastructure
     Condition Report, July 2013, DLZ and Houseal Lavigne, Page 11). The
     calculations below indicate the non-revenue water may be higher. This would
     require that the water treatment plant (WTP) produce just over 10 mgd to meet
     Flint’s customer demands. However, it is assumed that 3 percent, or 0.31 mgd, of
     the water is used during the WTP process, so approximately 10.4 mgd would be
     necessary from KWA to supply Flint’s WTP.

     It is estimated that Genesee County will deliver 12 mgd of water to its customers.
     It is estimated that about 8 percent, or 1.04 mgd, is lost in the distribution system.
     This would mean that the WTP would have to produce 13.04 mgd in order to
     meet the demands (12 mgd) of Genesee County. However, it is assumed that 3
     percent, or 0.40 mgd, of the water is used during the WTP process, so
     approximately 13.45 mgd would be needed from KWA to supply 12 mgd to
     Genesee County customers.

     Figure 1 provides a graphic representation of the water amounts discussed above.
     Genesee County would account for 56.4 percent (13.45 mgd) of the initial need,
     and Flint would be 43.6 percent (10.39 mgd) of the initial need.

                                                     Table 1
                                   Recently Billed Water By Flint (ccf per year)
                                                 2010          2011          2012                     2013             Future
 Water Purchased From DWSD                   11,943,961 13,108,730 11,926,868                      11,897,969
                             1
 Sold To Genesee County                        6,166,322     6,211,823     6,301,528                5,872,851
 Flint Allocation                              5,777,639     6,896,907     5,625,340                6,025,118
                                                                                                                                3
 Billed To City of Flint Customers             3,681,068     3,929,083     3,348,319                3,597,464        3,345,000
 Flint Non-Revenue Water                       2,096,571     2,967,824     2,277,021                2,427,654
              2
 Total Billed                                10,027,390 10,140,906         9,649,847                9,470,315

 Flint Non-Revenue % of Flint Allocation                36.3%           43.0%           40.5%         40.3%
 1
     Genesee County rate reports
 2
     Flint Annual Audits
 3
     Represents approximate lowest level of water billed to Flint customers in recent years.


     It should be noted that even though the KWA fiscal year is October through
     September, these tables are based on calendar years.




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  Work   Notes –   Report   of the Engineering Consultant                902-6843.001
  Karegnondi Water Authority                                       0 3 / 1 7 / 1 4 , P a g e |2
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                                                                                                                 TM
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  Operation and Maintenance Costs
  Table 2 provides a summary of the operation and maintenance costs for the
  KWA project, and calculations show that it costs approximately $277 per million
  gallons to operate and maintain the pump stations and transmission line.

                                                    Table 2
                                                  KWA O&M Cost
                                                                                             KWA
               Maintenance       Labor         Chemicals      Power         Residuals        Admin            Total
    2016          $339,525      $274,037        $116,872    $1,298,879        $39,226       $167,167       $2,235,706
    2017          $466,281      $282,258        $121,964    $1,337,846        $40,935       $172,183       $2,421,467
    2018          $562,995      $290,726        $127,256    $1,377,981        $42,711       $177,348       $2,579,017

   Average         $456,267     $282,340        $122,030    $1,338,235         $40,957      $172,233       $2,412,063

  O&M Cost / MG = $2,412,063 / 23.83 MG per day x 365 day per year ~ $277 / MG ($2.07 per mcf)

  Source:     Table 14-2, 2009 Report by Rowe Professional Services Company except power based on
              pumps selected during preliminary design of IPS and LHPS and initial operating conditions, and
              maintenance and KWA Administration reduced to 70 percent of original value due to lower peak
              demand (60 mgd v. 85 mgd).

  Estimated operation and maintenance costs, based on proportion of water
  purchased, are presented in Table 3.

                                             Table 3
                Estimated Annual Operation and Maintenance Costs (3-Year Average)
                    Annual Water     Water                    Operation & Maintenance Costs
                     Purchased     Purchased       %        2016          2017          2018
  Genesee County      655,783 mcf  13.44 mgd     56.4     $1,260,938    $1,365,707    $1,454,566
  City of Flint       506,963 mcf  10.39 mgd     43.6       $974,768    $1,055,760    $1,124,451
     Total          1,162,746 mcf  23.83 mgd     100.0    $2,235,706    $2,421,467    $2,579,017
  Note: Based on cost of $277 per mg or $2.07 per mcf. Calculated using an average O&M cost for 2016 to 2018.

  The costs calculated above are based on a calendar year, but the City of Flint’s
  fiscal year runs from July to June. Table 4 breaks down the operating costs
  presented above and allocates the semi-annual amounts to Flint’s fiscal year.

                                                 Table 4
                              Breakdown and Allocation of Flint Operating Costs
                                   2016 (Calendar Year)        2017 (Calendar Year)       2018 (Calendar Year)
   KWA Operating Cost                     $974,768                  $1,055,760                   $1,124,451

   Semi-Annual Breakdown           $487,384      $487,384     $527,880      $527,880      $562,226        $562,226

   Fiscal Year Allocation                         $1,015,264 FY 2017         $1,090,106 FY 2018




  Work      Notes –   Report     of the Engineering Consultant                                 902-6843.001
  Karegnondi Water Authority                                                              0 3 / 1 7 / 1 4 , P a g e |3
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                                                                                                              TM
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  Capital Costs
  KWA bonds will need to produce $240 million in proceeds for the project.
  Approximately $300 million of bonds will be issued in two different series of
  bonds, including fully funded bond reserve and capitalized interest through the
  November 1, 2016 payments. The first debt service payable from KWA system
  revenue is May 1, 2017, essentially requiring the project to be in full service by
  the fall of 2016. The annual bond payments, including the Intake Bonds, total an
  estimated $23,000,000. This assumes an interest rate of 5 percent for the first
  series of bonds of $220 million and 5.25 percent for the second series of bonds of
  $80 million, with both series of bonds being 30 years duration.

  Based on 60 units, the estimated annual capital cost per unit would be $383,333
  per unit for construction. A unit is equal to 1 mgd of peak month capacity.

  Genesee County’s portion of the annual payment would be $16,100,000 (42 of 60
  units) and Flint’s would be $6,900,000 (18 of 60 units), as shown in Table 5.

                                               Table 5
                         Estimated Annual Debt Service Costs For Construction
                                Units (mgd)           %            Debt Service                          %
  Genesee County                    42                70               $16,100,000                      70
  City of Flint                     18                30                $6,900,000                       30
     Total                          60               100               $23,000,000                      100

  Total KWA Charges
  The total KWA charges for Flint and GCDC-WWS will be as shown in Table 6
  for 2016 and 2017.

                                                Table 6
                                   Total KWA Charges (3-Year Average)
                                                    Flint                              GCDC-WWS
  Capacity                                          30%                                    70%
  Initial Usage                                    43.6%                                  56.4%
  Capital (Annual Payment)                       $6,900,000                            $16,100,000
  O&M                                            $1,051,659                             $1,360,404
      Total Annual Charge                        $7,951,659                            $17,460,404




  Work    Notes –    Report    of the Engineering Consultant                                902-6843.001
  Karegnondi Water Authority                                                           0 3 / 1 7 / 1 4 , P a g e |4
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                                                           APPENDIX A-2
                                                                 PROJECT MAPS
             Case 4:20-cv-12726-MFL-DRG ECF No. 1-2 filed 10/07/20   PageID.353    Page 293 of 726

                                                                                                                    TM
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Work   Notes –   Report   of the Engineering Consultant                           Appendix A-2, 902-6843.001
Karegnondi Water Authority                                                                   0 3 / 1 7 / 1 4 , P a g e |1
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                                                                                                                    TM
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Work   Notes –   Report   of the Engineering Consultant                           Appendix A-2, 902-6843.001
Karegnondi Water Authority                                                                   0 3 / 1 7 / 1 4 , P a g e |2
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Work   Notes –   Report   of the Engineering Consultant                           Appendix A-2, 902-6843.001
Karegnondi Water Authority                                                                   0 3 / 1 7 / 1 4 , P a g e |3
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                                                              APPENDIX B
               GENESEE COUNTY DRAIN COMMISSION - WATER AND WASTE SERVICES
Case 4:20-cv-12726-MFL-DRG ECF No. 1-2 filed 10/07/20   PageID.357   Page 297 of 726




                                                           APPENDIX B-1
                     HISTORICAL WATER PURCHASED AND SOLD - GENESEE COUNTY
Case 4:20-cv-12726-MFL-DRG ECF No. 1-2 filed 10/07/20                PageID.358         Page 298 of 726
                                                                                                       TM
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                                         Appendix B-1
                Historical Water Purchased v. Sold – Genesee County (Cubit Feet)
                               Water
              Year          Purchased             Billable Water       % System Loss
              2007          719,759,400            668,814,441               7.08%
              2008          656,343,300            643,936,714               1.89%
              2009          616,325,400            594,736,958               3.50%
              2010          616,632,200            585,092,058               5.11%
              2011          621,182,300            581,675,986               6.36%
              2012          630,152,800            579,781,667               7.99%
              2013          587,285,100       534,000,000 estimated          9.07%


           Source:   County of Genesee, State of Michigan, $35,000,000 Water Supply System
                     Revenue Bonds (Limited Tax General Obligation) Series 2013 Official Statement;
                     Updates by GCDC-WWS Personnel.

                     2013 Billable Water Volume subject to minor changes after final meter reads and
                     audit of values.




  Report   of the Engineering Consultant                                             902-6843.001
  Karegnondi Water Authority                                                    0 3 / 1 7 / 1 4 , P a g e |1
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                                                           APPENDIX B-2
                           GENESEE COUNTY WATER SUPPLY SALES, 2011 AND 2012
Case 4:20-cv-12726-MFL-DRG ECF No. 1-2 filed 10/07/20                 PageID.360        Page 300 of 726
                                                                                                       TM
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                                            Appendix B-2
                                  Genesee County Water Supply Sales
                                                                               Average %
                                       2011                 2012              Increase Per
             Community                (cu. ft.)           (cu. ft.)           Year (11-12)
                  1
      Burton City                  60,577,973            62,145,013               2.59%
               1
      Clio City                     9,063,800             8,916,600              -1.62%
                 1
      Morris City                  11,257,800            11,276,200               0.16%
                          1
      Swartz Creek City            28,734,200            27,420,810              -4.57%
                      1
      Montrose City                 6,093,500             6,105,500               0.20%
                    1
      Flushing City                27,988,300            27,741,300              -0.88%
      Montrose Twp.                 5,131,160             4,707,630              -8.25%
      Vienna Twp.                  14,096,827            15,080,360               6.98%
      Thetford Twp.                    17,000                17,100               0.59%
      Flushing Twp.                22,618,810            23,471,530               3.77%
      Mt. Morris Twp.              33,325,560            32,816,330              -1.53%
                       1
      Genesee Twp.                 36,069,100            35,315,900              -2.09%
      Richfield Twp.                6,256,210             6,756,480               8.00%
      Clayton Twp.                  7,341,240             7,690,860               4.76%
      Flint Twp.                  102,186,779           103,711,109               1.49%
      Davidson Twp.                40,931,444            42,314,290               3.38%
      Gaines Twp.                   4,193,600             4,250,800               1.36%
      Mundy Twp.                   25,049,868            26,866,194               7.25%
                        1
      Grand Bl. Twp.              129,998,237           130,167,445               0.13%
      Hydrants                      1,786,526             3,010,216              68.50%

      Total                       572,717,934           579,781,667              1.23%
      1
          Master Meter

     Source:       Updated information provided by Genesee County Drain Commissioner – Water and
                   Waste Service Personnel.




  Report      of the Engineering Consultant                                          902-6843.001
  Karegnondi Water Authority                                                    0 3 / 1 7 / 1 4 , P a g e |1
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                                                           APPENDIX B-3
                                                GCDC WATER RATES WITH KWA
Case 4:20-cv-12726-MFL-DRG ECF No. 1-2 filed 10/07/20                      PageID.362         Page 302 of 726
                                                                                                             TM
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                                            Appendix B-3
                                GCDC-WWS Water Rates – with KWA


  x      Analysis started with the recently completed rate study for 2014 to 2018.

  x      Customer base remained the same.

         o       Equivalent Meters – No growth

         o       Commodity – No growth

  x      GCDC-WWS WTP will commence operation on July 1, 2016.

  x      CCIF Revenue projection has been reduced from the prior rate study of $575,000 per year to:

                        2014                 $275,000
                        2015                 $300,000
                        2016                 $300,000
                        2017                 $300,000
                        2018                 $300,000

  x      Adjustments to Expenses for 2014, 2015, 2016, 2017, and 2018.

         o       Detroit rates are expected to increase by 10.3 percent starting April 1, 2014, an additional
                 9 percent starting July 1, 2014, and 10 percent starting July 1, 2015. (Discussion by
                 GCDC-WWS with DWSD.)

         o       Removed Flint surcharge for water purchase starting April 1, 2014

         o       Water Expense to Detroit to continue until June 30, 2016

         o       Added KWA O&M (56.4 percent of Total, half year in 2016)

                        Year                   Total              GCDC-WWS
                        2016                $1,117,853              $630,469
                        2017                $2,421,467             $1,365,707
                        2018                $2,579,017             $1,454,566
                 All cost allocated to Commodity

         o       Add GCDC-WWS O&M for new WTP

                        $3.60 per 1,000 cubic feet = $481 per mg



  GCDC   –   WWS Water       Rates – With KWA                        Appendix B-3, 902-6843.001
  Karegnondi Water Authority                                                          0 3 / 1 7 / 1 4 , P a g e |1
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                                                                                                          TM
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                        Inflate 3 percent per year

                        Treated Water Volume = 13.04 mgd

                        Year                     Rate                Total
                        2013                  $481 per mg            ---
                        2016                  $525 per mg         $1,249,395        (half year)
                        2017                  $541 per mg         $2,574,943
                        2018                  $557 per mg         $2,651,097
                 All cost allocated to Commodity


  x      Capital costs were added as follows:

         o       Capital Reinvestment / Depreciation Water Plant - $1,500,000 per year starting in 2017

                 All allocated to Volume

         o       Intake Debt Service

                               2014                           $2,529,423
                               2015                           $2,526,838
                               2016                           $2,527,388
                               2017                           $2,527,188
                               2018                           $2,527,588
                 All cost is allocated 85 percent to Commodity and 15 percent to RTS

         o       KWA Purchase

                        $383,333 per unit time 42 units equals $16,100,000 per year starting in 2016.

                        Starting in 2016, GCDC-WWS will receive a credit from KWA equal to Flint’s
                         share of the Intake Bonds – 30 percent of $2,527,188 equals $758,156.

                        Prior to July 1, 2016, approximately 10 percent will be paid annually to KWA of
                         the net amount.

                        Annual net expenses will be:

                               2014                           $1,356,600
                               2015                           $1,356,600
                               2016                           $7,465,800
                               2017                          $13,575,000



  GCDC   –   WWS Water      Rates – With KWA                       Appendix B-3, 902-6843.001
  Karegnondi Water Authority                                                       0 3 / 1 7 / 1 4 , P a g e |2
Case 4:20-cv-12726-MFL-DRG ECF No. 1-2 filed 10/07/20                     PageID.364        Page 304 of 726
                                                                                                           TM
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                             2018                             $13,575,000
                         Net expenses will be allocated 85 percent to Commodity and 15 percent to RTS


         o       GCDC-WWS Water Plant and associated facilities Bond ($60,000,000)


                             2015                              $3,978,516
                             2016                              $4,027,813
                             2017                              $4,028,450
                             2018                              $4,026,725
                 Expenses will be allocated 85 percent to Commodity and 15 percent to RTS


         o       A KWA bond reserve fund will be established from a portion of the bonds’ proceeds.
                 Income from the bond reserve is estimated at an ultimate rate of 3 percent per year, with
                 1 and 2 percent earned in 2015 and 2016 respectively.

                        Estimated GCDC-WWS’s share is:


                             2015                                $156,800
                             2016                                $313,600
                             2017                                $470,400
                             2018                                $470,400
                         All bond reserve income will be allocated to commodity


         o       In the past, an additional 10 percent of the bonds’ principal and interest payments were
                 included in determining rates. The additional 10 percent was to assist with bond
                 payments during periods of low revenue. In lieu of the 10 percent add on, GCDC-WWS
                 will be including in the rate determination a non-cash item depreciation to provide
                 adequate coverage for the rates. In addition, the KWA bonds include a bond reserve from
                 the proceeds.

  x      Rates – See attached spreadsheet Appendix B-5 for rates per year. Even though future increases
         in DWSD charges have been projected, GCDC-WWS typically passes through the DWSD actual
         charges directly to the customers. The need to satisfy ordinance imposed additional bonds tests
         could also lead to higher rates. The rates in Appendix B-5 are only for the GCDC-WWS charges.
         GCDC-WWS community customers also add local charges ranging from 0 percent to 53 percent
         of GCDC-WWS RTS charges, and from 0 to 14 percent of GCDC-WWS commodity charges to
         their end users.




  GCDC   –   WWS Water      Rates – With KWA                        Appendix B-3, 902-6843.001
  Karegnondi Water Authority                                                        0 3 / 1 7 / 1 4 , P a g e |3
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                                                           APPENDIX B-4
                     EXPENSES AND REVENUES FOR GCDC WATER SUPPLY DISTRICT
                                               Case 4:20-cv-12726-MFL-DRG ECF No. 1-2 filed 10/07/20                                                                                     PageID.366                        Page 306 of 726




GCDC-WWS
3/4/2014

                                                                                                       Water Supply District Past & Projected Expenses & Revenues

           Category                                               2009              2010              2011              2012              2013             2014      2015-2018        2014              2015              2016             2017            2018            2016-1           2016-2
                                                                 Actual            Actual            Actual            Actual            Budget         % Increase   % Increase     Projected         Projected         Projected        Projected       Projected        Projected        Projected
  702.00   Salaries and Wages                                    $730,965.84       $839,286.72       $846,687.83       $737,745.13       $818,067.00       3.0%         3.0%             $842,609          $867,887          $893,924       $920,742          $948,364         $446,962         $446,962
  702.01   Salaries and Wages - Personal Time                           $0.00             $0.00             $0.00       $29,716.91        $38,600.00       3.0%         3.0%              $39,758           $40,951           $42,179         $43,445          $44,748          $21,090          $21,090
  702.02   Salaries and Wages - Vacation Time                           $0.00             $0.00             $0.00       $54,869.17        $57,540.00       3.0%         3.0%              $59,266           $61,044           $62,876         $64,762          $66,705          $31,438          $31,438
  702.03   Salaries and Wages - Holiday                                 $0.00             $0.00             $0.00       $45,851.84        $47,800.00       3.0%         3.0%              $49,234           $50,711           $52,232         $53,799          $55,413          $26,116          $26,116
  702.04   Salaries and Wages - Vacation Cash In                        $0.00             $0.00             $0.00       $17,516.72           $360.00       3.0%         3.0%                 $371              $382              $393            $405             $417             $197             $197
  702.05   Salaries and Wages - Separation                              $0.00             $0.00             $0.00             $0.00            $0.00       3.0%         3.0%                   $0                $0                $0              $0               $0               $0               $0
  709.00   Overtime                                              $130,515.49        $96,955.59       $107,960.46       $112,082.64       $123,000.00       2.0%         2.0%             $125,460          $127,969          $130,529       $133,139          $135,802          $65,264          $65,264
  710.00   Bonus                                                   $2,025.00         $1,875.00         $1,250.00         $1,400.00         $3,000.00       2.0%         2.0%               $3,060            $3,121            $3,184          $3,247           $3,312           $1,592           $1,592
  711.00   Insurance Opt Out                                            $0.00             $0.00        $1,000.00              $0.00            $0.00       2.0%         2.0%                   $0                $0                $0              $0               $0               $0               $0
  716.01   Fringe Benefits Taxes                                  $70,693.76        $69,125.91        $71,429.55        $77,216.30        $83,800.00       3.0%         3.0%              $86,314           $88,903           $91,571         $94,318          $97,147          $45,785          $45,785
  716.02   Fringe Benefits Pension                               $152,942.69       $160,527.84       $155,939.91       $144,802.41       $195,800.00       2.0%         2.0%             $199,716          $203,710          $207,785       $211,940          $216,179         $103,892         $103,892
  716.03   Fringe Benefits Medical - Active                      $215,210.29       $254,870.28       $242,958.33       $318,381.26       $367,500.00       7.0%         7.0%             $393,225          $420,751          $450,203       $481,718          $515,438         $225,102         $225,102
  716.05   Fringe Benefits Dental & Optical - Active              $25,515.52        $22,926.13        $24,344.51        $25,015.57        $30,500.00       7.0%         7.0%              $32,635           $34,919           $37,364         $39,979          $42,778          $18,682          $18,682
  716.09   Fringe Benefits Life - Active                           $8,469.38         $7,367.02         $5,871.77        $10,470.58        $11,000.00       7.0%         7.0%              $11,770           $12,594           $13,475         $14,419          $15,428           $6,738           $6,738
  716.11   Fringe Benefits Worker's Compensation                   $5,919.10         $8,755.54         $7,735.49        $16,714.26        $22,000.00       8.0%         8.0%              $23,760           $25,661           $27,714         $29,931          $32,325          $13,857          $13,857
  716.12   Fringe Benefits OPEB                                  $147,266.10       $161,047.15       $346,142.81       $500,609.13       $600,000.00       2.0%         2.0%             $612,000          $624,240          $636,725       $649,459          $662,448         $318,362         $318,362
  716.13   Fringe Benefits - Uniforms                                   $0.00             $0.00                          $5,208.20         $4,600.00       2.0%         2.0%               $4,692            $4,786            $4,882          $4,979           $5,079           $2,441           $2,441
  716.15   Fringe Benefits - Miscellaneous                         $4,098.28         $7,096.56          $4,268.88          $297.79             $0.00       2.0%         2.0%                   $0                $0                $0              $0               $0               $0               $0
  722.00   Clinic Expense                                            $856.46           $693.22            $626.22          $735.85         $1,000.00       2.0%         2.0%               $1,020            $1,040            $1,061          $1,082           $1,104             $531             $531

           Total Payroll Expenses                               $1,494,477.91     $1,630,526.96     $1,816,215.76     $2,098,633.76     $2,404,567.00                             $2,484,890.01     $2,568,670.43     $2,656,095.48     $2,747,364.09   $2,842,687.69    $1,328,047.74    $1,328,047.74

  726.00   Office Supplies                                          $2,398.59         $3,881.85         $3,705.96         $3,137.31         $4,000.00     2.0%         2.0%               $4,080            $4,162            $4,245           $4,330           $4,416           $2,122           $2,122
  727.08   Operating Supplies - Diesel                                  $0.00             $0.00             $0.00         $2,518.85         $5,000.00     2.0%         2.0%               $5,100            $5,202            $5,306           $5,412           $5,520           $2,653           $2,653
  727.09   Operations Supplies - Meters                                 $0.00        $44,554.21        $24,997.00        $83,535.43       $120,000.00     2.0%         2.0%             $122,400          $124,848          $127,345         $129,892         $132,490          $63,672          $63,672
  727.99   Operating Supplies - General                            $16,886.79       $106,637.09        $52,044.58        $43,777.77         $1,000.00     2.0%         2.0%               $1,020            $1,040            $1,061           $1,082           $1,104             $531             $531
  729.00   Lab Supplies                                             $3,502.32         $6,604.86         $7,450.28         $7,355.42        $10,000.00     2.0%         2.0%              $10,200           $10,404           $10,612          $10,824          $11,041           $5,306           $5,306
  731.00   Misc. Supplies                                           $2,047.06         $1,387.71         $1,999.62         $1,448.05           $500.00     2.0%         2.0%                 $510              $520              $531             $541             $552             $265             $265
  733.00   Postage                                                 $52,954.15        $48,422.10        $28,577.64           $377.90           $500.00     3.0%         3.0%                 $515              $530              $546             $563             $580             $273             $273
  734.00   Small Tools                                             $21,791.25         $8,740.66        $10,705.82         $4,423.84         $5,000.00     2.0%         2.0%               $5,100            $5,202            $5,306           $5,412           $5,520           $2,653           $2,653

           Total Supply Expenses                                   $99,580.16       $220,228.48       $129,480.90       $146,574.57       $146,000.00                              $148,925.00       $151,908.65       $154,952.13      $158,056.63     $161,223.39       $77,476.06       $77,476.06

  740.00 Dues and Membership                                        $5,598.99         $6,642.49         $3,993.24         $2,598.20         $4,500.00     2.0%         2.0%               $4,590            $4,682            $4,775           $4,871           $4,968           $2,388           $2,388
  745.00 Printing and Publishing                                    $1,538.92             $0.00        $21,960.70         $1,211.40         $1,500.00     2.0%         2.0%               $1,530            $1,561            $1,592           $1,624           $1,656             $796             $796
  760.00 General Insurance                                        $125,039.14        $62,745.08        $71,257.44        $82,336.10       $111,000.00     3.0%         3.0%             $114,330          $117,760          $121,293         $124,931         $128,679          $60,646          $60,646

           Total Other Expenses                                $132,177.05       $69,387.57        $97,211.38        $86,145.70        $117,000.00                                 $120,450.00       $124,002.30       $127,659.95      $131,426.07     $135,303.91       $63,829.97       $63,829.97

  801.01   Professional and Contractual Service Legal              $62,357.10        $52,053.93        $36,092.88        $40,980.89        $50,000.00     2.0%         2.0%              $51,000           $52,020            $53,060         $54,122          $55,204          $26,530          $26,530
  801.02   Professional and Contractual Service Engineering        $56,636.75         $3,573.63        $78,956.69       $211,100.14        $97,500.00     2.0%         2.0%              $99,450          $101,439           $103,468        $105,537         $107,648          $51,734          $51,734
  801.04   Professional and Contractual Services Cleaning                                 $0.00        $10,537.67         $7,220.99         $7,500.00     2.0%         2.0%               $7,650            $7,803             $7,959          $8,118           $8,281           $3,980           $3,980
  801.05   Professional - Cross Connection Contracts               $84,650.00        $78,000.00        $78,000.00        $78,000.00       $100,000.00     2.0%         2.0%             $102,000          $104,040           $106,121        $108,243         $110,408          $53,060          $53,060
  801.06   Professional and Contractual Service GIS                     $0.00             $0.00                          $43,300.00        $45,000.00     2.0%         2.0%              $45,900           $46,818            $47,754         $48,709          $49,684          $23,877          $23,877
  805.00   Permits                                                      $0.00             $0.00                               $0.00        $17,000.00     2.0%         2.0%              $17,340           $17,687            $18,041         $18,401          $18,769           $9,020           $9,020
  806.00   Security Expense                                         $3,688.82         $3,142.12         $3,571.08         $3,413.51         $5,000.00     2.0%         2.0%               $5,100            $5,202             $5,306          $5,412           $5,520           $2,653           $2,653
  808.00   Taping Service                                          $46,541.86        $45,554.52        $52,471.04        $36,643.20        $40,000.00     2.0%         2.0%              $40,800           $41,616            $42,448         $43,297          $44,163          $21,224          $21,224
  810.04   KWA O&M                                                                                                                                                                                                           $630,469      $1,365,707       $1,454,566                          $630,469
  810.05   GCDC O&M                                                                                                                                                     3.0%                                               $1,249,395      $2,574,943       $2,651,097                        $1,249,395
  810.01   Cost of Water - Commodity                            $8,635,352.28     $8,889,853.59     $9,461,016.46     $7,490,389.60     $7,668,000.00     21.7%        12.0%           $9,328,797       $10,450,507        $5,474,075              $0               $0    $5,474,075.00
  810.03   Cost of Water - Flint Surcharge                      $1,392,682.70     $1,398,666.00     $1,482,000.00     $1,254,000.00     $1,368,000.00      0.0%         0.0%             $342,000                $0                $0              $0               $0
  810.02   Cost of Water - DWSD RTS                                     $0.00       $546,936.00     $2,004,721.00     $3,035,015.72     $3,988,000.00     17.6%        12.0%           $4,690,497        $5,254,490        $2,752,352              $0               $0    $2,752,352.00

           Total Contracts                                    $10,281,909.51    $11,017,779.79    $13,207,366.82    $12,200,064.05    $13,386,000.00                              $14,730,534.00    $16,081,621.80    $10,490,448.30    $4,332,490.44   $4,505,340.25    $8,418,505.65    $2,071,942.65

  836.00   Rentals                                                                                                          $359.27         $2,500.00     2.0%         2.0%               $2,550            $2,601            $2,653           $2,706           $2,760           $1,327           $1,327
  845.01   Repairs and Maintenance Infrastructure                  $91,201.41       $123,048.38       $305,582.48       $168,615.71       $200,000.00     2.0%         2.0%             $204,000          $208,080          $212,242         $216,486         $220,816         $106,121         $106,121
  845.02   Repairs and Maintenance Building                        $18,519.30        $36,844.17        $28,379.64        $17,545.73        $25,000.00     2.0%         2.0%              $25,500           $26,010           $26,530          $27,061          $27,602          $13,265          $13,265
  845.03   Repairs and Maintenance Equipment                       $64,890.20        $60,681.97        $62,198.25        $89,967.76       $120,000.00     2.0%         2.0%             $122,400          $124,848          $127,345         $129,892         $132,490          $63,672          $63,672
  845.06   Repairs and Maintenance Software                             $0.00        $12,500.00         $3,670.00         $6,457.50         $5,000.00     2.0%         2.0%               $5,100            $5,202            $5,306           $5,412           $5,520           $2,653           $2,653

           Total Repair and Maintenance                        $174,610.91       $233,074.52       $399,830.37       $282,945.97       $352,500.00                                 $359,550.00       $366,741.00       $374,075.82      $381,557.34     $389,188.48      $187,037.91      $187,037.91

  845.07   Repairs and Maintenance Vehicles                       $190,986.66       $169,205.45       $197,938.23        $73,452.29        $57,000.00     2.0%         2.0%               $58,140           $59,303           $60,489         $61,699          $62,933          $30,244          $30,244
  845.08   Repairs and Maintenance Ground Care                      $7,401.88         $6,226.90        $15,406.30        $15,873.43        $20,000.00     2.0%         2.0%               $20,400           $20,808           $21,224         $21,649          $22,082          $10,612          $10,612
  845.09   Repairs and Maintenance SCADA                                                                                  $3,659.62         $5,000.00     2.0%         2.0%                $5,100            $5,202            $5,306          $5,412           $5,520           $2,653           $2,653
  846.01   Vehicles Fuel - Diesel                                                                                             $0.00         $8,000.00     2.0%         2.0%                $8,160            $8,323            $8,490          $8,659           $8,833           $4,245           $4,245
  846.02   Vehicles Fuel - Gasoline                                                                                           $0.00        $10,000.00     2.0%         2.0%               $10,200           $10,404           $10,612         $10,824          $11,041           $5,306           $5,306
  855.00   Community Utilities                                          $0.00             $0.00        $86,062.82        $50,600.38        $50,000.00     2.0%         2.0%               $51,000           $52,020           $53,060         $54,122          $55,204          $26,530          $26,530
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GCDC-WWS
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                                                                                                  Water Supply District Past & Projected Expenses & Revenues

           Category                                          2009              2010              2011              2012              2013             2014      2015-2018        2014                2015                2016                2017             2018             2016-1            2016-2
                                                            Actual            Actual            Actual            Actual            Budget         % Increase   % Increase     Projected           Projected           Projected           Projected        Projected         Projected         Projected
  856.01   Utilities - Electric                             $388,444.17       $368,868.30       $410,085.33       $366,566.12       $450,000.00       9.0%         9.0%             $490,500            $534,645            $582,763          $635,212           $692,381          $291,382          $291,382
  856.02   Utilities - Gas                                   $27,916.68        $10,890.52        $14,831.74        $23,869.08        $15,000.00       9.0%         9.0%              $16,350             $17,822             $19,425            $21,174           $23,079            $9,713            $9,713
  856.03   Utilities - Sewer & Water                            $808.96        $34,010.73        $29,878.06         $7,938.94        $10,000.00       9.0%         9.0%              $10,900             $11,881             $12,950            $14,116           $15,386            $6,475            $6,475
  854.04   Utilities Communication                           $18,137.08        $26,439.95        $22,276.59        $16,598.94        $20,000.00       2.0%         2.0%              $20,400             $20,808             $21,224            $21,649           $22,082           $10,612           $10,612
  857.00   Trash Removal                                           $0.00             $0.00                          $1,707.95         $1,500.00       2.0%         2.0%               $1,530              $1,561              $1,592             $1,624            $1,656              $796              $796
  864.00   Conferences and Seminars                           $1,386.78         $2,735.66          $539.50          $1,989.21         $2,500.00       2.0%         2.0%               $2,550              $2,601              $2,653             $2,706            $2,760            $1,327            $1,327
  876.00   Safety                                             $1,143.11         $4,245.53         $4,430.01           $593.54         $2,500.00       2.0%         2.0%               $2,550              $2,601              $2,653             $2,706            $2,760            $1,327            $1,327
  877.00   Outside Inspections/Testing                        $7,440.72         $9,551.49        $10,721.38         $9,740.76        $15,000.00       2.0%         2.0%              $15,300             $15,606             $15,918            $16,236           $16,561            $7,959            $7,959
  955.00   Misc. Operating Expenses                          $14,217.34        $17,572.36        $13,767.87        $18,850.61             $0.00       2.0%         2.0%                   $0                  $0                  $0                 $0                $0                $0                $0

           Total Operation Services                      $643,666.04       $632,174.53       $792,169.96       $572,590.26        $666,500.00                                 $713,080.00         $763,584.10         $818,360.11         $877,787.02      $942,277.85       $409,180.05       $409,180.05

           Administration Expense (Depts: 50,51,52,54)    $2,737,766.61     $2,798,842.50     $2,299,917.46     $3,055,779.00      $2,899,498.00     4.0%         4.0%            $3,015,478          $3,136,097          $3,261,541         $3,392,003        $3,527,683     $1,630,770.46     $1,630,770.46

  966.00 Easement/ROW Expenses                                    $0.00         $2,300.00        $10,464.70         $6,000.00              $0.00                  2.0%                      $0                  $0                  $0               $0                $0               $0                $0
         Capital Projects (91xx Funds)                            $0.00             $0.00         $3,355.02     $2,401,791.00        $346,900.00                  3.0%                      $0                  $0                  $0               $0                $0               $0                $0
         Capital Reinvestment/Depreciation Water Plant                                                                                                                                                                                       $1,500,000        $1,500,000               $0                $0
         Capital Reinvestment/Depreciation Recovery               $0.00             $0.00             $0.00             $0.00              $0.00                  3.0%            $1,962,890          $1,903,580          $1,903,580         $1,898,841        $1,898,841         $951,790          $951,790

           Total Capital Expense                                  $0.00         $2,300.00        $13,819.72     $2,407,791.00        $346,900.00                             $1,962,890.16       $1,903,579.66       $1,903,579.66       $3,398,840.66    $3,398,840.66      $951,789.83       $951,789.83

  994.00 Bond Principal Payments                          $1,135,000.00     $1,175,000.00     $1,210,000.00     $1,260,000.00      $1,310,000.00                                  $1,360,000          $1,415,000          $1,470,000         $1,530,000        $1,595,000          $735,000          $735,000
  995.00 Bond Interest Payments                           $1,967,363.76     $1,928,501.26     $1,885,338.76     $1,839,118.78      $1,794,834.00                                  $1,737,651          $1,683,131          $1,624,571         $1,562,939        $1,497,256          $812,286          $812,286
         Intake Debt Service                                      $0.00             $0.00             $0.00             $0.00              $0.00                                  $2,529,423          $2,526,838          $2,527,388         $2,527,188        $2,527,588        $1,263,694        $1,263,694
   42.00 KWA Water Purchase = 42 units                                                                                                                                            $1,356,600          $1,356,600          $7,465,800        $13,575,000       $13,575,000          $678,300        $6,787,500
         GCDC Water Plant Debt Service                            $0.00             $0.00             $0.00             $0.00              $0.00                                          $0          $3,978,516          $4,027,813         $4,028,450        $4,026,725        $2,013,907        $2,013,907

           Total Debt Service                            $3,102,363.76     $3,103,501.26     $3,095,338.76     $3,099,118.78     $3,104,834.00                               $6,983,674.25       $10,960,085.26      $17,115,572.26      $23,223,576.76   $23,221,569.13    $5,503,186.13     $11,612,386.13

           TOTAL EXPENSES                                 $15,928,785.34    $16,908,973.11    $19,551,433.67    $20,893,864.09    $23,423,799.00                             $30,519,471.34      $36,056,290.24      $36,902,284.61      $38,643,101.57   $39,124,114.03    $18,569,823.81    $18,332,460.81
           Total without Detroit & Flint                 $5,900,750.36     $6,073,517.52     $6,603,696.21     $9,114,458.77     $10,399,799.00                              $16,158,177.34      $20,351,293.24      $28,675,857.61      $38,643,101.57   $39,124,114.03    $10,343,396.81    $18,332,460.81
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                                                           APPENDIX B-5
                          GCDC-WWS PROJECTED RATES DURING KWA PHASE-IN
                                                           Case 4:20-cv-12726-MFL-DRG ECF No. 1-2 filed 10/07/20                                                                                                                                               PageID.369                               Page 309 of 726




                                                                                                                                                                                                                                                                                                                                                                                                      3/4/2014




GCDC-WWS - Projected Rates during KWA phase in

                   2/27/2014
Annual Rate
                                                                                       2014                                                    2015                                                     2016-1                                                 2016-2                                                  2017                                                   2018
Expense Item                            RTS       Commodity        Expense             RTS              Commodity           Expense            RTS              Commodity           Expense              RTS             Commodity           Expense            RTS              Commodity           Expense           RTS              Commodity           Expense           RTS              Commodity
Detroit Commodity1                                    100%     $     8,584,763    $          -      $      8,584,763    $     9,617,009    $         -      $      9,617,009    $     5,037,481    $          -      $      5,037,481                      $          -      $            -                        $         -      $            -                        $         -      $            -
Detroit RTS1                                          100%     $     4,690,497    $          -      $      4,690,497    $     5,254,490    $         -      $      5,254,490    $     2,752,352    $          -      $      2,752,352                      $          -      $            -                        $         -      $            -                        $         -      $            -
Flint Surchage                           100%                  $       342,000    $      342,000    $            -                         $         -      $            -                         $          -      $            -                        $          -      $            -                        $         -      $            -                        $         -      $            -
Unaccounted for Water                     90%          10%     $       744,034    $      669,631    $         74,403    $       833,498    $     750,148    $         83,350    $       436,594    $      392,935    $         43,659                      $          -      $            -                        $         -      $            -                        $         -      $            -
Administration                            50%          50%     $     3,015,478    $    1,507,739    $      1,507,739    $     3,136,097    $   1,568,049    $      1,568,049    $     1,630,770    $      815,385    $        815,385    $     1,630,770   $      815,385    $        815,385    $     3,392,003   $   1,696,002    $      1,696,002    $     3,527,683   $   1,763,842    $      1,763,842
Existing Debt                                         100%     $     3,097,651    $          -      $      3,097,651    $     3,098,131    $         -      $      3,098,131    $     1,547,286    $          -      $      1,547,286    $     1,547,286   $          -      $      1,547,286    $     3,092,939   $         -      $      3,092,939    $     3,092,256   $         -      $      3,092,256
Intake Debt                                15%         85%     $     2,529,423    $      379,413    $      2,150,010    $     2,526,838    $     379,026    $      2,147,812    $     1,263,694    $      189,554    $      1,074,140    $     1,263,694   $      189,554    $      1,074,140    $     2,527,188   $     379,078    $      2,148,110    $     2,527,588   $     379,138    $      2,148,450
Depreciation                                          100%     $     1,962,890    $          -      $      1,962,890    $     1,903,580    $         -      $      1,903,580    $       951,790    $          -      $        951,790    $       951,790   $          -      $        951,790    $     3,398,841   $         -      $      3,398,841    $     3,398,841   $         -      $      3,398,841
Transmission O&M                                      100%     $     2,127,441    $          -      $      2,127,441    $     2,206,226    $         -      $      2,206,226    $     1,144,634    $          -      $      1,144,634    $     1,144,634   $          -      $      1,144,634    $     2,376,831   $         -      $      2,376,831    $     2,469,272   $         -      $      2,469,272
O&M Retail                               100%                  $     2,068,695    $    2,068,695    $            -      $     2,145,305    $   2,145,305    $            -      $     1,113,027    $    1,113,027    $            -      $     1,113,027   $    1,113,027    $            -      $     2,311,199   $   2,311,199    $            -      $     2,401,087   $   2,401,087    $            -
KWA O&M                                               100%                        $          -      $            -                         $         -      $            -                         $          -      $            -      $       630,469   $          -      $        630,469    $     1,365,707   $         -      $      1,365,707    $     1,454,566   $         -      $      1,454,566
GCDC WTP O&M                                          100%                        $          -      $            -                         $         -      $            -                         $          -      $            -      $     1,249,395   $          -      $      1,249,395    $     2,574,943   $         -      $      2,574,943    $     2,651,097   $         -      $      2,651,097
KWA Purchase/Debt Services                 15%         85%     $     1,356,600    $      203,490    $      1,153,110    $     1,356,600    $     203,490    $      1,153,110    $       678,300    $      101,745    $        576,555    $     6,787,500   $    1,018,125    $      5,769,375    $    13,575,000   $   2,036,250    $     11,538,750    $    13,575,000   $   2,036,250    $     11,538,750
GCDC-WWS WTP Debt                          15%         85%     $           -      $          -      $            -      $     3,978,516    $     596,777    $      3,381,739    $     2,013,907    $      302,086    $      1,711,821    $     2,013,907   $      302,086    $      1,711,821    $     4,028,450   $     604,268    $      3,424,183    $     4,026,725   $     604,009    $      3,422,716

Total Expenses                                                 $    30,519,472    $    5,170,968    $     25,348,504    $    36,056,290    $   5,642,795    $     30,413,495    $    18,569,835    $    2,914,732    $     15,655,103    $    18,332,472   $    3,438,177    $     14,894,295    $    38,643,101   $   7,026,796    $     31,616,305    $    39,124,115   $   7,184,325    $     31,939,790

Non-Rate Revenue Deducts
KWA Bond Reserve Income                               100%                  $0                $0                  $0          ($156,800)              $0           ($156,800)         ($156,800)               $0           ($156,800)        ($156,800)               $0           ($156,800)        ($470,400)              $0           ($470,400)        ($470,400)              $0           ($470,400)
County Capital Improvements Fee                       100%           ($275,000)               $0           ($275,000)         ($300,000)              $0           ($300,000)         ($150,000)               $0           ($150,000)        ($150,000)               $0           ($150,000)        ($300,000)              $0           ($300,000)        ($300,000)              $0           ($300,000)
Miscellaneous Revenue                      49%         51%           ($378,000)        ($185,220)          ($192,780)         ($378,000)       ($185,220)          ($192,780)         ($189,000)         ($92,610)           ($96,390)        ($189,000)         ($92,610)           ($96,390)        ($378,000)       ($185,220)          ($192,780)        ($378,000)       ($185,220)          ($192,780)

Revenue Needed from Rates                                           29,866,472         4,985,748          24,880,724         35,221,490        5,457,575          29,763,915         18,074,035         2,822,122          15,251,913         17,836,672        3,345,567          14,491,105         37,494,701       6,841,576          30,653,125         37,975,715       6,999,105          30,976,610

Customer Base
   Equivalent Meters                                                                     361,267                                                361,267                                                   180,634                                                180,634                                                361,267                                                361,267
   Commodity (100 cu ft)                                                                                   5,855,610                                               5,855,610                                                2,927,805                                               2,927,805                                              5,855,610                                              5,855,610

Rate
  RTS (per ERU)                                                                   $        13.80                                           $       15.11                                           $        15.62                                          $        18.52                                          $       18.94                                          $       19.37
  Commodity per 100 cu ft                                                                           $           4.25                                        $           5.08                                         $           5.21                                        $           4.95                                       $           5.23                                       $           5.29

Typical Bill
   5/8" meter - RTS                           1                                   $        13.80                                           $       15.11                                           $        15.62                                          $        18.52                                          $       18.94                                          $       19.37
   cu ft/mo                                           1,000                                         $          42.49                                        $          50.83                                         $          52.09                                        $          49.49                                       $          52.35                                       $          52.90

Total                                                                             $        56.29                                           $       65.94                                           $        67.72                                          $        68.02                                          $       71.29                                          $       72.27


1.
     Detroit expenses determined by adding an expected 10.3% in charges starting April 1, 2014, 9% starting July 1, 2014, and adding an additional 10% to then current charges starting July 1, 2015.


Current Rates
  RTS (per ERU)                        $14.59
  Commodity per 100 cu ft               $3.94

Current Typical Bill
   5/8" meter - RTS                  $ 14.59
   1,000 cu ft/mo                    $ 39.40
Total                                $ 53.99
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                                                           APPENDIX B-6
                                         GENESEE COUNTY WATER SUPPLY RATES
Case 4:20-cv-12726-MFL-DRG ECF No. 1-2 filed 10/07/20            PageID.371       Page 311 of 726
                                                                                                 TM
  Jones & Henry Engineers,       Ltd.                                              Fluid thinking...




                                            Appendix B-6
                             Genesee Water Supply Minimum Charge Rates
                                     09/02/2012 -
                    Meter Size        09/01/2013     09/02/2013   01/02/2014
                        (in)           Charge          Charge      Charge
                  Individual Meters
                        5/8                   $13.38      $14.59        $14.59
                        3/4                    20.07       21.89         21.89
                           1                   33.45       36.48         36.48
                       1-1/2                   66.90       72.95         72.95
                          2                   107.04      116.72        116.72
                          3                   200.70      218.85        218.85
                          4                   334.50      364.75        364.75
                          6                   669.00      729.50        729.50
                          8                 1,070.40    1,167.20      1,167.20
                         10                 1,605.60    1,750.80      1,750.80
                         12                 2,876.70    3,136.85      3,136.85
                  Indirect Rates
                        5/8                   $13.38      $13.53        $13.53
                        3/4                    20.07       20.30         20.30
                           1                   33.45       33.83         33.83
                       1-1/2                   66.90       67.65         67.65
                          2                   107.04      108.24        108.24
                          3                   200.70      202.95        202.95
                          4                   334.50      338.25        338.25
                          6                   669.00      676.50        676.50
                          8                 1,070.40    1,082.40      1,082.40
                                     09/02/2012 -
                                      09/01/2013     09/02/2013   01/02/2014
                                      Charge/EM      Charge/EM    Charge/EM
                  Equivalent Meters
                         25               $3,295.75    $2,241.75     $2,241.75
                         50                 6,591.50    4,483.50      4,483.50
                         80               10,546.40     7,173.60      7,173.60
                        120               15,819.60    10,760.40     10,760.40
                        165               21,751.95    14,795.55     14,795.55
                        215               28,343.45    19,279.05     19,279.05
                        320               42,185.60    28,694.40     28,694.40


                            Rate Per 100 cubic feet of consumption
                            09/02/09 - 09/01/10            $2.54
                            09/02/10 - 09/01/11            $2.76
                            09/02/11- 09/01/12             $2.96
                            09/02/12 – 09/01/13            $3.18
                            09/02/13- 01/01/14             $3.53
                            01/02/14                       $3.94


        Source:    GCDC-WWS




  Report   of the Engineering Consultant                                         902-6843.001
  Karegnondi Water Authority                                              0 3 / 1 7 / 1 4 , P a g e |1
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                                                           APPENDIX B-7
                                                  2011 MDEQ SANITARY SURVEY
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                                               STATE OF .M.lCHIGAN

                            DEPARTMENT OF ENVIRONMENTAL QUALITY
                                                     LANSING
 RICK SNYDER                                                                                           DAN WYANT
   GOVERNOR                                                                                                DIRECTOR




                                                      September 7,2011



    Mr. John O'Brien, Director
    Genesee County Drain Commissioner                                                  WSSN: '2615
    G-4610 Beecher Road
    Flint, Michigan 48532

    Dear Mr. O'Brien:

    SUBJECT:         2011 Sanitary Survey
                     Genesee County Water System

    Enclosed is a copy of the sanitary sLirvey completed by this department covering the
    Genesee County water system. This report is being submitted for your review and
    comment.

    Your attention should be directed to pages 27 through 33, which details our
    observations, conclusions, and recommendations. Also, pages 33 and 34 provide a
    brief summary of the individual items that need to be addressed and gives the pages in
    the report where those items are discussed.

    The items vary in priority and are listed without ranking. In general, improvement
    continues to be taken towards water system preventative maintenance. The need for
    an adequate supply of water for domestic use and fire protection will continue to
    increase as long as residential, commercial, and industrial growth continues in Genesee
    County_

     Item #1 discusses the need to establish adequate stand-by water service for Genesee
     County.

     Items #2, 3, and 6 discuss preventative maintenance and operational issues. This
     includes the need to continue establishing a prioritized valve turning program. Next,
     any remaining outdated meters should be changed out and the upgrade to a radio-read
     system should continue to be promoted among your retail customers. Finally, the Clio
     Road elevated tank should be scheduled for repainting.

     Item #4 discusses the need to continue upgrading areas of WWS's water system that
     are in poor condition.




               CONSTITUTION HALL' 525 WEST ALLEGAN STREET. P.O. BOX 30473 # LANSING, MICHIGAN 48909-7973
                                          WINW.miohigan.gov/deq • (800) 662-9278
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     Mr. John O'Brien                        2                                September 8, 2011


     Item #5 discusses the need to conduct a new water system study and master plan by
     2015.

     Item #7 discusses the need to operate the stand-by chlorination equipment at the
     Henderson Road and Center Road pump stations on an occasional basis.

    We wish to thank your staff for their time, and for the assistance given, during the
    survey and preparation of the report. As always, we are .available to meet with you to
    discuss the report in more detail.

                                                 Sincerely,           '.

                                            ~./ K/-::r:Aii,J!
                                            'f)
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                                                          _e
                                                                'v
                                                                      /PrA1/. :]..~,e'?l~)~
                                                                                     /
                                                                                     {./

                                             Michael F. Prysby, P.E., District Engineer
                                             Lansing District Office
                                             Resource Management Division
                                                 517-335-6122

     Enclosure

    cc:   Mr. Dave Jansen
          Mr. Tim Davidek
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                     GENESEE C UNTY DRAIN
                        C MISSIONER




                       DISTRIBUTI N SYSTE
                         SANITARY SURVEY
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                     ENESEE C UNTY DRAIN
                        C    ISSI NER
                     DISTRIBUTI N SYSTEM
                       SANITARY SURVEY




        Report By:



                         Michael F. Prysby, P.E., Distrid Engineer



                                    September 6, 2011
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                                    Acknowledgments

        The Michigan Department of Environmental Quality wishes to thank those
        involved in putting this survey together. A special thank~you goes to the Genesee
        County Drain CommissiorHi~ri especially the Division of Waste & Water employees
        Tim Davidek, Matt Raysin, Mark Horgan, Dave Jansen} and John O'Brien for tileir
        time and patience in compiling the requested data.
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                      ENESEE C UNTY DRAIN
                         CO   1581 NER
                      DISTRIBUTI N SYSTE
                        SANITARY SURVEY


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                                                                                                                                        Page   1

                                       WATER SYSTEM ~EVIJ;W

     WSSN 2615         Supply Genesee County Drain Comroissioner_                                  County Genesee
     Dates 7/13/2011 & 8/3/2011                  Reviewed by J:.1FP                                           District 11

     primary Contaot:         John O'Brien                                  Copy To:               'rim Davidek ._,,_•.__
     'fi tle:                 Director      ----~                           Title:                 Chief of 0&1'1
     Telephone:               (8TOT~73 2 ~ '7 8 '7 0                        Telephone:              ( 8 ttlL.2 3 2 -7 8 '7"~0,-----
     Address:                 G-46l0 Beecher Road                           Address:               Same
                              Flint,   1:11.   ~8_53?.. _____.




                                       Year: 2011                 Basis: MDEQ E:st. of reta:\.l customers
     Distribution Classification:                3-1                                                          Cert.                   ID if
                 Operator in Charge:            Tim Davidek
                                                ............,~~.-~~,~~.---~"""'~~"--.~-
                                                                                                              S-l

                       Other Operators:         Jeffrey Bryson
                                                Vernon Brenner
                                                Joe Anklam
                                                 RI'Ch·a.rd Bysko (Back-up)
                                                 Dave lTansen
                                                 "'SCC:-h-a-;-n~n-o-;-n--";;H-oC;-l'd-e-r--"----

                                                 Mark Horgan
                                                 Bill Hostetler
                                                 Jan Jones




                                                Steven Olson
                                                Steven Pelky
                                                Leslie Rogers
                                                Ronald Schroeder
                                                St-everl-Sha s k1-';:;I""I-~---
                                                Lony Smith
                                                James Thom12son

                       Treatment Capacity:                   55.0 lViGD

     Treatment Classifica.tion:                  D-1
           Operator in Charge:                   Dave Jansen                                                  D-1,     2-1

                       Other Operators:         Joe Anklam
                                                Jeffrey Bryson
                                                Vern Brenner
                                                 Connie-Hohm:=an-~---~

     Operator Certification                Con~ents:

     The Waste    &.   TJilater Services Division (WW8D)                f    continues a proactive position to'rJards
                                                                                                                                               1
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                                                                                                           Page         2

    promoting operator certificatio~ and maintains incentives for achieving operator
    certification. The WWSD maintains a mandatory certification requirement for any
    distribution system employee who ',,:Lahee to -advance from an operator assistant
    position to an operator position. A bonus incentive program is also in place for
    operators who obtain distribution system certificat.ion above the level required
    for their specific position. Certified operators h~lp protect the county's
    investment in the system, and help ensure that the system mec"ts the requirements
    of the SDfflA.

    Table 1.         Opera. tor, pos.i tion:!;1.
                OPERATOR POSITION                              :REQUIREMENTS
    Operator Assistant 1                                        None                                                    I
    Operator Assistant 2
    Ope.rator      "
                                                           I    None
                                                                S 4
    Maintenance Mechanic
    Equipment Ope.rator
    Senior 0&1"1 Ope.rator                                      S-4 or minimum of 4 years            e;~pe.rience

     0uperv.i
   f-c;-.       so:cy level                                     S-3


    Introductory Comments:
    The Genesee County Drain Commissioner serves vlater to a large percentage of
    Genesee County directly frOm the Detroit Water and Sewerage Department (DWSD) or
    through the city of Flint. Water service is p.rovided to 19 wholesale and retail
    customers (8 wholesale and 11 retail customers).
    The wholesale customers purchase water from the county through master meter(s) and
    these customers own and maintain the distribution system piping within their local
    service area. Each wholesale customer has established its own water department.
    The retail customers have very little involvement v~:i:th wi",:iter utility operation..
    The lIJWSD controls design, construction, and operation of the water system for
    these customers. The retail customers, however, are responsible for collecting -the
    water bills from their individual accounts.  Table 2 below shows the breakdown of
    the county's wholesale and retail customers.

    Table 2. Wholesale and                Re,!::~;j.l   Customers      ~E _Ge~.esee       _County

    Wholesale Customer            Number of Aooounts        Retail Customer               Number of Acoounts
                                                                                                                    I
    City
    ~  . of Burton                   6,656                   Clayton 'l'ownshl.p               865
    City of CllO                        993                  Davison Tovmship                2,636
    City of Flushing          J      3,8QO                   Flint Townshic           I
                                                                                             7/557                  I
    City of Mt. Morris               1,211                   FlushingTownsbip
                                                                                                            ~
                                                                                             2/538
    City of IvJontrose                 650                   Gaines Township                   487
    City of Swax:t z Cr.             2,173                   Mt. Morris TWp.                 3,152
    Genesee Township                 2,129                   t>1ontrose Township               284
    Grand Blanc Twp,                 6,592                 I Mundy Township                  1,365
                                                             Richfield Township                667
                                                             Vienna Townsh1.p                1,184
                                                             The.tford Township                 4

     Total Wholesale                24,204                  'rotal Reta1.l                  20,739

                                                                                                                        2
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                                                                                                                                                                    Page   3


    The 2011 population estimate is based our August 3, 2011 sanitary survey meeting,
    An estimate of 3.4 persons per account was used to obtain the population f3stimate.
    Genesee County's estimated retail service area population is approximately 70,500
    people.  'l'he combined ",holesale  and   retail  customer  service   area   sexves
    approximately 153,000 people,


    WELL INFORMATION
    One 6-inch test/exploration well 'f!aS constructed at the Henderson Road pump
    station site. The test-well was construct"d to a depth of 365 feet with a 6-inch
    PVC casing to 200 feet.    The well was pumped at 220 GPM with a draNdo'Nn to 60
    feet. Layne estimates that the aquifer could support a 350 '"400 GPM well for 10ng-
    term pumpage and possibly above 500 GP~1 for: a short-term emergency supply.    The
    NWSD has not decided whether to proceed in converting the test well to a
    production Nell for additional emergency capacity.


                                                          WATER USAGE

    TABLE 3. - PRODUCTION HISTORY
     (units in Million Gallons Per Day MGD)

     YEAR     Avg Dax:             Max Day              ,1>.'1g J?.il:Y(J'la~ Mo.                                 Max/Avg      G/C/D   % UnAcct H2O                  *
     1996      11.4                19.2                   14.8                                                     1. 68               1.1
     1997      12.8                22.8-'·'               20.1                                                    -1.78""-             1.5
     1998                          25.3                 -19:'T--"-"·--'-~

    "199'9 13-:7"'---               21-.-8-                21.1                                                    1. 59
                                                                                                                  ------
                                                                                                                                       :r:-cr----
     2000      12.9                 NA -----               18.3                                                                        1.1
     2001      13.8                 26.5                 - 22 , "()~---'-~--                                       1. 92               1.5
     2002     liJ . 8              27.5                   21.4                                                     1. 86               ....              ......,_
    2olJ3     T4:1'-"'''-          26.3                   20.2                                                     1. 83
                                                                                                                                              ~v.~_~~~




    2004      14.1                 22".-0--                17,6                                                    1. 56
    2005      15.0                 24.9                    19.6                                                   -n-6-                                  -, -
                                                                                                                                                   ........ ....
    2006       12,1                24.6                    20,7
                                                                                                                                       ~-


                                                                                                                   2.03
    2007      14-:5·----           19-.7--                 18.2                                                    1. 36
                                                                                                                                       ........-...-~--

     2008     1:.§.4               '19:9--                 18.5 .......................              ..           --'r:r~i'-
     2009     12.6                 18.9                    16.4                                                    1. SO
                                                                                          ".,....~        ~----




     2010     12,6
              --,,_._._.-          22.0                    18.8                                                    1. 75




     Five year Max Day 24.6 MGD                             Date              Summer 2006
     Ten year Max Day ----;;-2,,7~.,,5----,-;~1""G_;;;;_D-- Date              Summer 2002
     Five year Avg Day 13.0 MGD
     Max Day for capacity requirements                                            27.5 L'-1GD




                                                                                                                                                                           3
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     Annual Max Day Usage @ each meter pit (2000-2007)


     Center Rd in:      Total flow measured at the South Genesee Road meter pit.
     Center Rd out:     Total pumpage out from the Center Road North (eRN) Booster Pump
                        station, this will not equal the metered flow in since some the
                        total flow is taken from storage at Center Road.
     'J:'ctal flow:     Sum of the flows measured at Genesee, Belsay, Iri.sh, Oak,
                        Potter Road meter pits.



     2000:

     Total flow:    1'1A - SCADA failure
     Center Rd in: NA
     Center Rd out: 21. 5 MG
     Donaldson:        3.0 l-1G
     2001:

     Total flow:    26.5 MG           estimated due to SCADA failure
     Center P.d in: 15.7 MG
     Center Rd out: 23.2 MG         (three pumps ran)
     Donaldson:      3.0 MG

     2002 :

     Total Floyi':  27.5 MG
     Center Rd in: 16.3 [VIG        (three pumps ran)
     Center Rd out: 21. 0 MG
     Donaldson:      3.0 MG
     2003:

     Total flow:    26.3 i'-1G
     Center Rd in: 15.9 MG
     Center Rd out: 19.3 MG         (three pumps ran)
      Donaldson:            tvlG

      2004 :

     Total Flo,,!;  22.0    MG
     Center Rd in: 11. 4    MG      (three pumps ran)
     Center Rd out: 16.8    1:-1G
     Donaldson:             MG


      2005:

      ~['otal   Flow:   24.9 MG
      Center Rd in:          MG     (three pumps ran)
      Center Rd out:         MG
      Donaldson:             MG




                                                                                            4
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                                                                                            Page   5

     2006:

     Total now:       24.6 MG
     Center: Rd in: 15.7 MG
     Center: Hd out: 17.0 rJlG   (three pumps ran)
     Donaldson:            MG


     2007:

     Total Flow:      19.7 MG
     center Rd in:  18.2 MG      (three pumps ran)
     Center Re out: 18.0 MG
     Donaldson:            MG


     The Henderson Road pumping station has been in service since 2006.     'l'he nm,
     pumping station pumps between 3 and 6 MGO into Genesee County's North Loop and
     reduces the dema,nd off the Center Road pump station.
     The Center Road South (CRS) pump station has been in service since 2007. The CRS
     station pumps water to the eastern portion of Grand Blanc Township and to the
     Vassar Road station.       '

     The W'"v\lSD modified their monthly operation report in 2008 to include average day
     and max day pumpage from each of the major pumping stations as a result of their
     SC.ADA system improvements.     Pumpa.ge data from each pump station since 2008 is
     displayed as follows:


     2008
                                 Avg    Day      Max Day
     Total Flow:                 13.4 MGD                  MGD
     Henderson Rd:               5.19   tvlGD    7.07 t-1GD
     Center Rd North:            6.83   MGD     10.54 [':!GD
     Center Rd South:            0.74   lYIGD   10.07      MGD
     Noble Street:               0.28   MGD      1. 07     MGD
     Houran 8tree.t              0.00   MGD      0.00      MGD     *
     Donaldson Rd                0.00   MGD      0.00      tVlGD

     2009
                                 AV2 Day         ["lax     Day
     Total Flow:                 12.6 MGD                  j\1GD
     Henderson Rd:               3.44 MGD        6.91 MGD
     Center Rd North:            4.66 NGD        7.00      IvJGD
     Center Rd South:            1. 77 MGD       5.38      MGD
     Noble Street:               0.29 lV!GD      O. -; 9   JY1GD
     Houran Street               0.00 NGD        0.00      MGD     *
     Donaldson Rd                0.00 MGD        0.00      MGD




                                                                                                   5
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                                                                                                     Page   6
     2010
                             ~_':!.Y          Max D8J:
     Total Flow:             12.6 11GD              MGD

     Henderson Rd:            3.14 MGD        7.37 MGD
     Center Rd North:         3.83 MGD        6.19 1'1GD
     Center Rd South:         2.46 1'1GD      5.83 MGD
     Noble Street:            0.38 ~1GD       1.13 MGD
     Houran street            0,00 MGD        0.00 MGD     *
     Donaldson Rd             0.00 iYIGD      0.00 MGD




        "   The Houran Street station pumps \-vater; however:, the station is not metered
        thus no flow was shown in the pumpage data. Flow through this station is
        estimated by accounting pUlllp run time ',,;ith the approximate capacity each
        pump(s} that is(are) operated.

        Pumpage obtained from the SCADA system and reported in the monthly reports is
        slightly less than the purchased water reported in the annual pump age report.
        This is attributed to a portion of the county's customer base being provided
        water upstream of the Center Road pumping station (direct connections to the
        30-inch transmission main) .




                                   WATER      SYST~~       STORAGE

                                     Locati.on:      Location:         Location:
                                     Maple &         Bouran St        Beech~£.JS_Si
                                     Center Rd       & Beecher'
                                     North          -'--'-."--


     VolUllle                          5.0 t':1G     Two 2.0 MG         1.0 MG
     +Type                             Ground        St.Ground         Elevate~
     O.F. EleVation                    38.0 ft       778:"5     Ft      93"OFt OSGS
     Date Constructed                  1988~­            1970           1970
     Date Inspected                  --~r6'~~
                                                                        2005
     Date Painted Inside               concrete                       1996----
     Paint System                                                       3 coat exp
     Date Painted Outside                                2005           1996             -
     Cathodic Protection                                 Yes 1992      No
     High Alarm                        Yes               Yes            Yes
     Low Alarm                         Yes           ---yes--~          Yes'---~-

     +Type                             SCADA         SCADA              SCADA
                                                                                 <, \l




                                                                                                            6
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                                                                                                    Page   7

                                 Location:        Location:             Location:
                                 Noble st        Orgould AV             Clio   Rd
                                                 & Pierson

    Volume                        4.0 MG         0.50 MG                1.0 MG
     +'rype                      Standpipe       ~r"O\.irld             Composite
    O.F.   Elevation             930ft           793ft                  930ft OSGS
    Date   Constructed           ~~~
                                                   ?                 198'2"-"-
    Date   Inspected             2011                                   2011
    Date   Pai~ted Inside        2000                                   1999
    p,,,int System               3 coat epxy                            3 coat epxy
    Date Painted Outside         2000                                   1999
    Cathodic Protection          -Yes--I9~                               no
    High Alarm                    Yes            QUt"OI--ser            Yes
    Low Alarm                                    out of ser
    +Type                                        'out of ser




                                 Location:         Location:             Location:
                                 McKinley Rd       clio Plaza            Pierson Rd
                                                                         & Elms Rd
                                 ARTP   ,-~--
                                                                          ------
    Vol uxn~;                     0.5 MG           0.10 MG
    +Type                        lElevate--cr-     Elevated-"-
    O.F. Elevation               784ft             855ft
    Date Constructed             1975                  1974
    Date Inspected               2010 -warr                                   ?
    Date painted Inside          1994-~"--~


    Paint System                 3 coat exp
    Date Painted Outside         2009                  1974
    Cathodic Protection          Yes
    High A1arm                   Yes                                      out of ser
    Lolo,1 Alarm                 Yes                   No                 out of ser
    tType                        SCADA                                    Sill t _.0 f _~~.E.



                                Location:          Location:             Locati.on:
                                center Rd          Vassar Rd             Henderson Rd
                                South

    Volume                        6.3 MG           1. 0       tvlG            2-10.0 MG
    +'l'ype                      Ground            Ground                     GrounL
    O.F. Elevation
    Date Constructed             2005                  2003                   2004
    Date Inspected               '2"006"-----          2003                   2004
    Date Painted Inside          NA                NA----                 -NA--~

    Paint System                 Concrete              Concrete            Concrete
    Date Painted Outside         NA                    NA                     NA
    Cathodic Protection          NA ------             NA    --"~"---     '"NA"~-~-

    High Alarm                   ~-­               ""ye-s----                 Yes
    Low Alarm                    Yes                   Yes                    Yes
    +Type                        SCADA                                        SCADA


                                                                                                           "1
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                                                                                                               Page   8

                                     Location:
                                     Houran st

    Volume                            2.0 MG
    +Type                            ~atecrTcomposi te
    O.F. Elevation
    Date Constructed                 2006
    Date Inspected                   2006---·
    Date Painted Inside              'N:!\0----
    Paint System                     3 coat ep
    Date Painted Outside             2006
    High Alarm                       Yes
                                     yes-·_-_
    Low Alarm
                                                           o
                                                               _--




    +'I'ype                          SCADA


    Total Osable Storage              46,400,000 galions                              46.4   mil. gal.
    Total Usable Storage/l"jax Day    168.7
                                     __    """"'M"""~"'"
                                                           %

    Total Usable Storage/Avg Day      331.4                %

    Comments:

     The CLi.o Plaza tank is not monitored on the county's SCADA system l instead it,s
    status is noted on a chart recorder and the chart is changed on a weekly basis.
    Repairs to the tank's roof were completed i.n 2010 and the tank remains in service.
    Genesee County has determined that they own the Clio Plaza tank.
     The Or-gould Avenue tank   and the ground sto:cage                         tank at      Pierson and 81ms     Road
     remain out of service.
     'Ihe eRN ground storage tank was inspected in 2007 by Dixon and the tank \-Ias found
     to be in good condition. SomE, minor access hatch :cepair was recommended.
    Pm adequate air-gap has been provided on the CRS ground storage tank between the
     terminus of the tank overflo'tl and top of the catch basin drain! s impoundment.

     The 2-Mgal hydro-pillar at Houran Street houses repair equipment and a portable
     stand-by power generator at its base. The water level in the tank is controlled by
     an altitude valve located at its base.     This tank will be due for a routine
     inspection within the next few years.

     The altitude valves at each of the Henderson Road ground stol:'age tanks \'II6re
     replaced with pressure / flow control valves. The new valves along with the SCADA
     system upgrades monitor and control flow to each tank.

     The Clio Road and Noble street tanks were recently inspected.                               Both tanks were in
     good strucotural ccmdi tion.    The         Clio                Road   tank's   exterior    and    dry   interior;
     however! needs to be repainted.




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                                          Distribution

     Pumping Station        Center Road North (eRN) Booster Pump Station




     Pump nUInber                    1             2           3              4
     Year installed                  1990                      1990       --f9]-C)"---
     +Type                                                  Hor Centr     Hor Centr
     Permit Capacity                                          6.7 MG-6      6.7 MGD
     Permit TDB                                             --,----
     Current Capacity              8,5 MGD                    8.5 l'1GD     8.5 MGD
     +Basis                        est.                       est.           esE.
     Current TDH                 ~~-                          211 ft      --ll1ft
     HP                          ~350--
                                                              350           350
     IJest Complete Inspection     2007           2004      --200-4- --2004
     Last Efficiency Test             ?
                                 -........:----        '?          ?           ?

     CO!ll..'TIents:
     The CRN station's main    purpose is to pump vlater to west Grand Blanc Twp and to
     locations fUrther west   in Genesee County (930 Ft press. district).     A ne;'1 pwnp
     station (Center Road     South     CRS) was recently constructed and WWSD staff
     continues to determine   the most efficient mode of operation between both Center
     Road pumping stations.   Pwnpage from each station changes from summer to winter.
     The permit capacity of each pump     at CRN was 6.7 MGD, how"ever, these pumps a:re
     capable of pumping approximately 8.5 - 9.0 1'1GD.  Pumps # 1 and #2 are controlled by
     a variable frequency drive (VFD) , Pumps #3 and #4 are constant speed pumps.
     Pump #1 or pump #2 operate constantly and s,re controlled by the v,rater level in the
     SaginavJ Street elevated tank in Grand Blanc Township. WWSD's SCADA system can
     s'l'li tch the control point for the CRN station to the elevated tank at Beecher Road.
     Pumps #3 and #4 serVe as back-up pwnps for the eRN station.
     Pumpage from eRN has decreased with the commissioning of the Henderson Road and
     the Center Road South (CRS) pmnp stations.
     2002-2005:

     Work was completed on upgrading the svvitch gear for Pumps #3 and #4. An automatic
     transfer switch 't'las also installed and has improved the reliabLUty of secondary
     power sou:cce at this location.     The gas chlorine feed system was replaced with a
     Accu-Tab Series 30000 tablet feeder by PPG. The system's maximum delivery is 1. PPM
     chlorine at 21 MGD. The minimum delivery is 0,5 PPM at 15 MGD, The chlorine feed
     system was provided for emergency use only,

     2005-2011 :

     Ne't'I VFDs were installed on pumps #l and #2 in 2008. Also, Pump #1 was re-built in
     2007 and included replacement of the pump bearings, volute, motor bindings, etc.


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                                                                                                                                       Page 10

     Auxiliarv Power
     +Power Type
     +Fue}. Type
     Capacity
     Starting Frequency
     Load Testing Frequency

     Total PlJI(tp Capacity        34.0          mgd
     Firm Pump Capacity __ E.      . 5~_         mgd
     Aux. Power Capacity__~?________ rugd
     Max Day Demand This Location                   10.5* rugd

     A'Vg Day Demand This I,ocation                 5.1* mgd

     Firm Pump Capacity/Max Day                     >100 *%

     Aux Power Capacity/Avg Day

     Comments:


          vlab;"r dcaIUands   on eRN has decreased fm:ther with increa.'5ing use of the CRS
          station. The        Henderson Road pump station and North Loop also continues to
          provide \'late:c    to the western portion of the county with an average pumping rate
          between 3 and       6 MGD.

          Water plJI(tpage data speci.fic to each pump station is available since early 2008
          with the recent SCADA system upgrades. Pumpage has varied from station to
          station during this time as the role of operation between each station is
          adjusted in order to increase the efficiency of operation.




                                  Noble Street Booster Pump Station
                      Location: South end of Noble Street, Flint                                                   l~wnship




                      Functi.on: Allows for full use of the 4.0 MGAL Standpipe
     Pump number                            1                              2
     Year installed                         2001
     +Type                            ~Centr-
     Permi.t Capacity                     1. 0 MGD
     Permit TDR                        140 FT
     Current Capacity                  1.08 MGD
     +Basis                          _ est:.___ _
     Current: TDR
     HP                                     40                              40
     Last Complete Inspection              2011*                            2011*
     Last Efficiency Test            -_-__~l~.9~~Gl~_~_-"_-,   - 2001
                                                                  .... .................
                                                                           ~               ......-...,......".-




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    Comments:

    The Noble Street pumping station 'aas constructed in :2001 and allows for full use
    of the adj acent 4.0 MGAL standpipe. The purnp stat ion increases the hydraulic grade
    line to the Beecher Road tank ,mel reduces the peak d,:,mands.   A flow-contro.}. val,18
    is used to control the floltl into and from the standpipe.

    The pu..rnps and appurtenances are greased and maintained several times per year.
    The pumps and appurtenances appear to be in good condition and overall
    housekeeping is acceptable.

    * The Noble Street standplpe was inspected by Dixon in 2011 and components of the
    pump station (piping, pump/motor) "ere visually inspected and found to be in good
    condition.


    Total Pump Capacity         2.16       mgd

    Firm Pump Capacity     1.08            mgd

    Aux. Power Capacity    NIt             mgd
    Max Day Demand This Location            1.13    mgd      (2010)

    Avg Day Demand This Location            O. 32 .•.mgd

    Firm Pump   Capacity/~1ax    Day        96%

    Au?: Power Capacity/Avg Day             NA
    Comments:

    'rbe SCA.DA system continues to provide average and m2J.X day pumpage data from this
    pump station.    Some of the existing SCADA components are being replaced vlith neWer
    equipment.




    Pumping Station           Hour-an Street: pumping Statiorl
                  Location: rIoux-an Street near Beecher              .:~<2...ad




                  Function:           2.tation operates as
                                  ~~bis                                   a        peaking    facili1:L...2:.~rin"g_high
                                  demand peri52.9..§...:..
    Pump number                        1              2                  3                                 5
    Year: installed                    1970"-         1970                                                1970
    +Type                        Hor Centr        'iro-r Centi-                                          Har CentrO
    E'er'mit Capacity              3.0 MGD        -2:-o"-rYIGD                                            3.0 MGD
    Current Capacity
    +Basis
                                   3.0 MGD
                                 "-est-.--
                                                   2.0 t'1GD
                                                    est.
                                                                       2.0 J.vlGD
                                                                       est.
                                                                                             3.0 ~lGD
                                                                                              est.
                                                                                                         -'es
                                                                                                          3.0 t MGD
                                                                                                                .-.-.---..                ~~,-.



    Current TDH                    200 ft            225 ft            225ft"                 225 ft     2"25 ft
    HP                             125             "-125          -125-""-              ---r5-0~-
                                                                                                               150
    Complete Insp.                 2004             2004'--"        2004                     2004              2004
    Last Efficiency Test         --~.?~~-."~           ?                   ?                   ?
                                                                                                          ~-?-.---~--
                                                                                                        ...   M_~_"'   ....'" .............. _ _




                                                                                                                                                   11
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     Comments:

     The Houran Street station's main mode of operation is to pump from the existing
     ground storage storage tanks to the new 2-Mgal elevated tank. The elevated tank
     basically "floats" on the system. This mode of operation utilizes Pumps 3-5 and is
     controlled manually from the SCAD]\,_ system. The station can also pump water
     directly to the distri.bution system through Pumps 1-2. Water can also be obtained
     through the Donaldson Road pit from the city of FLi.nt; hovvever( this connection is
     not routinely used. The station can also provide the c1 ty of Flint an emergency
     supply of water through the Donaldson Road connection.

     During low demand pe:dods,      water re-fills the ground storage    reservoirs
     immediately upstream of the station through a 12-inch main from the county. The
     station( including the ground storage reservoirs, are typically taken out of
     service during the winter months.
     Overall housekeeping at this facility remains acceptable. All H'ITe pumps are
     maintained including routine greasing of the pump and motor bearings. Security
     cameras have been p,rovided at the pump station.


     Auxiliary PO"!£E__ None


     'rota1 Pump Capacity - -13.0
                              - - - - mgd
     Firm Pump Capacity     10.0            mgd
     Max Day Demand This Location           __mgd       VARIES
     .~vg   Day Demand This Location        _ _mgd      VARIES        (approximately 3.0 lY1GD)

     Firm Pump Capacity/Max Day               ? %

     Aux POI"ier Capacity /Avg Day            ? %


                               Henderson Road Booster 1i>tml.p Station
                    Location: Henderson Road

                    Function: Boosts pressures to feed North Loop

     Pump number                       1                2                  3
     Year installed                    2004             2004               2004
     +Type                         11'O"rcenti-·    Tio:;~-centr-"'    Hor Centr
     Permit Capacity                 8. 0   ~1GD     8.0 NiGD            14.0 MGD
     Permit TDH                      255 ft          255 ft             255 ft
     Current Capacity                8.0 MGD                             14.0 J.V1GD
     +Basis
     Current TDR                     255 £t         ~5""-~                 255 it
     HF                              500
     Last Complete Inspection ----------
                                                       500                800
                                                                       -,--.~~,~~--   ......   --
     Last Efficiency Test            ---

     Comments:

     The Henderson Road pumping station was constructed in 2004 and has been in
     operation since April 2006.       The station's average day pumpage has ranged between
     3 and 6 MGD.  P\.h'1\pS #1 and #2 are equipped with a VFD.
                                                                                                                  12
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     The sta-c:LOl1 has operated on only one pump to maintain system demand.                       It has not
     been necessary to operate the larger pump.


     +Power Type                __ '1000 kW minimum rating engine generator
     +Fuel Type                    #2 Diesel
     Capacity                   --sIzed for 24 HR operation of engine under full load
     Starting Frequency           weekly, auto switch::over up'"'O'i1'Po~oss
     Load Testing Frequency     __ l/~
     The auxiliary power generator ran under load for several hours in 2010 during an
     interruption in electrical power,

     Total Pump Capacity      30.0     mgd
     Firm Pump   Capacity~,Q..          mgd
     Aux. Power Capacity__~?______~ mgd
     Max Day Demand This Location        7.40 mgd         (2010)
     Avg Day Demand This Location       .,.}.9_mgd
     Firm Pump Capacity/Max Day         >100%
     Aux Power Capacity/Avg Day         >100%
     Comments:
     The Henderson Road pumping station is equipped with gas chlorination for emergency
     use only,   The feed system consists of two-150 pound cylinders on a direct read
     scale, two Wallace and Tierman vacuum operated solut,ion feed pumps with a maximum
     capacity of 500 pounds per day, arid a vacuum regulator '.",ith automatic switch-over.
     Additional application points are provided at the reservoir inlets.       A Wallace &
     Tierman two point chlorine gas leak detector and gas sensor with a sensitivity to
     1.0 part per billion is provided.
     An automatic chlorine residual analyzer monitors                             chlorine   residual      on   the
     discharge side of the pump station at all times.
     Y'rwSDstaff should consider operating the emergency chlorination system several
     times per year to verify that the equipment operates properly and that WWSD staff
     maintain familiarity with the operating procedure.


     Pumping Station       Vassar Road Booster Pump Station
                   Location: Vassar Road, Grand Blanc Township

                   Function: Provides additional flows and pressure in SE GBL                      T"~p.

     Pump number                     1               2                     3
     Year installed                  2001          2001                    2005
     +Type                       Hor Centr      Hor Centr                Hor Centr
     Permit Capacity             -, 1. 4 MGD     0.7 MGD                 ---y;-;r"MGO-
     Permit TDH                  -i7!)·~         27S....;.f......t _ _   -275 it
                                                                                                                 13
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                                                                                                       Page 14

     Current Capacity                  1.4 ttlGD          0,7 MGD         1.4 MGD
     +Basis                            est.               est.
     Current TDH
     HP                              ---r25--         '12~r-"-'           ·J.25~--~


     Last Complete Inspection New in 01               New-Ii1"'"dl        New in 05
     Last Efficiency Test       2001     .~~~-
                                                          2001            2005
     Comments:


     The Vassar Road pumping station was constructed in 2002.    This station pumps water
     from the Vassar Road ground storage tank located adjacent to the pump station to
     the Bald'''iin Road elevated tank (1,125 n press district), The station has improved
     flows and pressure to the SE portion of Grand Blanc Township.     The water level in
     the tanK is controlled by an altitude valve and flow from the station is
     controlled by a flow control valve and an upstream pressure sustaining valve. A
     third pump was added to the station in 2005. All three pumps are VFD controlled.
     Security cameras were recently installed.

     Total Pump Capacity         3.5          mgd

     Firm Pump Capacity        2.1            mgd

     Aux. Power Capacity_..Bt:._____ mgd

     Ma.x Day Demand This Location            ~lngd

     Avg Day Demand This Location             _-:NA mgd
     Fi.rUl Pump Capacity/Max Day              NA

     .1'mx Power Capacity/Avg Day              NA

     Comments:     A portable stand-by power generator is provided and consists of a 206
     KIlA . trailer mounted gE2<nerator that ·utili zes diesel, fuel.    The generator has
     automatic switch-over and lightning surge protection.            The generator starts
     automatically on a vieekly basis under no load.




                                Center Road South (eRS) Booster Pmnp Station

                     Location: Center Road          El:ns.L M~g._ AVE0,ye

                     Function: Boosts pressures to east portion of Grand Blanc Twp
     Pump number                                            2                3
     Year installed                 2006               ~OO6-~                2006
     +Type                                             Hor Centr          Hor Centr
     Permit Capacitv                                   .....§.:.~"!:lgL
                                                                          ~6:0·-MGD
     Permi t 'l'DH  -
     Current Capacity             6.0 MGD                 6.0 MGD--         6.0 MGD
     +Basis                       est.                     est.                   est.
     Current TDR
     HI?                          400                      400              400
     Last Complete Inspection ·-2"'"""0""'O""'6-~­        2006
     Last Efficiency Test    -ZO~---                      2006
                                                                                                            14
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                                                                                                                        Page 15


    Comrnents:
    The current capacity of e,,~ch pump is approximately 6.0 r1GD.    The combined capacity
    of the station with 2 pwnps operating i.s approxirnateJ.y 11 ~:lGD. All three pumps are
    VFD controlled.
    The CRS station pwnps water from the adjacent 6.3 MGAL ground storage tank and
    distri.butes it the eastern portion of Grand Blanc Township - Saginaw tank (970 Ft
    press. dis,trict). The ground storage tank is equipped with an altitude valve to
    control the tank level. A flow control valve is also provided in order to control
    the upstream pressure in the 30-inch transmission main along Center Road. System
    St2tuS is monitored and controll.ed at the ~'lWSD administrati V8 office via ffi\lSD's
    SCl..DA system.

    The station is fenced and security cameras are provided.


    +Power Type                     1040 KW on-si,~~~l)..5'~§lt9E_,"
    +Fuel Type                     Diesel
    Capacity                       Operates 2 l:?~l!l.P"!?'" __
    Starting Frequency           .-l:.L'::i'ek under load,
    Load '1'esting Frequency       weekly'


    Total Pump Capacity        17.0       mgd



    Aux. Power Capacity      11.0         mgd

    lxlax   Day Demand This Location                10.1 mgd (2008 )

    Avg Day Demand 'rhis    J~ocation               1. 66 .mgd

     firm Pump Capacity/Max Day             - >100
                                                ..........   "~.~"~~-
                                                                        %

    AIJX    Power Capacity/Avg Day                      >100 %

     The most recent ADD has increased to between 2 and 3 MGD as v?WSD staff continue to
     balance the usage between this station and the eRN station.    The t1DD in 2009 and
     2010 ranged between 5 and 6 MGD.


                               Orgould Avenue Pumping

                    Location: Orgould Avenue north of Pierson Road
                    .Function: None

     Pump number                      1                                     2            3                4
     Year installed             -U~.'                                       1974,        1974          --'-19--'~

                                                                   Hor--Centr'-
                                                                                                  j

     +'I'ype                    Hor Centr                                           'H'O'i::'Cen t r   Hor Centr
     Permit Capacity
     Permit TDH
     Current Capacity            1050 9:Em                         --~Q2~-,           1000              1000 StEm
     +Basis                         est.                                est.        --'est .-_.-          est.
     Current TDH                    200    ft                           200 it      --'200 fE-            200 it
     HP                             100                                 100             100               100
     Last Complete Insp.            NA                                  NA             NA               NA
                                                                                                                              15
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                                                                                 Page J.6

     Last Efficiency Test      1'1A        NA          NA         NA


    Cormnents:
    1'his pumping station remains out of service and there are no plans to bring this
    facility back into operation.    All of the pumps are electrically locked Olit and
    the dead piping between the station and the discharge piping to the distribution
    system was cut and plugged.



     l?um:ping Station       Clio Booster Pumping Station
                 Location; Clio Road north of Coldwater Road


                 Function:    None

     Pump number                  1          2
     Year installed               1984       1984
     +Type                    Bor Centr   Horcer:tr
     Permit Capacity
     Permit TDH
     Current Capacity                     _iQ..~
     +Basis                                 est.
     Current TDH                92 ft       92 [t'
     HP                                   -"20--
     Last Complete Insp.                  ~-Rec.
     Last Efficiency Test                  Not Rec.
     Comments:
     This pumping station remains out of service and there are no plans to bring this
     facility back into operation. Both pumps are elect:dcally locked out and the dead
     piping between the station and the active part of the distribution system was cut
     and plugged.


                             Van Slyke Booster Pumping Station

                 Location: Van Slyke Road north of Bristol Road


                 Function:     None
     Pump number                  1          2
     Year installed               1984       1984
     +Type                    Hor Centr   Hor Centr
     Permit Capacity
     Permit TDH
     Current Capacity          600 gpm      600 gpm
     +Basis                     est.      -, est.
     Current TDH                92 ft     -9-2 ft
     Hl?                                  ~-~


     Last Complete Insp.                    Not Rec.
     Last Efficiency Test                   Not Ree:
                                                                                       16
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     Comments:

     This pumping station remains out of service and there are no plans to bring this
     facili'ty back into operation. 'fhe pumps have been electrically locked out,. Systmn
     pressures can be monitored from this location.




     P'L'U'nping Station       City of Flushing Pumping station
                   Location: NE into of Pierson & Elms Rds.



                   Function: PRV and         mete~i:!.:!SL._station          for city    o~_.F'lushing


     Pump nuro.Der                      1                   2
     Year installed                     ?                   ?
     +Type                      , Hor Cantr          Hor        Centr
     Permit Capad ty
     Permit TDR
     Current Capacity             700 gpm            ..J:..Q§...9_,,9.X?'~
     +Basis                        est.                  est.
     Current TOH                    ?       ft       '''?~ft
     HP                          --4-0---                 50
     Last Complete Insp.           Not rec,          -"Nof-rec.
     Last Efficiency Test        ---NoT'Tee:-            Not rec.
     Comments:

     This pwnping station originally took suction from the adjacent 0.5 Mgal reservoir
     and was designed to fill the cit.y of flUshing's elevated tank. 'l'he facility was
     modifi.ed vlhen Center Road went on line and now acts as a pressure reducing
     station. One of three original pumps was removed and replaced wi tb a p,ressure
     reducing valve that serves the city of Flushing. The existing pumps are
     electrically l.ocked out. Power is supplied to the building for :Lighting and heat,


     Interconnections with Other Supplies

     Is Hater purchased from other supplies? .._Yes
     If yes, list WSSN number/s:                 #2310
     Location              JItlain Size                  Est. Cap.                      JItletered?
     Henderson Rd.**       36-inch                       30.0 W';O                      Yes
     S. Genesee-"-PIT**    30-iYiCF.                     16.5 MGD                       Yes
     Oak & Potter**     12-inch                            8,15 MGI5                    IO:.-rncb
     Irish & Potter**   20-inch                          -CtfblJlGD                     6-inch
     8elsay & Potter** 12-inch                             4.46 lvJGD                   6-inch
     JItl-15 & Potter** 12-inch-                           8.15 MGD                     lO-inch
     N. Genesee-pIt ** I2°:'-inch                        ..JiQ!:....J1s ed              10-inch
     Francis Rd.           12~.inch                                                     ,?,-w.c3:X__
     Donaldson St*         12-inch                              *                       Yes
     'i'?Terson & Clio     Not used                        Not used                     Na""'""-
     Carpente~ __Rd        Not used                        Not used                     Na
                                                                                                                      17
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    Commentl3 :
    * Capacity varies on pressure available from Flint and whether the pit is
      open.
    ** Direct. connection to the Flint 72-inch main upstream of the city of Flint.
    The connections upstream of the City of Flint are directly off Flint's 72-inch
    supply line. Genesee County pays Flint. $125,000 plus the current Detroit rate each
    month to purchase water. The est.imated capacity of each connection is based on a
    Detroit line pressure of 90 psi at the south Genesee pit. and 55 psi at the
    Henderson Road pit..
    Water can al,so be served to the county through Flint's distribution system from
    Donaldson Street through the Hou:can st. Pumping Station. Genesee County no longer
    uses this connect,ion for routine service.    This connection could be used in a
    water system emergency.

    Total Flow into the Genesee County water system     Henderson Rd
                                                      + S. Genesee Pit
                                                      + Irish & Potter
                                                      + Belsay & Potter
                                                      + M-15 & Potter
                                                      + Oak & Potter
    The maj ority of flow into Genesee County is through the Henderson Rd pit and the
    South Genesee pit. ,Four other metered connections off the 72-1nc11 transmission
    main along Potter Road provide water service to portions of Davison Township, the
    Ci ty of Bu.r'ton, and Richfield Tovmship,
    Flow through the F,rancis Road pit is sold to Genesee Township ana lS not a direct
    connection off the 72-inch transmission main (constitutes a portion of the
    Henderson Rd flow).




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     Are there areas where fire flO'l'J's cannot: be maintained? See comment

     Comment:   Less than 1000 gpm fire flow was noted in an existing sUbdivision in
     Mundy Twp .in vic.in:l. ty of Unden and Hill Road (Church of God extension). The
     problem was identified as a pa.rtially closed valve at the subdivision entrance.


     Which, I I any, of the above listed areas has the supply prioritized for main
     replacement, upgrading or looping?     Also, if a definite schedule for capital
     improvement has been established, list the proposed completion date.
     Location                                              Est. Completion Date
     Bristol Rd. - completed                               Completed
     Linden Rd, - coor. ~Iith local twp.                   Not completed
     Pierson Rd. - Coor. with local twp.                   Not compIet-ecr~--
     E"rms-&-""LennOn-Toor;rng
                            EX: £) e£.~ __.____.__         Cciffipleted    __...
     Lennon & Dye Rd                                       Completed.._______


     General Distribution System Comments:
     Consoer Townsend Evirodyne Engineers (CTE) completed the North Loop - Phase III
     study in 2000 along with a water system master plan. Since 2000, the North Loop
     transmission main project was completed along with completion of the Henderson
     Road, CRS pwuping station, and the Southeast Loop.
     The study Vias updated in 2005 and the updated report is noted as "Appendix C
     Update  of Final Report North Loop - Phase III Study".        Gi ven the number of
     projects that Vlere completed since 2000, the update Vias performed to reflect
     current water system conditions and to identify additional future needs.   The 2005
     update evaluated alternatives to supply Grand Blanc: Township via the new CRS
     pumping station. The CRN pumping station wOiJld be dedicated to supply the service
     areas further l>Jest into the county.    The update also identified other major
     projects including: the Southeast loop, Thompson Road co:cridor, 'and the Coldwater
     Road t:cansmission main.

     The hydraulic model used in the 2005 study was updated in 2011 to revise pressure
     district boundaries as needed     The model also evaluated the need for further
     pressure reducin.g valves and additional water system improvements. An updated
     water    system    Master    Plan    was   prepared;    however,    a   discussion
     (conclusions/recommendations) based on the updated model has not been provided. A
     new water system study and master plan is expected to be performed in 2015.

     Several of the existing meter pits between Genesee County and the City of riint
     including Orgould Ave, Clio Rd, and VanSlyke Rd, have been decommissioned. The
     meter. pits along with the pumping, storage facilities have been electrically
     locked out, and the majority of dead piping eliminated at the facilities. These
     facilities should be razed if there are no lOTliJ term plans to re-utilize them.

     The county continues to charge its retail customers $35.00 per hydrant to maintain
     the appurtenance and to conduct routine flushing. Flint Township and Flushing
     TOl'mship    continue to flush and "d.nterize hydrants in order to avoid the $35.00
     charge per hydrant.      'I'hese activities are conducted by the local fire department
     l,'iithin each tOVinship. The WV·)SD continues to review hydrant operation each year
     wi th each fire department.       Finally I the v\)\l1Sn staff complete any hydrant repairs.




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     Distribution      Ae~~rten~~ce$


     Hydrants
     Number    of hydrants 3,875
     Number    vdthout auxiliary shut-off valves         *
     Nwr.bet   that are self-draining     ,\-
     Number    of inoperable hydrants .....:

     * An exact number of inoperable hydrants cannot be ascertained since this number
     changes on a weekly basis. fl'lWSD staff repair broken hydrants upon d.iscovery (typ
     1-2 per "leek). f/lTlimo staff obtains authorization from the two tovmships that
     maintain their own hydrants prior to completing any repairs. Hydrant inspections
     an) completed each fall and 'Nork orde:ts are prepared and completed on any
     inoperable hydrants that are discovered.

     Frequency of hydrant inspection:            ~r     (fall)
     Inspection staff:    WI"lSD   operators
     Are there areas where additional hydrants are needed?                No

     Hydrant location system? Yes                Accurate?        Yes
     Are hydrants color-coded, for capacity? Yes, by main size
     Has this information been provided to the fire department?                  Yes
     Frequency and seasons of hydrant flushing?         -11_YE-    Fall
     Purpose of fl,lshing?            aesthetics, hydrant operation
     Is the public notified prior to flushing?           No
     Does flushing follow a specific format'?
     Is the volume       of   water     used   during   flushing        estimated?   Starti,ng,   est   of
     150cu.£t/hyd
     Is a record maintained of hydrant activities? Yes
     Comments:
     The WWSD maintains a list of hydrant information. The list provides information
     for each hydrant including: location, color coding, winterizing,        '1JOrle order
     information, etc.   Hydrant records are also maintained 1n a work-order database by
     attaching comple'ted work orders as a layer in v\TWSD's GIS records. Also, all
     auxiliary shut-off valves are depicted by exact location and stored in a 3-ring
     binder.
     The number of hydrants and valves noted in the 2011 l;i/SR is less than the number
     depicted in the 2008 WSR. WWSD staff confirmed that the 2008 count was inco;c.:r.ect
     since it included some of the hydrants and valves from the wholesale customers.


     Valves     (excluding hydrant shut-ofts)
                                                                                                        21
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     Number of valves 3,903
            of inoperable valves
     NUfLiber                                 repaired or replaced as soon as   possi~~


     Are there areas where additional valves are           needed~    Yes

         II>    Irish Rd north of Davison

     Valve location system?       :!.~s'-   valve log           Accurate?    Yes

     Valve Turning Frequencies:         See    co~ments



     Records maintained? Yes

     Connnents:
     The I'lWSD has made some progress towards initiating a valve turning program. Val'J'9s
     along the South Loop transmission line (31 valves) have been exercised. Valve
     exercising is also perfo.rmed on valves located at or near I-later system projects.
     Valve exercising is also prioritized in areas experiencing more frequent waterm21in
     break.s.
     A valve log book is also in place that oontains valve records. Valve locations are
     depicted by witness points and are entered into the work-order database. All valve
     records are also entered into GIS.


     Customer and Serv:i.ce Informat.ion

     Number of service connections            20,739 retail accounts
                                              44,943 total accounts(retail & wholesale)
     Nwnber of metered service conneotions same

     Identify service line materials and estimate percentages:
                Copper            100%
                PVc               None
                Gal               None
                                  None


     Meter Change-Out Status:
     Approximat.ely 95% of the existing compound meters were replaced with new turbine
     meters at. all industrial and mobile home park accounts. A testing prog:cam remains
     in place for these n.ew meters.   The testing program is contrac·ted out to a th.1..rd
     party (Jim Taylor of Rio-MI Meter) .
     A small residential area is metered by older Neptune meters that will need to be
     changed out. The WWSD does not have a change-out program in place for residential
     accounts. Residential meters are replaced on an "as needed u basis.
                                                                                                22
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     v-rviTSD has
               instit.uted a. pilot radio read program and has upgraded to ra.dio read
     technology for large customers.      The WWSD continues to encourage its retail
     customers to upgrade to radio read technology for commercial and residential
     accounts; however this is has not proceeded. The vJWSD continues to promot.e this
     upgrade with the individual townships since the county wishes to $\4i tch from
     quarterly to monthly billing.

              Pumpage Distribution

     % Residential                          75%
     % Industrial & Commercial              25%



     System Growth        -   Number of customers


              Wholesale            Retail         Total

     1998 -     18,584             13,270         31,584
     2003 -     21,609             17,265         38,874
     2005 -     23,263             18,881         42,144
     2006 -     24,889             20,092         44 1 981
     2007 -     24,726             20,621         45,347
     2008 -         TBD           TBD             TBD
     2009 -         TED           TBD             TED
     2010 -         TBD            TBD            'l'BD




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                                              PROGRAMS AND PLANS

     Cross Connecti.on Program
     Ordinance No. .......
                    73-1.........-
                           ~-
                                              Date   03/01/7 3

     Approved Program?           Yes   Date   07/19/73



     Is .7.Umual Cross Connection Report required? Yes.
     Was previous year's annual report received? Yea                    Date   2/18/11

     Nas previous year's annual report: acceptable? ~,__
     Inspection Status: Satisfactory
     Device Testing Frequency: Adequate
     Record Keeping: Inspection forms are in place,__t~r each account


     Comments:
     HOI continues to perform the routine inspections fo:c Genesee County and has
     maintained adequate implementation of their cross connection control program
     (CCCP) .   HDI identified 3400 low hazard accounts in 2010 and determined that
     approximately 680 of these accounts need to be reinspected on an annual basis. 80
     high hazard inspections were required in 2010 and 92 inspections were completed.
     HOI met all. re-inspection requirements during the 2008-2010 time period.
     Device testing is also being verified as required (approx: 1200 testable devices).
     Dave Cardinal is the operator from HOI who is responsible fOl: implementing Genesee
     County's CCCP.    Genesee County continues to contract with HOI for CCCP
     implementati.on.



     Annual Pump age Reports
     Is Annua1 Pumpage Eeport required?              Yes
     Was previous year's annual report received?                 Yes    Date   ,4/01/2011

     Comments:
     The annual pumpage report is based on the county's total water purchased from the
     city of Flint. This amount is slightly higher than the total pumpage obtained from
     SC}WA (compiled in the MOE) since a portion of the county's service area is
     upstream of the Center Road pump station and this usage is not metered through any
     of the pumping stations.




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    Monthly Qperation ReEorts
    Are IvJonthly Operation Reports required?     Yes
    Genesee County's monthly oper.ation report (~'10R) format vias revised in 2008 to
    include pumpage data f:eom each of the main pumping stations and storage
    facilities. Bacteriological sample results and chlorine residuals are also
    included in the report.
    Pumpage data from the Vassar Road and Fenton Road pump stations are not included
    in the MOR. Pumpage data from each of these stations would further help in
    determining the distribution of water demand in the southeast portion of Genesee
    County's service area.


    Contingen,£Y Plan           Emergency Response Plan (ERP)
     Date of most recent plan    2.Q~~"~ __ _

    Filed 'where? GCDC .).:
    Comments:
    Genesee County's water system contingency plan was updated in 200B.
    * Genesee County's most recent ''''atar system conti.ngency plan (2008 update) is
    available only at the WWSD's administ.rative office due to security purposes. The
    2008 plan contains all of essential elements required in a water system
    contingency plan and meets our requirements for use in the event of typical water
    related emergencies i.ncluding; large main breaks, pump station failures, loss of
    vlater service (limited areas) I powex' outages, contamination, etc. The 2008 plaM
    however, needs to be updated into an E~ergency Response Plan.
    The WlimDi however I bas yet to fully address the issue of reliability in the event
    of a significa.nt failure of the 72~inch tra.nsmission main. Genesee County
    continues to pursue their goal of achieving long term reliability through
    establishment of the Karegnondi Water Authority (Lapeer County, city of Flint).
    The authority continues to work Nith Lapeer and Genesee County communities towards
    committing to the construction a new water treatment plant with raw 1Jlater piping
    from Lake HUron.
    Completion of the Karegnondi project (3-5 years out) is an acceptable long-term
    solution for reliabilitYi however, Genesee County has not fully resolved theLc
    short-term solution for source reliability. Two short-term options include
    utilizing Flint's stand-by WTP for emergency stand-by service or establishing a
    system of back-up wells.
    Our most recent discussion indicates that Genesee County Norking with the city of
    Flint towards utilizing Flint's stand-by WTP for short-term reliability. The
    county has proposed an amendment to their f"ate:c service contract ~Ji th Flint to
    purchase 5.4 MGD of '!'Jater from the Flint liTTP during an emergency. Details
    concerning the conveyance of the emergency supply of water from Flint to the
    county's transmission system are not ident.ified in the proposed contract
    amendment.




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     General Plan
     Date   0,[   most recent plan 2007          Acceptable?   Yes


     Comments:
     A copy of Genesee County's transmission main plan (2007 update) has been provided
     to the c'iDEQ. The transmission main plan shows the size and location of all 12-inch
     transmission mains and larger, pumping stations, storage facilities, meter pits,
     and pressure districts. Genesee County also maintains updated distribution system
     records in GIS. Smaller areas of the distribution system including hydrants (
     valves, and watermains can be printed from GIS for' daily use as needed.


     Reliability StudX
     Date of most recent study            2011   Acceptable? See conunent



     Comments:
     Genesee County utilized CTE to prepare the North Loop-Phase III study.and to make
     subsequent updates.  The original study conducted in 2000 'Nas updated in 2005 and
     was noted as the addendum or "Appendix C of the North Loop-Phase III Study".   The
     addendum constitutes an acceptable update to Genesee County's water system
     reliability study.
     The hydraulio model used in the 2005 study was updated in 2011 to revise pressure
     district boundaries as needed     The model also evaluated the need for further
     pressure reducing valves and transmission system improvements. Pm updated Master
     Plan (map), based upon the revised model, was provided to us. A discussion
     (conclusion/recommendations) needs to be provid,ed with the updated ~iaster Plan. A
     new water system study and master plan is expected to be conducted in 2015.




     Date of approved plan        2/15/2008

     Are samples still being collected in accordance with the plan?         ~

     Cormn.ents:

     The \vWSD completed the most recent revision to the sample 81. t:6 plan in Februa:c'y
     2008. Wli'lSD's retail service area popUlation remains above 70,500 thus, a minimum
     of 80 samples need to be collected from the distribution system on a monthly
     basis, WWSo's most recent sample. site plan reflects the updated minimum monitoring
     reqUirement.




     The 1rJWSD continues to lw.plement their lead and copper program adequately. Both
     action levels were met in all of the applicable rounds of lead and copper
     moni toring with the most recent round of monitoring being completed during the
     summer of 2011.    The next round of samples will need to be collected during 2014
     and 'dill include 14 samples for lead and copper.         I/Jater quality parameter
     monitoring also needs to continue every six months.
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                                 Conciusicms and Rec,m:nrpendations


    In general, our survey covers the major aspects of a water supply including: stand-by
    facilities, distribution, source capacity, and storage. Each of the above categories is
    evaluated on the basis of adequacy, maintenance, reliability, and operation. The
    evaluation also includes a check on the status of operator certification and the cross
    connection control program. Finally, water qua!ity and the utility's monitoring programs are
    reviewed.

    Our evaluation reveals that the Genesee County Water System continues to maintain an
    overall HSATISFACTORY" rating. Genesee County continues to maintain a proactive
    operation and maintenance program as weH as continuing with capital improvements.
    Progress; however, remains slow in establishing adequate source reliability. The county's
    water system remains /'MARGINAL" in regard to source reliability and continues to be
    vulnerable to an interruption in supply. Additional comments are included in the
    Contingency Plan/Source Reliability section.

    As noted above, since the 2008 survey further water system improvements have been
    completed and/or are proceeding and include:

        e     Installed the Fenton Road transmission main

        (\I   Replaced deteriorated piping along Florine Avenue.

        "     Completed water system SCADA improvements,

     These issues along with other topicS including existing facilities, reliability, operation, and
     maintenance are discussed below in more detail:

     Water System Viability

     The Genesee County Drain Commissioner, Division of Waste and Water Services (WWS)
     currently serve a population of nearly 153,000 through a countywide network of
     transmission and distribution mains. Additional booster pumping stations and storage
     facilities have been provided to enhance service. The WWS currently utilizes 23 full-time
     certified employees for water utility operations. The operator in charge (Ole), Tim Davidek,
     holds an 8-1 license and plays an active role in distribution system operation and
     maintenance, thus, WWS complies with the operator certifIcation requirement. Also, as
     part of compliance with the operator certification requirement, Richard Bysko, remains the
     designated back-up operator.

     WW8 continues to promote operator certification. Many of the operators have obtained
     either their 8-3 or 8-4 licenses and some are pursuing an 8-2 license. WWS continues to
                                                                                                       27
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     require new employees to obtain distribution certification to be eligible for further
     advancement. WWS continues to maintain the safety and training officer position to assist
     and promote an adequate level of operator certification. Certified operators help to protect
     the County's investment in the water system and to meet the requirements of the Safe
     Drinking Water Act and we encourage the County to continue to promote operator
     certification.                             .

     Cross Connecth;m Control

     Hydro-Design, Inc. (HOI) continues to implement WWS's Cross Connection Control
     Program (CCCP). Approximately 3500 accounts remain eligible for a routine inspection
     and this number has held steady since 2008.

     Previous site visits with HOI and WWS staff continue to show that adequate cross
     connection control records are in place and device testing is being verified. Also, our
     review and discussion of WWS's most recent cross connection reports confirms adequate
     implementation of the program.

     Finally, WWS continues to maintain a contract for service with HDI. We continue to support
     WWS's commitment towards maintainIng an adeqwate CCCP.

     System Storage

     WWS currently has 13 storage facilities available providing approximately 46 million
     gallons of storage.

     The existing Center Road North (CRN) 5 MGAL ground storage tank was inspected by
     Dixon Engineers, tnc. in 2007 and the tank was found to be in good condition. Minor
     repairs to the access hatch repair were recommended.

     Next, our inspection of the Center Road South (CRS) ground level storage tank revealed
     that tl16 cross connection between the tank overflow and the sewer catch basin has been
     corrected. The elevation of the tank overflow opening was increased above the catch
     basin's containment wall such that an adequate air-gap was achieved.

     Next, the Clio Road elevated tank and the Noble Street standpipe were recently inspected.
     Based upon the inspection reports, the Noble Street tank is in good condition. The Clio
     Road tank was in good structural condition; however, the tank's exterior and dry interior
     need to be repainted. We recommend that WWS proceed with this work

     Finally, the 2-Mgal hyro~pillar at Houran Street will be due for a routine inspection within the
     next several years.


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     wws has ten booster pumping stations available for use. Six of these stations (eRN,
     CRS, Henderson Road, Houran Street, Vassar Road, and Noble Street) are operated on a
     routine basis. The remaining stations, Orgoujd, Clio, Van S\yke, and City of Flushing are
     either out of service or function as a pressure reducing/monitoring station.

     The Henderson Road pump station has been in operation since 2006 and the station
     pumps between 3 and 6 MGO of water from the 72-inch transmission main through the
     County's new North Loop. The station has effectively reduced the demand on the Center
     Road pump station and the amount of water that needs to be pumped through the
     County's south system.

     Next, the CRS pump station has been in operation since 2007 and was designed to
     provide additional capacity and pressure to the eastern portion of Grand Blanc Township.
     The eRN station continues to provide adequate flows and pressure to the western portion
     of Grand Blanc Township and to locations further west in Genesee County. The most
     recent monthly operation reports SflOW that the CRS station's use has been increasing
     (currently pumping between 2.0 and 3.0 MGD).

     WWS continues to refine the mode of operation between the eRN and CRS stations to
     determining the most efficient operation. It would also be worthwhile to record water
     pumped through the Vassar Road and Fenton Road (Grand Blanc Township) since these
     stations and their associated storage facilities also playa role in the level of service to
     southern Genesee County. This information can be added to the monthly operation report.

     Next, based upon our inspection, preventative maintenance activities and overall
     housekeeping is adequate· at all of the pump stations, Based upon our discussion,
     additional improvements are currently underway with the SCADA system at each of the
     pumping stations.

     Finally, WWS staff should consider operating the emergency chlorination equipment (gas
     chlorination at Henderson Road and erosion feeder at eRN) several times per year to
     verify that the equipment operates properly. This practice will also allow WWS staff to
     maintain familiarity with the chemical feed equipment and its operating procedure.

     Iransmissiol1{Oistribution

     Genesee County's water system consists of an extensive county-wide network of
     transmission and distribution system piping. The majority of this piping is relatively new and
     is in good condition. Since the 2008 survey, the Fenton Road transmission main was
     installed and a section of deteriorated piping along Florine Avenue was replaced. There
     ate other areas of existing cast-iron mains which have not been replaced and have had a
     history of more frequent main breaks, Specific areas are listed below:
                                                                                                 29
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     'I. Dalton Subdivision
     2. Portions of Pierson and Linden Roads

     It is our understanding that replacement of the watermains in Dalton Subdivision will be
     completed as part of a future Drinking Water Revolving Loan Fund project. Although the
     remaining areas do not represent a significant percentage of the system, plans should be
     made to replace these mains as part of the County's master plan or a capital
     improvements program.

     Next, Genesee County's hydraulic model (from. the North Loop Study) was updated in 2011.
     An updated water system Master Plan, based upon the updated model, was prE.1pared and
     an electronic copy of the plan was provided to us. A general discussion (conclusions &
     recommendations); however, was not provided with the master plan. An overall discussion
     that supports the updated master plan needs to be prepared and a copy sent to our office for
     review.

     Finally, it is our understanding that WWS intends to prepare a new water system study and
     master plan in 2015. We concur with the timing of this objective since the county's water
     system reliability study will need to be updated at that time. Finally, we encourage the county
     to works towards completing the projects that are listed in the master plan.

     Operation/Maintemmce      (O&~.l

     WWS continues to maintain an active O&M program. The status of specific O&M programs
     are discussed in more detail below:

     Hydl'ants/Flushing

     WWS maintains approximately 3,900 hydrants. This is a decrease in the total number
     depicted in the 2008 survey (4,700 hydrants). The revised number of hydrants is based on
     records obtained from WWS's hydrant recordkeeping system (GPS records). The previous
     quantity was based upon an estimated number of hydrants and it also included some of
     the wholesale customer's hydrants.

     A total number of inoperable hydrants could not be ascertained; however, hydrants are
     inspected each fall and any inoperable hydrants are repaired or replaced, Hydrant records
     including; location, color codes, and operational and maintenance history appear to be
     adequate and these records are maintained In a work-order database.

     Next, retail customers contjnue to pay WWS a $35.00 charge per hydrant on an annual
     basis for routine maintenance and flushing. Flint and Flushing Townships however,
     continue to operate and maintain hydrants within their jurisdiction in order to reduce their
     O&M costs to the County. The township's O&M responsibilities include flushing and
                                                                                                    30
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     winterizing hydrants and these activities are performed by the local fire departments. WWS
     continues to provide annual training for fire department staff on hydrant operation and
     maintenance. WWS needs to continue this type of on-going training as it appears to have
     improved hydrant operation and maintenance within these townships.

     Valves

     WWS maintains approximately 3900 valves. This is a decrease in the total number
     depicted in the 2008 survey (5,074 valves). The revised number of valvess is based on
     records obtained from WWS's valve recordkeeping system (GPS records). The previous
     quantity was based upon an estimated number of valves and it also included some of the
     wholesale customer's valves

     WWS continues to maintain adequate valve records and also continues to work towards
     establishing a valve-turning program. Transmission main valves along the south loop were
     exercised since 2008. Valves are also being exercised at and near watermain projects and
     in areas where main breaks occur. WWS needs to continue working at expanding the
     valve turning program to include operating valves in critical locations at least once every
     several years. A review of all valves should be performed and a determination made as to
     which valves are most critical and the percentage of these valves that can be exercised
     each year.

     Program Meter Change~Out

     WWS has maintained an active meter change-out program for commercial and industria!
     accounts. Residential meters are replaced on an "as needed" basis, however, only a small
     percentage of customers (one subdivision) has older meters in need of replacement. We
     encourage WWS to maintain an active meter change-out program and to replace
     remaining meters that have reached the end of their useful service life.

     WWS has upgraded to radio read technology for most of Its large customers; however,
     expansion of radio read to commercial and residential customers has not proceeded. We
     encourage WWS to continue to promote the upgrade to radio read technology among its
     retail customers.



     WWS continues to report water use through each of its major pumping stations. Chlorine
     residual monitoring and bacteriological monitoring results are also included in the report.
     Water usage through the Vassar Road and Fenton Road pumping station should be added
     to the MOR

     Flnally~ a discrepancy was noted between water usage depicted in the MOR verses water
     usage summarized in the annual pumpage report. The total amount of water purchased
                                                                                              31
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     reported in the annual pumpage report is slightly higher than the total pumpage obtained
     from SCADA (reported in the MOR). The dlscrepancy is due to a portion of the county's
     service area being upstream of the Center Road pump station. This portion of the county's
     purchased water is not metered through the SCADA system.

     Bacteriological Monitprjn,g

     WWS continues to maintain an excellent sampling history as part of their monthly
     bacteriological monitoring program. Specifically, eleven samples are collected twice a week
     from eleven routine sampling locations in accordance to the sample site plan that was
     revised earlier in 2008. This sampHng protocol results in 88 to 110 samples being collected
     each month and was based on collecting a minimum of 80 samples per month.

     The minimum number of required distribution system samples will remain at 80 samples
     per month. The monitoring requirement is based on a retail service area population of
     approximateiy 70,500 .

     .Emergency Response       Plan/SolJrc.~..R.eliabilUY

     WWS updated their water system contingency plan in 2008 and, for security purposes, the
     plan is retained at the administrative office. Our review shows that the plan contains all of
     the critical elements that we require in a water system contingency plan. Although the
     county's updated contingency plan meets our requirements for use in the event of a water-
     related emergency, a recent revision to the Administrative Rules of the Michigan Safe
     Drinking Water Act now requires an Emergency Response Plan (ERP) in place of the
     contingency plan. The ERP provides an outline to follow in the event of a water related
     emergency (loss of pressure, contamination, etc.). The ERP is similar to a water system
     contingency plan; however, the ERP calls for discussion of various types of water utility
     operational plans that may be utilized during a water related emergency. An ERP template
     is enclosed and can be used for preparing Genesee County's ERP. We will review the
     completed ERP during our next routine surveillance visit.

     Next, WWS continues to pursue a long-term solution for reliability in the event of a failure
     of the 72-inch transmission main through establishment of the Karegnondi Water Authority.
     The authority continues to work with Genesee and Lapeer county communities towards
     committing to the construction of a new water treatment plant utilizing Lake Huron as its
     source.

     Completion of the Karegnondi project (3 to 5 years out) will provide Genesee County with
     adequate source reliability; however, Genesee County has not fully resolved their short-
     term solution for source reliability. Two short~term options include utilizing the city of Flintls
     stand-by WTP for emergency stand-bY operation or establishing a system of back-up wells.
                                                                                       th
     It is our understanding that Genesee County has a proposed amendment (4 Amendment
                                                                                                     32
Case 4:20-cv-12726-MFL-DRG ECF No. 1-2 filed 10/07/20             PageID.412      Page 352 of 726




                                                                                           Page 33

    to 1973 City/County Water Supply Agreement), pending Flint approval, to purchase 5.4
    milHon gallons per day of stand-by capacity from the Flint WTP under emergency
    conditions. However, there is no further discussion as to how this emergency supply of
    water will be conveyed to the Genesee County North Transmission system. It is our
    understanding that additional pumping provisions will be needed. Please confirm this in
    writing and provide us with an update concerning the proposal. If a contract for stand-by
    service is established with the city of Flint, please provide us with a schedule in which the
    plan for stand-by service can be implemented.

    General Plan

    Genesee County's water system general plan was updated in 2007. The updated plan
    shows .the location of county's transmission mains (12-inches and larger), pump stations,
    storage facilites, meter pits, and pressure districts. Smaller areas of the distribution system
    including hydrants and valves are stored in the county's GIS and are available for use as
    needed. The transmission system plan along with the electronic records of the distribution
    piping and appurtenances meet our requirements for having an acceptable water system
    general plan.

    Lead & Copper Program

    WWS has conducted its Lead and Copper program since 1992 and has completed the most
    recent round of monitoring (June 1,2011 through September 30,2011). The next set of 14
    samples needs to be collected between June 1,2014 and September 30,2014.

    The total number of lead and copper monitoring samples (based on triennial monitoring)
    remains at 14 samples for each round of monitoring. Water quality parameter monitoring
    (pH, alkalinity, temperature, and phosphate residual) also remains at two sets of samp!es
    from six distribution system sites every six months.



    The following is a list of items discussed in this report which must be addressed by the
    County. No priority is implied by the order. Page references are in parentheses .

   . As always, we are available to meet with you to discuss these concerns and their priority in
     more detail.


    1. Establish adequate stand-by water service for Genesee County. (25,32)

    2. Maintain a prioritized valve turning program.    (22,31)

    3. Change out any remaining outdated meters and investigate the possibility of upgrading
                                                                                                    33
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                                                                                         Page 34

        to radio read technology. (22,23.31)

     4. Upgrade areas of distribution system that are in poor condition. (19,20,29,30)

     6. Conduct a new water system study and master plan by 2015. (20, 30)

     6. Schedule the Clio Road tank for repainting.   (8, 28)

     7. Operate the stand~by chlorination equipment at the Henderson Road and CRN pump
        stations several times per year. (13,29)




                                                                                              34
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                                                           APPENDIX B-8
                 GENESEE COUNTY WATER SUPPLY SYSTEM RATES FOR SERVICE FOR
                          WATER BILLS RENDERED ON AND AFTER JANUARY 2, 2014
Case 4:20-cv-12726-MFL-DRG ECF No. 1-2 filed 10/07/20                                                   PageID.415               Page 355 of 726




                                                GENESEE COUNTY WATER SUPI'L Y SYSTEM
                                             RATES FOR SERVICE FOR WATER BILLS RENDERED
                                                     ON AND AFTER JANUARY 2, 2014
                                    ••••••••••••••••••••••••••••••••••••••••••••••••••••••••••••
       ·Ib e nlt~ to' be charged fO/" water furnished by the System shan he as hercinaner set fO'rth. Wllter to he furnished by the System shan
       he measured by a nleter ..... equiv alent meters. installed ind controlled by the County. Charges fO'r water se,..,.ice will be made for
       water furnished based upon mO'nthly, bimO'nthly, and quanerly billings as $ct forth herein.

       I.


                           3/4                                          S    21.89                   '.I.. or larger $21.89
                           I                                            S    36.48
                           I-Itl                                        $  72.95
                          2                                             S 116.n
                          )                                             S 218.85
                          4                                             $ 364.7S
                          6                                             S 729.SO
                           8                                            S 1,167.20
                          10                                          S 1,750.80
                          12                                          S 3,136.85
              (Irrigation meten an: lUl automatic charge May I through October 31 or any quaner thlll usage is recO'rded) Rate becO'mes
              effective on date signed.

       \. A. Ind iIJS I R a l e..
                      Meter Si~· Inches                       Readiness 10 Sen·e Charge                    IrrjgatiO'!J Mcters
                           S~                                          S    13.53                                     S1 3.53
                          3/.                                          S 20.30                       'I. or larger $20.30
                           1                                           S 33.83
                          1-112                                        S 67.65
                          2                                            S 108.24
                          3                                            $ 202 .95
                          •
                          6
                                                                       S 338.25
                                                                       $ 676.50
                          8                                            $ 1,082.40

       II .

                                                                Readiness to Sqye Charge@S89.6Zl eg. meter
                                                                       S 2,24 1.75
                                                                       S 4.483.50
                                                                       S 7,173.60
                                                                       $ 10,760.40
                                                                       S 14,795.55
                                                                       $ 19.279.05
                                                                       S 28,694.40

              The num ber O'f equivalent meters is based on the peak monlhly flow from the prior calendar year. An equ ivalent meIer size will
              be determIned based on the peak monthly flow being 75% of th e meter ~ap~city. 'Ifle meter capacity and number of capacity
              equivalent mClcn; will be based on current AWWA Slandarlb. The meter si7.e and number of equivalent mders will be based 011
              sblndard mctcr sizc$, with a minim wu of25 equivalent meters.
       Ill.   COM MODITV CHA RCES (IPplies to' boW Indiyidual and Maslq Melml:
              The total commodity challte is $).94 per 100 eubi~ feet. This SlIm is the lOIal of$ l.86 per 100 CII.ft plus the DWSD
              conunodity charge ,which is charged via the City O'fFlin! and is currently estimated at $2.08 per 100 cu. ft.
       IV.    Q UAUn : RLV RAT ES {applies to IndivjdualMc:jml:
              Multiply readiness 10 se,..,.e charge by three.
       V.     WATER STATION RATF. S
              The commodity ~harge for watering is $4.7 1 per 100 cubic fcd (0.25 per 40 gallons). No Readiness 10' Servc charge.
              Account! shall bc bil1cd monthly.
       VI.    II YURANT METER MT!''!)
              11J<, commodity ~harge is $4.71 per 100 cuoic fecI. No Readiness 10' Serve ch"'Xe. Aeoount! &hall be billed wilhin 30 days of
              "~.
Case 4:20-cv-12726-MFL-DRG ECF No. 1-2 filed 10/07/20                                                   PageID.416               Page 356 of 726




                                                GENESEE COlJNTY WATER SU PPLY SYSTE M
                                             RATES FOR SERVICE FOR WATER BILLS RI:."NDERED
                                                     ON AND AtTER JANUARY 2, 2014
                                  ••••••••••••••••••••••••• ••••• ••••••••••••••••••••••••••••••
       VII .  COUNTY CA PI TAl. IMPROV EME NT FEE

                                                                            shtl
              The Cou rtly will charge a Capital Improvement Fee of$I,OOO per unit hased upon the R es idential Equivalt,'t Units prio.- 10 the
              Issuance ora Water Pennit (B-Penn it)_ The County Agency        collect the fee.
       V III. CITY OF FLINT fRANCHISF: RATES
              The County will add $ 1.00 ptr month to the amount the City of lint bills the franchise customen for eub "I-inch meter
              equivalence pi llS SO. IOper each 100 cubie feet or vo   used.
       The rates are e$tablished pursuant 10 Act 342 Michigan Pu     ACts of 939 as amended.

       Jeffrey Wnght, Dram COmml5.liloner, as County Agency                                      ,Mich igan Public Acts of 1939, as amendorl.

       0 .."   Alii      £:"2.0 13
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                                                              APPENDIX C
                                                        CITY OF FLINT, MICHIGAN
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                                                           APPENDIX C-1
                                                        FLINT WATER SYSTEM
                             (SUMMARY FROM EXISTING INFRASTRUCTURE REPORT,
                                                 DLZ AND HOUSEAL LAVIGNE)
Case 4:20-cv-12726-MFL-DRG ECF No. 1-2 filed 10/07/20                      PageID.419         Page 359 of 726
                                                                                                             TM
  Jones & Henry Engineers,            Ltd.                                                     Fluid thinking...




  Appendix C-1 Flint Water System
  (Summary from Existing Infrastructure Report, DLZ, and Houseal Lavigne)

  The Cedar Street Pump Facility is equipped with three single-stage horizontal centrifugal pumps rated at
  12 mgd, 9 mgd, and 9 mgd, respectively. There is no standby power provided to this pumping station.
  These pumps were installed in 1948 and are primarily used as an emergency water supply and pumping
  source during peak demand events as they have exceeded their design life and are in need of
  rehabilitation. The pumping capacity of this station is 30 mgd with a normal running capacity of 18 mgd.
  The pumping station electrical controls have not been updated since their original installation in 1948.
  This station requires significant upgrades to bring the station up to current automatic operation standards
  and should be considered in addition to regular maintenance. 2

  Pump Station No. 4 is located at the Dort Reservoir on the WTP grounds, and contains a total of five
  pumps. Pumps 1 and 2 were installed in 1949 and are considered inoperable with no repair or replacement
  plans. In 1994, the station was rehabilitated with the addition of two new 20 mgd turbine pumps and one
  6 mgd turbine pump to induce turn-over of the Dort Reservoir. The pumping capacity of this station is 46
  mgd with a normal running capacity of 26 mgd. 2

  The West Side Pump Station is equipped with two three-stage turbine pumps and two two-stage turbine
  pumps, all installed in 1970. Pumps 1 and 2 have a capacity of 8 mgd each, and pumps 3 and 4 each have
  a 4 mgd capacity. The pumping capacity of this station is 24 mgd with a normal running capacity of 16
  mgd. The pumping operations and filling of the reservoir are controlled by the WTP or manually at the
  station. There is no standby power provided to this pumping station. 2

  Constructed in 1954, the Torrey Road Pumping Station is equipped with two centrifugal pumps rated at
  2.8 mgd and 4 mgd. The pumping capacity of this station is 6.8 mgd with a normal running capacity of
  2.8 mgd. The primary function of the station is an in-line booster pumping station to provide increased
  pressure to the southwest portion of the City. There is no standby power provided to this pumping station.
  The existing pumps have exceeded their useful life and the piping and valves are in poor condition. The
  station has been scheduled for rehabilitation and other improvements. 2

  Dort Reservoir is located at the WTP and is a 20-million gallon (MG) ground storage facility. Constructed
  in 1966, it is used primarily for emergency water storage and for use during peak water demand periods. 2

  Constructed in 1952, the storage tank located at the WTP is a 2.0 MG elevated tank primarily used for
  emergency water storage and as a pressure buffer. The tank was last inspected and painted in 2009. 2

  Constructed in 1954, the WTP has a 3.0 MG ground storage tank primarily used as an emergency water
  supply and pumping source during peak demand events. 2

  The Cedar Street Reservoir is a 20 MG ground storage facility. Constructed in 1948, the reservoir is
  primarily used as an emergency water supply and pumping source during peak demand events. 2

  The West Side Reservoir is a 12 MG ground storage facility. Constructed in 1970, the reservoir is
  primarily used as an emergency water supply and pumping source during peak demand events. 2




  Report    of the Engineering Consultant                                                  902-6843.001
  Karegnondi Water Authority                                                          0 3 / 1 7 / 1 4 , P a g e |1
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                                                           APPENDIX C-2
                                                        FLINT WATER SYSTEM
                                       HISTORICAL CUSTOMERS AND COMPONENTS
Case 4:20-cv-12726-MFL-DRG ECF No. 1-2 filed 10/07/20                           PageID.421         Page 361 of 726
                                                                                                                  TM
  Jones & Henry Engineers,                  Ltd.                                                    Fluid thinking...




                                                     Appendix C-2
                                                                         1
                                             Flint Water Supply System


                                             2009          2010         2011           2012            2013
                          1
     Customers Billed                         40,191        38,977       37,437         35,833           32,702
                                   2
     Total Purchased (ccf)                 13,696,461    11,943,961   13,108,730     11,926,868    11,897,969

     Total Billed
     (Flint and GCDC-WWS)                                10,027,390   10,140,906      9,649,847      9,470,315

                               1
     Water Mains (miles)                           540         540            540          540               540
                      1
     Fire Hydrants                             5,200          5,200          5,200       5,200            5,200
                                       1
     Storage Capacity (gallons)            57,000,000    57,000,000   57,000,000     57,000,000    57,000,000


     Population                              112,857       111,475      102,434        101,558         101,515



     1
         Flint Annual Audits
     2
         Howard Croft, City of Flint




  Report     of the Engineering Consultant                                                      902-6843.001
  Karegnondi Water Authority                                                               0 3 / 1 7 / 1 4 , P a g e |1
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                                                           APPENDIX C-3
                                              FLINT WATER RATES - POST DWSD
Case 4:20-cv-12726-MFL-DRG ECF No. 1-2 filed 10/07/20                       PageID.423         Page 363 of 726
                                                                                                              TM
  Jones & Henry Engineers,             Ltd.                                                     Fluid thinking...




                                              Appendix C-3
                                      Flint Water Rates – Post DWSD



  x       Analysis started with annual audit revenue and expenses. Audit reflects July 1 to June 30 fiscal
          year.

  x       Genesee County charges (revenues) were identified and removed starting in July 2014.

  x       Between 2009 and 2013, the cost of water purchased from DWSD per ccf increased an average of
          11.4 percent annually.

  x       Water usage by customers has been decreasing, but trend appears to be reducing and estimated
          usage is assumed to stabilize at 3,345,000 ccf annually, beginning in 2014.

  x       Delinquency Rate is expected to remain the same.

  x       The City is assuming non-revenue water will be reduced by 10 percent per year through planned
          programs. No adjustments have been made in this analysis to reflect this potential change, but it
          could increase revenue and reduce expenses.

  x       It is assumed that Flint will start operation of their WTP with river water in April 2014 and will
          start using KWA water supply on July 1, 2016.

  x       KWA is expected to start operating July 1, 2016.

  x       Adjustments to Expenses

          o       Removed DWSD purchases starting in April 2014.

          o       Projected expenses for 2014 to 2018

                         Salaries 3 percent annually

                         Utilities 9 percent annually

                         All others 2 percent annually

          o       Added KWA O&M (43.6 percent of Total)

                      Fiscal Year                Flint
                         2017                 $1,015,264
                         2018                 $1,090,106




  Flint   Water Rates – Post         DWSD                             Appendix C-3, 902-6843.001
  Karegnondi Water Authority                                                           0 3 / 1 7 / 1 4 , P a g e |1
Case 4:20-cv-12726-MFL-DRG ECF No. 1-2 filed 10/07/20                       PageID.424       Page 364 of 726
                                                                                                            TM
  Jones & Henry Engineers,            Ltd.                                                    Fluid thinking...




          o       If the expected reduction in non-revenue water occurs, it will reduce KWA charges. A 10
                  percent reduction in non-revenue water is 3.1 percent of total water purchased, but since
                  only chemical and energy cost savings for KWA is anticipated (61 percent of total
                  operating costs), operating cost would go down only 1.9 percent. Capital cost would not
                  go down.

          o       Added $1,762,580 in FY 2014; $7,050,319 in FYs 2015 and 2016; $7,584,319 in FY
                  2017; and $7,808,582 in FY 2018 to operating expenses of WTP, based on City
                  projections.

          o       City has established a CIP and anticipates the following annual expenditures:

                         FY 2014          $8,500,000
                         FY 2015          $10,500,000
                         FY 2016          $9,500,000
                         FY 2017          $6,000,000
                         FY 2018          $6,500,000

                  This includes capital improvements required at the WTP plus commencing infrastructure
                  reinvestment in the distribution system, and developing a reserve and equipment
                  replacement fund.

          o       KWA Purchase (Capital)

                         $383,333 per unit x 18 units = $6,900,000 per year starting July 2016. Prior to
                          that it will be 10 percent of the annual amount.

  x       Debt service was added: $2,747,946 in FY 2014; $2,742,821 in FY 2015; $2,746,423 in FY
          2016; $2,748,446 in FY 2017; and $2,744,008 in FY 2018. The last debt service payment will
          be in 2024. The balance at the end of FY 2013 is $23,378,511.

  x       A transfer to the General Fund which represents a return on equity to the City of $1,130,000
          annually was added for FY 2014 through FY 2018 based on City projections. The annual audits
          for Flint also had $1,130,000 for FY 2011 through FY 2013.

  x       Rates – Current rates became effective July 1, 2012.

                                                        Current
                Minimum through              $21.776 per EM
               Commodity (35 ccf)            $7.518 per 100 cubic feet

  x       Typical Bills for residential unit and commercial unit:

                Meter Size              Commodity                   Monthly Bill
                 5/8-inch             1,000 cubic feet                $96.96
                  1-inch              2,052 cubic feet               $209.55




  Flint   Water Rates – Post         DWSD                              Appendix C-3, 902-6843.001
  Karegnondi Water Authority                                                         0 3 / 1 7 / 1 4 , P a g e |2
Case 4:20-cv-12726-MFL-DRG ECF No. 1-2 filed 10/07/20   PageID.425   Page 365 of 726




                                                           APPENDIX C-4
                                 FLINT WATER DIVISION REVENUES AND EXPENSES
                Case 4:20-cv-12726-MFL-DRG ECF No. 1-2 filed 10/07/20                                                                             PageID.426                 Page 366 of 726

                                                                                                                                                                                                                         TM
Jones & Henry Engineers,                       Ltd.                                                                                                                                                        Fluid thinking...




                                                                                        Appendix C-4
                                                                                   Revenues and Expenses
                                                                                 Flint Water Supply Division
                                                                                                 %
                                              FY2011             FY2012           FY2013       Change      FY2014                FY2015             FY2016             FY2017             FY2018
   Operating Revenue
     In-City Receipts From Customers       $24,682,954     1
                                                               $30,596,488   1
                                                                                 $34,663,435   1
                                                                                                         $34,663,435    9
                                                                                                                               $34,663,435    9
                                                                                                                                                  $34,663,435    9
                                                                                                                                                                     $34,663,435    9
                                                                                                                                                                                        $34,663,435    9


     Genesee County-Commodity               $9,019,685     2
                                                                $8,206,688   2
                                                                                  $7,601,857   2
                                                                                                          $6,351,352    10
                                                                                                                                        $0                 $0                 $0                 $0
     Genesee County-Surcharge               $1,404,648     2
                                                                $1,349,676   2
                                                                                  $1,368,000   2
                                                                                                          $1,026,000    11
                                                                                                                                        $0                 $0                 $0                 $0
     Genesee County-DWSD RTS                $1,093,872     2
                                                                $2,499,061   2
                                                                                  $3,987,480   2
                                                                                                          $3,331,540    10
                                                                                                                                        $0                 $0                 $0                 $0
     Other miscellaneous revenue               $14,830     3
                                                                    $3,761   3
                                                                                     $23,041   3
                                                                                                             $13,000               $13,000            $13,000            $13,000            $13,000
        Total Estimated Revenue            $36,215,989         $42,655,674       $47,643,813             $45,385,327           $34,676,435        $34,676,435        $34,676,435        $34,676,435
   Operating Expenses
     DWSD Purchases                        $20,919,987     3
                                                               $21,251,448   3
                                                                                 $23,308,800   3
                                                                                                   11.4% $19,357,539    8, 5
                                                                                                                                        $0                 $0                 $0                 $0
     Salaries, wages and fringe benefits   $12,043,462     3
                                                                $9,613,902   3
                                                                                 $10,599,599   3
                                                                                                   3%    $10,917,587           $11,245,115        $11,582,468        $11,929,942        $12,287,840
     Utilities                                $732,787     3
                                                                  $658,425   3
                                                                                    $691,373   3
                                                                                                   9%       $753,597              $821,420           $895,348           $975,929         $1,063,763
     Equipment operation                      $398,404     3
                                                                  $616,356   3
                                                                                    $628,541   3
                                                                                                   2%       $641,112              $653,934           $667,013           $680,353           $693,960
     Repair and maintenance                   $437,370     3
                                                                  $609,858   3
                                                                                    $220,696   3
                                                                                                   2%       $225,110              $229,612           $234,204           $238,888           $243,666
     Supplies                                 $680,635     3
                                                                  $978,916   3
                                                                                    $934,097   3
                                                                                                   2%       $952,779              $971,835           $991,271         $1,011,097         $1,031,319
     Professional services                    $700,728     3
                                                                  $981,440   3
                                                                                    $605,606   3
                                                                                                   2%       $617,718              $630,072           $642,674           $655,527           $668,638
     Administrative costs                   $1,132,511     3
                                                                $1,215,447   3
                                                                                          $0   3
                                                                                                                  $0                    $0                 $0                 $0                 $0
     Miscellaneous costs                      $924,319     3
                                                                  $926,460   3
                                                                                    $749,641   3
                                                                                                   2%       $764,634              $779,926           $795,525           $811,436           $827,664
                                                                                                                        4                     4                  4                  4                  4
      Operating WTP                                 $0                 $0                $0               $1,762,580            $7,050,319         $7,050,319         $7,584,319         $7,808,582
      KWA Capital Cost (Bond, 30%)7                 $0                 $0                $0                 $690,000              $690,000           $690,000         $6,900,000         $6,900,000
      KWA Operating Cost 6                          $0                 $0                $0                       $0                    $0           $974,768         $1,055,760         $1,124,451
      CIP Financing4                                $0                 $0                                 $8,500,000           $10,500,000         $9,500,000         $6,000,000         $6,500,000
      Debt Service 4                                                                                      $2,747,946            $2,742,821         $2,746,423         $2,748,446         $2,744,008
                                                                                                                        4                     4                  4                  4                  4
      Transfer to General Fund              $1,130,000     3
                                                                $1,130,000   3
                                                                                  $1,130,000   3
                                                                                                          $1,130,000            $1,130,000         $1,130,000         $1,130,000         $1,130,000
         Total operating expenses          $39,100,203         $37,982,252       $38,868,353             $49,060,601           $37,445,055        $37,900,013        $41,721,697        $43,023,891

            Annual Reserve                  ($2,884,214)        $4,673,422        $8,775,460             ($3,675,274)          ($2,768,620)       ($3,223,578)       ($7,045,262)       ($8,347,456)

       1
          Total from annual audits for Receipts From Customers and Users, less Genesee County charges
       2
          Genesee County rate studies by Jones & Henry Engineers
        3
          Flint annual audits
        4
          Provided by City of Flint, March 6, 2014 (one-fourth in FY2014)
        5
          Flint to begin treating river water April 1, 2014.
        6
          Jones & Henry calculation
        7
          Estimate of $383,333 per unit ($23,000,000/60 units), 18 units for Flint
        8
          Cost per ccf of purchases from DWSD between 2009-2013 increased by an average of 11.4% annually. This will be the factor that will be used to estimate DWSD purchases in 2014 (9 months)
        9
          Based on 2013 revenue levels without taking into account future rate increases
       10
          FY2013 expense plus 11.4% increase times 75% (to adjust to coincide with April 1, 2014 GCDC-WWS supply from DWSD)
       11
          FY2013 expense times 75% (to adjust to coincide with April 1, 2014 GCDC-WWS supply from DWSD)




Report     of the Engineering Consultant                                                                                                                               Appendix C-4, 902-6843.001
Karegnondi Water Authority                                                                                                                                                                         0 3 / 1 7 / 1 4 , P a g e |1
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                                                           APPENDIX C-5
                                    FLINT WATER SYSTEM NEEDS AND PROJECTS
                             (SUMMARY FROM EXISTING INFRASTRUCTURE REPORT,
                                                 DLZ AND HOUSEAL LAVIGNE)
Case 4:20-cv-12726-MFL-DRG ECF No. 1-2 filed 10/07/20                       PageID.428         Page 368 of 726
                                                                                                              TM
  Jones & Henry Engineers,              Ltd.                                                    Fluid thinking...




  Appendix C-5 Flint Water System Needs and Projects
  (Summary from Existing Infrastructure Report, DLZ and Houseal Lavigne)
  The City does experience problems with a number of existing valves; long-term needs for the system
  include replacement of existing valves over the next 20 years. The estimated cost for valve replacement is
  approximately $2,000,000.

  The City of Flint’s conveyance system consists of water distribution and transmission main ranging in
  size from 4-inch to 72-inch diameter. The majority of the existing piping is constructed of cast iron or
  ductile iron pipe up to 24-inch in diameter and exceeds 70 years old. Transmission mains over 24-inch
  diameter are constructed primarily of steel piping. A significant amount of 4-inch water main is over 70
  years old, is prone to breaks, and is unable to provide modern pressures and fire flows. The distribution
  and transmission system are “old and in serious need of replacement” according to the Water Reliability
  Study. A six-year Capital Improvement Program was developed by the City’s Utilities Department and
  addresses the below-ground infrastructure issues and a long-term 20-year plan. 2

  The City of Flint’s distribution system currently has 3,931 gate valves and 3,327 gate well valves. Critical
  valves are 16-inch and larger on a primary transmission main that could result in shutting down a
  significant part of the City in the event of a break. A preliminary evaluation indicated that there are 1,398
  critical valves in the system. Subcritical valves are 12-inch valves on minor transmission mains, the
  failure of which could result in a shutdown of a residential area. There are 1,398 subcritical valves.
  Normal valves are smaller than 12-inch and the failure of a normal valve would impact a small residential
  area. There are 4,462 normal valves in the system. Currently the City is operating under a reactionary
  valve maintenance plan; however, the City has plans to move to a preventative maintenance and
  replacement operation that includes operating and maintaining 700 critical valves, 280 subcritical valves,
  and 450 normal valves annually. The Water Reliability Study recommended $500,000 in valve
  replacements be done annually.

  The City of Flint has 3,605 hydrants in the current water distribution system, many of which are in excess
  of 50 years old. In 2010, the City purchased 80 hydrants to begin replacing old hydrants. The City has
  plans to analyze and replace hydrants that exceed 50 years of age; over the next 20 years the City plans to
  create a system that will assess and regularly replace hydrants that reach 25 years of age. The Water
  Reliability Study recommended $250,000 in hydrant replacements be done annually. 2

  A major problem exists with the efficiency of the water system. According to the Water Reliability Study,
  the City is operating its water system with 68 percent efficiency, meaning that 32 percent of the water that
  the City buys from DWSD is not paid for by users of the system. The Water Reliability Study stated that
  water utilities typically operate at 85 to 90 percent efficiency. Increasing efficiency to 85 percent would
  result in an increase in revenue of $1.5-2.0 million annually. There are several likely explanations for the
  unaccounted water (loss of efficiency):

  x       Water withdrawn from a fire hydrant

  x       Leaks and water main breaks

  x       Faulty or inaccurate meters

  x       Unauthorized connections

  x       Unmetered municipal water use


  Report    of the Engineering Consultant                                                   902-6843.001
  Karegnondi Water Authority                                                           0 3 / 1 7 / 1 4 , P a g e |1
Case 4:20-cv-12726-MFL-DRG ECF No. 1-2 filed 10/07/20                       PageID.429           Page 369 of 726
                                                                                                                TM
  Jones & Henry Engineers,             Ltd.                                                       Fluid thinking...




  Given the low efficiency of the City’s water system, it is most likely that there is a combination of
  significant leaks within the system, inaccurate meters, and/or illegal connections. It was recommended in
  the Water Reliability Study that a high priority should be placed on increasing the water systems’
  efficiency. This includes testing high volume meters, performing a detailed leak detection study,
  residential meter replacement, billing system review, and reviewing fire flow estimates. 2

  The exact location, condition, and age of each water line in the City are unknown. 2

  In order to provide finished water to its customers, Flint expects to use an existing water treatment plant,
  which is currently operating in a back-up role with a capacity of 36 mgd. Flint will be required to make an
  estimated $8,000,000 in improvements to convert the plant from stand-by to fully operational.

  Currently, Flint and Genesee County receive treated water from DWSD. In 2012, Flint and Genesee
  County combined for a total payment to DWSD of approximately $25,000,000 in both fixed fee and
  commodity charges for an average water cost of $22.72 per 1,000 cubic feet of water.

  The Flint Water Reliability Study includes a number of recommendations that have not been implemented
  for financial reasons. These improvements include replacement of over 59,000 LFT of major transmission
  water main (larger than 12-inch), over 5,500 LFT of 6-inch minor transmission water main, and
  replacement of 3,000 water meters each year. Funding for these improvements to the system is needed to
  reduce waste and improve efficiency. In addition, the other recommendations for valve and hydrant
  replacement are in need of funding. Prioritization of funding for the above improvements, as well as for
  smaller service line replacement, will need to consider redevelopment considerations included in the
  Master Plan.




  Report    of the Engineering Consultant                                                     902-6843.001
  Karegnondi Water Authority                                                             0 3 / 1 7 / 1 4 , P a g e |2
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                                                           APPENDIX C-6
                                          WATER RATES AND CHARGES FOR FLINT
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                                                                                                      TM
  Jones & Henry Engineers,          Ltd.                                                Fluid thinking...




                                           Appendix C-6
                             Schedule of Water Rates & Charges for Flint

           Metered Water                             Rates for Bills Due After July 1, 2012
           Rates per 100 cubic feet (ccf)            Inside City Rate    Outside City Rate
           Through 35 ccf                                 7.518                11.259
           Next 1,965 ccf                                 7.310                10.765
           Over 2,000 ccf                                 5.792                8.677

           Water Monthly Service Charges
           Remote Metered Monthly Charge             Rates for Bills Due After July 1, 2012
           Meter Size                                Inside City Rate    Outside City Rate
           5/8 inch                                         21.776                32.483
           3/4 inch                                         41.861                62.706
           1 inch                                           55.283                82.792
           1-1/2 inch                                       55.283                82.792
           2 inch                                           55.283                82.792
           Non-Remote Metered Monthly Charge         Rates for Bills Due After July 1, 2012
           Meter Size                                Inside City Rate    Outside City Rate
           5/8 inch                                         26.332                39.678
           3/4 inch                                         46.664                69.976
           1 inch                                           59.952                90.062
           1-1/2 inch                                       59.952                90.062
           2 inch                                           59.952                90.062
           Commercial & Industrial Month Charge      Rates for Bills Due After July 1, 2012
           Meter Size                                Inside City Rate    Outside City Rate
           5/8 inch                                          53.385                80.134
           3/4 inch                                          61.263                91.715
           1 inch                                            75.103               112.673
           1-1/2 inch                                       107.756               161.785
           2 inch                                           150.622               226.086
           3 inch                                           297.488               448.469
           4 inch                                           523.495               785.366
           6 inch                                         1,029.429             1,543.867
           8 inch                                         1,492.875             2,239.473
           10 inch                                        2,060.754             3,107.476
           12 inch                                        2,493.124             3,739.505
           16 inch                                        3,102.636             4,653.867
           20 inch                                        3,351.183             5,463.817




  Report   of the Engineering Consultant                                            902-6843.001
  Karegnondi Water Authority                                                   0 3 / 1 7 / 1 4 , P a g e |1
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                                                        KAREGNONDI WATER AUTHORITY, COUNTIES OF GENESEE, LAPEER AND SANILAC, STATE OF MICHIGAN • WATER SUPPLY SYSTEM BONDS (KAREGNONDI WATER PIPELINE), SERIES 2014A
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                       Exhibit 2 to Exhibit B
Case 4:20-cv-12726-MFL-DRG ECF No. 1-2 filed 10/07/20             PageID.436     Page 376 of 726




                          SUPPLEMENT DATED MAY 1, 2014
                    TO OFFICIAL STATEMENT DATED APRIL 1, 2014
                                    relating to


                        KAREGNONDI WATER AUTHORITY
                    COUNTIES OF GENESEE, LAPEER AND SANILAC
                              STATE OF MICHIGAN

                                  $220,500,000
                          WATER SUPPLY SYSTEM BONDS
                    (KAREGNONDI WATER PIPELINE), SERIES 2014A



          This Supplement, dated May 1, 2014, supplements and amends the above referenced
  Official Statement, dated April 1, 2014, relating to the above referenced bonds (the “Bonds”).
  On April 30, 2014, Standard & Poor’s Ratings Services, a division of The McGraw-Hill
  Companies, Inc., lowered its rating on the Bonds from “A+” to “A.” The outlook is stable.
Case 4:20-cv-12726-MFL-DRG ECF No. 1-2 filed 10/07/20                              PageID.437         Page 377 of 726
NEW ISSUE                                                                                    Rating: See “RATING” herein
Book-Entry-Only
     In the opinion of Miller, Canfield, Paddock and Stone, P.L.C., Bond Counsel, under existing law, assuming
compliance with certain covenants by the Issuer, the interest on the Bonds is excludable from gross income for federal
income tax purposes and the Bonds and the interest thereon are exempt from all taxation by the State of Michigan or by
any taxing authority within the State of Michigan, except inheritance and estate taxes and taxes on gains realized from
the sale, payment or other disposition thereof. See” TAX MATTERS” and “FORM OF APPROVING OPINION” herein for
a description of certain provisions of the Internal Revenue Code of 1986, as amended (the “Code”), which may affect the
tax treatment of interest on the Bonds for certain Bondholders.
                                       KAREGNONDI WATER AUTHORITY
                                  COUNTIES OF GENESEE, LAPEER AND SANILAC
                                             STATE OF MICHIGAN
                                                $220,500,000
                                        WATER SUPPLY SYSTEM BONDS
                                  (KAREGNONDI WATER PIPELINE), SERIES 2014A
Dated: Date of Delivery                                  Principal Due: November 1, as shown on Inside Cover Page
     The Water Supply System Bonds (Karegnondi Water Pipeline), Series 2014A (the “Bonds”) are issued under the provisions
of Act 233, Public Acts of Michigan, 1955, as amended, and a resolution adopted by the Board of Trustees of the Karegnondi
Water Authority, Counties of Genesee, Lapeer and Sanilac, State of Michigan (the “Issuer”) on November 20, 2013. The
Bonds are being issued for the purpose of paying a portion of the cost of acquiring and constructing the Issuer’s Water
Supply System (the “System”) to serve initially the City of Flint and the County of Genesee (individually a “Local Unit” and
collectively, the “Local Units”), funding a debt service reserve account, paying capitalized interest and paying the costs
of issuing the Bonds. The Bonds are to be issued in anticipation of, and are payable primarily as to principal and interest
from, payments (the “Contractual Payments”) to be made by the Local Units to the Issuer pursuant to a Contract among
the Issuer and the Local Units dated as of August 1, 2013 (the “Contract”). The Contractual Payments will be in installments
that will equal the principal and interest payments on the Bonds. Further, each Local Unit has pledged its limited tax full
faith and credit for the payment of its Contractual Payments and is obligated, to the extent necessary, as a first budget
obligation to levy ad valorem taxes on all taxable property within its boundaries for such purpose, subject to applicable
constitutional, statutory and charter tax limitations. Each Local Unit is expected to make its Contractual Payments from
revenues collected from charges imposed on the customers of its respective water supply system. The County of Genesee
in the Contract has pledged to make all payments that the City of Flint fails to make to the Issuer under the Contract. The
Issuer has irrevocably pledged the Contractual Payments for the payment of the principal of and interest on the Bonds.
     The Bonds are issuable only as fully registered Bonds without coupons, and when issued, will be registered in the name
of Cede & Co., as Bondholder and nominee for The Depository Trust Company (“DTC”), New York, New York. DTC will act
as securities depository for the Bonds. Purchases of beneficial interests in the Bonds will be made in book-entry only form,
in the denominations of $5,000 or any integral multiple thereof. Purchasers will not receive certificates representing their
beneficial interest in Bonds purchased. So long as Cede & Co. is the Bondholder, as nominee of DTC, references herein to
the Bondholders or registered owners shall mean Cede & Co., as aforesaid, and shall not mean the Beneficial Owners of the
Bonds. See BOOK-ENTRY ONLY SYSTEM herein.
     Interest on the Bonds will be payable semiannually on May 1 and November 1 of each year commencing on
November 1, 2014. The Bonds will be registered Bonds, of the denomination of $5,000 or multiples thereof not exceeding
for each maturity the principal amount of such maturity. The principal and interest shall be payable at the corporate trust
office of The Huntington National Bank, Grand Rapids, Michigan or such other transfer agent as the Issuer may hereafter
designate by notice mailed to the registered owner not less than sixty (60) days prior to any change in interest payment
date (the “Transfer Agent”). Interest shall be paid when due by check mailed to the registered owner as shown by the
registration books as of the fifteenth day of the month preceding the payment date for each interest payment. Payment of
principal and interest to Beneficial Owners shall be made as described in BOOK-ENTRY ONLY SYSTEM herein.
     The Bonds are subject to redemption at par, as described herein.
    The Bonds are offered when, as and if issued by the Issuer and subject to receipt of the approving opinion of Miller,
Canfield, Paddock and Stone, P.L.C., Detroit, Michigan, Bond Counsel. Certain legal matters will be passed upon for the
Underwriters by their counsel, Dickinson Wright PLLC, Troy and Lansing, Michigan. It is expected that delivery of the
Bonds through DTC will be made in New York, New York on or about April 16, 2014.
    THIS COVER PAGE CONTAINS CERTAIN INFORMATION FOR QUICK REFERENCE ONLY. IT IS NOT A SUMMARY
OF THIS ISSUE. INVESTORS MUST READ THE ENTIRE OFFICIAL STATEMENT TO OBTAIN INFORMATION ESSENTIAL
TO THE MAKING OF AN INFORMED INVESTMENT.

                                                      J.P. Morgan
                       Wells Fargo Securities                       Stifel, Nicolaus & Company, Incorporated
Dated: April 1, 2014
Case 4:20-cv-12726-MFL-DRG ECF No. 1-2 filed 10/07/20                                                         PageID.438               Page 378 of 726



                                                                   MATURITY SCHEDULE


                                WATER SUPPLY SYSTEM BONDS (KAREGNONDI WATER PIPELINE), SERIES 2014A


                                                                        SERIAL BONDS
                                                                     (Base CUSIP§: 48563U)


                                     Interest                                                                         Interest
          Year         Amount         Rate              Yield      CUSIP§                Year         Amount           Rate             Yield        CUSIP§
          2017        $2,000,000     3.000%            1.460%       AA9                  2024        $5,595,000       5.000%          3.660%*         AY7
          2017        $2,105,000     5.000%            1.460%       AR2                  2025        $5,875,000       5.000%          3.820%*         AZ4
          2018        $1,300,000     4.000%            1.870%       AB7                  2026        $6,165,000       5.000%          3.940%*         BA8
          2018        $2,975,000     5.000%            1.870%       AS0                  2027        $6,475,000       5.250%          4.050%*         AF8
          2019        $2,000,000     3.000%            2.320%       AC5                  2028        $6,815,000       5.250%          4.110%*         AG6
          2019        $2,475,000     5.000%            2.320%       AT8                  2029        $7,175,000       5.250%          4.200%*         AH4
          2020        $2,000,000     4.000%            2.780%       AD3                  2030        $7,550,000       5.250%          4.290%*         AJ0
          2020        $2,655,000     5.000%            2.780%       AU5                  2031        $7,945,000       5.250%          4.380%*         AK7
          2021        $2,000,000     3.000%            3.050%       AE1                  2032        $8,365,000       5.250%          4.450%*         AL5
          2021        $2,870,000     5.000%            3.050%       AV3                  2033        $8,800,000       4.500%           4.670%         AM3
          2022        $5,075,000     5.000%            3.310%       AW1                  2034        $9,200,000       5.250%          4.570%*         AN1
          2023        $5,325,000     5.000%            3.490%       AX9                  2035        $9,680,000       5.250%          4.620%*         AP6




                                                                         TERM BONDS

                                                                                     Interest
                                                Year               Amount             Rate            Yield          CUSIP§
                                                2040              $56,590,000        5.250%         4.740%*           BB6
                                                2043              $41,490,000        5.000%         4.890%*           AQ4




  *Yield to the November 1, 2023 first call date




  §
       Registered trademark of American Bankers Association. CUSIP numbers are provided by Standard & Poor’s, CUSIP Service Bureau, a division of The
      McGraw-Hill Companies, Inc. The CUSIP numbers listed above are being provided solely for the convenience of Bondholders only at the time of
      issuance of the Bonds and the Issuer does not make any representation with respect to such number or undertake any responsibility for its accuracy now or
      at any time in the future. The CUSIP number for a specific maturity is subject to being changed after the issuance of the Bonds as a result of various
      subsequent actions including, but not limited to, a refunding in whole or in part of such maturity.


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                          KAREGNONDI WATER AUTHORITY
                                                   G-4610 Beecher Road
                                                Flint, Michigan 48532-2617
                                                       (810) 732-7870
                                                    Fax: (810) 732-9773



                                                  BOARD OF TRUSTEES
                                                 Dayne Walling, Chairperson
                                               Greg Alexander, Vice Chairperson
                                                         Jamie Curtis
                                                       Joshua Freeman
                                                         Larry Green
                                                     Richard E. Hammel
                                                          Ted Henry
                                                       Marilyn Hoffman
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                                                        Steve Landaal
                                                        Sheldon Neely
                                                         Joseph Suma
                                                        Thomas Svrcek
                                                        Tracey Tucker
                                                        Paula Zelenko


                                              CHIEF EXECUTIVE OFFICER
                                                     Jeffrey Wright


                                                     PROFESSIONAL SERVICES
  TRANSFER AGENT ........................................................................................................... The Huntington National Bank

  BOND COUNSEL ............................................................................................ Miller, Canfield, Paddock and Stone, P.L.C.

  FINANCIAL ADVISOR ..........................................................................................Stauder, BARCH & ASSOCIATES, Inc.




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           No dealer, broker, salesman or other person has been authorized by the Issuer to give any information
  or to make any representations, other than those contained in this Official Statement, and, if given or made,
  such other information or representations must not be relied upon as having been authorized by any of the
  foregoing. This Official Statement does not constitute an offer to sell or the solicitation of an offer to buy, nor
  shall there be any sale of the Bonds by any person in any jurisdiction in which it is unlawful for such person to
  make such offer, solicitation or sale. The information set forth in this Official Statement has been obtained
  from the Issuer, the County of Genesee, the City of Flint and other sources which are believed to be reliable,
  including The Depository Trust Company with respect to the information contained under the heading BOOK-
  ENTRY ONLY SYSTEM, but is not guaranteed as to accuracy or completeness by, and is not to be construed
  as a representation by, the Issuer. The information and expressions of opinion in this Official Statement are
  subject to change without notice, and neither the delivery of this Official Statement nor any sale made under
  this Official Statement shall, under any circumstances, create any implication that there has been no change in
  the affairs of the parties referred to above or that the other information or opinions are correct as of any time
  subsequent to the date of this Official Statement. The Transfer Agent has not participated in the preparation of
  this Official Statement and assumes no responsibility for it.

           The Underwriters have provided the following sentence for inclusion in this Official Statement. The
  Underwriters have reviewed the information in this Official Statement in accordance with, and as part of, their
  respective responsibilities to investors under the federal securities laws as applied to the facts and
  circumstances of this transaction, but the Underwriters do not guarantee the accuracy or completeness of such
  information.

       IN MAKING AN INVESTMENT DECISION INVESTORS MUST RELY ON THEIR OWN
  EXAMINATION OF THE ISSUER AND THE TERMS OF THE OFFERING, INCLUDING THE
  MERITS AND RISKS INVOLVED. THESE SECURITIES HAVE NOT BEEN RECOMMENDED BY
  ANY FEDERAL OR STATE SECURITIES COMMISSION OR REGULATORY ISSUER.
  FURTHERMORE, THE FOREGOING AUTHORITIES HAVE NOT CONFIRMED THE
  ACCURACY OR DETERMINED THE ADEQUACY OF THIS DOCUMENT. ANY
  REPRESENTATION TO THE CONTRARY IS A CRIMINAL OFFENSE.

        IN CONNECTION WITH THIS OFFERING, THE UNDERWRITERS MAY OVER-ALLOT
  OR EFFECT TRANSACTIONS WHICH STABILIZE OR MAINTAIN THE MARKET PRICE OF
  THE BONDS AT A LEVEL ABOVE THOSE WHICH MIGHT OTHERWISE PREVAIL IN THE
  OPEN MARKET. SUCH STABILIZING, IF COMMENCED, MAY BE DISCONTINUED AT ANY
  TIME.
                                _________________

           This Official Statement contains forward-looking statements, which can be identified by the use of the
  future tense or other forward-looking terms such as “may,” “intend,” “will,” “expect,” “anticipate,” “plan,”
  “management believes,” “estimate,” “continue,” “should,” “strategy,” or “position” or the negatives of those
  terms or other variations of them or by comparable terminology. In particular, any statements express or
  implied, concerning future receipts of federal grants or the ability to generate cash flow to service indebtedness
  are forward-looking statements. Investors are cautioned that reliance on any of those forward-looking
  statements involves risks and uncertainties and that, although the Issuer’s management believes that the
  assumptions on which those forward-looking statements are based are reasonable, any of those assumptions
  could prove to be inaccurate. As a result, the forward-looking statements based on those assumptions also
  could be incorrect, and actual results may differ materially from any results indicated or suggested by those
  assumptions. In light of these and other uncertainties, the inclusion of a forward-looking statement in this
  Official Statement should not be regarded as a representation by the Issuer or that its plans and objectives will
  be achieved. All forward-looking statements are expressly qualified by the cautionary statements contained in
  this paragraph. The Issuer undertakes no duty to update any forward-looking statements.




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                                    OFFICIAL STATEMENT

                         KAREGNONDI WATER AUTHORITY
                     COUNTIES OF GENESEE, LAPEER AND SANILAC
                               STATE OF MICHIGAN
                                    $220,500,000
                           WATER SUPPLY SYSTEM BONDS
                          (KAREGNONDI WATER PIPELINE)
                                   SERIES 2014A

         The purpose of this Official Statement, which includes the cover page and Appendices, is
  to furnish information in connection with the issuance and sale by the Karegnondi Water
  Authority, Counties of Genesee, Lapeer and Sanilac, State of Michigan (the “Issuer”) of its
  Water Supply System Bonds (Karegnondi Water Pipeline), Series 2014A (the “Bonds”) in the
  aggregate principal amount of $220,500,000.


                                             PURPOSE

          The Bonds are issued under the provisions of Act 233, Public Acts of Michigan, 1955, as
  amended (“Act 233”), and a resolution authorizing the issuance of the Bonds (the “Resolution”)
  adopted by the Board of Trustees of the Issuer on November 20, 2013. The Bonds are being
  issued for the purpose of paying a portion of the cost of acquiring and constructing the Issuer’s
  Water Supply System (the “System”) that is being established for the purpose of supplying raw
  water to its member communities, funding the Debt Service Reserve Account as hereinafter
  described, paying capitalized interest on the Bonds and paying the costs of issuing the Bonds.
  The Issuer was incorporated in October, 2010 pursuant to Act 233 by the County of Genesee
  (“Genesee”), the County of Lapeer, the County of Sanilac, the City of Flint (“Flint”) and the City
  of Lapeer for the purpose of providing its member communities with a new source of water.
  Although the Issuer was incorporated in 2010, planning and design for the System in its present
  configuration began in 2001.

          The System is expected ultimately to supply raw water for the three county area
  consisting of over 2,232 square miles and a population of over one half million residents, but the
  System will initially provide raw water to Genesee and Flint (individually a “Local Unit” and
  collectively, the “Local Units”). Currently, Genesee and Flint receive finished water from the
  City of Detroit, through its Detroit Water and Sewerage Department (“DWSD”), but Flint
  expects that it will no longer receive water from DWSD after April 17, 2014 and as a result,
  Genesee is pursuing a separate contract for an interim water supply from DWSD. Genesee and
  Flint participated in the establishment of the Issuer in order to have a more reliable supply of
  water at rates that they expect ultimately to be less than what would otherwise be payable to
  DWSD. For a description of the proposed System and the interim arrangements for water supply
  for Genesee and Flint until the System is completed and operational, see the heading
  KAREGNONDI WATER AUTHORITY SYSTEM herein.




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                                             SECURITY
  Contractual Payments

          The Bonds are being issued in anticipation of, and are payable primarily as to principal
  and interest from, payments (the “Contractual Payments”) to be made by the Local Units to the
  Issuer pursuant to the Karegnondi Water Authority Financing Contract among the Issuer and the
  Local Units dated as of August 1, 2013 (the “Contract”). The Contractual Payments will be in
  installments that will equal the principal and interest payments on the Bonds. Further, each
  Local Unit has pledged its limited tax full faith and credit for the payment of its Contractual
  Payments and is obligated, to the extent necessary, as a first budget obligation to levy ad valorem
  taxes on all taxable property within its boundaries for such purpose, subject to applicable
  constitutional, statutory and charter tax limitations as to rate and amount. After credit is given to
  Genesee for payment of the principal of and interest on the Genesee Bonds (as described under
  the heading KAREGNONDI WATER AUTHORITY – The System below), Genesee is
  responsible for paying approximately 66% of the principal of and interest due on the Bonds, and
  Flint is responsible for paying approximately 34% of the principal of and interest on the Bonds.
  In addition, pursuant to the Contract, if Flint fails to make any of its Contractual Payments when
  due, Genesee is obligated under the Contract to make such Contractual Payments within one day
  of being notified of Flint’s failure to pay. Further, the Issuer is obligated under the Contract to
  undertake all legal action and make use of all remedies available under the Contract to enforce
  the payment obligations of Flint under the Contract.

         Each Local Unit expects to make its Contractual Payments from revenues collected from
  charges imposed on the customers of its respective water supply system. The water supply
  system of Genesee is hereinafter referred to as the “Genesee System” and the water supply
  system of Flint in hereinafter referred to as the “Flint System.” The Issuer has irrevocably
  pledged the Contractual Payments for the payment of the principal of and interest on the Bonds.
  See The Report of the Engineering Consultant in APPENDIX I for a description of the Genesee
  System and the Flint System.

          The rights or remedies of bondholders may be affected by bankruptcy, insolvency,
  fraudulent conveyance or other laws affecting creditors’ rights generally, now existing or
  hereafter enacted, and by the application of general principles of equity, including those relating
  to equitable subordination.

        A copy of the Contract is included as APPENDIX H. For additional information on
  Genesee, see APPENDIX A and APPENDIX B hereto, and for additional information on Flint,
  see APPENDIX C and APPENDIX D hereto.

  Debt Service Reserve Account

          Pursuant to the Resolution, the Issuer has established a Debt Retirement Fund, and within
  the Debt Retirement Fund has established a Debt Service Reserve Account. All Contractual
  Payments as received are required to be deposited in the Debt Retirement Fund and used to pay
  the principal of and interest on the Bonds. The Debt Service Reserve Account will be funded
  from the proceeds of the Bonds in an amount equal to $15,237,437.50, which is equal to the
  lesser of (1) maximum annual principal and interest requirements during any calendar year on the
                                                   2
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  Bonds then outstanding, (2) ten percent (10%) of the original principal amount of the Bonds, and
  (3) one hundred twenty-five percent (125%) of the average annual principal and interest
  requirements during any calendar year on the Bonds then outstanding (the “Reserve Account
  Requirement”). Moneys in the Debt Service Reserve Account shall be used solely for the
  payment of the principal of and interest on the Bonds when due whenever and to the extent that
  the Contractual Payments being held by the Issuer shall be insufficient for such purposes.

          There shall be credited to the Debt Service Reserve Account beginning on the first day of
  the month following any month in which the amount in the Debt Service Reserve Account shall
  be less than an amount equal to the Reserve Account Requirement as a result of the failure of a
  Local Unit to pay its Contractual Payments, and continuing on the first day of each month
  thereafter, an amount equal to one-thirty-sixth (1/36) of any deficit therein, until the amount on
  deposit is equal to the Reserve Account Requirement; however, if the amount on deposit in the
  Debt Service Reserve Account is less than 100% of the Reserve Account Requirement as a result
  of investment losses with respect to the Debt Service Reserve Account, commencing on the first
  day of the month following such evaluation, and continuing on the first day of each month
  thereafter, an amount equal to one-fourth (1/4) of the amount necessary to restore the Debt
  Service Reserve Account to 100% of the Reserve Account Requirement, unless and until the
  amount on deposit in the Debt Service Reserve Account shall equal 100% of the Reserve
  Account Requirement. Further, if a Local Unit fails to pay its Contractual Payment causing a
  shortfall and the Debt Service Reserve Account is drawn upon to pay the Bonds, the
  replenishment of such Debt Service Reserve Account shall be an obligation of the Local Unit
  that failed to pay such Contractual Payment, in the manner described in the preceding sentence;
  provided, however, if Flint fails to fulfill its obligation to replenish the Debt Service Reserve
  Account, as with the failure to make Contractual Payments under the Contract, Genesee has
  agreed in the Contract to make such payments.

                        ESTIMATED SOURCES AND USES OF FUNDS

                 Sources of Funds

                    Par amount of Bonds                              $220,500,000.00
                    Net Original Issue Premium                         11,815,544.05
                              Total Sources                          $232,315,544.05

                 Use of Funds

                    Deposit to Construction Fund                     $187,137,367.59
                    Capitalized Interest                               28,282,364.06
                    Deposit to Debt Service Reserve Account            15,237,437.50
                    Costs of Issuance                                     712,000.00
                    Underwriters’ Discount                                946,374.90
                                Total Uses                           $232,315,544.05




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                                            THE BONDS

         The Bonds will be dated the date of delivery thereof, will bear interest from the date of
  delivery at the rates and will mature in the amounts and on the dates set forth on the inside cover
  page of this Official Statement and will be subject to redemption prior to maturity as described
  below. Interest on the Bonds will be payable semiannually on May 1 and November 1 of each
  year commencing on November 1, 2014. Interest on the Bonds shall be computed using a 360-
  day year and twelve 30-day months.

          The Bonds will be issued as fully registered Bonds as described in APPENDIX G,
  BOOK-ENTRY-ONLY SYSTEM. Subject to the provisions for the book-entry system, the
  principal of and any redemption premium on the Bonds will be payable upon surrender thereof at
  the designated office of the Transfer Agent, and interest will be payable by check or draft mailed
  by the Transfer Agent to the registered owners of the Bonds as shown on the registration books
  of the Issuer maintained by the Transfer Agent as of the close of business on the fifteenth day of
  the calendar month preceding the month in which the interest payment is due. The Transfer
  Agent also may pay interest on Bonds by wire transfer or such other method as is acceptable to
  the Transfer Agent and the Bondholder to whom payment is being made.



                               PRIOR REDEMPTION OF BONDS
  Optional Redemption
          Bonds maturing in the years 2017 to 2023, inclusive, shall not be subject to redemption
  prior to maturity. Bonds or portions of Bonds in multiples of $5,000 maturing in the year 2024
  and thereafter shall be subject to redemption prior to maturity, at the option of the Issuer, in any
  order of maturity and by lot within any maturity, on any date on or after November 1, 2023, at
  par and accrued interest to the date fixed for redemption.

  Mandatory Redemption of Term Bonds
         The Bonds maturing in the years 2040 and 2043 (the “Term Bonds”) shall be subject to
  annual mandatory redemption on November 1 of the following years and in the following
  amounts, at par, plus accrued interest to the date of mandatory redemption.

                                 Term Bonds due November 1, 2040

                         Redemption Dates            Principal Amounts
                         November 1, 2036                 $10,190,000
                         November 1, 2037                 $10,725,000
                         November 1, 2038                 $11,290,000
                         November 1, 2039                 $11,880,000
                         November 1, 2040 (Maturity)      $12,505,000
                         TOTAL                            $56,590,000




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                                 Term Bonds due November 1, 2043

                         Redemption Dates            Principal Amounts
                         November 1, 2041                 $13,160,000
                         November 1, 2042                 $13,820,000
                         November 1, 2043 (Maturity)      $14,510,000
                         TOTAL                            $41,490,000

         When Term Bonds are purchased by the Issuer and delivered to the Transfer Agent for
  cancellation or are redeemed in a manner other than by mandatory redemption, the principal
  amount of Term Bonds affected shall be reduced by the principal amount of the Term Bonds so
  purchased or redeemed in the order determined by the Issuer.

          In case less than the full amount of an outstanding Bond is called for redemption, the
  Transfer Agent, upon presentation of the Bond called for redemption, shall register, authenticate
  and deliver to the registered owner of record a new Bond in the principal amount of the portion
  of the original Bond not called for redemption.

          Notice of redemption shall be given to the registered owner of any Bond or portion
  thereof called for redemption by mailing of such notice not less than thirty (30) days prior to the
  date fixed for redemption to the registered address of the registered owner of record. A Bond or
  portion thereof so called for redemption shall not bear interest after the date fixed for redemption,
  whether presented for redemption or not, provided funds are on hand with the Transfer Agent to
  redeem said Bond or portion thereof.




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                                    DEBT SERVICE SCHEDULE

           The following schedule sets forth the principal and interest payable with respect to the
  Bonds.

   Fiscal Year Ended 12/31           Principal                 Interest              Total P&I
             2014                                           $6,027,389*              $6,027,389
             2015                                           11,127,488*              11,127,488
             2016                                           11,127,488*              11,127,488
             2017                  $4,105,000                11,127,488              15,232,488
             2018                   4,275,000                10,962,238              15,237,238
             2019                   4,475,000                10,761,488              15,236,488
             2020                   4,655,000                10,577,738              15,232,738
             2021                   4,870,000                10,364,988              15,234,988
             2022                   5,075,000                10,161,488              15,236,488
             2023                   5,325,000                 9,907,738              15,232,738
             2024                   5,595,000                 9,641,488              15,236,488
             2025                   5,875,000                 9,361,738              15,236,738
             2026                   6,165,000                 9,067,988              15,232,988
             2027                   6,475,000                 8,759,738              15,234,738
             2028                   6,815,000                 8,419,800              15,234,800
             2029                   7,175,000                 8,062,013              15,237,013
             2030                   7,550,000                 7,685,325              15,235,325
             2031                   7,945,000                 7,288,950              15,233,950
             2032                   8,365,000                 6,871,838              15,236,838
             2033                   8,800,000                 6,432,675              15,232,675
             2034                   9,200,000                 6,036,675              15,236,675
             2035                   9,680,000                 5,553,675              15,233,675
             2036                  10,190,000                 5,045,475              15,235,475
             2037                  10,725,000                 4,510,500              15,235,500
             2038                  11,290,000                 3,947,438              15,237,438
             2039                  11,880,000                 3,354,713              15,234,713
             2040                  12,505,000                 2,731,013              15,236,013
             2041                  13,160,000                 2,074,500              15,234,500
             2042                  13,820,000                 1,416,500              15,236,500
             2043                  14,510,000                   725,500              15,235,500
           TOTAL                 $220,500,000              $219,133,064            $439,633,064

  *Capitalized interest; paid from Bond proceeds.


                         KAREGNONDI WATER AUTHORITY SYSTEM

         The Issuer is expected ultimately to supply raw water for the three county area (Genesee,
  Lapeer and Sanilac) consisting of over 2,232 square miles and a population of over one half
  million residents. The Issuer will supply metered, untreated water to each contracting member.
  The actual cost for appurtenances and maintenance of the System will be allocated based on
  water sold and each contracting member will be responsible for its proportional share of the cost.
  Each contracting member will be responsible for treating and distributing treated water to its
  individual customers.
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         The Issuer currently has entered into two water purchase contracts (the “Water Purchase
  Contracts”), effective October 1, 2013: one with Flint to supply up to 18 mgd and one with the
  Genesee County Drain Commissioner, as County Agency of Genesee under Act 342, Public Acts
  of Michigan, 1939, as amended (the “County Agency”), on behalf of Genesee, to supply 42 mgd.
  The charges to be paid by Flint and the County Agency in the Water Purchase Contracts are
  broken down into two distinct portions: an annual fixed or capital fee and an annual commodity
  or operations and maintenance fee. Flint and the County Agency expect to pay such charges
  from the revenues of their respective water supply systems as an operation and maintenance
  expense in the same manner that each presently pays for water furnished by DWSD.

          The size of the System is based on the volume identified in the Water Purchase Contracts
  and any additional water purchase contracts entered into with additional parties, up to a
  maximum of 85 mgd, the Issuer’s permit limit. Each contracting party will be responsible for the
  annual fixed fee regardless of the amount of water taken. The other members of the Issuer had
  until October 16, 2013 to enter into a water purchase contract with the Issuer at the same rates set
  forth in the Water Purchase Contracts. No additional water purchase contracts were entered into
  on or before such date and as a result, members entering into water purchase contracts with the
  Issuer subsequent to such date will pay any incremental costs associated with accommodating
  their water purchase contracts.
  The System

          To supply water to its contracting members, the Issuer will be required to construct a lake
  intake on Lake Huron, approximately 63 miles of pipe from the intake plant to the City of Flint
  and 2 pump stations, one of which will be located near the intake facility. Such facilities
  collectively constitute the System. The engineering design of the System is to withdraw water
  from Lake Huron and pump it to a standpipe in Lynn Township in St. Clair County, and from
  there the water will be pumped to a site in Oregon Township in Lapeer County, approximately
  14 miles east of Flint, which site will contain a 150 million gallon earthen reservoir and
  Genesee’s new water treatment plant (discussed below). The reservoir and new treatment plant
  will be owned by Genesee. Raw water flowing to the site in Oregon Township will be directed
  to Flint’s water treatment plant and to Genesee’s water treatment plant and reservoir. Figure 1
  shows the location of the System facilities, the Flint water treatment plant and the proposed
  Genesee treatment plant and reservoir.



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                                                                  Figure 1




                               Source: www.karegnondi.com




                        Tuscola County

                                                                                        Sanilac County                Lake
                                                                                                                      Huron

                  City of                                                     Intermediate Pump Station
                   Flint                 Reservoir/Pump Station                & Stabilization Reservoir
                  Water                    GCDC Water Plant
                  Plant

                                                         Intermediate Pump Station                                         INTAKE
                                                          & Stabilization
                                                        Lapeer County   Reservoir                                        Lake Station

                                                                                                    Lake Huron
                                          Henderson Rd Storage                                     Pump Station
                  Genesee                  & Pumping Facility
                  County                                                            St. Clair County




                                              Oakland County                Macomb County

              Source: Water and Waste Advisory Board Meeting Slide Show – April 10, 2013; Genesee County




         The intake facility and the site therefor (the “Genesee Project”) were financed through the
  issuance of bonds by Genesee in the principal amount of $35,000,000 in October, 2013 (the
  “Genesee Bonds”), with the understanding that Genesee would make the Genesee Project
  available to the Issuer for use by the Issuer as part of the System. Genesee is solely responsible
  for paying the principal of and interest on the Genesee Bonds from the net revenues derived from
  the users of the Genesee System and Genesee has pledged its limited tax full faith and credit as
  additional security for the Genesee Bonds. The lake intake is currently under construction, the
  County Agency having supervised the design of the facility and the receipt and award of
  construction bids for the facility. The lake intake is expected to be completed in October, 2014.

         The Issuer has retained the services of the County Agency to administer the design and
  construction of the System. In addition, it is expected that the Issuer will also contract with the
  County Agency for operation and maintenance of the System after the System is completed and
  fully operational. The County Agency has significant experience in planning, operating and
  managing wastewater systems, having been responsible for planning, operating and managing
  the Genesee System since 1972. The County Agency currently employs approximately 128
  people in connection with the operation and management of the Genesee System, and it is
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  expected that from this group, 5 full time equivalent employees will be involved in the operation
  and maintenance of the System. The Issuer is not expected to have any full time employees.

         On behalf of the Issuer, the County Agency has acquired 40 acres of land with 100 feet of
  frontage on Lake Huron in Sanilac County for the intake plant and pump station and 40 acres of
  land on the northwest corner of Martin Road and Hull Road in Lynn Township in St. Clair
  County for the standpipe and second pump station. The County Agency has also acquired
  approximately 76 acres of land on the northeast corner of Marathon Road and Stanley Road in
  Oregon Township in Lapeer County to serve as the site for Genesee’s new water treatment plant
  and reservoir.

          In anticipation of the construction of the System, the County Agency has obtained a
  permit from the Michigan Department of Environmental Quality (“MDEQ”) authorizing the
  withdrawal of up to 85 million gallons per day (“mgd”) from Lake Huron. Such permit will not
  need to be renewed at any time while the Bonds are outstanding. In addition, the County Agency
  has hired project managers which have to date secured the route of the pipe line, identified all
  environmental issues and prepared preliminary permits for the entire 63-mile route, and also has
  retained consulting firms to complete the design of the remaining System facilities.

          The County Agency has commissioned the design of the two pump stations and 63 miles
  of pipeline (36” to 66” in size). The design and construction is broken up into seven individual
  projects. They are as follows:

         Lake Huron Pump Station
         12 miles of 66-inch transmission main
         12 miles of 66-inch transmission main
         Intermediate Pump Station and Standpipe
         12 miles of 60-inch transmission main
         13 miles of 60-inch transmission main
         14 miles of 36-inch transmission main

          Since the contractor needs 15 months of good weather to complete each pipeline project,
  the pipeline projects were broken down into projects for a construction period of 15 months each.
  The design of the pipelines is 60 percent complete. The pipelines will be bid in a staggered
  format beginning in April, 2014 through September, 2014. Each contract will be awarded within
  two months of bid opening. Final pipeline contracts will be awarded no later than November,
  2014, and with a 15-month construction period, the final pipeline is expected to be completed on
  or before March, 2016.

         The System facilities call for 63 miles of large diameter piping, and the Issuer recognized
  that with limited capacity in the United States to produce the needed materials within the
  necessary time frame for construction, alternative methods of procurement would be required. In
  2013, the Issuer Authority requested proposals for large diameter piping and valves, and in
  October, 2013, the Issuer entered into a contract with American Cast Iron Pipe Company
  (ACIPCO) for the delivery of all 66-inch diameter, 60-inch diameter, and 36-inch diameter pipe.
  In addition, ACIPCO will provide all large diameter valves for the pipeline and pump station
  yard piping and valves.
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         The Issuer has acquired all lands and easements necessary for construction of the System.
  In January 2014, MDEQ held four public hearings with regard to the Issuer’s wetland crossing
  permit. MDEQ has participated in the 30 percent, 60 percent and 90 percent reviews of the
  design, and its comments have been incorporated. Upon 100% design completion of each
  pipeline project, the Issuer will submit an application to MDEQ for its construction permit for
  such project. In addition, the Issuer will submit for its local permits from the local road
  commissions and soil erosion enforcement agencies. The Issuer expects to receive all such
  permits for the construction of the System in time to complete the System as anticipated.

         The design of the two pump stations is 90 percent complete. Final site plans have been
  submitted to the local municipalities, and bids for the pump stations are expected to be received
  in April, 2014, with the contracts to be awarded no later than June, 2014. There is a 22-month
  construction schedule for the pump stations, and they are expected to be completed and in
  operation on or before May, 2016.

          Based upon the foregoing, the System is expected to be available for service no later than
  May 1, 2016. Each contract for construction has a completion date of at least 30-days prior to
  May 1, 2016 and a liquidated damage clause for failure to complete on a timely basis. Each
  contract identifies substantial completion (operation of the pipeline) and final completion
  (pipeline, clean-up, and paperwork). The County Agency can begin operation of the pipeline on
  behalf of the Issuer after substantial completion but prior to final completion.

          The estimated construction costs for the System, including the lake intake and site
  financed by Genesee, are $268,844,053 based on water purchase contracts of 60 mgd. The Issuer
  and the Local Units have entered into the Contract, whereby the Issuer has agreed to issue the
  Bonds and other bonds of the Issuer, in an aggregate amount not to exceed $300,000,000
  (collectively, the “System Bonds”), to finance the remaining facilities for the System in
  anticipation of the Contractual Payments to be made by the Local Units as provided therein. The
  estimated construction costs of the remaining facilities for the System is $233,725,381, and the
  amount of System Bonds to be issued to finance the costs of the remaining System facilities,
  including capitalized interest, amounts to fund the Debt Service Reserve Account, and issuance
  costs, is estimated to be $300,000,000. The Contract is contemplated in the Water Purchase
  Contracts and sets forth the manner in which the capital costs of the System facilities will be
  allocated. Under the Contract, Flint and Genesee are responsible for paying 34.2% and 65.8%,
  respectively, of the debt service on the System Bonds. This allocation takes into account and
  credits Genesee for financing and being responsible for the payment of 100% of the costs of the
  Genesee Project. In addition, in the event and to the extent that Flint fails to pay its share of the
  debt service on the System Bonds, Genesee will be responsible for making up the shortfall. Flint
  and Genesee each expects to make such payments from the revenues to be derived from the
  customers of the Genesee System and the Flint System, respectively, but each has pledged its
  limited tax full faith and credit to the making of such payments.
  Interim Water Supply Arrangements for Genesee and Flint

         Flint has purchased treated water from DWSD for approximately 30 years. The County
  Agency has a contract with Flint that requires Flint to purchase water from DWSD and provide
  that water to the County Agency. Historically, the County Agency has not had a contract directly
  with DWSD.
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          On April 17, 2013, DWSD notified Flint that it was terminating its contract with Flint for
  the supply of water in one (1) year as required by the contract. As a result, no later than April 17,
  2014, Flint intends to begin withdrawing water from the Flint River, treat the water in its water
  treatment plant and then make such treated water available to the customers of the Flint System
  until the System is completed and operational. After the notification from DWSD, Flint sought
  another source of water and determined to use its water treatment plant to provide water to its
  customers. In order to do so it negotiated an administrative consent order with MDEQ that
  permitted the temporary use of the Flint River (the “ACO”). The ACO requires Flint to either
  undertake a public improvement project to connect to the System or undertake other public
  improvements to continue to use the Flint River. In order to comply with the ACO, Flint has
  determined that connecting to the System is the most cost effective means to obtain untreated
  water and to comply with the ACO.

         However, the Flint River will not be able to supply the volume of water needed to
  provide water to the customers of the Genesee System. Inasmuch as the County Agency has a
  valid contract with Flint for the supply of water via DWSD, Flint is contractually obligated to
  continue to purchase water from DWSD in order to supply water to the County Agency. This
  may be accomplished, notwithstanding Flint utilizing the Flint River for a water source, by Flint
  continuing to purchase water from DWSD and directing the water to be transmitted directly to
  the County Agency by isolation valves currently installed in the Flint System.

          In January, 2014, the County Agency entered into contract negotiations with DWSD to
  secure a water supply directly from DWSD for the customers of the Genesee System without
  using Flint as a pass through, until the System has been completed and is operational. DWSD
  representatives have indicated that in the event that an agreement cannot be reached with the
  County Agency during these negotiations, DWSD will continue to supply water to the County
  Agency via Flint without a contract in place. The County Agency and DWSD are negotiating
  two separate contracts, the first to satisfy Genesee’s need for a short-term (3 year) contract for
  the supply of water during the time in which the System is being constructed, and the second that
  would require DWSD to provide a long-term emergency stand-by service to ensure the delivery
  of water to customers of the Genesee System if the System fails at any time in the future.
  Although no assurances can be made as to the eventual outcome of contract negotiations, both
  parties are negotiating in good faith.

          In the event that the County Agency and DWSD are unable reach agreement on a
  proposed short-term contract for the supply of water during the construction period for the
  System, the County Agency has the ability to adjust Genesee’s rates to the extent necessary, but
  cannot predict with certainty the price to be paid by customers of the Genesee System for water
  from DWSD until the System is completed and operational. See BONDHOLDERS’ RISKS
  herein.
  Related Facilities

          In order to provide finished water to its customers, Flint expects to utilize its existing
  water treatment plant, which is currently operating in a back-up role with a capacity of 36 mgd
  and will be permitted to treat water drawn from the Flint River until the System is operational.
  Flint will be required to make an estimated $8,000,000 in improvements to convert the plant
  from stand-by to fully operational and to accommodate the flow of water from the System.
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  Additional improvements to Flint’s water treatment plant may be made in the future. In order to
  provide finished water to Genesee’s customers, the County Agency will be required to build a
  new water treatment plant, reservoir, pump station and approximately 5 miles of watermain
  running from the new treatment plant to Genesee’s main distribution facility at Henderson Road,
  at an estimated cost of $60,000,000. The County Agency has acquired 76 acres approximately
  14 miles east of the City of Flint in Oregon Township in Lapeer County, which is expected to
  serve as the site of Genesee’s new water treatment plant, reservoir and pump station. In addition,
  on or before April 17, 2014, the County Agency expects to acquire 9 miles of 72-inch watermain
  from Flint, which will be used to support Genesee’s distribution system to its customers. The
  new water treatment plant, reservoir, pump station and watermain are expected to be constructed
  and fully operational on or before May 1, 2016, the date on which the System is expected to be
  fully operational.

         The completion date for the System is projected for May 1, 2016, at which time Flint
  expects to cease pumping water from the Flint River and the County Agency expects to
  discontinue purchasing water from DWSD, and Flint and the County Agency expect to begin
  purchasing water from the Issuer and producing their own water.

                      REPORT OF THE ENGINEERING CONSULTANT

         Jones & Henry Engineers, Ltd., Toledo, Ohio, has prepared the Report of the Engineering
  Consultant, dated as of March 17, 2014, a copy of which is attached hereto as Appendix I. The
  Report of the Engineering Consultant describes key factors that will affect water rates to be
  charged by Flint and the County Agency to customers of the Flint System and the Genesee
  System, respectively, from 2014 through 2018, and sets forth the assumptions on which the
  conclusions in the Report are based.

          As set forth in the Report of the Engineering Consultant, the long term projections
  comparing the rates to be charged by KWA to Flint and the County Agency for use of the System
  plus other expenses related to operating, maintaining and improving their current treatment
  systems compared with rates historically charged to Flint and the County Agency by DWSD for
  comparable service show more stable rates from KWA for customers of both the Flint System
  and the Genesee System. Most of the future expenses for the Flint System and the Genesee
  System are expected to be capital which will not increase annually and operating costs which
  will increase annually due to inflation. DWSD charges to Flint and the County Agency, which
  historically have constituted a significant portion of both Flint’s and the County Agency’s total
  water expenses, have increased annually at a rate greater than the rate of inflation. Rates are not
  expected to increase under KWA as they have under DWSD, and with appropriate rate increases
  Flint and the County Agency will be able to pay their respective share of the debt service on the
  System Bonds and the operation and maintenance expenses of the System plus other expenses
  related to operating, maintaining and improving, respectively, the Flint System and the Genesee
  System.

         The Report of the Engineering Consultant should be read in its entirety for a complete
  understanding of the assumptions and conclusions contained therein. As noted in the Report of
  the Engineering Consultant, any conclusions are subject to uncertainties, and some assumptions
  used to develop the conclusions will not be realized, and unanticipated events and circumstances
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  may occur. Therefore, there could be differences between the conclusions and the actual results
  and those differences could be material.


                                     BONDHOLDERS’ RISKS

           The following discussion of some of the risk factors associated with the Bonds is not, and
  is not intended to be, exhaustive, and such risks are not necessarily presented in the order of their
  magnitude.

         This Official Statement does not describe all of the risks of an investment in the Bonds
  and the Underwriters disclaim any responsibility to advise prospective investors of such risks as
  they exist at the date of this Official Statement or as they change from time to time. Prospective
  investors should consult their own legal and tax advisors as to the risks associated with an
  investment in the Bonds and the suitability of investing in the Bonds in light of their particular
  circumstances. Prospective investors should be able to bear the risks relating to an investment in
  the Bonds and should carefully consider, among other factors, the matters described below.
  Assumptions With Regard to Local Unit Revenues

          Certain assumptions have been made with regard to the ability of Genesee and Flint to
  charge and collect revenues from the customers of the Genesee System and the Flint System,
  respectively, in amounts sufficient to pay their respective Contractual Payments. These
  assumptions are believed to be reasonable, but to the extent that such revenues are not sufficient
  to enable Genesee and/or Flint to pay their Contractual Payments, the Contractual Payments
  would nevertheless be required to be paid from the general fund of Genesee and/or Flint, which
  could strain such general fund. The assumptions are based on factors beyond Genesee’s and
  Flint’s control and there is no assurance that these projections will be achieved. Many factors
  may prevent the projections from being achieved. These include yearly changes in water
  consumption, population, population growth, household income, competitive facilities,
  accessibility, absorption, occupancy, vacancy and market penetration.

       NO GUARANTEE CAN BE MADE THAT THE PROJECTIONS CONTAINED
  HEREIN WILL CORRESPOND WITH THE RESULTS ACTUALLY ACHIEVED IN THE
  FUTURE BECAUSE THERE IS NO ASSURANCE THAT ACTUAL EVENTS WILL
  CORRESPOND WITH THE ASSUMPTIONS MADE IN FORMULATING THE
  PROJECTIONS. ACTUAL OPERATING RESULTS MAY BE AFFECTED BY MANY
  FACTORS, INCLUDING, BUT NOT LIMITED TO, INCREASED COSTS, LOWER THAN
  ANTICIPATED REVENUES, CHANGES IN EMPLOYEE RELATIONS, APPLICABLE
  GOVERNMENTAL REGULATION, ECONOMIC AND DEMOGRAPHIC TRENDS, AND
  COMPETITION.
  Inability to Finance the System; System Completion Risk

          As described under the heading KAREGNONDI WATER AUTHORITY SYSTEM, the
  System is intended initially to supply raw water for customers of the Genesee System and the
  Flint System. If for any reason the Issuer is unable to acquire, construct, complete or place the
  System in service, the System facilities to be financed with the proceeds of the Bonds will not be

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  useful to the Genesee System or the Flint System unless Genesee and/or Flint constructs its own
  pipeline. At this time, it is unclear whether Genesee and/or Flint would undertake constructing
  its own pipeline.

          The rates and charges currently established by Genesee and Flint are projected to be
  sufficient to pay the Contractual Payments and their share of the principal of and interest on the
  Bonds. However, if the System is not placed in service, the additional costs associated with
  paying for the debt service on the Bonds without a tangible benefit to be derived from the System
  could ultimately have an adverse effect on the ability of Genesee and Flint to generate sufficient
  revenues from the customers of their respective water supply systems and their ability to pay
  their share of debt service on the Bonds.

          In order to provide customers for the System, the County Agency and Flint have entered
  into the Water Purchase Contracts. Genesee and Flint have also entered into the Contract, under
  which they are responsible for paying their respective share of the Bonds and the second series of
  the System Bonds to be issued to finance the costs of the remaining System facilities
  (approximately $80,000,000). Genesee’s share of the Bonds and the approximately $80,000,000
  of the second series of the System Bonds will be the entire amount if Flint fails to fulfill its
  obligation to pay its Contractual Payments under the Contract for any reason.

           Genesee and Flint each faces potential exposure to its general fund and to the rates and
  charges to be paid by its water customers served by the Genesee System and Flint System,
  respectively, for the debt service associated with the Genesee Bonds (only in the case of
  Genesee) and up to an estimated $300,000,000 for the System Bonds if for any reason the
  remaining System facilities are not completed. The remaining System facilities could fail to be
  completed because of an inability to gain market access for the financing for all or part of such
  facilities, cost overruns in construction, or acts of God.

         Genesee intends for its obligations with respect to the Genesee Bonds and the System to
  be paid for by rates and charges from the users of the Genesee System. If Flint fails to pay its
  share of the System Bonds, either from rates and charges to users of the Flint System or from its
  general fund, Genesee would be responsible for making up the shortfall. If Genesee’s general
  fund is needed to pay a significant portion of the System Bonds, it could cause significant
  financial strain on Genesee.

          As noted under the heading KAREGNONDI WATER AUTHORITY SYSTEM, in order
  for Flint to provide finished water to its customers, it needs to undertake approximately
  $8,000,000 in improvements to its existing water treatment plant. If Flint is unable to timely
  complete such improvements for any reason (including without limitation, a referendum on the
  financing, an inability to gain market access for the financing for the improvements, cost
  overruns in construction, or acts of God), Flint may be unable to generate sufficient rates and
  charges from its customers to cover its share of the debt service on the System Bonds as provided
  in the Contract. Without sufficient rates and charges, it is unclear whether Flint’s general fund
  will have sufficient funds to fulfill its obligations under the Contract, which in turn could strain
  Genesee’s general fund or the amount of rates and charges to be charged to Genesee’s customers.



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          Finally, similar to Flint, Genesee needs to construct a water treatment plant, reservoir,
  pump station and 5 miles of watermain at an estimated cost of $60,000,000 as described under
  the heading KAREGNONDI WATER AUTHORITY SYSTEM in order to provide finished
  water to its customers. If Genesee is unable to timely complete the new treatment plant,
  reservoir, pump station and watermain for any reason (including without limitation, an inability
  to gain market access for the financing, cost overruns in construction, or acts of God), Genesee
  may be unable to generate sufficient rates and charges from its customers to cover its share of the
  debt service on the System Bonds as provided in the Contract, which could strain Genesee’s
  general fund.
  Financial Condition of the City of Flint and Genesee for future Obligations to Issuer

           Flint is currently operating under a State-appointed Emergency Manager under the Local
  Financial Stability and Choice Act, Act No. 436, Public Acts of Michigan, 2012 (“Act 436”).
  Flint’s options to improve its fiscal health are limited. The United States Bankruptcy Code, 11
  U.S.C. Section 101, et. seq. (the “Bankruptcy Code”) does not authorize municipalities to be
  subject to involuntary bankruptcy cases. Flint must be specifically authorized to be a debtor
  under chapter 9 of the Bankruptcy Code by State law or by a governmental officer or
  organization empowered by State law to authorize Flint to be a debtor under chapter 9 of the
  Bankruptcy Code. Act 436 provides such authorization after Flint first complies with certain
  requirements set forth therein. The effect of a Flint bankruptcy on its obligations to the Issuer is
  unknown at this time, including without limitation its obligations to continue to make payments
  to the Issuer under its Water Purchase Contract with the Issuer and under the Contract. If Flint
  fails to fulfill its payment obligations under the Contract for any reason, including a bankruptcy
  filing by Flint, Genesee will be required to pay Flint’s share of the debt service on the System
  Bonds. While this provides protection for the Issuer, such payments could cause significant
  financial strain on the general fund of Genesee and the net revenues of the Genesee System,
  potentially limiting the extent of this protection. Similarly, if Flint fails to fulfill its payment
  obligation under its Water Purchase Contract, the Issuer could be obligated to continue supplying
  raw water to Flint without payment for a period of 60 days, or longer in the event of a Flint
  bankruptcy case.

          For a discussion of litigation that could affect Flint’s financial condition and the rates that
  are charged to customers of the Flint System, see the heading LITIGATION – Other Litigation
  herein, and for a discussion of the financial condition of Flint see the information under the
  heading “Update on City of Flint Financial Position” in APPENDIX C.

         Although no Act 436 proceedings have ever occurred with respect to Genesee, nor has
  the Michigan Department of Treasury ever indicated the intent to begin such proceedings, if
  Genesee were to experience severe financial difficulties, the same analysis that applies to Flint
  applies with respect to the County Agency’s and Genesee’s respective obligations under the
  Water Purchase Contract and the Contract.




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                                            LITIGATION
  Pending Litigation

         The Issuer has no litigation pending or, to its knowledge, threatened, wherein an
  unfavorable decision, ruling or finding would adversely affect the issuance of the Bonds or
  materially affect the Issuer’s ability to pay the principal of and interest on the Bonds.


  Other Litigation

         Flint Health Care Retirement Benefits

          Flint’s Emergency Manager has issued several orders under Act 436 which modified
  existing contracts and collective bargaining agreements with respect to health care benefits of
  municipal retirees. While the modifications stand to save Flint $5 million per year and potentially
  more in future years, the changes also shift some out-of-pocket medical expenses to retirees.

          As a result of such orders, a class action lawsuit has been filed by individual retired
  municipal workers, their eligible spouses, dependents, and the United Retired Governmental
  Employees (“URGE”), an organization that represents the interests of municipal retirees
  (collectively, the “Plaintiffs”) seeking injunctive relief and damages under 42 U.S.C. § 1983,
  against Flint, its current and former Emergency Managers, its Retirement Officer Manager, and
  its Finance Director (collectively, “Defendants”). (Welch et al v. Brown, et al. Case No.12-
  13808, Judge Arthur Tarnow, ED Michigan). According to Plaintiffs, Defendants violated the
  Contract and Bankruptcy Clauses of the United States Constitution and deprived them of a
  property interest without due process or just compensation. The class has not yet been certified
  by the federal district court.

          Plaintiffs requested a preliminary injunction to enjoin Defendants from modifying the
  contracts and ordinances governing their health-care benefits and to restore any already modified
  agreements to the status quo ante. Defendants maintain that reducing retiree benefits is a
  necessary change to avoid bankruptcy. The federal district court was not persuaded by
  Defendants’ position based on the evidence and argument presented and granted preliminary
  injunctive relief to the Plaintiffs. Defendants appealed to the United States Court of Appeals for
  the Sixth Circuit. The Sixth Circuit reviewed the matter and affirmed the district court’s order
  granting preliminary injunctive relief. (COA Case # 13-1476 decided 1/3/14).

          The Sixth Circuit made clear the door remains open for Flint to prove its case, stating that
  “additional fact finding may illuminate whether the orders were indeed appropriate under the
  circumstances of this case.” The Welch case comes down to whether Flint’s modifications of
  retiree healthcare benefits were reasonable and necessary to remedy the economic problems
  facing Flint. In order to prove that, Flint must show that the modifications were virtually the
  only choice it had to avoid significant social harm, including:

                 1.      That bankruptcy was/is imminent if the changes were not made;
                 2.      That Flint was/is contemplating bankruptcy if it cannot modify
                         the retiree healthcare benefits;
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                 3.      That alternative strategies to addressing the economic problems
                         have been considered and will not work to address the economic
                         problems; and
                 4.      That the alternatives proposed by the Plaintiffs to address the
                         economic problems will not work.

           Flint intends to vigorously contest this litigation and pursue all available remedies to have
  the orders of the Emergency Manager sustained. If the Plaintiffs ultimately prevail in this
  litigation, Flint projects that it will incur an additional $5 million annually for retiree health care
  costs and that it will be in an extremely precarious financial position, with insufficient resources
  to meet basic functions. This projection of $5 million in additional costs could increase
  significantly based on future increases in premium costs that the City’s modifications require be
  borne by retirees. The health care changes as well as all of the other changes made by the
  Emergency Manager were deemed to be necessary for Flint to avoid insolvency. Flint is unable
  to predict the outcome of this litigation at this time. See the information under the heading
  “Update on City of Flint Financial Position” in APPENDIX C.

         Flint Water Rates

          On August 15, 2011, the Mayor of Flint directed a rate increase for Flint’s water and
  sewer rates because the City was spending more to provide water and sewer services than it was
  receiving in user funds. Flint increased rates for 2012 by approximately 35 percent. The
  President of the Flint Council, William Kincaid, and others filed an original action in the
  Michigan Court of Appeals, Kincaid v City of Flint, alleging that the fee increases were
  unconstitutional taxes levied without the approval of the electors of Flint that violated the
  Headlee Amendment to the Michigan Constitution. Flint filed a motion for summary disposition,
  arguing that there was no issue of fact that the fees charged were proportionate to the costs of
  providing water and sewer service, and as such were valid user fees, not taxes. Flint introduced
  evidence that the fee increases were required to pay the projected costs of the water and sewer
  systems for Fiscal Year 2012. The Michigan Court of Appeals agreed that the water and sewer
  fees charged by the City were valid user fees, not disguised taxes, as they were proportionate to
  the costs of providing service. As such, the Headlee Amendment did not apply. The plaintiffs
  filed an application for leave to appeal the decision to the Michigan Supreme Court, and for
  peremptory reversal of the Court of Appeals’ decision. The Supreme Court denied the
  application for leave to appeal.

          The plaintiffs then filed an action in Genesee County Circuit Court alleging that water
  rate increases which were accomplished by a directive dated August 15, 2011 were implemented
  in a manner that was in violation of a Flint ordinance which required that action to modify water
  rates be done on or before April 15 of the year in which it was to take effect. Additionally, the
  plaintiffs alleged that the City failed to create a first lien in favor of bondholders for water and
  sewer funds, as required by the Revenue Bond Act (Act 94, Public Acts of Michigan, 1933, as
  amended). The Court granted Flint’s motion for summary disposition, finding that the powers of
  the Emergency Manager pursuant to Act 4, Public Acts of Michigan, 2011 rendered the alleged
  violation of the Flint ordinance moot and dismissed the claim with respect to the Revenue Bond
  Act. The plaintiffs have since filed an appeal with the Court of Appeals, which is currently
  pending. Flint is unable to predict the outcome of this litigation at this time.
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                                         TAX MATTERS

          In the opinion of Miller, Canfield, Paddock and Stone, P.L.C., Bond Counsel, under
  existing law, the interest on the Bonds is excludable from gross income for federal income tax
  purposes and is not an item of tax preference for purposes of the federal alternative minimum tax
  imposed on individuals and corporations. It should be noted, however, that with respect to
  corporations (as defined for federal income tax purposes) such interest is taken into account in
  determining adjusted current earnings for the purpose of computing the alternative minimum tax
  imposed on such corporations. Bond Counsel is also of the opinion that, under existing law, the
  Bonds and the interest thereon are exempt from all taxation by the State of Michigan or by any
  taxing authority within the State of Michigan, except inheritance and estate taxes and taxes on
  gains realized from the sale, payment or other disposition thereof. Bond Counsel will express no
  opinion regarding any other federal or state tax consequences arising with respect to the Bonds
  and the interest thereon.

          The opinion on federal and State of Michigan tax matters is based on the accuracy of
  certain representations and certifications, and continuing compliance with certain covenants, of
  the Issuer contained in the transcript of proceedings and which are intended to evidence and
  assure the foregoing, including that the Bonds are and will remain obligations the interest on
  which is excludable from gross income for federal and State of Michigan income tax purposes.
  The Issuer has covenanted to take the actions required of it for the interest on the Bonds to be
  and to remain excludable from gross income for federal income tax purposes, and not to take any
  actions that would adversely affect that exclusion. Bond Counsel’s opinion assumes the
  accuracy of the Issuer’s certifications and representations and the continuing compliance with the
  Issuer’s covenants. Noncompliance with these covenants by the Issuer may cause the interest on
  the Bonds to be included in gross income for federal income tax purposes retroactively to the
  date of issuance of the Bonds. After the date of issuance of the Bonds, Bond Counsel will not
  undertake to determine (or to so inform any person) whether any actions taken or not taken, or
  any events occurring or not occurring, or any other matters coming to Bond Counsel’s attention,
  may adversely affect the exclusion from gross income for federal and State of Michigan income
  tax purposes of interest on the Bonds or the market prices of the Bonds.

          The opinion of Bond Counsel is based on current legal authority and covers certain
  matters not directly addressed by such authority. It represents Bond Counsel’s legal judgment as
  to the excludability of interest on the Bonds from gross income for federal and State of Michigan
  income tax purposes but is not a guarantee of that conclusion. The opinion is not binding on the
  Internal Revenue Service (“IRS”) or any court. Bond Counsel cannot give and has not given any
  opinion or assurance about the effect of future changes in the Internal Revenue Code of 1986, as
  amended (the “Code”), the applicable regulations, the interpretations thereof or the enforcement
  thereof by the IRS.

          Ownership of the Bonds may result in collateral federal income tax consequences to
  certain taxpayers, including, without limitation, corporations subject to the branch profits tax,
  financial institutions, certain insurance companies, certain S corporations, individual recipients
  of Social Security or Railroad Retirement benefits and taxpayers who may be deemed to have
  incurred (or continued) indebtedness to purchase or carry the Bonds. Bond Counsel will express
  no opinion regarding any such consequences.
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  Tax Treatment of Accruals on Original Issue Discount Bonds

         Under existing law, if the initial public offering price to the public (excluding bond
  houses and brokers) of a Bond is less than the stated redemption price of such Bonds at maturity,
  then such Bond is considered to have “original issue discount” equal to the difference between
  such initial offering price and the amount payable at maturity (such Bonds are referred to as
  “OID Bonds”). Such discount is treated as interest excludable from federal gross income to the
  extent properly allocable to each registered owner thereof. The original issue discount accrues
  over the term to maturity of each such OID Bond on the basis of a constant interest rate
  compounded at the end of each six-month period (or shorter period) from the date of original
  issue with straight-line interpolations between compounding dates. The amount of original issue
  discount accruing during each period is added to the adjusted basis of such OID Bonds to
  determine taxable gain upon disposition (including sale, redemption or payment on maturity) of
  such OID Bonds.

          The Code contains certain provisions relating to the accrual of original issue discount in
  the case of purchasers of OID Bonds who purchase such OID Bonds after the initial offering of a
  substantial amount thereof. Owners who do not purchase such OID Bonds in the initial offering
  at the initial offering prices should consult their own tax advisors with respect to the tax
  consequences of ownership of such OID Bonds.

         All holders of the OID Bonds should consult their own tax advisors with respect to the
  allowance of a deduction for any loss on a sale or other disposition of an OID Bond to the extent
  such loss is attributable to accrued original issue discount.
  Amortizable Bond Premium

          For federal income tax purposes, the excess of the initial offering price to the public
  (excluding bond houses and brokers) at which a Bond is sold over the amount payable at
  maturity thereof constitutes for the original purchasers of such Bonds (collectively, the “Original
  Premium Bonds”) an amortizable bond premium. Bonds other than Original Premium Bonds
  may also be subject to an amortizable bond premium determined generally with regard to the
  taxpayer’s basis (for purposes of determining loss on a sale or exchange) and the amount payable
  on maturity or, in certain cases, on an earlier call date (such bonds being referred to herein
  collectively with the Original Premium Bonds as the “Premium Bonds”). Such amortizable bond
  premium is not deductible from gross income. The amount of amortizable bond premium
  allocable to each taxable year is generally determined on the basis of the taxpayer’s yield to
  maturity determined by using the taxpayer’s basis (for purposes of determining loss on sale or
  exchange) of such Premium Bonds and compounding at the close of each six-month accrual
  period. The amount of amortizable bond premium allocable to each taxable year is deducted
  from the taxpayer’s adjusted basis of such Premium Bonds to determine taxable gain upon
  disposition (including sale, redemption or payment at maturity) of such Premium Bonds.

         All holders of the Premium Bonds should consult with their own tax advisors as to the
  amount and effect of the amortizable bond premium.




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  Market Discount

          The “market discount rules” of the Code apply to the Bonds. Accordingly, holders
  acquiring their Bonds subsequent to the initial issuance of the Bonds will generally be required to
  treat market discount recognized under the provisions of the Code as ordinary taxable income (as
  opposed to capital gain income). Holders should consult their own tax advisors regarding the
  application of the market discount provisions of the Code and the advisability of making any of
  the elections relating to market discount allowed by the Code.
  Information Reporting and Backup Withholding

          Information reporting requirements apply to interest paid after March 31, 2007 on tax-
  exempt obligations, including the Bonds. In general, such requirements are satisfied if the
  interest recipient completes, and provides the payor with, a Form W-9, “Request for Taxpayer
  Identification Number and Certification,” or unless the recipient is one of a limited class of
  exempt recipients, including corporations. A recipient not otherwise exempt from information
  reporting who fails to satisfy the information reporting requirements will be subject to “backup
  withholding,” which means that the payor is required to deduct and withhold a tax from the
  interest payment, calculated in the manner set forth in the Code. For the foregoing purpose, a
  “payor” generally refers to the person or entity from whom a recipient receives its payments of
  interest or who collects such payments on behalf of the recipient.

          If an owner purchasing the Bonds through a brokerage account has executed a Form W-9
  in connection with the establishment of such account no backup withholding should occur. In
  any event, backup withholding does not affect the excludability of the interest on the Bonds from
  gross income for federal income tax purposes. Any amounts withheld pursuant to backup
  withholding would be allowed as a refund or a credit against the owner’s federal income tax once
  the required information is furnished to the IRS.
  Future Developments

           Bond Counsel’s engagement with respect to the Bonds ends with the issuance of the
  Bonds and, unless separately engaged, bond counsel is not obligated to defend the Issuer in the
  event of an audit examination by the IRS. The IRS has a program to audit tax-exempt
  obligations to determine whether the interest thereon is includible in gross income for federal
  income tax purposes. If the IRS does audit the Bonds, under current IRS procedures, the IRS
  will treat the Issuer as the taxpayer and the beneficial owners of the Bonds will have only limited
  rights, if any, to obtain and participate in judicial review of such audit.

       NO ASSURANCE CAN BE GIVEN THAT ANY FUTURE LEGISLATION OR
  CLARIFICATIONS OR AMENDMENTS TO THE CODE, IF ENACTED INTO LAW, WILL
  NOT CONTAIN PROPOSALS WHICH COULD CAUSE THE INTEREST ON THE BONDS
  TO BE SUBJECT DIRECTLY OR INDIRECTLY TO FEDERAL OR STATE OF MICHIGAN
  INCOME TAXATION, ADVERSELY AFFECT THE MARKET PRICE OR
  MARKETABILITY OF THE BONDS, OR OTHERWISE PREVENT THE HOLDERS FROM
  REALIZING THE FULL CURRENT BENEFIT OF THE STATUS OF THE INTEREST
  THEREON. BOND COUNSEL EXPRESSES NO OPINION REGARDING ANY PENDING
  OR PROPOSED FEDERAL OR STATE OF MICHIGAN TAX LEGISLATION.

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       FURTHER, NO ASSURANCE CAN BE GIVEN THAT ANY ACTIONS OF THE
  INTERNAL REVENUE SERVICE, INCLUDING, BUT NOT LIMITED TO, SELECTION OF
  THE BONDS FOR AUDIT EXAMINATION, OR THE COURSE OR RESULT OF ANY
  EXAMINATION OF THE BONDS, OR OTHER BONDS WHICH PRESENT SIMILAR TAX
  ISSUES, WILL NOT AFFECT THE MARKET PRICE OF THE BONDS.

       INVESTORS SHOULD CONSULT WITH THEIR TAX ADVISORS AS TO THE TAX
  CONSEQUENCES OF THEIR ACQUISITION, HOLDING OR DISPOSITION OF THE
  BONDS, INCLUDING THE IMPACT OF ANY PENDING OR PROPOSED FEDERAL OR
  STATE OF MICHIGAN TAX LEGISLATION.


             APPROVAL BY THE MICHIGAN DEPARTMENT OF TREASURY

         The Issuer has received a letter from the Department of Treasury of the State of
  Michigan, dated February 28, 2014, approving the issuance of the Bonds as provided in the
  Revised Municipal Finance Act, Act No. 34, Public Acts of Michigan, 2001, as amended.

                            BOND COUNSEL’S RESPONSIBILITY

          The fees of Miller, Canfield, Paddock and Stone, P.L.C. (“Bond Counsel”) for services
  rendered in connection with its approving opinion are expected to be paid from Bond proceeds.
  Except to the extent necessary to issue its approving opinion as to the validity of the Bonds and
  tax matters relating to the Bonds and the interest thereon, and except as stated below, Bond
  Counsel has not been retained to examine or review, and has not examined or reviewed, any
  financial documents, statements or materials that have been or may be furnished in connection
  with the authorization, issuance or marketing of the Bonds and accordingly will not express any
  opinion with respect to the accuracy or completeness of any such financial documents,
  statements or materials.
          Bond Counsel has reviewed the statements in this Official Statement under the headings
  entitled “PURPOSE,” “SECURITY,” “THE BONDS,” “PRIOR REDEMPTION OF BONDS,”
  “TRANSFER OUTSIDE BOOK-ENTRY-ONLY SYSTEM,” “TAX MATTERS,”
  “APPROVAL          BY THE MICHIGAN DEPARTMENT OF TREASURY,” “BOND
  COUNSEL’S RESPONSIBILITY,” and “CONTINUING DISCLOSURE” (first two paragraphs
  only). Bond Counsel has not been retained to review and has not reviewed any other portions of
  the Official Statement for accuracy or completeness, and has not made inquiry of any official or
  employee of the Issuer or any other person and has made no independent verification of such
  other portions hereof, and further has not expressed and will not express an opinion or belief as
  to any such other portions hereof.

                                 CONTINUING DISCLOSURE

         Prior to the delivery of the Bonds, the Issuer and each Local Unit will execute a
  Continuing Disclosure Undertaking (individually an “Undertaking” and collectively, the
  “Undertakings”) for the benefit of the holders of the Bonds or Beneficial Owners to send certain
  information annually and to provide notice of certain events to certain information repositories
  pursuant to the requirements of Rule 15c2-12(b)(5) (the “Rule”) adopted by the Securities and
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  Exchange Commission under the Securities Exchange Act of 1934. The information to be
  provided on an annual basis, the events which will be noticed on an occurrence basis, and the
  other terms of the Undertaking are set forth in APPENDIX E-FORM OF CONTINUING
  DISCLOSURE UNDERTAKINGS to this Official Statement.

         A failure by the Issuer or a Local Unit to comply with its Undertaking will not constitute
  an event or default under the Resolution authorizing the issuance of the Bonds and holders of the
  Bonds or Beneficial Owners are limited to the remedies described in the Undertakings.

          Genesee discovered in the summer of 2013 it had failed to comply with certain of its
  continuing disclosure obligations under previous undertakings entered into pursuant to the Rule
  with respect to annual information filings required for fiscal years 2008-2010. Genesee was
  required to file this information within a period of time specified in each previous undertaking
  after the end of the fiscal year which ends on September 30. The filings were subsequently made
  for fiscal year 2008 in December 2010, for fiscal year 2009 in June 2010 and for fiscal year 2010
  in December 2011 for the Genesee’s sewer, water supply, capital improvement and general
  obligation bonds. The filings for fiscal years 2008-2010 were subsequently made for the Issuer’s
  building authority bonds on July 23, 2013. Genesee has filed its annual audited financial
  statements for fiscal years 2011 and 2012 on a timely basis.

          In addition, Genesee failed to provide notice of certain underlying rating changes that
  occurred in 2010 affecting its sewer, water supply, building authority, capital improvement and
  general obligation bonds. Genesee subsequently filed notice of these rating changes and the
  current ratings on those bonds with a filing dated July 16, 2013. Furthermore, Genesee failed to
  provide notice of certain insured rating downgrades affecting its sewer, water supply and
  building authority bonds, of which Genesee was not separately notified by the relevant rating
  agencies, and which resulted from a series of widely reported downgrades of the applicable
  municipal bond insurer for those bonds. Genesee subsequently filed notice of these rating
  changes and the current ratings on those bonds with a filing dated July 16, 2013. Genesee has
  taken steps to assure that it will comply with its Undertaking and its previous undertakings,
  including the annual filing requirements, in the future. Genesee entered into an agreement in
  October, 2011 with Stauder, Barch & Associates, Inc. to serve as disclosure agent and assist
  Genesee in completing all required filings on a timely basis.

         Flint has not entered into any previous continuing disclosure undertakings under the Rule.

          A failure by the Issuer or either Local Unit to comply with its Undertaking must be
  reported by the Issuer or such Local Unit in accordance with the Rule and must be considered by
  any broker, dealer or municipal securities dealer before recommending the purchase or sale of
  the Bonds in the secondary market. Consequently, such failure may adversely affect the
  transferability and liquidity of the Bonds and their market price.

                                        LEGAL OPINION

         Legal matters incident to the authorization, issuance and sale of the Bonds are subject to
  the approval of Miller, Canfield, Paddock and Stone, P.L.C., attorneys of Detroit, Michigan,

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  Bond Counsel. A copy of the opinion of Bond Counsel will be furnished with the Bonds, which
  opinion will be substantially in the form set forth in APPENDIX F.

                                      FINANCIAL ADVISOR

          Stauder, Barch & Associates, Inc., Ann Arbor, Michigan, (the “Financial Advisor”) has
  been retained by the Issuer to provide certain financial advisory services including, among other
  things, preparation of portions of the deemed “final” Preliminary Official Statement and the final
  Official Statement (the “Official Statements”). The information contained in the Official
  Statements was prepared in part by the Financial Advisor and is based on information supplied
  by various officials from records, statements and reports required by various local county or state
  agencies of the State of Michigan in accordance with constitutional or statutory requirements.

          To the best of the Financial Advisor’s knowledge, all of the information contained in the
  Official Statements, which it assisted in preparing, while it may be summarized is (i) complete
  and accurate; (ii) does not contain any untrue statement of material fact; and (iii) does not omit
  any material fact, or make any statement which would be misleading in light of the
  circumstances under which these statements are being made. However, the Financial Advisor
  has not and will not independently verify the completeness and accuracy of the information
  contained in the Official Statements.

         The Financial Advisor’s duties, responsibilities and fees arise solely from that as financial
  advisor to the Issuer and they have no secondary obligations or other responsibility. The
  Financial Advisor’s fees are expected to be paid from Bond proceeds.

                                         UNDERWRITING

          The Bonds are being purchased by the Underwriters listed on the cover page of this
  Official Statement. The Underwriters have agreed, subject to certain conditions, to purchase all
  of the Bonds from the Issuer at an underwriters’ discount of $946,374.90 from the initial offering
  prices set forth in this Official Statement. The Underwriters are obligated to purchase all of the
  Bonds, if any are purchased, the obligation to make such purchase being subject to certain terms
  and conditions set forth in the Bond Purchase Agreement with respect to the Bonds, the approval
  of certain legal matters by counsel and certain other conditions. The initial public offering prices
  of the Bonds may be changed from time to time by the Underwriters. The Bonds may be offered
  and sold by the Underwriters to certain dealers (including dealers depositing the Bonds in unit
  investment trusts, some of which may be managed by the Underwriters) and certain dealer banks
  and banks acting as agents at prices lower than the public offering prices set forth in this Official
  Statement.

         J.P. Morgan Securities LLC (“JPMS”), one of the Underwriters of the Bonds, has entered
  into a negotiated dealer agreement (“Dealer Agreement”) with Charles Schwab & Co., Inc.
  (“CS&Co.”) for the retail distribution of certain securities offerings, at the original issue prices.
  Pursuant to the Dealer Agreement (if applicable to this transaction), CS&Co. will purchase
  Bonds from JPMS at the original issue price less a negotiated portion of the selling concession
  applicable to any Bonds that CS&Co. sells.

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          Wells Fargo Securities is the trade name for certain securities-related capital markets and
  investment banking services of Wells Fargo & Company and its subsidiaries, including Wells
  Fargo Bank, National Association (“WFBNA”). WFBNA, one of the underwriters of the Bonds,
  has entered into an agreement (the “Distribution Agreement”) with its affiliate, Wells Fargo
  Advisors, LLC (“WFA”), for the distribution of certain municipal securities offerings, including
  the Bonds.     Pursuant to the Distribution Agreement, WFBNA will share a portion of its
  underwriting or remarketing agent compensation, as applicable, with respect to the Bonds with
  WFA. WFBNA also utilizes the distribution capabilities of its affiliates, Wells Fargo Securities,
  LLC (“WFSLLC”) and Wells Fargo Institutional Securities, LLC (“WFIS”), for the distribution
  of municipal securities offerings, including the Bonds. In connection with utilizing the
  distribution capabilities of WFSLLC, WFBNA pays a portion of WFSLLC’s expenses based on
  its municipal securities transactions. WFBNA, WFSLLC, WFIS, and WFA are each wholly-
  owned subsidiaries of Wells Fargo & Company.

         The Underwriters and their respective affiliates are full service financial institutions
  engaged in various activities, which may include securities trading, commercial and investment
  banking, financial advisory, investment management, principal investment, hedging, financing
  and brokerage activities. The Underwriters have, from time to time, and may in the future
  perform, various investment banking services for the Issuer for which it received or will receive
  customary fees and expenses.

          In the ordinary course of its various business activities, the Underwriters and their
  respective affiliates may make or hold a broad array of investments and actively trade debt and
  equity securities (or related derivative securities) and financial instruments (which may include
  bank loans and/or credit default swaps) for their own account and for the accounts of their
  customers and may at any time hold long and short positions in such securities and instruments.
  Such investment and securities may involve securities and instruments of the Issuer.

                                              RATING

           Moody’s Investors Service has assigned the Bonds a rating of “A2,” and Standard &
  Poor’s Ratings Service, a division of The McGraw-Hill Companies, Inc., has assigned the Bonds
  a rating of “A+.” No application was made to any other rating agency for the purpose of
  obtaining an additional rating on the Bonds. Any explanation of the significance of each such
  rating may only be obtained from the rating agency. Generally, a rating agency bases its rating
  on such information and materials and on investigations, studies and assumptions by the rating
  agency. There is no assurance that such rating will continue for any given period of time or that
  it will not be revised downward or withdrawn entirely by such rating agency, if in the judgment
  of the rating agency circumstances so warrant. Any such downward revision or withdrawal of
  such rating may have an adverse effect on the market price of the Bonds.




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                                        OTHER MATTERS

          All information contained in this Official Statement is subject, in all respects, to the
  complete body of information contained in the original sources thereof. In particular, no opinion
  or representation is rendered as to whether any projection will approximate actual results, and all
  opinions, estimates and assumptions, whether or not expressly identified as such, should not be
  considered statements of fact.


                                           KAREGNONDI WATER AUTHORITY



                                            By: /s/ Jeffrey Wright___________________________
                                                Jeffrey Wright, Chief Executive Officer




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                                   APPENDIX A

                          COUNTY OF GENESEE
       GENERAL FINANCIAL, ECONOMIC AND STATISTICAL INFORMATION
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  APPENDIX A

                                          COUNTY OF GENESEE

                           GENERAL FINANCIAL INFORMATION

  AREA
           The County of Genesee covers an area of approximately 643 square miles.
  POPULATION
           The population of the County is as follows:
                                        2010 U.S. Census                       425,790
                                        2000 U.S. Census                       436,141
                                        1990 U.S. Census                       430,459

  PROPERTY VALUATIONS
           Article IX, Section 3, of the Michigan Constitution, limits the proportion of true cash value at which property
  can be assessed to a percentage not to exceed 50% of true cash value. The Michigan Legislature by statute has provided
  that property shall be assessed at 50% of its true cash value, except as described in the paragraphs below. The Michigan
  Legislature or the electorate may at some future time reduce the percentage below 50% of true cash value.

            On March 15, 1994, the electors of the State approved an amendment to the Michigan Constitution permitting
  the Legislature to authorize ad valorem taxes on a non-uniform basis. The legislation implementing this constitution
  amendment added a new measure of property value known as “taxable value.” Since 1995, taxable property has had two
  valuations -- State equalized valuation (“SEV”) and taxable value. Property taxes are levied on taxable value. Generally,
  the taxable value of property is the lesser of (a) the taxable value of property in the immediately preceding year, adjusted
  for losses, multiplied by the lesser of the inflation rate or 1.05, plus additions, or (b) the property’s current SEV. Under
  certain circumstances, therefore, the taxable value of property may be different from the same property’s SEV. When
  property is sold or transferred, taxable value is adjusted to the SEV, which under existing law is 50% of the current true
  cash value. The taxable value and SEV of new construction is equal to current SEV. The taxable value and SEV of
  existing property are also adjusted annually for additions and losses.

          Responsibility for assessing taxable property rests with the local assessing officer of each township and city.
  Any property owner may appeal the assessment to the local assessor, the local Board of Review and ultimately to the
  Michigan Tax Tribunal.
           In addition to limiting the annual increase in taxable value, the Michigan Constitution mandates a system of
  equalization for assessments. Although the assessors for each local unit of government within a county are responsible
  for actually assessing at 50% of true cash value, adjusted for taxable value purposes, the final SEV and taxable value
  are arrived at through several steps. Assessments are established initially by the municipal assessor. Municipal
  assessments are then equalized to the 50% levels as determined by the County Department of Equalization. Thereafter,
  the State equalizes the various counties in relation to each other. SEV is important, aside from its use in determining
  taxable value for the purpose of levying ad valorem property taxes, because of its role in the spreading of taxes between
  overlapping jurisdictions, the distribution of various State aid programs, State revenue sharing and in the calculation of
  debt limits.

           Property that is exempt from property taxes (e.g., churches, governmental property, public schools) is not
  included in the SEV or taxable value data in this Official Statement. Property granted tax abatements under Act 198,
  Public Acts of Michigan, 1974, as amended, is recorded on a separate tax roll which is subject to tax abatement. The
  valuation of tax abated property is based upon SEV but is not included in either the SEV or taxable value data in this
  Official Statement except as noted.



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  Historical Valuation
                State Equalized               Taxable
    Year           Valuation                 Valuation
    2013       $8,996,549,108            $8,591,144,574
    2012        9,183,568,010             8,805,229,871
    2011        9,950,805,569             9,450,208,638
    2010       10,798,912,285            10,135,718,671
    2009       12,466,321,796            11,386,079,390
    2008       13,698,999,172            11,829,074,332
    2007       14,156,934,349            11,849,655,646
    2006       13,695,827,367            11,320,948,189
    2013 Taxable Valuation                              $8,591,144,574
    Plus: 2013 IFT Valuation                                62,645,572*
    2013 Total Taxable Valuation                        $8,653,790,146
  * Millage is levied at half rate against the IFT Taxable Valuation. See “Tax Abatements” below
  Source: Genesee County Equalization Dept

  Per Capita Valuation
                             2013 Per Capita Taxable Valuation                                      $20,176.95
                             2013 Per Capita State Equalized Valuation                              $21,129.08
                             2013 Per Capita Estimated True Cash Valuation                          $42,258.15
  Tax Abatements
            Under the provisions of Act 198 of the Public Acts of Michigan, 1978 (“Act 198"), plant rehabilitation districts
  and/or industrial development districts may be established. Businesses in these districts are offered certain property tax
  incentives to encourage restoration or replacement of obsolete facilities and to attract new facilities in the area. The
  industrial facilities tax (“IFT”) is paid, at a lesser effective rate and in lieu of ad valorem property taxes, in such facilities
  for a period of up to 12 years. Qualifying facilities are issued abatement certificates for this period.
            After expiration of the abatement certificate, the then-current SEV of the facility is returned to the ad valorem
  tax roll. The owner of such facility may obtain a new certificate, provided it has complied with the provisions of Act
  198.
            The 2013 Taxable Value for all IFT abated property within the County is $62,645,572. The total for new IFT
  Taxable Valuation is $57,658,772 and $4,986,800 is new Renaissance Zone IFT Taxable Valuation; millage is levied
  at half the rate on the new amount. The total for rehab IFT Taxable Valuation is $3,100,000; millage is levied at full rate
  on this amount.
  Tax Increment Authorities
            Act 450 of the Public Acts of Michigan, 1980, as amended, (the “TIFA Act”), Act 197 of the Public Acts of
  Michigan, 1975, as amended, (the “DDA Act”), Act 281 of the Public Acts of Michigan, 1986, as amended, (the “LDFA
  Act”) and Act 381 of the Public Acts of Michigan, 1996, as amended (the “BRDA Act”) (together the “TIF Acts”)
  authorize the designation of specific districts known as Tax Increment Finance Authority (“TIFA”) Districts, Downtown
  Development Authority (“DDA”) Districts, Local Development Finance Authority (“LDFA”) Districts or Brownfield
  Redevelopment Authority (“BRDA”) Districts. Such districts are authorized to formulate tax increment financing plans
  for public improvements, economic development, neighborhood revitalization and historic preservation within the
  district.

            Tax increment financing permits the TIFA, DDA, LDFA, or BRDA to capture tax revenues attributable to
  increases in value (“TIF Captured Value”) of real and personal property located within an approved development area
  while any tax increment financing plans by an established district are in place. These captured revenues are used by the
  districts and are not passed on to the local taxing jurisdictions.




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  Tax Base Composition

            A breakdown of the County’s 2013 Taxable Valuation by class and use is as follows:

                      By Class                       Valuation                        Total
                      Real Property                $7,922,862,283                    92.22%
                      Personal Property               668,282,291                     7.78

                      TOTAL                        $8,591,144,574                   100.00%
                      By Use
                      Agricultural                   $122,092,317                     1.42%
                      Commercial                    1,712,997,352                    19.94
                      Industrial                      250,527,317                     2.92
                      Residential                   5,837,245,297                    67.94
                      Personal Commercial             299,882,029                     3.49
                      Personal Industrial             140,761,800                     1.64
                      Personal/Utility                227,638,462                     2.65

                      TOTAL                        $8,591,144,574                   100.00%

  Source: Genesee County Equalization Dept

  Property Tax Reform Proposals

            On December 20, 2012, Governor Snyder signed into law a package of bills reforming personal property tax
  in Michigan. The legislation exempts commercial and industrial personal property of each owner with a combined
  taxable value in a local taxing unit of less than $40,000 from ad valorem taxes beginning in 2014. All eligible
  manufacturing personal property purchased or put into service beginning in 2013 and used more than 50% of the time
  in industrial processing or direct integrated support becomes exempt beginning in 2016. The legislation extends certain
  personal property tax exemptions and tax abatements for technology parks, industrial facilities and enterprise zones that
  were to expire after 2012, until the newly enacted personal property tax exemptions take effect. The legislation
  authorizes local units to specially assess commercial and industrial real property to replace revenue lost due to the
  personal property tax exemptions for police, fire, ambulance and jail operations. The legislation also includes a formula
  to reimburse certain local governments for a portion of lost personal property tax revenue from use tax moneys to the
  extent the local unit has a reduction in taxable value of more than 2.3% as a result of the personal property tax
  exemption. For such reimbursement provisions to become effective, however voters would need to approve a change
  in the state distribution of use tax in the August 2014 primary election. If voters approve the redistribution, a portion
  of the use tax would be directed to a newly created statewide Metropolitan Areas Metropolitan Authority which would
  redistribute that revenue to qualifying local units. If voters fail to approve the use tax redistribution, the above personal
  property tax reform acts will be repealed and the local reimbursement act and the special assessment act will not go into
  effect. The final impact of this legislation cannot be determined at this time.

           The ultimate nature, extent and impact of any other future amendments to Michigan's property tax laws on the
  County’s finances cannot be predicted. Purchasers of the Bonds should consult with their legal counsel and financial
  advisors as to the consequences of any such legislation on the market price or marketability of the Bonds, the security
  therefor and the operations of the County.




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  MAJOR TAXPAYERS
            The ten major taxpayers in the County and their 2013 Taxable Valuation and Industrial Facilities Tax valuations
  are as follows:
                                                               Taxable                                           Total
    Taxpayer                         Product/Service           Valuation    + IFT Valuation         =          Valuation
  Consumers Energy                   Utility                $221,742,449                    $0             $221,742,449
  General Motors Corp.               Automotive               96,569,800             9,386,600              105,956,400
  Genesee Valley Partners LP         Investments              49,129,300                      0               49,129,300
  Wal-Mart/Sam's Club                Retail/grocery           41,076,788                      0               41,076,788
  Edward Rose Assoc. ETAL            Construction             25,660,242                      0               25,660,242
  Meijer Inc./Goodwill Co., Inc. Retail/grocery               25,407,943                      0               25,407,943
  Comcast                            Retail cable             19,356,902                      0               19,356,902
  Magna                              Automotive                6,770,800            11,123,600                17,894,400
  Michigan Electric Trans. Co.       Utility                  15,979,400                      0               15,979,400
  Kroger                             Grocery                  14,617,238                      0               14,617,238
    TOTAL                                                   $516,310,862          $20,510,200              $536,821,062
          The 2013 Taxable Valuations of the above taxpayers excluding IFT valuation represent 6.01% of the County’s
  2013 Taxable Valuation of $8,591,144,574. The Total Valuations including IFT valuation represent 6.20% of the 2013
  Total Taxable Valuation of $8,653,790,146.

  TAX RATES (Per $1,000 of Valuation)
            Each school district, county, township, special authority and city has a geographical definition which constitutes
  a tax district. Since local school districts and the county overlap either a township or a city, and intermediate school
  districts overlap local school districts and county boundaries, the result is many different tax rate districts.
  Genesee County                     2013           2012          2011          2010           2009          2008       2007
  County Operating                  5.5072         5.5072        5.5072        5.5072         5.5072        5.5072     5.5072
  County Parks & Recreation         0.4847         0.4847        0.4847        0.4847         0.4847        0.4847     0.4847
  County Paramedics                 0.4847         0.4847        0.4847        0.4847         0.4847        0.4847     0.4847
  Senior Services                   0.7000         0.7000        0.7000        0.7000         0.7000        0.7000     0.7000
  Uninsured Health Care             1.0000         1.0000        1.0000        1.0000         1.0000        1.0000     1.0000
  Veterans                          0.1000         0.1000        0.0000        0.0000         0.0000        0.0000     0.0000
     COUNTY'S TOTAL                 8.2766         8.2766        8.1766        8.1766         8.1766        8.1766     8.1766
  Other Tax Rates:                   2013           2012          2011          2010           2009          2008       2007
  Airport Authority                 0.4847         0.4847        0.4847        0.4847         0.4847        0.4847     0.4847
  District Library                  0.9981         0.9981        0.9981        0.7481         0.7481        0.7481     0.7481
  Genesee ISD                       3.5341         3.5341        3.5341        3.5341         3.5341        3.5341     3.5341
  Mott Community College            2.8596         2.8596        2.8596        2.6796         2.6796        2.6796     2.6796
  TAX RATE LIMITATION
           Article IX, Section 6, of the Michigan Constitution of 1963 provides in part:
  “Except as otherwise provided in this Constitution, the total amount of general ad valorem taxes imposed upon real and
  tangible personal property for all purposes in any one year shall not exceed 15 mills on each dollar of the assessed
  valuation of property as finally equalized.”
           Section 6 further provides that, by a majority vote of the qualified electors of a county, the 15 mill limitation may
  be increased to a total not to exceed 18 mills, and that the millages of the local units involved shall then be permanently
  fixed within that greater millage rate limitation.

             Act 62, Public Acts of Michigan, 1933, as amended, defines “local units” as “counties, townships, villages, cities,
  a first class school district (only Detroit schools), community college districts, intermediate school district, and all other
  divisions, districts, and organizations of government that are or may be established by law and that have the power to levy
  taxes against property located within their respective areas, except villages and cities for which there are provisions in
  their charters or general law fixing maximum limits on the power to levy taxes against property.”


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          The amount of mills allocated to the County, townships in the County and the intermediate school districts have
 been fixed by vote as follows:
                              Units of Government                             Rates
                              County of Genesse                              5.6800
                              Townships                                      1.0000
                              Intermediate School District                   0.2000
                              TOTAL                                          6.8800
           In addition, Article IX, Section 6, permits the levy of millage in excess of the above for operating purposes
 for a specified period of time provided that said increase is approved by a majority of the qualified electors of the
 local unit.
           The County is authorized to levy the following tax rates:
                                                                                      2013
                                                      Millage                Maximum Allowable          Expiration
                                                     Authorized              Millage after Rollback*   Date of Levy
 Operating                                            5.6800                         5.5072                n/a
 County Parks                                         0.4847                         0.4847            12/31/2016
 County Paramedics                                    0.4847                         0.4847            12/31/2016
 Senior Services                                      0.7000                         0.7000            12/31/2015
 Uninsured Health Care                                1.0000                         1.0000            12/31/2019
 Veterans                                             0.1000                         0.1000            12/31/2021
 * See “CONSTITUTIONAL ROLLBACK AND ASSESSMENT CAPS” herein.
 Source: Genesee County

 CONSTITUTIONAL ROLLBACK AND ASSESSMENT CAPS

          Article IX, Section 31 of the Michigan Constitution requires that if the total value of existing taxable property
 (State Equalized Valuation) in a local taxing unit, exclusive of new construction and improvements, increases faster than
 the U.S. Consumer Price Index from one year to the next, the maximum authorized tax rate for that local taxing unit must
 be reduced through a Millage Reduction Fraction unless new millage is authorized by a vote of the electorate of the local
 taxing unit.

 TAX LEVIES AND COLLECTIONS
           The County’s fiscal year begins October 1 and ends September 30. Its property taxes are due July 1 and
 December 1 of each fiscal year and are payable without penalty or interest on or before the following September 14 and
 February 14, respectively. All real property taxes remaining unpaid on March 1st of the year following the levy are turned
 over to the County Treasurer for collection. Genesee County annually pays from its 100% Tax Payment Fund delinquent
 taxes on real property to all taxing units in the County, including the County’s, shortly after the date delinquent taxes are
 returned to the County Treasurer for collection.
          A history of tax levies and collections for the County are as follows:
     Fiscal                    Total                   Collections to              Collections Plus Funding to
     Year                    Tax Levy          March 1, of Following Year        September 30, of Following Year
     2012                $77,487,325           $72,746,879           93.88%      $77,487,325           100.00%
     2011                  83,767,765           78,101,948           93.24        83,767,765           100.00
     2010                  93,767,535           86,508,053           92.26        93,767,535           100.00
     2009                  97,004,331           90,979,934           93.79        97,004,331           100.00
     2008                  96,962,513           91,098,930           93.95        96,962,513           100.00
           The 100% Tax Payment Fund is financed through the issuance of General Obligation Limited Tax Notes (GOLTNs)
 by the County. The ability of the County to issue such GOLTNs is subject to market conditions at the time of offering. In
 addition, Act 206 of 1893, as amended, provides in part that: “The primary obligation to pay to the county the amount of taxes
 and interest thereon shall rest with the local taxing units, and if the delinquent taxes which are due and payable to the county
 are not received by the county for any reason, the county has full right of recourse against the taxing unit to recover the amount
 thereof and interest thereon...” Each year, a tax sale is held by the County at which lands delinquent for taxes assessed in the
 third year preceding the sale, or in a prior year, are sold for the total of the unpaid taxes of those years.
 Source: Comprehensive Annual Financial Report and County of Genesee

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 REVENUES FROM THE STATE OF MICHIGAN
          The County receives revenue sharing payments from the State of Michigan under the State Revenue Sharing Act of
 1971, as amended (the "Revenue Sharing Act"), on a per capita basis. The County's revenue sharing distribution is subject to
 annual legislative appropriation and may be reduced or delayed by Executive Order during any State fiscal year in which the
 Governor, with the approval of the State Legislature's appropriation committees, determines that actual revenues will be less than
 the revenue estimates on which appropriations were based.

           The State's ability to make revenue sharing payments to the County in the amounts and at the times specified in the
 Revenue Sharing Act is subject to the State's overall financial condition and its ability to finance any temporary cash flow
 deficiencies. Act 357, Public Acts of Michigan, 2004 ("Act 357") amended the General Property Tax Act to temporarily
 eliminate statutory revenue sharing payments to counties by creating a reserve fund, against which counties could draw in lieu
 of annual revenue sharing payments, paid for by the permanent advancement of the counties' property tax levy from December
 to July each year, beginning in 2005. ("Revenue Sharing Reserve Fund") Under Act 357, a county would resume receiving state
 revenue sharing payments in the first year in which the county's property tax revenue reserve was less than the amount the county
 would have otherwise received in state revenue sharing payments. The County resumed receiving revenue sharing payments
 during its fiscal year ended September 30, 2012.

           Under the fiscal year 2014 budget, signed into law on June 13, 2013 by Governor Snyder, 80% of county revenue
 sharing payment distributions are made pursuant to the Revenue Sharing Act and 20% are distributed through an incentive-based
 program similar to the Economic Vitality Incentive Program established in fiscal year 2012 for cities, villages and townships.
 The county program is known as the County Incentive Program ("CIP"), under which eligible counties may receive distributions
 for complying with "best practices" such as increasing transparency and consolidating services. Eligible counties are those that
 would be eligible to resume receiving state revenue sharing payments under Act 357. Under the fiscal year 2014 CIP, an eligible
 county can receive (i) one-third of the money it is eligible for if it meets requirements for accountability and transparency,
 including making a citizen's guide to its finances, a performance dashboard and a debt service report available for public viewing;
 (ii) another one-third if it develops plans to increase its existing level of collaboration and consolidation, both internally and with
 neighboring jurisdictions; and (iii) a final third if it develops and certifies an unfunded accrued liability plan. The unfunded
 accrued liability plan, which replaced the requirement in fiscal year 2013 to modify employee compensation plans, must be
 certified by June 1, 2014 for the County to receive all of the money that it is eligible for from the final component in clause (iii)
 above. Any portion of the CIP that the County would be eligible to receive would be subject to certain benchmarks that the
 County would need to meet, and there can be no assurance of what amount, if any, the County would receive under the CIP
 program. The County anticipates meeting the requirements for clauses i, ii, and iii to receive fiscal year 2014 payments.

 General Fund Revenues From the State
          Prior to 2013 the County exhausted its Revenue Sharing Reserve Fund during the 2011/2012 fiscal year. The County
 received $7,541,499 in State Revenue Sharing payments during FY 2012/2013 and will rely on the State of Michigan for future
 Revenue Sharing payments for 2014 year estimates.

                                    Fiscal Year                                              Revenue Sharing
                                Ended September 30                                             Payments**
                                     2014 Estimate ¹                                          $7,901,562
                                      2013                                                     7,541,499
                                     2012                                                      7,487,510
                                     2011                                                      9,847,817
                                     2010²                                                    10,548,185
 ** Amounts do not include state gas and weight tax distributions.
 ¹ Estimate from the State of Michigan
 ² The County's fiscal year revenues include draws from the revenue generated from the State-created reserve fund. See "County Reserve Fund" above.
 Source: Web site http://treasury.state.mi.us

          Purchasers of the Bonds should be alert to further modifications to revenue sharing payments to Michigan
 local governmental units, to the potential consequent impact upon the County’s general fund condition, and to the
 potential impact upon the market price or marketability of the Bonds resulting from changes in revenues received by
 the County from the State.


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 LABOR FORCE
            A breakdown of the number of employees of the County and their affiliation with organized groups is as follows:
                                                                                                             Contract
 Bargaining Unit                                                                      Number                 Expiration
 AFSCME
     496-00 Clerical                                                                    239                   09/30/2015
     496-01 Technical                                                                   143                   09/30/2015
     496-02 GVRC Workers                                                                 20                   04/01/2015
     496-03 Drain Service                                                                 5                   12/31/2015
     496-10 Mobile Meals                                                                 17                   09/30/2010*
     916-05 & 916-06 Sheriff Supervisory                                                 28                   12/31/2014
     916-01, 02, 03, 04, 08, 09, 10 Supervisors                                          38                   06/30/2015
 P.O.A.M.
     (Police Officers & Jail Security)                                                  208                   06/30/2014
 Judicial Secretaries Association                                                         9                   12/31/2014
 Teamsters
     Local 214 (Park Maintenance)                                                          7                  06/30/2015
     Local 214 (Friend of the Court)                                                       6                  12/31/2013*
 Professional Court Officers Association                                                  34                  12/31/2015
 Non Union
     Full-Time Employees                                                                102                   n/a
     Seasonal Employees                                                                 206                   n/a
     Elected Officials                                                                   31                   n/a
 TOTAL                                                                                1,093
 *In negotiations.

 RETIREMENT PLANS
           The County maintains two distinct retirement plans for its employees. A defined benefit plan is available in accordance
 with the Genesee County Employees Retirement System Ordinance (the “GCERS Plan”). A defined contribution plan is
 available in accordance with the Genesee County Defined Contribution Pension Plan (the “DC Plan”). All County employees,
 except members of AFSCME Mobile Meals Drivers and AFSCME Seasonal Parks Employees, are participants in either the
 GCERS Plan or the DC Plan. Employees hired prior to the effective date of the DC plan to their respective employee group,
 which for most employees was July 1, 1996, were permitted to elect between the GCERS Plan and the DC Plan. Most employees
 hired between 1996 and 2006 had the option of selecting the GCERS Plan or the DC Plan. All employees hired after 2006 must
 select the DC Plan for retirement. For information regarding retirement plans, see APPENDIX B.
           GCERS Plan - This is a contributory multi-employer defined benefit pension plan. County employees represented by
 the various bargaining units are required to contribute from 0.5% to 9.0% of all compensation, including overtime. The County
 provides contributions at actuarially determined rates. During 2013, employer contribution rates ranged from 16.87% to 53.48%
 of covered payroll. For the year ending December 31, 2012, contributions from the multi-employers totaled $14,398,417 and
 affected employees contributed $2,321,841 for an aggregate multi-employer/employee total of $16,720,258.
           DC Plan - This is a contributory, single employer defined contribution plan with assets of $104,345,310 as of September
 30, 2012. County employees are required to contribute between 3.0% and 7.0% of covered payroll. The County offers a defined
 contribution pension plan as an alternative to the defined benefit pension plan. The International City Managers Association
 (ICMA) Retirement Corporation administers the plan, and the County Board of Commissioners has authority over plan provisions
 and contribution requirements. All employees are eligible to participate in this plan, if not participating in the Defined Benefit
 Plan. The County is required to contribute 8 to 10% of eligible employees' annual covered payroll, and employees are required
 to contribute between 3% and 7% of covered payroll. Employees are vested after 5 years of service. During the year ended
 September 30, 2013, employer and employee contributions to the plan were $2,705,916 and $1,617,428, respectively.

            Other Post-Retirement Benefits - The County performed an actuarial valuation of the other post-retirement benefits
 liability for the year ended September 30, 2012. At that time the actuarial accrued liability was determined to be $308,208,023
 and the funding value assets was $43,313,587, resulting in an unfunded actuarial accrued liability of $264,894,436. The annual
 required contribution (ARC) as a percentage of payroll (based on 30-year amortization of the unfunded liability) was 50.15%
 or $18,549,049.

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            The County has been working to systematically increase contributions into the VEBA to eventually equal the ARC.
 Beginning in fiscal year 2002/2003, the County began contributing 3% of gross payroll into a fund designated for retiree health
 care. This was increased to 5% in the 2003/2004 fiscal year, to 10% in the 2006/2007 fiscal year, 20% in the 2007/2008 fiscal
 year, 22.5% in the 2008/2009 fiscal year, 20% in the 2009/2010 fiscal year, 24% in the 2010/2011 fiscal year and 24% in the
 2011/2012 fiscal year. In 2004, the County created a VEBA trust to specifically designate the funds that had been contributed
 for retiree health care. Also, all collective bargaining agreements as well as the non-union personnel policies include a provision
 that requires all employees to make a contribution of 1% to 3% of pre-tax gross wages, which is paid to the VEBA as employer
 contributions for the funding of retiree health care benefits (OPEB). These contributions resulted in an OPEB obligation for the
 period ending September 30, 2013 in an amount of $29,409,706. The OPEB obligation is the cumulative difference between the
 ARC and the actual amount contributed.

 DEBT STATEMENT(as of April 2, 2014 and including the Bonds described herein)
           Each series of bonds marked “LT” is payable in the first instance from a specified source and is payable from the
 general funds of the County in the event of insufficiency of the specified source. The County is not authorized to levy taxes
 beyond constitutional and statutory tax rate limitations with respect to the bonds marked “LT”.
 DIRECT DEBT
                                                               Dated           Outstanding        Unit Share        County’s
 General Obligation Bonds                                       Date          Gross Amount          Amount           Share
 Sewer, Fenton Twp.-Rolston/Ripley, LT                        11/01/96          $400,000           $400,000               0
 Drain, Atlas Twp. Project A#1610, LT                         12/01/00           150,000            150,000               0
 Capital Improvement, LT                                      11/01/04         1,765,000                  0      $1,765,000
 Sewer Fenton Twp. Ser A&B, LT                                12/01/04           550,000            550,000               0
 Sewer Refunding, LT                                          02/01/05         4,000,000          4,000,000               0
 Sewer Refunding, Lt. Morris, LT                              12/22/05         1,695,000          1,695,000               0
 Drain, Meyers, LT                                            08/01/06           375,000            248,400         126,600
 Sewer, Western Trunk No. 1, LT                               09/01/06         2,775,000          2,775,000               0
 Sewer Refunding No. 3, LT                                    11/16/07         4,305,000          4,305,000               0
 Qual. Energy Conservation Bonds, LT                          12/01/10         7,175,784                  0       7,175,784
 Gilkey Creek and Branch Drain Drainage District, LT          12/01/11         2,395,000          2,343,268          51,732
 Water, Fenton Rd. Watermain Project, LT                      04/08/11           859,000            859,000               0

 SUB-TOTAL GENERAL OBLIGATION BONDS                                          $26,444,784       $17,325,668       $9,119,116
 Building Authority Bonds
 Refunding, Series 1998, LT                                   07/01/98       $   155,000                   0     $  155,000
 Building Authority, Refunding, LT                            06/23/05         8,415,000                   0      8,415,000
 Brownfield Redev. Ref. LT                                    11/20/07        12,110,000                   0     12,110,000
 Refunding, LT                                                04/12/12         4,430,000                   0      4,430,000

 SUB-TOTAL BUILDING AUTHORITY BONDS                                          $25,110,000                  $0    $25,110,000

 Revenue Bonds with GO Pledge
 Sewer, Western Trunk Relief, LT                              08/01/03        $2,585,000                  $0     $2,585,000
 Water, LT                                                    08/01/03         3,585,000                   0      3,585,000
 Water, LT                                                    10/01/03        15,730,000                   0     15,730,000
 Water, LT                                                    09/01/04        13,260,000                   0     13,260,000
 NE Sewer, Series 2005A - SRF, LT                             06/23/05        15,210,000                   0     15,210,000
 NE Sewer, Series 2005B - SRF, LT                             09/22/05        10,640,000                   0     10,640,000
 NE Sewer, Series 2006A - SRF, LT                             09/21/06         2,065,000                   0      2,065,000
 NE Sewer, Series 2006B - SRF, LT                             12/14/06         5,650,000                   0      5,650,000
 NE Sewer, Series 2006C - SRF, LT                             12/14/06         3,175,000                   0      3,175,000
 Water, Series 2007, LT                                       01/01/07         5,100,000                   0      5,100,000
 Sewer, Northeast Ext., Series B, LT                          09/01/07         6,665,000                   0      6,665,000
 Sewer, Northeast Ext., 2007A, LT                             09/20/07         8,180,000                   0      8,180,000
 Sewer District No. 3, LT                                     12/01/07         4,920,000                   0      4,920,000
 Sewer, Sewage Disposal, LT                                   02/12/09        13,075,000                   0     13,075,000
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 NE Sewer, LT                                              01/22/10       12,790,000                 0      12,790,000
 Sewer No. 3 Revenue Bonds, LT                             01/22/10          955,000                 0         955,000
 Sewer, Interceptors and Treatment Facilities LT (Ser A)   04/08/11        1,330,000                 0       1,330,000
 Sewer, Interceptors and Treatment Facilities LT (Ser B)   07/28/11        4,825,000                 0       4,825,000
 Sewage Disp. Series C, Refunding, LT                      09/14/11        4,965,000                 0       4,965,000
 Water Supply System Revenue Bonds, LT                     10/03/13       35,000,000                 0      35,000,000

 TOTAL REVENUE BONDS                                                  $169,705,000              $0 $169,705,000
 Michigan Transportation Fund Bonds
 MTF Notes, NO COUNTY CREDIT                               11/01/06         $580,000             0            $580,000
 MTF Notes, NO COUNTY CREDIT                               10/01/07        1,970,000             0           1,970,000
 MTF Notes, NO COUNTY CREDIT                               08/01/08        2,305,000             0           2,305,000
 MTF Notes, NO COUNTY CREDIT                               09/01/09        2,085,000             0           2,085,000

 TOTAL MICHIGAN TRANSPORTATION FUND BONDS                                 $6,940,000            $0          $6,940,000
 Share of Authority Issued Bonds:
 Water Supply System Bonds, Series 2014 A, LT              04/16/14    220,500,000                   0      220,500,000
 Share of County Issued Bonds:
   Utilities Drainage                                      12/01/11          46,656                  0           46,656
 TOTAL DIRECT DEBT                                                    $448,746,440     $17,325,668         $431,420,772

 LESS: Self Supporting Authority Contract Bonds                                                           (220,500,000)
       Revenue Bonds                                                                                      (169,705,000)
       Michigan Transportation Fund Bonds/Notes                                                             (6,940,000)
                                                                                                         ($397,145,000)

 TOTAL NET DIRECT DEBT                                                                                     $34,275,772
 OVERLAPPING DEBT
                                                              County’s
                     Municipality                              Share
                     Cities                                 $42,414,877
                     Townships                               43,954,796
                     Villages                                 1,089,013
                     School Districts                       365,853,767
                     Intermediate School Districts               17,060
                     Community College                       42,960,045
                     Bishop Airport Authority                10,430,000

 NET OVERLAPPING DEBT                                                                                    $506,719,558
 NET DIRECT & OVERLAPPING DEBT                                                                           $540,995,330
 Source: Municipal Advisory Council of Michigan


 DEBT RATIOS
 Per Capita (425,790)
     Net Direct Debt                                                                                                $80.50
     Net Direct and Overlapping Debt                                                                             $1,270.57

 Ratio to 2013 Taxable Valuation ($8,591,144,574)
     Net Direct Debt                                                                                                0.40%
     Net Direct and Overlapping Debt                                                                                6.30%


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 Ratio to 2013 State Equalized Valuation ($8,996,549,108)
     Net Direct Debt                                                                                                      0.38%
     Net Direct and Overlapping Debt                                                                                      6.01%
 Ratio to 2013 Estimated True Cash Value ($17,993,098,216)
     Net Direct Debt                                                                                                      0.19%
     Net Direct and Overlapping Debt                                                                                      3.01%


 DEBT HISTORY
          The County has no record of default.
 FUTURE FINANCING
          The County has entered into a contract with the Karegnondi Water Authority and the City of Flint pursuant to which
 the Authority will issue an additional $80,000,000 of bonds over the next 3 to 15 months in anticipation of payments to be
 made by the County and the City of Flint to finance a raw water supply project to serve the County, the City of Flint and
 several other municipalities. The County will make a limited tax general obligation pledge of the County on 100% of these
 bonds. The County also anticipates issuance of approximately $60,000,000 of water revenue bonds with a limited tax general
 obligation pledge of the County to finance construction of a new water treatment plant and related facilities to treat water from
 the new raw water supply within the next 6 to 12 months. The County may issue an estimated $18,000,000 to $31,000,000
 of water revenue refunding bonds with a limited tax general obligation pledge in the next 6 to 12 months to refund certain
 outstanding water revenue bond issues for debt service savings.
 COMPENSATED ABSENCES
          As of September 30, 2013, the County’s governmental activities statement of net position included a liability for
 vacation and other employee compensated absences of $4,217,266.

 SHORT TERM BORROWING
          The County has in the years 1974 through 2013 issued short-term notes in order to establish the 100% Tax Payment
 Fund. Notes issued in each of the above years have been in a face amount which has been less than the actual real property
 tax delinquency. The primary security for these notes is the collection of the delinquent taxes pledged to the payment of
 principal of and interest on the notes issued. The County has pledged its full faith and credit and limited taxing power to the
 payment of the principal and interest on notes issued since 1975. Notes in the amount of $39.9 million were issued by the
 County during the fiscal year ended September 30, 2013.
           The County Landbank Authority has entered into a $3,000,000 line of credit with a bank and the County has pledged
 its limited tax full faith and credit on the line.
 LEASE OBLIGATIONS
          The County is party to numerous operating leases and aggregate rental expenses which were approximately $74,535
 during the year ended September 30, 2013, exclusive of the amount paid to a related organization.

 LEGAL DEBT MARGIN* (as of April 2, 2014 and including the Bonds described herein)

          2013 State Equalized Valuation - excluding IFT values                                               $8,996,549,108
          Debt Limit - 10% of State Equalized Valuation                                                          899,654,911
 Amount of Direct Debt Outstanding                                               $448,746,440
          Less:     No County Credit Pledged Bonds/Notes                           (6,940,000)
 Total Subject to Debt Limit                                                                                     441,806,440
 Additional Debt Which Could Be Legally Incurred                                                                $457,848,471




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                             GENERAL ECONOMIC INFORMATION
 LOCATION AND AREA
         Genesee County is located in the central-eastern portion of Michigan’s lower peninsula, and covers an area of 643
 square miles. The City of Flint is the county seat.
          The County is located the following distances from these commercial and industrial areas:
                                                   36      miles south of Bay City
                                                   50      miles north of Ann Arbor
                                                   67      miles west of Port Huron
                                                  104      miles east of Grand Rapids

 FORM OF GOVERNMENT
           The County is governed by a legislative body consisting of nine members forming the County Board of Commissioners,
 each of whom is elected for terms of two years from districts of approximately equal population. County officials include the
 County Treasurer, County Clerk/Register, Prosecuting Attorney, Drain Commissioner, and Sheriff. These officials are elected
 at large for four-year terms.
            Administration of the County is divided by the State of Michigan Constitution (the “State Constitution”) among various
 officials all elected at large according to purpose and by various appointed officials. The County Treasurer is the chief custodian
 of the County moneys, collector of County taxes, Treasurer for the County Drainage Districts, disbursing agent for certain tax
 funds to local communities and school districts. The duties of the County Clerk/Register are primarily record keeping in nature
 and include such duties as clerk of the Circuit Court and Board of Commissioners and keeping and maintaining records of births,
 deaths, marriages, discharges of military personnel, records of deeds, mortgages, surveys, recording of plats, notices of liens and
 bills of sales. The Prosecuting Attorney prosecutes violations of state criminal law within the County. The County Drain
 Commissioner administers the location, construction and maintenance of drains in the County. The Sheriff's duties involve the
 charge and custody of the County jail, the serving of processes, and law enforcement in unincorporated areas. The Board of
 Commissioners has created the office of County Controller. The County Controller is appointed by the Board of Commissioners
 and the responsibilities of the office include, but are not limited to: budget preparation and control; all accounting and auditing.

 POPULATION BY AGE
          The 2010 U.S. Census estimate of population by age for Genesee County is as follows:
                                                                     Number                  Percent
                         Total Population                            425,790                 100.00%
                         0 through 19 years                          118,966                  27.94
                         20 through 64 years                         248,630                  58.39
                         65 years and over                            58,194                  13.67
                         Median Age                                38.5 years
 INCOME
          The 2010 U.S. Census estimate of household income for Genesee County is as follows:
                                                                    Number                   Percent
                         HOUSEHOLDS BY INCOME                       166,539                   100.00%
                         Less than $10,000                           20,651                    12.40
                         $10,000 to $14,999                          11,491                     6.90
                         $15,000 to $24,999                          22,982                    13.80
                         $25,000 to $34,999                          21,150                    12.70
                         $35,000 to $49,999                          26,313                    15.80
                         $50,000 to $74,999                          30,810                    18.50
                         $75,000 to $99,999                          14,989                     9.00
                         $100,000 to $149,999                        13,823                     8.30
                         $150,000 to $199,999                         2,665                     1.60
                         $200,000 or more                             1,665                     1.00
                         Median Income                             $41,951
                         Mean Income                               $49,079
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 EMPLOYMENT CHARACTERISTICS*
           The following companies located in the County offer employment opportunities for residents.
                                                                                                                             No. of
 Company                                                               Product/Service                                      Employed ¹
 Within Genesee County (500 or more employees)
 Genesys Health Care System                                            Health care                                            3,265
 McLaren Health Care Corporation                                       Hospital & other health care                           3,014
 General Motors Corp. Assembly                                         Automotive parts & bodies                              2,821
 Hurley Medical Center                                                 Medical center                                         2,811
 Baker College                                                         Higher Education                                       2,800
 Square D                                                              Computer programming services                          2,500
 Flint Metal Center, Vehicle Mfg. Operating Div.                       Metal fabrication                                      2,180
 A I Flint LLC                                                         Car Parts and accessories                              1,500
 General Motors Corp. (Stamping facility)                              Stamping plant                                         1,415
 United States Postal Service                                          US Postal Service                                      1,200
 Genesee County (full time employees)                                  Government                                             1,093
 Delphi Corp.                                                          Spark plugs & odometers                                1,000
 Meijer Inc.                                                           Retail                                                 1,000
 General Motors Corp., Powertrain Div.                                 Engines & gears & transmissions                          961
 Genesee Intermediate Schools                                          Education                                                950
 Mott Community College                                                Higher education                                         949
 Flint Community Schools                                               Educational services                                     820
 JPMorgan Chase Bank                                                   Finance                                                  800
 FirstMerit Bank                                                       Banking                                                  780
 Nu Vision Inc.                                                        Optical goods retail                                     766
 Carman-Ainsworth Community Schools                                    Education                                                706
 Peregrine                                                             Manufacturing                                            684
 E L Hollingsworth & CO                                                Freight and logistics                                    646
 Sears, Roebuck & Co.                                                  Retail sales                                             600
 United Retired Govt. Employees                                        Labor Organizations                                      600
 Creative Foam Corp.                                                   Plastic products                                         600
 Flint, City of                                                        Municipality                                             596
 Genova Products (HQ)                                                  Plastic pipes                                            570
 Vemco, Inc.                                                           Automobile parts & accessories                           500
 TRW Automotive                                                        Brake systems                                            500
 Flint Specialty Services                                              Freight and logistics                                    500

 ¹ The approximate number of employees listed are as reported in these sources: 2013 Michigan Manufacturers Directory, Manta Company Intelligence
 website, the Michigan Economic Development Council ("MEDC"), and individual employers.

  *Due to reporting time lags and other factors inherent in collecting and reporting such information, the numbers may not reflect recent changes in
 employment levels, if any.

 EMPLOYMENT BREAKDOWN

          The 2010 U. S. Census reports the occupational breakdown of persons 16 years and over for Genesee County is
 as follows:
                                                                            Number        Percent
           PERSONS BY OCCUPATION                                           151,813        100.00%
           Professional Specialty Occupations                               45,895         30.23
           Service Occupations                                              31,444         20.71
           Sales & Office Occupations                                       40,133         26.44
           Natural Resources, Construction, and Maintenance Occupations     10,498          6.92
           Transportation & Material Moving Occupations                     23,843         15.71



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           The breakdown by industry for persons 16 years and over for Genesee County is as follows:
                                                                                           Number     Percent
            PERSONS BY INDUSTRY                                                           151,813     100.00%
            Agriculture, Forestry, Fishing, Hunting & Mining                                  607       0.40
            Construction                                                                    6,528       4.30
            Manufacturing                                                                  20,950      13.80
            Wholesale Trade                                                                 4,099       2.70
            Retail Trade                                                                   21,861      14.40
            Transportation                                                                  7,591       5.00
            Information                                                                     1,366       0.90
            Finance, Insurance, & Real Estate                                               7,894       5.20
            Professional & Management Services                                             12,145       8.00
            Educational, Health & Social Services                                          39,320      25.90
            Arts, Entertainment, Recreation and Food Services                              15,333      10.10
            Other Professional and Related Services                                         8,350       5.50
            Public Administration                                                           5,769       3.80

 UNEMPLOYMENT
         The Michigan Employment Security Commission, Research and Statistical Division, reports unemployment
 averages for the County of Genesee (not seasonally adjusted) as compared to the State of Michigan as follows:
                                                               County of              State of
                                                               Genesee                Michigan
                   2014 Year to Date (January)                    9.5%                   8.1%
                   2013 Annual Average                            9.7                    8.8
                   2012 Annual Average                            9.5                    9.1
                   2011 Annual Average                           11.5                  10.4
                   2010 Annual Average                           14.0                  12.5
 TRANSPORTATION
          The Genesee County region provides maximum accessibility by freeway, rail and air. Four multi-lane expressways
 converge in the City of Flint. Interstate 75 is a direct route between northern Michigan and Florida, while I-69 provides direct
 connections to Canada and Chicago. I-475 provides a north-south link between Mount Morris and Grand Blanc. US-23
 provides a direct route to Ann Arbor and the Ohio State line as well as the Upper Peninsula. The ease of travel provided by
 these major highways has resulted in 24 of the 35 major motor freight carriers who serve Genesee County establishing local
 terminals.
          Rail passenger service is provided daily by Amtrak, freight service is provided by CSX Transportation Line for
 north-south service, and the CN North America/Grand Trunk for east-west service. Truck freight service is furnished by 36
 commercial trucking companies. Greyhound and Indian Trails Bus Lines offer nationwide passenger service to areas outside
 of the Mass Transportation Authorities service area.
           Bishop International Airport provides regularly scheduled jet service by various airlines.
 Source: Flint Area Chamber of Commerce and Bishop International Airport Authority.

 HIGHER EDUCATION
           Several colleges offer a wide range of educational opportunities to area residents.
           C. S. Mott Community College, established in 1923, was named after Flint’s greatest philanthropist, automotive pioneer
 Charles Stewart Mott. It is the largest higher education institution in Genesee County. Through Mott, students may select from
 100 career and transfer programs. Advanced degrees from Wayne State, Ferris State, Central Michigan and Eastern Michigan
 universities are available on the Mott Campus. The main campus is in Flint. Fenton is the site of Southern Lakes Campus.

          Baker College of Flint is the largest of seven schools in the statewide Baker College system, offering both two-and
 four-year degrees in accounting, business management, drafting, electronic engineering, fashion merchandising and interior
 design among many others.

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          Detroit College of Business-Flint is part of the Davenport/Detroit College Education System, comprising the largest
 independent college system in the State of Michigan. Both bachelor and associate degrees are offered, with many students
 obtaining professional work experience in their chosen field while qualifying for a degree.

           Kettering University is a technical university offering bachelor’s and master’s degrees in engineering and management.

           Spring Arbor College-Flint, a private Christian liberal arts institution, offers bachelor degrees in management of human
 resources, health services and gerontology. Its programs are set up around the students’ family and work hours and grants
 credits for work experience, thus attracting many older students and business people.

           The University of Michigan-Flint is a satellite campus of the University of Michigan. The University offers a traditional
 college setting with nearly 60 baccalaureate programs and masters degrees in art and business. One of the nation’s most modern
 urban campuses, UM-Flint has expanded its facilities through the addition of a $20 million, state-of-the art Frances Wilson
 Thompson Library which opened in 1994.

          Michigan State University-College of Human Medicine, Flint Campus, blends the academic resources of a major land-
 grant university medical school with the educational and clinical resources of four major community based teaching hospitals,
 Hurley Medical Center, McLaren Regional Medical Center, Genesys Regional Medical Center and St. Joseph Campus.

           Flint serves as the home of Hurley Medical Center School of Nursing and the Michigan School for the Deaf.
 Source: City of Flint, Genesee Economic Area Revitalization, Inc., and the Flint Area Chamber of Commerce.

 CULTURAL/RECREATIONAL
            The area has numerous recreational facilities for its residents, including golf courses, a soap-box derby facility,
 artificial ice rinks, stadiums, soccer fields, ball fields, tennis courts, basketball courts, horseshoe courts, shuffleboard courts,
 a lawn bowling green, football fields, playgrounds, and a rugby field. Parks of various sizes provide picnic areas as well as play
 fields.

           The Cultural Center, located just two blocks east of downtown Flint, consists of a group of eight buildings which
           bring together the area’s cultural, educational, performance, and literary heritage. Most of the buildings were built
           in the 1950’s with donations from area residents. Included in the Center are the following:

           DeWaters Art Center houses the Flint Institute of Arts with paintings, sculpture, Renaissance tapestries and antique
           French paper weights among the many items displayed.

           Robert T. Longway Planetarium has astronomy exhibits, ultraviolet and fluorescent murals, and provides stargazing
           under the dome in its Star Theater.

           Sloan Museum has a variety of permanent and changing exhibits. One section portrays the settlement of Genesee
           County with dioramas of historical scenes. Another section is devoted to the automotive history of Flint and features
           more than 60 cars and carriages. The health section explains functions of the human body through audiovisual
           presentations. Also featured is a doll gallery with over 200 dolls displayed.
          The 2001-seat Whiting Auditorium hosts the Flint Symphony Orchestra and stage presentations from abroad, as well
          as from this country.
          A variety of theater, music, special exhibits and attractions are provided through the University of Michigan, the
 Flint Community Players, Center Stage Productions and other community groups. Of special interest is the Children’s
 Museum, a hands-on learning center that offers 50 career related exhibits and the Labor Museum and Learning Center of
 Michigan. The Labor Museum presents an interpretation of the story of labor from its nineteenth century roots to the present
 with special emphasis on Flint’s role in Michigan’s labor history.
           Other major attractions located within the County include the Antique World Mall, a special gallery of antiques and
 collectibles, Riverbank Park, a project which has transformed 4-1/2 blocks of downtown (Flint) river frontage into a
 landscaped community park featuring a 750-seat amphitheater, grand fountain, fish ladder, Archimedes’ screw, flowing water
 walls, islands, flower gardens, picnic sites, and walking and biking paths. Windmill Place houses ethnic foods from around
 the world in addition to craft and retail shops.


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          Carriage Town is a 35 square block area whose streets and buildings span the incredible careers of a group of men.
 The area is a step back into history with a lesson for tomorrow.
           Located throughout the County are lakes, picnic, and play areas, local museums and shops of interest to area
 travelers including Crossroads Village and Huckleberry Railroad, which features daily demonstrations of blacksmithing,
 wood-carving, yarn spinning and other activities performed by artisans, craftsmen and townspeople, as our ancestors did more
 than 100 years ago. The Genesee Belle, a paddlewheel boat is in service on Mott Lake, at Crossroads Village. Pennywhistle
 Place, a fascinating children’s creative play center is adjacent to Crossroads Village as is the Mott Children’s Farm. Operated
 by the Genesee County Parks and Recreation Commission from May through September, this park has become a favorite of
 local residents and travelers alike.
 UTILITIES
         Telephone service is provided by AT&T, Century and Verizon. Water and sewer service is provided through
 municipal systems in the cities and individual systems in the rural areas.
 BANKING
          The following banks have branches located within the County according to the Accuity American Financial
 Directory, July - December 2013.

                                                                                                  Total State-Wide
     Bank                                                       Main Office                           Deposits
     Bank of America                                            Charlotte, NC                               N/A
     Fifth Third Bank                                           Cincinnati, OH                              N/A
     First Merit Bank                                           Akron, OH                                   N/A
     BestBank, A Division of Guaranty Bank                      Milwaukee, WI                               N/A
     Comerica Bank                                              Dallas, TX                                  N/A
     Flagstar Bank, FSB                                         Troy, MI                         $8,771,046,000
     First Michigan Bank                                        Troy, MI                          1,755,761,000
     Chemical Bank                                              Midland, MI                       4,921,683,000
     The State Bank                                             Fenton, MI                          278,800,000
     Community State Bank                                       St. Charles, MI                     180,284,000
     Hantz Bank                                                 Southfield, MI                      108,093,000
     JPMorgan Chase Bank, National Association                  Columbus, OH                               N/A
     PNC Bank                                                   Pittsburgh, PA                             N/A
     Independent Bank                                           Ionia, MI                         2,193,408,000
     Oxford Bank                                                Oxford, MI                          243,627,000




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                                     Genesee County, Michigan
                 Summaries of General Fund Adopted Revenue and Expenditure Budget
                                Fiscal Year 2012/2013 and 2013/2014

                                                                        2012/13              2013/14
               REVENUE                                                 Amended               Adopted
                                                                        Budget               Budget
                Taxes                                                   $44,470,857          $43,314,532
                Licenses and Permits                                      1,027,414            1,027,000
                Intergovernmental Revenue (Note A)                        8,873,830           17,243,913
                Charges for Services                                      8,760,228            8,618,079
                Fines & Forfeitures                                       1,723,439            1,775,250
                Miscellaneous Revenue (Note A)                           14,792,146            7,582,457

                           TOTAL REVENUE                                $79,647,914          $79,561,231

               EXPENDITURES

                Management & Planning                                   $10,866,324           $9,826,592
                Administration of Justice                                24,185,011           26,050,375
                Law Enforcement & Community Protection                   18,517,307           18,505,960
                Human Services                                           15,965,900           16,034,421
                General Support                                          10,113,372            9,143,883

                           TOTAL EXPENDITURES                           $79,647,914          $79,561,231

               REVENUE OVER (UNDER) EXPENDITURES                                 $0                   $0
               FUND BALANCE BEGINNING OF YEAR                           $11,809,385          $11,746,279

               FUND BALANCE END OF YEAR                                 $11,809,385 *        $11,746,279 *

               Note A - State revenue sharing of $7,620,146 was included in miscellaneous revenue in
               the 2012/13 amended budget.

      *There is an obligation due to the general fund as reported by the Controller in an amount of $7,830,989 as shown in
 the County's most recent annual financial statements. The County Treasurer will make a determination on an annual basis
 of the surplus funds held in the Delinquent Tax Fund. Based on historical determinations of surplus, the County Controller
 has determined that there should be sufficient surplus to repay the general fund in four years.




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                                          APPENDIX B


                       GENESEE COUNTY DRAIN COMMISSIONER
                       DIVISION OF WATER AND WASTE SERVICES
                          AUDITED FINANCIAL STATEMENTS


                                 COUNTY OF GENESEE
                            AUDITED FINANCIAL STATEMENTS


          Attached are the audited financial statements for the Genesee County Drain
  Commissioner, Division of Water and Waste Services (the “Division”) for the fiscal year ended
  December 31, 2012, and the audited financial statements for the County of Genesee (the
  “County”) for the fiscal year ended September 30, 2013. The auditors for the Division and the
  County have not been asked to consent to the use of information from such financial statements
  in either the Preliminary Official Statement or the Official Statement and have not conducted any
  subsequent review of such financial statements.
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                                                                                                                      To the Board of Directors
                                                                                                                      Genesee County Drain Commissioner
                                                                                                                         Division of Water and Waste Services

                                             Independent Auditor's Report                                             Other Matters
                                                                                                                      Required Supplemental Information
      To the Board of Directors                                                                                       Accounting principles generally accepted in the United States of America require that the management's
      Genesee County Drain Commissioner                                                                               discussion and analysis on pages 3-11 be presented to supplement the basic financial statements. Such
         Division of Water and Waste Services                                                                         information, although not a part of the basic financial statements, is required by the Governmental
                                                                                                                      Accounting Standards Board, which considers it to be an essential part of financial reporting for placing
      Report on the Financial Statements                                                                              the basic financial statements in an appropriate operational, economic, or historical context. We have
      We have audited the accompanying financial statements of the Enterprise Fund, Internal Service Funds,           applied certain limited procedures to the required supplemental information in accordance with auditing
      and business-type activities of the Genesee County Drain Commissioner Division of Water and Waste               standards generally accepted in the United States of America, which consisted of inquiries of
      Services (the "Division") as of and for the year ended December 31, 2012 and the related notes to the           management about the methods of preparing the information and comparing the information for
      financial statements, which collectively comprise the Genesee County Drain Commissioner Division of             consistency with management's responses to our inquiries, the basic financial statements, and other
      Water and Waste Services' basic financial statements as listed in the table of contents.                        knowledge we obtained during our audit of the basic financial statements. We do not express an opinion
                                                                                                                      or provide any assurance on the information because the limited procedures do not provide us with
      Management’s Responsibility for the Financial Statements                                                        sufficient evidence to express an opinion or provide any assurance.

      Management is responsible for the preparation and fair presentation of these financial statements in            Supplemental Information
      accordance with accounting principles generally accepted in the United States of America; this includes
      the design, implementation, and maintenance of internal control relevant to the preparation and fair            Our audit was conducted for the purpose of forming opinions on the financial statements that collectively
      presentation of financial statements that are free from material misstatement, whether due to fraud or          comprise the Genesee County Drain Commissioner Division of Water and Waste Services' basic financial
      error.                                                                                                          statements. The supplemental information, as identified in the table of contents, is presented for the
                                                                                                                      purpose of additional analysis and is not a required part of the basic financial statements.
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      Auditor’s Responsibility
                                                                                                                      The supplemental information is the responsibility of management and was derived from and relates
      Our responsibility is to express an opinion on these financial statements based on our audit. We                directly to the underlying accounting and other records used to prepare the basic financial statements.
      conducted our audit in accordance with auditing standards generally accepted in the United States of            Such information has been subjected to the auditing procedures applied in the audit of the basic financial
      America. Those standards require that we plan and perform the audit to obtain reasonable assurance              statements and certain additional procedures, including comparing and reconciling such information
      about whether the financial statements are free from material misstatement.                                     directly to the underlying accounting and other records used to prepare the basic financial statements or
                                                                                                                      to the basic financial statements themselves, and other additional procedures in accordance with auditing
      An audit involves performing procedures to obtain audit evidence about the amounts and disclosures in           standards generally accepted in the United States of America. In our opinion, the other supplemental
      the financial statements. The procedures selected depend on the auditor’s judgment, including the               information is fairly stated in all material respects in relation to the basic financial statements taken as a
      assessment of the risks of material misstatement of the financial statements, whether due to fraud or           whole.
      error. In making those risk assessments, the auditor considers internal control relevant to the entity’s
      preparation and fair presentation of the financial statements in order to design audit procedures that are      Report on Summarized Comparative Information
      appropriate in the circumstances, but not for the purpose of expressing an opinion on the effectiveness
      of the entity’s internal control. Accordingly, we express no such opinion. An audit also includes evaluating    We have previously audited the Genesee County Drain Commissioner Division of Water and Waste
      the appropriateness of accounting policies used and the reasonableness of significant accounting                Services' December 31, 2011 financial statements, and we expressed an unmodified audit opinion on
      estimates made by management, as well as evaluating the overall presentation of the financial statements.       those audited financial statements in our report dated June 25, 2012. In our opinion, the summarized
                                                                                                                      comparative information presented herein as of and for the year ended December 31, 2011 is
      We believe that the audit evidence we have obtained is sufficient and appropriate to provide a basis for        consistent, in all material respects, with the audited financial statements from which it has been derived.
      our audit opinion.
      Opinion
      In our opinion, the financial statements referred to above present fairly, in all material respects, the
      respective financial position of the Enterprise Fund, Internal Service Funds, and business-type activities of
      the Genesee County Drain Commissioner Division of Water and Waste Services as of December 31,                   May 14, 2013
      2012 and the respective changes in its financial position and, where applicable, cash flows for the year
      then ended, in accordance with accounting principles generally accepted in the United States of America.



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                                                                                                          Genesee County Drain Commissioner
      Genesee County Drain Commissioner
                                                                                                          Division of Water and Waste Services
      Division of Water and Waste Services
                                                                                                                                   Management’s Discussion and Analysis (Continued)
                                                Management’s Discussion and Analysis

      The County established a County Agency through the County Improvement Act (Public Act               Sewage Treatment Facilities - The core function of all treatment facilities is to effectively and
      342). The County designated the Drain Commissioner as the County Agency. The County                 efficiently treat sewage in compliance with regulations established by their NPDES (National
      Agency created the Division of Water and Waste Services (the “Division”) as its vehicle to          Pollutant Discharge Elimination System) permit. The facilities maintain good working
      perform required duties. The Division provides public utility services of water and wastewater      relationships with customers and elected officials of the districts to achieve the goals of
      treatment in parts of Genesee, Saginaw, Shiawassee, Oakland, Lapeer, and Livingston counties.       accountability, transparency, and credibility. These activities include the following:
      The Division’s mission is to distribute water and collect and treat wastewater in such a manner
      that is in compliance with all state and federal regulations and to maintain the lowest cost to     x   Facility operation and maintenance
      customers. Additionally, the Genesee County Board of Commissioners designated the Division          x   Analytical support to ensure compliance with discharge limits and industrial pretreatment
      as the county enforcing agency for soil erosion in Genesee County.                                  x   Providing training in plant operation, maintenance, safety, and regulatory compliance
                                                                                                          x   Residuals management
      The Division is responsible for the administration, operation, maintenance, and construction of     x   Addition of various treatment chemicals and/or use of other treatment alternatives
      infrastructure and treatment facilities for the communities located in Genesee County for the       x   Planning for plant improvements, equipment replacement, and upgrades
      sanitary system and water supply. The Division is divided into four distinct cost centers. These    x   Emergency response planning
      cost centers, which include Interceptor and Treatment, Water, District No. 3, and District
                                                                                                          x   Storage lagoon operation and maintenance
      No. 7, have been developed based upon revenue, responsibility, and definable core functions. In
                                                                                                          x   Discharge limitations and monitoring
      addition, the Division offers construction management and system operation and maintenance
                                                                                                          x   Pollutant minimization
      services to local communities.
                                                                                                          x   Operation of an Industrial Pretreatment Program (IPP)
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      Some of the key administrative and engineering duties of both the sanitary sewer operation and
      the water department operation include comprehensive system planning, interaction and               The sanitary sewer treatment operations are responsible for the collection and transmission of
      regulation of development, implementing capital improvement projects, and system budget             effluent through the sewer interceptor lines to the three disposal plants under the Division’s
      management. The administration team is responsible for the overall operation of the utility’s       jurisdiction. These plants are the Linden Facility (District No. 3), the Bird Road Lagoons (District
      services, engineering, and soil erosion in Genesee County. It is this department’s responsibility   No. 7), and the Anthony Ragnone Treatment Plant (ARTP) (Districts No. 1, 2, 5, and 6). In
      to secure, allocate, and monitor funding, personnel, and equipment resources for the Division to    addition to serving large portions of Genesee County, the Division has contracts for sewer
      ensure safe, reliable, and efficient operation of the utility.                                      treatment outside of its jurisdiction with Shiawassee, Lapeer, Saginaw, Oakland, and Livingston
                                                                                                          counties.
      The primary functions of the support services area are to efficiently and uniformly provide
      support to the various operations departments. These services are grouped into categories as
                                                                                                          ARTP provides sewage treatment for the majority of the Division’s service area, with Districts
      follows: safety, human resources, finance, permits, soil erosion, construction, inspection, and
                                                                                                          No. 3 and No. 7 providing service for several outlying areas. And while the District No. 3 and
      information technology.
                                                                                                          No. 7 facilities are two distinctly separate operations, they are combined administratively due to
      The Operation and Maintenance Department - The Operation and Maintenance (O&M)                      their proximity to one another.
      department has two primary functions: sanitary sewer interception and transportation and water
      transmission. It also performs contracted O&M for the local communities. To ensure that these       The Division also manages two programs that impact its treatment facilities:
      primary functions are met, O&M performs the following tasks:
                                                                                                          x   Biosolids Disposal - Each treatment plant is responsible for disposing wastewater
      x   Preventive maintenance of the water and sewer infrastructure and appurtenances                      treatment plant biosolids in a manner that is considered beneficial reuse, in particular,
      x   Staking of water and sewer infrastructure (Miss Dig)                                                biosolids application on farmland. The ARTP accomplished this goal in 2012 by applying
      x   Jetting/Televising of sanitary sewers                                                               6,473 dry tons of stabilized biosolids on approximately 2,500 acres of approved fields. In
      x   Inspection of water and sewer infrastructure                                                        2012, District No. 3 applied 1,145 dry tons of stabilized biosolids on approximately 900
      x   Responds to customer complaints (i.e., plugged sewers, high bills, etc.)                            acres of approved fields.
      x   Installs, reads, and repairs water meters, repairs broken water mains, and coordinates the
          repair of sanitary sewers, sewer main taps, and cut and cap water and sewer services
      x   Provides after-hours emergency response as needed

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      Genesee County Drain Commissioner
                                                                                                            Genesee County Drain Commissioner
      Division of Water and Waste Services
                                                                                                            Division of Water and Waste Services
                               Management’s Discussion and Analysis (Continued)
                                                                                                                                     Management’s Discussion and Analysis (Continued)

      x   Industrial Pretreatment Program - The Division regulates and monitors industrial and
          nondomestic dischargers to the wastewater system. The Division reviews applications, issues       Due to concern over reliability and this rising cost of water from DWSD, the Division has been
          discharge permits, verifies compliance, calculates fees and surcharge bills for the customers,    coordinating an interjurisdictional initiative for developing an alternative water supply system
          as well as enforces regulations through discharge permits, which protect the wastewater           from Lake Huron. Communities currently supplied by DWSD that are participating in this
          treatment facilities and the environment. An arsenic program for drinking water systems was       initiative include the City of Flint, Genesee County, Sanilac County, and the Greater Lapeer
          implemented to ensure compliance with MDEQ regulations. The ordinance also allows for             County Utilities Authority (GLCUA).
          best management practices (BMP) in regulating silver and mercury from over 750 physician
          and dental offices and grease and oil from approximately 1,400 restaurants. Inter-                As such, a new governmental entity, the Karegnondi Water Authority (KWA), was incorporated
          jurisdictional agreements and the sewer use ordinance have been distributed to the                on October 1, 2010, with the purpose of developing this new water supply. At formation, it was
          municipalities, and the local unit of government approval process is ongoing. At this time,       comprised of the following five governmental units: Genesee County Drain Commissioner,
          there are approximately 15 significant industrial facilities and one categorical user that pay    Lapeer County, the City of Lapeer, Sanilac County, and the City of Flint. After construction of a
          surcharges for the cost of treating various substances they discharge to the Division.            new pipeline, it will then be KWA’s responsibility to provide a supply of untreated Lake Huron
                                                                                                            water to all contracting municipalities.
      Water Supply - The water supply department is responsible for acquisition of water from the
      Detroit Water and Sewerage Department via the City of Flint. The Division transmits potable           As of December 31, 2012, KWA has not incurred any transactions that would have a financial
      water to local communities, which in turn supply their residential, commercial, and industrial        impact on the Division. At the time of this report, both the City of Flint and the Advisory Board
      customers. The Division also contracts with certain local municipalities to operate and maintain      of the Genesee County Drain Commissioner Division of Water and Waste Services have voted
      their water systems, as well as provide billing services.                                             to sign capacity contracts with KWA.
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      The Division maintains a distribution system consisting of over 600 miles of water mains. It also     Rate Structure
      installs water connections and performs turn-ons/offs at the request of its communities, services
      and changes water meters, and oversees the backflow prevention program. In order to provide           During 2012, the Division continued a review of its rate structure, with the goal of adjusting
      an uninterruptible supply of safe drinking water, this department provides forward thought to:        rates beginning in 2013. A Division goal is to review and set water and sewer rates on a five-year
                                                                                                            basis in order to maintain stable and fiscally responsible utility rates. The Division has been able
      x   Identify and evaluate water supply alternatives to meet normal and emergency needs                to keep its portion of water and sewer rates constant since its last rate increases in 2008 and
      x   Prepare cost estimates to construct, operate, and maintain selected alternatives                  2009. Part of the rate structure requires automatic adjustments based upon DWSD’s rate
      x   Determine water treatment and pumping requirements                                                increases to the City of Flint, which are typically passed on to the Division’s customers in
                                                                                                            September of each year.
      Objectives and Achievements
                                                                                                            Grant Acquisitions
      The main objectives of the Division are to maintain high quality services along with residential      x   The Division was allocated funds of $863,500 for the Vortex Grit Tank No. 2 Project at
      and commercial water and sewer rates that are fair and cost effective to all concerned.                   District No. 3 in September 2011. The funds were allocated from the Department of the
      Although not required by law, the Division maintains a yearly budget of income and expenses for           Army under Section 219 of the Water Resources Development Act of 1992. Public Law 102-
      all cost centers. The budget is reviewed and approved by an advisory board. Each community                580, as amended, specifies the cost-sharing requirements applicable. During 2012, the
      that is a customer of the Division has a seat on the advisory board, which meets monthly to               Division received $289,991 of contributed capital toward the project.
      provide guidance to the Division.

      The rising cost of water from the Detroit Water and Sewerage Department (DWSD) to the City
      of Flint, and there in turn to the Division and its community customers, continues to be of great
      concern. From 2002 to 2013, the average yearly DWSD cost of water increased 9.06 percent.
      This cost from Detroit is passed through to the Division with no markup from the City of Flint.
      Instead, a monthly flat rate of $114,000 is paid to the City of Flint which also provides for up to
      5.2 million gallons per day in emergency backup water supply.

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      Genesee County Drain Commissioner                                                                     Genesee County Drain Commissioner
      Division of Water and Waste Services                                                                  Division of Water and Waste Services
                               Management’s Discussion and Analysis (Continued)                                                               Management’s Discussion and Analysis (Continued)

      x   The Division was allocated funds as part of the Kearsley Creek Interceptor Project in 2006        Condensed Financial Information
          and in 2008. The Department of the Army and the Division entered into a project
          cooperation agreement for the design of approximately 22 miles of interceptor sanitary            The following tables present condensed information about the Division’s financial position
          sewer lines, associated to pump stations and associated appurtenances pursuant to Section         compared to the prior year:
          219(f)(59) of the Water Resources Development Act of 1992, Public Law 102-580 as
          amended, which authorized the Secretary of the Army to provide design and construction                                                                               December 31
          assistance for environmental infrastructure improvements to Genesee County, Michigan.                                                                                                               Increase
          During 2012, the Division made the decision not to move forward with the construction of                                                                        2012               2011            (Decrease)      Percent Change
          this project, expensed the project to date, and made a final recording of $218,434 for            Assets
          contributed capital.                                                                                Current assets                                        $    26,350,746   $    24,633,437    $      1,717,309          7.0 %
                                                                                                              Restricted assets                                             543,333         5,459,054          (4,915,721)       (90.0)
      x   State of Michigan Revolving Fund Program loans were approved in prior years for                     Noncurrent lease receivable                                25,759,265        28,668,516          (2,909,251)       (10.1)
                                                                                                              Capital assets                                            322,899,623       321,952,707             946,916          0.3
          $1,445,000 to fund the ARTP Switchgear project, $14,544,000 to fund the Pump Station #1
                                                                                                              Other noncurrent assets                                       835,548         2,169,783          (1,334,235)       (61.5)
          and ARTP Blowers and Clarifiers projects, and $933,515 to fund the Fenton Road Water
                                                                                                                      Total assets                                      376,388,515       382,883,497          (6,494,982)        (1.7)
          Main Project. A total of $345,440, $2,382,209, and $29,111 was collected, respectively, for
          these projects during 2012.                                                                       Liabilities
                                                                                                              Current liabilities                                        16,269,157        15,420,478             848,679          5.5
                                                                                                              Liabilities payable from restricted assets                    243,008         3,509,475          (3,266,467)       (93.1)
      Using this Annual Report
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                                                                                                              Other noncurrent liabilities                                5,832,566         7,276,880          (1,444,314)       (19.8)
                                                                                                              Long-term debt                                            159,837,896       167,452,099          (7,614,203)        (4.5)
      This annual report consists of a series of financial statements. The statement of net position, the
                                                                                                                      Total liabilities                                 182,182,627       193,658,932         (11,476,305)        (5.9)
      statement of revenue, expenses, and changes in net position, and the statement of cash flows
      provide information about the activities of the Division as a whole and assist in presenting a        Net Position
                                                                                                             Net investment in capital assets                           181,595,040       178,661,325          2,933,715           1.6
      longer-term view of its finances.
                                                                                                             Restricted                                                   3,098,940         3,098,052                888             -
                                                                                                              Unrestricted                                                9,511,908          7,465,188         2,046,720          27.4
                                                                                                                      Total net position                            $ 194,205,888 $ 189,224,565          $     4,981,323           2.6


                                                                                                                                                                               December 31
                                                                                                                                                                                                              Increase
                                                                                                                                                                          2012               2011            (Decrease)      Percent Change
                                                                                                            Revenue from operations                                 $    52,560,768   $    50,021,535    $     2,539,233           5.1    %
                                                                                                            Interest on operating cash and receivables                       43,217            35,427              7,790          22.0
                                                                                                                      Total revenue                                      52,603,985        50,056,962          2,547,023           5.1
                                                                                                            Sludge disposal charges                                       1,228,262         1,098,897             129,365         11.8
                                                                                                            Cost of water                                                11,779,406        12,947,738          (1,168,332)        (9.0)
                                                                                                            Operating and maintenance                                    21,825,607        18,853,461           2,972,146         15.8
                                                                                                            Administrative and depreciation                              12,208,067        12,283,110             (75,043)        (0.6)
                                                                                                                      Total operating expenses                           47,041,342        45,183,206          1,858,136           4.1
                                                                                                            Other nonoperating expense                                    2,201,438          2,432,996           (231,558)        (9.5)
                                                                                                            Change in net position - Before capital contributions         3,361,205          2,440,760           920,445          37.7
                                                                                                            Capital contributions                                         1,620,118           268,228          1,351,890         504.0
                                                                                                            Change in net position                                  $     4,981,323 $        2,708,988   $     2,272,335          83.9


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                                                                                                            Genesee County Drain Commissioner
      Genesee County Drain Commissioner                                                                     Division of Water and Waste Services
      Division of Water and Waste Services                                                                                            Management’s Discussion and Analysis (Continued)
                               Management’s Discussion and Analysis (Continued)
                                                                                                            Statement of Revenue, Expenses, and Changes in Net Assets
      Major Capital Assets and Debt Activity                                                                x   Operating revenue increased by 5.1 percent during 2012, with water sales accounting for the
                                                                                                                majority of this increase. The increase in water sales is largely due to the increase in the pass-
      Construction projects completed by the Division totaled $36,835,568 during 2012. This resulted            through rate from DWSD, while a warm and dry summer did produce an increase in water
      in a reclassification of the construction costs of this amount from a nondepreciable to                   demand. Operating expenses increased slightly less, at a 4.1 percent rate.
      depreciable asset. The ARTP Clarifiers Project was the largest completed during 2012, valued at
      $11,924,394.                                                                                          x   Two of the Division’s largest expenses, water costs and utilities, were reduced on a fiscal
                                                                                                                basis in 2012. However, this calendar year reduction in costs does not fully represent the
      The Division also increased its capital assets by $1,111,693 due to the completion of the Fenton          true yearly ongoing cost of these two expenses. As noted in last year’s audit report letter
      Road Water Main project, which was funded by two local community customers.                               dated June 25, 2012, the Division made a change to accounts payable invoice timing which
                                                                                                                resulted in an overstatement of expenses for 2011. After review by the Division’s new
      Use of restricted County Capital Improvement Fees (CCIF) to pay debt service and the                      finance officer, the Division concurred with the auditors and moved to correct the situation
      reduction of restricted receivables from other governmental entities has been the past practice           in 2012. To do so required a subsequent understatement in expenses for both the cost of
      of the Division. Underfunding has occurred and was considered in the initial planning of the              water and for utilities in 2012. Going forward, a policy has been put in place which will
      CCIF program. CCIF will continue to be collected after retirement of the bond to restitute the            ensure that 12 months of expenses are properly incurred in each calendar year.
      fund in full.
                                                                                                            x   Contractual services increased by approximately $4.0 million in 2012, primarily due to
      Financial Review                                                                                          increased engineering and legal work performed for the interceptor and treatment, and
                                                                                                                water supply divisions. In particular, the Division decided not to move forward with a
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      In analyzing the Genesee County Drain Commissioner Division of Water and Waste Services’                  construction project for interceptor and treatment which resulted in a reclassification of CIP
      financial position, it is important to recognize the mission of the agency, which has been                to contractual services, accounting for $2.5 million of the overall increase.
      previously stated. A discussion of the significant financial activity during the current year is as
      follows:                                                                                              x   Depreciation increased by approximately $770,000 due to project completion in 2012 and
                                                                                                                the associated CIP having been converted to depreciable assets.
      Statement of Net Position
                                                                                                            The following table shows the trend in interceptor and treatment sewage disposal revenue
      x   Current assets increased by $1.7 million in the current year due to an increase in cash and       compared to total flow volumes for the Division’s main ARTP treatment facility:
          equivalents, current accounts receivable, and prepaid expenses.
                                                                                                                                                                     Year Ended December 31
      x   Current liabilities increased by approximately $850,000 from the prior year. The main                                                         2009           2010         2011                2012
          portion of this increase is due to a rise in the current portion of long-term debt, while a
          smaller amount is due to the timing of accounts payable transactions.                             I&T sewage disposal revenue            $ 22,579,898 $ 22,596,773 $ 22,014,199 $ 22,785,153
                                                                                                            Total flow (thousands of gallons)        11,979,000    9,518,000   11,726,740    9,540,064
      x   Liabilities payable from restricted assets decreased significantly again in 2012, from $3.5       Average revenue per thousands of
          million in 2011 to $243,000 at the end of 2012. This continued decrease once again is due to        gallons trated                       $        1.88 $           2.37 $          1.88 $          2.39
          several projects being completed during the year.

      x   Other noncurrent liabilities decreased by approximately $9.0 million. This was primarily due
          to a reduction in long-term debt of approximately $7.6 million.

      x   Combined unrestricted net position increased by approximately $2.0 million, with increases
          occurring in each of the four divisions. Of significant note, District No. 3 moved from an
          unrestricted deficit position in 2011 of ($252,524) to a positive ending 2012 position of
          $130,124.



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      Genesee County Drain Commissioner
      Division of Water and Waste Services                                                              Genesee County Drain Commissioner
                              Management’s Discussion and Analysis (Continued)                          Division of Water and Waste Services
                                                                                                                                          Statement of Net Position - Proprietary Fund Types
      The following table shows the trend in water sales compared to volume of water purchased and
      volume of water sold, with the resulting water efficiency rate:                                                                                                                                                          December 31,
                                                                                                                                                                                         December 31, 2012                         2011
                                                          Year Ended December 31                                                                                           Enterprise         Internal
                                                                                                                                                                             Fund           Service Fund           Total             Total
                                              2009          2010         2011              2012
                                                                                                        Assets
      Water sales revenue (wholesale                                                                      Current assets:
        and retail)                       $ 19,809,718 $ 21,202,820 $ 21,697,903 $ 23,012,087                Cash and cash equivalents (Note 2)                        $    12,796,815    $    1,139,582     $    13,936,397   $    13,380,794
                                                                                                             Accounts receivable                                             8,812,458                -            8,812,458         8,255,907
      Volume of water purchased (cu. ft.) 616,325,400 616,632,200 621,182,300 630,152,800                    Current portion of leases receivable                            2,940,000                -            2,940,000         2,825,000
      Volume of water sold (cu. ft.)       594,736,958 585,092,058 581,675,986 551,198,996                   Due from other governmental units                                      -                 -                   -              2,000
                                                                                                             Inventory                                                          75,625                -               75,625            52,658
      Water efficiency rate                       96%          95%          94%          87%                 Prepaid expenses and other assets                                 493,266                -              493,266            87,078
                                                                                                             Other assets                                                       93,000                -               93,000            30,000
      Contacting the Division’s Management                                                                                Total current assets                              25,211,164         1,139,582          26,350,746        24,633,437

                                                                                                           Noncurrent assets:
      This financial report is intended to provide our constituents, sewer/water users, and                  Restricted cash and cash equivalents                                   -                -                    -          4,592,588
      bondholders with a general overview of the Genesee County Drain Commissioner Division of               Restricted accounts receivable                                    243,008               -               243,008           532,653
                                                                                                             Restricted - Due from other governmental units                    300,325               -               300,325           333,813
      Water and Waste Services’ accountability for the money it receives. These financial statements         Leases receivable - Net of current portion                     25,759,265               -            25,759,265        28,668,516
      are included as a component unit of Genesee County and should be viewed as part of the                 Local unit construction in progress                               156,500               -               156,500         1,413,161
                                                                                                             Capital assets (Note 3):
      government-wide financial statements. If there are questions about this report or if additional           Assets not subject to depreciation                          55,779,523                -           55,779,523        86,934,064
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      information is needed, we welcome anyone to contact the Drain Commissioner or the director                Assets subject to depreciation - Net of depreciation       264,520,174         2,599,926         267,120,100       235,018,643
                                                                                                             Unamortized bond issuance costs                                   679,048                -              679,048           756,622
      of the Division.
                                                                                                                          Total noncurrent assets                          347,437,843         2,599,926         350,037,769       358,250,060

                                                                                                                          Total assets                                     372,649,007         3,739,508         376,388,515       382,883,497

                                                                                                        Liabilities
                                                                                                           Current liabilities:
                                                                                                               Accounts payable and accrued expenses                         5,031,387             1,472           5,032,859         4,823,168
                                                                                                               Due to other governmental units                                 241,300                -              241,300           237,310
                                                                                                               Due to State of Michigan                                        149,998                -              149,998                -
                                                                                                               Current portion of long-term debt (Note 4)                   10,845,000                -           10,845,000        10,360,000

                                                                                                                          Total current liabilities                         16,267,685             1,472          16,269,157        15,420,478

                                                                                                           Noncurrent liabilities:
                                                                                                             Liabilities related to restricted assets                          243,008               -               243,008         3,509,475
                                                                                                             Unearned leases                                                   156,500               -               156,500         1,524,185
                                                                                                             Other postemployment benefit obligation (Note 6)                5,676,066               -             5,676,066         5,752,695
                                                                                                             Long-term debt - Net of current portion (Note 4)              159,837,896               -           159,837,896       167,452,099

                                                                                                                          Total noncurrent liabilities                     165,913,470               -           165,913,470       178,238,454

                                                                                                                          Total liabilities                                182,181,155             1,472         182,182,627       193,658,932

                                                                                                        Equity - Net position
                                                                                                          Net investment in capital assets                                 178,995,114         2,599,926         181,595,040       178,661,325
                                                                                                          Restricted                                                         3,098,052                -            3,098,052         3,098,052
                                                                                                          Unrestricted                                                       8,374,686         1,138,110           9,512,796         7,465,188

                                                                                                                          Total net position                           $ 190,467,852      $   3,738,036      $ 194,205,888     $ 189,224,565




                                                                                                        The Notes to Financial Statements are an
                                                     11                                                   Integral Part of this Statement.                             12
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      Genesee County Drain Commissioner                                                                                                         Genesee County Drain Commissioner
      Division of Water and Waste Services                                                                                                      Division of Water and Waste Services
                 Statement of Revenue, Expenses, and Changes in Net Position                                                                                                        Statement of Cash Flows - Proprietary Fund Types
                                                     Proprietary Fund Types
                                                                                                                                                                                                                                                                             December 31,
                                                                                                                             December 31,                                                                                             December 31, 2012                          2011
                                                                                      December 31, 2012                          2011                                                                                  Enterprise          Internal
                                                                       Enterprise          Internal                                                                                                                      Fund            Service Fund          Total              Total
                                                                         Fund            Service Fund           Total              Total         Cash Flows from Operating Activities
                                                                                                                                                   Receipts from customers                                         $    52,079,220 $           28,183 $        52,107,403 $       56,647,903
      Operating Revenue                                                                                                                            Payments to suppliers and others for goods and services             (25,544,057)          (295,873)        (25,839,930)       (32,126,627)
        Charges for sales and service:                                                                                                             Payments for salaries and employee benefits                         (14,771,454)                -          (14,771,454)        (9,449,173)
           Sale of water                                           $    23,104,124     $          -       $    23,104,124    $    21,697,903
           Sewage disposal charges                                      26,708,222                -            26,708,222         26,028,846                 Net cash provided by (used in) operating activities        11,763,709           (267,690)        11,496,019         15,072,103
           Billing services                                                146,171                -               146,171                 -      Cash Flows from Capital and Related Financing Activities
           Water meter sales                                                46,694                -                46,694             64,662       Purchases of capital assets                                          (8,722,477)          (476,857)         (9,199,334)       (17,995,616)
        Sewer and pumping station - Operation and maintenance            1,197,219                -             1,197,219          1,197,219       Contribution from local units for construction                               -                  -                   -           1,219,720
        Other operating revenue                                          1,358,338                -             1,358,338          1,032,905       County capital improvements fee                                         968,219                 -              968,219            630,783
                                                                                                                                                   Collections of leases receivable from municipalities                  4,030,844                 -            4,030,844          4,014,604
                  Total operating revenue                               52,560,768                -            52,560,768         50,021,535       Proceeds from issuance of bonded debt                                 3,418,569                 -            3,418,569         24,872,946
      Operating Expenses                                                                                                                           Principal paid on bond maturities                                   (10,534,250)                -          (10,534,250)       (17,708,000)
        Cost of water                                                   11,779,406                -            11,779,406         12,947,738       Interest paid on bonds and other long-term liabilities               (4,371,165)                -           (4,371,165)        (4,277,392)
        Sludge disposal service                                          1,228,262                -             1,228,262          1,098,897       Operating transfer                                                      113,822           (113,822)                 -                  -
        Cost of insurance claims and expenses                              277,414                -               277,414            388,005
        Repairs and maintenance                                          2,314,611            65,905            2,380,516          1,584,188                 Net cash used in capital and related financing
                                                                                                                                                               activities                                              (15,096,438)          (590,679)        (15,687,117)        (9,242,955)
        Personnel services                                              15,207,816                -            15,207,816         16,672,169
        Other supplies and expenses                                        995,794                -               995,794          1,044,117     Cash Flows from Investing Activities - Investment income                  154,113                -              154,113             56,557
        Contractual services                                             4,620,263                -             4,620,263            622,620
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        Utilities                                                        3,241,481                -             3,241,481          4,288,957     Net (Decrease) Increase in Cash and Cash Equivalents                   (3,178,616)          (858,369)         (4,036,985)        5,885,705
        Depreciation                                                     6,849,102           461,288            7,310,390          6,536,515
                                                                                                                                                 Cash and Cash Equivalents - Beginning of year                          15,975,431          1,997,951         17,973,382         12,087,677
                  Total operating expenses                              46,514,149           527,193           47,041,342         45,183,206                                                                       $ 12,796,815        $   1,139,582      $ 13,936,397       $ 17,973,382
                                                                                                                                                 Cash and Cash Equivalents - End of year
      Operating Income (Loss)                                            6,046,619           (527,193)          5,519,426          4,838,329
                                                                                                                                                 Balance Sheet Classification of Cash and Cash Equivalents
      Nonoperating Revenue (Expenses)                                                                                                               Cash and cash equivalents                                      $    12,796,815     $    1,139,582     $   13,936,397     $   13,380,794
        Community bond interest income                                   1,263,136                 -            1,263,136          1,356,456        Restricted cash and cash equivalents                                        -                  -                  -           4,592,588
        Community bond interest expense                                 (1,263,136)                -           (1,263,136)        (1,356,456)
        Miscellaneous income                                               930,054                 -              930,054            635,689                 Total cash and cash equivalents                       $ 12,796,815        $   1,139,582      $ 13,936,397       $ 17,973,382
        Miscellaneous expense                                              (45,582)            (1,756)            (47,338)          (158,115)
        Capital interest and fee expense                                (3,103,857)                -           (3,103,857)        (2,910,570)    Reconciliation of Operating Income (Loss) to Net Cash
        Investment income                                                   43,217                 -               43,217             35,427       from Operating Activities
        Gain on sale of assets                                                  -              19,703              19,703                 -           Operating income (loss)                                      $     6,046,619     $     (527,193) $       5,519,426     $    4,838,329
                                                                                                                                                      Depreciation                                                       6,849,102            461,288          7,310,390          6,536,515
                  Total nonoperating (expense) revenue                  (2,176,168)            17,947          (2,158,221)        (2,397,569)         Write-off of construction in progress                              2,369,806                 -           2,369,806                 -
                                                                                                                                                      Changes in assets and liabilities:
      Income (Loss) - Before capital contributions and operating                                                                                          Receivables                                                     (457,645)             1,998            (455,647)        2,154,890
         transfers                                                       3,870,451           (509,246)          3,361,205          2,440,760              Other                                                                 -              (1,756)             (1,756)               -
                                                                                                                                                          Inventories                                                      (22,967)                -              (22,967)           (9,359)
      Capital Contributions                                              1,620,118                -             1,620,118           268,228               Prepaid and other assets                                        (550,877)            81,689            (469,188)          106,151
                                                                                                                                                          Accounts payable                                              (2,874,252)          (309,901)         (3,184,153)        1,374,259
      Transfers In                                                      45,632,133                -            45,632,133         37,662,791
                                                                                                                                                          Internal balances                                                (26,185)            26,185                  -                 -
      Transfers Out                                                    (45,518,311)          (113,822)        (45,632,133)       (37,662,791)             Due from other governmental units - Net                          (30,292)                -              (30,292)           71,318
                                                                                                                                                          Accrued and other liabilities                                    460,400                 -              460,400                -
      Increase (Decrease) in Net Position                                5,604,391           (623,068)          4,981,323          2,708,988
                                                                                                                                                             Net cash provided by (used in) operating activities   $ 11,763,709        $    (267,690) $ 11,496,019           $ 15,072,103
      Net Position - Beginning of year                                 184,863,461          4,361,104         189,224,565        186,515,577

      Net Position - End of year                                   $ 190,467,852       $   3,738,036      $ 194,205,888      $ 189,224,565      Noncash Investing, Capital, and Financing Activities - During the year ended December 31, 2012, the Enterprise Fund had $1,111,693
                                                                                                                                                and $508,425 contributed to the water and sewer systems by local communities and a grant, respectively.




      The Notes to Financial Statements are an
        Integral Part of this Statement.                           13                                                                                                                                              14
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      Genesee County Drain Commissioner                                                                  Genesee County Drain Commissioner
      Division of Water and Waste Services                                                               Division of Water and Waste Services
                                                          Notes to Financial Statements                                                                       Notes to Financial Statements
                                                                    December 31, 2012                                                                                   December 31, 2012

      Note 1 - Summary of Significant Accounting Policies                                                Note 1 - Summary of Significant Accounting Policies (Continued)
            The Genesee County Drain Commissioner Division of Water and Waste Services (the                    In evaluating how to define the Division for financial reporting purposes, management
            “Division”) was organized in September 1965 under Public Act No. 342 of 1939 of the                has considered all potential component units. The decision to include a potential
            State of Michigan (amended in 1967). The Division’s major operations are the                       component unit in the reporting entity was made by applying the criteria set forth in
            construction and operation of water and waste systems in Genesee County, Michigan                  GAAP. The basic, but not the only, criterion for including a potential component unit
            (the “County”) and certain areas in surrounding counties. Construction is financed with            within the reporting entity is the governmental body’s ability to exercise oversight
            proceeds from the sale of bonds and federal and state grants. The operating activities             responsibility. The most significant manifestation of this ability is financial
            are financed primarily through user charges to municipalities in the systems.                      interdependency. Other manifestations of the ability to exercise oversight responsibility
                                                                                                               include, but are not limited to, the selection of governing authority, the designation of
            The financial statements of the Division have been prepared in conformity with
                                                                                                               management, the ability to significantly influence operations, and accountability for fiscal
            accounting principles generally accepted in the United States of America (GAAP) as
                                                                                                               matters. The other criterion used to evaluate potential component units for inclusion or
            applied to governmental units. The Governmental Accounting Standards Board (GASB)
                                                                                                               exclusion from the reporting entity is the existence of special financing relationships,
            is the accepted standard-setting body for establishing governmental accounting and
                                                                                                               regardless of whether the Division is able to exercise oversight responsibilities. Based on
            financial reporting principles. The more significant of the Division’s accounting policies
                                                                                                               the application of these criteria, there are no component units to be included in these
            are described below:
                                                                                                               basic financial statements.
            Reporting Entity - Included within the reporting entity are the following:
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                                                                                                               Measurement Focus, Basis of Accounting, and Financial Statement
            !   Genesee County Sewage Disposal Systems Nos. 1, 2, 5, and 6 (interceptors and                   Presentation - The basic financial statements are reported using the economic
                treatment facilities)                                                                          resources measurement focus and the accrual basis of accounting. Revenue is recorded
                                                                                                               when earned and expenses are recorded when a liability is incurred, regardless of the
            !   Genesee County Sanitary Sewage Disposal Systems Nos. 3 and 7                                   timing of related cash flows. Grants and similar items are recognized as revenue as soon
            !   Genesee County water supply systems                                                            as all eligibility requirements imposed by the provider have been met.

            !   Genesee County Division of Water and Waste Services - Vehicle and Equipment                    The Division reports the following major proprietary fund:
                Fund (Internal Service Fund)                                                                   !   The Enterprise Fund is used to account for operations that are financed and
            !   Genesee County Division of Water and Waste Services - Insurance Fund (Internal                     operated in a manner similar to private business enterprises, where the costs
                Service Fund)                                                                                      (expenses, including depreciation) of providing water and sewer services to the
                                                                                                                   general public on a continuing basis are financed through user charges.
                                                                                                               Additionally, the Division reports the following Internal Service Fund:
                                                                                                               !   The Internal Service Fund accounts for financing of goods and services provided by
                                                                                                                   one department to other departments of the Division on a cost-plus basis as well as
                                                                                                                   risk management services provided to other departments on a cost-reimbursement
                                                                                                                   basis.
                                                                                                               As a general rule, the effect of interfund activity has been eliminated from the basic
                                                                                                               financial statements. Exceptions to this general rule are charges between the Division’s
                                                                                                               water and sewer function and various other functions of the Division. Eliminations of
                                                                                                               these charges would distort the direct costs and program revenue reported for the
                                                                                                               various functions concerned.


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      Genesee County Drain Commissioner                                                                    Genesee County Drain Commissioner
      Division of Water and Waste Services                                                                 Division of Water and Waste Services
                                                           Notes to Financial Statements                                                                       Notes to Financial Statements
                                                                     December 31, 2012                                                                                   December 31, 2012

      Note 1 - Summary of Significant Accounting Policies (Continued)                                      Note 1 - Summary of Significant Accounting Policies (Continued)
            Proprietary funds distinguish operating revenue and expenses from nonoperating items.                Restricted Assets - Certain assets are restricted by the Division’s bond ordinances for
            Operating revenue and expenses generally result from providing services and producing                capital outlay. In addition, unspent bond proceeds and County capital improvement fees
            and delivering goods in connection with a proprietary fund’s principal ongoing                       are restricted for the construction of water collection and sewage disposal systems
            operations. The principal operating revenue of the Division’s proprietary fund relates to            projects. When an expense is incurred that allows the use of restricted assets (such as
            charges to customers for sales and services. Operating expenses for proprietary funds                bond debt principal and interest), those assets are applied before utilizing any
            include the cost of sales and services, administrative expenses, and depreciation on                 unrestricted assets.
            capital assets. All revenue and expenses not meeting this definition are reported as
                                                                                                                 In 2011, of the total restricted cash and cash equivalents of $4,592,588, $3,384,138 was
            nonoperating revenue and expenses.
                                                                                                                 restricted for construction and $1,208,450 was restricted for debt service. Of the total
            Bank Deposits and Investments - Cash and cash equivalents are considered to be                       restricted accounts receivable of $532,653, $264,688 was county capital improvement
            cash on hand, demand deposits, and short-term investments with a maturity of three                   fees restricted for construction and $267,965 was interest receivable from communities
            months or less when acquired. Investments are stated at fair value, based on quoted                  restricted for debt service. The total amount restricted due from other governmental
            market prices.                                                                                       units of $333,813 was restricted for construction.
            Short-term Financial Instruments - The fair value of short-term financial                            In 2012, there are no restrictions on cash.
            instruments, including cash and cash equivalents, trade accounts receivable and payable,
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                                                                                                                 Postemployment Benefits - In addition to the pension benefits described in Note 5,
            accrued receivables, and accrued liabilities, is equal to the carrying amounts in the
                                                                                                                 the Division provides postemployment health care, dental, and life insurance benefits
            accompanying basic financial statements due to the short maturity of such instruments.
                                                                                                                 after retirement through a contractual agreement. The Division is responsible for 100
            Receivables and Payables - Outstanding balances between funds are reported in the                    percent of the cost of postemployment benefits and funds these costs as they are
            basic financial statements as “internal balances.” All trade receivables are shown as net            incurred. Postemployment benefits for retired employees were $1,514,865 and
            of an allowance for uncollectible amounts.                                                           $1,426,481 for the years ended December 31, 2012 and 2011, respectively. The total
                                                                                                                 number of eligible retirees amounted to 82 and 83 individuals during December 31,
            Inventories - Inventories consist primarily of water meters and grinder pumps, valued
                                                                                                                 2012 and 2011, respectively.
            at cost, using the first-in, first-out method. The cost of supply inventory is recorded as
            an expense when consumed rather than when purchased.                                                 Compensated Absences - The Division’s employees are granted vacation leave bi-
                                                                                                                 annually based on length of service and 80 hours of personal leave each January 1. Upon
            Leases Receivable - Leases receivable consist of amounts due to the Division from
                                                                                                                 termination or resignation, employees are paid accumulated vacation at current salary
            various municipalities for construction activity. The Division constructs assets for various
                                                                                                                 rates. Upon retirement, employees are paid accumulated vacation and up to 112 hours
            municipalities under Act 342. Under this act, the County issues bonds and constructs
                                                                                                                 of personal leave at current salary rates. At December 31, 2012 and 2011, the Division
            assets on behalf of municipalities. These assets are then leased by the municipalities over
                                                                                                                 has recorded a liability of approximately $431,000 and $426,000, respectively, for
            the life of the bonds. Lease payments approximate the debt service requirements of the
                                                                                                                 accumulated vacation leave.
            associated bonds.
                                                                                                                 Unearned Leases - Unearned leases represent cash and investments and construction
            Local Unit Construction in Progress - Local unit construction in progress represents
                                                                                                                 in progress recorded on the Division’s books belonging to the municipalities
            construction of water and sewer distribution and collection systems performed by the
                                                                                                                 participating in the water collection and sewage disposal system.
            Division for local communities. The projects are recorded as an asset during the
            construction phase and are offset by an unearned lease. When the projects are                        Use of Estimates - The preparation of financial statements in conformity with
            substantially complete, the asset and unearned lease are removed from the basic                      accounting principles generally accepted in the United States of America requires
            financial statements and an asset is recorded by the local community.                                management to make estimates and assumptions that affect certain reported amounts
                                                                                                                 and disclosures. Accordingly, actual results could differ from those estimates.



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       Genesee County Drain Commissioner                                                                  Genesee County Drain Commissioner
       Division of Water and Waste Services                                                               Division of Water and Waste Services
                                                           Notes to Financial Statements                                                                     Notes to Financial Statements
                                                                     December 31, 2012                                                                                 December 31, 2012

       Note 1 - Summary of Significant Accounting Policies (Continued)                                    Note 2 - Deposits and Investments (Continued)
             Property, Plant, and Equipment - Additions to property, plant, and equipment are                  The Division has designated one bank for the deposit of its funds. The investment policy
             recorded at cost or, if donated, at their estimated fair value at the time of donation.           adopted by the board in accordance with Public Act 196 of 1997 has authorized
             Repairs and maintenance are recorded as expenses; renewals and betterments are                    investment in bonds and securities of the United States government and bank accounts
             capitalized. The sale or disposal of fixed assets is recorded by removing cost and                and CDs, but not the remainder of state statutory authority as listed above. The
             accumulated depreciation from the accounts and charging the resulting gain or loss to             Division's deposits and investment policies are in accordance with statutory authority.
             income. Depreciation has been calculated on each class of property using the straight-
                                                                                                               The Division's cash and investments are subject to custodial credit risk, which are
             line method based on the estimated useful lives of the assets, as follows:
                                                                                                               examined in more detail below:
             Land improvements and underground networks                                  25-100 years
                                                                                                               Custodial Credit Risk of Bank Deposits - Custodial credit risk is the risk that in the
             Buildings                                                                    10-50 years
                                                                                                               event of a bank failure, the Division's deposits may not be returned to it. The Division
             Machinery and equipment                                                       3-25 years
                                                                                                               does not have a deposit policy for custodial credit risk. At year end, the Division had
                                                                                                               $1,092,031 of bank deposits (certificates of deposit, checking, and savings accounts) that
             Comparative Data/Reclassifications - Comparative total data for the prior year has
                                                                                                               were uninsured and uncollateralized. The Division believes that due to the dollar
             been presented in the financial statements in order to provide an understanding of the
                                                                                                               amounts of cash deposits and the limits of FDIC insurance, it is impractical to insure all
             changes in the financial position and operations. Certain amounts presented in the prior
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                                                                                                               deposits. As a result, the Division evaluates each financial institution with which it
             year data have been reclassified in order to be consistent with the current year’s
                                                                                                               deposits funds and assesses the level of risk of each institution; only those institutions
             presentation.
                                                                                                               with an acceptable estimated risk level are used as depositories.
             Reporting Change - During the year, the Division adopted GASB Statement No. 63,
                                                                                                               The unlimited FDIC insurance program expired on December 31, 2012. Starting
             Financial Reporting of Deferred Outflows of Resources, Deferred Inflows of Resources, and
                                                                                                               January 1, 2013, the Division’s uninsured deposits increased significantly.
             Net Position. The statement incorporates deferred outflows of resources and deferred
             inflows of resources, as defined by GASB Concepts Statement No. 4, into the definitions
             of the required components of the residual measure of net position, formerly net assets.
             The statement also provides a new statement of net position format to report all assets,
             deferred outflows of resources, liabilities, deferred inflows of resources, and net
             position. The statement impacts the format and reporting of the balance sheet.
       Note 2 - Deposits and Investments
             Michigan Compiled Laws Section 129.91 (Public Act 20 of 1943, as amended) authorizes
             local governmental units to make deposits and invest in the accounts of federally insured
             banks, credit unions, and savings and loan associations that have offices in Michigan. The
             law also allows investments outside the state of Michigan when fully insured. The local
             unit is allowed to invest in bonds, securities, and other direct obligations of the United
             States or any agency or instrumentality of the United States; repurchase agreements;
             bankers’ acceptances of United States banks; commercial paper rated within the two
             highest classifications, which mature not more than 270 days after the date of purchase;
             obligations of the State of Michigan or its political subdivisions, which are rated as
             investment grade; and mutual funds composed of investment vehicles that are legal for
             direct investment by local units of government in Michigan.



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       Genesee County Drain Commissioner                                                                                                                    Genesee County Drain Commissioner
       Division of Water and Waste Services                                                                                                                 Division of Water and Waste Services
                                                                                  Notes to Financial Statements                                                                                                                                          Notes to Financial Statements
                                                                                            December 31, 2012                                                                                                                                                      December 31, 2012

       Note 3 - Capital Assets                                                                                                                              Note 3 - Capital Assets (Continued)
             Capital asset activity of the Division's proprietary fund type at December 31, 2012 was                                                              Construction Commitments - The Division has active construction projects at year
             as follows:                                                                                                                                          end. The projects include improvements and extensions to the water and sewage
                                                                                                                                             Balance              disposal systems. At year end, the Division's commitments with contractors are as
                                                            Balance                                                                        December 31,           follows:
                                                        January 1, 2012    Reclassifications*       Additions          Disposals               2012
              Enterprise Fund:                                                                                                                                                                                                                                                                                Remaining
                Capital assets not being depreciated:
                  Land                                  $       871,021    $            -   $                -     $            -   $           871,021
                                                                                                                                                                                                                                                                              Spent to Date                  Commitment
                  Construction in progress                   86,046,793        (36,835,568)           8,097,276         (2,399,999)          54,908,502
                                                                                                                                                                   Interceptor and treatment facilities                                                                       $ 35,147,898 $                         544,915
                           Subtotal                          86,917,814        (36,835,568)           8,097,276         (2,399,999)          55,779,523            Sewage disposal system - District No. 3                                                                       1,835,728                            10,541
                Capital assets being depreciated:                                                                                                                  Sewage disposal system - District No. 7                                                                          24,394                            20,075
                 Distribution and collections system        278,985,859         29,806,472            1,895,257                    -        310,687,588
                 Buildings and equipment                      5,419,064          7,045,346              435,029                    -         12,899,439            Water supply system                                                                                           4,001,252                         2,193,395
                 Vehicles                                       382,261                 -                    -                     -            382,261
                                                                                                                                                                                                            Total                                                             $ 41,009,272 $                       2,768,926
                           Subtotal                         284,787,184         36,851,818            2,330,286                    -        323,969,288

                Accumulated depreciation:                                                                                                                   Note 4 - Long-term Debt
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                  Distribution and collections system       (48,921,258)                    -        (6,327,670)                   -         (55,248,928)
                  Buildings and equipment                    (3,423,902)                    -          (406,918)                   -          (3,830,820)
                  Vehicles                                     (254,852)                    -          (114,514)                   -            (369,366)
                                                                                                                                                                  The Division issues bonds to provide for the construction of water and waste systems in
                                                                                                                                                                  Genesee County and certain areas in surrounding counties. General obligation bonds
                           Subtotal                         (52,600,012)                    -        (6,849,102)                   -         (59,449,114)
                                                                                                                                                                  are direct obligations and pledge the full faith and credit of the Division. Revenue bonds
              Net capital assets being depreciated          232,187,172         36,851,818           (4,518,816)                   -        264,520,174           involve a pledge of specific income derived from the acquired or constructed assets to
              Net capital assets                        $ 319,104,986      $         16,250     $     3,578,460    $    (2,399,999) $ 320,299,697                 pay debt service and require certain financial covenants to be met.
                                                                                                                                                                  Long-term debt activity for the year ended December 31, 2012 can be summarized as
                                                                                                                                         Balance
                                                            Balance                                                                    December 31,               follows:
                                                        January 1, 2012    Reclassifications        Additions          Disposals           2012                                                                                              Principal
              Internal Service Funds:                                                                                                                                                                        Number of    Interest Rate      Maturity       Beginning                                          Ending           Due Within
                                                                                                                                                                                                               Issues        Ranges           Ranges        Balance *         Additions      Reductions       Balance *          One Year
                Capital assets not being depreciated -
                    Construction in progress           $         16,250    $       (16,250) $               -      $           -       $            -
                Capital assets being depreciated -                                                                                                                 Genesee County Drain Commissioner
                                                                                                                                                                     bonds payable:
                   Buildings and equipment                    8,628,852                 -              229,743           (352,730)            8,505,865                 Interceptor and treatment
                                                                                                                                                                           facilities                           13       1.625%-5.00%          2031      $ 99,311,556     $    3,388,570   $ (6,180,000)    $ 96,520,126    $     6,310,000
                Accumulated depreciation - Buildings                                                                                                                  District No. 3                            2          2.50%-4.50%         2030         6,430,000                -         (270,000)       6,160,000            285,000
                  and improvements                           (5,797,381)                -             (461,288)           352,730            (5,905,939)              Water supply system                       4         2.50%-5.125%         2033        40,245,000                -       (1,260,000)      38,985,000          1,310,000


              Net capital assets being depreciated            2,831,471                 -             (231,545)                -              2,599,926                          Subtotal                                                                  145,986,556         3,388,570      (7,710,000)    141,665,126          7,905,000

              Net capital assets                              2,847,721            (16,250)           (231,545)                -              2,599,926            Community-related bonds payable:
                                                                                                                                                                     Interceptor and treatment facilities       2        4.00%-4.35%           2026          5,235,000               -          (375,000)      4,860,000            390,000
                                                                                                                                                                     District No. 3                             6        2.50%-7.375%          2024         25,355,000               -        (2,415,000)     22,940,000          2,510,000
              Total proprietary funds capital assets    $ 321,952,707      $            -       $    3,346,915     $   (2,399,999) $ 322,899,623                     Water supply system                        1             2.50             2031            903,516            29,999         (34,250)        899,265             40,000

                                                                                                                                                                                 Subtotal                                                                   31,493,516            29,999      (2,824,250)     28,699,265          2,940,000
             * $16,250 in renovations on an office building were originally recorded as construction in progress in the Internal Service Fund.
                                                                                                                                                                                                                                                         $ 177,480,072    $    3,418,569   $ (10,534,250)   $ 170,364,391   $ 10,845,000
               Subsequent to completion, the amount was reclassed from the Internal Service Fund to the Enterprise Fund.                                                         Total bonds payable



                                                                                                                                                                  * Long-term debt balance excludes bond discount/premium of $318,505 and $332,027 at December 31, 2012 and 2011, respectively.




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       Genesee County Drain Commissioner                                                                          Genesee County Drain Commissioner
       Division of Water and Waste Services                                                                       Division of Water and Waste Services
                                                              Notes to Financial Statements                                                                                  Notes to Financial Statements
                                                                        December 31, 2012                                                                                              December 31, 2012

       Note 4 - Long-term Debt (Continued)                                                                        Note 5 - Defined Benefit Pension Plan (Continued)
             Total interest expense for the year was approximately $5.8 million, of which                               Funding Policy - The County’s funding policy provides for periodic employer
             approximately $1.5 million was capitalized as part of construction in progress. Annual                     contributions at actuarially determined rates that, expressed as percentages of annual
             debt service requirements to maturity for the above obligations are as follows:                            covered payroll, are designed to accumulate sufficient assets to pay benefits when due.
                                                                                                                        The normal cost is determined using an attained age actuarial funding method.
                                                                          Business-type Activities
               Years Ending                                                                                             Annual Pension Cost - For the years ended December 31, 2012 and 2011, the
               December 31                                    Principal           Interest            Total             Division's annual pension cost of $1,531,645 and $1,763,782, respectively, was equal to
                   2013                                   $   10,845,000 $         5,654,333 $       16,499,333         the Division's required and actual contribution. The annual required contributions were
                   2014                                       11,180,000           5,317,264         16,497,264         determined as part of the actuarial valuations at December 31, 2010 and December 31,
                   2015                                       11,540,000           4,966,431         16,506,431         2009 using the individual entry age actuarial cost method.
                   2016                                       11,645,000           4,604,434         16,249,434
                                                                                                                        Actuarial Methods and Assumptions - In the December 31, 2011 actuarial valuation,
                   2017                                       10,830,000           4,250,159         15,080,159
                 2018-2022                                    48,350,000          16,663,484         65,013,484
                                                                                                                        the individual entry age actuarial cost method was used. Significant actuarial assumptions
                 2023-2027                                    46,570,000           8,859,989         55,429,989         used include (a) a rate of return on the investment of present and future assets of 8.00
                 2028-2032                                    17,869,391           2,250,274         20,119,665         percent per year compounded annually and (b) projected salary increases of 3.00
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                   2033                                        1,535,000              75,406          1,610,406         percent to 7.03 percent per year compounded annually. Both (a) and (b) included an
                                                                                                                        inflation component of 3.00 percent. The actuarial value of the Division’s assets was
                         Total                            $ 170,364,391 $         52,641,774 $ 223,006,165              determined using techniques that smooth the effects of short-term volatility in the
                                                                                                                        market value of investments over a four-year period. The Division’s unfunded actuarial
             Future Revenue Pledged for Debt Payment                                                                    accrued liability is being amortized as a level percentage of projected payroll on an open
             Revenue Bond - The Division has pledged substantially all revenue, net of operating                        basis, with the remaining amortization period of 25 years at December 31, 2011.
             expenses, to repay the above Genesee County Drain Commissioner water and sewer                             Schedule of Funding Progress
             revenue bonds. Proceeds from the bonds provided financing for the construction of the
                                                                                                                                      Actuarial       Actuarial                     Funded                  UAAL as a
             water and waste systems described above. The bonds are payable solely from the net
                                                                                                                        Actuarial     Value of        Accrued         Unfunded       Ratio     Covered     Percentage of
             revenue of the water and sewer system. The remaining principal and interest to be paid
                                                                                                                        Valuation      Assets      Liability (AAL)   AAL (UAAL)    (Percent)    Payroll      Covered
             on the bonds total $115,370,449. During the current year, net revenue of the system                          Date           (a)              (b)           (b-a)        (a/b)        (c)         Payroll
             was $12,895,721 compared to the annual debt requirements of $7,623,037.
                                                                                                                        12/31/06    $ 37,578,528   $ 42,770,145      $ 5,191,617      87.9 % $ 8,245,848        63.0 %
       Note 5 - Defined Benefit Pension Plan                                                                            12/31/07      38,979,791     44,748,462        5,768,671      87.1     7,823,724        73.7
                                                                                                                        12/31/08      37,329,643     46,855,482        9,525,839      79.7     8,420,060       113.1
             Plan Description - The Division participates in the Genesee County Employees'                              12/31/09      36,627,952     49,055,966       12,428,014      74.7     8,130,143       152.9
             Retirement System (GCERS), which is a contributory agent multiple-employer defined                         12/31/10      35,600,950     50,285,901       14,684,951      70.8     7,610,890       192.9
             benefit plan for pension and disability benefits that covers substantially all employees of                12/31/11      32,632,128     48,896,200       16,264,072      66.7     7,312,770       222.4
             Genesee County. Each employer has the ability to negotiate and/or establish benefits
             through personal policies. The authority to establish and amend the benefit provisions of
             the plan is governed by Act No. 156, Public Acts of 1851, as amended by the State of
             Michigan. GCERS issues a publicly available financial report that includes financial
             statements and required supplemental information for the Division. That report may be
             obtained by writing to Genesee County Employees’ Retirement System, 1101 Beach,
             Flint, MI 48502 or by calling 1-800-949-2627.


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       Genesee County Drain Commissioner                                                                           Genesee County Drain Commissioner
       Division of Water and Waste Services                                                                        Division of Water and Waste Services
                                                               Notes to Financial Statements                                                                           Notes to Financial Statements
                                                                         December 31, 2012                                                                                       December 31, 2012

       Note 5 - Defined Benefit Pension Plan (Continued)                                                           Note 6 - Other Postemployment Benefits (Continued)
             Schedule of Employer Contributions                                                                         Funding Progress - For the year ended December 31, 2012, the Division has
                                               Contribution
                                                                                                                        estimated the cost of providing retiree healthcare benefits through an actuarial valuation
                                                  Rate as                                                               as of December 31, 2010. The valuation computes an annual required contribution,
                                   Actuarial   Percentage of                          Actual       Percentage of        which represents a level of funding that, if paid on an ongoing basis, is projected to cover
                                   Valuation     Valuation     Annual Pension        Reported          ARC              normal cost each year and amortize any unfunded actuarial liabilities over a period not
              Fiscal Year Ended      Date         Payroll       Cost (APC)          Contribution    Contributed         to exceed 30 years. This valuation’s computed contribution and actual funding are
                                                                                                                        summarized as follows:
                  12/31/10         12/31/08         17.76 % $      1,744,861    $      1,744,861          100 %
                  12/31/11         12/31/09         18.81          1,763,782           1,763,782          100                                                                            2012             2011
                  12/31/12         12/31/10         16.62          1,531,645           1,531,645          100
                                                                                                                         Annual required contribution (recommended)                $    3,818,480 $      3,933,831
       Note 6 - Other Postemployment Benefits                                                                            Interest on the prior year's net OPEB obligation                 230,108          127,528
                                                                                                                         Less adjustment to the annual required contribution             (101,338)         (78,511)
             Plan Description - The Division provides retiree health care, dental, life, and vision
             benefits to eligible employees and their spouses and dependents through the Municipal                                Annual OPEB cost                                      3,947,250        3,982,848
             Employees' Retirement System. This is an agent multiple-employer defined benefit plan
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                                                                                                                         Amounts contributed:
             administered by the Division. The benefits are provided under collective bargaining                           Payments of current premiums                                (1,523,879)      (1,337,004)
             agreements.
                                                                                                                           Advance funding                                             (2,500,000)         (81,360)
             Funding Policy - The collective bargaining agreements do not require employee
                                                                                                                                  Total contributions                                  (4,023,879)      (1,418,364)
             contributions. The Division has no obligation to make contributions in advance of when
             the insurance premiums are due for payment (in other words, this may be financed on a                                (Decrease) increase in net OPEB obligation              (77,629)       2,564,484
             “pay-as-you-go” basis). However, as shown below, the Division has made contributions
                                                                                                                         OPEB obligation - Beginning of year                            5,752,695        3,188,211
             to advance-fund these benefits, as determined by the Division.
                                                                                                                         OPEB obligation - End of year                             $    5,675,066 $      5,752,695

                                                                                                                        The net OPEB obligation is recorded in the basic financial statements as part of
                                                                                                                        noncurrent liabilities.
                                                                                                                        The annual OPEB costs, the percentage contributed to the plan, and the net OPEB
                                                                                                                        obligation for the current and preceding year were as follows:
                                                                                                                                                                       Annual OPEB     Percentage      Net OPEB
                                                                                                                        Fiscal Year Ended                                 Costs        Contributed     Obligation
                                                                                                                            12/31/10                                   $   2,641,753       55.87 % $     3,188,211
                                                                                                                            12/31/11                                       3,982,848       35.61         5,752,695
                                                                                                                            12/31/12                                       3,947,250      101.94         5,676,066

                                                                                                                        The Division approved a prefunding plan in 2012 and remitted $2.5 million to the trust
                                                                                                                        during the year. Going forward, $1.2 million will be remitted to the trust per year until
                                                                                                                        the liability is funded.


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       Genesee County Drain Commissioner                                                                                    Genesee County Drain Commissioner
       Division of Water and Waste Services                                                                                 Division of Water and Waste Services
                                                                         Notes to Financial Statements                                                                         Notes to Financial Statements
                                                                                   December 31, 2012                                                                                     December 31, 2012

       Note 6 - Other Postemployment Benefits (Continued)                                                                   Note 7 - Risk Management
            The funding progress of the plan is as follows:                                                                      The Division is exposed to various risks of loss related to property loss, torts, errors
                             Actuarial         Actuarial                                                     UAAL as a
                                                                                                                                 and omissions, and employee injuries (workers' compensation), as well as medical
             Actuarial       Value of          Accrued         Unfunded        Funded Ratio    Covered      Percentage of        benefits provided to employees. The Division is partially self-insured for medical benefits
             Valuation        Assets        Liability (AAL)   AAL (UAAL)         (Percent)      Payroll       Covered            and has purchased commercial insurance for the remaining medical benefits and other
               Date             (a)                (b)           (b-a)             (a/b)          (c)          Payroll           risks of loss. Settled claims relating to the commercial insurance have not exceeded the
                                                                                                                                 amount of insurance coverage in any of the past three fiscal years.
             12/31/08    $          -       $ 35,394,879      $ 35,394,879              -  $ 8,420,060          420.36 %
             12/31/10               -         51,474,408        51,474,408              -    7,610,890          676.33           The Division estimates the liability for medical claims that have been incurred through
              9/30/12        2,333,369        37,819,976        35,486,607          6.17 %   7,312,770          485.27           the end of the fiscal year, including claims that have been reported as well as those that
                                                                                                                                 have not yet been reported. The liability is included with accounts payable and other
            The schedule of employer contributions is as follows:                                                                accrued expenses in the statement of net position. Changes in the estimated liability for
                                                                                                          Contribution           the past two fiscal years were as follows:
                                                                           Annual                            Rate as
                                                                                                                                                                                                2012             2011
                                                                          Required       Percentage of    Percentage of
                                                                         Contribution        ARC            Valuation             Unpaid claims - Beginning of year                        $      290,676 $       261,162
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              Fiscal Year Ended          Actuarial Valuation Date          (ARC)          Contributed        Payroll
                                                                                                                                  Incurred claims, including claims incurred but not
                  12/31/10                      12/31/08             $       2,641,753         55.87 %         32.43 %               reported                                                   2,208,189        2,559,231
                  12/31/11                      12/31/10                     3,982,848         35.61           50.59                                                                           (2,038,825)      (2,529,717)
                  12/31/12                      12/31/10                     3,947,250        101.94           50.59
                                                                                                                                  Claim payments
                                                                                                                                  Unpaid claims - End of year                              $      460,040 $       290,676
            Actuarial Methods and Assumptions - Actuarial valuations of an ongoing plan involve
            estimates of the value of reported amounts and assumptions about the probability of                             Note 8 - Upcoming Accounting Pronouncements
            occurrence of events far into the future. Examples include assumptions about future
            employment, mortality, and the healthcare cost trend. Amounts determined regarding                                   In March 2012, the GASB issued Statement No. 65, Items Previously Reported as Assets
            the funded status of the plan and the annual required contributions of the employer are                              and Liabilities, which is required to be implemented for financial statements for periods
            subject to continual revision as actual results are compared with past expectations and                              beginning after December 15, 2012. Statement No. 65 establishes accounting and
            new estimates are made about the future.                                                                             financial reporting standards that reclassify, as deferred outflows and inflows of
                                                                                                                                 resources, certain items that were previously reported as assets and liabilities. This
            Projections of benefits for financial reporting purposes are based on the substantive plan                           statement also provides other financial reporting guidance related to the impact of the
            (the plan as understood by the employer and the plan members) and include the types                                  financial statement elements deferred outflows of resources and deferred inflows of
            of benefits provided at the time of each valuation and the historical pattern of sharing of                          resources. Statement No. 65 will be implemented for the Division as of December 31,
            benefit costs between the employer and plan members to that point. The actuarial                                     2013.
            methods and assumptions used include techniques that are designed to reduce the
            effects of short-term volatility in actuarial accrued liabilities and the actuarial value of
            assets, consistent with the long-term perspective of the calculations.
            In the December 31, 2010 actuarial valuation, the individual entry age actuarial cost
            method was used. The actuarial assumptions included a 4.0 percent investment rate of
            return (net of administrative expenses) and an annual healthcare cost trend rate of 5.0
            percent. The UAAL is being amortized as a level percentage of projected payroll over
            30 years.

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       Genesee County Drain Commissioner
       Division of Water and Waste Services
                                                          Notes to Financial Statements
                                                                    December 31, 2012

       Note 8 - Upcoming Accounting Pronouncements (Continued)
            In June 2012, the GASB issued two new pension standards, GASB Statement No. 67,
            Financial Reporting for Pension Plans, and No. 68, Accounting and Financial Reporting for
            Pensions. These new standards significantly revise the current accounting and reporting
            for pensions, both from an employer perspective as well as from a plan perspective.
            Employers providing defined benefit pensions to its employees must now, under these
            new standards, recognize their unfunded pension benefit obligation as a liability for the
            first time, and to more comprehensively and comparably measure the annual costs of
            pension benefits. This net pension liability that will be recorded on the government-
            wide, proprietary, and discretely presented component units statements will be
            computed differently than the current unfunded actuarial accrued liability, using specific
            parameters set forth by the GASB. The statement also enhances accountability and                 Supplemental Information
            transparency through revised and expanded note disclosures and required supplemental
            information (RSI). Statement No. 67 is required to be adopted for December 31, 2013
            and Statement No. 68 one year later.
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       Genesee County Drain Commissioner                                                                                                                                         Genesee County Drain Commissioner
       Division of Water and Waste Services                                                                                                                                      Division of Water and Waste Services
                                                 Statement of Net Position - Proprietary Fund Types                                                                                             Statement of Revenue, Expenses, and Changes in Net Position
                                                                                                                                                                                                                        (Divisional Detail) - Enterprise Fund
                                                                                                                                                               December 31,
                                                                                                   December 31, 2012                                                 2011
                                                                                                                                                                                                                                                                                                                                       December 31,
                                                                                     Sewage Disposal Systems                                                                                                                                                             December 31, 2012                                                   2011
                                                            Interceptor and
                                                                                                                                                                                                                                                          Sewage Disposal Systems
                                                                Treatment                                                    Water Supply
                                                                                                                                                                                                                                Interceptor and
                                                                Facilities        District No. 3        District No. 7         Systems            Total             Total
                                                                                                                                                                                                                                    Treatment                                                      Water Supply
                                                                                                                                                                                                                                    Facilities         District No. 3         District No. 7         Systems             Total              Total
       Assets
          Current assets:
              Cash and cash equivalents                     $     3,364,946   $         269,995     $          80,105    $      9,081,769    $    12,796,815   $    11,382,843   Operating Revenue
              Accounts receivable                                 5,062,899             314,269               154,197           3,281,093          8,812,458         8,253,909     Charges for sales and service:
              Current portion of leases receivable                  390,000           2,510,000                   -                40,000          2,940,000         2,825,000         Sale of water                            $           -      $             -        $             -      $     23,104,124     $    23,104,124    $    21,697,903
              Due from other governmental units                         -                   -                     -                   -                  -               2,000         Sewage disposal charges                       22,785,153            3,201,467                721,602                 -            26,708,222         26,028,846
              Inventory                                                 -                   -                     -                75,625             75,625            52,658         Billing services                                 146,171                  -                      -                   -               146,171                -
              Prepaid expenses                                      236,811              39,375                 5,419             211,661            493,266             5,389         Water meter sales                                    -                    -                      -                46,694              46,694             64,662
              Other assets                                              -                   -                     -                93,000             93,000            30,000     Sewer and pumping station - Operation and
                                                                                                                                                                                       maintenance                                    1,197,219                  -                      -                   -             1,197,219          1,197,219
                                                                                                                                                                                   Other operating revenue                              484,869              162,795                  1,447             709,227           1,358,338            880,452
                             Total current assets                 9,054,656           3,133,639               239,721          12,783,148         25,211,164        22,551,799

          Noncurrent assets:                                                                                                                                                                    Total operating revenue              24,613,412            3,364,262                723,049          23,860,045          52,560,768         49,869,082
            Restricted cash and cash equivalents                        -                   -                      -                  -                 -            4,592,588
            Restricted accounts receivable                           33,615             203,770                    -                5,623           243,008            532,653   Operating Expenses
            Restricted - Due from other                                                                                                                                            Cost of water                                            -                    -                      -            11,779,406          11,779,406         12,947,738
                governmental units                                       -              300,325                    -                     -          300,325           333,813      Sludge disposal service                              986,087              242,175                    -                   -             1,228,262          1,098,897
            Leases receivable - Net of current                                                                                                                                     Cost of insurance claims and expenses                125,273               29,052                  4,608             118,481             277,414            237,060
                portion                                           4,470,000          20,430,000                    -              859,265         25,759,265        28,668,516     Repairs and maintenance                            1,383,070              299,042                172,738             459,761           2,314,611          2,367,433
            Local unit construction in progress                         -                   -                      -              156,500            156,500         1,413,161     Personnel services                                 8,915,314            1,590,428                227,729           4,474,345          15,207,816         16,672,169
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            Capital assets:                                                                                                                                                        Other supplies and expenses                          665,619               44,321                 30,610             255,244             995,794          1,033,489
                Assets not subject to depreciation               52,813,000             604,823                  1,415          2,360,285         55,779,523        86,917,814     Contractual services                               3,437,616              129,178                 26,770           1,026,699           4,620,263            622,620
                Assets subject to depreciation - Net                                                                                                                               Utilities                                          2,196,573              389,106                145,146             510,656           3,241,481          4,288,957
                    of depreciation                             172,348,963          28,322,095               414,484          63,434,632        264,520,174       232,187,172     Depreciation                                       4,258,784              717,785                 22,722           1,849,811           6,849,102          6,142,303
            Unamortized bond issuance costs                         657,879              21,169                   -                   -              679,048           756,622
                                                                                                                                                                                                Total operating expenses             21,968,336            3,441,087                630,323          20,474,403          46,514,149         45,410,666
                             Total noncurrent assets            230,323,457          49,882,182               415,899          66,816,305        347,437,843       355,402,339
                                                                                                                                                                                 Operating Income (Loss)                              2,645,076              (76,825)                92,726           3,385,642           6,046,619          4,458,416
                             Total assets                       239,378,113          53,015,821               655,620          79,599,453        372,649,007       377,954,138
                                                                                                                                                                                 Nonoperating Revenue (Expenses)
                                                                                                                                                                                   Community bond interest income                       207,194            1,031,715                    -                 24,227          1,263,136          1,356,456
       Liabilities                                                                                                                                                                 Community bond interest expense                     (207,194)          (1,031,715)                   -                (24,227)        (1,263,136)        (1,356,456)
          Current liabilities:                                                                                                                                                     Miscellaneous income                                 250,899                  -                      -                679,155            930,054            635,689
               Accounts payable and accrued expenses              2,017,833             240,188                22,066           2,751,300          5,031,387         4,228,728     Miscellaneous expense                                (45,582)                 -                      -                    -              (45,582)          (158,115)
               Due to other governmental units                      241,300                 -                     -                   -              241,300           237,310     Capital interest and fee expense                  (1,060,572)            (222,242)                   -             (1,821,043)        (3,103,857)        (2,910,570)
               Internal balances                                        -                   -                     -                   -                  -              26,185     Investment income                                     13,622                1,102                    145               28,348             43,217             33,575
               Due to State of Michigan                             149,998                 -                     -                   -              149,998               -
               Current portion of long-term debt                  6,700,000           2,795,000                   -             1,350,000         10,845,000        10,360,000
                                                                                                                                                                                                Total nonoperating (expense)
                                                                                                                                                                                                   revenue                             (841,633)            (221,140)                   145           (1,113,540)        (2,176,168)        (2,399,421)
                             Total current liabilities            9,109,131           3,035,188                22,066           4,101,300         16,267,685        14,852,223
                                                                                                                                                                                 Income (Loss) - Before capital contributions
          Noncurrent liabilities:                                                                                                                                                   and operating transfers                           1,803,443             (297,965)                92,871           2,272,102           3,870,451          2,058,995
            Liabilities related to restricted assets                 33,615             203,770                    -                5,623           243,008          3,509,475
            Unearned leases                                             -                   -                      -              156,500           156,500          1,524,185                                                          218,434              289,991                     -            1,111,693           1,620,118           268,228
                                                                                                                                                                                 Capital Contributions
            Other postemployment benefit
                obligation                                        3,483,846             553,652                94,518           1,544,050          5,676,066         5,752,695   Transfers In                                        41,889,990            1,759,884                  1,138           1,981,121          45,632,133         37,559,040
            Long-term debt - Net of current portion              94,808,826          26,328,956                   -            38,700,114        159,837,896       167,452,099
                                                                                                                                                                                 Transfers Out                                      (41,835,356)          (1,751,915)                    -            (1,931,040)       (45,518,311)       (37,662,791)
                             Total noncurrent liabilities        98,326,287          27,086,378                94,518          40,406,287        165,913,470       178,238,454
                                                                                                                                                                                 Increase (Decrease) in Net Position                  2,076,511                    (5)               94,009           3,433,876           5,604,391          2,223,472
                             Total liabilities                  107,435,418          30,121,566               116,584          44,507,587        182,181,155       193,090,677                                                      129,866,184           22,894,260                445,027          31,657,990         184,863,461        182,639,989
                                                                                                                                                                                 Net Position - Beginning of year
       Equity - Net position                                                                                                                                                     Net Position - End of year                     $ 131,942,695      $ 22,894,255           $        539,036     $ 35,091,866         $ 190,467,852      $ 184,863,461
          Invested in capital assets - Net of related
              debt                                              129,171,016          22,764,131               415,899          26,644,068        178,995,114       175,813,604
          Restricted                                                    -                   -                     -             3,098,052          3,098,052         3,098,052
          Unrestricted                                            2,771,679             130,124               123,137           5,349,746          8,374,686         5,951,805

                             Total net position             $ 131,942,695     $ 22,894,255          $        539,036     $ 35,091,866        $ 190,467,852     $ 184,863,461




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       Genesee County Drain Commissioner                                                                                                                                           Genesee County Drain Commissioner
       Division of Water and Waste Services                                                                                                                                        Division of Water and Waste Services
                      Statement of Cash Flows (Divisional Detail) - Enterprise Fund                                                                                                                                       Statement of Net Position - Internal Service Funds

                                                                                                                                                                December 31,                                                                                                                     December 31,
                                                                                                 December 31, 2012                                                   2011                                                                                    December 31, 2012                       2011
                                                                                   Sewage Disposal Systems                                                                                                                                     Equipment Fund Insurance Fund         Total          Total
                                                         Interceptor and
                                                             Treatment                                                      Water Supply                                           Assets
                                                             Facilities         District No. 3        District No. 7          Systems             Total              Total           Current assets:
        Cash Flows from Operating Activities                                                                                                                                            Cash and cash equivalents                              $    1,138,432   $      1,150     $   1,139,582   $   1,997,951
           Receipts from customers                       $    24,357,589    $       3,349,295     $         689,402     $     23,682,934     $   52,079,220     $   52,060,797          Accounts receivable                                                -              -                 -            1,998
           Payments to suppliers and others for goods                                                                                                                                   Prepaid expenses                                                   -              -                 -           81,689
              and services                                    (9,209,198)          (1,281,626)             (393,676)          (14,659,557)       (25,544,057)       (28,444,732)
           Payments for salaries and employee benefits        (8,551,259)          (1,590,520)             (251,767)           (4,377,908)       (14,771,454)        (9,449,173)                      Total current assets                          1,138,432          1,150         1,139,582       2,081,638

                      Net cash provided by operating                                                                                                                                  Noncurrent assets - Capital assets - Assets subject to
                         activities                            6,597,132              477,149                43,959            4,645,469         11,763,709         14,166,892          depreciation - Net of depreciation                          2,599,926            -           2,599,926       2,847,721
        Cash Flows from Capital and Related                                                                                                                                                           Total assets                                  3,738,358          1,150         3,739,508       4,929,359
           Financing Activities
              Purchases of capital assets                     (5,813,739)            (132,755)                (5,660)          (2,770,323)        (8,722,477)       (17,461,991)   Liabilities - Current liabilities
              Contribution from local units for
                                                                                                                                                                                      Accounts payable and accrued expenses                               322          1,150             1,472         594,440
                  construction                                       -                     -                     -                   -                  -            1,219,720
              County capital improvement fees                    250,899                   -                     -               717,320            968,219            630,783        Internal balances                                                    -              -                 -          (26,185)
              Collections of leases receivable from
                  municipalities                                 581,769            3,444,824                   -                   4,251          4,030,844          4,014,604                       Total liabilities                                  322           1,150             1,472         568,255
              Proceeds from issuance of bonded debt            3,388,570                  -                     -                  29,999          3,418,569         24,872,946
              Principal paid on bond maturities               (6,555,000)          (2,685,000)                  -              (1,294,250)       (10,534,250)       (17,708,000)   Equity - Net position
              Interest paid on bonds                          (1,282,408)          (1,254,377)                  -              (1,834,380)        (4,371,165)        (4,277,392)     Invested in capital assets - Net of related debt               2,599,926            -           2,599,926       2,847,721
              Operating transfer                                  54,634                7,969                 1,138                50,081            113,822           (103,751)
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                                                                                                                                                                                     Unrestricted                                                   1,138,110            -           1,138,110       1,513,383
                      Net cash used in capital and                                                                                                                                                                                             $    3,738,036   $        -       $   3,738,036   $   4,361,104
                         related financing activities         (9,375,275)            (619,339)                (4,522)          (5,097,302)       (15,096,438)        (8,813,081)                      Total net position

        Cash Flows from Investing Activities -
           Investment income                                      16,161                1,102                   145              136,705            154,113             54,705

        Net (Decrease) Increase in Cash and Cash
          Equivalents                                         (2,761,982)            (141,088)               39,582             (315,128)         (3,178,616)        5,408,516

        Cash and Cash Equivalents - Beginning of
           year                                                6,126,928              411,083                40,523            9,396,897         15,975,431         10,566,915

        Cash and Cash Equivalents - End of year          $    3,364,946     $        269,995      $         80,105      $     9,081,769      $ 12,796,815       $ 15,975,431

        Balance Sheet Classification of Cash and
           Cash Equivalents
              Cash and investments                       $     3,364,946    $         269,995     $          80,105     $      9,081,769     $   12,796,815     $   11,382,843
              Restricted cash and cash equivalents                   -                    -                     -                    -                  -            4,592,588


                      Total cash and cash equivalents    $    3,364,946     $        269,995      $         80,105      $     9,081,769      $ 12,796,815       $ 15,975,431

        Reconciliation of Operating Income (Loss)
           to Net Cash from Operating Activities
              Operating income (loss)                    $     2,645,076    $         (76,825)    $          92,726     $      3,385,642     $    6,046,619     $    4,458,416
              Depreciation                                     4,258,784              717,785                22,722            1,849,811          6,849,102          6,142,303
              Write-off of construction in progress            2,369,806                  -                     -                    -            2,369,806                -
              Changes in assets and liabilities:
                  Receivables                                   (398,295)             289,034               (33,269)            (315,115)           (457,645)        2,122,207
                  Inventories                                        -                    -                     -                (22,967)            (22,967)           (9,359)
                  Prepaid and other assets                      (235,536)             (39,200)               (5,268)            (270,873)           (550,877)          (34,320)
                  Accounts payable                            (2,549,230)            (109,552)                  -               (215,470)         (2,874,252)        1,418,138
                  Due to (from) other governmental
                      units - Units                              155,998              (41,794)              (32,574)            (111,922)           (30,292)            71,318
                  Accrued and other liabilities                  364,055                  (92)                  -                 96,437            460,400                -
                  Internal balances                              (13,526)            (262,207)                 (378)             249,926            (26,185)            (1,811)

                      Net cash provided by operating
                         activities                      $    6,597,132     $        477,149      $         43,959      $     4,645,469      $ 11,763,709       $ 14,166,892


       Noncash Investing, Capital, and Financing Activities - During the year ended December 31, 2012, the Enterprise Fund had $1,111,693 and $508,425
       contributed to the water and sewer systems by local communities and a grant, respectively.



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       Genesee County Drain Commissioner                                                                                   Genesee County Drain Commissioner
       Division of Water and Waste Services                                                                                Division of Water and Waste Services
                  Statement of Revenue, Expenses, and Changes in Net Position                                                                                    Statement of Cash Flows - Internal Service Funds
                                                       Internal Service Funds
                                                                                                                                                                                                                                                  December 31,
                                                                                                           December 31,                                                                                      December 31, 2012                        2011
                                                                      December 31, 2012                        2011                                                                            Equipment Fund Insurance Fund         Total           Total
                                                    Equipment Fund      Insurance Fund                                     Cash Flows from Operating Activities
                                                                                                                             Receipts from customers                                           $       26,185 $         1,998 $         28,183 $       4,587,106
                                                      Combined            Combined            Total            Total         Payments to suppliers and others for goods and services                  (67,339)       (228,534)        (295,873)       (3,681,895)
       Operating Revenue                                                                                                                 Net cash (used in) provided by operating activities          (41,154)       (226,536)        (267,690)         905,211
         Other operating revenue                    $          -       $          -       $           -    $     152,453
         Billing to Enterprise Fund                            -                  -                   -        4,400,159   Cash Flows from Capital and Related Financing Activities
                                                                                                                             Purchase of capital assets                                              (476,857)             -          (476,857)        (533,625)
                    Total operating revenue                    -                  -                   -        4,552,612     Operating transfer                                                       (16,250)        (97,572)        (113,822)         103,751
       Operating Expenses                                                                                                                Net cash used in capital and related financing
         Cost of insurance claims and expenses                  -                 -                  -         3,767,859                   activities                                                (493,107)        (97,572)        (590,679)        (429,874)
         Repairs and maintenance                            65,905                -              65,905               -
         Other supplies and expenses                            -                 -                  -            10,628   Cash Flows from Investing Activities - Investment income                       -               -                  -            1,852
         Depreciation                                      461,288                -             461,288          394,212
                                                                                                                           Net (Decrease) Increase in Cash and Cash Equivalents                      (534,261)       (324,108)        (858,369)         477,189
                    Total operating expenses               527,193                -             527,193        4,172,699
                                                                                                                           Cash and Cash Equivalents - Beginning of year                            1,672,693         325,258        1,997,951        1,520,762
       Operating (Loss) Income                            (527,193)               -            (527,193)         379,913                                                                       $    1,138,432    $     1,150     $   1,139,582    $   1,997,951
                                                                                                                           Cash and Cash Equivalents - End of year
       Nonoperating Revenue                                                                                                                                                                    $    1,138,432    $     1,150     $   1,139,582    $          -
                                                                                                                           Balance Sheet Classification of Cash and Cash Equivalents
         Miscellaneous expense                              (1,756)               -              (1,756)              -
         Investment income                                      -                 -                  -             1,852
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                                                                                                                           Reconciliation of Operating (Loss) Income to Net Cash
         Gain on sale of assets                             19,703                -              19,703               -      from Operating Activities
                                                                                                                                Operating (loss) income                                        $     (527,193) $          -      $    (527,193) $       379,913
                    Total nonoperating revenue              17,947                -              17,947            1,852
                                                                                                                                Depreciation                                                          461,288             -            461,288          394,212
                                                                                                                                Changes in assets and liabilities:
       (Loss) Income - Before operating transfers         (509,246)               -            (509,246)         381,765
                                                                                                                                    Receivables                                                            -            1,998            1,998           32,683
       Transfers In                                            -                  -                   -          103,751            Other                                                              (1,756)             -            (1,756)              -
                                                                                                                                    Prepaid and other assets                                               -           81,689           81,689          140,471
       Transfers Out                                       (16,250)           (97,572)         (113,822)               -            Accounts payable, accrued expenses, and deferred
                                                                                                                                        revenue                                                           322        (310,223)        (309,901)         (43,879)
       (Decrease) Increase in Net Position                (525,496)           (97,572)         (623,068)         485,516            Internal balances                                                  26,185              -            26,185            1,811
       Net Position - Beginning of year                  4,263,532             97,572         4,361,104        3,875,588                                                                       $      (41,154) $     (226,536) $     (267,690) $       905,211
                                                                                                                                         Net cash (used in) provided by operating activities
       Net Position - End of year                   $    3,738,036     $          -       $   3,738,036    $   4,361,104




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       Genesee County Drain Commissioner
       Division of Water and Waste Services
                                                                                                                                                                                                                                                                                                                                                                                                Summary of Bonds Payable
                                                                                                                                                                                                                                                                                                                                                                                            Year Ended December 31, 2012

                                                                             Principal                                                     Principal
                                                                           Outstanding       Issued During the   Retired During the       Outstanding
                            Description of Issue                          January 1, 2012          Year                Year            December 31, 2012                   2013                                   2014                                   2015                                   2016                                   2017                                   Later                                  Total


                                                                                                                                                               Principal           Interest           Principal           Interest           Principal           Interest           Principal           Interest           Principal           Interest           Principal           Interest           Principal           Interest

       Interceptor and Treatment Facilities



       Genesee County Drain Commissioner Bonds Payable:




       Series 2003 $9,000,000 Revenue Bonds backed by the full faith
       and credit of the County of Genesee. Bond proceeds used for
       Division Western Trunk Relief project. Due serially in various
       amounts ranging from $350,000 to $2,350,000 through 2018
       with interest rates from 2.00% to 4.50%                        $          3,485,000   $            -      $        (440,000) $          3,045,000   $         460,000   $        132,288   $         480,000   $        113,888   $         495,000   $         93,488   $         515,000   $         72,450   $         535,000   $         49,275   $         560,000   $         25,200   $      3,045,000   $        486,589




       Series 2005A $22,180,000 State Revolving Fund Program
       Revenue Bonds backed by the full faith and credit of the County
       of Genesee. Bond proceeds used for Northeast Extension Sewer
       project. Fully drawn May 2007. Due in amounts ranging from
       $950,000 to $1,285,000 through 2026 with interest rate of
       1.625%                                                                   17,280,000                -              (1,025,000)          16,255,000           1,045,000            264,144           1,060,000            247,163           1,080,000            229,938           1,095,000            212,388           1,115,000            194,594         10,860,000             901,145         16,255,000          2,049,372
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       Series 2005B $15,505,000 State Revolving Fund Program
       Revenue Bonds backed by the full faith and credit of the County
       of Genesee for Division project. Fully drawn May 2007. Due in
       amounts ranging from $660,000 to $900,000 through 2026 with
       interest rate of 1.625%                                                  12,090,000                -               (720,000)           11,370,000             730,000            178,831             740,000            166,888             755,000            154,741             765,000            142,391             780,000            129,838           7,600,000            569,075         11,370,000          1,341,764




       Series 2006A $2,815,000 State Revolving Fund Program
       Revenue Bonds backed by the full faith and credit of the County
       of Genesee. Bond proceeds used for Division Northeast
       Extension Sewer project. Fully drawn October 2007. Due in
       amounts ranging from $120,000 to $165,000 through 2027 with
       interest rate of 1.625%                                                   2,325,000                -               (130,000)            2,195,000             130,000             35,669             130,000             33,556             135,000             31,444             135,000             29,250             140,000             27,056           1,525,000            139,749          2,195,000            296,724




       Series 2006B $7,705,000 State Revolving Fund Program
       Revenue Bonds backed by the full faith and credit of the County
       of Genesee. Bond proceeds used for Division Northeast
       Extension Sewer project. Fully drawn July 2008. Due in
       amounts ranging from $330,000 to $445,000 through 2027 with
       interest rate of 1.625%                                                   6,355,000                -               (350,000)            6,005,000             355,000             97,581             365,000             91,813             370,000             85,881             375,000             79,869             380,000             73,775           4,160,000            380,737          6,005,000            809,656




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       Genesee County Drain Commissioner
       Division of Water and Waste Services
                                                                                                                                                                                                                                                                                                                                                                               Summary of Bonds Payable (Continued)
                                                                                                                                                                                                                                                                                                                                                                                     Year Ended December 31, 2012

                                                                              Principal                                                     Principal
                                                                            Outstanding       Issued During the   Retired During the       Outstanding
                             Description of Issue                          January 1, 2012          Year                Year            December 31, 2012                       2013                                      2014                                      2015                                  2016                                   2017                                       Later                                  Total


                                                                                                                                                                Principal              Interest           Principal              Interest           Principal              Interest           Principal           Interest           Principal           Interest           Principal               Interest           Principal           Interest




       Series 2006C $4,335,000 State Revolving Fund Program
       Revenue Bonds backed by the full faith and credit of the County
       of Genesee. Bond proceeds used for Division Northeast
       Extension Sewer project. Fully drawn January 2008. Due in
       amounts ranging from $185,000 to $250,000 through 2027 with
       interest rate of 1.625%                                         $          3,575,000   $            -      $        (200,000) $          3,375,000   $         200,000     $          54,844   $         205,000     $          51,594   $         205,000     $          48,263   $         210,000   $         44,931   $         215,000   $         41,519   $       2,340,000      $         214,500   $      3,375,000   $        455,651




       Series 2007 $10,500,000 State Revolving Fund Program
       Revenue Bonds backed by the full faith and credit of the County
       of Genesee. Bond proceeds used for Division Northeast
       Extension Sewer project. Fully drawn in December 2010. Due
       in amounts ranging from $450,000 to $610,000 through 2028
       with interest rate of 1.625%                                               9,130,000                -               (470,000)            8,660,000             480,000               136,825             485,000               128,984             495,000               121,022             500,000            112,938             510,000            104,731           6,190,000                569,482          8,660,000          1,173,982




       Series 2007B $8,000,000 Revenue Bonds backed by the full
       faith and credit of the County of Genesee. Bond proceeds used
       for Division Northeast Extension Sewer project. Due serially and
       term in amounts ranging from $240,000 to $605,000 through
       2028 with interest rates from 4.00% to 4.40%                               7,240,000                -               (280,000)            6,960,000             295,000               289,578             310,000               277,778             325,000               265,378             340,000            252,378             360,000            238,778           5,330,000              1,479,235          6,960,000          2,803,125
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       Series 2009A $15,000,000 Revenue Bonds backed by the full
       faith and credit of the County of Genesee. Bond proceeds used
       for Division Northeast Extension Sewer project. Due serially and
       term in amounts ranging from $475,000 to $1,150,000 through
       2029 with interest rates from 2.75% to 5.00%                              14,050,000                -               (475,000)           13,575,000             500,000               607,188             525,000               593,438             525,000               577,688             600,000            561,281             625,000            541,031         10,800,000               3,768,282         13,575,000          6,648,908




       Series 2010A $14,544,000 State Revolving Fund Program
       Revenue Bonds backed by the full faith and credit of the County
       of Genesee. Bond proceeds used for Pump Station #1, ARTP
       Blower Revamp, and ARTP Clarifiers. $794,876 remaining to be
       drawn. Due in amounts ranging from $569,000 to $910,000
       through 2030 with interest rate of 2.50%                                  10,508,950          2,521,176             (585,000)           12,445,126             600,000               316,223             615,000               299,878             630,000               284,503             645,000            268,753             660,000            252,628           9,295,126              1,618,911         12,445,126          3,040,896




       Series 2011A $1,445,000 State Revolving Fund Program
       Revenue Bonds backed by the full faith and credit of the County
       of Genesee. Bond proceeds used for ARTP Switchgears. Fully
       drawn in October 2012. Due in amounts ranging from $55,000
       to $90,000 through 2031 with interest rate of 2.50%                          577,606           867,394                (55,000)           1,390,000              60,000                34,685              60,000                33,250              60,000                31,750              60,000             30,250              65,000             28,750           1,085,000                214,500          1,390,000            373,185




       Series 2011B $4,825,000 Revenue Bonds backed by the full
       faith and credit of the County of Genesee. Bond proceeds used
       for NEES 3E. Due serially and term in amounts ranging from
       $180,000 to $405,000 through 2031 with interest rates from
       3.00% to 5.00%                                                             4,825,000                -                     -              4,825,000                   -               201,500                   -               201,500                   -               201,500             180,000            198,800             185,000            193,325           4,460,000              1,550,820          4,825,000          2,547,445




       Refunding Series 2011C $7,870,000 Revenue Bonds backed
       by the full faith and credit of the County of Genesee. Refunded
       Series 2000, $6,000,000 ARTP Grit Removal bond and Series
       2002A, $11,000,000 ARTP Enhancement bond. Due in amounts
       ranging from $1,000,000 to $1,500,000 through 2017 with
       interest rates from 2.00% to 2.25%                                         7,870,000                -              (1,450,000)           6,420,000           1,455,000               116,350           1,465,000                87,150           1,500,000                57,500           1,000,000             32,500           1,000,000             11,250                   -                      -          6,420,000            304,750

                Total Genesee County Drain Commission bonds
                payable                                                          99,311,556          3,388,570            (6,180,000)          96,520,126           6,310,000             2,465,706           6,440,000             2,326,880           6,575,000             2,183,096           6,420,000          2,038,179           6,570,000          1,886,550         64,205,126              11,431,636         96,520,126         22,332,047




                                                                                                                         39                                                                                                                                                                                                                                         40
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       Genesee County Drain Commissioner
       Division of Water and Waste Services
                                                                                                                                                                                                                                                                                                                                                       Summary of Bonds Payable (Continued)
                                                                                                                                                                                                                                                                                                                                                             Year Ended December 31, 2012

                                                                                  Principal                                                     Principal
                                                                                Outstanding       Issued During the   Retired During the       Outstanding
                             Description of Issue                              January 1, 2012          Year                Year            December 31, 2012                   2013                                   2014                                   2015                                   2016                                   2017                                   Later                                  Total


                                                                                                                                                                    Principal           Interest           Principal           Interest           Principal           Interest           Principal           Interest           Principal           Interest           Principal           Interest           Principal           Interest


       Interceptor and Treatment Facilities

       Community-related Bonds Payable:


       Refunding Series 2005 $2,900,000 County of Genesee
       Limited Tax General Obligation Bonds. Refunded Series 1999,
       $3,800,000 Bonds for Mt. Morris Township Sanitary Sewer
       System project. Due serially in amounts ranging from $15,000 to
       $315,000 through 2019 with interest rates from 4.00% to 4.25% $                2,175,000   $            -      $        (235,000) $          1,940,000   $         245,000   $         75,433   $         255,000   $         65,183   $         265,000   $         54,523   $         275,000   $         43,453   $         285,000   $         31,901   $         615,000   $         26,382   $      1,940,000   $        296,875


       Series 2006 $3,665,000 County of Genesee Limited Tax
       General Obligation Bonds for Community Western Trunk
       Extension Sewer Phase II project. Due serially in amounts
       ranging from $110,000 to $285,000 through 2026 with interest
       rates from 4.00% to 4.35%                                                      3,060,000                -               (140,000)            2,920,000             145,000            118,335             155,000            112,335             165,000            105,935             170,000             99,235             180,000             92,235           2,105,000            435,276          2,920,000            963,351

                Total community-related bonds payable                                 5,235,000                -               (375,000)            4,860,000             390,000            193,768             410,000            177,518             430,000            160,458             445,000            142,688             465,000            124,136           2,720,000            461,658          4,860,000          1,260,226


                Total interceptor and treatment facilities bonds payable
                                                                           $      104,546,556     $     3,388,570     $      (6,555,000) $       101,380,126    $      6,700,000    $     2,659,474    $      6,850,000    $     2,504,398    $      7,005,000    $     2,343,554    $      6,865,000    $     2,180,867    $      7,035,000    $     2,010,686    $    66,925,126     $    11,893,294    $   101,380,126    $     23,592,273


       District No. 3

       Genesee County Drain Commissioner Bonds Payable:
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       Series 2007 $6,000,000 Revenue Bonds backed by the full faith
       and credit of the County of Genesee. Bond proceeds used for
       Treatment Plant Improvement project. Due serially in various
       amounts ranging from $195,000 to $470,000 through 2027 with
       interest rates from 4.00% to 4.50%                            $                5,385,000   $            -      $        (225,000) $          5,160,000   $         240,000   $        214,538   $         250,000   $        204,738   $         265,000   $        194,438   $         275,000   $        183,638   $         290,000   $        172,338   $       3,840,000   $        918,095   $      5,160,000   $      1,887,785


       Series 2010A $1,089,000 State Revolving Fund Program
       Revenue Bonds backed by the full faith and credit of the County
       of Genesee. Bond proceeds used for District #3 Digester Phase
       I. Fully drawn in September 2011. Due in amounts ranging from
       $44,000 to $70,000 through 2030 with interest rate of 2.50%                    1,045,000                -                 (45,000)           1,000,000              45,000             25,000              45,000             23,875              45,000             22,750              50,000             21,625              50,000             20,375             765,000            140,875          1,000,000            254,500

                Total Genesee County Drain Commission bonds
                payable                                                               6,430,000                -               (270,000)            6,160,000             285,000            239,538             295,000            228,613             310,000            217,188             325,000            205,263             340,000            192,713           4,605,000          1,058,970          6,160,000          2,142,285




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       Genesee County Drain Commissioner
       Division of Water and Waste Services
                                                                                                                                                                                                                                                                                                                                                            Summary of Bonds Payable (Continued)
                                                                                                                                                                                                                                                                                                                                                                  Year Ended December 31, 2012

                                                                                Principal                                                     Principal
                                                                              Outstanding       Issued During the   Retired During the       Outstanding
                             Description of Issue                            January 1, 2012          Year                Year            December 31, 2012                   2013                                   2014                                   2015                                   2016                                           2017                                      Later                                      Total


                                                                                                                                                                  Principal           Interest           Principal           Interest           Principal           Interest           Principal           Interest               Principal              Interest           Principal               Interest               Principal           Interest
       District No. 3
       Community-related Bonds Payable:



       Series 1996 $1,240,000 County of Genesee Limited Tax
       General Obligation Bonds for Fenton Township Rolston and
       Ripley Road Arms project. Due serially in amounts ranging from
       $25,000 to $100,000 through 2017 with interest rates from
       5.00% to 7.375%                                                $               575,000   $            -      $          (75,000) $           500,000   $         100,000   $         24,750   $         100,000   $         19,250   $         100,000   $         13,750   $         100,000   $              8,250   $               -     $               -   $         100,000      $               2,750   $        500,000   $         68,750


       Refunding Series 1996A $12,940,000 Revenue Bonds backed
       by the full faith and credit of the County of Genesee. Refunded
       Series 2005, $6,000,000 District No. 3 Treatment Plant
       Improvement bond. Due serially in various amounts ranging
       from $75,000 to $1,355,000 through 2016 with interest rates
       from 2.50% to 5.00%                                                          6,705,000                -              (1,350,000)           5,355,000           1,355,000            228,819           1,345,000            164,694           1,330,000             99,500           1,325,000             33,125                       -                     -                   -                        -            5,355,000            526,138


       Series 2003 $4,000,000 County of Genesee Limited Tax
       General Obligation Bonds for Fenton Township Sewage Disposal
       System project. Due serially in amounts ranging from $125,000
       to $250,000 through 2024 with interest rates from 2.50% to
       4.50%                                                                        2,925,000                -               (200,000)            2,725,000             200,000            109,775             200,000            102,775             200,000             95,775             225,000             88,525                 225,000                80,088           1,675,000                297,425              2,725,000            774,363


       Series 2004A $8,000,000 County of Genesee Limited Tax
       General Obligation Bonds for Fenton Township Sewage Disposal
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       System project. Due serially in amounts ranging from $250,000
       to $700,000 through 2024 with interest rates from 4.00% to
       5.00%                                                                        6,250,000                -               (350,000)            5,900,000             350,000            244,500             400,000            225,750             400,000            207,750             400,000            191,750                 450,000               174,750           3,900,000                650,125              5,900,000          1,694,625


       Series 2004B $4,600,000 County of Genesee Limited Tax
       General Obligation Bonds for Fenton Township Sewage Disposal
       System project. Due serially in amounts ranging from $100,000
       to $400,000 through 2024 with interest rates from 4.00% to
       5.00%                                                                        3,950,000                -               (150,000)            3,800,000             150,000            157,250             150,000            149,750             200,000            142,000             300,000            132,000                 300,000               120,000           2,700,000                421,000              3,800,000          1,122,000


       Refunding Series 2007 $5,615,000 County of Genesee
       Limited Tax General Obligation Bonds. Partially refunded Series
       1998, $7,140,000 Bonds for City of Fenton, Fenton Township,
       and City of Linden Sewage Disposal System project. Due serially
       in amounts ranging from $20,000 to $915,000 through 2019 with
       interest rate of 4.00%                                                       4,950,000                -               (290,000)            4,660,000             355,000            179,300             440,000            163,400             540,000            143,800             595,000            121,100                 910,000                91,000           1,820,000                 72,600              4,660,000            771,200


                Total community-related bonds payable                              25,355,000                -              (2,415,000)          22,940,000           2,510,000            944,394           2,635,000            825,619           2,770,000            702,575           2,945,000            574,750               1,885,000               465,838         10,195,000               1,443,900             22,940,000          4,957,076

                Total District No. 3 bonds payable                       $        31,785,000    $            -      $      (2,685,000) $        29,100,000    $      2,795,000    $     1,183,932    $      2,930,000    $     1,054,232    $      3,080,000    $       919,763    $      3,270,000    $       780,013        $      2,225,000       $       658,551    $    14,800,000        $      2,502,870        $     29,100,000   $      7,099,361




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       Genesee County Drain Commissioner
       Division of Water and Waste Services
                                                                                                                                                                                                                                                                                                                                                     Summary of Bonds Payable (Continued)
                                                                                                                                                                                                                                                                                                                                                           Year Ended December 31, 2012

                                                                                Principal                                                     Principal
                                                                              Outstanding       Issued During the   Retired During the       Outstanding
                             Description of Issue                            January 1, 2012          Year                Year            December 31, 2012                   2013                                   2014                                   2015                                   2016                                   2017                                   Later                                  Total


                                                                                                                                                                  Principal           Interest           Principal           Interest           Principal           Interest           Principal           Interest           Principal           Interest           Principal           Interest           Principal           Interest

       Water Supply Systems


       Genesee County Drain Commissioner Bonds Payable:


       Series 2003 $9,000,000 Revenue Bonds backed by the full faith
       and credit of the County of Genesee. Bond proceeds used for
       Water Tower project. Due serially in various amounts ranging
       from $455,000 to $775,000 through 2018 with interest rates
       from 2.50% to 4.375%                                          $              4,835,000   $            -      $        (615,000) $          4,220,000   $         635,000   $        163,361   $         660,000   $        137,461   $         690,000   $        110,116   $         715,000   $         80,956   $         745,000   $         49,924   $         775,000   $         16,953   $      4,220,000   $        558,771


       Series 2003B $18,000,000 Revenue Bonds backed by the full
       faith and credit of the County of Genesee. Bond proceeds used
       for North Water Loop III project. Due serially and term in
       various amounts ranging from $175,000 to $10,085,000 through
       2033 with interest rates from 4.00% to 5.125%                               16,290,000                -               (270,000)           16,020,000             290,000            783,763             310,000            772,163             325,000            759,763             345,000            746,763             365,000            732,963         14,385,000           6,964,662         16,020,000         10,760,077


       Series 2004 $14,960,000 Revenue Bonds backed by the full
       faith and credit of the County of Genesee. Bond proceeds used
       for North Water Loop III project. Due serially in various
       amounts ranging from $200,000 to $1,000,000 through 2030
       with interest rates from 3.00% to 5.00%                                     13,720,000                -               (225,000)           13,495,000             235,000            614,338             240,000            606,700             240,000            598,300             250,000            588,700             260,000            578,700         12,270,000           4,348,300         13,495,000          7,335,038


       Series 2007 $6,000,000 Revenue Bonds backed by the full faith
       and credit of the County of Genesee. Bond proceeds used for
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       North Water Loop III project. Due serially and term in various
       amounts ranging from $150,000 to $450,000 through 2033 with
       interest rates from 4.00% to 4.40%                                           5,400,000                -               (150,000)            5,250,000             150,000            227,478             150,000            221,328             160,000            214,953             160,000            208,153             160,000            201,353           4,470,000          1,994,696          5,250,000          3,067,961


                Total Genesee County Drain Commission bonds
                payable                                                            40,245,000                -              (1,260,000)          38,985,000           1,310,000          1,788,940           1,360,000          1,737,652           1,415,000          1,683,132           1,470,000          1,624,572           1,530,000          1,562,940         31,900,000          13,324,611         38,985,000         21,721,847

       Community-related Bonds Payable:


       Series 2011 $933,515 Drinking Water Revolving Fund Program
       Revenue Bonds backed by the full faith and credit of the County
       of Genesee. Bond proceeds used for Fenton Road Watermain -
       Bristol to Maple. Fully drawn in July 2012. Due in amounts
       ranging from $34,250 to $59,265 through 2031 with interest rate
       of 2.50%                                                                       903,516             29,999               (34,250)             899,265              40,000             21,987              40,000             20,982              40,000             19,982              40,000             18,982              40,000             17,982             699,265            128,378            899,265            228,293

                Total water supply systems bonds payable                 $        41,148,516    $        29,999     $      (1,294,250) $        39,884,265    $      1,350,000    $     1,810,927    $      1,400,000    $     1,758,634    $      1,455,000    $     1,703,114    $      1,510,000    $     1,643,554    $      1,570,000    $     1,580,922    $    32,599,265     $    13,452,989    $     39,884,265   $     21,950,140

                Total Genesee County Drain Commission bonds
                payable                                                  $       145,986,556    $      3,388,570    $       (7,710,000) $       141,665,126   $       7,905,000   $      4,494,184   $       8,095,000   $      4,293,145   $       8,300,000   $      4,083,416   $       8,215,000   $      3,868,014   $       8,440,000   $      3,642,203   $    100,710,126    $     25,815,217   $   141,665,126    $     46,196,179

                Total community-related bonds payable                              31,493,516             29,999            (2,824,250)          28,699,265           2,940,000          1,160,149           3,085,000          1,024,119           3,240,000            883,015           3,430,000            736,420           2,390,000            607,956         13,614,265           2,033,936         28,699,265          6,445,594

                Total - All bonds payable                                $      177,480,072     $     3,418,569     $    (10,534,250) $        170,364,391    $    10,845,000     $     5,654,333    $    11,180,000     $     5,317,264    $    11,540,000     $     4,966,431    $    11,645,000     $     4,604,434    $    10,830,000     $     4,250,159    $   114,324,391     $    27,849,153    $   170,364,391    $     52,641,773




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                                                                                                              Mr. Jeff Wright                                                                      May 14, 2013
                                                                                                              Genesee County Drain Commissioner
                                                                                                                Division of Water and Waste Services
                                                            May 14, 2013
                                                                                                              Planned Scope and Timing of the Audit
       Mr. Jeff Wright                                                                                        We performed the audit according to the planned scope and timing previously communicated to
       Genesee County Drain Commissioner                                                                      you in our meeting about planning matters on December 12, 2012.
           Division of Water and Waste Services
       G-4608 Beecher Road                                                                                    Significant Audit Findings
       Flint, Michigan 48532
                                                                                                              Qualitative Aspects of Accounting Practices
       We have audited the financial statements of the Enterprise Fund and Internal Service Fund of the
       Genesee County Drain Commissioner Division of Water and Waste Services (a component unit               Management is responsible for the selection and use of appropriate accounting policies. In
       of Genesee County, Michigan) (the “Division”) as of and for the year ended December 31, 2012           accordance with the terms of our engagement letter, we will advise management about the
       and have issued our report thereon dated May 14, 2013. We have also audited the federal                appropriateness of accounting policies and their application. The significant accounting policies
       awards of the Division for the year ended December 31, 2011 and issued our report dated                used by the Division are described in Note 1 to the financial statements. No new accounting
       May 14, 2013. Professional standards require that we provide you with the following information        policies were adopted and the application of existing policies was not changed during 2012 other
       related to our audit.                                                                                  than that the Division adopted GASB Statement No. 63, Financial Reporting of Deferred Outflows
                                                                                                              of Resources, Deferred Inflows of Resources, and Net Position. As a result, there were very minor
       Our Responsibility Under U.S. Generally Accepted Auditing Standards                                    revisions to the terminology and reporting of the statement of net position.
       As stated in our engagement letter dated November 12, 2012, our responsibility, as described           We noted no transactions entered into by the Division during the year for which there is a lack
       by professional standards, is to express an opinion about whether the financial statements             of authoritative guidance or consensus.
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       prepared by management with your oversight are fairly presented, in all material respects, in
       conformity with U.S. generally accepted accounting principles. Our audit of the financial              There are no significant transactions that have been recognized in the financial statements in a
       statements does not relieve you or management of your responsibilities. Our responsibility is to       different period than when the transaction occurred.
       plan and perform the audit to obtain reasonable, but not absolute, assurance that the financial
       statements are free of material misstatement.                                                          Accounting estimates are an integral part of the financial statements prepared by management
                                                                                                              and are based on management’s knowledge and experience about past and current events and
       As part of our audit, we considered the internal control of Genesee County Drain                       assumptions about future events. Certain accounting estimates are particularly sensitive because
       Commissioner Division of Water and Waste Services (the “Division”). Such considerations were           of their significance to the financial statements and because of the possibility that future events
       solely for the purpose of determining our audit procedures and not to provide any assurance            affecting them may differ significantly from those expected. The most sensitive estimates
       concerning such internal control.                                                                      affecting the financial statements were the recording of unbilled revenue, the postemployment
       We are responsible for communicating significant matters related to the audit that are, in our         benefit liability calculation, the pension disclosures, and the calculation of the self-insurance
       professional judgment, relevant to your responsibilities in overseeing the financial reporting         (IBNR) liability.
       process. However, we are not required to design procedures specifically to identify such
                                                                                                              Management’s estimate of the unbilled revenue is based on amounts billed subsequent to year
       matters.
                                                                                                              end. We evaluated the key factors and assumptions used to develop the unbilled revenue in
       Our audit of the Division’s 2011 financial statements has been conducted in accordance with            determining that it is reasonable in relation to the financial statements taken as a whole.
       Government Auditing Standards, issued by the Comptroller General of the United States. Under
       Government Auditing Standards, we are obligated to communicate certain matters that come to            Management’s estimate of the postemployment benefit liability and defined benefit pension costs
       our attention related to our audit to those responsible for the governance of the Division,            is based on certain assumptions made by the actuary. We evaluated the key factors and
       including compliance with certain provisions of laws, regulations, contracts, grant agreements,        assumptions used to calculate the liability in determining that it is reasonable in relation to the
       certain instances of error or fraud, illegal acts applicable to government agencies, and significant   financial statements taken as a whole.
       deficiencies in internal control that we identify during our audit. Toward this end, we issued a
                                                                                                              Management’s estimate of the self-insurance liability is based on the quarterly billings received
       separate letter dated June 25, 2012 regarding our consideration of Division’s internal control
                                                                                                              from BCBS. We evaluated the key factors and assumptions used to calculate the receivable in
       over financial reporting and separate letter dated May 14, 2013 regarding our consideration on
                                                                                                              determining that it is reasonable in relation to the financial statements taken as a whole.
       our tests of its compliance with certain provisions of laws, regulations, contracts, and grant
       agreements.
                                                          1                                                                                                   2
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       Mr. Jeff Wright                                                                      May 14, 2013     Mr. Jeff Wright                                                                     May 14, 2013
       Genesee County Drain Commissioner                                                                     Genesee County Drain Commissioner
         Division of Water and Waste Services                                                                  Division of Water and Waste Services

       The disclosures in the financial statements are neutral, consistent, and clear.                       This information is intended solely for the use of Mr. Jeff Wright, Genesee County Drain
                                                                                                             Commissioner, and management of Genesee County Drain Commissioner Division of Water
       Difficulties Encountered in Performing the Audit                                                      and Waste Services and is not intended to be and should not be used by anyone other than these
                                                                                                             specified parties.
       We encountered no significant difficulties in dealing with management in performing and
       completing our audit.                                                                                 Other Information - Per Bulletin 6 issued by the State Department of Treasury, the State
                                                                                                             made some revisions to the Michigan qualifying statement as well as changes to the filing
       Disagreements with Management                                                                         process. It is our understanding that the Division is considering issuing debt in the coming year,
                                                                                                             and would need to file a qualifying statement in order to initiate the process.
       For the purpose of this letter, professional standards define a disagreement with management as
       a financial accounting, reporting, or auditing matter, whether or not resolved to our satisfaction,   The bulletin details the revisions made to the form, changes in the electronic filing process, and
       that could be significant to the financial statements or the auditor’s report                         provides information on the new process to submit a reconsideration request.
       We are pleased to report that no such disagreements arose during the course of our audit.             The qualifying statement is now Form 5047. The new form and link to the online filing are
                                                                                                             available at www.michigan.gov/municipalfinance. You can also find Bulletin 6 by following this
       Corrected and Uncorrected Misstatements
                                                                                                             same link.
       Professional standards require us to accumulate all known and likely misstatements identified
       during the audit, other than those that are trivial, and communicate them to the appropriate                                                              Very truly yours,
       level of management.
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                                                                                                                                                                 Plante & Moran, PLLC
       We did not detect any misstatements as a result of audit procedures.

       Significant Findings or Issues

       We generally discuss a variety of matters, including the application of accounting principles and
                                                                                                                                                                 Leslie J. Pulver
       auditing standards, business conditions affecting the Division, and business plans and strategies
       that may affect the risks of material misstatement with management each year prior to retention
       as the Division’s auditors. However, these discussions occurred in the normal course of our
       professional relationship and our responses were not a condition of our retention.

       Management Representations

       We have requested certain representations from management that are included in the
       management representation letter dated May 14, 2013.

       Management Consultations with Other Independent Accountants

       In some cases, management may decide to consult with other accountants about auditing and
       accounting matters, similar to obtaining a “second opinion” on certain situations. If a
       consultation involves application of an accounting principle to the Division’s financial statements
       or a determination of the type of auditor’s opinion that may be expressed on those statements,
       our professional standards require the consulting accountant to check with us to determine that
       the consultant has all the relevant facts. To our knowledge, there were no such consultations
       with other accountants.


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                                                                                                                     To the Board of Commissioners
                                                                                                                     Genesee County

                                                                                                                     An audit involves performing procedures to obtain audit evidence about the amounts and disclosures in
                                                                                                                     the financial statements. The procedures selected depend on the auditor’s judgment, including the
                                             Independent Auditor's Report                                            assessment of the risks of material misstatement of the financial statements, whether due to fraud or
                                                                                                                     error. In making those risk assessments, the auditor considers internal control relevant to the entity’s
       To the Board of Commissioners                                                                                 preparation and fair presentation of the financial statements in order to design audit procedures that are
       Genesee County                                                                                                appropriate in the circumstances, but not for the purpose of expressing an opinion on the effectiveness of
       Flint, Michigan                                                                                               the entity’s internal control. Accordingly, we express no such opinion. An audit also includes evaluating the
                                                                                                                     appropriateness of accounting policies used and the reasonableness of significant accounting estimates
       Report on the Financial Statements                                                                            made by management, as well as evaluating the overall presentation of the financial statements.
                                                                                                                     We believe that the audit evidence we have obtained is sufficient and appropriate to provide a basis for
       We have audited the accompanying financial statements of the governmental activities, the business-type
                                                                                                                     our audit opinions.
       activities, the aggregate discretely presented component units, each major fund, and the aggregate
       remaining fund information of Genesee County, Michigan (the "County") as of and for the year ended            Opinions
       September 30, 2013, and the related notes to the financial statements, which collectively comprise            In our opinion, based on our audit and the report of other auditors, the financial statements referred to
       Genesee County's basic financial statements as listed in the table of contents.                               above present fairly, in all material respects, the respective financial position of the governmental activities,
       Management’s Responsibility for the Financial Statements                                                      the business-type activities, the aggregate discretely presented component units, each major fund, and the
                                                                                                                     aggregate remaining fund information of Genesee County as of September 30, 2013 and the respective
       Management is responsible for the preparation and fair presentation of these financial statements in          changes in its financial position and, where applicable, cash flows for the year then ended, in accordance
       accordance with accounting principles generally accepted in the United States of America; this includes the   with accounting principles generally accepted in the United States of America.
       design, implementation, and maintenance of internal control relevant to the preparation and fair              Emphasis of Matter
       presentation of financial statements that are free from material misstatement, whether due to fraud or
       error.                                                                                                        As explained in Note C, the financial statements include investments valued at $191,881,667 (41 percent
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                                                                                                                     of total investments for the aggregate remaining funds) at September 30, 2013 and at $156,308,416 (34
       Auditor’s Responsibility                                                                                      percent of total investments for the aggregate remaining funds) at September 30, 2012, whose fair values
                                                                                                                     have been estimated by management in the absence of readily determinable market values. Management’s
       Our responsibility is to express an opinion on these financial statements based on our audit. We              estimates are based on information provided by fund managers and the partnership general partners. Our
       conducted our audit in accordance with auditing standards generally accepted in the United States of          opinion has not been modified with respect to this matter.
       America and in accordance with the standards applicable to financial audits contained in Goverment Auditing
       Standards issued by the Comptroller General of the United States. Those standards require that we plan        Other Matters
       and perform the audit to obtain reasonable assurance about whether the financial statements are free          Required Supplemental Information
       from material misstatement. The financial statements of the following entities were not audited in
                                                                                                                     Accounting principles generally accepted in the United States of America require that the management's
       accordance with Government Auditing Standards: Economic Development Corporation of the County of
                                                                                                                     discussion and analysis and the major fund budgetary comparison schedules, as identified in the table of
       Genesee and Genesee County Storm Water Management System.
                                                                                                                     contents, be presented to supplement the basic financial statements. Such information, although not a part
       Our responsibility is to express opinions on these financial statements based on our audit. We did not        of the basic financial statements, is required by the Governmental Accounting Standards Board, which
       audit the financial statements of Genesee County Community Mental Health Services, a major                    considers it to be an essential part of financial reporting for placing the basic financial statements in an
       governmental fund of the County, which represents 37.6 and 15.1 percent of the assets and revenue,            appropriate operational, economic, or historical context. We have applied certain limited procedures to
       respectively, of the governmental funds. We also did not audit the financial statements of Genesee County     the required supplemental information in accordance with auditing standards generally accepted in the
       Planning Commission, a non-major governmental fund of the County, which represents less than 1 percent        United States of America, which consisted of inquiries of management about the methods of preparing the
       of both the assets and revenues of the governmental funds. We also did not audit the financial statements     information and comparing the information for consistency with management's responses to our inquiries,
       of Genesee County Road Commission, a discretely presented component unit of the County, which                 the basic financial statements, and other knowledge we obtained during our audit of the basic financial
       represents 30.5 percent and 19.6 percent, respectively, of the assets and revenues of the component           statements. We do not express an opinion or provide any assurance on the information because the
       units. We also did not audit the financial statements of the Economic Development Corporation, a              limited procedures do not provide us with sufficient evidence to express an opinion or provide any
       discretely presented component unit of the County, which represents less than 1 percent of both the           assurance.
       assets and revenues of the component units. We also did not audit the financial statements of Genesee
       Health Systems Authority, a discretely presented component unit of the County, which represents 9.6 and
       62.5 percent of the assets and revenue, respectively, of the component units. Those financial statements
       were audited by other auditors, whose report has been furnished to us, and our opinion, insofar as it
       relates to the amounts included for Genesee County Community Mental Health Services, Genesee County
       Planning Commission, Genesee County Road Commission, the Economic Development Corporation, and
       the Genesee Health Systems Authority, is based solely on the report of the other auditors.
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                                                                                                                        MANAGEMENT’S DISCUSSION AND ANALYSIS
       To the Board of Commissioners
       Genesee County                                                                                                   GENESEE COUNTY
                                                                                                                        As management of Genesee County, we offer readers of the Genesee County’s financial statements this narrative overview and analysis of the
       Other Information                                                                                                financial activities of Genesee County for the fiscal year ended September 30, 2013. We encourage readers to consider the information presented
                                                                                                                        here in conjunction with additional information that we have furnished in our letter of transmittal, which can be found at the beginning of this report.
       Our audit was conducted for the purpose of forming opinions on the financial statements that collectively
                                                                                                                        Financial Highlights
       comprise Genesee County's basic financial statements. The combining statements, as identified in the
       table of contents as other supplemental information, are presented for the purpose of additional analysis             x    The assets of Genesee County exceeded its liabilities at the close of the most recent fiscal year by $119,467,297 (net position). Of this
       and are not a required part of the basic financial statements.                                                             amount, $13,493,362 (unrestricted net position) may be used to meet the government’s ongoing obligations to citizens and creditors.
                                                                                                                             x    The government’s total net position decreased by $25,645,496. Governmental activities decreased by $28,366,573 while Business-type
                                                                                                                                  activities increased by $2,721,077; the overall decrease is attributed to a decrease in Primary Government revenues, resulting primarily
       The combining statements, identified in the table of contents as other supplementary information, are the                  from the transfer of Mental Health operations to Genesee Health Services, a newly established Mental Health Authority.
       responsibility of management and were derived from and relate directly to the underlying accounting and               x    As of the close of the current fiscal year, Genesee County’s governmental funds reported combined ending fund balances of $29,977,381
       other records used to prepare the basic financial statements. Such information has been subjected to the                   a decrease of $15,853,798 in comparison with the prior year. Approximately 21% of this total amount, $6,300,649, is available for
                                                                                                                                  spending at the government’s discretion (unassigned fund balance).
       auditing procedures applied in the audit of the basic financial statements and certain additional procedures,         x    At the end of the current fiscal year, unassigned fund balance for the General Fund was $9,455,182, 16% of total General Fund
       including comparing and reconciling such information directly to the underlying accounting and other                       expenditures.
                                                                                                                             x    Genesee County’s total debt was increased by the issuance of delinquent tax notes in the amount of $39,900,000 during the current fiscal
       records used to prepare the basic financial statements or to the basic financial statements themselves, and                year for various projects and refunding issues which was offset by total payments of $54,381,571.
       other additional procedures in accordance with auditing standards generally accepted in the United States
       of America. In our opinion, the information is fairly stated in all material respects in relation to the basic   Overview of the Financial Statements

       financial statements as a whole.                                                                                 This discussion and analysis is intended to serve as an introduction to Genesee County’s basic financial statements. Genesee County’s basic
                                                                                                                        financial statements included three components: 1) government-wide financial statements, 2) fund financial statements, and 3) notes to the financial
       The introductory section and statistical section, as identified in the table of contents, have not been          statements. This report also contains other supplementary information in addition to the basic financial statements.
       subjected to the auditing procedures applied in the audit of the basic financial statements, and accordingly,    Government-wide Financial Statements. The government-wide financial statements are designed to provide readers with a broad overview of
       we do not express an opinion or provide any assurance on them.                                                   Genesee County’s finances, in a manner similar to a private-sector business.

       Other Reporting Required by Government Auditing Standards                                                        The statement of net position presents information on all Genesee County’s assets and liabilities, with the difference between the two reported as
                                                                                                                        net position. Over time, increases or decreases in net position may serve as a useful indicator of whether the financial position of Genesee County
                                                                                                                        is improving or deteriorating.
       In accordance with Government Auditing Standards, we have also issued our report dated March 18,
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       2014 on our consideration of Genesee County's internal control over financial reporting and on our tests         The statement of activities presents information showing how the government’s net position changed during the most recent fiscal year. All changes
                                                                                                                        in net position are reported as soon as the underlying event giving rise to the change occurs, regardless of the timing of related cash flows. Thus,
       of its compliance with certain provisions of laws, regulations, contracts, grant agreements, and other           revenues and expenses are reported in this statement for some items that will only result in cash flows in future fiscal periods (e.g., uncollected
       matters. The purpose of that report is to describe the scope of our testing of internal control over financial   taxes and earned but unused vacation leave).
       reporting and compliance and the results of that testing, and not to provide an opinion on the internal          Both of the government-wide financial statements distinguish functions of Genesee County that are principally supported by taxes and
       control over financial reporting or on compliance. That report is an integral part of an audit performed in      intergovernmental revenues (government activities) from other functions that are intended to recover all or a significant portion of their costs through
       accordance with Government Auditing Standards in considering Genesee County's internal control over              user fees and charges (business-type activities). The governmental activities of Genesee County include legislative, management and planning,
                                                                                                                        administration of justice, law enforcement, human services, community enrichment, general support, and other. The business-type activities of
       financial reporting and compliance.                                                                              Genesee County include Parks and Recreation System, Jail Commissary, Parking Meter and Delinquent Tax Revolving Fund.

                                                                                                                        The government-wide financial statements include not only Genesee County itself (known as the primary government), but also eight legally
                                                                                                                        separated component units for which Genesee County is financially accountable. Financial information for these component units is reported
                                                                                                                        separately from the financial information presented for the primary government itself.

                                                                                                                        The government-wide financial statements can be found as Exhibit A-1 and A-2 of this report.

                                                                                                                        Fund Financial Statements. A fund is a grouping of related accounts that is used to maintain control over resources that have been segregated for
                                                                                                                        specific activities or objectives. Genesee County, like other state and local governments, uses fund accounting to ensure and demonstrate
       March 18, 2014                                                                                                   compliance with finance-related legal requirements. All of the funds of Genesee County can be divided into three categories: governmental funds,
                                                                                                                        proprietary funds, and fiduciary funds.

                                                                                                                        Governmental Funds. Governmental funds are used to account for essentially the same functions reported as governmental activities in the
                                                                                                                        government-wide financial statements. However, unlike the government-wide financial statements, governmental fund financial statements focus on
                                                                                                                        near-term inflows and outflows of spendable resources, as well as on balances of spendable resources available at the end of the fiscal year. Such
                                                                                                                        information may be useful in evaluating a government’s near-term financing requirements.

                                                                                                                        Because the focus of governmental funds is narrower than that of the government-wide financial statements, it is useful to compare the information
                                                                                                                        presented for governmental funds with similar information presented for governmental activities in the government-wide financial statements. By
                                                                                                                        doing so, readers may better understand the long-term impact of the government’s near-term financing decisions. Both the governmental fund
                                                                                                                        balance sheet and the governmental fund statement of revenues, expenditures, and changes in fund balances provide a reconciliation to facilitate
                                                                                                                        this comparison between governmental funds and governmental activities.

                                                                                                                        Genesee County maintains individual governmental funds. Information is presented separately in the governmental fund balance sheet and in the
                                                                                                                        governmental fund statement of revenues, expenditures, and changes in fund balances for the General Fund and four special revenue funds, all of
                                                                                                                        which are considered to be major funds. Data from the other governmental funds are combined into a single, aggregated presentation. Individual
                                                                                                                        fund data for each of these non-major governmental funds is provided in the form of combining statements elsewhere in this report.



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       MANAGEMENT’S DISCUSSION AND ANALYSIS

       GENESEE COUNTY
       Genesee County adopts an annual appropriated budget for its General Fund. A budgetary comparison statement has been provided for the General
       Fund to demonstrate compliance with this budget.
                                                                                                                                                                                                             ___Governmental Activities       Business-type Activities                     Total_________
                                                                                                                                                                                                                 2013         2012              2013         2012                 2013            2012___
       The basic governmental fund financial statements can be found as Exhibit A-3 and A-4 of this report.
                                                                                                                                                                        Net position:
                                                                                                                                                                        Net investment in capital assets     $ 71,579,693 $ 69,930,626 $ 3,313,080           $ 3,815,056    $ 74,892,773 $ 73,745,682
       Proprietary Funds. Genesee County maintains two different types of proprietary funds. Enterprise funds are used to report the same functions
                                                                                                                                                                        Restricted                             19,786,947   23,334,199 11,294,215             10,816,391       31,081,162   34,150,590
       presented as business-type activities in the government-wide financial statements. Genesee County uses enterprise funds to account for its Parks
                                                                                                                                                                        Unrestricted                            6,226,971   32,695,359   7,266,391             4,521,162       13,493,362   37,216,521
       and Recreation System, Jail Commissary, Parking Meter and Delinquent Tax Revolving Fund. Internal service funds are an accounting device used
                                                                                                                                                                        Total net position                   $ 97,593,611 $125,960,184 $21,873,686           $19,152,609     $119,467,297 $145,112,793
       to accumulate and allocate costs internally among Genesee County’s various functions. Genesee County uses internal service funds to account for
       its fleet of vehicles, building and grounds maintenance, Self Insured Medicals, Property and Casualty and other Administrative Services. Because
                                                                                                                                                              An additional portion of Genesee County’s net position (26%) represents resources that are subject to external restrictions on how they may be
       all of these services predominantly benefit governmental rather than business-type functions, they have been included within governmental activities
                                                                                                                                                              used. The remaining balance of unrestricted net position ($13,493,362) may be used to meet the government’s ongoing obligations to citizens and
       in the government-wide financial statements.
                                                                                                                                                              creditors.
       Proprietary funds provide the same type of information as the government-wide financial statements, only in more detail. The proprietary fund
                                                                                                                                                              At the end of the current fiscal year, Genesee County is able to report positive balances in all three categories of net position, both for the
       financial statements provide separate information for the Parks and Recreation System, Jail Commissary, Parking Meter and Delinquent Tax
                                                                                                                                                              government as a whole, as well as for its separate governmental and business-type activities. The same situation held true for the prior fiscal year.
       Revolving Fund. Conversely, all internal service funds are combined into a single, aggregated presentation in the proprietary fund financial
       statements. Individual fund data for the internal service funds is provided in the form of combining statements elsewhere in this report.
                                                                                                                                                              The government’s total net position decreased by $25,645,496. This decrease represents Governmental activities which is attributed primarily to the
                                                                                                                                                              transfer of Mental Health operations to Genesee Health Services, a newly established Mental Health Authority.
       The basic proprietary fund financial statements can be found as Exhibit A-6, A-7, and A-8 of this report.
                                                                                                                                                              Governmental Activities. Governmental activities decreased Genesee County’s net position by $28,366,573, key elements affecting this change
       Fiduciary Funds. Fiduciary funds are used to account for resources held for the benefit of parties outside the government. Fiduciary funds are not
                                                                                                                                                              are as follows:
       reflected in the government-wide financial statement because the resources of those funds are not available to support Genesee County’s own
       programs. The accounting used for fiduciary funds is much like that used for proprietary funds.
                                                                                                                                                                                                                 Genesee County’s Change in Net position
       The basic fiduciary fund financial statements can be found as Exhibit A-9 and A-10 of this report.
                                                                                                                                                                                                             _Governmental Activities         Business-type Activities                     Total_________
       Component Units Presented. The government-wide financial statements include not only Genesee County itself (known as the primary
                                                                                                                                                                                                                  2013       2012                 2013           2012               2013          2012___
       government), but also eight legally separated component units for which Genesee County is financially accountable. Financial information for these
       component units is reported separately from the financial information presented for the primary government itself.
                                                                                                                                                              Revenues:
                                                                                                                                                              Program revenues:
       The basic component unit financial statements can be found as Exhibit A-11 and A-12 of this report.
                                                                                                                                                                 Charges for services (A)                     $43,056,628     $127,332,255 $ 13,937,979      $14,179,074      $56,994,607 $141,511,329
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                                                                                                                                                                 Operating grants and contributions (A)        81,285,904      113,688,537            -                -       81,285,904 113,688,537
       Notes to the Financial Statements. The notes provide additional information that is essential to a full understanding of the data provided in the
                                                                                                                                                                 Capital grants and contributions                       -                -            -                -                -            -
       government-wide and fund financial statements. The notes to the financial statements can be found as Exhibit A-13 of this report.
                                                                                                                                                              General revenues:
       Other Information. In addition to the basic financial statements and accompanying notes, this report also presents certain required supplementary
                                                                                                                                                                Taxes                                          72,790,031      81,473,016              -              -        72,790,031   81,473,016
       information concerning Genesee County’s progress in funding its obligation to provide pension benefits to its employees. Required supplementary
                                                                                                                                                                Use of money and investments                      504,347          988,717        71,437        117,882           575,784    1,106,599
       information can be found in Exhibit A-13 of this report.
                                                                                                                                                                Other intergovernmental revenues               16,031,090        3,915,651             -              -        16,031,090    3,915,651
                                                                                                                                                                Other unrestricted revenues                  __ 8,173,635     __ 8,398,465             -     ____ _ -           8,173,635 _ _8,398,465
       The combining statements referred to earlier in connection with non-major governmental funds and internal service funds are presented immediately
                                                                                                                                                                        Total revenues                        221,841,635     335,796,641     14,009,416     14,296,956       235,851,051 350,093,597
       following the required supplementary information on pensions. Combining and individual fund statements and schedules can be found as Exhibit C
       of this report.
                                                                                                                                                              Expenses:
                                                                                                                                                                 Legislative                                      981,519         1,023,886            -               -          981,519         1,023,886
       Government-wide Financial Analysis
                                                                                                                                                                 Management and planning                       12,901,085         5,302,148            -               -       12,901,085         5,302,148
                                                                                                                                                                 Administration of justice                     38,949,070       40,587,961             -               -       38,949,070       40,587,961
       As noted earlier, net position may serve overtime as a useful indicator of a government’s financial position. In the case of Genesee County, assets
                                                                                                                                                                 Law enforcement/commun. protec.               36,508,812       32,423,243             -               -       36,508,812       32,423,243
       exceeded liabilities by $119,467,297 at the close of the most recent fiscal year.
                                                                                                                                                                 Human services (A)                           130,931,244      242,432,706             -               -      130,931,244      242,432,706
                                                                                                                                                                 Community enrichment/develop                  16,255,901       17,005,313             -               -       16,255,901       17,005,313
       A significant portion of Genesee County’s net position (63%) reflects its investment in capital assets (e.g., land, buildings, machinery, and
                                                                                                                                                                 General support services                               -                 -            -               -                -                 -
       equipment), less any related debt used to acquire those assets that is still outstanding. Genesee County uses these capital assets to provide
                                                                                                                                                                 Other                                                  -                 -            -               -                -                 -
       services to citizens; consequently, these assets are not available for future spending. Although Genesee County’s investments in its capital assets
                                                                                                                                                                 Interest on long-term debt                     1,101,895         1,361,032            -               -        1,101,895         1,361,032
       are reported net of related debt, it should be noted that the resources needed to repay this debt must be provided from other sources, since the
                                                                                                                                                                 Commissary                                             -                 -      340,779         323,556          340,779           323,556
       capital assets themselves cannot be used to liquidate these liabilities.
                                                                                                                                                                 Delinquent Tax                                         -                 -    4,757,339       5,113,306        4,757,339         5,113,306
                                                                                                                                                                 Parks & Recreation Enterprise                          -                 -      951,103         888,622          951,103           888,622
                                                                                                                                                                 Parking Meter                                          -      _ ________-       349,854     __ 65,795            349,854       _    65,795
                                                              GENESEE COUNTY’S NET POSITION
                                                                                                                                                              Total Expenses                                  237,629,526      340,136,289     6,399,075     __6,391,279      244,028,601      346,527,568
                                                                                                                                                              Increase (decrease) in net position
                                                         Governmental Activities         Business-type Activities                 Total___    __
                                                                                                                                                                before transfers                               (14,608,480)     (4,339,648)     7,610,341      7,905,677         (6,998,139)     3,566,029
                                                          2013          2012               2013         2012              2013          2012_ __
                                                                                                                                                              Transfers                                          4,889,264    _ _5,687,129     (4,889,264)   _(5,687,129)    _
                                                                                                                                                              Special item – transfer of operations
                 Current and other assets               $76,130,833    $134,990,452 $55,608,797        $59,154,978   $131,739,630 $194,145,430
                                                                                                                                                                             to Genesee Health Systems        (17,467,946)                                                    (17,467,946) 20,349,315
                                                                                                                                                              Change in net position                          (28,366,573    1,347,481    2,721,077            2,218,548      (25,645,496)   3,566,029
                 Capital assets                          95,124,850       95,495,274     3,359,580       3,887,056     98,484,430     99,382,330
                                                                                                                                                              Beginning of year net position (as restated)    125,960,184 _124,612,703 19,152,609            _16,934,061      145,112,793 _141,546,764
                           Total assets                 171,255,683      230,485,726    58,968,377      63,042,034    230,224,060    293,527,760
                                                                                                                                                              End of year net position                       $ 97,593,611 $125,960,184 $ 21,873,686          $19,152,609     $119,467,297 $145,112,793`
                 Long-term liabilities outstanding       61,161,047      55,397,578     36,161,184      42,569,174     97,322,231     97,966,752
                                                                                                                                                                   (A) Decrease due primarily to reporting Genesee Health Services as a discretely presented component unit effective January 1, 2013.
                 Other liabilities                       12,501,025      49,127,964        933,507       1,320,251     13,434,532     50,448,215
                            Total liabilities            73,662,072     104,525,542     37,094,691      43,889,425    110,756,763    148,414,967
                                                                                                                                                                   x    Implementation of GASB 34 requirements has changed the presentation of this report and is reflected in the net asset balances.
                                                                                                                                                                   x    Reductions in tax revenue collections and program grants has forced cutbacks in many areas.



                                                                                   15                                                                                                                                                    16
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       MANAGEMENT’S DISCUSSION AND ANALYSIS

       GENESEE COUNTY

            x    Due to careful budgeting and a transfer from the Delinquent Tax Fund, Genesee County’s General Fund has seen a $570,402 increase in
                 fund balance.
                                                                                                                                                               Overall during the year, actual General Fund revenues were more than the amended budgetary estimates and expenditures exceeded the amended
            x    Taxes decreased by $8,682,985 during the year. Most of this decrease is property taxes due to weak residential growth and a weak              budget, resulting in a small increase in fund balance that was less than the final amended budget amount.
                 housing market.
            x    Operating grants for governmental activities remain a large part of the overall budget. These grants support a variety of community           Capital Asset and Debt Administration
                 services in the county.
                                                                                                                                                               Capital assets. Genesee County’s investment in capital assets for its governmental and business type activities as of September 30, 2013,
       Business-type activities. The net position for business-type activities increased by $2,721,077. Key elements of this increase are as follows.          amounts to $98,484,430 (net of accumulated depreciation). This investment in capital assets included land, buildings and system, improvements,
                                                                                                                                                               machinery and equipment, and park facilities.
            x    The decrease in transfer of funds to Governmental activities for support of general operating expenditures and debt service requirements
                 are reflected in this increase.                                                                                                               Additional information on Genesee County’s capital assets can be found in Note D in Exhibit A-13 of this report.

       Financial Analysis of the Government’s Funds                                                                                                            Debt. At the end of the current fiscal year, Genesee County had total bonded debt outstanding of $260,287,117. Of this amount, $116,886,416
                                                                                                                                                               comprises debt backed by the full faith and credit of the government, $318,505 is special assessment debt for which the government is liable in the
       As noted earlier, Genesee County uses fund accounting to ensure and demonstrate compliance with finance-related legal requirements.                     event of default by the property owners subject to the assessment and $7,210,000 is Michigan Transportation bonds for which are payable with Act
                                                                                                                                                               51 money.
       Governmental funds. The focus of Genesee County’s governmental funds is to provide information on near-term inflows, outflows, and balances of
       available resources. Such information is useful in assessing Genesee County’s financing requirements. In particular, unassigned fund balance may        Genesee County’s total debt, including component units, decreased by $12,564,144 during the current fiscal year. The key factor in this decrease
       serve as a useful measure of a government’s net resources available for spending at the end of the fiscal year.                                         was due to normal debt retirement in the fiscal years budget. Genesee County maintains an “A+” rating from Standard & Poor’s and an “A2” rating
                                                                                                                                                               from Moody’s for general obligation debt.
       As of the end of the current fiscal year, Genesee County’s governmental funds reported combined ending fund balances of $29,977,381, an
       decrease of $15,853,798 in comparison with the prior year. Approximately 21% of this total amount, ($6,300,649) constitutes unassigned fund             State statutes limit the amount of general obligation debt a governmental entity may issue to 10 percent of its total assessed valuation. The current
       balance, which is available for spending at the government’s discretion.                                                                                debt limitation for Genesee County is $899,354,911, which is significantly in excess of Genesee County’s outstanding general obligation debt.

       The General Fund unassigned fund balance totaled $9,455,182, while total fund balance increased to $12,316,681. As a measure of the General             Additional information on Genesee County’s long-term debt can be found in Note E of Exhibit A-13 of this report.
       Fund’s liquidity, it may be useful to compare both unassigned fund balance and total fund balance to total fund expenditures. Unassigned fund
       balance represents 16% of total General Fund expenditures, while total fund balance represents 21% of that same amount.                                 Economic Factors and Next Year’s Budgets and Rates
                                                                                                                                                                   x   The unemployment rate for Genesee County is currently 8.4 percent, which is an decrease from a rate of 11.2 percent a year ago. This
       At the end of the current fiscal year, the total fund balance of county health was increased to $2,539,048. The fund balance represents 19% of total            decrease is attributed to local conditions and is reflective of state and national trends.
       county health expenditures.                                                                                                                                 x   The government expects to see reduced funding from State agencies due to a reduction in tax collections as seen in a nation-wide trend
                                                                                                                                                                       of state and local revenues.
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       The increase in the fund balances of Genesee County’s governmental funds were as the result of the following:
                                                                                                                                                                   x   Inflationary trends in the region compare favorably to national indices.
            x    General Fund - The Genesee County Board of Commissioner passed a 2012/2013 General Fund budget anticipating the use of $0 of fund
                                                                                                                                                                   x   Goals to achieve concessions in current union negotiations continue (decreases in longevity wages and changes to co-pays for health
                 balance. During 2012/2013 General Fund revenues were more than budgeted revenues by $712,096 while expenditures exceeded the
                                                                                                                                                                       care).
                 budget by $313,364.
                                                                                                                                                                   x   Continuation of the instituted hiring freeze.
            x    County Health - In the 2012/2013 fiscal year, the County Health Department anticipated expenditures of $15,432,755. The actual amount
                 of expenditures was $13,566,386. This variance, combined with other variances in revenue items resulted in the Health Department fund
                                                                                                                                                               All of these factors were considered in preparing Genesee County’s budget for the 2013 fiscal year.
                 balance increasing by $1,278,936.
            x    Community Action Resource Department – The fund balance of the Community Action Resource Department decreased during the                      Request for Information
                 2012/2013 fiscal year by a total of $544,196. This decrease was attributable to numerous changes in the funding levels from the Federal
                 and State governments throughout the fiscal year.                                                                                             The financial report is designed to provide a general overview of Genesee County’s finances for all those with an interest in the government’s
                                                                                                                                                               finances. Questions concerning any of the information provided in this report or requests for additional financial information should be addressed to
       Proprietary funds. Genesee County’s proprietary funds provide the same type of information found in the government-wide financial statements,           the Office of the Controller, County of Genesee, 1101 Beach Street, Flint, MI 48502.
       but in more detail.

       Unrestricted net position at the end of the year amounted to $7,266,391. The total increase in net position for all proprietary funds was $2,721,077.
       Other factors concerning the finances of these funds have already been addressed in the discussion of Genesee County’s business-type activities.

       General Fund Budgetary Highlights

       During the year, the County board amended the budget to take into account events during the year. General Fund’s expenditures and
       appropriations budget was increased in total by $1,292,729. The major budgetary increases/decreases are summarized as follows:

            x    A negative variance of $197,065 in various General Fund revenues occurred due to the anticipated revenue received for fines and
                 forfeitures and uses of money.

            x    A $213,240 increase was allocated to the Board of Commissioners department to cover costs of attorney fees related to discussions of
                 union contract changes and usage of delinquent tax funds.

            x    A total increase of 3,531,270 was allocated to Other expenses to cover furlough days savings being less than anticipated due to delays in
                 union contract settlements.

            x    A $261,459 increase was allocated to various departments to cover Capital Outlay which is allocated during the year on an as needed
                 basis.

            x    A $193,701 increase was appropriated to the various Internal Service departments to cover additional costs of overtime which is budgeted
                 in the General Fund and allocated on a monthly basis based on departmental need.




                                                                                  17                                                                                                                                                      18
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                BASIC
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       FINANCIAL STATEMENTS




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       STATEMENT OF NET POSITION

       SEPTEMBER 30, 2013

       GENESEE COUNTY                                                                                                                         Exhibit A-1


                                                                       Governmental                 Business-type                                 Component
                                                                         Activities                   Activities            Total                    Units

       ASSETS
       Cash and cash equivalents………………………………                       $            5,258,652       $         1,906,853     $      7,165,505      $        70,731,664
       Investments…………………………………………………                                          15,354,194                 7,359,519           22,713,713               32,777,451
       Current and delinquent taxes receivable
            (net allowance $1,116,143)…………………………                               13,998,293                43,643,971           57,642,264
       Special assesments receivable…………………………                                                                                                         43,744,763
       Interest and accounts receivable
              (net allowance $2,994,243)………………………                              14,736,768                 4,579,064           19,315,832               12,177,670
       Due from other governmental units………………………                              14,931,026                 4,260,328           19,191,354                9,395,089
       Due from component unit……………………………….                                       520,076                   466,518              986,594                 225,000
       Due from primary government……………………………                                                                                                             26,359
       Internal balances……………………………………….                                         6,665,352              (6,665,352)
       Inventory……………………………………………………                                             1,305,644                   34,448            1,340,092                2,498,017
       Prepayments………………………………………………                                             1,148,212                   23,448            1,171,660                1,548,042
       Unamortized cost of issuance……………………………                                                                                                            679,048
       Other assets…………………………………………………                                                114,307                                       114,307             2,581,801
       Restricted assets:
           Cash……………………………………………………                                                                                                                     4,850,094
       Deposits and employee advances…………………….                                        333,309                                       333,309             1,604,423
       Net OPEB asset……………………………………………                                                                                                                    658,197
       Long term advances to component unit…………………                               1,765,000                                     1,765,000
       Local unit construction in progress………………………                                                                                                       156,500
       Investment in joint venture…………………………………                                                                                                         3,893,843
       Intangible assets - Net……………………………………                                                                                                               12,188
       Capital assets not being depreciated……………………                            11,398,753                 3,145,718           14,544,471               57,804,898
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       Capital assets (net of accumulated depreciation)……………                   83,726,097                   213,862           83,939,959              480,248,309            [THIS PAGE INTENTIONALLY LEFT BLANK]
                                                   Total assets               171,255,683                58,968,377          230,224,060              725,613,356

       LIABILITIES
       Accounts payable…………………………………………                                          4,291,505                 398,736             4,690,241               23,104,542
       Accrued payroll……………………………………………                                          3,439,970                  13,980             3,453,950                  106,485
       Other accrued liabilities and deposits……………………                              440,281                 520,786               961,067                3,183,974
       Accrued interest payable…………………………………                                       287,815                                       287,815                  277,286
       Due to other governmental units…………………………                                 3,805,586                          5          3,805,591               21,376,428
       Due to primary government………………………………                                                                                                              986,594
       Due to component unit……………………………………                                             26,359                                        26,359               225,000
       Long-term advances from primary government…………                                                                                                   1,765,000
       Unearned revenue…………………………………………                                               209,509                                       209,509            11,126,145
       Liabilities payable from restricted assets:
           Accounts payable………………………………………                                                                                                               759,195
       Noncurrent liabilities:
          Net OPEB obligation……………………………………                                    29,095,022                   314,684           29,409,706                5,676,066
          Current portion debt……………………………………                                    7,635,759                 8,928,500           16,564,259               14,587,242
          Long term debt…………………………………………                                       24,430,266                26,918,000           51,348,266              187,781,313
                                               Total liabilities               73,662,072                37,094,691          110,756,763              270,955,270

       NET POSITION
       Net investment in capital assets…………………………                              71,579,693                 3,313,080           74,892,773              378,952,538
       Restricted:
        Special Revenue:
          Community development……………………………                                     14,305,564                                     14,305,564
          Community enrichment and development…………                                356,692                                        356,692
          Drug forfeiture…………………………………………                                          43,759                                         43,759
          Emergency medical services…………………………                                    720,963                                        720,963
          Health care services…………………………………                                       571,809                                        571,809
          Planning-solid waste activities………………………                                296,065                                        296,065
          Senior services…………………………………………                                       2,904,020                                      2,904,020
          Social services………………………………………..                                        116,299                                        116,299
          Veterans millage………………………………………                                         471,776                                        471,776
        Retirement of delinquent tax notes payable…………                                                   10,345,404           10,345,404
        Parks & recreation non expendable……………………                                                           948,811              948,811
        Programs…………………………………………………                                                                                                                    10,649,495
        Debt service………………………………………………                                                                                                                  3,158,668
       Unrestricted …………………………………………………                                         6,226,971                 7,266,391           13,493,362              61,897,385
                                         Total net position        $           97,593,611       $        21,873,686     $    119,467,297      $       454,658,086

       The notes to the financial statements are an integral part of this statement     21
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         STATEMENT OF ACTIVITIES - GOVERNMENTAL, BUSINESS-TYPE,
         AND COMPONENT UNITS
         FOR THE YEAR ENDED SEPTEMBER 30, 2013

         GENESEE COUNTY                                                                                                                                           Exhibit A-2



                                                                                                                                                                                                                                                                      Net (Expense) Revenue and
                                                                                                                                          Program Revenues                                                                                                             Changes in Net Position
                                                                                                                                                                                                                                                                         Primary Government

                                                                                                                                                                Operating                                           Capital Grants
                                                                                                                               Charges for                      Grants and                                               and                           Governmental           Business-type                               Component
       Functions/Programs                                                                     Expenses                          Services                       Contributions                                        Contributions                        Activities             Activities               Total              Units

       Primary government:
         Governmental activities:
          Legislative………………………………………………………………………………                                      $          981,519                             51,762                                                                                                     $         (929,757)                          $       (929,757)
          Management and planning……………………………………………………………                                         12,901,085                          4,993,877                         1,247,126                                                                           (6,660,082)                                (6,660,082)
           Administration of justice………………………………………………………………                                     38,949,070                          4,853,624                         9,505,889                                                                          (24,589,557)                               (24,589,557)
           Law enforcement and community protection………………………………………                               36,508,812                          1,775,139                         2,470,462                                                                          (32,263,211)                               (32,263,211)
           Human services………………………………………………………………………                                            130,931,244                         26,945,416                        64,863,400                                                                          (39,122,428)                               (39,122,428)
          Community enrichment and development…………………………………………                                   16,255,901                          4,436,810                         3,199,027                                                                           (8,620,064)                                (8,620,064)
         Interest on long-term debt……………………………………………………………                                        1,101,895                                                                                                                                                (1,101,895)                                (1,101,895)
                                                    Total governmental activities               237,629,526                         43,056,628                        81,285,904                                $                        0               (113,286,994)    $                0        (113,286,994)     $               0

        Business-type Activities:
         Commissary……………………………………………………………………………                                                     340,779                           534,689                                                                                                                                       193,910               193,910
         Delinquent Tax…………………………………………………………………………                                                4,757,339                        12,727,040                                                                                                                                     7,969,701             7,969,701
         Parks and Recreation Enterprise……………………………………………………                                         951,103                           353,734                                                                                                                                      (597,369)             (597,369)
         Parking Meter…………………………………………………………………………                                                   349,854                           322,516                                                                                                                                       (27,338)              (27,338)
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                                              Total business-type activities                       6,399,075                        13,937,979                                       0                                                   0                          0              7,538,904             7,538,904                    0

       Total primary government                                                          $      244,028,601                $        56,994,607                $       81,285,904                                  $                      0               (113,286,994)             7,538,904        (105,748,090)                     0

       Component units:
          Road Commission……………………………………………………………………                                              38,229,602                          8,067,639                        28,955,789                                                                                                                                            (1,206,174)
          Water and Waste Services…………………………………………………………                                         51,455,673                         52,560,768                                                                  $           1,620,118                                                                                        2,725,213
          Economic Development Corporation………………………………………………                                         22,087                                                                                                                                                                                                                    (22,087)
          Drains…………………………………………………………………………………                                                   4,267,568                             646,792                                                                             1,650,770                                                                                       (1,970,006)
          Land Bank Authority…………………………………………………………………                                            8,778,607                           5,796,756                         4,136,740                                              26,892                                                                                        1,181,781
          Brownfield Authority…………………………………………………………………                                             577,222                             270,004                                                                                                                                                                               (307,218)
          Storm Water Management System…………………………………………………                                          407,292                                                             290,269                                                                                                                                               (117,023)
          Genesee Health System Authority…………………………………………………                                    106,718,421                          4,143,468                       97,587,625                                             2,775,000                                                                                       (2,212,328)
       Total Component Units                                                             $      172,226,870                $        63,417,788                $     102,014,634                                   $         6,072,780                                                                                       (1,927,842)

                                                                                        General Revenues:
                                                                                           Current property taxes......................................................................               .........................................           69,503,562                                 69,503,562
                                                                                           State liquor tax..................................................................................        ..........................................            3,263,945                                  3,263,945
                                                                                           State cigarette tax.............................................................................          ..........................................               22,524                                     22,524
                                                                                           Use of money and investments.........................................................                     ..........................................              504,347                 71,437             575,784              1,757,481
                                                                                           Other unrestricted intergovernmental revenues................................                             ..........................................           16,031,090                                 16,031,090              1,808,843
                                                                                           Other unrestricted revenues..............................................................                  ..........................................           8,173,635                                  8,173,635
                                                                                           Unrestricted contributions.................................................................                .........................................                                                                              4,797,438
                                                                                        Transfers................................................................................................    ..........................................            4,889,264              (4,889,264)
                                                                                           Total general revenues and transfers…………………………………                                                        …………………………………                                        102,388,367              (4,817,827)        97,570,540              8,363,762
                                                                                           Special item - transfer of operations to Genesee Health Services…                                        ………………………………                                         (17,467,946)                               (17,467,946)            20,349,315
                                                                                           Change in net position……………………………………………………                                                                ………………………………                                        (28,366,573)              2,721,077        (25,645,496)             6,435,920
                                                                                        Net position - beginning………………………………………………………                                                                 ………………………………                                       125,960,184              19,152,609        145,112,793            427,872,851
                                                                                        Net position - ending…………………………………………………………                                                                 ………………………………                                   $      97,593,611      $       21,873,686    $   119,467,297       $    454,658,086




        The notes to the financial statements are an integral part of this statement.

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       BALANCE SHEET - ASSETS
       GOVERNMENTAL FUNDS


       GENESEE COUNTY                                                                                                                        Exhibit A-3-1




                                                                                                                                                                     September 30, 2013


                                                                                                                                                                                          Community
                                                                                                                                                   Mental                                   Action                                   Other                 Total
                                                                                                                                                   Health              County              Resource           Community           Governmental       Governmental
                                                                                                                               General            12/31/12             Health             Department         Development             Funds                Funds

       Cash and cash equivalents - Note C................................................................                  $                  $                  $                    $                  $         347,110    $          4,199,477   $     4,546,587
       Current and delinquent taxes receivable……………………………………………                                                                 13,998,293                                                                                                                13,998,293
       Investments - Note C....................................................................................…                                                                                                                         6,252,595         6,252,595
       Interest and accounts receivable......................................................................                      585,722                                 230,823                               13,674,560                167,401        14,658,506
       Due from other governmental units..................................................................                       2,195,233                                 141,407           3,362,789              418,437              8,544,324        14,662,190
       Due from other county funds -- Note L.............................................................                       15,473,922                               3,294,333             134,334                                   7,291,712        26,194,301
       Due from component unit -- Note L..................................................................                         500,000                                  19,040                                     311                     725           520,076
       Inventory.............................................................................................…………                                                                              485,062             638,400                 137,018         1,260,480
       Prepayments.....................................................................................................             20,690                                 22,020                                                            4,173            46,883
       Other assets.....................................................................................................                                                                       109,080                                       5,227           114,307
       Deposits and employee advances…………………………………………………                                                                          333,309                                                                                                                    333,309
       Long term advance to component unit……………………………………………                                                                                                                                                                              1,765,000         1,765,000
       Long-term advances.........................................................................................               1,840,809                                                                                                                 1,840,809

                                                                                            TOTAL ASSETS                   $    34,947,978    $              0   $       3,707,623    $      4,091,265   $      15,078,818    $         28,367,652   $    86,193,336
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       The notes to the financial statements are an integral part of this statement.


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       BALANCE SHEET - LIABILITIES AND FUND EQUITIES
       GOVERNMENTAL FUNDS


       GENESEE COUNTY                                                                                                              Exhibit A-3-2




                                                                                                                                                          September 30, 2013


                                                                                                                                                                                   Community
                                                                                                                                        Mental                                       Action                                   Other                 Total
                                                                                                                                        Health               County                 Resource            Community          Governmental       Governmental
                                                                                                                     General           12/31/12              Health                Department          Development            Funds                Funds

       Accounts payable................................................................................………… $            588,249   $                  $          153,228       $        863,019    $        255,556    $          1,876,403   $     3,736,455
       Accrued payroll..........................................................................................……       966,327                                 424,675                111,270                                     555,007         2,057,279
       Other accrued liabilities and deposits....................................................………                       5,245                                                                                                    256,261           261,506
       Due to other governmental units............................................................………                          0                                 211,665                                     358,714              2,470,429         3,040,808
       Due to other county funds -- Note L......................................................…………                  16,222,684                                 297,525              3,412,680              132,625              5,271,713        25,337,227
       Due to component unit -- Note L......................................................……………                                                                                                             26,359                                   26,359
       Deferred revenue.............................................................................……………              4,848,792                                  81,482                147,962           13,667,164              3,010,921        21,756,321

                                                                               TOTAL LIABILITIES                      22,631,297                  0            1,168,575              4,534,931           14,440,418          13,440,734           56,215,955
       Fund equities:
        Fund balances - Notes F, G and S:
          Nonspendable……………………………………………………………………                                                                       1,861,499                                  22,020                485,062             638,400            1,906,041            4,913,022
          Restricted…………………………………………………………………………                                                                                                                                                                               5,481,383            5,481,383
          Committed…………………………………………………………………………                                                                                                                                                                                   74,994               74,994
          Assigned…………………………………………………………………………                                                                         1,000,000                               2,517,028                                                       9,690,305           13,207,333
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          Unassigned………………………………………………………………………                                                                        9,455,182                                                       (928,728)                              (2,225,805)           6,300,649
                                          TOTAL FUND EQUITIES                                                         12,316,681                  0            2,539,048               (443,666)            638,400           14,926,918           29,977,381


                                                 TOTAL LIABILITIES AND FUND EQUITIES                            $     34,947,978   $              0   $        3,707,623       $      4,091,265    $      15,078,818   $      28,367,652      $    86,193,336




       The notes to the financial statements are an integral part of this statement.




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       RECONCILIATION OF THE BALANCE SHEET OF GOVERNMENTAL FUNDS
       TO THE STATEMENT OF NET POSITON


       GENESEE COUNTY                                                                                             Exhibit A-3-3




                                                                                                                 September 30, 2013


       Fund balances of governmental funds                                                                         $     29,977,381

       Amounts reported for governmental activities in the statement of net position are different because:

            Capital assets used in governmental activities are not financial resources and, therefore are
            not reported in the funds                                                                                    95,124,850
                                                                                                                                             This Page was Intentionally Left Blank
            Other long-term assets are not available to pay for current-period expenditures and, therefore,
            are deferred in the funds:

              Property taxes                                                                                              4,763,452
              Grant receivable                                                                                           15,018,360
              Rental income from component units                                                                          1,765,000

            Net position held in internal service funds are classified as held for governmental activities but
            are not reported in the funds. This amount is the net position exclusive of capital assets and
            long-term debt which are reported elsewhere in this reconciliation                                            8,815,004

            Net OPEB asset                                                                                                        0
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            Net OPEB liability                                                                                          (29,095,022)

            Long-term liabilities, including long-term notes, bonds payable and accrued interest payable
            are not due in the current period, and therefore, are not reported in the funds                             (28,775,414)

       Net position of governmental activities                                                                    $      97,593,611




            The notes to the financial statements are an integral part of this statement.

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       STATEMENT OF REVENUES, EXPENDITURES AND
       CHANGES IN FUND BALANCES
       GOVERNMENTAL FUNDS

       GENESEE COUNTY                                                                                                                                 Exhibit A-4

                                                                                                                                                                        Fiscal Year Ended September 30, 2013
                                                                                                                                                                                               Community
                                                                                                                                                         Mental                                  Action                                      Other                  Total
                                                                                                                                                         Health              County             Resource             Community            Governmental        Governmental
                                                                                                                                   General              12/31/12              Health           Department           Development              Funds                 Funds

       Revenues:
        Taxes--Note H.................................................................................................         $    45,261,951    $                     $                    $                  $                     $         24,439,051    $    69,701,002
        Licenses and permits......................................................................................                     909,814                                 1,031,767                                                             6,740          1,948,321
        Fines and forfeitures.......................................................................................                 1,564,789                                                                                                     104,845          1,669,634
        Use of money and property............................................................................                           58,600                                                                                                     445,747            504,347
        Federal grants--Note G...................................................................................                      223,108            1,231,478            5,262,724          22,841,798            3,366,735               25,517,422         58,443,265
        State grants--Note G.......................................................................................                                       4,477,801            2,770,726           1,403,379                                    10,890,711         19,542,617
        Other intergovernmental revenues.................................................................                           14,276,577                                   527,339                                                         5,391,666         20,195,582
        Charges for services.......................................................................................                 10,721,032           27,841,645              355,765                                                         7,096,472         46,014,914
        Other...............................................................................................................           813,083              785,018            1,817,978           4,039,962              109,446                1,143,816          8,709,303
                                                                                           TOTAL REVENUES                           73,828,954           34,335,942           11,766,299          28,285,139            3,476,181               75,036,470        226,728,985
       Expenditures:
        Current operations:
         Legislative.....................................................................................................              922,513                                                                                                                        922,513
         Management and planning...........................................................................                          7,693,035                                                                                                                      7,693,035
         Administration of justice................................................................................                  22,747,986                                                                                                  12,428,509         35,176,495
         Law enforcement and community protection................................................                                   21,577,256                                                                                                  11,871,620         33,448,876
         Human services............................................................................................                  1,234,017           35,247,757           13,566,386          28,857,356                                    40,103,507        119,009,023
         Community enrichment and development....................................................                                                                                                                       4,362,381               14,687,753         19,050,134
         General support services..............................................................................                                                                                                                                                             0
         Other.............................................................................................................          2,696,188                                                                                                     638,458          3,334,646
B-37




        Capital outlay..................................................................................................               235,905               81,028                                  250,810                                     2,981,819          3,549,562
        Contribution to Component Units-Mental Health Services.............................                                          2,775,000                                                                                                                      2,775,000
        Debt service:
         Principal payments.......................................................................................                                                                                                                             2,365,000            2,365,000
         Interest..........................................................................................................                                                                                                                    1,249,358            1,249,358
                                                                                   TOTAL EXPENDITURES                               59,881,900           35,328,785           13,566,386          29,108,166            4,362,381             86,326,024          228,573,642
                                               REVENUES OVER (UNDER) EXPENDITURES                                                   13,947,054             (992,843)          (1,800,087)           (823,027)            (886,200)           (11,289,554)          (1,844,657)


       Other financing sources (uses):
         Transfers-In...................................................................................................             6,723,572              925,000            3,079,023             640,742                                    17,591,779         28,960,116
         Transfers-Out................................................................................................             (20,100,224)                                                     (361,911)                                   (5,039,176)       (25,501,311)
                                         TOTAL OTHER FINANCING SOURCES (USES)                                                      (13,376,652)             925,000            3,079,023             278,831                      0             12,552,603          3,458,805

       Special item - transfer of operations to Genesee Health Services………………                                                                            (17,467,946)                                                                                             (17,467,946)

                                               NET CHANGE IN FUND BALANCES                                                             570,402           (17,535,789)          1,278,936            (544,196)            (886,200)               1,263,049        (15,853,798)
       Fund balance at beginning of year...................................................................                         11,746,279            17,535,789           1,260,112             100,530            1,524,600               13,663,869         45,831,179
                                                FUND BALANCE AT END OF YEAR                                                    $    12,316,681    $                0    $      2,539,048     $      (443,666)   $         638,400     $         14,926,918    $    29,977,381




       The notes to the financial statements are an integral part of this statement.



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       RECONCILIATION OF THE STATEMENT OF REVENUES, EXPENDITURES,
       AND CHANGES IN FUND BALANCES OF GOVERNMENTAL FUNDS
       TO THE STATEMENT OF ACTIVITIES

       GENESEE COUNTY                                                                                                   Exhibit A-5




                                                                                                     Fiscal Year Ended September 30, 2013


       Net change in fund balances--total governmental funds                                                             $   (15,853,798)

       Amounts reported for governmental activities in the statement of activities are different because:

            Governmental funds report capital outlay as expenditures, however, in the statement of
            activities the cost of assets is allocated over their useful lives and reported as depreciation
            expense. Details of the difference are:                                                                                               This Page was Intentionally Left Blank
               -Capital outlay                                                                                                  3,706,103

               -Loss on Disposals                                                                                               (198,029)

               -Depreciation expense                                                                                          (4,138,670)

            Decrease in net OPEB asset                                                                                        (1,604,133)

            Increase in net OPEB liability                                                                                    (9,100,225)

            Revenues in the statement of activities that do not provide current financial resources are not
                                                                                                                              (3,672,558)
B-38




            reported as revenues in the funds


            Change in accrued interest                                                                                           153,399



            The payment of principal on long-term debt consumes current financial resources of the
            governmental funds. However, on the statement of net position, repayment of principal is
            recorded as a reduction to long-term debt payable and does not have any effect on net position
                                                                                                                                2,339,500

            The activities of the internal service funds are considered part of governmental activities on the
            statement of changes in net position but are not reported in the funds                                                 1,838


       Change in net position of governmental activities                                                                $    (28,366,573)




       The notes to the financial statements are an integral part of this statement.


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       BALANCE SHEET--PROPRIETARY FUNDS



       GENESEE COUNTY                                                                                                                         Exhibit A-6




                                                                                                                                                                                    September 30, 2013           Governmental
                                                                                                                                   Business Type Activities -   Enterprise Funds                                  Activities-
                                                                                                                                                                    Non-Major                                      Internal
                                                                                                                                       Delinquent                   Enterprise                                     Service
                                                                                                                                         Taxes                        Funds                       Total             Funds

       ASSETS
       CURRENT ASSETS
        Cash and cash equivalents.............................................................................                 $                509,189         $       1,397,664        $       1,906,853   $        712,065
        Investments....................................................................................................                       6,410,708                   948,811                7,359,519          9,101,599
        Current and delinquent property taxes receivable,
          less allowance for uncollectibles of $1,050,316 ..........................................                                        43,643,971                                          43,643,971
        Interest and accounts receivable, less allowance $2,338,560.......................                                                   4,579,064                                           4,579,064             78,262
        Due from other governmental units................................................................                                    4,186,972                     73,356                4,260,328            268,836
        Due from other county funds..........................................................................                                1,215,270                                           1,215,270          7,073,878
        Due from component unit...............................................................................                                 466,518                                             466,518
        Supplies inventory..........................................................................................                                                       34,448                   34,448             45,164
        Prepayments...................................................................................................                                                     23,448                   23,448          1,101,329
                                                                         TOTAL CURRENT ASSETS                                               61,011,692                  2,477,727               63,489,419         18,381,133

       CAPITAL ASSETS
        Construction in progress……………………………………………………………                                                                                                                                                                40,938
        Land................................................................................................................                  2,439,608                   706,110                3,145,718            193,496
        Land improvements........................................................................................                                                       3,086,571                3,086,571
        Buildings and improvements...........................................................................                                                           1,181,214                1,181,214          2,481,824
B-39




        Equipment.......................................................................................................                       507,486                  3,920,856                4,428,342         10,293,291
                                                                                TOTAL CAPITAL ASSETS                                         2,947,094                  8,894,751               11,841,845         13,009,549
        Less allowances for depreciation....................................................................                                   444,960                  8,037,305                8,482,265         10,225,664
                                                                       TOTAL CAPITAL ASSETS, NET                                             2,502,134                    857,446                3,359,580          2,783,885
                                                                                                TOTAL ASSETS                   $            63,513,826          $       3,335,173        $      66,848,999   $     21,165,018


       LIABILITIES
       CURRENT LIABILITIES
         Accounts payable...........................................................................................           $               346,562          $          52,174        $         398,736   $        555,050
         Accrued payroll...............................................................................................                                                    13,980                   13,980          1,382,691
         Other accrued liabilities and deposits.............................................................                                    464,663                    56,123                  520,786            178,775
         Due to other governmental units.....................................................................                                         5                         0                        5            764,778
         Due to other County funds..............................................................................                              7,862,897                    17,725                7,880,622          1,265,600
         Compensated absences…………………………………………………………..                                                                                                                                                               3,578,426
         Current portion of notes/bonds payable.........................................................                                     8,900,000                     28,500                8,928,500          1,567,058
                                                                   TOTAL CURRENT LIABILITIES                                                17,574,127                    168,502               17,742,629          9,292,378
       LONG-TERM DEBT
         Net OPEB obligation………………………………………………………………                                                                                           100,934                    213,750                  314,684
         General and workers' compensation claim/Liability........................................                                                                                                                  2,561,998
         Long-term advance…………………………………………………………………                                                                                                                                                                 1,840,809
         Notes/bonds payable exclusive of current portion..........................................                                         26,900,000                     18,000               26,918,000            650,483
                                                                          TOTAL LONG-TERM DEBT                                              27,000,934                    231,750               27,232,684          5,053,290
                                                                                      TOTAL LIABILITIES                                     44,575,061                    400,252               44,975,313         14,345,668

       NET POSITION:
         Restricted for:
          Retirement of delinquent tax notes payable...............................................                                         10,345,404                                          10,345,404
          Parks & recreation non-expendable……………………………………………                                                                                                              948,811                  948,811
          Capital improvement……………………………………………………………                                                                                                                                                                   89,786
         Net investment in capital assets…………………………………………………                                                                                 2,502,134                    810,946                3,313,080          2,768,013
         Unrestricted..................................................................................................                      6,091,227                  1,175,164                7,266,391          3,961,551
                                                                                       TOTAL Net Position                      $            18,938,765          $       2,934,921        $      21,873,686   $      6,819,350


       The notes to the financial statements are an integral part of this statement.




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       STATEMENT OF REVENUES, EXPENSES AND CHANGES IN
       FUND NET POSITION--PROPRIETARY FUNDS


       GENESEE COUNTY                                                                                                                Exhibit A-7




                                                                                                                                            Fiscal   Year Ended September 30, 2013                        Governmental
                                                                                                                                        Business     Type Activities - Enterprise Funds                    Activities-
                                                                                                                                                         Non-Major                                          Internal
                                                                                                                                Delinquent               Enterprise                                         Service
                                                                                                                                  Taxes                    Funds                      Total                  Funds

       Operating revenues:
          Charges for sales and services………………………………………………… $                                                                       12,727,040       $                       $         12,727,040     $        25,099,514
          Ticket, permit & concession sales.............................................................                                                       1,210,939                1,210,939
                                                 TOTAL OPERATING REVENUES                                                           12,727,040                 1,210,939               13,937,979              25,099,514

       Operating expenses:
         Salaries and fringe benefits..........................................................................                        437,897                   612,655                1,050,552               5,182,498
         Supplies and other operating expenses.......................................................                                3,955,036                   922,706                4,877,742              20,340,732
         Depreciation..................................................................................................                101,497                   102,775                  204,272               1,085,240
                                                                TOTAL OPERATING EXPENSES                                             4,494,430                 1,638,136                6,132,566              26,608,470
                                                                    OPERATING INCOME (LOSS)                                          8,232,610                  (427,197)               7,805,413              (1,508,956)

       Non-operating revenues (expenses):
         Investment earnings.....................................................................................                        4,050                    67,387                    71,437               199,343
         Interest expense...........................................................................................                  (262,909)                   (3,600)                 (266,509)               (1,099)
         Gain (loss) on sale of property and equipment.............................................                                                                                                              552,091
         Contribution to Component Units-Land Bank Authority & Brownfield...........                                                  (670,000)                                          (670,000)
B-40




                             TOTAL NON-OPERATING REVENUES (EXPENSES)                                                                  (928,859)                   63,787                 (865,072)                750,335
                                                 INCOME (LOSS) BEFORE TRANSFERS                                                      7,303,751                  (363,410)               6,940,341                (758,621)

          Transfers-in...................................................................................................                                        545,000                   545,000               760,459
          Transfers-out.................................................................................................            (4,735,164)                  (29,100)               (4,764,264)
                                                                                      TOTAL TRANSFERS                               (4,735,164)                  515,900                (4,219,264)              760,459
                                                                         CHANGE IN NET POSITION                                      2,568,587                   152,490                 2,721,077                 1,838

       Net position at beginning of year......................................................................                      16,370,178                 2,782,431               19,152,609               6,817,512
                                                    NET POSITION AT END OF YEAR                                             $       18,938,765       $         2,934,921     $         21,873,686     $         6,819,350




       The notes to the financial statements are an integral part of this statement.




                                                                                                               36                                                                                                  37
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       STATEMENT OF CASH FLOWS-
       PROPRIETARY FUNDS


       GENESEE COUNTY                                                                                                                                  Exhibit A-8


                                                                                                                                                                              Fiscal Year Ended September 30, 2013           Governmental
                                                                                                                                                           Business Type      Activities - Enterprise Funds                   Activities-
                                                                                                                                                                                      Non-Major                                Internal
                                                                                                                                                             Delinquent               Enterprise                               Service
                                                                                                                                                               Taxes                    Funds               Total               Funds

       CASH FLOWS FROM OPERATING ACTIVITIES:
        Cash received from customers....................................................................................................               $        39,151,903       $      1,211,388    $     40,363,291    $      24,974,703
        Cash payment for delinquent taxes……………………………………………………………………                                                                                            (24,818,278)                               (24,818,278)
        Cash payments to suppliers for goods and services...................................................................                                    (4,709,998)              (902,189)         (5,612,187)          (21,088,027)
        Cash payments to employees for services..................................................................................                                                        (530,590)           (530,590)           (4,701,583)
        Other operating revenues............................................................................................................                    1,108,676                                   1,108,676
                                    NET CASH PROVIDED (USED) FOR OPERATING ACTIVITIES                                                                          10,732,303                (221,391)         10,510,912             (814,907)

       CASH FLOWS FROM NONCAPITAL FINANCING ACTIVITIES:
        Borrowing under delinquent tax notes payable............................................................................                                39,900,000                                 39,900,000
        Repayments under delinquent tax notes payable........................................................................                                  (46,400,000)                               (46,400,000)
        Interest paid on delinquent tax notes payable.............................................................................                                (273,278)                                  (273,278)
        Advances (repayments) to other governmental units, County units and funds……………………                                                                        2,670,798                                  2,670,798            1,544,909
        Transfer to component unit………………………………………………………………………………                                                                                                  (670,000)                                  (670,000)
        Transfers-in from other funds.......................................................................................................                                             545,000              545,000              760,459
        Transfers-out to other funds.........................................................................................................                   (4,735,164)              (29,100)          (4,764,264)
                                 NET CASH PROVIDED BY NONCAPITAL FINANCING ACTIVITIES                                                                           (9,507,644)              515,900           (8,991,744)           2,305,368

       CASH FLOWS FROM CAPITAL AND RELATED FINANCING ACTIVITIES:
         Acquisition and construction of capital assets.............................................................................                              344,220                                     344,220            (1,169,857)
B-41




         Principal paid on long-term debt..................................................................................................                                               (25,500)            (25,500)             (501,929)
         Interest paid on long-term debt....................................................................................................                                                                                         (1,099)
         Proceeds from sale of long-term debt..........................................................................................                                                                                              46,935
        NET CASH PROVIDED BY (USED FOR) CAPITAL AND RELATED FINANCING ACTIVITIES                                                                                  344,220                 (25,500)            318,720            (1,625,950)

       CASH FLOWS FROM INVESTING ACTIVITIES:
        Purchase of investment securities...............................................................................................                       (59,401,349)                               (59,401,349)           (5,536,260)
        Proceeds from sale and maturities of investment securities........................................................                                      56,500,000                                 56,500,000             5,784,484
        Interest and dividends on investments earnings (loss)................................................................                                        4,050                 (4,761)               (711)              199,681
                                  NET CASH PROVIDED BY (USED FOR) INVESTING ACTIVITIES                                                                          (2,897,299)                (4,761)         (2,902,060)              447,905
                                              NET DECREASE IN CASH AND CASH EQUIVALENTS                                                                         (1,328,420)               264,248          (1,064,172)              312,416
       Cash and cash equivalents at beginning of year............................................................................                                1,837,609              1,133,416           2,971,025               399,649
                                                CASH AND CASH EQUIVALENTS AT END OF YEAR                                                               $           509,189       $      1,397,664    $      1,906,853    $          712,065

       RECONCILIATION OF OPERATING INCOME (LOSS) TO NET CASH PROVIDED
        BY (USED FOR) OPERATING ACTIVITIES:
        Operating income (loss)...............................................................................................................         $        8,232,610        $       (427,196)   $      7,805,414    $       (1,508,958)
        Adjustments to reconcile operating income (loss) to net cash provided by
        (used for) operating activities:
          Depreciation..............................................................................................................................              101,497                102,775              204,272            1,085,239
          Provision for uncollectible accounts..........................................................................................                          (63,456)                                    (63,456)
          Change in assets and liabilities:
           (Increase) decrease in current and delinquent property taxes receivable..............................                                                2,700,320                                   2,700,320             (180,234)
           (Increase) decrease in interest and accounts receivable........................................................                                         78,397                                      78,397              327,931
           (Increase) decrease in supplies inventory..............................................................................                                                         (1,649)             (1,649)              (7,449)
           Increase in net OPEB liability………………………………………………………………………                                                                                               34,745                  82,765             117,510
           (Increase) decrease in prepayment and other current assets................................................                                                                                                               16,533
           Increase (decrease) in accounts payable and related items...................................................                                          (351,810)                (31,616)           (383,426)            (249,978)
           Increase (decrease) in accrued payroll...................................................................................                                                      (22,335)            (22,335)             480,379
           Increase (decrease) in other accrued liabilities and deposits.................................................                                                                  75,865              75,865             (778,370)
        Net cash provided by (used for) operating activities....................................................................                       $       10,732,303        $       (221,391)   $     10,510,912    $        (814,907)

         Noncash investing activities - increase in fair value of investments…………………………………                                                                                              72,148                 72,148

       The notes to the financial statements are an integral part of this statement.



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       GENESEE COUNTY EMPLOYEES' FIDUCIARY FUNDS                                                                                                                                     GENESEE COUNTY
       STATEMENT OF FIDUCIARY NET POSITION                                                                                                                                           STATEMENT OF CHANGES IN FIDUCIARY NET POSITION
       FIDUCIARY FUNDS

       GENESEE COUNTY                                                                                                                                                Exhibit A-9     GENESEE COUNTY                                                                                                                                          Exhibit A-10



                                                                                                                                                                                                                                                                                                                                                Fiscal
                                                                                                                                                       September 30, 2013                                                                                                                                                                    Year Ended
                                                                                                                                         Total Pension and                                                                                                                                                                                September 30, 2013
                                                                                                                                         Employee Fringe                                                                                                                                                                                    Total Pension
                                                                                                                                          Benefit (VEBA)                                                                                                                                                                                    and Employee
                                                                                                                                            Trust Fund              Agency Funds                                                                                                                                                                Benefit
       ASSETS                                                                                                                                                                                                                                                                                                                                 Trust Fund
        Cash and short-term cash investments...........................................................................                  $    31,225,499         $      22,028,939   ADDITIONS
        Cash and investments held as collateral for securities lending.......................................                                  3,211,330                              Contributions:
                                                                 TOTAL CASH AND CASH EQUIVALENTS                                              34,436,829                22,028,939      Employer...................................................................................................................................   $            23,922,670
        Receivables:                                                                                                                                                                    Plan members...........................................................................................................................                     3,463,274
          Prepaid expenses……………………………………………………………………………                                                                                          176,214                                  Total contributions                                                                                                                                      27,385,944
          Other receivables.........................................................................................................             565,862                    3,655      Investment earnings:
          Accrued interest and dividends....................................................................................                   2,392,777                               Net increase
                                                                                                TOTAL RECEIVABLES                              3,134,853                    3,655         in fair value of investments...................................................................................................                          44,560,920
         Investments at fair value:                                                                                                                                                    Interest……………………………………………………………………………………………………                                                                                                               5,273,920
            U.S. government securities......................................................................................                  72,917,991                               Dividends…………………………………………………………………………………………………                                                                                                               3,145,251
            Foreign govts. and agencies....................................................................................                   99,630,175                                 Total investment earnings……………………………………………………………………………                                                                                                    52,980,091
            Corporate bonds......................................................................................................             48,582,942                               Less investment expense………………………………………………………………………………                                                                                                        2,254,321
            Common stocks.......................................................................................................              73,783,276                                    Net investment earnings…………………………………………………………………………                                                                                                    50,725,770
            Preferred stocks.......................................................................................................              112,496                                    Total additions……………………………………………………………………………………                                                                                                        78,111,714
            Money market………………………………………………………………………………                                                                                           570,065
            Mutual funds.............................................................................................................         97,357,238                                 Securities lending income:
            Real estate...............................................................................................................        23,839,634                                     Interest and fees……………………………………………………………………………………                                                                                                         27,341
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            Hedge fund of funds.................................................................................................              40,017,051                                     Borrower rebates and bank fees…………………………………………………………………                                                                                                   27,159
                                                                                               TOTAL INVESTMENTS                             456,810,868                                     Net securities lending income……………………………………………………………………                                                                                                   54,500
                                                                                                          TOTAL ASSETS                       494,382,550                22,032,594           Total additions ……………………………………………………………………………………                                                                                                      78,166,214

       LIABILITIES                                                                                                                                                                   DEDUCTIONS
         Accounts payable………………………………………………………………………………                                                                                       28,759,578                22,032,594    Benefits...........................................................................................................................…………                      53,979,220
         IBNR liability………………………………………………………………………………………                                                                                         501,818                              Refunds of contributions…………………………………………………………………………………                                                                                                         270,198
         Amounts due broker under securities lending agreement...............................................                                  3,231,440                              Administrative expenses…………………………………………………………………………………                                                                                                          314,672
                                                                           TOTAL LIABILITIES                                                  32,492,836                22,032,594    Transfer to other pensions plans………………………………………………………………………                                                                                                   3,090,929
                                                                                                                                                                                               Total deductions…………………………………………………………………………………                                                                                                     57,655,019
       NET POSITION                                                                                                                                                                               Change in net position………………………………………………………………………                                                                                                20,511,195
       Held in trust for pension benefits                                                                                                                                            Net position - Held in trust for pension benefits and other purposes - beginning of the year………                                                              441,378,519
        and other purposes………………………………………………………………………………                                                                                 $   461,889,714         $                   Net position - Held in trust for pension benefits and other purposes - end of the year……………… $                                                               461,889,714




       The notes to the financial statements are an integral part of this statement.                                                                                                 The notes to the financial statements are an integral part of this statement.


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       STATEMENT OF NET POSITION
       COMPONENT UNITS


       GENESEE COUNTY                                                                                                                                       Exhibit A-11




                                                                                                                                              Water and             Economic                                                                      Storm Water       Genesee Health
                                                                                                                              Road              Waste              Development                           Land Bank           Brownfield           Management           System
                                                                                                                           Commission          Services            Corporation        Drains              Authority           Authority             System            Authority
                                                                                                                             9/30/13          12/31/12               09/30/13         9/30/13              9/30/13            09/30/13              09/30/13           09/30/13            Total

       ASSETS
        Cash and cash equivalents........................................................................              $      8,490,782   $    13,936,397      $        648,407   $     4,238,997    $       1,656,186   $          18,155    $           473,477   $    41,269,263   $    70,731,664
        Investments………………………………………………………………………                                                                               15,190,537                                                   201,629                                  970,000                100,000        16,315,285        32,777,451
        Special Assessments and Lease Receivable.............................................                                 4,667,139        28,699,265                               4,846,447            5,531,912                                                                     43,744,763
        Interest and accounts receivable................................................................                         81,465         8,812,458               107,233                                697,274                                                    2,479,240        12,177,670
        Due from other governmental units............................................................                         6,781,036           300,325                                                      418,866                                       929          1,893,933         9,395,089
        Current portion of land contract…………………………………………………                                                                                                                                                                        225,000                                                    225,000
        Due from primary government....................................................................                                                                                                         26,359                                                                         26,359
        Advances to other funds…………………………………………………………                                                                                                                                                        1,604,423                                                                      1,604,423
        Inventory.....................................................................................................        1,284,832           75,625                                  60,812             1,076,748                                                                      2,498,017
        Prepayments..............................................................................................               322,098          493,266                                                           740                                                     731,938          1,548,042
        Unamortized cost of issuance…………………………………………………                                                                                          679,048                                                                                                                                      679,048
        Other assets...............................................................................................                               93,000                                                       13,801            2,475,000                                                  2,581,801
        Restricted Assets:
        Cash and cash equivalents........................................................................                     4,546,470          243,008                                                       60,616                                                                       4,850,094
        Local unit construction in progress……………………………………………                                                                                     156,500                                                                                                                                      156,500
        Net OPEB asset…………………………………………………………………                                                                                  56,123                                                                                                                                    602,074            658,197
        Investment in joint venture………………………………………………………                                                                                                                                                     3,893,843                                                                      3,893,843
        Intangible assets - Net…………………………………………………………                                                                                                                                                           12,188                                                                         12,188
        Capital assets not being depreciated…………………………………………                                                                    959,211        55,779,523                                                       84,308                                                      981,856        57,804,898
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        Capital assets net of depreciation………………………………………………                                                                180,023,271       267,120,100                             22,778,909             7,347,345                                                    2,978,684       480,248,309
                                                                                          TOTAL ASSETS                      222,402,964       376,388,515               755,640       32,126,794            22,424,609           3,688,155                574,406        67,252,273       725,613,356



       LIABILITIES
         Accounts payable.......................................................................................              1,673,037         5,032,859                 1,798           83,544              351,826                                      66,881        15,894,597        23,104,542
         Accrued payroll...........................................................................................                                                                       11,125               95,360                                                                         106,485
         Other accrued liabilities and deposits.........................................................                        680,744                                                  582,970               46,785                                                      642,190          1,952,689
         Accrued interest payable............................................................................                                                                             29,453                                   247,833                                                    277,286
         Due to other governmental units................................................................                                         391,298                                                                                                                 20,985,130        21,376,428
         Due to Primary Government……………………………………………………                                                                                                                                   500,000              467,554                                                        19,040           986,594
         Funds held in escrow……………………………………………………………                                                                                                                                                                               225,000                                                    225,000
         Advances from other funds……………………………………………………                                                                                                                                                       1,231,285                                                                      1,231,285
         Unamortized note premium……………………………………………………                                                                                                                                                                              389,289                                                    389,289
         Unearned revenue......................................................................................               2,244,190          156,500                                                       61,660                                                     8,663,795        11,126,145
         Payable from restricted assets:
          Accounts payable....................................................................................                  509,507          243,008                                    6,680                                                                                             759,195
         Long-term advance from primary government...........................................                                                                                                                1,765,000                                                                      1,765,000
         Net OPEB obligation……………………………………………………………                                                                                             5,676,066                                                                                                                                   5,676,066
         Current portion debt………………………………………………………………                                                                         2,180,798        10,845,000                                                      443,296             255,000                                  863,148        14,587,242
         Long-term debt...........................................................................................           10,412,741       159,837,896                               3,165,437            1,498,267          12,110,000                                  367,683       187,392,024
                                                                                 TOTAL LIABILITIES                           17,701,017       182,182,627                 1,798         4,379,209            5,961,033          13,227,122                 66,881        47,435,583       270,955,270

       NET POSITION
         Net investment in capital assets………………………………………………                                                                 169,457,482       181,595,040                             19,613,472             4,326,004                                                   3,960,540        378,952,538
         Restricted for:
           Programs……………………………………………………………………                                                                                                                           736,680           60,812               229,750                                 507,525           9,114,728         10,649,495
           Debt service.........................................................................................                                3,098,052                                                       60,616                                                                      3,158,668
         Unrestricted (deficit).................................................................................             35,244,465         9,512,796                17,162        8,073,301           11,847,206           (9,538,967)                              6,741,422         61,897,385
                                                        TOTAL NET POSITION (DEFICIT)                                  $     204,701,947   $   194,205,888      $        753,842   $   27,747,585     $      16,463,576   $      (9,538,967)   $        507,525      $   19,816,690    $   454,658,086



       The notes to the financial statements are an integral part of this statement.




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       STATEMENT OF ACTIVITIES
       COMPONENT UNITS


       GENESEE COUNTY                                                                                                                                                             Exhibit A-12



                                                                                                                                                                                                                   Net (Expense) Revenue and
                                                                                                              Program Revenues                                                                                       Changes in Net Position
                                                                                                                                                                                                                           Component Units
                                                                                                                                                                                                                 Water and         Economic                                                                                          Storm Water         Genesee Health
                                                                                                                    Operating                        Capital                            Road                      Waste           Development                                      Land Bank              Brownfield                 Management             System
                                                                                      Charges for                   Grants and                     Grants and                        Commission                  Services         Corporation               Drains                  Authority              Authority                   System              Authority
                                                        Expenses                       Services                    Contributions                  Contributions                        9/30/13                   12/31/12            9/30/13               09/30/13                  9/30/13               09/30/13                    09/30/13             09/30/13                Total

       Component units:
          Road Commission……………………… $                       38,229,602             $       8,067,639            $      28,955,789            $                                 $            (1,206,174)   $                      $                  $                       $                      $                          $                       $                     $        (1,206,174)
          Water and Waste Services……………                    51,455,673                    52,560,768                                                     1,620,118                                                   2,725,213                                                                                                                                                        2,725,213
          Economic Development Corporation…                    22,087                                                                                                                                                                   (22,087)                                                                                                                                       (22,087)
          Drains……………………………………                              4,267,568                        646,792                                                    1,650,770                                                                                            (1,970,006)                                                                                                            (1,970,006)
          Land Bank Authority……………………                       8,778,607                      5,796,756                    4,136,740                          26,892                                                                                                                     1,181,781                                                                                      1,181,781
          Brownfield Authority……………………                        577,222                        270,004                                                                                                                                                                                                            (307,218)                                                             (307,218)
          Storm Water Management System……                     407,292                                                    290,269                                                                                                                                                                                                         (117,023)                                    (117,023)
          Genesee Health System Authority……               106,718,421                     4,143,468                   97,587,625                        2,775,000                                                                                                                                                                                            (2,212,328)            (2,212,328)
       Total Component Units                $             172,226,870             $      63,417,788            $     102,014,634            $           6,072,780                          (1,206,174)              2,725,213           (22,087)             (1,970,006)              1,181,781                 (307,218)                (117,023)           (2,212,328)            (1,927,842)

                                                   Revenues:
                                                    Taxes..................................................................................................................
                                                    Use of money and investments..........................................................................                                   383,791                1,326,056             4,301                  1,054                      717                    2,620                    1,114                37,828              1,757,481
                                                    Other intergovernmental revenues.....................................................................                                                                                                                             1,808,843                                                                                      1,808,843
                                                    Unrestricted contributions……………………………………………………………                                                                                      1,215,798                  930,054                                                         1,009,711                                                               1,641,875              4,797,438
                                                   Total general revenues and transfers…………………………………………………                                                                                 1,599,589                2,256,110             4,301                  1,054                2,819,271                    2,620                    1,114             1,679,703              8,363,762
                                                   Special item - transfer of operations to Genesee Health Services…………………                                                                                                                                                                                                                                   20,349,315             20,349,315
                                                    Change in net position…………………………………………………………………                                                                                          393,415                4,981,323           (17,786)            (1,968,952)               4,001,052                  (304,598)               (115,909)             (532,625)             6,435,920
                                                   Net position - beginning of the year (deficit) as restated……………………………                                                                 204,308,532              189,224,565           771,628             29,716,537               12,462,524                (9,234,369)                623,434                                  427,872,851
                                                   Net position - end of year (deficit)………………………………………………………                                                                  $          204,701,947         $    194,205,888       $   753,842        $    27,747,585         $     16,463,576       $        (9,538,967)       $        507,525        $   19,816,690        $   454,658,086
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       The notes to the financial statements are an integral part of this statement.




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       NOTES TO FINANCIAL STATEMENTS

       GENESEE COUNTY                                                                                                                  EXHIBIT A-13

       NOTE A – DESCRIPTION OF COUNTY OPERATIONS, REPORTING ENTITY, AND FUND TYPES                                                                                 NOTE B – SUMMARY OF SIGNIFICANT ACCOUNTING POLICIES

                  The County of Genesee, Michigan was incorporated on March 18, 1835 and covers an area of approximately 642 square miles with the                           Government-wide and fund financial statements: The County is following GASB Statement No. 34, Basic Financial Statements-and
       county seat located in the City of Flint. The County operates under an elected Board of Commissioners (9 members) and provides services to its              Management’s Discussion and Analysis – for State and Local Governments. The standard requires government-wide and fund financial statements.
       more than 425,000 residents in many areas including law enforcement, administration of justice, community enrichment and development, and                   The government-wide financial statements (i.e., the statement of net position and the statement of changes in net position) report information on all
       human services. Education services are provided to citizens through more than 198 schools in 21 local school districts, 5 colleges, and a district          of the non-fiduciary activities of the primary government and its component units. For the most part, the effect of inter fund activity has been
       library; such districts, colleges, and library are separate governmental entities whose financial statements are not included herein, in accordance         removed from these statements. Governmental activities, which normally are supported by taxes and intergovernmental revenues, are reported
       with The Governmental Accounting Standards Board Codification Section 2100.                                                                                 separately from business-type activities, which rely to a significant extent on fees and charges for support. Likewise, the primary government is
                                                                                                                                                                   reported separately from certain legally separate component units for which the primary government is financially accountable.
                 As required by generally accepted accounting principles, these financial statements represent Genesee County (the primary government)
       and its component units. The component units discussed below are included in the County’s reporting entity because of the significance of their             The statement of activities demonstrates the degree to which the direct expenses of a given function or segment are offset by program revenues.
       operational or financial relationships with the County.                                                                                                     Direct expenses are those that are clearly identifiable with a specific function or segment. Program revenues include 1) charges to customers or
                                                                                                                                                                   applicants who purchase, use, or directly benefit from goods, services, or privileges provided by a given function or segment and 2) grants and
       Blended Component Units:                                                                                                                                    contributions that are restricted to meeting the operational or capital requirements of a particular function or segment. Taxes and other items not
                                                                                                                                                                   properly included among program revenues are reported instead as general revenues.
                 Genesee County Building Authority - Legally separate entity established for the sole purpose of issuing bonded debt to finance
                 construction of County buildings. The entire Building Authority is appointed by the County Board of Commissioners.                                Separate financial statements are provided for governmental funds, proprietary funds, fiduciary funds, and the component units even though the
                                                                                                                                                                   fiduciary fund statements are excluded from the government-wide financial statements. Major individual governmental funds and major individual
                 Genesee County Employees Retirement System - Legally separate entity established to account for employee and employer                             enterprise funds are reported as separate columns in the fund financial statements.
                 contributions, investment income, accumulated assets and payments to beneficiaries. The Pension board has five ex-official
                 Commissioners due to their positions held in the county and four elected employee Commissioners, with services provided almost                               Measurement focus, basis of accounting and financial statement presentation: The government-wide financial statements are
                 exclusively for the County and its employees. The Retirement System has a calendar fiscal year end. It was determined by the County               reported using the economic resources measurement focus and the accrual basis of accounting, as are the proprietary fund and fiduciary fund
                 that it would be extremely impractical for the Retirement System to change to a September 30th fiscal year end.                                   financial statements. Revenue is recorded when earned and expenses are recorded when a liability is incurred, regardless of the timing of related
                                                                                                                                                                   cash flows. Property taxes are recognized as revenue in the year for which they are levied. Grants and similar items are recognized as revenue as
       Discretely Presented Component Units:                                                                                                                       soon as all eligibility requirements imposed by the provider have been met.

                 Genesee County Road Commission - An entity responsible for constructing and maintaining the primary and local road system within the                         Revenue recognition policies: Governmental fund financial statements are reported using the current financial resources measurement
                 County. Its three-member board is appointed by the County Board. The County Board can significantly influence the operations of the               focus and the modified accrual basis of accounting. Revenue is recognized as soon as it is both measurable and available. Revenue is considered
                 Road Commission Board.                                                                                                                            to be available if it is collected within the current period or soon enough thereafter to pay liabilities of the current period. For this purpose, the
                                                                                                                                                                   County considers revenues to be available if they are collected within sixty (60) days of the end of the current fiscal period with the exception of the
                 Water and Waste Services - An entity established by the County pursuant to State law to provide for water and waste management                    Special Revenue funds Genesee County Community Action Resources Department (GCCARD), Health Department and Community Development
                 services. The County appoints the lone board member/member-director and has the ability to remove the manager-director if they so                 which are ninety (90) days. Expenditures generally are recorded when a liability is incurred, as under accrual accounting. However, debt service
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                 choose. The County approves and would be secondarily liable for any debt issuances. Water and Waste Services has a calendar year.                 expenditures, as well as expenditures related to compensated absences and claims and judgments, are recorded only when payment is due.
                                                                                                                                th
                 The County has determined that it would be impractical for Water and Waste Services to change to a September 30 fiscal year end.                  Revenues, which are considered measurable, but not available, are recorded as a receivable and deferred revenue. Revenues for 2013 include
                                                                                                                                                                   property taxes levied principally on December 1, 2012 and substantially collected in early 2013. The “2012 property taxes” assessed on December
                 Economic Development Corporation - An entity responsible for the administration of the Revolving Loan Program. This loan program                  31, 2012, become a lien on December 1, 2012, and are to be collected principally by February 28, 2013. Also, for the year ended September 30,
                 makes low interest loans available to businesses located within Genesee County. The Board of the Economic Development Corporation                 2007 the state legislative eliminated state-shared revenues to Counties. As a compromise, the legislature allowed counties to move the property tax
                 (EDC) is appointed by the Board of Commissioners. The Board of Commissioners can remove Board members of the EDC if they so                       levy to a July 1 date. As a result, the July 1, 2013 levy is also recognized as revenue for the year ended September 30, 2013 to the extent that it is
                                                                           th
                 choose. The Corporation has converted to a September 30 fiscal year end from a calendar year end.                                                 available. Other significant revenue susceptible to accrual include expenditure reimbursement type grants, certain inter-governmental revenues and
                                                                                                                                                                   operating transfers.
                 Drains - These separate legal entities represent drainage districts established pursuant to Act 40, P.A. 1956, as amended, the Michigan
                 Drain Code. The oversight of these districts is the responsibility of the Genesee County Drain Commissioner, an elected position that is          The government reports the following major governmental funds:
                 funded by Genesee County. The County lends its full faith and credit towards payment of the Special Assessment bonds issued for the
                 projects. The County can significantly influence the operations of the Drain Commission since the County Board of Commissioners                             The General Fund is the government’s primary operating fund. It accounts for all financial resources of the general government, except
                 approves the Drains budgets.                                                                                                                                those required to be accounted for in another fund.

                 Genesee County Land Bank Authority – An entity which accounts for the activities of the Authority consisting of acquisition of properties                   The Mental Health Fund accounts for the operations of the County’s Mental Health services, the main revenue sources are State grants
                 via the delinquent tax state statute sales of property to individuals, commercial entities and nonprofit organizations, rental of properties to             and charges for services. On August 29, 2012, the Board of Commissioners of Genesee County, Michigan approved a resolution to
                 individuals, rehabilitation and demolition of properties in preparation for sale or future development. The entity is comprised of seven                    establish a community mental authority (a separate entity) to assume the activities of the Agency, effective January 1, 2013. The Agency
                 members appointed by the County Board. The County Board can significantly influence the operations of the Land Bank Authority Board.                        is reported as a major fund for 3 months ending December 31, 2012 then as a discretely presented component unit effective January 1-
                                                                                                                                                                             September 30, 2013.
                 Brownfield Authority – An entity governed by a nine-member Board. The Board is appointed by each member of the County Board. The
                 Brownfield Authority was created to provide a means for financing remediation of Brownfield (environmentally contaminated) sites within                     The County Health Fund accounts for the operations of providing health protection and health services, the main revenue sources are
                 the County. The County issued bonds to provide capital for the revitalization of environmentally distressed, blighted, and functionally                     Federal and State grants.
                 obsolete properties within the County. The County approves and would be secondarily liable for any debt issuances.
                                                                                                                                                                             The Community Action Resource Department Fund accounts for the programs designed to provide health and human services to low
                 Storm Water Management System – An entity established by the County pursuant to Act 342, Public Acts of Michigan, 1939. Genesee                             income individuals, the main revenue source is federal grants.
                 County Storm Water Management System is responsible for administration services necessary to enable the County and the cities,
                 villages, townships, and charter townships located within the County to comply with the Phase II Regulations established by the United                      The Community Development Fund accounts for Housing and Urban Development grant awards that are allocated to all local units of
                 States Environmental Protection Agency (EPA) in the Federal Register on December 8, 1999. The Drain Commissioner’s Office was                               government (excluding City of Flint) for projects benefiting low and moderate income persons or projects defined as having an urgent
                 designated and appointed as the “County Agency” for the System to manage and operate the System.                                                            need.

                 Genesee Health Services (Agency), formerly known as Genesee County Community Mental Health Authority - On August 29, 2012, the                    The government reports the following major enterprise funds:
                 Board of Commissioners of Genesee County, Michigan approved a resolution to establish a community mental health authority (a
                 separate entity) to assume the activities of the Agency, effective January 1, 2013. The Agency is reported as a discretely presented                        The Delinquent Tax Revolving Enterprise Fund accounts for the activities of the delinquent real property tax purchase program whereby
                 component unit effective January 1, 2013.                                                                                                                   the County purchases the outstanding taxes from each local taxing unit. The County, in turn collects those delinquent taxes along with
                                                                                                                                                                             penalties and interest.
       Complete financial statements of the individual component units (excluding Drains, Brownfield Authority and Building Authority which are included in
       this financial report) can be obtained from their respective administrative offices.                                                                        The government reports the following fiduciary funds:




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       GENESEE COUNTY                                                                                                               EXHIBIT A-13

                 The Pension Trust Fund accounts for employee and employer pension contributions, investment income, accumulated assets, and                                                                                                                                        Total
                 payments to beneficiaries.                                                                                                                                                                                                                                      Total Revenue   Expenditures
                                                                                                                                                                            General Fund
                 The Trust and Agency Funds account for assets held by the County as an agent for individuals, private organizations, other governments,                             Amounts per operating statement                                                               $73,828,952   $59,881,900
                 and other funds.                                                                                                                                                    Animal Shelter Fund budgeted separately from the
                                                                                                                                                                                              General Fund                                                                             (2,747)     (967,582)
                 The Employees’ Fringe Benefits (VEBA) Fund accounts for employee and employer contributions, investment income, accumulated                                         Medical Examiner Fund budgeted separately from the
                 assets, set aside with the intent to accumulate adequate funds to defray part of the cost of retiree medical benefits in future years.                                       General Fund                                                                           (189,769)    (1,181,652)
                                                                                                                                                                                     Amounts per budget statements                                                                 $73,636,438   $57,732,666
       Additionally, the government reports the following fund types:

                 Internal service funds account for various services such as data processing, purchasing, and other administrative services, fleet                       Cash and Cash Equivalents: The County considers cash equivalents as short-term highly liquid investments that are both readily
                 management, buildings and grounds maintenance, the self funded property/casualty program and the self funded prescription drug and            convertible to cash and have maturities of 90 days or less when purchased to minimize the risk of changes in value due to interest rate changes.
                 medical program. These services are provided to other County departments on a cost reimbursement basis.
                                                                                                                                                                         Investments: Investments are stated at fair values. Fair value is determined based on quoted market prices except for money market
       Agency Funds account for assets held by the County in an agency capacity.                                                                               funds, which are valued at amortized cost. Unrealized appreciation or depreciation on investments due to changes in market value are recognized
                                                                                                                                                               in fund operations each year.
       As a general rule, the effect of inter fund activity has been eliminated from the government-wide financial statements.
                                                                                                                                                                          Inventories/Prepaids: Inventories are stated at cost on a first-in, first-out basis for governmental funds and the lower of cost on a first-in,
       Proprietary funds distinguish operating revenue and expenses from non-operating items. Operating revenue and expenses generally result from             first-out basis or market for proprietary funds. The cost of inventory items in governmental funds is recorded as an expenditure at the time of
       providing services and producing and delivering goods in connection with a proprietary fund’s principal ongoing operations. The principal operating     purchase, except for certain Special Revenue Funds, and the Water and Waste Services component unit where inventories are expensed when
       revenue of the proprietary funds relates to charges to customers for sales and services. Operating expenses for proprietary funds include the cost      used. Inventory in the Land Bank Authority represents land inventory held for resale.
       of sales and services, administrative expenses, and depreciation on capital assets. All revenue and expenses not meeting this definition are
       reported as non-operating revenue and expenses.                                                                                                                   Encumbrances: Encumbrance accounting, under which purchase orders, contracts, and other commitments for the expenditure of
                                                                                                                                                               monies are recorded in order to reserve that portion of the applicable appropriation, is employed as an extension of formal budgetary integration in
       Fiduciary funds are used to account for resources held for the benefit of parties outside the government. Fiduciary funds are not reflected in the      the governmental funds. There were no encumbrances at the end of the year since there were no outstanding amounts due on contracts or other
       government-wide financial statements because the resources of those funds are not available to support Genesee County’s own programs. The               commitments for the current year and the small number of purchase orders that were outstanding at the end of the year were canceled and reissued
       accounting used for fiduciary funds is much like that used for proprietary funds.                                                                       in the subsequent year.

                  Employee Vacation: County employees are granted vacation in varying amounts based on length of service. Vacation pay is accrued                       Restricted Assets: When both restricted and unrestricted resources are available for use, it is the County’s policy to use restricted
       and fully vested when earned; upon termination, with a few bargaining unit exceptions, employees are paid accumulated vacation at full rates to a       resources first, then unrestricted resources as they are needed.
       limit of 150% of their current annual earned vacation.
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                                                                                                                                                                          Capital Assets: Capital assets, which include property, plant, equipment, infrastructure assets (e.g., roads, bridges, sidewalks, and
                    Long-term Advances: Long-term advances from the General Fund to other funds are commonly made to finance new activities during             similar items), are reported in the applicable governmental or business-type activities column in the government-wide financial statements. Capital
       their initial operations. General Fund fund balance is reserved for such advances to reflect the amount of fund balance not currently available for     assets are defined by the government as assets with an initial individual cost of more than $1,000 and an estimated useful life in excess of one year.
       expenditure.                                                                                                                                            Such assets are recorded at historical cost or estimated historical cost if purchased or constructed. Donated capital assets are recorded at
       .                                                                                                                                                       estimated fair market value at the date of donation.
                    Budgets and Budgetary Accounting: Budgets shown in the financial statements were prepared on the same modified accrual basis
       used to reflect actual results. The County employs the following procedures in establishing the budgetary data reflected in the financial statements:   Interest incurred during the construction of capital assets of business type activities is included as part of the capitalized value of the assets
                                                                                                                                                               constructed. During the current year, no interest expense was capitalized as part of the cost of assets under construction.
            x    Prior to July 1, County departments, in conjunction with the Controller’s Office, prepare and submit their proposed operating budgets for
                 the fiscal year commencing October 1. The operating budget includes proposed expenditures and resources to finance them.                                   Capital assets are depreciated using the straight-line method over the estimated useful lives of the related assets. The estimated useful
                                                                                                                                                               lives are:
            x    A public hearing is conducted to obtain taxpayers comments.                                                                                                                    Land Improvements................................................ 10 years
                                                                                                                                                                                                Buildings and Improvements .................................. 25-50 years
            x    Prior to September 30, the budget is legally enacted through passage of a resolution.                                                                                          Equipment .............................................................. 3-20 years
                                                                                                                                                                                                Infrastructure ......................................................... 20-50 years
            x    After the budget is adopted, the Finance Committee of the Board of Commissioners is authorized to transfer budgeted amounts between
                 accounts within a department. However, any revisions that alter the total expenditures of a department or fund must be approved by the                  Long-term Obligations: In the government-wide financial statements and proprietary fund types in the fund financial statements, long-
                 Board of Commissioners.                                                                                                                       term debt and other long-term obligations are reported as liabilities in the applicable governmental activities, business type activities or proprietary
                                                                                                                                                               fund type statement of net position. Bond premiums and discounts, as well as issuance costs, are deferred and amortized over the life of the bonds
            x    Formal budgetary integration is employed as a management control device during the year for the General Fund and the Special Revenue          using the effective interest method. Bonds payable are reported net of the applicable bond premium or discount. Bond issuance costs are reported
                 Funds. Formal budgetary integration is not employed for other governmental type funds as effective management control is achieved             as deferred charges and amortized over the term of the related debt. In the fund financial statements, governmental fund types recognize bond
                 through alternative procedures.                                                                                                               premiums and discounts, as well as bond issuance costs, during the current period. The face amount of debt issued is reported as other financing
                                                                                                                                                               sources. Premiums received on debt issuances are reported as other financing sources while discounts are reported as other financing uses.
            x    Budgets for the General and Special Revenue Funds are adopted on a basis consistent with generally accepted accounting principles             Issuance costs are reported as debt service expenditures.
                 (GAAP). Budgeted amounts are as originally adopted, or as amended by the Board of Commissioners during the year. Individual
                 amendments were not material in relation to the original appropriations, which were amended. Appropriations unused at September 30            In the fund financial statements, governmental funds report the following components of fund balance:
                 are not carried forward to the following year. The budgets for the General and Special Revenue Funds are adopted at the departmental
                 level, and total fund level, respectively. For the Special Revenue Fund budget presentations in Exhibits B3-B4 and D3-D4 more detail is            x       Nonspendable – Amounts that are not in spendable form or are legally or contractually required to be maintained intact.
                 presented than required by the adopted budget.
                                                                                                                                                                    x       Restricted – Reservations of fund balance for amounts that are not available for appropriation or are legally restricted by outside parties,
                                                                                                                                                                            constitutional provisions, or enabling legislation for use for a specific purpose.

                                                                                                                                                                    x       Committed – Amounts that have been formally set aside by the Board of Commissioners for use for specific purposes. Commitments are
                                                                                                                                                                            made and can be rescinded only via resolution of the Board.

                                                                                                                                                                    x       Assigned – Intent to spend resources on specific purposes expressed by the Board of Commissioners.

                                                                                                                                                                    x       Unassigned – Amounts not otherwise categorized above and available to be spent for any purpose.


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       NOTES TO FINANCIAL STATEMENTS

       GENESEE COUNTY                                                                                                                   EXHIBIT A-13

       When an expense is incurred for purposes for which both restricted and unrestricted net position or fund balance are available, the County’s policy is                                                                                         Less than                                 Over Ten
       to first apply restricted resources. When an expense is incurred for purposes for which amounts in any of the unrestricted fund balance                      Type of Investment                                         Fair Value             One Year           1-10 Years             Years
       classifications could be used, it is the County’s policy to spend funds in this order: committed, assigned and unassigned.                                   U.S. gov or agency bond or notes (pension)                  1,996,146                                  1,804,434             191,712
                                                                                                                                                                    U.S. gov mortgage backed (pension)                          1,751,441                                                       1752,441
                                                                                                                                                                    U.S. gov tips                                               1,700,730                                  1,700,730
       NOTE C – DEPOSITS AND INVESTMENTS                                                                                                                            Corporate bonds (pension)                                  30,113,931               309,640           21,170,016            8,634,276
                                                                                                                                                                    Foreign corporate (pension)                                 8,890,792               948,795            7,083,737              858,264
       Michigan Compiled Laws Section 129.91 (Public Act 20 of 1943, as amended), authorizes local governmental units to make deposits and invest in                Foreign gov (pension)                                       3,605,883                                  2,823,433              782,450
       the accounts of federally insured banks, credit unions, and savings and loan associations that have offices in Michigan. The local unit is allowed to        Private placement (pension)                                 8,597,210                66,831            7,452,964            1,077,414
       invest in bonds, securities, and other direct obligations of the United States or any agency or instrumentality of the United States; repurchase
       agreements; bankers’ acceptances of United States banks; commercial paper rated within the two highest classifications, which mature not more                           Credit risk – Credit risk is the risk that the government will not be able to recover the value of its securities. The County follows state law
       that 270 days after the date of purchase; obligations of the State of Michigan or its political subdivisions, which are rated as investment grade; and       which limits investments in commercial paper to the top two ratings issued by nationally recognized statistical rating organizations. The County has
       mutual funds composed of investment vehicles that are legal for direct investment by local units of government in Michigan.                                  no investment policy that would further limit its investment choices for general County funds. The pension funds are allowed to invest in longer
                                                                                                                                                                    maturity corporate bonds in accordance with state law. As of year end, the credit quality ratings of debt securities not explicitly guaranteed by the
       The Pension Trust Fund is also authorized by Michigan Public Act 314 of 1965, as amended, to invest in certain reverse repurchase agreements,                U.S. Government are as follows:
       stocks, diversified investment companies, annuity investment contracts, real estate leased to public entities, mortgages, real estate, debt or equity of                                                                                                                                                   Rating
       certain small businesses, certain state and local government obligations and certain other specified investment vehicles. The Employees’ Fringe                                                    Investment                                              Fair Value              Rating            Organization
       Benefit (VEBA) Fund is authorized by Michigan Public Act 149 of 1999 to invest in similar types of investments as the pension fund.                                                          U.S. gov agency securities (self insurance)                    $1,439,473               AA+                         S&P
                                                                                                                                                                                                    Money Market (self insurance)                                    743,923               Not Rated                    N/A
       State statutes as they relate to group Self-Insurance Pools (Public Act 218 of 1956, as amended) authorizes the Pool to invest in obligations of the                                         Corporate bonds (self insurance)                                   356,733              A-                          S&P
       U.S. Treasury and U.S. agencies, deposit agreements with federally insured financial institutions within the State of Michigan, commercial paper,                                            Corporate bonds (self insurance)                                   578,058              BBB+                        S&P
       common stocks, real estate, repurchase obligations of the U.S. Government and U.S. agencies, banker’s acceptances of U.S. banks, common                                                      Corporate bonds (self insurance)                                   413,244              BBB                         S&P
       stocks, and mutual funds comprised of the above authorized investments. The Pool has adopted the above as its investment policy and has                                                      Corporate bonds (self insurance)                                   341,328              BBB-                        S&P
       authorized the following depositories: FirstMerit Bank and Beacon Investment Company.                                                                                                        Corporate bonds (VEBA)                                             489,995              AA                          S&P
                                                                                                                                                                                                    Corporate bonds (VEBA)                                           1,900,217              A                           S&P
       The County has designated three banks for the deposit of its funds. The investment policy adopted by the Board in accordance with Public Act 196                                             Corporate bonds (VEBA)                                           2,899,011              BBB                         S&P
       of 1997 has authorized investments as allowed under State statutory authority as listed above. The County’s cash and investments are subject to                                              Corporate bonds (VEBA)                                            843,125               BB                          S&P
       several types of risk which are examined in more detail as follows:                                                                                                                          Private Placement (VEBA)                                           250,000              A                           S&P
                                                                                                                                                                                                    Foreign government bonds (VEBA)                                    227,250              BB                          S&P
                 Custodial credit risk of bank deposits – Custodial credit risk is the risk that in the event of a bank failure, the government’s deposits                                          Foreign government bonds (VEBA)                                    295,800              Not Rated                   N/A
       may not be returned to it. The government does not have a deposit policy for custodial credit risk. At year end, the County had $10,013,070 of bank                                          U.S. gov agency securities (VEBA)                                 801,329              AA                           S&P
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       deposits (certificates of deposit, checking and savings accounts) that were uninsured and uncollateralized. The County believes that due to the                                              U.S. gov agency securities (VEBA)                               1,049,099              Not Rated                    N/A
       dollar amounts of cash deposits and the limits of FDIC insurance, it is impractical to insure all deposits. Insuring or collateralizing all cash deposits                                    Asset backed (pension)                                             186,298              AAA                         S&P
       would also result in a significant decrease in the investment returns for the County. Consistent with the investment policy that is prepared by the                                          Asset backed (pension)                                             231,038              AA                          S&P
       County Treasurer’s Office and approved by the County Board of Commissioners, the County evaluates each financial institution it deposits funds                                               Asset backed (pension)                                             342,822              A                           S&P
       with and assesses the level of risk of each institution; only those institutions with an acceptable estimated risk level are used as depositories.                                           Asset backed (pension)                                               82,007              BB                         S&P
                                                                                                                                                                                                    Asset backed (pension)                                               86,460              B                          S&P
                  Custodial credit risk of investments – Custodial credit risk is the risk that, in the event of the failure of the counterparty, the County will                                   Asset backed (pension)                                             842,441              CCC and Below               S&P
       not be able to recover the value of its investments or collateral securities that are in the possession of an outside party. The County does not have a                                      Corporate bonds (pension)                                        1,791,871              AA                          S&P
       policy for custodial credit risk. At year end, the following investment securities were uninsured and unregistered, with securities held by the                                              Corporate bonds (pension)                                        9,678,165              A                           S&P
       counterparty or by its trust department or agent but not in the County’s name:                                                                                                               Corporate bonds (pension)                                      13,079,008                BBB                        S&P
                                                                                                                                                                                                    Corporate bonds (pension)                                        4,269,674               BB                         S&P
                 Investment Type                                      Carrying Value                       How Held                                                                                 Corporate bonds (pension)                                        1,040,498               B                          S&P
                 U.S. gov or agency bond or note (self insurance)     $ 1,439,473                     Counterparty’s trust dept                                                                     Corporate bonds (pension)                                          250,425              CCC and Below               S&P
                 Corporate bonds (self insurance)                        1,690,364                    Counterparty’s trust dept                                                                     Corporate bonds (pension)                                             4,291              Not Rated                  N/A
                 Corporate stocks (self insurance)                       3,560,920                    Counterparty’s trust dept                                                                     Corporate CMO (pension)                                          1,280,414               AAA                        S&P
                 Mutual funds (self insurance)                             483,104                    Counterparty’s trust dept                                                                     Corporate CMO (pension)                                          1,751,643               BBB                        S&P
                 U.S. gov or agency bond or note (VEBA)                  6,239,499                    Counterparty’s trust dept                                                                     Corporate CMO (pension)                                             150,916              BB                         S&P
                 Corporate bonds (VEBA)                                  8,100,735                    Counterparty’s trust dept                                                                     Corporate CMO (pension)                                             158,811              B                          S&P
                 Corporate stock (VEBA)                                  7,091,313                    Counterparty’s trust dept                                                                     Corporate CMO (pension)                                            950,462              CCC and Below               S&P
                 Foreign gov and agency (VEBA)                          24,191,655                    Counterparty’s trust dept                                                                     Corporate CMO (pension)                                          2,532,038              Not Rated                   N/A
                 U.S. gov or agency bond or note (pension)              66,678,492                    Counterparty’s trust dept                                                                     Private placements (pension)                                       507,860               AAA                        S&P
                 Foreign gov and agency (pension)                       75,438,520                    Counterparty’s trust dept                                                                     Private placements (pension)                                       422,908               AA                         S&P
                 Corporate bonds (pension)                              40,482,207                    Counterparty’s trust dept                                                                     Private placements (pension)                                     1,814,891               A                          S&P
                 Corporate stocks (pension)                             66,751,963                    Counterparty’s trust dept                                                                     Private placements (pension)                                     1,946,055              BBB                         S&P
                                                                                                                                                                                                    Private placements (pension)                                     1,192,037               BB                         S&P
                 Interest rate risk – Interest rate risk is the risk that the value of investments will decrease as a result of a rise in interest rates. The                                       Private placements (pension)                                       634,089               B                          S&P
       County’s investment policy does not restrict investment maturities, other than commercial paper which can only be purchased with a 270-day                                                   Private placements (pension)                                     2,079,370               Not Rated                  N/A
       maturity. At year end, the average maturities of investments are as follows:                                                                                                                 Foreign corporate bonds (pension)                                  382,740                 AAA                      S&P
                                                                                                                                                                                                    Foreign corporate bonds (pension)                                  382,454                 AA                       S&P
                                                                                         Less than                                 Over Ten                                                         Foreign corporate bonds (pension)                               1,737,429                  A                        S&P
       Type of Investment                                         Fair Value             One Year           1-10 Years             Years                                                            Foreign corporate bonds (pension)                               3,166,474                  BBB                      S&P
       U.S. gov or agency bond or notes (self insurance)          $1,439,473               $589,104           $850,369                                                                              Foreign corporate bonds (pension)                                  421,724                 BB                       S&P
       Corporate bonds (self insurance)                            1,690,364                156,164          1,534,200                                                                              Foreign corporate bonds (pension)                                  252,787                 B                        S&P
       Money market funds (self insurance)                           384,652                384,652                                                                                                 Foreign corporate bonds (pension)                               2,547,184                  Not Rated                N/A
       U.S. gov or agency bond or notes (VEBA)                     1,850,428              1,352,963             497,465                                                                             Foreign government bonds (pension)                                 651,345                 A                        S&P
       Corporate bonds (VEBA)                                      6,132,648                                  6,132,648                                                                             Foreign government bonds (pension)                               1,257,176                 BBB                      S&P
       Foreign gov (VEBA)                                            523,050                                    523,050                                                                             Foreign government bonds (pension)                               1,697,362                 Not Rated                N/A
       Asset backed (pension)                                      1,771,067                                                       1,771,067


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       GENESEE COUNTY                                                                                                                                 EXHIBIT A-13

                                                                                                                                                               Rating                                                                        Balance                                                                            Reclassifications   Balance
                                                           Investment                                               Fair Value            Rating            Organization            Governmental activities:                                Oct. 1, 2012                        Additions                 Disposals            and Adjustments Sept. 30, 2013
                                              U.S. government agency (pension)                                       1,872,855              AA                    S&P      Less accumulated depreciation for:
                                              U.S. government agency (pension)                                          52,528              BBB                   S&P         Land improvements ...................................               36,702                           3,022                                                                                39,724
                                              U.S. government agency (pension)                                          70,764              Not Rated             N/A         Buildings .................................................... 52,787,550                        3,435,939                                                                            56,223,489
                                              U.S. government mortgage backed (pension)                              1,752,441              Not Rated             N/A         Machinery and equipment ......................... 20,151,794                                  __ 1,784,949                          627,878                     (154,076)             21,154,789
                                              U.S. government other (pension)                                        1,213,547              Not Rated             N/A             Subtotal ............................................... 72,976,046                          5,223,910                          627,878                     (154,076)             77,418,002
                                              U.S. government TIPS (pension)                                         1,700,730              Not Rated             N/A      Governmental activities
                                              U.S. government treasuries, notes and bonds (pension)                 53,191,344              Not Rated             N/A             Capital assets, net of depreciation ...... $ 95,495,274                                   $     (331,911)               $        38,513               $                         $ 95,124,850

                 Foreign currency risk – Foreign currency risk is the risk that an investment denominated in the currency of a foreign country could
       reduce its U.S. dollar value, as a result of changes in foreign currency exchange rates. The pension system does not restrict the amount of                                                                                              Balance                                                                                                 Balance
       investments in foreign currency. The following securities are subject to foreign currency risk:                                                                              Business type activities:                                  Oct. 1, 2012                  Additions                  Disposals               Reclassifications Sept. 30, 2013
                                                                                                                                                                           Capital assets not being depreciated:
                                                                                         Fair Value (in $)                                                                    Land........................................................... $ 3,502,006                   $                              $      344,210               $      (12,078)            $ 3,145,718
                                              Euro                                       $ 35,453                                                                          Capital assets being depreciated:
                                              Canadian Dollar                               192,117                                                                           Buildings ....................................................    1,181,215                                                                                                            1,181,215
                                              Great British Pounds                       10,493,792                                                                           Land improvements ...................................             3,074,493                                                                                       12,078               3,086,571
                                              Mexican Peso                                    61,930                                                                          Machinery and equipment .........................                 4,274,265                                                                                      154,076               4,428,341
                                              Norwegian Krones                                     2                                                                               Subtotal ...............................................     8,529,973                                                                                      166,154               8,696,127
                                              Hong Kong Dollar                            3,360,395                                                                        Less accumulated depreciation for:
                                              Philippine Peso                               164,323                                                                           Buildings ....................................................    1,107,483                            23,013                                                                          1,130,496
                                              South African Rand                                  18                                                                          Land improvements ...................................             3,074,493                                                                                       12,078               3,086,571
                                              Swedish Krona                                 150,810                                                                           Machinery and equipment .........................                 3,962,947                          148,175                                                     154,076               4,265,198
                                              Taiwan Dollar                                 234,117                                                                                Subtotal ...............................................     8,144,923                          171,188                                                     166,154               8,482,265
                                              Turkish Lira                                  200,332                                                                                Business type activities
                                                                                                                                                                                   Capital assets, net of depreciation ...... $ 3,887,056                                   $     (171,188)               $       344,210                   $ (120,078)            $ 3,359,580
       All of the System’s investment subject to foreign currency risk relate to a single comingled fund which held many different foreign currency securities.
       The system owns a portion of the comingled fund.                                                                                                                    Depreciation expense was charged to programs of the primary government as follows:

                  Securities lending – As permitted by state statutes and under the provisions of a securities lending authorization agreement, the System                 Governmental activities:
       lends securities to broker-dealers and banks for collateral that will be returned for the same securities in the future. The System’s custodial bank                   Administration of Justice.............................................................................................................................. $ 1,153,244
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       manages the securities lending program and receives cash as collateral. Borrowers are required to deliver collateral for each loan equal to not less                   Law Enforcement and Community Protection .............................................................................................                              923,508
       than 100 percent of the market value of the loaned securities. During the year ended December 31, 2012, only United States currency was received                       Human Services ..........................................................................................................................................           556,295
       as collateral.                                                                                                                                                         Community Enrichment and Development ..................................................................................................                             373,845
                                                                                                                                                                              General Support Services............................................................................................................................                127,328
       The System did not impose any restrictions during the fiscal year on the amount of loans made on its behalf by the custodial bank. The System                          Other............................................................................................................................................................ 1,004,450
       presently owns $246,496 of Sigma Finance Medium Term Note which is a defaulted investment. The System elected to repay the liability over a                            Internal service fund depreciation is charged to the various functions based on their usage of the assets                                                         1,085,240
       five-year period. There were no other failures by any borrowers to return loaned securities or pay distributions thereon during the fiscal year.                           Total governmental activities................................................................................................................. $ 5,223,910

       The Genesee County Employees’ Retirement System and the borrower maintain the right to terminate all securities lending transactions on demand.                     Business type activities:
       The cash collateral received on each loan was invested, together with the cash collateral of other lenders, in an investment pool. The average                         Delinquent tax revolving ..............................................................................................................................       $ 101,497
       duration of the investments in the cash collateral pool are deemed to mature on the cash collateral pool’s next business day as per the                                Parks and Recreation ..................................................................................................................................          69,691
       Reinvestment Guidelines, with the exception of the Sigma Medium Term Note (Impaired). Because the loans are terminable on demand, their                                    Total business type activities ................................................................................................................           $ 171,188
       duration did not generally match the duration of the investments made with cash collateral. On December 31, 2012, the System had no credit risk
       exposure to borrowers with the exception of Sigma Finance. The collateral based on cost and the fair market value of the underlying securities on                   In addition, land with an approximate value of $5,000,000 used by Parks and Recreation is leased at nominal costs from the Nature Conservatory
       loan for the System as of December 31, 2012 was $3,211,330 and $3,194,952 respectively, which consisted of short-term money market mutual                           and the City of Flint under long-term arrangements.
       funds and U.S. corporate commercial paper.

                                                                                                                                                                           NOTE E – DEBT (including current portions)
       NOTE D-CAPITAL ASSETS
                                                                                                                                                                                Long-term debt of the County is as follows:
       Capital asset activity at September 30, 2013 is summarized as follows:                                                                                                                                                                                                         Balance                                                              Balance    Due within
                                                                                                                                                                                                                                                                                     Oct. 1, 2012          Additions               Reductions            Sept 30, 2013 One Year
                                                                      Balance                                                     Reclassifications   Balance              Government Activities:
                 Governmental activities:                            Oct. 1, 2012                   Additions   Disposals        and Adjustments Sept. 30, 2013               Internal Service Fund Equipment Notes .....................................                             $       19,491          $                    $           (3,618)      $    15,873   $      4,189
       Capital assets not being depreciated
          Land........................................................... $ 11,349,565          $               $                     $                 $ 11,349,565            Capital Improvement Bonds 2011, Proceeds were used to
          Construction in progress............................                  15,572                 49,188         15,572                                  49,188               Renovate various County Buildings.......................................                                 845,000                                         (240,000)           605,000        65,000
               Subtotal ............................................... 11,365,137                     49,188         15,572                              11,398,753            2.9% Genesee County Refunding Bonds, Bonds maturing on or
       Capital assets being depreciated:                                                                                                                                           prior to May 1, 2022 shall not be subject to redemption prior
          Land improvements ...................................              8,806,199              110,473                                               8,916,672                to maturity. Bonds maturing on or after May 1, 2022 may be
          Buildings and improvements...................... 120,714,083                            1,806,847                                             122,520,930                subject to prior redemption.....................................................                       4,830,000                                         (400,000)       4,430,000         440,000
          Machinery and equipment ......................... 27,585,901                          _ 2,925,491          650,819              (154,076)      29,706,497             JCI Energy Bonds 2010, Debt was issued to perform numerous
               Subtotal ............................................... 157,106,183             _ 4,842,811          650,819              (154,076)     161,144,099                Energy efficiency improvements on most County Buildings ...                                            7,815,784                                         (300,000)       7,515,784      340,000
                                                                                                                                                                                3.7% to 5.0% Genesee County Building Authority Bonds,
                                                                                                                                                                                    Series 2000, Callable after May 1, 2008, .............................                                  168,000                                         (59,500)            108,500        66,500
                                                                                                                                                                                4.75% to 5.7% Genesee County Bonds Series 2004-B
                                                                                                                                                                                    Capital Improvement Bonds, Bonds maturing before
                                                                                                                                                                                    April 1, 2014 not subject to redemption prior to maturity......                                       1,810,000                                         (45,000)        1,765,000          45,000


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       GENESEE COUNTY                                                                                                                                  EXHIBIT A-13

            Long-term debt of the County is as follows continues:                                                                                                             continuing education program. There were no reductions in reinsurance coverage or settlements in excess of insurance coverage over the past
                                                                                                       Balance                                        Balance    Due within   three years.
                                                                                                      Oct. 1, 2012    Additions      Reductions     Sept 30, 2013 One Year
          3.00% to 5.00% Genesee County Refunding Bonds                                                                                                                                 A reconciliation of the claims liability for the years ended September 30, 2013 and 2012 is as follows:
              Bonds maturing on or prior to May 1, 2015 shall not be
              subject to redemption prior to maturity. Bonds maturing                                                                                                                                                                                                           Year Ended     Year Ended
              on or after May1, 2016 may be subject to prior redemption..                                9,595,000                   (1,180,000)      8,415,000   1,240,000                                                                                                       9/30/13        9/30/12_ _
          6.34% Capital Improvement Bonds, Series 2008 maturing
              on or prior to November 1, 2018 not be subject to                                                                                                                         Claims Liability (beginning of year) ...................................                 $4,549,999     $3,682,890
              Redemption prior to maturity……………………………….....                                                805,000                     (115,000)        690,000     115,000             Claims incurred during the period .....................................                   1,851,619      2,212,643
                  Total Bonds and Notes ..................................................              25,888,275                   (2,343,118)     23,545,157   2,315,689             Changes in estimate for claims of prior periods................                            (323,705)        11,646
          Self-Insurance Claim Liability .....................................................           4,549,999     1,527,914     (1,953,046)      4,124,867   1,562,869             Payments on claims..........................................................             (1,953,046)    (1,357,180)
          Self-Insured Medicals .................................................................          248,971        11,285        (81,481)        178,775     178,775
          Compensated absences .............................................................             4,715,536     3,080,116     (3,578,426)      4,217,226   3,578,426             Claims liability (end of year)..............................................            $ 4,124,867     $4,549,999
              Total Governmental Activities ..............................................              35,402,781     4,619,315     (7,956,071)     32,066,025   7,635,759
       Business Type Activities                                                                                                                                                         Several complaints for alleged discriminatory employment practices have also been filed against the County.
          Parks and Recreation Fund:
              3.7% to 5.0% Genesee County Building Authority                                                                                                                           A portion of the fund balance of the General Fund has been assigned to provide for a possible loss resulting from the unfavorable
                 Bonds, Series 1998, Callable after May 1, 2008,                                                                                                              outcome of any claims and litigation. See Note G, which follows.
                 at par plus accrued interest to date..................................                     72,000                       (25,500)        46,500      28,500
          Delinquent Tax Fund:                                                                                                                                                            The County provides a funding mechanism for the payment of the costs of pharmaceuticals and medical insurance for employees. The
              5.0% to 9.7% Delinquent tax notes ......................................                  42,300,000 39,900,000       (46,400,000)     35,800,000   8,900,000   County contracts with a third party administrator to provide claims processing with the cost of the claims reimbursed from these funds. Net position
       Total Business-type Activities ..........................................................        42,372,000 39,900,000       (46,425,500)     35,846,500   8,928,500   for this fund as of September 30, 2013 was $2,378,404 with $178,775 accrued as a liability for incurred losses and expenses.
       Total Long-term Debt .......................................................................   $ 77,774,781 $44,519,315     $(54,381,571)    $67,912,525 $16,564,269
                                                                                                                                                                                         A reconciliation of the claims liability (workers compensation, property & liability, and auto claims) for the years ended September 30, 2013
                 Genesee County lends its full faith and credit for bond issues that are repaid through special assessments. The County is not obligated in                   is as follows:
       any manner for special assessment debt. The amount of special assessment debt is detailed within the notes for the Component Unit under which                                                                                                                                                             Total
       the projects originated.                                                                                                                                                                                                                                       Pharmaceuticals         Medical          Insurance
                                                                                                                                                                                         Claims Liability (beginning of year) ...................................        $ 18,915            $ 230,056         $ 248,971
                     Delinquent property taxes receivable are pledged as collateral for the repayment of the outstanding delinquent tax notes – (See Note H).                            Claims incurred during the period .....................................             37,657              (26,372)         11,285
                                                                                                                                                                                         Changes in estimate for claims of prior periods................
                     Typically, the General Fund and all Special Revenue Funds liquidate liability for compensated absences.                                                             Payments on claims..........................................................       (27,936)             (53,545)         (81,481)
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       The annual requirements to pay principal and interest on the obligations outstanding at September 30, 2013 are as follows:                                                       Claims liability (end of year)..............................................              $ 28,636       $ 150,139    $ 178,775

                                                                                       Governmental Activities                Business-Type Activities_
                                                                                       Principal      Interest                Principal       Interest                        NOTE G – GENERAL FUND FUND BALANCE CLASSIFICATIONS AND DEFICITS

       2014     ................................................................       $2,315,689       $ 1,129,243                $28,500          $ 2,325                             The County receives funds from various federal and state units to finance specific grants. The final determination of revenue amounts is
       2015     ................................................................        2,406,457         1,018,522                 18,000              900                   subject to audit by the responsible agencies. Grant fund balance deficits, to the extent not liquidated by future operations, will be absorbed by the
       2016     ................................................................        2,494,742           903,097                                                           General Fund. Additionally, the County is a defendant in numerous legal actions of which Corporation Counsel is not able to provide information as
       2017     ................................................................        2,617,485           783,381                                                           to the probable outcome and extent of potential liability, if any. As a result of these and other matters discussed in Note F, above, the County has
       2018     ................................................................        2,745,000           657,725                                                           established an assignment of fund balance in the General Fund in the amount of $1,000,000 to provide for any audit adjustments of grant revenues,
       2019/2023 ...............................................................        7,470,000         1,651,633                                                           grant fund balance deficits and possible losses resulting from other contingencies, claims, and litigation.
       2024/2028…………………………………………… ..                                                    2,765,784           485,091
       2029/2033…………………………………………… ..                                                      590,000           144,501                                                                   The fund balance of the General Fund has also been classified as nonspendable for a long-term receivable due from the Vehicles and
       2034/2038 ...............................................................          140,000             7,980                                 ______                    Equipment Internal Service Fund in the amount of $1,840,809 and prepaids in the amount of $20,690.
                TOTALS ..................................................             $23,545,157      $ 6,781,173                 $46,500          $ 3,225
                                                                                                                                                                                        The following funds were in a deficit at year end:
                By statute, the County general obligation debt is restricted to 10% of the equalized value of all property in the County. Certain obligations,                                    Component Unit:
       such as special assessment notes, are not subject to this limitation. At September 30, 2013, the County’s debt limit amounted to $899,354,911 and                                                    Brownfield Authority                             $9,538,967
       indebtedness subject to the limitation aggregated $117,204,921.                                                                                                                            Major Special Revenue:
                                                                                                                                                                                                            Community Action Resource
                                                                                                                                                                                                                       Department                                443,666
       NOTE F – CONTINGENCIES, CLAIMS, RISK MANAGEMENT, AND LITIGATION                                                                                                                            Nonmajor Special Revenue:
                                                                                                                                                                                                            Administration of Justice                            583,117
                There are various legal actions pending against the County. Management has evaluated the likely outcome of various actions and has                                                Internal Service Funds:
       concluded that it is not appropriate to record any amount as a liability at September 30, 2013.                                                                                                      Administrative Services                           1,954,981
                                                                                                                                                                                                            Vehicles and Equipment                             804,008
                   The County is totally self-insured for workers’ compensation for all losses, up to $500,000 each occurrence, and self-insured for property
       and liability insurance claims up to $50,000 and $350,000, respectively, for specific losses. The County is insured for the amount of claims in
       excess of such limitation to a maximum of replacement cost for property and $20,000,000 for liability claims. The County is self-insured for claims in                 NOTE H – PROPERTY TAXES
       excess of these insurance coverages. The County is also self-insured for the first $50,000 of catastrophic coverage for auto physical damage per
       location. The County is exposed to various risks of loss related to property loss, torts, errors and omissions, and employee injuries (workers’                                   The County property tax is levied each July 1 on the assessed valuation of property located in the County as of the preceding December
       compensation), as well as medical benefits provided to employees.                                                                                                      31. On December 1, the property tax attachment is an enforceable lien on property and is payable by the last day of the next February following.
                                                                                                                                                                              Assessed values are established annually by the County and are equalized by the State at an estimated 50% of current market value. Real property
                  The County paid losses within its self-insured retention through an Internal Service Fund. Net position for this fund as of September 30,                   in Genesee County for the 2012 levy was assessed at $8,996,549,108 and equalized at $8,996,549,108 representing 50% of estimated current
       2013 was $10,015,263 with $4,124,867 accrued as a liability for incurred losses and expenses. An actuarial study projected a required reserve of                       market value. The County operating tax rate is currently 5.5072 mills with an additional 0.4847 mills voted each for parks and paramedics 0.7 mills
       $0.0 million for 2013. The County’s Risk Manager provides employee accident prevention training and various risk control techniques through a                          for senior services 1 mill for health services and 0.1 mills for veterans.




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                 By agreement with various taxing authorities, the County purchases at face value the real property taxes receivable returned delinquent        DEFINED CONTRIBUTION PLAN - -
       each March 1. These receivables ($46,643,971 at September 30, 2013) are pledged to a bank for payment of notes payable, the proceeds of which
       were used to liquidate the amounts due the General Fund and various other funds and governmental agencies for purchase of the receivables and                      The County offers a defined contribution pension plan as an alternative to the defined benefit pension plan. The International City
       to provide funds for current operations. Subsequent collections on delinquent taxes receivable, plus interest and collection fees thereon and            Managers Association (ICMA) Retirement Corporation administers the plan, and the County Board of Commissioners has authority over plan
       investment earnings, are used to extinguish the debt.                                                                                                    provisions and contribution requirements. All benefit employees are eligible to participate in this plan, if not participating in the Defined Benefit Plan.
                                                                                                                                                                The County is required to contribute 8% to 10% of eligible employees’ annual covered payroll, and employees are required to contribute between
                 Collections of delinquent taxes, which include interest, penalties, fees and investment earnings, amounting to $39,151,903 in 2013, are        3% and 7% of covered payroll. Employees are fully vested after 5 years of service. During the year ended September 30, 2013, employer and
       used to service the notes payable. Principal and interest paid on the notes payable in 2013 amounted to $46,673,278.                                     employee contributions to the plan were $2,705,916 and $1,617,428, respectively.

                                                                                                                                                                HEALTH BENEFITS PLAN AND TRUST - -
       NOTE I – RETIREMENT PLANS
                                                                                                                                                                PLAN DESCRIPTION AND PROVISIONS – Genesee County OPEB
       DEFINED BENEFIT PLAN - -
                                                                                                                                                                             Genesee County provides other post-employment benefits (medical, optical, dental and life insurance) to County retirees who meet
       PLAN DESCRIPTION AND PROVISIONS                                                                                                                          eligibility requirements. This is a single employer defined benefit plan administered by the County. The benefits are provided under collective
                                                                                                                                                                bargaining agreements to union employees and by resolution of the County Board of Commissioners for employees not covered under collective
                 The County administers a contributory agent multi-employer defined benefit pension plan known as the Genesee County Employees                  bargaining agreements. The valuation for this benefit plan has been conducted in accordance with generally accepted actuarial principles and
       Retirement System (GCERS). The plan is included as a pension trust fund in the County’s Comprehensive Annual Financial Report. GCERS                     practices. Data concerning active members, retirees and beneficiaries was provided by Genesee County. This plan does not issue separate stand
       issues a publicly available annual financial report that includes financial statements and required supplementary information for the system as a        alone financial statements.
       whole. This report can be obtained from the Retirement Coordinator at the County’s administrative offices, located at 1101 Beach Street, Flint, MI
       48502.                                                                                                                                                   FUNDING POLICY

                 GCERS was organized pursuant to Section 12a of Act 156, State of Michigan Public Acts of 1851 (MSA 5.33(1); MCLA 46.12a) as                               The County performed an actuarial valuation of the other post-retirement benefits liability for the year ended September 30, 2012. At that
       amended. GCERS was established by ordinance in 1946, beginning with general County employees and the County Road Commission. Genesee                     time the liability was determined to be $308,208,023 with the computed contribution as a percentage of payroll (based on 30-year amortization of the
       County Water and Waste Services joined the system in 1956, Genesee County Community Mental Health joined in 1966, the City of Mt. Morris in              unfunded liability) to be 34.32% or $18,549,049.
       1969, and the Genesee District Library in 1980. The GCERS is regulated under the Genesee County Employees’ Retirement System Ordinance,
       the sections of which have been approved by the State of Michigan Pension Commission. All new-hire general County and Community Mental                              The County has been working to systematically increase contributions into the VEBA to eventually equal the ARC (annual required
       Health employees may only join the defined contribution plan.                                                                                            contribution). Beginning in fiscal year 2002/2003, the County began contributing 3% of gross payroll into a fund designated for retiree health care.
                                                                                                                                                                This was increased to 5% in the 2003/2004 fiscal year, to 10% in the 2006/2007 fiscal year, 20% in the 2007/2008 fiscal year, 22.5% in the
                  The plan provides for vesting of benefits after 8 years of service. Generally, participants may elect normal retirement with 20 to 25 years   2008/2009 fiscal year, 20% in the 2009/2010 fiscal year, 24% in the 2010/2011, 2011/2012 and 2012/2013 fiscal years. In 2004 the County created
       of credited service, regardless of age, or at age 60 with 8 or more years of credited service. Retirement benefits vary by employer group, and are       a VEBA trust to specifically designate the funds that had been contributed for retiree health care. Also, in 2005 and 2006, all collective bargaining
       payable monthly. Generally, the retirement benefit is equal to the employee’s final average compensation times the sum of 2.5% for each year of          agreements as well as the non-union personnel policies included a provision that requires all employees to make a contribution of 1%-3% of pre-tax
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       credited service. All employers allow members to elect a deferred annuity providing a lifetime benefit. The length of service required to elect the      gross wages, which is paid to the VEBA as employer contributions for the funding of retiree health care benefits (OPEB). These contributions
       deferred annuity is either 8 or 15 years, depending on the date of employment and employer group.                                                        resulted in an OPEB obligation for the period ending September 30, 2013 in an amount of $29,409,706.

                  Membership in the plan at December 31, 2012, the date of the latest actuarial valuation, was comprised of 840 active plan members, 82         FUNDING PROGRESS
       inactive vested members and 1,638 retirees and beneficiaries.                                                                                                                                                                                             Fiscal Year Ended September 30
                                                                                                                                                                                                                                                       2011                 2012              2013
       ANNUAL PENSION COST                                                                                                                                           Annual required contribution (recommended)                                    $ 18,708,000          $18,549,049      $18,549,049
                                                                                                                                                                     Interest on the prior year’s net OPEB obligation                                    317,634             797,853        1,211,518
                 The annual pension cost (APC), percentage of APC contributed, and net pension obligation (NPO), for the fiscal years ended September                Adjustment to the annual required contribution                                 _                       (443,250)   _(1,018,580)
       30, 2013, 2012, and 2011, are summarized as follows:                                                                                                                Annual OPEB cost                                                          19,025,634          18,903,652        18,741,987
                                                                                                                                                                     Amount contributed                                                              9,698,547          12,009,195        9,524,252
                           Fiscal                 Annual             % of                Net Pension                                                                       (Increase) in net OPEB Liability                                            (9,327,087)         (6,894,457)     (9,217,735)
                           Year                   Pension            APC                  Obligation                                                                 OPEB Liability – beginning of year                                               (3,970,427)        (13,297,514)    (20,191,971)
                           End                    Costs (APC)       Contributed            (Asset)                                                                         OPEB Asset (obligation) – end of year                                   $ (13,297,514)        $(20,191,971)  $(29,409,706)
                           09/30/11              $12,390,596        100.0%                    0
                           09/30/12               12,232,054        100.0%                    0                                                                                                                                                                 Fiscal Year Ended September 30
                           09/30/13               14,736,420         86.4%                    0                                                                                                                                                        2011                  2012          2013
                                                                                                                                                                     Annual OPEB Costs                                                                $19,025,634         $18,903,652   $18,741,987
       ACTUARIAL METHODS AND ASSUMPTIONS                                                                                                                             Percentage contributed                                                                    51%                  64%           51%
                                                                                                                                                                     Net OPEB obligation                                                              (13,297,514)         (20,191,971)  (29,409,706)
                  In the December 31, 2012 actuarial valuation (the most recent actuarial valuation) the individual entry age cost method was used.
       Significant actuarial assumptions used include an (1) 8.0% investment rate of return, (2) projected salary increases of 3.0% - 7.03% that includes                                                                                                       Plan Year Ended September 30
       inflation at 3.0%, and (3) postretirement benefit increases depending on benefit group. The actuarial value of assets was determined using                    Valuation Date September 30                                                       2007                2010                2012
       techniques that smooth the effects of short-term volatility over a four-year period. The amortization method being used is a level percentage-of-                 Value of Assets at September 30                                              $ 30,427,079       $ 41,579,396      $43,313,587
       payroll on an open basis. The remaining amortization period for unfunded actuarial accrued liability is 25 years.                                                 Actuarial Accrued Liability                                                  179,150,908         286,696,396      308,208,023
                                                                                                                                                                         Unfunded AAL                                                                  148,723,829        245,117,000      264,894,436
       FUNDING PROGRESS                                                                                                                                                  Funded Ratio                                                                        17%                   15%              19%
                                                                                                                                                                         Annual Covered Payroll                                                       $ 58,387,145         58,028,000       36,987,137
       Actuarial Valuation as of                  12/31/2010        12/31/2011           12/31/2012                                                                      Ratio of UAAL to Covered Payroll                                                     2.55%            422.41%          716.18%
       Actuarial Value of Assets                  $401,700,454      $365,262,318         $387,979,375
       Actuarial Accrued Liability (Entry Age)     564,033,044       549,929,631          559,390,939                                                           ACTUARIAL METHODS AND ASSUMPTIONS
       Unfunded AAL                                162,332,590       184,667,313          171,411,564
       Funded Ratio                                      71.2%             66.4%                69.4%                                                                      Actuarial valuations of an ongoing plan involve estimates of the value of reported amounts and assumptions about the probability of
       Covered Payroll                              57,794,546        52,236,539           49,736,813                                                           occurrence of events far into the future. Examples include assumptions about future employments, mortality, and healthcare cost trends. Amounts
       UAAL as a % of Covered Payroll                  280.9%           353.5%                344.6%                                                            determined regarding the funded status of the plan and the annual required contributions of the employer are subject to continual revision as actual
                                                                                                                                                                results are compared with past expectations and new estimates are made about the future.




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                 Projections of benefits for financial reporting purposes are based on the substantive plan (the plan as understood by the employer and the            NOTE K – RECEIVABLES
       plan member) which is formally detailed in the collective bargaining agreements and County Board resolutions. These collective bargaining
       agreements and resolutions include the types of benefits provided at the time of each valuation and the historical pattern of sharing of benefit costs                      Governmental funds report deferred revenue in connection with receivables for revenues that are not considered to be available to
       between the employer and plan members to that point. The actuarial methods and assumptions used include techniques that are designed to                         liquidate liabilities of the current period. Governmental funds also defer revenue recognition in connection with resources that have been received,
       reduce the effects of short-term volatility in actuarial accrued liabilities and the actuarial value of assets, consistent with the long-term perspectives of   but not yet earned. At the end of the current fiscal year, the various components of deferred revenue and unearned revenue reported in the
       the calculations.                                                                                                                                               governmental funds were as follows:

                 In the September 30, 2012 actuarial valuation, the individual entry age actuarial cost method was used. The actuarial assumptions                                   Primary Government                                       Unavailable                  Unearned
       included a 6% investment rate of return (net of expenses), which is the expected long-term investment return on plan assets, and an annual                                    Property taxes                                           $4,763,452
       healthcare cost trend rate of 8% in year one, decreasing by 0.5% annually until year 7 and then remaining at 5%. The UAAL is being amortized as a                             Grant revenue                                            15,018,360                  $209,509
       level percentage of projected payroll on an open basis. The remaining amortization period at September 30, 2013 was 30 years.                                                 Long-term receivable                                      1,765,000

       PLAN DESCRIPTION AND PROVISIONS – Genesee County Community Mental Health                                                                                                      Component units                                                                       Unearned
                                                                                                                                                                                     Road projects                                                                         $2,244,190
                  The Genesee County Community Mental Health Retiree Health Care Plan (the “Plan”) is a single-employer defined benefit healthcare plan                              Unearned leases                                                                          156,500
       administered by Mental Health (the “Agency”) a major fund included Genesee County’s financial report. The Plan provides health insurance                                      Grant revenue                                                                          8,725,455
       benefits, including medical, prescription, dental, and optical coverage to certain retirees and their beneficiaries, which are advance-funded on a
       discretionary basis. The Plan was closed to new hires as of May 2008. The valuation for this benefit plan has been conducted in accordance with
       generally accepted actuarial principles and practices. Data concerning active members, retirees and beneficiaries was provided by Genesee County                NOTE L – INDIVIDUAL FUND INTERFUND RECEIVABLE AND PAYABLE BALANCES AND TRANSFERS
       Community Mental Health. This plan does not issue separate stand alone financial statements.
                                                                                                                                                                       Interfund Receivable and Payables:
       FUNDING POLICY                                                                                                                                                                                                                                                                        Interfund         Interfund
                                                                                                                                                                                                                                                                                            Receivable          Payable
                 The contribution requirements of Plan members and the Agency are established and may be amended by the Agency Board of Directors.                     Government Funds:
       The required contribution is based on actuarially determined finance rates, with an additional amount to prefund benefits as determined annually by                  General Fund:
       the Agency. For the three month period ended December 31, 2012, the Agency contributed $1,316,026 to the Plan, $483,524 of which was to fund                              County Health ......................................................................................                    $ 2,453,920
       current year benefits. Plan members receiving benefits contributed $0.                                                                                                    Genesee County Community Action Resource Department ...............                                         3,217,961
                                                                                                                                                                                 Enterprise ............................................................................................     7,830,989        1,003,685
       ACTUARIAL METHODS AND ASSUMPTIONS                                                                                                                                         Non-major Special Revenue................................................................                   3,203,774        7,042,704
                                                                                                                                                                                 Debt Service ........................................................................................          18,019
                  Actuarial valuations of an ongoing plan involve estimates of the value of reported amounts and assumptions about the probability of                            Capital Projects....................................................................................           84,355
       occurrence of events far into the future. Examples include assumptions about future employment, mortality, and the healthcare cost trend.                                 Internal Service....................................................................................        1,118,824     5,722,375
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       Actuarially determined amounts are subject to continual revision as actual results are compared with past expectations and new estimates are made                                                                                      Total General Fund ..........                 15,473,922    16,222,684
       about the future.
                                                                                                                                                                               County Health:
                  Projections of benefits for financial reporting purposes are based on the substantive plan (the Plan as understood by the employer and                            General Fund.......................................................................................      2,453,920
       Plan members) and include the types of benefits provided at the time of each valuation and the historical pattern of sharing of benefit costs between                        Genesee County Community Action Resource Department ...............                                                           7,751
       the employer and Plan members to that point. The actuarial methods and assumptions used to include techniques that are designed to reduce the                                Non-major Special Revenue................................................................                 840,413
       effects of short-term volatility in actuarial accrued liabilities and the actuarial value of assets, consistent with the long-term perspective of the                        Internal Service....................................................................................                       289,774
       calculations.                                                                                                                                                                                                                           Total County Health .........                 3,294,333         297,525

                 In the December 31, 2012 actuarial valuation, the projected unit credit actuarial cost method was used. The actuarial assumptions                              Genesee County Community Action Resource Department:
       include: (a) a rate of return on investments of 8.0%: (b) projected salary increases of 5.0% attributable to inflation: (c) additional projected salary                      General Fund.......................................................................................                       3,217,961
       increases ranging form 0.0% to 4.03%, depending on age, attributable to seniority/merit; and (d) projected healthcare benefit increases of 4.5% to                           County Health ......................................................................................        7,751
       9.0%. The actuarial value of assets was determined based on market value. The unfunded actuarial accrued liability is being amortized as a level                             Non-major Special Revenue………………………………………………                                                               126,583
       dollar amount over 30 years on a closed basis. The remaining amortization period at December 31, 2012, the date of the latest actuarial valuation,                           Internal Service....................................................................................                        194,719
       was 10 years.                                                                                                                                                                   Total Genesee County Community Action Resource Department ..                                           134,334         3,412,680

                  On August 29, 2012, the Board of Commissioners of Genesee County, Michigan approved a resolution to establish a community mental                             Community Development:
       authority (a separate entity) to assume the activities of the Agency, effective January 1, 2013. The Agency is reported as a discretely presented                           General Fund.......................................................................................
       component unit effective January 1, 2013.                                                                                                                                   Non-major Special Revenue................................................................                                   132,296
                                                                                                                                                                                   Internal Service....................................................................................                            329
                                                                                                                                                                                            Total Community Development ..............................................                                         132,625
       NOTE J – LEASES
                                                                                                                                                                       Non-major Special Revenue Funds:
                  The County is party to numerous operating leases, aggregate rental expenses which were approximately $74,535 for the year ended                                 General Fund.......................................................................................        7,042,704        3,203,774
       September 30, 2013 exclusive of the amount paid to a related organization described below. Minimum future rental payments under existing leases                            County Health ......................................................................................                          840,413
       are not significant.                                                                                                                                                       Genesee County Community Action Resource Department ...............                                                           126,583
                                                                                                                                                                                  Community Development ....................................................................                  132,296
                The Genesee County Community Mental Health Services is committed under various leases for building and office space and vehicles.                                 Non-major Special Revenue................................................................                   103,310           103,310
       These leases are considered for accounting purposes to be operating leases and contain renewal options of two to three years. Rental                                       Enterprise ............................................................................................                       211,585
       expenditures for the three month period ended December 31, 2012 are $93,127.                                                                                               Internal Service....................................................................................                          509,087
                                                                                                                                                                                           Total Non-major Special Revenue Funds...............................                              7,278,310        4,994,752
                                                                                                                                                                       Non-major Debt Service:
                                                                                                                                                                                  General Fund………………………………… ........................................                                                             18,019
                                                                                                                                                                                  Debt Service…………………………….................................................                                      1,605             1,605
                                                                                                                                                                                  Capital Project………………………….. ...............................................                                   9,283
                                                                                                                                                                                  General Fund………………………………….. ......................................                                            2,514    __           0
                                                                                                                                                                                                                         Total Non-major Debt Service Funds .....                              13,402    _       19,624




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       Interfund Receivable and Payables continued:                                                                                                                             Interfund Transfers In and Out                                                                                            Transfers              Transfers
                                                                                                                                    Interfund              Interfund                                                                                                                                      _ In                     Out__
                                                                                                                                   Receivable               Payable                                                         Genesee County Community Action Resource Department (GCCARD)
       Capital Projects:                                                                                                                                                                                                    County Health......... ............... ............... ...............
                   General Fund…………………………... ...............................................                                                               84,355                                                           GCCARD ............... ............... ............... ...............
                   Debt Service……………………………. ...............................................                                                                 9,283                                                           Non-major Special Revenue... ............... ...............                    640,742
                   Internal Service………………………………….. ...................................                                                                    163,699                                                           Debt ........................................................................                         361,911
                                  Total Non-major Debt Service Funds ............................                                                         257,337                                                                        Total GCCARD .......................................               640,742               361,911
                                             Total Governmental Funds .........................                                    26,194,301          25,337,227
                                                                                                                                                                                Non-major Special Revenue:
       Enterprise:                                                                                                                                                                                 General ...................................................................................                13,623,786         1,956,569
             Delinquent Tax:                                                                                                                                                                       County Health ......... ...............................................................                                         420,865
                   General Fund.......................................................................................                 1,003,685           7,830,989                               GCCARD ................ ...............................................................                                         640,742
                   Non-major Special Revenue................................................................                             211,585                                                   Enterprise ............... ...............................................................                                      545,000
                   Internal Service....................................................................................                                    49,633                                  Debt ........................................................................................                                    17,460
                                                                              Total Delinquent Tax… ....                               1,215,270        7,880,622                                  Capital..................... ...............................................................                  197,412
                                               Total Business Type Activity...........................                                 1,215,270        7,880,622                                  Non-major Special Revenue...................................................                                  610,894           610,894
                                                                                                                                                                                                   Internal....................................................................................              __________            454,257
       Internal Service Funds:                                                                                                                                                                                  Total Non-major Governmental Funds ...................                                        14,432,092         4,645,787
                   General Fund.......................................................................................                 5,722,375        1,118,824
                   County Health ......................................................................................                  289,774                                Debt:
                   Genesee Community Action Resource Department............................                                              194,719                                                             General .. ................................................................................         2,751,216             18
                   Community Development ....................................................................                                329                                                             County Health .........................................................................
                   Non-major Special Revenue................................................................                             509,087                                                             GCCARD ................................................................................              361,911
                   Debt Service ........................................................................................                                      2,514                                          Debt ....... ................................................................................
                   Capital Projects....................................................................................               163,699                                                                Capital.... ................................................................................
                   Enterprise ............................................................................................             49,633                                                                Non-major Special Revenue...................................................                           17,460
                   Internal Service....................................................................................               144,262             144,262                                            Enterprise ...............................................................................      _      29,100
                                                                          Total Internal Service Funds ..                           7,073,878           1,265,600                                                         Total Debt Service Funds . .....................................                       3,159,687   _         18
                            Total Interfund Receivables/Payables ....................................                             $34,483,449         $34,483,449
                                                                                                                                                                                Capital Project:
       Due to/from primary government and component units:                                                                                                                                                   General .. ................................................................................                          32,260
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             Component unit Land Bank Authority............................................................                            $    26,359      $ 466,518                                            Non-major Special Revenue...................................................                                        197,412
             Primary government Non-major Special Revenue Community Development                                                                            26,359                                            Debt ....... ................................................................................   _________           163,699
             Primary government Delinquent Taxes .........................................................                            466,518                   0                                                         Total Capital Projects Funds ..................................                                        393,371
             Total Primary Government and Component Unit Interfund Receivables/Payables                                             $ 492,877          $ 492,877                                                                                          Total Governmental Funds                            28,960,116     _25,501,311

             Note —The inter fund receivables/payables exist due to the fact that the County uses a pooled cash management account for substantially all                        Enterprise:
       funds.                                                                                                                                                                                                General .. ................................................................................                         4,734,725
                                                                                                                                                                                                             Debt ....... ................................................................................                          29,100
       Long-term Advances:                                                                                                                                                                                   Non-major Special Revenue...................................................                         545,000
             Primary Government - Hughes & Hatcher Debt Service Fund......................                                         $1,765,000          $                                                     Enterprise ...............................................................................
             Component unit – Land Bank Authority.........................................................                                                 1,765,000                                         Internal ... ................................................................................   _________                 439
             Primary Government – General Fund ...........................................................                             1,804,809                                                                          Total Enterprise Funds ...........................................                    545,000          4,764,264
             Primary Government – Vehicles and Equipment ..........................................                                                     1,804,809
             Total Primary Government and Component Unit Long-term Advances ........                                               $3,569,809          $3,569,809               Internal Services:
                                                                                                                                                                                                    General ...................................................................................                  142,064
                                                                                                                                                                                                    Enterprise ...............................................................................                       439
       Interfund Transfers In and Out                                                                                                  Transfers       Transfers                                    Non-major Special Revenue...................................................                                 454,258
                                                                                                                                       _ In              Out__                                      Capital Projects.......................................................................                      163,699
       Major Funds:                                                                                                                                                                                                 Total Internal Service Funds...................................                              760,459
                                   General:                                                                                                                                     Total Transfers In/Out ............ ................................................................................         $30,265,575     $30,265,575
                                                  Mental Health .........................................................          $                   $ 925,000
                                                  County Health.........................................................                                2,658,158               Transfers between funds were primarily for operating purposes. Other transfers were made to close funds.
                                                  Enterprise ...............................................................           4,734,725
                                                  Non-major Special Revenue...................................                         1,956,569       13,623,786
                                                  Debt ........ ...............................................................               18        2,751,216
                                                  Capital .... ...............................................................            32,260
                                                  Internal....................................................................                            142,064
                                                               Total General Fund ................................                     6,723,572       20,100,224

                                   Mental Health:
                                            General...................................................................            __       925,000             _
                                                      Total Mental Health ................................                                 925,000   _______ ___

                                   County Health:
                                            General... ...............................................................               2,658,158
                                            Non-major Special Revenue...................................                          ____420,865
                                                       Total County Health...............................                            3,079,023                    0




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       NOTE M - EXCESSES OF EXPENDITURES OVER APPROPRIATIONS                                                                                                             Interest rate risk - Interest rate risk is the risk that the value of investments will decrease as a result of a rise in interest rates. The
                                                                                                                                                               Commission’s investment policy does not restrict investment maturities, other than commercial paper which can only be purchased with a 270-day
               Excesses of expenditures over appropriations in individual funds are presented below:                                                           maturity. At year end, the average maturities of investments are as follows:
                                                                                                                                Excess
            Fund                                                                                                             Expenditures                                   Road Commission
       General Fund                                                                                                                                                                 Investment                                                                Fair Value                               Less than one year
                  Board of Commissioners .....................................................................                  $ 4,170                                             Mutual funds                                                              $19,430,602                                 $19,430,602
                  Treasurer .............................................................................................        20,979
                  Drain Commission ...............................................................................                2,777                                     Land Bank Authority:
                  Equalization .........................................................................................          4,465                                             Investment                                                                  Fair Value                             Less than one year
                  Circuit Court.........................................................................................         62,639                                             Governmental security pooled fund                                          $1,531,245                                  $1,531,245
                  District Court ........................................................................................        87,939
                  Probate Court ......................................................................................           11,245                                     Genesee Health System:
                  Prosecutor ...........................................................................................         19,597                                             Investment                                                                  Fair Value                             Less than one year
                  Sheriff Administration...........................................................................              22,903                                             Governmental security pooled fund                                          $8,564,000                                  $8,564,000
                  Sheriff Marine Division.........................................................................                  858                                             Mutual funds                                                                7,751,285                                   7,751,285
                  Detective Division ................................................................................             7,177
                  Other:                                                                                                                                                 Credit risk – State law limits investments in commercial paper to the top two ratings issued by nationally recognized statistical rating
                     Other................................................................................................      416,700                        organizations. The Commission has no investment policy that would further limit its investment choices. As of year end, the credit quality ratings of
                  Appropriations:                                                                                                                              debt securities (other than the U.S. government) are as follows:
                     Administration of Justice Funds.......................................................                      11,473
                     Law Enforcement Funds..................................................................                     60,000                        Road Commission:                                                                                                                                                Rating
                  Debt Service ........................................................................................          61,879                                                   Investment                                                          Fair Value                             Rating                   Organization
       Community Action Resource Department..........................................................                           537,565                                                   MERS total Market Fund                                              $19,430,602                             N/A                      N/A
       Other Non-major Governmental Funds
            Accommodation Ordinance Tax ....................................................................                     290,905                                    Land Bank Authority:                                                                                                                               Rating
            Community Enrichment and Development ....................................................                          2,454,239                                             Investment                                                               Fair Value                             Rating                   Organization
            Drug Forfeitures.............................................................................................         53,744                                             Governmental security pool                                               $1,531,245                              N/A                        N/A
            Health Care Services.....................................................................................          1,781,687
            Law Enforcement...........................................................................................         1,067,263                                                                                                                                                                                       Rating
            Parks and Recreation ....................................................................................            930,818                                     Genesee Health System:                                                           Fair Value                            Rating                    Organization
                                                                                                                                                                                     Governmental security pooled fund                                       $8,564,000                              N/A                         N/A
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                                                                                                                                                                                     Mutual funds                                                            7,751,285                               N/A                         N/A
       NOTE N - COMPONENT UNIT DISCLOSURES

       Deposits and investments:                                                                                                                               ROAD COMMISSION:
                                                                                                                                                               Long-term Debt: The long-term debt for the Genesee County Road Commission is presented below:
       All of the County’s component unit deposits and investments are governed by the following:
                                                                                                                                                                                                                      Balance                                                                                              Balance
       Michigan Compiled Laws Section 129.91 (Public Act 20 of 1943, as amended) authorizes local governmental units to make deposits and invest in                                                               October 1, 2012                                 Additions              Reductions                   September 30, 2013
       the accounts of federally insured banks, credit unions, and savings and loan associations that have offices in Michigan. The County’s component                      MTF notes                              $ 8,710,000                                $                          $(1,500,000)                   $ 7,210,000
       units are allowed to invest in bonds, securities, and other direct obligations of the United States or any agency or instrumentality of the United                   SIB Loan                                    249,092                                                            ( 249,092)
       States; repurchase agreements; bankers’ acceptances of United States banks; commercial paper rated within the two highest classifications, which                     Recovery Zone Bond                        4,880,000                                                            ( 565,000)                       4,615,000
       mature not more that 270 days after the date of purchase; obligations of the State of Michigan or its political subdivisions, which are rated as                       Total notes and leases                13,839,902                                                            (2,314,092)                      11,525,000
       investment grade; and mutual funds composed of investment vehicles that are legal for direct investment by local units of government in Michigan.                    Compensated absences                     1,074,030                                                           (      5,491)                      1,068,539
                                                                                                                                                                              Total long-term debt                 $14,913,122                                $                          $(2,319,583)                     $12,593,539
       The Road Commission has designated two banks for the deposit of its funds. The investment policy adopted by the Board of each component unit
       is in accordance with Public Act 196 of 1997. All component unit deposits and investment policies are in accordance with statutory authority. The             The outstanding bonds and notes payable at September 30, 2013, and matured interest thereon, are payable to the State of Michigan from the
       cash and investments of component units are subject to the same types of risks as detailed in Note C. These risks are examined in more detail           proceeds of state-collected taxes returned to the Road Commission as Act 51 monies. In the case of default, the state treasurer is authorized to
       below:                                                                                                                                                  withhold future disbursements of Act 51 monies due the Road Commission until the defaulted payments are recovered by the State.

                 Custodial credit risk of bank deposits - None of the component units have a deposit policy for custodial credit risk. At year end, the Road                For certain outstanding notes, special assessments have also been levied on specific properties abutting certain road improvements.
       Commission had $28,728,590 of bank deposits (checking and high balance savings accounts) that were uninsured and uncollateralized. At year              The collection of the assessments has been pledged as additional security for the payment of the bonds. The detail of general obligation bonds and
       end, the Economic Development Corporation had $91,932 of bank deposits (checking and high balance savings accounts) that were uninsured and             loans payable is shown below:
       uncollateralized. At year end, the Water and Waste Services Division had $1,092,031 of bank deposits (checking and high balance savings
       accounts) that were fully insured. At year end, the Drain Commission had $393,059 of bank deposits (checking and high balance savings accounts)                                                                                                                                     Annual
       that were uninsured and uncollateralized. At year end, the Land Bank Authority had $1,531,245 of bank deposits (checking and savings accounts)                                                                                                                                      Principal                  Outstanding
       that were uninsured and uncollateralized. At year end, the Brownfield Authority did not have any bank deposits (checking and savings accounts)                       Obligation                                           Final                            Interest Rate            Payment                      Balance              Due Within
       that were uninsured and uncollateralized. At year end, the Storm Water Management System had $223,477 of bank deposits (checking and                                 Payables                                          Payment Due                           or Range               or Range                   Sept. 30, 2013          One Year
       savings accounts) that were uninsured and uncollateralized. At year end, the Genesee Health System had $41,283,786 of bank deposits (checking
       and savings accounts) that were uninsured and uncollateralized.                                                                                         Michigan Transportation Fund notes:
                                                                                                                                                                     2006A Issue...................................        August 1, 2016                                  4.00%                   $270,000-295,000   $    850,000            $270,000
                                                                                                                                                                     2007 Issue .....................................      September 30, 2017                          3.70-4.00                465,000-525,000          1,970,000              465,000
                                                                                                                                                                     2008 Issue .....................................      August 1, 2018                              3.00-4.00                410,000-515,000          2,305,000              410,000
                                                                                                                                                                     2009 Issue .....................................      August 1, 2019                              2.00-3.30                320,000-380,000        __2,085,000              320,000
                                                                                                                                                                           Total Notes ...........................................................................................................                       7,210,000            1,465,000
                                                                                                                                                               Recovery Zone Bond 2010 Issue............                  August 1, 2020                                   4.34                575,000-665,000           4,315,000              575,000
                                                                                                                                                               Compensated absences ..........................................................................................................                           1,068,539           __140,798
                                                                                                                                                                                                                                                                                                                       $12,593,539           $2,180,798




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       GENESEE COUNTY                                                                                                                               EXHIBIT A-13

       Annual requirements to pay principal and interest on the outstanding obligations at September 30, 2013, are as follows:                                       FUND POLICY

                                                                                                            Long-term debt                                                 The collective bargaining agreements require the Road Commission to pay the insurance premium/claim costs of the retiree and spouse until
             Year Ended 9-30-2014 ..................................................                           $2,487,493                                            death. The Commission obtains health care coverage for retirees through private insurers. Upon eligibility for Medicare, the Road Commission will
             9-30-2015 ......................................................................                   2,486,748                                            pay the difference between the plan costs and the amount covered by Medicare. The Road Commission has no obligation to make contributions in
             9-30-2016 ......................................................................                   2,486,197                                            advance of when the insurance premiums or claims are due for payment (in other words, this may be financed on a “pay-as-you-go” basis).
             9-30-2017 ......................................................................                   2,181,607
             09-30-2018 ....................................................................                    1,639,016                                            FUNDING PROGRESS
             09-30-2019 – 09-30-2020..............................................                              1,788,255
             Amount representing interest ........................................                             (1,544,316)                                                 For the year ended September 30, 2012, the Road Commission has estimated the cost of providing retiree health-care benefits through an
                                                                                                              $11,525,000                                            actuarial valuation as of September 30, 2012. The valuation computes an annual required contribution, which represents a level of funding that, if
                                                                                                                                                                     paid on an ongoing basis, is projected to cover normal cost each year and amortize any unfunded actuarial liabilities over a period not to exceed 30
       Act 143, Public Acts of State 1943, provides that total bonds and notes outstanding under this Act cannot exceed 40% of the sum of the revenues               years. This valuation’s computed contribution and actual funding are summarized as follows:
       derived from state collected taxes returned to the county for county road purposes for the last preceding five calendar years and not specifically
       allocated for other purposes. As of September 30, 2012, the Road Commission is within the statutory limit of Act 143.                                                                                                              Fiscal Year Ended September 30
                                                                                                                                                                                                                                      2011                 2012           2013
       Future Revenues Pledged for Debt Payment: The Road Commission Board has irrevocably appropriated and pledged the money received and to                              Annual required contribution (recommended)              $4,494,838          $4,536,548     $4,501,630
       be received by the County from the Michigan Transportation Fund (the “Transportation Fund”) for highway and road purposes pursuant to Act 51,                       Interest on the prior year’s net OPEB obligation           131,733             102,137         88,459
       Public Acts of Michigan, 1951, as amended (“Act 51”) to the extent necessary to pay the above principal of and interest on the Michigan                             Less adjustment to the annual required contribution    _ (218,502)            (165,462)      (141,299)
       Transportation Notes. Proceeds from the bonds provided financing for the construction of the road projects. During the current year, Act 51                               Annual OPEB cost                                  $4,408,069         $4,473,223     $4,448,790
       revenues were $20,688,883 compared to the annual debt requirements of $2,881,580.                                                                                   Amount contributed:
                                                                                                                                                                                 Payments of current premiums                      (2,611,228)          (2,708,943)    (2,684,373)
       Property and Equipment: The following table summarizes the changes in the components of the Road Commission’s capital assets:                                             Advance funding                                   (2,191,456)          (2,000,000)    (3,000,000)
                                                                                                                                                                                      Decrease in net OPEB obligation                (394,615)            (235,720)     (1,235,583)
                                                                                           Balance                                                     Balance             OPEB obligation – beginning of year                      1,756,446            1,361,831       1,179,459
                                                                                          Oct. 1, 2012               Additions          Deletions   Sept. 30, 2013               OPEB obligation (asset) – end of year        $    1,361,831           $1,126,111      $ (56,124)
             Capital assets not being depreciated:
                   Land and improvements ...............                                   $ 478,816                  $             $                  $ 478,816                                                                Fiscal Year Ended September 30
                   Construction in progress...............                                   152,523                      479,185         152,523        479,185                                                          2011                 2012              2013
                   Depletable assets .........................                                 1,210                                                       1,210          Annual OPEB Costs                            $4,408,069         $4,473,223         $4,448,790
                        Subtotal ..................................                          632,549                      479,185         152,523        959,211          Percentage contributed                              107%               104%               128%
             Capital assets being depreciated:                                                                                                                            Net OPEB obligation                          $1,361,831          $1,126,111         $ (56,124)
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                   Land improvements ......................                                     2,150,742                 105,340                       2,256,082
                   Buildings and improvements.........                                          9,633,661                 118,443                       9,752,104    The funding progress of the plan as of the most recent valuation date is as follows:
                   Equipment:
                        Road.......................................                        26,327,112                1,900,296          1,644,128      26,583,280                                                                                 Fiscal Year Ended September 30
                        Shop .......................................                          497,410                   77,603                            575,013                                                                      2011                   2012            2013
                        Engineering ............................                               92,577                   34,077                            126,654                Unfunded AAL                                     $44,716,286            $42,584,913       $56,659,252
                        Yard and Storage ...................                                  557,311                   47,727                            605,038                Actuarial value of plan assets                     7,998,488             14,074,339        14,074,339
                        Office ......................................                       1,322,627                  165,904             48,602       1,439,929                Actuarial accrued liability                       52,714,774             56,659,252        42,584,913
                             Total .................................                       40,581,440                2,449,390          1,692,730      41,338,100                Funded                                                     15%                    25%              25%
             Capital assets not being depreciated continued:                                                                                                                     Annual covered payroll – December 31,             $9,023,093             $8,713,876        $8,713,876
                        Infrastructure-Roads...............                              352,102,236                16,215,462                       368,317,698                 Ratio of UAAL to covered payroll                         496%                   489%              489%
                        Infrastructure-Bridges.............                               29,504,795                   762,207                        30,267,002
                        Subtotal ..................................                      422,188,471                19,427,059          1,692,730    439,922,800     ACTUARIAL METHODS AND ASSUMPTIONS
             Less accumulated depreciation for:
                   Land improvements ......................                                   (544,911)               (106,703)                          (651,614)          Actuarial valuations of an ongoing plan involve estimates of the value of reported amounts and assumptions about the probability of
                   Buildings and improvements.........                                      (6,346,475)               (312,254)                        (6,658,729)   occurrence of events far into the future. Examples include assumptions about future employment, mortality, and the healthcare cost trend. Amounts
                   Equipment:                                                                                                                                        determined regarding the funded status of the plan and the annual required contributions of the employer are subject to continual revision as actual
                        Road.......................................                      (20,566,710)                (2,154,796)    (1,448,470)       (21,273,036)   results are compared with past expectations and new estimates are made about the future. The schedule of funding progress, presented as
                        Shop .......................................                        (363,780)                   (20,398)                         (384,178)   required supplementary information following the notes to the financial statements, presents multiyear trend information about whether the actuarial
                        Engineering ............................                             (81,242)                    (5,027)                          (86,269)   value of plan assets is increasing or decreasing over time relative to the actuarial accrued liabilities for benefits.
                        Yard and storage....................                                (501,266)                    (6,481)                         (507,747)
                        Office ......................................                       (894,645)                  (129,762)       (48,602)          (975,805)          Projections of benefits for financial reporting purposes are based on the substantive plan (the plan as understood by the employer and the
                             Subtotal............................                        (29,299,029)                (2,735,421)    (1,497,072)       (30,537,378)   plan members) and include the types of benefits provided at the time of each valuation and the historical pattern of sharing of benefit costs between
                   Infrastructure-Bridges ...................                             (7,639,854)                  (753,228)                       (8,393,082)   the employer and plan members to that point. The actuarial methods and assumptions used include techniques that are designed to reduce the
                   Infrastructure-Roads .....................                           (208,646,967)               (12,322,102)                     (220,969,069)   effects of short-term volatility in actuarial accrued liabilities and the actuarial value of assets, consistent with the long-term perspective of the
                             Subtotal............................                       (245,585,850)               (15,810,751)    (1,497,072)      (259,899,529)   calculations.

             Total net capital assets...........................                        $177,235,170                $ 4,095,493     $     348,181   $180,982,482             In the September 30, 2012, actuarial valuation, the projected unit credit actuarial cost method was used. The actuarial assumptions included
                                                                                                                                                                     a 7.5 percent investment rate of return (net of administrative expenses), which is a blended rate of the expected long-term investment returns on
                                                                                                                                                                     plan assets and on the employer’s own investments calculated based on the funded level of the plan at the valuation date, and an annual healthcare
       POST-EMPLOYMENT BENEFITS—                                                                                                                                     cost trend rate of 8.5 percent initially, reduced by decrements to an ultimate rate of 4.5 percent after four years. Both rates included a 4.0 percent
                                                                                                                                                                     inflation assumption. At the point in time that the Road Commission begins funding the plan, the actuarial value of assets will be determined using
       PLAN DESCRIPTION                                                                                                                                              techniques that spread the effects of short-term volatility in the market value of investments over a multiple year period. The UAAL is being
                                                                                                                                                                     amortized as a level percentage of projected payroll on a closed 30-year basis. The remaining amortization period at September 30, 2012 was 26
             The Road Commission provides retiree health-care benefits to eligible employees and their spouses. This is a single employer defined benefit            years.
       plan administered by the Road Commission. The benefits are provided under collective bargaining agreements.




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       WATER AND WASTE SERVICES:                                                                                                                                                                                                                           Balance                                                            Balance
                                                                                                                                                                                                                                                         Jan. 1, 2012              Additions           Reclassifications   Dec. 31, 2012
       Long-term Debt: The summary of long-term debt transactions for the Water and Waste Services for the year ended December 31, 2012 is                                                       Internal Service Funds:
       presented below:                                                                                                                                                                                Capital assets not being depreciated-
                                                                                                                                                                                                           Construction in progress ........                  16,250                                      (16,250)
                                                                                                                       Balance             Additions             Balance      Due In                   Capital assets being depreciated –
                                                                                                                     Jan. 1, 2012         (Reductions)        Dec. 31, 2012 One Year                       Buildings and equipment ........                8,628,852                (122,987)                                  8,505,865
                                                                                                                                                                                                       Less accumulated depreciation –
                     1.625% to 6.0% Interceptor and treatment facilities ......................... $ 104,546,556                           $ 3,388,570                                                     Buildings and equipment ........               (5,797,381)               (108,558)                                (5,905,939)
                             .............................................................................................                  (6,555,000)       $101,380,126    $6,700,000               Net capital assets being depreciated                2,831,471                (231,545)             (16,250)            2,599,926
                     2.5% to 7.375% District No. 3........................................................... 32,688,516                        29,999                                                 Total proprietary fund capital assets            $321,952,707           $     946,916      $             0          $322,899,623
                             .............................................................................................                  (2,719,250)         29,999,265     2,835,000
                     2.50% to 5.00% Water supply system ...........................................                          40,245,000     (1,260,000)         38,985,000     1,310,000
                             Subtotal................................................................................ 177,480,072           (7,115,681)        170,364,391    10,845,000   POST-EMPLOYMENT BENEFITS—
                     Unamortized note premium ...........................................................                       408,948      ( 90,443)             318,505        22,584
                                                                                                                           $177,889,020   $ 7,206,124         $170,682,896   $10,867,584   PLAN DESCRIPTION

                                                                                                                                                                                                 The Water and Waste Services Division provides retiree healthcare, dental, life, and vision benefits to eligible employees and their spouses
       The annual requirements to pay principal and interest on the outstanding obligations for Water and Waste Services at December 31, 2012 are as                                       through the Municipal Employees’ Retirement System. This is an agent multiple employer defined benefit plan administered by the Division. The
       follows:                                                                                                                                                                            benefits are provided under collective bargaining agreements.
                                                                                                                         Principal     Interest    Total__
                  2013 ............................................................................................. $ 10,845,000   $5,654,333   $16,499,333                               FUND POLICY
                  2014 ............................................................................................. 11,180,000      5,317,264    16,497,264
                  2015 ............................................................................................. 11,540,000      4,966,431    16,506,431                                     The collective bargaining agreements do not require employee contributions. The Division has no obligation to make contributions in advance
                  2016 ............................................................................................. 11,645,000      4,604,434    16,249,434                               of when the insurance premiums are due for payment (in other words, this may be financed on a “pay-as-you-go” basis). However, as shown below,
                  2017 ............................................................................................. 10,830,000      4,250,159    15,080,159                               the Division has made contributions to advance-fund these benefits, as determined by the Division.
                  2018-2022......................................................................................... 48,350,000     16,663,484    65,013,484
                  2023-2027......................................................................................... 46,570,000      8,859,989    55,429,989                               FUNDING PROGRESS
                  2028-2032......................................................................................... 17,869,391      2,250,274    20,119,665
                  2033 .............................................................................................     1,535,000       75,406    1,610,406                                     For the year ended December 31, 2012, the Division has estimated the cost of providing retiree healthcare benefits through an actuarial
                  Total ............................................................................................. $170,364,391 $52,641,774  $223,006,165                               valuation as of December 31, 2010. The valuation computes an annual required contribution, which represents a level of funding that, if paid on an
                                                                                                                                                                                           ongoing basis, is projected to cover normal cost each year and amortize any unfunded actuarial liabilities over a period not to exceed 30 years. This
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       Future Revenues Pledged for Debt Payment: The Water and Waste Services Division has pledged substantially all revenue of the Water and                                              valuation’s computed contribution and actual funding are summarized as follows:
       Sewer Fund, net of operating expenses, to repay the above Genesee County Drain Commissioner water and sewer revenue bonds. Proceeds from
       the bonds provided financing for the construction of the water and waste systems described above. The bonds are payable solely from the net                                                                                                                      Fiscal Year Ended December 31
       revenues of the water and sewer system. The remaining principal and interest to be paid on the bonds total $115,370,449. For the year ended                                                                                                              2010                 2011               2012
       December 31, 2012, net revenues of the system were $12,895,721 compared to the annual debt requirements of $7,623,037.                                                                    Annual required contribution (recommended)               $2,587,823           $3,933,831        $3,818,480
                                                                                                                                                                                                 Interest on the prior year’s net OPEB obligation            121,341              127,528            230,108
       In the next 6 to 12 months the County may issue an estimated $18,000,000 to $31,000,000 of water revenue refunding bonds with a limited tax                                               Less adjustment to the annual required contribution         (67,411)             (78,511)          (101,338)
       general obligation pledge to refund certain outstanding water revenue bond issues for debt service savings.                                                                                     Annual OPEB cost                                    2,641,753            3,982,848          3,947,250

       Karegnondi Water Authority – See Note Q                                                                                                                                                                                                                         Fiscal Year Ended December 31
                                                                                                                                                                                                                                                               2010                   2011                2012
       Capital Assets - The summary of capital assets for Water and Waste Services at December 31, 2012 is displayed on the following page:                                                      Amount contributed:
                                                                                                                                                                                                      Payments of current premiums                        (1,395,270)           (1,337,004)       (1,523,879)
                                                                                       Balance                                                                         Balance                        Advance funding                                        (80,595)              (81,360)        (2,500,000)
                                                                                     Jan. 1, 2012                    Additions                 Reclassifications    Dec. 31, 2012                    (Increase) Decrease in net OPEB obligation           (1,165,888)           (2,564,484)            76,629
       Proprietary fund capital assets                                                                                                                                                                OPEB obligation – Beginning of year                 (2,022,323)           (3,188,211)        (5,752,695)
             Enterprise Funds:                                                                                                                                                                            OPEB obligation – end of year                  $(3,188,211)          $(5,752,695)       $(5,676,066)
                    Capital assets not being depreciated:
                        Land .......................................                $      871,021               $                            $                       $ 871,021                                                                                      Fiscal Year Ended December 31
                        Construction in progress ........                               86,046,793                   5,697,277                 (36,835,568)            54,908,502                                                                               2010                2011                 2012
                            Subtotal............................                        86,917,814                   5,697,277                 (36,835,568)            55,779,523                Annual OPEB Costs                                        $2,641,753          $3,982,848           $3,947,250
                    Capital assets being depreciated:                                                                                                                                            Percentage contributed                                        55.87%              35.61%             101.94%
                        Distribution & collections systems                           278,985,859                     1,895,257                 29,806,472             310,687,588                Net OPEB obligation                                      $3,188,211          $5,752,695           $5,676,066
                        Vehicles..................................                       382,261                                                                          382,261
                        Buildings and equipment ........                               5,419,064                       435,029                  7,045,346              12,899,439          The funding progress of the plan as of the most recent valuation date is as follows:
                            Subtotal............................                     284,787,187                     8,027,563                 36,851,818             323,969,288
       Proprietary fund capital assets                                                                                                                                                                                                                               Fiscal Year Ended December 31
                    Less accumulated depreciation for:                                                                                                                                                                                                          2010               2011                  2012
                        Distribution & collections systems                           (48,921,258)                    (6,327,670)                                      (55,248,928)               Unfunded AAL                                            $35,394,879        $51,474,408          $35,486,607
                        Vehicles..................................                      (254,852)                      (114,514)                                         (369,366)               Actuarial value of assets.........................                0                  0             2,333,369
                        Buildings and equipment ........                              (3,423,902)                      (406,918)                                       (3,830,820)               Actuarial accrued liability ........................     25,394,879         51,474,408            37,819,976
                            Subtotal............................                     (52,600,012)                    (6,849,102)                                      (59,449,114)               Funded                                                            0%                 0%                 6.17%
                    Net capital assets being depreciated                             232,187,172                     (4,518,816)               36,851,818             264,520,174                Annual covered payroll – December 31                     $8,420,060         $7,610,890            $7,312,770
                    Total capital assets – Net of depreciation                       319,104,986                      1,178,461                    16,250             320,299,697                Ratio of UAAL to covered payroll                            420.36%            676.33%              485.27%




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       GENESEE COUNTY                                                                                                                                    EXHIBIT A-13

       ACTURIAL METHOD AND ASSUMPTIONS                                                                                                                                           LAND BANK AUTHORITY:

              Actuarial valuations of an ongoing plan involve estimates of the value of reported amounts and assumptions about the probability of                                The summary of long-term debt transactions for the Genesee County Land Bank Authority for                                        the year ended September 30, 2013, is presented
       occurrence of events far into the future. Examples include assumptions about future employment, mortality, and the healthcare cost trend. Amounts                         below:
       determined regarding the funded status of the plan and the annual required contributions of the employer are subject to continual revision as actual                                                                                                             Balance                                                           Balance            Due In
       results are compared with past expectations and new estimates are made about the future.                                                                                                                                                                       Oct.1, 2012  Additions                        (Reductions)      Sept. 30, 2013     One Year
                                                                                                                                                                                             Promissory Note – Genesee County ...................                    $ 510,742    $                               $   (102,149)        $ 408,593          $ 102,149
              Projections of benefits for financial reporting purposes are based on the substantive plan (the plan as understood by the employer and the                                     Berridge Place Project .........................................            540,000                                      (260,000)            280,000          280,000
       plan members) and include the types of benefits provided at the time of each valuation and the historical pattern of sharing of benefit costs between                                 Land Bank Center................................................          1,810,000                                       (45,000)          1,765,000           45,000
       the employer and plan members to that point. The actuarial methods and assumptions used include techniques that are designed to reduce the                                            GCLB-Berridge Planc, LLC LISC note payable ...                            1,360,475                                      (138,709)          1,221,766           16,147
       effects of short-term volatility in actuarial accrued liabilities and the actuarial value of assets, consistent with the long-term perspective of the                                 Line of credit ........................................................     200,000  __                               _ (200,000)                    0      _        _
       calculations.                                                                                                                                                                         Total note leases .................................................       4,421,217                                      (745,858)          3,675,359          443,296
                                                                                                                                                                                             Compensated absences ......................................                  36,338                                        (5,134)              31,204       _ _____
             In the December 31, 2010 actuarial valuation, the individual entry age actuarial cost method was used. The actuarial assumptions included an                             Total long-term ..............................................................  $4,457,555  $                               $ (750,992)          $ 3,706,563       $ 443,296
       4.0 percent investment rate of return (net of administrative expenses) and an annual healthcare cost trend rate of 5.0 percent. The UAAL is being
       amortized as a level percentage of projected payroll over 30 years.
                                                                                                                                                                                 The annual requirements to pay principal and interest on the outstanding obligations at September 30, 2013, are as follows:
             In 2012, the Division approved a prefunding plan and per the plan $2,500,000 was remitted to the trust in 2012 and $1,200,000 per year will
       be remitted starting in 2013.                                                                                                                                                                                                  2014 .................................................        $ 662,959
                                                                                                                                                                                                                                      2015 .................................................         1,549,682
                                                                                                                                                                                                                                      2016 .................................................           249,022
       DRAIN COMMISSION:                                                                                                                                                                                                              2017 .................................................           249,950
                                                                                                                                                                                                                                      2018 .................................................           143,598
       The summary of long-term debt transactions for the Drain funds for the year ended September 30, 2013, is presented below:                                                                                                      2019-2023 ........................................               723,805
                                                                                                                                                                                                                                      2024-2028 ........................................               737,830
                                                                                                                              Balance      Additions      Balance      Due in                                                         2029-2033 ........................................               734,055
                                                                                                                            Oct. 1, 2012 (Reductions) Sept. 30, 2013 One Year                                                         2034 .................................................           147,977
                  Citizens Bank....................................................................................... $ 200,000            $(50,000)   $ 150,000    $ 50,000                                                                                                                        5,198,878
                  3.69% to 6.85% Genesee County Special Assessment                                                                                                                                        Amount representing interest............................................                  (1,523,519)
                          debt with governmental commitment ......................................                              292,926      335,097                                                                                                                                                $3,675,359
                           ................................................................................................                 (147,586)      480,437     146,546
                          4.0 to 4.25% Genesee County Drainage District
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                          #408 Series 2006 Bonds ........................................................                       500,000     (125,000)      375,000     125,000   The following is a summary of capital assets for the Genesee County Land Bank Authority at September 30, 2013:
                  2.0% to 3.15% Genesee County Drainage District
                          Bonds #0017 Series 2011 Bonds ........................................... 2,395,000                               (235,000)    2,160,000     235,000                                                                                  Balance                                                                        Balance
                                                                                                                             $3,387,926   $ (222,489)  $ 3,165,437   $ 556,546                                                                                 Oct. 1, 2012                        Additions           Disposals            Sept. 30, 2013
       The annual requirements to pay principal and interest on the outstanding obligations for the Drain funds at September 30, 2013, are as follows:                                 Capital assets not being depreciated:
                                                                                                                                                                                             Land .........................................                       $      84,308                $                        $                        $     84,308
                                                         2013/2014 ........................................          $641,679                                                                Construction in progress-Bldgs.....
                                                         2014/2015 ........................................           593,601                                                                Subtotal.........................................                           84,308                                                                        84,308
                                                         2015/2016 ........................................           557,656
                                                         2016/2017 ........................................           347,453                                                          Capital assets being depreciated:
                                                         2017/2018 ........................................           340,395                                                                Buildings and improvements.........                                    8,946,972                           4,792               (149,835)                8,801,929
                                                         2019-2022 ........................................         1,024,411                                                                Machinery and equipment ............                                     166,024                                                                          166,024
                                                                                                                    3,505,195                                                                Office equipment...........................                              197,239                                                                          197,239
                                Amount representing interest............................................             (339,758)                                                               Vehicles ........................................                        150,524                         10,523                                           161,047
                                                                                                                  $ 3,165,437                                                                     Subtotal ..................................                       9,460,759                         15,315                (149,835)                9,326,239
                                                                                                                                                                                        Less Accumulated depreciation:
       The following is a summary of capital assets for the Drain fund at September 30, 2013:                                                                                                Buildings and improvements.........                                 (1,340,153)                         (312,199)               83,251              (1,569,101)
                                                                                                                                                                                             Maintenance and equipment ........                                     (96,812)                          (72,938)                                     (169,750)
                                                                                   Balance                                                                   Balance                         Office equipment...........................                            (95,632)                           (4,160)                                      (99,792)
                                                                                  Oct. 1, 2012                    Additions          Deletions             Sept. 30, 2013                    Vehicles ........................................                     (103,346)                          (36,905)                                     (140,251)
              Capital assets being depreciated:                                                                                                                                                   Subtotal ..................................                    (1,635,943)                         (426,202)              83,251               (1,978,894)
                    Equipment.....................................                 $1,540,647                 $      55,791      $                         $ 1,596,438                 Net capital assets being depreciated .....                                 7,824,816                          (410,887)              66,584                7,437,345
                    Infrastructure.................................                24,848,689                        58,327                                 24,907,016                 Total capital assets – Net of depreciation                               $ 7,909,124                    $     (410,887)           $ (66,584)             $ 7,431,653
                    Drain System Retrospective .........                           29,376,026                                                               29,376,026
              Capital assets not being depreciated:                                                                                                                              The Authority’s 1 percent ownership interest in 607 East Second Avenue, LLC (LLC) is accounted for in the statement of net assets as an equity
                    Construction in Progress ..............                           750,989                       826,564             (42,273)               1,535,280         investment. 607 East Second Avenue, LLC was created to account for the redevelopment of the old Durant Hotel. The total projected cost of the
                         Subtotal ..................................               56,516,351                       940,682             (42,271)              57,414,760         development was approximately $35,590,000, with a total contribution of $18,380,819 from the Authority. The Authority’s capital contributions
                    Less Allowance for Depreciation ..                                                                                                                           sources were from grants, Brownfield TIF bonds, and sale of state historic and state Brownfield tax credits. The Authority has recorded a loss on
                    Equipment.....................................                 (1,440,040)                      (102,501)                                 (1,542,541)        impairment of the fair value of its investment below cost in the amount of $16,441,819 to bring the investment balance to $1,939,000.
                    Infrastructure.................................               (10,781,114)                    (2,180,308)                                (12,961,422)
                    Drain System Retrospective .........                          (20,131,888)                                                               (20,131,888)        Subsequent to September 30, 2013, the Authority entered into a $3,000,000 line of credit with a bank and the County has pledged its limited tax full
                         Subtotal ..................................              (32,353,402)                    (2,282,809)                                (34,635,851)        faith and credit on the line.
                    Net capital assets being depreciated                           23,411,960                     (2,168,391)                                 21,243,629
                    Total Capital Assets
                    Net of depreciation........................                  $24,163,309              $       (1,342,127)    $      (42,273)           $ 22,778,909

       During 2006, the Drain Commission complied with the provisions of GASB Statement 34 relative to the retroactive adjustment to capitalize
       infrastructure back to 1980.


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       NOTES TO FINANCIAL STATEMENTS

       GENESEE COUNTY                                                                                                                                                    EXHIBIT A-13

       BROWNFIELD AUTHORITY:                                                                                                                                                                            FUNDING PROGRESS

       The summary of long-term debt transactions for the Genesee County Brownfield Authority for the year ended September 30, 2013 is presented                                                              The Authority’s annual other postemployment benefit (OPEB) cost (expense) is calculated based on the annual required contribution of the
       below:                                                                                                                                                                                           employer (ARC). The ARC was calculated using the projected unit credit actuarial cost method. The ARC represents a level of finding that, if paid
                                                                                                                                                                                                        on an ongoing basis, is projected to cover normal cost each year and amortize any unfunded actuarial liabilities (or funding excess) over a period not
                                                                                                                             Balance                                  Balance     Due In                to exceed thirty years.
                                                                                                                            Oct. 1, 2012 Additions (Reductions) Sept. 30, 2013 One Year
                        Unamortized note premium ........................................                                   $    406,984             ($ 17,695)   $ 389,289      $17,695                      The following table shows the components of the Authority’s annual OPEB cost for the nine month period, the amount actually contributed to
                        3.0% to 5.0% Genesee County Brownfield Authority .                                                                                                                              the Plan, and changes in the Authority’s net OPEB asset:
                        Series 2005 Tax Increment Bonds, Subject to
                        redemption prior to maturity........................................                                  12,610,000       _______      (245,000)    12,265,000   255,000                               Annual required contribution                                   $ 7,437,503
                        Total.... .......................................................................                   $ 13,016,984       $          ($ 262,695)   $12,754,289 $272,695                                Interest on net OPEB asset                                         (96,248)
                                                                                                                                                                                                                            Adjustment to annual required contribution                         247,286
       The annual requirements to pay principal and interest on the outstanding obligations at September 30, 2013, are as follows:                                                                                                Net OPEB cost (expense)                                  $ 7,588,541
                                                                                                                                                                                                                            Amount contributed:
                                                                   2014 .................................................      $  843,500                                                                                         Payment of current premiums                               7,729,092
                                                                   2015 .................................................         852,900                                                                                                Change in net OPEB obligation                        140,551
                                                                   2016 .................................................         861,500                                                                                   Net OPEB asset, beginning of the year                             461,523
                                                                   2017 .................................................         874,200                                                                                            Net OPEB asset, end of the year                       $ 602,074
                                                                   2018 .................................................         880,575
                                                                   2019-2023 ........................................           4,523,500                                                                                                                                                                 Fiscal Year Ended September 30
                                                                   2024-2028 ........................................           4,747,125                                                                                                                                                      2011                 2012*         2012**           2013***
                                                                   2029-2033 ........................................           4,980,500                                                                                   Annual OPEB costs                                               $5,308,643           $8,772,109      $1,740,748       $7,377,734
                                                                   2034-2035 ........................................           2,059,500                                                                                   Percentage contributed                                              151.5%                 73.4%          75.6%          104.8%
                                                                                                                               20,623,300                                                                                   Net OPEB asset                                                  $1,179,411           $1,604,133     $1,179,411        $ 602,074
                                    Amount representing interest............................................                   (8,258,300)
                                                                                                                              $12,365,000                                                                                   *During the year ended September 30, 2012, the Authority switched from a 30 year amortization period to a 10 year amortization period.
                                                                                                                                                                                                                            **This represents the three month period ended December 31, 2012.
                                                                                                                                                                                                                            *** This represents the nine month period ended September 30, 2013.

       GENESEE HEALTH SYSTEM:                                                                                                                                                                                 The funding progress of the plan as of the most recent valuation date is as follows:
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       Property and Equipment: The following table summarizes the changes in the components of the Genesee Health Systems capital assets:                                                                                   Unfunded AAL                                                  $56,477,931
                                                                                                                                                                                                                            Actuarial value of plan assets                                 14,599,442
                                                                                                                              Transfer of                                                                                   Actuarial accrued liability                                    41,878,489
                                                                                                                               Beginning                                                    Ending                          Funded                                                              25.8%
                                                                                                                                Balance              Additions            Deletions         Balance                         Annual covered payroll                                        $17,335,736
       Capital assets not being depreciated:                                                                                                                                                                                Ratio of UAAL to covered payroll                                      242%
             Construction in progress..........................................................................                $     34,888         $ 946,968             $              $ 981,856
       Capital assets being depreciated:                                                                                                                                                                ACTUARIAL METHODS AND ASSUMPTIONS
             Building improvements ............................................................................                    2,225,580             677,627                          2,903,207
             Vehicles and equipment ..........................................................................                     2,046,565             147,830              (24,680)    2,169,715           Actuarial valuations of an ongoing plan involve estimates of the value of reported amounts and assumptions about the probability of
                    Subtotal..........................................................................................             4,226,005             825,457              (24,680)    5,072,922     occurrence of events far into the future. Examples include assumptions about future employment, mortality, and the healthcare cost trend.
       Less accumulated depreciation for:                                                                                                                                                               Actuarially determined amounts are subject to continual revision as actual results are compared with past expectations and new estimates are made
             Building improvements ............................................................................                   (474,137)            (137,416)                            (611,553)   about the future.
             Vehicles and equipment ..........................................................................                  (1,413,050)             (94,315)              24,680      (1,482,685)
                    Subtotal..........................................................................................          (1,817,430)            (231,731)              24,680      (2,094,238)          Projections of benefits for financial reporting purposes are based on the substantive plan (the Plan as understood by the employer and Plan
       Net capital assets being depreciated ................................................................                     2,384,958              593,726                            2,978,684    members) and include the types of benefits provided at the time of each valuation and the historical pattern of sharing of benefit costs between the
       Total capital assets, net of depreciation............................................................                   $ 2,419,846          $ 1,540,694           $              $ 3,960,540    employer and Plan members to the point. The actuarial methods and assumptions used to include techniques that are designed to reduce the
                                                                                                                                                                                                        effects of short-term volatility in actuarial accrued liabilities and the actuarial value of assets, consistent with the long-term perspective of the
       During the nine month period ended September 30, 2013, all the assets of Genesee County Community Mental Health Agency were transferred to                                                       calculations.
       the authority. This transfer is reflected above as a transfer of beginning balances.
                                                                                                                                                                                                               In the December 31, 2011 actuarial valuation, the projected unit credit actuarial cost method was used. The actuarial assumptions includes:
       POST-EMPLOYMENT BENEFITS-                                                                                                                                                                        (a) a rate of return on investments of 8.0%: (b) projected salary increases of 5.0% attributable to inflation: (c) additional projected salary increases
                                                                                                                                                                                                        ranging from 0.0% to 4.03%, depending on age, attributable to seniority/merit; and (d) projected healthcare benefit increases of 4.5% to 9.0%. The
       PLAN DESCRIPTION                                                                                                                                                                                 actuarial value of assets was determined based on market value. The unfunded actuarial accrued liability is being amortized on a level dollar basis
                                                                                                                                                                                                        over 25 years on a closed basis. The remaining amortization period at December 31, 2011, the date of the latest actuarial valuation, was 10 years.
             The Genesee Health System retiree healthcare plan (the “Plan”) is a single-employer defined benefit healthcare plan provides health
       insurance benefits, including medical, prescriptions, dental, and optical coverage to certain retirees and their beneficiaries, which are advance-
       funded on a discretionary basis. It is a single-employer defined benefit healthcare plan administered by the Authority, which was closed to new hires
       as of May 2008. Plan assets are held in trust by a third party administrator.

       FUND POLICY

             The contribution requirements of Plan members and the Authority are established and may be amended by the Authority Board of Directors.
       The required contribution is based on actuarially determined financed rates, with an additional amount to prefund benefits as determined annually by
       the Agency. For the nine month period ended September 30, 2013, the Authority contributed $7,729,092 to the Plan, while plan members receiving
       benefits contributed $0.




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       NOTES TO FINANCIAL STATEMENTS

       GENESEE COUNTY                                                                                                                  EXHIBIT A-13

       NOTE O - RESTATEMENT OF NET POSITION                                                                                                                        Note R - PENSION, EMPLOYEES’ FRINGE BENEFIT (VEBA) AND QUALIFIED EXCESS BENEFIT ARRANGEMENT (QEBA) TRUST FUNDS

             Restatement: Net position and fund balances at September 30, 2012, were restated to correct beginning balances. Net position and fund                                                                                  Employees’
       balances were restated for the following reasons:                                                                                                                                                           General           Qualified        Employees’
                                                                                                                                                                                                                  Employees            Excess           Fringe
             1)     To properly account for the year end change from December to September.                                                                                                                       Retirement        Arrangement         Benefit
             2)     To properly account for refund of payments for special assessments, overpayment received from the State, and an adjustment to the                                                              System             (QEBA)           (VEBA)                 Total
                    net OPEB obligation to reflect the balance in the actuarial valuation.                                                                         Statement of Net Position:
                                                                                                                                                                        Cash and investments                      $ 444,425,721       $              $ 46,821,976        $ 491,247,697
                                                                       As Previously                                     Restated                                       Other assets                                  2,854,857                           279,996            3,134,853
                                                                       __Reported__           Adjustments                Amounts                                        Liabilities                                 (28,328,589)                       (4,164,247)         (32,492,836)
                      Component units:                                                                                                                                          Net Position                        418,951,989                        42,937,725          461,889,714
                         Net Position
                                                                                                              (1)
                         Economic Development                          $      813,204          $   (41,576)          $      771,628                                Statement of Changes in Net Position:
                                                                                                                                                                        Investment Income                            47,787,800                        2,992,469             50,780,269
                                                                                                              (2)
                           Road Commission                             $ 204,416,884           $ (108,352)           $ 204,308,532                                      Contributions                                16,720,259                       10,665,685             27,385,944
                                                                                                                                                                        Benefit payments                            (40,062,306)                     (13,916,914)           (53,979,220)
                                                                                                                                                                        Other decreases                              (3,632,436)          (983)          (42,379)            (3,675,798)
       NOTE P - GASB UPCOMING ACCOUNTING PRONOUNCEMENTS DISCLOSURE                                                                                                            Change in Net Position              $ 20,813,317        $   (983)      $ (301,139)          $ (20,511,195)

                In March 2012, the GASB issued GASB Statement No. 65, Items Previously Reported as Assets and Liabilities, which is required to be
       implemented for financial statements for periods beginning after December 15, 2012. Statement No. 65 establishes accounting and financial
       reporting standards that reclassify, as deferred outflows and inflows of resources, certain items that were previously reported as assets and
       liabilities. This statement also provides other financial reporting guidance related to the impact of the financial statement elements deferred outflows
       of resources and deferred inflows of resources. Statement No. 65 will be implemented for the County’s 2014 fiscal year.

             In June 2012, GASB Statement No. 67, Financial Reporting for Pension Plans, was issued by the Governmental Accounting Standards Board.
       This new standard, which replaces the requirements of GASB Statements No. 25, Financial Reporting for Defined Benefit Pension Plans and Note
       Disclosures for Defined Contribution Plans and No. 50, Pension Disclosures, establishes standards for financial reporting that outline the basic
       framework for separately-issued pension plan financial reports and specifies the required approach to measuring the liability of employers and
       certain non-employer contributing entities, about which information is required to be disclosed. GASB Statement No. 67 is required to be adopted
       for years beginning after June 15, 2013. For the County, this standard will be adopted for the year ended September 30, 2014.
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               In June 2012, the GASB issued GASB Statement No. 68, Accounting and Financial Reporting for Pensions. Statement No. 68 requires
       governments providing defined benefit pensions to recognize their unfunded pension benefit obligation as a liability for the first time, and to more
       comprehensively and comparably measure the annual costs of pension benefits. This net pension liability that will be recorded on the government-
       wide, proprietary and discretely presented component units statements will be computed differently than the current unfunded actuarial accrued
       liability, using specific parameters set forth by the GASB. The statement also enhances accountability and transparency through revised note
       disclosures and required supplementary information (RSI). The County is currently evaluating the impact this standard will have on the financial
       statements when adopted. The provisions of the statement are effective for financial statements for the year ended September 30, 2015.

       NOTE Q – KAREGNONDI WATER AUTHORITY

       Effective August 1, 2013, the County entered into an agreement with the Karegnondi Water Authority (KWA) and the City of Flint to issue debt to
       acquire, construct, and operate a water supply system (System). The debt will not exceed $300,000,000. The County’s share of the debt is 65.8
       percent or an amount not to exceed $197,400,000. As of the date of the audit report, the debt has not been issued.

       The intake facility and the site for the System were financed through the issuance of bonds by the County in the principal amount of $35,000,000 in
       October, 2013, with the understanding that the County would make the intake facility available to KWA for use by KWA as part of the System. The
       County has pledged its limited tax full faith and credit as additional security for the bonds. The intake facility is currently under construction and is
       expected to be completed in October, 2014.

       In order to provide finished water to the County’s customers, the County will be required to build a new water treatment plant, reservoir, pump station
       and approximately 5 miles of water main. To finance the construction cost, the County anticipates issuance of approximately $60,000,000 of water
       revenue bonds with a limited tax general obligation pledge of the County. The new water treatment plant, reservoir, pump station and water main
       are expected to be constructed and fully operational on or before May 1, 2016, the date on which the System is expected to be fully operational.

       Effective October 1, 2013 the County entered into a contract with KWA to supply up to 42 million gallons per day of untreated water. The charges to
       be paid by the County consist of an annual fixed or capital fee and an annual commodity or operations and maintenance fee. The County expects to
       pay such charges from the revenues of its water supply system as an operation and maintenance expense in the same manner that it presently pays
       for water furnished by the Detroit Water and Sewerage Department (DWSD).

       The County is also a voting member of KWA. The County joined KWA in 2013 based on the expectation that the purchase of water for the County
       will be more economical in the future than continuing to purchase water from the DWSD.




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       NOTES TO FINANCIAL STATEMENTS

       GENESEE COUNTY                                                                                                          EXHIBIT A-13

       NOTE S - FUND BALANCE CONSTRAINTS

       The detail of the various components of fund balance is as follows:

                                                                                         Community
                                                                                           Action                      Other
                                                          General            County       Resource        Community Governmental
                                                           Fund              Health      Department      Development   Funds             Total
       Fund Balances:
       Nonspendable:
        Long-term advance to Internal Service Fund     $ 1,840,809                                                                   $   1,840,809
        Long-term advance to Component Unit                                                                            $ 1,765,000       1,765,000
        Prepayments:                                          20,690    $      22,020                                        4,023          46,733
        Inventory:                                                                       $   485,062     $   638,400       137,018       1,260,480
       Restricted for:
         Non-Major Special Revenue:
         Community Enrichment and Development
         Drug Forfeiture
                                                                                                                           356,692
                                                                                                                            43,759
                                                                                                                                           356,692
                                                                                                                                            43,759
                                                                                                                                                                  REQUIRED
         Emergency Medical Services                                                                                        720,963         720,963
         Health Care Services
         Solid Waste Planning Activities
                                                                                                                           571,809
                                                                                                                           296,065
                                                                                                                                           571,809
                                                                                                                                           296,065           SUPPLEMENTARY
         Senior Services                                                                                                 2,904,020       2,904,020
         Social Services
         Veterans Millage
                                                                                                                           116,299
                                                                                                                           471,776
                                                                                                                                           116,299
                                                                                                                                           471,776
                                                                                                                                                              INFORMATION
       Committed to:

                                                                                                                                                      GENERAL AND MAJOR FUNDS
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         Non-Major Special Revenue:
         Planning Commission:
           Contractual disallowances                                                                                        59,994         59,994
           Local match on grant                                                                                             15,000         15,000
       Assigned to:
        Costs and settlements of contractual
        disallowances, claims and litigation               1,000,000                                                                     1,000,000
        Programs:
         Mental Health                                                                                                                           -
         County Health                                                       2,517,028                                                   2,517,028
         Non-Major Special Revenue:
         Child Care                                                                                                      3,873,041       3,873,041
         Community Enrichment and Development                                                                                  588             588
         Law Enforcement                                                                                                   205,835         205,835
         Parks and Recreation                                                                                            4,816,894       4,816,894
         Planning Commission
               -Compensated absences                                                                                        65,346         65,346
         Capital Projects:
         Capital Improvement                                                                                               721,280        721,280
        Jail Site Remediation                                                                                                7,321         7,321
       Unassigned:                                     $ 9,455,182                       $   (928,728)                                 8,526,454
        Administration of Justice                                                                                          (583,117)    (583,117)
        Law Enforcement                                                                                                     (29,900)     (29,900)
        Planning                                                                                                             97,322       97,322
        Hughes & Hatcher Center Debt Service                                                                             (1,710,110)  (1,710,110)
       Total fund balances                             $ 12,316,681     $ 2,539,048      $   (443,666) $     638,400   $ 14,926,918 $ 29,977,381




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                                                        SCHEDULE OF REVENUES AND TRANSFERS IN
                                                        BUDGET AND ACTUAL -- GENERAL FUND
                                                        REQUIRED SUPPLEMENTARY INFORMATION

                                                        GENESEE COUNTY                                                                                                                              Exhibit B-1




                                                                                                                                                             Fiscal Year Ended September 30, 2013
                                                                                                                                                                                                         Variance with
                                                                                                                                                 Original         Final                                  Final Budget
                                                                                                                                                Budgeted         Budgeted                                  Positive
                                                                                                                                                Amounts          Amounts              Actual              (Negative)
                                                        OPERATING REVENUE
                                                        TAXES
                                                         Current property taxes................................................             $   43,459,630   $    44,652,148    $     45,261,951     $         609,803

                                                        LICENSES AND PERMITS
       This Page was Intentionally Left Blank            Dog licenses ..............................................................               710,000           617,448             666,466                 49,018
                                                         Other...........................................................................          158,050           248,676             243,348                 (5,328)
                                                                                                                          TOTALS                   868,050           866,124             909,814                 43,690
                                                        FINES AND FORFEITURES
                                                         Ordinance fines and costs..........................................                     1,980,993         1,738,676           1,538,459               (200,217)
                                                         Bond forfeitures .........................................................                 39,500            23,090              26,330                  3,240
                                                                                                                          TOTALS                 2,020,493         1,761,766           1,564,789               (196,977)
                                                        USE OF MONEY AND PROPERTY
                                                         Interest earned ...........................................................               245,000            58,688              58,600                    (88)


                                                        OTHER INTERGOVERNMENTAL REVENUES
                                                         Federal revenue…………………………………………                                                           235,000           216,615             223,108                  6,493
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                                                         Probate judges salaries .............................................                     285,010           188,390             206,271                 17,881
                                                         Revenue sharing…………………………………………                                                         7,620,146         7,541,499           7,541,499
                                                         State liquor tax............................................................            2,943,273         3,125,820           3,263,945               138,125
                                                         State cigarette tax.......................................................                  2,640            22,524              22,524
                                                         Other...........................................................................        3,530,264         3,241,981           3,239,591                (2,390)
                                                                                                                           TOTALS               14,616,333        14,336,829          14,496,938               160,109
                                                        CHARGES FOR SERVICES
                                                         Animal Shelter ...........................................................                 81,400            52,311              55,193                  2,882
                                                         District Court...............................................................           3,486,279         2,630,706           2,693,118                 62,412
                                                         Friend of the Court......................................................                 679,971           679,971             679,971
                                                         Probate Court ............................................................                145,200           148,806             148,529                  (277)
                                                         Probation fees ............................................................                33,000            33,698              33,490                  (208)
                                                         County Treasurer........................................................                  584,500           903,327             899,203                (4,124)
                                                         County Clerk ..............................................................             1,212,470         1,266,056           1,282,100                16,044
                                                         Register of Deeds ......................................................                1,550,700         1,724,931           1,683,310               (41,621)
                                                         Sheriff ........................................................................        1,665,062         1,857,664           1,902,480                44,816
                                                         Other services ............................................................             2,019,461         1,297,544           1,311,818                14,274
                                                                                                                           TOTALS               11,458,043        10,595,014          10,689,212                94,198
                                                        OTHER REVENUE.......................................................                       593,249           572,483             655,134                82,651
                                                                                    TOTAL OPERATING REVENUE                                     73,260,798        72,843,052          73,636,438               793,386
                                                        TRANSFERS IN
                                                         Enterprise Funds .......................................................                3,622,642         4,868,642           4,734,725               (133,917)
                                                         Special Revenue Funds..............................................                     1,719,604         1,936,203           1,956,570                 20,367
                                                         Capital Projects Funds…………………………………                                                                                              32,259                 32,259
                                                         Debt Service Funds………………………………………                                                                                17                  18                      1
                                                                                                  TOTAL TRANSFERS IN                             5,342,246         6,804,862           6,723,572                (81,290)

                                                                                                                                            $   78,603,044   $    79,647,914    $     80,360,010     $         712,096




                                                        NOTE - The budgetary basis is the same as reported by generally accepted accounting principles.




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       SCHEDULE OF EXPENDITURES AND APPROPRIATIONS
       BUDGET AND ACTUAL -- GENERAL FUND
       REQUIRED SUPPLEMENTARY INFORMATION

       GENESEE COUNTY                                                                                                                             Exhibit B-2




                                                                                                                     Fiscal Year Ended September 30, 2013                                                                                                                                  Fiscal Year Ended September 30, 2013
                                                                                                                                                     Variance with                                                                                                                                                      Variance with
                                                                                               Original         Final                                 Final Budget                                                                                                 Original               Final                         Final Budget
                                                                                              Budgeted         Budgeted                                 Positive                                                                                                  Budgeted              Budgeted                           Positive
                                                                                              Amounts          Amounts              Actual             (Negative)                                                                                                 Amounts               Amounts           Actual          (Negative)

       LEGISLATIVE                                                                                                                                                     OTHER
        Board of Commissioners..............................................              $      705,103   $       918,343    $        922,513     $         (4,170)    Other..............................................................................   $   (1,251,782)       $    2,279,488   $    2,696,188    $     (416,700)
                                                                                                                                                                        Contribution to Component Unit - Mental Health Servic                                      2,775,000             2,775,000        2,775,000
       MANAGEMENT AND PLANNING                                                                                                                                                                                                              TOTALS                 1,523,218             5,054,488        5,471,188          (416,700)
        Board Coordinator........................................................                247,778           244,208             241,514                2,694
        Boundary Commission.................................................                         200                                                               CAPITAL OUTLAY
        County Clerk.................................................................          2,749,011         2,435,402           2,345,564               89,838     Circuit Court…………………………………………………                                                                                   200,609          200,605                4
        County Treasurer.........................................................              1,489,518         1,442,774           1,463,753              (20,979)    County Sheriff………………………………………………                                                                                     9,450            6,172            3,278
        Drain Commission........................................................               1,246,486         1,210,390           1,213,167               (2,777)    District Court..................................................................                                    22,600                            22,600
        Elections Clerk.............................................................             672,516           740,468             724,161               16,307     Prosecutors…………………………………………………                                                                                      28,800           27,903              897
        Equalization..................................................................         1,069,270           913,157             917,622               (4,465)    All others........................................................................                                                    1,225           (1,225)
        GIS…………………………………………………………                                                                187,473           174,192             170,580                3,612                                                                        TOTALS                                          261,459          235,905           25,554
        Register of Deeds.........................................................               564,609           635,418             616,674               18,744
                                                                       TOTALS                  8,226,861         7,796,009           7,693,035              102,974                                                TOTAL EXPENDITURES                             56,219,246            57,487,339       57,732,666          (245,327)

       ADMINISTRATION OF JUSTICE                                                                                                                                       APPROPRIATIONS
        Adult Probation.............................................................             339,656           330,006             329,855                  151     Special Revenue:
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        Circuit Court.................................................................        10,625,168         9,924,755           9,987,394              (62,639)     Administration of Justice Funds...................................                        3,435,597             3,465,203        3,476,676           (11,473)
        District Court.................................................................        6,188,268         5,385,439           5,473,378              (87,939)     Child Care....................................................................            9,627,151             9,550,470        9,550,470
        Jury Board....................................................................           278,581           259,093             258,148                  945      Community Enrichment and Development Funds.......                                           104,966                36,385           22,710           13,675
        Probate Court...............................................................           2,137,938         2,046,618           2,057,863              (11,245)     County Health..............................................................               2,680,597             2,658,158        2,658,158
        Prosecutor....................................................................         4,437,370         4,436,214           4,455,811              (19,597)     Law Enforcement Funds..............................................                          98,375               103,850          103,847                 3
        Court Services..............................................................             200,384           185,620             185,537                   83      Mental Health...............................................................                925,000               865,000          925,000           (60,000)
                                                                        TOTALS                24,207,365        22,567,745          22,747,986             (180,241)     Parks and Recreation..................................................                       61,011                61,011           61,011
                                                                                                                                                                         Planning Commission..................................................                       408,572               393,572          393,572
       LAW ENFORCE/ COMMUNITY PROTECTION                                                                                                                                 Social Services............................................................                  15,500                15,500           15,500
        Office of Emergency Preparedness.............................                            166,373           154,685             154,330                  355                                                                     TOTALS                    17,356,769            17,149,149       17,206,944           (57,795)
        Sheriff Administration...................................................              2,882,042         2,892,873           2,915,776              (22,903)
        Sheriff Marine Division.................................................                  45,675            24,228              25,086                 (858)    Debt Service and Capital Projects:
        Detective Division.........................................................              524,011           879,553             886,730               (7,177)     Debt Service Funds.....................................................                   2,650,782             2,689,337        2,751,216           (61,879)
        Sheriff Security.............................................................         17,763,165        16,885,505          16,627,752              257,753                                                                                                2,650,782             2,689,337        2,751,216           (61,879)
                                                                      TOTALS                  21,381,266        20,836,844          20,609,674              227,170
                                                                                                                                                                        Internal Service:
       HUMAN SERVICES                                                                                                                                                     Administrative Services...............................................                                            85,513           67,133           18,380
        Veterans Burial.............................................................              46,276            15,716              15,716                           Vehicles and Equipment..............................................                                                5,410            4,489              921
        Veterans Information Center........................................                      129,157            36,735              36,649                   86      Building and Grounds..................................................                                            102,778           70,442           32,336
                                                                     TOTALS                      175,433            52,451              52,365                   86                                                               TOTALS                                                   193,701          142,064           51,637

                                                                                                                                                                                                               TOTAL APPROPRIATIONS                               20,007,551            20,032,187       20,100,224           (68,037)

       NOTE - The budgetary basis is the same as the basis required by generally accepted accounting principles.
                                                                                                                                                                            TOTAL EXPENDITURES AND APPROPRIATIONS                                             $   76,226,797        $   77,519,526   $   77,832,890    $     (313,364)


                                                                                                                                                                       NOTE - The County implemented GASB No. 54 in the current year, refer to Note B. As a result, the Animal Shelter and Medical Examiner Funds
                                                                                                                                                                       merged with the General Fund for reporting purposes but are budgeted as separate funds.




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       SCHEDULE OF REVENUES AND OTHER SOURCES--BUDGET AND ACTUAL--                                                                                                                                               SCHEDULE OF EXPENDITURES AND OTHER USES--BUDGET AND ACTUAL--
       MAJOR SPECIAL REVENUE FUNDS                                                                                                                                                                               MAJOR SPECIAL REVENUE FUNDS
       REQUIRED SUPPLEMENTARY INFORMATION                                                                                                                                                                        REQUIRED SUPPLEMENTARY INFORMATION

       GENESEE COUNTY                                                                                                                                                                      Exhibit B-3           GENESEE COUNTY                                                                                                                                                                  Exhibit B-4




                                                                                                                                                    Fiscal Year Ended September 30, 2013                                                                                                                                                                  Fiscal Year Ended September 30, 2013
                                                                                                                                                                                               Variance with                                                                                                                                                                                         Variance with
                                                                                                                                   Original               Final                                Final Budget                                                                                                                              Original               Final                                Final Budget
                                                                                                                                  Budgeted              Budgeted                                 Positive                                                                                                                               Budgeted              Budgeted                                 Positive
                                                                                                                                  Amounts               Amounts              Actual             (Negative)                                                                                                                              Amounts               Amounts              Actual             (Negative)

       GENESEE HEALTH SERVICES 12/31/12                                                                                                                                                                          GENESEE HEALTH SERVICES 12/31/12
        General Fund appropriation..........................................................................                 $          3,700,000   $     3,700,000    $        925,000    $       (2,775,000)    Board administration.....................................................................................      $           11,165,232   $    11,616,649    $      2,891,772    $       8,724,877
        Federal grants...............................................................................................                   6,214,695         6,253,628           1,231,478            (5,022,150)    Managed care...............................................................................................                23,299,672        22,142,242           2,088,620           20,053,622
        State grants...................................................................................................                21,277,601        21,277,601           4,477,801           (16,799,800)    Residential services......................................................................................                 30,398,585        30,398,585           7,442,990           22,955,595
        Charges for services.....................................................................................                     119,886,149       120,891,957          27,841,645           (93,050,312)    Adult services………………………………………………………………………                                                                                  29,025,515        29,240,791           7,337,280           21,903,511
        Other.............................................................................................................              1,382,000         1,364,000             785,018              (578,982)    Clinical services…………………………………………………………………                                                                                  7,436,792         7,479,885           1,315,059            6,164,826
                                                                                                           TOTALS            $        152,460,445   $   153,487,186    $     35,260,942    $     (118,226,244)    State hospitals………………………………………………………………………                                                                                  8,079,896         8,079,896           1,883,559            6,196,337
                                                                                                                                                                                                                  Developmental disabilities…………………………………………………………                                                                           25,040,498        25,407,114           5,341,139           20,065,975
       COUNTY HEALTH                                                                                                                                                                                              Inpatient services..........................................................................................                9,160,857         9,160,857           3,493,016            5,667,841
        General Fund appropriation..........................................................................                 $          3,147,478   $     3,125,039    $      3,079,023    $          (46,016)    Substance abuse services............................................................................                        9,872,388        10,043,218           2,380,671            7,662,547
        Licenses and permits....................................................................................                          992,630           992,630           1,031,768                39,138     Employee benefits........................................................................................                                     1,073,561           1,073,651
        Federal grants...............................................................................................                   1,009,430         5,304,849           5,262,724               (42,125)    Capital outlay................................................................................................                                   81,028              81,028
        State grants...................................................................................................                 8,477,053         4,265,613           2,770,726            (1,494,887)                                                                                                    TOTALS         $          153,479,435   $   154,723,826    $     35,328,785    $     119,395,131
        Charges for services...............................................................................……                             160,313           217,313             355,765               138,452
        Other.............................................................................................................                945,111         1,359,838           2,345,317               985,479    COUNTY HEALTH
                                                                                                           TOTALS            $         14,732,015   $    15,265,282    $     14,845,323    $         (419,959)    Personnel services........................................................................................       $          5,877,507   $     5,857,075    $      5,308,506    $          548,569
                                                                                                                                                                                                                  Fringe benefits..............................................................................................               4,105,071         4,081,949           3,375,957               705,992
       COMMUNITY ACTION RESOURCE DEPARTMENT                                                                                                                                                                       Supplies and services...................................................................................                    4,858,859         5,478,409           4,881,923               596,486
        Federal grants...............................................................................................        $         24,477,400   $    24,477,400    $     22,841,798            (1,635,602)    Capital outlay................................................................................................                 14,322            15,322                                    15,322
        State grants...................................................................................................                   654,697           654,697           1,403,379               748,682                                                                                                     TOTALS           $         14,855,759   $    15,432,755    $     13,566,386    $        1,866,369
        Other.............................................................................................................              3,131,758         3,131,758           4,039,962               908,204
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        Transfers in…………………………………………………………………………                                                                                                                                640,742               640,742    COMMUNITY ACTION RESOURCE DEPARTMENT
                                                                                                           TOTALS            $         28,263,855   $    28,263,855    $     28,925,881    $          662,026     Personnel services........................................................................................       $         12,168,622   $    12,168,622    $      6,819,016    $        5,349,606
                                                                                                                                                                                                                  Fringe benefits..............................................................................................               6,394,700         6,394,700           3,971,261             2,423,439
       COMMUNITY DEVELOPMENT                                                                                                                                                                                      Supplies and services...................................................................................                   10,314,488        10,314,488          18,067,079            (7,752,591)
        Federal grants...............................................................................................        $          3,366,735   $     3,366,735    $      3,366,735                           Capital outlay................................................................................................                 55,437            55,437             250,810              (195,373)
        Other…………………………………………………………………………………                                                                                              109,446           109,446             109,446                           Transfers out.................................................................................................                                                      361,911              (361,911)
                                                                                                      TOTALS                 $          3,476,181   $     3,476,181    $      3,476,181    $                                                                                                                      TOTALS           $         28,933,247   $    28,933,247    $     29,470,077    $         (536,830)

                                                                                                                                                                                                                 COMMUNITY DEVELOPMENT
                                                                                                                                                                                                                  Supplies and services...................................................................................         $            891,494   $       891,494    $        891,494    $
                                                                                                                                                                                                                  Program grants.............................................................................................                 3,470,886         3,470,886           3,470,886
                                                                                                                                                                                                                                                                                                               TOTALS              $          4,362,380   $     4,362,380    $      4,362,380    $


       NOTE - The budgetary basis is the same as the basis required by generally accepted accounting principles.




                                                                                                                                                                                                                 NOTE - The budgetary basis is the same as the basis required by generally accepted accounting principles.




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       PENSION AND OPEB SYSTEM SCHEDULE OF FUNDING PROGRESS
       REQUIRED SUPPLEMENTARY INFORMATION

       GENESEE COUNTY                                                                                                           Exhibit B-5
       The schedule of funding progress for the Pension System as of December 31st is as follows:
                                                                                                                                  UAAL as a
                                   Actuarial       Actuarial                                                                     Percentage of
          Actuarial                Value of        Accrued                   Unfunded         Funded Ratio         Covered         Covered
       Valuation Date               Assets      Liability (AAL)           AAL (UAAL)            (Percent)          Payroll          Payroll
             2007              $ 461,349,321    $ 514,859,339            $   53,510,018               89.6%      $ 68,341,150             78.3%
             2008              $ 439,812,757    $ 527,639,697            $   87,826,940               83.4%      $ 67,720,817           129.69%
             2009              $ 424,482,866    $ 543,307,372            $ 118,824,506                78.1%      $ 65,511,481           181.38%
             2010              $ 401,700,454    $ 564,033,044            $ 162,332,590                71.2%      $ 57,794,546           280.88%
             2011              $ 365,262,318    $ 549,929,631            $ 184,667,313                66.4%      $ 52,236,539           353.52%
             2012              $ 387,979,375    $ 559,390,939            $ 171,411,564                69.4%      $ 49,736,813           344.64%




       The schedule of employer contributions for the Pension System as of December 31st is as follows:
                                                                                                     Annual Required              Percentage
                Fiscal Year Ended                    Actuarial Valuation Date                          Contribution               Contributed
                        2007                                      2005                                  $12,996,937                           100%
                        2008                                      2006                                  $11,949,881                           100%
                        2009                                      2007                                  $12,096,241                           100%
                        2010                                      2008                                  $12,727,882                           100%
                        2011                                      2009                                  $11,942,380                           100%
                        2012                                      2010                                  $14,354,446                           100%




       The information presented above was determined as part of the actuarial valuations at the dates indicated. Additional information as
       of December 31, 2012, the latest actuarial valuation, follows:
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       Amortization method                                                     Level percent-of-payroll, Open
       Amortization period                                                                          25 years
                                                                                                                                                              [THIS PAGE INTENTIONALLY LEFT BLANK]
       Asset valuation method                                                       4-year smoothed market
       Actuarial assumptions:
          Investment rate of return                                                                   8.00%
          Projected salary increases                                                         3.00% to 7.03%
          Includes inflation at                                                                          3%
          Cost of living adjustments                                                                   None


       The schedule of funding progress for the OPEB System as of September 30th is as follows:
                                                                                                                                  UAAL as a
                                   Actuarial       Actuarial                                                                     Percentage of
          Actuarial                Value of        Accrued                   Unfunded         Funded Ratio         Covered         Covered
       Valuation Date               Assets      Liability (AAL)           AAL (UAAL)            (Percent)          Payroll          Payroll
             2007              $   30,427,079   $ 179,150,908            $ 148,723,829                17.0%      $ 58,387,145             2.55%
             2010              $   41,579,396   $ 286,696,396            $ 245,117,000                15.0%      $ 58,028,000           422.41%
             2012              $   43,313,587   $ 308,208,023            $ 264,894,436                 9.0%      $ 36,987,137           716.18%


       The schedule of employer contributions for the OPEB System as of September 30th is as follows:
                                                                                                     Annual Required              Percentage
                Fiscal Year Ended                    Actuarial Valuation Date                          Contribution               Contributed
                        2011                                      2010                                  $18,708,000                           52%
                        2012                                      2012                                  $18,549,049                           65%
                        2013                                      2012                                  $18,549,049                           51%


       The information presented above was determined as part of the actuarial valuations at the dates indicated. Additional information as
       of September 30, 2012, the latest actuarial valuation, follows:
       Amortization method                                                           Level percent-of-payroll
       Amortization period                                                                          30 years
       Actuarial assumptions:
          Investment rate of return                                                                   8.00%
          Projected salary increases                                                                     3%
          Medical inflation rate                8%, Graded down to 5% in 0.5% increments over 7 years
          Cost of living adjustments                                                         None           82
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                                  APPENDIX C

                             CITY OF FLINT
       GENERAL FINANCIAL, ECONOMIC AND STATISTICAL INFORMATION
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 APPENDIX C

                                                  CITY OF FLINT

                            GENERAL FINANCIAL INFORMATION
 UPDATE ON CITY OF FLINT FINANCIAL POSITION
           On December 1, 2011, five months into fiscal year 2012, Michigan's Governor placed the City of Flint (the “City”)
 under the operation of an emergency manager (the "Emergency Manager") pursuant to former Act 72, Public Acts of
 Michigan, 1990, as amended ("Act 72"). This decision was based on the recommendation of a state appointed review team,
 whose recommendation was made in part because of a consistent deficit in the General Fund, the decline in pooled cash,
 unrealistic budgeting, and unfunded liabilities for postemployment benefits.

           In 2012, the Legislature enacted Act 436, Public Acts of Michigan, 2012 ("Act 436"), which repealed Act 72 and
 provides that an emergency manager appointed under Act 72, or any other former Act authorizing the state appointment of
 emergency managers, and serving immediately prior to the effective date of Act 436 shall continue to fulfill his or her powers
 and duties under Act 436. Despite changes in the laws providing for the appointment of an emergency manager since
 December 2011, and the appointment of three different emergency managers since then, the City remains under the control
 of a state appointed manager.

           Emergency managers exercise direct control over the City's financial and operational matters and are authorized to
 "act for and in the place and stead of the governing body and the office of chief administrative officer" of the City of Flint.
 This status is expected to continue for at least the next twelve months, or until the Governor, acting on the recommendation
 of the Emergency Manager, determines that the financial emergency is over. In that event, governance and management of
 the City would be returned to the locally elected officials. However, governance and management of the City by the locally
 elected officials will be overseen by a Transition Advisory Board, who will be charged with assuring that the plans and
 operations put into place by the Emergency Manager to restore financial solvency - including a two year budget - are
 followed. An emergency manager who has served for at least 18 months under Act 436 may also be removed by a two-thirds
 vote of the City Council and approval of the Mayor. A local government whose emergency manager is removed by City
 Council action and which remains in a state of financial emergency will be placed in a mediation process with creditors and
 other interested parties pursuant to Act 436.

          Fiscal year 2012 financial statements showed a General Fund deficit of $19.2 million, and the goal of the Emergency
 Manager has been to formulate plans and implement actions that eliminate the deficit and restructure the City's cost base to
 allow for future financial solvency.

          Preparation of the fiscal year 2013 budget began with an initial projected gap of more than $25 million and
 acknowledgment of a $19.2 million General Fund deficit. The FY13 budget was ultimately balanced through a mixture of
 significant revenue increases, significant expenditure decreases, and steps taken to reduce legacy costs. Revenue increase
 included a 25 percent increase in water and sewer rates, passage of a 6 mill property tax increase for police and fire,
 establishment of a special assessment district for street lighting, and implementation of a fee sufficient to cover the cost of
 waste collection. Expenditure reductions included elimination of 20 percent of the City's workforce, compensation decreases
 equivalent to a 20 percent wage reduction for remaining employees, and the restructuring of health and retirement benefits
 for current employees and retirees necessary to develop a credibly balanced spending plan.

           The goal of the Emergency Manager was more than achieved, as the financial statements as of June 30, 2013 show
 that revenues exceeded expenses in the General Fund by $6.3 million. This resulted in the City's accumulated $19.2 million
 deficit as of June 30, 2012 being reduced to less than $12.9 million as of June 30, 2013.

           In addition, the actions taken to restructure healthcare benefits for current employees and retirees had a significant
 impact on reducing both current costs and long-term liabilities. The 20 percent reduction in the workforce required significant
 reorganizational activities focused on reducing current costs. Long term liabilities were reduced by eliminating traditional
 defined benefit pension programs for new employees in favor of hybrid plans; by moving the City's retirement system into
 a state wide retirement system; by restructuring health insurance benefits for current employees and placing retirees into those
 same plans; and by eliminating the promise of retiree health care for new employees in favor of providing retiree medical
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 savings accounts. Much of the positive financial result in FY13 came from these actions. The restructuring, which was
 implemented during the course of FY12, reduced the City's OPEB liabilities alone from nearly $900 million to less than $325
 million.

          The City's cash flow also improved significantly. Cash flow in December 2011 was projected at approximately $13
 million in comparison to current cash on hand on as of June 30, 2013 in excess of $43 million.

          The FY14 budget was designed and implemented with the same goals in mind - operating within the constraints of
 available revenues; restructuring operations and cost factors to enhance future financial stability and continuing to reduce
 the remaining $12.9 million deficit. The FY14 budget was constructed with the specific intent of further reducing the deficit
 by a minimum of $1 million, by budgeting expenses at $1 million less than projected revenues. As of January 31, 2014, seven
 months into the FY14 year, revenues and expenses are on target.

          Efforts are ongoing to reduce the deficit by more than $1 million in the current year and to finalize a plan to
 eliminate the remaining deficit within the next five years. A draft deficit elimination plan to accomplish this is currently under
 review by the Michigan Department of Treasury.

          The efforts of the City to regain financial solvency have been aided by support from the State of Michigan. State
 police troopers have been placed in the City to support local law enforcement efforts, and funds have been allocated to
 enhance prosecution activities and to operate the City's lock up. The Governor's recently released proposed budget continues
 this support.

           The work of the emergency managers has not been without conflict. A significant legal challenge has been made
 to the decision to move retirees from their historical health insurance plans into the same plans offered current employees.
 This action resulted in an initial cost reduction of $3.5 million to the City and imposed deductibles and co-pays on retirees.
 This challenge is currently pending in federal court. If the challenge is ultimately upheld, it will pose a significant challenge
 to the City in its efforts to regain and maintain financial solvency. See “Litigation” in the Official Statement.

          The future financial solvency of the City may also be challenged by a continuing structural deficit. An independent
 assessment by independent financial consultants in draft form, concluded that the City faced significant legacy and other
 structural challenges. As part of the planning for future financial solvency, five year projections and a strategic plan were
 developed. This exercise indicated a significant financial challenge forthcoming in FY15, due primarily to the possible ending
 of a major grant supporting fire fighting resources. Years after FY16 continue to show a continuing gap between revenues
 and projections. Should those projections come to pass, there will be a significant challenge. However, should the major grant
 be continued in 2015, should the impact of the structural changes made continue to have impact, and should the economy
 improve more than projected (in terms of property values, income tax, and state shared revenues), the gap will be more
 manageable.

           The most important challenge to be addressed will be instituting structural changes in the organization of the City
 to foster financial solvency as a core value and to assure that future governance and management of the City is conducted
 in a financially responsible manner. To this end, the current Emergency Manager has created a Governance Task Force,
 charged with developing recommended changes to current ordinances, procedures, and the Charter. The recommendations
 of the Task Force are anticipated within six months.

           If the City’s financial status were to deteriorate further, the City’s options to improve its fiscal health may be limited.
 The United States Bankruptcy Code, 11 U.S.C. Section 101, et. seq. (the "Bankruptcy Code") does not authorize
 municipalities to be subject to involuntary bankruptcy. The City must be specifically authorized to be a debtor under chapter
 9 of the Bankruptcy Code by state law or by a governmental officer or organization empowered by state law to authorize the
 City to be a debtor under chapter 9 of the Bankruptcy Code.

            Act 436 provides such authorization after the City first complies with certain requirements set forth therein, and only
 with the approval of the Emergency Manager (if one is currently serving) and the Governor. Specifically, Act 436 provides
 that if, "in the judgment of the emergency manager, no reasonable alternative to rectifying the financial emergency of the
 local government which is in receivership exists, then the emergency manager may recommend to the governor and the state
 treasurer that the local government be authorized to proceed under chapter 9. If the governor approves of the
 recommendation, the governor shall inform the state treasurer and the emergency manager in writing of the decision…. The
 governor may place contingencies on a local government in order to proceed under chapter 9. Upon receipt of the written
 approval, the emergency manager is authorized to proceed under chapter 9."
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 AREA

          The City covers an area of approximately 32.8 square miles.

 POPULATION

          The population for the City of Flint is as follows:

                             2010 U.S. Census                                                   102,434
                             2000 U.S. Census                                                   124,943
                             1990 U.S. Census                                                   140,761

 PROPERTY VALUATIONS

          Article IX, Section 3, of the Michigan Constitution, limits the proportion of true cash value at which property can
 be assessed to a percentage not to exceed 50% of true cash value. The Michigan Legislature by statute has provided that
 property shall be assessed at 50% of its true cash value, except as described in the paragraphs below. The Michigan
 Legislature or the electorate may at some future time reduce the percentage below 50% of true cash value.

           On March 15, 1994, the electors of the State approved an amendment to the Michigan Constitution permitting the
 Legislature to authorize ad valorem taxes on a non-uniform basis. The legislation implementing this constitution amendment
 added a new measure of property value known as “taxable value.” Since 1995, taxable property has had two valuations --
 State equalized valuation (“SEV”) and taxable value. Property taxes are levied on taxable value. Generally, the taxable value
 of property is the lesser of (a) the taxable value of property in the immediately preceding year, adjusted for losses, multiplied
 by the lesser of the inflation rate or 1.05, plus additions, or (b) the property’s current SEV. Under certain circumstances,
 therefore, the taxable value of property may be different from the same property’s SEV. When property is sold or transferred,
 taxable value is adjusted to the SEV, which under existing law is 50% of the current true cash value. The taxable value and
 SEV of new construction is equal to current SEV. The taxable value and SEV of existing property are also adjusted annually
 for additions and losses.

          Responsibility for assessing taxable property rests with the local assessing officer of each township and city. Any
 property owner may appeal the assessment to the local assessor, the local Board of Review and ultimately to the Michigan
 Tax Tribunal.
           In addition to limiting the annual increase in taxable value, the Michigan Constitution mandates a system of
 equalization for assessments. Although the assessors for each local unit of government within a county are responsible for
 actually assessing at 50% of true cash value, adjusted for taxable value purposes, the final SEV and taxable value are arrived
 at through several steps. Assessments are established initially by the municipal assessor. Municipal assessments are then
 equalized to the 50% levels as determined by the Genesee County Department of Equalization. Thereafter, the State equalizes
 the various counties in relation to each other. SEV is important, aside from its use in determining taxable value for the
 purpose of levying ad valorem property taxes, because of its role in the spreading of taxes between overlapping jurisdictions,
 the distribution of various State aid programs, State revenue sharing and in the calculation of debt limits.

          Property that is exempt from property taxes (e.g., churches, governmental property, public schools) is not included
 in the SEV or taxable value data in this Official Statement. Property granted tax abatements under Act 198, Public Acts of
 Michigan, 1974, as amended, is recorded on a separate tax roll which is subject to tax abatement. The valuation of tax abated
 property is based upon SEV but is not included in either the SEV or taxable value data in this Official Statement except as
 noted.




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 Historical Valuation

                         State Equalized             Taxable
            Year            Valuation                 Value
            2013          $795,172,400             $776,654,903
            2012           969,129,800              917,513,440
            2011         1,191,515,300            1,112,393,943
            2010         1,393,042,600            1,274,306,976
            2009         1,648,408,800            1,452,387,463

                                    2013 Taxable Value                             $776,654,903
                              Plus: 2013 IFT                                         33,149,000
                              Total Estimated Equivalent Value                     $809,803,903
                              Less: 2013 DDA Captured Value                             (579,595)
                              Net Estimated 2013 Valuation                         $808,065,118
 Source: City of Flint

 Per Capita Valuation
                         2013 Per Capita Taxable Value                                      $7,582.00
                         2013 Per Capita State Equalized Valuation                          $7,762.78
                         2013 Per Capita Estimated True Cash Value                         $15,525.56
 Tax Abatements
            Under the provisions of Act 198 of the Public Acts of Michigan, 1974 (“Act 198"), plant rehabilitation districts
 and/or industrial development districts may be established. Businesses in these districts are offered certain property tax
 incentives to encourage restoration or replacement of obsolete facilities and to attract new facilities to the area. An industrial
 facilities tax (“IFT”) is paid, at a lesser effective rate and in lieu of ad valorem property taxes, on such facilities for a period
 of up to 12 years. Qualifying facilities are issued abatement certificates for specific periods.

           After expiration of the abatement certificate, the then-current SEV of the facility is returned to the ad valorem tax
 roll. The owner of such facility may obtain a new certificate, provided it has complied with the provisions of Act 198.

         The 2013 Taxable Value for the properties which have been granted IFT abatements within the School District’s
 boundaries is $33,149,000 which is subsequently taxed at half rate. For further information see "PROPERTY
 VALUATIONS - Historical Valuations" herein.

 Tax Increment Authorities
          Act 450 of the Public Acts of Michigan, 1980 (the “TIFA Act”), Act 197 of the Public Acts of Michigan, 1975 (the
 “DDA Act”), Act 281 of the Public Acts of Michigan, 1986 (the “LDFA Act”) and Act 381, of the Public Acts of Michigan,
 1996 (the “Brownfield Act”) (together the “TIF Acts”) authorize the designation of specific districts known as Tax Increment
 Finance Authority (“TIFA”) Districts, Downtown Development Authority (“DDA”) Districts, Local Development Finance
 Authority (“LDFA”) Districts or Brownfield Redevelopment Authority (“BRDA”) Districts, authorized to formulate tax
 increment financing plans for public improvements, economic development, neighborhood revitalization, historic preservation
 and environmental cleanup with the district.
           Tax increment financing permits the TIFA, DDA, LDFA, or BRDA to capture tax revenues attributable to increases
 in value (“TIF Captured Value”) of real and personal property located within an approved development area while any tax
 increment financing plans by an established district are in place. These captured revenues are used by the District and are
 not passed on to the local taxing jurisdictions.
            The City of Flint has one DDA district that captures operating millage. The 2013 captured taxable value is $579,595.




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 Tax Base Composition

            A breakdown of the City's 2013 Taxable Value by class and use is as follows:

                             Taxable           Percent of
 By Class                     Value              Total
 Real Property              $622,052,503         80.09%
 Personal Property           154,602,400         19.91

 TOTAL                      $776,654,903        100.00%

 By Use
 Commercial                 $181,351,218          23.35%
 Industrial                   77,833,577          10.02
 Residential                 362,867,708          46.72
 Personal Commercial          54,273,600           6.99
 Personal Industrial          52,558,400           6.77
 Personal Utility             47,770,400           6.15

 TOTAL                      $776,654,903        100.00%

 Source: City of Flint

 Property Tax Reform Proposals

           On December 20, 2012, Governor Snyder signed into law a package of bills reforming personal property tax in
 Michigan. The legislation exempts commercial and industrial personal property of each owner with a combined taxable value
 in a local taxing unit of less than $40,000 from ad valorem taxes beginning in 2014. All eligible manufacturing personal
 property purchased or put into service beginning in 2013 and used more than 50% of the time in industrial processing or direct
 integrated support becomes exempt beginning in 2016. The legislation extends certain personal property tax exemptions and
 tax abatements for technology parks, industrial facilities and enterprise zones that were to expire after 2012, until the newly
 enacted personal property tax exemptions take effect. The legislation authorizes local units to specially assess commercial
 and industrial real property to replace revenue lost due to the personal property tax exemptions for police, fire, ambulance
 and jail operations. The legislation also includes a formula to reimburse certain local governments for a portion of lost
 personal property tax revenue from use tax moneys to the extent the local unit has a reduction in taxable value of more than
 2.3% as a result of the personal property tax exemption. For such reimbursement provisions to become effective, however
 voters would need to approve a change in the state distribution of use tax in the August 2014 primary election. If voters
 approve the redistribution, a portion of the use tax would be directed to a newly created statewide Metropolitan Areas
 Metropolitan Authority which would redistribute that revenue to qualifying local units. If voters fail to approve the use tax
 redistribution, the above personal property tax reform acts will be repealed and the local reimbursement act and the special
 assessment act will not go into effect. The final impact of this legislation cannot be determined at this time.
          The ultimate nature, extent and impact of any other future amendments to Michigan's property tax laws on the City’s
 finances cannot be predicted. Purchasers of the Bonds should consult with their legal counsel and financial advisors as to
 the consequences of any such legislation on the market price or marketability of the Bonds, the security therefor and the
 operations of the City.




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 MAJOR TAXPAYERS

         The ten largest taxpayers in the City of Flint and their 2013 Taxable Value totals and Industrial Facilities Tax
 Valuation totals are as follows:
                                                                             Taxable                       IFT                     Total
   Taxpayer                                  Product/Service                  Value               +      Valuation        =      Valuation
   Consumers*                                Utility                      $51,454,247                         $0              $51,454,247
   General Motors                            Automotive                    47,820,558                  9,386,600               57,207,158
   Delphi                                    Automotive                    12,067,500                           0              12,067,500
   Barrette                                  Outdoor living                10,102,700                           0              10,102,700
   4405 Continental                          Distribution center            6,418,860                           0               6,418,860
   IINN                                      Office space                   5,251,400                           0               5,251,400
   Comcast                                   Cable operator                 5,106,000                           0               5,106,000
   Saginaw & Court                           Office/Finance                 4,160,735                           0               4,160,735
   Citizens Bank                             Finance                        3,363,904                           0               3,363,904
   PPG                                       Manufacturing                  3,201,900                           0               3,201,900
   TOTAL                                                                 $148,947,804                 $9,386,600              $158,334,404
 * Consumers Energy is contesting the multipliers used for assessing their personal property taxes with the State Tax Tribunal. The City has determined
   that the outcome will have little effect on City revenue. See “PERSONAL PROPERTY TAX ASSESSMENTS AND APPEALS” below.

         The 2013 Taxable Valuations of the above taxpayers excluding IFT valuation represent 19.18% of the City's 2013
 Taxable Valuation of $776,654,903. The Total Valuations including IFT valuation represent 6.20% of the 2013 Total Taxable
 Valuation of $809,803,903.

 Source: City of Flint

 PERSONAL PROPERTY TAX ASSESSMENTS AND APPEALS

           Since the 1960's, Michigan personal property tax assessments have been based on the use of one or more of several
 different multiplier tables formulated by the State Tax Commission against taxpayer reported original cost, depending on the
 assessor's view of the average life of the personal property. The Michigan State Tax Commission has approved revisions to
 the State's personal property tax tables which are effective for the year 2000 and which may reduce overall personal property
 tax revenues in some jurisdictions. The State Tax Tribunal has informally indicated that it may allow the new multipliers to
 be applied retroactively in pending personal property tax appeals. In anticipation of the new multipliers, many personal
 property taxpayers filed appeals of their existing tax assessments. In an unpublished, non-precedential opinion, the Michigan
 Court of Appeals, in Valassis Communications v. City of Livonia, recently affirmed a decision of the Michigan Tax Tribunal
 that the personal property multipliers, which became effective in 2000, could be used to determine the true cash value of the
 subject property for the 1999 tax year. In its unpublished opinion, the Michigan Court of Appeals held that the controlling
 factor is whether the method used most accurately reflects the property's true cash value. The Court of Appeals determined
 that based on the facts of the case, the old multipliers (in effect for the 1999 tax year) did not accurately reflect the property's
 true cash value and that the 2000 multipliers more accurately reflected the property's true cash value.

 CONSTITUTIONAL ROLLBACK AND ASSESSMENT CAPS

          Article IX, Section 31 of the Michigan Constitution requires that if the total value of existing taxable property (State
 Equalized Valuation) in a local taxing unit, exclusive of new construction and improvements, increases faster than the U.S.
 Consumer Price Index from one year to the next, the maximum authorized tax rate for that local taxing unit must be reduced
 through a Millage Reduction Fraction unless new millage is authorized by a vote of the electorate of the local taxing unit.

 TAX RATES (Per $1,000 of Valuation)

           Under Michigan statutes, the property tax base used for levies authorized for the City is the same as that used for
 school district, county, township, special authority, and city levies. Each school district, county, township, special authority
 and city has a geographical definition which constitutes a tax district. Since local school districts and the county overlap either
 a township or a city, and intermediate school districts overlap local school districts and county boundaries, the result is many
 different tax rate districts.

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 City of Flint                                    2013                  2012                    2011                    2010**                2009
  Operating                                     7.5000                 7.5000                  7.5000                 7.5000                 7.5000
  Neighborhood Police                           2.0000                 2.0000                  2.0000                 2.0000                 2.0000
  Paramedic Service                             0.5000                 0.5000                  0.5000                 0.5000                 0.5000
  Refuse***                                     0.0000                 3.0000                  3.0000                 3.0000                 3.0000
  Public Improvements                           2.5000                 2.5000                  2.5000                 2.5000                 2.5000
  Parks & Recreation                            0.5000                 0.5000                  0.5000                 0.5000                 0.5000
  Police and Fire                               6.0000                 0.0000                  0.0000                 0.0000                 0.0000

 City of Flint Total Millage                   19.0000*               16.0000                16.0000                16.0000                16.0000
 Note: The City’s property tax rates may be increased only by a majority vote of the City’s electors voting in a City election.
 * Under Charter & Applicable State Law - Under the Michigan Home Rule Cities Act, a Home Rule City is allowed to extend the operating millage not to
 exceed two percent (2% or 20 mills) of assessed value of all real and personal property in the City.
 ** An additional 6.7100 mills was placed on the 2010-11 winter roll as a one-time Court -Ordered Levy to pay the Genesee Towers judgment.
 *** The Direct City Taxes increased by 6.0 mills with the addition of the Public Safety Millage and decreased by 3.000 mills with the elimination of the Waste
 Collection Millage.


 Source: City Audit Dept. / City Assessor

 TAX RATE LIMITATION

            The City is authorized to levy the following tax rates:

                                                             Millage                 Maximum Allowable                       Expiration
                                                            Authorized               Millage after Rollback                 Date of Levy
     Operating                                                7.5000                        7.5000                            Indefinite
     Police                                                   2.0000                        2.0000                           06/30/2017
     Public Improvements                                      2.5000                        2.5000                            Indefinite
     Paramedic Service                                        0.5000                        0.5000                           06/30/2016
     Parks & Recreation                                       0.5000                        0.5000                           12/31/2016
     Police & Fire                                            6.0000                        6.0000                           07/02/2016

 TAX LEVIES AND COLLECTIONS

           The City's fiscal year begins July 1 and ends June 30. City property taxes are due in three equal installments on July
 1, October 1 and February 1. The installments bear a penalty and begin to accrue interest if not paid by August 1, November
 1 and March 1 respectively. All real property taxes remaining unpaid on March 1st of the year following the levy are turned
 over to the County Treasurer for collection. Genesee County annually pays from its Tax Revolving Fund delinquent taxes
 on real property to all taxing units in the County, including the City's, shortly after the date delinquent taxes are returned to
 the County Treasurer for collection. The payments from this fund have resulted in collections of taxes approaching 100% for
 all taxing units.
            A history of tax levies and collections for the City for the last five completed years is as follows:

     Year                   Total                              Collections to                                  Collections to
    Ending                 Tax Levy                     March 1, of Following Year                       June 30, of Following Year
     2013                $28,192,664                  $19,113,565          67.80%*                       $24,134,164         85.60%
     2012                 18,022,915                   14,245,037          79.04                          15,866,017         88.03
     2011                 21,029,361                   16,565,947          78.78                          19,431,043         92.40
     2010                 22,864,857                   18,580,520          81.26                          21,950,721         96.00
     2009                 25,297,684                   20,838,394          82.37                          24,075,213         95.17

 *partial year as of March 1.


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          The Tax Revolving Fund is financed through the issuance of Delinquent Tax Anticipation Notes (DTANs). Although
 the County anticipates the continuance of this program, the ability to issue such DTANs is subject to Michigan Department
 of Treasury approval and market conditions at the time of offering. In addition, Act 206 of 1893, as amended, provides in part
 that: "The primary obligation to pay to the County the amount of taxes and interest thereon shall rest with the local taxing
 units, and if the delinquent taxes which are due and payable to the County are not received by the County for any reason, the
 County has full right of recourse against the taxing unit to recover the amount thereof and interest thereon..." On the first
 Tuesday in May in each year, a tax sale is held by the County at which lands delinquent for taxes assessed in the third year,
 preceding the sale, or in a prior year are sold for the total of the unpaid taxes of those years.

          The General Property Tax Act was amended by Act 123, Public Acts of Michigan of 1999 (“Act 123") which made
 extensive revision to the procedures for collection of delinquent real property taxes. In general, for real property taxes levied
 after December 31, 1998, all County Treasurers hold a tax lien sale on the second Monday in May (26 months after taxes were
 returned as delinquent). Act 123 has the effect of shortening the process for collection of delinquent real property taxes from
 approximately six years (including statutory redemption periods) to approximately two years from the date taxes are returned
 to the County Treasurer as delinquent.

 FEES AND CHARGES

        In fiscal year 2013, the City of Flint implemented a special assessment for street lighting and an annual fee for garbage
 collection. The street light assessment is projected to generate $2.85 million and is expected to continue into the future. The
 $2.85 million pays for the cost of the City’s street lighting program and frees up revenue for use for public safety expenses
 of the City. The City also eliminated its 3 mill rubbish collection millage and replaced the property tax with an annual fee of
 $143. This fee based system is designed to cover the costs of rubbish collection whereas the 3 mill property tax required
 unplanned transfers from the general fund by as much as $1.5 million a year. This new fee, coupled with the outsourcing of
 the City’s rubbish collection, is projected to eliminate the general fund subsidy of rubbish collection.

 REVENUES FROM THE STATE OF MICHIGAN
           The City receives revenue sharing payments from the State of Michigan under the State Constitution and the State
 Revenue Sharing Act of 1971, as amended. The revenue sharing payments are composed of two components - a constitutional
 distribution and a statutory distribution. The constitutional distribution is mandated by the State Constitution and distributed
 on a per capita basis to townships, cities and villages. The amount of the constitutionally mandated revenue sharing
 component distributed to the City can vary depending on the population of the City and the receipt of sales tax revenues by
 the State.
           The statutory distribution is authorized by legislative action and distribution is subject to annual State appropriation
 by the State Legislature. Statutory distributions may be reduced or delayed by Executive Order during any State fiscal year
 in which the Governor, with the approval of the State Legislature's appropriations committees, determines that actual revenues
 will be less than the revenue estimates on which appropriations were based.
           On June 13, 2013, Governor Snyder signed into law the budget for fiscal year 2014. Similar to fiscal year 2013, the
 budget replaces the statutory distribution for cities, villages and townships with an incentive-based revenue sharing program
 known as the Economic Vitality Incentive Program ("EVIP"), that will be distributed to municipalities that comply with "best
 practices" such as increasing transparency and consolidating services. The fiscal year 2014 budget does not alter the
 constitutional component, and includes an increased constitutional revenue sharing distribution to cities, villages and townships
 of approximately $737,000,000 from the fiscal year 2013 distribution of $722,000,000. Under the EVIP program, an eligible
 municipality such as the City can receive (i) one-third of the money it is eligible for if it meets requirements for accountability
 and transparency, including making a citizen's guide to its finances, a performance dashboard and a debt service report
 available for public viewing; (ii) another third if it develops plans to increase its existing level of cooperation, collaboration
 and consolidation, both internally and with neighboring jurisdictions; and (iii) a final third if it develops and certifies an
 unfunded accrued liability plan. The unfunded accrued liability plan, which replaced the requirement in fiscal year 2013 to
 modify employee compensation plans, must be certified by June 1, 2014 for the City to receive all of the money that it is
 eligible for from the final component described in clause (iii) above. Any portion of the EVIP that the City would be eligible
 to receive would be subject to certain benchmarks that the City would need to meet, and there can be no assurance of what
 amount, if any, the City would receive under the proposed EVIP program. The City received EVIP payments totaling
 $6,182,769 for fiscal year 2013, and is anticipating it will receive $6,182,769 for fiscal year 2014 payments.




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         Purchasers of the Bonds should be alerted to further modifications to revenue sharing payments to Michigan local
 governmental units, to potential consequent impact on the City's general fund condition, and to the potential impact upon the
 market price or marketability of the Bonds resulting from changes in revenues received by the City from the State.

           The following table sets forth the annual revenue sharing payments and other moneys received by the City for the
 fiscal years ended June 30, 2010 through June 30, 2013, and the estimated revenue sharing payments to be received in the
 fiscal year ending June 30, 2014.

                                                 Constitutional
           Fiscal Year                          Revenue Sharing   Statutory Revenue
          Ended June 30                            Payments     Sharing/EVIP Payments                   Total
          2014 (estimate)                         $7,640,908          $6,480,642                  $14,121,550
          2013                                     7,484,413           6,182,769                   13,667,182
          2012                                     7,332,602           5,770,584                   13,103,186
          2011                                     6,888,992           9,535,096                   16,424,088
          2010                                     7,917,588           8,506,500                   16,424,088
 Source: Web site http://treasury.state.mi.us

 CITY INCOME TAX
          On January 1, 1965, a local income tax at a rate of 1% on all income of residents and corporations and 1/2% on
 income earned in the City by nonresident became effective through the enactment of the Uniform City Income Tax Ordinance,
 as prescribed by Act 248, Public Acts of Michigan, 1964. The income tax is imposed for general revenue purposes and may
 be used for general governmental functions or capital improvement expenditures.
            The following is the amount of City income tax collected annually for the last five years.
                                            Fiscal Year                  Net Income
                                          Ended June 30                      Tax
                                                2013                    $14,674,274
                                                2012                    $14,839,999
                                                2011                    $14,396,346
                                                2010                    $13,551,247
                                                2009                    $14,277,939

 LABOR FORCE
          The City of Flint has a history of contract settlement without strikes. A breakdown of the number of employees of
 the City of Flint and their affiliation with organized groups is as follows:

                                           Full Time   Part Time                                             Contract
 Employees                                  Number      Number                   Affiliation                Expiration
 Clerical/Labor                               224         18                AFSCME Local 1600              06/30/2014
 Supervisory/Professional                       47        0                 AFSCME Local 1799              06/30/2014
 Police Patrol                                  84        0              Flint Police Officers Assn.       06/30/2014*
 Police Sergeants                               36        0                 Teamsters Local 129            06/30/2014
 Police Captains & Lieutenants                   8        0          Flint Police Cap'ts & L'ts. Assn.     06/30/2014
 Firefighters                                 114         6         Int'l. Assn. of Firefighters No. 352   06/30/2014
 Exempt Employees                               38        5                    Non-Affiliated
 Appointees/Elect                               16        0                    Non-Affiliated
 TOTAL                                        567        29

 * Contract terms imposed per PA4

 PENSION FUND
           The Flint Employees' Retirement System (FERS) is a defined benefit pension plan that provides retirement benefits
 to certain City retirees. The FERS was established and is governed by City ordinance, with the board of trustees comprised
 of City officials and retirees. The FERS is reported as a Pension Trust Fiduciary Fund. During the year ended June 30, 2013,
 the board was disbanded and the investments in FERS were transferred out to Municipal Employees' Retirement Systems
 (MERS). The FERS fund was closed and MERS will now take on the fiduciary responsibility of the plan.
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            Contributions to the plans for the last five years are as follows:
          Year Ended                   General, Police and                     Year Ended                       Hurley Medical Center
           June 30                     Fire Benefit Groups                      June 30                            Benefit Group*
             2013                         $11,641,714                             2013                            $3,268,075
             2012                            8,058,450                            2012                             6,503,942
             2011                            5,505,305                            2011                             5,505,003
             2010                            3,889,397                            2010                             8,896,382
             2009                            6,803,233                            2009                             7,694,335

               Funding status and funding progress:
                                             Actuarial
                                             Accrued
                       Actuarial             Liability              Unfunded                                                           UAAL as % of
  Actuarial            Value of             Individual            (Overfunded)                                             Covered       Covered
Valuation Year          Assets              Entry Age             AAL (UAAL)                    Funded Ratio               Payroll        Payroll
    Ended                (a)                (AAL) (b)                 (b-a)                        (a/b)                     (c)         ((b-a)/c)
  6/30/2006            782,098              1,023,599                241,501                        76.4                   146,634         164.7
  6/30/2007            801,533              1,071,781                270,248                        75.2                   157,012         172.1
  6/30/2008            670,366               841,266                 170,900                        79.7                   89,636          190.7
  6/30/2009            623,292               873,088                 249,796                        71.4                   89,636          278.7
  6/30/2010            567,215               835,052                 267,837                        67.9                   68,968          388.3
  6/30/2011            506,504               829,380                 322,876                        61.1                   63,063          512.0

 See Appendix D - See City of Flint Comprehensive Annual Financial Report for the Fiscal Year Ended June 30, 2013, Note
 11 - Retirement Plans

 Other Post Employment Benefits (OPEB)

          The City provides retiree healthcare benefits to eligible employees and their spouses through the Retiree Health Care
 Trust Fund. Benefits are provided to public safety and general employees. Currently, the plan has 2,339 members, including
 506 employees in active service, 0 terminated employees not yet receiving benefits, and 1,833 retired employees and
 beneficiaries currently receiving benefits.

            The funding progress of the plan as of the most recent valuation data is as follows:

                       Actuarial             Actuarial                                                                                  UAAL as a
   Actuarial            Value of             Accrued                 Unfunded                   Funded Ratio               Covered     Percentage of
   Valuation             Assets              Liability             AAL (UAAL)                     (Percent)                 Payroll      Covered
     Date                 (a)               (AAL) (b)                  (b-a)                        (a/b)                    (c)*         Payroll
   7/1/2012            $ 166,903          $320,180,757             $320,013,854                      0.1                 $    -              -
   7/1/2011                -               366,832,597              366,832,597                       -                   37,339,842        982.0
   7/1/2010                -               862,302,934              862,302,934                       -                   36,252,274      2,379.0
   7/1/2009                -               774,606,738              774,606,738                       -                   41,166,662      1,882.0

 * For actuarial valuation date 7/1/12, the annual required contribution calculation is based on a flat dollar amount.

 See Appendix D - City of Flint Comprehensive Annual Financial Report for the Fiscal Year Ended June 30, 2013, Note 12
 - Other Postemployment Benefits




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 DEBT STATEMENT (as of April 2, 2014 and including the Bonds described herein)
           Each series of bonds marked “LT” is payable in the first instance from a specified source and is payable from the
 general funds of the City in the event of insufficiency of the specified source. The City is not authorized to levy taxes beyond
 constitutional and statutory tax rate limitations with respect to the bonds marked “LT”.
 DIRECT DEBT
                                                                      Dated               Amount
                                                                      Date               Outstanding
 General Obligation Bonds
    Fiscal Stabilization Bonds, LT                                   04/13/11            $7,620,000
    Capital Improvement, Public Garage/Parking, LT                   12/28/07             8,955,000         $16,575,000
 Authority Revenue Bonds - No City Pledge
    Hurley Medical Center, Refunding, SSAuth                         06/11/03              5,150,000
    Hurley Medical Center, Series 2010, SSAuth                       03/25/10             33,215,000
    Health Care Faciliites, Equipment                                09/30/11              3,716,906
    Hurley Medical Center, Series 2013A, SSAuth                      04/02/13             21,940,000
    Hurley Medical Center, Series 2013B, SSAuth                      04/02/13             36,035,000        100,056,906
 City Revenue Bonds
    MI Bond Bank - Water DWRF Series 1999                            09/30/99              2,928,994
    MI Bond Bank - Water DWRF Series 2000                            09/28/00              3,700,000
    MI Bond Bank - Water DWRF Series 2001                            09/28/01              4,731,408
    MI Bond Bank - Water DWRF Series 2003                            09/25/03             11,599,934          22,960,336
 Share of Authority Issued Bonds
          Water Supply System Bonds, Series 2014 A, LT               04/16/14             75,411,000        $75,411,000
 TOTAL DIRECT DEBT                                                                                         $215,003,242
       Less:       Revenue Bonds                                                       (123,017,242)
                   Revenue Supported Authority Bonds                                     (75,411,000)      (198,428,242)
 NET DIRECT DEBT                                                                                            $16,575,000
 OVERLAPPING DEBT
                                                              Amount                    City's
 Percent             Municipality                            Outstanding                Share
   7.68%             Carman Ainsworth S/D                    $40,208,000             $3,087,974
 100.00              Flint S/D                                 12,760,000            12,760,000
   1.33              Swartz Creek S/D                          12,615,000               167,780
   8.81              Genesee County                           74,170,696              6,534,438
   8.32              Genesee ISD                              46,050,000              3,831,360
   8.81              Mott Community College                    10,430,000               918,883
 NET OVERLAPPING DEBT                                                                                        27,300,435
 NET DIRECT AND OVERLAPPING DEBT                                                                            $43,875,435
 Source: Municipal Advisory Council of Michigan
 DEBT RATIOS

 Per Capita (102,434)
     Net Direct Debt                                                                                              $161.81
     Net Direct and Overlapping Debt                                                                              $428.33

 Ratio to 2013 Taxable Value ($776,654,903)
     Net Direct Debt                                                                                                2.13%
     Net Direct and Overlapping Debt                                                                                5.65%




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 Ratio to 2013 State Equalized Valuation ($795,172,400)
     Net Direct Debt                                                                                               2.08%
     Net Direct and Overlapping Debt                                                                               5.52%

 Ratio to 2013 Estimated True Cash Value ($1,590,344,800)
     Net Direct Debt                                                                                               1.04%
     Net Direct and Overlapping Debt                                                                               2.76%

 * Preliminary, subject to change.

 DEBT HISTORY

            The City has no record of default.

 FUTURE FINANCING

         The City has entered into a contract with the Karegnondi Water Authority and the County of Genesee pursuant to
 which the Authority will issue an additional $80,000,000 of bonds over the next 3 to 15 months in anticipation of payments
 to be made by the County and the City to finance a raw water supply project to serve the County, the City and several other
 municipalities. The City will make a limited tax general obligation pledge of the City on approximately 30% of these bonds.


 LEGAL DEBT MARGIN

           Section 7-302 of the City Charter, adopted November 4, 1975, limits “net” debt to 7% of the assessed value of all
 real and personal property in the City, but does not define “net” debt. The following computation is based on previous practice
 and is consistent with the requirements of State of Michigan Public Act 279 of 1909.

 2013 State Equalized Valuation - excluding IFT values                                                           $795,172,400
 Debt Limit - 10 % of State Equalized Valuation                                                                   $79,517,240

 Amount of Direct Debt Outstanding                                                       $215,003,242

            Less:       Revenue Bonds and Exempt Authority Bonds                        (198,428,242)

 Total Subject to Debt Limit                                                                                       16,575,000

 Additional Debt Which Could Be Legally Incurred                                                                 $62,942,240




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                           GENERAL ECONOMIC INFORMATION

 LOCATION AND AREA


          The City of Flint, county seat of Genesee County, has a land area of approximately 32.8 square miles and is located
 in the southeastern portion of Michigan's Lower Peninsula, 70 miles northwest of the City of Detroit. Lake Huron lies
 approximately 65 miles to the east of the City, while the Saginaw Bay is about 40 miles to the north.

          As an important durable goods producer, the City is located the following distances from these commercial and
 industrial areas of Michigan:

                                                35     miles northwest of Pontiac
                                                36     miles south of Saginaw
                                                50     miles northeast of Lansing
                                                54     miles north of Ann Arbor
                                                70     miles northwest of Detroit
                                                99     miles east of Grand Rapids




 EMPLOYMENT CHARACTERISTICS*

           The following companies located in the City and surrounding communities offer employment opportunities for
 residents.
                                                                                                          No. of
 Company                                               Product/Service                                 Employed
 Within City of Flint
 McLaren Health Care Corporation                       Hospital & other health care                         3,014
 Hurley Medical Center                                 Medical center                                       2,811
 Baker College                                         Higher education                                     2,800
 General Motors Corp. /Assembly                        Truck & bus assembly                                 2,100
 A I Flint LLC                                         Car parts and accessories                            1,500
 Genesys Health Care System                            Health care                                          1,000
 General Motors Corp., Powertrain Div.                 Engines & gears & transmissions                        961
 Genesee Intermediate Schools                          Education                                              950
 Mott Community College                                Higher education                                       949
 Flint Community Schools                               Educational services                                   820
 Meijer Inc. (2 stores)                                Department store                                       800
 First Merit Bank                                      Banking                                                780
 Carman Ainsworth                                      Education                                              706
 General Motors Corp./ South Flint                     Automotive engines                                     663
 E L Hollingsworth & CO                                Freight and logistics                                  646
 Creative Foam Corp.                                   Plastic products                                       600
 City of Flint                                         Municipality                                           596
 Genova Products (HQ)                                  Plastic pipes                                          570
 General Motors Corporation                            Customer care center                                   500
 Flint Special Services, Inc.                          Freight and logistics                                  500
 Kettering University                                  Higher education                                       425
 Sears, Roebuck & Co.                                  Retail sales                                           400
 Home Depot (3 stores)                                 Home center                                            350
 Kroger (3 stores)                                     Supermarket                                            350
 Coca Cola Bottling                                    Bottling facility                                      300
 Lowe's (2 stores)                                     Home center                                            300
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 Oakley Industries Sub Assembly (HQ)                                Auto parts                                                                 300
 Cable TV-Flint                                                     Cable service                                                              250
 Goodwill Industries Of Mid-Michigan (HQ)                           Job training/ vocational                                                   250
 Bill Thomas' Halo Burger, Inc. (HQ)                                Restaurant                                                                 230
 United States Postal Service                                       US Postal Service                                                          210
 Target (2 Stores)                                                  Department store                                                           200
 The Flint Journal                                                  Newpaper                                                                   180
 Corsair Engineering                                                Shipping containers                                                        150
 Allied Waste Service                                               Waste management                                                           150
 Mott Children's Health Center                                      Healthcare                                                                 150
 Beecher Community Schools                                          Education                                                                  135
 Barrette Outdoor Living, Inc.                                      Lattice panels                                                             125
 Koegel Meats, Inc.                                                 Meat processing                                                            100
 Monroe Truck Equipment                                             Truck equipment                                                            100
 Genesee Packaging, Inc.                                            Light assembly                                                             100
 H-Care                                                             Durable medical equipment                                                  100
 Comcast Cable                                                      Cable service                                                              100

 The approximate number of employees listed are as reported in these sources: 2013 Michigan Manufacturers Directory, Manta Company Intelligence
 website, the Michigan Economic Development Council ("MEDC"), and individual employers.

  *Due to reporting time lags and other factors inherent in collecting and reporting such information, the numbers may not reflect recent changes in
 employment levels, if any.



 POPULATION BY AGE
            The 2010 U.S. Census estimate of population by age for the City of Flint is as follows:
                                                                                Number                       Percent
                             Total Population                                   102,434                      100.00%
                             0 through 19 years                                  31,750                       31.00
                             20 through 64 years                                 59,685                       58.26
                             65 years and over                                   10,999                       10.74
                             Median age                                       33.6 years
 INCOME
            The 2010 U.S. Census estimate of household income for the City of Flint is as follows:
                                                                                Number                       Percent
                             HOUSEHOLDS BY INCOME                                41,175                      100.00%
                             Less than $10,000                                    8,864                       21.53
                             $10,000 to $14,999                                   3,797                        9.22
                             $15,000 to $24,999                                   7,060                       17.15
                             $25,000 to $34,999                                   5,452                       13.24
                             $35,000 to $49,999                                   5,988                       14.54
                             $50,000 to $74,999                                   5,260                       12.77
                             $75,000 to $99,999                                   2,751                        6.68
                             $100,000 to $149,999                                 1,597                        3.88
                             $150,000 to $199,999                                   299                        0.73
                             $200,000 or more                                       107                        0.26
                             Median Income                                      $26,621
                             Mean Income                                        $35,631




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 EMPLOYMENT BREAKDOWN
            The 2010 U. S. Census reports the occupational breakdown of persons 16 years and over for the City of Flint as
 follows:
                                                                                 Number       Percent
                     PERSONS BY OCCUPATION                                        30,196      100.00%
                     Professional Specialty Occupations                            6,801       20.97
                     Service Occupations                                           8,819       23.70
                     Sales & Office Occupations                                    7,334       22.44
                     Construction & Maintenance Occupations                        1,815         8.18
                     Transportation & Material Moving Occupations                  5,427       24.57
            The breakdown by industry for persons 16 years and over for the City of Flint is as follows:
                                                                                 Number       Percent
                     PERSONS BY INDUSTRY                                          30,196      100.00%
                     Agriculture, Forestry, Fishing, Hunting & Mining                160         0.53
                     Construction                                                  1,155         3.83
                     Manufacturing                                                 4,354       14.42
                     Wholesale Trade                                                 613         2.03
                     Retail Trade                                                  3,852       12.76
                     Transportation                                                1,318         4.36
                     Information                                                     550         1.82
                     Finance, Insurance, & Real Estate                             1,323         4.38
                     Professional & Management Services                            2,168         7.18
                     Educational, Health & Social Services                         8,853       29.32
                     Arts, Entertainment, Recreation & Food Services               3,079       10.20
                     Other Professional and Related Services                       1,409         4.67
                     Public Administration                                         1,362         4.51

 UNEMPLOYMENT
          The Michigan Employment Security Commission, Research and Statistical Division, reports unemployment averages
 for the City of Flint as follows:

                                                              City of
                                                               Flint
                         2014 YTD (January)                    16.7%
                         2013 Annual Average                   17.0
                         2012 Annual Average                   16.6
                         2011 Annual Average                   19.0
                         2010 Annual Average                   23.5

 BANKING
          The following banks have branches located within the City according to the Accuity American Financial Directory,
 July - December 2013.

                                                                                                    Total State-Wide
            Bank                                             Main Office                                Deposits
            First Place Bank                                 Warren, OH                                   N/A
            The Huntington National Bank                     Columbus, OH                                 N/A
            Bank of America                                  Charlotte, NC                                N/A
            Fifth Third Bank                                 Cincinnati, OH                               N/A
            First Merit Bank                                 Akron, OH                                    N/A
            Flagstar Bank, FSB                               Troy, MI                                $8,771,046,000
            Chemical Bank                                    Midland, MI                              4,921,683,000
            JPMorgan Chase Bank, National Association        Columbus, OH                                 N/A


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                                                  City of Flint
                        Summary of General Fund Adopted Revenue and Expenditure Budget
                                        Fiscal Year Ending June 30, 2014

                                                                 FY14            FY14
                      Revenue                                  Amended          Amended
                                                                11/1/2013       2/17/2014
                      Property Tax                               $4,619,941      $4,719,941
                      Income Tax                                 14,210,000      14,210,000
                      Federal Revenue                                    -              -
                      State Revenue                              15,375,985      14,986,814
                      Licensing and Permits                       1,303,626       1,303,626
                      Fines and Forfeitures                       1,677,550       2,041,635
                      Charges for Services                        9,090,867      10,434,516
                      Other Revenue                               6,676,498       6,851,584
                                 Total Revenue                  $52,954,467     $54,548,116

                      Expenditures

                      General Government                           $8,295,108    $8,229,910
                      District Court                                5,194,307     5,194,307
                      Public Safety                                35,035,993    36,694,840
                      Infrastructure                                2,889,889     2,889,889
                      Governance                                      539,170       539,170
                      Other Expenditures                                  -             -
                                  Total Expenditures              $51,954,467   $53,548,116


                      Revenue Over (Under) Expenditures            $1,000,000    $1,000,000

                      Fund Balance Beginning of Year           ($12,895,642)    ($12,895,642)

                      Fund Balance End of Year                 ($11,895,642)    ($11,895,642)




 Note: Flint reduced its expected expenditures by $1,000,000 as a budget control mechanism to help ensure that the City
 reduces its structural deficit.




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                                          APPENDIX D

                                    CITY OF FLINT
                            AUDITED FINANCIAL STATEMENTS

          Attached are the audited financial statements for the City of Flint for the fiscal year
  ended June 30, 2013. The auditors for the City have not been asked to consent to the use of
  information from such financial statements in either the Preliminary Official Statement or the
  Official Statement and have not conducted any subsequent review of such financial statements.
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                                                                                                                     To the Emergency Manager, Honorable Mayor,
                                                                                                                         and Members of the City Council
                                                                                                                     City of Flint
                                                                                                                     Flint, Michigan


                                            Independent Auditor's Report                                             Opinions
                                                                                                                     In our opinion, the financial statements referred to above present fairly, in all material respects, the
                                                                                                                     respective financial position of the governmental activities, the business-type activities, the aggregate
      To the Emergency Manager, Honorable Mayor,
                                                                                                                     discretely presented component units, each major fund, and the aggregate remaining fund information of
          and Members of the City Council
                                                                                                                     the City as of June 30, 2013 and the respective changes in its financial position and cash flows for the year
      City of Flint
                                                                                                                     then ended, in accordance with accounting principles generally accepted in the United States of America.
      Flint, Michigan
                                                                                                                     Emphasis of Matter
      Report on the Financial Statements
                                                                                                                     As discussed in Note 20 to the basic financial statements, the beginning net position/fund balance has
      We have audited the accompanying financial statements of the governmental activities, the business-type        been restated to correct a misstatement. Our opinion is not modified with respect to this matter.
      activities, the aggregate discretely presented component units, each major fund, and the aggregate
      remaining fund information of the City of Flint (the "City") as of and for the year ended June 30, 2013 and    Other Matters
      the related notes to the financial statements, which collectively comprise the City's basic financial
                                                                                                                     Required Supplemental Information
      statements as listed in the table of contents.
                                                                                                                     Accounting principles generally accepted in the United States of America require that the management's
      Management’s Responsibility for the Financial Statements
                                                                                                                     discussion and analysis, pension system schedules of funding progress and employer contributions, and
      Management is responsible for the preparation and fair presentation of these financial statements in           the major fund budgetary comparison schedules, as identified in the table of contents, be presented to
      accordance with accounting principles generally accepted in the United States of America; this includes        supplement the basic financial statements. Such information, although not a part of the basic financial
      the design, implementation, and maintenance of internal control relevant to the preparation and fair           statements, is required by the Governmental Accounting Standards Board, which considers it to be an
      presentation of financial statements that are free from material misstatement, whether due to fraud or         essential part of financial reporting for placing the basic financial statements in an appropriate operational,
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      error.                                                                                                         economic, or historical context. We have applied certain limited procedures to the required
                                                                                                                     supplemental information in accordance with auditing standards generally accepted in the United States
      Auditor’s Responsibility                                                                                       of America, which consisted of inquiries of management about the methods of preparing the information
                                                                                                                     and comparing the information for consistency with management's responses to our inquiries, the basic
      Our responsibility is to express opinions on these financial statements based on our audit. We conducted
                                                                                                                     financial statements, and other knowledge we obtained during our audit of the basic financial statements.
      our audit in accordance with auditing standards generally accepted in the United States of America and
                                                                                                                     We do not express an opinion or provide any assurance on the information because the limited
      the standards applicable to financial audits contained in Government Auditing Standards, issued by the
                                                                                                                     procedures do not provide us with sufficient evidence to express an opinion or provide any assurance.
      Comptroller General of the United States. Those standards require that we plan and perform the audit
      to obtain reasonable assurance about whether the financial statements are free from material                   Other Supplemental Information
      misstatement. The financial statements of Hurley Medical Center, the Downtown Development
      Authority, the Economic Development Corporation, and the Flint Area Enterprise Community were not              Our audit was conducted for the purpose of forming opinions on the financial statements that collectively
      audited under Government Auditing Standards.                                                                   comprise the City's basic financial statements. The other supplemental information, introductory section,
                                                                                                                     and statistical section, as identified in the table of contents, are presented for the purpose of additional
      An audit involves performing procedures to obtain audit evidence about the amounts and disclosures in          analysis and are not a required part of the basic financial statements.
      the financial statements. The procedures selected depend on the auditor’s judgment, including the
      assessment of the risks of material misstatement of the financial statements, whether due to fraud or          The other supplemental information is the responsibility of management and was derived from and
      error. In making those risk assessments, the auditor considers internal control relevant to the entity’s       relates directly to the underlying accounting and other records used to prepare the basic financial
      preparation and fair presentation of the financial statements in order to design audit procedures that are     statements. Such information has been subjected to the auditing procedures applied in the audit of the
      appropriate in the circumstances, but not for the purpose of expressing an opinion on the effectiveness        basic financial statements and certain additional procedures, including comparing and reconciling such
      of the entity’s internal control. Accordingly, we express no such opinion. An audit also includes evaluating   information directly to the underlying accounting and other records used to prepare the basic financial
      the appropriateness of accounting policies used and the reasonableness of significant accounting               statements or to the basic financial statements themselves, and other additional procedures in
      estimates made by management, as well as evaluating the overall presentation of the financial statements.      accordance with auditing standards generally accepted in the United States of America. In our opinion,
                                                                                                                     the other supplemental information is fairly stated in all material respects in relation to the basic financial
      We believe that the audit evidence we have obtained is sufficient and appropriate to provide a basis for       statements as a whole.
      our audit opinions.
                                                                                                                     The introductory and statistical sections have not been subjected to the auditing procedures applied in
                                                                                                                     the audit of the basic financial statements and, accordingly, we do not express an opinion or provide any
                                                                                                                     assurance on it.
                                                           1                                                                                                               2
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      To the Emergency Manager, Honorable Mayor,
          and Members of the City Council
      City of Flint
      Flint, Michigan

      Other Reporting Required by Government Auditing Standards
      In accordance with Government Auditing Standards, we have also issued our report dated December 17,
      2013 on our consideration of the City of Flint, Michigan's internal control over financial reporting and on
      our tests of its compliance with certain provisions of laws, regulations, contracts, grant agreements, and
      other matters. The purpose of that report is to describe the scope of our testing of internal control over
      financial reporting and compliance and the results of that testing, and not to provide an opinion on the
      internal control over financial reporting or on compliance. That report is an integral part of an audit
      performed in accordance with Government Auditing Standards in considering the City's internal control
      over financial reporting and compliance.




      December 17, 2013



                                                                                                                    Management’s Discussion and Analysis
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      City of Flint, Michigan                                                                                City of Flint, Michigan
                                                  Management’s Discussion and Analysis                                                Management’s Discussion and Analysis (Continued)

      Following is a brief overview and analysis of the financial statements for the City of Flint,          With the fiscal year 2012 half complete at the time the emergency manager was appointed, it
      Michigan (the “City”) for the 2013 fiscal year, which began on July 1, 2012 and ended on June 30,      was clear that significant long-term solutions to the City’s financial condition could not be
      2013. The reader is encouraged to not only consider the comments made here but to review               achieved in the remainder of that fiscal year. Addressing any significant reductions at that time
      the statements in their entirety.                                                                      would have required unthinkable reductions in the level of public safety and other essential City
                                                                                                             services, and would have been done in an atmosphere of crisis. As a result, it was determined to
      The City provides a full range of municipal services, including police and fire protection,            contain spending as much as possible for the balance of fiscal year 2012, while building a credible
      construction and maintenance of streets, sidewalks, and other infrastructure, maintenance and          spending plan for fiscal year 2013 and laying the necessary groundwork for substantially reducing
      operation of water and sewer systems, maintenance of parks, and waste collection. These                the City’s cost base for fiscal year 2013 and beyond. Consequently, the fiscal year 2012 financial
      activities comprise the majority of the City’s governmental and business-type activities.              statements showed a $19.2 million General Fund deficit, an increase of $11.9 million.
      In addition to governmental and business-type activities, the financial statements include the
      activities of Hurley Medical Center, Flint Downtown Development Authority, Flint Economic              Faced with an initial projected gap of more than $25 million, the fiscal year 2013 budget was
      Development Corporation, and Flint Area Enterprise Community. While part of the City                   balanced through a mixture of significant revenue increases, significant expenditure decreases,
      government, these entities are presented as “discrete component units” because of their                and steps taken to reduce legacy costs. Reports submitted to the state treasurer detailed the
      independent management authority. In previous years, Hurley Medical Center has been included           25 percent increase in water and sewer rates, passage of a 6 mill property tax increase for police
      as a business-type activity of the City government, but a review of its status has concluded that it   and fire, which is recorded in a separate public safety special revenue fund and the monies are
      can be more appropriately presented as a discrete component unit.                                      restricted as such on the government-wide statement of net position, establishment of a special
                                                                                                             assessment district for street lighting, elimination of 20 percent of the City’s workforce,
      Financial Highlights                                                                                   compensation decreases equivalent to a 20 percent wage reduction for remaining employees,
                                                                                                             and the restructuring of health and retirement benefits for current employees and retirees
      In fiscal year 2013, the City billed $187.7 million in taxes, fees, and grants for governmental and    necessary to develop a credibly balanced spending plan.
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      business-type activities, and spent $170.0 million to provide the services. During the course of
      the year, the City acquired capital assets totaling $5.1 million in governmental activities and $1.7   The efforts of the emergency managers and City staff were focused on assuring that, at the end
      million in building improvements and equipment in business-type activities. At the end of the          of fiscal year 2013, expenses would not exceed revenues. This goal was more than achieved, as
      year, the assets of the City governmental and business-type activities totaled $356.4 million and      the financial statements as of June 30, 2013 show that revenues exceeded expenses in the
      liabilities totaled $238.6 million, for net position totaling $117.8 million. However, net             General Fund by $6.3 million. This will result in the City’s accumulated $19.2 million deficit as of
      unrestricted net position totaled a negative $150.1 million. The majority of the negative              June 30, 2012 being reduced to less than $13 million as of June 30, 2013.
      unrestricted net position reflects the $158.9 million liability for unfunded retiree healthcare
      liabilities; the business-type activities reflected $8.3 million in unrestricted net position.         Additionally, the City’s cash flow improved significantly. Cash flow in December 2011 was
                                                                                                             projected at approximately $13 million in comparison to current cash on hand on as of June 30,
      On December 1, 2011, five months into fiscal year 2012, the governor of the state of Michigan
                                                                                                             2013 in excess of $43 million.
      placed the City of Flint into state receivership and appointed an emergency manager. This
      decision was based on the recommendation of a state appointed review team, whose
                                                                                                             Finally, the actions taken to restructure healthcare benefits for current employees and retirees
      recommendation was made in part because of a consistent deficit in the General Fund, the
                                                                                                             have had a significant impact on current costs and long-term liabilities. Much of the positive
      decline in pooled cash, unrealistic budgeting, and unfunded liabilities for postemployment
                                                                                                             financial result in FY13 came from these actions. The restructuring, which was implemented
      benefits.
                                                                                                             during the course of FY12, had the additional benefit of reducing the City’s OPEB liabilities by
      Although there have been several changes since December 2011, in the laws providing for the            more than $500 million, as reflected in 2012 financial statements.
      appointment of an emergency manager, and there have been three different emergency
      managers since then, the City has remained under the control of a state appointed manager.             As spending patterns have been revised to be in accord with available revenues, it has also
      These managers exercise direct control of the City’s financial and operational matters and have        become possible to focus on additional efforts to reduce and quickly eliminate the accumulated
      been authorized to “act for and in the place and stead of the governing body and the office of         deficit. A formal plan to eliminate the remaining deficit within the next few years will be
      chief administrative officer of the City of Flint.”                                                    submitted shortly to the Department of Treasury for consideration.




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      City of Flint, Michigan                                                                                  City of Flint, Michigan
                               Management’s Discussion and Analysis (Continued)                                                                Management’s Discussion and Analysis (Continued)

      Overview of the Financial Statements                                                                                    Table 1 - Major Features of the City of Flint, Michigan’s Government-wide
                                                                                                                                                   and Fund Financial Statements
      This discussion and analysis is intended to serve as an introduction to the City’s basic financial
      statements. The City’s basic financial statements comprise three components: (1) government-             Type of                                                                              Proprietary
      wide financial statements, (2) fund financial statements, and (3) notes to the financial statements.   Statements            Government-wide               Governmental Funds                   Funds               Fiduciary Funds
      This report also contains other supplemental information in addition to the basic financial
      statements themselves.                                                                                 Scope             Entire City government        The activities of the City that    Activities the City      Instances in which
                                                                                                                               (except fiduciary funds)      are not proprietary or             operates similar to      the City is the
      Table 1 summarizes the major features of the City’s financial statements, including the portion of                       and the City’s                fiduciary, such as police, fire,   private businesses:      trustee or agent for
      the City government they cover and the types of information they contain. The remainder of                               component units               and parks                          the water and            someone else’s
      this overview section of management’s discussion and analysis explains the structure and                                                                                                  sewer system             resources, such as
      contents of each of the statements.                                                                                                                                                                                the retirement plan
                                                                                                                                                                                                                         for City employees

                                                                                                             Required          •    Statement of net         •    Balance sheet                 •   Statement of net • Statement of
                                                                                                             financial              position                                                        position           fiduciary net
                                                                                                             statements                                      •    Statement of revenues,
                                                                                                                                                                                                                       position
                                                                                                                               •    Statement of                  expenditures, and        •        Statement of
                                                                                                                                    activities                    changes in fund balances          revenues,        • Statement of
                                                                                                                                                                                                    expenses, and      changes in
                                                                                                                                                                                                    changes in fund    fiduciary net
                                                                                                                                                                                                    net position       position
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                                                                                                                                                                                                •   Statement of
                                                                                                                                                                                                    cash flows

                                                                                                             Accounting        Accrual accounting and        Modified accrual accounting        Accrual accounting       Accrual accounting
                                                                                                             basis and         economic resources            and current financial              and economic             and economic
                                                                                                             measurement       focus                         resources focus                    resources focus          resources focus
                                                                                                             focus

                                                                                                             Type of asset/    All assets and liabilities,   Only assets expected to be         All assets and           All assets and
                                                                                                             liability         both financial and            used up and liabilities that       liabilities, both        liabilities, both short
                                                                                                             information       capital, short term and       come due during the year or        financial and capital,   term and long term;
                                                                                                                               long term                     soon thereafter, no capital        and short term and       the City’s funds do
                                                                                                                                                             assets included                    long term                not currently
                                                                                                                                                                                                                         contain capital
                                                                                                                                                                                                                         assets, although they
                                                                                                                                                                                                                         can

                                                                                                             Type of inflow/ All revenues and                Revenues for which cash is         All revenues and         All revenues and
                                                                                                             outflow         expenses during year,           received during or soon after      expenses during          expenses during
                                                                                                             information     regardless of when cash         the end of the year,               year, regardless of      year, regardless of
                                                                                                                             is received or paid             expenditures when goods or         when cash is             when cash is
                                                                                                                                                             services have been received        received or paid         received or paid
                                                                                                                                                             and payment is due during
                                                                                                                                                             the year or soon thereafter



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      City of Flint, Michigan                                                                                City of Flint, Michigan
                               Management’s Discussion and Analysis (Continued)                                                       Management’s Discussion and Analysis (Continued)

      Government-wide Financial Statements                                                                   Governmental Funds - Governmental funds are used to account for essentially the same
                                                                                                             functions reported as governmental activities in the government-wide financial statements.
      The government-wide financial statements are designed to provide readers with a broad                  However, unlike the government-wide financial statements, governmental fund financial
      overview of the City’s finances, in a manner similar to a private sector business.                     statements focus on near-term inflows and outflows of spendable resources, as well as on
      The statement of net position presents information on all of the City’s assets and liabilities, with   balances of spendable resources available at the end of the fiscal year. Such information may be
      the difference between the two reported as net position. Over time, increases or decreases in          useful in evaluating a government’s near-term financing requirements. Because the focus of
      net position may serve as a useful indicator of whether the financial position of the City is          governmental funds is narrower than that of the government-wide financial statements, it is
      improving or deteriorating.                                                                            useful to compare the information presented for governmental funds with similar information
                                                                                                             presented for governmental activities in the government-wide financial statements. By doing so,
      The statement of activities presents information showing how the City’s net position changed           readers may better understand the long-term impact of the government’s near-term financing
      during the most recent fiscal year. All changes in net position are reported as soon as the            decisions. Both the governmental fund balance sheet and the governmental fund statement of
      underlying event giving rise to the change occurs, regardless of the timing of related cash flows.     revenues, expenditures, and changes in fund balances provide a reconciliation to facilitate this
      Thus, revenues and expenses are reported in this statement for some items that will only result        comparison between governmental funds and governmental activities.
      in cash flows in future fiscal periods (e.g., uncollected taxes and earned but unused vacation
      leave).                                                                                                The City maintains 20 individual governmental funds. Information is presented separately in the
                                                                                                             governmental fund balance sheet and in the governmental fund statement of revenues,
      Both of the government-wide financial statements distinguish functions of the City that are            expenditures, and changes in fund balances for the General Fund, Federal Grants Fund, and the
      principally supported by taxes and intergovernmental revenues (governmental activities) from           Public Improvement Fund. Data from the other 17 governmental funds are combined into a
      other functions that are intended to recover all or a significant portion of their costs through       single, aggregated presentation. Individual fund data for each of these nonmajor governmental
      user fees and charges (business-type activities). The governmental activities of the City include      funds is provided in the form of combining statements elsewhere in this report.
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      general government, police, fire, transportation, public works, parks and recreation, and
      community enrichment and development. The business-type activities of the City include the             The City adopts an annual appropriated budget for its General Fund. A budgetary comparison
      water system and sewer system.                                                                         statement has been provided for the General Fund to demonstrate compliance with this budget.

      The government-wide financial statements include not only the City itself (known as the primary        The basic governmental fund financial statements can be found on pages 24-27 of this report.
      government), but also the legally separate component units of Hurley Medical Center,
                                                                                                             Proprietary Funds - The City maintains two different types of proprietary funds. Enterprise
      Downtown Development Authority, Economic Development Corporation, Atwood Stadium
                                                                                                             funds are used to report the same functions presented as business-type activities in the
      Building Authority, and the Flint Area Enterprise Community, for which the City is financially
                                                                                                             government-wide financial statements. The City uses enterprise funds to account for its water
      accountable. Financial information for these component units is reported separately from the
                                                                                                             and sewer activities. Internal service funds are an accounting device used to accumulate and
      financial information presented for the primary government itself. The government-wide
                                                                                                             allocate costs internally among the City’s funds. The City uses internal service funds to account
      financial statements can be found on pages 20-23 of this report.
                                                                                                             for its data processing, central maintenance garage, fringe benefits, and self-insurance activities.
      Fund Financial Statements - A fund is a grouping of related accounts that is used to maintain          Because these services predominantly benefit governmental rather than business-type activities,
      control over resources that have been segregated for specific activities or objectives. The City       they have been included within governmental activities in the government-wide financial
      of Flint, like other state and local governments, uses fund accounting to ensure and demonstrate       statements.
      compliance with finance-related legal requirements. All of the funds of the City can be divided
                                                                                                             Proprietary funds provide the same type of information as the government-wide financial
      into three categories: governmental funds, proprietary funds, and fiduciary funds.
                                                                                                             statements, only in more detail. The proprietary fund financial statements provide separate
                                                                                                             information for the Water and the Sewer Funds, both of which are considered to be major funds
                                                                                                             of the City. Conversely, the internal service funds are combined into a single, aggregated
                                                                                                             presentation in the proprietary fund financial statements. Individual fund data for the internal
                                                                                                             service funds is provided in the form of combining statements elsewhere in this report. The
                                                                                                             basic proprietary fund financial statements can be found on pages 28-31 of this report.



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      City of Flint, Michigan                                                                               City of Flint, Michigan
                               Management’s Discussion and Analysis (Continued)                                                                            Management’s Discussion and Analysis (Continued)

                                                                                                                                                                                                            Table 2-City of Flint's Net Position
      Fiduciary Funds - Fiduciary funds are used to account for resources held for the benefit of                                                                                                                         (in Millions)

      parties outside the government. Fiduciary funds are not reflected in the government-wide                                                             Governmental Activities                          Business-type Activities                            Total Primary Government

      financial statements because the resources of those funds are not available to support the City’s     Current and other assets                 $
                                                                                                                                                          2012
                                                                                                                                                                   32.1    $
                                                                                                                                                                                2013
                                                                                                                                                                                         48.6    $
                                                                                                                                                                                                     2012
                                                                                                                                                                                                               32.5   $
                                                                                                                                                                                                                                     2013
                                                                                                                                                                                                                                                    49.9   $
                                                                                                                                                                                                                                                               2012
                                                                                                                                                                                                                                                                           64.6    $
                                                                                                                                                                                                                                                                                           2013
                                                                                                                                                                                                                                                                                                    98.5
      own programs. The accounting used for fiduciary funds is much like that used for proprietary          Capital assets                                        166.7                 155.5                110.1                                 102.4                  276.8                    257.9
                                                                                                                                       Total assets $             198.8    $            204.1    $           142.6    $                            152.3 $                341.4 $                  356.4
      funds. The basic fiduciary fund financial statements can be found on pages 32 and 33 of this
                                                                                                            Long-term liabilities outstanding        $            160.9    $            160.5    $             52.7   $                             50.9 $                213.6 $                  211.4
      report.                                                                                               Other liabilities                                      19.1                  17.1                   8.6                                 10.1                   27.7                     27.2
                                                                                                                                    Total liabilities $           180.0    $            177.6    $             61.3   $                             61.0 $                241.3 $                  238.6

      Notes to the Financial Statements - The notes provide additional information that is                  Net position:

                                                                                                                                                     $            164.5    $            153.3    $             84.2   $                             78.6 $                248.7 $                  231.9
      essential to a full understanding of the data provided in the government-wide and fund financial      Net investment in capital assets

                                                                                                            Restricted                                             24.4                  31.6                   5.6                                  4.4                   30.0                     36.0
      statements. The notes to the financial statements can be found on pages 37-88 of this report.         Unrestricted                                         (170.1)               (158.4)                (8.5)                                  8.3                 (178.6)                  (150.1)
                                                                                                                                 Total net position $              18.8    $             26.5    $             81.3   $                             91.3 $                100.1 $                  117.8

      Other Information - In addition to the basic financial statements and accompanying notes, this
      report also presents certain required supplemental information concerning the City’s progress in      Business-type activities have $91.3 million of total net position. Business-type activities do not
      funding its obligation to provide pension benefits to its employees. Required supplemental            encumber at year end and normally do not appropriate net position as part of the budget
      information can be found on pages 89-95 of this report.                                               process.
      The combining statements referred to earlier in connection with nonmajor governmental funds
                                                                                                            Governmental Activities - Changes in net position (see Table 3) provide some insight into
      and internal service funds are presented immediately following the required supplemental
                                                                                                            current year activities as compared to those of the prior year. Total net position for
      information on pensions. Combining and individual fund statements and schedules can be found
                                                                                                            governmental activities increased by $7.7 million. Revenues in 2013 were $12.7 million higher
      on pages 97-122 of this report.
                                                                                                            than in 2012. This increase in revenue is mainly due to a public safety millage passed by the
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      Government-wide Financial Analysis                                                                    voters and increase in state grant revenues in 2013. The 2013 expenses were $8.6 million lower
                                                                                                            than in 2012. The decrease in expenses was largely in part due to reduction in the cost of
      Net position may serve, over time, as a useful indicator of a government’s financial position (see    healthcare expenses.
      Table 2). Total assets of the City are $356.4 million. Total net position (total assets less total
      liabilities) is $117.8 million, of which the largest portion of $231.9 million reflects its net       Business-type Activities - Total net position increased by $10.0 million in business-type
      investment in capital assets (e.g., land, buildings, streets, sidewalks, machinery, and equipment),   activities. The main reason for the increase was due to the City increasing the water and sewer
      less depreciation and any related debt used to acquire those assets that is still outstanding. The    user rates in the latter part of fiscal year 2012. The increased rates, along with a delay in making
      City uses these capital assets to provide services to citizens; consequently, these assets are not    budgeted capital improvements, have played a vital role in sustaining the fiscal year’s budget.
      available for future spending. Although the City’s net investment in its capital assets is reported
      net of related debt, it should be noted that the resources needed to repay this debt must be
      provided from other sources, since the capital assets themselves cannot be used to liquidate
      these liabilities.

      Of the remaining portion of the City’s total net position, $36.0 million represents resources
      which are subject to external restrictions on how they may be used. The unrestricted deficit at
      year end was $150.1 million, which is down from 2012 deficit of $178.6 million. There is no
      remaining balance of unrestricted net position that may be used to meet the government’s
      ongoing obligations to citizens and creditors. Net position is divided between governmental
      activities and business-type activities. Governmental activities show a $158.4 million deficit in
      unrestricted net position. The $158.4 million deficit results from the increase in the short-term
      and long-term liabilities, mainly $129.6 million in postemployment healthcare liability, which
      increased by $1.9 million in total from 2012.




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      City of Flint, Michigan                                                                                                                           City of Flint, Michigan
                                         Management’s Discussion and Analysis (Continued)                                                                                         Management’s Discussion and Analysis (Continued)

                                                         Table 3-City of Flint's Changes in Net Position                                                The City’s governmental funds show an operating surplus (or fund balance) of $7.2 million as of
                                                                                  (in Millions)
                                                                                                                                                        June 30, 2013. This is a significant turnaround from the deficit of $7.3 million. During the year,
                                                  Governmental Activities           Business-type Activities         Total Primary Government           the City residents voted and approved a public safety millage that generated $5.6 million to
                                                      2012               2013          2012             2013              2012             2013         stabilize staffing for the police and fire departments. In addition, the energy company conducted
      Revenues                                                                                                                                          a three-year audit of the City’s streetlights bill; the results of the audit were a $1 million credit
       Program Revenues:                                                                                                                                back to the City. In 2012, the emergency manager ratified new changes to employee and
         Charges for services                     $      16.5        $     17.6    $       68.0     $      80.1       $      84.5      $      97.7      retiree benefits that took full effect in fiscal year 2013. These changes resulted in a significant
         Operating grants and contributions              20.9              14.2               0.0              0.0           20.9             14.2      decrease in healthcare costs. The reduction in costs was credited back across all funds to
         Capital grants and contributions                13.3              21.9               0.0              0.0           13.3             21.9      departmental budgets.
       General revenues:
         Income taxes                                    14.8              14.7               0.0              0.0           14.8             14.7      The reduction of the $19.2 million deficit for the General Fund in fiscal year 2012 to $12.9
         Property taxes                                  14.3              21.7               0.0              0.0           14.3             21.7      million in 2013 was a result of projecting a realistic budget and managing it. Managing the
         State shared revenues                           13.1              13.7               0.0              0.0           13.1             13.7      General Fund has been difficult due to significant reductions in property tax revenues, income
         Other                                               1.9            3.7               0.3              0.1               2.2              3.8   tax revenues, and state-shared revenues. However, the emergency manager and his team took
             Total revenues                              94.8             107.5            68.3            80.2             163.1            187.7      the necessary and difficult steps needed to reduce costs.
      Expenses
       Legislative                                           1.2            0.3               0.0              0.0               1.2              0.3   The remaining governmental funds have a fund balance of $20.1 million, of which virtually all is
       Judicial                                              3.7            5.1               0.0              0.0               3.7              5.1   invested in infrastructure and equipment or restricted for specific purposes. The largest fund
       General government                                10.8               7.5               0.0              0.0           10.8                 7.5   balances among the governmental funds are the public safety, $5.1 million, and local and major
       Public safety                                     49.1              43.0               0.0              0.0           49.1             43.0      streets, $4.5 million. Other special revenue funds are maintained primarily to demonstrate
       Public works                                      26.0              23.0               0.0              0.0           26.0             23.0
                                                                                                                                                        accountability. Federal and state laws place restrictions on how these funds can be spent.
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       Parks and recreation                                  4.5            2.9               0.0              0.0               4.5              2.9
       Community development                             14.7              20.0               0.0              0.0           14.7             20.0      State law requires the preparation of a deficit elimination plan for all fund deficits, unless current
       Interest on long-term debt                            1.4            1.0               0.0              0.0               1.4              1.0
                                                                                                                                                        assets of the fund exceed current liabilities. While the past two deficit elimination plans have
       Water                                                 0.0            0.0            42.5            42.0              42.5             42.0
                                                                                                                                                        addressed deficits in the General Fund, Water Supply Fund, Downtown Development Authority,
       Sewer                                                 0.0            0.0            25.3            25.2              25.3             25.2
                                                                                                                                                        and Economic Development Authority, it will only be necessary for the City to address in the
             Total Expenses                             111.4             102.8            67.8            67.2             179.2            170.0
                                                                                                                                                        2013 plan, the remaining $12.9 million deficit in the General Fund. A plan is being prepared and
      Transfers                                              3.0            3.0            (3.0)           (3.0)                 0.0              0.0
      Changes in net position                           (13.6)              7.7            (2.5)           10.0             (16.1)            17.7
                                                                                                                                                        will be submitted to the Department of Treasury when this report is filed. However, the
      Net position - Beginning - as restated             32.4              18.8            83.8            81.3             263.0            246.9
                                                                                                                                                        Economic Development Corporation will be filing its own deficit elimination plan to address the
      Net position - End                          $      18.8        $     26.5    $       81.3     $      91.3       $     246.9      $     264.6
                                                                                                                                                        $148,895 deficit.

                                                                                                                                                        Proprietary Funds - The City’s proprietary funds provide the same type of information found
      Analysis of Fund Financial Statements
                                                                                                                                                        in the government-wide financial statements, but in more detail.
      As noted earlier, the City uses fund accounting to ensure and demonstrate compliance with
                                                                                                                                                        Total net position in the Water Fund is $26.4 million, an increase of $6.8 million from the
      finance-related legal requirements.
                                                                                                                                                        previous year. Unrestricted net position is no longer negative. Net operating income is also
      Governmental Funds - The focus of the City’s governmental funds is to provide information                                                         improved from $2.3 million to $8.6 million. The positive change is attributable mostly to
      on near-term inflows, outflows, and balances of expendable resources. Such information is                                                         increases in rates. The Water Fund has a bond reserve account of $2.4 million and an equipment
      useful in assessing the City’s financing requirements. In particular, unreserved fund balance may                                                 reserve account of $2.0 million.
      serve as a useful measure of a government’s net resources available for spending at the end of
                                                                                                                                                        Net position in the Sewer Fund is $64.8 million, an increase of $3.1 million from 2012. Net
      the fiscal year.
                                                                                                                                                        operating income was a positive $6.8 million.

                                                                                                                                                        Additional rate increases averaging 25 percent were implemented as part of the fiscal year 2013
                                                                                                                                                        budget in order to improve the financial solvency of the water and sewer systems.


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      City of Flint, Michigan                                                                                                                       City of Flint, Michigan
                                     Management’s Discussion and Analysis (Continued)                                                                                             Management’s Discussion and Analysis (Continued)

      Capital Assets and Debt Administration                                                                                                        General Obligation Bonds - The City issued $10 million in General Obligation Bonds in fiscal
                                                                                                                                                    year 2008 on behalf of the Flint Downtown Development Authority for construction of the new
      Capital Assets - The City’s net investment in capital assets for its governmental and business-                                               Rutherford parking structure. The City has pledged a portion of state-shared revenue as
      type activities as of June 30, 2013 amounts to $257.9 million (net of accumulated depreciation), a                                            security for the bond. The DDA has pledged net revenue from the parking operations for the
      net decrease of $18.8 million. This net investment in capital assets includes land, buildings and                                             repayment of the bond. However, in the City’s approved deficit elimination plan, it was
      system improvements, machinery and equipment, park facilities, roads, highways, and bridges                                                   determined by the City that the DDA’s commitment to funding its portion of the debt service
      (see Table 4). Additional information on the City’s capital assets can be found in Note 6.                                                    for the parking ramp was unrealistic given the decline in property values and revenues expected
                                                       Table 4-City of Flint's Capital Assets - net of depreciation                                 to be received through operations were not realized. The City as the guarantor is making the
                                                                               (in Millions)                                                        debt service payments.

                                            Governmental Activities                Business-type Activities       Total Primary Government          Long-term Debt - At year end, the City had $34.8 million in bonds and notes and compensated
                                                                                                                                                    absences outstanding for governmental activities and $24.4 million in bonds and notes and
                                                2012              2013              2012             2013             2012             2013
                                                                                                                                                    compensated absences outstanding for business-type activities. Additional information on the
      Land                                  $      14.3       $       14.3     $           0.8   $          0.8   $      15.1      $      15.1      City’s long-term debt can be found in Note 9.
      Construction in progress                           -               0.1               1.3              1.3              1.3              1.4
                                                                                                                                                                                                     Table 5-City of Flint's Long-term Debt
      Building and system                              5.8               5.4            33.7            31.4             39.5             36.8
                                                                                                                                                                                                                   (in millions)
      Improvements other than buildings                4.2               3.8               3.9              3.6              8.1              7.4
                                                                                                                                                                                    Governmental Activities                      Business-type Activities          Total Primary Government
      Machinery and equipment                          5.8               4.6            70.4            65.3             76.2             69.9
                                                                                                                                                                                        2012               2013                    2012               2013             2012             2013
      Roads and sidewalks                         136.5             127.3                    -                -         136.5            127.3
                                                                                                                                                    General Obligation Bonds        $          9.5     $          9.2        $               -    $           -    $          9.5   $          9.2
      Total                                 $     166.6       $     155.5      $       110.1     $     102.4      $     276.7      $     257.9
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                                                                                                                                                    Revenue Bonds and Notes                      -                  -                     25.9           23.8             25.9             23.8
                                                                                                                                                    Other Notes                            21.4               20.8                           -                 -          21.4             20.8
      The City governmental activities made major capital improvements during 2013:                                                                 Capital Leases                             0.7                0.4                        -                 -              0.7              0.4


               •   Streets and enhancement                                             $ 2.9 million                                                Accrued Annual and Sick Pay                5.3                4.4                      0.6               0.6              5.9              5.0

               •   Trails                                                                0.1 million                                                Total                           $      36.9        $      34.8           $            26.5   $       24.4      $      63.4      $      59.2

               •   Signs and signals                                                     0.7 million
                                                                                                                                                    Limitations on Debt - The State limits the amount of general obligation debt the City can issue
      Total capital improvements, as a result of governmental activities, were $5.1 million.                                                        to 7 percent of the assessed value of all taxable property within the City’s corporate limits. The
      Depreciation was $15.6 million.                                                                                                               City’s legal debt limit is $115.4 million. The amount of debt available to the City (unused portion
                                                                                                                                                    of the debt limitation) is $102.6 million. The City can issue bonds through the Michigan
      The City’s business-type activities also made very little capital improvements during 2013. This                                              Municipal Bonding Authority’s state-shared revenue program. The program pledges the City’s
      was due to reduced available funds.                                                                                                           future state-shared revenues.
      Debt Administration - Debt is administered through three debt service funds and the Public                                                    Bond Ratings - There are no current ratings for the City. Prior ratings were withdrawn as the
      Improvement Fund. In addition, the Water Fund services debt for bonds issued for plant                                                        City’s financial position led to consideration of the City being placed into receivership. Moody's
      improvements (see Table 5).                                                                                                                   Investors Service last rated the City’s general obligation unlimited bonds at Ba1, with a stable
                                                                                                                                                    outlook in February 2006.




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      City of Flint, Michigan                                                                             City of Flint, Michigan
                              Management’s Discussion and Analysis (Continued)                                                     Management’s Discussion and Analysis (Continued)

      Economic Factors and Next Year’s Budget and Rates                                                   “Steady Job Growth Will Continue for Genesee, Lapeer, Livingston, Macomb, Oakland, St. Clair, and
                                                                                                          Shiawassee Counties” according to the February 2013 economic forecast by the University of
      Flint and Genesee County are moving aggressively to restore our region’s position as a center of    Michigan Institute for Research on Labor, Employment and the Economy. The report forecasted
      innovation and entrepreneurship in the public and private sectors. Our new leadership is            job growth of approximately 78,000 from 2013-2015 and highlighted the creation of 75,000 new
      partnering to engage our strong anchor assets in higher education, life sciences/health care, and   jobs in the past three years. The study predicts new jobs in professional services and trade/
      advanced manufacturing to make our region a superior place for business investment, policy          transportation/utilities, as well as private education and health. Many of these positions will be
      experimentation, and multi-sector partnerships. We are starting to be recognized for our            within commute distance from Flint and Genesee County. The report also predicted 0.9 percent
      growth and reinvention. Kiplinger referred to Flint in April 2011 “For some particularly hard-hit   job growth per year for Flint and Genesee County.
      metro areas, 2011 will bring a dramatic turnaround -- new investment by businesses, growth in the
      number of jobs, and a reblooming of hope.”                                                          Jobs and business opportunities are increasing because of the continued collaboration among our
                                                                                                          key economic sectors, governments, and non-profits. Despite the ongoing recession, last year
      Our overall objective is to create a sustainable region with new jobs, strong neighborhoods, and    the region created and retained 569 jobs through the direct efforts of the Flint and Genesee
      great schools. This will be achieved through private and public collaboration and harnessing of     Chamber of Commerce, our lead economic development agency. In fact, public and private joint
      the community’s capacity for diversification, innovation, and entrepreneurship.                     efforts have supported:

      Flint and Genesee County aim to be one of Michigan’s major success stories by moving from           •   More than $1 billion in General Motors investment in the past three years
      prolonged recession to rapid recovery and growth. Our region intends to lead the way with
      measurable achievements over the next three to five years as follows:                               •   Over $500 million in new non-GM investment in the past three years

      •   Doubling export activity and generating new jobs                                                •   Continuing investment in downtown Flint with announcements of more than $200 million
          o As GM truck and engine sales increase, a portion is destined for international markets            from 2011-2013, including over $100 million in new higher education assets
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          o Area manufacturers have increased exporting in 2012-2013 with funding support from            Further, City suppliers have increased their federal contracting wins over 1,300 percent in the
              the Michigan State Trade Export Program (STEP)                                              last five years. Finally, federal investment is also growing. Recent awards include $20 million for
      •   Increasing enrollments across our higher education institutions                                 blight elimination from the U.S. Troubled Asset Relief Program, $550,000 from EPA for Chevy in
          o The University of Michigan - Flint has achieved record enrollment in 2012 and 2013 with       the Hole site clean-up and environmental remediation training at Mott Community College, and
              dramatic increases in international students                                                $140,000 for a four-county regional CEDS plan. These combine with $33 million from the EPA
          o Kettering University, Mott Community College, and Baker College - Flint have received         to clean up the Buick City Brownfield, a HUD challenge planning grant, a SAFER grant, and
              national recognition                                                                        several research and development grants.
      •   Attracting and retaining mobile talent and young families
                                                                                                          At the core of our region, the City has restored some of its manufacturing strength while
          o Downtown Flint is reported as the fastest growing neighborhood in Genesee County
                                                                                                          expanding its institutions of higher education and health care. Recently, a milestone was reached
      •   Stabilizing property values and local tax revenues                                              by the area’s colleges and universities. Total enrollment is now nearly 34,000 students in
      •   Reducing unemployment and poverty                                                               undergraduate through doctoral programs. Many new businesses, housing options, and
          o Flint and Genesee County saw some of the fastest decline in unemployment in the state         restaurants have been created as part of the downtown Flint investments. The formerly all-
              of Michigan in 2013                                                                         commuter downtown has been transformed into a vibrant scene where 3,600 college students
      •   Improving health outcomes, quality of life, and environmental sustainability                    are living in newly developed multi-institution residence halls and lofts. Notably, two landmark
          o Commit to Fit is a growing Flint-based initiative that promotes “healthy habits.”             hotels that had been closed for business (the Hyatt Regency and Durant) are fully renovated and
                                                                                                          now house college students, faculty, and professionals.

                                                                                                          Flint and Genesee County have attracted strong new businesses such as Rassini Brakes, Senderra
                                                                                                          RX, Environmental Wood Solutions, and most recently, American Cast Iron Pipe, the last two of
                                                                                                          which are locating in the City. American has announced plans to build a facility on the northern
                                                                                                          portion of the former Buick City complex and create 60 new jobs.



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       City of Flint, Michigan                                                                                 City of Flint, Michigan
                                Management’s Discussion and Analysis (Continued)                                                         Management’s Discussion and Analysis (Continued)

       City of Flint staff have collaborated with the economic development team at the Flint and               The challenges are many, including:
       Genesee Chamber to support the growth of area businesses including: Powers Catholic High
       School (private), CFI Medical, Sustainable Environmental Technologies, McLaren Flint Proton             •   Continuing decline in property values, made more dire by the phase-out of personal
       Beam, McLaren Flint Laboratory, and Barrette Outdoor Living, as well as General Motors Truck                property tax
       Assembly and General Motors Flint Engine South.                                                         •   Minimal increases in income tax revenues as unemployment and poverty remain high
                                                                                                               •   An aging and reduced workforce, resulting in an increase in the ratio of retirees to active
       Diplomat Specialty Pharmacy, the fastest growing firm of its type in the United States, continues           employees, affecting pension and health care costs
       to grow ahead of plans at their new corporate headquarters in Flint. Plans include the creation of      •   Aging sewer, water, street, and sidewalk infrastructure
       1,100 new jobs by 2016. The company produces, packages, and distributes pharmaceutical                  •   Continuing high levels of crime
       products to chronically ill patients across the country. Diplomat and the Insight Institute for         •   Reduced population
       Neurosurgery and Neuroscience acquired the entirety of the former GM Great Lakes
       Technology Center, a 1,000,000 square foot complex in Flint.                                            There are, however, many positive steps being taken which give strong hope that the City will
                                                                                                               regain its financial solvency and be a key part of restoring the community of Flint, including:
       In health care, Genesys Health System recently established a new $3 million clinic in downtown
       Flint with 10 new jobs and 60 transferred from a neighboring municipality. The main campus of           •   Strong partnership with entities such as the Greater Regional Flint Chamber of Commerce,
       Genesys continues to be a significant medical asset in Grand Blanc. Hurley Hospital established a           Prima Civitas, and the State of Michigan to promote economic development
       new children’s hospital and completed a $30 million new emergency and trauma care facility.             •   Strong support - financial and otherwise - from the Mott Foundation to support many
       McLaren Health System expanded its destimation medicine offerings by investing over $78                     activities helping to restore Flint
       million in a new proton beam cancer treatment facility and patient residence. All three hospitals       •   Diversification of Flint’s economic base, especially in higher education and health care
       are actively engaged in medical education and research activities at their facilities.                  •   Support of city residents to financially support city initiatives, as evidenced by recent passage
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                                                                                                                   of a 6 mill public safety stabilization millage
       The Flint and Genesee Chamber of Commerce, formerly the Genesee Regional Chamber of                     •   Support from the State of Michigan to assist the City, including increases in state trooper
       Commerce, was tapped to lead tourism efforts in Flint and Genesee County in 2012. In order to               presence and assisting financially in reopening the City’s lockup
       expand community marketing to appeal to both investors and visitors, the Chamber led a                  •   Willingness by those managing the City to make the necessary decisions to restore financial
       market research project and developed a new campaign to shape the image of the area. The                    solvency, as evidenced by the implementation of a fiscal year 2013 budget which raised
       conclusion: Flint and Genesee need a partner brand that highlights the strengths of both. March             revenues and cut expenses sufficiently to assure that expenses will not exceed revenues
       2013 marked the culmination of the Chamber's efforts to build a brand partnership between               •   Taking steps to improve and maintain long-term financial solvency, including reducing the
       Flint and Genesee. They have created a campaign to market the region as a desirable destination             workforce by nearly 20 percent; restructuring health benefits in a manner which reduced
       for events, vacation, or business. “See what's possible” is a rallying cry that invites travelers and       OPEB liabilities by nearly 2/3; reduced pension benefits; significantly raised water and sewer
       investors to see what the County has to offer. The campaign plays off the word “see” and                    rates while implementing new fees for trash pick-up and street lights; and restructuring the
       features iconic destinations and human moments through compelling imagery.                                  way in which City services are provided
                                                                                                               •   Working collaboratively with other municipalities to consider sharing of services, as
       Budgets - The placement of the City into state receivership emphasizes the City’s precarious                evidenced by five recent applications to the State for financial support in implementing
       financial position. Flint is an urban center which has been faced with a very significant loss in           shared services
       employment base in addition to the well-known problems of all mature urban centers. The City            •   Completed a five-year strategic plan and budget in conjunction with the City’s fiscal year
       will be challenged for several more years to determine how it can restore its financial solvency            2015 budget.
       and provide at least a basic level of City services while at the same time participating in the
       activities which will result in Flint being an attractive place for residents, students, businesses,    Requests for Information - This financial report is designed to provide a general overview of
       and visitors.                                                                                           the City of Flint, Michigan’s finances for all those with an interest in the government’s finances.
                                                                                                               Questions concerning any of the information provided in this report or requests for additional
                                                                                                               financial information should be addressed to the Office of the Finance Director, City of Flint,
                                                                                                               1101 South Saginaw Street, Room #203, Flint, Michigan 48502.




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       City of Flint, Michigan                                                                                            City of Flint, Michigan
                                                                            Statement of Net Position                                                                  Statement of Net Position (Continued)
                                                                                       June 30, 2013                                                                                           June 30, 2013

                                                                 Primary Government
                                                  Governmental       Business-type                          Component                                                               Primary Government
                                                    Activities         Activities           Total             Units                                                  Governmental       Business-type                          Component
                                                                                                                                                                       Activities         Activities          Total              Units
       Assets
         Pooled cash and investments (Note 3)    $    25,610,907    $    10,408,305   $    36,019,212   $            -
         Cash and cash equivalents (Note 4)            1,305,461            858,151         2,163,612        11,648,142   Liabilities
         Investments (Note 4)                            937,543                 -            937,543        49,444,802      Accounts payable                        $   4,569,703    $    5,613,046   $    10,182,749     $    19,583,965
         Receivables (net of allowance, where                                                                                Due to other governmental units               454,952                -            454,952             100,000
            applicable) (Note 5):                                                                                            Due to primary government (Note 7)                 -                 -                 -            9,866,795
              Property taxes receivable                1,461,019                -           1,461,019               -        Deposits and advances                         559,723           580,684         1,140,407              32,600
              Receivables from sales to                                                                                      Accrued liabilities and other               4,071,015         1,188,571         5,259,586          33,393,514
                  customers on account                        -          22,940,950        22,940,950        70,201,583      Unearned revenue (Note 5)                     920,414                -            920,414               3,500
              Accrued interest receivable                 11,195                 -             11,195           261,587      Other current liabilities                   1,111,183                -          1,111,183                  -
              Accounts (net of allowance of                                                                                  Noncurrent liabilities:
                  $85,376)                                    -                 -                  -           694,337         Due within one year:
              Other receivables                        3,619,197               387          3,619,584          704,500             Payable from restricted assets               -                -                    -           446,578
              Due from other governmental                                                                                          Claims payable - Current
                  units                                8,798,817            109,866         8,908,683                -                (Note 16)                            854,776               -             854,776           3,779,561
              Loan receivable                         10,560,338                 -         10,560,338           288,912            Current portion of long-term debt
         Due from component units (Note 7)             5,600,346                 -          5,600,346                -                (Note 9)                           4,498,378         2,703,175          7,201,553          5,608,530
         Internal balances (Note 7)                   (9,948,800)         9,948,800                -                 -         Due in more than one year:
                                                                                                                                   Claims payable (Note 16)                641,000                -            641,000          38,268,025
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         Inventory                                       169,903          1,136,255         1,306,158         5,223,959
         Prepaid costs                                    84,152                 -             84,152         2,757,869            Net pension obligation                       -                 -                 -            3,268,705
         Restricted assets (Note 10)                     380,675          4,385,534         4,766,209        44,722,843            Net OPEB obligation (Note 12)       129,627,657        29,274,057       158,901,714           3,432,051
         Investment in joint ventures                         -                  -                 -          7,029,993            Long-term debt (Note 9)              30,319,787        21,675,336        51,995,123         102,540,405
         Other assets                                         -              70,654            70,654         3,619,977
                                                                                                                                         Total liabilities            177,628,588         61,034,869       238,663,457         220,324,229
         Capital assets (Note 6):
            Assets not subject to depreciation        14,446,152          2,045,361        16,491,513        22,226,500   Net Position
            Assets subject to depreciation           141,078,393        100,399,785       241,478,178       107,823,304     Net investment in capital assets          153,329,640         78,604,810       231,934,450          37,165,197
         Cash held with agent                                 -                  -                 -            550,000     Restricted for:
                                                                                                                              Roads                                     4,515,164                 -           4,515,164                 -
                     Total assets                    204,115,298        152,304,048       356,419,346       327,198,308
                                                                                                                              Capital projects                          7,683,362                 -           7,683,362                 -
                                                                                                                              Street lighting                             213,421                 -             213,421                 -
                                                                                                                              Revolving loan program                           -                  -                  -           1,960,671
                                                                                                                              Police                                    1,299,438                 -           1,299,438                 -
                                                                                                                              Public safety                             5,118,343                 -           5,118,343                 -
                                                                                                                              Community development                    11,619,405                 -          11,619,405             96,691
                                                                                                                              Parks and recreation                        136,003                 -             136,003                 -
                                                                                                                              Economic development                        555,643                 -             555,643                 -
                                                                                                                              Building inspection                         400,968                 -             400,968                 -
                                                                                                                              Debt service                                  7,163          2,384,034          2,391,197                 -
                                                                                                                              Capital replacement                              -           2,001,500          2,001,500                 -
                                                                                                                              Donor restricted and other                       -                  -                  -           5,618,014
                                                                                                                            Unrestricted                             (158,391,840)         8,278,835       (150,113,005)        62,033,506

                                                                                                                                         Total net position        $ 26,486,710       $ 91,269,179     $ 117,755,889       $ 106,874,079




       The Notes to Financial Statements are an                                                                           The Notes to Financial Statements are an
         Integral Part of this Statement.                   20                                                              Integral Part of this Statement.                  21
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       City of Flint, Michigan
                                                                                                                                                                                                                                      Statement of Activities
                                                                                                                                                                                                                                    Year Ended June 30, 2013

                                                                                                                                                               Net (Expense) Revenue and Changes in Net Position
                                                                                                      Program Revenues                                             Primary Government
                                                                                    Charges for       Operating Grants    Capital Grants and       Governmental        Business-type
                                                               Expenses              Services         and Contributions     Contributions            Activities          Activities           Total           Component Units

       Functions/Programs

       Primary government:
          Governmental activities:
             General government                           $       7,533,423     $        10,652,009   $        776,454    $           3,818    $        3,898,858 $               -      $      3,898,858 $                  -
             Judicial                                             5,095,682               1,696,157            228,170                   -             (3,171,355)                -            (3,171,355)                   -
             Public safety:
                 Police                                          25,078,577               1,724,215             916,145          4,672,971            (17,765,246)                -           (17,765,246)                   -
                 Fire                                            10,713,612                 154,096                  -                  -             (10,559,516)                -           (10,559,516)                   -
                 Building inspection                              4,017,923               2,062,378             134,287          1,733,108                (88,150)                -               (88,150)                   -
                 Emergency dispatch                               3,230,298               1,301,826              13,763                 -              (1,914,709)                -            (1,914,709)                   -
             Public works                                         5,543,366                     940                  -                  -              (5,542,426)                -            (5,542,426)                   -
             Legislative                                            347,098                      -                   -                  -                (347,098)                -              (347,098)                   -
             Community development                               19,981,427                   1,659           3,206,127         15,187,633             (1,586,008)                -            (1,586,008)                   -
             Parks and recreation                                 2,864,223                  10,075             233,743                 -              (2,620,405)                -            (2,620,405)                   -
             Transportation                                      17,434,875                  64,085           8,704,549            274,530             (8,391,711)                -            (8,391,711)                   -
             Interest on long-term debt                           1,021,815                      -                   -                  -              (1,021,815)                -            (1,021,815)                   -

                         Total governmental activities          102,862,319              17,667,440         14,213,238          21,872,060            (49,109,581)                -           (49,109,581)                   -

          Business-type activities:
             Water                                               42,089,874             49,903,868                   -               99,240                   -             7,913,234           7,913,234                    -
                                                                 25,185,405             30,169,235                   -                   -                    -             4,983,830           4,983,830                    -
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             Sewage Disposal Division

                         Total business-type activities          67,275,279             80,073,103                   -               99,240                   -           12,897,064          12,897,064                     -

                         Total primary government         $    170,137,598      $       97,740,543    $    14,213,238     $    21,971,300             (49,109,581)        12,897,064          (36,212,517)                   -

       Component units:
         Downtown Development Authority                   $       2,336,347     $        1,226,697    $              -    $              -                    -                   -                   -               (1,109,650)
         Atwood Stadium Building Authority                               -                      -                    -                   -                    -                   -                   -                       -
         Economic Development Corporation                           244,042                108,343               43,749              47,436                   -                   -                   -                  (44,514)
         Flint Area Enterprise Community                            334,967                     -                12,876                  -                    -                   -                   -                 (322,091)
         Hurley Medical Center                                  374,396,459            372,503,295                   -                   -                    -                   -                   -               (1,893,164)

                         Total component units            $    377,311,815      $      373,838,335    $         56,625    $         47,436                    -                   -                   -               (3,369,419)

                                                          General revenues:
                                                            Property taxes                                                                             21,722,352                 -           21,722,352                 412,068
                                                            Income taxes                                                                               14,674,274                 -           14,674,274                      -
                                                            State-shared revenue (unrestricted)                                                        13,667,182                 -           13,667,182                      -
                                                            Interest (unrestricted)                                                                       445,325                945             446,270              (1,052,987)
                                                            Cable franchise fees (unrestricted)                                                         1,084,668                 -            1,084,668                      -
                                                            Other miscellaneous income (unrestricted)                                                   1,203,070             52,537           1,255,607                 968,221
                                                            Gain on sale of fixed assets                                                                1,046,990                 -            1,046,990                      -

                                                                             Total general revenues                                                    53,843,861             53,482          53,897,343                327,302

                                                          Transfers                                                                                     2,990,000          (2,990,000)                -                      -

                                                          Change in Net Position                                                                        7,724,280           9,960,546         17,684,826              (3,042,117)

                                                          Net Position - As restated - Beginning of year (Note 20)                                     18,762,430         81,308,633         100,071,063          109,916,196

                                                          Net Position - End of year                                                           $      26,486,710     $   91,269,179      $   117,755,889     $    106,874,079




       The Notes to Financial Statements are an
         Integral Part of this Statement.                               22                                                                                                                                       23
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       City of Flint, Michigan                                                                                                                    City of Flint, Michigan
                                                                                                            Governmental Funds                                                                          Governmental Funds
                                                                                                                  Balance Sheet                                         Reconciliation of the Balance Sheet to the Statement
                                                                                                                  June 30, 2013                                                                               of Net Position
                                                                                                                                                                                                                June 30, 2013
                                                                                                  Public
                                                                          Federal Grants       Improvement
                                                     General Fund             Fund                Fund        Nonmajor Funds        Total         Fund Balance Reported in Governmental Funds                                  $      7,164,974
                       Assets
                                                                                                                                                     Amounts reported for governmental activities in the statement
       Cash and cash equivalents (Note 4)        $        441,848     $         214,420    $            -     $      258,559   $      914,827
       Investments (Note 4)                                    -                937,543                 -                 -           937,543          of net position are different because:
       Receivables (Note 5):
          Property taxes receivable                        868,389                    -             184,192          408,438        1,461,019               Capital assets used in governmental activities are not financial
          Accrued interest receivable                           -                     -                  -            11,195           11,195
          Other receivables                              3,585,149                 7,400                 -            24,372        3,616,921
                                                                                                                                                              resources and are not reported in the funds                          154,143,889
          Due from other governmental units              3,304,348             3,963,428                 -         1,531,041        8,798,817
          Notes and leases receivable                           -             10,074,000                 -           486,338       10,560,338               Other long-term assets are not available to pay for current
       Due from component units net of                                                                                                                        period expenditures and therefore are deferred in the funds           12,782,344
          allowance (Note 7)                              148,895               550,000           4,901,451               -         5,600,346
       Due from other funds (Note 7)                           -                     -                   -         1,812,097        1,812,097
       Restricted assets (Note 10)                             -                380,675                  -                -           380,675
                                                                                                                                                            Bonds payable and capital lease obligations are not due and
       Pooled cash and investments (Note 3)               642,400                    -            2,767,994       11,328,814       14,739,208                 payable in the current period and are not reported in the
                                                 $      8,991,029     $     16,127,466     $      7,853,637   $   15,860,854   $   48,832,986
                                                                                                                                                              funds                                                                 (30,007,667)
                        Total assets

       Liabilities and Fund Balances (Deficit)                                                                                                              Accrued interest related to governmental activities debt is not
                                                                                                                                                              reported in the funds                                                    (289,615)
       Liabilities
          Accounts payable                       $       1,873,197    $         951,137    $          3,517   $      877,964   $    3,705,815
                                                                                                                                                            Employee compensated absences are payable over a long
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          Due to other governmental units                  454,952                   -                   -                -           454,952
          Due to other funds (Note 7)                    6,312,097            2,492,039                  -            26,556        8,830,692                 period of years and do not represent a claim on current
          Advances from other funds (Note 7)            10,800,000                   -                   -                -        10,800,000
          Deposits and advances                                 -                    -                   -           559,723          559,723
                                                                                                                                                              financial resources; therefore, they are not reported as fund
          Accrued liabilities and other                  1,346,253               86,521             166,641        1,938,929        3,538,344                 liabilities                                                            (4,435,256)
          Deferred revenue (Note 5)                      1,100,172           11,695,414             184,192          722,980       13,702,758
          Other current liabilities                             -                75,611                 117               -            75,728               Net postemployment benefit obligation is not due and payable
                        Total liabilities               21,886,671            15,300,722            354,467        4,126,152       41,668,012                 in the current period and is not reported in the funds               (129,627,657)
       Fund Balances (Deficit)                                                                                                                              Internal service funds are included as part of governmental
         Nonspendable - Long-term receivable                   -                     -            4,901,451              -          4,901,451
         Restricted:                                                                                                                                           activities                                                           16,755,698
            Roads                                               -                    -                   -         4,515,164         4,515,164
            Police                                              -                    -                   -         1,171,547         1,171,547    Net Position of Governmental Activities                                      $   26,486,710
            Debt service                                        -                    -                   -             7,163             7,163
            Community development                               -               826,744                  -                -            826,744
            Capital projects                                    -                    -            2,597,719               -          2,597,719
            Economic development                                -                    -                   -           258,854           258,854
            Parks and recreation                                -                    -                   -           104,110           104,110
            Building inspections                                -                    -                   -           400,968           400,968
            Public safety                                       -                    -                   -         5,063,475         5,063,475
            Street lighting                                     -                    -                   -           213,421           213,421
         Unassigned (deficit)                          (12,895,642)                  -                   -                -        (12,895,642)

                        Total fund balances
                           (deficit)                   (12,895,642)             826,744           7,499,170       11,734,702        7,164,974

                        Total liabilities and
                           fund balances
                           (deficit)             $      8,991,029     $     16,127,466     $      7,853,637   $   15,860,854   $   48,832,986




       The Notes to Financial Statements are an                                                                                                   The Notes to Financial Statements are an
         Integral Part of this Statement.                                    24                                                                     Integral Part of this Statement.               25
                                                 Case 4:20-cv-12726-MFL-DRG ECF No. 1-2 filed 10/07/20                                                                PageID.586                   Page 526 of 726




       City of Flint, Michigan                                                                                                                          City of Flint, Michigan
                                                                    Governmental Funds                                                                                                                    Governmental Funds
                                      Statement of Revenue, Expenditures, and Changes in                                                                           Reconciliation of the Statement of Revenue, Expenditures,
                                                                 Fund Balances (Deficit)                                                                        and Changes in Fund Balances (Deficit) of Governmental Funds
                                                               Year Ended June 30, 2013                                                                                                        to the Statement of Activities
                                                                                                                                                                                                    Year Ended June 30, 2013
                                                                                                   Public            Nonmajor
                                                                           Federal Grants       Improvement         Governmental
                                                      General Fund             Fund                Fund                Funds              Total
       Revenue                                                                                                                                          Net Change in Fund Balances - Total Governmental Funds                       $   14,432,073
         Property taxes                           $       6,011,342    $              -     $      2,055,994    $      11,145,728 $       19,213,064
         Income taxes                                    14,674,274                   -                   -                    -          14,674,274       Amounts reported for governmental activities in the statement
         Licenses and permits                             1,557,320                   -                   -             1,853,188          3,410,508
         Federal grants                                   2,753,854           18,400,485                  -             2,667,702         23,822,041
                                                                                                                                                             of activities are different because:
         State revenue                                   16,003,433               33,703                  -             8,224,888         24,262,024
         Charges for services                            11,406,946                1,209                  -               186,379         11,594,534              Governmental funds report capital outlays as expenditures;
         Fines and forfeitures                            2,291,325                   -                   -               124,323          2,415,648                however, in the statement of activities, these costs are
         Investment income (loss)                           261,004              247,830             719,450              (13,366)         1,214,918
         Other revenue                                    2,770,960               58,028                  -             3,098,994          5,927,982                allocated over their estimated useful lives as depreciation:
                                                                                                                                                                        Capital outlay                                                     5,063,828
                         Total revenue                   57,730,458            18,741,255          2,775,444           27,287,836        106,534,993
                                                                                                                                                                        Depreciation expense                                             (15,579,051)
       Expenditures
         Current:                                                                                                                                                       Net book value of assets disposed of                                (614,042)
            General government                            7,999,801                   -                  -                    -            7,999,801
            Judicial - 68th District Court                4,955,003                   -                  -                    -            4,955,003              Revenues are recorded in the statement of activities when
            Public safety:                                                                                                                                          earned; they are not reported in the funds until collected or
                Police department                        23,404,501                51,727                -              1,592,621         25,048,849
                Combined public safety                                                                                                                              collectible within 90 days of year end                                  462,816
                    department                                   -                     -                  -                52,296             52,296
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                Fire                                     10,682,234             5,270,130                 -                    -          15,952,364              Increase in net postemployment benefit obligation                       (1,511,402)
                Building inspection                          94,170                    -                  -             4,076,364          4,170,534
                Emergency dispatch                        3,141,130                    -                  -                    -           3,141,130              Repayment of bond principal is an expenditure in the
            Public works                                         -                     -                  -             5,515,322          5,515,322
            Legislative                                     344,227                    -                  -                    -             344,227                governmental funds, but not in the statement of activities
            Community development                         1,946,636             7,425,188                 -                 7,693          9,379,517                (where it reduces long-term debt)                                       896,977
            Parks and recreation                          1,853,475             5,318,080            481,121              675,417          8,328,093
            Transportation                                      861                    -                  -             9,769,670          9,770,531
         Debt service:
                                                                                                                                                                  Change in accrued interest is not reported in the funds                     7,269
            Principal                                           -                343,000             185,000             368,977             896,977
            Interest on long-term debt                          -                146,639             415,141             476,596           1,038,376              Decrease in accumulated employee sick and vacation pay and
                                                                                                                                                                    other similar expenses reported in the statement of activities
                         Total expenditures              54,422,038           18,554,764           1,081,262           22,534,956         96,593,020
                                                                                                                                                                    do not require the use of current resources, and therefore
       Excess of Revenue Over Expenditures                3,308,420              186,491           1,694,182            4,752,880          9,941,973                are not reported in the fund statements until they come due
       Other Financing Sources (Uses)                                                                                                                               for payment                                                             908,705
         Proceeds from sale of capital assets                   100                   -                   -                    -                 100
         Transfers in (Note 7)                            2,990,000                   -                   -             2,528,457          5,518,457              Internal service funds are included as part of governmental
         Transfers out (Note 7)                              (9,312)                  -             (726,953)            (292,192)        (1,028,457)
                                                                                                                                                                     activities                                                           3,657,107
                         Total other financing
                            sources (uses)                2,980,788                   -             (726,953)           2,236,265          4,490,100
                                                                                                                                                        Change in Net Position of Governmental Activities                            $    7,724,280
       Net Change in Fund Balances                        6,289,208              186,491             967,229            6,989,145         14,432,073

       Fund Balances (Deficit) - As restated -
         Beginning of year (Note 20)                    (19,184,850)             640,253           6,531,941            4,745,557         (7,267,099)

       Fund Balances (Deficit) - End of year      $ (12,895,642) $               826,744    $      7,499,170    $     11,734,702     $    7,164,974




       The Notes to Financial Statements are an                                                                                                         The Notes to Financial Statements are an
         Integral Part of this Statement.                                     26                                                                          Integral Part of this Statement.              27
                                                Case 4:20-cv-12726-MFL-DRG ECF No. 1-2 filed 10/07/20                                                           PageID.587                         Page 527 of 726




       City of Flint, Michigan                                                                                                              City of Flint, Michigan
                                                                                               Proprietary Funds                                                                                 Proprietary Funds
                                                                                        Statement of Net Position                                       Statement of Revenue, Expenses, and Changes in Net Position
                                                                                                   June 30, 2013                                                                          Year Ended June 30, 2013
                                                                                                                          Governmental                                                                                                                             Governmental
                                                                                    Enterprise Funds                        Activities                                                                                      Enterprise Funds                         Activities
                                                                                                                           Proprietary                                                                                                                              Proprietary
                                                                    Water Supply    Sewage Disposal                      Internal Service                                                                  Water Supply     Sewage Disposal                       Internal Service
                                                                     Division          Division             Total             Fund                                                                          Division           Division             Total              Fund
       Assets
         Current assets:                                                                                                                    Operating Revenue
            Cash and cash equivalents (Note 4)                  $        858,151    $           -      $      858,151    $      390,634       Charges for services                                     $      49,880,827    $   32,025,929     $   81,906,756     $   40,051,431
            Receivables:                                                                                                                                                                                          23,041                -              23,041                 -
                                                                                                                                              Other miscellaneous revenue
               Receivables from sales to customers on account          13,118,422         9,822,528         22,940,950               -
               Other receivables                                              232               155                387            2,276                        Total operating revenue                        49,903,868        32,025,929         81,929,797         40,051,431
               Due from other governmental units                               -            109,866            109,866               -
            Due from other funds (Note 7)                                      -                 -                  -         7,869,795     Operating Expenses
            Inventory                                                     506,621           629,634          1,136,255          169,903       Salaries, wages, and fringe benefits                            10,599,599         13,958,050        24,557,649          3,258,387
            Prepaid costs                                                      -                 -                  -            84,152       Utilities                                                          691,373          2,341,204         3,032,577             38,373
            Pooled cash and investments (Note 3)                        3,452,162         6,956,143         10,408,305       10,871,699       Equipment operation                                                628,541            699,565         1,328,106                496
                                                                                                                                              Claims and settlements                                                  -                  -                 -             998,036
                         Total current assets                          17,935,588        17,518,326         35,453,914       19,388,459       Repair and maintenance                                             220,696            530,681           751,377            295,887
                                                                                                                                              Supplies                                                           934,097            986,642         1,920,739          1,516,507
          Noncurrent assets:                                                                                                                  Insurance                                                               -                  -                 -             389,879
            Restricted assets (Note 10)                                 4,385,534                -           4,385,534                -       Professional services                                              605,606          1,408,472         2,014,078          2,779,794
            Advances to other funds (Note 7)                            1,000,000         9,800,000         10,800,000                -       Miscellaneous                                                      749,641          1,278,943         2,028,584             16,848
            Accrued interest receivable                                        -             70,654             70,654                -       Costs of materials or services rendered                         23,308,800                 -         23,308,800         25,731,269
            Capital assets (Note 6):                                                                                                                                                                           3,563,937          3,974,076         7,538,013            832,674
                                                                                                                                              Depreciation and amortization
               Assets not subject to depreciation                       1,479,998           565,363          2,045,361          132,616
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               Assets subject to depreciation                          43,845,546        56,554,239        100,399,785        1,248,040                        Total operating expenses                       41,302,290        25,177,633         66,479,923         35,858,150

                         Total noncurrent assets                       50,711,078        66,990,256        117,701,334        1,380,656     Operating Income                                                   8,601,578          6,848,296        15,449,874          4,193,281

                         Total assets                                  68,646,666        84,508,582        153,155,248       20,769,115     Nonoperating Revenue (Expenses)
                                                                                                                                              Investment (loss) income                                            (7,689)             8,634                945            (28,855)
       Liabilities                                                                                                                            Interest expense                                                  (787,584)                -            (787,584)           (54,309)
          Current liabilities:                                                                                                                Miscellaneous expenses                                                  -              (7,772)            (7,772)                -
              Accounts payable                                          4,295,654         1,317,392          5,613,046          863,888       (Loss) gain on disposal of capital assets                               -          (1,856,694)        (1,856,694)         1,046,990
              Due to other funds (Note 7)                                      -            851,200            851,200               -        Miscellaneous revenue                                               52,537                 -              52,537                 -
              Deposits and advances                                       580,684                -             580,684               -
              Accrued liabilities and other                               676,926           511,645          1,188,571          243,056                        Total nonoperating (expenses) revenue            (742,736)        (1,855,832)        (2,598,568)          963,826
              Other payables                                                   -                 -                  -         1,035,455
              Claims payable - Current (Note 16)                               -                 -                  -           854,776     Income - Before contributions                                      7,858,842          4,992,464        12,851,306          5,157,107
              Current portion of long-term debt (Note 9)                2,428,178           274,997          2,703,175          179,854
                                                                                                                                            Capital Contributions                                                  99,240               -              99,240                  -
                         Total current liabilities                      7,981,442         2,955,234         10,936,676        3,177,029
                                                                                                                                            Transfers Out (Note 7)                                            (1,130,000)        (1,860,000)        (2,990,000)        (1,500,000)
          Noncurrent liabilities:
            Claims payable (Note 16)                                           -                 -                  -           641,000     Change in Net Position                                             6,828,082          3,132,464         9,960,546          3,657,107
            Net OPEB obligation (Note 12)                              12,547,877        16,726,180         29,274,057               -
                                                                                                                                            Net Position - Beginning of year                                  19,613,929        61,694,704         81,308,633         13,098,591
            Long-term debt (Note 9)                                    21,675,336                -          21,675,336          195,388

                                                                       34,223,213        16,726,180         50,949,393          836,388     Net Position - End of year                                 $     26,442,011     $   64,827,168     $   91,269,179     $   16,755,698
                         Total noncurrent liabilities

                         Total liabilities                             42,204,655        19,681,414         61,886,069        4,013,417

       Net Position
         Net investment in capital assets                              21,222,030        56,844,605         78,066,635        1,005,414
         Restricted:
            Debt service                                                2,384,034                -           2,384,034               -
            Capital replacement                                         2,001,500                -           2,001,500               -
         Unrestricted                                                     834,447         7,982,563          8,817,010       15,750,284

                         Total net position                     $     26,442,011    $   64,827,168          91,269,179   $   16,755,698

       Net Position of Business-type Activities                                                        $   91,269,179

       The Notes to Financial Statements are an                                                                                             The Notes to Financial Statements are an
         Integral Part of this Statement.                              28                                                                     Integral Part of this Statement.                                29
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       City of Flint, Michigan                                                                                                                           City of Flint, Michigan
                                                                                                     Proprietary Funds                                                                                                                  Proprietary Funds
                                                                                               Statement of Cash Flows                                                                                                Statement of Cash Flows (Continued)
                                                                                              Year Ended June 30, 2013                                                                                                          Year Ended June 30, 2013

                                                                                                                                      Governmental                                                                                                                                  Governmental
                                                                                                Enterprise Funds                        Activities                                                                                              Enterprise Funds                      Activities
                                                                                                    Sewage                                                                                                                                          Sewage
                                                                               Water Supply         Disposal                          Internal Service                                                                          Water Supply        Disposal                        Internal Service
                                                                                Division            Division            Total              Funds                                                                                 Division           Division           Total             Fund
                                                                                                                                                         Reconciliation of Operating Income to Net Cash from
       Cash Flows from Operating Activities
                                                                                                                                                           Operating Activities
         Receipts from customers and users                                     $ 47,620,772 $ 29,290,360 $ 76,911,132 $ 40,052,458
                                                                                                                                                              Operating income                                              $      8,601,578    $    6,848,296     $ 15,449,874     $   4,193,281
         Payments to vendors                                                     (26,829,143)  (5,023,121) (31,852,264) (30,654,128)
                                                                                                                                                              Adjustments to reconcile operating income to net cash from
         Payments to employees                                                    (9,790,742) (13,485,958) (23,276,700)   2,370,631
                                                                                                                                                                  operating activities:
         Internal activity - Payments to other funds                                (910,000)  (1,218,300)  (2,128,300)          -
                                                                                                                                                                     Depreciation and amortization                                 3,563,937         3,974,076        7,538,013           832,674
         Claims paid                                                                      -            -            -    (3,470,460)
                                                                                                                                                                     Changes in assets and liabilities:
                                                                                                                                                                        Receivables                                               (2,283,096)       (2,735,569)       (5,018,665)              827
                   Net cash provided by operating activities                     10,090,887          9,562,981         19,653,868          8,298,501
                                                                                                                                                                        Due from others                                                   -                 -                 -          5,264,428
       Cash Flows from Noncapital Financing Activities                                                                                                                  Inventories                                                 (124,767)               -           (124,767)           27,216
         Loans related to pooled cash received from other funds                  (3,589,658)                -          (3,589,658)                -                     Accounts payable                                            (538,158)        1,004,086           465,928            87,709
         Repayments of loans related to pooled cash made to other funds                  -             714,681            714,681                 -                     Estimated claims liability                                        -                 -                 -         (2,472,224)
         Transfers to other funds                                                (1,130,000)        (1,860,000)        (2,990,000)        (1,500,000)                   Accrued and other liabilities                                481,712           384,141           865,853           364,590
         Repayments of loans from other funds                                            -                  -                  -             871,679                    Customer deposits                                             62,536                -             62,536                -
         Payments received on long-term note receivable                                  -                  -                  -             130,000                    Net postemployment benefit obligation                        327,145            87,951           415,096                -
         Pooled cash receipts to other funds                                             -                  -                  -           1,940,634
                                                                                                                                                                          Net cash provided by operating activities         $ 10,090,887        $ 9,562,981        $ 19,653,868     $ 8,298,501
                   Net cash (used in) provided by noncapital financing
                     activities                                                  (4,719,658)        (1,145,319)        (5,864,977)         1,442,313
D-16




       Cash Flows from Capital and Related Financing Activities
         Receipt of capital grants                                                   99,240                 -              99,240                 -
         Proceeds from sales of capital assets                                       52,538                 -              52,538          1,500,000
         Purchase of capital assets                                                (147,462)        (1,552,815)        (1,700,277)          (132,615)
         Principal paid on capital debt                                          (2,115,000)                -          (2,115,000)          (267,795)
         Interest payments                                                         (787,584)                -            (787,584)           (54,309)

                   Net cash (used in) provided by capital and related
                     financing activities                                         (2,898,268)       (1,552,815)        (4,451,083)         1,045,281

       Cash Flows from Investing Activities - Investment (loss) income                (7,689)            8,634                  945          (28,855)

       Net Increase in Cash and Cash Equivalents                                  2,465,272          6,873,481          9,338,753         10,757,240

       Cash and Cash Equivalents - Beginning of year                              6,230,575             82,662          6,313,237           505,093

       Cash and Cash Equivalents - End of year                             $ 8,695,847          $ 6,956,143        $ 15,651,990       $ 11,262,333

       Balance Sheet Classification of Cash and Cash Equivalents
          Cash and investments                                             $        858,151     $           -      $      858,151     $      390,634
          Restricted cash                                                         4,385,534                 -           4,385,534                 -
          Pooled cash                                                             3,452,162          6,956,143         10,408,305         10,871,699

                         Total cash and cash equivalents                   $ 8,695,847          $ 6,956,143        $ 15,651,990       $ 11,262,333




       The Notes to Financial Statements are an                                                                                                          The Notes to Financial Statements are an
         Integral Part of this Statement.                                 30                                                                               Integral Part of this Statement.                                31
                                         Case 4:20-cv-12726-MFL-DRG ECF No. 1-2 filed 10/07/20                 PageID.589                   Page 529 of 726




       City of Flint, Michigan                                                                   City of Flint, Michigan
                                                                      Fiduciary Funds                                                                            Fiduciary Funds
                                                  Statement of Fiduciary Net Position                                             Statement of Changes in Fiduciary Net Position
                                                                        June 30, 2013                                                                 Year Ended June 30, 2013

                                                                 Pension and                                                                                                Pension and
                                                                 Benefit Trust                                                                                              Benefit Trust
                                                                    Funds         Agency Funds                                                                                 Funds
       Assets                                                                                    Additions
         Cash and cash equivalents                               $    1,124,296 $    1,277,180    Investment income (loss):
         Investments:                                                                                Interest and dividends                                             $       3,173,659
            U.S. government obligations                                 902,130            -         Net increase in fair value of investments                                 23,543,255
            Agency securities                                        10,481,869            -         Investment-related expenses                                                 (709,589)
            Corporate stocks                                         14,002,249            -
            Corporate bonds                                          11,720,330            -                   Net investment income                                           26,007,325
         Receivables:                                                                               Contributions:
            Property taxes receivable                                        -       3,118,765        Employer                                                                 25,682,439
            Accrued interest receivable                                 186,887             -         Employee                                                                  2,592,912
            Other receivables                                            77,020             30
         Pooled cash and investments                                  1,828,785      1,404,766                 Total contributions                                             28,275,351

                     Total assets                                    40,323,566 $ 5,800,741                    Total additions                                                 54,282,676

       Liabilities                                                                               Deductions
         Accounts payable                                              675,057 $       639,685    Benefit payments                                                             37,825,250
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         Due to other governmental units                                    -        4,207,304    Refunds of contributions                                                        413,842
         Deposits and advances                                              -          953,752    Administrative expenses                                                         810,119
         Deferred revenue                                               86,756              -     Transfer to MERS                                                            476,709,526

                                                                       761,813 $ 5,800,741                     Total deductions                                               515,758,737
                     Total liabilities
       Net Position Held in Trust for Pension and Other                                          Net Decrease in Net Position Held in Trust                                  (461,476,061)
         Employee Benefits                                       $39,561,753                     Net Position Held in Trust for Pension and Other Employee Benefits -
                                                                                                   Beginning of year                                                          501,037,814
                                                                                                 Net Position Held in Trust for Pension and Other Employee Benefits -
                                                                                                   End of year                                                          $     39,561,753




       The Notes to Financial Statements are an                                                  The Notes to Financial Statements are an
         Integral Part of this Statement.          32                                              Integral Part of this Statement.              33
                                                 Case 4:20-cv-12726-MFL-DRG ECF No. 1-2 filed 10/07/20                                                PageID.590     Page 530 of 726




       City of Flint, Michigan
                                                                                                       Component Units
                                                                                                Statement of Net Position
                                                                                                           June 30, 2013
                                                                   Atwood
                                              Downtown             Stadium       Economic             Flint Area
                                             Development           Building     Development          Enterprise    Hurley Medical
                                               Authority          Authority     Corporation          Community        Center              Total

       Assets
         Cash and cash equivalents
            (Note 4)                         $     223,416    $        9,252    $    138,117     $       992,318   $ 10,285,039     $    11,648,142
         Investments                                    -                 -               -                   -      49,444,802          49,444,802
         Receivables:
            Receivables from sales to
                customers on account                    -                 -               -                   -       70,201,583         70,201,583
            Accrued interest receivable                 -                 -               -                   -          261,587            261,587
            Accounts (net of allowance
                of $85,376)                         68,804                -          625,533                  -               -             694,337
            Other receivables                           -                 -               -                   -          704,500            704,500
            Notes and leases receivable                 -                 -               -              288,912              -             288,912
         Inventory                                      -                 -               -                   -        5,223,959          5,223,959
         Prepaid costs                              24,979                -           10,788                  -        2,722,102          2,757,869
         Restricted assets (Note 10)               246,288                -          446,578                  -       44,029,977         44,722,843
         Investment in joint ventures                   -                 -               -                   -        7,029,993          7,029,993
         Land held for resale                           -                 -               -               19,800       3,600,177          3,619,977
         Capital assets (net of
            depreciation) (Note 6)               14,364,097               -          873,379               1,100    114,811,228         130,049,804
         Cash held with agent                            -                -          550,000                  -              -              550,000
                         Total assets            14,927,584            9,252        2,644,395          1,302,130    308,314,947         327,198,308
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       Liabilities                                                                                                                                          [THIS PAGE INTENTIONALLY LEFT BLANK]
          Accounts payable                          43,439                -            5,285               1,738      19,533,503         19,583,965
          Due to other governmental
              units                                 100,000               -               -                   -               -             100,000
          Due to primary government               9,167,900               -          698,895                  -               -           9,866,795
          Deposits and advances                      30,095               -            2,505                  -               -              32,600
          Accrued liabilities and other               9,229               -               -                   -       33,384,285         33,393,514
          Deferred revenue                            3,500               -               -                   -               -               3,500
          Noncurrent liabilities:
              Due within one year:
                 Payable from restricted
                    assets                              -                 -          446,578                  -              -             446,578
                 Claims payable - Current
                    (Note 16)                           -                 -               -                   -        3,779,561          3,779,561
                 Current portion of long-
                    term debt (Note 9)                  -                 -               -                   -        5,608,530          5,608,530
              Due in more than one year:
                 Claims payable (Note 16)               -                 -               -                   -       38,268,025         38,268,025
                 Other noncurrent
                    liabilities                         -                 -               -                   -       3,268,705           3,268,705
                 Net OPEB obligation                    -                 -               -                   -       3,432,051           3,432,051
                 Long-term debt (Note 9)                -                 -               -                   -     102,540,405         102,540,405

                         Total liabilities        9,354,163               -         1,153,263              1,738    209,815,065         220,324,229

       Net Position
         Net investment in capital assets         5,449,874               -          873,379               1,100      30,840,844         37,165,197
         Restricted:
            Community development                       -                 -               -               96,691              -              96,691
            Revolving loan program                      -                 -          759,105           1,201,566              -           1,960,671
            Donor restricted and other                  -                 -               -                   -        5,618,014          5,618,014
            Restricted for grants                   37,837                -               -                   -               -              37,837
         Unrestricted                               85,710             9,252        (141,352)              1,035      62,041,024         61,995,669
                         Total net
                            position         $ 5,573,421      $        9,252    $ 1,491,132      $ 1,300,392       $ 98,499,882     $ 106,874,079

       The Notes to Financial Statements are an
         Integral Part of this Statement.                                      34
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       City of Flint, Michigan
                                                                                                                                                                                                      Component Units
                                                                                                                                                                                                 Statement of Activities
                                                                                                                                                                                               Year Ended June 30, 2013


                                                                                     Program Revenues                                                  Net (Expense) Revenue and Changes in Net Assets
                                                                                         Operating    Capital Grants        Downtown        Atwood Stadium       Economic         Flint Area
                                                                       Charges for      Grants and         and             Development          Building       Development        Enterprise     Hurley Medical
                                                  Expenses              Services       Contributions  Contributions          Authority         Authority        Corporation      Community           Center               Total
       Functions/Programs
       Downtown Development Authority:
         Governmental activities -
           Development administration         $       306,725      $            -     $          -    $          -     $       (306,725) $              -    $           -      $          -      $           -      $      (306,725)
         Business-type activities - Parking         2,029,622            1,226,697               -               -             (802,925)                -                -                 -                  -             (802,925)
       Atwood Stadium Building Authority                     -                  -                -               -                   -                  -                -                 -                  -                   -
       Economic Development Corporation              244,042               152,092               -           47,436                  -                  -            (44,514)              -                  -              (44,514)
       Flint Area Enterprise Community               334,967                    -            12,876              -                   -                  -                -            (322,091)               -             (322,091)
       Hurley Medical Center                      374,396,459          372,503,295               -               -                   -                  -                -                 -           (1,893,164)        (1,893,164)

                      Total component units   $ 377,311,815        $ 373,882,084      $      12,876   $      47,436           (1,109,650)               -            (44,514)         (322,091)        (1,893,164)        (3,369,419)
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                                              General revenues:
                                                Property taxes                                                                  412,068                 -                -                  -                  -             412,068
                                                Unrestricted investment earnings                                                    300                 -            39,756             70,432         (1,163,475)        (1,052,987)
                                                Unrestricted other revenues                                                      25,027                 -             2,165              1,882            939,147            968,221

                                                                 Total general revenues                                         437,395                 -            41,921             72,314           (224,328)          327,302

                                              Change in Net Position                                                           (672,255)                -             (2,593)         (249,777)        (2,117,492)        (3,042,117)
                                              Net Position - Beginning of year                                                6,245,676              9,252         1,493,725         1,550,169        100,617,374        109,916,196

                                              Net Position - End of year                                               $     5,573,421      $        9,252   $    1,491,132     $    1,300,392    $   98,499,882     $ 106,874,079




       The Notes to Financial Statements are an
         Integral Part of this Statement.                35                                                                                                                     36
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       City of Flint, Michigan                                                                            City of Flint, Michigan
                                                           Notes to Financial Statements                                                                      Notes to Financial Statements
                                                                           June 30, 2013                                                                                      June 30, 2013

       Note 1 - Nature of Business and Significant Accounting Policies                                    Note 1 - Nature of Business and Significant Accounting Policies
                                                                                                                   (Continued)
             The accounting policies of the City of Flint (the "City") conform to accounting principles
             generally accepted in the United States of America (GAAP) as applicable to                         The Flint Downtown Development Authority (the "DDA") was created under state law
             governmental units. The following is a summary of the significant accounting policies              to promote and rehabilitate the downtown area. The DDA sponsors downtown events
             used by the City of Flint.                                                                         and manages parking facilities. State law provides for a specific tax levy for the
                                                                                                                operations of the DDA. The City appoints the board and has to approve the annual
             Reporting Entity
                                                                                                                budget and the issuance of any debt. Any surplus funds remaining at the termination of
             The City of Flint is a municipal corporation currently governed and administered by an             the DDA vest to the City. The DDA has both governmental and business-type activities.
             emergency manager (EM) appointed pursuant to state statute by the governor of the
                                                                                                                The City of Flint Economic Development Corporation (the "Corporation") was created
             state of Michigan. The accompanying financial statements present the government and
                                                                                                                under state law to provide financing and development opportunities for businesses
             its component units, entities for which the government is considered to be financially
                                                                                                                located within the City. The City appoints the board. The Corporation provides loans
             accountable. Although blended component units are legally separate entities, in
                                                                                                                to start-up or expanding businesses and manages rental property that leases space to
             substance they are part of the government's operations. The aggregate discretely
                                                                                                                commercial and light industrial manufacturing companies. Surplus funds existing at the
             presented component units are reported in a separate column in the government-wide
                                                                                                                termination of the Corporation vest to the City. The Corporation has both
             financial statements (see note below for description) to emphasize that they are legally
                                                                                                                governmental and business-type activities.
             separate from the government.
                                                                                                                The Flint Area Enterprise Community (FAEC) is a non-profit organization, established
             Blended Component Units
                                                                                                                under state law. FAEC is responsible for coordinating and implementing a strategic plan
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             The Flint Employees' Retirement System (FERS) is a defined benefit pension plan that               to advocate and develop business and community development in a federally designated
             provides retirement benefits to certain City retirees. The FERS was established and is             zone that includes portions of Mt. Morris Township and the City of Flint. The City
             governed by City ordinance, with the board of trustees comprised of City officials and             appoints a majority of the board of directors, provides the majority of its funding for
             retirees. The FERS is reported as a Pension Trust Fiduciary Fund. During the year                  operations, and any assets remaining at the cessation of its operating activities would be
             ended June 30, 2013, the board was disbanded and the investments in FERS were                      returned to the City of Flint. The FAEC is presented as a governmental activity. The
             transferred out to Municipal Employees' Retirement Systems (MERS). The FERS fund                   FAEC plans to cease operations during the fiscal year ending 2014. They are currently
             was closed and MERS will not take on the fiduciary responsibility of the plan.                     working with the State to determine which organization will take over the loans.
             The City of Flint Retirees Health Care Plan and Trust is a defined benefit plan that               Hurley Medical Center (HMC or the "Medical Center") provides inpatient, outpatient,
             provides retiree healthcare benefits to certain City retirees. The Health Care Plan and            and emergency care services in Genesee and surrounding counties. The financial
             Trust was established and is governed by City ordinance, with the board of trustees                statements present HMC and its wholly owned subsidiary, Hurley Health Services, Inc.,
             comprised of City officials and two members from each participating collective                     on a consolidated basis. HMC is the sole member of Hurley Health Services, Inc. (HHS),
             bargaining unit. The plan is reported as a Benefit Trust Fiduciary Fund.                           a municipal support organization organized on a non-profit, non-stock membership
                                                                                                                basis. HHS, on a consolidated basis, is comprised of two non-profit entities (HHS and
             Discretely Presented Component Units                                                               The Hurley Clinics, THC) and one “for-profit” corporation (Hurley Practice
             The Atwood Stadium Building Authority (the "Stadium Authority") serves all citizens and            Management Services). HHS began operations January 1, 1998. The City appoints the
             is responsible for major capital improvements to Atwood Stadium, a recreational facility           board of directors and there is an ongoing financial benefit/burden relationship between
             serving the citizens of the City. The City appoints a majority of the governing board and          the City and Hurley Medical Center. HMC is presented as a governmental activity.
             all surplus funds existing at the termination of the Stadium Authority vest to the City.
             The Stadium Authority is presented as a governmental activity.




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       City of Flint, Michigan                                                                           City of Flint, Michigan
                                                          Notes to Financial Statements                                                                      Notes to Financial Statements
                                                                          June 30, 2013                                                                                      June 30, 2013

       Note 1 - Nature of Business and Significant Accounting Policies                                   Note 1 - Nature of Business and Significant Accounting Policies
                (Continued)                                                                                       (Continued)
             Complete financial statements for the following individual component units may be                 Measurement Focus, Basis of Accounting, and Financial Statement
             obtained at the entity's administrative offices. Complete financial statements for                Presentation
             Atwood Stadium Building Authority are not available. Due to the nature of the
                                                                                                               The government-wide financial statements are reported using the economic resources
             operations of Atwood Stadium Building Authority, there is no difference in the assets
                                                                                                               measurement focus and the accrual basis of accounting, as are the proprietary fund,
             and liabilities, and equity reported between the fund and government-wide statements.
                                                                                                               pension trust fund, and component unit statement of net position and statement of
             Therefore, fund financial statements are not presented.
                                                                                                               activities. Revenue is recorded when earned and expenses are recorded when a liability
             Flint Downtown                Flint Economic               Flint Area                             is incurred, regardless of the timing of related cash flows. Property taxes are recognized
             Development Authority         Development Corporation      Enterprise Community                   as revenue in the year for which they are levied. Grants and similar items are recognized
             Suite 206                     1101 S. Saginaw Street       805 Welch Boulevard                    as revenue as soon as all eligibility requirements imposed by the provider have been
             412 S. Saginaw Street         Flint, Michigan 48502        Flint, Michigan 48504                  met.
             Flint, Michigan 48502
                                                                                                               Governmental fund financial statements are reported using the current financial
             Hurley Medical Center                                                                             resources measurement focus and the modified accrual basis of accounting. Revenue is
             One Hurley Plaza                                                                                  recognized as soon as it is both measurable and available. Revenue is considered to be
             Flint, MI 48503                                                                                   available when it is collectible within the current period. For this purpose, the
                                                                                                               government considers revenues to be available if they are collected within 60 days for
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             Government-wide and Fund Financial Statements
                                                                                                               property taxes and 90 days of the end of the current fiscal period for all other revenues.
             The government-wide financial statements (i.e., the statement of net position and the
             statement of activities) report information on all of the nonfiduciary activities of the          Expenditures generally are recorded when a liability is incurred, as under accrual
             primary government and its component units. For the most part, the effect of interfund            accounting. However, debt service expenditures, expenditures relating to compensated
             activity has been removed from these statements. Governmental activities, normally                absences, and claims and judgments are recorded only when payment is due.
             supported by taxes and intergovernmental revenues, are reported separately from                   Property taxes, income taxes, licenses, and charges for services associated with the
             business-type activities, which rely to a significant extent on fees and charges for              current fiscal period are all considered to be susceptible to accrual and so have been
             support. Likewise, the primary government is reported separately from certain legally             recognized as revenues of the current fiscal period. Only the portion of special
             separate component units for which the primary government is financially accountable.             assessments receivable due within the current fiscal period is considered to be
             The statement of activities demonstrates the degree to which the direct expenses of a             susceptible to accrual as revenue of the current period. All other revenue items are
             given function or segment are offset by program revenues. Direct expenses are those               considered to be measurable and available only when cash is received by the
             that are clearly identifiable with a specific function or segment. Program revenues               government.
             include (1) charges to customers or applicants who purchase, use, or directly benefit             The government reports the following major governmental funds:
             from goods, services, or privileges provided by a given function or segment and (2)
             grants and contributions that are restricted to meeting the operational or capital                ! The General Fund is the government’s primary operating fund. It accounts for all
             requirements of a particular function or segment. Taxes and other items not properly                financial resources of the general government, except those required to be
             included among program revenues are reported instead as general revenue.                            accounted for in another fund.
             Separate financial statements are provided for governmental funds, proprietary funds,             ! The Federal Grants Fund accounts for entitlement and specific purpose grants
             and fiduciary funds, even though the latter are excluded from the government-wide                   received from the U.S. Department of Housing and Urban Development and other
             financial statements. Major individual governmental funds and major individual enterprise           grantors.
             funds are reported as separate columns in the fund financial statements.
                                                                                                               ! The Public Improvement Fund was established to account for the annual 2 1/2 mill
                                                                                                                 tax levy reserved by Section 7 201 of the City Charter for capital improvements and
                                                                                                                 servicing of general obligation debt.
                                                    39                                                                                                 40
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       City of Flint, Michigan                                                                            City of Flint, Michigan
                                                           Notes to Financial Statements                                                                      Notes to Financial Statements
                                                                           June 30, 2013                                                                                      June 30, 2013

       Note 1 - Nature of Business and Significant Accounting Policies                                    Note 1 - Nature of Business and Significant Accounting Policies
                (Continued)                                                                                        (Continued)
             The government reports the following major proprietary fund:                                       Property Tax Revenue
             ! The Water Supply and Sewer Disposal System are divisions of the City’s Department                Property taxes are levied on each July 1 on the taxable valuation of property as of the
               of Public Works. Separate funds are maintained for the operations of the water                   preceding December 31. Taxes are considered delinquent on March 1 of the following
               distribution system and sewage pumping and collection systems and the sewer                      year, at which time penalties and interest are assessed.
               treatment plant.                                                                                 Taxes on the operating, public improvement, parks, public safety, and neighborhood
             Additionally, the government reports the following internal service and fiduciary                  police levies are billed July 1 and may be paid in three equal installments due by July 31,
             activities:                                                                                        October 31, and February 28, following the levy date. Taxes on the paramedic service
                                                                                                                levy are billed on December 1 and due in one installment by February 28. Property tax
             ! Internal service funds account for data processing, self insurance, fleet, and fringe            receivables are recorded as a receivable and offsetting deferred revenue when levied
               benefits services provided to other departments or agencies of the government, or                and due. Property taxes are recognized as revenues when collected or when
               to other governments, on a current cost reimbursement basis.                                     considered measurable and available. The City considers property taxes as available if
             ! Pension trust and benefit trust funds account for the activities of the five different           they are collected within 60 days after year end.
               funds utilized to pay retirement, death, and healthcare benefits for the City of Flint           The 2013 taxable valuation of the City totaled $968 million. Taxes were levied as
               and Hurley Medical Center retirees. These funds accumulate resources for pension                 follows:
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               and healthcare benefits financed by both employer and employee contributions.
                                                                                                                                        Purpose                            Millage Rate       Revenue
             ! Agency funds are custodial in nature (assets equal liabilities) and do not involve the
                                                                                                                General operating                                                     7.5 $    6,000,349
               measurement of results of operations.                                                            Public improvement                                                    2.5      2,055,994
             Pension and benefit trust funds and agency funds are reported as fiduciary funds and are           Parks and recreation                                                   .5        406,560
             not included in the government-wide statement of net position and statement of                     Public safety                                                         6.0      5,130,137
             activities.                                                                                        Neighborhood police                                                   2.0      1,644,638
             As a general rule, the effect of interfund activity has been eliminated from the                              Total                                                    18.5 $ 15,237,678
             government-wide financial statements. Exceptions to this general rule are charges
             between the City’s water and sewer function and various other functions of the City.               Cash and Cash Equivalents
             Elimination of these charges would distort the direct costs and program revenues
                                                                                                                The City's cash and cash equivalents include cash on hand, demand deposits, and short-
             reported for the various functions concerned.
                                                                                                                term investments with original maturities of three months or less from the date of
             When an expense is incurred for purposes for which both restricted and unrestricted                acquisition.
             net position or fund balance are available, the City's policy is to first apply restricted
                                                                                                                Pooled Cash and Investments
             resources. When an expense is incurred for purposes for which amounts in any of the
             unrestricted fund balance classifications could be used, it is the City's policy to spend          Cash resources of certain individual funds are combined to form a pool of cash and
             funds in this order: restricted, committed, assigned, and unassigned.                              investments which is managed by the city treasurer. Investments in the pooled cash and
                                                                                                                investments account consist primarily of certificates of deposit with a maturity date
             Proprietary funds distinguish operating revenue and expenses from nonoperating items.
                                                                                                                greater than three months from the date acquired by the City, top grade commercial
             Operating revenue and expenses generally result from providing services in connection
                                                                                                                paper and government securities, and money market funds, and are carried at fair value.
             with a proprietary fund's principal ongoing operations. Operating expenses for
             proprietary funds include the cost of sales and services, administrative expenses, and
             depreciation on capital assets. All revenue and expenses not meeting this definition are
             reported as nonoperating revenue and expenses.

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       City of Flint, Michigan                                                                            City of Flint, Michigan
                                                           Notes to Financial Statements                                                                      Notes to Financial Statements
                                                                           June 30, 2013                                                                                      June 30, 2013

       Note 1 - Nature of Business and Significant Accounting Policies                                    Note 1 - Nature of Business and Significant Accounting Policies
                (Continued)                                                                                        (Continued)
             At June 30, 2013, some funds have overdrawn their share of the pooled cash and                     Inventories and Prepaid Items
             investments. Fund overdrafts of pooled cash and investments are reported as an
                                                                                                                Inventories in the enterprise and internal service funds consist of supplies held for use
             interfund liability of that fund. Management has selected the Water Supply Division,
                                                                                                                and are valued at the lower of cost or market using the first-in/first-out (FIFO) method.
             Sewage Disposal Division, Major Streets Fund, Local Streets Fund, Neighborhood
                                                                                                                Inventories of governmental funds are valued at cost and are recorded as expenditures
             Policing Fund, Building Department Fund, Data Processing Fund, Fringe Benefits Fund,
                                                                                                                when consumed rather than when purchased.
             Central Maintenance Garage Fund, and Self-insurance Fund to report the interfund
             receivable. Accordingly, the above-mentioned funds' pooled cash and investment                     Certain payments to vendors reflect costs applicable to future accounting periods and
             balance, as reported on the financial statement, have been decreased by the amounts                are recorded as prepaid items in both government-wide and fund financial statements.
             receivable from the other City funds with an overdraft.
                                                                                                                Deferred Revenue
             Interest income earned as a result of pooling cash and investments is distributed to the
                                                                                                                Deferred revenue represents monies that do not yet meet the criteria for revenue
             participating funds monthly utilizing a formula based on the average daily balance of each
                                                                                                                recognition. Unearned amounts are always reported as deferred revenue. In
             fund's share of the total pooled cash and investments. Funds that have overdrawn their
                                                                                                                governmental funds, earned amounts are also reported as deferred revenue until they
             share of pooled cash and investments are charged interest costs.
                                                                                                                are available to liquidate liabilities of the current period.
             For the purpose of the statement of cash flows, pooled cash and investments have been
                                                                                                                Restricted Assets
             considered as cash and cash equivalents.
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                                                                                                                These assets are restricted through bond or grant agreements or represent donated
             Investments
                                                                                                                assets whose disposition is specified by the donor. Restricted assets recorded in the
             Investments for the City, as well as for its component units, are stated at fair market            Federal Grants Fund are restricted through grant agreements.
             value (national or international exchange rates). Investments that do not have an
                                                                                                                Restricted assets recorded in the Hurley Medical Center discretely presented
             established market are reported at estimated fair market value. Gains or losses on
                                                                                                                component unit consist of:
             investments sold or exchanged are recognized when the transactions are completed
             (settlement date). Certificates of deposit with a maturity date of greater than three              ! Proceeds of debt issues and funds of HMC deposited with a trustee and limited to
             months at time of purchase are recorded as investments on the financial statements.                  use in accordance with the requirements of an indenture
             Receivables and Payables                                                                           ! Assets restricted by outside donors
             In general, outstanding balances between funds are reported as “due to/from other                  Restricted assets recorded in the Water Supply Enterprise Fund consist of amounts set
             funds.” Activity between funds that are representative of lending/borrowing                        aside for equipment replacement and debt service as required by the Drinking Water
             arrangements outstanding at the end of the fiscal year is referred to as “advances                 Revolving Fund Revenue Bonds.
             to/from other funds.” Any residual balances outstanding between the governmental
             activities and business-type activities are reported in the government-wide financial              Capital Assets
             statements as “internal balances.”                                                                 Capital assets, which include property, plant, equipment, and infrastructure assets (e.g.,
             All trade, notes, contracts, and property tax receivables are shown net of an allowance            roads, bridges, sidewalks, and similar items), are reported in the applicable
             for uncollectibles.                                                                                governmental or business-type activities columns in the government-wide financial
                                                                                                                statements. Capital assets are defined by the government as assets with an initial,
                                                                                                                individual cost of more than $5,000 (amount not rounded) and an estimated useful life in
                                                                                                                excess of one year. Such assets are recorded at historical cost or estimated historical
                                                                                                                cost if purchased or constructed. Donated capital assets are recorded at estimated fair
                                                                                                                market value at the date of donation.


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       City of Flint, Michigan                                                                            City of Flint, Michigan
                                                           Notes to Financial Statements                                                                         Notes to Financial Statements
                                                                           June 30, 2013                                                                                         June 30, 2013

       Note 1 - Nature of Business and Significant Accounting Policies                                    Note 1 - Nature of Business and Significant Accounting Policies
                (Continued)                                                                                        (Continued)
             Interest incurred during the construction of capital assets of business-type activities is         Long-term Obligations and Interest Payments
             included as part of the capitalized value of the assets constructed. Hurley Medical
                                                                                                                In the government-wide financial statements and the proprietary fund types in the fund
             Center reported one construction project in progress during the current year, the
                                                                                                                financial statements, long-term debt and other long-term obligations are reported as
             installation of a new clinical information system.
                                                                                                                liabilities in the applicable governmental activities, business-type activities, or proprietary
             The costs of normal maintenance and repairs that do not add to the value of the asset or           fund-type statement of net position. Bond premiums and discounts, as well as issuance
             materially extend assets lives are not capitalized.                                                costs, are deferred and amortized over the life of the bonds using the effective interest
                                                                                                                method. Bonds payable are reported net of the applicable bond premium or discount.
             Buildings                                                                       50 years
                                                                                                                Bond issuance costs are reported as deferred charges and amortized over the term of
             Building improvements                                                     40 to 50 years
                                                                                                                the related debt.
             Improvements other than buildings                                          5 to 50 years
             Land improvements                                                          5 to 50 years           In the fund financial statements, governmental fund types recognize bond premiums and
             Public domain infrastructure                                              10 to 50 years           discounts, as well as bond issuance costs, during the current period. The face amount of
             Water and sewer infrastructure                                            10 to 75 years           debt issued is reported as other financing sources. Premiums received on debt issuances
             Machinery and equipment                                                    3 to 20 years           are reported as other financing sources. Issuance costs are reported as debt service
             Other furnishings                                                           5 to 7 years           expenditures.
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                                                                                                                Pension and Retiree Healthcare Benefits
             Compensated Absences
                                                                                                                The City offers both pension and retiree healthcare benefits to retirees. The City
             It is the government's policy to permit employees to accumulate earned but unused
                                                                                                                receives an actuarial valuation to compute the annual required contribution (ARC)
             vacation and sick pay benefits. Employees accumulate sick leave credit bi-weekly based
                                                                                                                necessary to fund the obligations over the remaining amortization period. In the
             on the various bargaining unit agreements. Sick leave may accumulate indefinitely. Upon
                                                                                                                governmental funds, pension and OPEB costs are recognized as contributions are made.
             retirement or death, the first 480 hours of accrued sick leave are paid in full at the
                                                                                                                For the government-wide statements and proprietary funds, the City reports the full
             employee's current pay rate. The next 480 hours are forfeited by the employee, except
                                                                                                                accrual cost equal to the current year required contribution, adjusted for interest and
             for certain police employees who are paid for these hours at half the employee's current
                                                                                                                “adjustment to the ARC” on the beginning of year underpaid amount, if any.
             rate. All accrued hours in excess of 960 are paid at half the employee's current rate.
             Employees earn annual vacation leave bi-weekly at various rates based on bargaining unit           Fund Equity
             and seniority. Each bargaining unit and seniority level determines the cap on the number
                                                                                                                In the fund financial statements, governmental funds report the following components of
             of hours that can be accrued for annual vacation leave. Vacation leave is paid at the
                                                                                                                fund balance:
             employee's current pay rate when used or upon retirement. All vacation pay is accrued
             when incurred in the government-wide, proprietary, and fiduciary fund financial                    ! Nonspendable: Amounts that are not in spendable form or are legally or contractually
             statements. A liability for these amounts is reported in governmental funds only if they             required to be maintained intact
             have matured, for example, as a result of employee resignations and retirements.
                                                                                                                ! Restricted: Amounts that are legally restricted by outside parties, constitutional
                                                                                                                  provisions, or enabling legislation for use for a specific purpose
                                                                                                                ! Committed: Amounts that have been formally set aside by the City for use for
                                                                                                                  specific purposes. Commitments are made and can be rescinded only by the
                                                                                                                  emergency manager.
                                                                                                                ! Assigned: Intent to spend resources on specific purposes expressed by the
                                                                                                                  emergency manager

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       City of Flint, Michigan                                                                             City of Flint, Michigan
                                                           Notes to Financial Statements                                                                       Notes to Financial Statements
                                                                           June 30, 2013                                                                                       June 30, 2013

       Note 1 - Nature of Business and Significant Accounting Policies                                     Note 1 - Nature of Business and Significant Accounting Policies
                (Continued)                                                                                         (Continued)
             ! Unassigned: Amounts that do not fall into any other category above. This is the                   Estimated self-insured malpractice costs:
               residual classification for amounts in the General Fund and represents fund balance               The provision for estimated self-insured medical malpractice claims includes estimates of
               that has not been assigned to other funds and has not been restricted, committed, or              the ultimate costs for both reported claims and claims incurred but not reported. The
               assigned to specific purposes in the General Fund. In other governmental funds, only              estimate for claims incurred but not reported is based on an actuarial determination.
               negative unassigned amounts are reported, if any, and represent expenditures
               incurred for specific purposes exceeding the amounts previously restricted,                 Note 2 - Stewardship, Compliance, and Accountability
               committed, or assigned to those purposes.                                                         Budgetary Information
             Use of Estimates                                                                                    The City followed these procedures in establishing the budgetary data reflected in the
             The preparation of financial statements in conformity with accounting principles                    financial statements:
             generally accepted in the United States of America requires management to make                      ! On April 24, 2012, the emergency manager signed Order No. 17, adopting the
             estimates and assumptions that affect the reported amounts of assets and liabilities and              operating budget for the fiscal year commencing the following July 1. The legally
             disclosure of contingent assets and liabilities at the date of the financial statements and           adopted operating budgets included expenditures and the means of financing them
             the reported amounts of revenue and expenses during the period. Actual results could                  for the General and Special Revenue Funds (these funds are required to have budgets
             differ from those estimates.
                                                                                                                   per Michigan law). Informational summaries of projected revenue and expenditures/
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             Hurley Medical Center - Cost-based Reimbursement                                                      expenses were provided for all City funds, as well as estimated total costs and
                                                                                                                   proposed methods of financing all capital construction projects.
             Patient accounts receivable at June 30, 2013 and revenues for the year then ended
             include estimated amounts due from various third-party payors which are computed in                    Department heads are authorized to transfer budgeted amounts with departmental
             accordance with their respective reimbursement formulas.                                               appropriation accounts, except those that affect salaries and wages accounts, and
                                                                                                                    revisions that alter the total expenditures of any budgetary level (as indicated above)
             In addition, the Medical Center has established an estimated allowance for uncollectible
                                                                                                                    were to be approved by the emergency manager and the State of Michigan
             accounts of approximately $41,300,000 for 2013.
                                                                                                                    Department of Treasury.
             Hurley Medical Center - Revenues and Expenses Accounting Policy
                                                                                                                    Formal budgetary integration was employed as a management control device during
             Net patient service revenue:                                                                           the year for all budgetary funds. Also, all budgets, except for the Federal Grants
                                                                                                                    Fund, were adopted on a basis consistent with generally accepted accounting
             Net patient service revenue is reported at the estimated net realized amounts from
                                                                                                                    principles. The budget for the Federal Grants Fund includes grant revenue and
             patients and third-party payors for services rendered, including estimated retroactive
                                                                                                                    expenditures which were passed through to other City funds and recorded as
             adjustments under reimbursement agreements with third-party payors. Retroactive
                                                                                                                    revenue and expenditures in the grant receiving fund. For the fund financial
             adjustments are accrued on an estimated basis in the period the related services are
                                                                                                                    statements, the Federal Grants Fund includes only those revenue and expenditures
             rendered and adjusted in future periods as final settlements are determined.
                                                                                                                    incurred directly by that fund.
             Approximately 79 percent of the Medical Center's revenues are based on participation
             in the Blue Cross/Blue Shield, Medicare, and Medicaid programs for the year ended                   ! Budget appropriations lapse at year end, except for certain projects which are
             June 30, 2013.                                                                                        appropriated on a project length basis.
             Charity care:                                                                                       Encumbrance accounting is employed in governmental funds. Encumbrances (e.g.,
             The Medical Center provides care without charge to patients who meet certain criteria               purchase orders, contracts) outstanding at year end do not constitute expenditures or
             under its charity care policy. Because the Medical Center does not pursue collection of             liabilities because the goods or services have not been received as of year end; the
             amounts determined to qualify as charity care, they are not reported as revenue. The                commitments will be reappropriated and honored during the subsequent year.
             eligibility criteria are based on levels of income.
                                                     47                                                                                                  48
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       City of Flint, Michigan                                                                           City of Flint, Michigan
                                                          Notes to Financial Statements                                                                            Notes to Financial Statements
                                                                          June 30, 2013                                                                                            June 30, 2013

       Note 2 - Stewardship, Compliance, and Accountability (Continued)                                  Note 3 - Pooled Cash and Investments (Continued)
            Noncompliance with Rules and Regulations                                                          The pooled cash and investments account at June 30, 2013 is comprised of the
                                                                                                              following:
            In order to maintain operations at the City, various funds have needed to borrow from
            funds that have restricted sources. Over time, these amounts have accumulated with no              Cash deposits and restricted cash                                   $       25,455,778
            plan for repayment.                                                                                Investments                                                                 18,182,519
            Excess of Expenditures Over Appropriations                                                              Total                                                          $       43,638,297
            The following funds incurred significant expenditures in excess of appropriations at the
                                                                                                              A summary of the amount of equity in the pooled cash and investments account or the
            department level during the year (defined as greater than 10 percent over budget):
                                                                                                              amount due to the other funds at June 30, 2013 is as follows:
                                                                                        Actual Over                                                                                    Pooled Cash and
                                                                                         Amended                                                                                         Investments
                                                      Final Budget       Actual           Budget
                                                                                                              General Fund                                                             $       642,400
             Public Improvement Fund - Parks and                                                              Special Revenue Funds:
               recreation                        $        230,000 $        481,121 $        251,121              Major Streets Fund                                                           1,553,341
                                                                                                                 Local Streets Fund                                                             175,753
            The variances over budget in these departments were caused by expenditures in excess                 Federal Grants Fund                                                                 -
            of budget in which the budget was not amended.                                                       Public Safety Fund                                                           5,314,276
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                                                                                                                 Neighborhood Policing Fund                                                     277,207
            Fund Deficits                                                                                        Street Light Fund                                                              674,949
                                                                                                                 EDA Revolving Loan Fund                                                            405
            The City has accumulated over several years an unassigned fund balance in the following              Atwood Stadium Fund                                                              6,788
            funds:                                                                                               Parks and Recreation                                                           178,910
                                                                                    Unassigned                   Senior Citizen Center                                                               -
                                                                                   Fund Balance                  City Park Fund                                                                   8,399
                                                                                                                 Longway Fund                                                                     9,371
                                                                                       Deficit                   Building Department Fund                                                       452,019
                                                                                                                 Garbage Fund                                                                 1,161,642
             Primary government - General Fund                                      $     12,895,642
                                                                                                                 Public Improvement                                                           2,767,994
             Component unit - Downtown Development Authority                                 361,674             State Act 251 Forfeitures                                                    1,508,591
                                                                                                              Debt Service Funds:
            The deficit in these funds was caused by expenditures in excess of revenue.                          Windmill Place Debt Service Fund                                                 6,520
                                                                                                                 Buick City Debt Service Fund                                                       643
            The following special revenue funds did not adopt a budget: Atwood Stadium Fund, City             Enterprise Funds:
            Park Fund, and Longway Park Fund.                                                                    Water Supply Division Fund                                                   7,837,696
                                                                                                                 Sewer Fund                                                                   6,956,143
       Note 3 - Pooled Cash and Investments                                                                   Internal Service Funds:
                                                                                                                 Fringe Benefit Fund                                                          5,931,959
            The City maintains a cash and investment pool that is available for use by all funds. Each
                                                                                                                 Central maintenance garage                                                   1,302,047
            fund types’ portion of this pool is displayed on the combined balance sheet as "pooled               Self-insurance                                                               1,835,382
            cash and investments."                                                                               Data processing                                                              1,802,311
                                                                                                              Pension Trust Fund - Retiree Health Care Fund                                   1,828,785
                                                                                                              Agency funds:
                                                                                                                 County EDA                                                                          -
                                                                                                                 Miscellaneous agency funds                                                   1,404,766

                                                                                                                   Total                                                               $     43,638,297


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       City of Flint, Michigan                                                                           City of Flint, Michigan
                                                          Notes to Financial Statements                                                                       Notes to Financial Statements
                                                                          June 30, 2013                                                                                       June 30, 2013

       Note 4 - Deposits and Investments                                                                 Note 4 - Deposits and Investments (Continued)
            Michigan Compiled Laws Section 129.91 (Public Act 20 of 1943, as amended) authorizes              ! Commercial paper holdings of any one corporation cannot exceed 10 percent of
            local governmental units to make deposits and invest in the accounts of federally insured           investment holdings.
            banks, credit unions, and savings and loan associations that have offices in Michigan. The
            law also allows investments outside the state of Michigan when fully insured. The local           The City was in compliance with all aspects of its investment policy at June 30, 2013.
            unit is allowed to invest in bonds, securities, and other direct obligations of the United        Hurley Medical Center’s chief financial officer controls the Medical Center Enterprise
            States or any agency or instrumentality of the United States; repurchase agreements;              Fund’s investing. HMC limits any single investment to 10 percent (except cash or U.S.
            bankers’ acceptances of United States banks; commercial paper rated within the two                treasuries) and combined mortgage-backed securities to less than 50 percent of
            highest classifications, which matures not more than 270 days after the date of purchase;         holdings. HMC also must adhere to donor restrictions on the investing of any restricted
            obligations of the State of Michigan or its political subdivisions, which are rated as            funds received.
            investment grade; and mutual funds composed of investment vehicles that are legal for
            direct investment by local units of government in Michigan.                                       The City deals only with qualified banks and primary investment firms that adhere to the
                                                                                                              specific guidelines established by industry practice for repurchase agreements. The
            The Pension Trust Fund, whose funds are now with MERS as of June 30, 2013, and the                City’s cash and investments are subject to several types of risk, which are examined in
            Retiree Health Care Fund are also authorized by Michigan Public Act 314 of 1965, as               more detail below.
            amended, to invest in certain reverse repurchase agreements, stocks, diversified
            investment companies, annuity investment contracts, real estate leased to public                  No single investment of the City exceeded 5 percent of the investment portfolio at
            entities, mortgages, real estate (if the trust fund's assets exceed $250 million), debt or        June 30, 2013.
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            equity of certain small businesses, certain state and local government obligations, and           Custodial Credit Risk of Bank Deposits
            certain other specified investment vehicles.
                                                                                                              Custodial credit risk is the risk that in the event of a bank failure, the government’s
            The investment policy adopted by the City Council, in accordance with Public Act 196              deposits may not be returned to it. The City does not have a deposit policy for
            of 1997, is in accordance with statutory authority.                                               custodial credit risk. At year end, the City’s bank deposits (certificates of deposit,
            The City’s investment policy authorizes the City and its component units to invest in             checking, and savings) in the name of the City totaling $34,584,584 were uninsured and
            obligations of the U.S. Treasury and obligations of U.S. agencies, whereby the principal          uncollateralized. The City believes that due to the dollar amounts of cash deposits and
            and interest are fully guaranteed by the United States, deposit agreements with federally         the limits of FDIC insurance, it is impractical to insure all deposits. As a result, the City
            insured financial institutions within the state of Michigan, high grade commercial paper,         evaluates each financial institution with which it deposits its funds and assesses the level
            repurchase agreements secured by obligations of the U.S. government and U.S.                      of risk of each institution; only those institutions with an acceptable estimated risk level
            agencies, bankers' acceptances of U.S. banks, and mutual funds comprised of the above             are used as depositories.
            authorized investments.
            The City’s investment policy further requires that investments held in the Pooled
            Investment Fund be limited by the investment type and financial institution. These
            investment limitations do not affect the investments of the Pension Benefit Trust of the
            City’s component units. The City’s pooled cash investments are limited as follows:
            !   Negotiable certificates of deposit cannot exceed 25 percent of investment holdings.
            !   Commercial paper cannot exceed 50 percent of investment holdings.
            !   Bankers' acceptances cannot exceed 10 percent of investment holdings.
            !   Mutual funds cannot exceed 15 percent of investment holdings.
            !   Bankers' acceptances cannot exceed a maturity of 270 days.
            !   Bankers' acceptances in one financial institution cannot exceed 10 percent of
                investment holdings.

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       City of Flint, Michigan                                                                             City of Flint, Michigan
                                                           Notes to Financial Statements                                                                      Notes to Financial Statements
                                                                           June 30, 2013                                                                                      June 30, 2013

       Note 4 - Deposits and Investments (Continued)                                                       Note 4 - Deposits and Investments (Continued)
            Custodial Credit Risk of Investments                                                                Interest Rate Risk
            Custodial credit risk is the risk that, in the event of the failure of the counterparty, the        Interest rate risk is the risk that the value of investments will decrease as a result of a
            City will not able to recover the value of its investments or collateral securities that are        rise in interest rates. The City’s investment policy for investment of general City monies
            in the possession of an outside party. The City does not have a policy for custodial                limits investments in securities with maturities greater than five years to 15 percent of
            credit risk. The City's investments are not subject or exposed to custodial credit risk.            the balance available to invest. Hurley Medical Center’s investment policy indicates that
            HMC does have a deposit policy for custodial credit risk that requires the investments              each investment account should approximate the duration of its specific benchmark
            be held by a nationally chartered custodian bank. The chief investment officer shall                within a range of 80 to 120 percent. As of June 30, 2013, the following securities were
            select the custodian bank based on various factors including bank stability. HMC's                  subject to interest rate risk:
            balance of investment securities that were uninsured and unregistered held by the                                                                                                 Weighted
            counterparty or by its trust department is as follows:                                                                                                                             Average
                          Investment Type                  Carrying Value            How Held                                                                                                  Maturity
                                                                                                                                         Investment                            Fair Value       (Years)
             Primary government:                                                                                 Primary Government
               U.S. government or agency bonds             $    3,753,392 Counterparty trust dept.
               Corporate bonds                                  6,190,632 Counterparty trust dept.               U.S. government or agency bonds                          $    3,753,392       2.24
               Mutual funds                                        13,512 Counterparty                           Corporate bonds                                               6,190,632       0.06
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                                                                                                                 Money market funds                                            4,025,594      < 1 year
             Fiduciary fund - Corporate stocks                   558,778 Counterparty trust dept.
                                                                                                                   Total                                                  $ 13,969,618
             Component unit:
              U.S. government or agency bonds                  55,025,765   Counterparty trust dept.             Component Units
              Corporate stocks                                 13,443,471   Counterparty trust dept.             U.S. government agency securities                        $ 55,025,765          3.72
              Corporate bonds                                  11,783,330   Counterparty trust dept.             GNMA pool                                                      34,796         7.90
              Repurchase agreements                                14,135   Counterparty                         U.S. government CMOs                                       21,664,881         23.18
              Mutual funds                                        342,349   Counterparty                         Corporate bonds                                            11,783,330          3.84
                                                                                                                 Money market funds                                         30,146,068        < 1 year
                                                                                                                 Repurchase agreement                                           14,135        < 1 year
                                                                                                                   Total                                                  $ 118,668,975

                                                                                                                Credit Risk
                                                                                                                Credit risk is the risk that the government will not be able to recover the value of its
                                                                                                                securities. The City follows State law, which limits investments in commercial paper to
                                                                                                                the top two ratings issued by nationally recognized statistical rating organizations. The
                                                                                                                City has no investment policy that would further limit its investment choices for general
                                                                                                                City funds. The Pension Fund is allowed to invest in longer maturity corporate bonds in
                                                                                                                accordance with State law.




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       City of Flint, Michigan                                                                            City of Flint, Michigan
                                                             Notes to Financial Statements                                                                     Notes to Financial Statements
                                                                             June 30, 2013                                                                                     June 30, 2013

       Note 4 - Deposits and Investments (Continued)                                                      Note 4 - Deposits and Investments (Continued)
            As of June 30, 2013, the following are credit quality ratings of the City’s debt securities         The City of Flint Economic Development Corporation’s cash is subject to one type of
            obtained from the Standard & Poor's rating system:                                                  risk, which is examined in more detail below:
                                                                                            Rating              Custodial credit risk is the risk that in the event of a bank failure, EDC’s deposits may
                            Investment                       Fair Value      Rating       Organization          not be returned to it. The government does not have a deposit policy for custodial
                                                                                                                credit risk. At year end, EDC had no bank deposits (certificates of deposit, checking,
             Primary Government
                                                                                                                and savings accounts) that were uninsured and uncollateralized. As a result, the City
             U.S. government bonds                       $       883,623      AAA             S&P               evaluates each financial institution with which it deposits funds and assesses the level of
             U.S. government bonds                             2,869,769     AA+              S&P               risk of each institution; only those institutions with an acceptable estimated risk level
             Corporate bonds                                   6,190,632       A1             S&P               are used as depositories.
             Mutual funds                                         13,512    AAA/AA            S&P
             Fixed income                                         73,947    AAA/AA            S&P               The Flint Area Enterprise Community’s cash is subject to one type of risk, which is
             Money market                                        524,359     A1/A2            S&P               examined in more detail below:
             Money market                                         60,396      AAA             S&P
             Money market                                      3,366,893    AAA/AA            S&P
                                                                                                                Custodial credit risk of bank deposits:

               Total                                     $    13,983,131                                        Custodial credit risk is the risk that in the event of a bank failure, FAEC’s deposits may
                                                                                                                not be returned to it. FAEC has a deposit policy for custodial credit risk. At year end,
             Component Units                                                                                    FAEC had $493,243 of bank deposits (checking and savings accounts) that were
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             U.S. agency bonds                           $     5,677,688      AAA            Fitch              uninsured and uncollateralized. FAEC believes that due to the dollar amounts of cash
             U.S. government CMOs                             21,664,881    Not Rated      Not Rated            deposits and the limits of FDIC insurance, it is impractical to insure all deposits. As a
             Corporate bonds                                     586,593      AAA            S&P                result, FAEC evaluates each financial institution with which it deposits funds and
             Corporate bonds                                   4,181,609     AA+/A-          S&P                assesses the level of risk of each institution; only those institutions with an acceptable
             Corporate bonds                                   5,473,295    BBB+/B-          S&P                estimated risk level are used as depositories.
             Corporate bonds                                     297,104   CCC+/CCC          S&P
             Corporate bonds                                   1,244,729    Not Rated      Not Rated            The Flint Downtown Development Authority’s cash and investments are subject to
             Money market funds                               30,146,068    Not Rated      Not Rated            various types of risk, which are examined in more detail below:
             Repurchase agreement                                 14,135    Not Rated      Not Rated
                                                                                                                Custodial credit risk of bank deposits:
               Total                                     $    69,286,102
                                                                                                                Custodial credit risk is the risk that in the event of a bank failure, DDA's deposits may
            Securities Lending Agreement                                                                        not be returned to it. DDA does not have a deposit policy for custodial credit risk. At
                                                                                                                year end, DDA had no bank deposits (certificates of deposit, checking, and savings
            As permitted by State statutes and under the provisions of a securities lending                     accounts) that were uninsured and uncollateralized.
            authorization agreement, the City’s Pension System (the "System”) lends securities to
            broker dealers and banks for collateral that will be returned for the same securities in            Credit risk:
            the future. The System’s custodial bank manages the securities lending program and                  State law limits investments in commercial paper to the top two ratings issued by
            receives cash as collateral. The custodial bank does not have the ability to pledge or sell         nationally recognized statistical rating organizations. DDA has no investment policy that
            collateral securities unless the borrower defaults. Borrowers are required to deliver               would further limit its investment choices. As of year end, the credit quality ratings of
            collateral for each loan equal to not less than 102 percent of the market value of the              debt securities (other than the U.S. government) are as follows:
            loaned securities. During fiscal year 2013, prior to the System's assets being transferred
            to MERS, the System was participating in the securities lending program. As of June 30,                                                                      Fair Value           Rating
            2013, the System is using MERS as the custodian and therefore no longer participates in             Investment - Money market                            $       238,354      Not Available
            the securities lending program.


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       City of Flint, Michigan                                                                                                                                                                  City of Flint, Michigan
                                                                                                     Notes to Financial Statements                                                                                                                                          Notes to Financial Statements
                                                                                                                     June 30, 2013                                                                                                                                                          June 30, 2013

       Note 5 - Receivables and Deferred Revenue                                                                                                                                                Note 6 - Capital Assets
                   Receivables as of year end for the City’s individual major funds and nonmajor, internal                                                                                            Capital asset activity of the City's governmental and business-type activities for the year
                   service, and fiduciary funds in the aggregate, including the applicable allowances for                                                                                             was as follows:
                   uncollectible accounts, are as follows:                                                                                                                                                                                         Balance                                                       Balance
                                                                                                                                                                                                      Governmental Activities                    July 1, 2012        Additions            Disposals           June 30, 2013
                                                                                         Nonmajor,
                                                                                          Internal                                                                                                    Capital assets not being depreciated:
                                                                                          Service,                                                                             Component                  Land                              $      14,313,536 $                -  $                   -   $      14,313,536
                                                                           Public         Fiduciary                                                                            Unit - Hurley              Construction in progress                         -              132,616                     -             132,616
                                                          Federal     Improvement        Funds, and                                          Sewage                                Medical
                                     General Fund    Grants Fund           Fund         Agency Funds      Total        Water Supply          Disposal              Total           Center                          Subtotal                        14,313,536             132,616                     -          14,446,152
       Receivables:
         Property taxes receivable   $ 2,767,533     $          -     $     184,192     $ 3,527,203    $ 6,478,928     $          -      $            -      $             -   $         -            Capital assets being depreciated:
         Receivables from sales to                                                                                                                                                                        Roads and sidewalks                     369,668,151           3,900,775            (161,026)          373,407,900
            customers on account             -                  -                 -              -                -        14,054,422        10,597,528          24,651,950        70,201,583             Buildings and improvements               22,958,138              46,750                  -             23,004,888
         Accrued interest                                                                                                                                                                                 Machinery and equipment                  32,643,402             983,687          (3,330,492)           30,296,597
            receivable                       -                  -                 -          198,082       198,082                -                   -                    -         261,587                                                       14,605,010                  -                   -             14,605,010
                                                                                                                                                                                                          Land improvements
         Gross receivables -
            Other receivables          4,114,790              7,400               -          103,698      4,225,888              232                 155               387           704,500
                                                                                                                                                                                                                   Subtotal                       439,874,701           4,931,212          (3,491,518)          441,314,395
         Due from other
            governmental units         3,304,348          3,963,428       9,167,900       1,531,041     17,966,717                -              109,866           109,866               -
                                                                                                                                                                                                      Accumulated depreciation:
         Notes and leases                    -           10,074,000             -           486,338     10,560,338                -                  -                 -                 -
       Less allowance for                                                                                                                                                                                 Roads and sidewalks                     233,169,408          13,113,510            (161,025)          246,121,893
         uncollectibles                (2,428,785)              -         (4,266,449)            -       (6,695,234)         (936,000)           (775,000)       (1,711,000)             -                Buildings and improvements               17,146,379             446,904                  -             17,593,283
                                                                                                                                                                                                          Machinery and equipment                  26,817,971           1,558,925          (2,716,451)           25,660,445
                                                                                                                                                                                                                                                   10,400,669             459,712                  -             10,860,381
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       Net receivables               $ 7,757,886     $ 14,044,828     $ 5,085,643       $ 5,846,362    $ 32,734,719    $ 13,118,654      $ 9,932,549         $ 23,051,203      $ 71,167,670
                                                                                                                                                                                                          Land improvements

                                                                                                                                                                                                                   Subtotal                       287,534,427          15,579,051          (2,877,476)          300,236,002

                   Governmental funds report deferred revenue in connection with receivables for                                                                                                      Net capital assets being depreciated        152,340,274         (10,647,839)           (614,042)          141,078,393
                   revenues that are not considered to be available to liquidate liabilities of the current
                                                                                                                                                                                                      Net capital assets                     $    166,653,810 $       (10,515,223) $         (614,042) $        155,524,545
                   period. Governmental funds also defer revenue recognition in connection with
                   resources that have been received, but not yet earned. At the end of the current fiscal                                                                                                                                         Balance                                                                             Balance
                   year, the various components of deferred revenue and unearned revenue reported in                                                                                                  Business-type Activities                   July 1, 2012      Reclassification       Additions             Disposals           June 30, 2013

                   the governmental funds were as follows:                                                                                                                                            Capital assets not being depreciated:
                                                                                                                                                                                                          Land                              $          762,394 $                -   $                 -   $                 -   $         762,394
                                                                                                          Governmental Funds                                                                              Construction in progress                   1,336,668             (53,701)                   -                     -           1,282,967

                                                                                              Unavailable     Unearned                                           Total                                             Subtotal                          2,099,062             (53,701)                   -                     -           2,045,361

                     Delinquent property taxes receivable                                                                                                                                             Capital assets being depreciated:
                                                                                                                                                                                                          Buildings and improvements               58,270,369               53,701             22,061               (55,979)           58,290,152
                       (General Fund)                                                     $       870,717 $                                  -       $          870,717                                   Machinery and equipment                 236,967,195                   -           1,678,217           (10,129,805)          228,515,607
                     Delinquent property taxes receivable                                         592,721                                    -                  592,721                                   Land improvements                         5,406,197                   -                  -                     -              5,406,197
                     Long-term notes receivable                                                10,370,789                                    -               10,370,789                                            Subtotal                       300,643,761               53,701          1,700,278           (10,185,784)          292,211,956
                     Grant receivable                                                             948,117                                    -                  948,117
                                                                                                                                                                                                      Accumulated depreciation:
                     Grant receipts prior to meeting all                                                                                                                                                  Buildings and improvements               24,608,545                    -          2,284,687               (17,284)           26,875,948
                       eligibility requirements                                                              -                  920,414                           920,414                                 Machinery and equipment                 166,468,474                    -          5,052,420            (8,311,804)          163,209,090
                                                                                                                                                                                                          Land improvements                         1,528,505                    -            198,628                    -              1,727,133
                                     Total                                                $ 12,782,344 $                        920,414 $ 13,702,758
                                                                                                                                                                                                                   Subtotal                       192,605,524                    -          7,535,735            (8,329,088)          191,812,171

                                                                                                                                                                                                      Net capital assets being depreciated        108,038,237               53,701         (5,835,457)           (1,856,696)          100,399,785

                                                                                                                                                                                                      Net capital assets                     $    110,137,299 $                  -    $    (5,835,457) $         (1,856,696) $        102,445,146




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       City of Flint, Michigan                                                                                                            City of Flint, Michigan
                                                                         Notes to Financial Statements                                                                                         Notes to Financial Statements
                                                                                         June 30, 2013                                                                                                         June 30, 2013

       Note 6 - Capital Assets (Continued)                                                                                                Note 6 - Capital Assets (Continued)
                                                                         Balance                       Disposals and         Balance            Business-type activities:
             Component Units                                           July 1, 2012     Additions        Transfers        June 30, 2013
                                                                                                                                                  Sewer                                                                      $     3,971,796
             Capital assets not being depreciated:                                                                                                Water                                                                            3,563,939
                 Land                                              $     10,423,314 $       20,000 $        (803,734) $      9,639,580
                 Construction in progress                                 7,614,005     16,885,070       (11,912,155)       12,586,920                                                                                       $     7,535,735
                                                                                                                                                                    Total business-type activities
                          Subtotal                                       18,037,319     16,905,070       (12,715,889)       22,226,500

             Capital assets being depreciated:                                                                                                  Component unit activities:
                 Buildings and improvements                            175,900,564        3,166,411       (5,182,663)      173,884,312            Downtown Development Authority                                             $       358,474
                 Machinery and equipment                               104,605,413        8,809,611       (7,103,721)      106,311,303
                 Vehicles                                                  354,355               -           (18,304)          336,051            Hurley Medical Center                                                           16,109,516
                 Office furnishings                                      1,085,861           42,108           (3,499)        1,124,470            Flint Area Enterprise Community                                                      3,954
                 Land improvements                                      13,153,256          206,602         (552,109)       12,807,749
                 Leasehold improvements                                  6,957,930           54,187         (219,992)        6,792,125            Economic Development Corporation                                                    39,253
                          Subtotal                                     302,057,379      12,278,919       (13,080,288)      301,256,010                              Total component unit activities                          $ 16,511,197
             Accumulated depreciation:
                 Buildings and improvements                            117,622,455       4,972,961        (5,049,963)      117,545,453    Note 7 - Interfund Receivables, Payables, and Transfers
                 Machinery and equipment                                61,459,816      10,995,528        (6,790,713)       65,664,631
                 Vehicles                                                  262,273          34,988           (18,304)          278,957          The composition of interfund balances as of June 30, 2013 is as follows:
                 Office furnishings                                        440,836          80,041            (3,441)          517,436
                 Land improvements                                       3,393,980         370,190          (552,109)        3,212,061
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                 Leasehold improvements                                  6,385,440          57,489          (228,761)        6,214,168                    Receivable Fund                       Payable Fund                     Amount
                          Subtotal                                     189,564,800      16,511,197       (12,643,291)      193,432,706
                                                                                                                                                Due to/from Other Funds
             Net capital assets being depreciated                      112,492,579       (4,232,278)        (436,997)      107,823,304
                                                                                                                                                Nonmajor governmental funds           General Fund                       $        1,812,097
             Net capital assets                                    $ 130,529,898 $      12,672,792 $     (13,152,886) $ 130,049,804
                                                                                                                                                Internal service funds                General Fund                                4,500,000
             Depreciation expense was charged to programs of the primary government as follows:                                                                                       Federal Grant Fund                          2,492,039
                                                                                                                                                                                      Nonmajor governmental funds                    26,556
             Governmental activities:                                                                                                                                                 Sewage Disposal Division Fund                 851,200
               General government                                                                              $          953,072
               Police                                                                                                     677,967                                                               Total internal service
               Judicial                                                                                                    35,763                                                                 funds                           7,869,795
               Fire                                                                                                        60,160                                                               Total                    $        9,681,892
               Transportation                                                                                          13,130,326
               Emergency dispatch                                                                                          77,289
               Parks and recreation                                                                                       572,517                         Receivable Fund                       Payable Fund                     Amount
               Public works                                                                                                 5,313
                                                                                                                                                Advances from/to Other Funds
               Community enrichment and development                                                                        66,644
                                                                                                                                                Sewage Disposal Division Fund         General Fund                       $        9,800,000
                                          Total governmental activities                                        $ 15,579,051
                                                                                                                                                Water Supply Division Fund            General Fund                                1,000,000
                                                                                                                                                                                                Total                    $       10,800,000




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       City of Flint, Michigan                                                                        City of Flint, Michigan
                                                         Notes to Financial Statements                                                                    Notes to Financial Statements
                                                                         June 30, 2013                                                                                    June 30, 2013

       Note 7 - Interfund Receivables, Payables, and Transfers (Continued)                            Note 7 - Interfund Receivables, Payables, and Transfers (Continued)

                      Receivable Fund                    Payable Entity               Amount                (2) The transfers from the Sewer and Water Funds to the General Fund represent
                                                                                                                return on equity.
             Due to/from Primary Government and Component Units                                             (3) Transfers between funds were primarily for operating purposes or to cover
             Public Improvement Fund             Component unit - DDA (1)       $      9,167,900                operating deficits.
                                                                                                            (4) The transfer from the Public Improvement Fund to the Central Garage Internal
             General Fund                        Component unit - EDC (1)                148,895                Service Fund was to provide funds for the payment of debt related to capital
                                                                                                                assets.
             Federal Grants Fund                 Component unit - EDC                    550,000
                                                                                                            (5) The transfer from the Central Maintenance Garage Fund to the Garbage Collection
                                                         Total                  $      9,866,795                Fund was to transfer the proceeds received to the Garbage Collection Fund, which
                                                                                                                was related to the sale of City garbage trucks.
             The interfund receivables were created through negative pooled cash in other funds and         (6) Transfers between funds were primarily for operating purposes. The transfer from
             monies loaned for operating purposes.                                                              the Major Streets Fund to the Local Streets Fund is allowable per Act 51.
             The advances were created through negative pooled cash in other funds.                   Note 8 - Leases
             (1) The borrowings between primary government and component units are due to
                                                                                                            The City has entered into agreements for the lease of automobiles, water treatment
             parking debt funding (DDA) and ineligible grant costs (EDC). At June 30, 2013, there
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                                                                                                            equipment, office equipment, construction equipment, fire equipment, computers, and
             was an allowance related to the due from DDA of $4,266,449, which reduces the total
                                                                                                            a fire station. The terms of each agreement provide options to purchase the fixed assets
             due from DDA to a net amount of $4,901,451.
                                                                                                            at any time during the lease terms, which range from three to five years. All of the leases
             Interfund transfers reported in the fund financial statements are comprised of the             meet the criteria of a capital lease as defined by Statement of Financial Accounting
             following:                                                                                     Standards No. 13, Accounting for Leases, which defines a capital lease generally as one
                                                                                                            which transfers the benefits and risks of ownership to the lessee. As such, $2,374,857
                   Fund Transferred to             Fund Transferred from              Amount                has been capitalized as equipment, and related accumulated depreciation was
                                                                                                            $1,108,489.
             General Fund                    Sewage Disposal Division Fund (2) $       1,860,000
                                             Water Supply Division Fund (2)            1,130,000            The following is a schedule of the future minimum lease payments under the capitalized
                                                                                                            leases together with the present value of the net minimum lease payments as of June 30,
                                                         Total General Fund            2,990,000            2013:

             Nonmajor governmental funds General Fund (3)                                  9,312                            Years Ending
                                         Public Improvement Fund (4)                     726,953                              June 30                                       Amount
                                         Internal Service Funds (5)                    1,500,000                                 2014                                   $     194,011
                                         Nonmajor governmental funds (6)                 292,192                                 2015                                         151,834
                                                         Total nonmajor                                                          2016                                          52,061
                                                           governmental                                                           Total future minimum lease
                                                           funds                       2,528,457
                                                                                                                                    payments                                  397,906
                                                         Total                  $      5,518,457                                  Less amount representing interest            (22,662)
                                                                                                                                  Long-term obligation under capital
                                                                                                                                    leases                              $     375,244

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       City of Flint, Michigan                                                                          City of Flint, Michigan
                                                         Notes to Financial Statements                                                                                        Notes to Financial Statements
                                                                         June 30, 2013                                                                                                        June 30, 2013

       Note 8 - Leases (Continued)                                                                      Note 9 - Long-term Debt (Continued)
             Also, Hurley Medical Center and HHS lease office space under various operating leases.          Long-term debt activity for the year ended June 30, 2013 can be summarized as follows:
             Certain operating leases contain rental escalation clauses that are based on the prime                                                   Beginning                                                               Due Within
             rate at a future date and purchase options at fair market value. The following is a                                                       Balance           Additions         Reductions    Ending Balance        One Year
                                                                                                              Governmental Activities
             schedule of future minimum lease payments under operating leases that have initial or
             remaining lease terms in excess of one year:                                                     Section 108 loan                    $       754,000   $            -     $       150,000   $      604,000   $       150,000
                                                                                                              Section 108 loan - 500 Block              3,840,000                -                  -         3,840,000           295,000
                                                                                                              Section 108 loan - Ok Industries            106,000                -              21,000           85,000            21,000
                              Years Ending                                                                    Section 108 loan - Guaranteed
                                June 30                          Amount                                         Funds                                   5,105,000                -              75,000        5,030,000            75,000
                                                                                                              Section 108 loan - W. Carpenter Rd.       1,681,000                -              97,000        1,584,000            98,000
                                 2014                        $     1,784,585                                  General Obligation Capital
                                                                                                                Improvement Bonds                       9,490,000                -             260,000        9,230,000           275,000
                                 2015                              1,714,104                                  Local Government Loan Program             8,000,000                -             185,000        7,815,000           195,000
                                 2016                              1,687,311                                  Total governmental activities
                                                                                                              SIB 3rd Avenue Reconstruction loan        1,928,642                -             108,977        1,819,665           109,523
                                 2017                              1,621,160
                                 2018                              1,200,735                                             Total bonds payable          30,904,642                 -             896,977       30,007,665         1,218,523

                               Thereafter                          2,205,193                                  Accumulated compensated
                                                                                                                absences                                5,343,961          2,241,542         3,150,247        4,435,256         3,100,000
                                     Total minimum                                                            Capital lease - Telephone
                                                                                                                equipment                                140,226                 -             104,131          36,095             36,092
                                       payments required $        10,213,088                                  Capital lease - Equipment                   27,212                 -              21,622           5,590              5,592
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                                                                                                              Capital lease - Dell equipment             475,601                 -             142,042         333,559            138,171

             Rental expense for all operating leases for the year ended June 30, 2013 was                                Total governmental
                                                                                                                           activities            $    36,891,642    $      2,241,542   $     4,315,019   $   34,818,165   $     4,498,378
             $2,086,648.
       Note 9 - Long-term Debt                                                                               Compensated absences attributable to the governmental activities will be liquidated
                                                                                                             primarily by the General and Neighborhood Policing Funds. The claims and judgments
            The City issues bonds to provide for the acquisition and construction of major capital
                                                                                                             liability will generally be liquidated through the City’s Self-Insurance Internal Service
            facilities. General obligation bonds are direct obligations and pledge the full faith and
                                                                                                             Fund. That fund will finance the payment of those claims by charging the other funds
            credit of the City. County contractual agreements and installment purchase agreements
                                                                                                             based on management’s assessment of the relative insurance risk that should be
            are also general obligations of the government. Special assessment bonds provide for
                                                                                                             assumed by individual funds. The net pension obligation and the net OPEB obligation will
            capital improvements that benefit specific properties, and will be repaid from amounts
                                                                                                             be liquidated from the funds that the individual employee’s salaries are paid from,
            levied against those properties benefited from the construction. In the event that a
                                                                                                             generally the General Fund and Neighborhood Policing Fund.
            deficiency exists because of unpaid or delinquent special assessments at the time a debt
            service payment is due, the City is obligated to provide resources to cover the
            deficiency until other resources (such as tax sale proceeds or a reassessment of the
            City) are received. All Michigan Municipal Bond Authority debt is secured by future State
            of Michigan revenue-sharing payments that the City is entitled to receive under State
            law. Revenue bonds involve a pledge of specific income derived from the acquired or
            constructed assets to pay debt service.




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       City of Flint, Michigan                                                                                                                                                                       City of Flint, Michigan
                                                                                                           Notes to Financial Statements                                                                                                               Notes to Financial Statements
                                                                                                                           June 30, 2013                                                                                                                               June 30, 2013

       Note 9 - Long-term Debt (Continued)                                                                                                                                                           Note 9 - Long-term Debt (Continued)
                                                                        Beginning                                                                                                  Due Within             Future Revenues Pledged for Debt Payments
                                                                         Balance                Additions                    Reductions             Ending Balance                  One Year
             Business-type Activities
                                                                                                                                                                                                          Revenue Bond - The City has pledged substantially all revenue of the Water and Sewer
             Enterprise funds:                                                                                                                                                                            Fund, net of operating expenses, to repay the Drinking Water Revolving Fund Revenue
               2001 MMBA Drinking Water
                 Revolving Fund Revenue Bonds                     $        3,303,994        $                  -         $          375,000        $       2,928,994           $       385,000            Bonds (DWRF). Financial recovery bonds issued by the State of Michigan and the DWRF
               2002 MMBA Drinking Water                                                                                                                                                                   Revenue Bonds have been secured with future State revenue-sharing payments to be
                 Revolving Fund Revenue Bonds                              4,110,000                           -                    410,000                3,700,000                   425,000
               2003 MMBA Drinking Water                                                                                                                                                                   received by the City's General Fund. The remaining principal and interest to be paid on
                 Revolving Fund Revenue Bonds                              5,196,408                           -                    465,000                4,731,408                   475,000            the bonds are $23,840,336 and $3,347,872, respectively. During the current year, net
               2004 MMBA Drinking Water
                 Revolving Fund Revenue Bonds                            13,344,934                            -                    865,000              12,479,934                    880,000            revenues of the system were $12,165,515 and State revenue-sharing revenues were
                            Total business-type
                                                                                                                                                                                                          $13,667,182, as compared to the annual debt requirements of $2,165,000 of principal
                              activities                                 25,955,336                            -                  2,115,000              23,840,336                  2,165,000            and $585,008 of interest.
             Accumulated compensated
               absences                                                      625,603                    602,670                     690,098                     538,175                538,175            Revenues Pledged in Connection with Component Unit Debt - The City has
                                                                                                                                                                                                          pledged, as security for bonds issued by the City on behalf of the Flint Downtown
                            Total business-type
                              activities                          $      26,580,939        $            602,670          $        2,805,098        $     24,378,511            $     2,703,175            Development Authority, a portion of the City’s state-shared revenues. The bonds issued
                                                                                                                                                                                                          during 2008 in the amount of $10,000,000 were used to provide funding for the James
                                                                        Beginning                                                                                                  Due Within             Rutherford Parking Deck capital project and upgrade of the Riverfront Parking Deck.
                                                                         Balance                Additions                    Reductions             Ending Balance                  One Year
                                                                                                                                                                                                          The bonds are payable through 2033. The Flint Downtown Development Authority has
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             Component Unit Activities
                                                                                                                                                                                                          pledged tax increment revenues and net operating revenues of the parking system to
             Bonds payable:
               Series 1998A                                       $       9,705,000        $                 -           $        7,825,000        $      1,880,000            $       915,000            repay the obligations. Based upon the amount drawn through June 30, 2013, principal
               Series 1998B                                              15,235,000                          -                   13,330,000               1,905,000                    600,000            and interest to be paid on the bonds total $14,513,756. During the current year, the net
               Series 2003                                               25,590,000                          -                   18,080,000               7,510,000                  2,360,000
               Series 2010                                               34,715,000                          -                      500,000              34,215,000                    500,000            loss from the parking operations was $16. Cash flow projections indicate that the DDA’s
               Series 2011                                                4,706,476                          -                      597,541               4,108,935                    678,530            annual debt service to the City for repayment of the bonds will not coincide with the
               Series 2013A                                                      -                   21,940,000                          -               21,940,000                         -
               Series 2013B                                                      -                   36,590,000                          -               36,590,000                    555,000            City’s annual debt service obligation. During the current year, the City has forgiven
                                                                                                                                                                                                          payment made by the City on behalf of the DDA.
                            Total                                        89,951,476                  58,530,000                  40,332,541            108,148,935                   5,608,530

             Unamortized bond discount                                    (1,852,720)                 1,642,640                            -                   (210,080)                       -          Section 108 Loans - The Section 108 loans were obtained through an economic
                                                                                                                                                                                                          development loan program administered by the U.S. Department of Housing and Urban
                            Total component unit
                              activities                          $      88,098,756        $         60,172,640          $       40,332,541        $ 107,938,855               $     5,608,530            Development (HUD). The proceeds of the loans were then loaned to private entities
                                                                                                                                                                                                          for economic development proposes. Loans under the programs are owed to HUD and
            Annual debt service requirements to maturity for the above bonds and note obligations                                                                                                         are secured by future federal grant allocations to the City through the Community
            are as follows:                                                                                                                                                                               Development Block Grant Program. During the current year, net revenues from the
                                              Governmental Activities                                 Business-type Activities                                 Component Unit Activities                  Community Development Block Grant Programs were $3,660,688 as compared to the
             Years Ending
               June 30            Principal           Interest           Total           Principal            Interest             Total           Principal            Interest           Total          annual debt requirements of $328,507.
                2014
                2015
                              $     1,398,378
                                    1,383,769
                                                  $   1,210,607
                                                      1,169,308
                                                                   $     2,608,985
                                                                         2,553,077
                                                                                     $    2,165,000
                                                                                          2,220,000
                                                                                                          $     585,008
                                                                                                                530,571
                                                                                                                             $    2,750,008
                                                                                                                                  2,750,571
                                                                                                                                               $    5,608,530
                                                                                                                                                    5,307,431
                                                                                                                                                                    $    5,684,695
                                                                                                                                                                         5,391,722
                                                                                                                                                                                     $ 11,293,225
                                                                                                                                                                                       10,699,153
                                                                                                                                                                                                          Hurley Medical Center Revenue Refunding Bonds - The net revenues of the
                2016
                2017
                                    1,332,096
                                    1,345,175
                                                      1,125,420
                                                      1,082,110
                                                                         2,457,516
                                                                         2,427,285
                                                                                          2,275,000
                                                                                          2,335,000
                                                                                                                474,821
                                                                                                                417,633
                                                                                                                                  2,749,821
                                                                                                                                  2,752,633
                                                                                                                                                    5,792,648
                                                                                                                                                    6,079,156
                                                                                                                                                                         5,075,542
                                                                                                                                                                         4,846,484
                                                                                                                                                                                       10,868,190
                                                                                                                                                                                       10,925,640
                                                                                                                                                                                                          Medical Center are pledged for payment of principal and interest on the variable rate
                2018
              2019-2023
                                    1,234,731
                                    6,658,093
                                                      1,041,391
                                                      4,572,001
                                                                         2,276,122
                                                                        11,230,094
                                                                                          2,395,000
                                                                                          9,825,402
                                                                                                                358,946
                                                                                                                910,457
                                                                                                                                  2,753,946
                                                                                                                                 10,735,859
                                                                                                                                                    6,282,010
                                                                                                                                                   24,519,160
                                                                                                                                                                         4,610,130
                                                                                                                                                                        19,158,696
                                                                                                                                                                                       10,892,140
                                                                                                                                                                                       43,677,856
                                                                                                                                                                                                          demand revenue rental and revenue refunding bonds. Accordingly, the financial
              2024-2028
              2029-2033
                                    9,774,412
                                    5,613,032
                                                      3,128,164
                                                      1,249,053
                                                                        12,902,576
                                                                         6,862,085
                                                                                          2,624,934
                                                                                                -
                                                                                                                 70,435
                                                                                                                    -
                                                                                                                                  2,695,369
                                                                                                                                        -
                                                                                                                                                   15,020,000
                                                                                                                                                   13,680,000
                                                                                                                                                                        15,017,750
                                                                                                                                                                        10,808,344
                                                                                                                                                                                       30,037,750
                                                                                                                                                                                       24,488,344
                                                                                                                                                                                                          statements of the Medical Center include the facilities as if owned by the Medical Center
              2034-2038
              2039-2041
                                    1,643,223
                                          -
                                                        152,850
                                                            -
                                                                         1,796,073
                                                                               -
                                                                                                -
                                                                                                -
                                                                                                                    -
                                                                                                                    -
                                                                                                                                        -
                                                                                                                                        -
                                                                                                                                                   17,185,000
                                                                                                                                                    8,675,000
                                                                                                                                                                         5,610,282
                                                                                                                                                                           315,450
                                                                                                                                                                                       22,795,282
                                                                                                                                                                                        8,990,450
                                                                                                                                                                                                          and the bonds as if issued by the Medical Center.
                Total         $ 30,382,909        $ 14,730,904     $ 45,113,813      $ 23,840,336         $   3,347,871      $ 27,188,207      $ 108,148,935        $ 76,519,095     $ 184,668,030




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       City of Flint, Michigan                                                                            City of Flint, Michigan
                                                           Notes to Financial Statements                                                                     Notes to Financial Statements
                                                                           June 30, 2013                                                                                     June 30, 2013

       Note 9 - Long-term Debt (Continued)                                                                Note 11 - Retirement Plans
             Section 7-302 of the City Charter, adopted November 4, 1975, limits "net" debt to                 Significant details regarding the City's various retirement plans and other post-
             7 percent of the assessed value of all real and personal property in the City, but does           employment benefits are presented below:
             not define "net" debt. The following computation is based on previous practice and is
                                                                                                               Flint Employees' Retirement System
             consistent with the requirements of the State of Michigan Public Act 279 of 1909.
                                                                                                               During the first three months of the fiscal year, the City of Flint Employees' Retirement
             Assessed valuation at November 16, 2012                                    $ 918,943,232
                                                                                                               System (FERS), a single-employer public employee retirement system, covers
             Legal debt limit (7 percent of assessed valuation)                            64,326,026
                                                                                                               substantially all employees of the City hired prior to October 1, 2003, including certain
             Total bonded debt at June 30, 2013                       $ 140,194,271
                                                                                                               employees of Hurley Medical Center. The plan does not cover certain firemen and
             Less debt not subject to limitation under City charter
                                                                                                               policemen covered by the Charter Retirement Plan, Hurley Medical Center employees
                and state statute:
                                                                                                               participating in MERS, and those employees that elect to participate in the Employees’
                   Revenue bonds and notes                                130,964,271
                                                                                                               Defined Contribution - 401A Plan. The retirement system is a blended component unit
                   Debt subject to limitation                                                 9,230,000
                                                                                                               of the City of Flint. The plan was established by City ordinance and applicable State law,
                       Unused debt limitation                         $           -     $ 55,096,026           and is administered by a board of trustees. A separate financial statement for the FERS
                                                                                                               is not available. The City Council has the authority to amend the benefits offered.
       Note 10 - Restricted Assets                                                                             Investments of the plan are made through Chase Trust Department and Northern
                                                                                                               Trust. Employees who retire at or after age 55 (age 60 for certain Hurley Medical
             The balances of the restricted assets accounts in the governmental, business-type                 Center employees) with 10 years of credited service (eight years for appointed officials),
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             activities, and component units are as follows:                                                   or those members with 25 years of credited service (23 years for police and fire),
                                                      Governmental Business-type            Component          regardless of their age, are entitled to a retirement benefit. Certain police members can
                                                        Activities   Activities               Units            voluntarily retire at age 50 with 25 years of service. The retirement benefit can range
                                                                                                               from 1.7 percent to 2.6 percent of the participant's final average compensation based on
             Section 108 business loan proceeds      $      380,675 $             -     $           -          the last three years (five years for certain Hurley Medical Center employees) of credited
             Equipment replacement and                                                                         service multiplied by the years of credit service depending on date of hire, and is payable
              improvement                                        -                -             875,092        monthly for life. Benefits fully vest on reaching 10 years of service with the benefit
             Self insurance                                      -                -          16,338,354        payable at age 55. The plan also provides death and disability benefits.
             Revenue bond indenture held by
                                                                                                               Beginning in October 2012, the City closed out the single-employer plan and transferred
              trustee                                            -                -          26,816,531
                                                                                                               approximately $270 million of assets to the Michigan Municipal Employees' Retirement
             Unspent bond proceeds                               -                -             692,866
                                                                                                               System (MERS or the "System"), an agent multiple-employer defined benefit pension
             Revenue bond equipment
                                                                                                               plan that covers substantially all employees of the City. The new System provides
              replacement account - Pooled cash                  -         2,001,500                -
                                                                                                               retirement, disability, and death benefits to plan members and their beneficiaries. The
             Debt service reserve - Pooled cash                  -         2,384,034                -
                                                                                                               Michigan Municipal Employees' Retirement System issues a publicly available financial
                Total restricted assets              $      380,675 $      4,385,534 $ 44,722,843              report that includes financial statements and required supplemental information for the
                                                                                                               System. That report may be obtained by writing to the System at 1134 Municipal Way,
                                                                                                               Lansing, Michigan 48917.
                                                                                                               Member contributions are recognized when due. Employer contributions to the plan
                                                                                                               are recognized when due and the employer has made a formal commitment to provide
                                                                                                               the contributions. Benefits and refunds are recognized when due and payable in
                                                                                                               accordance with the terms of the plan.



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       City of Flint, Michigan                                                                         City of Flint, Michigan
                                                         Notes to Financial Statements                                                                               Notes to Financial Statements
                                                                         June 30, 2013                                                                                               June 30, 2013

       Note 11 - Retirement Plans (Continued)                                                          Note 11 - Retirement Plans (Continued)
            The investments are recorded on the balance sheet at fair value as determined by the            Annual Pension Cost
            custodian. The custodian utilizes electronic feeds from external pricing vendors for the
                                                                                                            Six-year trend information regarding the annual pension cost (ARC), percentage of ARC
            majority of investments (95 percent). The remaining assets are valued through a variety
                                                                                                            contributed, and net pension obligation (NPO) are summarized as follows:
            of external sources. Gains and losses on the exchanges, or "swaps" of securities, are
            accounted for under the completed transactions method.                                                                                                    Annual
            During the current year, all assets from FERS were transferred to the Municipal                    Fiscal Year             Actuarial Valuation           Required     Percentage                Net Pension
            Employees' Retirement System (MERS), which at June 30, 2013 is the sole administrator                Ended                       Date                  Contribution * Contributed                Obligation
            of the plan. MERS is a multiple-employer retirement agent. MERS issues a publicly                    6/30/08                       6/30/06             $ 14,376,558             72.0            $10,805,978
            available financial report that includes financial statements and required supplemental              6/30/09                       6/30/07               14,497,568             175.0                    -
            information for the system. That report may be obtained by writing to MERS at 1134                   6/30/10                       6/30/08               13,394,739             100.0                    -
            Municipal Way, Lansing, Michigan 48917.                                                              6/30/11                       6/30/09               10,835,308             100.0                    -
            Membership in the plan at June 30, 2011, the latest date this data was tested in an                  6/30/12                       6/30/10               14,562,392             100.0                    -
            actuarial valuation, was comprised of 1,276 active plan members, 223 inactive vested                 6/30/13                       6/30/11               14,909,789             100.0                    -
            members, and 2,894 retirees and beneficiaries receiving payments.
                                                                                                            * The required contribution is expressed to the City as a percentage of payroll.
            The plan provides that the City and employees contribute amounts necessary to fund
                                                                                                            Funding status and funding progress:
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            the actuarially determined benefits. Employees become members of FERS and are
            required to deposit amounts into the system based on rates determined by bargaining                                                  Actuarial
            unit contracts of all compensation, including overtime. The employee contribution rates                                               Accrued
                                                                                                                                   Actuarial      Liability     Unfunded                                     UAAL as % of
            ranged from 0 percent to 9 percent. Deposits are accumulated in individual accounts
                                                                                                                 Actuarial         Value of      Individual   (Overfunded)                      Covered        Covered
            for each member remaining in service. Upon termination, a member may withdraw the                 Valuation Year        Assets       Entry Age     AAL (UAAL)    Funded Ratio        Payroll        Payroll
            accumulated employee contributions plus any interest credited to his or her account.                  Ended               (a)        (AAL) (b)        (b-a)         (a/b)              (c)         ((b-a)/c)

            Administrative costs of the plan are financed through investment earnings.                           6/30/06       $     782,098   $ 1,023,599    $    241,501          76.4    $     146,634           164.7
                                                                                                                 6/30/07             801,533     1,071,781         270,248          75.2          157,012           172.1
            The City forwarded $3,018,836 of pension contributions withheld from employees                       6/30/08             670,366       841,266         170,900          79.7           89,636           190.7
            during the year ended June 30, 2013. During 2013, employer contributions rates ranged                6/30/09             623,292       873,088         249,796          71.4           89,636           278.7
                                                                                                                 6/30/10             567,215       835,052         267,837          67.9           68,968           388.3
            from 12.23 percent to 59.98 percent of covered payroll. Employer contributions are                   6/30/11             506,504       829,380         322,876          61.1           63,063           512.0
            based on an actuarial valuation performed as of June 30, 2011. The employer
            contribution for the year was $14,909,789, which agreed to the annual required                  The schedule of funding progress, presented as required supplemental information
            contribution. The employer contributions funded retirement benefits, life insurance             following the notes to the financial statements, presents multiyear trend information
            benefits, and the administration of the retirement system.                                      about whether the actuarial value of plan assets is increasing or decreasing over time
                                                                                                            relative to the actuarial accrued liability for benefits.
                                                                                                            The actuarial methods used to determine the actuarial accrued liability was the individual
                                                                                                            entry age actuarial funding methods. Unfunded actuarial accrued liabilities are being
                                                                                                            amortized as a level percent of projected payroll over 30 years for general, police, and
                                                                                                            fire. Significant actuarial assumptions used in the computation of the accrued actuarial
                                                                                                            liability include: (1) a rate of return on the investment or present and future assets of 8.0
                                                                                                            percent per year compounded annually, (2) projected salary increases of 3.75 percent to
                                                                                                            7.55 percent per year compounded annually, and (3) 3.75 percent inflation.


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       City of Flint, Michigan                                                                        City of Flint, Michigan
                                                         Notes to Financial Statements                                                                   Notes to Financial Statements
                                                                         June 30, 2013                                                                                   June 30, 2013

       Note 11 - Retirement Plans (Continued)                                                         Note 11 - Retirement Plans (Continued)
            The actuarial value of assets was computed on fair values “smoothed” over a four-year          Annual Pension Cost
            period.
                                                                                                           Trend information regarding the annual pension cost (ARC), percentage of ARC
            Hurley Medical Center:                                                                         contributed, and net pension obligation (NPO) for the years for which HMC approved
                                                                                                           MERS are summarized as follows:
            During the fiscal year ended June 30, 2004, seven of nine employee unions plus the
            exempt employees of Hurley Medical Center voted to change participation from the                                                                     Fiscal Year Ended June 30
            City of Flint FERS to the Michigan Municipal Public Employees' Retirement System                                                              2013              2012           2011
            (MERS). Benefits under both plans are comparable and approximately half of the
            employees at the Medical Center are represented in each system. The annual                      Annual pension costs                     $ 12,682,496 $ 11,808,875 $           6,059,456
            contribution rate for MERS payroll used by the Medical Center in 2012 was 12.23                 Percentage of pension costs
            percent, which is based on the same rate it contributes to FERS.                                  contributed                                   82.1 %           91.5 %          156.0 %
            As of June 30, 2013, $3,268,705 of the net pension obligation represents pension cost           Net pension obligation                   $   3,268,705 $      6,503,942 $      5,505,003
            from the years 2011, 2012, and 2013 that has not yet been remitted to MERS.
                                                                                                           Charter Retirement Plan
            During the current year, all assets from FERS were transferred to MERS, which at
                                                                                                           The Charter Retirement Plan, a single employer defined benefit pension plan, covers
            June 30, 2013 is the sole administrator of the plan.
                                                                                                           firemen and policemen employed by the City prior to July 1, 1947. The plan was
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            The net pension obligation at June 30, 2013 consists solely of amounts owed by Hurley          adopted under City code. All employees covered by this plan have retired. Benefits are
            Medical Center.                                                                                provided under a special City ordinance with retirees receiving a monthly benefit. The
                                                                                                           current membership of the plan at June 30, 2013 is four members. The City intends to
            Annual pension cost and net pension obligation:
                                                                                                           pay retirement benefits as they become due from future years' General Fund revenue.
            Annual required contribution/annual pension cost                       $ 12,682,496            The City's contribution to the plan for the year ended June 30, 2013 was $64,149 and
            Contributions made                                                       (10,412,640)          was calculated based on the actual current pension benefits due to be paid. The present
            **Write-off of excess liability                                           (5,505,093)          value of vested benefits has not been determined. The City has not requested an
                                                                                                           actuarial valuation of the plan since 1985 because of the decreasing nature and the
            Decrease in net pension obligation                                         (3,235,237)         immateriality of the plan's potential unfunded pension benefit obligation and the fact that
            Net pension obligation - Beginning of year                                  6,503,942          the City is paying benefits as they become due. Net position available for pension
                                                                                                           benefits at June 30, 2013 was $0.
            Net pension obligation - End of year                                   $    3,268,705
                                                                                                           I.C.M.A. 401A Plan
            ** During the transition from FERS to MERS, the liability was determined by the actuary        The City made available to appointed and elected officials hired through December 31,
               not to be needed and written off.                                                           2001 an alternative retirement plan to the general retirement pension plan. The plan
                                                                                                           was a non-contributory defined contribution plan adopted under City ordinance. The
                                                                                                           City contributes an amount equal to the lesser of 25 percent of the employee's
                                                                                                           compensation, or $30,000. No employee contributions are required, and employees
                                                                                                           vest 100 percent immediately. Total contributions required and made by the City
                                                                                                           during the year ended June 30, 2013 were $63,429, which represented 25 percent of
                                                                                                           current year covered payroll. The plan trustee is the International City Management
                                                                                                           Association. Investments are stated at market, which approximates cost. Total payroll
                                                                                                           and covered payroll for the year ended June 30, 2013 were $33,473,833 and $253,714,
                                                                                                           respectively.


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       City of Flint, Michigan                                                                           City of Flint, Michigan
                                                          Notes to Financial Statements                                                                      Notes to Financial Statements
                                                                          June 30, 2013                                                                                      June 30, 2013

       Note 11 - Retirement Plans (Continued)                                                            Note 11 - Retirement Plans (Continued)
            On January 1, 2002, a new plan was adopted for appointed and elected officials. The               Profit Sharing and 403(b) Plan
            City contributes 11 percent of employees’ gross earnings and employees have a
                                                                                                              Hurley Health Services (HHS), a component unit of Hurley Medical Center, has a
            mandatory 4 percent contribution. Employee accounts are fully vested after five years
                                                                                                              qualified 401(k) profit-sharing plan for HPMS employees. Eligible employees, those that
            of service. The current year contribution was calculated based on covered payroll of
                                                                                                              have attained the age of 21 and completed 90 days of service, may defer up to 15
            $89, resulting in an employer contribution of $8 and employee contribution of $6.
                                                                                                              percent of their salary. HHS may make a discretionary contribution. HHS’ contribution
            Defined Contribution Retirement Plans                                                             to the 401(k) plan was $32,837. HHS also maintains two tax-deferred annuity plans
                                                                                                              under Section 403(b) of the Internal Revenue Code. Under the plans, HHS and THC
            On December 3, 2003, a resolution was passed by City Council to establish a defined
                                                                                                              employees may elect to defer up to a specified percentage of their salary, subject to the
            contribution 401 pension plan for members of AFSCME Local 1600 and Local 1799.
                                                                                                              Internal Revenue Service limits. HHS may make a discretionary contribution. HHS’
            Employees hired on or after October 1, 2003 are not eligible to participate in the Flint
                                                                                                              contribution to the 403(b) plan amounted to $273,651.
            Employees' Retirement System defined benefit pension plan. Employees hired prior to
            October 1, 2003 had the option of transferring assets from the defined benefit pension            Excess Benefits Pension Plan
            plan upon implementation of the defined contribution plan. The City contributes 10
                                                                                                              The City established the City of Flint Excess Benefits Plan and Trust (the "Plan") for the
            percent of employees’ gross earnings and employees have a mandatory 5 percent
                                                                                                              purpose of providing certain retiring employees with pension benefits in addition to
            contribution. Employee accounts are fully vested after five years of service. The City’s
                                                                                                              those provided by the Flint Employees' Retirement System (FERS). Certain FERS, now
            total payroll during the current year was $33,473,833. The current year contribution
                                                                                                              MERS, participants receive an annual pension benefit that exceeds limits included in
            was calculated based on covered payroll of $2,684,880, resulting in an employer
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                                                                                                              Section 415 of the Internal Revenue Code of 1986, as amended. Since the contractually
            contribution of $160,112 and employee contributions of $252,918.
                                                                                                              required annual benefit exceeds Section 415 limitations, the benefits cannot be funded
            The City provides pension benefits to full-time employees except those participating in           through the FERS plan. The Excess Benefits Plan and Trust was established as a
            the defined benefit plan, members of AFSCME Local 1600 and Local 1799, and                        separate pension trust to accumulate resources to pay these "excess" benefits on an
            individuals participating in the I.C.M.A. plan through a defined contribution plan. In a          annual basis.
            defined contribution plan, benefits depend solely on amounts contributed to the plan
                                                                                                              Participation in the Plan is limited to FERS retirees whose benefit under the FERS
            plus investment earnings. Employees are eligible to participate from the date of
                                                                                                              defined benefit plan is limited by Section 415 of the Code and who retire at any time
            employment (or other date). As established by City ordinance (authority under which
                                                                                                              based on employment as a member of a bargaining unit represented by Local 1600 or
            the pension obligation is established), the City contributes 11 percent to 14.5 percent of
                                                                                                              Local 1799 of American Federation of State, County, and Municipal Employees. All
            employees’ gross earnings and employee mandatory contributions of 4 percent to 5.5
                                                                                                              employees covered by this plan have retired.
            percent for each employee plus interest allocated to the employee’s account are fully
            vested after five years of service.                                                               The annual benefit provided under the Plan shall be the excess, if any, of each individual
                                                                                                              participant's benefit over the Section 415 limits in effect that calendar year. All benefits
            The City’s total payroll during the current year was $33,473,833. The current year
                                                                                                              payable under this Plan shall be paid in the same manner and form (using the same
            contribution was calculated based on covered payroll of $1,302,083, resulting in an
                                                                                                              actuarial assumptions) as pension benefits paid under the FERS. Benefits shall be paid
            employer contribution of $141,805 and employee contributions of $70,796.
                                                                                                              from the Plan once the member has received the maximum amount permitted within
            The Medical Center has a defined contribution plan for employees who meet certain                 the limits of Code Section 415 during a plan year.
            requirements as to date of hire. Contributions to the plan are 4.5 percent of the
                                                                                                              The Plan is intended to be funded on an annual basis via City contributions. There are
            employee’s annual compensation. Each employee’s interest is vested as specified in the
                                                                                                              no employee contributions to the Plan. The annual contribution will be determined by
            plan. Pension expense included in the statements was $1,179,735.
                                                                                                              estimating the amount of "excess" benefits that will be paid out that calendar year.
                                                                                                              During the year ended June 30, 2013, employer contributions of $0 were made to the
                                                                                                              Plan and benefits of $0 were paid out.



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       City of Flint, Michigan                                                                            City of Flint, Michigan
                                                          Notes to Financial Statements                                                                     Notes to Financial Statements
                                                                          June 30, 2013                                                                                     June 30, 2013

       Note 11 - Retirement Plans (Continued)                                                             Note 11 - Retirement Plans (Continued)
            The City has not requested an actuarial valuation of the Plan because of the                       The collective bargaining agreements require a contribution of 1.5 percent of pre-tax
            immateriality of the Plan's potential unfunded pension benefit obligation and the fact that        compensation from employees belonging to AFSCME Local 1600 and Local 1799. The
            the City is paying benefits as they become due. Net position available for pension                 Plan does not currently require an employer contribution. The employee contributions
            benefits at June 30, 2013 was $0.                                                                  and accumulated investment earnings are to be used to provide healthcare benefits
                                                                                                               above the capped level provided by the City’s defined benefit retiree healthcare benefit
            Retiree Death Benefits Plan
                                                                                                               plan.
            The City provides postretirement death benefits to certain retirees who retired after
                                                                                                               During the year ended June 30, 2013, plan members contributed $147,311. Net
            July 1, 1978, under the terms of collective bargaining agreements with two employee
                                                                                                               position available for benefits was $14,237 at June 30, 2013. A total of $300,000 benefit
            unions. If the retiree was a member of one of the bargaining units at the time of
                                                                                                               payments were made during 2013.
            retirement, his or her designated beneficiary will receive a death benefit at the time of
            the retiree's death. The death benefit ranges from $2,500 to $10,000 depending on the         Note 12 - Other Postemployment Benefits
            retirement date.
                                                                                                               Plan Description - The City provides retiree healthcare benefits to eligible employees
            As of February 9, 2011, the retiree death benefits were changed effective immediately              and their spouses through the Retiree Health Care Trust Fund. Benefits are provided to
            to all 1,600 union employees who were eligible under the previous agreement. The                   public safety and general employees. Currently, the plan has 2,339 members, including
            new agreement states that the designated beneficiary will receive $1,000 for everyone              506 employees in active service, 0 terminated employees not yet receiving benefits, and
            who retired since July 1, 1978 (the inception of the death benefit).                               1,833 retired employees and beneficiaries currently receiving benefits.
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            The benefits are funded in advance by employee withholdings and a matching employer                This is a single employer defined benefit plan administered by the City. The benefits are
            contribution. The employee contributions are calculated at a set amount for each hour              provided under collective bargaining agreements of Local 1799, Local 1600, and Fire
            worked by union members during the bi-weekly pay period. The employee                              Local 352. The plan does not issue a separate stand-alone financial statement.
            withholdings and matching employer contributions are deposited into a separate                     Administrative costs are paid by the plan through employer contributions. The plan does
            account for investment purposes. As of June 30, 2012, this benefit is no longer offered            not cover Hurley Medical Center employees.
            to active employees. The investments are administered by a seven-member board
                                                                                                               Funding Policy - The collective bargaining agreements require a contribution of $50,
            appointed by the two unions and the mayor.
                                                                                                               $75, or $100 monthly depending on their union contracts toward retiree health plan
            As of year end, there were 676 retirees who were eligible for this benefit. Employee               insurance. Contributions will stop once the retirees have 30 years of service or reach
            contributions for the year ended June 30, 2013 were $0. Net position available for                 the age of 65. The City has no obligation to make contributions in advance of when the
            benefits, reported at fair value, was $503,076 at year end. No actuarial valuation has             insurance premiums are due for payment. The City recognizes the expenses in the funds
            been performed to determine the present value of vested benefits. During 2013, death               on a “pay-as-you-go” basis. The costs of administering the plan are borne by the City’s
            benefits of $71,000 were paid.                                                                     General Fund.
            Health Benefits Plan and Trust
            The City established the City of Flint Retiree Health Care Plan and Trust (the "Trust")
            for the purpose of providing health insurance benefits adopted by the City or approved
            by collective bargaining agreements to eligible retirees and their spouses. This is a
            defined contribution plan administered by the Trust. The benefits are provided to Local
            1600 and Local 1799 retirees who retired on or after October 1, 2003 as provided for in
            collective bargaining agreements. The plan is constituted as a “voluntary employees
            beneficiary association” (VEBA) under Section 501(c)(9) of the Internal Revenue Code of
            1986.



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       City of Flint, Michigan                                                                                                 City of Flint, Michigan
                                                                         Notes to Financial Statements                                                                              Notes to Financial Statements
                                                                                         June 30, 2013                                                                                              June 30, 2013

       Note 12 - Other Postemployment Benefits (Continued)                                                                     Note 12 - Other Postemployment Benefits (Continued)
               Funding Progress - For the year ended June 30, 2013, the City has estimated the cost                                 Actuarial Methods and Assumptions - Actuarial valuations of an ongoing plan involve
               of providing retiree healthcare benefits through an actuarial valuation as of July 1, 2012.                          estimates of the value of reported amounts and assumptions about the probability of
               The valuation computes an annual required contribution, which represents a level of                                  occurrence of events far into the future. Examples include assumptions about future
               funding that, if paid on an ongoing basis, is projected to cover normal cost each year and                           employment, mortality, and the healthcare cost trend. Amounts determined regarding
               amortize any unfunded actuarial liabilities over a period not to exceed 29 years. This                               the funded status of the plan and the annual required contributions of the employer are
               valuation’s computed contribution and actual funding are summarized as follows:                                      subject to continual revision as actual results are compared with past expectations and
                                                                                                                                    new estimates are made about the future. The schedule of funding progress, presented
               Annual required contribution (recommended)                                                   $ 21,789,244
                                                                                                                                    as required supplemental information following the notes to the financial statements,
               Interest on the prior year's net OPEB obligation                                                6,671,460
                                                                                                                                    presents multiyear trend information about whether the actuarial value of plan assets is
               Less adjustment to the annual required contribution                                            (9,518,192)           increasing or decreasing over time relative to the actuarial accrued liabilities for benefits.
                          Annual OPEB cost                                                                     18,942,512
                                                                                                                                    Projections of benefits for financial reporting purposes are based on the substantive plan
               Amounts contributed - Payments of current premiums                                             (17,016,014)          (the plan as understood by the employer and the plan members) and include the types
                          Increase in net OPEB obligation                                                       1,926,498           of benefits provided at the time of each valuation and the historical pattern of sharing of
                                                                                                                                    benefit costs between the employer and plan members to that point. The actuarial
               OPEB obligation - Beginning of year                                                            156,975,216           methods and assumptions used include techniques that are designed to reduce the
               OPEB obligation - End of year                                                                $ 158,901,714           effects of short-term volatility in actuarial accrued liabilities and the actuarial value of
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                                                                                                                                    assets, consistent with the long-term perspective of the calculations.
               The annual OPEB costs, the percentage contributed to the plan, and the net OPEB                                      In the July 1, 2012 actuarial valuation, the entry age actuarial cost method was used. The
               obligation for the current year are as follows:                                                                      actuarial assumptions included a 4.25 percent investment rate of return (net of
                                                                                         Percentage                                 administrative expenses), which is a blended rate of the expected long-term investment
                                                                        Annual OPEB      OPEB Costs           Net OPEB              returns on plan assets and on the employer's own investments calculated based on the
                      Fiscal Year Ended                                    Costs         Contributed          Obligation            funded level of the plan at the valuation date, an annual healthcare cost trend rate of
                                                                                                                                    9 percent initially, reduced by decrements to an ultimate rate of 5 percent after nine
                            6/30/08                                 $     60,188,371             32.0       $ 40,925,931            years, and an inflation rate of 3 percent. The actuarial value of assets was determined
                            6/30/09                                       55,252,592             35.0         76,645,627
                                                                                                                                    using techniques that spread the effects of short-term volatility in the market value of
                            6/30/10                                       55,252,592             37.0        113,615,741
                                                                                                                                    investments over a five-year period. The UAAL is being amortized as a level percentage
                            6/30/11                                       61,351,938             32.1        155,284,670
                            6/30/12                                       22,105,830             92.4        156,975,216            dollar on a closed basis. The remaining amortization period at July 1, 2012 was 29 years.
                            6/30/13                                       18,942,499             89.8        158,901,714

               The funding progress of the plan as of the most recent valuation data is as follows:
                          Actuarial       Actuarial                                                             UAAL as a
         Actuarial        Value of        Accrued        Unfunded AAL       Funded Ratio         Covered       Percentage of
         Valuation         Assets      Liability (AAL)      (UAAL)            (Percent)           Payroll        Covered
           Date              (a)              (b)            (b-a)              (a/b)              (c)*           Payroll
          7/1/12      $     166,903    $ 320,180,757     $ 320,013,854                 0.1   $           -              -
          7/1/11                 -       366,832,597       366,832,597                 -         37,339,842           982.0
          7/1/10                 -       862,302,934       862,302,934                 -         36,252,274         2,379.0
          7/1/09                 -       774,606,738       774,606,738                 -         41,166,662         1,882.0

               * For actuarial valuation date 7/1/12, the annual required contribution calculation is based on a flat dollar
                 amount.

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       City of Flint, Michigan                                                                                                         City of Flint, Michigan
                                                                          Notes to Financial Statements                                                                                     Notes to Financial Statements
                                                                                          June 30, 2013                                                                                                     June 30, 2013

       Note 13 - Pension and Other Employee Benefit Trust Funds                                                                        Note 14 - Hurley Medical Center Other Postemployment Benefits
                                                                                                                                               (Continued)
            The following are condensed financial statements for the individual pension plans and
            postemployment healthcare plans:                                                                                                Funding Policy - The Medical Center expenses the cost of the Plan in its proprietary
                                                                                                                      Hurley Medical        fund. The cost of providing retiree healthcare benefits is estimated through an actuarial
                                                   Flint Employees'                                                   Center Retiree        valuation issued on April 8, 2013 based on participant data as of June 30, 2011. The
                                                      Retirement                      Retiree Health                   Benefit Trust        valuation computes the annual required contribution, which represents a level of funding
                                                        System        Death Benefit        Care            VEBA           Fund
                                                                                                                                            that, if paid on an ongoing basis, is projected to cover the normal cost each year and
            Statement of Net Position
            Investments                            $           -      $    558,778    $           -    $        -     $   37,342,561        amortize any unfunded actuarial liabilities over a period not to exceed 30 years. The
            Other assets                                       -            15,298         1,905,805       314,237           186,887        Medical Center has no obligation to make contributions in advance of when the
            Liabilities                                        -            71,000           390,813            -                 -
                                                                                                                                            insurance premiums are due for payment (in other words, this may be financed on a
                                                   $           -      $    503,076    $    1,514,992   $   314,237    $   37,529,448
               Net position                                                                                                                 pay-as-you-go basis). However, as shown below, the Medical Center has made
            Statement of Changes in Net Position                                                                                            contributions to advance fund certain of these benefits. This valuation's computed
            Investment income                      $    23,116,572    $     80,273    $           -    $         23   $    2,810,457
            Contributions                                6,028,559              -         18,356,884       147,311         5,898,301
                                                                                                                                            contribution and actual funding are summarized as follows for the year ended June 30,
            Benefit payments                            16,695,639          71,000        17,016,014       300,000         5,898,301        2013:
            Other deductions                           477,123,368             108           810,011            -                 -
                                                   $ (464,673,876) $         9,615    $     530,859    $ (152,666) $       2,810,457
                                                                                                                                            Annual Pension Cost and Net Pension Obligation
               Net change in net position
                                                                                                                                                                                                     Percentage
       Note 14 - Hurley Medical Center Other Postemployment Benefits                                                                           Fiscal Year                            Annual OPEB    OPEB Costs          Net OPEB
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            Effective for retirements on or after July 1, 1983, Hurley Medical Center (the "Medical                                              Ended                                   Costs       Contributed         Obligation
            Center") provides a portion of health insurance premiums for retired employees. The                                                  6/30/09                          $      7,737,798          100      $              -
            Medical Center has set aside assets in an irrevocable trust account to be used for                                                   6/30/10                                 7,417,585          100                     -
            payment of its portion of health insurance premiums for retired employees. The activity                                              6/30/11                                 7,417,585          100                     -
            is reported in the fiduciary fund statements.                                                                                        6/30/12                                 7,071,235          100                     -
            Plan Description - The Medical Center provides retiree health insurance premiums to                                                  6/30/13                                 7,011,793           51              3,432,051
            eligible retirees and their spouses through the Retiree Health Benefit Plan (the "Plan").
                                                                                                                                            The funding progress of the plan as of the most recent valuation dates is as follows:
            Retirees receive full or partial health insurance coverage depending on the employee’s
            date of employment and union affiliation. During 2007, the Plan was frozen to new                                                                                                                      June 30
            participants. During the year ended June 30, 2010, the Plan was amended to eliminate                                                                                                           2011               2009
            the full coverage benefits to those eligible employees. Eligible retirees prior to
            December 31, 2009 were grandfathered into the Plan with full health insurance benefits.                                         Actuarial value of assets                                $ 28,182,766 $ 17,143,602
            The number of participants was 508 and 514 in June 30, 2013 and 2012, respectively.                                             Actuarial accrued liability (AAL) (entry age)            $ 90,042,892 $ 88,341,116
                                                                                                                                            Unfunded AAL (UAAL)                                      $ 61,860,126 $ 71,197,514
            The Plan’s activity is accounted for in an irrevocable trust and the activity is reported in                                    Funded ratio                                                    31.3 %        19.4 %
            the fiduciary fund financial statements. The Plan is a single employer defined benefit plan                                     Covered payroll                                          $ 119,888,970 $ 119,888,970
            administered by the Medical Center. The Plan does not issue a separate stand-alone                                              UAAL as a percentage of covered payroll                         51.6 %        59.4 %
            financial statement.




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       City of Flint, Michigan                                                                              City of Flint, Michigan
                                                            Notes to Financial Statements                                                                      Notes to Financial Statements
                                                                            June 30, 2013                                                                                      June 30, 2013

       Note 14 - Hurley Medical Center Other Postemployment Benefits                                        Note 15 - Significant Contingent Liabilities (Continued)
               (Continued)
                                                                                                                  Laws and regulations governing the Medicare and Medicaid programs are complex and
             Actuarial Methods and Assumptions - Actuarial valuations of an ongoing plan involve                  subject to interpretation. Hurley Medical Center’s management believes that it is in
             estimates of the value of reported amounts and assumptions about the probability of                  compliance with all applicable laws and regulations. Compliance with such laws and
             occurrence of events far into the future. Examples include assumptions about future                  regulations can be subject to future government review and interpretation as well as
             employment, mortality, and the healthcare cost trend. Amounts determined regarding                   significant regulatory action including fines, penalties, and exclusion from the Medicare
             the funded status of the plan and the annual required contributions of the employer are              and Medicaid programs.
             subject to continual revision as actual results are compared with past expectations and
                                                                                                            Note 16 - Risk Management
             new estimates are made about the future.
                                                                                                                  Risk management - Primary government:
             Projections of benefits for financial reporting purposes are based on the substantive plan
             (the plan as understood by the employer and the plan members) and include the types                  The City is exposed to various risks of loss related to property loss, torts, errors and
             of benefits provided at the time of each valuation and the historical pattern of sharing of          omissions, employee injuries, unemployment benefits, as well as medical and workers'
             benefit costs between the employer and plan members to that point. The actuarial                     compensation benefits provided to employees. The City has purchased commercial
             methods and assumptions used include techniques that are designed to reduce the                      insurance for fleet equipment and tort claims, boiler and machinery, certain property
             effects of short-term volatility in actuarial accrued liabilities and the actuarial value of         and equipment damage and theft, employee theft, and limited tort claims for specific
             assets consistent with the long-term perspective of the calculations.                                City facilities or events. See separate disclosures below for Hurley Medical Center
                                                                                                                  Component Unit.
             In the June 30, 2011 actuarial valuation, the individual entry age actuarial cost method
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             was used. The actuarial assumptions included an 8 percent investment rate of return                  Settled claims for the commercial insurance have not exceeded the amount of coverage
             (net of administrative expenses), which is a blended rate of the expected long-term                  in any of the past three years. There was no reduction in coverages obtained through
             investment returns on plan assets and on the Medical Center's own investments                        commercial insurance during the past year.
             calculated based on the funded level of the plan at the valuation date, and an annual
                                                                                                                  The City is self-insured for workers' compensation on a pay-as-you-go basis for claims
             healthcare cost trend rate of 9 percent initially, reduced by decrements to an ultimate
                                                                                                                  up to $500,000, with reinsurance coverage provided once claims exceed $1,000,000 in
             rate of 3.75 percent after 10 years. Both rates included a 3.75 percent inflation
                                                                                                                  the aggregate. The self-insurance program is administered by a third-party
             assumption. The unfunded actuarial accrued liability (UAAL) is being amortized as a
                                                                                                                  administrator. All workers' compensation benefits are paid out of the Fringe Benefits
             level percentage of projected payroll on an open basis. The remaining amortization
                                                                                                                  Internal Service Fund. The amount of estimated claims payable at June 30, 2013 was not
             period at June 30, 2011 was 24 years.
                                                                                                                  material.
       Note 15 - Significant Contingent Liabilities
                                                                                                                  The City is self-insured for active employee dental and eye care benefits on a pay-as-
             Federal, state, and local grants:                                                                    you-go basis. The self-insurance program is administered by a third-party administrator.
                                                                                                                  All claims and benefits are paid out of the Fringe Benefits Internal Service Fund. The
             The City participates in a number of federal, state, and locally assisted grant programs,
                                                                                                                  amount of estimated claims payable at June 30, 2013 was not material.
             principally of which is the federally funded Community Development Block Grant. The
             programs are subject to compliance audits. In accordance with the Single Audit Act of                The City pays unemployment claims on a reimbursement basis. The amount of
             1984, compliance audits of federal grants were made during the current year and have                 estimated claims payable at June 30, 2013 was not material.
             been reported under a separate cover. However, specific grantors have yet to make
             final approval of the compliance audits. The amount of ineligible grant expenses
             refunded to the grantor by the City during the year ended June 30, 2013 was $91,246,
             which includes no amounts still owed.




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       City of Flint, Michigan                                                                             City of Flint, Michigan
                                                           Notes to Financial Statements                                                                        Notes to Financial Statements
                                                                           June 30, 2013                                                                                        June 30, 2013

       Note 16 - Risk Management (Continued)                                                               Note 16 - Risk Management (Continued)
            The City is self-insured for medical benefits provided to active employees and retirees.            Risk management - Component units:
            The benefits are funded on a pay-as-you-go basis. Claims are being paid out of the
                                                                                                                The Flint Economic Development Corporation (the "Corporation") is exposed to
            Fringe Benefits Internal Service Fund for active employee claims and out of the Retiree
                                                                                                                various risks of loss related to property loss, torts, and error and omissions. The
            Health Care Trust Fund for retirees. The plans are administered by Blue Cross/Blue
                                                                                                                Corporation has purchased commercial insurance for those risks associated with a small
            Shield and HealthPlus of Michigan. Once the individual contract or aggregate stop-loss
                                                                                                                business incubator facility which leases commercial and light industrial space to new
            amount is reached, reinsurance provides the remaining benefits. The City has two health
                                                                                                                businesses. Since the Corporation occupies premises located in the City of Flint
            insurance plans that are self-insured, Blue Cross/Blue Shield of Michigan (BCBSM) and
                                                                                                                Municipal Center and all Corporation personnel are employees of the City, any losses
            HealthPlus. For the year ended June 30, 2013, the City paid out $4,376,750 in claims
                                                                                                                related to general liability, employee injuries, workers' compensation, and employee
            and administration fees to HealthPlus. The City is protected from catastrophic claims by
                                                                                                                medical benefits are covered by City self-insurance risk management programs. No
            an excess insurance policy which provides $2,000,000 in coverage per specific contract
                                                                                                                claims related to Corporation activities have been presented to the City as of June 30,
            with a $150,000 self-insured retention (SIR). The City did not have any claims in excess
                                                                                                                2013.
            of the stop-loss deductible during the year. The City paid BCBSM $16,482,044 during
            the year for claims funding and administration. The self-insured coverages provided                 The Downtown Development Authority (DDA) is exposed to various risks of loss
            through BCBSM were protected by specific stop-loss coverage, which provided an                      related to property loss, torts, errors and omissions, and employee injuries (workers’
            unlimited excess with a $100,000 deductible. No claims payable exist at June 30, 2013               compensation) as well as medical benefits provided to employees. The DDA has
            due to escrowed reserves maintained by the third-party administrators. The City also                purchased insurance for these risks.
            provides fully insured HMO health insurance coverage to a limited number of
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                                                                                                                The Flint Area Enterprise Community (FAEC) is exposed to various risks of loss related
            employees. At June 30, 2013, there were 676 retirees that were receiving medical
                                                                                                                to property loss, torts, and errors and omissions. The FAEC has purchased commercial
            benefits.
                                                                                                                insurance coverage through various policies for general liability on all FAEC-owned
            The City has a commercial insurance policy that covers certain general tort liability. The          property and workers' compensation. Settled claims for the commercial insurance have
            per-claim limit is $1,000,000 with a $500,000 deductible per occurrence and a                       not exceeded the amount of coverage in any of the past three years. There were no
            $3,000,000 aggregate claim annually. The commercial policy covers public officials,                 reductions in coverage during the current year.
            employment practices, employee benefits, law enforcement, and commercial auto.
                                                                                                                Hurley Medical Center is exposed to various risks of loss, including hospital professional
            The City is self-insured for other potential claims not covered by the commercial                   and patient general liability claims. The Medical Center has established a trust to assist in
            policies. The Hurley Medical Center Component Unit is also self-insured for a number                accumulating resources to fund excess insurance premiums and to pay claims.
            of risks. The amounts below include all general liability claims against the City except for
                                                                                                                The Medical Center's self-insured retention is $6 million per occurrence annually with
            those related to Hurley Medical Center. Details regarding Hurley Medical Center's self-
                                                                                                                excess claims-made coverage up to $15 million annually. Claims in excess of $15 million
            insurance practices are presented separately. The City has estimated the claims that
                                                                                                                are to be covered by the Medical Center. The Medical Center employs the use of an
            have been incurred through the end of the year, including both those claims that have
                                                                                                                actuary to provide an analysis of the existing claims and to estimate the liability for
            been reported as well as those that have not yet been reported to the City. The
                                                                                                                incurred but not reported (IBNR) claims.
            estimate is based on legal counsel’s recommendation and past settlement history. The
            estimated liability does not include any incremental costs. The amounts below include               Professional liability for claims is reported in accrued expenses, both current and long
            all general liability claims against the City except for those related to Hurley Medical            term, on the statement of net position. The carrying amount of the insurance trust
            Center. Hurley Medical Center administers its own risk management program and                       assets (at market) amounted to $16,338,470 at June 30, 2013.
            details regarding Hurley Medical Center's self-insurance practices are presented
            separately.




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       City of Flint, Michigan                                                                               City of Flint, Michigan
                                                            Notes to Financial Statements                                                                        Notes to Financial Statements
                                                                            June 30, 2013                                                                                        June 30, 2013

       Note 16 - Risk Management (Continued)                                                                 Note 17 - Related Party Transactions
            Conditional Asset Retirement Obligation                                                               The Medical Center pays subsidies and management fees for services rendered by HHS
                                                                                                                  to the Medical Center. Management fees and contributions from the Medical Center to
            The Medical Center has an obligation related to the removal of asbestos within various
                                                                                                                  HHS for the year ended June 30, 2013 amounted to $17,539,750, all of which relates to
            buildings on campus upon reconstruction, demolition, or abandonment of the buildings.
                                                                                                                  staff and service contracts. Amounts paid by HHS to the Medical Center for rent and
            The Medical Center has not recorded a liability related to the potential costs associated
                                                                                                                  other miscellaneous expenses for the year ended June 30, 2013 totaled $445,644.
            with the asbestos abatement, as the amount of the liability cannot currently be
            reasonably estimated. In addition, the range of time over which the Medical Center may                As of June 30, 2013, the Medical Center had accounts receivable from HHS of
            settle the obligation is unknown and cannot be estimated. The Medical Center currently                $1,025,291 and accounts payable to HHS of $295,985.
            has no plans or expectation of plans to undertake a major renovation that would require
                                                                                                                  Included in other operating revenues of HHS are management fees and marketing fees
            the removal of the asbestos or demolition of the buildings. The Medical Center will
                                                                                                                  for services rendered paid by Hurley/Binson’s Medical Equipment, Inc., a related party
            recognize a liability in the period sufficient information is available to reasonably estimate
                                                                                                                  to HPMS. Management fee and marketing income from Hurley/Binson’s Medical
            the amount of the liability.
                                                                                                                  Equipment, Inc. for the year ended June 30, 2013 amounted to $0. There were no
            These claim estimates are recorded as accounts payable in the Self Insurance Internal                 accounts receivable from Hurley/Binson’s Medical Equipment at June 30, 2013. HPMS
            Service Fund. Changes in the estimated liability as well as the total estimated costs                 and HHS purchase courier services from Hurley/Binson’s Medical Equipment, Inc. in the
            (based on prior history and claims presented) of claims for the past fiscal year for the              amount of $300,000 annually.
            City and Hurley Medical Center Component Unit were as follows:
                                                                                                             Note 18 - Upcoming Accounting Pronouncements
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                                              General Liability              Hurley Medical Center
                                                                                                                  In March 2012, the GASB issued Statement No. 65, Items Previously Reported as Assets
                                            2013            2012             2013            2012
                                                                                                                  and Liabilities, which is required to be implemented for financial statements for periods
            Unpaid claims -                                                                                       beginning after December 15, 2012. Statement No. 65 establishes accounting and
              Beginning of year       $    3,968,000 $      5,768,000 $ 36,699,882 $ 34,883,169                   financial reporting standards that reclassify, as deferred outflows and inflows of
            Estimated claims                                                                                      resources, certain items that were previously reported as assets and liabilities. This
               incurred, including                                                                                statement also provides other financial reporting guidance related to the impact of the
               changes in estimates       (1,493,470)         (738,075)              -                 -          financial statement elements deferred outflows of resources and deferred inflows of
            Increase in claims                                                                                    resources. Statement No. 65 will be implemented for the City as of June 30, 2014.
               liability                           -                 -      11,204,087         6,949,535          In June 2012, the GASB issued Statement No. 68, Accounting and Financial Reporting for
            Defense costs and other                                                                               Pensions. Statement No. 68 requires governments providing defined benefit pensions to
               fund expenses                       -                -        (2,070,833)      (1,884,655)         recognize their unfunded pension benefit obligation as a liability for the first time and to
            Excess insurance                                                                                      more comprehensively and comparably measure the annual costs of pension benefits.
               premium payments                   -                 -       (1,088,550)       (1,205,667)         This net pension liability that will be recorded on the government-wide, proprietary,
            Claim payments                  (978,754)       (1,061,925)     (2,697,000)       (2,042,500)         and discretely presented component units statements will be computed differently than
            Estimated liability -                                                                                 the current unfunded actuarial accrued liability, using specific parameters set forth by
               End of year            $    1,495,776 $      3,968,000 $ 42,047,586 $ 36,699,882                   the GASB. The statement also enhances accountability and transparency through revised
                                                                                                                  note disclosures and required supplemental information (RSI). The City is currently
                                                                                                                  evaluating the impact this standard will have on the financial statements when adopted.
                                                                                                                  The provisions of this statement are effective for financial statements for the year ending
                                                                                                                  June 30, 2015.




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       City of Flint, Michigan                                                                           City of Flint, Michigan
                                                          Notes to Financial Statements                                                                      Notes to Financial Statements
                                                                          June 30, 2013                                                                                      June 30, 2013

       Note 19 - Subsequent Events                                                                       Note 20 - Prior Period Adjustment (Continued)
            Effective October 1, 2013, the City entered into a contract with the Karegnondi Water              The effect on the change in net position/fund balance of the prior year is as follows:
            Authority (KWA) to provide water treatment services to the authority. As part of this
                                                                                                                                                                                              Public
            agreement and in order to handle the capacity that this new system will bring, the City
                                                                                                                                                                        Governmental       Improvement
            will need to make approximately $7 million worth of upgrades to their current water
                                                                                                                                                                          Activities          Fund
            plant and treatment facility.
                                                                                                               Change in net position/fund balance - June 30,
            Effective August 1, 2013, the City entered into an agreement with the KWA and                        2012 - As previously reported                  $         (13,607,341) $      (1,198,804)
            Genesee County to issue debt to acquire, construct, and operate a water supply system.             Adjustment to record receivable net of allowance
            The debt will not exceed $300,000,000. The City's share of the debt is 34.2 percent or               for the due from component unit (DDA)                            -           4,901,451
            an amount not to exceed $102,600,000. As of the date of the audit report, the debt has             Adjustment to record allowance for the due from
            not been issued.                                                                                     component unit (DDA)                                      (4,266,449)                  -
            The City is also a voting member of the KWA. The City joined the KWA in 2013 based                 Change in net position/fund balance - June 30,
            on the expectation that the purchase of water for the City will be more economical in                2012 - As restated                                 $     (17,873,790) $      3,702,647
            the future than continuing to purchase water from its current supplier, the Detroit
            Water and Sewer Department.
       Note 20 - Prior Period Adjustment
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            The governmental activities net position and public improvement fund fund balance at
            June 30, 2012 have been restated in order to record a receivable and corresponding
            allowance for the due from component unit from the DDA and reverse the previously
            reported expense related to the payment of related proceeds to the DDA, which
            decreased the expense recognized in the Public Improvement Fund, and had a net
            decrease on the net position for governmental activities. The effect of this correction is
            noted below as follows:
                                                                                      Public
                                                                      Governmental Improvement
                                                                        Activities    Fund
            Net position/fund balance - June 30, 2012 - As
              previously reported                                    $ 23,028,879 $        1,630,490
            Adjustment to record receivable net of allowance for
              the due from component unit (DDA)                                   -        4,901,451
            Adjustment to record allowance for the due from
              component unit (DDA)                                       (4,266,449)              -

            Net position/fund balance - June 30, 2012 - As restated $ 18,762,430 $         6,531,941




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                                                              City of Flint, Michigan
                                                                                                              Required Supplemental Information
                                                                                                    Budgetary Comparison Schedule - General Fund
                                                                                                                       Year Ended June 30, 2013
                                                                                                                                                                         Variance with
                                                                                                              Original Budget     Amended Budget          Actual        Amended Budget
                                                              Revenue
                                                                Property taxes                                $     5,725,000     $     5,725,000    $     6,011,342    $      286,342
                                                                Income taxes                                       14,950,000          15,300,000         14,674,274          (625,726)
                                                                Licenses and permits                                1,287,931           1,711,931          1,557,320          (154,611)
                                                                Federal grants                                        594,324           3,446,602          2,753,854          (692,748)
                                                                State revenue                                      13,497,585          15,125,175         16,003,433           878,258
                                                                Charges for services                               11,944,463          11,577,463         11,406,946          (170,517)
                                                                Fines and forfeitures                               1,394,611           1,537,814          2,291,325           753,511
                                                                Interest                                              133,400             133,400            261,004           127,604
                                                                Other revenue                                       3,512,942             622,396          2,770,960         2,148,564

                                                                              Total revenue                        53,040,256          55,179,781         57,730,458         2,550,677
                                                              Expenditures
                                                                Current:
       Required Supplemental Information                          General government:
                                                                     Mayor's office                                   185,579             206,579            212,219           (5,640)
                                                                     Finance                                        4,900,717           5,009,152          4,595,171          413,981
                                                                     Human relations                                   40,103              40,103             22,613           17,490
                                                                     City clerk                                       847,899             977,906            947,225           30,681
                                                                     Law office                                     1,053,359           1,053,359          1,061,401           (8,042)
                                                                     Human resources                                  736,929             770,463            687,863           82,600
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                                                                     Office of the ombudsman                               -               28,577             27,837              740
                                                                     City administrator                               711,982             614,482            445,472          169,010

                                                                              Total general government              8,476,568           8,700,621          7,999,801          700,820
                                                                   Judicial - 68th District Court                   5,358,477           5,358,479          4,955,003          403,476
                                                                   Public safety:
                                                                     Police department                             20,771,119          24,300,987         23,404,501           896,486
                                                                     Fire                                          11,913,248          11,962,638         10,682,234         1,280,404
                                                                     Building inspection                               99,120             100,120             94,170             5,950
                                                                     Emergency dispatch                             3,314,413           3,314,413          3,141,130           173,283

                                                                              Total public safety                  36,097,900          39,678,158         37,322,035         2,356,123
                                                                   Legislative - City council                         352,899             352,899            344,227            8,672
                                                                   Community development                            1,890,694           2,062,972          1,946,636          116,336
                                                                   Parks and recreation                             1,994,216           1,966,574          1,853,475          113,099
                                                                   Transportation                                   2,850,000               1,474                861              613

                                                                              Total expenditures                   57,020,754          58,121,177         54,422,038         3,699,139

                                                              Excess of Revenue (Under) Over
                                                                Expenditures                                        (3,980,498)        (2,941,396)         3,308,420         6,249,816
                                                              Other Financing Sources (Uses)
                                                                Proceeds from sale of capital assets                    2,500               2,500                100            (2,400)
                                                                Transfers in                                        4,077,998           4,077,998          2,990,000        (1,087,998)
                                                                Transfers out                                              -              (40,000)            (9,312)           30,688

                                                                              Total other financing sources         4,080,498           4,040,498          2,980,788        (1,059,710)

                                                              Net Change in Fund Balance                              100,000           1,099,102          6,289,208         5,190,106

                                                              Fund Balance (Deficit) - Beginning of year           (19,184,850)       (19,184,850)       (19,184,850)              -

                                                              Fund Balance (Deficit) - End of year            $   (19,084,850) $      (18,085,748) $     (12,895,642) $     5,190,106

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       City of Flint, Michigan                                                                                 City of Flint, Michigan
                                      Required Supplemental Information                                                                        Required Supplemental Information
              Budgetary Comparison Schedule - Major Special Revenue Fund                                                Budgetary Comparison Schedule - Major Capital Project Fund
                                                     Federal Grants Fund                                                                                      Public Improvement
                                               Year Ended June 30, 2013                                                                                  Year Ended June 30, 2013
                                                                                              Variance with
                                                                Amended                        Amended                                                                                                 Variance with
                                          Original Budget        Budget          Actual          Budget                                                                 Amended                         Amended
       Revenue                                                                                                                                    Original Budget        Budget           Actual          Budget
         Federal grants                   $   28,483,591    $   17,215,927   $   18,400,485   $   1,184,558    Revenue
         State revenue                           300,000           687,233           33,703        (653,530)     Property taxes                   $    1,930,400    $    1,930,400    $   2,055,994    $    125,594
         Charges for services                     14,625            14,625            1,209         (13,416)     Interest                                389,480           389,480          719,450         329,970
         Interest                                370,541           370,541          247,830        (122,711)
         Other revenue - Local revenue            22,463            64,096           58,028          (6,068)                 Total revenue             2,319,880         2,319,880        2,775,444         455,564

                     Total revenue            29,191,220        18,352,422       18,741,255        388,833     Expenditures
                                                                                                                 Current - Parks and recreation          230,000           230,000          481,121        (251,121)
       Expenditures                                                                                              Debt service                          1,147,953         1,147,953          600,141         547,812
         Current:
           Public safety                       4,455,926         5,387,004        5,321,857          65,147                  Total expenditures        1,377,953         1,377,953        1,081,262         296,691
           Community development              15,154,977         6,977,213        7,425,188        (447,975)
                                                                                                               Transfers Out                            (726,953)         (726,953)        (726,953)             -
           Parks and recreation                7,887,396         5,302,715        5,318,080         (15,365)
         Debt service                            494,957           494,957          489,639           5,318    Net Change in Fund Balance                214,974          214,974           967,229         752,255

                     Total expenditures       27,993,256        18,161,889       18,554,764        (392,875)   Fund Balance - Beginning of year
                                                                                                                 (as adjusted)                         6,531,941         6,531,941        6,531,941              -
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       Net Change in Fund Balance              1,197,964          190,533          186,491           (4,042)
                                                                                                               Fund Balance - End of year         $    6,746,915    $   6,746,915     $   7,499,170    $    752,255
       Fund Balance - Beginning of year         640,253           640,253          640,253              -

       Fund Balance - End of year         $   1,838,217     $     830,786    $     826,744    $     (4,042)




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       City of Flint, Michigan                                                                                               City of Flint, Michigan
                                                                 Required Supplemental Information                                                                Required Supplemental Information
                                                                        Analysis of Funding Progress                                                         Analysis of Funding Progress (Continued)
                                                                          Year Ended June 30, 2013                                                                          Year Ended June 30, 2013

                                                                                                                                                      MERS Pension Plan - Hurley
                                 General, Police, Fire, and Hurley Pension Plans
                                                                                                                                                   Schedule of Employer Contributions
                                         Schedule of Funding Progress
                                           ($ Amounts in Thousands)                                                                                                                                         Net Pension
                                                                                                                                                                               Annual                        Obligation
                              Actuarial       Actuarial                                                       UAAL as a                                                       Required        Percentage     (Asset) at
            Actuarial         Value of        Accrued         Unfunded       Funded Ratio       Covered      Percentage of      Fiscal Year End   Actuarial Valuation Date   Contribution     Contributed     June 30
         Valuation Year        Assets      Liability (AAL)   AAL (UAAL)        (Percent)         Payroll       Covered
                                                                                                                                   6/30/08                6/30/06            $    6,690,590      45.0       $   5,711,003
             Ended               (a)              (b)           (b-a)            (a/b)             (c)          Payroll
                                                                                                                                   6/30/09                6/30/07                 8,037,604      75.0           7,694,335
            6/30/06       $     782,098    $ 1,023,599       $     241,501       76.4       $     146,634        164.7             6/30/10                6/30/07                 9,160,796      87.0           8,896,382
            6/30/07             801,533      1,071,781             270,248       74.8             157,012        172.1             6/30/11                6/30/09                 9,173,538      75.8           5,505,003
            6/30/08             670,366        841,266             170,900       79.7              89,636        190.7             6/30/12                6/30/10                11,734,785      92.1           6,503,942
            6/30/09             623,292        873,088             249,796       71.4              89,636        278.7             6/30/13                6/30/10                12,682,496      82.1           3,268,705
            6/30/10             567,215        835,052             267,837       67.9              68,968        388.3
            6/30/11             506,504        829,380             322,876       61.1              63,063        512.0

       The actuarial methods used to determine the actuarial accrued liability were the individual entry
       age actuarial funding methods. Unfunded actuarial accrued liabilities are being amortized as a
       level percent of projected payroll over 30 years for general, police, fire, and Hurley. Significant
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       actuarial assumptions used in the computation of the accrued actuarial liability include: (1) a rate
       of return on the investment or present and future assets of 8.0 percent per year compounded
       annually, (2) projected salary increases of 3.75 percent to 7.55 percent per year compounded
       annually, and (3) 3.75 percent inflation.
       The actuarial value of assets was computed on fair values “smoothed” over a four-year period.
                                 General, Police, Fire, and Hurley Pension Plans
                                     Schedule of Employer Contributions
                                                                                                             Net Pension
                                                                          Annual                              Obligation
                                                                         Required        Percentage           (Asset) at
           Fiscal Year Ended         Actuarial Valuation Date          Contribution **   Contributed          June 30 *
                6/30/08                       6/30/06                  $   14,376,558        72.0           $ 10,805,978
                6/30/09                       6/30/07                      14,497,568       175.0                     -
                6/30/10                       6/30/08                      13,394,739       100.0                     -
                6/30/11                       6/30/09                      10,835,308       100.0                     -
                6/30/12                       6/30/10                      14,562,392       100.0                     -
                6/30/13                       6/30/11                      14,909,789       100.0                     -

       * All net pension obligation is owed by Hurley Medical Center.
       ** The required contribution is expressed to the City as a percentage of payroll.




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       City of Flint, Michigan
                                      Note to Required Supplemental Information
                                                       Year Ended June 30, 2013

       Budgetary Information - Annual budgets are adopted on a basis consistent with generally
       accepted accounting principles for the General Fund and special revenue funds. All annual
       appropriations lapse at fiscal year end.
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                                           APPENDIX E

                 FORM OF CONTINUING DISCLOSURE UNDERTAKINGS

                             KAREGNONDI WATER AUTHORITY

          This Continuing Disclosure Undertaking (the “Undertaking”) is executed and delivered
  by the Karegnondi Water Authority, Counties of Genesee, Lapeer and Sanilac, State of Michigan
  (the “Authority”), in connection with the issuance of the Authority’s Water Supply System
  Bonds (Karegnondi Water Pipeline), Series 2014A (the “Bonds”). The Authority covenants and
  agrees for the benefit of the Bondholders, as hereinafter defined, as follows:

         (a) Definitions. The following terms used herein shall have the following meanings:

                        “Audited Financial Statements” means the annual audited financial
                 statement pertaining to the Authority prepared by an individual or firm of
                 independent certified public accountants as required by Act 2, Public Acts of
                 Michigan, 1968, as amended, which presently requires preparation in accordance
                 with generally accepted accounting principles.

                         “Bondholders” shall mean the registered owner of any Bond or any person
                 (a) with the power, directly or indirectly, to vote or consent with respect to, or to
                 dispose of ownership of, any Bond (including any person holding a Bond through
                 a nominee, depository or other intermediary) or (b) treated as the owner of any
                 Bond for federal income tax purposes.

                        “EMMA” shall mean the MSRB’s Electronic Municipal Market Access
                 System or such other system, Internet Web Site, or repository hereafter prescribed
                 by the MSRB for the submission of electronic filings pursuant to the Rule.

                        “MSRB” means the Municipal Securities Rulemaking Board.

                         “Rule” means Rule 15c2-12 promulgated by the SEC pursuant to the
                 Securities Exchange Act of 1934, as amended.

                        “SEC” means the United States Securities and Exchange Commission.

          (b)    Continuing Disclosure. The Authority hereby agrees, in accordance with the
  provisions of the Rule, to provide or cause to be provided to the MSRB through EMMA, on or
  before the last day of the sixth month after the end of its fiscal year, the Audited Financial
  Statements, or in the event audited financial statements are not available, the Authority agrees to
  provide unaudited financial statements and to provide audited financial statements immediately
  after they become available.

         Such annual financial information described above is expected to be provided directly by
  the Authority by specific reference to documents available to the public through EMMA or filed
  with the SEC.


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          If the fiscal year of the Authority is changed, the Authority shall send a notice of such
  change to the MSRB through EMMA, prior to the earlier of the ending date of the fiscal year
  prior to such change or the ending date of the fiscal year as changed.

          (c)     Notice of Failure to Disclose. The Authority agrees to provide or cause to be
  provided, in a timely manner, to the MSRB through EMMA, in an electronic format as
  prescribed by the MSRB, notice of a failure by the Authority to provide the annual financial
  information with respect to the Authority described in subsection (b) above on or prior to the
  dates set forth in subsection (b) above.

         (d)    Occurrence of Events. The Authority agrees to provide or cause to be provided to
  the MSRB through EMMA, in an electronic format as prescribed by the MSRB, in a timely
  manner not in excess of ten business days after the occurrence of the event, notice of the
  occurrence of any of the following events listed in (b)(5)(i)(C) of the Rule with respect to the
  Bonds:

                        (1)    principal and interest payment delinquencies;
                        (2)    non-payment related defaults, if material;
                        (3)    unscheduled draws on debt service reserves reflecting financial
                               difficulties;
                        (4)    unscheduled draws on credit enhancements reflecting financial
                               difficulties;
                        (5)    substitution of credit or liquidity providers, or their failure to
                               perform;
                        (6)    adverse tax opinions, the issuance by the Internal Revenue Service
                               of proposed or final determinations of taxability, Notices of
                               Proposed Issue (IRS Form 5701-TEB) or other material notices or
                               determinations with respect to the tax status of the Bonds, or other
                               material events affecting the tax status of the Bonds;
                        (7)    modifications to rights of holders of the Bonds, if material;
                        (8)    bond calls, if material, and tender offers;
                        (9)    defeasances;
                        (10)   release, substitution, or sale of property securing repayment of the
                               Bonds, if material;
                        (11)   rating changes;
                        (12)   bankruptcy, insolvency, receivership or similar event of the
                               Authority, which is considered to occur when any of the following
                               occur: the appointment of a receiver, fiscal agent or similar officer
                               for the Authority in a proceeding under the U.S. Bankruptcy Code
                               or in any other proceeding under state or federal law in which a
                               court or governmental authority has assumed jurisdiction over
                               substantially all of the assets or business of the Authority, or if
                               such jurisdiction has been assumed by leaving the existing
                               governing body and officials or officers in possession but subject
                               to the supervision and orders of a court or governmental authority,
                               or the entry of an order confirming a plan of reorganization,
                               arrangement or liquidation by a court or governmental authority

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                                having supervision or jurisdiction over substantially all of the
                                assets or business of the Authority;
                        (13)    the consummation of a merger, consolidation, or acquisition
                                involving the Authority or the sale of all or substantially all of the
                                assets of the Authority, other than in the ordinary course of
                                business, the entry into a definitive agreement to undertake such an
                                action or the termination of a definitive agreement relating to any
                                such actions, other than pursuant to its terms, if material; or
                        (14)    appointment of a successor or additional trustee or the change of
                                name of a trustee, if material.

           (e)   Materiality Determined Under Federal Securities Laws. The Authority agrees
  that its determination of whether any event listed in subsection (c) is material shall be made in
  accordance with federal securities laws.

          (f)    Termination of Reporting Obligation. The Authority reserves the right to
  terminate its obligation to provide annual financial information and notices of material events, as
  set forth above, if and when the Authority is no longer an “obligated person” with respect to the
  Bonds within the meaning of the Rule, including upon legal defeasance of all Bonds.

          (g)   Identifying Information. All documents provided to the MSRB through EMMA
  shall be accompanied by the identifying information prescribed by the MSRB.

          (h)    Benefit of Bondholders. The Authority agrees that its undertaking pursuant to the
  Rule set forth in this Undertaking is intended to be for the benefit of the Bondholders and shall
  be enforceable by any Bondholder; provided that, the right to enforce the provisions of this
  Undertaking shall be limited to a right to obtain specific enforcement of the Authority’s
  obligations hereunder and any failure by the Authority to comply with the provisions of this
  Undertaking shall not constitute a default or an event of default with respect to the Bonds.

          (i)     Municipal Advisory Council of the State of Michigan. The Authority shall also
  file by electronic or other means any information or notice required to be filed with the MSRB
  through EMMA pursuant to this Undertaking in a timely manner with the Municipal Advisory
  Council of the State of Michigan.

          IN WITNESS WHEREOF, the Authority has caused this Undertaking to be executed by
  its authorized officer.

                                               KAREGNONDI WATER AUTHORITY
                                               Counties of Genesee, Lapeer and Sanilac
                                               State of Michigan


                                               By:
                                                        Its: _______________________________

  Dated: April 16, 2014

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                                    COUNTY OF GENESEE


          This Continuing Disclosure Undertaking (the “Undertaking”) is executed and delivered
  by the County of Genesee, State of Michigan (the “County”) in connection with the issuance by
  the Karegnondi Water Authority (the “Authority”) of its Water Supply System Bonds
  (Karegnondi Water Pipeline), Series 2014A (the “Bonds”) issued on behalf of the County and the
  City of Flint, County of Genesee, State of Michigan. The County covenants and agrees for the
  benefit of the Bondholders, as hereinafter defined, as follows:

         (a)    Definitions. The following terms used herein shall have the following meanings:

                       “Audited Financial Statements” means the annual audited financial
                statement pertaining to the County prepared by an individual or firm of
                independent certified public accountants as required by Act 2, Public Acts of
                Michigan, 1968, as amended, which presently requires preparation in accordance
                with generally accepted accounting principles.

                        “Bondholders” shall mean the registered owner of any Bond or any person
                (a) with the power, directly or indirectly, to vote or consent with respect to, or to
                dispose of ownership of, any Bond (including any person holding a Bond through
                a nominee, depository or other intermediary) or (b) treated as the owner of any
                Bond for federal income tax purposes.

                       “EMMA” shall mean the MSRB’s Electronic Municipal Market Access
                System or such other system, Internet Web Site, or repository hereafter prescribed
                by the MSRB for the submission of electronic filings pursuant to the Rule.

                       “MSRB” means the Municipal Securities Rulemaking Board.

                        “Rule” means Rule 15c2-12 promulgated by the SEC pursuant to the
                Securities Exchange Act of 1934, as amended.

                       “SEC” means the United States Securities and Exchange Commission.

          (b)    Continuing Disclosure. The County hereby agrees, in accordance with the
  provisions of the Rule, to provide or cause to be provided to the MSRB through EMMA on or
  before the last day of the sixth month after the end of its fiscal year the following annual
  financial information and operating data, commencing with the fiscal year ended September 30,
  2014 in an electronic format as prescribed by the MSRB:

                       (1)     Updates of the numerical financial information and operating data
                included in the official statement of the County relating to the Bonds (the
                “Official Statement”) appearing in the Tables or under the headings in the Official
                Statement as described below:

                       a.      Property Valuations;
                       b.      Major Taxpayers;

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                        c.     Tax Rates;
                        d.     Tax Rate Limitation;
                        e.     Tax Levies and Collections;
                        f.     Revenues from the State of Michigan;
                        g.     Labor Force;
                        h.     Retirement Plans;
                        i.     Debt Statement – Direct Debt; and
                        j.     Legal Debt Margin.

                       (2)    Audited Financial Statements, or in the event audited financial
                statements are not available, the County agrees to provide unaudited financial
                statements and to provide audited financial statements immediately after they
                become available.

                       (3)     Such additional financial information or operating data as may be
                determined by the County and its advisors as desirable or necessary to comply
                with the Rule.

         Such annual financial information and operating data described above are expected to be
  provided directly by the County by specific reference to documents available to the public
  through EMMA or filed with the SEC.

         If the fiscal year of the County is changed, the County shall send a notice of such change
  to the MSRB through EMMA, prior to the earlier of the ending date of the fiscal year prior to
  such change or the ending date of the fiscal year as changed.

          (c)     Notice of Failure to Disclose. The County agrees to provide or cause to be
  provided, in a timely manner, to the MSRB through EMMA, in an electronic format as
  prescribed by the MSRB, notice of a failure by the County to provide the annual financial
  information with respect to the County described in subsection (b) above on or prior to the dates
  set forth in subsection (b) above.

         (d)    Occurrence of Events. The County agrees to provide or cause to be provided to
  the MSRB through EMMA, in an electronic format as prescribed by the MSRB, in a timely
  manner not in excess of ten business days after the occurrence of the event, notice of the
  occurrence of any of the following events listed in (b)(5)(i)(C) of the Rule with respect to the
  Bonds:

                        (1)    principal and interest payment delinquencies;
                        (2)    non-payment related defaults, if material;
                        (3)    unscheduled draws on debt service reserves reflecting financial
                               difficulties;
                        (4)    unscheduled draws on credit enhancements reflecting financial
                               difficulties;
                        (5)    substitution of credit or liquidity providers, or their failure to
                               perform;
                        (6)    adverse tax opinions, the issuance by the Internal Revenue Service
                               of proposed or final determinations of taxability, Notices of
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                                Proposed Issue (IRS Form 5701-TEB) or other material notices or
                                determinations with respect to the tax status of the Bonds, or other
                                material events affecting the tax status of the Bonds;
                        (7)     modifications to rights of holders of the Bonds, if material;
                        (8)     bond calls, if material, and tender offers;
                        (9)     defeasances;
                        (10)    release, substitution, or sale of property securing repayment of the
                                Bonds, if material;
                        (11)    rating changes;
                        (12)    bankruptcy, insolvency, receivership or similar event of the
                                County, which is considered to occur when any of the following
                                occur: the appointment of a receiver, fiscal agent or similar officer
                                for the County in a proceeding under the U.S. Bankruptcy Code or
                                in any other proceeding under state or federal law in which a court
                                or governmental authority has assumed jurisdiction over
                                substantially all of the assets or business of the County, or if such
                                jurisdiction has been assumed by leaving the existing governing
                                body and officials or officers in possession but subject to the
                                supervision and orders of a court or governmental authority, or the
                                entry of an order confirming a plan of reorganization, arrangement
                                or liquidation by a court or governmental authority having
                                supervision or jurisdiction over substantially all of the assets or
                                business of the County;
                        (13)    the consummation of a merger, consolidation, or acquisition
                                involving the County or the sale of all or substantially all of the
                                assets of the County, other than in the ordinary course of business,
                                the entry into a definitive agreement to undertake such an action or
                                the termination of a definitive agreement relating to any such
                                actions, other than pursuant to its terms, if material; or
                        (14)    appointment of a successor or additional trustee or the change of
                                name of a trustee, if material.

          (e)    Materiality Determined Under Federal Securities Laws. The County agrees that
  its determination of whether any event listed in subsection (d) is material shall be made in
  accordance with federal securities laws.

          (f)     Termination of Reporting Obligation. The County reserves the right to terminate
  its obligation to provide annual financial information and notices of material events, as set forth
  above, if and when the County is no longer an “obligated person” with respect to the Bonds
  within the meaning of the Rule, including upon legal defeasance of all Bonds.

          (g)   Identifying Information. All documents provided to the MSRB through EMMA
  shall be accompanied by the identifying information prescribed by the MSRB.

         (h)     Benefit of Bondholders. The County agrees that its undertaking pursuant to the
  Rule set forth in this Section is intended to be for the benefit of the Bondholders and shall be
  enforceable by any Bondholder; provided that, the right to enforce the provisions of this
  undertaking shall be limited to a right to obtain specific enforcement of the County’s obligations
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  hereunder and any failure by the County to comply with the provisions of this undertaking shall
  not constitute a default or an event of default with respect to the Bonds.

          (i)     Amendments to the Undertaking. Amendments may be made in the specific types
  of information provided or the format of the presentation of such information to the extent
  deemed necessary or appropriate in the judgment of the County, provided that the County agrees
  that any such amendment will be adopted procedurally and substantively in a manner consistent
  with the Rule, including any interpretations thereof by the SEC, which, to the extent applicable,
  are incorporated herein by reference. Such interpretations currently include the requirements that
  (a) the amendment may only be made in connection with a change in circumstances that arises
  from a change in legal requirements, change in law, or change in the identity, nature, or status of
  the County or the type of activities conducted thereby, (b) the undertaking, as amended, would
  have complied with the requirements of the Rule at the time of the primary offering of the Bonds,
  after taking into account any amendments or interpretations of the Rule, as well as any change in
  circumstances, and (c) the amendment does not materially impair the interests of Bondholders, as
  determined by parties unaffiliated with the County (such as independent legal counsel), but such
  interpretations may be changed in the future. If the accounting principles to be followed by the
  County in the preparing of the Audited Financial Statements are modified, the annual financial
  information for the year in which the change is made shall present a comparison between the
  financial statements as prepared on the prior basis and the statements as prepared on the new
  basis, and otherwise shall comply with the requirements of the Rule, in order to provide
  information to investors to enable them to evaluate the ability of the County to meet its
  obligations. A notice of the change in accounting principles shall be sent to the MSRB through
  EMMA.

         (j)     Municipal Advisory Council of the State of Michigan. The County shall also file
  by electronic or other means any information or notice required to be filed with the MSRB
  through EMMA pursuant to this Undertaking in a timely manner with the Municipal Advisory
  Council of the State of Michigan.

                                        COUNTY OF GENESEE
                                        State of Michigan


                                        By:    __________________________________________
                                                     Its:  _____________________________


  Dated: April 16, 2014




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                                         CITY OF FLINT


         This Continuing Disclosure Undertaking (the “Undertaking”) is executed and delivered
  by the City of Flint, County of Genesee, State of Michigan (the “City”) in connection with the
  issuance by the Karegnondi Water Authority (the “Authority”) of its Water Supply System
  Bonds (Karegnondi Water Pipeline), Series 2014A (the “Bonds”) issued on behalf of the City
  and the County of Genesee, State of Michigan. The City covenants and agrees for the benefit of
  the Bondholders, as hereinafter defined, as follows:

         (a)    Definitions. The following terms used herein shall have the following meanings:

                        “Audited Financial Statements” means the annual audited financial
                statement pertaining to the City prepared by an individual or firm of independent
                certified public accountants as required by Act 2, Public Acts of Michigan, 1968,
                as amended, which presently requires preparation in accordance with generally
                accepted accounting principles.

                        “Bondholders” shall mean the registered owner of any Bond or any person
                (a) with the power, directly or indirectly, to vote or consent with respect to, or to
                dispose of ownership of, any Bond (including any person holding a Bond through
                a nominee, depository or other intermediary) or (b) treated as the owner of any
                Bond for federal income tax purposes.

                       “EMMA” shall mean the MSRB’s Electronic Municipal Market Access
                System or such other system, Internet Web Site, or repository hereafter prescribed
                by the MSRB for the submission of electronic filings pursuant to the Rule.

                       “MSRB” means the Municipal Securities Rulemaking Board.

                        “Rule” means Rule 15c2-12 promulgated by the SEC pursuant to the
                Securities Exchange Act of 1934, as amended.

                       “SEC” means the United States Securities and Exchange Commission.

           (b)    Continuing Disclosure. The City hereby agrees, in accordance with the
  provisions of the Rule, to provide or cause to be provided to the MSRB through EMMA on or
  before the last day of the sixth month after the end of its fiscal year the following annual
  financial information and operating data, commencing with the fiscal year ending June 30, 2014
  in an electronic format as prescribed by the MSRB:

                       (1)     Updates of the numerical financial information and operating data
                included in the official statement of the City relating to the Bonds (the “Official
                Statement”) appearing in the Tables or under the headings in the Official
                Statement as described below:

                       a.      Property Valuations;
                       b.      Major Taxpayers;

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                         c.     Tax Rates (Per $1,000 of Valuation);
                         d.     Tax Rate Limitation;
                         e.     Tax Levies and Collections;
                         f.     Revenues from the State of Michigan;
                         g.     City Income Tax;
                         g.     Labor Force;
                         h.     Pension Fund;
                         i.     Debt Statement – Direct Debt; and
                         j.     Legal Debt Margin.

                        (2)    Audited Financial Statements, or in the event audited financial
                 statements are not available, the City agrees to provide unaudited financial
                 statements and to provide audited financial statements immediately after they
                 become available.

                        (3)    Such additional financial information or operating data as may be
                 determined by the City and its advisors as desirable or necessary to comply with
                 the Rule.

         Such annual financial information and operating data described above are expected to be
  provided directly by the City by specific reference to documents available to the public through
  EMMA or filed with the SEC.

         If the fiscal year of the City is changed, the City shall send a notice of such change to the
  MSRB through EMMA, prior to the earlier of the ending date of the fiscal year prior to such
  change or the ending date of the fiscal year as changed.

          (c)    Notice of Failure to Disclose. The City agrees to provide or cause to be provided,
  in a timely manner, to the MSRB through EMMA, in an electronic format as prescribed by the
  MSRB, notice of a failure by the City to provide the annual financial information with respect to
  the City described in subsection (b) above on or prior to the dates set forth in subsection (b)
  above.

          (d)     Occurrence of Events. The City agrees to provide or cause to be provided to the
  MSRB through EMMA, in an electronic format as prescribed by the MSRB, in a timely manner
  not in excess of ten business days after the occurrence of the event, notice of the occurrence of
  any of the following events listed in (b)(5)(i)(C) of the Rule with respect to the Bonds:

                         (1)    principal and interest payment delinquencies;
                         (2)    non-payment related defaults, if material;
                         (3)    unscheduled draws on debt service reserves reflecting financial
                                difficulties;
                         (4)    unscheduled draws on credit enhancements reflecting financial
                                difficulties;
                         (5)    substitution of credit or liquidity providers, or their failure to
                                perform;
                         (6)    adverse tax opinions, the issuance by the Internal Revenue Service
                                of proposed or final determinations of taxability, Notices of
                                                  E-9
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                               Proposed Issue (IRS Form 5701-TEB) or other material notices or
                               determinations with respect to the tax status of the Bonds, or other
                               material events affecting the tax status of the Bonds;
                        (7)    modifications to rights of holders of the Bonds, if material;
                        (8)    bond calls, if material, and tender offers;
                        (9)    defeasances;
                        (10)   release, substitution, or sale of property securing repayment of the
                               Bonds, if material;
                        (11)   rating changes;
                        (12)   bankruptcy, insolvency, receivership or similar event of the City,
                               which is considered to occur when any of the following occur: the
                               appointment of a receiver, fiscal agent or similar officer for the
                               City in a proceeding under the U.S. Bankruptcy Code or in any
                               other proceeding under state or federal law in which a court or
                               governmental authority has assumed jurisdiction over substantially
                               all of the assets or business of the City, or if such jurisdiction has
                               been assumed by leaving the existing governing body and officials
                               or officers in possession but subject to the supervision and orders
                               of a court or governmental authority, or the entry of an order
                               confirming a plan of reorganization, arrangement or liquidation by
                               a court or governmental authority having supervision or
                               jurisdiction over substantially all of the assets or business of the
                               City;
                        (13)   the consummation of a merger, consolidation, or acquisition
                               involving the City or the sale of all or substantially all of the assets
                               of the City, other than in the ordinary course of business, the entry
                               into a definitive agreement to undertake such an action or the
                               termination of a definitive agreement relating to any such actions,
                               other than pursuant to its terms, if material; or
                        (14)   appointment of a successor or additional trustee or the change of
                               name of a trustee, if material.

         (e)    Materiality Determined Under Federal Securities Laws. The City agrees that its
  determination of whether any event listed in subsection (d) is material shall be made in
  accordance with federal securities laws.

          (f)    Termination of Reporting Obligation. The City reserves the right to terminate its
  obligation to provide annual financial information and notices of material events, as set forth
  above, if and when the City is no longer an “obligated person” with respect to the Bonds within
  the meaning of the Rule, including upon legal defeasance of all Bonds.

          (g)   Identifying Information. All documents provided to the MSRB through EMMA
  shall be accompanied by the identifying information prescribed by the MSRB.

          (h)    Benefit of Bondholders. The City agrees that its undertaking pursuant to the Rule
  set forth in this Section is intended to be for the benefit of the Bondholders and shall be
  enforceable by any Bondholder; provided that, the right to enforce the provisions of this
  undertaking shall be limited to a right to obtain specific enforcement of the City’s obligations
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  hereunder and any failure by the City to comply with the provisions of this undertaking shall not
  constitute a default or an event of default with respect to the Bonds.

          (i)     Amendments to the Undertaking. Amendments may be made in the specific types
  of information provided or the format of the presentation of such information to the extent
  deemed necessary or appropriate in the judgment of the City, provided that the City agrees that
  any such amendment will be adopted procedurally and substantively in a manner consistent with
  the Rule, including any interpretations thereof by the SEC, which, to the extent applicable, are
  incorporated herein by reference. Such interpretations currently include the requirements that (a)
  the amendment may only be made in connection with a change in circumstances that arises from
  a change in legal requirements, change in law, or change in the identity, nature, or status of the
  City or the type of activities conducted thereby, (b) the undertaking, as amended, would have
  complied with the requirements of the Rule at the time of the primary offering of the Bonds, after
  taking into account any amendments or interpretations of the Rule, as well as any change in
  circumstances, and (c) the amendment does not materially impair the interests of Bondholders, as
  determined by parties unaffiliated with the City (such as independent legal counsel), but such
  interpretations may be changed in the future. If the accounting principles to be followed by the
  City in the preparing of the Audited Financial Statements are modified, the annual financial
  information for the year in which the change is made shall present a comparison between the
  financial statements as prepared on the prior basis and the statements as prepared on the new
  basis, and otherwise shall comply with the requirements of the Rule, in order to provide
  information to investors to enable them to evaluate the ability of the City to meet its obligations.
  A notice of the change in accounting principles shall be sent to the MSRB through EMMA.

          (j)    Municipal Advisory Council of the State of Michigan. The City shall also file by
  electronic or other means any information or notice required to be filed with the MSRB through
  EMMA pursuant to this Undertaking in a timely manner with the Municipal Advisory Council of
  the State of Michigan.

                                        CITY OF FLINT
                                        County of Genesee
                                        State of Michigan


                                        By:     __________________________________________
                                                      Its:  _____________________________


  Dated: April 16, 2014




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                                              APPENDIX F

                                 FORM OF APPROVING OPINION


  Karegnondi Water Authority
  Counties of Genesee, Lapeer and Sanilac
  State of Michigan


         We have acted as bond counsel to the Karegnondi Water Authority, Counties of Genesee,
  Lapeer and Sanilac, State of Michigan (the “Issuer”) in connection with the issuance by the Issuer of
  bonds in the aggregate principal sum of $220,500,000 designated Water Supply System Bonds
  (Karegnondi Water Pipeline), Series 2014A (the “Bonds”). In such capacity, we have examined such
  law and the transcript of proceedings relating to the issuance of the Bonds and such other
  proceedings, certifications and documents as we have deemed necessary to render this opinion.

           The Bonds are in fully-registered form in the denomination of $5,000 each or multiples
  thereof, numbered in order of registration, bearing original issue date of April 16, 2014, payable as to
  principal and interest as provided in the Bonds, subject to redemption prior to maturity in the manner,
  at the times and at the prices specified in the Bonds.

          The Bonds are issued under the provisions of Act 233, Public Acts of Michigan, 1955, as
  amended, in anticipation of and are payable as to both principal and interest solely from the proceeds
  of certain specified contractual payments to be made to the Issuer by the County of Genesee
  (“Genesee”) and the City of Flint, County of Genesee (“Flint,” and together with Genesee, the “Local
  Units”), pursuant to a certain contract referred to in the Bonds (the “Contract”). The Issuer has
  pledged all of such contractual payments for the payment of the principal of and interest on the
  Bonds.

         As to questions of fact material to our opinion, we have relied on the certified proceedings
  and other certifications of public officials and others furnished to us.

          Based upon the foregoing, we are of the opinion that, under existing law:

         1.      The Bonds have been duly authorized and executed by the Issuer and are valid and
  binding obligations of the Issuer, payable as to both principal and interest solely from moneys to be
  paid under the Contract.

           2.      The Contract is a valid and binding obligation of the Issuer and the Local Units. The
  Local Units have each pledged their full faith and credit for the payment of such moneys to the Issuer
  as set out in the Contract. Genesee’s obligations under the Contract to which Genesee has pledged its
  full faith and credit include the requirement to make all payments that Flint fails to make to the Issuer
  under the Contract as described in Exhibit B of the Contract. The full faith and credit pledges of the
  Local Units are limited tax general obligations of the Local Units, and the Local Units are required to
  pay their commitments with respect to the Bonds as a first budget obligation from their general funds,
  including the collection of any ad valorem taxes which they are authorized to levy. However, the
  ability of the Local Units to levy such taxes is subject to applicable constitutional, statutory, and
  charter tax rate limitations.

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          3.      The interest on the Bonds (a) is excludable from gross income for federal income tax
  purposes and (b) is not an item of tax preference for purposes of the federal alternative minimum tax
  imposed on individuals and corporations. It should be noted, however, that with respect to
  corporations (as defined for federal income tax purposes), the interest is taken into account in
  determining adjusted current earnings for the purpose of computing the alternative minimum tax
  imposed on such corporations. Further, the Bonds and the interest thereon are exempt from all
  taxation by the State of Michigan or by any taxing authority within the State of Michigan except
  inheritance and estate taxes and taxes on gains realized from the sale, payment or other disposition
  thereof. The opinions set forth in this paragraph are subject to the condition that the Issuer and the
  Local Units comply with all requirements of the Internal Revenue Code of 1986, as amended, that
  must be satisfied subsequent to the issuance of the Bonds in order that interest thereon be (or
  continue to be) excludable from gross income for federal and Michigan income tax purposes. The
  Issuer and the Local Units have covenanted to comply with all such requirements. Failure to comply
  with certain of such requirements could cause the interest on the Bonds to be included in gross
  income retroactively to the date of issuance of the Bonds.

          Except as stated in paragraph 3 above, we express no opinion regarding other federal or state
  tax consequences arising with respect to the Bonds and the interest thereon.

          The rights or remedies of bondholders may be affected by bankruptcy, insolvency, fraudulent
  conveyance or other laws affecting creditors’ rights generally, now existing or hereafter enacted, and
  by the application of general principles of equity, including those relating to equitable subordination.

          This opinion is given as of the date hereof, and we assume no obligation to revise or
  supplement this opinion to reflect any facts or circumstances that may hereafter come to our
  attention, or any changes in law that may hereafter occur.


                                         Very truly yours,

                                           MILLER, CANFIELD, PADDOCK AND STONE, P.L.C.




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                                            APPENDIX G

                                 BOOK-ENTRY ONLY SYSTEM

  General

          The information under “General” in this Appendix G has been furnished by The
  Depository Trust Company, New York, New York (“DTC”). No representation is made by the
  Issuer or the Transfer Agent as to the completeness or accuracy of such information or as to the
  absence of material adverse changes in such information subsequent to the date hereof. No
  attempt has been made by the Issuer or the Transfer Agent to determine whether DTC is or will
  be financially or otherwise capable of fulfilling its obligations. Neither the Issuer nor the
  Transfer Agent will have any responsibility or obligation to Direct Participants, Indirect
  Participants (both as defined below) or the persons for which they act as nominees with respect
  to the Bonds, or for any principal, premium, if any, or interest payment thereof.

          DTC will act as securities depository for the Bonds. The Bonds will be issued as fully-
  registered securities registered in the name of Cede & Co. (DTC’s partnership nominee) or such
  other name as may be requested by an authorized representative of DTC. One fully-registered
  Bond certificate will be issued for each maturity of the Bonds, each in the aggregate principal
  amount of such maturity and will be deposited with DTC.

          DTC, the world’s largest depository, is a limited-purpose trust company organized under
  the New York Banking Law, a “banking organization” within the meaning of the New York
  Banking Law, a member of the Federal Reserve System, a “clearing corporation” within the
  meaning of the New York Uniform Commercial Code and a “clearing agency” registered
  pursuant to the provisions of Section 17A of the Securities Exchange Act of 1934. DTC holds
  and provides asset servicing for over 3.5 million issues of U.S. and non-U.S. equity, corporate
  and municipal debt issues and money market instruments (from over 100 countries) that DTC’s
  participants (“Direct Participants”) deposit with DTC. DTC also facilitates the post-trade
  settlement among Direct Participants of sales and other securities transactions in deposited
  securities through electronic computerized book-entry transfers and pledges between Direct
  Participants’ accounts. This eliminates the need for physical movement of securities certificates.
  Direct Participants include both U.S. and non-U.S. securities brokers and dealers, banks, trust
  companies, clearing corporations and certain other organizations. DTC is a wholly-owned
  subsidiary of The Depository Trust & Clearing Corporation (“DTCC”). DTCC is the holding
  company for DTC, National Securities Clearing Corporation and Fixed Income Clearing
  Corporation, all of which are registered clearing agencies. DTCC is owned by the users of its
  regulated subsidiaries. Access to the DTC system is also available to others such as both U.S.
  and non-U.S. securities brokers and dealers, banks, trust companies and clearing corporations
  that clear through or maintain a custodial relationship with a Direct Participant, either directly or
  indirectly (“Indirect Participants”). DTC has a Standard & Poor’s rating of AA+. The DTC Rules
  applicable to its Participants are on file with the Securities and Exchange Commission. More
  information about DTC can be found at www.dtcc.com.

          Purchases of Bonds under the DTC system must be made by or through Direct
  Participants, which will receive a credit for the Bonds on DTC’s records. The ownership interest
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  of each actual purchaser of each Bond (“Beneficial Owner”) is in turn to be recorded on the
  Direct and Indirect Participants’ records. Beneficial Owners will not receive written confirmation
  from DTC of their purchase. Beneficial Owners are, however, expected to receive written
  confirmations providing details of the transaction, as well as periodic statements of their
  holdings, from the Direct or Indirect Participant through which the Beneficial Owner entered into
  the transaction. Transfers of ownership interests in the Bonds are to be accomplished by entries
  made on the books of Direct and Indirect Participants acting on behalf of Beneficial Owners.
  Beneficial Owners will not receive certificates representing their ownership interests in the
  Bonds, except in the event that use of the book-entry system for the Bonds is discontinued.

          To facilitate subsequent transfers, all Bonds deposited by Direct Participants with DTC
  are registered in the name of DTC’s partnership nominee, Cede & Co. or such other name as may
  be requested by an authorized representative of DTC. The deposit of Bonds with DTC and their
  registration in the name of Cede & Co. or such other nominee do not affect any change in
  beneficial ownership. DTC has no knowledge of the actual Beneficial Owners of the Bonds;
  DTC’s records reflect only the identity of the Direct Participants to whose accounts such Bonds
  are credited, which may or may not be the Beneficial Owners. The Direct and Indirect
  Participants will remain responsible for keeping account of their holdings on behalf of their
  customers.

          Conveyance of notices and other communications by DTC to Direct Participants, by
  Direct Participants to Indirect Participants and by Direct Participants and Indirect Participants to
  Beneficial Owners will be governed by arrangements among them, subject to any statutory or
  regulatory requirements as may be in effect from time to time. Beneficial Owners of Bonds may
  wish to take certain steps to augment the transmission to them of notices of significant events
  with respect to the Bonds, such as redemptions, tenders, defaults and proposed amendments to
  the Bond documents. For example, Beneficial Owners of Bonds may wish to ascertain that the
  nominee holding the Bonds for their benefit has agreed to obtain and transmit notices to
  Beneficial Owners. In the alternative, Beneficial Owners may wish to provide their names and
  addresses to the registrar and request that copies of the notices be provided directly to them.

          Redemption notices shall be sent to DTC. If less than all of the Bonds within a maturity
  are being redeemed, DTC’s practice is to determine by lot the amount of the interest of each
  Direct Participant in such maturity to be redeemed.

          Neither DTC nor Cede & Co. (nor such other DTC nominee) will consent or vote with
  respect to the Bonds unless authorized by a Direct Participant in accordance with DTC’s MMI
  Procedures. Under its usual procedures, DTC mails an Omnibus Proxy to the Issuer as soon as
  possible after the record date. The Omnibus Proxy assigns Cede & Co.’s consenting or voting
  rights to those Direct Participants to whose accounts the Bonds are credited on the record date
  (identified in a listing attached to the Omnibus Proxy).

         Payments of principal, interest and redemption amounts, if any, on the Bonds will be
  made to Cede & Co., or such other nominee as may be requested by an authorized representative
  of DTC. DTC’s practice is to credit Direct Participants’ accounts, upon DTC’s receipt of funds
  and corresponding detail information from the Issuer or Transfer Agent on payable date in
  accordance with their respective holdings shown on DTC’s records. Payments by Participants to
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  Beneficial Owners will be governed by standing instructions and customary practices, as is the
  case with securities held for the accounts of customers in bearer form or registered in “street
  name,” and will be the responsibility of such Participant and not of DTC (nor its nominee),
  Transfer Agent, or Issuer, subject to any statutory or regulatory requirements as may be in effect
  from time to time. Payments of principal, interest and redemption amounts, if any, to Cede &
  Co. (or such other nominee as may be requested by an authorized representative of DTC) are the
  responsibility of the Issuer or Transfer Agent, disbursement of such payments to Direct
  Participants will be the responsibility of DTC and disbursement of such payments to the
  Beneficial Owners will be the responsibility of Direct and Indirect Participants.

          DTC may discontinue providing its services as securities depository with respect to the
  Bonds at any time by giving reasonable notice to the Issuer or Transfer Agent. Under such
  circumstances, in the event that a successor securities depository is not obtained, Bond
  certificates are required to be printed and delivered.

          The Issuer may decide to discontinue use of the system of book-entry-only transfers
  through DTC (or a successor securities depository). In that event, Bond certificates will be
  printed and delivered to DTC.

         The information in this section concerning DTC and DTC’s book-entry-only system has
  been obtained from sources that the Issuer believes to be reliable, but the Issuer takes no
  responsibility for the accuracy thereof.

       THE ISSUER AND THE TRANSFER AGENT CANNOT AND DO NOT GIVE ANY
  ASSURANCES THAT DTC, THE DIRECT PARTICIPANTS OR THE INDIRECT
  PARTICIPANTS WILL DISTRIBUTE TO THE BENEFICIAL OWNERS OF THE BONDS (i)
  PAYMENTS OF PRINCIPAL OF OR INTEREST AND PREMIUM, IF ANY, ON THE
  BONDS, (ii) ANY DOCUMENT REPRESENTING OR CONFIRMING BENEFICIAL
  OWNERSHIP INTERESTS IN BONDS, OR (iii) REDEMPTION OR OTHER NOTICES
  SENT TO DTC OR CEDE & CO., ITS NOMINEE, AS THE REGISTERED OWNER OF THE
  BONDS, OR THAT THEY WILL DO SO ON A TIMELY BASIS OR THAT DTC, DIRECT
  PARTICIPANTS OR INDIRECT PARTICIPANTS WILL SERVE AND ACT IN THE
  MANNER DESCRIBED IN THIS OFFICIAL STATEMENT. THE CURRENT “RULES”
  APPLICABLE TO DTC ARE ON FILE WITH THE SECURITIES AND EXCHANGE
  COMMISSION, AND THE CURRENT “PROCEDURES” OF DTC TO BE FOLLOWED IN
  DEALING WITH THE PARTICIPANTS ARE ON FILE WITH DTC.

       NEITHER THE ISSUER NOR THE TRANSFER AGENT WILL HAVE ANY
  RESPONSIBILITY OR OBLIGATION TO ANY DIRECT PARTICIPANT, INDIRECT
  PARTICIPANT OR ANY BENEFICIAL OWNER OR ANY OTHER PERSON WITH
  RESPECT TO: (1) THE BONDS; (2) THE ACCURACY OF ANY RECORDS MAINTAINED
  BY DTC OR ANY DIRECT PARTICIPANT OR INDIRECT PARTICIPANT; (3) THE
  PAYMENT BY DTC TO ANY PARTICIPANT, OR BY ANY DIRECT PARTICIPANT OR
  INDIRECT PARTICIPANT TO ANY BENEFICIAL OWNER OF ANY AMOUNT DUE
  WITH RESPECT TO THE PRINCIPAL OF, PREMIUM, IF ANY, OR INTEREST ON THE
  BONDS; (4) THE DELIVERY BY DTC TO ANY PARTICIPANT, OR BY ANY DIRECT
  PARTICIPANT OR INDIRECT PARTICIPANT TO ANY BENEFICIAL OWNER OF ANY
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  NOTICE WHICH IS REQUIRED OR PERMITTED UNDER THE TERMS OF THE
  RESOLUTION TO BE GIVEN TO BONDHOLDERS; (5) THE SELECTION OF THE
  BENEFICIAL OWNERS TO RECEIVE PAYMENT IN THE EVENT OF ANY PARTIAL
  REDEMPTION OF THE BONDS; OR (6) ANY CONSENT GIVEN OR OTHER ACTION
  TAKEN BY DTC AS BONDHOLDER.

  Transfer Agent and Bond Registration

          Principal and interest shall be payable and the Bonds shall be registered and transferred
  as described under the heading “General” in this Appendix G until the book-entry only system is
  discontinued. The Issuer has appointed the Transfer Agent shown on the cover. In the event the
  book-entry only system is discontinued, the Transfer Agent will also act as bond registrar and
  transfer agent.

  Transfer Outside Book-Entry-Only System

          In the event that the book-entry-only system is discontinued, the following provisions
  would apply to the Bonds. The Transfer Agent shall keep the registration books for the Bonds
  (the “Bond Register”) at its corporate trust office. Subject to the further conditions contained in
  the Resolution, the Bonds may be transferred or exchanged for one or more Bonds in different
  authorized denominations upon surrender thereof at the corporate trust office of the Transfer
  Agent by the registered owners or their duly authorized attorneys; upon surrender of any Bonds
  to be transferred or exchanged, the Transfer Agent shall record the transfer or exchange in the
  Bond Register and shall authenticate replacement bonds in authorized denominations; during the
  15 days immediately preceding the date of mailing of any notice of redemption or any time
  following the mailing of any notice of redemption, the Transfer Agent shall not be required to
  effect or register the transfer or exchange of any Bond which has been selected for such
  redemption, except the Bonds properly surrendered for partial redemption may be exchanged for
  new Bonds in authorized denominations equal in the aggregate to the unredeemed portion; the
  Issuer and Transfer Agent shall be entitled to treat the registered owners of the Bonds, as their
  names appear in the Bond Register as of the appropriate dates, as the owners of such Bonds for
  all purposes under the Resolution. No transfer or exchange made other than as described above
  in the Resolution shall be valid or effective for any purposes under the Resolution.




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                                  APPENDIX H

                                 THE CONTRACT
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                 KAREGNONDI WATER AUTHORITY FINANCING CONTRACT



         THIS CONTRACT, dated as of August 1,2013 , by and among the Karegnondi Water Authority,
  a municipal authority and public body corporate of the State of Michigan (hereinafter referred to as the
  "Authority"), the City of Flint in the County of Genesee and the County of Genesee (collectively, the
  "Local Units" and each a "Local Unit").

                                              WITNESSETH:

         WHEREAS, the Authority has been incorporated under the provisions of Act No. 233, Public
  Acts of Michigan, 1955, as amended (hereinafter referred to as "Act 233"), for the purposes set forth in
  Act 233; and

         WHEREAS , the Authority will acquire, construct and operate a water supply system to be
  known as the Karegnondi Water Supply System that provides untreated water to the Local Units, each of
  which is a constituent municipality of the Authority; and

          WHEREAS, it is immediately necessary and imperative for the public health and welfare of the
  present and future residents of each of the Local Units that a certain water supply system, as more fully
  described on Exhibit A hereto, together with all necessary interests in land, appurtenances and
  attachments thereto (the "System") be acquired, installed and constructed; and

          WHEREAS, plans and an estimate of cost of the System have been prepared by the Authority's
  consulting engineers, Wade Trim (the "Consulting Engineers"), which said estimate of aggregate cost
  totals an amount not to exceed $300,000,000; and

          WHEREAS, each of the Local Units is desirous of having the Authority acquire and own the
  System in order to continue to operate the System in order to furnish the Local Units with untreated raw
  water; and

          WHEREAS , the parties hereto have determined that the System is essential to the general health,
  safety and welfare of each of the Local Units; and

          WHEREAS, the Authority and each of the Local Units are each agreeable to the execution of
  this Contract by and among themselves which provides, among other things, for the financing of all or a
  portion of the cost of the System; and

         WHEREAS, this Contract contemplates the issuance of bonds in one or more series by the
  Authority to pay all or part of the costs of the System; and

         WHEREAS, each of the Local Units has or will approve and authorize the execution of this
  Contract by resolution of its governing body; and




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         WHEREAS , each of the Local Units has published or will publish, individually or jointly, a
  notice of intention to enter into this Contract in a newspaper of general circulation in the territory
  encompassed by each Local Unit; and

          WHEREAS, this Contract will become effective for each Local Unit upon expiration of a period
  of forty-five (45) days following publication by each Local Unit of its notice of intention without filing
  of a petition for referendum on the question of its entering into this Contract, or if such referendum
  election be required, then upon approval by the qualified electors of the Local Unit.

      NOW, THEREFORE, IN CONSIDERATION OF THE PREMISES AND THE COVENANTS
  MADE HEREIN, THE PARTIES HERETO AGREE AS FOLLOWS:

          SECTION 1. The Authority and the Local Units hereby approve the acquisition, construction
  and operation of System, together with all necessary interests in land, appurtenances and attachments
  thereto.

          SECTION 2. Each of the Local Units hereby consents to the use by the Authority and any
  parties contracting with the Authority of the public streets, alleys, lands and rights-of-way in each Local
  Unit for the purpose of constructing, operating and maintaining the System including any improvements,
  enlargements and extensions thereto.

         SECTION 3. The System is designed to provide and transport untreated raw water to each of
  the Local Units and the System is immediately necessary to protect and preserve the public health.

          SECTION 4. The Authority and each of the Local Units hereby approve and confirm the plans
  for the System prepared by the Consulting Engineers and the total estimated cost thereof in the sum of
  not to exceed $300,000,000. Said cost estimate includes all surveys, plans, specifications, acquisition of
  property for rights-of-way, physical construction necessary to acquire and construct the System, the
  acquisition of all materials, machinery and necessary equipment, and all engineering, engineering
  supervision, administrative, legal and financing expenses necessary in connection with the acquisition
  and construction of the System and the financing thereof.

           SECTION 5. The Authority shall not enter into any final contract or contracts for the acquisition
  and construction of the System if such contract price or prices will be such as to cause the actual cost
  thereof to exceed the estimated cost as approved in Section 4 of this Contract unless the Authority has
  sufficient funds to cover such excess, or, each of the Local Units, by resolution of its respective
  legislative body, (a) approves said increased total cost, and (b) agrees to pay such excess over the
  estimated cost, either in cash or by specifically authorizing the maximum principal amount of bonds to
  be issued, as provided in Sections 9 and 14 of this Contract, to be increased to an amount which will
  provide sufficient funds to meet said increased cost, and approves a similar increase in the installment
  obligations of each Local Unit, if any, pledged under the terms of this Contract to the payment of such
  bonds.

         SECTION 6. The System shall be acquired and constructed by the Authority substantially in
  accordance with the plans and specifications therefor approved by this Contract. All matters relating to
  engineering plans and specifications, together with the making and letting of final construction
  contracts, the approval of work and materials thereunder, and construction supervision, shall be in the




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   control of the Authority. All acqUlSll10n of sites and rights-of-way, if any, shall be done by the
   Authority. Each Local Unit's share of the costs of such acquisition in each Local Unit, if any, shall be
   paid from the Local Unit's share of bond proceeds and, in addition, any costs incurred by any Local Unit
   in connection with the acquisition or construction of the System, including, but not limited to,
   engineering expenses, shall be promptly reimbursed to the Local Unit by the Authority from the
   proceeds of the Authority's Bonds with the approval of the Authority board.

          SECTION 7. The Authority shall operate, maintain and administer the System for and on behalf
  of the Local Units. The System shall be maintained in good condition and repair. The Authority shall
  provide insurance as part of its obligation to operate the System. The Authority will furnish reports to
  the Local Units at periodic intervals corresponding with the reporting periods of the Local Units in detail
  sufficient to inform the Local Units of the operations of the System and to permit the Local Units to
  meet their financing requirements hereunder.

          SECTION 8. To provide for the construction and financing of the System in accordance with the
  provisions of Act 233, the Authority shall take the following steps:

                  (a)     The Authority will take steps to adopt a resolution or resolutions providing for the
          issuance of its bonds in one or more series in the principal amount of not to exceed $300,000,000
          (except as otherwise authorized pursuant to Section 5 of this Contract) to finance all or part of
          the costs of the System. Said bonds shall mature serially or be subject to mandatory sinking fund
          redemption as authorized by law, and shall be secured by the contractual obl igations of each
          Local Unit in this Contract. After due adoption of the resolution or resolutions, the Authority
          will take all necessary legal procedures and steps necessary to effectuate the sale or sales and
          delivery or deliveries of said bonds.

                  (b)     The Authority shall take all steps necessary to take bids for and enter into and
          execute final acquisition and construction contracts for the acquisition and construction of the
          System as specified and approved hereinbefore in this Contract, in accordance with the plans and
          specifications therefor based on the plans as approved by this Contract.

                 (c)     The Authority will require and procure from the contractor or contractors
          undertaking the actual construction and acquisition of the System necessary and proper bonds to
          guarantee the performance of the contract or contracts and such labor and material bonds as may
          be required by law.

                 (d)     The Authority, upon receipt of the proceeds of sale of each series of bonds, will
          comply with all provisions and requirements provided for in the resolution authorizing the
          issuance of such series of bonds and this Contract relative to the disposition and use of the
          proceeds of sale of such series of bonds.

                 (e)     The Authority may temporarily invest any bond proceeds or other funds held by it
         for the benefit of each Local Unit as permitted by law and investment income shall accrue to and
         follow the fund producing such income. The Authority shall not, however, invest, reinvest or
         accumulate any moneys deemed to be proceeds of the bonds pursuant to § 148 of the Internal
         Revenue Code of 1986, as amended, and the applicable regulations thereunder (the "Code"), in
         such a manner as to cause the bonds to be "arbitrage bonds" within the meaning of Code §




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          103(b)(2) and §148, or otherwise as may jeopardize the tax status of the bonds.

          SECTION 9. Each Local Unit irrevocably covenants and agrees to pay to the Authority its
   Local Unit share of each series of bonds to be issued by the Authority pursuant to this Contract. The
   share of each Local Unit shall be determined as set forth on Exhibit B hereto.

          The cost of the System to be financed with the issuance of bonds of the Authority in the
  aggregate principal amount of not to exceed $300,000,000 shall be paid in annual instal lments on the
  dates and in the amounts as established in the Authority's bond authorizing resolution.

         Each Local Unit covenants that it will make or cause to be made its payments as required by this
  Contract not less than 30 days prior to the dates on which the Authority is required to make payments on
  the bonds described herein to the transfer agent for the bonds.

          It is understood and agreed that the bonds of the Authority hereinbefore referred to will be issued
  in anticipation of the above contractual obligation, with principal maturities on the dates established by
  the Authority corresponding to the principal amount of the installments then coming due, and there shall
  also be paid in addition to said principal installments, on such dates as shall be determined by the
  Authority, commencing on such date as determined by the Authority, as accrued interest on the principal
  amount remaining unpaid, an amount sufficient to pay all interest at an interest rate not to exceed ten
  percent (10%) per annum, due on the next succeeding interest payment date on the bonds from time to
  time outstanding.

          It is further understood and agreed that the bonds of the Authority may be secured by a debt
  service reserve fund or funds to provide additional security for the timely payment thereof if the
  Authority determines, in consultation with its financial advisor, that the provision of such debt service
  reserve fund or funds is advisable. If the bonds of the Authority are secured by a debt service reserve
  fund or funds, each Local Unit covenants and agrees to provide for the replenishment of such debt
  service reserve funds as described in Exhibit B.

          From time to time as the Authority is billed by the transfer agent for its services for the bonds,
  and as other costs and expenses accrue to the Authority from handling of the payments made by the
  Local Units, or from other actions taken in connection with the System, the Authority shall promptly
  notify the Local Units of the amount of such paying agent fee s and other costs and expenses, and the
  Local Units shall promptly remit to the Authority sufficient fund s to meet such fees and other costs and
  expenses in the proportions hereinabove provided to the extent sufficient funds are not available to the
  Authority. Each Local Unit warrants and represents that the amount of its obligations under this
  Contract, when taken together with other indebtedness of such Local Unit, will not cause its obligations
  under thi s Contract to exceed any constitutional, statutory or charter debt limitation applicable to such
  Local Unit.

          The Authority shall, within thirty (30) days after the delivery of each series of the bonds of the
  Authority hereinbefore referred to, furnish each Local Unit with a complete schedule of installments of
  principal and interest thereon, and the Authority shall also at least sixty (60) days prior to each principal
  and/or interest install ment due date, advise the Local Units, in writing, of the exact amount of principal
  and interest installments due on each series of bonds on the next succeeding bond principal and/or
  interest due date, and payable on the first day of the month immediately preceding, as hereinbefore




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  provided. Failure of the Authority to notify the Local Units of any such payment shall not relieve the
  Local Units of the obligation to make such payment.

          If any principal installment or interest installment is not paid when due, the amount not so paid
  shall be subject to a penalty, in addition to interest, of one percent (I %) thereof for each month or
  fraction thereof that the same remains unpaid after the due date.

           SECTION 10. Each Local Unit states its intention to pay its obligations under this Contract from
  sources of moneys as are provided by Act 233 and applicable law, including the levy and collection of
  rates and charges to users of its respective water supply system for operating and maintaining its system
  provided by each Local Unit to customers in the Local Unit. Nevertheless, pursuant to the authorization
  contained in Act 233, each Local Unit hereby irrevocably pledges its full faith and credit for the prompt
  and timely payment of its obligations pledged for bond payments as expressed in this Contract, and,
  subject to the provisions of the last sentence of this paragraph, shall each year, commencing with the
  first tax levy after issuance of the bonds by the Authority, levy an ad valorem tax on all the taxable
  property in the Local Unit in an amount which, taking into consideration estimated delinquencies in tax
  collections, will be sufficient to pay such obligations under this Contract becoming due before the time
  of the following year's tax collections. Such annual tax levies shall be subject to applicable
  constitutional, statutory, and charter tax limitations. Nothing herein contained shall be construed to
  prevent a Local Unit from using any, or any combination of, the means and methods provided in Section
  7 of Act 233, as now or hereafter amended, for the purpose of providing funds to meet its obligations
  under this Contract, and, if at the time of making the annual tax levy there shall be either other funds on
  hand earmarked and set aside, or funds provided in the annual budget of the water supply system of the
  Local Unit, for the payment of the contractual obligations due prior to the next tax collection period,
  then such annual tax levy may be reduced by such amount.

           In the event a Local Unit shall fail for any reason to pay to the Authority at the times specified
  the amounts required to be paid by the provisions of this Contract, the Authority shall immediately give
  notice of such default and the amount thereof, to the Treasurer of each Local Unit, the Treasurer of the
  State of Michigan, and such other officials charged with the disbursement to such Local Unit of funds
  returned by the State and now or hereafter under Act 233 available for pledge as provided in this Section
  and in Section l2a of Act 233, and if such default is not corrected within ten (10) days after such
  notification, the State Treasurer, or other appropriate official charged with disbursement to such Local
  Unit of the aforesaid funds , is, by these presents, specifically authorized by the Local Unit, to the extent
  permitted by law, to withhold from the aforesaid funds the maximum amount necessary to cure said
  deficit and to pay said sums so withheld to the Authority, to apply on the obligations of the Local Unit
  as herein set forth . Any such moneys so withheld and paid shall be considered to have been paid to the
  Local Unit within the meaning of the Michigan Constitution and statutes, the purpose of this provision
  being voluntarily to pledge and authorize the use of said funds owing to the Local Unit to meet any past-
  due obligations of such Local Unit due under the provisions of this Contract. In addition to the
  foregoing, the Authority shall have all other rights and remedies provided by law to enforce the
  obligations of the Local Unit to make its payments in the manner and at the times required by this
  Contract, including the right of the Authority to direct the Local Unit to make a tax levy to reimburse the
  Authority for any funds advanced.

         SECTION 11 . Each Local Unit may pay in advance any of the payments required to be made by
  this Contract, in which event the Authority shall credit the respective Local Unit with such advance




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  payment on future due payments to the extent of such advance payment, or use such advances to call
  bonds without credit to the extent provided in relevant series of bonds.

          SECTION 12. Each Local Unit may pay additional moneys over and above any of the payments
  specified in this Contract, with the written request that such additional funds be used to prepay
  installments, in which event the Authority shall be obligated to apply and use said moneys for such
  purpose to the fullest extent possible. Such moneys shall not then be credited as advance payments
  under the provisions of Section II of this Contract.

          SECTION 13. It is specifically recognized by each Local Unit that the debt service payments
  required to be made by each pursuant to the terms of Section 9 of this Contract are to be pledged for and
  used to pay the principal installments of and interest on with respect to the bonds to be issued by the
  Authority as provided by this Contract and authorized by law, and each Local Unit covenants and agrees
  that it will make all required payments to the Authority promptly and at the times herein specified
  without regard to whether the System is actually completed or placed in operation.

          SECTION 14. If the proceeds of the sale of the bonds in one or more series in aggregate amount
  not to exceed $300,000,000 to be issued by the Authority are for any reason insufficient to complete
  each Local Unit's share of the cost of the System, subject to each Local Unit's approval required by
  Section 5 hereof, the Authority shall automatically be authorized to issue additional bonds in an
  aggregate principal amount sufficient to pay the cost of completing the System and to increase the
  annual payments required to be made by each Local Unit in an amount so that the total payments
  required to be made as increased will be sufficient to meet the annual principal and interest requirements
  on the bonds herein authorized plus the additional bonds to be issued. It is expressly agreed between the
  parties hereto that the Authority shall issue bonds pursuant to this Contract and each Local Unit shall be
  committed to retire such amount of bonds as may be necessary to pay each Local Unit' s share of the
  costs of the System whether or not in excess of those presently estimated herein. Any such additional
  bonds shall comply with the requirements of Act 233 and any increase in the annual payments shall be
  made in the manner and at the times specified in this Contract. In lieu of such additional bonds, each
  Local Unit may pay over to the Authority, in cash, sufficient moneys to complete each Local Unit's
  share of the cost of the System.

         SECTION 15 . After completion of the System and payment of all costs thereof, any surplus
  remaining [rom the proceeds of sale of bonds shall be used by the Authority for either of the following
  purposes: (a) for improvements or enhancements to the System or for other projects of the Authority
  undertaken on behalf of the Local Units, subject to approval of the Authority; or (b) credited by the
  Authority toward the next payments due the Authority by said Local Units hereunder.

          SECTION 16. The obligations and undertakings of each of the parties to this Contract shall be
  conditioned on the successful issuance and sale of the first series of bonds pursuant to Act 233, and iffor
  any reason whatsoever the first series of bonds are not issued and sold within three (3) years from the
  date of this Contract, this Contract, except for payment of preliminary expenses and ownership of
  engineering data, shall be considered void and of no force and effect.

          SECTION 17. The Authority and each Local Unit each recognize that the owners from time to
  time of each series of bonds issued by the Authority under the provisions of Act 233 to finance the cost
  of the System will have contractual rights in this Contract, and it is, therefore, covenanted and agreed by




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  the Authority and each Local Unit that so long as any of series of bonds shall remain outstanding and
  unpaid, the provisions of this Contract shall not be subject to any alteration or revision which would in
  any manner materially affect either the security of such series of bonds or the prompt payment of
  principal or interest thereon. Each Local Unit and the Authority each further covenant and agree that
  each will comply with its respective duties and obligations under the terms of this Contract promptly at
  the times and in the manner herein set forth , and will not suffer to be done any act which would in any
  way impair the said bonds, the security therefor, or the prompt payment of principal and interest thereon .
  It is hereby declared that the tenns of this Contract insofar as they pertain to the security of any such
  bonds shall be deemed to be for the benefit of the owners of said bonds.

          SECTION 18. This Contract shall remain in full force and effect from the effective date hereof
  (as provided in Section 21) until each series bonds issued by the Authority are paid in full, but in any
  event not to exceed a period of thirty (30) years for each series of bonds. At such time within said 30-
  year term as any of the series of said bonds are paid, this Contract shall be terminated. In any event, the
  obligation of each Local Unit to make payments required by this Contract shall be terminated at such
  time as all of said bonds are paid in full, together with any deficiency or penalty thereon.

          SECTION 19. This Contract shall inure to the benefit of and be binding upon the respective
  parties hereto, their successors and assigns.

          SECTION 20. Thi s Contract shall become effective upon (i) approval by the legislative body of
  each Local Unit, (ii) approval by the Board of the Authority and (iii) due execution by authorized
  officers of each Local Unit and by the Chairman and Secretary of the Authority.

         SECTION 21. This Contract may be executed in several counterparts.




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                SECTION 21. This Contract may he executed in several counterparts.


              IN WITNESS WHEREOF, the parties hereto have caused this instrument to be executed as of
       the day and year first above written.


                                                         KAREGNONDI WATER AUTHORITY
                                                                                                /1
                                                         By:



                                                         By:



       In the presence of:                               CIT



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                                                         By:
                                                                       Mayor


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,j
                                                         COUNTY OF GENESEE


                                                         By:
                                                                       Chairperson   of     Board    of



                                                         BY d,c~       Cler




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                                                   EXHIBIT A

                                                    SYSTEM



             The Karegnondi Water System is a raw water supply system. It wilI deliver untreated Lake
     Huron water 65 miles inland to the population centers of Lapeer and Genesee Counties, including the
     Cities of Lapeer and Flint, and the County Agency of Genesee County with 17 local municipal systems.
     The system wilI also be capable of delivering water along the route to customers in Sanilac and Lapeer
     County, as welI as future customers in Saint Clair County.

            The system wilI consist of a lake intake, two pumping stations, and over 65 miles of large
     diameter transmission watermain. The system wilI include fire hydrants, metering stations, reservoirs,
     and the appurtenances necessary to operate the system efficiently. The lake intake portion of the project
     and the land where the two pumping stations are located will be acquired, constructed, designed and
     financed by the County of Genesee and made available for use by the Karegnondi Water System.

~    AlI land and required right-of-ways and easements have been acquired.
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                                                         EXHIBIT B

                               LOCAL UNIT ESTIMATED SHARE OF IMPROVEMENT COST

           The following is a breakdown of the percent each Local Unit is required to pay of the aggregate
   debt service, including the obligation to replenish a debt service reserve fund(s), if any, on the
   Authority's bonds authorized by this Contract:

                                     Local Unit                  Bond Issue
                                     County of Genesee                65.8%
                                     City of Flint                    34.2%




          In the event the City of Flint fails to fulfill its payment obligations under this Contract, the
  County of Genesee irrevocably covenants and agrees to make such missed payment within 15 days of
  being notified of the missed payment. Further, the Authority covenants and agrees to undertake all
  legal action and make use of all remedies available under this Contract to enforce the payment
  obligations of the City of Flint under this Contract. The Authority also covenants and agrees to
  undertake all legal action and make use of all remedies available to it under the Raw Water Supply
  Contract between the Authority and the City of Flint dated as of June 28, 2013 ("Raw Water Supply
  Contract"), as amended, specifically sections 7.08 and 7.09 of such contract. If the County of Genesee
  is required to make a payment for the City of Flint under this Contract and the Authority recovers any
  funds from the pursuit of such remedies described above, the Authority shall reimburse the County of
  Genesee from such funds for any payments made. To the extent permitted by law, the capacity that the
  City of Flint acquired in the System pursuant to the Raw Water Supply Contract shall be transferred to
  the County of Genesee until the City of Flint has repaid the County of Genesee for any additional
  payments made hereunder. The City of Flint shall also pay a penalty of one percent (1 %) thereof for
  each month or fraction thereof that the same remains unpaid after the due date of the amount paid by the
  County of Genesee as a result of the failure of the City of Flint to fulfill its payment obligations
  hereunder. Further, if a Local Unit fails to pay its contractual obligation causing a shortfall and the debt
  service reserve fund(s) is drawn upon to pay the Authority'S bonds, the replenishment of such debt
  service reserve fund shall be an obligation of the Local Unit that failed to pay, as provided in the
  resolution authori zing the bonds. Provided, however, if the City of Flint fails to fulfill its debt service
  reserve fund replenishment obligation, as with other payment obligations under the Contract, the County
  of Genesee agrees to make such payments.

  Additionally, if the Authority sells raw untreated water capacity to other parties, to the extent funds are
  available from payments received from those parties, each Local Unit shall be credited on each day
  payment is due hereunder as agreed to by the Authority and the Local Units towards each Local Unit's
  payment obligations hereunder.

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                                   APPENDIX I

                  REPORT OF THE ENGINEERING CONSULTANT
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       Karegnondi Water Supply System Bonds

                  Karegnondi Water Pipeline
                      Series 2014 A & B


          Report of the Engineering Consultant




                                March 17, 2014



                            Jones & Henry Engineers, Ltd.
                          3103 Executive Parkway, Suite 300
                                 Toledo, Ohio 43606
                                    419.473.9611
                                  www.jheng.com
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  Jones & Henry Engineers,                                Ltd.                                                                                 Fluid thinking...




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  List of Abbreviations


  ccf             —     hundred cubic feet


  CCIF            —     County Capital Improvement Fee


  CIP                   Capital Improvement Plan


  DWSD            —     Detroit Water and Sewerage Department


  FY              —     Fiscal Year


  GCDC-WWS        —     Genesee County Drain Commissioner – Water and Waste Services


  KWA             —     Karegnondi Water Authority


  mcf             —     thousand cubic feet


  MDEQ            —     Michigan Department of Environmental Quality


  mg              —     million gallons


  mgd             —     million gallons per day


  O&M             —     Operation and Maintenance


  RTS             —     Readiness To Serve


  WTP             —     Water Treatment Plant


  ERU             —     Equivalent Residential Units




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  Executive Summary
  Jones & Henry Engineers, Ltd. has been retained by the Karegnondi Water
  Authority (KWA) to review the financial aspects of the KWA water project
  relative to the water rates for the two initial KWA customers, the City of Flint
  (Flint) and the Genesee County Drain Commissioner – Water and Wastewater
  Services (GCDC-WWS) from 2014 through 2018 for the sufficiency of such
  rates to cover the debt service on the System Bonds and operation and
  maintenance expenses of the KWA system plus their own systems.

  The first step in the review was to project the untreated water volume required
  for these two initial customers of KWA. Initially, Flint is anticipated to require
  on average 10.4 million gallons per day and GCDC-WWS is anticipated to
  require an average 13.5 million gallons per day.

  Flint raised its water rates on July 1, 2012, and based on its audit for FY 2013,
  revenues from Flint customers for such fiscal year totaled approximately
  $34,600,000. While this level of revenue is sufficient to continue to fund O&M
  expenses plus fund much of the immediate improvements, additional revenue is
  projected to be required to reinvest in the systems’ infrastructure and establish a
  sustainable financial condition. Flint is expected to realize a significant near-term
  financial benefit from its decision to temporarily use (approximately 2 years) the
  Flint River as a source of raw water which will be treated at Flint’s WTP, instead
  of purchasing significantly higher cost treated water from the Detroit Water and
  Sewerage Department (DWSD). Once the KWA system is operational, KWA
  raw water will be used as the raw water source for the Flint WTP. Flint has not
  recently performed a detailed rate study, but a cost of service study is now being
  prepared to not only determine rates required to meet immediate and future
  needs, but establish rates that result in a reinvestment in their infrastructure and
  establish a more sustainable financial condition in the future. Currently, a Flint
  residential customer using 1,000 cubic feet per month has a monthly water cost
  of $96.96. Flint recognizes that using KWA as a raw water source and treating
  the water at their own water treatment plant is the best long-term option. The
  City expects to increase rates in the coming years to meet the obligation to KWA
  and meet the needs for operation and maintenance of the system and make
  necessary investment in their infrastructure.

  GCDC-WWS recently completed a detailed water rate analysis. This analysis
  was used as the base for projecting the effect of the KWA project on rates and
  customers. Until the KWA system becomes operational, GCDC-WWS will
  purchase water directly from DWSD. Additional future expenses for GCDC-
  WWS were identified to include new capital, operation & maintenance costs for
  the KWA operation, and GCDC-WWS’s new WTP and related facilities which
  will be necessary to treat the raw water and distribute it. GCDC-WWS’s current
  expense of purchasing water from DWSD was excluded from the projected
  expenses after the date the KWA pipeline is expected to be operational. Through
  at least May 1, 2016, with all changes taken into account, including expected


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  Jones & Henry Engineers,             Ltd.                                                      Fluid thinking...




  inflationary increases, initial KWA charges, and the increase in DWSD charges
  for water purchased directly from DWSD, the GCDC-WWS wholesale water
  charge for a residential customer using 1,000 cubic feet per month is projected to
  increase from $53.99 to $67.72 per month. Once the KWA project and the
  GCDC-WWS’s WTP and related facilities are operational, the cost is projected to
  increase to $72.27 per month by 2018. GCDC-WWS community customers also
  add local charges ranging from 0 percent to 53 percent of GCDC-WWS RTS
  charges, and from 0 to 14 percent of GCDC-WWS’s commodity charges to their
  end users. The need to satisfy ordinance imposed additional bonds tests could
  also lead to higher rates.

  Long-term rate projections which compare obtaining untreated water from KWA
  and treating it themselves vs. obtaining treated water from DWSD, show more
  stable rates for both Flint and GCDC-WWS’s water customers. In the past,
  DWSD’s charges to Flint and GCDC-WWS, which historically have constituted
  a significant portion of both Flint’s and GCDC-WWS’s total water expenses,
  have increased more than typical inflationary increases. Much of Flint’s and
  GCDC-WWS’s future expenses will be capital which will not increase annually,
  with inflationary increases expected for operating costs. Therefore, rates are not
  expected to increase under KWA as they have under DWSD, and with
  appropriate rate increases, Flint and GCDC-WWS will be able to pay their
  respective share of the debt service on the System Bonds, the operation &
  maintenance expenses of the KWA project, plus the expenses of their own
  systems.

  A more comprehensive presentation of the analysis is included in this report. The
  document includes additional supporting data and assumptions made in the
  analysis to reach the conclusions presented above.

  Background
  Flint is supplied treated water from the DWSD, and GCDC-WWS purchases
  treated water from Flint. Flint’s water is distributed using DWSD line pressure,
  including the supply of GCDC-WWS’s Henderson Road facility, from where it is
  then re-pumped to GCDC-WWS customers.

  Flint and GCDC-WWS began to look at alternatives for a new water supply over
  ten years ago, and have more recently chosen to move ahead with the
  development of a new regional water authority to provide untreated Lake Huron
  water for both entities and possibly others.

  KWA consists of Genesee County, Lapeer County, Lapeer City, Sanilac County,
  and the City of Flint. KWA is a municipal authority incorporated under PA 233
  of 1955. KWA was established in October 2010 in order to have a more reliable
  supply of untreated water at rates that will be determined exclusively by the local
  communities. 1




  Report    of the Engineering Consultant                                                    902-6843.001
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  KWA will construct a 63 mile long raw water pipeline, the majority being
  located under or parallel to existing roads or within road rights-of-way.
  Beginning at Lake Huron, the principal roads along the pipeline are Fisher, Clear
  Lake, Kings Mill, Norway Lake, Klam, Stanley, Coldwater, Elba, and Millville.
  The proposed pipeline size changes over the length of the project starting at Lake
  Huron as a 66 inch diameter pipe and reducing as it continues west, to a 60-inch
  and then 36-inch diameter pipe. 7 The GCDC-WWS’s WTP will be supplied
  untreated water off of the 60-inch line, and the 36-inch diameter pipe will supply
  Flint’s system. A pump station and intake on Lake Huron in Sanilac County and
  an intermediate pump station in the northwest corner of St. Clair County are also
  part of the project.

  Flint has a contract with DWSD until April 17, 2014. Starting April 1, 2014, they
  will start using their own treatment plant and begin treating Flint River water on
  a temporary basis. Flint will treat KWA water once the KWA system is
  operational. GCDC-WWS will be required to build a new water treatment plant,
  with a 150 million gallon earthen reservoir, pump station, and five miles of water
  main running from the new treatment plant to the Henderson Road facility, at an
  estimated cost of $60,000,000 to provide treated water to Genesee County’s
  customers. GCDC-WWS has acquired 76 acres approximately 14 miles east of
  the City of Flint in Oregon Township in Lapeer County, which is expected to
  serve as the site of the County’s new WTP, reservoir and pump station. The new
  WTP and related facilities are expected to be constructed, and then fully
  operational between May 1, 2016 and July 1, 2016, with the KWA System
  expected to be fully operational by the same time. Until then, GCDC-WWS will
  continue to obtain its water from Flint through April 17, 2014 and then obtain
  water directly from DWSD.

  The purpose of this review is to determine the impact on water rates for Flint and
  GCDC-WWS customers associated with the financing and operation of the KWA
  project along with maintaining their current and proposed treatment and
  distribution systems. To do this, background information on the Flint and GCDC-
  WWS systems were obtained to determine needed improvements for
  implementing the KWA project and maintaining Flint and GCDC’s current
  systems. Existing technical reports were reviewed and various financial reports
  were analyzed, to determine the impact on rates. Before determining the impact
  on the rates of the two entities, the charges from KWA to Flint and GCDC-WWS
  were determined. GCDC-WWS recently completed a review of their water rates
  and, therefore, data is available to make projections on the actual rate
  components. Flint has not had a recent rate study, so the analysis examined the
  current revenue and the amount of change in revenue needed to fund the KWA
  project, in addition to maintaining Flint’s current system.




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  Description of the Systems
  Karegnondi Water Authority (KWA)

  The Project

  GCDC-WWS is constructing a lake intake on Lake Huron in Sanilac County, for
  which it supervised the design of the facility and awarded a construction contract
  in 2013. The intake will be operated by KWA. KWA is constructing the pipeline
  from Lake Huron to the Flint area and two pump stations, one of which will be
  located near the intake facility. These facilities collectively constitute the KWA
  System. The intake facility was financed with the proceeds of the Series 2013
  Bonds sold by Genesee County (the “Intake Bonds”). 1

  KWA contracted with the GCDC-WWS to administer the design and
  construction of the KWA System. On behalf of KWA, the GCDC-WWS has
  acquired 40 acres on Lake Huron for the intake and pump station and 40 acres in
  Lynn Township on the borders of Sanilac, St. Clair, and Lapeer Counties for the
  second pump station. In anticipation of the construction of the KWA System, the
  County has obtained a water withdrawal permit of up to 85 million gallons per
  day (mgd) from Lake Huron. GCDC-WWS hired project managers which have
  identified the route of the pipe line, identified environmental issues, prepared
  preliminary permits for the entire 63-mile route, and hired consulting firms to
  prepare detailed design of the remaining KWA System facilities. 1

  Maps of the KWA project are included in Appendix A-2. The three maps show
  the Lake Huron Pump Station, Lake Huron Raw Water Transmission Line,
  Intermediate Pump Station, and the Flint Transmission Line. In addition to the
  KWA projects, the maps show the Genesee County WTP (Stanley & Marathon)
  and Genesee County Finished Water Transmission Line, all being constructed by
  GCDC-WWS. The Lapeer Raw Water Transmission is shown but is not being
  designed at this time. Also shown on the map, is DWSD 120-inch, 96-inch, and
  72-inch water mains that now serve Flint and GCDC-WWS. A portion of the 72-
  inch line is owned by Flint. The Genesee County Henderson Road Pump Station
  is an existing facility and will continue to be used by GCDC-WWS.

  KWA currently has entered into two water purchase contracts, effective October
  1, 2013: one with Flint to supply up to 18 mgd and one with the GCDC-WWS to
  supply up to 42 mgd. The charges to be paid by Flint and GCDC-WWS in the
  Water Purchase Contracts are broken down into two distinct portions: an annual
  fixed or capital fee, and an annual commodity or operations and maintenance fee.
  1



  The estimated construction costs for the KWA system, excluding the intake, are
  $240,000,000 based on water contracts of 60 mgd capacity. KWA, GCDC-WWS
  and Flint have entered into a contract, under which KWA will issue bonds to
  finance the remaining facilities for the KWA System, presently estimated to be in


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  an amount not to exceed $300,000,000, in anticipation of payments to be made
  by Flint and Genesee County. 8 The bond amount includes the construction cost,
  capitalized interest, and bond reserves.

  Flint is working on the update of its WTP and expects to begin to use Flint River
  water as a temporary source by April 17, 2014 and is expected to start using
  KWA water for supply no later than July 1, 2016. Genesee County is expected to
  begin to purchase water directly from DWSD on April 17, 2014 and will
  continue with DWSD as a source until July 1, 2016 when they will begin using
  KWA water.

  Schedule

  A schedule of key activities and dates is presented below:

          October 2010 – KWA established

          Summer 2013 – Construction of water intake began

          October 1, 2013 – KWA entered into water purchase contracts with Flint
          and GCDC-WWS

          April 1, 2014 – Flint to begin treating Flint River water rather than
          purchasing water from DWSD

          April 17, 2014 – GCDC-WWS will begin purchasing water directly from
          DWSD

          Summer 2014 – Begin construction of the KWA water pipeline and
          pump stations

          May 1, 2016 – KWA system in operation (for this review, the KWA
          operation date is assumed to be July 1, 2016 which is a more
          conservative financial assumption)

          May 1, 2017 – First debt service payment of KWA bonds

  Customers

  KWA will initially have two customers, GCDC-WWS and Flint. Water
  purchased by Flint from DWSD has averaged 12,219,382 ccf per year between
  2010 and 2013. However, the usage trend has been slightly downward. Water
  sold to Genesee County by Flint increased between 2010 and 2012, but was 6.8
  percent lower in 2013 than 2012. It is estimated that Genesee County will deliver
  12 mgd to its customers, but due to non-revenue water (8 percent) in the
  distribution system and at the WTP (3 percent), they will initially need 13.44
  mgd of water from KWA. Water usage by City customers has been decreasing,
  but this trend appears to be subsiding, with estimated usage expected to stabilize


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  (Appendix C-2) (3,345,000 ccf). Due to non-revenue water loss in the
  distribution system (32 percent) and at the WTP (3 percent), the City will need
  10.4 mgd to supply its customers. (Non-revenue water is the difference between
  water purchased and water billed.) Therefore, Genesee County would account for
  56.4 percent of the initial need from KWA (13.44 mgd) and Flint would be 43.6
  percent (10.39 mgd). Table 1 and Figure 1 in the Work Notes – Report of the
  Engineering Consultant that is in Appendix A-1 provide a more detailed
  breakdown of the water needs discussed above.

  Expenses

  Operation and maintenance expenses for KWA’s two pump stations and the
  transmission main include labor, chemicals, power, administration, residuals
  handling and other maintenance cost, and are estimated to average $2,412,063
  annually for 2016 to 2018. Based on the 23.83 mgd needed, the average cost per
  million gallons is $277, or $2.07 per mcf. Operation and maintenance costs will
  be allocated to Genesee County and Flint based on their proportion of the initial
  raw water required (56.4 percent vs. 43.6 percent). More detail on the estimated
  operation expenses can be found in Appendix A-1 in Tables 2 and 3 of the Work
  Notes – Report of the Engineering Consultant. These cost projections are
  somewhat sensitive to the actual volume of water purchased. Power and
  chemicals are 60 percent of the total and are directly related to volume of water
  pumped. Maintenance is partially related to volume while the other costs are not
  related to volume of water. Therefore, these other costs will not change due to
  typical fluctuations in volume.

  Nearly $300 million of bonds will be issued for the KWA project. It is
  anticipated two series of bonds will be issued. The debt service payment from
  KWA system revenue is expected to begin on May 1, 2017. The annual bond
  payments, including the Intake Bonds, total an estimated $23 million. This
  assumes an interest rate of 5 percent on the first series of bonds and 5.25 percent
  on the second series of bonds issued, with the term for both being 30 years. The
  first series of bonds is projected to be in the amount of $220 million dollars, and
  the second series of bonds comprising the remaining $80 million. Based on 60
  units, the estimated annual capital cost per unit would be $383,333. A unit is
  equal to 1 mgd of peak month capacity. A breakdown of the debt service charges
  between Genesee County and Flint can be found in Table 5 of the Work Notes –
  Report of the Engineering Consultant in Appendix A-1. Additional entities may
  be contracted to purchase water from KWA in the future which would lower
  proportional costs, primarily for GCDC-WWS.




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  Genesee County Drain Commissioner -
  Water & Waste Services (GCDC-WWS)

  Water System

  The GCDC-WWS provides water and sewer service to nearly forty communities,
  totaling over 200,000 individual residents in parts of Genesee, Lapeer, Saginaw,
  Shiawassee, Oakland and Livingston counties. GCDC-WWS operates over 135
  miles of underground pipeline, twenty major water and wastewater pump
  stations, and over eighty minor stations are maintained on behalf of local
  communities, and eleven water storage tanks with over 43,000,000 gallons of
  storage capacity.4

  The GCDC-WWS water system includes the Henderson Road facility and Center
  Road complex which includes 31 mg of storage and over a 50 mgd high service
  pump station for the majority of the water delivered to GCDC-WWS customers.
  The distribution (including local municipalities) system includes 1,000 miles of
  pipeline ranging in size from 6-inch diameter to 48-inch diameter. The system
  also includes 8 elevated towers for a total volume of 7.5 mg and 4 additional
  booster pump stations. The system provides services in 18 political entities.
  GCDC-WWS provides the service as either a master meter customer (water is
  sold bulk and individual communities provide the distribution system and
  services) or retail customer basis, whereby GCDC directly provides service to
  those communities’ customers. Eight political entities are served as master
  metered. While GCDC-WWS serves the individual accounts including billing,
  the political entities are responsible for overall payment. The individual entities
  collect the revenues and reimburse GCDC-WWS for its services.

  The County will be required to build a new WTP at an estimated cost of
  $60,000,000 to provide finished water to Genesee County’s customers. GCDC-
  WWS has acquired 76 acres approximately 14 miles east of the City of Flint in
  Oregon Township in Lapeer County, which is expected to serve as the site of the
  County’s new WTP and related facilities described above. The new WTP and
  related facilities are expected to be constructed and fully operational by July 1,
  2016, the date on which the KWA System is expected to be fully operational
  (Note: startup could be as early as May 1, 2016, but July 1, 2016 is used as a
  more conservative financial review). A five mile pipeline will be needed to
  convey treated water to the existing Henderson Road facility.

  System Deficiencies

  System deficiencies have been identified in GCDC’s Sanitary Survey prepared
  by MDEQ as found in Appendix B-7. Deficiencies are predominately related to
  the local distribution systems and not the transmission system. The KWA project
  will address one of the comments by providing more reliability.




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  Customers

  GCDC-WWS currently purchases water from Flint, which purchases the treated
  water from DWSD. Genesee County’s payment to Flint is a flat rate surcharge,
  Detroit Readiness to Serve (RTS) based on peak consumption, plus a commodity
  charge equal to the charge from Detroit to Flint for the water. Through the
  second half of 2013 and through at least April 1, 2014, the DWSD commodity
  charge was, and still is $1.301 per metered hundred cubic feet. These charges
  were set on July 1, 2013 and typically increase annually. 11

  GCDC-WWS purchased 587,285,100 cubic feet of water from Flint in 2013.
  Purchased water and billed water from 2007 through 2013 can be found in
  Appendix B-1. The difference in water purchased and water billed is called non-
  revenue water.

  GCDC-WWS’s water charges are based on either community master meter
  readings or the summation of individual water meter readings within each
  community. Billable metered water volumes by community for 2011 and 2012
  for the water supply district are given in Appendix B-2.

  No growth in usage was assumed in the last rate study. Limited growth was
  assumed for the number of equivalent meters in the last rate study, but no growth
  is assumed in this analysis. 6

  Revenues and Expenses

  GCDC-WWS had $22,997,000 in water revenue in 2013 and $20,524,301 10 in
  expenses. In general, according to the last water rate study completed for GCDC-
  WWS, salaries and wages are expected to increase by 3 percent annually over the
  next few years, but fringe benefits are expected to increase from 2 percent to 8
  percent annually. In general, office supplies, dues and memberships, printing and
  publishing, professional and contractual services, repair and maintenance, and
  other operational expenses are projected to increase 2 percent annually. Utilities
  are expected to increase at 9 percent annually. 6

  GCDC-WWS currently pays a commodity charge, a Flint surcharge and a DWSD
  Readiness-to-Serve (RTS) charge to Flint for water. Flint passes on the revenue
  collected from the commodity charge and RTS to DWSD, and retains the
  surcharge. Starting April 17, 2014, the County will purchase water directly from
  DWSD until no later than July 1, 2016 when the KWA project and GCDC-WWS
  WTP project are expected to be finished. The cost of water from DWSD between
  2009 and 2013 increased an average of 11.4 percent annually. DWSD rates are
  expected to increase 10.3 percent starting April 1, 2014, an additional 9 percent
  starting July 1, 2014, and 10 percent starting July 1, 2015 (discussion by GCDC-
  WWS with DWSD). Changes in the cost of water from DWSD beyond these
  levels may further impact water rates to system customers.




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  The GCDC-WWS WTP is expected to commence operation no later than July 1,
  2016. Expenses for the water system have to be adjusted because of the KWA
  project.

  The KWA O&M costs were discussed previously, and the County will be
  responsible for 56.4 percent of such costs: $630,469 in 2016 (for a half year);
  $1,365,707 in 2017; and, $1,454,566 in 2018.

  GCDC-WWS will have additional O&M expenses due to a new WTP, expected
  to begin operation no later than July 1, 2016. Additional O&M costs are
  anticipated to be: $1,249,395 in 2016 (half year); $2,574,943 in 2017; and,
  $2,651,097 in 2018. Calculations for future O&M costs are in Appendix B-3.
  Annual debt service for the new WTP is estimated as follow:

          2015            $3,978,516
          2016            $4,027,813
          2017            $4,028,450
          2018            $4,026,725

  Capital Reinvestment/Depreciation on the new WTP is anticipated at $1,500,000
  per year starting in 2017.

  GCDC-WWS is funding the construction of the new water intake for KWA. The
  annual debt service will be approximately $2,529,000, beginning in 2014.
  However, GCDC-WWS will receive a credit equal to Flint’s share (30 percent)
  of the Intake Bonds payments starting in 2016 which will be credited to GCDC-
  WWS through their KWA capital payment.

  GCDC-WWS will also be responsible for 42 of 60 units, or 70 percent, of the
  annual debt service payments on the bonds. The KWA’s total annual debt service
  payment is estimated to be $23,000,000 which includes KWA projects including
  the Intake Bonds. GCDC’s annual payment will be reduced by the Intake Bonds
  payments and the annual payment by Flint for their share of the Intake Bonds.
  Payment will start in 2014 with payments approximately 10 percent of the
  projected amount. The GCDC-WWS’s net annual payment is estimated to be:

          2014            $1,356,600
          2015            $1,356,600
          2016            $7,465,800
          2017            $13,575,000
          2018            $13,575,000

  More detail on the expenses and payment can be found in Appendix B-3.

  The intake credit will result in GCDC-WWS’s share of the KWA bonds being
  approximately 66 percent, for an allocation of 70 percent of the KWA capacity.
  GCDC-WWS will pay 100 percent of the Intake Bonds payments.



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  A more detailed breakdown of the revenues and expenses for 2009 through 2012
  can be found in Appendix B-4, along with the budget for 2013 and projections
  for 2014 through 2018.

  Rates

  Water for the GCDC-WWS water system is billed for each customer based on
  water meter size plus metered consumption, and customers are charged for
  service on monthly, bi-monthly, or quarterly billings. Water bills are based on a
  Readiness to Serve (RTS) charge based on meter size and a commodity charge
  based on volume usage. In addition, each of the individual communities imposes
  their own rates and charges to recover the cost of local water utility services that
  they provide. As a result, each community on the system has different rates and
  charges in place which impact individual customers differently. 1

  Currently, RTS charges start at $14.59 per month for one equivalent meter which
  is equal to a 5/8-inch meter. Commodity charges are currently $3.94 per 100
  cubic feet, or $5.27 per 1,000 gallons of water consumed. These rates went into
  effect January 2, 2014. 12

  Where community bulk water readings are available, the readings are used as the
  basis for charges. The rates charged are based on a calculated equivalent meter
  size calculated on past peak usage for a community plus the actual water
  consumption measured at the community master meters. More information on
  rates can be found in Appendix B-6.

  The County charges a County Capital Improvement Fee (CCIF) for new
  connections to the water system of $1,000 per equivalent residential unit (ERU).

  The KWA O&M costs and the O&M costs for the new Genesee County WTP
  will be allocated to the customer’s commodity charge. The Capital Reinvestment/
  Depreciation expense will be allocated to volume. The annual expense for the
  KWA purchase, the credit for financing the construction of the water intake, and
  the GCDC-WWS WTP debt will be allocated 85 percent to the commodity
  charge and 15 percent the RTS component.

  Flint

  Water System

  The Flint Water Department is responsible for its WTP, four pump stations, and
  water testing laboratory, in addition to the dams, reservoirs, and underground
  infrastructure associated with those facilities. The total pumping capacity of Flint
  is 106.8 mgd with a firm capacity of 62.8 mgd. The WTP was put into service in
  1954. A service agreement with DWSD was entered into in the mid-1960s to
  supply water to the City for a 30-year period. The WTP currently provides
  treated water from the Flint River as a backup to the water provided by DWSD.
  The plant has historically operated approximately 20 days per year with average

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  production of 11 mgd, with a capacity of up to 36 mgd. The total source capacity
  from DWSD is over 70 mgd which includes water going to GCDC-WWS. A
  significant upgrade ($48 million) to the Flint WTP was completed in 2006 to
  meet state regulatory requirements. A recent contract agreement with KWA will
  require additional redundancy and treatment upgrades. In addition, other
  components of the WTP are in poor condition and in need of maintenance and/or
  replacement, including various mechanical and electrical equipment; security
  improvements; building additions and renovations; Heating, Ventilating, and
  Cooling (HVAC) systems; concrete and asphalt; and roofs. 2

  System Deficiencies

  The City of Flint has been studying its system and determining future needs. A
  survey of some of the evaluation is included in Appendix C-5. The system does
  have a higher than normal, non-revenue water amount. The City has developed a
  Capital Improvement Plan (CIP) which has resulted in identifying the following
  annual capital needs: $8,500,000 in FY 2014; $10,500,000 in FY 2015;
  $9,500,000 in 2016; $6,000,000 in 2017; and $6,500,000 in 2018 13. These funds
  will be generated through rates (see Appendix C-4). The CIP will help in
  addressing the aging system and high non-revenue water amount plus address the
  City’s WTP needs.

  Customers

  In 2013, Flint billed 32,702 customers and total consumption was 9,470,315
  hundred cubic feet of water. The City’s population was 101,515 in 2013. 9 Water
  usage by City customers has been decreasing in recent years, but this trend is
  expected to end and hold at 6.85 mgd (3,345,000 ccf). Due to non-revenue water
  in the distribution system (32 percent) and at the WTP (3 percent), the City
  would need 10.4 mgd to supply its customers.

  Historical information on the City’s customers and water supply system
  components can be found in Appendix C-2.

  Expenses and Revenues

  In Fiscal Year (FY) 2013 (July 1, 2012-June 30, 2013), Flint’s water system
  receipts from customers and users totaled $47,620,772. This included
  $12,957,337 from Genesee County for their commodity, surcharge and DWSD
  RTS. 9 Revenue from City customers is estimated at $34,640,394. Revenues the
  City receives from Genesee County are expected to cease starting April 17, 2014,
  when Genesee County begins purchasing water directly from DWSD until the
  KWA and GCDC WTP projects are finished.

  Water purchases from DWSD in FY 2013 totaled $23,308,800, and revenues
  received from GCDC-WWS paid for a portion of this expense. The average cost
  rate of water from DWSD between 2009 and 2013 increased an average of 11.4
  percent annually.

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  The City has a high delinquency rate on its customers’ water bill payments and
  this is expected to remain the same. The City is assuming non-revenue water will
  be reduced by 10 percent annually through improvements in the distribution
  system and enhanced management program.

  Salaries, wages and benefits identified in the Flint annual audits are expected to
  increase 3 percent annually. Utilities are expected to increase 9 percent annually,
  and other operation and maintenance expenses are expected to increase by 2
  percent annually.

  It is estimated that the operating expense for the Flint WTP, once it is fully
  operational, will be $1,762,580 in FY 2014 (one quarter of the year); $7,050,319
  in FYs 2015 and 2016; $7,584,319 in FY 2017; and $7,808,582 in FY 2018. 13

  Flint will be responsible for 18 of 60 units (30 percent) of the KWA bond
  payment. A portion of the payment will go to GCDC-WWS for Flint’s share of
  the Intake Bonds, resulting in Flint’s payment being approximately 34 percent of
  the KWA Bonds and GCDC paying 100 percent of the Intake Bonds. The City
  will begin paying $6,900,000 annually starting in 2017, but started paying 10
  percent of the full annual capital payment, or $690,000 in October 2013 and will
  continue with $690,000 in 2014, 2015, and 2016.

  The City will be responsible for 43.6 percent of the operation and maintenance
  costs of the KWA system. This will amount to $1,055,760 in FY 2017 and
  $1,124,451 in FY 2018.

  Debt service payments on the City’s outstanding water system bonds are
  estimated at $2,747,946 in FY 2014; $2,742,821 in FY 2015; $2,746,423 in FY
  2016; $2,748,446 in FY 2017; and $2,744,008 in FY 2018. A transfer to the
  General Fund of $1,130,000 was added for FYs 2014 through 2018 13, as it has
  been in the past for Return on Equity to the City.

  All of the figures and projections can be found in Appendix C-4.

  Rates

  Current water rates became effective July 1, 2012. Appendix C-4 provides the
  projections for revenue and expenses for the water supply system based on
  current operating procedures and anticipated future projects and timing.
  Appendix C-4 shows a negative net revenue for the water system, at least through
  2018 with existing rates. The projected capital expenditures include in the next 5
  years, approximately $20,000,000 to upgrade the WTP and approximately
  $17,000,000 to upgrade the distribution system. Much of the WTP capital
  improvements are required to enable the City to treat Flint River raw water and
  KWA raw water on a continuous basis. The remainder of the capital expenditures
  signifies a reinvestment in the City’s water infrastructure. The Capital
  expenditures also include setting aside funds for future equipment replacement



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  and other CIP reserves. These reinvestment expenditures would be required
  regardless of the water supply.

  Conclusion
  The current water supplier to Flint and GCDC-WWS has averaged over an 11
  percent annual increase. For the purposes of this review, similar increases are
  anticipated for the future. KWA only projects a 4 percent to 5 percent annual
  increase in the operation and maintenance portion of its expenses. GCDC-WWS
  rates are expected to be competitive compared to the current water supplier’s
  charges and should be more stable in the future as capital costs will remain
  constant. The City of Flint’s total cost in producing water is expected to be less
  than current costs immediately upon startup, and Flint should see lower increases
  in the future than what it has been experiencing recently. Future rate increases are
  forecast for both GCDC-WWS and Flint. However, the increases are projected to
  be less than if they both continued to purchase treated water from DWSD. Flint
  has developed a CIP and is working with a consultant to develop a financial plan
  which will start reinvesting in their water system infrastructure and develop a
  more sustainable financial condition for the utility.

  Future Rates
  The above review focused on the impact of the KWA project in the next five
  years. Rates beyond the next five years for each entity are discussed below. For
  all entities, the customer demand is expected to follow historical trends and
  remain stable.

  KWA has no additional capital forecast beyond 2018 at this time. Therefore,
  future rates will only need to be adjusted for inflationary increases for the O&M
  expenses. Any new KWA customers will be required to purchase capacity from
  an existing customer and/or construct new capacity at no cost to existing
  customers.

  GCDC-WWS establishes its rate structure on a five-year cycle. Rates set in 2013
  were the beginning of a new cycle. With over 59 percent of the rate related to
  new or existing debt (fixed costs) less than 41 percent of the expenses are subject
  to inflationary costs. The 2009 feasibility study assumed an average 5 percent
  rate increase on that portion of the expenses. GCDC-WWS has no new capital
  expenditures forecast past 2018.

  The City of Flint will need to address its system deficiencies. The analysis done
  on Flint’s rates includes additional funds to start addressing these deficiencies. A
  significant investment in the WTP is included in the near term analysis, so future
  needs will be less. The distribution system investment is projected to continue
  well beyond the near term analysis. Future rates will see inflationary increases,
  but the capital needs will stabilize.

  The above discussion does not include changes in regulatory requirements which
  could impact rates. No significant changes are anticipated at this time.


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  Sources/Footnotes
  1
        County of Genesee, State of Michigan, $35,000,000 Water Supply
        System Revenue Bonds (Limited Tax General Obligation) Series 2013
        Official Statement.
  2
        Existing Infrastructure Condition Report, City of Flint Master Plan, July
        2013, DLZ and Houseal Lavigne.
  3
        Master Plan For a Sustainable Flint – Infrastructure and Community
        Facilities Plan, adopted October 28, 2013.
  4
        Genesee County Drain Commissioner’s Office, Division of Water and
        Waste Services, 2014 Budget.
  5
        Wade Trim Report, Preliminary Engineering Report, Lake Huron Water
        Supply, Karegnondi Water Authority, September 2009.
  6
        GCDC-WWS Water Rate Review, Scenario 2, dated April 5, 2013 by
        Jones & Henry Engineers. Historical information provided by GCDC-
        WWS.
  7
        MDEQ Public Notice, December 5, 2013.
  8
        Stauder, Barch & Associates debt service estimate 11/20/13.
  9
        City of Flint, Michigan; Comprehensive Annual Financial Reports
        (Audits), Fiscal Years 2011, 2012, and 2013.
  10
        Genesee County Drain Commissioner – Water and Waste Services
        Financial Reports, Year-End 2013.
  11
        Genesee County Drain Commissioner – Water and Waste Services
        Personnel.
  12
        Genesee County Water Supply System, Rates for Service for Water Bills
        Rendered on or After January 2, 2014 (see Appendix B-8).
  13
        City of Flint (March 6, 2014)




  Report   of the Engineering Consultant                                                  902-6843.001
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                                                              APPENDIX A
                                                KAREGNONDI WATER AUTHORITY
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                         WORK NOTES - REPORT OF THE ENGINEERING CONSULTANT
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                              Appendix A-1

                 WORK NOTES
                  Report of the
              Engineering Consultant

                Karegnondi Water Authority




                               March 17, 2014



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     KWA Water Volume
     Table 1 summarizes the recent water purchases from DWSD and water sold by
     Flint to Genesee County. The Flint allocation represents the water billed and their
     non-revenue volume. The trend has been less usage by Flint, but it is anticipated
     the decline will stop, so an estimated annual usage of 3,345,000 ccf (6.85 mgd)
     has been used for future projections. Due to the age of the Flint distribution
     system, an estimated 32 percent of the water produced is currently lost, which is
     also termed non-revenue water (Source: City of Flint Existing Infrastructure
     Condition Report, July 2013, DLZ and Houseal Lavigne, Page 11). The
     calculations below indicate the non-revenue water may be higher. This would
     require that the water treatment plant (WTP) produce just over 10 mgd to meet
     Flint’s customer demands. However, it is assumed that 3 percent, or 0.31 mgd, of
     the water is used during the WTP process, so approximately 10.4 mgd would be
     necessary from KWA to supply Flint’s WTP.

     It is estimated that Genesee County will deliver 12 mgd of water to its customers.
     It is estimated that about 8 percent, or 1.04 mgd, is lost in the distribution system.
     This would mean that the WTP would have to produce 13.04 mgd in order to
     meet the demands (12 mgd) of Genesee County. However, it is assumed that 3
     percent, or 0.40 mgd, of the water is used during the WTP process, so
     approximately 13.45 mgd would be needed from KWA to supply 12 mgd to
     Genesee County customers.

     Figure 1 provides a graphic representation of the water amounts discussed above.
     Genesee County would account for 56.4 percent (13.45 mgd) of the initial need,
     and Flint would be 43.6 percent (10.39 mgd) of the initial need.

                                                     Table 1
                                   Recently Billed Water By Flint (ccf per year)
                                                 2010          2011          2012                     2013             Future
 Water Purchased From DWSD                   11,943,961 13,108,730 11,926,868                      11,897,969
                             1
 Sold To Genesee County                        6,166,322     6,211,823     6,301,528                5,872,851
 Flint Allocation                              5,777,639     6,896,907     5,625,340                6,025,118
                                                                                                                                3
 Billed To City of Flint Customers             3,681,068     3,929,083     3,348,319                3,597,464        3,345,000
 Flint Non-Revenue Water                       2,096,571     2,967,824     2,277,021                2,427,654
              2
 Total Billed                                10,027,390 10,140,906         9,649,847                9,470,315

 Flint Non-Revenue % of Flint Allocation                36.3%           43.0%           40.5%         40.3%
 1
     Genesee County rate reports
 2
     Flint Annual Audits
 3
     Represents approximate lowest level of water billed to Flint customers in recent years.


     It should be noted that even though the KWA fiscal year is October through
     September, these tables are based on calendar years.




     Work     Notes –      Report     of the Engineering Consultant                                  902-6843.001
     Karegnondi Water Authority                                                                 0 3 / 1 7 / 1 4 , P a g e |1
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  Operation and Maintenance Costs
  Table 2 provides a summary of the operation and maintenance costs for the
  KWA project, and calculations show that it costs approximately $277 per million
  gallons to operate and maintain the pump stations and transmission line.

                                                    Table 2
                                                  KWA O&M Cost
                                                                                             KWA
               Maintenance       Labor         Chemicals      Power         Residuals        Admin            Total
    2016          $339,525      $274,037        $116,872    $1,298,879        $39,226       $167,167       $2,235,706
    2017          $466,281      $282,258        $121,964    $1,337,846        $40,935       $172,183       $2,421,467
    2018          $562,995      $290,726        $127,256    $1,377,981        $42,711       $177,348       $2,579,017

   Average         $456,267     $282,340        $122,030    $1,338,235         $40,957      $172,233       $2,412,063

  O&M Cost / MG = $2,412,063 / 23.83 MG per day x 365 day per year ~ $277 / MG ($2.07 per mcf)

  Source:     Table 14-2, 2009 Report by Rowe Professional Services Company except power based on
              pumps selected during preliminary design of IPS and LHPS and initial operating conditions, and
              maintenance and KWA Administration reduced to 70 percent of original value due to lower peak
              demand (60 mgd v. 85 mgd).

  Estimated operation and maintenance costs, based on proportion of water
  purchased, are presented in Table 3.

                                             Table 3
                Estimated Annual Operation and Maintenance Costs (3-Year Average)
                    Annual Water     Water                    Operation & Maintenance Costs
                     Purchased     Purchased       %        2016          2017          2018
  Genesee County      655,783 mcf  13.44 mgd     56.4     $1,260,938    $1,365,707    $1,454,566
  City of Flint       506,963 mcf  10.39 mgd     43.6       $974,768    $1,055,760    $1,124,451
     Total          1,162,746 mcf  23.83 mgd     100.0    $2,235,706    $2,421,467    $2,579,017
  Note: Based on cost of $277 per mg or $2.07 per mcf. Calculated using an average O&M cost for 2016 to 2018.

  The costs calculated above are based on a calendar year, but the City of Flint’s
  fiscal year runs from July to June. Table 4 breaks down the operating costs
  presented above and allocates the semi-annual amounts to Flint’s fiscal year.

                                                 Table 4
                              Breakdown and Allocation of Flint Operating Costs
                                   2016 (Calendar Year)        2017 (Calendar Year)       2018 (Calendar Year)
   KWA Operating Cost                     $974,768                  $1,055,760                   $1,124,451

   Semi-Annual Breakdown           $487,384      $487,384     $527,880      $527,880      $562,226        $562,226

   Fiscal Year Allocation                         $1,015,264 FY 2017         $1,090,106 FY 2018




  Work      Notes –   Report     of the Engineering Consultant                                 902-6843.001
  Karegnondi Water Authority                                                              0 3 / 1 7 / 1 4 , P a g e |3
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  Capital Costs
  KWA bonds will need to produce $240 million in proceeds for the project.
  Approximately $300 million of bonds will be issued in two different series of
  bonds, including fully funded bond reserve and capitalized interest through the
  November 1, 2016 payments. The first debt service payable from KWA system
  revenue is May 1, 2017, essentially requiring the project to be in full service by
  the fall of 2016. The annual bond payments, including the Intake Bonds, total an
  estimated $23,000,000. This assumes an interest rate of 5 percent for the first
  series of bonds of $220 million and 5.25 percent for the second series of bonds of
  $80 million, with both series of bonds being 30 years duration.

  Based on 60 units, the estimated annual capital cost per unit would be $383,333
  per unit for construction. A unit is equal to 1 mgd of peak month capacity.

  Genesee County’s portion of the annual payment would be $16,100,000 (42 of 60
  units) and Flint’s would be $6,900,000 (18 of 60 units), as shown in Table 5.

                                               Table 5
                         Estimated Annual Debt Service Costs For Construction
                                Units (mgd)           %            Debt Service                          %
  Genesee County                    42                70               $16,100,000                      70
  City of Flint                     18                30                $6,900,000                       30
     Total                          60               100               $23,000,000                      100

  Total KWA Charges
  The total KWA charges for Flint and GCDC-WWS will be as shown in Table 6
  for 2016 and 2017.

                                                Table 6
                                   Total KWA Charges (3-Year Average)
                                                    Flint                              GCDC-WWS
  Capacity                                          30%                                    70%
  Initial Usage                                    43.6%                                  56.4%
  Capital (Annual Payment)                       $6,900,000                            $16,100,000
  O&M                                            $1,051,659                             $1,360,404
      Total Annual Charge                        $7,951,659                            $17,460,404




  Work    Notes –    Report    of the Engineering Consultant                                902-6843.001
  Karegnondi Water Authority                                                           0 3 / 1 7 / 1 4 , P a g e |4
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                                                                 PROJECT MAPS
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                                                              APPENDIX B
               GENESEE COUNTY DRAIN COMMISSION - WATER AND WASTE SERVICES
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                                                           APPENDIX B-1
                     HISTORICAL WATER PURCHASED AND SOLD - GENESEE COUNTY
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                                                                                                       TM
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                                         Appendix B-1
                Historical Water Purchased v. Sold – Genesee County (Cubit Feet)
                               Water
              Year          Purchased             Billable Water       % System Loss
              2007          719,759,400            668,814,441               7.08%
              2008          656,343,300            643,936,714               1.89%
              2009          616,325,400            594,736,958               3.50%
              2010          616,632,200            585,092,058               5.11%
              2011          621,182,300            581,675,986               6.36%
              2012          630,152,800            579,781,667               7.99%
              2013          587,285,100       534,000,000 estimated          9.07%


           Source:   County of Genesee, State of Michigan, $35,000,000 Water Supply System
                     Revenue Bonds (Limited Tax General Obligation) Series 2013 Official Statement;
                     Updates by GCDC-WWS Personnel.

                     2013 Billable Water Volume subject to minor changes after final meter reads and
                     audit of values.




  Report   of the Engineering Consultant                                             902-6843.001
  Karegnondi Water Authority                                                    0 3 / 1 7 / 1 4 , P a g e |1
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                                                           APPENDIX B-2
                           GENESEE COUNTY WATER SUPPLY SALES, 2011 AND 2012
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                                                                                                       TM
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                                            Appendix B-2
                                  Genesee County Water Supply Sales
                                                                               Average %
                                       2011                 2012              Increase Per
             Community                (cu. ft.)           (cu. ft.)           Year (11-12)
                  1
      Burton City                  60,577,973            62,145,013               2.59%
               1
      Clio City                     9,063,800             8,916,600              -1.62%
                 1
      Morris City                  11,257,800            11,276,200               0.16%
                          1
      Swartz Creek City            28,734,200            27,420,810              -4.57%
                      1
      Montrose City                 6,093,500             6,105,500               0.20%
                    1
      Flushing City                27,988,300            27,741,300              -0.88%
      Montrose Twp.                 5,131,160             4,707,630              -8.25%
      Vienna Twp.                  14,096,827            15,080,360               6.98%
      Thetford Twp.                    17,000                17,100               0.59%
      Flushing Twp.                22,618,810            23,471,530               3.77%
      Mt. Morris Twp.              33,325,560            32,816,330              -1.53%
                       1
      Genesee Twp.                 36,069,100            35,315,900              -2.09%
      Richfield Twp.                6,256,210             6,756,480               8.00%
      Clayton Twp.                  7,341,240             7,690,860               4.76%
      Flint Twp.                  102,186,779           103,711,109               1.49%
      Davidson Twp.                40,931,444            42,314,290               3.38%
      Gaines Twp.                   4,193,600             4,250,800               1.36%
      Mundy Twp.                   25,049,868            26,866,194               7.25%
                        1
      Grand Bl. Twp.              129,998,237           130,167,445               0.13%
      Hydrants                      1,786,526             3,010,216              68.50%

      Total                       572,717,934           579,781,667              1.23%
      1
          Master Meter

     Source:       Updated information provided by Genesee County Drain Commissioner – Water and
                   Waste Service Personnel.




  Report      of the Engineering Consultant                                          902-6843.001
  Karegnondi Water Authority                                                    0 3 / 1 7 / 1 4 , P a g e |1
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                                                           APPENDIX B-3
                                                GCDC WATER RATES WITH KWA
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                                                                                                             TM
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                                            Appendix B-3
                                GCDC-WWS Water Rates – with KWA


  x      Analysis started with the recently completed rate study for 2014 to 2018.

  x      Customer base remained the same.

         o       Equivalent Meters – No growth

         o       Commodity – No growth

  x      GCDC-WWS WTP will commence operation on July 1, 2016.

  x      CCIF Revenue projection has been reduced from the prior rate study of $575,000 per year to:

                        2014                 $275,000
                        2015                 $300,000
                        2016                 $300,000
                        2017                 $300,000
                        2018                 $300,000

  x      Adjustments to Expenses for 2014, 2015, 2016, 2017, and 2018.

         o       Detroit rates are expected to increase by 10.3 percent starting April 1, 2014, an additional
                 9 percent starting July 1, 2014, and 10 percent starting July 1, 2015. (Discussion by
                 GCDC-WWS with DWSD.)

         o       Removed Flint surcharge for water purchase starting April 1, 2014

         o       Water Expense to Detroit to continue until June 30, 2016

         o       Added KWA O&M (56.4 percent of Total, half year in 2016)

                        Year                   Total              GCDC-WWS
                        2016                $1,117,853              $630,469
                        2017                $2,421,467             $1,365,707
                        2018                $2,579,017             $1,454,566
                 All cost allocated to Commodity

         o       Add GCDC-WWS O&M for new WTP

                        $3.60 per 1,000 cubic feet = $481 per mg



  GCDC   –   WWS Water       Rates – With KWA                        Appendix B-3, 902-6843.001
  Karegnondi Water Authority                                                          0 3 / 1 7 / 1 4 , P a g e |1
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                        Inflate 3 percent per year

                        Treated Water Volume = 13.04 mgd

                        Year                     Rate                Total
                        2013                  $481 per mg            ---
                        2016                  $525 per mg         $1,249,395        (half year)
                        2017                  $541 per mg         $2,574,943
                        2018                  $557 per mg         $2,651,097
                 All cost allocated to Commodity


  x      Capital costs were added as follows:

         o       Capital Reinvestment / Depreciation Water Plant - $1,500,000 per year starting in 2017

                 All allocated to Volume

         o       Intake Debt Service

                               2014                           $2,529,423
                               2015                           $2,526,838
                               2016                           $2,527,388
                               2017                           $2,527,188
                               2018                           $2,527,588
                 All cost is allocated 85 percent to Commodity and 15 percent to RTS

         o       KWA Purchase

                        $383,333 per unit time 42 units equals $16,100,000 per year starting in 2016.

                        Starting in 2016, GCDC-WWS will receive a credit from KWA equal to Flint’s
                         share of the Intake Bonds – 30 percent of $2,527,188 equals $758,156.

                        Prior to July 1, 2016, approximately 10 percent will be paid annually to KWA of
                         the net amount.

                        Annual net expenses will be:

                               2014                           $1,356,600
                               2015                           $1,356,600
                               2016                           $7,465,800
                               2017                          $13,575,000



  GCDC   –   WWS Water      Rates – With KWA                       Appendix B-3, 902-6843.001
  Karegnondi Water Authority                                                       0 3 / 1 7 / 1 4 , P a g e |2
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                             2018                             $13,575,000
                         Net expenses will be allocated 85 percent to Commodity and 15 percent to RTS


         o       GCDC-WWS Water Plant and associated facilities Bond ($60,000,000)


                             2015                              $3,978,516
                             2016                              $4,027,813
                             2017                              $4,028,450
                             2018                              $4,026,725
                 Expenses will be allocated 85 percent to Commodity and 15 percent to RTS


         o       A KWA bond reserve fund will be established from a portion of the bonds’ proceeds.
                 Income from the bond reserve is estimated at an ultimate rate of 3 percent per year, with
                 1 and 2 percent earned in 2015 and 2016 respectively.

                        Estimated GCDC-WWS’s share is:


                             2015                                $156,800
                             2016                                $313,600
                             2017                                $470,400
                             2018                                $470,400
                         All bond reserve income will be allocated to commodity


         o       In the past, an additional 10 percent of the bonds’ principal and interest payments were
                 included in determining rates. The additional 10 percent was to assist with bond
                 payments during periods of low revenue. In lieu of the 10 percent add on, GCDC-WWS
                 will be including in the rate determination a non-cash item depreciation to provide
                 adequate coverage for the rates. In addition, the KWA bonds include a bond reserve from
                 the proceeds.

  x      Rates – See attached spreadsheet Appendix B-5 for rates per year. Even though future increases
         in DWSD charges have been projected, GCDC-WWS typically passes through the DWSD actual
         charges directly to the customers. The need to satisfy ordinance imposed additional bonds tests
         could also lead to higher rates. The rates in Appendix B-5 are only for the GCDC-WWS charges.
         GCDC-WWS community customers also add local charges ranging from 0 percent to 53 percent
         of GCDC-WWS RTS charges, and from 0 to 14 percent of GCDC-WWS commodity charges to
         their end users.




  GCDC   –   WWS Water      Rates – With KWA                        Appendix B-3, 902-6843.001
  Karegnondi Water Authority                                                        0 3 / 1 7 / 1 4 , P a g e |3
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                                                           APPENDIX B-4
                     EXPENSES AND REVENUES FOR GCDC WATER SUPPLY DISTRICT
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GCDC-WWS
3/4/2014

                                                                                                       Water Supply District Past & Projected Expenses & Revenues

           Category                                               2009              2010              2011              2012              2013             2014      2015-2018        2014              2015              2016             2017            2018            2016-1           2016-2
                                                                 Actual            Actual            Actual            Actual            Budget         % Increase   % Increase     Projected         Projected         Projected        Projected       Projected        Projected        Projected
  702.00   Salaries and Wages                                    $730,965.84       $839,286.72       $846,687.83       $737,745.13       $818,067.00       3.0%         3.0%             $842,609          $867,887          $893,924       $920,742          $948,364         $446,962         $446,962
  702.01   Salaries and Wages - Personal Time                           $0.00             $0.00             $0.00       $29,716.91        $38,600.00       3.0%         3.0%              $39,758           $40,951           $42,179         $43,445          $44,748          $21,090          $21,090
  702.02   Salaries and Wages - Vacation Time                           $0.00             $0.00             $0.00       $54,869.17        $57,540.00       3.0%         3.0%              $59,266           $61,044           $62,876         $64,762          $66,705          $31,438          $31,438
  702.03   Salaries and Wages - Holiday                                 $0.00             $0.00             $0.00       $45,851.84        $47,800.00       3.0%         3.0%              $49,234           $50,711           $52,232         $53,799          $55,413          $26,116          $26,116
  702.04   Salaries and Wages - Vacation Cash In                        $0.00             $0.00             $0.00       $17,516.72           $360.00       3.0%         3.0%                 $371              $382              $393            $405             $417             $197             $197
  702.05   Salaries and Wages - Separation                              $0.00             $0.00             $0.00             $0.00            $0.00       3.0%         3.0%                   $0                $0                $0              $0               $0               $0               $0
  709.00   Overtime                                              $130,515.49        $96,955.59       $107,960.46       $112,082.64       $123,000.00       2.0%         2.0%             $125,460          $127,969          $130,529       $133,139          $135,802          $65,264          $65,264
  710.00   Bonus                                                   $2,025.00         $1,875.00         $1,250.00         $1,400.00         $3,000.00       2.0%         2.0%               $3,060            $3,121            $3,184          $3,247           $3,312           $1,592           $1,592
  711.00   Insurance Opt Out                                            $0.00             $0.00        $1,000.00              $0.00            $0.00       2.0%         2.0%                   $0                $0                $0              $0               $0               $0               $0
  716.01   Fringe Benefits Taxes                                  $70,693.76        $69,125.91        $71,429.55        $77,216.30        $83,800.00       3.0%         3.0%              $86,314           $88,903           $91,571         $94,318          $97,147          $45,785          $45,785
  716.02   Fringe Benefits Pension                               $152,942.69       $160,527.84       $155,939.91       $144,802.41       $195,800.00       2.0%         2.0%             $199,716          $203,710          $207,785       $211,940          $216,179         $103,892         $103,892
  716.03   Fringe Benefits Medical - Active                      $215,210.29       $254,870.28       $242,958.33       $318,381.26       $367,500.00       7.0%         7.0%             $393,225          $420,751          $450,203       $481,718          $515,438         $225,102         $225,102
  716.05   Fringe Benefits Dental & Optical - Active              $25,515.52        $22,926.13        $24,344.51        $25,015.57        $30,500.00       7.0%         7.0%              $32,635           $34,919           $37,364         $39,979          $42,778          $18,682          $18,682
  716.09   Fringe Benefits Life - Active                           $8,469.38         $7,367.02         $5,871.77        $10,470.58        $11,000.00       7.0%         7.0%              $11,770           $12,594           $13,475         $14,419          $15,428           $6,738           $6,738
  716.11   Fringe Benefits Worker's Compensation                   $5,919.10         $8,755.54         $7,735.49        $16,714.26        $22,000.00       8.0%         8.0%              $23,760           $25,661           $27,714         $29,931          $32,325          $13,857          $13,857
  716.12   Fringe Benefits OPEB                                  $147,266.10       $161,047.15       $346,142.81       $500,609.13       $600,000.00       2.0%         2.0%             $612,000          $624,240          $636,725       $649,459          $662,448         $318,362         $318,362
  716.13   Fringe Benefits - Uniforms                                   $0.00             $0.00                          $5,208.20         $4,600.00       2.0%         2.0%               $4,692            $4,786            $4,882          $4,979           $5,079           $2,441           $2,441
  716.15   Fringe Benefits - Miscellaneous                         $4,098.28         $7,096.56          $4,268.88          $297.79             $0.00       2.0%         2.0%                   $0                $0                $0              $0               $0               $0               $0
  722.00   Clinic Expense                                            $856.46           $693.22            $626.22          $735.85         $1,000.00       2.0%         2.0%               $1,020            $1,040            $1,061          $1,082           $1,104             $531             $531

           Total Payroll Expenses                               $1,494,477.91     $1,630,526.96     $1,816,215.76     $2,098,633.76     $2,404,567.00                             $2,484,890.01     $2,568,670.43     $2,656,095.48     $2,747,364.09   $2,842,687.69    $1,328,047.74    $1,328,047.74

  726.00   Office Supplies                                          $2,398.59         $3,881.85         $3,705.96         $3,137.31         $4,000.00     2.0%         2.0%               $4,080            $4,162            $4,245           $4,330           $4,416           $2,122           $2,122
  727.08   Operating Supplies - Diesel                                  $0.00             $0.00             $0.00         $2,518.85         $5,000.00     2.0%         2.0%               $5,100            $5,202            $5,306           $5,412           $5,520           $2,653           $2,653
  727.09   Operations Supplies - Meters                                 $0.00        $44,554.21        $24,997.00        $83,535.43       $120,000.00     2.0%         2.0%             $122,400          $124,848          $127,345         $129,892         $132,490          $63,672          $63,672
  727.99   Operating Supplies - General                            $16,886.79       $106,637.09        $52,044.58        $43,777.77         $1,000.00     2.0%         2.0%               $1,020            $1,040            $1,061           $1,082           $1,104             $531             $531
  729.00   Lab Supplies                                             $3,502.32         $6,604.86         $7,450.28         $7,355.42        $10,000.00     2.0%         2.0%              $10,200           $10,404           $10,612          $10,824          $11,041           $5,306           $5,306
  731.00   Misc. Supplies                                           $2,047.06         $1,387.71         $1,999.62         $1,448.05           $500.00     2.0%         2.0%                 $510              $520              $531             $541             $552             $265             $265
  733.00   Postage                                                 $52,954.15        $48,422.10        $28,577.64           $377.90           $500.00     3.0%         3.0%                 $515              $530              $546             $563             $580             $273             $273
  734.00   Small Tools                                             $21,791.25         $8,740.66        $10,705.82         $4,423.84         $5,000.00     2.0%         2.0%               $5,100            $5,202            $5,306           $5,412           $5,520           $2,653           $2,653

           Total Supply Expenses                                   $99,580.16       $220,228.48       $129,480.90       $146,574.57       $146,000.00                              $148,925.00       $151,908.65       $154,952.13      $158,056.63     $161,223.39       $77,476.06       $77,476.06

  740.00 Dues and Membership                                        $5,598.99         $6,642.49         $3,993.24         $2,598.20         $4,500.00     2.0%         2.0%               $4,590            $4,682            $4,775           $4,871           $4,968           $2,388           $2,388
  745.00 Printing and Publishing                                    $1,538.92             $0.00        $21,960.70         $1,211.40         $1,500.00     2.0%         2.0%               $1,530            $1,561            $1,592           $1,624           $1,656             $796             $796
  760.00 General Insurance                                        $125,039.14        $62,745.08        $71,257.44        $82,336.10       $111,000.00     3.0%         3.0%             $114,330          $117,760          $121,293         $124,931         $128,679          $60,646          $60,646

           Total Other Expenses                                $132,177.05       $69,387.57        $97,211.38        $86,145.70        $117,000.00                                 $120,450.00       $124,002.30       $127,659.95      $131,426.07     $135,303.91       $63,829.97       $63,829.97

  801.01   Professional and Contractual Service Legal              $62,357.10        $52,053.93        $36,092.88        $40,980.89        $50,000.00     2.0%         2.0%              $51,000           $52,020            $53,060         $54,122          $55,204          $26,530          $26,530
  801.02   Professional and Contractual Service Engineering        $56,636.75         $3,573.63        $78,956.69       $211,100.14        $97,500.00     2.0%         2.0%              $99,450          $101,439           $103,468        $105,537         $107,648          $51,734          $51,734
  801.04   Professional and Contractual Services Cleaning                                 $0.00        $10,537.67         $7,220.99         $7,500.00     2.0%         2.0%               $7,650            $7,803             $7,959          $8,118           $8,281           $3,980           $3,980
  801.05   Professional - Cross Connection Contracts               $84,650.00        $78,000.00        $78,000.00        $78,000.00       $100,000.00     2.0%         2.0%             $102,000          $104,040           $106,121        $108,243         $110,408          $53,060          $53,060
  801.06   Professional and Contractual Service GIS                     $0.00             $0.00                          $43,300.00        $45,000.00     2.0%         2.0%              $45,900           $46,818            $47,754         $48,709          $49,684          $23,877          $23,877
  805.00   Permits                                                      $0.00             $0.00                               $0.00        $17,000.00     2.0%         2.0%              $17,340           $17,687            $18,041         $18,401          $18,769           $9,020           $9,020
  806.00   Security Expense                                         $3,688.82         $3,142.12         $3,571.08         $3,413.51         $5,000.00     2.0%         2.0%               $5,100            $5,202             $5,306          $5,412           $5,520           $2,653           $2,653
  808.00   Taping Service                                          $46,541.86        $45,554.52        $52,471.04        $36,643.20        $40,000.00     2.0%         2.0%              $40,800           $41,616            $42,448         $43,297          $44,163          $21,224          $21,224
  810.04   KWA O&M                                                                                                                                                                                                           $630,469      $1,365,707       $1,454,566                          $630,469
  810.05   GCDC O&M                                                                                                                                                     3.0%                                               $1,249,395      $2,574,943       $2,651,097                        $1,249,395
  810.01   Cost of Water - Commodity                            $8,635,352.28     $8,889,853.59     $9,461,016.46     $7,490,389.60     $7,668,000.00     21.7%        12.0%           $9,328,797       $10,450,507        $5,474,075              $0               $0    $5,474,075.00
  810.03   Cost of Water - Flint Surcharge                      $1,392,682.70     $1,398,666.00     $1,482,000.00     $1,254,000.00     $1,368,000.00      0.0%         0.0%             $342,000                $0                $0              $0               $0
  810.02   Cost of Water - DWSD RTS                                     $0.00       $546,936.00     $2,004,721.00     $3,035,015.72     $3,988,000.00     17.6%        12.0%           $4,690,497        $5,254,490        $2,752,352              $0               $0    $2,752,352.00

           Total Contracts                                    $10,281,909.51    $11,017,779.79    $13,207,366.82    $12,200,064.05    $13,386,000.00                              $14,730,534.00    $16,081,621.80    $10,490,448.30    $4,332,490.44   $4,505,340.25    $8,418,505.65    $2,071,942.65

  836.00   Rentals                                                                                                          $359.27         $2,500.00     2.0%         2.0%               $2,550            $2,601            $2,653           $2,706           $2,760           $1,327           $1,327
  845.01   Repairs and Maintenance Infrastructure                  $91,201.41       $123,048.38       $305,582.48       $168,615.71       $200,000.00     2.0%         2.0%             $204,000          $208,080          $212,242         $216,486         $220,816         $106,121         $106,121
  845.02   Repairs and Maintenance Building                        $18,519.30        $36,844.17        $28,379.64        $17,545.73        $25,000.00     2.0%         2.0%              $25,500           $26,010           $26,530          $27,061          $27,602          $13,265          $13,265
  845.03   Repairs and Maintenance Equipment                       $64,890.20        $60,681.97        $62,198.25        $89,967.76       $120,000.00     2.0%         2.0%             $122,400          $124,848          $127,345         $129,892         $132,490          $63,672          $63,672
  845.06   Repairs and Maintenance Software                             $0.00        $12,500.00         $3,670.00         $6,457.50         $5,000.00     2.0%         2.0%               $5,100            $5,202            $5,306           $5,412           $5,520           $2,653           $2,653

           Total Repair and Maintenance                        $174,610.91       $233,074.52       $399,830.37       $282,945.97       $352,500.00                                 $359,550.00       $366,741.00       $374,075.82      $381,557.34     $389,188.48      $187,037.91      $187,037.91

  845.07   Repairs and Maintenance Vehicles                       $190,986.66       $169,205.45       $197,938.23        $73,452.29        $57,000.00     2.0%         2.0%               $58,140           $59,303           $60,489         $61,699          $62,933          $30,244          $30,244
  845.08   Repairs and Maintenance Ground Care                      $7,401.88         $6,226.90        $15,406.30        $15,873.43        $20,000.00     2.0%         2.0%               $20,400           $20,808           $21,224         $21,649          $22,082          $10,612          $10,612
  845.09   Repairs and Maintenance SCADA                                                                                  $3,659.62         $5,000.00     2.0%         2.0%                $5,100            $5,202            $5,306          $5,412           $5,520           $2,653           $2,653
  846.01   Vehicles Fuel - Diesel                                                                                             $0.00         $8,000.00     2.0%         2.0%                $8,160            $8,323            $8,490          $8,659           $8,833           $4,245           $4,245
  846.02   Vehicles Fuel - Gasoline                                                                                           $0.00        $10,000.00     2.0%         2.0%               $10,200           $10,404           $10,612         $10,824          $11,041           $5,306           $5,306
  855.00   Community Utilities                                          $0.00             $0.00        $86,062.82        $50,600.38        $50,000.00     2.0%         2.0%               $51,000           $52,020           $53,060         $54,122          $55,204          $26,530          $26,530
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                                                                                                  Water Supply District Past & Projected Expenses & Revenues

           Category                                          2009              2010              2011              2012              2013             2014      2015-2018        2014                2015                2016                2017             2018             2016-1            2016-2
                                                            Actual            Actual            Actual            Actual            Budget         % Increase   % Increase     Projected           Projected           Projected           Projected        Projected         Projected         Projected
  856.01   Utilities - Electric                             $388,444.17       $368,868.30       $410,085.33       $366,566.12       $450,000.00       9.0%         9.0%             $490,500            $534,645            $582,763          $635,212           $692,381          $291,382          $291,382
  856.02   Utilities - Gas                                   $27,916.68        $10,890.52        $14,831.74        $23,869.08        $15,000.00       9.0%         9.0%              $16,350             $17,822             $19,425            $21,174           $23,079            $9,713            $9,713
  856.03   Utilities - Sewer & Water                            $808.96        $34,010.73        $29,878.06         $7,938.94        $10,000.00       9.0%         9.0%              $10,900             $11,881             $12,950            $14,116           $15,386            $6,475            $6,475
  854.04   Utilities Communication                           $18,137.08        $26,439.95        $22,276.59        $16,598.94        $20,000.00       2.0%         2.0%              $20,400             $20,808             $21,224            $21,649           $22,082           $10,612           $10,612
  857.00   Trash Removal                                           $0.00             $0.00                          $1,707.95         $1,500.00       2.0%         2.0%               $1,530              $1,561              $1,592             $1,624            $1,656              $796              $796
  864.00   Conferences and Seminars                           $1,386.78         $2,735.66          $539.50          $1,989.21         $2,500.00       2.0%         2.0%               $2,550              $2,601              $2,653             $2,706            $2,760            $1,327            $1,327
  876.00   Safety                                             $1,143.11         $4,245.53         $4,430.01           $593.54         $2,500.00       2.0%         2.0%               $2,550              $2,601              $2,653             $2,706            $2,760            $1,327            $1,327
  877.00   Outside Inspections/Testing                        $7,440.72         $9,551.49        $10,721.38         $9,740.76        $15,000.00       2.0%         2.0%              $15,300             $15,606             $15,918            $16,236           $16,561            $7,959            $7,959
  955.00   Misc. Operating Expenses                          $14,217.34        $17,572.36        $13,767.87        $18,850.61             $0.00       2.0%         2.0%                   $0                  $0                  $0                 $0                $0                $0                $0

           Total Operation Services                      $643,666.04       $632,174.53       $792,169.96       $572,590.26        $666,500.00                                 $713,080.00         $763,584.10         $818,360.11         $877,787.02      $942,277.85       $409,180.05       $409,180.05

           Administration Expense (Depts: 50,51,52,54)    $2,737,766.61     $2,798,842.50     $2,299,917.46     $3,055,779.00      $2,899,498.00     4.0%         4.0%            $3,015,478          $3,136,097          $3,261,541         $3,392,003        $3,527,683     $1,630,770.46     $1,630,770.46

  966.00 Easement/ROW Expenses                                    $0.00         $2,300.00        $10,464.70         $6,000.00              $0.00                  2.0%                      $0                  $0                  $0               $0                $0               $0                $0
         Capital Projects (91xx Funds)                            $0.00             $0.00         $3,355.02     $2,401,791.00        $346,900.00                  3.0%                      $0                  $0                  $0               $0                $0               $0                $0
         Capital Reinvestment/Depreciation Water Plant                                                                                                                                                                                       $1,500,000        $1,500,000               $0                $0
         Capital Reinvestment/Depreciation Recovery               $0.00             $0.00             $0.00             $0.00              $0.00                  3.0%            $1,962,890          $1,903,580          $1,903,580         $1,898,841        $1,898,841         $951,790          $951,790

           Total Capital Expense                                  $0.00         $2,300.00        $13,819.72     $2,407,791.00        $346,900.00                             $1,962,890.16       $1,903,579.66       $1,903,579.66       $3,398,840.66    $3,398,840.66      $951,789.83       $951,789.83

  994.00 Bond Principal Payments                          $1,135,000.00     $1,175,000.00     $1,210,000.00     $1,260,000.00      $1,310,000.00                                  $1,360,000          $1,415,000          $1,470,000         $1,530,000        $1,595,000          $735,000          $735,000
  995.00 Bond Interest Payments                           $1,967,363.76     $1,928,501.26     $1,885,338.76     $1,839,118.78      $1,794,834.00                                  $1,737,651          $1,683,131          $1,624,571         $1,562,939        $1,497,256          $812,286          $812,286
         Intake Debt Service                                      $0.00             $0.00             $0.00             $0.00              $0.00                                  $2,529,423          $2,526,838          $2,527,388         $2,527,188        $2,527,588        $1,263,694        $1,263,694
   42.00 KWA Water Purchase = 42 units                                                                                                                                            $1,356,600          $1,356,600          $7,465,800        $13,575,000       $13,575,000          $678,300        $6,787,500
         GCDC Water Plant Debt Service                            $0.00             $0.00             $0.00             $0.00              $0.00                                          $0          $3,978,516          $4,027,813         $4,028,450        $4,026,725        $2,013,907        $2,013,907

           Total Debt Service                            $3,102,363.76     $3,103,501.26     $3,095,338.76     $3,099,118.78     $3,104,834.00                               $6,983,674.25       $10,960,085.26      $17,115,572.26      $23,223,576.76   $23,221,569.13    $5,503,186.13     $11,612,386.13

           TOTAL EXPENSES                                 $15,928,785.34    $16,908,973.11    $19,551,433.67    $20,893,864.09    $23,423,799.00                             $30,519,471.34      $36,056,290.24      $36,902,284.61      $38,643,101.57   $39,124,114.03    $18,569,823.81    $18,332,460.81
           Total without Detroit & Flint                 $5,900,750.36     $6,073,517.52     $6,603,696.21     $9,114,458.77     $10,399,799.00                              $16,158,177.34      $20,351,293.24      $28,675,857.61      $38,643,101.57   $39,124,114.03    $10,343,396.81    $18,332,460.81
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                                                           APPENDIX B-5
                          GCDC-WWS PROJECTED RATES DURING KWA PHASE-IN
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                                                                                                                                                                                                                                                                                                                                                                                                      3/4/2014




GCDC-WWS - Projected Rates during KWA phase in

                   2/27/2014
Annual Rate
                                                                                       2014                                                    2015                                                     2016-1                                                 2016-2                                                  2017                                                   2018
Expense Item                            RTS       Commodity        Expense             RTS              Commodity           Expense            RTS              Commodity           Expense              RTS             Commodity           Expense            RTS              Commodity           Expense           RTS              Commodity           Expense           RTS              Commodity
Detroit Commodity1                                    100%     $     8,584,763    $          -      $      8,584,763    $     9,617,009    $         -      $      9,617,009    $     5,037,481    $          -      $      5,037,481                      $          -      $            -                        $         -      $            -                        $         -      $            -
Detroit RTS1                                          100%     $     4,690,497    $          -      $      4,690,497    $     5,254,490    $         -      $      5,254,490    $     2,752,352    $          -      $      2,752,352                      $          -      $            -                        $         -      $            -                        $         -      $            -
Flint Surchage                           100%                  $       342,000    $      342,000    $            -                         $         -      $            -                         $          -      $            -                        $          -      $            -                        $         -      $            -                        $         -      $            -
Unaccounted for Water                     90%          10%     $       744,034    $      669,631    $         74,403    $       833,498    $     750,148    $         83,350    $       436,594    $      392,935    $         43,659                      $          -      $            -                        $         -      $            -                        $         -      $            -
Administration                            50%          50%     $     3,015,478    $    1,507,739    $      1,507,739    $     3,136,097    $   1,568,049    $      1,568,049    $     1,630,770    $      815,385    $        815,385    $     1,630,770   $      815,385    $        815,385    $     3,392,003   $   1,696,002    $      1,696,002    $     3,527,683   $   1,763,842    $      1,763,842
Existing Debt                                         100%     $     3,097,651    $          -      $      3,097,651    $     3,098,131    $         -      $      3,098,131    $     1,547,286    $          -      $      1,547,286    $     1,547,286   $          -      $      1,547,286    $     3,092,939   $         -      $      3,092,939    $     3,092,256   $         -      $      3,092,256
Intake Debt                                15%         85%     $     2,529,423    $      379,413    $      2,150,010    $     2,526,838    $     379,026    $      2,147,812    $     1,263,694    $      189,554    $      1,074,140    $     1,263,694   $      189,554    $      1,074,140    $     2,527,188   $     379,078    $      2,148,110    $     2,527,588   $     379,138    $      2,148,450
Depreciation                                          100%     $     1,962,890    $          -      $      1,962,890    $     1,903,580    $         -      $      1,903,580    $       951,790    $          -      $        951,790    $       951,790   $          -      $        951,790    $     3,398,841   $         -      $      3,398,841    $     3,398,841   $         -      $      3,398,841
Transmission O&M                                      100%     $     2,127,441    $          -      $      2,127,441    $     2,206,226    $         -      $      2,206,226    $     1,144,634    $          -      $      1,144,634    $     1,144,634   $          -      $      1,144,634    $     2,376,831   $         -      $      2,376,831    $     2,469,272   $         -      $      2,469,272
O&M Retail                               100%                  $     2,068,695    $    2,068,695    $            -      $     2,145,305    $   2,145,305    $            -      $     1,113,027    $    1,113,027    $            -      $     1,113,027   $    1,113,027    $            -      $     2,311,199   $   2,311,199    $            -      $     2,401,087   $   2,401,087    $            -
KWA O&M                                               100%                        $          -      $            -                         $         -      $            -                         $          -      $            -      $       630,469   $          -      $        630,469    $     1,365,707   $         -      $      1,365,707    $     1,454,566   $         -      $      1,454,566
GCDC WTP O&M                                          100%                        $          -      $            -                         $         -      $            -                         $          -      $            -      $     1,249,395   $          -      $      1,249,395    $     2,574,943   $         -      $      2,574,943    $     2,651,097   $         -      $      2,651,097
KWA Purchase/Debt Services                 15%         85%     $     1,356,600    $      203,490    $      1,153,110    $     1,356,600    $     203,490    $      1,153,110    $       678,300    $      101,745    $        576,555    $     6,787,500   $    1,018,125    $      5,769,375    $    13,575,000   $   2,036,250    $     11,538,750    $    13,575,000   $   2,036,250    $     11,538,750
GCDC-WWS WTP Debt                          15%         85%     $           -      $          -      $            -      $     3,978,516    $     596,777    $      3,381,739    $     2,013,907    $      302,086    $      1,711,821    $     2,013,907   $      302,086    $      1,711,821    $     4,028,450   $     604,268    $      3,424,183    $     4,026,725   $     604,009    $      3,422,716

Total Expenses                                                 $    30,519,472    $    5,170,968    $     25,348,504    $    36,056,290    $   5,642,795    $     30,413,495    $    18,569,835    $    2,914,732    $     15,655,103    $    18,332,472   $    3,438,177    $     14,894,295    $    38,643,101   $   7,026,796    $     31,616,305    $    39,124,115   $   7,184,325    $     31,939,790

Non-Rate Revenue Deducts
KWA Bond Reserve Income                               100%                  $0                $0                  $0          ($156,800)              $0           ($156,800)         ($156,800)               $0           ($156,800)        ($156,800)               $0           ($156,800)        ($470,400)              $0           ($470,400)        ($470,400)              $0           ($470,400)
County Capital Improvements Fee                       100%           ($275,000)               $0           ($275,000)         ($300,000)              $0           ($300,000)         ($150,000)               $0           ($150,000)        ($150,000)               $0           ($150,000)        ($300,000)              $0           ($300,000)        ($300,000)              $0           ($300,000)
Miscellaneous Revenue                      49%         51%           ($378,000)        ($185,220)          ($192,780)         ($378,000)       ($185,220)          ($192,780)         ($189,000)         ($92,610)           ($96,390)        ($189,000)         ($92,610)           ($96,390)        ($378,000)       ($185,220)          ($192,780)        ($378,000)       ($185,220)          ($192,780)

Revenue Needed from Rates                                           29,866,472         4,985,748          24,880,724         35,221,490        5,457,575          29,763,915         18,074,035         2,822,122          15,251,913         17,836,672        3,345,567          14,491,105         37,494,701       6,841,576          30,653,125         37,975,715       6,999,105          30,976,610

Customer Base
   Equivalent Meters                                                                     361,267                                                361,267                                                   180,634                                                180,634                                                361,267                                                361,267
   Commodity (100 cu ft)                                                                                   5,855,610                                               5,855,610                                                2,927,805                                               2,927,805                                              5,855,610                                              5,855,610

Rate
  RTS (per ERU)                                                                   $        13.80                                           $       15.11                                           $        15.62                                          $        18.52                                          $       18.94                                          $       19.37
  Commodity per 100 cu ft                                                                           $           4.25                                        $           5.08                                         $           5.21                                        $           4.95                                       $           5.23                                       $           5.29

Typical Bill
   5/8" meter - RTS                           1                                   $        13.80                                           $       15.11                                           $        15.62                                          $        18.52                                          $       18.94                                          $       19.37
   cu ft/mo                                           1,000                                         $          42.49                                        $          50.83                                         $          52.09                                        $          49.49                                       $          52.35                                       $          52.90

Total                                                                             $        56.29                                           $       65.94                                           $        67.72                                          $        68.02                                          $       71.29                                          $       72.27


1.
     Detroit expenses determined by adding an expected 10.3% in charges starting April 1, 2014, 9% starting July 1, 2014, and adding an additional 10% to then current charges starting July 1, 2015.


Current Rates
  RTS (per ERU)                        $14.59
  Commodity per 100 cu ft               $3.94

Current Typical Bill
   5/8" meter - RTS                  $ 14.59
   1,000 cu ft/mo                    $ 39.40
Total                                $ 53.99
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                                                           APPENDIX B-6
                                         GENESEE COUNTY WATER SUPPLY RATES
Case 4:20-cv-12726-MFL-DRG ECF No. 1-2 filed 10/07/20            PageID.701       Page 641 of 726
                                                                                                 TM
  Jones & Henry Engineers,       Ltd.                                              Fluid thinking...




                                            Appendix B-6
                             Genesee Water Supply Minimum Charge Rates
                                     09/02/2012 -
                    Meter Size        09/01/2013     09/02/2013   01/02/2014
                        (in)           Charge          Charge      Charge
                  Individual Meters
                        5/8                   $13.38      $14.59        $14.59
                        3/4                    20.07       21.89         21.89
                           1                   33.45       36.48         36.48
                       1-1/2                   66.90       72.95         72.95
                          2                   107.04      116.72        116.72
                          3                   200.70      218.85        218.85
                          4                   334.50      364.75        364.75
                          6                   669.00      729.50        729.50
                          8                 1,070.40    1,167.20      1,167.20
                         10                 1,605.60    1,750.80      1,750.80
                         12                 2,876.70    3,136.85      3,136.85
                  Indirect Rates
                        5/8                   $13.38      $13.53        $13.53
                        3/4                    20.07       20.30         20.30
                           1                   33.45       33.83         33.83
                       1-1/2                   66.90       67.65         67.65
                          2                   107.04      108.24        108.24
                          3                   200.70      202.95        202.95
                          4                   334.50      338.25        338.25
                          6                   669.00      676.50        676.50
                          8                 1,070.40    1,082.40      1,082.40
                                     09/02/2012 -
                                      09/01/2013     09/02/2013   01/02/2014
                                      Charge/EM      Charge/EM    Charge/EM
                  Equivalent Meters
                         25               $3,295.75    $2,241.75     $2,241.75
                         50                 6,591.50    4,483.50      4,483.50
                         80               10,546.40     7,173.60      7,173.60
                        120               15,819.60    10,760.40     10,760.40
                        165               21,751.95    14,795.55     14,795.55
                        215               28,343.45    19,279.05     19,279.05
                        320               42,185.60    28,694.40     28,694.40


                            Rate Per 100 cubic feet of consumption
                            09/02/09 - 09/01/10            $2.54
                            09/02/10 - 09/01/11            $2.76
                            09/02/11- 09/01/12             $2.96
                            09/02/12 – 09/01/13            $3.18
                            09/02/13- 01/01/14             $3.53
                            01/02/14                       $3.94


        Source:    GCDC-WWS




  Report   of the Engineering Consultant                                         902-6843.001
  Karegnondi Water Authority                                              0 3 / 1 7 / 1 4 , P a g e |1
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                                                           APPENDIX B-7
                                                  2011 MDEQ SANITARY SURVEY
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                                               STATE OF .M.lCHIGAN

                            DEPARTMENT OF ENVIRONMENTAL QUALITY
                                                     LANSING
 RICK SNYDER                                                                                           DAN WYANT
   GOVERNOR                                                                                                DIRECTOR




                                                      September 7,2011



    Mr. John O'Brien, Director
    Genesee County Drain Commissioner                                                  WSSN: '2615
    G-4610 Beecher Road
    Flint, Michigan 48532

    Dear Mr. O'Brien:

    SUBJECT:         2011 Sanitary Survey
                     Genesee County Water System

    Enclosed is a copy of the sanitary sLirvey completed by this department covering the
    Genesee County water system. This report is being submitted for your review and
    comment.

    Your attention should be directed to pages 27 through 33, which details our
    observations, conclusions, and recommendations. Also, pages 33 and 34 provide a
    brief summary of the individual items that need to be addressed and gives the pages in
    the report where those items are discussed.

    The items vary in priority and are listed without ranking. In general, improvement
    continues to be taken towards water system preventative maintenance. The need for
    an adequate supply of water for domestic use and fire protection will continue to
    increase as long as residential, commercial, and industrial growth continues in Genesee
    County_

     Item #1 discusses the need to establish adequate stand-by water service for Genesee
     County.

     Items #2, 3, and 6 discuss preventative maintenance and operational issues. This
     includes the need to continue establishing a prioritized valve turning program. Next,
     any remaining outdated meters should be changed out and the upgrade to a radio-read
     system should continue to be promoted among your retail customers. Finally, the Clio
     Road elevated tank should be scheduled for repainting.

     Item #4 discusses the need to continue upgrading areas of WWS's water system that
     are in poor condition.




               CONSTITUTION HALL' 525 WEST ALLEGAN STREET. P.O. BOX 30473 # LANSING, MICHIGAN 48909-7973
                                          WINW.miohigan.gov/deq • (800) 662-9278
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     Mr. John O'Brien                        2                                September 8, 2011


     Item #5 discusses the need to conduct a new water system study and master plan by
     2015.

     Item #7 discusses the need to operate the stand-by chlorination equipment at the
     Henderson Road and Center Road pump stations on an occasional basis.

    We wish to thank your staff for their time, and for the assistance given, during the
    survey and preparation of the report. As always, we are .available to meet with you to
    discuss the report in more detail.

                                                 Sincerely,           '.

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                                                                'v
                                                                      /PrA1/. :]..~,e'?l~)~
                                                                                     /
                                                                                     {./

                                             Michael F. Prysby, P.E., District Engineer
                                             Lansing District Office
                                             Resource Management Division
                                                 517-335-6122

     Enclosure

    cc:   Mr. Dave Jansen
          Mr. Tim Davidek
Case 4:20-cv-12726-MFL-DRG ECF No. 1-2 filed 10/07/20   PageID.705   Page 645 of 726




                     GENESEE C UNTY DRAIN
                        C MISSIONER




                       DISTRIBUTI N SYSTE
                         SANITARY SURVEY
Case 4:20-cv-12726-MFL-DRG ECF No. 1-2 filed 10/07/20   PageID.706   Page 646 of 726




                     ENESEE C UNTY DRAIN
                        C    ISSI NER
                     DISTRIBUTI N SYSTEM
                       SANITARY SURVEY




        Report By:



                         Michael F. Prysby, P.E., Distrid Engineer



                                    September 6, 2011
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                                    Acknowledgments

        The Michigan Department of Environmental Quality wishes to thank those
        involved in putting this survey together. A special thank~you goes to the Genesee
        County Drain CommissiorHi~ri especially the Division of Waste & Water employees
        Tim Davidek, Matt Raysin, Mark Horgan, Dave Jansen} and John O'Brien for tileir
        time and patience in compiling the requested data.
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                      ENESEE C UNTY DRAIN
                         CO   1581 NER
                      DISTRIBUTI N SYSTE
                        SANITARY SURVEY


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                                       WATER SYSTEM ~EVIJ;W

     WSSN 2615         Supply Genesee County Drain Comroissioner_                                  County Genesee
     Dates 7/13/2011 & 8/3/2011                  Reviewed by J:.1FP                                           District 11

     primary Contaot:         John O'Brien                                  Copy To:               'rim Davidek ._,,_•.__
     'fi tle:                 Director      ----~                           Title:                 Chief of 0&1'1
     Telephone:               (8TOT~73 2 ~ '7 8 '7 0                        Telephone:              ( 8 ttlL.2 3 2 -7 8 '7"~0,-----
     Address:                 G-46l0 Beecher Road                           Address:               Same
                              Flint,   1:11.   ~8_53?.. _____.




                                       Year: 2011                 Basis: MDEQ E:st. of reta:\.l customers
     Distribution Classification:                3-1                                                          Cert.                   ID if
                 Operator in Charge:            Tim Davidek
                                                ............,~~.-~~,~~.---~"""'~~"--.~-
                                                                                                              S-l

                       Other Operators:         Jeffrey Bryson
                                                Vernon Brenner
                                                Joe Anklam
                                                 RI'Ch·a.rd Bysko (Back-up)
                                                 Dave lTansen
                                                 "'SCC:-h-a-;-n~n-o-;-n--";;H-oC;-l'd-e-r--"----

                                                 Mark Horgan
                                                 Bill Hostetler
                                                 Jan Jones




                                                Steven Olson
                                                Steven Pelky
                                                Leslie Rogers
                                                Ronald Schroeder
                                                St-everl-Sha s k1-';:;I""I-~---
                                                Lony Smith
                                                James Thom12son

                       Treatment Capacity:                   55.0 lViGD

     Treatment Classifica.tion:                  D-1
           Operator in Charge:                   Dave Jansen                                                  D-1,     2-1

                       Other Operators:         Joe Anklam
                                                Jeffrey Bryson
                                                Vern Brenner
                                                 Connie-Hohm:=an-~---~

     Operator Certification                Con~ents:

     The Waste    &.   TJilater Services Division (WW8D)                f    continues a proactive position to'rJards
                                                                                                                                               1
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                                                                                                           Page         2

    promoting operator certificatio~ and maintains incentives for achieving operator
    certification. The WWSD maintains a mandatory certification requirement for any
    distribution system employee who ',,:Lahee to -advance from an operator assistant
    position to an operator position. A bonus incentive program is also in place for
    operators who obtain distribution system certificat.ion above the level required
    for their specific position. Certified operators h~lp protect the county's
    investment in the system, and help ensure that the system mec"ts the requirements
    of the SDfflA.

    Table 1.         Opera. tor, pos.i tion:!;1.
                OPERATOR POSITION                              :REQUIREMENTS
    Operator Assistant 1                                        None                                                    I
    Operator Assistant 2
    Ope.rator      "
                                                           I    None
                                                                S 4
    Maintenance Mechanic
    Equipment Ope.rator
    Senior 0&1"1 Ope.rator                                      S-4 or minimum of 4 years            e;~pe.rience

     0uperv.i
   f-c;-.       so:cy level                                     S-3


    Introductory Comments:
    The Genesee County Drain Commissioner serves vlater to a large percentage of
    Genesee County directly frOm the Detroit Water and Sewerage Department (DWSD) or
    through the city of Flint. Water service is p.rovided to 19 wholesale and retail
    customers (8 wholesale and 11 retail customers).
    The wholesale customers purchase water from the county through master meter(s) and
    these customers own and maintain the distribution system piping within their local
    service area. Each wholesale customer has established its own water department.
    The retail customers have very little involvement v~:i:th wi",:iter utility operation..
    The lIJWSD controls design, construction, and operation of the water system for
    these customers. The retail customers, however, are responsible for collecting -the
    water bills from their individual accounts.  Table 2 below shows the breakdown of
    the county's wholesale and retail customers.

    Table 2. Wholesale and                Re,!::~;j.l   Customers      ~E _Ge~.esee       _County

    Wholesale Customer            Number of Aooounts        Retail Customer               Number of Acoounts
                                                                                                                    I
    City
    ~  . of Burton                   6,656                   Clayton 'l'ownshl.p               865
    City of CllO                        993                  Davison Tovmship                2,636
    City of Flushing          J      3,8QO                   Flint Townshic           I
                                                                                             7/557                  I
    City of Mt. Morris               1,211                   FlushingTownsbip
                                                                                                            ~
                                                                                             2/538
    City of IvJontrose                 650                   Gaines Township                   487
    City of Swax:t z Cr.             2,173                   Mt. Morris TWp.                 3,152
    Genesee Township                 2,129                   t>1ontrose Township               284
    Grand Blanc Twp,                 6,592                 I Mundy Township                  1,365
                                                             Richfield Township                667
                                                             Vienna Townsh1.p                1,184
                                                             The.tford Township                 4

     Total Wholesale                24,204                  'rotal Reta1.l                  20,739

                                                                                                                        2
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                                                                                                                                                                    Page   3


    The 2011 population estimate is based our August 3, 2011 sanitary survey meeting,
    An estimate of 3.4 persons per account was used to obtain the population f3stimate.
    Genesee County's estimated retail service area population is approximately 70,500
    people.  'l'he combined ",holesale  and   retail  customer  service   area   sexves
    approximately 153,000 people,


    WELL INFORMATION
    One 6-inch test/exploration well 'f!aS constructed at the Henderson Road pump
    station site. The test-well was construct"d to a depth of 365 feet with a 6-inch
    PVC casing to 200 feet.    The well was pumped at 220 GPM with a draNdo'Nn to 60
    feet. Layne estimates that the aquifer could support a 350 '"400 GPM well for 10ng-
    term pumpage and possibly above 500 GP~1 for: a short-term emergency supply.    The
    NWSD has not decided whether to proceed in converting the test well to a
    production Nell for additional emergency capacity.


                                                          WATER USAGE

    TABLE 3. - PRODUCTION HISTORY
     (units in Million Gallons Per Day MGD)

     YEAR     Avg Dax:             Max Day              ,1>.'1g J?.il:Y(J'la~ Mo.                                 Max/Avg      G/C/D   % UnAcct H2O                  *
     1996      11.4                19.2                   14.8                                                     1. 68               1.1
     1997      12.8                22.8-'·'               20.1                                                    -1.78""-             1.5
     1998                          25.3                 -19:'T--"-"·--'-~

    "199'9 13-:7"'---               21-.-8-                21.1                                                    1. 59
                                                                                                                  ------
                                                                                                                                       :r:-cr----
     2000      12.9                 NA -----               18.3                                                                        1.1
     2001      13.8                 26.5                 - 22 , "()~---'-~--                                       1. 92               1.5
     2002     liJ . 8              27.5                   21.4                                                     1. 86               ....              ......,_
    2olJ3     T4:1'-"'''-          26.3                   20.2                                                     1. 83
                                                                                                                                              ~v.~_~~~




    2004      14.1                 22".-0--                17,6                                                    1. 56
    2005      15.0                 24.9                    19.6                                                   -n-6-                                  -, -
                                                                                                                                                   ........ ....
    2006       12,1                24.6                    20,7
                                                                                                                                       ~-


                                                                                                                   2.03
    2007      14-:5·----           19-.7--                 18.2                                                    1. 36
                                                                                                                                       ........-...-~--

     2008     1:.§.4               '19:9--                 18.5 .......................              ..           --'r:r~i'-
     2009     12.6                 18.9                    16.4                                                    1. SO
                                                                                          ".,....~        ~----




     2010     12,6
              --,,_._._.-          22.0                    18.8                                                    1. 75




     Five year Max Day 24.6 MGD                             Date              Summer 2006
     Ten year Max Day ----;;-2,,7~.,,5----,-;~1""G_;;;;_D-- Date              Summer 2002
     Five year Avg Day 13.0 MGD
     Max Day for capacity requirements                                            27.5 L'-1GD




                                                                                                                                                                           3
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                                                                                     Page   4

     Annual Max Day Usage @ each meter pit (2000-2007)


     Center Rd in:      Total flow measured at the South Genesee Road meter pit.
     Center Rd out:     Total pumpage out from the Center Road North (eRN) Booster Pump
                        station, this will not equal the metered flow in since some the
                        total flow is taken from storage at Center Road.
     'J:'ctal flow:     Sum of the flows measured at Genesee, Belsay, Iri.sh, Oak,
                        Potter Road meter pits.



     2000:

     Total flow:    1'1A - SCADA failure
     Center Rd in: NA
     Center Rd out: 21. 5 MG
     Donaldson:        3.0 l-1G
     2001:

     Total flow:    26.5 MG           estimated due to SCADA failure
     Center P.d in: 15.7 MG
     Center Rd out: 23.2 MG         (three pumps ran)
     Donaldson:      3.0 MG

     2002 :

     Total Floyi':  27.5 MG
     Center Rd in: 16.3 [VIG        (three pumps ran)
     Center Rd out: 21. 0 MG
     Donaldson:      3.0 MG
     2003:

     Total flow:    26.3 i'-1G
     Center Rd in: 15.9 MG
     Center Rd out: 19.3 MG         (three pumps ran)
      Donaldson:            tvlG

      2004 :

     Total Flo,,!;  22.0    MG
     Center Rd in: 11. 4    MG      (three pumps ran)
     Center Rd out: 16.8    1:-1G
     Donaldson:             MG


      2005:

      ~['otal   Flow:   24.9 MG
      Center Rd in:          MG     (three pumps ran)
      Center Rd out:         MG
      Donaldson:             MG




                                                                                            4
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     2006:

     Total now:       24.6 MG
     Center: Rd in: 15.7 MG
     Center: Hd out: 17.0 rJlG   (three pumps ran)
     Donaldson:            MG


     2007:

     Total Flow:      19.7 MG
     center Rd in:  18.2 MG      (three pumps ran)
     Center Re out: 18.0 MG
     Donaldson:            MG


     The Henderson Road pumping station has been in service since 2006.     'l'he nm,
     pumping station pumps between 3 and 6 MGO into Genesee County's North Loop and
     reduces the dema,nd off the Center Road pump station.
     The Center Road South (CRS) pump station has been in service since 2007. The CRS
     station pumps water to the eastern portion of Grand Blanc Township and to the
     Vassar Road station.       '

     The W'"v\lSD modified their monthly operation report in 2008 to include average day
     and max day pumpage from each of the major pumping stations as a result of their
     SC.ADA system improvements.     Pumpa.ge data from each pump station since 2008 is
     displayed as follows:


     2008
                                 Avg    Day      Max Day
     Total Flow:                 13.4 MGD                  MGD
     Henderson Rd:               5.19   tvlGD    7.07 t-1GD
     Center Rd North:            6.83   MGD     10.54 [':!GD
     Center Rd South:            0.74   lYIGD   10.07      MGD
     Noble Street:               0.28   MGD      1. 07     MGD
     Houran 8tree.t              0.00   MGD      0.00      MGD     *
     Donaldson Rd                0.00   MGD      0.00      tVlGD

     2009
                                 AV2 Day         ["lax     Day
     Total Flow:                 12.6 MGD                  j\1GD
     Henderson Rd:               3.44 MGD        6.91 MGD
     Center Rd North:            4.66 NGD        7.00      IvJGD
     Center Rd South:            1. 77 MGD       5.38      MGD
     Noble Street:               0.29 lV!GD      O. -; 9   JY1GD
     Houran Street               0.00 NGD        0.00      MGD     *
     Donaldson Rd                0.00 MGD        0.00      MGD




                                                                                                   5
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                                                                                                     Page   6
     2010
                             ~_':!.Y          Max D8J:
     Total Flow:             12.6 11GD              MGD

     Henderson Rd:            3.14 MGD        7.37 MGD
     Center Rd North:         3.83 MGD        6.19 1'1GD
     Center Rd South:         2.46 1'1GD      5.83 MGD
     Noble Street:            0.38 ~1GD       1.13 MGD
     Houran street            0,00 MGD        0.00 MGD     *
     Donaldson Rd             0.00 iYIGD      0.00 MGD




        "   The Houran Street station pumps \-vater; however:, the station is not metered
        thus no flow was shown in the pumpage data. Flow through this station is
        estimated by accounting pUlllp run time ',,;ith the approximate capacity each
        pump(s} that is(are) operated.

        Pumpage obtained from the SCADA system and reported in the monthly reports is
        slightly less than the purchased water reported in the annual pump age report.
        This is attributed to a portion of the county's customer base being provided
        water upstream of the Center Road pumping station (direct connections to the
        30-inch transmission main) .




                                   WATER      SYST~~       STORAGE

                                     Locati.on:      Location:         Location:
                                     Maple &         Bouran St        Beech~£.JS_Si
                                     Center Rd       & Beecher'
                                     North          -'--'-."--


     VolUllle                          5.0 t':1G     Two 2.0 MG         1.0 MG
     +Type                             Ground        St.Ground         Elevate~
     O.F. EleVation                    38.0 ft       778:"5     Ft      93"OFt OSGS
     Date Constructed                  1988~­            1970           1970
     Date Inspected                  --~r6'~~
                                                                        2005
     Date Painted Inside               concrete                       1996----
     Paint System                                                       3 coat exp
     Date Painted Outside                                2005           1996             -
     Cathodic Protection                                 Yes 1992      No
     High Alarm                        Yes               Yes            Yes
     Low Alarm                         Yes           ---yes--~          Yes'---~-

     +Type                             SCADA         SCADA              SCADA
                                                                                 <, \l




                                                                                                            6
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                                 Location:        Location:             Location:
                                 Noble st        Orgould AV             Clio   Rd
                                                 & Pierson

    Volume                        4.0 MG         0.50 MG                1.0 MG
     +'rype                      Standpipe       ~r"O\.irld             Composite
    O.F.   Elevation             930ft           793ft                  930ft OSGS
    Date   Constructed           ~~~
                                                   ?                 198'2"-"-
    Date   Inspected             2011                                   2011
    Date   Pai~ted Inside        2000                                   1999
    p,,,int System               3 coat epxy                            3 coat epxy
    Date Painted Outside         2000                                   1999
    Cathodic Protection          -Yes--I9~                               no
    High Alarm                    Yes            QUt"OI--ser            Yes
    Low Alarm                                    out of ser
    +Type                                        'out of ser




                                 Location:         Location:             Location:
                                 McKinley Rd       clio Plaza            Pierson Rd
                                                                         & Elms Rd
                                 ARTP   ,-~--
                                                                          ------
    Vol uxn~;                     0.5 MG           0.10 MG
    +Type                        lElevate--cr-     Elevated-"-
    O.F. Elevation               784ft             855ft
    Date Constructed             1975                  1974
    Date Inspected               2010 -warr                                   ?
    Date painted Inside          1994-~"--~


    Paint System                 3 coat exp
    Date Painted Outside         2009                  1974
    Cathodic Protection          Yes
    High A1arm                   Yes                                      out of ser
    Lolo,1 Alarm                 Yes                   No                 out of ser
    tType                        SCADA                                    Sill t _.0 f _~~.E.



                                Location:          Location:             Locati.on:
                                center Rd          Vassar Rd             Henderson Rd
                                South

    Volume                        6.3 MG           1. 0       tvlG            2-10.0 MG
    +'l'ype                      Ground            Ground                     GrounL
    O.F. Elevation
    Date Constructed             2005                  2003                   2004
    Date Inspected               '2"006"-----          2003                   2004
    Date Painted Inside          NA                NA----                 -NA--~

    Paint System                 Concrete              Concrete            Concrete
    Date Painted Outside         NA                    NA                     NA
    Cathodic Protection          NA ------             NA    --"~"---     '"NA"~-~-

    High Alarm                   ~-­               ""ye-s----                 Yes
    Low Alarm                    Yes                   Yes                    Yes
    +Type                        SCADA                                        SCADA


                                                                                                           "1
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                                                                                                               Page   8

                                     Location:
                                     Houran st

    Volume                            2.0 MG
    +Type                            ~atecrTcomposi te
    O.F. Elevation
    Date Constructed                 2006
    Date Inspected                   2006---·
    Date Painted Inside              'N:!\0----
    Paint System                     3 coat ep
    Date Painted Outside             2006
    High Alarm                       Yes
                                     yes-·_-_
    Low Alarm
                                                           o
                                                               _--




    +'I'ype                          SCADA


    Total Osable Storage              46,400,000 galions                              46.4   mil. gal.
    Total Usable Storage/l"jax Day    168.7
                                     __    """"'M"""~"'"
                                                           %

    Total Usable Storage/Avg Day      331.4                %

    Comments:

     The CLi.o Plaza tank is not monitored on the county's SCADA system l instead it,s
    status is noted on a chart recorder and the chart is changed on a weekly basis.
    Repairs to the tank's roof were completed i.n 2010 and the tank remains in service.
    Genesee County has determined that they own the Clio Plaza tank.
     The Or-gould Avenue tank   and the ground sto:cage                         tank at      Pierson and 81ms     Road
     remain out of service.
     'Ihe eRN ground storage tank was inspected in 2007 by Dixon and the tank \-Ias found
     to be in good condition. SomE, minor access hatch :cepair was recommended.
    Pm adequate air-gap has been provided on the CRS ground storage tank between the
     terminus of the tank overflo'tl and top of the catch basin drain! s impoundment.

     The 2-Mgal hydro-pillar at Houran Street houses repair equipment and a portable
     stand-by power generator at its base. The water level in the tank is controlled by
     an altitude valve located at its base.     This tank will be due for a routine
     inspection within the next few years.

     The altitude valves at each of the Henderson Road ground stol:'age tanks \'II6re
     replaced with pressure / flow control valves. The new valves along with the SCADA
     system upgrades monitor and control flow to each tank.

     The Clio Road and Noble street tanks were recently inspected.                               Both tanks were in
     good strucotural ccmdi tion.    The         Clio                Road   tank's   exterior    and    dry   interior;
     however! needs to be repainted.




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                                          Distribution

     Pumping Station        Center Road North (eRN) Booster Pump Station




     Pump nUInber                    1             2           3              4
     Year installed                  1990                      1990       --f9]-C)"---
     +Type                                                  Hor Centr     Hor Centr
     Permit Capacity                                          6.7 MG-6      6.7 MGD
     Permit TDB                                             --,----
     Current Capacity              8,5 MGD                    8.5 l'1GD     8.5 MGD
     +Basis                        est.                       est.           esE.
     Current TDH                 ~~-                          211 ft      --ll1ft
     HP                          ~350--
                                                              350           350
     IJest Complete Inspection     2007           2004      --200-4- --2004
     Last Efficiency Test             ?
                                 -........:----        '?          ?           ?

     CO!ll..'TIents:
     The CRN station's main    purpose is to pump vlater to west Grand Blanc Twp and to
     locations fUrther west   in Genesee County (930 Ft press. district).     A ne;'1 pwnp
     station (Center Road     South     CRS) was recently constructed and WWSD staff
     continues to determine   the most efficient mode of operation between both Center
     Road pumping stations.   Pwnpage from each station changes from summer to winter.
     The permit capacity of each pump     at CRN was 6.7 MGD, how"ever, these pumps a:re
     capable of pumping approximately 8.5 - 9.0 1'1GD.  Pumps # 1 and #2 are controlled by
     a variable frequency drive (VFD) , Pumps #3 and #4 are constant speed pumps.
     Pump #1 or pump #2 operate constantly and s,re controlled by the v,rater level in the
     SaginavJ Street elevated tank in Grand Blanc Township. WWSD's SCADA system can
     s'l'li tch the control point for the CRN station to the elevated tank at Beecher Road.
     Pumps #3 and #4 serVe as back-up pwnps for the eRN station.
     Pumpage from eRN has decreased with the commissioning of the Henderson Road and
     the Center Road South (CRS) pmnp stations.
     2002-2005:

     Work was completed on upgrading the svvitch gear for Pumps #3 and #4. An automatic
     transfer switch 't'las also installed and has improved the reliabLUty of secondary
     power sou:cce at this location.     The gas chlorine feed system was replaced with a
     Accu-Tab Series 30000 tablet feeder by PPG. The system's maximum delivery is 1. PPM
     chlorine at 21 MGD. The minimum delivery is 0,5 PPM at 15 MGD, The chlorine feed
     system was provided for emergency use only,

     2005-2011 :

     Ne't'I VFDs were installed on pumps #l and #2 in 2008. Also, Pump #1 was re-built in
     2007 and included replacement of the pump bearings, volute, motor bindings, etc.


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                                                                                                                                       Page 10

     Auxiliarv Power
     +Power Type
     +Fue}. Type
     Capacity
     Starting Frequency
     Load Testing Frequency

     Total PlJI(tp Capacity        34.0          mgd
     Firm Pump Capacity __ E.      . 5~_         mgd
     Aux. Power Capacity__~?________ rugd
     Max Day Demand This Location                   10.5* rugd

     A'Vg Day Demand This I,ocation                 5.1* mgd

     Firm Pump Capacity/Max Day                     >100 *%

     Aux Power Capacity/Avg Day

     Comments:


          vlab;"r dcaIUands   on eRN has decreased fm:ther with increa.'5ing use of the CRS
          station. The        Henderson Road pump station and North Loop also continues to
          provide \'late:c    to the western portion of the county with an average pumping rate
          between 3 and       6 MGD.

          Water plJI(tpage data speci.fic to each pump station is available since early 2008
          with the recent SCADA system upgrades. Pumpage has varied from station to
          station during this time as the role of operation between each station is
          adjusted in order to increase the efficiency of operation.




                                  Noble Street Booster Pump Station
                      Location: South end of Noble Street, Flint                                                   l~wnship




                      Functi.on: Allows for full use of the 4.0 MGAL Standpipe
     Pump number                            1                              2
     Year installed                         2001
     +Type                            ~Centr-
     Permi.t Capacity                     1. 0 MGD
     Permit TDR                        140 FT
     Current Capacity                  1.08 MGD
     +Basis                          _ est:.___ _
     Current: TDR
     HP                                     40                              40
     Last Complete Inspection              2011*                            2011*
     Last Efficiency Test            -_-__~l~.9~~Gl~_~_-"_-,   - 2001
                                                                  .... .................
                                                                           ~               ......-...,......".-




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    Comments:

    The Noble Street pumping station 'aas constructed in :2001 and allows for full use
    of the adj acent 4.0 MGAL standpipe. The purnp stat ion increases the hydraulic grade
    line to the Beecher Road tank ,mel reduces the peak d,:,mands.   A flow-contro.}. val,18
    is used to control the floltl into and from the standpipe.

    The pu..rnps and appurtenances are greased and maintained several times per year.
    The pumps and appurtenances appear to be in good condition and overall
    housekeeping is acceptable.

    * The Noble Street standplpe was inspected by Dixon in 2011 and components of the
    pump station (piping, pump/motor) "ere visually inspected and found to be in good
    condition.


    Total Pump Capacity         2.16       mgd

    Firm Pump Capacity     1.08            mgd

    Aux. Power Capacity    NIt             mgd
    Max Day Demand This Location            1.13    mgd      (2010)

    Avg Day Demand This Location            O. 32 .•.mgd

    Firm Pump   Capacity/~1ax    Day        96%

    Au?: Power Capacity/Avg Day             NA
    Comments:

    'rbe SCA.DA system continues to provide average and m2J.X day pumpage data from this
    pump station.    Some of the existing SCADA components are being replaced vlith neWer
    equipment.




    Pumping Station           Hour-an Street: pumping Statiorl
                  Location: rIoux-an Street near Beecher              .:~<2...ad




                  Function:           2.tation operates as
                                  ~~bis                                   a        peaking    facili1:L...2:.~rin"g_high
                                  demand peri52.9..§...:..
    Pump number                        1              2                  3                                 5
    Year: installed                    1970"-         1970                                                1970
    +Type                        Hor Centr        'iro-r Centi-                                          Har CentrO
    E'er'mit Capacity              3.0 MGD        -2:-o"-rYIGD                                            3.0 MGD
    Current Capacity
    +Basis
                                   3.0 MGD
                                 "-est-.--
                                                   2.0 t'1GD
                                                    est.
                                                                       2.0 J.vlGD
                                                                       est.
                                                                                             3.0 ~lGD
                                                                                              est.
                                                                                                         -'es
                                                                                                          3.0 t MGD
                                                                                                                .-.-.---..                ~~,-.



    Current TDH                    200 ft            225 ft            225ft"                 225 ft     2"25 ft
    HP                             125             "-125          -125-""-              ---r5-0~-
                                                                                                               150
    Complete Insp.                 2004             2004'--"        2004                     2004              2004
    Last Efficiency Test         --~.?~~-."~           ?                   ?                   ?
                                                                                                          ~-?-.---~--
                                                                                                        ...   M_~_"'   ....'" .............. _ _




                                                                                                                                                   11
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                                                                                                            Page 12


     Comments:

     The Houran Street station's main mode of operation is to pump from the existing
     ground storage storage tanks to the new 2-Mgal elevated tank. The elevated tank
     basically "floats" on the system. This mode of operation utilizes Pumps 3-5 and is
     controlled manually from the SCAD]\,_ system. The station can also pump water
     directly to the distri.bution system through Pumps 1-2. Water can also be obtained
     through the Donaldson Road pit from the city of FLi.nt; hovvever( this connection is
     not routinely used. The station can also provide the c1 ty of Flint an emergency
     supply of water through the Donaldson Road connection.

     During low demand pe:dods,      water re-fills the ground storage    reservoirs
     immediately upstream of the station through a 12-inch main from the county. The
     station( including the ground storage reservoirs, are typically taken out of
     service during the winter months.
     Overall housekeeping at this facility remains acceptable. All H'ITe pumps are
     maintained including routine greasing of the pump and motor bearings. Security
     cameras have been p,rovided at the pump station.


     Auxiliary PO"!£E__ None


     'rota1 Pump Capacity - -13.0
                              - - - - mgd
     Firm Pump Capacity     10.0            mgd
     Max Day Demand This Location           __mgd       VARIES
     .~vg   Day Demand This Location        _ _mgd      VARIES        (approximately 3.0 lY1GD)

     Firm Pump Capacity/Max Day               ? %

     Aux POI"ier Capacity /Avg Day            ? %


                               Henderson Road Booster 1i>tml.p Station
                    Location: Henderson Road

                    Function: Boosts pressures to feed North Loop

     Pump number                       1                2                  3
     Year installed                    2004             2004               2004
     +Type                         11'O"rcenti-·    Tio:;~-centr-"'    Hor Centr
     Permit Capacity                 8. 0   ~1GD     8.0 NiGD            14.0 MGD
     Permit TDH                      255 ft          255 ft             255 ft
     Current Capacity                8.0 MGD                             14.0 J.V1GD
     +Basis
     Current TDR                     255 £t         ~5""-~                 255 it
     HF                              500
     Last Complete Inspection ----------
                                                       500                800
                                                                       -,--.~~,~~--   ......   --
     Last Efficiency Test            ---

     Comments:

     The Henderson Road pumping station was constructed in 2004 and has been in
     operation since April 2006.       The station's average day pumpage has ranged between
     3 and 6 MGD.  P\.h'1\pS #1 and #2 are equipped with a VFD.
                                                                                                                  12
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                                                                                                           Page 13


     The sta-c:LOl1 has operated on only one pump to maintain system demand.                       It has not
     been necessary to operate the larger pump.


     +Power Type                __ '1000 kW minimum rating engine generator
     +Fuel Type                    #2 Diesel
     Capacity                   --sIzed for 24 HR operation of engine under full load
     Starting Frequency           weekly, auto switch::over up'"'O'i1'Po~oss
     Load Testing Frequency     __ l/~
     The auxiliary power generator ran under load for several hours in 2010 during an
     interruption in electrical power,

     Total Pump Capacity      30.0     mgd
     Firm Pump   Capacity~,Q..          mgd
     Aux. Power Capacity__~?______~ mgd
     Max Day Demand This Location        7.40 mgd         (2010)
     Avg Day Demand This Location       .,.}.9_mgd
     Firm Pump Capacity/Max Day         >100%
     Aux Power Capacity/Avg Day         >100%
     Comments:
     The Henderson Road pumping station is equipped with gas chlorination for emergency
     use only,   The feed system consists of two-150 pound cylinders on a direct read
     scale, two Wallace and Tierman vacuum operated solut,ion feed pumps with a maximum
     capacity of 500 pounds per day, arid a vacuum regulator '.",ith automatic switch-over.
     Additional application points are provided at the reservoir inlets.       A Wallace &
     Tierman two point chlorine gas leak detector and gas sensor with a sensitivity to
     1.0 part per billion is provided.
     An automatic chlorine residual analyzer monitors                             chlorine   residual      on   the
     discharge side of the pump station at all times.
     Y'rwSDstaff should consider operating the emergency chlorination system several
     times per year to verify that the equipment operates properly and that WWSD staff
     maintain familiarity with the operating procedure.


     Pumping Station       Vassar Road Booster Pump Station
                   Location: Vassar Road, Grand Blanc Township

                   Function: Provides additional flows and pressure in SE GBL                      T"~p.

     Pump number                     1               2                     3
     Year installed                  2001          2001                    2005
     +Type                       Hor Centr      Hor Centr                Hor Centr
     Permit Capacity             -, 1. 4 MGD     0.7 MGD                 ---y;-;r"MGO-
     Permit TDH                  -i7!)·~         27S....;.f......t _ _   -275 it
                                                                                                                 13
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                                                                                                       Page 14

     Current Capacity                  1.4 ttlGD          0,7 MGD         1.4 MGD
     +Basis                            est.               est.
     Current TDH
     HP                              ---r25--         '12~r-"-'           ·J.25~--~


     Last Complete Inspection New in 01               New-Ii1"'"dl        New in 05
     Last Efficiency Test       2001     .~~~-
                                                          2001            2005
     Comments:


     The Vassar Road pumping station was constructed in 2002.    This station pumps water
     from the Vassar Road ground storage tank located adjacent to the pump station to
     the Bald'''iin Road elevated tank (1,125 n press district), The station has improved
     flows and pressure to the SE portion of Grand Blanc Township.     The water level in
     the tanK is controlled by an altitude valve and flow from the station is
     controlled by a flow control valve and an upstream pressure sustaining valve. A
     third pump was added to the station in 2005. All three pumps are VFD controlled.
     Security cameras were recently installed.

     Total Pump Capacity         3.5          mgd

     Firm Pump Capacity        2.1            mgd

     Aux. Power Capacity_..Bt:._____ mgd

     Ma.x Day Demand This Location            ~lngd

     Avg Day Demand This Location             _-:NA mgd
     Fi.rUl Pump Capacity/Max Day              NA

     .1'mx Power Capacity/Avg Day              NA

     Comments:     A portable stand-by power generator is provided and consists of a 206
     KIlA . trailer mounted gE2<nerator that ·utili zes diesel, fuel.    The generator has
     automatic switch-over and lightning surge protection.            The generator starts
     automatically on a vieekly basis under no load.




                                Center Road South (eRS) Booster Pmnp Station

                     Location: Center Road          El:ns.L M~g._ AVE0,ye

                     Function: Boosts pressures to east portion of Grand Blanc Twp
     Pump number                                            2                3
     Year installed                 2006               ~OO6-~                2006
     +Type                                             Hor Centr          Hor Centr
     Permit Capacitv                                   .....§.:.~"!:lgL
                                                                          ~6:0·-MGD
     Permi t 'l'DH  -
     Current Capacity             6.0 MGD                 6.0 MGD--         6.0 MGD
     +Basis                       est.                     est.                   est.
     Current TDR
     HI?                          400                      400              400
     Last Complete Inspection ·-2"'"""0""'O""'6-~­        2006
     Last Efficiency Test    -ZO~---                      2006
                                                                                                            14
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                                                                                                                        Page 15


    Comrnents:
    The current capacity of e,,~ch pump is approximately 6.0 r1GD.    The combined capacity
    of the station with 2 pwnps operating i.s approxirnateJ.y 11 ~:lGD. All three pumps are
    VFD controlled.
    The CRS station pwnps water from the adjacent 6.3 MGAL ground storage tank and
    distri.butes it the eastern portion of Grand Blanc Township - Saginaw tank (970 Ft
    press. dis,trict). The ground storage tank is equipped with an altitude valve to
    control the tank level. A flow control valve is also provided in order to control
    the upstream pressure in the 30-inch transmission main along Center Road. System
    St2tuS is monitored and controll.ed at the ~'lWSD administrati V8 office via ffi\lSD's
    SCl..DA system.

    The station is fenced and security cameras are provided.


    +Power Type                     1040 KW on-si,~~~l)..5'~§lt9E_,"
    +Fuel Type                     Diesel
    Capacity                       Operates 2 l:?~l!l.P"!?'" __
    Starting Frequency           .-l:.L'::i'ek under load,
    Load '1'esting Frequency       weekly'


    Total Pump Capacity        17.0       mgd



    Aux. Power Capacity      11.0         mgd

    lxlax   Day Demand This Location                10.1 mgd (2008 )

    Avg Day Demand 'rhis    J~ocation               1. 66 .mgd

     firm Pump Capacity/Max Day             - >100
                                                ..........   "~.~"~~-
                                                                        %

    AIJX    Power Capacity/Avg Day                      >100 %

     The most recent ADD has increased to between 2 and 3 MGD as v?WSD staff continue to
     balance the usage between this station and the eRN station.    The t1DD in 2009 and
     2010 ranged between 5 and 6 MGD.


                               Orgould Avenue Pumping

                    Location: Orgould Avenue north of Pierson Road
                    .Function: None

     Pump number                      1                                     2            3                4
     Year installed             -U~.'                                       1974,        1974          --'-19--'~

                                                                   Hor--Centr'-
                                                                                                  j

     +'I'ype                    Hor Centr                                           'H'O'i::'Cen t r   Hor Centr
     Permit Capacity
     Permit TDH
     Current Capacity            1050 9:Em                         --~Q2~-,           1000              1000 StEm
     +Basis                         est.                                est.        --'est .-_.-          est.
     Current TDH                    200    ft                           200 it      --'200 fE-            200 it
     HP                             100                                 100             100               100
     Last Complete Insp.            NA                                  NA             NA               NA
                                                                                                                              15
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                                                                                 Page J.6

     Last Efficiency Test      1'1A        NA          NA         NA


    Cormnents:
    1'his pumping station remains out of service and there are no plans to bring this
    facility back into operation.    All of the pumps are electrically locked Olit and
    the dead piping between the station and the discharge piping to the distribution
    system was cut and plugged.



     l?um:ping Station       Clio Booster Pumping Station
                 Location; Clio Road north of Coldwater Road


                 Function:    None

     Pump number                  1          2
     Year installed               1984       1984
     +Type                    Bor Centr   Horcer:tr
     Permit Capacity
     Permit TDH
     Current Capacity                     _iQ..~
     +Basis                                 est.
     Current TDH                92 ft       92 [t'
     HP                                   -"20--
     Last Complete Insp.                  ~-Rec.
     Last Efficiency Test                  Not Rec.
     Comments:
     This pumping station remains out of service and there are no plans to bring this
     facility back into operation. Both pumps are elect:dcally locked out and the dead
     piping between the station and the active part of the distribution system was cut
     and plugged.


                             Van Slyke Booster Pumping Station

                 Location: Van Slyke Road north of Bristol Road


                 Function:     None
     Pump number                  1          2
     Year installed               1984       1984
     +Type                    Hor Centr   Hor Centr
     Permit Capacity
     Permit TDH
     Current Capacity          600 gpm      600 gpm
     +Basis                     est.      -, est.
     Current TDH                92 ft     -9-2 ft
     Hl?                                  ~-~


     Last Complete Insp.                    Not Rec.
     Last Efficiency Test                   Not Ree:
                                                                                       16
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     Comments:

     This pumping station remains out of service and there are no plans to bring this
     facili'ty back into operation. 'fhe pumps have been electrically locked out,. Systmn
     pressures can be monitored from this location.




     P'L'U'nping Station       City of Flushing Pumping station
                   Location: NE into of Pierson & Elms Rds.



                   Function: PRV and         mete~i:!.:!SL._station          for city    o~_.F'lushing


     Pump nuro.Der                      1                   2
     Year installed                     ?                   ?
     +Type                      , Hor Cantr          Hor        Centr
     Permit Capad ty
     Permit TDR
     Current Capacity             700 gpm            ..J:..Q§...9_,,9.X?'~
     +Basis                        est.                  est.
     Current TOH                    ?       ft       '''?~ft
     HP                          --4-0---                 50
     Last Complete Insp.           Not rec,          -"Nof-rec.
     Last Efficiency Test        ---NoT'Tee:-            Not rec.
     Comments:

     This pwnping station originally took suction from the adjacent 0.5 Mgal reservoir
     and was designed to fill the cit.y of flUshing's elevated tank. 'l'he facility was
     modifi.ed vlhen Center Road went on line and now acts as a pressure reducing
     station. One of three original pumps was removed and replaced wi tb a p,ressure
     reducing valve that serves the city of Flushing. The existing pumps are
     electrically l.ocked out. Power is supplied to the building for :Lighting and heat,


     Interconnections with Other Supplies

     Is Hater purchased from other supplies? .._Yes
     If yes, list WSSN number/s:                 #2310
     Location              JItlain Size                  Est. Cap.                      JItletered?
     Henderson Rd.**       36-inch                       30.0 W';O                      Yes
     S. Genesee-"-PIT**    30-iYiCF.                     16.5 MGD                       Yes
     Oak & Potter**     12-inch                            8,15 MGI5                    IO:.-rncb
     Irish & Potter**   20-inch                          -CtfblJlGD                     6-inch
     8elsay & Potter** 12-inch                             4.46 lvJGD                   6-inch
     JItl-15 & Potter** 12-inch-                           8.15 MGD                     lO-inch
     N. Genesee-pIt ** I2°:'-inch                        ..JiQ!:....J1s ed              10-inch
     Francis Rd.           12~.inch                                                     ,?,-w.c3:X__
     Donaldson St*         12-inch                              *                       Yes
     'i'?Terson & Clio     Not used                        Not used                     Na""'""-
     Carpente~ __Rd        Not used                        Not used                     Na
                                                                                                                      17
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    Commentl3 :
    * Capacity varies on pressure available from Flint and whether the pit is
      open.
    ** Direct. connection to the Flint 72-inch main upstream of the city of Flint.
    The connections upstream of the City of Flint are directly off Flint's 72-inch
    supply line. Genesee County pays Flint. $125,000 plus the current Detroit rate each
    month to purchase water. The est.imated capacity of each connection is based on a
    Detroit line pressure of 90 psi at the south Genesee pit. and 55 psi at the
    Henderson Road pit..
    Water can al,so be served to the county through Flint's distribution system from
    Donaldson Street through the Hou:can st. Pumping Station. Genesee County no longer
    uses this connect,ion for routine service.    This connection could be used in a
    water system emergency.

    Total Flow into the Genesee County water system     Henderson Rd
                                                      + S. Genesee Pit
                                                      + Irish & Potter
                                                      + Belsay & Potter
                                                      + M-15 & Potter
                                                      + Oak & Potter
    The maj ority of flow into Genesee County is through the Henderson Rd pit and the
    South Genesee pit. ,Four other metered connections off the 72-1nc11 transmission
    main along Potter Road provide water service to portions of Davison Township, the
    Ci ty of Bu.r'ton, and Richfield Tovmship,
    Flow through the F,rancis Road pit is sold to Genesee Township ana lS not a direct
    connection off the 72-inch transmission main (constitutes a portion of the
    Henderson Rd flow).




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     Are there areas where fire flO'l'J's cannot: be maintained? See comment

     Comment:   Less than 1000 gpm fire flow was noted in an existing sUbdivision in
     Mundy Twp .in vic.in:l. ty of Unden and Hill Road (Church of God extension). The
     problem was identified as a pa.rtially closed valve at the subdivision entrance.


     Which, I I any, of the above listed areas has the supply prioritized for main
     replacement, upgrading or looping?     Also, if a definite schedule for capital
     improvement has been established, list the proposed completion date.
     Location                                              Est. Completion Date
     Bristol Rd. - completed                               Completed
     Linden Rd, - coor. ~Iith local twp.                   Not completed
     Pierson Rd. - Coor. with local twp.                   Not compIet-ecr~--
     E"rms-&-""LennOn-Toor;rng
                            EX: £) e£.~ __.____.__         Cciffipleted    __...
     Lennon & Dye Rd                                       Completed.._______


     General Distribution System Comments:
     Consoer Townsend Evirodyne Engineers (CTE) completed the North Loop - Phase III
     study in 2000 along with a water system master plan. Since 2000, the North Loop
     transmission main project was completed along with completion of the Henderson
     Road, CRS pwuping station, and the Southeast Loop.
     The study Vias updated in 2005 and the updated report is noted as "Appendix C
     Update  of Final Report North Loop - Phase III Study".        Gi ven the number of
     projects that Vlere completed since 2000, the update Vias performed to reflect
     current water system conditions and to identify additional future needs.   The 2005
     update evaluated alternatives to supply Grand Blanc: Township via the new CRS
     pumping station. The CRN pumping station wOiJld be dedicated to supply the service
     areas further l>Jest into the county.    The update also identified other major
     projects including: the Southeast loop, Thompson Road co:cridor, 'and the Coldwater
     Road t:cansmission main.

     The hydraulic model used in the 2005 study was updated in 2011 to revise pressure
     district boundaries as needed     The model also evaluated the need for further
     pressure reducin.g valves and additional water system improvements. An updated
     water    system    Master    Plan    was   prepared;    however,    a   discussion
     (conclusions/recommendations) based on the updated model has not been provided. A
     new water system study and master plan is expected to be performed in 2015.

     Several of the existing meter pits between Genesee County and the City of riint
     including Orgould Ave, Clio Rd, and VanSlyke Rd, have been decommissioned. The
     meter. pits along with the pumping, storage facilities have been electrically
     locked out, and the majority of dead piping eliminated at the facilities. These
     facilities should be razed if there are no lOTliJ term plans to re-utilize them.

     The county continues to charge its retail customers $35.00 per hydrant to maintain
     the appurtenance and to conduct routine flushing. Flint Township and Flushing
     TOl'mship    continue to flush and "d.nterize hydrants in order to avoid the $35.00
     charge per hydrant.      'I'hese activities are conducted by the local fire department
     l,'iithin each tOVinship. The WV·)SD continues to review hydrant operation each year
     wi th each fire department.       Finally I the v\)\l1Sn staff complete any hydrant repairs.




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     Distribution      Ae~~rten~~ce$


     Hydrants
     Number    of hydrants 3,875
     Number    vdthout auxiliary shut-off valves         *
     Nwr.bet   that are self-draining     ,\-
     Number    of inoperable hydrants .....:

     * An exact number of inoperable hydrants cannot be ascertained since this number
     changes on a weekly basis. fl'lWSD staff repair broken hydrants upon d.iscovery (typ
     1-2 per "leek). f/lTlimo staff obtains authorization from the two tovmships that
     maintain their own hydrants prior to completing any repairs. Hydrant inspections
     an) completed each fall and 'Nork orde:ts are prepared and completed on any
     inoperable hydrants that are discovered.

     Frequency of hydrant inspection:            ~r     (fall)
     Inspection staff:    WI"lSD   operators
     Are there areas where additional hydrants are needed?                No

     Hydrant location system? Yes                Accurate?        Yes
     Are hydrants color-coded, for capacity? Yes, by main size
     Has this information been provided to the fire department?                  Yes
     Frequency and seasons of hydrant flushing?         -11_YE-    Fall
     Purpose of fl,lshing?            aesthetics, hydrant operation
     Is the public notified prior to flushing?           No
     Does flushing follow a specific format'?
     Is the volume       of   water     used   during   flushing        estimated?   Starti,ng,   est   of
     150cu.£t/hyd
     Is a record maintained of hydrant activities? Yes
     Comments:
     The WWSD maintains a list of hydrant information. The list provides information
     for each hydrant including: location, color coding, winterizing,        '1JOrle order
     information, etc.   Hydrant records are also maintained 1n a work-order database by
     attaching comple'ted work orders as a layer in v\TWSD's GIS records. Also, all
     auxiliary shut-off valves are depicted by exact location and stored in a 3-ring
     binder.
     The number of hydrants and valves noted in the 2011 l;i/SR is less than the number
     depicted in the 2008 WSR. WWSD staff confirmed that the 2008 count was inco;c.:r.ect
     since it included some of the hydrants and valves from the wholesale customers.


     Valves     (excluding hydrant shut-ofts)
                                                                                                        21
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     Number of valves 3,903
            of inoperable valves
     NUfLiber                                 repaired or replaced as soon as   possi~~


     Are there areas where additional valves are           needed~    Yes

         II>    Irish Rd north of Davison

     Valve location system?       :!.~s'-   valve log           Accurate?    Yes

     Valve Turning Frequencies:         See    co~ments



     Records maintained? Yes

     Connnents:
     The I'lWSD has made some progress towards initiating a valve turning program. Val'J'9s
     along the South Loop transmission line (31 valves) have been exercised. Valve
     exercising is also perfo.rmed on valves located at or near I-later system projects.
     Valve exercising is also prioritized in areas experiencing more frequent waterm21in
     break.s.
     A valve log book is also in place that oontains valve records. Valve locations are
     depicted by witness points and are entered into the work-order database. All valve
     records are also entered into GIS.


     Customer and Serv:i.ce Informat.ion

     Number of service connections            20,739 retail accounts
                                              44,943 total accounts(retail & wholesale)
     Nwnber of metered service conneotions same

     Identify service line materials and estimate percentages:
                Copper            100%
                PVc               None
                Gal               None
                                  None


     Meter Change-Out Status:
     Approximat.ely 95% of the existing compound meters were replaced with new turbine
     meters at. all industrial and mobile home park accounts. A testing prog:cam remains
     in place for these n.ew meters.   The testing program is contrac·ted out to a th.1..rd
     party (Jim Taylor of Rio-MI Meter) .
     A small residential area is metered by older Neptune meters that will need to be
     changed out. The WWSD does not have a change-out program in place for residential
     accounts. Residential meters are replaced on an "as needed u basis.
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     v-rviTSD has
               instit.uted a. pilot radio read program and has upgraded to ra.dio read
     technology for large customers.      The WWSD continues to encourage its retail
     customers to upgrade to radio read technology for commercial and residential
     accounts; however this is has not proceeded. The vJWSD continues to promot.e this
     upgrade with the individual townships since the county wishes to $\4i tch from
     quarterly to monthly billing.

              Pumpage Distribution

     % Residential                          75%
     % Industrial & Commercial              25%



     System Growth        -   Number of customers


              Wholesale            Retail         Total

     1998 -     18,584             13,270         31,584
     2003 -     21,609             17,265         38,874
     2005 -     23,263             18,881         42,144
     2006 -     24,889             20,092         44 1 981
     2007 -     24,726             20,621         45,347
     2008 -         TBD           TBD             TBD
     2009 -         TED           TBD             TED
     2010 -         TBD            TBD            'l'BD




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                                              PROGRAMS AND PLANS

     Cross Connecti.on Program
     Ordinance No. .......
                    73-1.........-
                           ~-
                                              Date   03/01/7 3

     Approved Program?           Yes   Date   07/19/73



     Is .7.Umual Cross Connection Report required? Yes.
     Was previous year's annual report received? Yea                    Date   2/18/11

     Nas previous year's annual report: acceptable? ~,__
     Inspection Status: Satisfactory
     Device Testing Frequency: Adequate
     Record Keeping: Inspection forms are in place,__t~r each account


     Comments:
     HOI continues to perform the routine inspections fo:c Genesee County and has
     maintained adequate implementation of their cross connection control program
     (CCCP) .   HDI identified 3400 low hazard accounts in 2010 and determined that
     approximately 680 of these accounts need to be reinspected on an annual basis. 80
     high hazard inspections were required in 2010 and 92 inspections were completed.
     HOI met all. re-inspection requirements during the 2008-2010 time period.
     Device testing is also being verified as required (approx: 1200 testable devices).
     Dave Cardinal is the operator from HOI who is responsible fOl: implementing Genesee
     County's CCCP.    Genesee County continues to contract with HOI for CCCP
     implementati.on.



     Annual Pump age Reports
     Is Annua1 Pumpage Eeport required?              Yes
     Was previous year's annual report received?                 Yes    Date   ,4/01/2011

     Comments:
     The annual pumpage report is based on the county's total water purchased from the
     city of Flint. This amount is slightly higher than the total pumpage obtained from
     SC}WA (compiled in the MOE) since a portion of the county's service area is
     upstream of the Center Road pump station and this usage is not metered through any
     of the pumping stations.




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    Monthly Qperation ReEorts
    Are IvJonthly Operation Reports required?     Yes
    Genesee County's monthly oper.ation report (~'10R) format vias revised in 2008 to
    include pumpage data f:eom each of the main pumping stations and storage
    facilities. Bacteriological sample results and chlorine residuals are also
    included in the report.
    Pumpage data from the Vassar Road and Fenton Road pump stations are not included
    in the MOR. Pumpage data from each of these stations would further help in
    determining the distribution of water demand in the southeast portion of Genesee
    County's service area.


    Contingen,£Y Plan           Emergency Response Plan (ERP)
     Date of most recent plan    2.Q~~"~ __ _

    Filed 'where? GCDC .).:
    Comments:
    Genesee County's water system contingency plan was updated in 200B.
    * Genesee County's most recent ''''atar system conti.ngency plan (2008 update) is
    available only at the WWSD's administ.rative office due to security purposes. The
    2008 plan contains all of essential elements required in a water system
    contingency plan and meets our requirements for use in the event of typical water
    related emergencies i.ncluding; large main breaks, pump station failures, loss of
    vlater service (limited areas) I powex' outages, contamination, etc. The 2008 plaM
    however, needs to be updated into an E~ergency Response Plan.
    The WlimDi however I bas yet to fully address the issue of reliability in the event
    of a significa.nt failure of the 72~inch tra.nsmission main. Genesee County
    continues to pursue their goal of achieving long term reliability through
    establishment of the Karegnondi Water Authority (Lapeer County, city of Flint).
    The authority continues to work Nith Lapeer and Genesee County communities towards
    committing to the construction a new water treatment plant with raw 1Jlater piping
    from Lake HUron.
    Completion of the Karegnondi project (3-5 years out) is an acceptable long-term
    solution for reliabilitYi however, Genesee County has not fully resolved theLc
    short-term solution for source reliability. Two short-term options include
    utilizing Flint's stand-by WTP for emergency stand-by service or establishing a
    system of back-up wells.
    Our most recent discussion indicates that Genesee County Norking with the city of
    Flint towards utilizing Flint's stand-by WTP for short-term reliability. The
    county has proposed an amendment to their f"ate:c service contract ~Ji th Flint to
    purchase 5.4 MGD of '!'Jater from the Flint liTTP during an emergency. Details
    concerning the conveyance of the emergency supply of water from Flint to the
    county's transmission system are not ident.ified in the proposed contract
    amendment.




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     General Plan
     Date   0,[   most recent plan 2007          Acceptable?   Yes


     Comments:
     A copy of Genesee County's transmission main plan (2007 update) has been provided
     to the c'iDEQ. The transmission main plan shows the size and location of all 12-inch
     transmission mains and larger, pumping stations, storage facilities, meter pits,
     and pressure districts. Genesee County also maintains updated distribution system
     records in GIS. Smaller areas of the distribution system including hydrants (
     valves, and watermains can be printed from GIS for' daily use as needed.


     Reliability StudX
     Date of most recent study            2011   Acceptable? See conunent



     Comments:
     Genesee County utilized CTE to prepare the North Loop-Phase III study.and to make
     subsequent updates.  The original study conducted in 2000 'Nas updated in 2005 and
     was noted as the addendum or "Appendix C of the North Loop-Phase III Study".   The
     addendum constitutes an acceptable update to Genesee County's water system
     reliability study.
     The hydraulio model used in the 2005 study was updated in 2011 to revise pressure
     district boundaries as needed     The model also evaluated the need for further
     pressure reducing valves and transmission system improvements. Pm updated Master
     Plan (map), based upon the revised model, was provided to us. A discussion
     (conclusion/recommendations) needs to be provid,ed with the updated ~iaster Plan. A
     new water system study and master plan is expected to be conducted in 2015.




     Date of approved plan        2/15/2008

     Are samples still being collected in accordance with the plan?         ~

     Cormn.ents:

     The \vWSD completed the most recent revision to the sample 81. t:6 plan in Februa:c'y
     2008. Wli'lSD's retail service area popUlation remains above 70,500 thus, a minimum
     of 80 samples need to be collected from the distribution system on a monthly
     basis, WWSo's most recent sample. site plan reflects the updated minimum monitoring
     reqUirement.




     The 1rJWSD continues to lw.plement their lead and copper program adequately. Both
     action levels were met in all of the applicable rounds of lead and copper
     moni toring with the most recent round of monitoring being completed during the
     summer of 2011.    The next round of samples will need to be collected during 2014
     and 'dill include 14 samples for lead and copper.         I/Jater quality parameter
     monitoring also needs to continue every six months.
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                                 Conciusicms and Rec,m:nrpendations


    In general, our survey covers the major aspects of a water supply including: stand-by
    facilities, distribution, source capacity, and storage. Each of the above categories is
    evaluated on the basis of adequacy, maintenance, reliability, and operation. The
    evaluation also includes a check on the status of operator certification and the cross
    connection control program. Finally, water qua!ity and the utility's monitoring programs are
    reviewed.

    Our evaluation reveals that the Genesee County Water System continues to maintain an
    overall HSATISFACTORY" rating. Genesee County continues to maintain a proactive
    operation and maintenance program as weH as continuing with capital improvements.
    Progress; however, remains slow in establishing adequate source reliability. The county's
    water system remains /'MARGINAL" in regard to source reliability and continues to be
    vulnerable to an interruption in supply. Additional comments are included in the
    Contingency Plan/Source Reliability section.

    As noted above, since the 2008 survey further water system improvements have been
    completed and/or are proceeding and include:

        e     Installed the Fenton Road transmission main

        (\I   Replaced deteriorated piping along Florine Avenue.

        "     Completed water system SCADA improvements,

     These issues along with other topicS including existing facilities, reliability, operation, and
     maintenance are discussed below in more detail:

     Water System Viability

     The Genesee County Drain Commissioner, Division of Waste and Water Services (WWS)
     currently serve a population of nearly 153,000 through a countywide network of
     transmission and distribution mains. Additional booster pumping stations and storage
     facilities have been provided to enhance service. The WWS currently utilizes 23 full-time
     certified employees for water utility operations. The operator in charge (Ole), Tim Davidek,
     holds an 8-1 license and plays an active role in distribution system operation and
     maintenance, thus, WWS complies with the operator certifIcation requirement. Also, as
     part of compliance with the operator certification requirement, Richard Bysko, remains the
     designated back-up operator.

     WW8 continues to promote operator certification. Many of the operators have obtained
     either their 8-3 or 8-4 licenses and some are pursuing an 8-2 license. WWS continues to
                                                                                                       27
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     require new employees to obtain distribution certification to be eligible for further
     advancement. WWS continues to maintain the safety and training officer position to assist
     and promote an adequate level of operator certification. Certified operators help to protect
     the County's investment in the water system and to meet the requirements of the Safe
     Drinking Water Act and we encourage the County to continue to promote operator
     certification.                             .

     Cross Connecth;m Control

     Hydro-Design, Inc. (HOI) continues to implement WWS's Cross Connection Control
     Program (CCCP). Approximately 3500 accounts remain eligible for a routine inspection
     and this number has held steady since 2008.

     Previous site visits with HOI and WWS staff continue to show that adequate cross
     connection control records are in place and device testing is being verified. Also, our
     review and discussion of WWS's most recent cross connection reports confirms adequate
     implementation of the program.

     Finally, WWS continues to maintain a contract for service with HDI. We continue to support
     WWS's commitment towards maintainIng an adeqwate CCCP.

     System Storage

     WWS currently has 13 storage facilities available providing approximately 46 million
     gallons of storage.

     The existing Center Road North (CRN) 5 MGAL ground storage tank was inspected by
     Dixon Engineers, tnc. in 2007 and the tank was found to be in good condition. Minor
     repairs to the access hatch repair were recommended.

     Next, our inspection of the Center Road South (CRS) ground level storage tank revealed
     that tl16 cross connection between the tank overflow and the sewer catch basin has been
     corrected. The elevation of the tank overflow opening was increased above the catch
     basin's containment wall such that an adequate air-gap was achieved.

     Next, the Clio Road elevated tank and the Noble Street standpipe were recently inspected.
     Based upon the inspection reports, the Noble Street tank is in good condition. The Clio
     Road tank was in good structural condition; however, the tank's exterior and dry interior
     need to be repainted. We recommend that WWS proceed with this work

     Finally, the 2-Mgal hyro~pillar at Houran Street will be due for a routine inspection within the
     next several years.


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     wws has ten booster pumping stations available for use. Six of these stations (eRN,
     CRS, Henderson Road, Houran Street, Vassar Road, and Noble Street) are operated on a
     routine basis. The remaining stations, Orgoujd, Clio, Van S\yke, and City of Flushing are
     either out of service or function as a pressure reducing/monitoring station.

     The Henderson Road pump station has been in operation since 2006 and the station
     pumps between 3 and 6 MGO of water from the 72-inch transmission main through the
     County's new North Loop. The station has effectively reduced the demand on the Center
     Road pump station and the amount of water that needs to be pumped through the
     County's south system.

     Next, the CRS pump station has been in operation since 2007 and was designed to
     provide additional capacity and pressure to the eastern portion of Grand Blanc Township.
     The eRN station continues to provide adequate flows and pressure to the western portion
     of Grand Blanc Township and to locations further west in Genesee County. The most
     recent monthly operation reports SflOW that the CRS station's use has been increasing
     (currently pumping between 2.0 and 3.0 MGD).

     WWS continues to refine the mode of operation between the eRN and CRS stations to
     determining the most efficient operation. It would also be worthwhile to record water
     pumped through the Vassar Road and Fenton Road (Grand Blanc Township) since these
     stations and their associated storage facilities also playa role in the level of service to
     southern Genesee County. This information can be added to the monthly operation report.

     Next, based upon our inspection, preventative maintenance activities and overall
     housekeeping is adequate· at all of the pump stations, Based upon our discussion,
     additional improvements are currently underway with the SCADA system at each of the
     pumping stations.

     Finally, WWS staff should consider operating the emergency chlorination equipment (gas
     chlorination at Henderson Road and erosion feeder at eRN) several times per year to
     verify that the equipment operates properly. This practice will also allow WWS staff to
     maintain familiarity with the chemical feed equipment and its operating procedure.

     Iransmissiol1{Oistribution

     Genesee County's water system consists of an extensive county-wide network of
     transmission and distribution system piping. The majority of this piping is relatively new and
     is in good condition. Since the 2008 survey, the Fenton Road transmission main was
     installed and a section of deteriorated piping along Florine Avenue was replaced. There
     ate other areas of existing cast-iron mains which have not been replaced and have had a
     history of more frequent main breaks, Specific areas are listed below:
                                                                                                 29
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                                                                                           Page 30



     'I. Dalton Subdivision
     2. Portions of Pierson and Linden Roads

     It is our understanding that replacement of the watermains in Dalton Subdivision will be
     completed as part of a future Drinking Water Revolving Loan Fund project. Although the
     remaining areas do not represent a significant percentage of the system, plans should be
     made to replace these mains as part of the County's master plan or a capital
     improvements program.

     Next, Genesee County's hydraulic model (from. the North Loop Study) was updated in 2011.
     An updated water system Master Plan, based upon the updated model, was prE.1pared and
     an electronic copy of the plan was provided to us. A general discussion (conclusions &
     recommendations); however, was not provided with the master plan. An overall discussion
     that supports the updated master plan needs to be prepared and a copy sent to our office for
     review.

     Finally, it is our understanding that WWS intends to prepare a new water system study and
     master plan in 2015. We concur with the timing of this objective since the county's water
     system reliability study will need to be updated at that time. Finally, we encourage the county
     to works towards completing the projects that are listed in the master plan.

     Operation/Maintemmce      (O&~.l

     WWS continues to maintain an active O&M program. The status of specific O&M programs
     are discussed in more detail below:

     Hydl'ants/Flushing

     WWS maintains approximately 3,900 hydrants. This is a decrease in the total number
     depicted in the 2008 survey (4,700 hydrants). The revised number of hydrants is based on
     records obtained from WWS's hydrant recordkeeping system (GPS records). The previous
     quantity was based upon an estimated number of hydrants and it also included some of
     the wholesale customer's hydrants.

     A total number of inoperable hydrants could not be ascertained; however, hydrants are
     inspected each fall and any inoperable hydrants are repaired or replaced, Hydrant records
     including; location, color codes, and operational and maintenance history appear to be
     adequate and these records are maintained In a work-order database.

     Next, retail customers contjnue to pay WWS a $35.00 charge per hydrant on an annual
     basis for routine maintenance and flushing. Flint and Flushing Townships however,
     continue to operate and maintain hydrants within their jurisdiction in order to reduce their
     O&M costs to the County. The township's O&M responsibilities include flushing and
                                                                                                    30
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                                                                                        Page 31

     winterizing hydrants and these activities are performed by the local fire departments. WWS
     continues to provide annual training for fire department staff on hydrant operation and
     maintenance. WWS needs to continue this type of on-going training as it appears to have
     improved hydrant operation and maintenance within these townships.

     Valves

     WWS maintains approximately 3900 valves. This is a decrease in the total number
     depicted in the 2008 survey (5,074 valves). The revised number of valvess is based on
     records obtained from WWS's valve recordkeeping system (GPS records). The previous
     quantity was based upon an estimated number of valves and it also included some of the
     wholesale customer's valves

     WWS continues to maintain adequate valve records and also continues to work towards
     establishing a valve-turning program. Transmission main valves along the south loop were
     exercised since 2008. Valves are also being exercised at and near watermain projects and
     in areas where main breaks occur. WWS needs to continue working at expanding the
     valve turning program to include operating valves in critical locations at least once every
     several years. A review of all valves should be performed and a determination made as to
     which valves are most critical and the percentage of these valves that can be exercised
     each year.

     Program Meter Change~Out

     WWS has maintained an active meter change-out program for commercial and industria!
     accounts. Residential meters are replaced on an "as needed" basis, however, only a small
     percentage of customers (one subdivision) has older meters in need of replacement. We
     encourage WWS to maintain an active meter change-out program and to replace
     remaining meters that have reached the end of their useful service life.

     WWS has upgraded to radio read technology for most of Its large customers; however,
     expansion of radio read to commercial and residential customers has not proceeded. We
     encourage WWS to continue to promote the upgrade to radio read technology among its
     retail customers.



     WWS continues to report water use through each of its major pumping stations. Chlorine
     residual monitoring and bacteriological monitoring results are also included in the report.
     Water usage through the Vassar Road and Fenton Road pumping station should be added
     to the MOR

     Flnally~ a discrepancy was noted between water usage depicted in the MOR verses water
     usage summarized in the annual pumpage report. The total amount of water purchased
                                                                                              31
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                                                                                              Page 32

     reported in the annual pumpage report is slightly higher than the total pumpage obtained
     from SCADA (reported in the MOR). The dlscrepancy is due to a portion of the county's
     service area being upstream of the Center Road pump station. This portion of the county's
     purchased water is not metered through the SCADA system.

     Bacteriological Monitprjn,g

     WWS continues to maintain an excellent sampling history as part of their monthly
     bacteriological monitoring program. Specifically, eleven samples are collected twice a week
     from eleven routine sampling locations in accordance to the sample site plan that was
     revised earlier in 2008. This sampHng protocol results in 88 to 110 samples being collected
     each month and was based on collecting a minimum of 80 samples per month.

     The minimum number of required distribution system samples will remain at 80 samples
     per month. The monitoring requirement is based on a retail service area population of
     approximateiy 70,500 .

     .Emergency Response       Plan/SolJrc.~..R.eliabilUY

     WWS updated their water system contingency plan in 2008 and, for security purposes, the
     plan is retained at the administrative office. Our review shows that the plan contains all of
     the critical elements that we require in a water system contingency plan. Although the
     county's updated contingency plan meets our requirements for use in the event of a water-
     related emergency, a recent revision to the Administrative Rules of the Michigan Safe
     Drinking Water Act now requires an Emergency Response Plan (ERP) in place of the
     contingency plan. The ERP provides an outline to follow in the event of a water related
     emergency (loss of pressure, contamination, etc.). The ERP is similar to a water system
     contingency plan; however, the ERP calls for discussion of various types of water utility
     operational plans that may be utilized during a water related emergency. An ERP template
     is enclosed and can be used for preparing Genesee County's ERP. We will review the
     completed ERP during our next routine surveillance visit.

     Next, WWS continues to pursue a long-term solution for reliability in the event of a failure
     of the 72-inch transmission main through establishment of the Karegnondi Water Authority.
     The authority continues to work with Genesee and Lapeer county communities towards
     committing to the construction of a new water treatment plant utilizing Lake Huron as its
     source.

     Completion of the Karegnondi project (3 to 5 years out) will provide Genesee County with
     adequate source reliability; however, Genesee County has not fully resolved their short-
     term solution for source reliability. Two short~term options include utilizing the city of Flintls
     stand-by WTP for emergency stand-bY operation or establishing a system of back-up wells.
                                                                                       th
     It is our understanding that Genesee County has a proposed amendment (4 Amendment
                                                                                                     32
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                                                                                           Page 33

    to 1973 City/County Water Supply Agreement), pending Flint approval, to purchase 5.4
    milHon gallons per day of stand-by capacity from the Flint WTP under emergency
    conditions. However, there is no further discussion as to how this emergency supply of
    water will be conveyed to the Genesee County North Transmission system. It is our
    understanding that additional pumping provisions will be needed. Please confirm this in
    writing and provide us with an update concerning the proposal. If a contract for stand-by
    service is established with the city of Flint, please provide us with a schedule in which the
    plan for stand-by service can be implemented.

    General Plan

    Genesee County's water system general plan was updated in 2007. The updated plan
    shows .the location of county's transmission mains (12-inches and larger), pump stations,
    storage facilites, meter pits, and pressure districts. Smaller areas of the distribution system
    including hydrants and valves are stored in the county's GIS and are available for use as
    needed. The transmission system plan along with the electronic records of the distribution
    piping and appurtenances meet our requirements for having an acceptable water system
    general plan.

    Lead & Copper Program

    WWS has conducted its Lead and Copper program since 1992 and has completed the most
    recent round of monitoring (June 1,2011 through September 30,2011). The next set of 14
    samples needs to be collected between June 1,2014 and September 30,2014.

    The total number of lead and copper monitoring samples (based on triennial monitoring)
    remains at 14 samples for each round of monitoring. Water quality parameter monitoring
    (pH, alkalinity, temperature, and phosphate residual) also remains at two sets of samp!es
    from six distribution system sites every six months.



    The following is a list of items discussed in this report which must be addressed by the
    County. No priority is implied by the order. Page references are in parentheses .

   . As always, we are available to meet with you to discuss these concerns and their priority in
     more detail.


    1. Establish adequate stand-by water service for Genesee County. (25,32)

    2. Maintain a prioritized valve turning program.    (22,31)

    3. Change out any remaining outdated meters and investigate the possibility of upgrading
                                                                                                    33
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                                                                                         Page 34

        to radio read technology. (22,23.31)

     4. Upgrade areas of distribution system that are in poor condition. (19,20,29,30)

     6. Conduct a new water system study and master plan by 2015. (20, 30)

     6. Schedule the Clio Road tank for repainting.   (8, 28)

     7. Operate the stand~by chlorination equipment at the Henderson Road and CRN pump
        stations several times per year. (13,29)




                                                                                              34
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                                                           APPENDIX B-8
                 GENESEE COUNTY WATER SUPPLY SYSTEM RATES FOR SERVICE FOR
                          WATER BILLS RENDERED ON AND AFTER JANUARY 2, 2014
Case 4:20-cv-12726-MFL-DRG ECF No. 1-2 filed 10/07/20                                                   PageID.745               Page 685 of 726




                                                GENESEE COUNTY WATER SUPI'L Y SYSTEM
                                             RATES FOR SERVICE FOR WATER BILLS RENDERED
                                                     ON AND AFTER JANUARY 2, 2014
                                    ••••••••••••••••••••••••••••••••••••••••••••••••••••••••••••
       ·Ib e nlt~ to' be charged fO/" water furnished by the System shan he as hercinaner set fO'rth. Wllter to he furnished by the System shan
       he measured by a nleter ..... equiv alent meters. installed ind controlled by the County. Charges fO'r water se,..,.ice will be made for
       water furnished based upon mO'nthly, bimO'nthly, and quanerly billings as $ct forth herein.

       I.


                           3/4                                          S    21.89                   '.I.. or larger $21.89
                           I                                            S    36.48
                           I-Itl                                        $  72.95
                          2                                             S 116.n
                          )                                             S 218.85
                          4                                             $ 364.7S
                          6                                             S 729.SO
                           8                                            S 1,167.20
                          10                                          S 1,750.80
                          12                                          S 3,136.85
              (Irrigation meten an: lUl automatic charge May I through October 31 or any quaner thlll usage is recO'rded) Rate becO'mes
              effective on date signed.

       \. A. Ind iIJS I R a l e..
                      Meter Si~· Inches                       Readiness 10 Sen·e Charge                    IrrjgatiO'!J Mcters
                           S~                                          S    13.53                                     S1 3.53
                          3/.                                          S 20.30                       'I. or larger $20.30
                           1                                           S 33.83
                          1-112                                        S 67.65
                          2                                            S 108.24
                          3                                            $ 202 .95
                          •
                          6
                                                                       S 338.25
                                                                       $ 676.50
                          8                                            $ 1,082.40

       II .

                                                                Readiness to Sqye Charge@S89.6Zl eg. meter
                                                                       S 2,24 1.75
                                                                       S 4.483.50
                                                                       S 7,173.60
                                                                       $ 10,760.40
                                                                       S 14,795.55
                                                                       $ 19.279.05
                                                                       S 28,694.40

              The num ber O'f equivalent meters is based on the peak monlhly flow from the prior calendar year. An equ ivalent meIer size will
              be determIned based on the peak monthly flow being 75% of th e meter ~ap~city. 'Ifle meter capacity and number of capacity
              equivalent mClcn; will be based on current AWWA Slandarlb. The meter si7.e and number of equivalent mders will be based 011
              sblndard mctcr sizc$, with a minim wu of25 equivalent meters.
       Ill.   COM MODITV CHA RCES (IPplies to' boW Indiyidual and Maslq Melml:
              The total commodity challte is $).94 per 100 eubi~ feet. This SlIm is the lOIal of$ l.86 per 100 CII.ft plus the DWSD
              conunodity charge ,which is charged via the City O'fFlin! and is currently estimated at $2.08 per 100 cu. ft.
       IV.    Q UAUn : RLV RAT ES {applies to IndivjdualMc:jml:
              Multiply readiness 10 se,..,.e charge by three.
       V.     WATER STATION RATF. S
              The commodity ~harge for watering is $4.7 1 per 100 cubic fcd (0.25 per 40 gallons). No Readiness 10' Servc charge.
              Account! shall bc bil1cd monthly.
       VI.    II YURANT METER MT!''!)
              11J<, commodity ~harge is $4.71 per 100 cuoic fecI. No Readiness 10' Serve ch"'Xe. Aeoount! &hall be billed wilhin 30 days of
              "~.
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                                                GENESEE COlJNTY WATER SU PPLY SYSTE M
                                             RATES FOR SERVICE FOR WATER BILLS RI:."NDERED
                                                     ON AND AtTER JANUARY 2, 2014
                                  ••••••••••••••••••••••••• ••••• ••••••••••••••••••••••••••••••
       VII .  COUNTY CA PI TAl. IMPROV EME NT FEE

                                                                            shtl
              The Cou rtly will charge a Capital Improvement Fee of$I,OOO per unit hased upon the R es idential Equivalt,'t Units prio.- 10 the
              Issuance ora Water Pennit (B-Penn it)_ The County Agency        collect the fee.
       V III. CITY OF FLINT fRANCHISF: RATES
              The County will add $ 1.00 ptr month to the amount the City of lint bills the franchise customen for eub "I-inch meter
              equivalence pi llS SO. IOper each 100 cubie feet or vo   used.
       The rates are e$tablished pursuant 10 Act 342 Michigan Pu     ACts of 939 as amended.

       Jeffrey Wnght, Dram COmml5.liloner, as County Agency                                      ,Mich igan Public Acts of 1939, as amendorl.

       0 .."   Alii      £:"2.0 13
Case 4:20-cv-12726-MFL-DRG ECF No. 1-2 filed 10/07/20   PageID.747   Page 687 of 726




                                                              APPENDIX C
                                                        CITY OF FLINT, MICHIGAN
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                                                           APPENDIX C-1
                                                        FLINT WATER SYSTEM
                             (SUMMARY FROM EXISTING INFRASTRUCTURE REPORT,
                                                 DLZ AND HOUSEAL LAVIGNE)
Case 4:20-cv-12726-MFL-DRG ECF No. 1-2 filed 10/07/20                      PageID.749         Page 689 of 726
                                                                                                             TM
  Jones & Henry Engineers,            Ltd.                                                     Fluid thinking...




  Appendix C-1 Flint Water System
  (Summary from Existing Infrastructure Report, DLZ, and Houseal Lavigne)

  The Cedar Street Pump Facility is equipped with three single-stage horizontal centrifugal pumps rated at
  12 mgd, 9 mgd, and 9 mgd, respectively. There is no standby power provided to this pumping station.
  These pumps were installed in 1948 and are primarily used as an emergency water supply and pumping
  source during peak demand events as they have exceeded their design life and are in need of
  rehabilitation. The pumping capacity of this station is 30 mgd with a normal running capacity of 18 mgd.
  The pumping station electrical controls have not been updated since their original installation in 1948.
  This station requires significant upgrades to bring the station up to current automatic operation standards
  and should be considered in addition to regular maintenance. 2

  Pump Station No. 4 is located at the Dort Reservoir on the WTP grounds, and contains a total of five
  pumps. Pumps 1 and 2 were installed in 1949 and are considered inoperable with no repair or replacement
  plans. In 1994, the station was rehabilitated with the addition of two new 20 mgd turbine pumps and one
  6 mgd turbine pump to induce turn-over of the Dort Reservoir. The pumping capacity of this station is 46
  mgd with a normal running capacity of 26 mgd. 2

  The West Side Pump Station is equipped with two three-stage turbine pumps and two two-stage turbine
  pumps, all installed in 1970. Pumps 1 and 2 have a capacity of 8 mgd each, and pumps 3 and 4 each have
  a 4 mgd capacity. The pumping capacity of this station is 24 mgd with a normal running capacity of 16
  mgd. The pumping operations and filling of the reservoir are controlled by the WTP or manually at the
  station. There is no standby power provided to this pumping station. 2

  Constructed in 1954, the Torrey Road Pumping Station is equipped with two centrifugal pumps rated at
  2.8 mgd and 4 mgd. The pumping capacity of this station is 6.8 mgd with a normal running capacity of
  2.8 mgd. The primary function of the station is an in-line booster pumping station to provide increased
  pressure to the southwest portion of the City. There is no standby power provided to this pumping station.
  The existing pumps have exceeded their useful life and the piping and valves are in poor condition. The
  station has been scheduled for rehabilitation and other improvements. 2

  Dort Reservoir is located at the WTP and is a 20-million gallon (MG) ground storage facility. Constructed
  in 1966, it is used primarily for emergency water storage and for use during peak water demand periods. 2

  Constructed in 1952, the storage tank located at the WTP is a 2.0 MG elevated tank primarily used for
  emergency water storage and as a pressure buffer. The tank was last inspected and painted in 2009. 2

  Constructed in 1954, the WTP has a 3.0 MG ground storage tank primarily used as an emergency water
  supply and pumping source during peak demand events. 2

  The Cedar Street Reservoir is a 20 MG ground storage facility. Constructed in 1948, the reservoir is
  primarily used as an emergency water supply and pumping source during peak demand events. 2

  The West Side Reservoir is a 12 MG ground storage facility. Constructed in 1970, the reservoir is
  primarily used as an emergency water supply and pumping source during peak demand events. 2




  Report    of the Engineering Consultant                                                  902-6843.001
  Karegnondi Water Authority                                                          0 3 / 1 7 / 1 4 , P a g e |1
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                                                           APPENDIX C-2
                                                        FLINT WATER SYSTEM
                                       HISTORICAL CUSTOMERS AND COMPONENTS
Case 4:20-cv-12726-MFL-DRG ECF No. 1-2 filed 10/07/20                           PageID.751         Page 691 of 726
                                                                                                                  TM
  Jones & Henry Engineers,                  Ltd.                                                    Fluid thinking...




                                                     Appendix C-2
                                                                         1
                                             Flint Water Supply System


                                             2009          2010         2011           2012            2013
                          1
     Customers Billed                         40,191        38,977       37,437         35,833           32,702
                                   2
     Total Purchased (ccf)                 13,696,461    11,943,961   13,108,730     11,926,868    11,897,969

     Total Billed
     (Flint and GCDC-WWS)                                10,027,390   10,140,906      9,649,847      9,470,315

                               1
     Water Mains (miles)                           540         540            540          540               540
                      1
     Fire Hydrants                             5,200          5,200          5,200       5,200            5,200
                                       1
     Storage Capacity (gallons)            57,000,000    57,000,000   57,000,000     57,000,000    57,000,000


     Population                              112,857       111,475      102,434        101,558         101,515



     1
         Flint Annual Audits
     2
         Howard Croft, City of Flint




  Report     of the Engineering Consultant                                                      902-6843.001
  Karegnondi Water Authority                                                               0 3 / 1 7 / 1 4 , P a g e |1
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                                                           APPENDIX C-3
                                              FLINT WATER RATES - POST DWSD
Case 4:20-cv-12726-MFL-DRG ECF No. 1-2 filed 10/07/20                       PageID.753         Page 693 of 726
                                                                                                              TM
  Jones & Henry Engineers,             Ltd.                                                     Fluid thinking...




                                              Appendix C-3
                                      Flint Water Rates – Post DWSD



  x       Analysis started with annual audit revenue and expenses. Audit reflects July 1 to June 30 fiscal
          year.

  x       Genesee County charges (revenues) were identified and removed starting in July 2014.

  x       Between 2009 and 2013, the cost of water purchased from DWSD per ccf increased an average of
          11.4 percent annually.

  x       Water usage by customers has been decreasing, but trend appears to be reducing and estimated
          usage is assumed to stabilize at 3,345,000 ccf annually, beginning in 2014.

  x       Delinquency Rate is expected to remain the same.

  x       The City is assuming non-revenue water will be reduced by 10 percent per year through planned
          programs. No adjustments have been made in this analysis to reflect this potential change, but it
          could increase revenue and reduce expenses.

  x       It is assumed that Flint will start operation of their WTP with river water in April 2014 and will
          start using KWA water supply on July 1, 2016.

  x       KWA is expected to start operating July 1, 2016.

  x       Adjustments to Expenses

          o       Removed DWSD purchases starting in April 2014.

          o       Projected expenses for 2014 to 2018

                         Salaries 3 percent annually

                         Utilities 9 percent annually

                         All others 2 percent annually

          o       Added KWA O&M (43.6 percent of Total)

                      Fiscal Year                Flint
                         2017                 $1,015,264
                         2018                 $1,090,106




  Flint   Water Rates – Post         DWSD                             Appendix C-3, 902-6843.001
  Karegnondi Water Authority                                                           0 3 / 1 7 / 1 4 , P a g e |1
Case 4:20-cv-12726-MFL-DRG ECF No. 1-2 filed 10/07/20                       PageID.754       Page 694 of 726
                                                                                                            TM
  Jones & Henry Engineers,            Ltd.                                                    Fluid thinking...




          o       If the expected reduction in non-revenue water occurs, it will reduce KWA charges. A 10
                  percent reduction in non-revenue water is 3.1 percent of total water purchased, but since
                  only chemical and energy cost savings for KWA is anticipated (61 percent of total
                  operating costs), operating cost would go down only 1.9 percent. Capital cost would not
                  go down.

          o       Added $1,762,580 in FY 2014; $7,050,319 in FYs 2015 and 2016; $7,584,319 in FY
                  2017; and $7,808,582 in FY 2018 to operating expenses of WTP, based on City
                  projections.

          o       City has established a CIP and anticipates the following annual expenditures:

                         FY 2014          $8,500,000
                         FY 2015          $10,500,000
                         FY 2016          $9,500,000
                         FY 2017          $6,000,000
                         FY 2018          $6,500,000

                  This includes capital improvements required at the WTP plus commencing infrastructure
                  reinvestment in the distribution system, and developing a reserve and equipment
                  replacement fund.

          o       KWA Purchase (Capital)

                         $383,333 per unit x 18 units = $6,900,000 per year starting July 2016. Prior to
                          that it will be 10 percent of the annual amount.

  x       Debt service was added: $2,747,946 in FY 2014; $2,742,821 in FY 2015; $2,746,423 in FY
          2016; $2,748,446 in FY 2017; and $2,744,008 in FY 2018. The last debt service payment will
          be in 2024. The balance at the end of FY 2013 is $23,378,511.

  x       A transfer to the General Fund which represents a return on equity to the City of $1,130,000
          annually was added for FY 2014 through FY 2018 based on City projections. The annual audits
          for Flint also had $1,130,000 for FY 2011 through FY 2013.

  x       Rates – Current rates became effective July 1, 2012.

                                                        Current
                Minimum through              $21.776 per EM
               Commodity (35 ccf)            $7.518 per 100 cubic feet

  x       Typical Bills for residential unit and commercial unit:

                Meter Size              Commodity                   Monthly Bill
                 5/8-inch             1,000 cubic feet                $96.96
                  1-inch              2,052 cubic feet               $209.55




  Flint   Water Rates – Post         DWSD                              Appendix C-3, 902-6843.001
  Karegnondi Water Authority                                                         0 3 / 1 7 / 1 4 , P a g e |2
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                                                           APPENDIX C-4
                                 FLINT WATER DIVISION REVENUES AND EXPENSES
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                                                                                                                                                                                                                         TM
Jones & Henry Engineers,                       Ltd.                                                                                                                                                        Fluid thinking...




                                                                                        Appendix C-4
                                                                                   Revenues and Expenses
                                                                                 Flint Water Supply Division
                                                                                                 %
                                              FY2011             FY2012           FY2013       Change      FY2014                FY2015             FY2016             FY2017             FY2018
   Operating Revenue
     In-City Receipts From Customers       $24,682,954     1
                                                               $30,596,488   1
                                                                                 $34,663,435   1
                                                                                                         $34,663,435    9
                                                                                                                               $34,663,435    9
                                                                                                                                                  $34,663,435    9
                                                                                                                                                                     $34,663,435    9
                                                                                                                                                                                        $34,663,435    9


     Genesee County-Commodity               $9,019,685     2
                                                                $8,206,688   2
                                                                                  $7,601,857   2
                                                                                                          $6,351,352    10
                                                                                                                                        $0                 $0                 $0                 $0
     Genesee County-Surcharge               $1,404,648     2
                                                                $1,349,676   2
                                                                                  $1,368,000   2
                                                                                                          $1,026,000    11
                                                                                                                                        $0                 $0                 $0                 $0
     Genesee County-DWSD RTS                $1,093,872     2
                                                                $2,499,061   2
                                                                                  $3,987,480   2
                                                                                                          $3,331,540    10
                                                                                                                                        $0                 $0                 $0                 $0
     Other miscellaneous revenue               $14,830     3
                                                                    $3,761   3
                                                                                     $23,041   3
                                                                                                             $13,000               $13,000            $13,000            $13,000            $13,000
        Total Estimated Revenue            $36,215,989         $42,655,674       $47,643,813             $45,385,327           $34,676,435        $34,676,435        $34,676,435        $34,676,435
   Operating Expenses
     DWSD Purchases                        $20,919,987     3
                                                               $21,251,448   3
                                                                                 $23,308,800   3
                                                                                                   11.4% $19,357,539    8, 5
                                                                                                                                        $0                 $0                 $0                 $0
     Salaries, wages and fringe benefits   $12,043,462     3
                                                                $9,613,902   3
                                                                                 $10,599,599   3
                                                                                                   3%    $10,917,587           $11,245,115        $11,582,468        $11,929,942        $12,287,840
     Utilities                                $732,787     3
                                                                  $658,425   3
                                                                                    $691,373   3
                                                                                                   9%       $753,597              $821,420           $895,348           $975,929         $1,063,763
     Equipment operation                      $398,404     3
                                                                  $616,356   3
                                                                                    $628,541   3
                                                                                                   2%       $641,112              $653,934           $667,013           $680,353           $693,960
     Repair and maintenance                   $437,370     3
                                                                  $609,858   3
                                                                                    $220,696   3
                                                                                                   2%       $225,110              $229,612           $234,204           $238,888           $243,666
     Supplies                                 $680,635     3
                                                                  $978,916   3
                                                                                    $934,097   3
                                                                                                   2%       $952,779              $971,835           $991,271         $1,011,097         $1,031,319
     Professional services                    $700,728     3
                                                                  $981,440   3
                                                                                    $605,606   3
                                                                                                   2%       $617,718              $630,072           $642,674           $655,527           $668,638
     Administrative costs                   $1,132,511     3
                                                                $1,215,447   3
                                                                                          $0   3
                                                                                                                  $0                    $0                 $0                 $0                 $0
     Miscellaneous costs                      $924,319     3
                                                                  $926,460   3
                                                                                    $749,641   3
                                                                                                   2%       $764,634              $779,926           $795,525           $811,436           $827,664
                                                                                                                        4                     4                  4                  4                  4
      Operating WTP                                 $0                 $0                $0               $1,762,580            $7,050,319         $7,050,319         $7,584,319         $7,808,582
      KWA Capital Cost (Bond, 30%)7                 $0                 $0                $0                 $690,000              $690,000           $690,000         $6,900,000         $6,900,000
      KWA Operating Cost 6                          $0                 $0                $0                       $0                    $0           $974,768         $1,055,760         $1,124,451
      CIP Financing4                                $0                 $0                                 $8,500,000           $10,500,000         $9,500,000         $6,000,000         $6,500,000
      Debt Service 4                                                                                      $2,747,946            $2,742,821         $2,746,423         $2,748,446         $2,744,008
                                                                                                                        4                     4                  4                  4                  4
      Transfer to General Fund              $1,130,000     3
                                                                $1,130,000   3
                                                                                  $1,130,000   3
                                                                                                          $1,130,000            $1,130,000         $1,130,000         $1,130,000         $1,130,000
         Total operating expenses          $39,100,203         $37,982,252       $38,868,353             $49,060,601           $37,445,055        $37,900,013        $41,721,697        $43,023,891

            Annual Reserve                  ($2,884,214)        $4,673,422        $8,775,460             ($3,675,274)          ($2,768,620)       ($3,223,578)       ($7,045,262)       ($8,347,456)

       1
          Total from annual audits for Receipts From Customers and Users, less Genesee County charges
       2
          Genesee County rate studies by Jones & Henry Engineers
        3
          Flint annual audits
        4
          Provided by City of Flint, March 6, 2014 (one-fourth in FY2014)
        5
          Flint to begin treating river water April 1, 2014.
        6
          Jones & Henry calculation
        7
          Estimate of $383,333 per unit ($23,000,000/60 units), 18 units for Flint
        8
          Cost per ccf of purchases from DWSD between 2009-2013 increased by an average of 11.4% annually. This will be the factor that will be used to estimate DWSD purchases in 2014 (9 months)
        9
          Based on 2013 revenue levels without taking into account future rate increases
       10
          FY2013 expense plus 11.4% increase times 75% (to adjust to coincide with April 1, 2014 GCDC-WWS supply from DWSD)
       11
          FY2013 expense times 75% (to adjust to coincide with April 1, 2014 GCDC-WWS supply from DWSD)




Report     of the Engineering Consultant                                                                                                                               Appendix C-4, 902-6843.001
Karegnondi Water Authority                                                                                                                                                                         0 3 / 1 7 / 1 4 , P a g e |1
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                                                           APPENDIX C-5
                                    FLINT WATER SYSTEM NEEDS AND PROJECTS
                             (SUMMARY FROM EXISTING INFRASTRUCTURE REPORT,
                                                 DLZ AND HOUSEAL LAVIGNE)
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                                                                                                              TM
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  Appendix C-5 Flint Water System Needs and Projects
  (Summary from Existing Infrastructure Report, DLZ and Houseal Lavigne)
  The City does experience problems with a number of existing valves; long-term needs for the system
  include replacement of existing valves over the next 20 years. The estimated cost for valve replacement is
  approximately $2,000,000.

  The City of Flint’s conveyance system consists of water distribution and transmission main ranging in
  size from 4-inch to 72-inch diameter. The majority of the existing piping is constructed of cast iron or
  ductile iron pipe up to 24-inch in diameter and exceeds 70 years old. Transmission mains over 24-inch
  diameter are constructed primarily of steel piping. A significant amount of 4-inch water main is over 70
  years old, is prone to breaks, and is unable to provide modern pressures and fire flows. The distribution
  and transmission system are “old and in serious need of replacement” according to the Water Reliability
  Study. A six-year Capital Improvement Program was developed by the City’s Utilities Department and
  addresses the below-ground infrastructure issues and a long-term 20-year plan. 2

  The City of Flint’s distribution system currently has 3,931 gate valves and 3,327 gate well valves. Critical
  valves are 16-inch and larger on a primary transmission main that could result in shutting down a
  significant part of the City in the event of a break. A preliminary evaluation indicated that there are 1,398
  critical valves in the system. Subcritical valves are 12-inch valves on minor transmission mains, the
  failure of which could result in a shutdown of a residential area. There are 1,398 subcritical valves.
  Normal valves are smaller than 12-inch and the failure of a normal valve would impact a small residential
  area. There are 4,462 normal valves in the system. Currently the City is operating under a reactionary
  valve maintenance plan; however, the City has plans to move to a preventative maintenance and
  replacement operation that includes operating and maintaining 700 critical valves, 280 subcritical valves,
  and 450 normal valves annually. The Water Reliability Study recommended $500,000 in valve
  replacements be done annually.

  The City of Flint has 3,605 hydrants in the current water distribution system, many of which are in excess
  of 50 years old. In 2010, the City purchased 80 hydrants to begin replacing old hydrants. The City has
  plans to analyze and replace hydrants that exceed 50 years of age; over the next 20 years the City plans to
  create a system that will assess and regularly replace hydrants that reach 25 years of age. The Water
  Reliability Study recommended $250,000 in hydrant replacements be done annually. 2

  A major problem exists with the efficiency of the water system. According to the Water Reliability Study,
  the City is operating its water system with 68 percent efficiency, meaning that 32 percent of the water that
  the City buys from DWSD is not paid for by users of the system. The Water Reliability Study stated that
  water utilities typically operate at 85 to 90 percent efficiency. Increasing efficiency to 85 percent would
  result in an increase in revenue of $1.5-2.0 million annually. There are several likely explanations for the
  unaccounted water (loss of efficiency):

  x       Water withdrawn from a fire hydrant

  x       Leaks and water main breaks

  x       Faulty or inaccurate meters

  x       Unauthorized connections

  x       Unmetered municipal water use


  Report    of the Engineering Consultant                                                   902-6843.001
  Karegnondi Water Authority                                                           0 3 / 1 7 / 1 4 , P a g e |1
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                                                                                                                TM
  Jones & Henry Engineers,             Ltd.                                                       Fluid thinking...




  Given the low efficiency of the City’s water system, it is most likely that there is a combination of
  significant leaks within the system, inaccurate meters, and/or illegal connections. It was recommended in
  the Water Reliability Study that a high priority should be placed on increasing the water systems’
  efficiency. This includes testing high volume meters, performing a detailed leak detection study,
  residential meter replacement, billing system review, and reviewing fire flow estimates. 2

  The exact location, condition, and age of each water line in the City are unknown. 2

  In order to provide finished water to its customers, Flint expects to use an existing water treatment plant,
  which is currently operating in a back-up role with a capacity of 36 mgd. Flint will be required to make an
  estimated $8,000,000 in improvements to convert the plant from stand-by to fully operational.

  Currently, Flint and Genesee County receive treated water from DWSD. In 2012, Flint and Genesee
  County combined for a total payment to DWSD of approximately $25,000,000 in both fixed fee and
  commodity charges for an average water cost of $22.72 per 1,000 cubic feet of water.

  The Flint Water Reliability Study includes a number of recommendations that have not been implemented
  for financial reasons. These improvements include replacement of over 59,000 LFT of major transmission
  water main (larger than 12-inch), over 5,500 LFT of 6-inch minor transmission water main, and
  replacement of 3,000 water meters each year. Funding for these improvements to the system is needed to
  reduce waste and improve efficiency. In addition, the other recommendations for valve and hydrant
  replacement are in need of funding. Prioritization of funding for the above improvements, as well as for
  smaller service line replacement, will need to consider redevelopment considerations included in the
  Master Plan.




  Report    of the Engineering Consultant                                                     902-6843.001
  Karegnondi Water Authority                                                             0 3 / 1 7 / 1 4 , P a g e |2
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                                                           APPENDIX C-6
                                          WATER RATES AND CHARGES FOR FLINT
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                                                                                                      TM
  Jones & Henry Engineers,          Ltd.                                                Fluid thinking...




                                           Appendix C-6
                             Schedule of Water Rates & Charges for Flint

           Metered Water                             Rates for Bills Due After July 1, 2012
           Rates per 100 cubic feet (ccf)            Inside City Rate    Outside City Rate
           Through 35 ccf                                 7.518                11.259
           Next 1,965 ccf                                 7.310                10.765
           Over 2,000 ccf                                 5.792                8.677

           Water Monthly Service Charges
           Remote Metered Monthly Charge             Rates for Bills Due After July 1, 2012
           Meter Size                                Inside City Rate    Outside City Rate
           5/8 inch                                         21.776                32.483
           3/4 inch                                         41.861                62.706
           1 inch                                           55.283                82.792
           1-1/2 inch                                       55.283                82.792
           2 inch                                           55.283                82.792
           Non-Remote Metered Monthly Charge         Rates for Bills Due After July 1, 2012
           Meter Size                                Inside City Rate    Outside City Rate
           5/8 inch                                         26.332                39.678
           3/4 inch                                         46.664                69.976
           1 inch                                           59.952                90.062
           1-1/2 inch                                       59.952                90.062
           2 inch                                           59.952                90.062
           Commercial & Industrial Month Charge      Rates for Bills Due After July 1, 2012
           Meter Size                                Inside City Rate    Outside City Rate
           5/8 inch                                          53.385                80.134
           3/4 inch                                          61.263                91.715
           1 inch                                            75.103               112.673
           1-1/2 inch                                       107.756               161.785
           2 inch                                           150.622               226.086
           3 inch                                           297.488               448.469
           4 inch                                           523.495               785.366
           6 inch                                         1,029.429             1,543.867
           8 inch                                         1,492.875             2,239.473
           10 inch                                        2,060.754             3,107.476
           12 inch                                        2,493.124             3,739.505
           16 inch                                        3,102.636             4,653.867
           20 inch                                        3,351.183             5,463.817




  Report   of the Engineering Consultant                                            902-6843.001
  Karegnondi Water Authority                                                   0 3 / 1 7 / 1 4 , P a g e |1
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                                                        KAREGNONDI WATER AUTHORITY, COUNTIES OF GENESEE, LAPEER AND SANILAC, STATE OF MICHIGAN • WATER SUPPLY SYSTEM BONDS (KAREGNONDI WATER PIPELINE), SERIES 2014A
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                       Exhibit 3 to Exhibit B
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                                                                           December Execution Copy

                                   THREE PARTY AGREEMENT

          This Three Party Agreement (“Agreement”) between Karegnondi Water Authority, a
   municipal authority and public body corporate organized pursuant the provisions of Act 233,
   Public Acts of Michigan, 1955, as amended, whose address is 4610 Beecher Road, Flint,
   Michigan 48532, Great Lakes Water Authority, a municipal authority and public body corporate
   organized pursuant to Act 233, Public Acts of Michigan, 1955, as amended, whose address is 735
   Randolph Street, Detroit, Michigan 48226, and the City of Flint, a Michigan municipal
   corporation, whose address is 1101 South Saginaw Street, Flint, Michigan 48502, effective as of
   December 1, 2017.

                                              RECITALS

            WHEREAS, in 1964, Detroit and Flint entered into an agreement, as amended, whereby
   Detroit provided Flint with treated water (“1964 Agreement”). The 1964 Agreement allowed Flint
   to resell Detroit water to other communities in Genesee County;

           WHEREAS, in 2010, Flint along with the Counties of Genesee, Lapeer, and Sanilac and
   the City of Lapeer, formed KWA to, among other things, supply raw water to its Members;

          WHEREAS, Flint entered into a Raw Water Supply Contract with KWA. In the Raw
   Water Supply Contract Flint purchased and agreed to finance the construction cost of 18 MGD of
   capacity in the KWA System. Flint’s rights included the right to up to 18 MOD of raw water
   capacity, delivery of that raw water and its use;

          WHEREAS, on August 1, 2013, Flint, executed a Financing Contract with KWA and
   Genesee County in which Flint pledged its full faith and credit to pay for its pro-rata share of the
   estimated cost of the construction of the KWA System; the construction cost was not to exceed
   Three Hundred Million Dollars ($300,000,000). Flint’s rights included the right to up to 18 MOD
   of raw water capacity, delivery of that raw water and its use that are conditioned upon Flint’s
   performance under the Financing Contract;

         WHEREAS, in April of 2014, pursuant to the Financing Contract, KWA issued Series
   2014 Bonds to construct the KWA System (“2014 Bonds”);

          WHEREAS, on April 30, 2014, Flint ceased purchasing water from Detroit;

           WHEREAS, in April of 2014, Flint began operation of the Flint water treatment plant to
   treat water from the Flint River while the KWA System was being constructed;

          WHEREAS, in 2014 and 2015, Flint, MDEQ and the Environmental Protection Agency
   discovered that the water being provided to Flint residents originating from the Flint River
   contained levels of lead which threatened their health and safety;

           WHEREAS, in October of 2015, Detroit contracted with Flint to again provide Flint with
   treated water and on January 1, 2016, GLWA assumed Detroit’s obligation to provide Flint water;
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           WHEREAS, in June of 2016, pursuant to the Financing Contract, KWA issued Series 2016
    Bonds to complete the construction of the KWA System;

           WHEREAS, in April of 2017, the Parties along with GCDC and the State executed a
   Statement of Principles, which provides in part that GLWA will provide Flint with treated water
   under the terms of the Flint Contract;

          WHEREAS, the Parties agree that 1- lint remains responsible to pay its portion of the
   Construction Debt;

            WHEREAS, Flint desires to transfer to GLWA and GLWA desires to accept the transfer
   of an irrevocable grant of an exclusive license of 18 MGD raw water capacity, delivery of that raw
   water and its use as more fully described in Article 25 of the of the Flint Contract and the License;

            WHEREAS, At such time as the Construction Debt is paid in full and is no longer
   outstanding Flint also desires to transfer to GLWA and GLWA desires to accept the transfer of
   Flint’s remaining interest in 17.46 MGD of Flint’s capacity; and

          NOW, THEREFORE, in consideration of the mutual covenants and agreements herein
   contained, the Parties agree as follows, to wit:

                                             ARTICLE I
                                            DEFINITIONS

           The following words and expressions, or pronouns used in their stead, shall be construed
   as follows:

          “Agreement” shall mean each of the various provisions and parts of this document,
          including all attached Exhibits and any amendments thereto, as may be executed and
          approved by the Parties hereto.

          “Agreement Term” shall have the meaning ascribed in Article II herein.

          “Annual Requirement” shall have the same meaning as this term is defined in the Raw
          Water Supply Contract.

          “Capacity Fee” shall have the same meaning as this term is defined in the Raw Water
          Supply Contract.

          “Construction Debt” shall mean the debt associated with the construction of the KWA
          System as set forth in the Financing Contract and Section 2.07 of the Raw Water Supply
          Contract, including, but not limited to the 2014 Bonds, 2016 Bonds, and any future
          refunding of the 2014 Bonds and the 2016 Bonds or any refundings thereof (exclusive of
          new money components).
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         “Detroit” shall mean the City of Detroit, a Michigan municipal corporation, located in
         Wayne County.

         “Debt Fund” shall have the same meaning as this term is defined in the Raw Water Supply
         Contract.

         “Effective Date” shall mean the effective date of this Agreement which shall be the
         Effective Date of the Master Agreement to which this Agreement is attached as Exhibit D.

         “Financing Contract” shall mean the Karegnondi Water Authority Financing Contract
         dated August 1,2013, between KWA, Flint, and the County of Genesee (as the same maybe
         amended or supplemented) in which Flint pledged its full faith and credit to pay for its pro
         rata share of the estimated cost of the construction of the KWA System; the construction
         cost was not to exceed Three Hundred Million Dollars ($300,000,000).

         “Flint” shaLl mean the City of Flint, a Michigan municipal corporation, located in Genesee
         County.

         “Flint Contract” shall mean the Water Service Contract between GLWA and Flint.

         “GCDC” shall mean the Genesee County Drain Commissioner, as Michigan county
         agency, organized pursuant to Act 342, Public Acts of Michigan, 1939, as amended,
         including its successors in interest.

         “GLWA” shall mean the Great Lakes Water Authority, a Michigan municipal authority
         and public body corporate organized pursuant to the provisions of Act 233, Public Acts of
         Michigan, 1955, as amended, governed by its Board of Directors and its day-to-day
         operations conducted by its Chief Executive Officer, including its successors in interest.

         “KWA” shall mean the Karegnondi Water Authority, a Michigan municipal authority and
         public body corporate organized pursuant to the provisions of Act 233, Public Acts of
         Michigan, 1955, as amended, governed by its Board of Directors and its day-to-day
         operations conducted by its Chief Executive Officer, including its successors in interest.

         “KWA Refunding Bonds” means any bonds issued by KWA pursuant to the KWA
         Financing Contract (including any future supplement or amendment thereto) to refund,
         directly or indirectly through a series of refundings, all or any portion of the KWA System
         Bonds.

         “KWA System” shall have the same meaning as the term “System” as defined in the Raw
         Water Supply Contract.

         “KWA System Bonds” means, collectively, the Series 2014 Bonds and the Series 2016
         Bonds.
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         “KWA System Improvement Bonds” shall have the same meaning as the term “System
         Improvement Bonds” as defined in the Raw Water Supply Contract.

         “License” shall mean the Irrevocable Assignment of Essential Water Mains and Raw Water
         Rights by Flint to GLWA that was effective as of December 1, 2017.

         “Master Agreement” shall mean the Master Agreement effective as of December 1, 2017,
         between and among Flint, MDEQ, GCDC, GLWA, and the KWA.

         “Members” shall have the same meaning as this term is defined in the Raw Water Supply
         Contract.

         “MOD” shall mean One (1) Million Gallons Per Day, U.S. Standard Liquid Measure.

         “MDEQ” shall mean the Michigan Department of Environmental Quality.

         “New KWA Bonds” means any bonds issued after the Effective Date (as defined in Section
         2.01) by KWA for which Flint has agreed or agrees, by contract or otherwise, to pay all or
         a portion of the debt service on such bonds. For the avoidance of doubt, “New KWA
         Bonds” does not include the KWA System Bonds or the KWA Refunding Bonds.

         “Party” shall mean KWA, GLWA, or Flint individually.

         “Parties” shall mean KWA, GLWA, and Flint collectively.

         “Point or Points of Delivery” shall mean the point or points in Michigan designated by a
         Party where raw water from the KWA System will be delivered.

         “Raw Water Main” shall have the same meaning as this term is defined in the defined in
         Article 4 of the Flint Contract.

         “Raw Water Supply Contract” means the Raw Water Supply Contract between the KWA
         and Flint dated June 28, 2013, and effective on October 1, 2013 that was amended by the
         First Addendum effective March 6, 2014, the Second Addendum effective December 1,
         2017, and all future amendments thereto.

         “Reciprocal Backup Agreement” shall mean the Reciprocal Backup Agreement between
         GLWA and GCDC.

         “Security Deposit Account” shall have the same meaning as the term is defined in Article
         12 of the Flint Contract.

         “Series 2014 Bonds” means the $220,500,000 original principal amount Water Supply
         System Bonds (Karegnondi Water Pipeline), Series 2014A, issued by KWA pursuant to
         the Financing Contract.
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          “Series 2016 Bonds” means the $74,370,000 original principal amount Water Supply
          System Bonds (Karegnondi Water Pipeline), Series 2016, issued by KWA pursuant to the
          Financing Contract.

          “State” shall mean the State of Michigan.

          “Trust Agreement” shall mean the Baseline and All Receipts Trust Agreement among Flint,
          GLWA, KWA, GCDC, and U.S. Bank National Association, as Trustee effective
          December 1, 2017.

          “Volume for Exempt Purposes” shall have the same meaning as this term is defined in the
          Raw Water Supply Contract.

          “Water Transmission Fee” shall have the same meaning as this term is defined in the Raw
          Water Supply Contract.

                                           ARTICLE II
                                        AGREEMENT TERM

          The term of this Agreement shall be from the Effective Date and shall remain in effect until
   the Construction Debt is paid in full and no longer outstanding.

                                         ARTICLE III
                                    RECEIPT OF RAW WATER

         This Article III shall not apply to any raw water received and the use of that raw water by
   the GLWA pursuant to the Reciprocal Backup Agreement.

           KWA acknowledges that Flint has transferred a portion of its right to delivery and use of
   raw water to GLWA during the Agreement Term. GLWA and Flint each agree to pay KWA for
   the raw water each may use that is received from the Raw Water Main at the then current rates
   established by the KWA Board pursuant to the Raw Water Supply Contract.

          Neither GLWA nor Flint shall transmit any ~ water purchased from KWA outside of the
   corporate limits of Flint without the prior written consent of KWA. Neither GLWA nor Flint shall
   transmit raw water purchased from KWA beyond the watershed as set forth in the Permit.
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                              ARTICLE IV
    APPROVAL OF TRANSFER OF REMAINING RIGHTS TO CAPACITY WHEN DEBT
                                 PAID

           Pursuant to the Flint Contract and the License, Flint has provided GLWA with certain
   rights of raw water. The Flint Contract and the License further provide that Flint’s rights licensed
   to GLWA and the remaining rights transfer after the Construction Debt is paid in full and no longer
   outstanding, and GLWA has purchased such remaining rights in accordance with the Flint
   Contract. KWA approves this transfer.

            When Flint’s remaining rights have transferred to GLWA, GLWA shall provide notice to
   KWA at the time established by Section 25.03 of the Flint Contract. KWA shall set the price per
   MGD, for purpose of Exhibit D of the Raw Water Supply Contract, at its then current price, on the
   date it receives this notice.

          As between GLWA and Flint, consideration is deemed paid pursuant to the credits granted
   under Section 12.05 of the Flint Contract.

           Upon the expiration of the Agreement Term, in order for GLWA to continue to receive raw
   water from KWA, GLWA shall enter into a Water Purchase Contract with KWA.

                                  ARTICLE V
               RAW WATER SUPPLY CONTRACT AND KWA INDEBTEDNESS

           Section 5.01. Flint’s Obligation to Support Refundingof Bonds. Flint acknowledges
   its continuing obligation to support the issuance of the KWA Refunding Bonds. Flint’s continuing
   obligation includes, without limitation, participation and assistance in the issuance of the KWA
   Refunding Bonds, including: preparation of appropriate disclosure regarding Flint, its financial
   condition and operations as may be requested by KWA, the bond underwriter or as otherwise
   required by applicable federal securities laws; the signing of all documents requested by the bond
   underwriter and KWA; and, when requested by them, using reasonable efforts to provide them
   with all information and documents within Flint’s control necessary to effectuate the purposes of
   the bond transaction. Flint’s continuing obligation also includes taking all actions within its control
   necessary to maintain the exclusion of the interest on the KWA System Bonds and KWA
   Refunding Bonds from adjusted gross income for federal income purposes under the Internal
   Revenue Code of 1986, as amended; and providing and complying with its continuing disclosure
   obligations related to the KWA System Bonds and the KWA Refunding Bonds.

            Section 5.02. Flint’s Obligation to Pay. In accordance with Article II of the Raw Water
   Supply Contract, the bonds described on Exhibit A attached hereto have been issued by KWA and
   are and will continue to be payable from and secured by the Capacity Fee payments (to the extent
   previously payable from and secured by such fees), the Financing Contract payments and the
   payments to KWA under the Trust Agreement. For the avoidance of doubt, KWA and GLWA
   acknowledge and agree that the Financing Contract, and Flint’s obligations thereunder, (a) remain
   in full force and effect, and (b) payments related thereto shall be payable thereunder and pursuant
   to the Trust Agreement.


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           Section 5.03. Issuance of KWA Refunding Bonds. In addition to the provisions of
   Section 2.05 of the Raw Water Supply Contract entitling KWA to issue KWA Refunding Bonds,
   the provisions of Article 26 of the Flint Contract impact the issuance of KWA Refunding Bonds
   by affecting the rights between the Flint and GLWA with respect thereto. KWA has no obligation
   to inquire as to or verify compliance by Flint with the Flint Contract, including, but not limited,
   Article 26. For the avoidance of doubt, GLWA (a) is not financially obligated, directly or
   indirectly, under the Financing Contract, the Raw Water Supply Contract, or otherwise, for
   payment of KWA System Bonds or KWA Refunding Bonds or other obligations of Flint
   thereunder, and (b) is not a material obligated person with respect to such bonds, and has no
   obligation under federal securities laws or otherwise related to offering or disclosure documents
   for such bonds.

            Section 5.04. Issuance of KWA System Improvement Bonds. In addition to the
   provisions of Section 2.05 of the Raw Water Supply Contract entitling KWA to issue one or more
   series or issues of KWA System Improvement Bonds, the provisions of Article 26 of the Flint
   Contract impact the issuance of KWA System Improvement Bonds by affecting the rights between
   Flint and GLWA with respect thereto. KWA has no obligation to inquire as to or verify compliance
   by Flint with the Flint Contract, including, but not limited, Article 26. For the avoidance of doubt,
   GLWA (a) is not financially obligated, directly or indirectly, under the Financing Contract, the
   Raw Water Supply Contract, or otherwise, for payment of KWA System Bonds or KWA
   Refunding Bonds or other obligations of Flint thereunder, and (b) is not a material obligated person
   with respect to such bonds, and has no obligation under federal securities laws or otherwise related
   to offering or disclosure documents for such bonds.

            Section 5.05. Payments of Capacity Fee and applicable Debt Fund fee. In accordance
   with Article III of the Raw Water Supply Contract, as of the Effective Date, Flint is obligated to
   continue to pay its Capacity Fee and any applicable Debt Fund fee to KWA, to the extent that
   Flint’s obligations for its share of the debt service on the bonds described on Exhibit A is not paid
   with payments to KWA from the Trust Agreement or otherwise. Additionally, Flint will also pay
   operating and maintenance fees to GCDC, which are paid as the GCDC pass-through charges
   under the Reciprocal Backup Agreement, the Flint Contract and the Trust Agreement.
   Notwithstanding any other provisions of the Raw Water Supply Contract as originally drafted, in
   light of the transactions contemplated by the Master Agreement, KWA (a) does not currently
   anticipate charging Flint or GLWA an Annual Requirement fee, a Water Transmission Fee (other
   than with respect to the 0.54 MGD), a fee for Volume for Exempt Purposes or any other fee
   authorized by the Raw Water Supply Contract, and (b) shall not impose any such fee on Flint
   without prior written notice to GLWA;

             Section 5.06. Point or Points of Delivery. In addition to the provisions of Article IV of
   the Raw Water Supply Contract, with respect to any raw water to be purchased by GLWA pursuant
   to its rights received under the License, the obligations of KWA to deliver raw water would be to
   a Point or Points of Delivery set forth on Exhibit B of the Flint Contract, attached hereto, or such
   other Point or Points of Delivery established by agreement.
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            Section 5.07. GLWA not a Successor to Flint. KWA agrees, for the benefit of GLWA,
    to comply with its obligations to Flint under the Raw Water Supply Contract. For the avoidance
    of doubt, GLWA shall not constitute a successor to Flint under the Raw Water Supply Contract or
    the Financing Agreement, but shall have such obligations as set forth herein and in the documents
    and agreements executed by it pursuant to the Master Agreement.

          Section 5.08. Remaining KWA System Costs. KWA represents that the remaining costs
   to complete the KWA System are not expected to exceed $4,000,000.00, which is expected to be
   financed as part of the refinancing of the Series 2016 Bonds.

                                         ARTICLE VI
                                  SECURITY DEPOSiT ACCOUNT

           Section 6.01 Establishment of Security Deposit Account. Flint has established a
   Security Deposit Account with GLWA pursuant to the Flint Contract. GLWA is the sole owner
   of the Security Deposit Account and, except as set forth in this Agreement, GLWA shall have the
   sole and exclusive rights in and to the Security Deposit Account in accordance with the terms of
   the Flint Contract.

          Section 6.02 KWA Rights to Pro-Rata Application of Security Deposit Account
   Balance. In the event of an ongoing failure of Flint to pay its obligations to GLWA under the
   Flint Contract and to KWA under the Financing Contract and the Raw Water Supply Contact, all
   pursuant to the Trust Agreement, then following:

               (i) the Conversion Date (as defined in the Trust Agreement);

               (ii) the application of the entire portion of any available debt service reserve fund
               monies available for payment of the bonds as listed on Exhibit A, which portion was
               funded by or is allocable to Flint, to Flint’s obligations under the Financing Contract as
               the same become due in accordance with the terms of the applicable KWA bond
               indentures and/or resolutions, all as evidenced by written certification by the applicable
               paying agent, financial institution, and/or other third party acceptable to the Parties;
               and

              (iii) commencement by KWA (itself or by and through its applicable bond trustee(s))
              and pursuit of its available remedies for collection from Flint under the terms of the
              applicable KWA bond indentures and/or resolutions, including commencement of legal
              action in the appropriate forum, all as evidenced by written certification of the KWA
              and a copy of the filing(s);

           GLWA and KWA agree that any then-remaining balance in the Security Deposit Account
   shall be split pro-rata between GLWA and KWA for application to Flint’s respective financial
   obligations then due and payable to GLWA under the Flint Contract and to KWA under the
   Financing Agreement.

                                             ARTICLE VII

                                                     8
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     ACKNOWLEDGEMENT OF ADDENDUM TO RAW WATER SUPPLY CONTRACT

         Flint and KWA shall at the time of execution of this Agreement, execute the SECOND
    ADDENDUM TO RAW WATER SUPPLY CONTRACT BETWEEN THE KAREGNONDI
    WATER AUTHORITY AND THE CITY OF FLINT DATED JUNE 28.2013, AND EFFECTIVE
    ON OCTOBER 1. 2013 attached hereto as Exhibit B.

                                          ARTICLE VIII
                                      DEFAULT AND REMEDIES

           Section 8.01. Monetary Default. All amounts owed to KWA by GLWA or Flint shall,
   if not paid when due, bear interest at the maximum rate allowed by applicable law from the due
   date until paid in full. In any collection action for a monetary default, the non-prevailing party
   shall pay all of the prevailing party’s expenses, including, but not limited to, awards of reasonable
   attorney fees and costs, court costs, and all other costs incurred by the prevailing party in such
   action.

           Section 8.02. Non-Monetary Default. If a Party is alleged to be in non-monetary default
   under this Agreement, the non-defaulting Party shall send written notice to the alleged defaulting
   Party specif~’ing in detail the nature of the alleged default. The alleged defaulting Party shall have
   five (5) days to cure the alleged default, provided that if the nature of the alleged default is such
   that more than five (5) days are required to cure the alleged default, then the alleged defaulting
   Party shall not be in default if it begins to cure within five (5) days and thereafter diligently pursues
   the cure to completion. The non-defaulting Party shall be entitled to all of its remedies as allowed
   by applicable law. In any legal action resulting from a non-monetary default, the non-prevailing
   party shall pay all of the prevailing party’s expenses, including, but not limited to, awards of
   reasonable attorney fees and costs, court costs, and all other costs incurred by the prevailing party
   in such action.

                                            ARTICLE IX
                                        GENERAL PROVISIONS

            Section 9.01. Force Maieure. If by reason of Force Majeure occurrence any Party shall
   be rendered unable wholly or in part to carry out its obligations under this Agreement, other than
   the obligation of the GLWA or Flint to make the payments as required under this Agreement, then
   if such Party shall give notice and detail of such Force Majeure occurrence in writing to each other
   Party within a reasonable time after the onset of the Force Majeure occurrence, the obligation of
   the Party giving such notice, so far as it is affected by such Force Majeure occurrence, shall be
   suspended during the continuance of the inability then claimed, but for no longer period, and any
   such Party shall endeavor to remove or overcome such inability with all reasonable dispatch. The
   term “Force Maj eure” as used herein shall mean acts of God, strikes, lockouts or other industrial
   disturbances, acts of public enemy, orders of any kind of the Government of the United States or
   the State, or any civil or military authority, insurrection, riots, epidemics, landslides, lightning,
   earthquake, fires, hurricanes, storms, floods, washouts, arrests, restraint of government and people,
   civil disturbances, explosions, breakage or accidents to machinery, pipelines or canals, partial or
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   entire failure of treated water supply, or on account of any other causes not reasonably within the
   control of the Party claiming such inability.

           Section 9.02. Severability. In case any one or more of the sections, subsections,
   provisions, clauses or words of this Agreement or the application of such sections, subsections,
   provisions, clauses or words to any situation or circumstance shall be, or shall be held to be, for
   any reason, invalid or unconstitutional, under the laws or constitutions of the State or the United
   States of America, or in contravention of any such laws or constitutions, such invalidity,
   unconstitutionality or contravention shall not affect any other sections, subsections, provisions,
   clauses or words of this Agreement or the application of such sections, subsections, provisions,
   clauses or words to any other situation or circumstance, and it is intended that this Agreement shall
   be severable and shall be construed and applied as if any such invalid or unconstitutional section,
   subsection, provision, clause or word had not been included herein, and the rights and obligations
   of the Parties shall be construed and remain in force accordingly.

          Section 9.03. Governin2 Law. The rights and remedies set forth in this Agreement are
   not exclusive and are in addition to any of the rights or remedies provided by law or equity. This
   Agreement and all actions arising under it shall be governed by, subject to, and construed
   according to the laws of the State.

           Section 9.04. Benefits to Inure. The rights and benefits under this Agreement shall inure
   to the benefit of and be binding upon the respective parties hereto, their agents, successors and
   assigns.

           Section 9.05. Waiver. No Party shall be deemed to have waived any of its rights under
   this Agreement unless such waiver is in writing and signed by the other Parties. No delay or
   omission on the part of a Party in exercising any right shall operate as a waiver of such right or
   any other right. A waiver on any one occasion shall not be construed as a waiver of any right on
   any future occasion.

           Section 9.06. Assignability. This Agreement may not be assigned by any Party without
   the prior written consent of all Parties.

          Section 9.07. Construction. This Agreement has been prepared and negotiations have
   occurred in connection with said preparation pursuant to the joint efforts of the Parties. This
   Agreement therefore shall not be construed against any Party to this Agreement.

            Section 9.08. Modification. This Agreement may not be modified without the consent
   of all Parties. A Party must give no less than 45 days’ written notice to all Parties. Modifications
   to this Agreement may not be done without the agreement of all Parties. Consent to a modification
   by any Party shall not be unreasonably withheld.

           Section 9.09. No Third Party Beneficiaries. In case of a conflict between this Section
   7.07 and the Master Agreement, the Master Agreement shall control. Nothing in this clause shall
   be read to create a third party beneficiary right or to allow enforcement of third party beneficiary
   rights by an individual or entity that is not a Party, successor to a Party to this Agreement. Nothing

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   in this clause shall be read to allow enforcement of third party beneficiary rights if such
   enforcement would abridge, impair, or destroy the rights which the promisee of a promise made
   for the benefit of another person or would otherwise have as a result of such promise.

           Section 9.10. Counterparts. This Agreement may be executed in several counterparts
   each of which shall be deemed one and the same Agreement. It shall be binding upon and inure
   to the benefit of the Parties.

          Section 9.11. Headings and Captions. The headings and captions used in this
   Agreement are for the convenience of reference only and in no way define, limit or describe the
   scope of intent of any provision of this Agreement.

           Section 9.12. Addresses and Notice. Unless otherwise provided herein, any notice,
   communication, request, reply or advice (herein severally and collectively, for convenience, called
   “Notice”) herein provided or permitted to be given, made or accepted by any Party to any other
   Party, shall be in writing and shall be given or be served by depositing the same in the United
   States mail postpaid and registered and certified and addressed to the Party to be notified, with
   return receipt requested. Notice deposited in the mail in the manner described above shall be
   conclusively deemed to be effective, unless otherwise stated herein, from and after the expiration
   of three (3) days after it is so deposited. For the purposes of notice, the addresses of the Parties
   shall, until changed as hereinafter provided, be as follows:

           If to GLWA, to:                                        If to Flint, to:

                   Great Lakes Water Authority                    City of Flint
                   Attn: Chief Executive Officer                  Attn: Mayor
                   735 Randolph Street, Suite 1900                1101 South Saginaw Street
                   Detroit, Michigan 48226                        Flint, Michigan 48502

           If to KWA, to:

                   Karegnondi Water Authority
                   Attn: Chief Executive Officer
                   G-46 10 Beecher Road
                   Flint, Michigan 48532

   Each Party shall have the right from time to time and at any time to change their respective
   addresses and each shall have the right to specify as its address any other address by at least fifteen
   (15) days written notice to each other Party.

         Section 9.13. Exhibits. All Exhibits attached to this Agreement are incorporated into this
   Agreement by reference as though fully set forth herein.

          Section 9.14. Survival. The terms of the purchase price calculation as set forth in Article
   IV above shall survive the expiration or termination of this Agreement.
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          IN WITNESS WHEREOF, the Parties acting under the authority of their respective
   governing bodies have caused this Agreement to be duly executed as of the Effective Date.

         GLWA:



         By: __________________________                                    /2~ f~.   17
               Sue McCormick, Chief Executive Officer                  Date



         KWA:



               Executed in Counterpart
         By: _________________________________                         _______________


                John F. O’Brien, Deputy Chief Executive Officer        Date


         Flint:



         By:~!J           ~                                            ___________


             aren Weaver, Mayor                                        Date


         ATTEST:



         By:      ~   ____                                               /~     ~ ‘.‘     /I
                  Inez Bro ~ City CLerk                                Date
                  City of Flint
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               Executed in Counterpart




               Executed in Counterpart




               Executed in Counterpart
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                                          Exhibit A

               Flint’s obligations for its share of the debt service on the bonds
                                                                                                 Case 4:20-cv-12726-MFL-DRG ECF No. 1-2 filed 10/07/20                                                   PageID.780              Page 720 of 726
                  KWA Bond $220,500,000 Series 2014A (TIC 4.69%)                                     KWA Bond $76,710,000 Series 2017/18 (ESTIMATED 28 Year, TIC = 5.04%)                                 GCDC Intake Bond $35,000,000 Series 2013 (TIC 5.04%)                            Total Payments due from GCDC and City of Flint
                                   Total            GCDC                  Flint                                                  Total           GCDC               Flint                                                     Total             GCDC              Flint          Payment           Total            GCDC              Flint
    Payment       Payment         Annual           Portion               Portion                  Payment    Payment            Annual          Portion           Portion                   Payment         Payment          Annual            Portion          Portion           Billing         Annual          Portion           Portion
      Date        Amount         Payment            70%                   30%                       Date      Amount           Payment           70%                30%                       Date          Amount          Payment             70%               30%             Period         Payment            70%               30%
                                                                                                                                                                                             5/1/2014        $996,803.89                                                        Oct. 2013 ‐                        100.0%
   11/1/2014     $6,027,389.06     $6,027,389.06          Capitalized Interest                                                                                                              11/1/2014      $1,532,618.75   $2,529,422.64     $2,529,422.64     To Be Paid       Sept. 2014      $2,529,422.64   $2,529,422.64     To Be Paid
    5/1/2015     $5,563,743.75                                                                                                                                                               5/1/2015        $855,918.75                                        in Years        Oct. 2014 ‐                        100.0%           in Years
   11/1/2015     $5,563,743.75    $11,127,487.50          Capitalized Interest                                                                                                              11/1/2015      $1,670,918.75   $2,526,837.50     $2,526,837.50        2039          Sept. 2015      $2,526,837.50   $2,526,837.50         2039
    5/1/2016     $5,563,743.75                                                                                                                                                               5/1/2016        $843,693.75                                       thru 2041        Oct. 2015 ‐                        100.0%          thru 2041
   11/1/2016     $5,563,743.75    $11,127,487.50          Capitalized Interest                                                                                                              11/1/2016      $1,683,693.75   $2,527,387.50     $2,527,387.50       Below          Sept. 2016      $2,527,387.50   $2,527,387.50        Below
    5/1/2017     $5,563,743.75                                                                                                                                                               5/1/2017        $831,093.75                                                        Oct. 2016 ‐         Monthly =   $1,035,981.04       $443,991.88
   11/1/2017     $9,668,743.75    $15,232,487.50    $10,662,741.25     $4,569,746.25                                                                                                        11/1/2017      $1,696,093.75   $2,527,187.50     $1,769,031.25      $758,156.25     Sept. 2017 $17,759,675.00 $12,431,772.50          $5,327,902.50
    5/1/2018     $5,481,118.75                                                                     5/1/2018      $1,917,750.00                                                               5/1/2018        $813,793.75                                                        Oct. 2017 ‐         Monthly =   $1,336,727.29       $572,883.13
   11/1/2018     $9,756,118.75    $15,237,237.50    $10,666,066.25     $4,571,171.25              11/1/2018      $3,232,750.00   $5,150,500.00   $3,605,350.00      $1,545,150.00           11/1/2018      $1,713,793.75   $2,527,587.50     $1,769,311.25      $758,276.25     Sept. 2018 $22,915,325.00 $16,040,727.50          $6,874,597.50
    5/1/2019     $5,380,743.75                                                                     5/1/2019      $1,884,875.00                                                               5/1/2019        $795,793.75                                                        Oct. 2018 ‐         Monthly =   $1,336,581.46       $572,820.63
   11/1/2019     $9,855,743.75    $15,236,487.50    $10,665,541.25     $4,570,946.25              11/1/2019      $3,264,875.00   $5,149,750.00   $3,604,825.00      $1,544,925.00           11/1/2019      $1,730,793.75   $2,526,587.50     $1,768,611.25      $757,976.25     Sept. 2019 $22,912,825.00 $16,038,977.50          $6,873,847.50
    5/1/2020     $5,288,868.75                                                                     5/1/2020      $1,850,375.00                                                               5/1/2020        $777,093.75                                                        Oct. 2019 ‐         Monthly =   $1,336,572.71       $572,816.88
   11/1/2020     $9,943,868.75    $15,232,737.50    $10,662,916.25     $4,569,821.25              11/1/2020      $3,300,375.00   $5,150,750.00   $3,605,525.00      $1,545,225.00           11/1/2020      $1,752,093.75   $2,529,187.50     $1,770,431.25      $758,756.25     Sept. 2020 $22,912,675.00 $16,038,872.50          $6,873,802.50
    5/1/2021     $5,182,493.75                                                                     5/1/2021      $1,814,125.00                                                               5/1/2021        $752,718.75                                                        Oct. 2020 ‐         Monthly =   $1,336,339.38       $572,716.88
   11/1/2021    $10,052,493.75    $15,234,987.50    $10,664,491.25     $4,570,496.25              11/1/2021      $3,334,125.00   $5,148,250.00   $3,603,775.00      $1,544,475.00           11/1/2021      $1,772,718.75   $2,525,437.50     $1,767,806.25      $757,631.25     Sept. 2021 $22,908,675.00 $16,036,072.50          $6,872,602.50
    5/1/2022     $5,080,743.75                                                                     5/1/2022      $1,776,125.00                                                               5/1/2022        $727,218.75                                                        Oct. 2021 ‐         Monthly =   $1,336,601.88       $572,829.38
   11/1/2022    $10,155,743.75    $15,236,487.50    $10,665,541.25     $4,570,946.25              11/1/2022      $3,371,125.00   $5,147,250.00   $3,603,075.00      $1,544,175.00           11/1/2022      $1,802,218.75   $2,529,437.50     $1,770,606.25      $758,831.25     Sept. 2022 $22,913,175.00 $16,039,222.50          $6,873,952.50
    5/1/2023     $4,953,868.75                                                                     5/1/2023      $1,736,250.00                                                               5/1/2023        $700,343.75                                                        Oct. 2022 ‐         Monthly =   $1,336,178.96       $572,648.13
   11/1/2023    $10,278,868.75    $15,232,737.50    $10,662,916.25     $4,569,821.25              11/1/2023      $3,411,250.00   $5,147,500.00   $3,603,250.00      $1,544,250.00           11/1/2023      $1,825,343.75   $2,525,687.50     $1,767,981.25      $757,706.25     Sept. 2023 $22,905,925.00 $16,034,147.50          $6,871,777.50
    5/1/2024     $4,820,743.75                                                                     5/1/2024      $1,694,375.00                                                               5/1/2024        $672,218.75                                                        Oct. 2023 ‐         Monthly =   $1,336,689.38       $572,866.88
   11/1/2024    $10,415,743.75    $15,236,487.50    $10,665,541.25     $4,570,946.25              11/1/2024      $3,454,375.00   $5,148,750.00   $3,604,125.00      $1,544,625.00           11/1/2024      $1,857,218.75   $2,529,437.50     $1,770,606.25      $758,831.25     Sept. 2024 $22,914,675.00 $16,040,272.50          $6,874,402.50
    5/1/2025     $4,680,868.75                                                                     5/1/2025      $1,650,375.00                                                               5/1/2025        $642,593.75                                                        Oct. 2024 ‐         Monthly =   $1,336,572.71       $572,816.88
   11/1/2025    $10,555,868.75    $15,236,737.50    $10,665,716.25     $4,571,021.25              11/1/2025      $3,500,375.00   $5,150,750.00   $3,605,525.00      $1,545,225.00           11/1/2025      $1,882,593.75   $2,525,187.50     $1,767,631.25      $757,556.25     Sept. 2025 $22,912,675.00 $16,038,872.50          $6,873,802.50
    5/1/2026     $4,533,993.75                                                                     5/1/2026      $1,604,125.00                                                               5/1/2026        $611,593.75                                                        Oct. 2025 ‐         Monthly =   $1,336,383.13       $572,735.63
   11/1/2026    $10,698,993.75    $15,232,987.50    $10,663,091.25     $4,569,896.25              11/1/2026      $3,544,125.00   $5,148,250.00   $3,603,775.00      $1,544,475.00           11/1/2026      $1,916,593.75   $2,528,187.50     $1,769,731.25      $758,456.25     Sept. 2026 $22,909,425.00 $16,036,597.50          $6,872,827.50
    5/1/2027     $4,379,868.75                                                                     5/1/2027      $1,555,625.00                                                               5/1/2027        $577,337.50                                                        Oct. 2026 ‐         Monthly =   $1,336,455.31       $572,766.56
   11/1/2027    $10,854,868.75    $15,234,737.50    $10,664,316.25     $4,570,421.25              11/1/2027      $3,590,625.00   $5,146,250.00   $3,602,375.00      $1,543,875.00           11/1/2027      $1,952,337.50   $2,529,675.00     $1,770,772.50      $758,902.50     Sept. 2027 $22,910,662.50 $16,037,463.75          $6,873,198.75
    5/1/2028     $4,209,900.00                                                                     5/1/2028      $1,504,750.00                                                               5/1/2028        $541,243.75                                                        Oct. 2027 ‐         Monthly =   $1,336,520.94       $572,794.69
   11/1/2028    $11,024,900.00    $15,234,800.00    $10,664,360.00     $4,570,440.00              11/1/2028      $3,644,750.00   $5,149,500.00   $3,604,650.00      $1,544,850.00           11/1/2028      $1,986,243.75   $2,527,487.50     $1,769,241.25      $758,246.25     Sept. 2028 $22,911,787.50 $16,038,251.25          $6,873,536.25
    5/1/2029     $4,031,006.25                                                                     5/1/2029      $1,451,250.00                                                               5/1/2029        $503,312.50                                                        Oct. 2028 ‐         Monthly =   $1,336,483.02       $572,778.44
   11/1/2029    $11,206,006.25    $15,237,012.50    $10,665,908.75     $4,571,103.75              11/1/2029      $3,696,250.00   $5,147,500.00   $3,603,250.00      $1,544,250.00           11/1/2029      $2,023,312.50   $2,526,625.00     $1,768,637.50      $757,987.50     Sept. 2029 $22,911,137.50 $16,037,796.25          $6,873,341.25
    5/1/2030     $3,842,662.50                                                                     5/1/2030      $1,395,125.00                                                               5/1/2030        $465,312.50                                                        Oct. 2029 ‐         Monthly =   $1,336,486.67       $572,780.00
   11/1/2030    $11,392,662.50    $15,235,325.00    $10,664,727.50     $4,570,597.50              11/1/2030      $3,755,125.00   $5,150,250.00   $3,605,175.00      $1,545,075.00           11/1/2030      $2,060,312.50   $2,525,625.00     $1,767,937.50      $757,687.50     Sept. 2030 $22,911,200.00 $16,037,840.00          $6,873,360.00
    5/1/2031     $3,644,475.00                                                                     5/1/2031      $1,336,125.00                                                               5/1/2031        $425,437.50                                                        Oct. 2030 ‐         Monthly =   $1,336,246.04       $572,676.88
   11/1/2031    $11,589,475.00    $15,233,950.00    $10,663,765.00     $4,570,185.00              11/1/2031      $3,811,125.00   $5,147,250.00   $3,603,075.00      $1,544,175.00           11/1/2031      $2,100,437.50   $2,525,875.00     $1,768,112.50      $757,762.50     Sept. 2031 $22,907,075.00 $16,034,952.50          $6,872,122.50
    5/1/2032     $3,435,918.75                                                                     5/1/2032      $1,274,250.00                                                               5/1/2032        $383,562.50                                                        Oct. 2031 ‐         Monthly =   $1,336,560.31       $572,811.56
   11/1/2032    $11,800,918.75    $15,236,837.50    $10,665,786.25     $4,571,051.25              11/1/2032      $3,874,250.00   $5,148,500.00   $3,603,950.00      $1,544,550.00           11/1/2032      $2,143,562.50   $2,527,125.00     $1,768,987.50      $758,137.50     Sept. 2032 $22,912,462.50 $16,038,723.75          $6,873,738.75
    5/1/2033     $3,216,337.50                                                                     5/1/2033      $1,209,250.00                                                               5/1/2033        $338,462.50                                                        Oct. 2032 ‐         Monthly =   $1,336,305.83       $572,702.50
   11/1/2033    $12,016,337.50    $15,232,675.00    $10,662,872.50     $4,569,802.50              11/1/2033      $3,939,250.00   $5,148,500.00   $3,603,950.00      $1,544,550.00           11/1/2033      $2,188,462.50   $2,526,925.00     $1,768,847.50      $758,077.50     Sept. 2033 $22,908,100.00 $16,035,670.00          $6,872,430.00
    5/1/2034     $3,018,337.50                                                                     5/1/2034      $1,141,000.00                                                               5/1/2034        $291,056.25                                                        Oct. 2033 ‐         Monthly =    $1,336,754.27      $572,894.69
   11/1/2034    $12,218,337.50    $15,236,675.00    $10,665,672.50     $4,571,002.50              11/1/2034      $4,011,000.00   $5,152,000.00   $3,606,400.00      $1,545,600.00           11/1/2034      $2,236,056.25   $2,527,112.50     $1,768,978.75      $758,133.75     Sept. 2034 $22,915,787.50 $16,041,051.25          $6,874,736.25
    5/1/2035     $2,776,837.50                                                                     5/1/2035      $1,069,250.00                                                               5/1/2035        $238,784.38                                                        Oct. 2034 ‐         Monthly =    $1,336,401.72      $572,743.59
   11/1/2035    $12,456,837.50    $15,233,675.00    $10,663,572.50     $4,570,102.50              11/1/2035      $4,079,250.00   $5,148,500.00   $3,603,950.00      $1,544,550.00           11/1/2035      $2,288,784.38   $2,527,568.76     $1,769,298.13      $758,270.63     Sept. 2035 $22,909,743.76 $16,036,820.63          $6,872,923.13
    5/1/2036     $2,522,737.50                                                                     5/1/2036        $994,000.00                                                               5/1/2036        $183,690.63                                                        Oct. 2035 ‐         Monthly =    $1,336,466.62      $572,771.41
   11/1/2036    $12,712,737.50    $15,235,475.00    $10,664,832.50     $4,570,642.50              11/1/2036      $4,154,000.00   $5,148,000.00   $3,603,600.00      $1,544,400.00           11/1/2036      $2,343,690.63   $2,527,381.26     $1,769,166.88      $758,214.38     Sept. 2036 $22,910,856.26 $16,037,599.38          $6,873,256.88
    5/1/2037     $2,255,250.00                                                                     5/1/2037        $915,000.00                                                               5/1/2037        $125,640.63                                                        Oct. 2036 ‐         Monthly =    $1,336,520.57      $572,794.53
   11/1/2037    $12,980,250.00    $15,235,500.00    $10,664,850.00     $4,570,650.00              11/1/2037      $4,235,000.00   $5,150,000.00   $3,605,000.00      $1,545,000.00           11/1/2037      $2,400,640.63   $2,526,281.26     $1,768,396.88      $757,884.38     Sept. 2037 $22,911,781.26 $16,038,246.88          $6,873,534.38
    5/1/2038     $1,973,718.75                                                                     5/1/2038        $832,000.00                                                               5/1/2038         $64,500.00                                                        Oct. 2037 ‐         Monthly =    $1,336,733.85      $572,885.94
   11/1/2038    $13,263,718.75    $15,237,437.50    $10,666,206.25     $4,571,231.25              11/1/2038      $4,317,000.00   $5,149,000.00   $3,604,300.00      $1,544,700.00           11/1/2038      $2,464,500.00   $2,529,000.00     $1,770,300.00      $758,700.00     Sept. 2038 $22,915,437.50 $16,040,806.25          $6,874,631.25
    5/1/2039     $1,677,356.25                                                                     5/1/2039        $744,875.00                                                               5/1/2039                                                                           Oct. 2038 ‐         Monthly =    $1,125,858.08      $572,847.13
   11/1/2039    $13,557,356.25    $15,234,712.50    $10,664,298.75     $4,570,413.75              11/1/2039      $4,404,875.00   $5,149,750.00   $3,604,825.00      $1,544,925.00           11/1/2039                                           ‐$758,826.79     $758,826.79    Sept. 2039 $20,384,462.50 $13,510,296.96          $6,874,165.54
    5/1/2040     $1,365,506.25                                                                     5/1/2040        $653,375.00                                                               5/1/2040                                                                           Oct. 2039 ‐         Monthly =    $1,125,823.54      $572,740.00
   11/1/2040    $13,870,506.25    $15,236,012.50    $10,665,208.75     $4,570,803.75              11/1/2040      $4,493,375.00   $5,146,750.00   $3,602,725.00      $1,544,025.00           11/1/2040                                           ‐$758,051.25     $758,051.25    Sept. 2040 $20,382,762.50 $13,509,882.50          $6,872,880.00
    5/1/2041     $1,037,250.00                                                                     5/1/2041        $557,375.00                                                               5/1/2041                                                                           Oct. 2040 ‐         Monthly =    $1,125,896.56      $572,790.94
   11/1/2041    $14,197,250.00    $15,234,500.00    $10,664,150.00     $4,570,350.00              11/1/2041      $4,592,375.00   $5,149,750.00   $3,604,825.00      $1,544,925.00           11/1/2041                                           ‐$758,216.25     $758,216.25    Sept. 2041 $20,384,250.00 $13,510,758.75          $6,873,491.25
    5/1/2042       $708,250.00                                                                     5/1/2042        $456,500.00                                                                                                                                                  Oct. 2041 ‐         Monthly =    $1,189,095.83      $509,612.50
   11/1/2042    $14,528,250.00    $15,236,500.00    $10,665,550.00     $4,570,950.00              11/1/2042      $4,691,500.00   $5,148,000.00   $3,603,600.00      $1,544,400.00                                                                                               Sept. 2042 $20,384,500.00 $14,269,150.00          $6,115,350.00
    5/1/2043       $362,750.00                                                                     5/1/2043        $350,625.00                                                                                                                                                  Oct. 2042 ‐         Monthly =    $1,188,935.42      $509,543.75
   11/1/2043    $14,872,750.00    $15,235,500.00    $10,664,850.00     $4,570,650.00              11/1/2043      $4,795,625.00   $5,146,250.00   $3,602,375.00      $1,543,875.00                                                                                               Sept. 2043 $20,381,750.00 $14,267,225.00          $6,114,525.00
                                                                                                   5/1/2044        $239,500.00                                                                                                                                                  Oct. 2043 ‐         Monthly =      $300,358.33      $128,725.00
                                                                                                  11/1/2044      $4,909,500.00   $5,149,000.00   $3,604,300.00      $1,544,700.00                                                                                               Sept. 2044      $5,149,000.00    $3,604,300.00    $1,544,700.00
                                                                                                   5/1/2045        $122,750.00                                                                                                                                                  Oct. 2044 ‐         Monthly =      $300,737.50      $128,887.50
                                                                                                  11/1/2045      $5,032,750.00   $5,155,500.00   $3,608,850.00      $1,546,650.00                                                                                               Sept. 2045      $5,155,500.00    $3,608,850.00    $1,546,650.00
               $439,633,064.06 $439,633,064.06 $287,945,490.00 $123,405,210.00                                 $144,172,000.00 $144,172,000.00 $100,920,400.00     $43,251,600.00                         $63,184,253.92     $63,184,253.92   $44,228,977.74   $18,955,276.18                $618,706,953.92 $433,094,867.74 $185,612,086.18
           ‐ Capitalized Interest ‐$28,282,364.06
              Calculation check: $411,350,700.00 $287,945,490.00 $123,405,210.00                              Calculation check: $144,172,000.00 $100,920,400.00   $43,251,600.00                       Calculation check:   $63,184,253.92   $44,228,977.74   $18,955,276.18               $618,706,953.92 $433,094,867.74 $185,612,086.18
                                                     =70.0%          =30.0%                                                                          =70.0%           =30.0%                                                                     =70.0%           =30.0%                                        =70.0%          =30.0%


KWA Bond Cost Allocation to GCDC and Flint 07‐31‐17 ‐ Watermark.xlsx   Tab: Series 2017 Refi 28 YR 5.04 TIC                                                  Prepared by Karl Kramer 7/31/2017
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                                          Exhibit B

    Second Addendum to Raw Water Supply Contract between the Karegnondi Water Authority and
               the City of Flint dated June 28. 2013, and effective on October 1, 2013
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                          SECOND ADDENDUM TO
       RAW WATER SUPPLY CONTRACT BETWEEN THE KAREGNONDI WATER
      AUTHORITY AND THE CITY OF FLINT EFFECTIVE ON OCTOBER 1, 2013% AS
         AMENDED BY THE FIRST ADDENDUM EFFECTWE MARCH 6, 2014


           THIS SECOND ADDENDUM (“Addendum”) to the RAW WATER SUPPLY
   CONTRACT BETWEEN THE KAREGNONDI WATER AUTHORITY AND THE CITY
   OF FLINT EFFECTIVE ON OCTOBER 1. 2013, as amended by the FIRST ADDENDUM,
   EFFECTIVE MARCH 6, 2014 (hereafter the “Agreement”) is executed and delivered as of the
   Effective Date of the Master Agreement to which this Addendum is attached as Exhibit G, by and
   between the Karegnondi Water Authority, a Michigan Public Authority created pursuant to Act
   233 of the Michigan Public Acts of 1955, as amended (hereinafter “KWA”), whose address is G
   4610 Beecher Road, Flint, Michigan 48532 and the City of Flint, a municipal corporation, of the
   State of Michigan (hereinafter “Flint”), whose address is 1101 South Saginaw Street, Flint,
   Michigan 48502. KWA and Flint are sometimes hereafter each referred to as a “Party” and
   collectively as the “Parties.”

                                           WITNESSETH:

          WHEREAS, the Parties entered into a Raw Water Supply Contract, dated the 28th day of
   June, 2013, and effective on October 1, 2013;

           WHEREAS, the Parties entered into a First Addendum to Raw Water Supply Contract,
   effective on March 6, 2014;

          WHEREAS, the Parties have agreed to enter into this Addendum for the purpose of
   modifying ARTICLE II, Section 2.05; ARTICLE V, Section 5.07; and ARTICLE VII, Section
   7.15 of the Agreement.

           NOW THEREFORE, it is hereby agreed by the Parties as follows:

           1.     Amendment to the ARTICLE II, Section 2.05 of the Agreement. ARTICLE II,
    Section 2.05 of the Agreement is hereby deleted in its entirety and replaced with the following:

                  “Section 2.05. Repair and Replacement of Components-Government
                  Required Enhancements. It is anticipated that repair and replacement of
                  components of the System and enhancements required by government
                  regulations will be in incremental, finite projects and that each such project
                  will be financed by the Authority through operating revenues, the issuance
                  of one or more series or issues of System Improvement Bonds, or any other
                  lawful sources. Also, on its own initiative or at the request of the Buyer,
                  the Authority may refund any Bonds that were issued to construct, equip,
                  operate, maintain and otherwise improve the System and any System
                  facilities. The Authority agrees that such improvements for the System will
                  be made in accordance with generally accepted engineering practices. It is
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                  anticipated that such improvements will be financed by the Authority
                  through operating revenues, the issuance of one or more series or issues of
                  System Improvement Bonds. or any other lawful sources, payable from and
                  secured by the payments made under this Contract and/or any other lawful
                  sources.”

          2.      Amendment to the ARTICLE V, Section 5.07 of the Agreement. ARTICLE V,
   Section 5.07 of the Agreement is hereby deleted in its entirety and replaced with the following:

                  “Section 5.07 Prompt Payment/Disputed Bills. The Buyer hereby agrees
                  that unless otherwise specified it will make payments required by this
                  Contract to the Authority on or before the 30th day of each month
                  immediately following the month in which the applicable monthly
                  statement date occurs except for the month of February, in which case the
                  monthly due day is the last date of the month of February. For example, if
                  the applicable monthly statement date for water supplied in January is
                  February 20 then the due date for such payment would be March 30. If the
                  Buyer, at any time, disputes the amount to be paid by it to the Authority, the
                  Buyer shall nevertheless promptly make such payment or payments; but, if
                  it is determined by agreement or court decision that such disputed payments
                  should have been less, or more, the Authority shall promptly revise and
                  reallocate the charges in such manner that the Buyer will recover its
                  overpayment or the Authority will recover the amount due it. All amounts
                  due and owing to the Authority by Buyer, or due and owing to the Buyer
                  by the Authority, shall, if not paid when due, bear interest per annum at the
                  maximum rate allowed by law from the date when due until paid.”

          3.      Amendment to ARTICLE VII, Section 7.15 of the Agreement. ARTICLE VII,
   Section 7.15 of the Agreement is hereby deleted in its entirety.

          4.      Notices. Any notice, demand, or communication required, permitted or desired to
   be given under this Addendum shall be deemed effectively given pursuant to ARTICLE VII,
   Section 7.24 the Agreement.

          5.      Headings. The headings of the sections set forth in this Addendum are inserted for
   the convenience of reference only and shall be disregarded when construing or interpreting any of
   the provisions of this Addendum.

            6.    Complete Agreement. This Addendum, the Agreement and any additional or
   supplementary documents incorporated by specific reference contain all of the terms and
   conditions agreed upon by the Parties and no other agreements, oral or otherwise, regarding the
   subject matter of this Addendum or any part thereof shall have any validity or bind either of the
   Parties.
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           7.     Severability. If any provision of this Addendum is held to be unenforceable for
   any reason, the unenforceability thereof shall not affect the remainder of this Addendum which
   shall remain in full force and effect and enforceable in accordance with its terms.

           8.     Waiver. No waiver of any of the obligations contained herein shall be effective
   for any purpose unless the same shall be in writing signed by the Chairperson of the Incorporating
   Board of the Karegnondi Water Authority and by Mayor or Emergency Manager, or both upon the
   Flint City Council or Emergency Manager’s approval, whichever is applicable.

           9.      Construction. This Addendum has been prepared and negotiations have occurred
   in connection with said preparation pursuant to the joint efforts of the Parties. This Addendum
   therefore shall not be construed against either Party.

           10.   Amendment. This Addendum may not be amended or modified except for by
   written agreement signed by both Parties.

           11.    Certification of Authority to Sign Addendum. The persons signing on behalf of
   each of the Parties certify by their signatures that they are authorized to sign the Addendum on
   behalf of such Party and that this Addendum has been authorized by such Party.

          12.   Remainder of Agreement. Except as modified by this Addendum, the terms of
   the Agreement shall remain in full force and effect.


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                 Executed in Counterpart




                Executed in Counterpart
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           IN WITNESS WHEREOF, the Parties hereto have caused this Addendum to be executed
    and delivered by their respective duly authorized representatives as of the Effective Date of the
    Master Agreement to which this Addendum is attached as Exhibit G.

           KAREGNONDI WATER AUTHORITY


                  Executed in Counterpart
           By: _____________________________
           John F. O’Brien, Deputy Chief Executive Officer

           ATTEST:




           CITY OF FLINT



           By.~ ~i’~~A ~i cu
           Karen eaver, Mayor



           ATTEST:




           Inez Bro   <Clerk of the City of Flint
